    USCA11 Case: 24-13671                                Document: 13           Date Filed: 12/05/2024   Page: 1 of 723


                  Vi’-
                          VLiRT OFT^ c
                        77'

    \:o-                      RECEIVED
    o*
                               CLERK


>
                        DEC G 5 Z02^              THE UNITED STATES COURT OF APPEALS

                                                           FOR THE ELEVENTH CIRCUIT
                        4I1anta,.^


      J4ACK WELLS and MAURICE
      SYMONETTE

                                            Plaintiff,
             ■V.
             .     «
                 • %
                                                                                       Case No.: 24-13671-j)
                  ■9^



      U.S, BANK NA. JOSE E. MARTINEZ,
      DISTRICT JUDGE OF THE UNITED

         STATES DISTRICT COURT FOR THE

         SOUTHERN DISTRICT OF FLORIDA,
      EDWARDO SANCHEZ

      DEFENDANTS

                                           Defendant.
                                                                        /



         I                                     CERTIFICATE OF INTERESTED PERSONS


         .         i
                                I MACK WELLS hereby disclose the following pursuant to this Court's Order on
                 • «



                 Ihterested Persons:



                                1.       The name of each person, attorney, association of persons, firm, law firm.

                 partnership, and corporation that has or may have an interest in a party to this action or in the

                 outcome of this action, including subsidiaries, conglomerates, affiliates, related to a party:
%
                                listed in Exhibit A. Members            of The Appellant’s Party are also listed in

                 Exhibit A.



    Overall US BANK, all put in documents with incorrect Verifications such as the Assignments that don’t have

         %
         «’ -
                                                                            1

         .        «
             • «
         USCA11 Case: 24-13671               Document: 13            Date Filed: 12/05/2024       Page: 2 of 723
'H




          it^esses, no Notary Stamp, no Commission number, no Printed names under the Signature, the wrong Bank
         wi



         onivocuments,no Notary, no Seal, no Preparer and they filed the Complaints before the Foreclosure Complaint

         dati Vas filed in Violation of Mclean V. JP Morgan which says you can’t file a Complaint before you own the

         Mortgage and Note which can’t be fixed in ab initio(means you can’t start over from the beginning and is void)

         and they have Mortgages that don’t have the same things no stamp, no seal, no Commission number and

         Allonge signed by a person with the wrong qualifications like an Assistant Secretary this is illegal according to

         FI. Stat. 692.01 which says only a President, Vice President, or Executive Officer can sign an Allonge and FI.

     %
         Stat.692.101 (3)(4) says that a Secretary can’t sign an Allonge or Assignment all of these Illegal Filings are

         fraudulent, and foreclosing on the Note without the Ownership of Note on record at all such which US Bank

         did in Violation of fl. Statutes. While the Clerks help hide the documents by Destroying Dockets and allowing

         unsigned fraudulent and blacked out Signatures onto documents onto the Record. And after these Motions for

         Rel^sal from these Money Conflicted ofInterest Judges ofthose who have Recused themselves which Voids
         and ileverts back to the Original Order of Dismissal with Prejudice Fl. Rule 2.160(H)(1)(J) and the Judges
              • %



         who^didn’t answer the Motion to Recuse by 30 days are considered Recused and all their Motions Void and
         Reverted back to the Original according to Fl. Rule 2.160(H)(ij(J) but these Constructive (C onspiring Judges

         All ofthese actions makes this fraudulent Case void giving the fraudulent Banks no standing. But with the help

         of the Constructive Conspiring paid off Apellate Judges, Circuit Court Judges, Bankruptcy Judges, Clerks of

         the Courts, Police, Without going to Court get an Order, without a Break Order or a Warrant and with Conflict

         of Interest Commissioners and Code Enforcement Officers Evicted us and took our house illegally these

         Defendants all side with the Banks because they’re paid off by the Banks so that no matter how crooked or

         Illegal they are found to be they hold themselves not guilty, Zech. 11:5. And Just take your Property because

         thebanks are paying them off which is very horrible Conflicts ofInterest. Like the 131 Federal Judges who just

         gotefound with Conflict ofInterest which effected 685 Cases and were punished thesejudges are being Punished
              . «
         timt'i^and the most money they made.is one hundred thousand dollars and yet these Circuit Judges like Judge
               ■f-



         Schlesinger made twenty eight Million dollars from US Bank two years in a row and Judge Valerie Manno

         Schurr made Eleven Million dollars while ruling in favor of US Bank Judge’s Allen Fine, Monica Gordo, John


                                                                 2
    USCA11 Case: 24-13671               Document: 13            Date Filed: 12/05/2024      Page: 3 of 723
                                                                                                 #■




    Schlesinger, Vivianne Del Rio and Samantha Cohen and De La O didn’t answer our Motion to Recuse

    themselves within 30 days after it was filed making their Orders Void and all the other Judges Orders after

    theirs Void FI. Rule 2.160 (H) (J). And Judge Veronica Diaz had a very horrible money Conflict, of Interest

    and she refiised to Recuse herself in Violation of FI. Code of Judicial Conduct, Canon 3E(1) and FI. Stat.

    112,312 (8) Lawyers have been taking turns stealing peoples properties which is Constructive Conspiracy and

    are creating fraudulent documents these Banks thereof based on one or more of the grounds mentioned in

    sul^ction or if a default is entered against defendants (in which case no evidence need be taken), the court
    shal!^ enter judgment removing the alleged cloud from the title to the land and forever quieting the title in
       • «



    Plaii'^tiffs and those claiming under him or her since the commencement of these actions and adjudging plaintiff
    to have a good fee simple title to said land or the interest thereby cleared of cloud




                                              FACTUAL ALLEGATIONS



    on or about JUNE 30,2005 concerning US Bank National, (hereinafter referred to as “Closing Dates”) Plaintiff

    entered a credit transaction with by obtaining a $448,000.00 Mortgage loan secured by Plaintiffs principal

    residence, (Subject Property). This Note was secured by a First Trust Deed on the Property in favor of Axiom

    Fit^cial SERVICES. In which we were making the all the payments on time then one day wliile checking on
    another house in a downtown Courthouse inadvertently we find out that our home at 15020 S. River Dr. is in

    Foruclosure even though we were making the payments so on June 6* 2007 we did a written request formal
    protest and dispute of that debt Mysterious threat from an unknown Bank that was Foreclosii!g on our Property

    in whom we did not sign our Mortgage or Note with we were never served and was trying to get a hearing with

    no response until we suddenly find out that they were getting ready to sell our property without even allowing

    us to respond or defend ourselves therefore 9/12/2007 we did an Emergency Motion to cancel the sale so that
■




    the Judge can see that we were making the payments and for that Bank (US BANK NA) who is unknown to us

    weren’t able to show us that they owned the Note and we pointed out to the Judge in front of about 5o witnesses

    Tea Partiers and Republicans that US BANK NA never brought in the Note, Mortgage, and Assignment and
                                                            3
    USCA11 Case: 24-13671              Document: 13           Date Filed: 12/05/2024       Page: 4 of 723



    no -letter of indebtment and no proof that we were not making the payments and we pointed out to the Judge

    th^they only have a Lis Pendens on record with no Complaint to be seen and no Mortgage or Note Attached
    to S Complaint as Required by FI. Stat. 702.015,(4) and FI. Rule Civ. P.130 a. when Judge ZABEL realized

    that|here was no Mortgage and no Note put in and that she did a Final Judgement with no ORIGINAL NOTE
    or MORTGAGE DOCS at all which is a Perjury Felony and in Violation ofFlorida Stat. lQ)7d)15 (4)(5)(C). So

    the JUDGE PANICKED and Ordered US Bank’s Attorneys to bring in the Original Notes and Mortgage and

    Zabel Cancelled the Foreclosure Sale SCHEDULED FOR 9/12/2007 until they brought in the Original Note

    and Mortgage. But after the JUDGE(ZABEL)Cancelled the Foreclosure sale set for 9/12/2007 somehow those
>
    tricky Lawyers got the Clerk to do the SALE anyway against Judge ZABEL’s Order so we had to rush back to

    the Court to get an Emergency Hearing to tell Judge ZABEL that the LAWYERS and the Clerk did a SALE

    anyway against her Order and the Judge was very upset and Ordered the Attorneys For US BANKNA to do a

    Motion to Cancel the Sale and then the Judge signed an order to Cancel the Sale from their Motion to Cancel

    the^>ale. And then Judge ZABEL Ordered and Demanded that they bring in the Original Note and Mortgage
    becf<tise now Judge ZABEL Was now in position to get in trouble for doing a Final Judgement without Certified
       ■f
    Copies of the Note and Mortgage and without the Original Note and Mortgage that is required by Florida
                                                                                                «■
    Statute, Florida Stat. 702.015 (4), in other words these Clowns were just Illegally going to take our Property

    but got Caught! 131 Federal Judges have already been caught and went to jail for Conflict of Interest, they

    failed to Recuse themselves from 685 lawsuits from 2010 to 2018 involving firms in which themselves or

    relatives held shares, these Evil Judges are going down! This Judge ZABEL Ordered the Atty’s to go get the

    Docs that they said they had, then Judge ZABEL took a Court Recess and during the break from the Courtroom

    US Bank Lawyers Refused to go back into the Courtroom this upset the Judge but Judge ZABEL gave them

    time to bring in the Note and the Mortgage but they would not so therefore we put in a Motion to Dismiss with

    Pr^dice we went back and Forth with the Judges and the Banks Attorneys but they would not follow the Judge
    Sawih I. Zabel’s Order to bring in the Note and Order and therefor Judge ZABEL Dismissed the Case with

    Pre'jadice, the tenth line of the.2007-Case Called Case Number 2007-12407-CA01 of the Docket. And then

    Judge ZABEL said that it would show on the Docket in a few days which was 04/07/2007 of tfeat same Docket!!

                                                          4
              USCA11 Case: 24-13671
                . «
                                             Document: 13       Date Filed: 12/05/2024   Page: 5 of 723



              NOW I’M REPORTING JUDGE SCHURR AS THE LEADER AND THE STARTER OF THE Constructive

      I       CONSPIRACY CONCERNING'OUR HOME             TO THE ADMINISTRATIVE JUDGE BAILEY WHO


      I
              APPOINTS JUDGES TO CASES, GOVERNOR DE SANTIS, THE JQC, THE BAR, THE US DOJ, THE

          %   FBI, THE FLORIDA STATE ATTORNEY AND MEDIA FOR OBVIOUS RACIST MISCONDUCT, BY

              TOTALLY IGNORING FEDERAL LAWS AND              FLORIDA STATUES-RULES AND FOR CRAZY

      I
■S-   I       OBVIOUS CONFLICTS OF INTEREST because something strange happened out of nowhere! Judge Valerie

              Manno Schurr’s SIGNATURE aijd NAME shows up on the;DISMISSAL WITH PREJUDICE from Judge
      I



              Z^EL THE YEAR AFTER SHE BECOMES JUDGE RIGHT BEFORE SHE mysteriously takes             over our



              Cafe to save U.S.BANK FROM US and save JUDGE ZABEL,THEIR LAWYERS FROM THE WRATH OF
                .   «
      I


              THIHR BOSS GMAC (US BANK) WHO HAD ALREADY PAID THEM TO SAVE U.S. BANK FROM US
      I
                                    .   -i


      I       JUDGE VALERIE MANNO SCHURR is who we’re just now finding out that THE BANK% PAID HER TO
      1

              TRICK US INTO BELIEVING THAT WE WERE SAFE FROM US BANK WITH THE DISMISSAL WITH
      I




              PREJUDICE AND THEN THREE MONTHS LATER JUDGE VALERIE MANNO SCHURR CHANGES IT
      I

      I
              TO DISMISSAL     WITHOUT PREJUDICE IN AN ILLEGAL EXPARTE HEARING WITHOUT US
      I >
              KNOWING SO THAT US BANK COULD COME BACK AND START THE SAME CASE OVER

              WITHOUT NOTICE TO US! WHY DID GMAC (US BANK) PAPY JUDGE VALERIE MANNO SCHURR

      I       TO TAKE OVER OUR CASE WAS BECAUSE JUDGE ZABEL DISMISSED WITH PREJUDICE US


      I
              BANKS CASE 04/07/2009 AS SEEN ON THE DOCKET CASE NUMBER 2007-12407-CA01 LINE 10,
                I
              Exh, 1. AND FORD MOTOR CO. V. CALLOWAY SAYS A JUDGE CAN’T CHANGE ANOTHER
      I



              JUj^SjE’S order so, judge VALERIE MANNO SCHURR FILED HER DUPLICATE DISMISSAL

              WITH LIKE JUDGE ZABEL’S ORDER WAS FILED 04/07/2009, AND JUDGE SCHURR’S DUPLICATE

              ORDER FILED 04/07/2010 AS SEEN ON THE DOCKET CASE NUMBER 2007-12407-CA01 LINE 10
      I

      I       AND 11, NOT REMEMBER JUDGE VALERIE SCHURR IS A JUDGE WE NEVER MET NEVER SEEN
      I


              AND NEVER DID A HEARING IN FRONT OF AND ACCORDING TO THE ADMINSTRATIVE JUDGE,
      I

              JUDGE BAILEY SAID THAT SHE DID NOT ASSIGN JUDGE VALERIE SCHURR THIS IS A JUDGE
          %

      I
              THAT SHE DID NOT ASSIGN TO OUR CASE ALL DONE SO THAT SHE COULD IN AN ILLEGAL

      I
          9
fs
                                                            5
I



        USCA11 Case: 24-13671              Document: 13            Date Filed: 12/05/2024       Page: 6 of 723
    %




        EXPARTE HEARING IN VIOLAIION OF FLORIDA STAX. 702.07 WITH THE PLAINTIFF US BANK

        CHANGE HER OWN ORDER TO DISMISSAL WITHOUT PREJUDICE, TO HELP GMAC(US BANK).

        Sr^AL SO THEY CAN ALL MAKE MONEY OFF OF HELPLESS BLACKS USING BIG BAD JUDGES
i
I
        ALS3 LAWYERS! The proofthat JUDGE VALERIE MANNO SCHURR made Money to help them is on her
I
             . »

I       Foi’fl 6 FULL AND PUBLIC DISCLOSURE OF FINANCIAL INTEREST SWORN AFFIDAVIT OATH of

        2008 tliat shows on part C. Liabilities section that she has $995,000.00 and $91,498.00 fronj^GMAC which is
I

        the Servicer and owner RESIDENTIAL FUNDING CORPORATION in their notice oftransfer said they were
I

I       controlling our payments as Servicer from at least 1/1/2007 on the Mortgage Payment Coupon at the bottom of

I
1
        the Transfer Letter,    Exh 2. and $129,000.00 from Wells Fargo which is US BANK NATIONAL
I

I       ASSOCIATION AS TRUSTEE FOR RASC 2005 AHL3,then in 2009 form 6 it shows GMAC MORTGAGE

        of$410,000.00 and Credit line with GMAC,and $128,000 Wachovia which is Wells Fargo which is US BANK,

        and then she allows an Illegal Ex Parte Hearing with US Bank National Attorneys to change lier Order which
I
I

I
        is really Judge Zabel’s Order from-DISMISSED WITH PREJUDICE in April 6*,2010 to change the Dismissed

I
         i|^Prejudice 3 months later in June 27*, 2010, into DISMISSED WITHOUT PREJUDICE in this Ex Parte
        W1




I
        Heayng. Which is only supposed to be done with only the Defendants that are about to lose their home to the
             •%



        Fore*closure Sale and this must be done before the sale ofthe House according to FI. Statue 107.07, ( during the
                                                                                                     *         ■
        interim GMAC also had a Florida Default Letter as the Servicer)and after that wonderful gift;Judgement to US

        Bank National Association and helping Judge Zabel out ofthe mess for doing a Judgement without a Docketed

        Complaint, Note, Allonge, Mortgage or an Assignment from the Records which was literally Criminal,
I
I

        Thievery of our house. Then suddenly in her 2010 Form 6 Disclosure of Financial Interest, Exh. 3, it shows a

        $400,000.00 gift from GMAC and shows $1,000,000.00 from Wells Fargo which is US Bank. All ofthis is pay

        to Play RICO Conspiracy to steal Black People’s Houses which they’re also doing to White European Gentiles!

I       US^BANK’S only lawful Remedy was to Appeal the Dismissal with Prejudice within 30 days according to

        Flmida Appellate Rule 4(a)(1)(A). But now a case that was Dismissed with Prejudice was given life again by

        Judijs Valerie Manno Schurr a Judge we had never met never seen or ever had a hearing in front of came in

I       an& Dismissed the Case with Prejudice exactly one year after Judge Zabel Dismissed it with Prejudice to avoid

                                                               6                                     *■




I
        I                 %
                         USCA11 Case: 24-13671             Document: 13           Date Filed: 12/05/2024        Page: 7 of 723

                           . «
                            •%

                            •f

                        Calloway Vs. Ford which says another Judge cannot change another Judges Order from the same Circuit Court
                            '                                   ■                        i-                          *■        '
                        they must Appeal to a higher Court but Judge VALERIE MANNO SCHURR did it anyway by having a hearing
                        three months later in an illegal Ex Parte hearing and changing the Dismissal with Prejudice to Dismissal without
         I
         I

         I              Prejudice which allowed US BANK to secretly file another Foreclosure Case against the House at 15020 S.
         I
        .1.


               %
                        River Dr. Miami Florida 33167 and US Bank did file another Case which was a continuance of the same Case

                        from 2007 which is called Case Number 2007-12407-CA01 that was Dismissed with Prejudice and secretly

         i
                   IT
                        changed to Dismissed without Prejudice and without any notice to us in 2010 called Case number 2010-61928-
         I
         I
         I
                        CAOl this 2010 was also done without the Original Mortgage, Assignment and Docs. Original of the Note,

                        Al^ge to the Note, and the second Allonge from Fannie Mae or indemnification info that indemnifies Fannie
                        Ma^ and there must be the Loan number. Date and the printed name of the Signer as required by Federal Fannie
         I
                        Mat^Rules B8-3-04 for Fannie Mae of which none of this is on the copy of the Allonge recorded on the Docket,
         I
                        And JUDGE VALERIE MANNO SCHURR has taken my new Case again to finish what sho^started by Ruling
         I
                        in favor of US BANK and GMAC with worst Conflicts of Interest that she’s trying to hide so that she can Rule
         I



         I              in the Bank’s favor to illegally Foreclose. Because in her FORM 6 -2019 and 2020 Financial Disclosure
         I

                        Affidavit she has over $ 11,192,000.00, plus on line 5 she states that she has a $400,000.00 Mortgage with City
              %
         I              National Bank that is Royal Bank of Canada, which is Wells Fargo, And Wells Fargo is US Bank JUDGE
         I


         I              VALERIE MANNO SCHURR is helping to illegally Foreclose on us. The other conflict is Schurr’s
         I
■.'.j
         I
                        $400,000.00 Mortgage Holder City National Bank that is Royal Bank of Canada which is Morgan Stanly/JP
         I

         I
                        Morgan, which is US BANCORE/US BANK. And All this is CITY NATIONAL BANK, who Merged with

         I
                        W^ovia Bank who admitted they were SLAVE MASTERS OF BLACK PEOPLE, to just take CRIPLE
                          ■M ■

                        HEJjPLESS BLACK PEOPLE’S HOMES. I will investigate how this Judge accumulated $1 1 million dollars
                        on a JUDGE’S SALARY, I demand to see where all that money is from. This is the Bank that served my law
         I

                        suit by an official Servicer acknowledged by US BAMK which by Florida Statue they had only 20 days to

                        answer but they never answered for six months while we’re trying to Default them the whole time, yet JUDGE

                        VALERIE MANNO SCHURR with her millions of dollars Conflicts of Interest helped US Bank by not ever
         I


         I    >>        Defaulting them no matter what the laws and rules say I really don’t stand a chance in this fight because the
         ' %


                                                                              1

                   W
USCA11 Case: 24-13671         Document: 13      Date Filed: 12/05/2024     Page: 8 of 723



ref^ee(JUDGE SCHURR)is being paid by my Opponents to Rule only in their(US BANK’S-GOLIATH’S
favor i AM DESTROYED and CRUCIFIED by these wicked Animals who break all the Laws and kill BLACK

PEOPLE and hold themselves not GUILTY by these CROOKED EVIL JUDGES like JUDGE VALERIE

MANNO SCHURR and I know they are Plotting to KILL me right now,KJ.V. BIBLE=ZEr HARIAH 11:5!!,




CAUSE OF ACTION JUDGES AND OFFICIAL’S


CONFLICTS OF INTEREST IN VIOLATION OF FEDERAL


RULE OF CIVIL PROC RULE 60,FLORIDA RULE 2.160

     (D)(H)(1)(4), FL. CODE JUD. CONDUCT CANON

3E(1)FL. STAT. 112.312(8)

                                                                      \


  ALL OF THESE JUDGES AND OFFICIALS CONSPIERED TOGETHER FROM TOP TO BOTTOM


  TO STEAL OUR HOME AND EACH ONE OF THEM HAD A HORRIFIC CONFLICT OF


  INTEREST! CHECK OUT THE JUDGES BELOW AND THE AMOUNTS OF MONEY THEY MADE


  FROM US BANK



  AS TO U.S. BANK,THE SEC, ATTORNEYS TITLE INSURANCE
  FUND,COUNTY CLERK OF THE COURTS,DADE COUNTY
  RECORDS DEPARTMENT,DADE COUNTY POLICE
  COMMISSIONER VALERIE MANNO SCHURR,VERONICA
  DIAZ, VIVIANNEDEL RIO, JOHN SCHLESINGER,SAMANTHA
  RUIZ,

1. SARAH I. ZABEL 4/7/09                     ■made almost 9 Million from US BANK Exh. 26


                                               8
     USCA11 Case: 24-13671       Document: 13         Date Filed: 12/05/2024     Page: 9 of 723



 2. VALERIEMANNOSCHURR 1/21/22               ■made almost 12 Million from US BANK Exh. 27

 3      ■9HN SCHLESINGER 12/19/2017         —made almost 29 Million from US BANK Exh. 28

 4.    SAMANTHA RUIZ COHEN 5/12/2021              ■made over- 2 Million from US BANK Exh. 29

 5. MIGUEL DE LA O 1/9/2019                      ■made almost 1 Million from US BANK Exh. 30

 6. VERONICA DIAZ 6/2/2020^                —made almost ‘A Million from US BANK Exh. 31

 7. VIVIANNE DEL RIO 5/4/2022^                  ■made almost 2 Million from US BANK Exh. 32

 8. JOSE M. RODRIGUEZ 1/29/24                   ■made almost 2 Million from US BANK Exh. 33

 9. JOSE E. MARTINEZ 08/23/23                   ■made almost 3 Million From US BANK Exh. 34

     10. EDUARDO SANCHEZ 06/17/23                       -made $250,000 From US BANK Exh. 35

     11. CARLOS LOPEZ 06/17/23               ■made almost 3 Million From US BANK Exh. 36
       %
       APPELLATE JUDGES WITH A CONFLICT OF INTEREST FROM DEUTSCHE BANK

1. FI^OWN'WYN C. MILLER-                                                       Made $95,000 (Exh.4)

            Comes now MACK WELLS acting Pro-Se here states Judge Brownwyn Miller, says
that Wells Fargo on his 2012 Form 6 Full and public Disclosure of Financial Of Interest is a
Bank doing Business with US Bank because he’s doing business with US Bank and helping
them make money so that he can make money by Foreclosing and taking our property while
acting as the Judge to take the property not on his Merits but for to make him aiid them money
Illegally. Here’s proof, Judge Brownwyn C. Miller.is doing business with Wells Fargo Bank as
seen on his Form 6 page 1 line 4 he got $95,000.00 from Tallahassee called Full And Public
Disclosure Of Financial form 6 Exh. A, Wells Fargo is US Bank IS DEUTSCHE BANK. That .
is a Conflict of Interest against us and there’s more, Exh. J. I have found that our case was
directed to him in this Pool, So he must recuse himself and vacate his Order. Exhibit B so
      %
Brcnmwyn Miller you must Recuse YOUR SELF and VACATE YOUR ORDER against us,
Exh..F. ORDER OF DISMISSAL WAS PUT IN JUNE 6, 2019


           APPELLATE JUDGES WITH A CONFLICT OF INTEREST FROM US BA IK



2.    KEVIN MICHAEL EMAS                                      ■Made $225,310 from US BANK (Exh.5)


                                                  9
       USCA11 Case: 24-13671               Document: 13         Date Filed: 12/05/2024          Page: 10 of 723



                Comes now MACK WELLS acting Pro-Se here states Judge Kevin Michael Emas,says that Wells
- %
      Fargo on his 2012 Form 6 Full and public Disclosure ofFinancial OfInterest is a Bank doing Business with

      US Bancorp because he’s doing business with US Bancorp and helping them make money so that he can

      make money by Foreclosing and taking our property while acting as the Judge to take the property not on
                                           *




      his Merits but for to make him and them money Illegally. Here’s proof, Judge Kevin Michael Emas is doing

      busij;.ess with Wells Fargo as seen on his Form 6 page 1 line 4 from Tallahassee called Full And Public

      DisdSsure OfFinancial form 6 Exh. A, Wells Fargo is US Bancorp Exh. B. And US Bancorp is US Bank



                Exh. C That is a Conflict ofInterest against us and there’s more, Exh. J. I have found that our case

      was directed to him in this Pool, So he must recuse himselfand vacate his Order,Exhibit B so Kevin Michael

      Emas you must Recuse YOUR SELF and VACATE YOUR ORDER against us, Exh. F.



      3. EDWIN SCALES                                                       Made $34,641 from US BANK (Exh.6)

                 Judge Edwin Scales, says that Chase Bank on his 2012 Form 6 Full and public Disclosure of

      Financial Of Interest is a Bank doing; Business with US Bancorp because he’s doing business with US

      Bancorp and helping them make money so that he can make money by Foreclosing and taking our property

      whi($ acting as the Judge to take the property not on his Merits but for to make him and them money
          •f-


      Illegally. Here’s proof. Judge Edwin Scales is doing business with Chase Bank as seen on his Form 6 page

      1 line 4 from Tallahassee called Full And Public Disclosure Of Financial form 6 Exh. A, Chase Bank is

      US Bancorp Exh. B. And US Bancorp is US Bank Exh. C That is a Conflict of Interest against us and

      there’s more,Exh. J. I have found that our case was directed to him in this Pool, So he must recuse himself

      and vacate his Order, Exhibit B so Edwin Scales you must Recuse YOUR SELF and VACATE YOUR

      ORDER against us, Exh. F. Order ofDismissal on JAN.23, 2023.

                15020 S.R.DR.MIAMI33167 AND 1977 NE 119*"RD.MIAMI FL.33181. Exh.A.These Judges

      have made Millions of dollars with U.S. Bank taking Black People and AA^hitC EurOpCS-Il^S
        %
                                                               10
         . «
         • «
        USCA11 Case: 24-13671              Document: 13         Date Filed: 12/05/2024         Page: 11 of 723



          I
        hQines illegally for gifts of Money Exo. 23:8, Dent. 16:19. Which
           .




        sat^s Judges can’t take gifts because it blinds the eyes ofJudgement!1
                                                                                                     A-




        Here are these Judges examples. We filed a Federal Notice ofRemoval July 14*2023 in
        Ft. Lauderdale under case# 23-cv-61345 Filed and labeled Maurice Symonette and Mack Wells Notice of

        Removal Exh.7 and 8 with the receipt saying that this Case is in the Wrong Venue in Ft. Lauderdale and will
    %

        be sent to Dade County with the new Case# 23-cv-22640-JEM 28 LF.S. Code SS 1446 and 1441 says only

        Defendants can Remove a State Court Case to Federal Court so when we filed in the wrong venue by mistake

        and they sent our case to Dade county where the Case Originated which was the right Division under Case# 23-

        cv-^2640-JEM wherein Judge Martinez asked us to prove why we had Jurisdiction, filed on the Docket August
        3'^*«2023. August 7*,2023 we filed our Jurisdictional Memorandum,on 11/08/23 Defendant U.S. Bank began
        to I’^^pond to our Notice of Removal,and Complaint and until this day we have been in Federal Removal and

        they have not answered but during the interim Judge Carlos Lopez tried to sell the house whij^ we had aNotice
        ofRemoval and then he stopped the Sale ofthe House after we Pointed out to him the Notice of Removal and

        then we noticed that US BANK was continuing the Foreclosure because they snuck a Fake Forged Remand

        Order by us that had the a signature that’s obviously not Judge Jose E. Martinez’s signature see Exh. 9. As

        compared to his signature on our new Case# 23-cv-22640-JEM wherein Judge Martinez asked us to prove

        Federal Jurisdiction so therefore we demand to see the Original filings with the Original Signatures on Case#23-

        cv-22640 and Case#23-cv-22848, because we believe that some other filings are Forged and not Original, see

        Judge Martineze’s signature, Exh.-10. And three other cases of Judge Martinez’s signature. Martin V. Ogwyn,

        Ex^ 11 Smith Jr. v City of Miami,Exh. 12-1 and 12-2 and the United States ofAmerica V. Davis,Exh. 13. All
        of these Signatures are the same showing the incursive J going slightly towards the left with a half a circle J

        with*an Apostrophe at the top at the end of Jose’ the middle initial E is leaning towards the right with the end

        of the E at the bottom going up with a period the line on the M slants towards the right and 4ien back towards

        the left with a hook at the end with the A, R, T and with a incursive Z, the J is a circular pyramid very wide

                                                              11


I   %
USCA11 Case: 24-13671              Document: 13          Date Filed: 12/05/2024           Page: 12 of 723



pointing towards the left, the middle Initial E doesn’t look at all like the Middle initial E on the other true

signatures, Exh .14 and it has no period and the (mart) has the A with no R like the original, Exh. 9. with the

rest of the alphabets leaning towards the right. And the alphabet T does not have a straight line slanted down

like the rest of the Ts on his corre ;t signatures, the fake T has a hook on the left the original does not have the

ho(^. and does not have the incursive E or the long Z at the end of his name so therefore this is not Judge
Marlmez’s signature and a fake Order. And I know that Judge Jose E. Martinez signature be on that Remand

Ordtlr dated 08/23/2023 when he knew I filed a corrected Amended Notice of Removal and Complaint under

the Case# 23-cv-22640-JEM dated 07/14/23 that came from the'confusion of us filing the Notice of Removal

in the wrong Division Ft. Lauderdale that they transferred to Dade Cunty Federal Division the same Day

wherein Judge Martinez asked us to show why the Federal Courts had Jurisdiction to Remove this Case to

Federal Court as seen in case# 23-cv-22640-JEM Dated 08/03/23 we showed our Jurisdiction 08/07/23 and we

filed our Amended Complaint listed 08/01/23 which also had the Amended Notice of Removal written June

29*’as seen above the signatures of the Document attached to the Amended Complaint Exh 15. 1 and 2. but
Frandulently did not show on the Federal Docket Dated,08/02/23, because ofthe Powerful Federal Jurisdictions

in it, but said and mentioned because we did File it, 08/07/23 Docket,taken out ofthe Docket and used by U.S.

BAIm'K LAWYERS FRAUDULENTLY to do a FED. NOTICE OF REMOVAL Filed by U.S. BANK N.A. in

Vioidtion of 28 USC 1446 (b)(1) which only allows Defendants to File. Which U.S. BANK as the Plaintiff

cannot do a Notice of Ren:..oval because they choose the County Venue and they used SYMONETTE and

WELL’S signature to File for U.S. BANK N.A. as seen on the 23-CV-22848-JEM FAKE CASE number one

on that Docket. The Law says a person can’t sign for a Corporation, Walacoerage v. Excell, but U.S. BANK

LAWYERS USED our signatures to file for U.S. BANK N.A. Even though SYMONETTE nor WELL’s filed

or opened that 23-CV-22848-JEM Fraudulent Case 07/31/23 U.S.BANK did this by taking the Document filing

dated July 3U* ofthe NOTICE ofFiling our Notice ofRemoval, Exh. 16-1. They took this and started a whole

new Case without our Permission!6-2. And that’s why we had to file our notice of compliance for the Notice

of Removal and Complaint 10/12/23, and then we had to file our Notice of Removal in County Court Case#

20f-61928-CAOl, 10/13/23, 10/14/23 and 10/15/23

                                                        12
USCA11 Case: 24-13671             Document: 13         Date Filed: 12/05/2024          Page: 13 of 723



and Ihe Clerks tried to keep our filings off the Docket even though we E Filed the Notice of Removal but it

would not show on the DAhE DOCKET several times, Exh. 17 pgs.1 and 2. and we gave it to the Clerk at the

Clerk’s Counter on Camera and gave it to Judge Carlos Lopez direct as admitted by the HEAD CLERK after

we showed her the video proof then they put the Notice of Removal Filings on the DADE DOCKT Case #

2010-61928-CA01 Dated and seen on Docket Oct. 13* ,14*, and 15*, before the Oct. 16"' Sales Date but they

allowed the Sale to go anyway in Violation Federal Stay Law 28 U.S. CODE SS 1446(d)on video gods2.com

lG-18. and 19. in the County Case# 1010-61928-CA01 and they did the Sale anyway in Violation of 28 US

CODE SS 1446(d). US BANK knew were in the NOTICE OF REMOVAL Court because US BANK did a

Notice of Appearance to our Notics ofRemoval as seen on the Federal Docket Case #23-CV-22640-JEM Dated

08/|^/2023, 10/12/2023 and 11/08/2023 that’s LINES 8, 9 and 10. And as seen in the County Case# 2010-
6192^8-CAOl and as seen on Docket Oct. 13*,14*, and 15*, before the Oct. 16* Sales Date. We objected to the

Sale'and Judge Carlos Lopez immediately stopped being the Judge and Judge Spencer Eig became the Judge

and we pointed out to him that this case has already been Removed to Federal Court and fs still in Federal

Court and Judge Eig Went against 28 U.S. Code SS 1446 (d) and went against the 3''" DCA Appellate Court

Garcia V. Deutsche Bank Nat’l Trust Co., ofthe which says once aNotice ofRemoval is Filed all State actions

stops which is totally binding on Judge Spencer Eig of the 11* Judicial Circuit Court from the Federal Courts

and the 3'" DCA Appellate Court NOW TO SHOW THE FORGERY AND FRAUD

TO        ILLEGALLY             STEAL          VETERANS              AND        CRIPPLE           BLACK

PEOPLE’S PROPERTY We filed aNotice of Removal July 17* in Ft. Lauderdale Case# 23-cv-

61345 Exh. 19. With the receipt on the comments line with the Case# 23-cv-61345 Wells Et A1 V. U.S Bank
   • s.


National Association Et al wherein we paid the $402 cash as required and very important to notice that the

Case# on the receipt on Case# 23-cv-61345 has the Case# of the transferred Case# 23-cv-r 2640 because the

case was transferred to the Miami Division but the point is the Document# is written at the very top of all the

of all the Documents on a Federal Docket but this receipt on all Federal Dockets! Exh. 8 but for this strange

Case that now mysteriously shows up Docket text filed 07/14/23 it says Clerks Notice to filer reference Case

                                                      13
USCA11 Case: 24-13671              Document: 13          Date Filed: 12/05/2024          Page: 14 of 723



administratively closed. Wrong venue selected by filing Case has been renumbered to the new Case# 23-cv-
   • «




22640 no further entries will be made on this case entered 07/14/23 Exh. 7. A,B, and C. but it was the wrong

Division and was transferred the same day to the Correct Division in Dade-County Federal Ct urt with the case#

23-CV-61345. I want you to take notice that the remand for July 3F‘ has a forged signature from the wrong

case# that never existed because they immediately put it in the Miami-Dade Federal Court which was the correct

division and not only was the signature on the remand forged but the signature for the clerk on the certified

stamp was forged too. The whole case for Case# 23-CV-22848 is totally Fraudulent,the Case# that was actually

filed and paid for by us was Case# 23-CV-61345 and that Case was immediately moved to Miami under Case

#23-CV-22640 the other Case# 23-cv-22848 that was Supposedly Remanded has file date of July 3             but only

case we filed was on July 14. Also the Order ofRemand that was put on that case didn’t make any Sense it said

thatJS Bank filed a Notice ofRemoval that was found in the State Court on July 31 did not have my signature

on i^^c'and it had the wrong Case#23-cv-22848 on it my Case# is 23-cv-22640 and the Case#23-cv-22848 on that
     <



one is fiom U.S. Bank filing a fake receipt when I filed it had the correct case# on it but the Clerk and the

Lawyers changed it just like they did Valerie Manno Sohurr. It has the same Fonts for Aug. 1 1 2008 labels For

Sara Zabel’s Dismissal with Prejudice. And Valerie Manno Schurr said she did not sign it and according to FI.

Stat.695.26(a) It says a printed name must be under the Signature according to Fannie Mae rule B8-3-04 and

their literally using our same fonts so that the Notice ofRemoval is literally not the one that we filed in Federal

Court ours ended in 640 theirs ended in 848 and then they Remanded it by signing the Signature. So that they

Could continue the fake Foreclosure that they were doing unbeknownst to us because we were working on the

Federal Case#23-cv-22640 but when we caught on was when we found out they still had a Sale for the house

so 1|^e had to go get our notice ofremoval papers.


   • «


(5) < This State Court is precluded by federal law, based on the application of the automatic stay Federal code

         28 U.S. SS 1446 (D), from allowing the sale to proceed forward in this instance, "'iiis Court has no

         discretion in this matter when it comes to the removal statute and its effect on the jurisdiction of this

         Court.



                                                        14
           USCA11 Case: 24-13671               Document: 13         Date Filed: 12/05/2024           Page: 15 of 723




            The Third District, whose decisions are utterly binding on this Court stated, in Garcia v. Deutsche Bank

            Nat'l Trust Co.,259 So. 3d 201,202(Fla. 3DCA 2018),that “State courtjurisdiction ceases upon removal

        of a case to federal court and any pre-remand vroceedinss occurrine in the state court after the case has

        been I
             rjmoved are vo/ffYciting Musa v. Wells Fargo Del. Tr. Co., 181 So. 3d 1275, 1277 (Fla. 1st DCA 2015))
I       [empbf!jis added]. But it does not end there. Even more telling as to the effect ofa on a court’sjiirisdiction is what
        the Third District stated following that which was “[i]n a detailed review ofthe law in this area, the First District

        concluded that even an improper removal to federal court, or a removalfor improver motives.' will not preserve

        state court jurisdiction.” Id. at 1280-84; see also Cole v. Wells Fargo Bank Nat'l Ass'n, 201 So. 3d 749,750(Fla.

        5th DCA 2016).

    > A week or so before July 11* Maurice Symonette and Micahiel Nichloson went to the

        Clerk of the Court and saw Alfred Davis’s Docket and saw something shocking the
    ♦



        Transcript by Transcriber Mary Ann Casale excluded the Statement that Judge Martinez

        said i^hich was I’m not doing that because you guys did not prove your case, you brought
        no evidence in that proved Alfred Davis did anything and you brought no Witnesses In
              •%




        that Identified Alfred Davis. So Maurice Symonette brought Alfred Davis to the Federal

        Clerks office a day or so before the July 11 Sentencing hearing and saw it to we ordered

        the whole Transcript the Clerk printed it up and Alfred Davis was about to pay for it the

        Clerk saw that we noticed that we saw the horrible discrepancy and then said oh no we
    %
    I




    ’ can’t allow,you to get transcript and took it from us in Violation of, 5 CFR § 1201.53

        Record ofProceeding(a)(b)(c) but we have about 20 eye and ear witnesses that what Judge

        Jose E. Martinez said on botH days ofthe trial was true we heard Judge Jose Martinez say
             I
        thosa vwds which we also saw and heard, Affidavits,Exh.22.1-8, but on7/l 1/24 the Judge
             . i
              •«
                                                                   15
                         %

                       USCA11 Case: 24-13671      Document: 13    Date Filed: 12/05/2024    Page: 16 of 723



                     out of nowhere said he agreed with the Jury exactly the Opposite of what he said which
                     explains why the transcriber refused process service for lawsuit, Exh.23 who Changed
                     Transcript to match judges change about Alfred Davis Federal Judge Rodolfo (has a
                     $250,000 Conflict ofInterest with U.S. Batik)Exh.38, Federal Judge Kathleen Williams
                    (has a $50,000 Conflict of Interest with U.S. Bank) Exh.39, Federal Judge Darrin P.
                     Gayles(has a $250,000 Conflict of Interest with U.S. Bank)Exh.40, and Judge Spencer
        ' 'Eig (has an $108,000 Conflict of Interest with U.S. Bank) Exh.41, Johnathan Goodman
            I   ’

                    (has a $50,000 Conflict of interest with U.S. Bank)Exh.42 all have Conflicts of Interest.
                     So n^^t only do they not have the right to file motions they don’t have the right to be on
                     this Gase. Clerk ofCourts Comptroller Juan-Femandez Barquin(has a Conflict ofInterest
    !                of $635,000 with U.S. Bank)Exh.37 and Federal Judge Sheri P. Chappell has a Conflict
                     of interest of $250,000 from with U.S. Bank) Exh.4_3. And Attys. Eve Abxis Cahn, H.
        I



                     Ron Davidson, Spencer Devin Leech, Christopher Michael Sutter, and Lapointe
                     Markenzy, ISABELLE MARIE CARPBAJALES, JOSE ANGEL CASAL, DANIEL MATZKIN are all
                     Representing one or more of the Judges above who have Conflicts of Interest with U.S.
                    Bank . This Racist Jonathan Bailyn PROSECUTOR was able to put in his response to the
    1                request for Bond while waiting for his Appeal was able to say that Alfred doesn’t have
                    • close family Ties because no Family wrote him a Character letter or testified for his
                     Character afthe Hearing in the Docket7/17/24 Doc entry 74 last paragraph of page 1 case
                    #24-(^.R-20051-JEM. What a trick to perfect,their trick Case because his Atty. Held back
                    the Character letters and she didn’t let us Testify so that the Prosecutor can say no family
,                   ties tii stop his Bond, here are the character letters she held back Exh.24,l-8.to stop the
I                    Americangala.com eveni for the VETS and take our property.




                                                                  16
          USCA11 Case: 24-13671
            . «                     Document: 13    Date Filed: 12/05/2024   Page: 17 of 723



        what a perfect team to doom Alfred Davis with the help of his Atty. Aiid this Racist

        Prosecutor Bailyn Nut called our nonprofit organization HOODLUMS=(Niggers).

        Coupled with all this Fake charges done to take our Property by making us Wow we who
    %


    ; feed the people and their kids every Sunday and after the event we pick up the trash

        making our neighborhood very clean for almost 30 years with old people, young peopld,

        kids Latin, Black and White we help people with Community Service, we feed people, do
            *
        vote!?.Registration Drives and help with the Get out to Vote Strategies with Symonettes
            . *



        Fraternity Alpha Phi Omega a Service Fraternity for the People I have temple sermons 4

        times a day played on different on Radio Stations daily, we got a Proclamation from the

        city of Miami from doing these events, Exh. 25.


    %




                                    4




            >•

            . s




I




                                                   17
    USCA11 Case: 24-13671          Document: 13       Date Filed: 12/05/2024        Page: 18 of 723

%


        The Appellant is Appealing Judge Sheri Chapelle’s Order to Dismiss our Case with

    Prejudice, Because a writ of Replevin Case is not Supposed to be Dismissed because

    According to Stat. 78 U.S. Bank has to have proof that they Own the Note of which they

    ha^ Consistently proven that they don’t have. Not to mention that the Judge Ruling on this
    Casi^ has Conflict ofInterest with U.S. Bank in the Amount of$250,000 Exh.B. Finally, how

    can it be ignored that. Clerk of Courts JUAN FERNANDEZ-BARQUIN,Federal

    Judge JOSE E. MARTINEZ,and Federal Magistrate EDUARDO SANCHEZ

    all have no say in Filing Motions or Documents in this Case because they have

^   no right to file documents period according to Florida Rules of Court 2.420(6)
    which says “Filer” means any person who files a document in court records,

    except, “filer” does not include the Clerk of Court or designee of the Clerk, a

    Judge, Magistrate. Hearing Officer, or Designee of a Judge, Magistrate or

    Htfaring Officer. They’re in total violation of this rule and all his motions and

    any other Documents filed are Null and Void.)




             2.      Check one ofthe following:

                     __ a. I certify that I am unaware of any actual or potential conflict of interest
      involving the District Judge and Magistrate Judge assigned to this case and will immediately
      notify the Court in writing upon learning of any such conflict,
                                                       -or-

                      X b. I certify that I am aware of a conflict or basis of recusal of the District
      Judge or Magistrate Judge as follows:(explain) Judge Sheri Chappelle has a Conflict of
      Interest with U.S. Bank in the amount of$250,000 with U.S. Bank See Exh. B


                                     CEKTIFICATF.OF SERVICF.

      . «
            USCA11 Case: 24-13671        Document: 13      Date Filed: 12/05/2024       Page: 19 of 723



             %       I HEREBY CERTIFY that on this 19th day of Nov. 2024, I electronically filed the
             * -


              foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice

              of electronic filing.


                                                        /S/MACK WELLS
                                                        MACK WELLS
                                                         15020 S. RIVER DR.
                                                         MIAMI FL. 33167



                                                                                    4


                                                        /sMaurice symonette
                                                        MAURICE SYMONETTE
                                                        15020 S. RIVER DR.
                                                        MIAMI FL. 33167



             *
             . «
              • «




                                                                                            #•




        %




             I
             «'.


             .




              • «




^   I
           o'


           . 4

         USCA11 Case: 24-13671
               • O
                                  Document: 13   Date Filed: 12/05/2024   Page: 20 of 723
               •4




                                 EXHIBIT A -INTERESTED PERSONS


               INTERESTED PKRSONS/




               PROSE

    9-

               MACK WELLS AND MAURICE

               SYMONETTE- APPELLANT’S

          I
          . «
               •%

                ■S'




                                                                              «■




    9-
A




          Ik
           ♦ -



           .     4


                4^
               USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024       Page: 21 of 723

          %




                       EXfflBITA- APPELLEE’S            AFFILIATED ATTORNEYS OR
          9-
•-5
                       INTERESTED PERSONS               OTHER PROFESSIONALS

                  U.S. BANKN.A.

                I                                        Eve Alexis Cann
                                                         Baker Donelson
      I         . i                                      200 East Broward Blvd.
                 •%
                                                         Suite 2000
                                                         Fort Lauderdale,FL 33301
                                                         954-768-1612
                                                         Email: ecann@bakerdonelson.?om
                                                         LEAD ATTORNEY
                                                         A TTORNEY TO BE NOTICED


                                                         Spencer Devin Leach
                                                         Baker,Donelson,Bearman, Caldwell
                                                         and Berkowitz,PC
      ■ \                                                100 S.E. Third Avenue
                                                         Suite 1620
                                                        Fort Lauderdale,FL 33394
          9
                                                        (954)768-1615
                                                        Email: sleach@bakerdonelson.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED


                I                                        Eve Alexis Cann
                4TDERAL JUDGE JOSE                      (See above for address)
                 E. MARTINEZ                            ATTORNEY TO BE NOTICED
                 • «




                                                         H.Ron Davidson
                                                         United States Attorney's Office *
                                                        99 NE 4 Street                  :
                                                         Miami,FL 33132
                                                         305-961-9405
                                                        Fax: 305-536-4699
                                                        Email: h.ron.davidson@usdoj.gov
                                                        ATTORNEY TO BE NOTICED




                                                        Eve Alexis Cann
                                                        (See above for address)
          9
                                                         ATTORNEY TO BE NOTICED
                 FEDERAL
                MAGISTRATE                              H.Ron Davidson
                 EDUARDO SANCHEZ                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                k
                .. «
                  USCA11 Case: 24-13671     Document: 13   Date Filed: 12/05/2024      Page: 22 of 723


                   I
                          •




                    . ^
                        •%



                                                             Eve Alexis Cann
                                                             (See above for address)
                        OFFICIAL COURT ^
                                                             ATTORNEY TO BE NOTICE!;
                        REPORTER MARY
                        ANN CASALE                           H.Ron Davidson
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED



              %
          I

                        ASSISTANT UNITED
                                                             H.Ron Davidson
                        STATES ATTORNEY
                                                             (See above for address)
'•f
                        JONATHAN BAILYN
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED


                                                             Eve Alexis Cann
      I            I                                         (See above for address)
                   Jb .
                                                             A TTORNEY TO BE NOTICED

                    • «

                         P


                        JUDGE SPENCER EIG
                                                           Christopher Michael Sutter        *■
                                                           Florida Office of the Attorney Gerieral
                                                           110 SE 6th Street
                                                           10th Floor
                                                           Fort Lauderdale,FL 33301
                                                           (954)712-4600
                                                           Fax:(954)527-3702
                                                           Email:
              %                                            christopher.sutter@myfIoridalegal.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

■V




                                                           Eve Alexis Cann
                                                           (See above for address)
                                                           A TTORNEY TO BE NOTICED

                    I
                    .



                        • %

                        ■P
     . *




    USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024       Page: 23 of 723




%

    JUDGE VIVIANNE DEL RIO
                                              Christopher Michael Sutter
                                              Florida Office of the Attorney General
                                              110 SE 6th Street
                                              10th Floor
                                              Fort Lauderdale,FL 33301
                                              (954)712-4600
                                              Fax:(954)527-3702
                                              Email: Christopher.sutter@myfEve Alexis
                                              Cann
     * ■

                                              (See above for address)
     . *
      •%
                                              ATTORNEY TO BE
                                              AOr/CEDloridalegal.com
                                              LEAD ATTORNEY
                                              A TTORNEY TO BE NOTICED^




%
    CLERK OF COURTS COMPTROLLER               Isabelle Marie Carbajales
    JUAN FERNANDEZ-BARQUm^                    Holland and Knight LLP
                                              701 Brickell Ave
                                              Unit 3300
                                              Miami,FL 33131
                                              3053748500
                                              Fax: 3057897799
                                              Email: isabelle.carbajales@hklaw.com
     I                                        LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
     . *
      • «

                                              Jose Angel Casal
                                              Holland & Knight
                                                                            *
                                              701 Brickell Avenue
                                              Suite 3300
                                              Miami,FL 33131
                                              305-789-7713
                                              Fax: 305-789-7799
                                              Email:jose.casal@hklaw.com
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
%

                                              Eve Alexis Cann
                                              (See above for address)
W                                             ATTORNEY TO BE NOTICED




     I
                   USCA11 Case: 24-13671      Document: 13   Date Filed: 12/05/2024   Page: 24 of 723
               %




    -x<


                   FEDERAL.JUDGE KATHLEEN
                                             ■*



                                  LIAMS

                    T'• ■




                        .    *
                            • «


                   FEDERAL JUDGE RODOLFO A. RUIZ



                   FEDERAL JUDGE DARRIN P.


                   GAYLES



                   FEDERAL JUDGE JOHNATHAN
               %
                   GOODMAN



    '■k
\

                   FEDERAL JUDGE SHERI POLSTER
                   CHAPPELL                :«




                    %
                    LAPOINTE MARKENZY
                     .       *
                         • •




                    ISABELLE MARIE CARPBAJALES




                    JOSE ANGEL CASAL



                    FLORIDA ATTY. GENERAL SERVICE



                    DANIEL MATZKIN
    iS




          'I
                    %
                    .        «
                         • %




           I

                                                                                          #-
                                                                    i.-
                       t
                    USCA11
                ;^as.e       Case: 24-13671
                       l:23-cv-22848-JEM     Document:
                                         Document      13 Date
                                                  1-2 Entered     Filed:Docket
                                                              on FLSD    12/05/2024     Page: 25 of 723
                                                                               07/31/20?'=*                                                                                                                                                              ‘

                                                                                                                                                                                                                    Exh.l
                                                                                                                                                                                                s                              mme^




                                                                             Wi:.Frol3a%JWs(tef                                                                              jrjjfb'iriiiitiQ'Ci: *



                                                                                                                                                                                                                                                        1
                                                             4:


                                                                                          ■r                             - , c^Pt^etefietHevcwir-ia                                                        pmmDm^i^r
                                                                 2

                                                                  I                      =i
                                                                                              ^«w::                                                                                                                                 UBAni ‘ li


                     ! . :0W/2alt                                                                            imiN
                                                                                                                                         .*


                                                                                                                                                                                                tiTf •'■■<■■•   •

                                                                                                                          1^
                     ; '
                                                                                                                          m          ,?              FiUED.IN;CA^:# Q(j^^
                                                                                                                                                                  mm ■                                                                              '.
f
                                                     ■iu:.
          ;» ,             k
                                                        4.
                                                                 Jt                                                                                                                                                                 n.
                                          |f
                      kf:                                         5
                                                                                                                                          &                                       ■'•Siff

«■'                    •V
                     .1;;!
y.

i
-:.=:                (' i
                               i!
                               ii
                                    a^Bi               <Ui



                                                     :-3'
                                               ii.          1^
    !                                                                 “"'.                     ' l..rw
                                                                                                                                                    !!?S!
                                                                                                                                                                 S'i
                                                                                               iite                                                                      '■•i :


                               mmm                                                                                                                                                            w'.i
                                                                                                                         I
                                                                                                                                         .4.^



                                                                                                                                  ’ ■>

                                                                                                                                                                                                                           ^'7.


    ■r'
                A
                                                                                                                         jmi                                            , „PF
                                                                                                                                                                                                                                    >V3Ba.2.
                                                                                                                                                                                                                                            r' •‘’ :

IP                                                                                                                                              lYraTnis
 y■ .
                                    tmt
                                                                                                                              ~f~r^                                          t

                                                                                                                                                                                                                -m-aiwKE OI^.:ii-
                                                                                                                              - :-W»w^ms:R£gP0^^vto                                                                                      ^
          •;■
                           USSSittiiiWi                                                         u
                                                                                         13                                                                                                                                '
                                                                                                                   ^
                                                                                                                   MsnMuiS
                                                                                                                                   TTT^                                 mrnEmm
                                                                                                                                                    &       «i

                                                                                                             w
                                                                                                                                                                                                                               kmB
                                                                                                                                                                                               Tcr
                                                                                                             it£   ^ee
                                                                                                                                                                                            mm-
        .: i.


            ni:
                     iP^                                                     wm
                                                                             fl ic
                                                                                                         m
                                                                                                                    «i
                                                                                                                                                                 fT                         '^'/Xj        '■>

:
                                                                                                                                                                                                                               rp
                •.
                                                                                ■    4


                                                                                         iMgmtp'                                                                  •jjv .1.
i-v
                                                                                                                                                                                                       STAV
                                                                                                                              t

                                                                                                                                                                                                                                                 '■«»
        rs
        t-,                                          USCA11
                                                    ise       Case: 24-13671
                                                        II23-CV-22848-JEM     Document:
                                                                          Document      13 Date Filed: 12/05/2024 Page: 26 of 723r^nn
                                                                                     "EfTtCTed^t)n-Ri.SDjDockenr77gih^?3--
                                                                                         -»K



              / •
                                                                                                                                                                                                                              i.
                                                                                                                                                                                                                                                                                                                      Bxh.l pg.2
                                             ■'».            WmMM                                                                                                        . -'feXT-                                                        jj
                                                                                                                                                                                                                                                                                                         oh

                                                                                                                                                                                                                                     T]
                                                                                                                                            u.

                                                    i
                                                                                                                                                                                                                                                                                               V-                                           J_
                                                                                                                                                                                                                                     .t
4

                                                                                                                                                                                                                                     r]                                  -V-'-‘.
                                                                                                                                                                             .'4t

                                                             .    ir>            y
                                                                                                                                                                                                                                          •?»?:



        {'-^1                                                                                                                           r
                                                                                                                                                                                                                                               r*t
                                                                                                                                                                                                                                                                                                                                                     Mi


                                                                                                                                                 u;.



                                             . fe^QQ7i                                                                             ii

                                        r;
»

                                                                                                                                                                                                                                   Pt.

                                                                                                                                                                                                                              t
                                                                                     rrr?
                      I                                                                                                                                              ■>’



                                                                                      i'<v ■•


                                                                                                                                                                                                                                                                                                :DN03:
                                                                                 w
                                                                                                                ■                                 ■ EMfeftgp “ ' I                                                                                                                                                                          T

                                                                                                                                                                                                                                                                                            i>Nff1^£)K}62:E'

                                                                                                                               R
                                                                                                                                                                                         ,<
                                                                                                                                                                                                                                                                                                                      IP
                                                                                                                                                                                                                                                                                                                      ^f,.
                                                                                                                                                                                                                        -1/
                                                                                                                                             MfL-J
    •■■i.'i
              I                                                                                                                                                              2jj?
    1^-                                ^ZT'
    s'-                                                                                         K>-
                                                                                                                                                                             tSi
                              ‘J
*
                                   A
                                                                                                                                                                                                     :t                 :Ji
                  5                    .•<* F»»
\
                                                        *.       ;,                                                                                                                                                ):
                                                                                                                                                                                                                   J.
                                   -jj^
        !i

                          : S^SST'                                                                                      !
                                                                                                                        ■V-J
                                                                                                                                                              ►■'«


                                                                                                                                                                                   •ii


                                               •1.5
                                                                                                      rwf                                                    ;7E^'^                           vtT*
                                                                                                                                                                                                             ■;|
                                                                                                                                                                                                                   .1
                                                                                                                                                                                                                                                              .1.1


                                                                 ■f?                                                                                                                              -ii
                                                                                                 TTSWr
a^                                                                          >7.i                                                                                                              ,




    i


    !                                                                                                                                                                                                                                                                                                                           —--••li ,•■ *
                                                                                                                                                                                                                                                                        ...        .   ..
                                                                                                                    f
                                                                        T
    t
    r



                                                                                                                                                                                                                                                                                       •I                 '■i*
    }                                                                                                                                                  'C'

                                                                                                       V'l?.                ;V
                                                                                                                                                                                                                                                              ^T.:^^..£2S!gy:w3=H02i mai
                                                                             m                                                                                                      Ll
                                                                                                                                                                                    !.
                                                                                                                                                                                                            I.




                                                                                                TrTK
                                                                                                                                                                                                                                                                     ■?r"’.^ .ry
                                                                                                 i;
                                                                                                                                                                                                                                            . »v . i-i

                                                                                                                                                                                                  j-i !•;                                                                                                        ..    . •*
                                                                                                                                                                                                                                          -»•   ’. J                                                                                      iv     .
                                                                                                      T'vT’zl
                                                                                                                                                                                                                                                                                                                                            57P-r


«   i

                                                                                                                                                       I
                                                                                                                                                                                                                                                         t'


                                                                                                                                                                                                                                                                                                                              ■'^f\

    h-                    . -i
                              I
                                   s                    ’<
    ':■:                  •        h.




at:%-                                                                                                                                                                                                                                                                                                                                                •a



                                        •!

                                                                        I    •
                                                                                                                                   ’-Sr
                                                                                                                                                                 »
                                                                                                                                                                     t
-   r                                          USCA11 Case: 24-13671                                                   Document: 13                     Date Filed: 12/05/2024                               Page: 27 of 723
                                                                                                                                   OcnvniamiiTvieiaft, U.C'
                                   I                                                                           lir-LPINC homix>wnurs is what we OCM*'*
                                                                                                                       aw,iW8iti<^iiBWiiiE.cpti

                                        GMAC Mortgage                                                                                                                                                                  Exh.2
    a
                                           . Notice of Servicing Transfer and Welcome to Oewen Loan Servicing,LLC
                                   F(*niaiy 7.2()M


                                   •.vr>rji.           i;j:r eMvieT};4:r'« ;:;Gare.v>icQaym»TiT




                                      LEROY NILL^^
                                      HO BOX 222i|^:
                                   HOLLYVOOO             33022-2692

                                                                                                                                                           Your Loan Account Details                                           r*y f 2
                             I                                                                                                                                     as of02/04/2013                                                          )
                                                                                                                                                                                                     Filed      //■''af             20 n
                                                                                                      .   u                                             Account Niunber.
                                                                                                                                                               1937 ,
                                                                                                                                                                                                     Case No.
                                 Dear LEROY WILLIAMS,                                                                                                   Properly AiUrcus:
                                                                                                                                                        l.rOM) SOUTH RIVF.R ORIVF.                                    I-IAKVEY RUVIN
                                 Hie servicing of your mortgage loan, lliat is. tlie right to collect itamiema from you, b                              MIAMI Kl. .33167                                              Clerk Circuit Court
                                 iransrcmiig Irom tour current scrvfccr, OMAC Mortgage ("OM/lCMl lo your new servicer,
                                 Ocwca Loan Serweiug, LLC (XtewoT) effective febnuay 16,201J.                                                           Transit: Date;
                         '       Real assured this (ranslin of servicing dues nol olVccl my term ur condition of the mortgage                           02/16/2013
                                 documents, other than thorn directly related to tlie serriciug ofyour loaiL Hieiie will be no
                                 change rn ynux account riunber nr payment addrasr, only to the name of the company to which                            Principal Ralaimc:
                                 you make your payment. /Ml mailmg addresses end pheae numbers you previously used lo                                   S448.000.00
                                 ^tact OMACM will remain the saute but, as of Kebiuaiy 16,2013. they'will be inaiiitaiued
                                       Oewen. You will continue to be served in a knowledgmble and professional manner, just ns
                                                                                                                                                        Hscrow Balance;
                        I             M have in the past.
                                                                                                                                                        -$148,948.27
                                 <iMACM will stop acceptiug payments on Pcbnuiy IS, 2013. Ocwrai will bi%in to awept
                                 pavmentson I'ehniarv 16,201.3. Send all payments due on or after that dulern Oewen. A                                  Loon Rate;
                        :•
                                 Icnrarray coupon is provided below lor ywir convenience. Any account uoliccs pn-Tiarod                                 6.125%
                                 to bebnioiy 16.2013 will reflect GMACM; all notices prepared on or after b’elmiaiy 16,2013
                                 will reflect Oewen. In addition any payments received ny OMACM afterPehniary 15,2013
                    '            will automatically be processed by Ocwca                                                                               Next Payment Uiie:
    »
                                                                                                                                                        1/1/2007
                                 If %ou are cunently using GMACM's automatic payment service, this                                 will continue
                                 with no lapse in service. It'you previously made yourpayment it                                                        Payment Arnmmt;
                                 on or afler Pebtuaiy 16,2013 yuu cun go to ocweu.niutlKiigebutik; lle.com aud use yuur sunse                           Please refs: to your
                                 login ID and password for account access. Ifyou use a third part; Jiayinent service, please                            mortgage acoounl slalcmenl
                    '            retpuest they inxlatc llicir roctmis lo have payments made payable
                                 Oewen Loan %yicmE, LLC eflective I'ehruaiy 16,2013.
                                  Because QM/tq          is the subject of a bankruptcy pcoeuyding, federal law requires either
                                                                                                                                                          Oewen Lomi Servicing, LLC
                                  OMACM or ^
                                           „ a lo send you this notice not more than 30 days after the ettective date of the                                         Customer C«re
                                  tianstii ofthrfPiyicing ofyour loan. In this ca.se, all iieceas^- information is combined in                                   Conthct information
                                  this one noliix^*       ise review the reveisc side of this letter lor legal diselosures, notices and
                                  stole requiremo'         It's our goal to mate this transfer os seamless as possible.                              VPhons:
                                                                                                                                                      800-766-4622
                                  Enclosed are vM (1) final GMAC Mortgage annual privacy notice and (2 j your
                                  Oewen initial (Piracy notice dial becumes clVeetivc with Ihc start ofyour new                                         Porstmoi assistance:
                                 . customer lelaciouship with Oewen. Please see the Ocwai initial privacy notice tin                                    6:00 o.m. ■ 10:00 p.m.CTM-F
                j                 iinixirtaiica|it.mitele.tinii.s.                                    . e
                                                                                                                                                        and 8:00 a.in.-^2«0p.m. Sat
                                  We appreciate the opportunity to serve your home toon needa                       If you have questions                                                                        f
                                  relatina to the traiister ofsetriemg please contact onr Transfer Hotline at                                           24-hour automated service
                                  I -888-926-3479 wedalays frora 8:00 AM lo 7:00 PM. Central Time. Ifyou have
                                  questions about the gcucral servicing ofyour loau please call OMACM Custaum Care                                      bmail:
                                  .It «K>-76/i-4622,6;IMI a.m, - UIrtX) p in. C f M-l'and 8<X» a.m. - 2rtX) p.ra. Sat.                                  ocwent^ortgagabaiiksiie.onm
                                  Sincerely.                                                   Sincerely,                                               Web:
                                                                                                                                                        flcw«a.ianrtgaBelvinl;sile.ooni
                                  Charles K. Hoeeker                                           William C. Krbej’
                                                                                                                                                        Mail;
                                  Sr. Vice President, Customer Care                            President and Chief FaccuUvu Ollicer
                                                                                                                                                        K)Hox 780
            I                     OMAC Mortgage                                                Oewen Loau Servicing, LLC                                Waterloo, TA 50704-0780
                                 Wlosure(s)                                                                                                                                        oa-nas-rsoonnai

                                  I




                                                                                       Mortgage Payment Coupon
    i                                                                                                                                       a   OcH>e» Loan Servtcing, LLC
                                         Account Number:                  I                   vieaMassist IS
                                                                       -I
                                                                                        in .vpijiv'nf.your payment.
                                                 13937                    I

                                                                              Full Paymenti                          f
                                                                                                                    '.7'"

                                         Due Dali:                   •8 AOKIIIONAlPiintH'S'                   S.
                                         1/1                                  AOCtnONAl friowi                                          OCWEM
                                                                      s                                                                 PO 60X8001719
                                                                      d5 I Ai' Chaige                         5.
                                                                                                                                        LOUISVILLE. Kf 4080-1719
                                                       Payment:
                                                                              DUie.' Tees bnacllv)            ■1.
                                         Seeal
                                                                              Total AnKumtEndoMd              S.
                                                 -4:
        I
                                         LEROY ti^lLUAMS
                                                                                                     Da' D107                          3^37        DOODDDDD           OODOD        ES5S5        b
                                                                                                                                                                                                                 f
                                                                                                                                                                                                                 4L
                           6 FULL AND
            USCA11 Case: 24-13671      PUBLIC
                                   Document:     PlSCI^OSTTOTTnE
                                             13 Date                         ^ of iin
                                                     Filed: 12/05/2024 Page: 28   723

                                            ! FINANCIAL INTERESTS
                                                                                                        POROmCB




                                                                                                                                       um
                                                                                                                   lu^m           I
                     .Haft valerfe R.Steno Schtirr                          .a:
                     :CimartJui%e;
                     Judtml C^fcuit{117ls5                                                                        '. mm-         21038#
    i                 Bsaed Canwiutai^ ommr
                     73 W F&§lm S!Sb 1105
                                                                                                                   C«lf C«J£fe
                     rnismiFL m.3&-4m3

«
                                                                       %                                          ? Rail. Co*

         ■CHBC^ IFTH-tS SAFILBK SVAdw^iDATE              O                                                         fefe!j«3.Sd5Ufr, V3i«sfi0 R.

                                                     ?              PART A - NIT W^RtR
         Phsmi



                               i%nM»»ih»rt_rkggmbf g.'j, 1 ziia^$4,oy<, ocD. lv
                                                                       PART 8.-ASSETS '
        H<M«EKC5LD«XWA«0?WS€mAL»FK?fS:-

          «Her           mm,      wsnsidnt pirasaf sm                            ® ^ o'liWs fisra#. art o%s«. teiaisit^E               ^15,4 faaas*;,,^ <»w8.,«g^»
          The as8«®ate>«itB

        ASSETS NCWWAU.Y VAUJmAT ova 11^
        ■0"—>;—TT-..—               QP^^gTIaiieaife ^fe38t^'4)tfero^}a^-aaa CTwijroa^ttitt                                                  ^4l4lgOFASSf?
                                     m i rtu t' - Saot"' '                           - '
        itoc-                                                                                                                          iS
                                          i5i uT.                  i       , ,
        ii!C^ UaOi-t''
a                                                                                                            ^             r
                                                                                                                                       5’i2Cli£i£l^41.
                                                                                                                                 ic-%'

                                                     »            PART-C: •-: LIA BILITI^'
    BABiuiigs m Excess m si,«0j
                              AKPjyrgSESsop CREsiroR
                                                                                                                                  "Alseiwr OF UAKtITT
             mi                       \    M^Z, tC . be ^                          . i aV. IV jpg                                      loo
                                                  - r-O r^£v.            li^kl? , Phfmiv A^i                                   • •fp

                                             iL
    JOINT ATO sevimLiwiajms mrx mpommm^
                      N*«i.48iD’MSaREag eg                   .
         ar^-.'.«a                                                                                                                AMOllWTOFUAttUTY
             li




                                                                 ICowgiBiM^ e« rartar*» »^f
                                                                                                                                                     R«Sr




a
                             USCA11 Case: 24-13671                            Document: 13          Date Filed: 12/05/2024                    Page: 29 of 723

                            .                                               pjysar.D-iKCJOMi'
                                                                                                                                        Exh.3 pg.2
                            ’ S^l*»smJW «tf «ifHR« _«tf WJ»,, *5fs®«r;^«f»^6,(^totausL r

                    *.
                                                                                                                       i'a asm afiwr »ie      rttutn. yg,j nesg-^
                             fWHWS0BJ?cesfM'»«®llg;                                "
                            —g!yi<^3M^c»FiaxtMEexcgE&aissf,®!
                    9                                                                              4o»gs$<ya3fj)i^^giegjis
«
                           J• l                   WP\                                                                                                      mxm

                                                                                                                           I

                1
                                                 •09       ^                           r ^.^'of'to                                  .
                                                                                                                                                             055.^
                                                                                        1
                                                JSWifKSa OF BSCQlie p
                                  U ^ NAMSOF                                                              ffi»«e*i t® leikBSBs mm»-w itWbflttte#
                                                                        »^»s®yoR»,OTs                           MW»S
                                                                         waussM^nwoae                                                           F»<CIPAJ,®J81I®S-.
                                                                                                        '      OFScwce                         AefiwrywMii^
                                  |J.oa£-                           4


                                                                                                                                                  £4^




                                                                         PAST E                      SPSCPIIB
                                                                        S#<^SgMnTY#f'
                           NA&SeoF                                                                                                            miajgssswtv»3^-
                                                                        nr>9
                                           OF


                           Msrmmv

                           posnroifffljo
                          iSgm.mffy - „

                          iilS!eaUMlSMIiM&
                          fsraiPE a» w ■ -



                                     ^y^^^g*7W^^Ht^CON111roEI><»>A5EWRSSfewS!sE<S!-!?HKM Q
                                  rj       OATH                                             Sm-TBOFiWWSA
                                                                                            COUHIYW
                                                                                                                       .   •=
                                                                                                                                t
            i             J.tho             wte BiWte!iKM» al1^
                                                                                            SsOTtt(i^affew^ BKSfafewaHrtSBtoa tetfik /'S7W1
                                          oftws aim   «iipe» TO «» er s®»irafcii

                          a«I aiw aSmifBBw® tie«8^'traa ©»i«6^,                                                                                                     SMT*
                         tod i;!:gi:;il(#
                                                       /
                                                                                                                                        ■*r


                                                                                                 •yfigs,-ox. FI |/>c.
                                             ikuJII
                                      r


                         siBHicrysE wiweRttiE owwilor


                                                                                            Tj                 Ptoawm,

                                      f^^^^fy^WSlteFwftain m4 «rt»«s te «Jo wars farm                 as *{»« fa» af       ®
I                    ' orom mnpis tfea owy flwd to afe
                                                   “«»»««’8“**»wrtoffll'ttmaStea«
                                                       i«rg                                                  '*"
                         eefere«-!;EeK<*iate6jri,;o« fi«!riafe*»5*aTOt«i,FA
                                                                              r                                                                                fiWS!




        I

                                  t


                                  ^'1
    I
I
              USCA11 Case: 24-13671                 Document: 13                 Date Filed: 12/05/2024             Page: 30 of 723

                                                    »
                                                                                                                     Exh.3 pg.3
                                                                                                                        „ WOIEMS
                                                                                                                        MltRECa®
               t«:(

                                                                           ^<aiBaite«Beri«iiBy*ltiri.rf«Bfegtt
                      jmrwiite                               a
                           ,«i6e^*fttteflff.ap                    to         3®^twl         ««e2i                   ^
                                                                            t
                            l/UeCte
                                 j llu L).cy:’‘ 5c                                    fajBFeaiflfe. 30lS -3H^)"
                              “I'■2, "
                                       tost                                                gm «iros'           1.
                                                                                                                                   aS*3o.
                                                 lUffiirr
                                                 feo mtM Ab^Sk» pmii^                                                       c#


                                                                                             Sitv




    .'i
                                                    T


                                                                                                               %£|
               ).                                       Is




                                         .   4
                                                                                    Wie Ain.              K.

                                                                                                                        f
                                                                        oairw-

                      STAfECHfHJnM


                                                             i • "'j'                  ^                       -,%1U


          I           (mrmrmML}
    I
                                                                                                     »)
                           ty^CQWiaffiiiopi:!]^
«                           '»as$:^aiBi4




                                             4

                                                                                                                        f




    ! i
                                                                                                                     . «
                                  t


             i
         USCA11 Case: 24-13671              Document: 13            Date Filed: 12/05/2024          Page: 31 of 723
    4




                                 .1
                                                                                                                   £xk.^
                      . ' THE CIRCUIT COURT OF TH^ EtEVEKTH iOBiCIAL ORCUIT Ifi AfJD                           «


                                           MiAMi DADE CI3UNTY FLORIDA CflfIL ACTION                .
                                                                    I


                                                                                                                           4

                  ■   U.S,-BANi<,'NATIONAL ASSOCriATTOM,
                      AS'TRUSTERF0EIL4SC                    ■



I                                                                                     CASE SO:20i»|S2i«CAO,!
                      ■1^.
                                            I                            0
                                            f




             i



    fi




                                  .t
                 . MOTIOW AWb AmOAVIT FOB REUFF. EECOtfC AND RE^l'NiSIOER HIM                       ^     f
                      . AMO REVERT g¥                                                     CtFlAW           ♦

                                                        d




                 ^PwsmsKiioFlonsJs Scat 112J1T FloriifaiRttb 1160 {H>8a4F<e&raillsl«sef Civil frecc&re,
                 Stafe».Pi.iBtiTMM‘1C WELLS kicFy fffcsfisii Mttios f«IcM& Eeca»! scd SyrpoKksj
                               Rjgjirfkf the Bmvvawja Citrate Mllfer fl5®4SCI22        of fto ikord taid H»1
                 jKl^3Bjt Ck4sT, Exh. 119 fej«i m tie ftlfowfef fi«% mm lafemiatioB, j«si (er»L ja«5icM
                 aissiHdoct, frauduksl groipdiafni discovered em&A of perwftsl io¥«iiacBt.feiterests D-fi
                 Fiiiaisciai Kstlosujef, ofJadges «iKi     oCtlife CoiM fHxMbit 11 f3" Awiadic^- U.S. BhVK
I   9


                 fecial Sirn^im MpBm^FfeBds A«^Ml.ga.gkil..-gR§.2Cttl JaMes                   SEC Fiisgs- 'J.S,
                 BANK Fioaiis SK]wdigri|S, Jaige AJaa Kk FmmM IntcrKrs & PropsrtvDIsciosiires %.
                                       •    t                                    •'




    s




                                  .1

                                                                I
                                                                             I                            f


                                                                    \


                                                                                                                           4




                                                    a

                                                b



I
                                                                      0




             USCA11 Case: 24-13671                    Document: 13                      Date Filed: 12/05/2024                    Page: 32 of 723
                                                                                        I




                       1im fPi m fftiumds m
                                                                                                                                  i'       '        4




                       e&m U tin-T usmSMMlSSMl
                                                              I
                                                                                                                            6




                                        Cafcimine mm must Mtum Wims^f ter so opsu »b«ou5 C»«flct of iner^
                                                                                                                                     m pafei
                       tigcKtfse                                      USte«fe ao«^fielpirsttwjn t©                mmn » test fee e
                       m©n6-/ln^te«ctoslPZ«mi»Wftg|st«iii«|otirprepf^wWestti«gssteo                                         ootee use cr«
                                                «




                       ©ar ^T&p&rtff'mtor case's IMiiiti feutforto mate Win adtfeeroiRonef                                  Hs^f-’s pr#0feJii
        /




                                               .ft

                                                                                I
                                                                                                       I                               f
                                                                                                                                       ♦

                                                                      «




                        2.teai6fstMa«Mi«2..E<h.2.H.gMS®.8M.oew»weusmR60»f,i«i.
                                                                                                                                                    4

                                    WS iJWCOIIP.Ml.1.wi««h islt4.                                          Sih.I.

    I
                        3.JamiteME Bih.|«.qp fce 3!« got,$2»,0Q0.«J.tWng bystwa with Vow                                    i




I   •                  . whm is US BmK Exk
                                    ■   ■ ■■    ■^-
                                                                          65,6C,SO,6£,6F.JP Monsn w» ^ U.S. Bancorp,
                                                                                    '       ■   ft •



                        IxM, 15. Aii^ 115, S^ttorp Is US, mnk Bch. 5 and Si.
                                                              I




                                                I


               '   A



        fi
                        And m Mm 2020 Fs>mi 6 Fall md Pubic m&clpmm of Fiaiinclal Int^rc^t In 2020 oo
                        lac 2.E:«lt. 3. y|e9. m g©t $»!#»,» wi*Vof®WhlM is US Banmtp mk3,
                                                                                       f               I

                        wWell'Is US. Bank. Exh. 5 and SB
                                                                      4




                                                                                        I


                                                                                                                                                    4




                                                                  a
                                                                                                                             ft


                                                          b



I   '
                                                                                                              f

                                                      »
                                                      I

                                                              »




                   A




                                               . %
I
        USCA11 Case: 24-13671                            Document: 13                 Date Filed: 12/05/2024                   Page: 33 of 723

             FOKM.ft                      FULL'A?*!)PUBLIC DISCtOSCBl OF                                                                     30i2     P!)l
           rnmm pmttx SBNiswiasan,
           a)!«ni«»»»fp^ 83t2»ai*aa^>»«wiW^         ^ mANCIAL INTEBESTS'
           tferMRMF — pSf^S■— Sjams KW<S,
          MRlcf, jrigNiMya C          '

          mirnmmimstrm                                                         •'wieMt
                                           rt

                                                                                                         1

           CsW:                                      E7:                'SSfc"
          Mbmr                                   SS125                       tS^iiwHa^


          BcwytthladigM Qpcuit
                                                                                                             PROCESSED
           mm, OP,©??}® OH s^sam igi3 o% safs^t t.                                        I
                                                                                                                   if A ~
          Cwmn               Groag 311
                                                                                                                   i.®'. HI»W.
           0«3<PTt«SISAF4tW^A»A'5BWS                         O

                                                                        mRTA-METWOKfH
           ftttaiem’SjSisfii&cJ'^KrKftBWSssrfiasfcisefSi.^Ji.a’SBWBastsrtdjs. fKste
           4l6stefrw                                         S«

                                   &fef nm awtfit    fJ Jttae 3
1

           e»«SE««isQfflSi^w:ms»a.„
                                  CTOCTfk
                                     „„
             ffess^aW pw airt ^S<«a^                     S» «?!«« fe>« fe«sf a® 8 Baslr             ®®* «»aa«»
             if reahftf te                               tssassaas           ss«* owflajna^Js; esro?; silicas: ftw«is««es|»»?««rsfs,-s        «i«w^
                                                                        ;;                    •      ,

            *rm 8sip«^«»sr»ytw««i‘«sw»«2wj3mwis!«fe5S*fi»»w««i^#fe$,25^OT;^

                             ' sssras'tiw WasSSffl |s®^e» itosi^a» &EB«p*aii                      iwSwsSs^ iW^4|                     '«LBS op«srf

           Ifjg gos|s| tew^soagsa
           UBS 1im.-33»ttc(si Acc«nt
                                                                                                         r
                                                                               I
           Wsik Pafgg $fmstmmt Acwsmf€Mm:Mm^S»t^» Aax>mui/J^                                                                             i   ^sjmm

           RawiiarCT/feBwsi^far Ailrir»»                       g»-»l«^yTeo^ggii
          T. Rcwc            isyggiggft                                                                                                      35^»

                                                                        --.r-, c- . ■ .^ !:. =:^
           y»»ri» W ©®g» C?                      f»® S««»sSi<»i» P»50 «{;
                                                    OF OSiSSTOS                                                                   Awa&Tc?u»i!f¥

           SwnTrwfe           PJQ. Sg»       , Ctem- §4S, Aa<ri», gft 3031^                                                                  11S^»

           aSBwik, F.Q. teK I9W?. St Co^s, «0 qtTj
           S^saell Banfe^lliX SfiAtf AvaotS!, tfawt, fs^aa ^133                                                                              mwKg
J
                  Mm              mmmm tw icwsim «r«




    >




                                            .1

                                                                                                         I                               f
                                                                                                                                         ♦

                                                                  t




                                                                                          \


                                                                                                                                                             *
        4




            USCA11 Case: 24-13671
                               t
                                                                    Document: 13                          Date Filed: 12/05/2024                                Page: 34 of 723
                       -■          ■                                        ■                 mm B-mom                            1                                   f
                                                                                                                                                                      ♦
                                                                                                                                                                                           .%
               -m ms m^m «« «                          «waf JW »g to#te»j»fts*5te.iiKteS^ &^                                           a«rf«. w ^aaaiw*,                      *Kw^
               i!^;^f^ i^t ip«pa» s»uM rt amsiiS Ef teswrf                                   «KW»^ j^ («teS^                                  »T h»»     a»Ste;^ •^t*'«*’3K«te'« P^


                       Plf«j &■>««» few IR# «Wi«                        d'jw»t? £K raasa, paj msaJ wl ossBpteia B» iWHfear «f S%«
               8»RI5CW SOtS^CeS W »»« »» S!WnK«*»                                                                                                                                               4

                  WS Wmmz.&ISOlMEBCSDKS SW                                                               AKX«a Of                        OF ?««

                                 5t?te 0f Benria^laiY                                           2gSss€3Sft^ Sree^ T^;fe£SMs> fiords
                                                                                    t
                                                                                                                                                           T
                                                                        6



J
               SECSSKCKW SSJJtSas OF^MMS pa^cKsJiWiM. ifejc^ 035, 6f                                                     w«|(S Ssyfl^siarss psom-ass i*»sim«jsai!8' Sf
                              WSflfiOF                            WKSCf &»A»t«sd,*8a:®                         -'
                       wss»£Mti?r                          f                                                                    isfmms.                    /^smwQfmmx.

                                                    t:


                 A



        4




                                                 »lfrE-l>T¥BSS15Wa?|iaFIIl»SI®0?EffiKpj»te8tll»«K«e«| "
                                                         |!i                                                                                               mm<rfyZ

               Mssasr™.
               AsasEaw
                                                                                                                                 'I-                                  I«

               WMate.S'JSSfiiffi;
               ■asEgg


               W/«WREtM»A»                                                                                 \
               MEmmmMsmi
               mummm
                                        ST   ,


                            !fAS¥-0? m«S* TafiOljiSH f AM COMEWim #»ASEFAteTi SU^ ftlASS CHKX HEHS Q,
                                                                                    t
                                         'OATH,
                                                                        b



I              I, as jjpKia »ijw iuw;!;»»» « »s
                              ^ few, 43 (fepiwo «! ccSSi {S'aSnss^isj
                                                                                                      &»Afc I*                    «l KfiSKSSiS S8SKB, B& S» „

               ®dE9JSsf»                                       iMSrt-ftW
               S)»!4 43^ 3*!safe?lffS        is S!«a, WWE& ^
                                                                                e


                                                                                                      ■iSs®»                                               ; Biii »sci««te;
                                                   c
                                                                                                                                                                ftc&iw*xi5«OE»5»Si
                 I                                                                                                                                              :Eisfeis*!iSSS!S»4 .


        4


                                                                                                                                            <stj'        ^K«Si««S

                                                   .%

                                                                                                  I
                                                                                                                                                                      ««
               S?US® iBSEWfflBTKJSS fcT»l»» *n4 iwfec'r* S* ®s tfe£«i te^rm UiX^^$4 #1 lls» ton ^ wja^'S.
               if^TRiJOTiOitS os wtSs ssw w# WB fwa mu sisw t® Ml! A ©si fcigii 63 s$m %
               0THS8 FW9K fwa raay B»e«to lt» aw                                        «•       «-

               «KSWS-EBiCS«iKK*<»S.;^ SkSS-SJ PWl3«S<SJ1i,RfcC,'                                                                                                               l»«S
                                                                                                           1



                                                                                                                                                                                                4




                                                                                    t
                                                                                                                                                           »

                                                                        b

        wr^'
I                                                                                                                   ft                                                                 I




                                                                    »                                                       »
                                                                    I

                                                                                i


    I
                                                                                                                                               BKVv-M .
    USCA11 Case: 24-13671                              Document: 13                       Date Filed: 12/05/2024                 Page: 35 of 723
                                                                                                                                        ii2§     6l4a.C3
       ■wmn-€'                                    FDLiAPPFli&LiC MSCLOSUKE
                                                       QFFINMCiAiPTElESTS ■                                                                 rasowr.
                                                                                                                                                                    n^ )
I                         ■nm,t HA'iS — wD2ci K^.VE:
                                                                                crnmmwM
      mii-m.              ■
                                                                                                                                Kl
      im soirmTOT iirfM                          aveIi:!!;:
                                                                                                                          1 m
                                                                                                                            jP P 0 111,
                                                                                wmrf

      EEAM!     1                                   n-m                                                                     ilSli«& :f^
      i mm gis-fticTcciiJR r of
       »uc»^'«rc^09i:TJCf<#®J>eelESF -                                                             1               *

      J L-IJtiE. ACTEEAHE district                                                                  ai
                                                                                     1
                                       sjyA>Aficr*.'.'£             O

                                                  ■"■ "'■           '         tAKfik-Hrrwomm


       Wl«4 tey                      y«.T3s»?r.^s                               yotr           a««9,                   wt              «n       3.}.
               Ijy r«t war* »c-r                           ^

                                                               ft              '• pmr @ - asssts'


I
            arssf^.                    S         '->55»«.               ««<*« fer wrsBWl we.                   tr fe»«.
                                                                                                   »


        A$c^si8»m«ti.Tv«4iss’Ate’/tkfi,|» ‘                                                         , „
                              ' esss^naw w *ss5T {senile da^rait;^ u

                                                                                                                                     35E«»-«
             A iK\'’eS'mi£KT ACCOL'Xf
                                                                                                                                     I|1JCMI.:|§
       nationwide INVgSTMEyT ACCOUNT
       f»l£NtAt^4^5tM.ENTACCOU'NT' ,                                                                                                 as,»0.ii
                                           m

        UASlffi^ Iff OCW 0? ft
                                                                               ?.\t{T C ~ > .£aB! IJTIES
                                                                           • ^»S« *1-l
                                                                                                          I                               t H
                                                                                                                                     ■ jsggggjyiM^^

                                                      4-11^, cjyfii my. A7I--SMA.GA 393g2                                            15*11#' : , -..     . -V . -




        OTiff *« mpmmt tMmtMrts mt mpfamm mmsi                                                                                       I «i»i»ir:*g*giiif '
                      ■       'mm Am rnnmm^ G^»wt




I                                                                                                                                                      '■ m^3.


                                                       »                                            *




        A




                                           . I

                                                                                                           1                                f
                                                                                                                »


                                                                    *                                                                                                                          6<k-q>
    USCA11 Case: 24-13671                                   Document: 13                            Date Filed: 12/05/2024                                          Page: 36 of 723
       i
                                                                                                                                                                                               tbxh^


       ^ |,t:5i5,=„Tr;3?€”SHrSi“S-“--"S
       PR'siw? K0UKSB SJ@:diCO^r,S<!® Ins.ia»«fsw <>» sa^e B|:
                                     e.? i>r.ia3r s^cTrys: r>m.
                                                                                                                     t

                                                                                                    ATSg£it..O£iaia^:gg^gC~^                                   .J                  nJWWT


      STATE OF aOM&A                                                          28fJ EAST GAI?^E& STRfST^TUlS.a

       moimmrS0UR» s?fsroe                                                      e*?*-
                                                                                            alfeisisKiis^.swsrf w^9«««^«««®.-se'e«saHc^9!t^ fc 5                                   -J
                                                                                                                                                                        S-VUSES^
                           tiAf&Qf                     mi:5S» tJ«C« S&I55CF.S                                                                        f         ‘ Ani<MiYtwsmMm
                     &!SiilWtS&nn'V •                    CFt-X.'gi^igSglMXHUg


                                                                                                ■




                                                                    I
                                             mRTK-lM,ERESTS l1«SFi:ClPlg» HSSi>£»^ pistrKflew «fm ^51
                                                                                                                                                             H-igtal'- F,!i;<iy»»5
                                                      Tjfsti^.ifi-A'yfi'tTf*'                                        C*f^JY>*^^                      —
I                    t‘>
       F;j3iK£Ssgi'yy
       )S»R!vS:3»
       ±iai^l5g.ggX^
        pbrniPK-ms-ims
                                                        4
        nCtmTi
                                     ““"r"

        tuTSRgat «i^»iCKSgs$
       ’nKmfzf^w'
       0:aikk»®

                                                                                FAKTf-imfKWC
                             «sfes           ta cior^s s?i?s#«s                 s'-^wl                              iwmeftI3«««»tiz.3«2.PS |S                                           m «|
                                      □ s csmFT.imT! HAVE cQMnMm THS aEqumgj •mAMKG- f
                                                                                    SWECf'RCSM ,                                             '                           *                 '
                                       OATH                                             ccasTTW                                                                              —-■
           !. iiW!               rssm £!{!SSJffi»    Ssft
                   «f trts    ®B li^pae^! li' osa a sitww*
                                                                                               !sfe|^j }W» &? 3                       rtaaf'iww >» -
           Eir« W 3«f 9ta tMTimxn &rfs;i44 «5 » &*»«                                                ialGfi                 at 21 . By ..jW-Sa                           rt     .r_...M.fe
           »> 4 «rTy                 «i«W 5s. W*®.
           aBoaasM;                                                                     !                 ‘i^s^ paajft-vws «9                    w


                                                                     I
                                                                                                                                                 -'Vki^y
                                                                                        ?saS»#0^                                  OK     Pa
              SS&TO®^ra5*’S                                         CANSiBATC
                                                                                            ; )!3^ i3f               *J*
I
         0 a csrtft^ p*3c s««!i-ia«5 kvKMi                          ChcjjSf     w wm « ^ jasffiis                            m Fterdi te                                 ■’»» »rt«, S» «
                m^i tattTMii tsf                   amr'fr^                                                      *

         ,i                              ,                  t
                                                                ,                ff?>5ar«a t;t               fCiTf i » nUXt^nce 'uPa M W, &w, 2, E                           -Js
         SgEST?5i:Srte3»S»«Jwi?iF«lE5Ffw                                                                 ra?»ss^jKf                      3»fc?s*^.i»                               ?»»¥,»
        '®8S<a»f!S5:                                                                                      : ■                     '      '
        I,,;:
                                                                                                                                                         ■   ms.
                                                                                                                                                 .            . ■   /

                                                                                                                                       aiS^iiJ mi%m ftc f»m» o.titer ^sSt.
         M^SBSSMwSSiSB**SSi£SS^£iSii^^^*i^S£*S^S-—
                     iw’A%rm »Am&Atnmvm ga», commma oxA»*EmftA.TEt?K£Jo;ru:A$sgH&rx mm D
                                                                                                                     1                                                   f
                                                                                                                                                                         I




                                                                                                     I




                                                                     ft

                                                                b


1
                                                                                            i                        f
        USCA11 Case: 24-13671                    Document: 13 6
                                                                          Date Filed: 12/05/2024                 Page: 37 of 723
                                                                                                                                       0
                 Part B«Assefe CCoatluaatioBl
                 Wells F»go»'InvcsiJiiail'CSiscyBjjfSa%'’it5fs                              SOJOOJO^

                 fc-Tm<le Acwunis                         I
                                                                                            iT^cmoo
                                                                                                             «

                                                      k



I   m
                . ¥HE1P iBvisTOcnt Accoaas                                                  4Cj,oeo.<»

                          Stale,!Savings^cMds                                          *
                 ,,   ,     ,.,X'        ^       t
                 Ally Bank                           Aceoiicis                              i3,».0O

            t    Ammem Express Savings Accc?uot|                                           ■ 5J0O.0&

                 Pl«fl<!a Pr^«Paid Cpiivge Aczomts]                                •       •ssjim.cw:

                 UBS lnvcstfficniiAecoiKis ‘                      “                         15.000.00;
                                                                      I
                                                                                            i                        f
                                                              0




                                                                          I

                                                                                   ■




                                                                                   I




                                                                              •!


                                                          a                   V:
                                                                              P                          a

                                                      6



I
                                                 I
                                                 I
                                                                              p-




                                    e                                         i;

           «




                                    .1

                                                                                           i                        f♦




                                                                              t;
                                                                          I




    4



                                                                                                         «


                                             »        k


I


                                                                                                                                   I




           i



    *
                                                                           t
                                                                                                                                            tmmm
                    USCA11 Case: 24-13671                        Document: 13               Date Filed: 12/05/2024             os   Page: 38 of 723
                            Forsa'M.Pisctea«                                   Kxpm^
I ! '                       '         "'■                .                     dfFmaiiCtergss                                          ■ jaaswi


                                            All jadicttil »fll^4s mm Uls «i& ibc^teask Cdwisfesiro oil Ellife p HsMI
                                                                                                                  _  B: 6«>v.O
                          £«p®rtuble lifts accepted,                         direct payments of
                          of fees Of cliai»es accepted fen? soaices qlhesr tbap the state m a jwlicml bmnta. eaWy
                        * dcfaM in Floriifc Rule of J««cial MmlRistialios                       danog llte prc^dag
                            cakiWar war as povided in CaioiB 5D15)(s) “I 5D|5)IJi), Canon dAf^X and canon
                            #SC2):of file Code nfInikM Cmdo^. by dale tecehred, descaptiofl Cwelttililig
                            iOcatioiL' mi p^%t of event of aciivi^- for wMcb expa'ses, fees, or tfltarjiis »W-
                             relmbwissi. paid.'^ waived), swce’s naiue, Md amooM for gifts only, ^
                            Kffifiie:
                                      BROnmUMlOER                                                    Wori: Teiephona: 3i^S229-3 ^
                                                                                                           1



    !
    iV.
                                                      Z^l        11T AVEf'lOE »!« satis
                            %VoikAtrdf«s:                                                            'JutEeia! Office Held:
                                                                                            1


                                     L      Pi™ idoKify all'repoiMbk fife, buqut^ favors, or feas yoa received darkg
                                            ibeprecc’ding s^endar year, as i^iiired by Cano® SDCS)!*), 5iD(53Ci')« dBl2)
                                      • of &c Code of Jt^cM Ciafliuci.
                                                                                                          SOURCE                    AMiTCNT
                             . DATE- i. , '"PESOOfilON                                  ’^ittJL-EEANWSSTACVROSKM $3000.00
I               '             *      01/20       f
                              P“^i20 , m^CHSOti'HS^CTAimftY^                                    mmEEmfimE                      simooT
                                                                                        r
                                                                 1
                                                                                                                              ■ S


                        A
                                                             D        Check bfii» if coKtiiMied OH ^paraic sliest
                                     2. Plestte ideirtify all reporaSle leirtibitiseiBeife or direct payw^uts of cxpen^c-s, iwi
                                            %Bivm offes or diarfw yoa kxoIvM ttorfng tibe              calmdaf-year, m
                                                       b^Caaoos 6Aijfsni €1(2) of the Qsds of JsitHdsJ Concfect    ^
                                                                                                                              SDURCEf
                              I
                                                      (tecliidc dai»,*Ioeation. Md paipasc of                                                 M-


                                                      ' activity for which €»pfoscs.fe«, or chafg«;
                                                             -mitmtdmhwKi, paid dr waived I
                                I-
                                                  4



        I


                                                                           t
                             rk‘-:


I               '                                        .O           Cli«clc,b«e tf coHUawod an separate siieot
                                                                                                ft




                                                                 I
                                                                  ^CO^TINUE TO PAGE 2 fp& OAT®'
        i                                                        ft

                                                                      ft                              !
                                                                                   i*a^ i of2
                       ^     F©iw€A Revised fell'


            i
            !                                           .t

                                                                                   la
                                                                                                                                        ♦
                                                                                                                                        «




                                                                                            \
                        i



                0   USCA11 Case: 24-13671                       Document: 13                   Date Filed: 12/05/2024        Page: 39 of 723


                                                                                                             1                   t♦
                              Swti of Fittrids


                              Coyniy &f

                                   ^                           m^                   thepilicsificlal SlagiMsiiisctewc^ir:
                             bdig first duIj'VAora,do depose uft oaiis sad say tbai il« facts sci imh fe the- ak>VL
                                                                                                                                r.ciiL
                                                                                                                                                   4




                             suicisisar aretee,cotoci.ait^,0)^5piie lO He Ise^t of my lawwledfe arid belkf.

                             (Sig^ttre of-R^erting C                        m
I                                                                                                   t,




                             {SjpKatpk ofOfficer                                  » Administer datfjs)
                            ^ My Coiemissios csglret                                                             Si   ,f6§S»l


                             Smiim t& ani ssulscrfbcd.before mt iJtis
                4



                                                             jfey of            J>,»ne:,        ,20 3-1
                                                     .»

                                                                                           I
                                                                                                             i                   f
                                                                            «




                                                                                               I


                                                                                                                                                   4




                                                                        »
                                                                                                                         4

                                                                    6



I                                                                                                   b




                                                                                                         *
                                                                I




                                                                                                                                               4

                                                     e


                       1



                4




                                                     .I

                                                                                                                                 f
                                                                                                                                 t
                            Urnimmf'i.... .... ,.■
                                                                                     ■ Page 2 of 2-

                                                                                               ?r


                                                                                                                                                   4




                                                                    k



I                                                        »
                                                                                                    b

    *   •   I



                                                                »                                        t
                                                                i
               USCA11 Case: 24-13671                                      Document: 13           Date Filed: 12/05/2024              Page: 40 of 723
      9
                                                                                                                                  Exh.5 pg.l
         FORM 6                             FULL ANp PUBLIC DISCLOSURE OF                                                                               2012
     Please print or type your name, mailing
     address, agi * name, and position below:                      FINANCIAL INTERESTS                                            FOR OFFICE USE ONLY:

     LAST NAME           FIRST NAME — MIDDLE NAME:

Emas, Kevi!              iichael                                                                                                        COMMISSION OfiHHICS
; MAILING A|||reSS:                                                                                                                         O^rFr^ECEiVED
2001 S.W. 1^7 Avenue                                                                                                  EH lb
                                                                                                                                             jiJN o.L


     CITY :                                                ZIP :                COUNTY: '

Miami                                               33176                          Miami-Dade
I NAME OF AGENCY :
Florida State Courts
I NAME OF OFFICE OR POSITION HELD OR SOUGHT :

Judge, Third District Court of Appeal of Florida
     y
! fHECK IF THIS IS A FILING BY A CANDIDATE                            □


                                                                              " PART A-NET WORTH
     Please enter the value of your net worth as of December ‘SI, 2012, or a more current date. [Note: Net worth is not calculated by subtracting your reported
     liaoilities from your reported assets, so please_see the instructions on page 3.]
                                   My net worth as of December 31                                 20 12       was S     921,723

                                                                        k
                                                                                  PART B - ASSETS
     HOUSEHOL                IDS AND PERSONAL EFFECTS:
         Householteoods and personal effects may be reported in a lump sum if their aggregate value exceeds $1,000. This category includes any of the following,
         if not heldt^ investment purposes: jewelry; collections of stamps, guns, and numismatic items; art objects; householrj equipment and furnishings; clothing:
         ether hou^fj        items: and vehicles for personal use.

         The aggregate value of my household goods and personal effects (described above) is $ See attached finc'l Statement and schedule
i'                                                           ■ *
i ASSETS INDIVIDUALLY VALUED AT OVER $1,000:                                                                                                 f
                           DESCRIPTION OF ASSET (specific description is required - see instructiofis page 4)                                •Value OF ASSET

See attached financial statement and schedule




1


     I
                                                                              - PART C - LIABILITIES
     LIABILITIES IN EXCESS OF $1,000 (See Instructions on page 4):
      '              NAME AND ADDRESS OF CREDITOR                                                                                          AMOUNT OF LIABILITY-


    Continental NationaLBank, P.O. Box 352680, Miami, FL 33135                                                                                               $5116
                                                                         I
iWells Fargo Bank, P.O. Box 10335, Des Moirfes, lA 50306                                                                                                  $225,310
    Welts Fan            ank, P.O. Box 10335, Des Moines, lA 50306                                                                                         .$14,794


     JOINT AND            'ERAL LIABILITIES NOT REPORTED ABOVE:
                    M      NAME AND ADDRESS OF CREDITOR .                                                                                  AMOUNT OF LIABILITY




                                                                                                                                             f
                                                                                                                                            -4r



     ce FORM 6 - Effective January 1.2013. Refer to Rule 34-8.002(1), F.A.C     (Continued on reverse side)                                                 PAGE1
                       1-
                       A

                  USCA11 Case: 24-13671                                       Document: 13         Date Filed: 12/05/2024                        Page: 41 of 723
                                                                . n
                                                                                                                                                               Pg-2
                                                                                    PART 1)- INCOME
         You may EITHER                a complete copy ofyour 2012-federal income tax return, including all W2’s, schedules, and attachments, OR(2) file a sworn statement
         identifying each separate source and amount of income which exceeds $1,000, including secondary sources of income, by completing the remainder of Part
         D, below.

         □        I elect to file a copy of my 2012 federal income tax return and all W2’s, schedules, and attachments.
                  [If you check this box and attach a copy of your 2012 tax return, you need not complete the remainder of Part D.]
         Primary sources of income (See instructions on page 5):
          ; NAME OF SOURCE OF INCOME EXCEEDING $1,000                                       ADDRESS OF SOURCE OF INCOME                                        AMOUNT

                                  State of Florida                                    200 E. Gaines Street, Tallahassee, FL 32399                                   $147,520
i                                  FlU Law School                                      11200 S.W. 8th Street, Miami, FL 33199                                           $6000’
                        -   Matthew Bender & Co.                                          P.O. Box 8808, Dayton, OH 45401                                               $3000
                                                                            T
                                                                              t




     i SECONDAI          lOURCES OF INCOME [Major customers, clients, etc., of businesses owned by reporting person--see instructions on page 5];
                    f«AME OF                 NAME OF MAJOR SOURCES                              ADDRESS                            PRINCIPAL BU SINESS
                  BUSftfesS ENTITY              OF BUSINESS’ INCOME                            OF SOURCE                           ACTIVITY OF SOURCE
                       m
                        -%N/A
                                                                   *

                                                                                                                <5f
                                                                                                                                                         •A.                                   s’




                                              PART E - INTERESTS IN SPECIFIED BUSINESSES [Instructions on page 61
                                                              BUSINESS ENTITY # 1                      BUSINESS ENTITY #2                        B USINESS ENTITY # 3
         NAME OF
         BUSINESS ENTITY                                                  N/A
         ADDRESS OF
         BUSINESS ENTITY
          IRINCIPAL BUSINESS
          CTIVITY
     ; POSITION HELD
     ' Vi/ITH ENTITY
         I'OVJN MORE THAN A 5%
         INTEREST IN THE BUSINESS
         NATURE OF MY
II       OWNERSHIP INTEREST


                  IF ANY OF PARTS A THROUGH E/^RE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK M ERE 01                                                                                i>




                                          OATH                                           STATE OF FLORIDA
                                                                                         COUNTY OF          M I AM I -             Cbf;

     ; I, the persoirohose name appears at the                                           Sworn to (or affirmed) and subscribed before me this                  day of
     ^ beginning              form, do depose on oath or affirmation
                                                                                                                                                                                          <■
         and say that'       information disclosed on this form
                                                                                                                       20iiby             KA-V. iW EyY1A-S,
         •and any attachments hereto is true, accurate, ^
     ' and complete.                                                                                                                                    #                        •    <



                                                                                         (Signaturg.of _N_otary Public-State of Florida)                                             7.

     I
                                                                                                                          DOLOffiS RAMOS
                                                                                                                      MY COMMISSION# EE 042543
                                                                                         (Print, Typ
                                                                                                                                      mm[a I Public)
         SIGNATUR'fesQF^EPORTING OFFICIAL OR CANDIDATE                                   Personally Known                     OR     Produced Identification



         i                                                                               Type of Identification Produced

          A.

         FILING INSTRUCTIONS for when and where to file this form are located at the top of page 3.
         INSTRUCTIONS on who must file this form and how to fill It out begin on page 3.
         OJHER FORMS you may need to file are described on page 6.
■
         CE FORM 6 - Etfecllve January 1, 2013. Rater 10 Rule 34,8.002(1). FA.C,'                                                                                       PAGE 2


                                                                             »
                                                                              i




                       4
             USCA11 Case: 24-13671        Document: 13   Date Filed: 12/05/2024      Page: 42 of 723
                                                                                  Exh.5 pg.2
i



        FINANCIAL STATEMENT OF            »
    •   KEWN HVIASM OF
                                                                     LIABILITIES
        ASSETI
                                                                     NOTES PAYABLE
                 u
        CASH bl|HAND/CDs......                $30,364                TO BANK(HOME
                                   . <a
                                                                     EQUITY)...,.                  $14,794
        OS. QOVTSECUFIITIES                                                       f
        ISAYINQS bomds);...,.,.                                  ■   NOTES PAYABLE *
                                                                     TO BANK (AUTOS).              $5116
    .   LISTED SECUPITIES, BONDS AND
        :IRAs(SEE ATTACHED SCHEDULE).. $481,862                      NOTES PAYABLE
                                                                     TOOTHERS.                     .0-
        ACCOUNTS RECEIVABLE                   -Q-
                                                                     ACCOUNTSAND
        FJEAL ESTATE OWNED:                                          BILLS DUE....                 $6,200
        Ihome atHIH                           $525,000
                                                                     REAL ESTATE
" .'autos.                                    $35,078                MORTG.(HOME)....

   jMlSC. PERSONAL PROPERTY                                          UNPAID
 • AND HC^SEHOLD GOODS                                               INCOME TAX                    -0^
        |(JEVVELiY, FURNlTURiv ETC.)
                                                                     OTHER UNPAID TAX
        iCASH         UErLIFE INSURANCE       $111,931               AND INTEREST                  -0-:


                                     4
                                                                     OTHER LIENS
                                                               . OR DEBTS(Federal
                                                                     Student Loan)                 $61,092

        total Assim,,.,       I     VI
                                                                     TOTAL LIABILITIES             $312,512

                                                                     NET WORTH.,-.I    ■ i.-       $921,723




I




                 «l



                                                                                               f
         il
        USCA11 Case: 24-13671      Document: 13   Date Filed: 12/05/2024   Page: 43 of 723
                               4                                           Exh.5 pg.3
                                                                              f•A-




        12/31/12
        Summary of Equities. Mutual Funds. IRAs
    I
        Equities and Mutual Funds
        American Fundamental ^                                              $ 12,638
i       American Growth Fund                                                 22,740
        AT&T -                                                                8,344

        fvert Fund
        Blackrock US Fund

              belli Small Cap Fund
                                   »
                                                                               5076
                                                                             15,353
                                                                              6765
              ares Gold                                                        9360
        ISfiares Silver                                                        8664
        Templeton Globa! Bond Fund                                           1#,434
        The Managers Bond Fund                                               19,076
        Verizon                                                                6,019

        VALUE OF EQUITIES and MUTUAL FUNDS:                                 $129,469

        Individual Retirement Accounts (IRAs)and Deferred
        Compensation Funds                                                  $352,39?
«




        TOTAL EQUITIES A^ID MUTUAL FUNDS
        ■||)TAL IRAs/DEFERRED COMP.                                         $ 129,469
                                                                            $ 352,395

          I
          1
                           .




        GRAND TOTAL                                                         $48W .869




    s

«



                                   »
                 USCA11 Case: 24-13671                 Document: 13                   Date Filed: 12/05/2024          Page: 44 of 723
                                                                                                                     Exh.5 pg.3
«   'CONFIDENTIAL

                                                                                                                              JON I),-
                                                                                                         6A
                                                       Caiioii 6B{2],:Code ofJudicial Cdndiict

                                                               fflELPJjLCJLQWRP

                        judicial officers must file with die Cbmmjssipn on Ethics on or before jiiilv 4 of eaGh calendar
    I              ^ar on the form setfoith below a list of ail gifts received during the previous calendar year of a
                   valve ill; exce|$ of $i.O;d^OQ, as provided in: Canon 5D(5) and Canon 6B(2> of &e Code of judicial
                   Conduct        ^                                                                              ^
                   NAME: /J                                                              JELEWttjNEi

                   ADDRESS:              /        S.CJ > U 1 Ai/eAlUS'                                ■■4/^i fu Sins'
                   PQSitlON HELD:             P       . "Ta/!£.t^ "D
                                                                   ! S 7'iLiCr                                       Apfe4L
                   Please identify all gifts you received during the preceding cajendar year of a: value In excess of
                   $100.p()>iasreqUired by Canon 5D(5)and Canon 6B(2J of the.Code ofjudicial Conduct:
                                             Source                                                 Value
    I
                            I           jc


                                                       A                                           MagElSEP

                                                                   !, true andcorrect


                                              .   «

                                                                        JUDGE

                                                                       flAIJtt

                   STATE OF FLORIDA
                   GOUNTY OF M > AM f - £>.4                   :

                                           and subscribed before me this J^Plday of _
                   sworn1 to (or afUrined) ant                                                                        iOJJi
                   by                                                   (name of person making smtement).

        I   *.


                     (NOTARySEAL)                                                aa<
                                                                                                 [tote of Florida}
■                                                             ^4%
                                                              [gl Mr.COMM(SSI0N#EE04^:
                                                                                        !.2014

                                                                        Uf ttulIlT)                Printed or Stamped)

                    tersonally Known                  OR Produced Identificati.Qn
                    Vpe of identihCatipn
                    'TOduced;__,.

                   PR/CWMi OE this form filed with EOMMISSION ON ETHICS; COPE FILED WITH jUDICIAL
                   i^ALIFiCATIDNS COMMISSION]
                                                  4
                   O-t/Vl
                                                                                                                          f
                  il
              USCA11 Case: 24-13671           Document: 13                Date Filed: 12/05/2024    Page: 45 of 723
                                         4

                                                                                      <s
                                                                                                   Exh.^ pg.4
    LINDA ANN WELLS                                                                                              MARY CAY BLANKS
                 Chief Judge                                                                                                    Clerk
    jjRANKA. SHEPHERD
    RICHARD J. SUAREZ                                                                                          VERONICA ANTONOPF
    ANGELA, CORTlftAS                                                                                                        "Marshal
    LlESLlE B. ROTHENBERG
                                                                                                                 f

    BARBARA LAGOA                                 DISTRICT COURT OF APPEAL                                           DEBBIE MCCURDY

    VA^E E. SALTER                                                                                               Chief Deputy Clerk
    KEVIN EMAS
                                                              THIRD DISTRICT
    IVANF FERNANDEZ                                                                                                    James Glenn, III
                                                      -     2001 S.W.117 AVENUE
    THOMASLOGUE                                                                                                       DEPUTY MARSHAL
                  'Judges                         ^       MIAMI, FLORIDA 33175-1716


                                                             TELEPHONE(305)229-3200

                                              i
                                                             June 3, 2013
                                                                                                    COMMISSION ON ETHICS
                                                                                                       date RECEIVED
                        rida Commission on Ethics
                 P^. Drawer 15709                                                                        JIIN 0,^ ToVi
                 Tallahassee, FI. 32317-5709
                                                                                                        f•4L


                 Re: Filing of Form 6 and JQC Form 6A

                 Dear Madam or Sir:

                 In accordance with State law, enclosed please find the following
                 documents:
      t




                        1. Original Form 6, Full and Public Disclosure of Financial Interests for
i
                           the year 2012.-

                        2. Original JQC Forrrf 6A, Gift Disclosure.
                     ease do not hesitate to contact me if you need any further information.
                   if

                 Very truly yours,      . 4

                                                                                                        f4L




                 w/encl.


      t




                                                  t



■
                  USCA11 Case: 24-13671                                    Document: 13                     Date Filed: 12/05/2024             Page: 46 of 723
                                                                                                                                              Exh.6 pg.l
«           'FORM 6                                          FULL AND PUBLIC DISCLOSURE                                                                     2014
                                                             1           OF FINANCIAL INTERESTS                                                 FOR(FtSSBASE ONLY:

                cI.                                                                                                                           COMMISSION ON ETHICS
                                                                                                                                                  JUH 0 8 2015

                       i      ■-■"••"“••AUT0"3-DIGIT331

                       ^ * Hon Edwin A. Scales III
                              Appellate Judge
                                                            T2 P3 8                                                                               RECEIVED

                            t 3rd District Court Of Appeal
                              E'ected Constitutional C#ficer
                                                                                                                                    ID Code
                              200.1 SW,117thAve
                              Miami FL 33175-1799                                                                                   ID No.       118^

                                                                                    »li>>i|l>lli>>
                                                                                                                                    Conf. Code       C

                                                                                                                                    Scales III, Edwin A.
            CHECK IF THIS IS A FILING BY A CANDIDATE                           □

         T                                                                            PART A - NET WORTH

            Please enter the value of your net worth Ss of December 31, 2014. [Note: Net worth is not calculated by
            subtracting your reported liabilities from*your reported assets, so please see the instructions on page 3.]
K

                       .            My net worth as December 31, 2014 was $                                                 0<2Hj    HH ^
                                                                          I


                                                                                          PART B - ASSETS
            HOUSEHqiD GOODS AND PERSONAL EFFECTS;
              Housel         goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1,000, This category includes any of the
              followings f not held for investment purposes: jewelry; collections of stamps, guns, and numismatic items; art objects; household equipment and
        .     furnishiniS clothing; other household items; and vehicles for personal use, whether owned or leased.
              The aggregate value of my household gc_pds and personal effects (described above) is $                           20jDOO
            ASSETS INDIVIDUALLY VALUED AT OVER $1,000: ,                                                                                            f
                                 DESCRIPTION OF ASSET (specific description is required - see instructions p.4)                                          VALUE OF ASSET

                              Please,             S,et



                                                                                   ^ PART C - LIABILITIES
        I LIABILITIES IN EXCESS OF $1,000 (See instructions on page 4);
        ; r               NAME AND ADDRESS OF CREDITOR                                                                                               AMOUNT OF LIABILITY
K




                                                                          2.




        JOINT AN!            IVERAL L IABILITIES NOT REPORTED ABOVE:
                       -1
                                NAME AND ADDRESS OF CREDITOR                                                                                        AMOUNT OF LIABILITY



                                                                 .   *



                                                                                                                                                    t
    .   ICE FORM 6-Effective January 1,2015                                                   (Continued on reverse side)                                         PAGE 1
         Adopted by reference in Rule 34-8.002(1), F.A.C.
                           USCA11 Case: 24-13671                          Document: 13           Date Filed: 12/05/2024                     Page: 47 of 723
                                                                                                                                            Exh.6 pg.2
                                                              . i<
                                                                     PART D -- INCOME ^
                                                                                                                                      f
         You may EITHER (lj file a cohnplete copy of your 2014 federal income tax return, including’all liV2's, schedules, and attachm^ts, OR(2)file a sworn
         r^^der of Part D, below.
         statement identifying each separate source and amount of income which exceeds $1,000, including secondary sources of income, by completing the


                        I elect to file a copy of my 2014 federal income tax return and ali W2’s, schedules, and attachments.
                        [If you check this box and attach a copy of your 2014 tax return, you need,not complete the remainder of Part D.]

         PRIMARY SOURCES OF INCOME (See instructions on page 5);
                  ttNAME OF SOURCE OF INCOME EXCEEDING $1,000                                ADDRESS OF SOURCE OF INCOME                                    AMOUNT

         I ,
                  TT




i
         Secondary sources of income [Major customers, clients, etc., of businesses owned by reporting person-see instructions on page 5]:
                       '     NAME OF                         NAME OF MAJOR SOURCES                           ADDRESS                               PRINCIPAL BUSINESS
                        BUSINESS ENTITY                           OF BUSINESS'INCOME                        OF SOURCE                              ACTIVITY OF SOURCE
                                                                          »




             NAME OF
                            t
                            t
                             i'
                              A
                                                PART E - INTERESTS IN SPECIFIED BUSINESSES [Instructions on page 6]
                                                            BUSINESS ENTITY #1                   BUSINESS ENTITY #2                         BUSINESS ENTITY # 3

         BUSINESS EWITY                                      /(DtiE-
         ADDRESS OF                                           . »
         BUSINESS ENTITY
         PRINCIPAL BUSINESS
         ACTIVITY
         POSITION HELD
         WITH ENTITY
         1 OWN MORE THAN A 5%
         INTEREST IN THE BUSINESS
             NATURE OF MY
         .OWNERSHIP INTEREST

                                                                               PART F - TRAINING

         ‘        A.
                                      For officers required to complete annual ethics training pursuant to section 112.3142, F.S.
                                          □       I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
«                                                                                    STATE OF FLORIDA     ^
                                            OATH                                     COUNTY OF • MIA *11-
         ' I, the person whose nartie appears at the                      ^          Sworn to (or affirmed) and subscribed before me this                 day of
              beginning of this form, do depose on oath or affirmation
              and say thi         le information disclosed on this form
                                                                                                                       /r^bv                         ^ cUv/g-5
              and any att^ments hereto is true, accurate,                            (Signature of Notary Public-S                          DOLOntSHWtOS—
                                                                                                                                   I)
                                                                                                                                    MY COMMISSION #FF 169365
         ' and comi
                                                                                                                                 y EXPIRES; Novatnber 22,2018
                                                                                     (Print, Type, or Stamp Commissi]
                                                                                     Personally Known       ^           OR      Produced Identification
                                                              .   al


              SIGNATURE OF REPORTING OFFICIAL OR CANDIDATE                           Type of Identification Produced                                f
                                                                                                                                                    -*r


         If a certified public accountant licensed under Chapter 473, or attorney in good standing with the Florida Bar prepared this form for you, he or
         she must complete the following statement;
             I,                                                                 ., prepared the CE Form 6 in accordance with Art. II, Sec. 8, Florida Constitution,
             Section 112,3144, Florida Statutes, and the instructions to the form. Upon my reasonable knowledge and belief, the disclosure herein isjtrue
             and correct.



                  I
                                        Signature                                                                                           Date

         Preparation of this form by a CPA or attorney does not relieve the filer of the responsibility to sign the form under oath.
                                                                                                                                        I
i                      IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                            □   *
    ■■   CE FORM 6 - Effective January 1, 2015                                                                                                                     PAGE 2
         Adopted by reference in Rule 34-8.002(1). F.A.C.
                                                                          »
                                                                          1
    USCA11 Case: 24-13671     Document: 13   Date Filed: 12/05/2024    Page: 48 of 723
                                                                      Exh.6 pg.3
>



                              »
                              Part B—Assets with Values

                              (as of December:3^/ 2Q14)



      Aggregate Value of Household CSoods and Personal Effeets: $20,?bo



      Real Property:




          If




               Avenue^ Unit #411

     St. Fete Beach, FL -
                                                                          f♦




R
    . 147,350(value Of H interest)
                              »




        tliover IRAi

      Raymond James
                        . 4

                                                    fs                    f
          USCA11
            t-   Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 49 of 723
           a
                                                                          Exh.6 pg.4
                            . 4

                                                                             f'A.




          (Individual holdings within IRA attached as Exhibit A)

          $326,644

    ,




g '
  , Raymond James Bank Deposit Program (not included within other
           Raymond James Accounts)

            |9,850


            m
    I
           Raymond James Appreciation Model Account
                                                                             f
          $100,144

          (Individual holdings within Account attached as Exhibit B)



           Raymond James Bond Model Account

i         $100,383

          (Individual holdings witViin Account attached as Exhibit C)

           i-
            itoric Tours of America Retirement Plan
    I

    I                       . 4

          Ingham Retirement Group                                            f

          $21,657($20,476 vested)

          (Individual holdings within plan attached as Exhibit D)


    I


    ' 0
v
    I




                                  »
        USCA11 Case: 24-13671       Document: 13   Date Filed: 12/05/2024    Page: 50 of 723
                                                                            Exh.6 pg.5

a



        Stock Holdings/Values»




         pple Corporation                    20,161

         Caesar's Entertainrlient, Inc.      14,058                             f

         Coca Cola Company                   17,091

         Comcast Corporation                 18,427

    1    Disney Corporation                  66,121

         Hewlett Packard                     13,776
a

         Marriott International, Inc.        20,631'
                                    >

           cDonald's                         10,924

          Jcrosoft                           45,950

          0                                  77,590
                                                                                f■A

         Southwest Airlines Company          26,073

         Walmart                             11,041

         Yum                                 16,418




a



         Personal Checking Account

              ital Bank                       $103,692

         piipmissorv Note
                            .   K

                                                                                 f
                                                                                 •A
                      USCA11 Case: 24-13671        Document: 13   Date Filed: 12/05/2024    Page: 51 of 723
     I
                       4i
                       «
                                                                                           Exh.6 pg.6
                                            . II

                                                                         h                     f•A-




                      Owed by Ronald K. Heck                $75,007
     I
     I




                      Charging Lien By Consent
                 1




      Owed by RPM Nautical FoCindation, Inc. for attorney's fees in the case
»   ' styled RPM Nautical vs New Stock Island^ Properties, et. al in the United
                      States Southern Distric]; Court of Florida (Case number: 11-10086)
                                                   I




         I
                            39,644

                            sonal Vehicle
                       i:

                      idol Toyota Camry XLE $12,000
                                            . 4

                                                                                               f•A'




             I


             I
                 $
                 *.




                 r
i




                                                   I




                                              4

                                                                         (*»

                                                                                                •A.




                 t




                 r
i
    . I
                                    m

                                         USCA11 Case: 24-13671                         Document: 13       Date Filed: 12/05/2024
                                                                                                                 November           Page: ,52
                                                                                                                          2$ to December      of 723
                                                                                                                                            2014

                                Ri^OND JAMES                                                                 fv. h             I




Oash 8l Gash Alternatives

       Raymond ilarnes Bank Deposit Program^
                                                                                                                                                                                E4.
                                                                                                                                                                            Income           Annua!
       bescnption;               (Symboi)                                                                                                                 Vatue                Nfleid        Income

       ;Raymond.^aines Bank Deposit Program            - Selected Sweep Option                                                                                               0.02%            $4,37

            Raymond James Bank N.A.'                                                                                                             $21,872 46
       Raymond James Bank Deposit Prosram Total                                                                                                  $21,87245                                     $4.37
Your bank priority state: FL'
Participating banks roceriiiy added:VtfilsWfe Bank:12^18/20i4|^Cadence Banfe lM1/20t4: Grandpoint Bank:13/b3/2014;PranKlin Synergy Banki i h 7/2014; Flc^aCommunity Bank:09ffl3/2014            t'




■*Ple^e Ses theJRaymond James Bank Oeposit Prog^ ori;the IJncierstandihg YoufjStatement page.

Cash frCash ABernatiyes Total
                                                                                                                                                $21;87Z45                                     $4;37


Mi^ual Funcis

             iirEnd; Funds
 *■                                                                              . j                                                          Bst.,   .          Est.     Investment'   Cost Basis;
                                                                                                 Total                                     Income             Annual          Gain or      Gain or
      Desotiptiorf   (Symbol)               Quantity              Amount Invested           Cost Basis      Pnoe                   Value     Yeld             Income           (Loss)        (Loss):
      INVESCO BALANCED RISK               i.asi./ios                    $15,10074       -   $17,026.37   $11640           $15,730.33                                        $629.59     $(1,296.04)
      ALLOCATION FUND CLASS Y
      N/L (ABRYiq                                                                                                                                                             4.17%         (7.61)%

      INVESCO REAL ESTATE FUND           , ;706.931                 '   $15,100.74          $17,532.12   $26450           $18,698.32       1,13%             $210 67      $3,597.58      $1,166;20 %
      CLASSY N/L (IARY30
                                                                                                                                                                             23.82%         6.65%      .
      INVESCO REAL ESTATE FUND             y-0.554                                             $13.94
 . CLASS C M/F (lAROO :
                                                                                                         $26,360              $14.60       0.21%                  $0,03                  • $0.66':: ■ W ■
                                                                                                                                                                                            4.73%::        ^
      BLACKROCK EQUITY                  ■■ 1,388.417                    $30,20T^            $31,685.35   $24,950          $34,641.00       1.96% .           $678.94       $4,439.51     $2,955,65
*4jpiVlDEND FUND INST CLASS                                                                                                                                               : 14.70%         : 9.33%         o^
 , N/L (MADWq
 ; calwwos Market NEtrrRAL                    0.668                                             $8 81    $13,160             -'$8.79,      0.23%                  $0.02                  • ${0.02)
  , income FUND CLASS C M/F
      <CVSC)Q                                                                                                                                                                              (0.23)%         *,4




                                                                                                                                           Ed Scales IRA. - Portfolio Page 34i6f 50
                                                            m

                              USCA11 Case: 24-13671                      Document: 13                         Date Filed: 12/05/2024                              Page: 53 of 723
               €7'-
                           RMMOND^I^VMlSr                                                              t-                                  t
                                                                                                             X.
                                                                                                                                 • r                             TQur Portfolio (continued]
                                                                                                                                                                        Ed Sdairn lEl^J^qount;NqH|||IHj
Mutual Funds

 Open-End Funds(continued)
                                                                                                                                                                Est              Est.      Investment                          dost Basis
                                                                                              Total                                                         Income           Annual                CSainor                           ■Gainior
 Description    (Symbol)        duarjiityi       Amotint Investei^                       Cost Basis                       Bfice                    Value       Yield         Income:               (Loss)                             (Loss)

 CALAMOS MARKET NEUTRAL        1,211,665     ,     ^                       ■            HSiSTS/               ; $12:625                    , S1§;S33.80      1;21%          $187.81               $433.06                           $(33.57)
 INCOME FUND CLASS I N/L                                                                                                                                                                           2.87%                             (0.22)%
 (CMNIX)
                                                                                                                           ft’


 FRANKLIN U.S. GOVERNMENT      ■4i843,01S              $31,770:20^                      $31,770.20            ' $6,520 ■               ■     S31,576A8      062% •        SLIAO-Oi               $(193.72)                      $(193.72)
 SECURITIES ADVISOR CLASS                                                                                                                                                                          (0.61)%                        (0.61)%
                                                                                                                                                                                                     t
 N/L (FUSAJg

, GATEWAY FUND CLASS Y N/L       530.968               $15,100,                         $1$1G0;74^             $29.57©            '            $15i70iCw2    1;S4%       , $241.59,               $599.98                           $599.98
 -NATIXISADVISOR (GTEYX)                                                                                                                                                                           3.97%                        ‘     a97%

 IVY HIGH INCOME FUND                                       $7.550.37'              ,    $7,791,45:               $8,070                        $7,253 07    7,20%          $522 18              $(297.30)                      ,$(538.38)
 CLASS I N/L (IVHIX)                                                                                                                                                                               (3.94)%                         (6.91)%,

 JPMORGAN LARGECAP               5«.413                $15,100.74                       $15,423.7:2;        ' ,■,$34,600                     S't8,3S2i.29                                   $3,251.65            .             $2,928.57
 GROWTH FUND SELECT                                                                                                                                                                               21.53%                             18.99%
 CLASS N/L (SEEGX)

 MFS GLOBAL ALTERNATIVE        1i,48453g               '$15,100,74                      .f15,1Q0J4             $10570 ■'
                                                                                                                  ,   „
                                                                                                                                             S»i|694;67..   1.1©%           $172M                 $593.93                            $593.93
 STRATEGY FUND CLASS I N/L                                                                                                                                                                  ..      393%                              393%,
 (DVRIX>

 MFS GOVERNMENT                4,337555                 $13,799.67        ,     .        $43 799.67            .$10,160                      :$444)69,S6    2,41%         $1,062.70               $269.89            .   ■j-
                                                                                                                                                                                                                                     $269.89
 SECURITIES FUND CLASS I                                                                                                                                                                           0.62%                              0 62%
 N/L (MGSDQ                                             V   ;




 FRANKLIN MUTUAL GLOBAL          291,689           ,1 m06a44'                            '$9,849.10     '=     $33320:                                       2.47%          $240.06               $658.64                           $(130.02)
 DISCOVERY FUND CLASS Z                                                                                                                                                                            7.27%                             (1.32)%
 N/L (MDISX)
                                                                         r ■-

 PIONEER BOND mWo CL^          1,580,537                $1534231                        $16,410.03           ■ ■ $07W,                      , $iS.347.d1     3.83%          $587.96                 $4.80                            $(63.02)
 YN/L (PICYX)                                                                                                                                                                                       0,03%                            (0.41)%
 TEMPLETON global BOND           578.261                    $7,550.37                    ■ $7,568.36           $12410                           $7,176.22    3.41%          S244;60 ■            $(374.15)                          $(392.14)
 FUND ADVISOR CLASS N/L                                                                                                                                                                            (4.96)%                           (5.18)% ^
 (TGBA)q                                                                                                                                                                                                                                        sr
 TRANSAMERICA SMALI/MID          626.509                $15,100.74                       $17,888.12            *^,200                          $17,041.04    0,55%            $93.98         $1,940.30
                                                                                                                                                                                                             ■




                                                                                                                                                                                                                                    $(847.08)   o^
 CAP VALUE FUND CLASS I N/L                                                                                                                                                                        12.85%                             (4.74)%
 (TWDQ
                                                                                                                                                                                                                                                CTQ
                                                                                                                                                                                                                                                00



                                                                                                                                                             Ed Scales IRA, - PprtfQtiQ.gUge 35;of 5Ql
                                          USCA11 Case: 24-13671                         Document: 13                Date Filed: 12/05/2024
                                                                                                                          November            Page:
                                                                                                                                    28 to December 31,54 of 723
                                                                                                                                                       2014

                               RMMdNDtMlES                                                                           n


                                                                                                                   vFx, H..
                                                                                                                                  A

                                                                                                                                          P. 3.                  Your Portfolio (continues
                                                                                                                                                                                                                     n



                                                                                                                   Ir-                    I
                                                                                                                                                                                 Ed£       isjRA Mcount

      Mutujal Funds(Gontinued)
          Open-^Eiid Funds(contiriued)
                                                                                                                                                                 Ea.'                   -E'st.   InvesliTtenti           Gosti:BaSi&
                                                                                                                                                              InGorrrs                 Anm^          ddh or                 ■Garni or
                                              "Quantity             Amount Invested            Cost Basis                PriGS:                    Value        Yield               ilnOOme           (Loss):                 (Loss)'
          Descriptiori   (Symboi)
                                                                '       ' $6,040.30            $6.040.$0     . •    $20,760                     $5,613.11     0.55%                    $30.82     $(427.19)               $(427.19)
          WELLS FARGO ADVANTAGE -             270.381
                                                                                                                                                                                                    (7.07)%                 (7.07)%
          EMERGING MARKETS EQUITY
      ‘   FD ADMIN N/L (EMGYjq        '

                                                                                              $267,576.39^                                    $272,170.09 .    1.99%:             $5,416.55^                              $4,593.70
          Open-End Funds Totai"

                                          r
                                                                                              $267.576i39
                                                                                                                              r-
                                                                                                                                              $27^70.09       1^99%               1^,416.55                               S4;^3J0
      Mutual Funds Total



      Alternative Inve^rttents
                                              A:
          Alternative Mutual Funds
                                                                                                                                                                                         Est.     Investment              Cost Basis
                                                                                                    Total                                                                              Annual         Gain or    ’           C^nor
                                                    Quantity        Amount: invested           Cost Basis                Pnoe^                      Value                              Income          (Loss)                  Giossj
          iDescnption    (Symboi)
                                                   1,477 376            ,$1.5,,100 74          $15,744.97 ‘         '$10370                    $15,320.39                           $125.43         $219.65                $(424.K)
■I-       BLACKROCK GLOBAL                                                                                                                                                 VI-
                                                                                                                                                                                                       1.45%                 (2.70)%
          LONG/SHORT CREDIT FUND
          INST CLASS NA.        ^ "
          {BGCUq
                                                                                                    $0.02            $4,240 ;         -             $0.02                                                                    . $0.00
          PlMcdCOMMODITY REAL '                       •0.004                              }
                                                                                                                                                                                                                               0.00%
          RETURN STRATEGY FUND
          CLASS CM/F
          (PCRCX)




                                                                         •                                                                                        ■   *■
                                                                                                                                                                                                                                         o^

                                                                                                                                                                                                                                        orci
                                                                                                                                                                                                                                         VO
                                                           c-




                                                                                                                                                               Ed Scales IBA - Portfolio: Page:36 of 50,
                                                 USCA11 Case: 24-13671                    Document: 13              Date Filed: 12/05/2024
                                                                                                                             November          Page: 31,
                                                                                                                                      28 to December 55 2014
                                                                                                                                                         of 723
                   .£• ■
I                               RMMONDJMffiS
                                                                                                                                                  Ydur Portfolio (continue!
                                                                                                                                                         Ed Scales IPl^.Account

    Alternative liivestrnett                              fnui

        Alternative Mutual Funds(continued)
                                                                                                                                                                  E^.;       Investing        Cost Basis
                                                                                                    total'                                                    AbntiM
        De^tlption (Syrhbql)'                          Quantity                                                                                                                  Qap or          Gain or
                                                                        Anrauntinvested        CbStBasis                 Price        Value                   Incortie           ;(i-oss)         (liOSS)
        ROBECD BP tONG/SHORt                                                ';$i5doa74.       $15,386.99'           '''$15.S9d   $17i281.45                                   $2,180.71       $1,894.46
        RESEARCH FUND
        INSTIXOTIONAL CLASS N/L             *•                                                                                                                               ' 14:44%           12;31%- ■
       (BPIR)q
                                                              ■,s


        Alternative Mutual Funds total                                                        •$31,131,98                        $32^601B6                   $125.43                          $1,469.88
                                                                                    r-




    Alternative InVistments Total
                                                                                                                                 $32,601.86

    *• Please see Alternatiye'Mutuai Funds Ori the Understanding VquriSiaternent page..


                                                                                                                            o-
                                                                                                            •




                                                                                                                    Of
                                    , '2'




                                                                                                                                                                                                            w
                                                                                                                                                                                                       '    sr
                                                                                                                •                                                                       • A                 ON

                                                                                                                                                                                                            IQ

                                                                                                                                                                                                            o



                                                                                                                                              Ed ScalesiRA - Portfolio
                                                                                                                                                                         Page,37 ptSO


                                                                                                        I                                                                                                        I
                                                                                                                                                                                                                                             ''7^:
                                                                                                                                                                                                                        ■.ft.
                                 USCA11 Case: 24-13671                                                Document: 13                          Date Filed: 12/05/2024                                              Page: 56 of 723
                                                                                                                                                                                                   *0
                                                                                                                                       ‘WB                                                                      Exh.7
                                                                                             f:

                             WM.
              >
                 i
                 A


                         ■fli!
                                                                                                                    -V                      C'>»t
                     r
                                                                            ;                          hh                                                                                                                                                            .1
                                                                        <
«
                                                                                                      K.w H>t CAm >1 ts»^4ir^r                                                                                                                                           I

                                       M




         »
                                           m                                                                                                                                                    ' ■’<'r.>t. ^
                                                        3
                             M
                                       II                                                                                                              0


                                                                                                                                                                                               *'>4r       ■uSi^^^'-'


                                                                                                                        'd
                                             ■Q                                     A
         ^i.. LVV ,..
                                                   >M
                                                                                                                                                                   C5
                                                                                                                                                                                                                         f«




                                                                                                              0
                                                                                                                                 ,            '    ,              ■m^.M..m0                                                             :4
                                                                                                                                                                  wr.cft


                                                                                                                                                                                                                                                  Js-
                                                                                                                                                                  1)

                             Uf* ' '..ri..,.- !!*-

             *




                                                                    il»i
                                                                                                                                                                                                           p
                                                                                                                                                                  m>sE
«                '

                                  II


                                   M
                                                                                                                                                                                                                                                                    >1
                                                                        w
                                                                                                  *                                                        IC>-
                                                                                                                                                                                                                                               ifp'
                                                                 fmm%                                     i
    ■I                                 P'jU.'»--i A-^y. !-,|i,..„                                                                                                                :|i|c;

    ' •          '•                    f vv                  ;vr: s//f-
             IfiPii                                                                                                                                                                                                                           i!|fj
    >■   ■   '

                                                            w.              »fti                                                                  Wm
                                                                        «
                                                                   mw
                                                                                                                                      wMa
     n ii<Rr .U ^tiyiPamiHv,                                                       W:-
                                                                                         .
                                                                                                                        ct   '              *

                                                                                              m

                                                  m                i
                                                                    m.’m
                                                                                                                                 W.
                                                                                                                                        wmm                                  W
                                                                                                                                                                                                                        f
                                                        M
                                                             m
                                                                                                                                       '%                               ie
                                                                                                          'WQ
                                                                            ■                                 mi
                                                                                                                                                  Wi
                                                                                             ■
                                                                                                                                                                        ■^BH
                                                                                                                                                                                     liil
                                                                                                                                     IlilMl
                                                                                                                                       m#
                                                                                                                                                                                                                  C'i
                                                                                                                                                                                 *



                                                                                                                                                                         ii
                                                                                                                  ffl
                         iw
     ■                                                                                                                                                                  ■alii
                                                                                                                  w^Km
                                                                                                      1                                                                              *
«
     f                                                                                                                                                                   t
                                                                                                                                                                                          ft




                                                             n
                                           ' '^,:tr’
    M                 m                     H
                                                        a

                                             I                     M                                                                                                                                                                    ■                       i

                                   .1 »fc—                   ,™=^
                                                                                                                                                                                                                                    ¥#*
                                                                                                                                                                                                                                        m               ■ Pk"
                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                ^asii
                                       1
                                   _
                                                                                                                                                                                                         /




                                                                                                                                                                                                                                           ! i -
    Im                                                                                                                                                                                                                                 ■   ■
    -                              §M
                                      USCA11 Case: 24-13671                    m
                                                                                                         Document: 13                     Date Filed: 12/05/2024                                     Page: 57 of 723
                     ft
                                               a
                                               1
                                                                                                                                        jite
                                                                                                                                                                                                         Hxli 7 pjj '2,
                             ii


«
                     ,?
                                   m                                *


                                                                     m
                                  s*,*-                                                              i
                                  m                             M                                      i




                                                                                                                                                                                                                                                          ■i


                               m                   Mi
                                                                           -w^

                                                                                                                                                                                                                                                          ■:|
                                                         ii
                      ir                                                       i


                                               »©^                                                                pv


                                                                      M-
                                                                                                                                                                                                         f
                                                                                                                                                                                                         4
                                                                                                                               i?

                                                                                               Wi
                                               m
    I                        T                                                                       %
                                                                                                                                                                                                                                                             i
    $                                          *                                                                                                                                                                                                             I.
                                                                                              M0i


    i
                     ml




                     *




                             jfirogt'l: ^mmm mm
                         w                                                                    M                                                                                                                                            w.
«                                                                                      ?§/
                                       •' . te
                                                                                                                                                                                                                                                          i
    I                     i-'Sfcsnif Lrisp-i t'-i'C»rjcJ» i.*otYar aiAi'LiSf,;^                                                 SIS
                                                                                                                                                         m.                                                                                         #1     I
■ »                                                 i                   feji                                                                                                                                                      M
                                                    p                                                                                                                                                                 ^pii
                                                                                                                                                                                                                                  ^1                      I
                                                                                                                                                                                                                                  &
                                                                                                                                                                                                                       Pil
                                        td^%              f!                                                                                     Piiii
                                               *
                                                                 m             m.
                                                                                                                                                                                                               Wi
                                                                                                                                                                                                                              •a
                                                                                                                                                                                                                                  *             w
                          9-                                        M
    r       ‘                  :', ’ .      'C*:                                                                                                                    't0:.-
                                                                                                                                                                                                IP
                                                                                                                                                                                                              •|t;
                                                                                                                                                                                                                                  K|:
                ..   ........
                                                                                                                                                                                                                      *1                        iil
                                                                                                                                                                                                                                           iiiiSii
                                                                                                                                        i                                                                «                                                 i
        ■                                                 i
                                                                               tt
                                                                                                                                 iilf
                                                                                                                                        m                          :1m       «
        mm.
                                                                                    Ws                                                                                                                                                          ■
                                                               f»4
                                                                                                                                                                                                                MitWdi
                                                                                                                                                                                                                     3®       m
                                                                                                                                                                                                                                  m                      I
                     £fS                                                                                                                11
                     %f                                        fM
                                                                     iH                      iB
                                                                                             lip ;                                      iiiiii
                                                                                                                                                              P'
                                                                                             ■M                        '*1;
                                                                                                                                        •i                                                                                     ^p;                       m
                                                                                                                                                                                                                       iri     mm
                                                        eiiMlH
                                                                                           ■i              §^Mm00WM>
                                                                                                  »P
                                                                      w»
                                                                                                             ,
                                                                                                                                                                                                                             ^....,Bi«4
        iwJPi                                  #^ii'
                                                                                               i                                ^B8                                                                                                                              [


        »                                                                                         ii^p                                                                                                                                          1
                                                                                                                                                                                                                                               1#
i                              i                                           *          1                                             11*                  •IMfi!

                                                                                             iMi
                                                                                                                                                      IB                             Wx                                           ii
                                                                                                                              i®l                                                                                      »                   *             fi
                                                                           w                                        ii*
                                                                                                       »
                                                                                                                        «
                                                                                                                        »
                                                                                                                                         *                                   JS iiBipm


                                                                                                                                                                                                                      M•fc
                                                                                                                                                                                                                       *
                                                                                                                                                                                                                     riipM
                                                                                                                                                                                                                                                    I*
                                                                                                                                                                                                                                                     Pt#i
                                                                                                                                                                                                                             li^
                                                   PI                                         ii
                                                                                                                        ■                                                            ■1^^                                                      i»

                ii»
                     *


                                                                    i*              B
                                                                                             i*
                                                                                                                 v^Sm
                                                                                                                               ■ rn^mM
                                                                                                                                                    #
                                                                                                                                                         *                       i        3^
                                                                                                                                                                                                                       li^W
                                                                                                                                                                                                                      WM
                                                                                                                                                                                                     W
                                                                          ■
                                                                                                                                                                    «■,                                                      illMi




                                                                                                            mmxmm                                        ®i»
                                                                                                                       if^P                                    Wm             »
                                                                                                                                                                                               WM:
                                                                                                                  Wk
                                                                                                                                                 ^Wi ill
                                                                                                                                                  »

                               Wa
                                                                                             ■                         aiPlli»*                                                                ■■
                                  *                                  ■
                                                                                    «
                                                                                             «
                                                                                                                                         ii
                                                                                                                                                 *                                                       f
                         if^W                                                            MitAm-m                              s»a 4 m                                                 «ii
                                                                                                                                                                                                     i
        il^
                                        M
                                               S           i«»i
                                                            *»                      j?|^
                                                                                                                                                 t«i
                                                                                                                                                 ^lip         iSWii^fciS
                                                                                                                                                                                                li^M             “"'i*li*Sa"
        M
                                                                                           ...                            &
                                                                                                                                                                                                                                                EIK
                                                                                                                                                                                                                                                      ■




     ‘'M/i,

                                                                                                                                                                                                                            [ixi.7 pg.3 I
                i               USCA11 Case: 24-13671                                            Document: 13                               Date Filed: 12/05/2024                                      Page:
                                                                                                                                                                                                          I
                                                                                                                                                                                                              iiif
                                                                                                                                                                                                              58 of 723
                                                                                                                                                                                                        If



                                                                                                                                                                                                                         iapii
                                                        I C0MP{.,4irii                                         »MI Iveicfiifjijfv, piljwg to/?                                            **'2^ Mi'          i

                                                                                                                                                                                                                     I'il^ lilt i
    «
                                                                 iVlu'ii               f/* f;,:iChrri£*.|}i‘f li                                                                           'I;
                                                                                                                                                                                                       #:
                                                                                                                                                                                                                                                                  si
                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                             J
                                                                      4 JiAiilbijft j'pm.'
                                                                                                                                                                                                                       H||:
                                                        S    ;:,:.||®i;il||gi|i|||fifiilliifttoiiffiliiiii t'a*jS sKi!cls«‘i^l'**CVOi2 K*                                                  ^1#
                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                 I
                                                             Uiulcried liy                         f'AHr,f i/J] ijiiHl'l                                                          *' •   ■■cilf B *
                                                             t
                                                                                          i«*.                                                                                                                                                   iI
                                  }
                                                                                             W.;:®
                                                                                             ' '         ""'                   "     *




                                                                                                                                                                  i;■is   iifeiiiiK       IfllUM                                                 1;
                                                                            iHtia b, itKiiiml Gik i'jni cover flirv;*, N*? f'li*

                                  0.
                                                                                   V



                                                                     II#                                     1#^
                                                                                                                                                                                                                 f
                                                                                                                                                                                                 il'



                                                                                                       iliiiii                           |i||liiP'Wi|iiisjii                                      t
                                                                                                       IBS IP ^                          """'"’"""'I^HSiS
                                                                                                                                         [k^'rfr                     iPIS
                                                                                                       11                                i»ii
                                                                                                                                                                     ipSi'"*':''
                  .1
                                                  1^8


                  *

                                                                                                                                                                                                                                                                  n


    ifl
                                                                                                                                                                                                                                                                  'I
     II

                                                                                                                                                                                                                                                                  ■I
                                  w.

                                                                                              t



I
                                       fi
                                                                                                                                                                                                                                                                  1

                                       I                               iM
                                                                                                                                                                              kSI®-

                                   +
it                                                                                                                 :«?1
g
                                                                                                                                                                                                                                                                  1
R
                                                  p;                                                                                                                                                             ?                                                4




I


                                                                                                                                                Wk.
I


I                                                                                      ^#1
                                                                                                                                                                                                                                                                       i


                                                                                                                                                                                                                                           ii
                                                                 *
                                                                                                                                   nmm
     IIif                                                                              P&i                                                       Wi                                       m
S
I                                                                                                                                                                                                                                   iiii

                                                                     ptwII
                                                                     W^Wi
                                                                                                                                                                          illlB!
                           Ip                                                                                      pii
                                                                                              i
            'Mk            m
                                                                   ■                                                                                                                                                                                             I
                                                                                                       |i                      m
                                                                                                                                                                                                                                                                 ®il
                                                                             wi?
                                                                                                    ti®                                                               m
                                                                                                                                                                            IIP
                                                                                                                                                          SUpi
                                wWwX
                                                        B                                          m
                                                                                                                                                                                                                                                           lii
    ii
      i      ft                   «                     IJ

                                                                     ■m
                                                                   |»|
                                                                                   *1                                     g|
                                                                                                                                                           W£:,


                                 iss                                                                                                                                                                                                  •iSr            Hi
                                                                                   r
                                            i g
                                                                                                                          Ml
            m          n
                            W
                                                                 ■                                     ill
                                                                                                                                                i fi4
                                                                                                                                                                                                                 f
                                                                                                                                                                                                                 «
                                                                                                                                                                                                                                      SISI
             ft                                                                                                                            II
                                                                                                                                                                      Sli                                                                                  1
                                                                                                                                                                              iW              i^p
                                                                                                                                           Pi                      '^■
                                                                                                                                                                                         kI
                                            WmM:                       m
                                                                                                                                                           W:                            WM
                  r I.23.f»v.?2640-Jt:M
               USCA11   Case: 24-13671 Dommmt S Enierftd
                                         Document:       on FLSO
                                                   13 Date        Docket
                                                             Filed:      07/14/2023
                                                                    12/05/2024      ^^0''
                                                                                  Page:    Exh.8
                                                                                        59 of 723
                        t
    r '«■                                                                                                                                                                                              mm ■ill

                              fu                             i



                                    ; /!'
                                                                                                                                        «                                                f•A
                                                                                                               :L
                                                                                                                                                    a
                                                i)-                                                                                                                                                                      I
                                                                                                                                                                                                                         t




                                                                                                                                       u




                                                                                           y.S, Bisfcrict tmrt                                                                                                           I
                                                                                                                                                                                                                         1
    ^52,                                                                                                                                                                                                                 I
                                                                                0;
    t
                                                                  W-
                                                                           FiorWo Sioi»th4rr» * f&rt Ls«<J«>rrfate^
«

              Ulsilst '%,n»njii0
                                                                                                                                                                                                                        '5
                                                                       y
                                                                                                                                                                                                C. iia.if 10' ^EG
                                                                                           frj'.i (..A >t>rf5 28«3 J. ^ 'I                                                   t-   ,,

                                                                                                                                                                                                                'Afwt- I
                                                                                                                                                                                       prics-
               <CJli          Pi'fpssii                                             €          r ,• r a rtv/'itf »           :                            =ii|:
                                                                                                                                                                                   4834®
              ;ti       1
                              CK * sy/rr                  «r«,.
        A
                        «
                                                                                                                            .•0

                    if                                                                                                                               ^3:
                                                                                      M-        W’.
                              n                             m
              C0            . ftfulw,
                    ^              ” n‘                                                                              QviS
                                                                                                                                        ■ft:
                                                                                                                                                                                         f
                                                                                                           ill                                                                                               iililiiii
              C8             Cs’-h          ,                                                                        s                             life

                                                                                                                                                                                                        iiiitgiii
                                                                                                                            tsiil,
                                                                                                                                                                                                             s^6'3.C,




                                                                                                                                     Cj’,' '. i<*r,5S P, "!>«:                                               ' • iO-e?


                                                                                                                     iiPi

                                                                                                                                                                                                             Rli
«
            C8#t3c
                                                                            .-M'trf
                                                                                                                                                                       isfifctis.fee®
                                                                                                          mm



                                                                                \
                                                                                I
                                                                                                                                           wimm
                                                                                                                                                   W^m'
                                                                                           %




                                                                                                                                                           p

                                                                                                «pi
                                                                                                                                                             m
                                                                                                                                                               »
                                                                                                                                                                                                  ■K
                                                                                        ¥M^M.
                                                                                                                                                                                          «

                                                      ■
                                                                                                                                                                                                  Iff
                                                                                                               ■                                                  ■                                PH
                                                                                                      B                                                                                                        *«
                                                                                                                                                                                                  gJ^Ki
                                                                                                                                       ^»1                                                           Pis*:




                                                                                                                    ■HI
                                                                                                                                                                                                             mm^m’
                                                                                                                                                                                                             **t
                                                                                                                                                                                                                         I
                                                                                                                                                                   i


                                                                                                                                      »*
                                                                                                                                                                  *
                                                                                                                                               »

                                                                                                                                               W^M
                                                                                                                                                   ■
i
                         USCA11
                          •'.w-r.u.. Case: 24-13671
                                     'h
                                                   *•
                                                                                  Document: 13                             Date Filed: 12/05/2024                  Page: 60 of 723
                                                                                                                                                                   >u




     I
                                                                                                                                                                   Exh.8-1 pg.l
ft
                                                                        1         I,i, :"rA'l'.'-;, Dl'JTRif /].' C( »r]UTFOn '1HK
                                                                                                                              r.»i- , u.iMda
                                                                                                                                                                        ■




                                                                                 I                     'v!lAr/il                )\\

                                                                             » M'.*-.                     ; 2 >. -/2«4f5-Crv^MAVrnNi‘-.X               .

                                                                                            f-SAi rs‘}<';;•
         I
         I




                                                                       A
                                                                            .c
                                                                                                                                                                              f«




                                 •V.. i-.\ .'!• I ia'Mj                          , //.. JA liu.*;.


                                             i.Jcf'Jiiiitinf.-.

                 i
                                                                                        CllWER Rg^AMBlNS-fcAgfi
                         P.
                                                                                                                                             i-.-vk-Av -’.rskc r*'■■ • ••              .■.J-l/JilV.'
«


                                U 5 S!lv i
                                             *1*
                                                   U',.                                 v.‘j:L an-.' Miunicw .'.ivt.-' -ii’-Sk.' -.p- fi
                                                                                                                                      ’' ,Vt! i’Soli*. .. *>t i'

                                                                  i'   .             ■-!!    ■    ■:.         j;’.!! .'Jksio:i 'f.- tlii:'. c';:-: «»■! ‘i th-'              . I-    =’ir



                               I                          "i 'Jt/fti s~* '£‘.j-iriro, v»'                          St'i'              V ViAiVi' ,,/•/      ./... /..A-. ;■
                               f                                       I '.» ■ ■■ ■ -■ ■                   -oi-.;;: ! : k. ii. .--i'.
                                                                                                                                                                              jv';


                               V"-.vV '.vl-^l-vvcr                                               ''■                                                          "•“'•"■          f
                                                                                                                                                                               «




                                        A ''’iv'|.a''S;-'jD ifi.i;.' •'■' i<;:ii!'                        i(*>r». ■*. ;;urc ci;;::’. I'l ‘uut-.ts             *1
                                                                                                                                                                                                       /


                                                                                                                                                                                    ; !i oj.Jcr 2$ ,
                                                                                                        .iv.'J;,-; :i'd «-'..s.';

                              ■J.s.C *; ny...                     2^4 ■ !               V
                                                                                                                             llU'^ 'fV.bK K f,'0.v:.AV;.-/<                           ‘-Vj.tnfiW?..’.,
             t
                              A f; * ih '^:»o S^51, JJ.'f- f i ! '.ii' 'ir ’‘- •)v'; i'Jiv.-v'i.y iuriniicUon -ixisk-i lfAl) hkx^
             4       F

                                                                                                                                                                                     J^oao/* ?.8
ft
                 F            ^>T''i!A'cA-n4 of iir^!" <i” ’ .'’;
                                                                                                                                             » ■? !
                              LtM                                                    ^i-'r-'A \ fV'.' '-'O'i.'t ,;a9 i-                      i




                                                                                                                                                  CM




                                                                                                                                                                        Uf



                                                                                                                                                              *
                                                                                                                                                       «1
                                                                                                                                                              i
                                                                                                                                    wysi                       ■
                 "--r
    r-'”
                                     USCA11 Case: 24-13671                                               Document: 13                          Date Filed: 12/05/2024                                mn 61 of 723
                                                                                                                                                                                                   Page:
                                0



                                                                                                                       t
                                                                                                                                                                                                             Exh.8-2 pg.2
                   ■




        $
                                                                                                                                                                                             uc,*‘'40.
                                                  »UHilbj|*l)'u|ayRMte’ M«'li<nt|n fsi'nttlis I B,.i)>fNaft0k* v.
    t.
                                                                                                                                                                                                           . jf
                                                    l/l24'|IJCI<;(Sp. Fltt. .July J,:m-|),vJJCF Nq..^5^jwlei of Dit:H«ssai I'-X
                                         Ir       fee.iimiMtW'd,,.                                       ,0M- i’%; Apv.!I.:W13), ECF'N<i. >l<3ttnmsmu
                                                                                                                                                                                            I, Mri'i;

                                                                                                                                                                                                              absietiilfw
                                              i
                                                                                         tiij wnsllOtt- ©r ff’fenilng lefceiolp'fi wBmi                                                                                                                      ■i




                                              flacititj#).                                                                                                -r»
                                                                                                                                                                                                             f
                                                                                                                                              U'
                                                                                                                                                                                                             •«



                                                            MfcefellllKil IS' OllttEEKII AND AD.I«iKD”y                                                               ^■                                                                                     j

                                                                                                                                                                                                       i

                                                                                             i.'i EBW.AyPEM U) the'
                                     S                                                                                                                  0



    I" %                                                                                                           ls»lRlCfl'Ait*€l»OSeihls«;JiO. .- ,
                            I
                            ;
                                                         %-.h          'EbA Clork of Cvouri I                                                                                                                               #k             <>




*   I

    w
                       [j
                                Q

                                                        *< 0,OI!fE^I^1>'.OitDKDlCI#'i!) OrJiifeis atMloim
                                                                 s ^         1.,                    t        • '           :                          f'W.       w%                         rjfj
                                                                                                                                                                                                             fe..k
         i: *" ■*                                                                                                                                     r                             ^ff
                                                                                                                                                                     ,fe?' ' /
                                          Cffelcs,prrwi4y*io:
                                                                     #!■
                                                                                                         I                                     :. ' josts    gARTIN!?;/  ■ ^
                                                                                                                                                              •wrefi msTRi^- t r:0oiif: .»
                                                                                                               w                                     iiNni
                                          ^;;k' \Vsl!%fefe'tt ; •                                                                                                                                  p


                                                                           fe -;       =*' ■’                                                                                ''^5



                                                  mi

                                              •:i            !■
                                                                                                                                                                       if:


                                                    W                                    j

                                                                               'MM                                                                                                                           f
                                                                                                                                             mil
                                                                 m

                                                                                                x
              ||I9
                                                                                                                                             ®fi                                    1

         K                                                                                                                                              Wi

                                                                                                                                                                                                                                           ipl

         'wM-i              i                                                                                                                                   Wi
                                                                                                                                                                                                                                 ■
                                                                 »
                                                                                                                                                                     ■11.,
                                iM
                                                    m^m                                                                                                                unii
                                                                 m            wB.                   'M                                                                                                                                sv
                                     Wm
          *

         wM                                                                                                                                                                                                                 .......



                                                            'm
                                                                                                         \                                                            mm
                                                                                                                                                                MiSiifc                                                 ■
                                                                                                                                                                ^■ils
                                                                                                                                                                                                                                                         »




         ■?m.
                                     «
                                              *                                                                1               miIf^W
                                                                                                                                         m                                   ■
                                                                                                                                     m
                                                                                                                                         ■■


                                                                                                                               18
                                                        SI
                                                                                                                                                                                                                                                    i^
          i                     S                                                                                                                                                                                                               !^-v..

                                                                                   «
                                         ii
                                                                                                                                                                             ■i                                         ■
         imma^
                mmm.
                                                                                                                       *m                                                               ■
                                                                                                                                                                                                                       i«^B S
                                                                                                                                                                                        ■
                                                                                                                   w                                                                    *


                                                        ■
                                                                                                    dw             **
                                                                                                                                    wm^m.                                                                                                         ■
                                                                 —
                                                                                         ^8S                               mmm ■fca                                                                                   s
    I
<I
                      w
                                      USCA11 Case: 24-13671                                                          Document: 13                                          Date Filed: 12/05/2024                                                       Page: 62 of 723
                                                                                                                                                                                                                                                          Ftp*®
    I;,'



                                                                                                                     »                                                                                                                                        Exh.9 pg.l
                                                                                                                          'l



    tm
                                                                                            . ' CxlTEDSTATESDISTMCTCaURTFOETHE
    f
    h
                                                                                                                     SOITHERK0ISTOCTO? FLORIDA •,
                                                                W:                                                                    ■ gm€pIViSl0t^„'                                                                ’„ ' :
                                            3
                                                                                            ■s^ffp’ . ■' 'AJilA'';        - A'' '*•<» •:Apt''..FL:-;::.''L;\ '-'.Z.'^''.             ivi-A''■*■>• ■'       ■   .-''v::-; •"-y :; •-    :; . . . :
                                           i-
                                                                                               _'          _ fnd m niber:
                                                                                                    .■■4


                                                 ■MACK'- , WEELS'.                                          aitd ; -ymMMM , a-                                                                         »
                                                                                                                                                                                                                                                              f
                                                 sY.uni^lm?: *.
    f
                                                                     ;•■ •■"■; •. ■■;


                                                 §mB
    I
                                                                                                                                                                                                                      Wi
    f             i                   •,         LIS; ■gAl,’^='Mj!B>AiL ASSOgA-IlBK -
                                                 «5rA/..-= .                                        '                          , '             ' ■
                                                                                                                     0■                                                              %


    I
                                                                                                                                                                                               ;l;
«
    I;'
    I,
                                                                                                                                                                                                                                                    ’S-Jt'Rf F w<III2^
                                           ”          eiPE^REOUTREs'f.
    .




                                                   ,..:•                                                                   'baiowffiis’C^jrAiYt:®^trsp^tne review ihe kc. i It PP
    ifei
                                               ^i5iF%iFaniSe>Fi Qu:;c' [sWj'Tnte;ConsloictiWFBoF>Y?^                                                                                                                                                   -'''

                                                                       'M
                                                                             M




                                                                                                                                                                               Ms;                                             i-fS!
                                                                                                                                                                                                                           /i'.



                                                iilinsdi'ctl9B'6fe;-tS!Vc-.5< tuidci SfeTw!^;r'3&|p'«'" *?f‘Y’''®*'^“                                                                                                                                                                ' -’
                                                           'M


                          ■-" A .


        0:
                  ;
                  »
                                                                                                                                                                                                                                                                                                   I
             p-           w
                                                                                                                                                                                                                                                               .'   >.; uvU;-.:;-..' ' •; j
«
           ft                         |jij^:liiSiiiiii^^Mli^^ifepiteaiAA;ifeaA;-5ifi^^                                                                                                                                                                   .’ivIriiP- cdMemliig'its               1
                                                                                                                                                                                                                                                                                                   I


                               ‘'4.
                                                                                                                                                                                                                                                                             $^MK-   m:      M
                                                                                                                                                                                                                                                                                            S ':li
                                                                                                                                                                                                                                B                                                                  i
                                            L
                                                 mm
                                                                ■                                                                                                          &


                  ^■3!
                          1*
                  li^B
                              ti

                                                                                                                                                                                                                                                                       tlEiiii
                                                                                                                                                                                         1                                                                                                    31
                                                                                                                                                                           B                     'm
                                                                                                                                                                                                                                                M
                                                                                                           *                                                                                                                                                                                »P|:
                                                                                                                                                                    «
           ■■1                        m
                                                                                                        ^■1                    iiiiS
                                                                                                                                               m                                                                                                                                     m


                                                                                                    iw
                                                                                                                                                      m       ■                      1                                                                                  4.
        ill                            1»
                                                                                                                               «|ii‘
                  ii
        S8PW*W^SP if
                                        i*
                                                      *1                                                                                                                                                                              •i , t
                                                  m
                                                                                        i
                                                                                                                                                                           i
                                                                                        Ml
                  A
                                                                                                      4

                                                                                                                                                                                                 c»
                   r
                                  USCA11
                                   C:>3  Case: 24-13671                                                                    Document: 13                                     Date Filed: 12/05/2024                                            Page: 63 of 723
                                                                                              1^                                                                                                                                                              Exh.9 pg.2
                                                                                                                                                                                                                                                                    1
                                                                                               '4^^


I
                       $ C'-er^s?/;:
                       O                        TtSJ&r-i!                                ?'.:e j'Xi/X- ■•?! S/rJ?-                                                                                    i»i« YT
I

                                                                                                                                                                                                            ^          ^   --~v ,r^-^f

«                          "hr                'I'ju./?-- *’jst/.                              > jjfvy                                                  .f                               r.                  '»
                                                                                                                                                                                                                                                                    k!n sf^

                   w
                                .•;isr*'r :.'f r                                                      ;e^'t;|,                                     ?fr.rrtr/ ■:.                                                                     '"'
                                                                                                                           f
                                                                                                                                                                                                                                              j ft- '                                                      ^1
                                                                                                                                                                                                                                  'C'-
                                                    >L;' t2|                            'r:                                                                                              ‘t ; 2ft- vftS.ftft ft
                                                                                                                                                                                                                                                                                                            ■ f
                                                                                                                   :?:•: lunv&’Ai, ':
                                                                                                                                                                                                                                                  t'-
                                                                                                                                                                                             15. lifts,
                            jaiijdfercir P'’uis|5#< <'9 2ft. "J.S,                                                                                                                                                                                                                                          :?




                            SKt^e4|rz?>^ /irssiikJk'^ '* :it.ii 'Ssti'ZZi-                                                                                         r i.-v      .             : F.-C5V . ?, ,1ft.- <‘^h
f                                                                                                                                                                                                                                                                 ■ftJ.ecT
                                                                                          if^i'lhj 2:^ S»''^ker”F£i4M^.
                                                ' j >


                           jijrk                                                                                                                                                                                                      f
                                                                                                                                                                                                                 r ';fi%fj: ski;s«^ r«:;:;?,i?£i :s#
                                                                                                                                                              0                                                                                                                                               t
                                                                                                                                                                         .k'

                           iaak;,<:iiBe|eSc4 ii: ilcs.s, ikin::                                                                              23d »<;2r
                                                                                                                                                                                                                                                                   ^■j ?
        f-;                                                                                                        ft'/**-'' .        ■   '■ ’’ft"®' ■ .=.-        .■ .■■■. ^ ■/■'. ■ftfft. "           ,       , 255.£25J>2'"                                                                        /
                                                                                                                                                                                                                                                                                                             j

                           sTT^tnis s:iite'C«i s iii| sftk 3' ^ ■jafAh^f^ '-'7                                                                                                                   7          J
                                                                                                                                                                                                                                                                                                           .5




                           ciiOvi). T', : 'X .                                                                                                                                     0
                                                                                                                                                                                                                                         V   .■




                                                                                                                                                                                                                                                             : l’^r.'7l' '
                       I                                                                                                                               /• .'

                                                                                                                                                                                       "ibsl 33:*-                         ''-r« :;*.'
                                                                                                                                                                                                                                                                                                             j




                                                                                                                                                                                                                                                                                  «
                                                        ’■    «»'        *          <                          '    ift,                                                                                                                                         VSiSi.. 'pv

    I                       ■o^ sfeiiftl afessth^ wsltii. f-:ar7.la *si^|
K             «•                                                                                                                                                                                                                                         ..wfeiSiili®
                                                                                               »f3ai i3 55.                                            in’%
                                                                                                                           »                                                                                                         t
                                                                                                                                                                                                                                         #              'ftV.j:’^ fliCvId
                                                                                                                                                                                   ';;$S2>ift‘*ft:Xcer                                                                                                ■4
        .




                                 ■■■•■'
                                          tv.' Gi7ra>3A.57iitii 3&y 4/J: Jft                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                                                             I
                                          !
                                                                                                           o

                                                                                                                                                                                                  . ,           - ■-       . Piig'S                          LUf mdicM 1
                                                                                                           ■           h&:F'il} fi4 '7
                                                                                                                                                                                                                                                                    ^ ‘2           ■t
                                                              '■f-                                                                                                                                           :H. ■ •• . aft#' t3ft tl;$re 13' 'na ■
                                          *l
                   ■ pr€^cee<^7ct'4j; - (Ir *yt7                                                                                  ,ar>Hv-ft*k
                                                                                                                                                                   ^fv''                                                                                     7 i'qiiptfee I
                                                                                                                                                                                                                                   le^
              wim
                                                                                          '■ift'diftk >rcu.-<^?ii3£5
                                                                                                      ..


                                                                                                                                                                                                                                                             f                                               j




                                                                                                                                                                   8
        'Q                                                                                                                                                                                                                                   ■ ' i..2ft5 UftSi413' a,
                                                                                                                                                                                                                                                        4#                    ,     »    ‘   ^        V


                                                                                                                                                                                                                                                        j., : be                                 '
                                 .’h . ,.[ /ft* ■: '.■ .’.■ •■ •                                                                      cdA b?*3f?5ft ?'■- fF^shhiPh
                                                                                                                                            €
                                                                                                                                                                          -.M 1- -li-                                                ft - : cr;-rv ■ .'Vft lu-te
                                                                     ••pic'.iuo-
                                                                     ’
                                                                                                       .-• ’               ■! • ;-:•:*           m’ii-e'                                                                                                                                         Hr

                                                                                                                   W                                          Hi
                                                                                                                   M
                                                                             »l                                                                                                                             'M
                                                                                                                                                                                                                                                                                    pH
                                                                                                                                                 pli
                                                                                                                                                                                                       iK
                                                                                                                           »
                           ft
                                                                                                                                 li                    ifil
                                                                                                                                                                          Il5i^
                                                                                                                                                                   '^M                                                                                                                   TOP
        il^iw                             f                  7 '
                                                              M
                                                                                  9M'                      i'^i                                                           BWlili                                  l■s
                                                                                                                                                                                                                                                                                                     Si
                           ^1
                                                                     I^BI                                                                                                                                                                                                         2|Si
                                      ftftj                         IMI
                         USCA11 Case: 24-13671                                                                                             Document: 13                                          Date Filed: 12/05/2024                                          Page: 64 of 723

                                                                                                                                                                                                                                                                    Exh.9 pg.3
                                                                                                                                                                                                                                                                    V:aily.
         I-                      » Kmw^                                                                         h’fcliohjtti,v Hhajh. 55^ F3tt'l260; 12t>8 >'i|th i
                                                                                                                                                                                                                                                                                                  ''■’f

         (                                                                                                                                                                                                                                                                      state-
    ■“   hO                                                                                                                                                                                                                                                         .hI by
                                            'hi'AnM sppt^KU to ,*y:3i»e«j riOiadit t>y sfaie<o«ii
                                                                                                                                                                                              'lescjc^'ctofll^'isjtpiig of.mm.es cmf
                                            f

                                                                                                                                                                                                                                                                   Jijrtg, f-
                                                                                                                                                                                                                                                                             iisicfct
             *                                                                                                                                                                                                                          5j)ieiicecJ an«5
«
                                            court: jwdpBenb-reflclored’before Ute-dis'Uict court pioc-cecting*' cob
                                                                                                                                                                                                                                                                 . j.ndms Csi'P.^e
                                   ■ court rco/iePrcaiiy »jecskHi •# tl:os.e jutigliwiits. ’ Ertoih^ffOfMi^ (Mp- r
                                  . .-                                    ’                                           ■         •    ■     I                       - i.                       t ’ ^




                            i
                                           '544 U.S 2S0, .2^:4 (^Ul)5). TIt.' iJSi: of rCTiin4%^,!i stafe oquit finaljodao'^o
                                                                                                                  ■• ‘ V i-by       ,1
                                                                                                                                                                                                                                                           ji/fifew. 558 F3®c
                                 J|' appethh vouf «> or.os o,Iasi resort. Ijte Uii wd'Slale&^gupreit u. C owit- ■ ^                                                                                                                                              .^3pi-.-.cniecl
                                                                                                                          rt
                                            ilrl                                                                                                                                                                                                                                                 .1



                                                                                                                                                                                              |j ,72liHl/'Cir:'2W0) 'a c-taliii r. f‘
                                                                                                                                                                                                                   „5^ '■ .ft
                                                         ') ,


                                  • indgoi-t)i-'3vykf>='l V ’/,oPor.>,.B# ipd'116^..
                                                                                                                                                                                                                                               9t.m.
                                                                                                                               •efteclivelf                                     W&tM
                                                                                                                                                                                                               ■if'-
                                                                                                                                                                                                                       CVAq/e,?:5!iP.3dul’l2^>Q^:
                       'f, * exfelt tluif''f|}a!||sw                                                                                     vy{’b}jgl>*4teciti¥d .fee Issms                                                                      f
                                                                                                                                                                                                                                                                                                                  I




                                                                ■                       tbe'b4j.^H^?idcU'C'.oair>i«4nEi^^ ^                                                         ..




                                                                                                                                                                          «: <:S:

                                                                                                                                                                                                                                      \"hk Aiscnded. Complaint) beatmg.'v , J
                                           . -:. v,..i .                                                                                       ■. .        • : - ■■■• ■■-• ■■ ■■ -
         »


                 CJ




                                         case,yion3bgjt/26&?-01 x4')e-t 'A
                                                                           «-„H,*BK5Cnl,UKBcir!c¥ni.»;n*fo-;M
                                                                                        5ii:
                                                                                                        t

                                                                                                                                                                                                                                                                                                      :F'
                                                                                                                                                                                                                                                                                                            ’r-

                                                                                                                                                                                                                                                                                                             ej



                                                                                                                                                                                         ipt:
                            ■ ^ Flowcic                                                                                                  i'|u3e'->_ lEecrf-E                                                                                  ■Id'
                                                                                                                                                                                                                                                                         lyl-Gd-SiR-WeX a’
                       .' .                                     Gale;?^keiii5.fee fyreci.ure                                                                                                                                                                       ,pl
                                      l&F                                                          «,

                                                                                                                               i?iie*$Copeiiy.%d (M
                       ■ ^‘ l -  >■*.
                                                        pXpCC'v                                                                                                                                                                                                           i-.datt A\’riS'-“as ^ 1
                                                          .., : I                                                         . . ■ ■ '- aifegaud                    ■n.
                                                                                                                                                                          ■{.
                                                                                                                                                                                i„ fl.n-’aKi.A-i'Csniph'iereacti Oo i
                                                                                                                                                                                                                                                                           I.3 cjf otiMyi&e,.
                                           trims                                                            »
                                                                                                                          i




                                                                                         '•
                                                                                                            {   . .
                                                                                                                                                             «

                                                                                                                                                      : •' .. . ■ ■•. ■■:■ 'C '                                        tc 'ScUftsnie }9. cleh'oitd ?
                                                .       « .i    ■ •



                                                                                                                                                      nv?iai&t^%«igJUheS!tte.G^^^^                                                                                . ■ ' :*
                                           ■;:,r ;.-o-v....';v' ; . ■'•■:■ • ■ •- ■■■
                        #


                                                                    'TjVI eSCre'B fm pea'snit                                                                                                                  t
                                                                                                                                                                                                                                                                                             .




                                                                                  t
                                                                                                                                                             <

                                                                                                                                                                                                                                      abKfsSBUop' clpc-U'inS Ryp:<tr.'mduuvt
         k                         ,. .-,- ; .; .:y'.C'' it. *- •:•.■.•. <Vv«r th is ctid'-iiudei                                                                                                                                                                                    h
                                                                                                                                                                                                                                                                                     '
                                            '           >1.‘X
                                                                                                            i                                                                                                                                                                                          ■■ -..0
                 '0k
                                  clo:frifie,:'«‘'l:rti'i                                                         c=„55 at.viii.hn oki.ef,*.s:G%po:uirgM.t,pa»«lp wo«W reqSitm
                                                                                                                                    :d-
             w                                                                %
«
                                                                          1           w._                                 p
                                                                                                                                                                                                      r
                                                                                        *
                                                                                                                                                                                                                                                                                         :


                                iS.                                                                                                                               lili;
                                                                                                                                                                                    %
                                                                                                                                          a
                                                                                                                                                                                                          t
                      *iilii                                                                   i
                                                                                                                                                                                         w.               ’1                            ■

                                                    '




                                                                      *
                                                                                                                                                                                                          «                                                if.
                                                                                                                                                                                                              U3
                                      V'                                               IT
                                                                    ••
                                                                                       *                                                                                                                                                             ili

                                U-:.-
                                                                                                                                                                                                                                iii

         i® ■
                    USCA11 Case: 24-13671                                                               Document: 13                                Date Filed: 12/05/2024                                        Page: 65 of 723                                                 J
                                                                                                                                                                             aj:’»ijrr?                                         f'ail


        I                                                                                                                              :<... ?.
                                                                                                                                                                                                                 Exh.9 pg.4                                               t
        I

                                                                                                                                                         ^1?*

                                         'Court ro                       ..fii'iprb'-,an OHgoiog stale c^Curt-^roee^'rfjng—Bi'wliidr piakuitTs, aa* ,,.K<:Jed att
                                                                                                                                                                                                                                                                                  :|
         ;*;                                                                                     fl
K
                                             nMium'p^p^fitmy} to; IIUS#8 fheir c0»$flt«i|,(jn«il.'0teiie6ge^-'!ttv©W»g tlw fared'•■.<                                                                                           s ure ,,f real
                                                                                                                                                                                                                                                                                  ■i

                                                                                                                                                                                                                                                                                  'I

    i                                        property/wMch-itMpIicareslan-aap,Qrtau{ state Ipiewst, V/iUkam v, dm.                                                                                             MmTj.-!-.■tJervs., hie--

    I                                    .•i3-3i240j’Gr^:2I/3Ca 2013'WL J23^412,• at, *2..a' {B.D/fik l\%v.-2O,.20l -ii sli make a "
                                             w:q                                                                                                                                                                        Si


                                         " ■                                " : ''                VC '■ '/?’
                                    ■ ftHd.foglltat Itiefoi'e^loswre actioit at issue :>KaS'l|5fi:©Kfctfy'declded/.rec Cmxtk, 55<;J ?
    t
             V4:
                          11 0f(3>I?prfi:, d
                         /'I
                         ^               .1                                                                                                                                                                                           sittiSjviritSo                              i
                                                           iri''- Co'uv; ;>iU '                            i!-'- i'- i-. a 'lie Svt.t

                                    ' i(.i Svdv ?!-KV!;.-rai-ci'i|!*'.‘.                                                                             action                                                      See/ I.
                                                           ■,.     '    > . 1     ■ •
                                                                                                                                     Soy;-'.2^f                                                                        Mi:.#
                                                                                                                         n   t
                                                                                           .|i




                                                                                                                                                                                                                       lil.'tOI          :foctfiae)t
                                              ':: !        . i         .;.>.!■■•                   I a I► M

                                                                                                                                                                                                                                              X\tz          i * -
                                    <' >:;i                                              ■ "j                     :.} :' ."■■•'ft.
         I




                                    :■!.']•;:■■ a-!!-i:-;',. l!;;'                      ' ;•           I’nojiSr                      .•nspia^ir 0iiaI!fei»gM}g#®^d1pspije'-aettoii u
             9f-
                                                                                                                                                                                   -&S'0mik'^c                                                \* .
                                                                                                                                                                                                                                                         .: -■'). -
«
                                                                                                                                     t-: ! .•■ •■-.

                                                                                                                                                                                                                       ,ilt-             !i =        ■
                                                                                                                                                                       . nf ..        r.i'-i . ftO S. COtBp
                                   i.’i'-.’ I                    I!:       iWlV-j.r .:•                     .. . ■- .'■■£ . ■
                                                                                                                                                                                                                                        .11                         s'.
                                                                                                  II iu%u
                                                                                                                                                                       * J'l \        i ii‘

                                                                                                                                                     > s •                                          r;-).                         i                  '‘.1 pt- .:■
                                                                                                                  'f.                                I



                   " p
                          ■I '-'                                                                  Sffti I


                               >         ■
                                                      vr -:: ?/                                               :         iM-t: ; IK- :'V. '■•                 .    1                   ■ d.t..pks,'i                     ;       "!■ •1 1 '.                         II
                                                                           ’U S; SIBI                  llH iVi



                               : o'!'-'IS .',s                         htai": ^■|• ..'".           .1             ii'lifj. ■■.M'.'.Du-i-v-'Ais'''''
                                                                                                                                                                                              1
                                                                                                                                                                                                  2'2i A'Jot'ti;-'.    kHii .ViKf.'i.-jCOt.'')'.-
                                'i.yt                            i ' ■'d-r-.'                    - ,'!! i>C                      ■                                            ■i-i'               7.;/K *■ Ni’.- '.'. ; .. . :-t5:V;tt2 sMi'-.

                                                                                                                                                                                                                 ’ .            • li -C •nil’.'.? 'Jsl.'-Jl
                          .•          >.■
                                    .iU.'U            I*     ‘'• ■ .'•■■'I'lpu-       ; 'at • !. 'h ih ’iii- a ‘ j;7"''s."-ur;-. "io:; -.u-tlts tftdk.
                                                                                                                                                                                                                                          ■. 'sirs, 'I3..:v.
        -i'                                                                                ••JI-*-;i        tc i I; '■                 :          J S'.m                               'l■.. (^•


                         '' ''u\ >                     ■jcjC-M;:; ;'k ■ I                                                                  i >0. ’: : •')!J. i.-.oL. •.'i-.il'.svirti i-■                                   -
«

                         :■' r''s                                               i'-                                     ;j. r.:.. Ap ' i k;.'                    ...   ' ,    ].                       S’lSfemssing Ml-'k.;, '.•.(‘■s'' :
                                                                                                                                                                                                                                                                              s



                                                                                                       t




                         JA     ‘    '
                                                                                                                                                     •4
                                                                                                                                                             >




                          il

                                                                                                                                                                                                                                f
                           CfUSCA11 Case: 24-13671                                                                         Document: 13                                                 Date Filed: 12/05/2024                                                               Page: 66 of 723
                                                                                         t.

                                                                                4

             i                                                                                                                            I
                                                                                                                                                                                                                                                                            Exh.9 pg.5
             *•




                                                                                                                                                                                                                                        iHid#f Vomigm’
«

                                                                                                                                                                  "                 W*’. tytiiomntb Uiwt aHeiupfs'd (ft                                                              l?clf#l ■
                          f           iin'ifnv
                                                                                        >ilfit. LHm,,f p|,,; |..|;| „
                                                                                                                                    *5                                                                                                                                                                                                  1

                                           TgmmMr fhike nfE.;
                                                           •‘Atv-.mU UJiikmh i^h!lA’m 'n p mjik.                                                                                                                                    2E22S*iB.-''!\(*?*'j/1' 1 UkZ ,
                                                                                                                                                                                                                                                                                                                                        i




                                    '(.
                                           P* -f'^‘MFl5!'3f,'ia2:il.l;CFHr... i>_ I fii'i Cnnri will mkkA$$ tlim twilofl by ^Sv'parttf.i
                     'X




                                                                                                                                                        o             „    ,
                                                                                                                                                                                    -. mnM: ■>
                                                                                                                                                                                    -      ;. ■,            '   .. : . ;p , ,
                                                                                                                                                                                                                                    ^         ■ ■ .-...■v'-o-' ■
                                                                                                                                                                                                                                                                         , ■;                      -            2 :=
                                                 A
                                                                   • Or4 ,yr fM?Etr«                                            ,f ;jy^ :\ntmm'yAZ$is,M itmrpMu. maimim, shall if; ‘-H
                                                                 E latk,.If HitsA -crff, atetT|f||lftKj|||||.gf■:n»fi|Q#
                                                                                                                  ' (i   , . . '.S^:; ,, • a flf         A;      • ':
                                                                                                                         |ltan fe|i: -pisggs,t’Ha| ficturc5s' 5 why’ilijs
                                                                                                                                                                          ;'                                                                                                                                                            I

                                                                 li* '                                                                                                                                                                                                                                                 ?f



                                                  i>unrMmknm 4i;mmthr;
                                                                „.,, jc; eritiv uiKti;r-f}'i{;. 7(fmig&’ ab3itiiifit}fi £tectr*ii5. RoMm’Akjihnmi
                                                                  L‘


                                                 5N6'iii<o)                                               I be Pi'.arisiuii'pHip mittsi In typg- Jn |2 pi Tmm^hv^J Router’*-iifeaL., ctel||>l£ /iiA,;:
                          i';:                 ' spp,fi8di aiKl Ijave %'{t*-'li!f.fi /jrsjj'^jjo. The in'.nititanrHirt* wiw) btw 0«# M|JMil>or; 23^
                                                                                                                                                                                                                                                                                                                                        :l


    ;
                                               M                                                                               Ahlirtf (f                        iu-^rUn {hi; aufio.*)?                                         -         •                        - -   ' rv: -                                            i:

             •»
a                                               t'j »
                                                                                                                                         - ■•■;! -E                        ;(t. (!.=;                  -If :;■•■■                   i;.                ■ >;ir i;                   ypwipriate
         '

    I                                                                                                                      *
                                                                                                                     i.AyiK.srjfy_fcijh rf.A* wElt«JiJt'fHa|ii4l!cy, v/lilfoyl I'uftber woribig, -•'                                                                                                                                     I
                                                                     f>f   '        *                                                                                                                                                                                                                                                    I


    i;
                                        SI tL-i                                           * Sr!'ii^
                                                                                                          ‘3 Mrvfc5l;i'E© » Al»Mli%7STf>.‘.rn%fEl,¥ C:i,0g|y'thi > t.iise for                                                                                                                                    ' *
                                                                                                                                                                                                                                                                                                                                        1
                                           :



                                                                                              ■       ■    ■     •                                                                                   i-;.                                 ximing
                                                                                                                                                                                                                                          '      as subjo iat Jlpitep
                                          ♦
                                                                                                                                                                                                                                                                                                                                        I
                                                                                        "I'hjs ubjij.i birab’-s-', clfAuic. v/illr mt AiiUet ■ikz Pa* ties’ pib'*.i3niiv|^ rigl’iis: ‘
                                                                                                                                                                                                                *9
                                                                               §im


                          iiBlltl®|^^|S|ii|| ii'vr rool toittii-eiii «r$-ed by yuf. fPniri Hraurdiby iv its Inhyronr m.

                                                                                                                                                                                                                                                                                                                                 ■'#■
                                                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                       a
                               I
                                          ■^rP'\r^y t: .n- lAfe rtb^ uCCKel'.                                                              ,
                                                                                                                                i
                                                                                                                                                                                    Sill
                                                                                                                                                                                                                                                                                                           4r

                                          i’-.H' 'N/s f,-.                                                p,
                          tm
                               wk
                                    m
                                                                                                                                                            k   ‘5 AfovijsjjPn, Liorfote HrlSxI day urA«g»isf:'20?.3,, ^                                                                                               t
                          ■
                                                                               m
                                                                                    i
                                                                                                                                                 foi;             i^ifi
                 I
                                      Ml
                                                                                                                                                                                   w sfi’i i
        *                 PM                                                                                                        *1                                          s

        v.y Pi^koyiifc. i'%!                                                        m
                                                                                                                                                                                ■ ¥-. ■' ■ r - TLs. -
                                                                                                                                                                          _ ilBil p;rvgrATijs mmacpf UlJlili
                                                                                                                                         ■ Ssi                                                                                                                                        ■


                                                                                                                                                                                                                                                                                                                                        ;|
«                                                                 i* W                   m
                                                                                                               '^s
                                                                                                  «||

                                                                                         fmM
                                                                                                                                                                                                                                                                                                                                   Ikl
                           m-                                                                                              I
                     ii
                                 &
                                                     -




                                                         1                                                                                                                                                                                                                                                                              ,




                                                                                                                           '.        a                                                                                                                                                                                                  3
                                                                                                                                                                                         t-fi                                                                                                                                                I
                                                                                                           m
                                                                                                                                                                                                                                                                                                                           i
                                                                                                                      %.                                                  ''m                                                                                                                                               W^^.
                                                                                                                                                                                                                                                          f
                                                                 1i                                                                                                                                                                       »*
                                                             11                                   m                                                                                 p                                                     Sit
                                                                                                                                                                                                                                                                                                                                 iiS
                                                                                                                                                                                                            alS                                                                                                        {i
                                                             I
                                                                                              ■                                                                                                                                     if
             8
         m
                                                                                                          ■                                                                                     is
                                                                                                                                                                                                                                                                                      f   -A
                                                                                                                                                              :\r



                            USCA11 Case: 24-13671                                                           Document: 13                            Date Filed: 12/05/2024                             Page: 67 of 723
                  I                                                                                                                                                                                                   ni’W
                                                                                                                                                                                                                          M'


                       d'
                                                                                                                                                                                       "y;t,W>nry‘ p
             i>


Vi

*■                                                                                               o                                                                                                          Exh.lO pg.l-
                                                W                                                                                                                                             ‘im
                                                                                                            I                 '•* >^HntIuh’u^tf.n                     ■I'i/ri’if/li
                                 o                                                                               ii

                                 a
                                      '?0.

                                 ip                      fl
p                                i
                                                                             ;»
                                                                                          IfG
                                 I                                                                                                                                            d




                                                 *'4-
                                                                                                                                                                 <»
                                                                                                                                                                                                               ?

        (I

                                                                                                                                                   H'f                                                                                                                  J

                                                                                                                                                                                                                                                                      - I
                                                                                                                                                                                                                                                                        I
    5




I


                  'm
                                        ■'4-                                                            '                                                                     mm mm                                                      , , : .^;
                                        '■f':                                           k ,tC>t%Pi>. i f                                       yrlm                               }r,thl imAy                                                                   W-.

    I
    1                                                                                                                                                                                                      A."4 . ' i'/L;#,? .4’W,<, ■ '
i
                                 %
                                                                                    iu-t, pShmi n,rA* J'MM. (khtVmf m                                                                           -tmw*^. V,/,f44i «ll4t
                                 (i
                                 o
                                                                                                                 0^
                                                                      ri* m mmimAAm^AmfmcmrnfKm^ki                                                                                                     u


                                .£                                   ■; ■ ^^,4.:'41',.' ;■ !.„4 ' Q ■    ' -,         4*--         "/                                 '•'■        :C
                                                                                                                                                                                          ^                                    ^           ,,    ..         .
                                      to                             i .                    f'fe fS«VVjti Msfjis?4r«i9                             W mkl^i                   «5?fe9 iA'y                                                   ^04
                      0. - ||                           »^€mi                                               im                          B^r>A «              ^iSffrVIC't l!« «*f                                                                M               ,
                                 1                  *<4 tmlh fc t*ie /epalricfei ■'»tf ihk ^Qf4^ #i9il mmh                                                                               ■,
                                                                                                                                                                                                      'O



                                                                                                                                                                                                                                   !?:

                                                                    W
                                                                                                        imPi fmi Pf                               nm             % ix^kinptffct *7
                                                                                            >*>* n^<?i<rif;'. C                         c#ir         gsee^r.d bf ts-Owi                                                             idmUte*
        i                                        J»f;-*c*Nj ¥; ia;VH N .■ 7 - .4                                               ;              'v-r-b. -•
                                                                                                                                                                                                                                                                4




                                                                                                                                                     :o


                                                          \                          ^{| s-zt?         ia»t 0irei                                                                      cmS^ m                    /■ rJm ^ * jeiat •
■■I*                                            rifir.7«’ Hiip'iittf -;, - .) ■, ! .- ;-; ‘^; ,7-4 V ;y                                                                                 i' .-t: •;, •                ■'.'■S'is.'r; jijftU
                       I®
                       J*    »                  pr,v>:r-it Jzs ;,a:-i: :;                                   -,    . ,                   ir/        3 ^.-t,                    *-;,.rr.}r'.^r,- •■•» i'--              ..■■:.'l -jrt’ffssie^ jfl

                                                                                                                                                                                                              Blili                       tf
                  n
                  ‘
                                               ^*<-'>> (;,v;/ni^■;!*•-■                           Tj I                       '4“ •;,/•             -./ ,..-1-7
*
                            ^m.
                            H                   *
                                                                            *              H'
                                                                                                                                                                                                                                                »
®i ii»                                                                                                                                                                                                                                                rPf
9i0:
     i
                                 V                                 ^kmm.
             1                                                     *

i
                       :i   Iw

                      J i
                                                         m-.
                                                                      if
                                                                           i«
■■                                         M                                               »                                                                                                                                       «5           I# IS*

         ii■^*
                                                                                                                                                                 %                                             f
                                                II             p                                                                                                                                                                                wii
                                                               *                                                                                                                                               Vk
r                                                                                                                          m
                         ■'M
                   USCA11 Case: 24-13671                        Document: 13                          Date Filed: 12/05/2024             Page: 68 of 723
                                                                                                                                                       ■S.
                                    Tffu.V'2(firur^                             M‘} f ;A^rt>i              f . >;j vsvK                            m



                         i



                                1                    i
                                                                                  •6                                                        Exh.lO pg.2
                                                                                                                                             f
                                                                                                                                             «
                                                                                             0.
                                        fkW^lkgi                                                  I

    fi

                                                                ■%

                                              >'
                                                                                       0
                                                                                                  A
              I
              »

                                                                     Q;
         fM                                   1^!:                                                i    ill^gi§|ij|.ia!i^^
                    ■' . pktj- pf^mk-a m:            O'




                       ‘h'j ( ^n>,i»i-{ i4U€C<ni          , '   I                                           o:
                                                                .■
                         \h
                                                                     U;


                         I           If                                                                                                                           ’I

                          ■t         m


                                                                                                                                                                   j
                           ,e
                                                                                ip
                                i
                                                                                                                 *
                                                                                                                                             f
                                                                                                  i                  .




                  :|W
                                                                                                                                                                 Sii

                   ■
                   w

                   a                                                                              fi
                                                                                                                         illi
                                                                                                                 m
                        ^mim                                              m.    m
                                                                                                          w                                                  ■
                                                                                                                                if                           *
                                                                          ^mPS%                                            m     m                           *

                                                                      y                                                         ^mi
                                                                                                          ■■11
                                                                               ■_




                                                                                                                 *
                                                                                                                                     »
                                                                                            n
                                                                           |6                         ■

                                                                     i»i                   wmm
                                                                                       I
                                                                                       m          ^m.




                                    h     -
                                                                                                                                                   I




■                 i-



i*/O '


    s»


h'
                                USCA11 Case: 24-13671                                               Document: 13                           Date Filed: 12/05/2024                               Page: 69 of 723 ;
                                                                                                                                                                                                Exh.11-1
                                                                                                                                                       (i
                                ,                       l-2a~cv^415G»MD fMtmmtj
                                                                                                                                                m fL&Z l>^ksi G2f2xriZQt^> "
                I
                »




          T^-           >d.|p                                        'P                                                                                                                                                                                              •: '^ ■ ■:'
                                                                                                                                                                                                                                                                                       »■-:



                                                                          ^          ■           ui',ITmSTMIS !>tSTRJCl COlilT rOR 1B£
1                                                                                        ^                                           oiSTftrci orixcRim
                                                                                                                                  >4lAr4t iV|V!?;ft;\.                         T?'                                                  «   ^                .
                                                                                                                                                                                                                                                             ■rf*-., ,f.t T,
                                                                                                                                                                                                                                    ■,,T;' A' ..Ik
                                                                                                                                                                                                                                                   ' -'.     •       '    -        "

                                                                                                                                                                                                                        ■■ ■■■■:                                                         ■;




■I                                           iiiittiiiiliWilikski                                                                                                  .0:
                                                                                                                                                                                                                                                    p-



m
M
                                                            0 fT?4ftifi‘,:
m
il;
                                        Iv. ■
                                                                                                                                                                                                                                            '■#'
iiii'                                           1                                p
                                            ° C'lT/ tJ.F MiATil and ¥aU€ fdAflTt,-:                                                                                                                                                                              f.


                                                                                                                                          I]                  A\




                              ;ii
                                                                              <ibJM..h .- A ;-5T■ . f. • ■■ t«. t -.u.'., ;>                                . ?.--• ; • -                           .
                                                                          -;il-                   L >•! •■/' i'                                                          K ; '; '' ■
                                                                                         •' j S'i vr >.(• »r ki'y- ui M                               d.' 5 R ^1
                Si                                                                                          .




                                             ’-■. .70.,;-> Nf                  1 ■                                           f . TiintifiSL Uiiilad         MiiSSiiilitf

««*■
  a                 i         1
                                                                                                                3"* 11S, C*ja"fld"if                         ^                       i *■ 1                                        "4r> 10-
«          mm
                                                            .If { M p                        '        ■         •.            •
                         ■                                                                                                                                                                                                                                   i

                                I                       M
                                                                                                                                                                                                                                                                                   f
■                                                                                                                                                '




■
■                                                                   1                                                ■            SfeJ3ifcS^$-lslP
                i        'm
                                        H                                                                                                                                                                                   PA''XI
■                                                       M



                                                .ctr.j- -.ii''-.-‘Tc .‘;.’t • . ! -i'.                    f'.            '          jd'-'-''’-' '-*■■ ■'                  -‘                                                                                     ■
                                                                                                                                                                                                                                                                              Pi
                                                                                                                                                                                                                                                                              li        i!
 m
                                             ' ..':*i:..t!i             r-. ra:. ;:.                                               ...iT-^.a,’ •.*.                                                                                                              I

                              ■
                                    m
                                                    0
                                                            d
                                                                                                                                                                         eo pv I
                                                                                                                                                                                           *,               f                                                     M
                                                                                                                                                                                                                                                                              *
                                                                                                                                                                                                                                                                               M


                                    m                                           wm                                                                                                                                         .' i\


      ■
          ^1
                                        ■                                                                                                                                                                                                          B


                                                                i    »
      H                                 P
                                                            ■                                                                                                            'rV.        !i-        ‘                                                                                      m

                                                                                                                                          «

                                                                                                                                                                                                                                                                                       il
                                                                                         ^^
                                                                                          w
                                                                                            gaiiatgi
                                                                               r.. p,.                          VsJ. ti/- I                                 -d '.»> i. uj .a 1                             iildva^ 1^
                                                                               I :.k ..^A’Tv                    >.<' S¥ ^
                                                                                i
                                                                                     i                m
                                                                                                                                                                                                                  f)-
                                                                                                                                                                                                                                            •■I*                              §1
                                                                                K
                                                                                »        I*

                                                                                                                                                                                                    5||P


                                                                                                                                                                                                                            ■
                    ■, ,.A              •■'.P                                                                                                                                                                               ■

                                        i'  .IS.
                                                            *       ilMi
                                                                                                  9   mmm^
                                                                                                                ■
                                                                                                      s
                                                                                                           1
                                                                                                                                                                                                            f-•
                      ‘2
                        9r
                       USCA11 Case: 24-13671         j)                                                   Document: 13                          Date Filed: 12/05/2024
                                                                                                                                                                              l-KKt ?




                                                                                                                                                                                                               Exh.11-2
                                                                                                                                                                                                               Page: 70 of 723
                  " c
                                                                                  ^ PC'DijioJim I g f?nw5iiil ciri f-lSf; Ooukei 02/:l’l?024 -P.?M30 r.ofS                                                                                                    i


f                                        *1                                           it
                                     a


                                                G,
                                                                                                                                           I'
                                                                                                                                                c)
                                                                                                                                                                       ■«»
                                                                                                                                                                                                                           f
                                   i‘ii4icj25 " .                          All .nelnal                                           ,w| ni.cirft.Mwl:' o? feif.                                                                     .•
                                                                                                                                                                                                                                 sb
                                                                                                                                                                                                                                  i


.. 0                                                                       Ihv-icd tiy Uhv z Z'.Sii.K uo\kt%                                             immic, w^Jicb nmj nol, v/lsbot.: f.v, ...                                                                M
                                                              i            P'«;5m, c-it.A’tS Ili.r                                     limn nlk^.vntl by the Kwlc-^.

                                   1-2}                       ■            h.'.m rnch ini .<.sipwtrt}ft,) wsst he rtlesl.                                                                                                                                           \


              i                                                                                                                                                                                                                 Y.irn
                                                                           hr^pt.^cfl |tjs\ niHtMcth.i.n zMkt                                                                liwMttg'i
                                                                           ‘^rwe. rtrasrpc'tilcd.         '                                                                     •
                                                                                                                r-
                                                                                                 (f                                                                                                                                                                     I
    ,                          ■bf9b025                                    v.'-'/fv k %'bi Jfu m'c.ifi‘cn‘ iWfA tw bled                                                                                                                                           t> \

                                                                                                                                                                                                                                tlBlf
                               ■'i              Fiiil«4r« % cspiply                                           {Ithi «if any i>rrter                              C!#H?‘t , ihf L©e«l                                      .»■
                                                                                                                                                                                                         wsurtto • '
                            a^iplJw*Wt* r’til# iRsy nes'nlf ta sVusAbtw, te*:l«itog diiiWtissal                                                                                              pf«                                                                        I

                                         :-iih. .1 -f'-i II 1 ;. •                .                   •         ^•
                                                                                                                                                                                                                                                                        \

                                                >. tifj jV 4Mty ot*-.*.:l ^.nun'.ct ,mci                                                                     Ht «»dhrr,c 1'nn lia-i sfnhb'

                               -i                                                                                                                                                                                   I.HfW .id24.

                                                                                                                                                i
                                                                                                                                                                        '1
                                                                                                                                                                                                                           f
                                                         w.
                                                                                                                                                              Al                   .
                                                                                                                                                                                                       l-i “ ■ 2'
                                                                                                                                                                                                         M    ■'^' : -V"iv ‘
                                                                                                                                                                                                                       fI '
        ffi                                                                                                                                                                                        ■
                           ;S'- . ■■ u-a: ' Ji-4:(7e
                                                                                                                                                „,.uNrnt)'sTArc-s fltlt'fiRIOlt'li'ilh it'.
                                                                                                                                                                      iiii


                                                              m
                       P




                                                                                                                     ifl
                                         ;»f<
                                                                                                                                                                                                                                                ■ii ii
s                     ■

              m                                                                                                                                                                                                                                            i^BIII
'm                                                                                                                                     m                                       M
                                                                                                                                                                                                                                                ^p|        ■Jif
m                          m
                                                                                m
                                                                                                          I
                                                                                                                                                                                        W-
                                                                                                                                                                  B
                                                                           9:
               S                         »
                                                                                           I#
                  ■
         ■
         1                                           WM
                                                                                                                                                         1
                                                                           9

                                                                       p                                                                                                      %

                                                                                                                                                                  1
                                                                                                                                                                                                                                             laii^g^pp—
                                                                                                                                                                                                                                                      1:
                                                                  1®

                                                                                                                                                                                             *
                                                                                                                                                                                                                           ?
              liA^i                                                                                                                                                                     «    *                        0




               »
                            ■ *          »                        H
                                                                                                 i                                              _
                                                                                                                                                                              «



    I                      »
                                                                               Wx.
                                                                                 1
                                                                                                                           s
        ■                                                                                             'M.                                  ■                          m

                                                     i                                                                                               P                                           1»
                  ■            i                                                                                                                                  P
                                                                                                                                                                                                                      Q
              ■                n

                                                                                                                                                                                                                                      p' .


              ^»iilM                                                                                          p


^mm
    m


                                                                                 |H
                                                                                            *
                                                                                                            m                                                m        ■
                                                                                                                                                                                                 ■
                                                     H                                                          ll» »                  M
                                                                                                                                                              J

                                                                           i                                                                             1
                                                                                                                                                                         ■
                                                                      »                         mmMSi                            ;^s
                               ■H                                                                                              ifg              K

                                                                                                                                                PM
                                                                                                          »
              f


#
                      USCA11 Case: 24-13671
                                    51?                                        .?%-
                                                                                               Document:
                                                                                                 .''f i <
                                                                                                          13                           Date ‘Filed: 12/05/2024                      Page: 71 of 723

    «
             ->
                                                                               a
                                                                                                                                                                                Exh.12-1

                                                                                                                                                 }

                                                                                      ■        •                  ’ ■-^•vu-s ' '<? rc"'K'-yCy".
                                                                                                                  ;. ry,>.           - 7.^ < • e;i \
                                                                                                                    ^4. V‘/v                 ^54.A
                           J|'/0 ■
                           't'f'                     f
                                                     /
                           4i'                       -0
                            ffi

                                       ■'■'.ft r' ''''f                ‘5'-'                                 >.
                                        G
                                                                                                                                                                                          f
                                   c
                                                                                                                                      A>             9

                                            <i                                                                                  . u   ?r ■
                                                                                                                                      '■j
                                                          Vf •


                                   iliill        . i i
                                                          ,k,EN‘'-H|k i? ',\ iS. ■
        0
                                                                                                                                      Sit


                                                                                                                                      *




             i
                                                                 f/;
                                                                                                                                                                                                 .. VferA-
                                                     f                                     '        ■                 ‘               »;                          i-‘-; •
    «
                                                                                                                                                                        ■: ^ V

                      SfIgM                                             ? fe.:                                                                                                                ', .. :C;4,,m:.

                                                                                                                                                                                               smm
                  r


                                                                                                                                                                                                 .4
                                                 ii                                                               ill ifas' c^» '«                                          ■
                                                                                                                                                                                &a« r,*
                                                                                                                                                                                                                  o'
                            ■




                            «                    ■
                                                                                                    .a


                       1   '■ iilp                                     ^                                Tfe rtliftt                         0M#WI« 1^.
                                                                                                                                                     /                                    f
                                                                                                                                                                                          »

                  ®j
                  *                                                                                                                                                                              - Ks,e                             i

        Ki»       m                                                        X
                                                                                                                                                                                                                                    ;



            ^*1                                                         m
                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                    i

                                                                                                                                                                                                      ■ - . -.’cr^-s
                                                                                                                           '■
                                                                            -•.'          's-‘ ;'                                            m                                                                                      \

                                                                                                                   iB»*m              m
                                                                                                                                             m



        w*                                                                                                           '4*
                                                                                                                                                                                m-
            mmm                                                                                          -




                                                                                                                                                         ^m«ii




                                                                                                                                                                 gj
                                                                                                                                                                                                             m
                                                                                                                                                                                                                   m
                                                                                                                                                                                                                   »
                                                                                                                                                                  I                                          ^1 ■
                                                                                                                                                                                                                           &




                                                                                                                                                                                                                  ^P P         11

                                                                                                                                                                  *                                          1^


                                                                                                                                                                  *
                                                                                                                                                                      ■
                                                                                                                                                                                                             ■^1
                                                                                                                                                                                                              I


                                                                                                                                                                                                         P
                                                                                                                                                         ^mm
                                                                                                                                                                                          f
                                                                                                                                                                                                                       m




                                                                                                                                                                  ^s                                                       1

                                                                                                                                                                                                                  a
                     USCA11 Case: 24-13671                                                         Document: 13                   Date Filed: 12/05/2024                          Page: 72 of 723
                                                                                                                                                                                         Exh.12-1 pg.2
                                                                                                  Dociirnent H                              PlSG tiQ€k%l&2i%&2Q2A                                                '




                                   rknjiie                           Cmn i'mt all C,
                                                                                                        SSa hparbga be coRcfucted r«-.j elose lo I'av ti*’’®                                                MS
           ,t-.Je
                                   pesillc
                                              i#                     ''CrmiKcl ;ire MBM&'J.Bi
y                                                                                                       0*                gpon, reeaipi of           Oult-r,                                                                0




                             :W               V.                ij
                                                                                                                                        ■
                                                                                                                                        '
                                                                                     ^villi Ihg Coiir*’& Coorirnw**} Dep«i.j’ »bif" ntcfeWliy          ■ ',rel«r:tor
                                                                                                                                              of • ^ »ntci p
                                                                                                  I
    ■>.



                                                                              ■ ■9
                                                                                     ‘|?4:
                                                                                                    p .,          twetttj.'"fottr fZ4}                            prior !■« .<»'                                     o -.




                                  m                                                  frtal.; iiftilCf ibe Cftiirp || an lnterpr«rt‘r Is                                                                      "
                    -.3                       l:"^"' ;:|                             <d' itio trf'4i ac            ini&i'pr€it:t ■will M                                         .:. ■                               o



                             f
                                                                      b'mkrnx                                            fl»t a :»bI«?rp hearing will take m^’^rc thaa thirty (30)
m
                                  m. ..   uk^.ihr Cfiurl’^
                                          a
                                                                                                             [)maiv <hrAM                               tuicr tliws                                     ®

                                              m
                                                                                                                                                                                         h-,, ’^f any otter
    V
                                   ■ ; !u.. ;. ■■:■.• ■■•^.^                     ,                                                                                    ._ .               iiy ,4'Qllemm%d
                                                                                       ilttiiJtlSi ';>'‘cn^eslir ■'iTi^s-tf .'iai'jropTS'-jt* aetturts.
                                                                                                                                                                                         ■ fit i'i'iFffife E-nese;
                         ;        to e u &rrt.                       pvjiet ■fp.ki ■M             ’f
                                                                                                       Inili hc*'f..*h'' n?» #        ■ ■   .           {«pad|tk*aa r
                                              *>UN}. ^'^0 - iPDi i^i'}; . . ■ ...                                          . • . .-   ■ . •■.. •         i(fuA‘hk'IOV ’ ch"^U earuArylfSi
                *
                                                                                                                                                                               M
                                                                                             p.          Q


1 -             M
                                                                                                                                           a.VkkPl1M-r ,
                                                            i
                                                                                                                                      iiii E9 STATES DISIFJ- 'P
                     tiia
                                                                                                  t


                     m



          <1^
                                    s,';v,5 /:;:                        ;-j
                                                   1
'^mmm                                                  v"




                                                                                                                                                                                                        n
                                                                                                                                                                                             f


                                                                                                                                                                                                                                    I




                                                                                                                                                                             8
                                                                                                                                                                       P                              I
                                                                                                                                                                                                     U
1


                                                                                                                                                                                                                                  S



                             t
                                                                                                                                                                 m                                                                  I
                                                                                                                                                                  m              W

                                                                                                                                                                                                                            mmg&
                                                                                                                                                                                                                            t -vr ■» ■
                                                                                                                           m                                                                                                         I
                                                                                                                                            m              m
                                                                                                                             »
                                                                                                                                                   _.
I
1   USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 73 of 723


                                                                    Exh.15 pg.l




                                                                                            r— '< .

                                                                                      ssc.-y ?<*;■'




                                                                                                      «




                                                                                         is#*'




                                                  r>
                                                                        f
    f
                    USCA11 Case: 24-13671
                     j~nv\                                      Document: 13   Date Filed: 12/05/2024   !
                                                                                                            Page: 74 of 723
    I
                     r.               ■ t
                                                                                                            Exh.15    pg.2
              i-'
                      ?V.


                       m
    s                        0                           •4
              »




                                 0
                                                                                      f*
                                                                                                                f
                                                                           n
                                                                               0
                                        0   -
                                                3




                                                                                                                         A
                                                                                                                                      ■

                                                                                                                         pi®8
                                                                                                                                      m




«




                                 mm




                                                                       f
                                                                       u
                                                    1m
    M'
                                                                                                  .W
                                                                t5^’
         «P
«
                                                         10^;                                                                   e--
                                                                                                                    'I
                                 ..
                                                                                                                                                                                                                                                                                  f"'
                                                                                                                                                                                                                                                                                  {
                                    USCA11 Case: 24-13671                                                           Document: 13                                            Date Filed: 12/05/2024
                                                                                                                                                                               \
                                                                                                                                                                                                                                            Page: 75 of 723

                 >                                                      uNtx rrD States'wst^Rvcf £ou ro vok                                                                                                                                                                             I

        ;
        ,,       -
                  ^-'■
                          o
                                            ?-.

                                                        ■ iH£
                          «
«


                                                  '%
                                                                   Sr                                   cowrr of xe®                                                                             0

                                                                                                                                                                                                  I                I
                                                                                                                                                                                                                                             ■V

             »                                                                                                                                                                                                                                                    y'*-'               J




             l
                              ■
                                                  f ?isifs"^as5.r'' '
                                                  ■
                                                                                                                                                                                   0^ ‘

                                                                                                                                                                                                                                                                  O



                                                  *'4
                                                  .f                                                            %
                                                                                                                                                o
                                                                                                                                                                                      J, ,                        COt'ETCA^ffJ*
                                                             ■G                                  .,a'
                                                                                                                                                                                          )
                                                                  n'
                                                                                                                                                             ->1
                                                                                                                                                              V

         *                                                  ' •   V*-   .0
                                                                             S                                                                                             “          ..'Pi




                                                                                                                                                                                                                                                      » 0«

                                                        S^AQK L;WS£tS AMD
                                                                                                                                                                               0

                                                        MAWRlCE'SYMOHpm ■                                                                                                                             [)


                                                      j;;:                                    Defectot                                                                                    )
                 V
                 Ift'l-                                                                       CIcfli ofiliftCncm Court --Miami-Dsfe CcsaitJ' a
        gf
                                                                                                        '.= '.v.                  ■'. .-■            ■■. •                                                                 a




                     w    ^
                                                                                        ,     ?3'WcsfrF;agter3*fe*tt                                     '
«                                                                                             .'rii-i' ', :             ■■ : ■.             ■: ■'!

                                                        ■
                                                                  fflttlii                                                                                                                                                                                                            i
                                                                                                                    9                                                                           ;0:

                                                  M


                                                                                            •-...:i.i:. --..il, . ' '.-■'.I' -i ■•-■•.- ■. . ■ ■■■!’■ ■•■■■■ '■'■■
                                                                                                  Q
                                                                                                                                                                                                                                      "'■                             _
                                                  S"                                                                                             i„ uniBd Etet«i>a* '■ c«n »-•: ’>« s»to»
                                                                                                                                       esuf-olcii^e                                                                                                             “f’
                                                  i


                                                                                                                                                                   '   '                              ’                "
                                  5>|                        •0
                                                                  :              li'o •' V. :tv'. ■ .fiOLY2i>23,                                                                                                                                  f
                                    I

                                                                                                                                                             i\
                                                                                                                                                                           P:                              r^.i

                                                                        m
                                                                             m                                                                                                            submrfGti*
                                                                                  w^m
                                                                                                                                                                                                                                                       tf

                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                   ^ V,-                                                                                                              i

                                  ■                                          wm&
                                                                                                        ili                                            Mii20S.RJ?EaOB-
                                   '^m
                                    I                    W^m
                                                                                                                                                    ■■ mmiiWiV-M
                 S                      m                    •V
                                                                                                                                            M                                                                                                                ■
        Wfl                             piii                                                                                                                                                                                                                 i            ”




                                                                                                                                                                                                                                                                                  M
                         ii                                                          p                                            w
                                                                                                         ':§■
                                        m
                                                                                                                                                      ',f \ GT-.n- V                                               ■? :■
                          mm
                                                                                    ■              a
                                                                                                                                                                       •- ■ S                 1.-^ r-:’                        ;'f;                          fm
                                                                                                                »




                                                                                                                                                                                                                                                            »
                                                                                                                                                                                    M           />                                                                        &
        *                 ■ i                                m                                                                                                                                                                                               i            i

                                                                                                                                                                                                                                                                              m


                                                                                                                                                                                                                                                                  H

        »                                                                                                                                                                                                                                                                     *
    *                                                                                                                                                                      ■■
        ■                                                                                                                                    m


    *


                                                                                                                                              %
                                                                                                                                                                                                                                                                              *
                                                                                                                                                                                                                                                  f
USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 76 of 723
    USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 77 of 723




                                                                      46(a a
                                                                      CIAL




»




                                                                     :0
                                                                                                                                    smMwms
                                                                                                                   123    ■                                                 I
                           USCA11 Case: 24-13671                     Document: 13              Date Filed: 12/05/2024  Page: 78 of 723
                                                 Sf5f~"BoccsTrfeo^*                                                           i;\?.r7pg.2
                                                                 s


                                                                                                                                 rm
                             ' ^^'vimmwomi, \wiribfofb, mb- ht^cic                              " - ■; Al€>
                                                                                                       •    |•»141IBICB 'S\M
                                                                                                                                    €i»;
                              rbmoves           was action from tbb ss-mmi ancmi                                               C\ H'UT          .
                              cmim- aoMDA beawno. cwic case ko. 28ii-a a?-'.
                                                                                                                M
        ^




                                                                                                                                11^B
«
                              FUKSUA^IXTIq 2§ U.S.C. 8§ !4'IF                        i'I4S. I5eFS''J*I^FMAC-        iMIP
                                                                                                                                     sii
             ■k-                                                                                       >; im¥h vem^
                             SHvIOBraHj, ‘‘Prayer ik- .|efi3f1 13. Vmim 2J ttS/J. S
                                 iO'a Is proper In this Court                s distri.ct a mmsim                  ***■’'*
                             r
                            C^E IS PSOPEBLY EEMOVABtE TO
                                                                                                               :^H|:i|^c*:
                                                                                                                         ip»          m
                             '^iVQLVgB A COlfmOVJiRSy'BETF/EfeC^ Cffl^S'JS CF 0IFiS^
                                                                                                                                    Pil
                                                                                                                    a\


                                                                                                                                      W.

                                                                                                                                f ■
                           » INIBIEST AM> -CCfeTS. SEE UJ.C. || i3'3i»                                                                                                      i
                                                                                                                                i» <1811
                            dlvlsloa lo Eccordcmce u-ifii 2R I/.S.C.' §2 resp- >%ily ie#i-S*
                                                                                                                     il                   iMI
                            exerciiis-Ifiriscllutioii over tjjis motfe Ssfed: Jixte 4ti!; «#-— s-"**---''
        I- ^                Detencimts fim-e coa:«nted to srid joia is Ilia J■emotui of ItftS-tete €<mrt
         c
        (•



                           . mm&t sBoJokieT of all tjtlier ec&ssiaats is eM.cfesi to-tfeiS'■




«
                                                                                                                                                                            i
                       .
                                                                                                                                                              W-



                           «Date<l: MiasaL FloriiJa                      ■:| K
                                  2§* 23.
                            r
                                                                                 I
                                                                                                               Mi
                         MfeK-ffEIXS,                                                                                                                                       I
                       • iSdSf S.FJ-'/BR-BK,..          -d
                       * ^mIvil FL 33i67 ■ *                 :                                         fi
                                                                                                                                f

                                                                                                                                                                            I
                                                                                                                                                                       %



                                                             wl                                 ws
                                                                                                                                                        i*
                                        »   ■



                                                                                                                                                                            1

        t
                              USICE SK/IOKBIIE                                            %^Sk                            p


    I   i\             : !s§20sjmmiii*
        :              Mi4JMX FL 33IS7 'V                                                                                                  m



                                                                                                                                                    P
                                                                                                                                                                                i
                                                                                                                                                                  M
             »•                                                                                                                                          p
«


                                                                                                                                                    Ml
                                                                     i                                                                                       'M
                                                                                                 W0-                                                               m
                                                                                                                                                                       m
                   i
                                                                         H                                                                                             m.



                             %                                                   —
                                                                                                                                                                  Wi
         USCA11 Case: 24-13671       . 4     Document: 13        Date Filed: 12/05/2024                 Page: 79 of 723
                                                                                                           f                           !



                                                                   ..T
                                                                                                      Exh.22 pg.l                          r;-




                  Mf23.2C©J


    $
    f
    »
                  Oa«s,a«          tm(.m sad smjd mat»sproseoissraiiJ mA piwst|»r case,nsw erioiif,ii
                  */kfersi»,IK!/    siwone rsst%to JO Altreol Oswc08

*




                                             »


                                                                       ■■'
                                                                            c r




           ‘f
                f!&nd«Prs«r Uav',s<
                V.i^23-                                                                                     «




                                                                                          n ,23iec.2M
                                                                       i; '


    $
                                                                       ?■




                                                                       ;r
«

                                                                       !■



                                             »
                                                                       --




                                                                                  ;

                                                                                               ...



                                     .   ^                                                 ; , 4-.-

                                                                                      H
                                                                                                            f




                                                                                                                          ■"V-; -;.:-v-'

    $
    »
    *.




t
    <£




                                             »




          I
    I
            USCA11 Case: 24-13671                  Document: 13                                  Date Filed: 12/05/2024    Page: 80 of 723

        w
«
                                                                                      AffiPMIT
                                                                                                                      Exh.22 pg.2
                                               »

                       r                  AM A ¥Mnm mM while ahk jv^y Fmmo AifiEO bavs miva m

                       SPIRAL COUiTOFBAPEtOyjfFfOIITHE«0»&AY OF M^RfPliSCBSPAtflS'miAL, AFTER;
                       J HIjy» KMJMD AtFSEO DAVS SOIITY TI4g WOlECUren JOHRATHAk'lAiLV.ASICED TH£ hJiJCjt
              ■I
                   f   lOSE MARflMEZ TO REMASP MFSeo &AVJS TO JAIt WfHT AWAY, YtM ttAP SO VmU ZSbiS W
                       FOIMT mn MFREOtftViS iUTTHEJ«0€E JOSE MAEUNK SAID                                      m 1 AM SOT OOJW«

                       SUYS iiAWMT            YOUR CASE YOU’VE-iWiUSHT W HQ SWDIRCEtHAT AlfREB Dm-,OID

                       A»TrH» WRONG YOU KAO tiO WWlSkS-POW OUT mMB OAVIS IM THS CAiL, i AM
                                               %   ■   '   . ■           .:■.   ■ ■       :s ■




                       DOING A OIRECTEP WERDICT JULY                                  lifT HiMSfAY OUT ON SOND AW THEM SAID PONT

                       LFT ME DOW» mCWWiS,                                  ,         -            •

    I


        w
«
                                                       ~




                       Fturiea Orv/CT tKin^C:
                       •rSDO."            ^ 8S>"'tM3. m                                                      as loM .

              •}
                 f
                                      .   i


                                                                                                                                 f




    $


«
                                                                 ■'k..




                                               »




             J

             -1'

              'f


                                                                                                                                 f
             USCA11 Case: 24-13671            Document: 13      Date Filed: 12/05/2024          Page: 81 of 723


                                         4
                                                                                    Exh.22 jj|g.3
                                        AM A mmm that while «tss sum Foywo aureb davis mum «;

                        FpSiALCOURTOf0AK CWWW Oi-TOIIKOMO mi m AFRSJtEWORIS DA¥fS TPJAl, AFUi
                        T«E,JUI¥fOUM& Airi|C;0eA¥lS5«iWTOf PtQSECllTiii0«NATm»imil¥ASK£t>1'Hg .UBSE
                        JOSE MAmmm'm tep^Aso alfrid cawstoj«l risktawat,you hab wowmtEssis W
        $               Fomom AlfHEP DAVIS iur THS IUSSFlOf MAftnsEIS«U mo l m not OOINC IfiA’ roy
        *.

                        ■mn HAVSTT F^¥£«¥Oyft CASE YOU'VE SROISMT P NO fWDI^CEiniAT AtfESP B               IS 0»

         »              . AKYIHPS WIION0 TOO' HAD NO WlfSESSB.POlKi; OUT         E*¥1S »8 TTiffi CASt. t AM         .   -
f
                                                                                                                        4
                        DOfKS A OIHICT® ¥£«OJCT iUi¥ ll^mO IM HIM, WAV OUT 0« SO»D A«0 THE8 £AiD DON'T
                        IfTMf BCWPI «R,©A¥S.»                         -



               )
                                                                                                                        i



                                     mt m                            *m
                                                                      ■"'■'‘m    swaE'*»«
                        m.       ^gm                                  IS,   tg                        't                    i

                                                                                       j®s*fAfi'- ■
                                                                                                      ■


                         FUjrxaa !t!
                                                                                                                        i
                                       -Sfc-3t:5-0^

                                                                                                                        !
                                                                                                                            •!




        I

                                                                                                                        i




         *
«




                                             »




                    .




                                                                                                                        i
                                                                                                                        i :




                                                                                                      f

                                                                                                                        9




    I        mrn^
                                                                                                                   ——

                                                                                                                            s

«   I    "
                USCA11 Case: 24-13671             Document: 13    Date Filed: 12/05/2024    Page: 82 of 723

                                                               AFF®«¥IT^
            #

                                                                                    Exh. 22 pg.4                                    H




            r
    «                                ,m A wrress TW WHIiE AfTCR JUW mUMQ AlFiEP DAWS uUILI? IK
                       FEPBW.coyaiOF mm                       sfcosf> da¥ of afsb uworjs uavis mm.,mm
                                              »
                       immmfmm M.FRB>SAViS6yiLWTHEP8€»EClJflEJ0llf«rHA«                 ASHIPTHC lUDGE
                       lOi «IARTIKgZ TO iEMftfie-ALF® M¥IS TO MIL S®KT mm,¥00 HAD NO Wm^ESSES flJ.
                       TOiNTOUT AiFEED OA^ SlITTHEJ0C6I JOSE MftRTIlE SAID«01 AM NOT DOlSO ?H/.T '• Oy
                  -.1^ SOTS KAfgRTPSO^S yOwa-CASJ ¥001JE,SR00(SMTJK m£V»5NCIIWAIAIFRED DAVIS
                                                                                                                                    i;

                       ahNhiips wmmrm hab m wmmim roiir oijt aifieo mss m rais case, i a#
                       BOi^s mmscm mmiaimfii™As& ur h» stay oftros.saasaud them sAJO^orat
                       lET ME      *«.&««&.                           I
                                                                                                                                    -




                                                                                                                                    A


                                                                                                                                        i




                                                                                   s?E»s«$aw»}
        $                                                                        STSSSKSSSStf msi^4
        s
        *.                                                                                            m.




                       Fmfim
    «
                                                   2i:l^ O-
                                              I




                                                                                                                             :

                 ■,l                                                                                                            E
                                                                                                                                E

                                          4


                                                                                                 f
                                                                                                                                r:E


                                                                                                                                EE          ■




        $
        >



P




    «




                                              »                                                                         r:




                                                                                                           - ' y:Qi:(V-r KIS*
                 4

                  y




                                      .   4


                                                                                                 f
                                                                                                 ••
                                      »
          USCA11 Case: 24-13671        Document: 13      Date Filed: 12/05/2024          Page: 83 of 723


                                                                                   Exh. 22 pg.5
                iMfdkflddt^-AlMa A wrmms that wms aft® mm                      mfeed ijavis        li;
                FEm^mmTOf mmmofiwo^tkisECOiiDow of mreo i£mm,mms7mAL.v,F7m
                TKE i\mfmm M.mm m¥i$ojioy ins wcsiaifft johmatmam eailv asked rriE jofesi:

                JOS€ MAR^N®fu SEMAMO AUSiD CAVIS TO J«L 816«T AWAY,TOU HAD NO WITSESSES W
                'POINT OUT AIFR60 DAVISBUTIHEJUTCE JOS€ MMEWIEZ SAfU KOI AM ROT OOjKO THAT ^OLf

                SWS WAVES'?         TOUR CASE YOO'WStCHJSHTlR SO aiCfKCE THAT AtFRED»VIS 01%;
    I
                AWflWtSS.W^ONS YOO HAD NO WIWi^BfOiOT OUT AI#K& mViS W TMS CASE, i AM
                DOPS A'DiSiCIED WRCl'O JUIY li^mm m HIM Sfm CXITOfi W3S0 ASO'THES SAfD DLJNT;

«
     r
                imviEOOWPiMR.e^lS, ,       ™ ■              f

                                      »



                                                                     .pi       si©i«sa®cs i
                                                                     g W-maffiKWflKssH. It
                                                                     r                  f|
                               riiCMUSct^                                                ss^ssi



                            ^nferL\c<niC:
                                                                 »    'i* I-   p
                                                                                    j         f
                                                                                              ^




                                                 1




    %
    ft.




*




                                      »




            y




                                                                                              f
                                                                                              JU




    ft.
                USCA11 Case: 24-13671                         Document: 13   Date Filed: 12/05/2024   Page: 84 of 723

                                                                         AFfl0A¥jT:
                                                                                               Exh. 22 pg.6
                                                    m A WJTOiBS WAT WHK mm JUR¥ rowo AIFREO DAVIS             m

                                FmESAtCOtfftTOF SADECOUsV/O^lHiSICOliDOAYOf AFSeBlSiC»iSDA¥ISTtlU: AFUli
        9
«                               THEJOSf mmn MfREDDAVSSttLlt W£ PRQSECWilJOHMATIIAW ll«l¥ASKfOTf ir S'JDQt
                                -OSS WASTWe Tt) WiMAm AlFffie CAVtS!0 JAfLMSlIT mmf,YOU am MQ WITNESSES Ti:
                                BoiNT OUT mnm mm but the judsejcsg M«Twas«o m i am wot mim if jaj w
                        ^       syys'HAWT               Yom casefoirvisfioosifr mm m&mm.that alfbeo cavis mp.
                            •   mrm\m wmm w had ho iwirbses poikt out aifreo mm i« tws cass. s am
                  ■'»           &e»!HS A OiRiCTffi ¥£I«a JOLT ll^Am LET KM-SmT OUT €» mmp &«D f«es SA© BO*if;
                                LET !¥tt eoww MR.l»¥iS,
                                                    4

                                                                                      h
                                                                                                          f


                                                                                                                        j




                                                                                                m
                                                                                      I

                                ^iof Cla '&w€r Uc.cn S'C                                        icr^i
                                Bt-SS' iHO     --



«




                                                          »

                                                                                                                        }




            J.
                                                .   4

                                                                                      n
                                                                                                          f




    $       ■


    9
«




                                                          >




                 J■,1
                  ’f
*
                     USCA11 Case: 24-13671           Document: 13      Date Filed: 12/05/2024      Page: 85 of 723
                                                     »
                                                                    mmmm
                                                                                           Exh.22 pg.7
                      i                        AWl A WfTHBS THAT WHIH AFTW JURY FOIIKO          M¥IS 5'JftW I1
                          f    PEOEMiCCJyRTOfBADIXOUfJWOKTHESeKWeOAYOFMffi^liMaRiSOAVISTRlU.AFTm:
                          , -THEsum           Aij:RE& UAYtS SUIITY THg WOSEOJTPJpH«AimK S«IY ASKED 1Hfe|L'DSI ■
                               JOSE MAlllNOlTO SIWAKD ALFRED DAVISTO      ilGHT AWAY YOU HAD UO WiratSS€S' I®
                               »WT OUT         DAWS SUTTHE JUBS£JpSi W^WJ£ZSM>I«31 AM MOT DOIHG T^;AT vou'
                               SDYS HAVeW’T PEO¥l« VOUB CASE ¥Oy'V£IROUSHT m «0mmUCt THAI ALFRED 0«lS:0!|:
                               A»fT«WS WROfie YOU HAS PJO WITIffiSSB POiST OPT AIFRIP »ViS W TWS CAS5, £ A« ■
    I
                               &OIMS ABilECTCD VgRRCt JPIY        l£T HIM SW miTtW BOSS AMO THEM SAIO BM'fi
                               l£T«itK3W«Ma.OAyiS,                       'f       ""


«


                                                                                     i MYaH«fflS#»g©^4
                                 M




                      a
                              ■ Fltnao C A ^                                      ::^| Z3| LCa-;
                               H£^S'0'

                                                                                                       f



                                                                                                                       IT




    i                                                                                                                  u




                                                                                                                       r

«
                      M
            ."■ ••




    !

    I                 J
                      a                                                                                      •:.^A..



                                               4


                                                                                                        f«




    I




                                                                                                                       f

        $
                                                                                                                       • •


                                                                                                                       ;i
                                                                                                                                                                          If
            USCA11 Case: 24-13671                              Document: 13                                 Date Filed: 12/05/2024                         Page: 86 of 723

! L
                                                                                                                                                                     i
                                                                                                                                                                         m-
                   4 lEL-w/iinfe:
                                              ;ij'-

                             [im'




                   iiSi                                                                                                                                                        hS-'


                   f'iWiM"f,r<6ira,{5iefi45'vF<

                                                                                         _                                                                                                1


                   f afj; vVshfSg ifs'i 'irf!if>‘n?i»-£*ir.fr'’ </c?’»stiTs;r                               m-} v«i»«-y                     sn.'^w*:
                   f=:'Ces>*<ipr:»S .;ti.« c'■?■'<;v:'f<»-!f,l's^r5fy                                                                                                                     ;




                   ) h,-m» kf»ownAtFr,i ^ i> ril                   t.y I'fB. wWrJi«                                                                                                   'i

                                                    wsiisnitRr&liftf                                                                       msr>         ot'Am" qw
                                                                                                                                                                                 )

I
                   t»»* r<atlrt«                                       &A'n Hi I- &t!-yi                          HtFw.St «.*?i.W!l%, ar4                  rj j.                          1



                                                                                                                                                                                 P




                   »<trf^il jjij^sss&f.<>i^*>ij!i it                           »i'^4..';gtHJir &» Ilf*,vf.;t,st»«*i»3.r)f,e ftmti*(;•%’•                   .rs?!.^
                                                                                                                                                                                 ?;

                   •it't'. !>'t>C5liii              3 i.v^fl>*i e*             Hr                                                                      ¥*j**,»u»


                   ‘fiBsiiftSllgaSi                                                                                y{

                                                  Ks^r?) jmsf#*:                                                            -SR.supsi.s-t^'r^n'tid/tJv* ’
                   c&Ftiimimif ««K.Cfe «ifft»Ji«g /.liw»s                                                                             • tmn m
                                                                                                                                                                                              ■i
                   t'i i», jnm’‘ZrmKHu s‘>'                                                                             »'*’’<                    .’P-ift ^ *
              %    'st*c;,jj«ni*i|ifvlrtv.'4r.                                       "       ’          .          jr
                                                                                                                                                                                 \]
                                                                                                                                                                                 ?■!
                                 {v#it;l«r:5jrti!d?y fc tf                                           -ff.ii?u                                            ! r^e «:• :
                                                               umtz,}h^i stEJfi«^e'nf«r'a3s?i ttiJr.Wrt-drsBCtts^n                                         m*®. ai
                                                                                                                                                                                 !•
               i
                   rMaeiseifi"                '            '         ‘ ’"' "                                 .     }'


                                                          4" i£i. **’1                           '"              ' K'
                                                                                 i




                                                                                                                                                                                 M
    I
                                         S'           u
                                 w                                                                                                                                                    i
    I

    I              L7%>«r«4® Cil;*£                                                                                                                                              i




                                                                                                                                                                                     ■?




                                                                                                                   ,r


                                  V                                                              5

        I



              %

               y




               I




                                                                                                                                 i-
USCA11 Case: 24-13671                              Document: 13                   Date Filed: 12/05/2024                          Page: 87 of 723




      ‘   K^riitgrly diJvw                                                                                                          ■2^             '
                    Fiirtd.'i, X'-n                                                                                              • I

          mi&

                                         r>&iryiV


          C>» »?i. <r^fi.r*fiffr nr          ^ i;.         ,,, -»,i ,2- ■


          ii' '» '-J.lr/


          I £jir. milinfj t& p»^*!rj j ci c%kmcifr rsicience torti^v ftraiftEr.’Airnj'Cl                                 iP supporl c<i ■ ■
          e,fcv iiiforo yeyrlv.nf.f                  leuC i                       Alfi*! }«'*<’ all my "'fe, ,!no dunng *n'- lirrr
                        tr*oi n|;»p.'*r'.,rs4> Scr     r -‘Vi               1144                     ' n r 'at’ltu.lfi. *.*?<' a- n



  , ; A|ffeeinasaSM?a>4fc#sjtf5;ia„frtca’aE wtf(i:wr<gt»iiihef.                                                                            «" • -
   (      z'MiTuunn wlilin^fmfmto riK>o iWher^                                                    of wrrpiinx,'>tiV‘iiy*‘f
                Ip/i, farIvtiEft'll!. .antjhJi '•' mKibniifl'ipn,;,

          TFifsufn^ut ntit LiV,Mo?4cl                  '%'a/4'n     Aibrnr^mvl .t ^tm'’itnpiM€ejnUim,'K ro-»-,                             '
          r>iibii%Hvjhnui£,^^ ooiv4“>j>                        aort ro;»Br4jiiif !ti}'BU?'lihb                                            'tg
          't;o{i i»EM£»}ei,t f74} ,-n3i4 r,xr^; 'nrJi<^ ^srxc *2-)^, graWmi.u;;' A.ireiS bL'*» tir<4',! ■ -*
          45*4^} 1' H9t>E a'mj ni'V',,- • lUiii: km>                                oWJpa iP-'                                   .         r
          nMfl.y5 M^‘v. he ha‘'-'4<4''oy4 lilted *r,Bl wiy                                               55 .fti^fK^of vtsj no- >.          :           ;' •


                t fr f K?>a;ii|-Jr -fe r <t ut ^ mfi* rr'V4'U^,                      iVnv? miy-lt l.tcura {;«' 'B/Vvf.'* 'iQi n
          If,v r.*' "*1^^                r,C4* 42                 i> ’.’/on bo'f, non 7,:*’                            f'4i-ic«'r ,4'M
          >"'I.'-n J »•«                 ', Uf .        '>;*’ '■'k-'„»#-l*.'iV^ *    4,};           <l^>s,S4


          i tuj&M- kikmj m:bm-; itfjrjrs in? tsrcufrfjtancgs* iliar'ftaix sp pi 1' 2 tipi;4na3p.n fr x**
                                                                                                                                                        !
          vc«                 f-inm nty r'XG.rpcui'E. U'X,yiuair*!'- -*7 eniyf-raciK’ /'.<■ oi                            .t'nl ^ • - ■
          ."u«;!(tcfft ttoi fifi                      tpi«:«               »fiafr-= ar^ 0(7a, f* s-r- rr.>4               » t
                                                                                                                                                        i


  %

                                                                                             r.




                                                                                                                                                        i




                                                                                       ,.l
                                                                                                               ;'^0;
                                                                             iX




                                                                                                                                                            I




                                                                                                                                                        i;
                       : !f




                                                                                                                                                        i
     USCA11 Case: 24-13671                          Document: 13                   Date Filed: 12/05/2024        Page: 88 of 723



                                                                                                                 B4x.t>l #5
                  t i^:;>,m K'!r,^c--                                          "        ,            -   -   ■


                   t'.Ws            w.i,        '/’ifitn :•,;rfzw.£l’¥>f p ;•<:«?#ikH%-js-      "'
                  lyrrtpr            ;•!-' tJ'. rKr:;%ttt't.r Is'J'Jiiihfiit   I.;/*!



                 m
                 ;*'• i
                  'ir'*~r-f¥j kys’/,;.




id>wim'’ai^imkmMfii^^iUmfi&30mMni^»p(>Ct^^^^^XAlma^>diss3Smeii^OlitS<!mn^

       5f
                               USCA11 Case: 24-13671                                 Document: 13                     Date Filed: 12/05/2024                                  Page: 89 of 723

                                     %


                                      {
                                       V

                                                                                                                                                          B-xXv.^tPj

                                                                                                                                                                                                           !1
                                                                                                                                                                                                         • !:
                                                     »i«sPL33tS?
           J

                                                                                                                                                                                                           I
i-




                                                                                                                  ■               .                                        g-
           ,1                                                                                                                                                                                              ]■
                                                   ■':£&l«»»or3fe JtfSp 4W® BM^pm yiKKl^«»                                                                            .
                                                     i« wtel te prprite n &afa*r tmmmm                                                Ds«®                i          ^ *#

                         »
                                                                       yf?iW) i he0#<3                          wifJaiteite               sftfes, K®Slw3y,
      ■;1
                                                   - WJjsoM^ l»a#« sl«l»»0t^ ««f                                                                                   H« ««««?■.-
                                                      ^stas^es>a?<»»wi%«^jripteiw»!wr%.                                           ’                                       ' >-f '                          1
                                                                                                                                                                                                           ?■;
                                                                                                                                                •     .       >>                                    yi

                                     %                lntwp««wi* »as» wd           Ha swafs    rfbfltes^      wa                                                                            ;: •;



                                                              aifeer      ws        saf« ©»»» s p^j«« ami
                                                    ,            Affmsi Is «l« a fmrt l«^'^ & step        iwtof ana kfi?? i
                                                      $ffym^lRfl^-                                 - .5*.-—                   ,                 ..™                         ,v:g

                                                      «aOTites«®'ii^iit a                                      in *a «»«)«%. t^                                           ^                                R

                                                                      mmia $pd ^»^(toifeer                                               t* oti|:«»ki@6 mm^ a-n
       ;l


     ;i
                                                                      pa (m asspwiSJW                           wbS i®8ii in Uts s^nta^v life ^mspg”^SR

                                                                          frc® a »iea iwf ef                             II           “r®|sMw                        Morma'son

      M '-.
       R                                                  SfeBW^;                                                        ■ ij                                              -t:
     :>




                                                                                                                                                                                                           fi




                                                                                                  tmi"i
                                                               f!.'
                                                   . .Q^fewel

                                                                                            *,5




r




                                            'i'-
     ■\

                                      I

     ''.        I
                                                                                                                                                                                                           P
     f I
      ■




                        ■'irciT^-cWiji: ^n-jLiba c.!lnri:n.T.--jTln'fci            hi.-' "!”■ .C-.'U!.L'.VJL-tii,i.--rL^'r...-J..-£^i ;1^.i;jr
                                H.




                                                      I
                    !

                                                      I
                                                           I
                                                                                                                                                                                                           {•
     .-r


                USCA11 Case: 24-13671           Document: 13         Date Filed: 12/05/2024      Page: 90 of 723




                        Oatot        24» 2024


                        0egrlli6 HsnuESble jadgtJ»E.Mgriloii^ Unllf@States Oiitrfct

                        Bf name fe Msck Weis,I w a dissbted TOotSer ii# <»romtiftlty aod
                 %       pfOiiS lo call Alfred OaVfe my Stsfesf whew I fisve fgfSdnsWy Iri^wr*                       y


                         fer0w2llyearv ’                                                                             I




                         BiM-m my retetloetship wfft Atfwd, f toe ©x^rtertcftd aa inAitfiiai whe-
                   i
                         shw«5 ijp       0i8fi asted, wsite iiaro,    eifrtas tbsw&altffis a
                         poite', r^eetaMs mapwor.Irizmmn.mm if a family raan vrho
                         8>«y& pf0se?«Mj           mm                   sue sra«;His
                         <^rlbii4tow la ftia fcf0ih«>«tM®ris afd ttewpfnyrsly Cisms»co,
                         Pl«» do ncttiesitefe'lo mntacl ifte if^stoia «?vim sny ttmtmt
                         teforwaiwii’      ■ ''      '         "''      '■      ‘‘'
                                                                                                                     -i


     J



                         ^fXoA.                                                                                          :




                         iWWB,Wvm Or, Mam!Ft 531i7:
:■
                                                                                                                     i



                                     :7SS-61S-2519




                                                                                                                     H



                                                                                                                         •i

                   i                                                     •v



                                                                        >; i>
                                                                                                                     iv




                                                                                                                     r.
                                                                                                                     f.!
                                                                                                                          [


                                                                                                                     H



                                                                                                                     u




           *•




                                                                                                                   m :




                   i
USCA11 Case: 24-13671                Document: 13                Date Filed: 12/05/2024                Page: 91 of 723

  %

  •   s




                                                       i&msi
                                 imm S. Rlwr Dr, Psinl,R 33iS?- 78

            J8«aj;2tt2a


           •P» Hw Ncflwaai jy%e feie I.Kii’iae?,Suited

           I tove towrt Afed Divt?. ifi 3                                            wsw ««
           *«i asiel t0 lh« tmfmmity fsi 0¥er IS’ptrs, tn «lditfe4                             clolhe^
            mWmmi                  fhe eid«?f%         m-i&m te ««*

                       ift efS'tltftt, ii@to{l-0rj«nt«d!, sii4             €e»p^«t «e«w
            wia&sfylfv ^r- 5» his, m4mmrs and steays                     w tendstNssrf. He is verv f-ini;
          ■ migMnt »ii ljeB«v*es- tMm.nei m&ihmM b# in smM'if li^s'y»|i.k* rntz-^tm
          .'such'afc'aicrslisiife-f,          ’                                       "       ' '

            Alfred       hii m                    rsiupaw      ’^h-pl® «fail sges,    fcsi shossretf
           Hinimm » K»r/#« »s         nm pm fs«ier             iKit m «#tff%e et terw«2!*.
           nil       «»fimy?iicatied ifelfe iksth stfriUtR jwd mrb^%PlQwMfn te conne-j;
           «i|ii ail tskdsc# ffw»l0«Hji.ispjr? ffw^»psjt'foaij ilieif test ^fcrt,
  ■   r



           fn SMnisiy* Alffeil Is a frcsl                        «aS isthsr. He h a val«^i i«ssfi to ■* -i
                         mtl Isavd

           if yAtt ,it9¥» «iif                pBmp'its- mt tesHste »emtact tm.
           SiKtr#*:


                                      * '\:

          siiiiS:fK®fi®                                        4'’"^

                                              I




                                                                                                                         ll-
     USCA11 Case: 24-13671         Document: 13         Date Filed: 12/05/2024          Page: 92 of 723

                                                                                                              i




             'Mifzam
                                                                             Exla.'Z^
              Dearfile                            g.          Un%«i Stets^ Dlftea ^acv:

              I tmskrmm Alfrai Oaw$ fo;O'/er 2fl yesm.to'lha itip,c?fm wa»cd
              Mred dc §a»S wotfcs w f» cotwnoifi^.H&'s well      an5 liani wotof
              He's Seen p ¥&m m4'biqsffisr to it® f|<nw that Afrei w?!f?®®p worktop                           i?


              tiato to lte«mTOifu£^, A*e«f simssrm           mmm%$^-C&n 4ep&m                                ■ ’:
                                                                                                                   i

              on Sji®©p            pc*pl0 togato&f fe?9S4»?S^ eas»a sntf feafs yrtt^.                              i


              Afftwlto cfei^titop m hntpfng             mmmm s^ns'scversl pwito rto                           i;

              Ksi oily          fhcTO mih         bui &so supitorte ramKaiiSty e/aats
              ilfftaS al rafetog torKl® for tisif dsrfeus ns»d«. His tisrts fhowssss p deor
              »fititiii«i to                fts    or      witrmfc Wft ii»ugii hm' '                          V

                          and %fneijlfflng testfer GimtoanSy support
                                                                                                              -; ;


I




;l                                                                                                            n
                                                                                                              ‘I


                               ?
               r> -            M
                               m
                                                                                                              ii ■


,i

              ■ Rfefe«t 01^ Cf Mfemi f»4#ee
              iSgt pefeH^ynolds.                                                                                  !




              13455 ME'WAv.
              f^MI»ni33l6t                                                                                    Ij

              •Piisiis #?5M4S»1»
                                                                                                              ii


                                                                                                              ;;


                                    ; -.r                                                                     ri
                                                                                                                  I
                                                                                                                   t
                                                                                                              ’■ 'i
        i




                                                                                                              n


                                                                                                              * I
                                                                                                                   i
                                                                                                              !■




                                                                                                                   I   -
                                                                                                  1 '■




                                                                                                          7.^..




       %

                                                                                                              ■ i


                                                                                                              ;;
USCA11 Case: 24-13671                       Document: 13                  Date Filed: 12/05/2024                      Page: 93 of 723
                                                                                                           :-:Xi

                                                                                                                                  '-   ->




  «
        I
                                                                                                                               -^f#7
   :



        t

                                                                                                                                                   i!
                    16- 4r«^@          E.
        ;l
                    Unfe»id S{«!a» &

  'A-


    i
        i ■
                    Mmm  t Michael Founder of Blacks for Triimp                                                                                    'j



                                                                                              s«3iNv/i2a asui
                                                                                              Wian!,H.33l® ■ ^
        i
                                                                                                                                                    h
                                                                                        >




                 ana
                ^-BEACKMAW                                MCH^TIE
                           SHO^^ots m/ ft-),5^ st^fcr.B'/SOW WBO.i h»a a KAnVtUss
                                                                             JrfS«lAICHAfet
                                                                                   ftsrfy fm-IHf?
                                                                                              mz
                 mjj^RTS'ti'iSil'BBfcRnriWAj'te’awraftfwanDw.           '
                                                                                                                                                    ;«

                                a                 r«5£!!ifttr«nd nr/      mai »jd a?«»sf«aa,«ssl Daws;•arfto r ve                                        I

              _ ,            ms^^ZfQX. MS*fwp#j®ttnfeA!Wfc8r>»«pttMairi&a(»i^fcitoat{ra.*»anisr;!
   il
                -           »fl& k(tiA hCT*. Ite te samisw wm Btesp pufe «J?« fjttifefsnd'a f®R*
   i                                        ^               ^                          sww efhffiwrte rtad/hin a                                    Si
                                                                                                                                                    :J
                                                                                                                                                    i

                                     ^
                                    ewB«!f??BtSf£l                     A«ea»w>tt
                                                   ,J S5WR3 m» rjtfe atosit          Eid
                                                                           fctsiJoctad an uK«wcr«g a pywfe m
                                                                                                           fc
                                                                                                                                                    i;


                                       <®a«s in fe»       Of sitsaf^w fe mtrngfAg,^             &ovtejjrti
                                                                                 '''         "■'       "


                                                                                                                                            : «;i ) :
                    i(W<ssrffco!|:^dte3fftsi{/Jftirf sanWwisfe^offfiKiitMfe^/.hgrieAr.adfiaiwilisi Hob
                _^rf!we '<*0 fc «p5 KB fe-&d, tesB fes eofwasftsnte, and ak/£t» isWrcs to m wm is tfck Rc
                                s                tifepMdsbte (t^RioinJ te vii£-4tss(}rx^ end i 5i0»» m tJjsaJtocJ fes- wM
  !•

  I
                                                     Wfesf 0»fc* kOTyowecsiaRfl ^tgraafis, iam-t«ai*«j. girf
  ;i'
  I
                ta^OTsaf ?gCMnm^’mmamzssamr‘^&. and 1 s»weRstorStteh«wl!msteaIK®S~«
                                            mzmwrmiW           Irgmmfet                                        £ . . . ■

                    m




  c.




                                                                                                                                                   n




 k

                                             !


        i
                     ;




        USCA11 Case: 24-13671                                          Document: 13               Date Filed: 12/05/2024                       Page: 94 of 723
                                                                                                                                                                                      !




             "i

             f
             tm
                                                                                       ■i«                                                                   .ey
                          t                                               ■i
             :|

             1                                                                                                                    ::
                                                                                                                                          f
                                           ,TO. Jisige^s E Menfncs..                               •'BAtE:Jlm»Z7.m24,             ■f.-:
                                                                                                                                  :'yi
         V
                                                                                                                                                                                           i

         1.                                                                                        is


                                         ■'- ffanMayor Julio Martinez ASSWiaviS _
                                                                                                                                                                                           ;i



             f

                              I                                                                                    lzeWff4Wl2»’biCs«ss
                                                                                                                    lefastxFl-SSI^                      t-
                                                                                                                                                                         ■■■r.



                                           Ch«CS«-»rw
!                                                                                                                                                                                     i;


                                                                                                                                                                                      ;■
                                                                 -                ;3         v\         jfS;

                                                                                                                                                                                      ;




                                                                                                                                                                                      i;i
                                                                                                                                                                                      n
                                                                                                                                              •1^
                                                                                                                  Wre®hi«Ki8lfinrsi ® <5e9pj^«gpeca:d        '
                                                                                                                                                                         /.rt'
                                           test              i haws urn tm i»!-J«3e                            amm sm »«lm!n3m'8i a 0S»i» 1 fc
                                                                                                                                                    m
                                                                                                                                                                                      !



                                                                                                                                                                                      i
                                                                                                                                                                                      5




                                  ^‘ '                                         *®®**W5o«Hilin!Efii.,6s!i^*v^sm«ja&.,®harisrsirji
                                                                                WptJtfafe hmttm !s»«!^wsai, aa f i!?w8 » dciS mHfefis m
                          »4
         ‘i'                                                                                                                                                                          n

                                                                     r«aftMi»nd ^I^ff mofa tt a^wmAiflgi sawosts, «r«-!wa!fcij, and
                                                                                                                                                                                      l :
                                                                                                                                                                                            ;
                                                                                                                                                                                           ■!




                                                               j;l« rr/ii&»w ct aaf awiiiiHtsw.'Wtr»»no»i«£fta ka w'tt wej^^ ^ a^aalfcc.
                                                                                                                                                                                      >1

                                          iSlif      ^                                                                                                                       i        >+
                                                                                                                                                                                      f


                                                                                                                                                                                 s;
                                                                                                                                                                                 •!   I :




                                                                                                                                                                                            ;
                 ■   e




                         ■I                                                                                            V..
                                                                                                                                                                                      i :

                                                    Ji;r ■
                                           T*'l                                              V:            : ■)
                                                                                                                                                                 '-r:i
                                                                                                                                                                         ©
                              *




                                                                                                                                                                                          ■ 1
                                                                                                                                                                                      i




    r
                                                                                                                                                                                      r .


                                                                                                                                                                                      r?


                                                                                                                                                                                      ii




                                                                                                                                                                                      i. :




                                                                                                                                                                                      y
                  T



                USCA11 Case: 24-13671                      Document: 13                      Date Filed: 12/05/2024                                           Page: 95 of 723




        »                                                                                                                            'j»
                                                                                                                                                   i*i:                                           i>
                                                                                                                              p                    i«ii
                                         4s*                                                                                                                                             »'■
                                                                                                                                                                      ii
                                                • ■'
«                                                                   *:
                                                                                              r'                                                                          mm
                                                                                                                                                                            m iSi
                                '.<V:.";i;’^i>;,i;'«f                                                 m                                                                           mM   S^H
                                                                                                                    M
                           1
                            ;
                                                           »
                                                                                  a»i                                    S/.--J- ■
                                                                                                                                                                  I
                                                                                                                                                                           ll»
                           :»wie^S '
                                                                                                                                     flJ;
                                                                                                                                                                           iir   [«
                                                                                                                                                                                        i|i;

                                                                                                                             i^i




                                                                         »at,if •^-'•?y@!#'<*«a>»c.           -J .^-Jirvnt “ ^ ’ ,                  ' ' '
                                                                                                                                                    i




                                             1^"'




                                                                                                          3|HH
                                                                                                                             ■               ■i'        ■
                                                                                                                                               m        m,
                                                                                                                                                        im
        %                                                                                                           ■
        J
        *



                                                    ; 4-            ' <*='» u-                        - ->
                                                :SSiW:I3*»ISlSMfcl|i'**i^Wi||y|i:ii:|:::|s||^^H
«
                                                                                                                                            fim^m
                                                                                                                                                             ■
                                                                                                                                                              ifis
                                            i

                                                           S’*
                                                                                                              i!'   ml
                                                                                                                                       11^*1                 ■s




                                                                                                          i
                                                                                        ,vm. •
                                                sal^B


                                                                   wri^n^. -                                                                                               #. :«-Sy'          ■

                                                »                «>v ,■■./'                                                                                           m

                                                                                                                                                                  ■
                                                                                                                                                                           .-.■^g^V^    -'5   I
                                                                                                                                                                             . ^r€.rA




        i


            r
9




    I                                                      »
         USCA11 Case: 24-13671                               Document: 13              Date Filed: 12/05/2024               Page: 96 of 723
                                                                                                                                     ExUxCd p^.j
      FORM 6                                        FULL AND PUBLIC DISCLOSURE                                                             2013
 Please print or type your name, mailing                 OF FINANCIAL INTEREST
 .address, agency name, and position below:                                                                                FOR OFFICE USE ONLY:

   LAST NAME — FIRST NAME — MIDDLE NAME:
Zabel, Sarah I
   MAILING ADDRESS:
1-121 NE 178th terrace                                                                                                    a      A
                                                                                                                              ONETHCS
  CITY:                                              ZIP :          COUNTY:
                                                                                                                         A« 29 2ltt
 North Mi^i Beach                                   33162            Miami Dade
   NAME Oi- '..GENCY :
                                                                                                                         received
Judicial C.,T:uit(11th)
   NAME OF OFFICE OR POSITION HELD OR SOUGHT :
Judge (Gi. up 46)

     CHECK ir THIS IS A FILING BY A CANDIDATE


                                                                 PAR I A -- NET WORTH
  Please enter the value of your net worth as of December 31, 2013, or a more current date. (Note: Net worth is not calculated by subtracting your
  reported liabilities from your reported assets, so please see the Instructions on page 3.]
                            My net worth as of March 31                                  20 14        was $ 336,181.00



                                                                    PART B - ASSETS
  HOUSEHOLD GOODS AND PERSONAL EFFECTS:
      Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1,000. This category includes any of the
      following, if not held tor investment purposes: jewelry; collections of stamps, guns, and numismatic items; art objects; household equipment and
      furnishings; clothing; other household items; and vehicles for personal use.
 •                                                      *

      The aggregate value of my household goods and personal effects (described above) is $ 60,000
  ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
                      DESCRIPTION OF ASSET (specific description is required - see instructions p.4)                              VALUE OF ASSET

Cash         ^                                                                                                                  9,157
House (1/2 interest)                                                                                                          300,000
Personal Ejects                                                                                                                60,000
Real Estat- (Craftsman Mall) shareholder                                                                                      182,000
Autos + Boat                                                                                                                  17,000


                                                                 PART C - LIABILITIES
 LIABILITIES IN EXCESS OF $1,000(See instructions on page 4):
                     NAME AND ADDRESS OF CREDITOR                                                                              AMOUNT OF LIABILITY

Home Mortgage (1/2 interest) includes equity line                                                                             194,240
/,mex, Visa, Discover, Bank of America                                                                                         37,736




 JOiNT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
                     NAME AND ADDRESS OF CREDITOR                                                                              AMOUNT OF LIABILITY




             te
 CE FORM 6 -. ffective January 1. 2014                                 (Continjecj on reverse side}                                            PAGE 1
 Adopted by iil. er>cein Rule 34-8.002(1), F.A.C.
                 USCA11 Case: 24-13671                               Document: 13                  Date Filed: 12/05/2024                  Page: 97 of 723


                                                                                  PART D - INCOME

         You may kriHER (1) file a complete copy of your 2013 federal income tax return, including all W2's, schedules, and attachments, OR (2) file a sworn
         statement Vientifying each separate source and amount of income which exceeds $1,000, including secondary sources of income, by compieting the
         remainder oi, Part D, below.

             □     I eii' St to file a copy of my 2013 federal income tax return and all W2’s, schedules, and attachments.
                   [If you check this box and attach a copy of your 2013 tax return, you need not complete the rerfiainder of Part D.]

             PRIMARY SOURCES OF INCOME (See instructions on page 5):
               NAME OF SOURCE OF INCOME EXCEEDING $1,000                                     ADDRESS OF SOURCE OF INCOME                                  AMOUNT

    state of Florida                                                                                                                           +/-137,402.00




         SECONDARY SOURCES OF INCOME [Major customers, clients, etc., of businesses owned by reporting person-see instructions on page 5]:
                           NAME OF                           NAME OF MAJOR SOURCES                          ADDRESS                           PRINCIPAL BUSINESS
                   BUSINESS ENTITY                             OF BUSINESS' INCOME                         OF SOURCE                          ACTIVITY OF SOURCE




        i




                                             PART E ~ INTERESTS IN SPECIFIED BUSINESSES (Instructions on page 6|
                                                            BUSINESS ENTITY # 1                    BUSINESS ENTITY # 2                   BU SINESS ENTITY # 3
             NAME 0FI%
             BUSINESS TNTITY
         ADDRESF'OF
             BUSINESS ENTITY
         PRINCIPAL BUSINESS
         ACTIVITY      '
             POSITION HELD
         WITH ENTI-IY
         I OWN MORE 1 HAN A 5%
         INTEREST IN THE BUSINESS
         NATURE OF MY
         OWNERSHIP INTEREST


[                IF ANY DEPARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                              □          1
                                        OATH                                         STATE OF FLORI,
                                                                                     COUNTY OF

             I, the person whose name appears at'the                                ,Swoi                      subscribed before     ils               day
             beginning of this form, do depose on oath or affirmation
    .        and say that the information disclosed on this form
                                                                                                                \ol*^
             and any attachments hereto is true, accurate,                                                            ^                      QjjGAVmACHlBZA..
        , and complete.                                                              (Signgiture             ilic^tate of Florid's^ > my C0MMiSSi0N#E?110921
                                                                                                                            *            * EXPIRES-. July 26,2015
                                                                                     (Print, Type. or.Stamp Commissioned                    Public)

                                                                                    Personally Known                  OR   Produced Identification


             SIGNATt^,E                                                             Type of Identification Produced


        If a certified public accountant licensed under Chapter 473, or attorney in good standing with the Florida Bar prepared this form for you, he or
        she must c';.Tiplete the following statement:
        I.                                                                    , prepared the CE Form 6 in accordance with Art. II. Sec. 8, Florida Constitution,
        Section 112.3144, Florida Statutes, and the instructions to the form. Upon my reasonable knowledge and belief, the disclosure herein is true and
        correct.




                                  Signature                                                                                         Date

        Preparation of this form by a CPA or attorney does not relieve the filer of the responsibility to sign the form under oath.
         CE FORM 6 - Effective January 1.2014                                                                                                                   PAGE 2
         Adopted by reference in Rule 34-8.002(1). F.A.C.
            USCA11 Case: 24-13671                               Document: 13             Date Filed: 12/05/2024                    Page: 98 of 723

I                                                                                                                                                a
                                                                                                                                           Cd         ONBHKS
                                                                                                                                                APR 29 201^
                                        JUDICIAL QUALIFICATIONS COMMISSION FORM 6A
                                                                Canon 6B(2),Cbde ofJudicial Conduct
                                                                                                                                                RECEiVB)
                                                                      £I£LmS{lfiSUM

               AH iudidal officers most ffle with the Conunlsslon on Ethics on or before Inlvl of each calendar
               year on the form set forth below a list of all giffs received during the previous calendar year of a
               value in excess of $100.00, as provided in Canon 5D(5)and Canon 6B(2) of ffie Code of Judicial
             'Conduct'

               NAME; Sarah Zabel                                                            .TELEPHONE:.

               ADORED

               i?o.crnftM HKi.n!Circuit Court Judge 11th Circuit Group 46

               Please Identify pH ^ffs you received during the preceding calendar year of a value in excess of
               $100.00,as required by Canon 5D(S)and Canon 68^)of die Code ofJudicial Conduct
                                              Source
    I
                                                                                                                                                       f^.
               none
                                                                                                                                                        I




               I certify tiiattheforegoing list is complete,true and




                                                                             DAHi

              ^tTATB OF FLORID
              COUNTY Of                 w
              >kvonito                      ^wj^gii^ed                before me tids*i     day of                                20.
               iy                                                               li^r poKOQmklnlstatement).
        I


                  [NOTARY SEAL)
                           OLGAV.DELACHIEZA                          (Signature ol                             ofFiorida)
                  *
                         .MY COMMISSION# EE 110921                                                     ft/B,       aGAV.DELACHlEZA
                         ^     EXPIRES; July 26,2015                                             .f'T—            MYCOMM1SSION#EE110921
                             Bonded Tim BodgS Notary Services
                                                                                                                ^ .SXPIRFR'.Inly 26,20)5
                                                                     (Name of Notaiy Pubiic-'
                                                                                                      )FF\.’

              Personally Known                             OR Produced identification
              Type ofIdentlflcatfon
              Produced

              (ORfCfAML OP THIS FORM FILED WIJH COMMISSION ON ETHICS; COPY FILED WITH JUDiaAL
              QUAUFICATIONS COMMISSION)
              04/11




              %
     I
                                             V---,                                   b
                                                                             9


i                            USCA11 Case: 24-13671                       e

                                                                                 Document: 13               Date Filed: 12/05/2024               Page: 99 of 723
                                                                                                                                                             t

                                                           . m THE ORClIiT COURT OFTHE kwEHTH pDICIAL CIEOIIT
     I
                                                                                 I
                                                                                 ' I                WANDFOI
                                                                                                                                                                     0

                                                                     .       m&lMDE COHMTY FiORlOA QVIL ACTION                                   h

                                 «



                         *


                                                            'yAUMCESYMOtelB:                                                     «


                                     I
                                                              kiHitfi#
                                         I                                                                                   I                           f
                                                     ji
                                                                                                            f                                            )
                                                                                                            mz^mm
                                                           , %


                                                              U.S.BANK,NATIONAL ASSOCIATtox,^
                                                              ASmiiSTEEFOKKASC.                         '           '                                                        4

                                                              20CSAAHO. MSIS,]FBANKLYM
         I
                                                              CREDIT MAN ACSIEIW COftl» s»d
                                                              AXTOl^l RNANCMLSERVJCgj;
                     0
                                                                                         i
         I
                                                                                                                                             0

                                                             _ Diefeos3»rSji         »
I                                                                                                                       t"
    * ^



                                                                             ii|aipAiB.AgiMmjOR.mm:Ma{SAi
                                                                             IAgatejp..g£.fiEgBBMSfcgMSi
                                                                     1
                                                                                                        MSi:                                                         0




                                 «



                         t                    “           P«SBaetto RmJaSm.I!10L He^Rtik 2,ISO pjand FeteM IMes of Civil
                                                          ftecs^«eljde«,PttisttfrMAlJRICESTMONHTltestifies Ms SfetfJin” for
                                     I
                                                          feitf k i«isal                          M«8BfldsBa ffegaiiiag.fe im 2f ^leValgric-^
                                                          ’Maoa© ScfeBK F»l»w ©fiie»o»rfajldl%)^Ja%2iM6«is:r..EsM&&J&«aisc il                            t
                                                          iproias, bas# m ih&folwisffees,msw isfanaialaB.jKtlaias.judidal
                                                                                                                                                                 I
                                                          mwojaiset,I’rsiHiJalOTiglands askl dkwewl Wisfliel ©Ifgiwial fafelHjeiU
                                                              ,      '                            ' ' ' '»
                                                          iwews«Ssaami DlMausr*                             and offisws efiifei Csm'fExIaliits # Bl^
                                                                                                                                                                             0

                                                          Attafei- U.S. JBANKSpeefi SlMSJ&n fiseaiLfis«k&S£SiafeM.&JMSJfill
                                                          'MSiidiaSEC                        03;BANK Rndda &*«««».Js%c VaMe Mwao
                     e


         I
                 »                                        ShnttEmmM Iaai*s»%Fmp&ty Bkthmm): '                                                0




I                •                                        FioruMRuh 2.160(m Saxs A Judse ■                                                                               ,




                                                          'must Vata^ her orders'for Conflict of
                                                                                                                                                                     0




                                 t                                               IfKK THK ORDERSjyPGE VALERIM
                                               «
                         *



                                                                                                                                 T
             i
                                     I                              .1
•            i
                                         I
                                                                                                    I
                                                                                                                             1                           f
                                                     Jt
                                                                                                            F                                            »

                                                                                                                                                                 I

                                                                                             f
                                                                                                                I

                                                                                                                                                     «
                                                                                                                                                                             J
*                                  I

                           USCA11 Case: 24-13671
                                       I
                                                                           Document: 13        t   Date Filed: 12/05/2024
                                                                                                               1
                                                                                                                                                    9-1
                                                                                                                                      Page: 100 of 723
                                                                                                   r



    V
                                                     MANm SMUm DID IN THEILLEGAL EXPA STF.
                                                     BEAMING m/zmoio WHERESBE CMA NflRn                                                                 #




                                                     THE ORDER OF DISMISSAL mm PKKmmrR

                  »                        . ■ TO DISMISSAL WimOVimE WDICE AND                                                        «




I                 •                                                o




                                           •                                   ANB ALL HER OTHER BMBEMM MBS                                     ■
                                                    mMMmMmCMElllZ                                                           Bum K                        *




                               «            '                                              Wl Sitk 2M& mi ilL FL Cods Md.
                      *                    “        Qy^MtCamtn 3E(DA Judge skail dkaualih kerseif                                         ‘m



                                   I
                                                                                                                   iMakZMiiim
                                                ■                                      Agggffe is a mrtv fmn thatike lud&e ix f
    J
                                                                                                                              a emiilicf

                                                (illnterest!                           .                                              ' ■
                                                                                       I
                                                                                                    t




                                                          ¥alcjle S«:hwrr roast Rfictrsi* ht-n^dflor m opes obwlcjijs Coafact ol
                                                            teosuse sh€s        was'doirrf tencss wMi US             CMAC 3r»l
             I
                                                    0C1%il<l 3iMlJ5dpiigAgiDiom2terti0ji€ys9tte$iecaaEalccm&iicf .
                                                    ivs fmz^lmi¥£ ini taktaf (sttalie© &ur property ei&ife acting as ehs;
I '                                                      m tile C2W m om pmpsrty,                  m case's tfclL:. bet for te awkt
        t.   ».


                                                    ber and ftcBiTOoi^ni^^lljf.BeraV proof               ‘ *
                                                                     ’ I
                                                                                                                                                            «




                              . M§;.rW BBTORTIWG iODKE SfjURRTO THE
                                           APimfflT,RATty&.mPGE WHO APPOINTS lODGBSTO CASES.
                                           fifflBBME-B„E.5ACTS,THE IOC,the.ba{^.THE US DPI,the
                       *




                                   I
                                           ™ THE Fli)Rtj3A STATE ATTOWRY AMD MEDIA FOR
                                           -Q-aVlOMMaST MiSCOMpUCT. BYTOTALT.Y tGNORirf
                                           FI2MHQ4 STAT»TE.5-B,W,t;S,AND FOR CRg^ZY OBVtOOS ^
    i
                                           £Qm.iCTs OF iNTiaissT                                     '                                ;             i
                                                                                       t
                                                                                                    I

                                                                                                                                            *
                                                                                                                                                                i




                      I,
                  *
                                                                                   &
             I


                                                                               k
                                                                       9


    i '
                                                                           »
                                                                           ' I
                                                                                                                                                            I

                                                               t


                               i

                                            6
                                                                                                                 &

                                                                                                             b

                                                             USCA11 Case: 24-13671
                                                                                                      p
                                                                                                          Document:    13 Date Filed: 12/05/2024                                                       Page: 101 of 723
I                I
                                                                                                            »»is.teteCtwwd@^.

            «            w
                                                                            T                                                                                                                          ifciBi.
                                                                                                                                                                  !•
                                                                          HYIMt                                  I
                                                                                                                                                                                                                      m
                                                                          SUK^i&mBIS i:
                                                                 * TOmanttig-^ M                                                                                                          r
                                                                                                                                                                                              -. '




*                                                                     I
                                                                                                          f F^bate Jyslice Sfstaii- Do£±et latoiwation                                                            f
                     I
                                                                                                                                                    f                                                             !
                                                                                                                     ,                                                      , .: :■

        §            i                                                                                                                                                                                                                I




                                                                 .':
                                                                          ?* teter

                                                                           ;.   ■              f            tfeHlSO?
                                                                                                                                                                  ^wbm* 4s                           R»f*iO^J*:04.’2S2e37 '
                                                                                                                                                                                           Cgromglt- .'
                                                                                                                                                                                                                      32.5' ■ ' ^ ' ■ ’        1
                                                                                               ^     CQSIgSP&ggiyg
                     >1 “                                        l!/0fi2ai5{                   F’^FiiigiU^^
                                                                                                             ^AC|»4
                                                                                                                                                                                             jm^e                   ■ ■"■
            ft
                         i
                         V
                                                                                                                              .
                                                                                                                                                                                          ofim-R &                cK:i^^S5
                                                                                               .1, , ' '^D»SSA                                                    *



                                                                                                                                                                                Ol^smi ^1c                 RtO^'^CA                            •
                                                                                                          OOLfTfOmSS                           I;            .                             vuCmw. cs'I^^sa™" ■"
                                                                  t
                                                                                r"-                                                                                                          ts P&mE&^^. ETC.

                             I                           ‘
                                                                                                            .::i&||0«.                                      A’Tr»rissirSW^»i'c5-S£ c«J^ '*
                                                                                                     FtJAi 0S»SfTSOK^
                                                                                                                                                                                                     e^ETC.
                                                                wtefzsfeii
                                                                                                           P<x:iJ»is?ir           .
                                                                SStSmlSf^                             SSI^OKXR                        I
                                                                                                                                                    i
                                                                                                                                                                                                                                          «4

                                                                                                                                              1—                                          fmaipcE •—'.. .,.1^
                                                                                                          CE^CII^^4-                                                                                                                           ISII*
                                                                                                                                                                                                       -          -.g m^mm ■ : i

                                                               's§/?§^23c«
                                                                                                                                                5HSSlS£?^?E®5£c 10 mmmiNriir
                                                                                                                                                  ¥mm ?^a< weIas tomm^FPiAm^—
                                                                                                    c»»espoto-ii:£^
                                                                                                          tEff£S»                                   ——                ■..             pmmajT^                              ' ; : :; ' '   ji
                                 I                             mtsmil '                                                                                     f^s^jmcK W6HS -35

                                                                                                                                              ^iJC2s^_Pfe554^ cwscetf^e
    J                                                                                          fgC<y Of P4SCi5A110?l' i
            ft       <>              I
                                                               SiSSS'                      IL, y«ix?FCTTy8i&SX i                                             i*                                                        >
                                                                                                                                                                                                                                          1
                                                                                                                                          I
                                                               »t^g|                                                                                                            pmmm:mmii?M7
                                                                                                          I -“           ••
                                         I
                                                              wWsjsf;                                        -J                           r                 Aiy;e.a«ai R: «Sl&4 Sgl ASftc f.v0 /J©'
                                                                           1^
                                                                                           I                                              i
                                                                                                                                                                                «EC®JS«£,Hst%y '                       ■ '' ■



                                                                                                                                                                                      t
                                                                                    i' :

                                                                      I                        .1
                                             !


                                                                                                                                      I
                                                                                                                                                                            1                                     t
                                                                                                                                                    A                                                             !
                                                 I   ^


                                                                                                                                                                                                                                      I

                                                                                                                                                        I

                                                                                                                                                                                                              «
                                                                                                                                                                      &
                i
                                                                                         .1
                                                 USCA11 Case: 24-13671                                  Document: 13                   Date Filed: 12/05/2024  t
                                                                                                                                                                                       Page: 102 of 723
                                                                                                                                                                                                !
                                                                                                                                                                           «wm^
                                                      4
                    I                                                                                                                                                 SSI FSs Pagc&r *
        V                                                                                               B’^C'rs4i£~T^                                                                    mm

                                                                                             I          .        ■ tE,xr                       I

                                                                                                                                                                                                    £■'?■ AtiESEU [
                                                                                             i                       0? WAtftig                                                                                                  f
                                                                                                        5^4BSr4£pr
                                                       te^3ir~
                                                      gtaae^r                            *
                                                                                                                                                                                                                             f
                                                                                                                                                                                                                             !

                                                                                                                                                                                 iiS    CISS5ff<Ht ,PJ0IE       \


                                                                                                                                                      ^•^VtTCPAWOlSi
    I                                                                                                                                              —-. .,.^Y^.P'^^5TX, ‘, F7>>> > '-~—
            *           V                             f^a'0s/^i>iias4iS                                                                I
                                                                                                                                                                                                                        -J
                                                     -|W®2»7;                            I
                                                                                     f                               «T    '
                                                                                                                                       h
                        I
                                                                                                                                                                                                                        4.
                                                                                  “■ 1 *—52^C.s-I1£AI?»^ "^'--*-”7— —...I ' " ^
                                                                                  ^^orm opglTTf f— "---^-~H5^^^''i»»;?i 0;S0 7,%5
                                                    '|S?/IS?2«?J"
/                                                                             - pi
                                                                                                                                                               t                                f
                                                                                                                                                                                                T
                                                                                                                                                           lA»|£f»p“
        s
                                                                      I                                     TSM’
                                                                                                                                                                            SZ?|V£C       s,p
                                                   »f2«7r                         I4—                                                          i


                                                                                                                                                           Bf-OGiiS ifgp
                                                                                                                                                                           WtJ7A«                               :,. -
                                                                                                        "im- - '^~                                                                                                  i
                                                                                                        "KW                                                                            TSfW^’
                                                                                                                                                                                                               -4:
                            ' '• feSS                                                                   WKT -                      k
                                                                                                                                   }                                         c®0?fsoo'j™,
                                                                                                                                                                                                                 I


                                                                                                                                                                                                               4
    1
            .           ‘
                            i
                                                     a:Kaagp              £i®
                                                                          1^ ?.      ,            J-Sl»|KDcSS
                                I                                                                                                                                  S^:3^7g ftS.-fgyS
                                                                                                 .^/Lgygir~~"*~                t
                                                                                                            isStCO'™~

                                                                                                                                                                       »


                                                              I                              .1
                                                 sqilii?          t
                                                                                                                                   .       f
                                                                                                                                                               «SS='S;,'«
                                    !

                                                                                                                                                   j' ■;




                                                                                                                                               I



                                                                                                                                                                                                       I




                                            •.
                                                                                                                 i

                                                                                                            fc
                                                                                                    f


    »                                                                                                                                                                                                4^
            * 'i                        '


                                                                                                        »                                                  *
                                                                                                        »


                                                                                                                                                                                                           i




                                                          «
                                                                                    t

                        USCA11 Case: 24-13671                               Document: 13
                                                                                k                              Date Filed: 12/05/2024                         Page: 103 of 723
I                                                                                                                                                                           m*:
        6       ^
                                FORM6
                                                             “* •flKA^QAl- ^TEB£ST$
            I                                                                                                                                                               111
                           s*
                                        ^v^g RV w*’'5
                                        Smihss^.
            !


                                I
                                        £jei^C«»S&s««^                 =e
                                                                           I'ltffi
                                                                           '
                                                                                                 PaoCESSEfl •                                         wife         2l©3aQ
                                        ?jW»f5?S                       '
                                                                                                                                  1                                     t
                                                               .S#«l
                                                                     ,Iii*plrt{bn..«!A4J«l!*»5                   f                                                      t

                                                                                                                                                     t.larrx-Sfy^^ff’ Wen®^
                             oiis^yTHs;m A.igs.feP CT(»>
                                                                                                 fakt^- Rii'KO^a                                                   l*i@»Bi!>fi.1^




                                                                                                   pakb-,«k
I
        »       b
                                    ;«agg«SSSSSS'™ *- « -w—                                                                                          —
                                                                                                                             #
                                                                                                                                             iSdjmJi^


                                                                                                                                                                   45d4£i^^
                                                                                                                                                 I           k*_4t32a!mm
                                                                                                           ,
                                                                                                                                                                f
                             .1                                                                                                                                  * _:^''myi M
                                                                                                                                                                   :1

                                                                                                                  mi                                                    r
                                                                                      .     '■     r«fft *1.. 3CJT»:
    y




                                                             :yc:jp«7.Mi£                                                                                      a

                                                                                          r.ffi'
                                                                                                                                                                   IISa^LS
                                                            CJASU0Oi            SSSStHfSi'^Si^e.'
                                                      »tfeliM, AMO              9^ flggffSft          ;
                                                                                                                                                                    I
i                                            a

        •       ^




                                    -    1   ^S
                                    -to i»c-«w» r*"
                                                                            I
                                                                                -"I
                                                                                                   igillll-.lllir--’^- -
                                                                                                    ^!2ws«»»»s«.
                                                                                                                           M»»*»MIT!W,-"^1                                          »®= ^




                                        f


                                                                                                                                             »


                                4                               .1

                                                                                                                                   I

                                                                                                                  f
                    I


    y


                                                                                                                      I

                                                                                                                                                                   «
                                    USCA11 Case: 24-13671                                                              Document: 13                                           Date Filed: 12/05/2024                                           Page: 104 of 723
                                                 iSSTi                                           F^ix AND PUBLIC DfsttOSliRE OF                                                                                                                                               f:.
                                                                                                                                                                                                                                                                                                \




                                                                           J                                     I FINANC&L INTERESTS
         I-
                                                                                                                                                                                                                                                                      !?l         I
                                                                                                                                                                                                                ereaAw
                                                                                                                                          r
                                                                                                                                                                                 I


                                                             II                                                                                                                                                                                    I

                                                                                                                                                                                                                                     r- C«.;
                                                             H»t
                                                             qg»i,vu»0s
                                                                                       H. Mbtsiw
                                                                                                                                                                PROCSSE
                           #,                                                                                                                                                                                                        *»                          2IB3»
                   i
                                                                    C5l?3'&.1’«?n5iCgW t
                                                                                                                                                                                                                                               4
                                                             73 W FtAGiER ST PADE COL%TY COUlTTHOSUc Kf/,
                                                             «i».                  ■                            ■ '■         ‘                ■
     I                     9
                                                             'mirnkfl 33I3C                                 .
              *    b


                                                                                                                                                                                                0                                           SAu^.                           8^'

                                                                                                                                                        PARf •\--'«:-i'wi>mi                                                                                                                4

                                                                                                        I

                                                                               ’ pf                w JiT, ri iJ                                   T’, A'i'S KJ ^              pz'^dein ’5i'».->'«’ !*si                    >'' o-t. w^ifc^BS S»                                   *sw*<®#
                                                                                                                                                                                                                                       f
                               *
                                                                                       U                        41. ^f                                      I f^                                                                ,>     '




                                                       I                                           ,.4                                                          PAKT8-A.mt3
                                             B&8:e?$i»<ls»«p»pss^£wseisi ;
                                                 <'•t,->*:a,                                      11
                                                                                                                                                            .
                                                                                                                                                                                 *y^»*ii.»»w*<!>i»»»i> f*                            ’>fi   /*3«.                £                     %
                                                 sl^rar* 9^*%gys*r»”rK!?ss:*-« fTv^r, *».,»r»'”;.                                                                 ,, s.              •-SiiAt. 'swa «^< «.>ii.

                                                                                                                                                                                                                                            r-f®'
                                                                                                                                                                                                                        1.5!*
                                                 '^m                  t wvrf %'                                 isri/ jrs. w'.y* v                               >, *r>. ft in               .■» ■5             iSeiy
                                                                                                                                                                                 I
                                                                                       %?Ai«s» AT m*® a?x-s?^
                                                                       e3CK3W^ W fiSVSt tx^As iSsKTftpfwo %                                                                      - »c te-»wa>?»             ?
                                     i       ~                                                                                                                                                                                                          n                                       4


                                                             r\   I
                                                                      X.                    .Hi                  t 'M''7.13»i                      ^3                     I                                {\x',                                        l££      S(.£,5a.g
                                         \
                                                                       f
                                                                      ,,       ,
                                                                                                ti-A
                           0,                                                                      I.
                       B                                     r^-iyiT                       V.     If        ? X                                                                                                                                A,r
                                                                                                                                                                                                                                                                      miufy'
                                                                                                                                                                                                                                               4


                                         ;■. t         V ?   ,
                                                                                                                             6'                                                                                                  "7^                    i

     s                     &




                                             t
                                                                                                                                                     PARI t - IJABiLIJiE^
                                                                                                                         »                                                                      >
                                    I ism&sm:sm&xss3^
                                    I    ■     ^j««R;*«a»aso?                                                                                                                                                                                          I AMgtggwt^yrf
                                                                                                                       n        -r'
                                                                                                                        '% .'nL:!
                                                                                                                                      T
                                                                                                                                                        i        ‘lA      I
                                                                                                                                                                                                                                                                        lx
                                                                                                                                                                                         t-
                                                                                                                                                                                                                                                                                          4
                                                                                                                                                                i*i2'- I -               %


                                                                                                                                                                                                      77
                                                                                                                                                                                                                    IH
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                 —
                                                                                                                                                                                                                                                          "iWi iT
                                                                                                                                                                                                                                                       im V/At
                               fi
                                                                                                       4zSSj^^/ V n                                             T>y *,        ‘’j-j T                                                                                Also .fi"*
                                                                                                                                                                                                                *                                  •J

.#                                   .wfff ,-|^&a»'re»i5ir?aE;jrKi5iC? er?««r%;w Aiscvf
                                                         ««S Aggg.f-S^’Vf ^^TO-J
                                                                                                                                                                                                      T
                                         f'^c^tr’ •                                                                                                                                                                                                    4.,       !
                                                                           j

                                                                                                                                      «




                                                                                                                                                                                                                                                                              ■ rmm. p-

                                                                                                                                                                                                                                                             #
                                                                                                                                                                                                                                                                                                4




                                                                                                                                                                                                                    *
                           0
                                                                                                                                  &
                   4
                                                                                                                                                                                                                                               4


                                                                                                                             k
                                                                                                                   9


     J        «r?r«w

                                                                                                                                                                                     t
              ft   b



                                                                                                                         »                                                                      4
                                                                                                                         f
                                                                                                                                                                                                                      d




                                                          X
                                                                        ,U.S. Bancorp       ^ •rt:;
                                                                 V Document: 13 Date Filed: 12/05/2024
                                             USCA11 Case: 24-13671
                                                                                                                                                                                                                       «.
                                                                                                                                                                                                                      Page: 105 of 723
                                                                                                                                                                                                                       I
                                                                                                                         enA'iWp^fa«ti                       '                                ■ -■ '
    • I

                i
                                                                       “ f ARi€rlcan bankliolding company'                                                            wsEmmmm
                                                                                    ■■ ■ ■       >'           ■ - r: .         -• ■       ' v:

i                                                                  . bsseci In Mirmeapolte, ^^linnosota, and
                                                                                                                                                     t
                                                                                                                                                                      f:
                                                                                                                                                                           m
                                                                                                                                                                           t
                                                                                                                                                                                                                       1

                                                                                                                                                                                                                                      4
        4       ^
                                                                       ln«)r|»rat©d In Deiaware.H It Is the                                                                m.


                                                                       parent eompa^ of U.S. S«k National ’
                                                                      Assodat|oii, and is tfje fifth largest                                                                                                                                      »




                                                 «
                                                                      ' banking Instflutlon In the Unftec!                                                                     mmmmum m

                                         *
                                                             “        StsrtesJ^I the cornpany provides
            I                                                          barikrng, Invekiwaiiit mortgage,
                                                     I
                                                                       and payment services prodycte to
                                                         I                                                                                                   ft
                                                                                                                                                                  L.

                                                                                                                                                                  I                                                               f
                                                                 . , Indivfcfyals, teslnesses, govemirfental                                                      I                                                               !

    n
                                                                      entities, and other firiancta! instftytions,
                                                                      , As of'201 §, li had 3,106 pfanches ^d
                                                                      4,842 aalamsted teller machines,                                                                                                                                                    i



                                                                  _ - primarily in the Western and Midwestern ..                                                                             <5*


                                        i.
                                                                   . United aatesi^l in 20231 ranted 149th                                                                                  n                   VW3
                                                                                                                                                                                                                                      I

                I

                                                                      on the Forfyne.sgo W and it Is                                                                           ^   mn>;. V

i                                       •                          . consider«J a sygtemi«i{ly imporfen^'                                                                          S2,i’3*
                                                                                                                                                                                   SstS-im
                                                                                                                                                                                                           -m

                                                                                                                                                                                                                                      f
        A       k
                                                                      bank by the Finaneial Stabfffiy Board. The ■,                                                                                       '7 r    ’T *rk
                                                                                                      I   .                ,                             0
                                                                      company also dwi|s Elsvon, a processor                                                                                                          ^isyv




                                                                       of credft pard transBoliofis for         .■                                                                                                                                »




                                                 «
                                                                      .•merchants, and Elan Financial Seiyipes, .
                                         3
                                                             *        ©credit card issuer that Issues crecili
                                                     (
                                                                      CiRi predpts on behalf of small credit                                                 T'sHi                 ? t.s?          ^ k:




                                                         I
                                                                      anions and banks across the U.S,^                                                                                                                           t
                                                                                                                                      !

                    I
                                                                                                                                                 f                                                                                !
                                                                  •' U.S; Bsneorp operates under the second-
                                                                                                                                                                                                                                              I
    ^                   i                                             oldesicohtinuoysrtftioRaicharter, ■
                                                                                                                                                                               .                           41
                            I                                      originally Charter   •granted In f863                                                                                                                                  I

                                                                 . following the passage of the National                                                                                                                                                  4


                                                                                                                                                                                            i-l%

                                                               • Bank Act Earlier charters have expired
                t
                                »                            . ' as banks were closed dr acquired, raising U.S. Bank's charter
                                                                     nunjber frorfr#24 to' #2. The oldest nstipnaf cbarlorj originolfj
I                                       •                          ' granted to* the First Natfonal Bank oftPhliscJelphia, ts held by                                                                                                 t
                                                                                                                                                                                                                                                      «


        A       V


                                                                      Wells Fargo, w|lch was obtained upon Ite merger with
                                                                                                      t

                                                                      'WachovtaJ^J
                                                                                                                                                                                                                                                  t

                                                                                4
                                I
                                                 A


                                                             4
                                                             5—™

                                                                                       ■ii 's;                                                                             »


                                                     I
                                                         «
                                                                                                                                      I
                                                                                                                                                             ft                                                                   f
                                    !                             J
                                                                                                                                                 f                                                                            -   !
                                                                                                                  «
                                                                                                             I




                                                 USCA11 Case: 24-13671                                                        Document: 13                           Date Filed: 12/05/2024                             Page: 106 of 723
                                                                      i
             I                                                                                                                                                                        ;■




                                                                          s;                                                                                                                                    4


r
                                                  /X'K                               .          THt'
                                                                                                             .1

                                                                                                       URCV IT                                          tm ft ivtwm Jt                                 cTtrtfi
                                                                               J

                                                                                                                                                «



        1/                                                            ts SA'^K. ji-
                                                                                          m,7i^                                                     f
                                                                                                                                                                              1

                                                                                                                         CASf. >«-                       2»r-K4^<A                                                                                                                  4
                                                                                                                         WVt5»M                          32



                                         8,
                                     »
                                                                                                                                        I
                     t


                                                                                                                                    k
                                                                                                                         #,


    J                                                         •       LEMJV
                                                                      «E»ITB^AI4ACtMR-VTCtlW0SATI»; Cm
                                                                                                                     MAS-KWEO-St FSA^KLiy
                                                                                                                                                                                  tn
                                                                                                                                                                                      '>■
                                                                                                                                                                                                                                ‘s-
                                                                                                                                                                                                                                 T»S
                                                                                                                                                                                                                                                      t
             .       b                                                                                                                                                                                                           ■t.ft
                                                                      &wmm»?md’V;                                             ..                                                                                                               r.i'
                                                                                                                                                                                             $
                                                                                                                     '        I
                                                                                                                                        I                  ?'•
                                                                                                                                                                                                                            ..        ^          o
                                                                                                                                                                                                                                                                    8


                                                                                                                                   r:
                 I
                                                      I
                                                                                   1
                                                                       4
                                             «

                 I


                                                          I
                                                                  I
                                                                                         Ths\ CA SE Sr.'>f t'’«» *! ■'«#*« tjK C»»S.                                 g>2-"4. i?VJ’- .«I w E-4 ’HlAr- S'.ri H H-. te'.A 1

                                                                                                                                                                                                  I
                                                                                                                                                                                                                                          «<i'

                                                                                                                                                                                                                                          f
                                                                                                                                                                                                                                                                            1
                                                                                                                                                                 I
                                                                           • , QM>5S&3A’%BA3'.l30£D»f?ll».                                                               f                                                                !


        t
                                                                                         I. .          ia«                         fe »mM^ !$.£»»»*tewiVsJF«j!?'i. ■*!•■                                                                                        I



                                                                                          Z
                                                                                                                                                                                      iEROY *U.UAmMAi0^ ^r^LLi, ,                                     :

                     I
                                                                      FIUWELK OE’Sr?                                                                    COiWSAHOR CnvdFNV&TKXPAML «5»rcij                                                             i
                                         I,
                                     »
                                                                                                                                            I
                                                                                                                                                                                                                        I
                                                                                         W'                                                             m& If        m

    I                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                            «


             4           t>




                                                                                           »                                                                                                S*3l. t3§«I-Z2'
                         I
                                                                      r-AsjfUf/BXK rc75ir'Mr                                                                                                mcjmmmii
                                                                       'ijtjStfXA” wr                                                                                                            f'-       1                     is
                                                                      I                                                                                                                                1
                                                                                                                 »                                                                          m                       A
                                                                                                                                                                                                                    f
                                                      I



                                             «
                                                                       k                                                                                                                                                    msiA                          ^wM
                                                                                                                                                                                                                                      %                                 y

                             !                                                                                                                                                                                  »                                **1
                                                          I                                                  .1

                                                                                                                                                                                                  t                                       f
                                                                                                                                                                         r.                                                               !■              ,
                                                 gk 27343 ?s lk& .Cfk 20«&IS187i mmSOiQ 15:32 32 Pa 1 0f 3 Mm-D’XB C^, a
                                                                                                                                                    »
                                 I                                                                                                                                            I

                                                                                                                                                                                                                                      «
                                                                               • i                                                                                                                                          I




                                                                                                                                                                                                               m.



                                         «
                                                                                                                                            I
                     B
                                                                                                                                                                                                                        I

                                                                                                                                    k



    i                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                <


             «           V
                                                                                                                             4
                                               i     •                                                                           \
                                                                                            I                                                                                                                                            I


                    i 24-13671
             USCA11 Case:                                                           Document: 13                                 Date Filed: 12/05/2024                                                            Page: 107I of 723
                                                                                                                                                                                                                                                              I


                                                                                    9


                                                                                                                                                                                                                                                      r




                                                                                                                                                                                                                                                  V
                                                                                                                                                                                        I




                                                                                                                                                                                                                                                              1

                                                                                                                                                                I

                                                                                                                                                                I
                                                                                                                                                                                                                                                              ' 5 *
                               1

                                                            li'40.v|4sc 6a*f yo a.                                      i,t.ii?.2t DiaFinS-feft£^i/?7?ini{Emj'jesi^id pyiizns ^
     f                                                                                                                                             n
                                                                                                                                                           n
                                                                                                                                                                        4


                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                      *1


                                                                            fty
              10
r

              &
               W                               -m               '■--mh
                                                                                                                         I
                       r


                   I
                                                                                                                                               t

                                                                                                                                                                                                                         r

                                                                                                                             4
                                               \                                                                                 I
                                                                                            I                                                                                                                                        ,   »
                                                                                                                                                                                            i/SKrS
                                               i                                                                                                                                       '?''ll
                                                                                                                                                                                       1-
                                                                                                                                                                                                                         li»/                '^ y
                                                                                                                                                                                                                                              I
                                                                                                                  '.i
                                                                                    9

                                                                                                        V




                                                                                                                                                                                                                                                  r
                                                                                                            ■ ;■                                                                        I

         9




                                                                                                                                                       I        .                                                                                                 I



                                                   ' >.Cy,1i _i ‘/'I : i *.
                                                                                %


                                                                                                                    m§Bm                                   ai’W s*                                                                                                        ^           *

                                                          I ‘4\: -                      i
                                                                                                                    a


                           I
                                                    ' ly                            I                                                                      n
                                                                                                                                                                         <                  •-             .   ■   - .
                                                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                              4




                                                                 5p..'« miv&iimi 0 ^                                    f«s|»ss3                                                                                             ■
                                                                                                                                                                                                                                                          0



                                                                                                                                                                                                                                                                      I

                                                           ■                         «Ep tl|»A s2ti» fC!.7S zwaffi s?q                                                                                     (f10V
r
                                                    ^ imiK,sm                               <mm(0tiwicffl                                                                                                                    •
                                                      iu-iiSSt>iCsaxSiiis^£iiM»-^^pi<<^mt'zmAiqntf%W}Z‘U I0\
                                                          lij     1 s,!!!                      (»h»?. -P'ay a!“*r*iL 'i’.MtZ'l 1 ,11^" ^ i^'UShj
                   I
                               I

                                                                      j« 2i3^ ^^42 wsEg?;.»’ jruiais ri-jsfitrjsp ss? s';' :'-»s         ^‘’4i                                                                                                                                            n



                                                                                                                                         ..r' .-f.v... .. ■         ... o.   ■.: ■•.            ../J -.r


                                   I           i
                                                                                                                                 HJI/A                                          SSIO                                     ^ .
                                                                                                                                                                                                                                                                          I
                                                                                            I                                                                                                                                            I




                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                          1 ■                         ^
                                                                                    »


                                                                                                                                                                                                                   *?A           »                    r




                                                                                                                                                                                                                                                  t


         f                                                                              c'ffrri
                                       I                                                                    . :




                                                            ' 'S'*' ti^Z’ '-y^* ‘‘"a        j       ^                                                  t        .
                                                                                                                                                                f
                                                                                                                                                                                                                                                                          ^           ’
     t                                 '                 aJSIAiCl AtJUJMSr^ir T.                                                                                                                                                                                              I



                                                         4 a^O ii           V":C*A 24^-'Cl Htl£                                                            <)
                                                                                                                                                                         4
                                                                                                                                                                                                                                                      •                                           I
                                           ;             odf i-z                                  'if, - c :■,                                     I
                                                                                                                                                                                                                                                              4
                                                                                                                                                                                                                                                                              9




                                           .   .         ril It/iS.10->i.tl-3H3iHi Xl                                                                                                                                                                                                         ♦




    sd' H?g
7
                                                    #

                                                                                                                                                                                                                                                                                  I
                                                                                                                         I
                                                                                                        I
• '«■                                                                                                              I
                                     USCA11 Case: 24-13671
                                      <4'
                                      .
                                                                                          «             Document: 13                                   Date Filed: 12/05/2024                 Page: 108 of 723
                                            A

                                                                                                                                                                                                               JxhXL
                                                                                                                                    •'«                                  *: '■

                                                                                                                                                                                 &


                                                I                                      .1

                                                    I
                                                               1
                                                                                                                                               I
                                                                                                                                                                 I                                     f
                                                                                                                                                       f                                               !
                                                                                                            fr.*
                                                    .HSS;r%#5hj:K'£Ei:                         r.                           4


                                                                                                                                                                                                                       I

                                                                               ;:S:S2fi                                                                    1
                        i                                                                                                                                      S:.
                  !• ,

                  •;•


    «




                    t                                                                                              MjLOHGE: to mote
                                                                                                              b
                                                                                                    9


I                                                                                                                                                                                                          t

              '■I?
                  I                                                                                     »

                                                                                                                                          TIC«*|
                                                                                                                                                                                                                           »

                                                                                          JL
              ; )                           A



                                fi

                                                                                 r-

                                                I                                      .»

                                                    ifS *. r                  r -42.                                                                             1                                     f
                                                                                                                                                       f                                               t
                                                               j

                                                                                                                            *


                                                                                                                                                                                                                       I
        '■;



                                                                   ■!                                                           (
                                                                                                                                                           I




                                                                                                                                                                                              «


                                                                                                    #


I
                                                                                                                                                                                                               I
              ♦




                                                                                                        I
                                                                                                        t
                                                                                                                   1
                                                                                          «


                                            A


                                                         4
                                9



                                                                                                                                                                     m               WiMmm.


                                                I..,. t--               ¥ii
                                                                                          .»

                                                     I                                                                                                           &
                                                                                                                                                   I                 M

                                                               j
                                                                                                                                                       r                                           , t.
              ■ !-■
                                                                                                                            t


                                                                                                                                                                                                                       I
                                                                                                                                                                                                                   i
                                                                                                                                (
                                                                                                                                                           I
                                                fr .
                                                                                                                                                                                                  <9




                            »
                                                                                                                       fi
                        I


                                                                                                              b
                                                                                                    9


I                                                                                                                                                                                                                              «
                                                                                                                                                                                       ;




                                                                                                                                        I
                                                                                                             ■ ' ■
                                                           USCA11 Case: 24-13671                 Document: 13                       Date Filed: 12/05/2024                Page: 109 of 723


                                                      9^
                                                                                                         t
                                                                                                                                                                                       1

                                                                                                                                                                                                        &(hM
              I
              i
                                                                                        Hor^scomings FInsncia* s                                             oy &AAC- ‘
I             I
                                                                                        U¥Cf an fnterostboal fin^nsls services                                                             t
                                                                                                                                                                                                                      t


         A


                                                                                        corporation imch earns mapr profits each
                                                                                        year, ^ucf^ as $2.§ biilbo m 2004, Register-yoor
                                                                                        Homscomifigs'Rnanda! Network Complaint
                                                               «
                  I
                                                                                    ■Hofpecomings Finaiicial network -Sig.,.
                                                                                        vi?i*/w.l>{§cTass«tionvCOrni5^W3iii|iomscofnlr.gs„il r,. . .
                      I


                                                                   I                    .1

                                                                       I                                                                               I                          f
                                                                                                                                    f                                             t            '
                                                                                J

                                                                                                                 9



    v:
                                                                                                                                                                                                        I
                                                                                                                                                                                               I


                                                                                        PSOPiE^L^O AS&                                  1

                                                                                                                                                                              «
                          i

                                                                                    Wiere is fJto fcoirccofRings finmdml nnortgase
                                                      0
                                                                                    cck*fipsiw toastedf '                                   ' p'            ' "       '
                                                                                                             t
              > 1 '                                                                                                                                                       0


                                                                                             »
                                                                                                     k
                              I                       »
                                                                                    WJien did homesarolfigs.fintwSal. go oat ot                                                                             b-'
         A
                                                                                    bysines^                                                ^■
                                                                                                 I
                                                                                                 '       I
                                  I                                                 1$ tf»f« a SMAC Ssnk that accepts mortgsgts?:                                                                                 0




                                                               «

                                      I



                                                                                    AtleststlPO Report' -;GMAC Mortpage, LIX .
                                                                   I                aad Hofneconings           t
                                                                       I            Wtps://l«ims«,iC¥/^Cl ii»,«^dgirfcl3t413S332,                                                 .fCOinu
                                                                                    '             . '‘ '■'■V' -F-                           ‘f-            ■" ;                   »
                                                                                J


                                                                                    We teve »slni»d GMAC yoitpge, UX [ti§                                                                               I
    i;
                                                                                                                     for jiself sn-d' its                   servlcirig
                                          i           ■
                                                                                    paitldpam f^sm&comfngs ^inanclsl, LLC ttoih
                                                                                    sabsIeJiaifes of Residsntfsl Cspftek LLC}, ccmpllane^ '
                                                                                    vm me sewlctf^ mma set forfiiln lism I122fd|
                                                      0
                                                                                                         I                                                                                         ii
              I


                                                                                                     k
                                                                                             9


I                                                     •                                                                                                                                t
                                                                                                                                                                                                                      %   ,

         ft       k
                                                                           W.


                                              i
                                                                                                 »                                                 *


                                                                                                 ’       I
                                                                                                                                                                                                                  0

                                                                                        t

                                                  I
                                                               A




                                                                                                                                                                  A


                                                                   I                    .1

                                                                       I
                                                                                                                               I
                                                                                                                                                       »                          f♦
                                                                                  9


                                                                                   ■ I
                     USCA11 Case: 24-13671                          «
                                                                                  Document: 13            Date Filed: 12/05/2024                      Page: 110 of 723                  s




                                 «


                                              4
                 *




                                                                                          ■AFFIDAVITOFFACT. *
                                     I                             A

                                         I
                                                                                                      I
                                                                                                                               A                                ?
                                                                                                           r                                                    )   ,

                           STATE; 0IIM>^
                                                                                                               I
                            COIIKTY; FAlEFiELP^




            »
                           j l?e isridsistgned. W«luy Jarvis^ rijis|L*€ for CUSJPOKii Trial, iiercby stales ssef a«iijw&tliat he is of
                           Icpl age aisti cowpetesii to state oji'feijlicf mA peratRSl toowiedge that tlw faefe'set^fiartfc liewta. as
i                          »te^ teliw are true, carrcit. ctKmpfcse aiwi pi«seute4 in gopd faith, estabtblfltiar                                                     t
    *




                                                                                  »
                                                                                  }

                                                                                                  I


                                              I,           Th^CUSiT fiUTO&ers sifsclied for LEROY WILLJA^^IS. Ibf &« account brarioji aiiratier
                           !fl&I7fi’l§5M273I2U2^ were scarefced tliroygh iotkperifJaiil ifatetesea, mnfifiiicd with trailirig iesiB,' aiKf ■
                 »
                           atl2ast?@riel|nfe^^ :TO$sctifliii»i^ ’:|wfiife ttflate iKa«|: 8iji,#t0M:aS|i. leshfc
                                     I       o...
                                             ~ ?'jV        The F«BA4annjj#r, m other c»«odi«ft(s| ofiic accounts, of foe fimtlCs) any Itam acoss:.- .                   1




                            to iBteniai reisrris Indtrating deliSifed
                           LEilOYWieiSISHSi                                                   «


                                                                                                                                                                            I

                                             '9.-                           one fiffld may have »!i tutere^t iu tlic accoimis of'LESGY: WlLi>lAMS.
                                                                                                                                                                                    0


                                                                                                                                                           t9

                            f URTHER, AFFIAMT S^YLTH KOT,                                                              V •


                     Si.
                            f'
                                                                                                                                            «




                                                                        3^ davof
                d.

                           ' Signed and *akd lids                                                                            in iie Year dfcurl «nx3,,lwo thoiJ§iP«l
                                                      C^D32).
I                                                                       o

                                                                                                                   t                                                t
    *   i


                                                                                  I
                                                                                  ’       i
                                                                                                                                                                                        «

                                                                   I


                                 A
                                                                                                      Wesley h Jarsis* I’nisSce
                                              k



                                                                                                                                                                                f
                                     I                             .1

                                         I
                                                                                                      I
                                                                                                                               I                                ?
                                                      ji
                                                                                                           r                              '.>•                  !
                                                                                                                                   ::r-




                                                                                                                       ir
                                                                                              I
                                                                                                               \       •?



                                                                                                                                                           #
                                                                                                                                                                                            4




                                                                                                                                            «




                                                                                      b
                                                                              f


i
                                                                                                                                                                                                                    X]
                                                                                                                  t




                          USCA11 Case: 24-13671                                                 Document: 13               Date Filed: 12/05/2024                            Page: 111 of 723
                                                                                                                                I




                                                                                                                      USAI
                                               Satgof^ t'>'n^i-'>                                         al

1                                                                        .    f .
        «    *
                                               Cowntj of -l-T^.                   i k‘'\                                            t                                                    t
                                                                                                                                                                                                                    «




                                                                                                                                              »
                                                                                                 »
                                                                                                                                                  i       f
                                                                                                                                          k
                                                              tin             S            ..        ■3 ';                                JX l            ‘.fiOOilli         fwjftt") j;si!t>lic}               «




                                                {?^«5tiaily appeared Wg;& J. Jat^s [ J pcr?oa*5l]y ktic»w» to tnem y pru-^ed w m« on tltc          of
                                                s22ti?,fk0to^Y evicfcoec,, »hstks person whose usme is subs^tfesd to above and ackiowIcdgeJ lu itse timt
                      4



                                                                                                                                                              6

                                                                                                     iiil WilM.'ifcw iffifiisttoSs.'

                                                          ^                                                           X    |S!|®w|                    I                              t
                                                                   •'.   ■*
                                                                                                                            f                                                        )
                                               W&tmy.                               kj                                                                mm:

                                                MyComraisslon Bxpkcx.                                                           1




                 »                                                                                            a

                                                                                                      k



i                                                                                                                                                                                        $
                          •%' :-

                                                c
                                        »■
                                                                                                »                                             «

                            ■ I
                                  ■>»                                                            ’        I
                                                                                                                                                                                             1
                                                                                                                                                                                                                6

                                                                                      r



                                             ,?::"• 4 .
                                                               k


                                                                                                                                                            fr


                                                      I
                                                          «
                                                                                                                       I
                                                                                                                                                      t                              ? :
                                                                         ji
                                                                                                                            r                                                        !
                                                                                                                  4



    U
                                                                                                                                                                                                     1

                                                                                                                                I

                                                                                                                                                                                 *
                                                                                                                                                                                                         ' ■r            4




                     9,
                                                                                                                                                              ■Sr-
                                                                                                          »
             I



                                                                                            f
                                                                                                      k


i                                                                                                                                   t .


                                                                                                I>
                                                                                                                                                                     ..■r-
        i;
        I                                                                                                                                                                                        I              e

                                                                                      1


        ‘4                        m



                                                              4


                                                                                                                                                            &


                                                      I                               .1
                                                                                                                                                                 ?



                                                        USCA11 Case: 24-13671                                    »
                                                                                                                 Document: 13                        Date Filed: 12/05/2024                                       Page: 112 of 723
             I                                                                                                   t

                                                                                                                         I

                                                             «


                 l.
                                                    4



                                                                                                                                                                                           £
                 I                                                                                                                                                                                                             -   I

                                                                 I              L'mov Wffij.i^J^ fACCT |8#176l«&2TJ53ft2fMlSir
                                                                                r«fii>- Advfesr StraSi^if R«l fefflrB Flirt I                                                                                              f
                                                                                                              BRAIi ,r                                                                                                     )■      '
                                                                                r:i*FIF:
    -I               1
                                                                                           DJIC
                                                                                Me< A.>j»rt5,
                                                         :
                                                                                                                                         IZ-J 2021           ■                                                       I
                                                                                                                                                                                                                                                                   4




                                                                                                                                         ■izjmm                                $




                                                                                                                                                                                                «
                                                   *,
                         I                   >                                                                               I
             I
                         1                                                                                                                                                                                       «                     I
                                                                                                      9
                                                                                                                     k


I                                                 9

                                                                                vi IMtt?                                                                                                                                           %
         «




                                                                                I'Klffitj' 'SimtKge                  H ihm F{,*vi vK*,^ rjiimsmAfnuf^isw %!*ltk-2'\
                                                                                                tfil by inv«iM? « ^AFomic aiKi fifreiga fesseis                                                     s unara? ra;?. «.i f
                                                                                                                 orislTui^^rt-pro’eii^d-'h                                             SSVfl'saiius^rate'sicks ai'-ii                                          0




                                                             i
                                                                              ■ 26^«-'R0T^^y?liiTrca]s,Hfcle rirlieJ irAotiiwitts "                                                        '
                             1                                           «

                                                                                                                                                                     '•


                                                                                                                                                                                           ft


                                                                 I
                                                                     I
                                                                                                                                              I
                                                                                                                                                                                   I                                       f
                                                                                                                                                     r                                                                     »               ■
                                                                               J




                                                                                                                                                                                                                                                           I

                                 I
                                                                                                                                                         1




                                                   9,
                                                                                                                             I
             I


                                                                                                                     b

                                     I            9


                                                                                                                                                                 t                                                                 ^           I
         4       i


                                                                                                                 *                                                         »

         I
                                                                                                                 '       I
                                                                                                                                                                     ;■'
                                         1                   i


                                                                         at
                                                    4

                                                                                                                                                                                                                                                   I
                                                                                                                                                                                           ft


                                                                 I                               .1




                                                                                                                                 4
                                                                                                                                             m
                                                                                                                                                     f                                                                     f
                                                                                                                                                                                                                                                           I

                                                                                                                                     f
                                                                                                                                                         1



                                             I                                                                                                                                                                                                                     4




                                                 ! «,
                                             »
                                                                                                      ■ :■   ■
                                                                                                                             &                                                                                                                         1
                                                                                                                                                                                                                 4
                                                                                                                                                                                      t
            ft                                                                                                                                                I
                                                                                                                                                                  f                                                                    !
                                                           USCA11
                                                        Fillip#     Case:E-FiM05/10/2022«7d7;i9AM
                                                                149252975 24-13671 Document: 13 Date Filed: 12/05/2024                                                                                                       Page: 113 of 723
                 1
                                                                                                                                                                                          Hill
                                                                                                                                                   t
                                                                                                                                                                      I
                 i,'                                                                              RdM-Ta
                                                                                                  Xn'^iTr
                                                                                                                                                                                                                                                                        4
                                                                                                                      C1<?sas9 tzpt.                                                          ■ :'mm.r^m:m&m::i- u
                                                                                                            ^Srlt Si?-r?ssrsk^ Br. «W 3                                                      '                                    .mm-
                 f.'

                                                             I,
                                                                                                                                           I
                                                                                                  i €>xvma    fsiptrfi' fej,                                                                                             t


                                                                                                  m*V F1rfFSl«1
    I                                                                                             mx             41

                                                                                                                                                                                                                                           '
                   ■M
                                                                                                                                                                                                      isc;

                                                                                                                            »                                                     «




                   ■!                                                                                                                                      MORTGAGE
                                                                                                              t


                                                                    I                                                               ■:■;



                                                                                at                                                                                                                                                             I
                                                                4




/                      1'                                               I
                                                                            I
                                                                                     ?!?.;;
                                                                                                 W«^ ii«i to tRigiijSs-'jtetwas«»itej testers tre                                           tmt wwits ssa Mte m                        f
                                                                                                 fewRix*'?, 3 5. t3. J* JD W JI C«*iw *«;#                                sit sasgs pf wh*       in       *«£rjt« #r                   )
                       :|                                                             4
                                                                                                ^slsftl»®-)jte!ieSMfc»if,' , '                         '                      ?                                :-■ ■ ■ ;■■
                                                                                                 C4>‘*STOi%r»{wt®i!nrj»wl’m*s»S!w8,'«.Krf»is&iS)Kj!is« 35, 2Q5-                                                              •,                        I
                            I                                                                                                              ktix'.mt. AS UWAi?^:rt.O m%
                                                                                                                                                                                                                                  «
                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                        4




        '          -I                                        9.
                                                                                                                                           I
                 I'*                                                                                                                                                                                                     9

                                                                                                                  <iH ts^wsit fe-fc t!a*                     ^w«i.
    1       ■i:
                                I
                                                                                                (O -imilS" is                         tfe£r?»<g fes»«tww« S>»ek!»i. Ui. S^iiis h a
                                                                                                isifej j^ljr a$ *. Bse&w Pjf i#^<sf «t«t LMS«r»i.xe«5W7 sss salfsav RIPiS »»»fc
                                                                                                Basfariifefcumj Sa*&»tr,«»*, ?»^5^ra,9tij^tiffifa.'a<«i4i!5i2si«'ti4;te»>ir»«&!»iiif»,.s«Slss.'.aT
                                                                                                                                                                                                                 ste s*
                                                                                                                                                                                                                                           f
                                                                                                                                                                                                                                                                    «


            <■ >

                                                                                               ' taiJ’toB(te“i«.                    F1i3tiai3 isrv'IKt
                                                                                                                            '         I                    lKiFglB?S5«^?l

                                                                                                            I-
                                                                                                                       S-           **«?«» nrtti BM«»* wjiE«»rj*T «# aife                                     Wt:                                           »




                                                                    i
                                                                                                fm'nf’i . .                         W-
                                                                                i
                                                                »

                                    I
                                                                                                                                                                                             t                                                     I


i                                                                       I                                   .1
                                        I

                                        I                                   I
                                                                                                                                                              I
                                                                                                                                                                                      1                                                f
                                                                                                                                                                  f                                                                    )
                                                                                     j

                                                                                                                                               4
                                            i
                                                                                                                                                                                                        ■1.


                                                                                                                                                   I
                                                                                                                                                                      I

                                                                                                                                                                                                                                  4»
                                                                                                                                                                                                                                                                        4



                                                I



                                                                                                                                                                                          & T'lait €OPt
                                                             fl .
                                                                                                                                           I                                              ci*sTif-i€%Tii!^; III! U51 ’f;m
                   I
                                                    I
                                                                                                                      f
                                                                                                                                b                                                         ■:immt mml- clm^'
    I                                                                                                                                                                     t                                                                t
                                                                                                                                                                                                                                                           fi   •

            ft                                      >

                                                                                              ei>ek23823/p3|e3231 CHN#2OOS0793767'                                                «
                                                                                                                                                                                                                        HMm
                                                                                                                            t




                                                                                                            I


                                                                    I


                                                                                4


                                                        l.                                                                                                                                   A
                                                                                                     f       6


    I                     9
                                                      i-




             «        h
                                                  H

                                            USCA11 Case: 24-13671
                                                  h
                                                                                                         Document: 13                              Date
                                                                                                                                                   .  t : Filed: 12/05/2024                                             Page: 114 of 723 txhTl-
                                                                                                                                                                                                                                                            c
                                       i'

                                   0
                                   W                  A

                              m
                                                                   k
                                            •




                  J
                                                           I                    iss*^!|                      .                      „,,v,                       4,
                                                                                                                                         Ihs StaW 3f Cs’llfa'’Bt-8
                                                               I                taiSss'iaJ^li 29SW Ste'siit,!;
                                                                                                         AMseitf. Tie ^875f.yp ,
                                                                                                                                                            368           i                                                      f
                                                                                                                                                                                                                                 )
                                                                       J
                                                                                ®’^l*’*(RSB«i*5af(K«awJV»«sSr%fi«stbj-te!a»ffr*i(«{!f»tei5*tC# 3P. ?l’C5
                                                                                TfeeJi^aatss£iBiBffli!ts'<»a%»!aL!Sisai fajr t!^«dfBia fortjf-Btiht tfea^sand »a«
                                                                                mam                        '■ . ,„.,C..                            :... .;  ... . . ;., .r:»»#^                                                                  I
        ■■>t                                                                    W,!i,S.M3.3S3.0l
             I                                                                        ’Tmptrcf^ rmni
                                                                                                         '9'ei^^ t?! K*;txi teatim %ali J.
                                                                                                                                          fe«.-i%sl Maw^aisr ite fe?.Jw# ’*                                cf li«: w.s#                                 #



             1
             I-                                                                 jG? *!«»«»" r«s«                                                  p'm jtts-. i,
                                                                                                                                                                          -
                                                                                                                                                                      j«r«« w*
                                                                                                                                                                                      ■' ..
                                                                                                                                                                                                           Md Isu ,irg»                                         4


                                                                                te is4r C't ?i«r,  sjS WJ                          ft'4«r ifcte&KrtJy !s«mw« t ^
             I:                                                                             BM«3j) Rl&sr to                          fciji:? fMJsx-^rifci ar c»Rosn; fs?
        • I                                                                     Slfcl»Jc ts i»tes#d it $tf:slyxw ttJiWi N’t as,^5(®iSff|

              <■          *                                                      Bfttfsumfel* &lr J Ceri afAi raiDi's«Sijr»!ss
                                                                                                    PSrPtiJ                                                          O          t»«b (twjlw                            4
                                                                                                                                                                                                                                         1



                                                                                                                      “J                  7vrrt~^ 5i'*"              riterty
    Jl •     t

                                                                            .         ‘%5s!iaM! Ijw" SM13 sit sasssfiti.!^ appljssls itesi SJ; ^ - fell }ia**l ft2si;?fet,
             t’
              i
                                                                                 "
                                                                                •wt                                               ****       K&s tetf si;? sSa^sr                   » u?a b ci ’                    J5«'
                                                                                P7 '*1&aEcat%                             itees. I?***, *»tf j4st,«a«.t«»“Ks«w                Ass. fts, aa8r.s»«!t» -«si. *-aVm
                                                                                         « »» ^»d <m                                     ^      ptstr^ ay e swilwitora
                                                                                fc>i5«»wsrwrilB(»5iS{,^i'',_a»                                                                                                  ;v ’.V                                      0


                                                                                      'Eft^BW lews* lisasfer’aasw sg; fsa** « toSs, siaa ■j-ists b                                                          cr>f.»»af &■?
                                                      t
              I:                                                                        )i|«Pv "St               psm                             i* uriteg^ emfi^,, .tr e*W«« Jjfsswj#,
                                                                                im^WWiSWBpaa-^iiSriWg            «. tif 18 mtx; umvA or             * liciatia} >wiwf«» n.
                                                                   «
                               t
                                                                                 • . > .    •-       faw» Wute, iiti » «^i 8!!K*>*S !bJ yiSiK? «^Ssafc tsiBsjIiai, tvtomiiti tefe
                                                                                «;fe® jrasTOWms, tustsfes IntiiwaS        fiftpiwr. <<«8 sb^iMS-i, ..si a.*»»r.»jrf
                                                                                                                                                    ’                           '       ... ....   >   .
                                                                                                                                                                                        a


                                                           I                    fM}              l^ittsSs" mm. m- trJ8pras«*i«»« feKtema.          ttesss#:*, nt rK*2»sS, p»>d
                                                                                te mf         (ptW          imnas pBraat ws 0B»r c>«w^ {te.bKl ib i«wi I? »• i-S
                                                               «
                                                                                J»«#> W, m stofiaciiini i*i tre
                                                                                          @1 isBts^ew to I,?!* vT
                                                                                                                        -wtslBews^a at eiStn S^htj? of »3 i» s% jss*! «? fits
                                                                                                                                                  .>y'N> i»*f*t!f|>sis»M|j« «£ » ea«aiy» «■ '.a JI«
                                                                                                                                                                                                                                 f
                                                                       j
                                                                                                                                                                                                                             .   !
                                                                                                 Sit»«!S«*''!»i!ra a»Str<f«'F«S'^'^ * «sKJ_tigWMH6!' W>r3*.l'SS»ftl 6f. ©r fetaJi a,
                                                                                                                                                                                                                                                 I
                                                                                p> ,•«»&>(»■ S^rasar S5CS3 fiK RTtSwee wS'eSOad awra sbs fo (tj pr«jjii> M                                                     asJss- sJ»*
                                                                                      jtasjiel «tf twsets w^« SstWB S ef-iss $*a-r|'^- Ironsrwtn-
                                                                                                                                                                                                           seSlpSESf         4
                   /o
                                                                                                                                                                                                                                                                4




                                                                                                                                                                                            *
                              4,
                                                                                                                      A
                                                                                                                                                                                                                       4             i
                                                                                                     /       ‘

    i                                                                                                                                                       \                                                                                t
                      \



                                                                                                         I
                                                                                                         '        I
                                                                                                                                                                                                                                                            4
                                                                                          1


                                                      A


                                                                   4                                                                                                           a tiis:

             !■
                               4
                                                                                                                                                                               CLTalFlCATft; Ifl Wit I*
                                                                                                                                                                               immEY IWIM;
f            j:                                            I                             .h                                                                                                                                                          ■ .if .



                                                                                                                                                                                                                             4
                   .r
                                                               I
                                                                           • Book2^23/Paae3232 CFN#20Cplf|l?|t                                                                                                Page 2 0
                                                                       J

                                                                                                                          4



        >;
                                                4^^                                                                                                                                                                                              t

                                                                                                                              f
                                                                                                                                                        I


                                                                                                                                                                                                                                                                4



                                                                                                                                                                      t
                              0



                                  USCA11 Case: 24-13671                              Document: 13                             Date Filed: 12/05/2024                                                 Page: 115 of 723
                                          I                            oft

                                                                                                                                                       k
                                                                                                                         I
         f
                                                  •o                                                                           f


         f!

                                                                                                      r
                                                                                                                                   I
                                                                                                                                                                                                                                    a


                                                                                                                                                                                                              00
                                                                                                                                                                                                                                              4
                                                                                             <^V3^ fe? V||3”^                              ^       * r: ^         ■SPil’T            ^ rt V             %
         m.                                                                                                       >I ilifft 7^?^ iWA                                          5n,£iiM 1^-.*            *>
             I                                                  -nrfff'^-mf^ •iin'Tm.’iK 'OP‘%*r6lm:to»)Jw?wiC'.»8>ir.4*a"*''.''ii':,atkS5»“*Si»!Mi »Bj«i!>,
                                                                lij a 'fiiiKj^ »,*ss 8s«tipi5« l)»«t* r«s fC tt*«'tar. fees K«t ci^i"/ » b ‘Msrtf y Ktesi wss^
        ‘ I ••                                                 ;:»^’«WK &S-rftS‘;          t                         ■     ' ■                                  '
                                                                iQi ^Simsurifi istuiml irf iwnnswM""iP£rB t?j pifS« ivr. tu- i&x Mis tatt-^‘••sps^}-^ '.>.u.<>ts m
         f'                                                     fti           1^ .tiejtfcf           H^^MtSssi w»»'6e                >'>'* ScCi»flsy I®!:JSS<W.

    i                                                           is/A'st-iR 0t-RffiHfs-ss rBEFUO^garty

         *       fc
                                                                rev, fas-wssr knsjsdm »:*» :♦         r wr ti*           «jls, tw»,  Vf rirtr-A jir, «'«•- »
                                                                              5-'*^     a-'J ti-, (V .•w5''i»i.,t t f 5»irs^r« w-rwHi mJ a, •»«>«:« tr*' if a
         •M                                                                              i •'« J..r; i- •                      laffEwr •!?»’#■ tel&y •'selgj^ ^.»!?) »ifc                              i,>
                                                                                 ^                   It-r
                                                                                                     it       L«i»^ ??•■ tj^tJjs’t laE&fm Bid ®3gr»f) mi •<                                          &*-■ ■
                                                               diwi? yr^RS, ti»i fa.lvjKj,i-.tn:»trr.XtTti t-ymM tt -Aate»r 5y                                      it)        .-f             »’«*S*»'’i-

                                                               5ee s#^?f 3#-5ra tpsirn •ttiJssilj’3 ?5»g SsiarEP?
         If
                                      J



                              4



                                                                                                                                                                   4


                                          I                             .1
         i
         I                                    «                                                                                                        t                                                           ?
                                                                                                                               r
                                                       4


         I                                                                                           «


                                                                                                                                                                                                                               I

         m                                                                                               »
         I                                                 5                                                                       I
                                                               :lfc*:lOI«iirc,:»a:rjiZlll«                                                                 »fei«( «VT»l|j( Jias ihr miCtt'ri. tA
         m                                                     I5f?3 sails srvi.^ 0s:i'                                                                                                                       «

                                                               ntmi                                                                                                    rle^
         m
         #                                                     Cfm^iy Mis f■■•■'')
                                                                       ’TOSS'VCS. WTK * 'it .,,,4. . i.i-i, ,f * ./                                  te e«^BT/, w-i ?•
        .1
         i
                                                               mm              ,«ja«x», B"r; r,r,.T» am                     &psr am                   An lije..«•»»!:• Ji
                          8
                                                               iMIstsa; «fcfif site be tr«w5 i‘f skSt               W.ssuMJsm. ft l « te ift'ey.', ag « ,*«■(&! rf t* a tft»
             I
                      »
                                                                                      tlis               Ti ;is‘^r E        r,          Eb.#                        tspil i^fis?
                                                               -r,.}!!,-                   S>os.,>ir,t<'< liK? V«i7!% teifrnr". *as !;«,««*!•                    >.-r *•.* w
                          9
                                                               siwsa* f4rEK Si. tfflt'ftsa i<'‘ L«kw                           sa*«m5,aa£«s.Cis; bstt* r®#* J- m-*,t mf
                                                               b’ *” 5^ tstt; K'lnus !®?J ®',a * , a"*                       • *, >» •'•y^i <                    mij ^r i®                       s* * i:
                                                                            ’M smMS'iJ.   Lsf.mr IrfSii'ds'j.                               %>                    XiJ                                                  4
                                                                                         "                                             '                                                       „«.».
         t‘
         I
                                                                                                                      IWIil3Sll«RS:'.
                                                                                                                                               '       ^               ■'■■
                                                                                                                                                                                     :.8IS?Sli’8
                                                                                                                                                                                          '■
         I
         £
                                                                                     I
         1
         i

        “I
                                                                                                                                                                                                                                          «

                                                                         I


                                      «

         I                                        «
                              4
         I
         i
         I


4                                         I
                                              I
                                                                                                                         I
                                                                                                                                                       t                                                           f
                                                                                                                               f                                                                                   !
                                                                                                      d




                                                                                                                                                             A    f^lX
                                                                                                          I
                                                                                                                                   I                         ciifJmmv;^’. it it.' p«I                                                #

                                                                                                                                                             !i?»S¥i;T MirTiTi, :                                  B#il'‘.'.
                                                                                                                                                                                                                     %J&.
                                                                                                                                                                                                                                              4

                                                                                                                                                                                                                                   ':e'



                                                           B^0kzS823/p3ge3233                                     CFM#2C'C5079376?
                          8
                                                                                                 8




    I                                                                        »

                                                                                                                                       t                                                                                t
         *       ^


                                                                                     »                                                             4
                                                                                     r

                                                                                             I
        I                                                                                                                                                                                                                                                                              i \
                                                                      \y                                                                        r
                                                                                                                                                                             I

                                                                 USCA11 Case: 24-13671                                   Document: 13                                   Date Filed: 12/05/2024                                                    Page: 116 of 723
                                                                 ■m   '
                                                                                                                                                                                                                                                                                   :




            I

                                                5-           -


                ! '                                     r                                                                    *




    ‘;f                                                                                        •PRSf**
                                                                                                                                                                        :|WiK«'

                                                                                               imn                       i                                                                                                                                t
                                                                                               »!»£. ri 2315?

                1
                                                                           «                   lOT tflSi irscAWf                                        sicfias f            i. accmcj^s "I t«s’                                      wssecf.             I
                1
                                                                                               m ^ic9«x» m P10 mM u,                                            i&, a; ?«i, R'aiic                                               c-f hj* om
                                                                                       k       mmy. nmm.
                                                            »




                                                                                                                                                                                                \
                                                                                                                                                                                                                        k.


i                                                                              I                          .1


                    I
                                                                                   I
                                                                                                                                                                    I
                                                                                                                                                                                                               i                                              f
                                                                                                                                                                                                                                                              \
                                                                                                                                          «




                                                                                                                                                I
                                                                                                                                                                         ■ r: •
                                                                                                                                                                                 ■       -■
                                                                                                                                                                                                                                                      *




                        I


                            I
                                                                                                                                                                                                                             0




                                «
                                                »                                                                                . i,
                                                                                                                                                                                                                                                  t


                                                                                                                >   #•

    J
                                                                                                     £•                                                                                        ■:'■
                                                        9                                                                             ■   ■-.




                                                                                                                                          ;■
                                                                                                                                                                                     f                                                                            t
                                                                                                                                                                                                                                                                               «


                    *           >


                                                                                                                         r '                                                                           «
                                                                                                                                                                                                                    i



                                    I
                                                                                                                         '        I
                                                                                                                                                                                                                                                                           0
                                                                                                          j I



                                        I

                                                                                       k
                                                            t>


                                                                                                                                                                                                                            I
                                                                                                                                                                                                                        *■1
                                        1                                                                 .1
                                                                               I
                    ■" I                                                           I                                                                                                                           I                                              f
                                                                                                                                                                         r                                                                                    !
                                                                                           j

                                                                                                                                          «

                                                                                                                                                                                                                                                                       I
                                            !
                                                                                                                                                I
                                                                                                                                                                             I




                                                                                                                                                                                                                             «


                                                                                                                                  I

                                                                                                                                                                                              i' - ,
                                                                                                                             k
                                                                                                                    #


    I                                                                                                                                                                                \
                                                                                                                                                                                                                   4 Tin: i‘^n
                                                                                                                                                                                                                   ciRTiFiafiti:
                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                          <:/a- pia’
                    «           ^
                                                                                                                                                                                                                   imSfET iUfiri CLEKK I
                                                                                                                         »
                                                I


                                                                                               SwK362WR9^3234                                             CFN^2p060793?®7                                                             :iii#4' :0f-2q                       I

                                                                                                           i                                        •                                                      •


                                                                           i



                                                    '       0
                                                    I
                                                                                                                                                                                                                        A


                                                                               I                          .ft


                                                        I
                                                                                                                                                                I
                                                                                                                                                                                                               I                                              f
    I                                                    ;



                                                                                                                                                                                                                                                                                          (
                                                                                                                                                                    >                                                                                           t

        I
        I
                             b
                             W                   m
                                                     USCA11 Case: 24-13671                                       Document: 13                                 Date Filed: 12/05/2024                                              Page: 117 of 723
                                                                                        )5
                                 3^:                                          *'•                                                                                            *

                1                                                                                                            I
    '■ m
                             wii
                                                                                                                                                                                                                                                                                      A

                                                                                                       1


                             •
                                                             «
                             -         -1'                                                                                                                                                                      »                                                           n'
                                                                         «




:r                                                               I
                                                                                                 BBX0fta COvmmm tetew® a                                                                ««<»stto%                           a.4
                                                                                                                                                                                                                                                   f
                                                                                        i^isswliasw rff«Sf£ feESRHET tmmm md -mt iS^fferi                                                     *•*'® *** frawt^ tsi&A iiJi                          !
                                                                                        ftSamjwS                  sdf!« »o?®aijaw^ww <Ei's®wrf
            I
                                                                                                                       £!i)»«U?i>lDJ1 KssJwof(w%pi «»w«*s                                     isaCiarf »» fr w»wm^
                                                                                        <!5%feii3i«                    vsnasEw              jmsstesjitnj tp cajstfeas a iwifeot xmtatX:^ terews rwring nw

                                                                                                 t.             «r gSRtei^H &»««, IEs»ssx»                                                                ««» l*»r
                                                                                        fc»»*r i&.a(!» «to tf*m prtraimi vi «rf S«« ®»,te*t«                                                                    ?*S!S,!2. •
                                                                                        ia»iari«to»iwfH««faw<6i*®fettsN«- temper eCJ**5*^                                                                         few*                                 1
                                                                                                                                                                                                                                                                                              4



                                                                                                                 S.                       d<» ««£«       ^«1                                *«»w^
                i
                                                                                                      f«r»w,»J mff eSmAi «f «*» fasjriKseat B«sy*«4hi«r^e                                                        ^
                                                                                           ■ *“ Sifte
                                                                                        •'fas    ■ ■ '■ »H»
                                                                                                         '" K'J■ -•                           isstjTO!* fcs- «»fe « PW « 1«* of                                            f0«». »*
                             1
                                       »
                                                                                          S*«d v f.«K£*^ C4                                 mtm                     «»*.                                  tfiwififfifs           p:
                                                                                        ssgRjSj'r «i*i^                               ■ ■ (J. 4mm
                                                                                                                                  ^ <*S£fc                         *s teiiefes ■*« &;«lis ^ P8s«--ri!® *
                                                                                        fisWstiwv.iAwmSw!. w*BBy.’^4«s:ta»cateFa»;»Ts»tw                                                                              .
    j!                                                                                  «iis%                   ^           ^
                                                                                                                                            fcy tr«S**    «*?« *
                                                                                                                                                          ^                             Ihr
                                                                                                                                                                                                   ifwja« m ^V Nf«r at «
                                                                                                                                                                                                                      is                                        t
                ;            b
                                                                                    •   Usi!^              s^xm; mt                         fi:sud ps^mmt if ^                          |ssti2^           sse                                              'i

                    I
                    1
                                                                                        a««a,«.«:»trftf rf w d#» »«rw«» m fgrjsikg m         ». fste j»* »ws« w ^s»i
                                                                                        jspw® »*!• iiww, fes fisto » ost   » spriy Swfc p^BssTfi al s'»-fe»«wJi 5!®»aas mt
                                                                                                       itMik P<«tiidx, f^mai ts iffSiti m af « ssMtiW a>« 02, ttoi tfiste oea ost p%!

                        i-                                                                                      if'Um^>iijixmii4!>m%’&ma,mixas:^t^m4i^,i-.tat, ioiStrfiaa»?!*»«?>%
                                                             «
                                                                                        mA kt!4s- <tf                   tt ai5i»*», Sf-ass                           *isdi.&BiIs %£{ 1» *»««}» j!» «Mai»aja#
                                                                         «
                                                                                        jSrf«»|«! fed*® «»&»■                              ft^SSStetljf psW W fefwiRWW,
                                                                                                                                                                  SW
                                             «                                          ra^ESS      cow «■»(!«                            sgiito UsOr sSiflSt «8m
                                                                                                                                                           #oo taAteg p^^ass. 4tier tsda
                                                                                        rts*          »# sii«               rsaamsaJ « pBtew^ tW «*«*» «J 4#     i6i     tjs #»% Srw% ^
                        I                                                                                                                                                                            4
                                                                                                                                                                                  .^:          ^                ,..

                                                                 I
                                                                                        mxmxt MMEd'jrf                            te- U»3» «k»il Hsr#*** » «l»itEwi5t:a                                  arpwr.tr*« w.m»
                                                                                                      jipfW o es^                                                            ^ kmH 82^ lAStg
                                                                                                                                                                                                                                                   f
                                                                                        «fcsS teciifcj to ta hte Aw*. Vts9«3 r® B?’                                          ^                                                             .       ) .
                                                                               J




                                                                                                 it &«3te ifCtfm a «»EW too 9«KM»r ter a ri^Hstwt te*a*a t-wwss »fca laete'af &                                                                                             I
                                                                                        *fc !aB«M» <fOSW&*!! lam Fffliisfe Ps^fxo: fc &-sa:^‘ag, twi^ <k^                                                                   i««i!«ss
                                                                                        »«t» Bl^fms'u Hk                                   «f'fe p«r«» Raj** ir.tx4»^ sami Om, *s» R-f*
                                                                                                                                                 I.Qai?g3l»«?32              flS«3lP .                                                                                                        4


                                                                                                                                                                                                                .^;Sb!!**;«:



                                       »
                                                                                                                             ft
                             1
                                                                                                                                                                                                                                  t
                        |-                                                                                              k


    i                                                                                                                                                               b   .V
                                                                                                                                                                                                                                                                f
                             b




                                                                                                                  »I                                                          *




                                                                                                                                                                                                                                                                                      I

                                                                                             I         1


                                                             4


                                                                         tt                                                                                                                   4                 ris^7                  •                            -   .

                                                                                                                                                                                              €?mwtf^-zw c; I.'"- 'm<
                                                                                                                                                                                              immt. mnm.- clepii
/                                                                I                                     .1
                                                                                                                                                                                                                                                                                 ;f
                                                                     I                                                                                                                                                                             f
                                                                              • . ..BooK2362^a0e323S CFMkmmBmT                    «
                                                                                                                                                                                                                          :P3§@5of2tf
                                                                                                                                                                                                                                                                            i
                                                                                                                                      »
                                                                                                                                                               I

                                                                                                                                                                                                                                               4
                                                                                                                                                                                                                                                                                              4



                                                                                                                                                                                        f
                                                                 k



                                                 USCA11 Case: 24-13671
                                                               •y:'
                                                                                                Document: 13                                  Date Filed: 12/05/2024                 5.
                                                                                                                                                                                                             Page: 118 of 723
                                                                                        .1
                                                                                                                                                                                                                                      ✓

                                                             I
                                                                                                                                        i
                                                                                                                                                                            I                                            f
                                                                         J!
                                                                                                                                               r                                                                         !.
                                                                                                                  «


                                                                                                                                                                                                                                  I
                                                                                                                                                                                              W’' ■

                                                                                                                                                   \


                                                                                                                                                                                                Eji1i.RB pg.6                                       4


                                                                                 en ptM »fel.-Tss fe                      site csj? tst^aa jsws- Rftsf de{s^-ssau & qspW S»fcfell ^>isss rf
                                                                                 «(»■ la «a»s fussadit fesjaasras, laA       'cy/                           Aja- ■V^Arja^'
                                                                                 pfjspsjiBS* sfajf be       frt t» »;? fw^ajwert’tfs^jsrf tfe» o ftsate# m Wife
                                                                                       As^            tf awaMS,                   *«• Ml^l&nsws Ww&» » pSae^ &sc mitt
                                                                                 ft* 1tet»^i»S!js@oKlS-jxs;ijjsKrfe&s &>*;,«!• ebsaige Sis OT(£>sni,o» lie ftffciScJ^TWsts. ,
                                                                                      X !*»& fo? femi!’ Ite» Ssess^w jfeSS pt/f » isirfesi en As          Pswdjt           «)ii<t
                                                                                 Wifer ■fc Xssiaf ttirfJ Cat fsJask fe j«y to iWi!. * msm (»(« *«        far f                fct ^
                                                                                 Si^     JJtwarf (laiWBwaets^mJ eiW tsmt?                          <!w i»m y»t% wsrte&eait^ Immrnm m k
                                                                                                                                                                              If®* #                                          t
                                                                                 {wwm#» fe Bt^ !!»f               ijBSMsias tstfarai % teCl? tBliJffi 1&3i»t % isaS^ii} bSwi®# t@st«a««
         W-                                                                      ptoAmth »f wy*or ®»y »«!!« iS^sSfc by Bs^wts la tes^ir »a i«t ©rtbst pipM                                               Mostfsisr
          W-                                 '                                   li^wns* jsmisfs^ ri>                       »i(is 4* jaasatras t>i Stea^sa W. 'Dsa® ibiotk w <parf
        . m                                                                      jtra».j « mf>mm «|«                      *«*» <Wsg          ‘wr» ijf ^ ifitz, tiite «!^                          !2s« c»n«aai&
         li                                                                      AssxS&st !>a*», Pisbs, *hJ Aw.'vwcrt;*, C                     fw «sbhss«J Ity »»*», s*k! iittk <ip|4, fe ^
                                                                                               bs sa-Msaea^^ 3iJtrs                             ^afajaly fec^ak ^    all sallies cf       ta
          I                                                                      ^ paB Vste ife» IstsSTise. asfo»«.» j»                     l.yn*r 4b                       &»»• lossa* wit* twte -ts^ws
         'M                                          I                           iossway*                     l>% a*, fiuo& asr                        i iSJ &»!»»«' £lo». Imhs (K^ vKtJw flc’rrewa'j
                                                                 k
                                                                                 <«'i^to»ip^'tote3*rf»sl«r«*iS'./»a!!Esaajfty&Ba*g^t«js Any wsfb wj-iwrtrsy sytjt *«■
                                         *                                                                                      g^{CT«( ste^^yrffswtfjr, Mibw-sa^KjieHtia^Cte iJwjswTaijis,
         :l
                                                                                jJw fe aay fe$ww JSts® &r wbids f^sians# rbJtfe N», barn ^sEtsI ’ej JUafe «4 II W4n tPffim-
                                                                                 slisU fytihh m I    «a:^ itaiAsKtej mj^ jujswt tuAfe jskS jsw                   ssf        '
         fik:'
         '•I                                                                                       £o «ik; j#»l) i>?p»s!tt«i 89 8>»i!}ife! !S!5K^ ifcft   fmp^ 6e feuw# <9                                                                    I •
         'i                                              I
                                                                                 a asi In $Ki63 9. tt Bofew^ isab>^»isic{>> ac-« Issbsj^scfe. psm^ is *                                                       #*         f
                                                             I
                                                                                 ffiEiosar £5* ® & asKtai              «!>&»» Ifc^ te^r^e^wfe* »te               %:
                                                                                                                                                                                                                         !
         ;is=^                                                                   strf     Mrf   laM
                                                                               ' EESKtsm. l.«l>*!rsB5y
                                                                                                       !«,8»aA(af !&;; to Im           &sta ® » «»»ta J4B&»’«» ai*
                                                                                                                                                               -
                                                                                                                                              0* *8 liwwf Hbb iS w iw te # asSM #« k
               h                                                                 K£M.»ai' wo fcScs 2f *4                       wrft tfw^JSsii, Swaw S&S3 jey s» l,©i^                                 fua* »4 A                   I
                                                                                 l^s             gfist                     isjfite'
           m
         '<§
                                                                                                 js ^ ttej lalteasafcfll ftji* fe *a snasal:^ «jrTi*!S; ssssw teiAsr tw sk%
                                                                                fw F®w it                   ISS'4.«2!«i8^»M !^>-'»fswi& s»%o»»»»stwa etePTua
               n
                       1
                                                                                     OK&r Rfc.9tw,' UwJb « ««nirt lit laww i»f Fewb    «& «>* liwt* af eswoit izsi ad                                                «
         11                                                                                           of ci?se*^ss»5s aT                               vf«n5 w wb«m!« to (sstsifep: wis ^t^^kakst                                                   4

               W
                                                                                       Tte Pct* jiaa. to tea « «a MiaSR *iC-«* ApcCal nft jjsweJ to a {^«3 ai»5s».
                                                                                awwtMaiV.»it^S^fnstoSajsiisifct.,                                  (s«feafe£.S»-«to« toy»4*«w Bwwi@-fc
        ' ml:                       i,
         m                 ’ »

         ii                                                                                           taxMs, #}                       fe. tosasw rstajt^ wtle® Leato                      &»jc»a- tnteoat sS*
                                                                                HW»»Ap^iGW* itetJt           »B*tto*s*dN #«3ss?js. Uftt^aj^iwisMS & maSe fc w»hwtg
         m-
                                                                                ar     Law         rmm » to paa** «>» Pw*. l.»i» *r w to rt.?i»i»tf te 5:9 Itew^j-                                                   *
                                                                                W oste-est cf eawf^j. «i 8to Tisk mtea^ «|                                        jaa           So wrl*g, teawe-, m«                          t
             ii> ■

                           1


    ■ I                                                                                                   I
        "i' i
               §
              i'                                                                         «


                                                     I


                                                                 k
                                         »



                                                                                                                                                             '%                      £



*                                                        I                              ..I .
                                                             I
                                                                                                                                        I
                                                                                                                                                                            I                                            f
                                                                         j
                                                                                                                                               I                                                                         r
                                                                                                                  6




                               I
                                                                                                                      I
                                                                                                                                                                                    ms cfl?¥
                                                                                                                                                   1
                                                                                                                                                                                 oniiFiaTi®    u;i pk£:
               6                                                                                                                                                                 IIAHliy IWil, e;l<iiS'
              1.^ ■

                                        i.
                                                                     .        ' mems^ma§&s2m-                               cmmmmimrsr                                                                 Page 6 af 20
                                                                                                              I
         i                     •'

    1                              w

                                                                                                                                                         t
                                                                                                                                                                                                                                          «


         *         k



                                                                                                 »                                                                      «


                                                                                                  ’       I
                                    I
                                                                                                                                                                                                                                      «
                                                                                                                   i

                                                                                         f
                                                                                                                                 I

        USCA11 i
               Case: 24-13671                                                  Document: 13                                      Date Filed: 12/05/2024
                                                                                                                                                   «•
                                                                                                                                                                                                 Page: 119I of 723                                           f
                                                                              •3
                                    i

                                                                                                                                                                                                                                     r

                                                                                                                                                                                                                A.

                                                                                                                                                                                                                             f


                                    ;02joxa6e£|
        t.’


                                                                                                   «
                                                                                                                                                        I       .
                                                                                                                                                                f
                   !'r43i3 %iAWi mmim                                                                                                                                                                                                           i *     ’

                  'i^Ai u:n Oi
                                                               famj YiMl V
                                    I *

                                                                                                                                                            n
                                                                                                                                                                     4


                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                        ;'




                                                                                                                                                                                                                                            «
                                                                                                                                                       «                                                                             *•




                                        *


                                                                                                              I                                   i




              I

                                                                                                                   j
                                                                                                                                 I
                                                                                         I                                                                                                                           I


                            i   !
                                                                                                                   *4 -gt f*S»S4,.

                                                                                                                                                                             «•                                          I                                   #•
                                                     «ai2MS^                                            s%-«saiai$zasi                        ‘
                                                                              If


                                                                                                                                                                                                                                     »
                                                                                                                                                                                                                «

                                                               !,w?s=!3®           .StfsSv sisiw^Bww X>B3iSK.3 pisiai (?» Siq                                              Aa» ja MKirf                                      t


                                                mirn *<■»» cSsa^s *^Mir j® iftfltesi                                   4w> «®W19 jsWW^ss psm ms&m smixium* »
                                                                      JSI® KM ^                               f          ^                ftJSjWl fW W|@»jUil09 'EEaiMSW '
                                                » ^««5| ^ isasip ss^*s«« « «                                  *sax                                      ^ •« m                      ■»“!«*
                                                «Ea                   ‘i^ja«B«SB* |S=i6!s«ia| !8>11» BBJ* 1#1 !«%<»,                                  *,sM<aa|B
                                                               « rtfW!                 ^               aj                                                                    5^^ •WPi«? ‘ ■                                      r

                                                                                                                                                                                                                                                ^   •
                    i       ■                   «P(               as Jig ^ (<|p4«q jjfiliSKfiff                            ■»»a» »3 aj                          »(          !»|eel«| ffll
                                                                »j*st3u                      4^              psaB^KS^ *« pj^a^ w »«? -afiifisia^
                                                Ji!!» (»»
                                                £123            ^^esa36|'
                                                                                        *s«^           S!f!|}* pi|ssj«!( ijjaq -sqj f^iss^ l^&lfaaja 4s&aa «p
                                                                                                                    a Sf5 diB»t f^sjs j»«ffi(S5 tow«i                             j ■? ,     ,                                                           I
                                                lojfa aujsogtoa. lai swe fsa »                                                       n ^ pj-JsW'la aij-*»4 i'wt (^sarj                                                               , *•

                                                                                                                                 *f;»S: o^i su »<Ss^                           »0jjS »»a
                                                      ^ «i«if ta           gupf^mawQ *arf e «fi«8 j*p !|^».»« sajs }ai/sp m             ija«s
                                                a^Ssj %j»jS(| aws! t ilwiJOfsa   Am jt^mri ■%awi»sq          ^ «a ^jjis^ ujstij^'uaa. i|»i^
                                                a»|«<s? wiS^ «| <|aio^ apjn BsS liat ssejBiJWf j^K»|j}             iiliwg ^
                                                iSrf^M !p« psa ^ m% ■fepMSsI »a tfipswfJ *«« »J!<3» «*1                                                     js fcista^taf »@ skmM
                                                id ji^ijyo ««*5 ^-.isw lati^ Astsw*i   -i» ^ ja                                                                               S3 A
              I                                                 jWtM'S iq K^t4«vi
                                                             ■•»5S!!4J»ur .SJfMiK W *»*                      S*l p®*                                                        ****'****8
                                            ■ X rntim ^ fajjwasa jsaow *3 ii| sf^‘4»i u'-f-                                                             ««»« »ip»® WSS® J®                            f


                                                      %•«««¥ na ^S»J                                                                      ^             Meii «;»»>.'«« jws^
                                                ja tfflHiiW                   T-ssasisif s£i(«»S               rjs                     *?» «                                                                         f


                            »               ■
                                                i?ssi,i4Mk!} m ’»B
                                                       ■ -
                                                                                             “amsw®* 'is« tp « iw
                                                                                               ■                             .
                                                                                                                                                             «>rj                        .
                                                                                                                                                                                                                         I                                   f
                        I                       ftMi feilssazi jrt                                      ff^aMg is<8                  fwtt!*       i»            ai a«»M *^n.
                                                wra, smaxm *»iw 3«jt jj^Riri« Atl sn?» J4«&aig »*Y4sa^ pjajisiij«itmmm 4»»                                                                                                           *
                                                                                                                                                                                                                «
                                                IW is^'jai Vi63H P«» ®             tii mn «twij j«    f « a«»|l IS swills i|jp!»
                                                £1 MKtt »jKa 4S!i» iw iBi«5 *y£i$» ®ii^ iWOito S3 jfcwfs *«i *»• ■i«p»i e» Ctwwa jjsisiiiSi* nfi
                                                « /ad"|^ jssiMiB^ ps!                        % gwoiiiM »! *daijag iCjisM pfs                                               s^as          m
                                                                                                                                                                                                                             f

                                                                  '


    f
                                                « pii^'.t^,#|!m;,!¥«|f:»                                    !g^ 19 >«w» «1 f!4^                                           1! a «tqjj}

                                            *(|tia Sisgasa p«f w                                   rj:«5J}a '■swwa «sirf ipj^s sjasini'                              ss^ » pstd ^ ijes«:

t




                                                                 , ,^:                                                                                                4
                                                                                                                                                            n

                                                 t

                                                                                                                                                       9




                                                                                                                                                                                                   •■ ■•‘. ii




                                                                                                               I                                  i
                                                                                                                                                            t

                                        USCA11 Case: 24-13671                                              Document: 13                            Date Filed: 12/05/2024
                                                                                                                                                                   i
                                                                                                                                                                                                          Page: 120 of 723

                                                                                                                                                                                                                                             a

                                                                                              I


                                               I

                                                                                                                                                                                          if*#




'                 i                                t
                                                                                            ibir««t» imtt.m mmiB «>* ei t» ws-tr^®                                             3.«te        <*» tew*
                                                       I                  '■
                                                                                piS«W^
                                                                                                                           wbI 3OTe’A'«'s,*»w*f:, ImM! h trds                     oltew » par«te? W’              f
                                                                                                                                                                                                                  !
                                                                j              . «jsraJsstfcCTiw,                                      fcijE^Wfogrt^, tr A5 0iMiBr»afttetej[«!t|v,                      fW.
                                                                             lasrf «f faisiiajf 04 ttsfc^, fxvWc gwffir tft S«t»          ?fcaci •» jssuwsa!? w «®si BsnswK
                                                                         ^ , KWtfWa^s ■&!* !&• £»»; sf ?*!» k'K.'WW              » eStasirf        tipefbamfy mtm4 fbt PW ®f                                                I
                                                                             }wws*te»f)»«Ti?^i:ri|w»                         rae«f»*d>6«!4«i^t««fsr«*r *»              S^i
                                                                                                             2*r    Ptt                   ^ I^Jl                                  msfiriuja?’ sJmfl Isslsars^
                                                                                IS Cs S'k{*S' ^asi ffftSi ;l(® SM <tf                      amlaheS fc                    »»& iuSi iliteaj,. «#»» Msnr
                                                                                i(B9^JS<fc»!S»w«®swSM^^Ss«l»^i                              , . ii^ v‘ iv-V“Fi ■'• .•-                       ^             ,•
                                                                                       ^mirnaim p.'i.ftr jispi^ifS f*j> tjKito KSii iwwasiff wr^ j»Rr«t »i>s®
                                                                                 ii0x mt'&itfpmie sssS fxii^m, Adi tairff’® ssaJirf mjRjws eiwiw »ni Mt fnom i«*l8’ u
                                                                               ' ftmigf^mdsifmmsisexxslIbbifs^tiL LiMsrsSaBliSi.'* fc        tslwMfeiifei** «f»# WMse#
                                                                                aaitett. a                                  ar i!8|I piemdj ijw » Lttte ifl i«^5 cT psM {««»(«» std
                               t,                                               ienmtsi mic^a $f                 ’ sfckKoj fera e^*s!wKSR!€W'9Et>
                      (
                           »
                                                                                /s^                   ^ ikstric^isM cS 4*x ?ipo%, aril :»6k> sW 5w4& s !tt»s5«#                 ^
                                                                                       k£3a8».tJ?:l'fcs6i 6t(ir&i» Ail                                                           Wife'
    I                                                                           auy tai&a
                                                                           - ,« wi»e» w *««»««»
                                                                                                                    bm mM pxs^l^ifSmmre. tMoslffliraxi to»»«r«iisBwijrj«gfli»
                                                                                                                                  «s«s®f'■r w Tfe ««^in fea«fiKs'«ttfs* fey                            *15            f
                                                                                                                                                                                                                                                 <


              «       k
                                                                                                               , <» sosJjr aftte J’a^sr^, fffts jss:a«i. ?>r rosff S                                     rai
                                           A
                                                                                I esiBfj      » jM Jssseei IMaj iwrit      *>3 f(sr.O^ ^ra4             &»s tt» ngfe to
                                                                               .!»« mm tesrs!* pesri’. auS tcsj® Itsj faj « sg^aaasay » tejiw ssfi fts^f » mszt ifac
                                                                                         !a*E         ^ tsaaB** tasf&ws^ pref|« ite smk toi^ta' *a l« wJwAiir
                                                                                yitOTf, i«ua’ «s»}f      pK«M« fe             «»S W3»«l8s» o * iiii^ Mf«»t .rr « a!»{«
                                                                                                                                                                                                                                             s

                                                                                                                   Wte»»^fO!»!»s!asferfeKwStfc){€J'*i^K3fc&ta»
                                                                                *?(»»( rtwj ® te p« » rarfi i»B»a pwA   Sjtoitf *« w fc Hi,|sfe9# » ^ Biazmm m
                                               «
                                                                                            « eraajs » »« snsosJSi. F*a* fe fj^S#                                        'w «*(» i!%v->i ^urtra «afa«s si
                                                                               BttnSMO sasS a*s Ja ^*'3 mstfslr’ mswmtm F!»W» «a *toS far fij® <*& afS^s^jra* rf       ti
                                                           4
                                                                               fc jwf«akw ■* fispssr & ewjtKSad^ fesiik             owrflSy fnoM l«-tas»iaE, 'to iosjUK*;
                                                                               ^wsK«is ^1                         w,gi«m8ffir)r«iwl5rs^ S«wia?rtoJwsmaft, »ij&o'cr«*S!i
                                                                               to swtx irsay,                  te Basmw. Sto.i»m»|W!««s»iWf                 wtosfia- jsawto! fe- la
                                                   I                                  ,Ef                           *lia                iwto                                        wsy @»rfWte Jrttwstw
                                                       (
                                                                    •■
                                                                               cbfes3gi»are^rimsasx.'3fftrptw 8^Bat*«!fta»As(!ijia3!ai4^!a»o«siK5iwtoi&rfctE&£
                                                                               |i«a3BP«»«»rto8#6«to»!t*a^w,<«aiA«'iwj'«gBi?«Wajt(:Sfa#«-#ii«-» T1sf5n4»y                                                          f
                                                                               peresat wNl             US'S*® »» wi* * #w, fe mlawtesK «r rf i«Sto ssspaw                                            -wsiw        !
                                                                               St*?*. ^ ^                                                 !«»%»> fe Lasfe Ca( jtere<«^> ifeJss Kf'w toMiSw
                                                                               l^scsaaik w ctowa asists'ii&S!^ ilsriu8J8asitnfl:p3SI<«Ifiir«teKfl.'a « sis-SBiaiij- J<«ii»ea£, »a
                                                                         , fls) Wjf aa«f                                                Sli<« to-aifk » «#                     -wWisssI fstmaiM piil. V                     I
                                                                               &f»3Er) »*«» jH c»jmK« jriwaf iwreaai to Srspat^, toafeoads f^feAsmuiKsSsaKir as-fe
                                                                                            cafte*.                            «jj^' ete to fitawee giy         akfee tsa mv 9^ je®«» a« fts^KT/ cf
                                                                               6^F^i!3TWiBtii                       to Jto( ef iSfe Stew% laSnmi stotor «r aci itojte.                                                ■i.


                                                                                                                                                                                           3£#e?33iC          •
                                                                                                                                                                                           r«»r»K»    1«



                               I.
                                                                                                                     I
                      .,   •                                                                                                                                                                              »


                                                                                                       »
                                                                                                                k


    1                                                                                                                                                       \                                                         I
              •       V,




                                                                                                           ’        I
                                                                                              I


                                               «

                                                           k
                                    4



                                                                                                                                                                           ^ii   icAims mi^Tr’
                                                                                             .»
                                                                                                                                                                            BARVK¥         cuj:;
                                                   I
                                                                                                                                                                           i                                      f             ;'
                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                         ■



                                                               ■ , BMsk23S23>Page323a                                              OF?«200*7iS7@7
        ■•:
                                                                                                                                                                                                                            I

                                                                                                                           r
                                                                                                                                                       t


                                                                                                                                                                                                              I




                               #.
                                        m


              IM Si
                                        USCA11
                                            I  Case: 24-13671
                                                           .1                                          Document: 13                                  Date Filed: 12/05/2024                                                                             Page: 121 of 723
          I
          ■                            Um
                                                                        •■5

              *
              »
                                       »                                                                                                  I
                                                                                                                                                                                                        1                                                               f
                                        f   ..
                                                                 j
                                                                                                                                                         f                                                                                                               )
                                                                                                                       «

                       m
                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                       :



                                                                                                                           I
                               m                                                                                                                                 I

                                                                                                                                                                                                                                                                    «
                                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                                                                    4




                                                                        re^d**                     M              fefe tb' ososw s# lljlii                                                                  ^ ^1                      ^                ?k
                               I.
                       »                                                                              ^                                          m b tT.imM^f                                                          0* m4m fe«tei£M

                                                                                   ,                            ,   »«! feutn^m rf lHw ftKfsotjT                 fco«^» 4WI a^s
I                                                                       ■SSISR^,
                                                                        fjapwrj. Wijrfte «
                                                                                                      w b^wr «t« P/sjwiy. .jCfew sfe* p»jKr^> «a ij«»i»ae ®r JteaiswS -wasB {wi «k
                                                                                                                   iBiT^n»?r a wans r "Wt ^^litj^s", Brntmat tlair rnwurf-* er a>3*5{K!ra}> iP:                                                                                                 a


          «
                                                                     ■' w& to psja^sj «te Pi’c^eiry ftws 4K«j««fnj @ &amif^ ta vto to la te. Eisiiii&'s.                                                                                              u a;
                                                                        ^tm>M psawBia »• Stam $ far reps^ «jwfflrakiT. fe j»S twwfcd^                                                                                             fcscw 1^':
                                                                       j«i^l>i r*5^r ssdpr^^-if       w swtW fcth® toriasaw « fer^sc. W faajjmK «
                                                                     .             {R«^        is iWNM^i isia iSswijas w, W u» tsfe'ff cC w sfew^ww-
                                                                       iJssSI tie                        «lowfcg s!fe            «Sj> if lassitr Sa ttisiKxI          fisr ^SiEi^
                                                                     " pwifwjrsi. ts®«&r Stty fciwss         ft ll» «si»a«S ssaf ?«»«>» W a®          psymsRl ar m a i®»e$ ssf                                                                                                              I

                                                                       jTi:^w g%ww »             wscfe A wapls^i If ®« Wsam? « wwlffwiKr. pt yrnii m mo fcS'stw:
                                                 I                                                    saa                      Bsamm s ns oSSwesS ®f©5sw»«E(r’s «^S@{*e^ fer th®                                                                       -Bf
                                                                       sa4t«|sdr>,*
                                   4
                                                             «                                                    nsay *«l« ?ji!ww6(B Bajsasr «{w aw !s»p«rjs» ef sSas ftsftfw. if« tiw
                                                                       reMssfAl-^ «»Eii!’.                        ass^ !»*})»* S« feassfcf ar Use ia’ejfmMm » 6± Ftafery, Lasto s*Ma gH r
                                                                       torwMtf          «ite                        vfa wsr i»mii» fe; ttte iVKnina sjssi^iKs        i<aa»fe cks»
                                                                               R                       ieai >ii|Sji.lioE^ @w«vsr fas l« #» Citit* 4:         l*» »p#>5«iw
                                                     I                                                w »<>. rsETOffli: Kaiit»iteirg* ft*4>2«ai» ^?li#rww.ef s* BskbsW^                                                                                                  ^
                                                                                                «®5«rfg!tT>rz^riiSr ffcX js'jtoitep. er infemrfcfcwaiwarMawa »                                                                                                          ‘ ff
                                                         «             'isr Wed » fs-axlifc Uwto v4*                                          s«S»!«taJ fc 5C»wte» wa C<k t^Ks                                                                                           •
                                                                       TOW!«Jto» iraEWt. to ^ 8« Huyiai », rrpjeijbEasis.^# mmssms Ste»«s>’s- msmois »f » '                                                                                                              !
                                                                 J




    !.•
                                                                                                                                                                                                                                                                                   I
                                                                       tt « smi p»!««irg e® «;i^_«!|sifep!5jy sfe- Lsr^s te »ds m tii® Prt^e?« ajtfjsrTiEto Sasda                                                                                               '
                                                                       0>sm»!^ b^svmm itv* wa-jrswte^ jafcjaJftwy, prtstd. ft e»wJw!«tto« »>*few. ft?
                                                                                               a# * i«.waa «sjr/ sasin                                               «ii»                               Iwtosmal        i® ®nis«» B»s «
                                                                       fi|«^&a?)i                                                                          tiift ■(»» da wi EW- Vsr wfeesw*: iii                                                                    «
                                                                       mxsA « jpgre^tte » fi»<«                                               «sjt» » sf*?             r^t *Kte- a& S«uir^
                                                                      imtmmSf                             :p»srg»!® jjri>iir iswnsR&s vsise cS                                               KWerfy. ®d sessaijig
                                                                      fct ?^fi»iy. Jbo&asKfe* san bdefe, Isa w lol iwirf »' f«iwk* » »»3
                                                                      ■SvJfcft te istefiy cw iW*. Saoirfw                                        CS?| )pfemr$ m am; as!                                                  ps^ites lameiife-
                                                                              m^' &» *» ^wsssa fts !»*!«* 3te p»oi«Kt»- Saisiai   tsift ifefc* ^sessi^      iatoS!^
                                                                      I»*          pemtkK la »            pfsassEns ’ SiwiRfe* fc           fcsii4a h£ km Iiwissd 'fe
                                                                      paf»l« 6»r                          !» «&f ttpAi, «t«®»                                                 «* l«S                            asS ^isgiTO «»»is-W
                                                                                                                       tM biSk «« yic;«as «r a»t»»«w^;w!i, ?Krf to*« aliSfe »i.sw!j
                                                                     •mM irit:AX»^U!s6tipnf                                                                                                             *»»»»&»«! Kfdnsssidiscs
i                                                                                                                                 r',»:i^K®^fciljtafariwowwi{Mjiy
                                                                                                                                         "'     ■■   ‘       ■       ■'   ■
                                                                                                                                                                              t   “•       ••'■■    ■                  ■■-   ■'   -   '   ■   ■
                                                                                                                                                                                                                                                      aff
                                                                                                                                                                                                                                                                               I
              ■E




                                                                                                       »                                                                                           WS1»-
                                                                      15^4^^ 5WS* '                                j
                                                                                       0   .


                                                 «


                                                             4
                                   4



                                                                                                                                                                                                                 ft.
                   I                                                                                                                                                              I-

                                                     I                             .1

                                                         «
                                                                                                                                          I
                                                                                                                                                                                                        a                                                                f
                       !                                                                                                                                 f ■                                                                                                             !
                                                                                                                       «


                                                                                                                                                                                                                                                                                   I
                           I
                                                                                                                           I
                                                                                                                                                                 I                                          4   ?£i;? eT#y                        .
                                                                                                                                                                                                            PiriFUITW^ as fJ.WT fiim.
                                                                                                                                                                                                                                                                                                    4

                                                                                                                                                                                                            imirm mwu:. i.Lm.
                                                                                                                                                                                                                                                                                       V,




              1
                       »
                               «,
                                                             . ■ .B0Ok2362a^age32iS                                              CFMi2O0S^S3707                                                                                   Bai^fafSO
                                                                                                              k
                                                                                                  9


I                                                                                                                                                                             \
                                                                                                                                                                                                                                                                    M.

                                                                                                                                                                                                                                                                               t
          «    V


                                                                                                       »                                                                                      9


                                                                                                          '        I
                                                                                                                                                                                                                                                                                            9
                                                                                       I
                m                                                                                                                                                                                                       *
            ■
                                          *
                §
                                      USCA11 Case: 24-13671
                                     mm                                                 Document: 13                                         Date Filed: 12/05/2024                                               Page: 122 of 723
                ’m                                                  ■'x
        .
                                                                                                                                                                                       «


                '■i                  W'
                                                                                                        a
                                 m                                                                                                                                                                            a



            1                                                                                 k



    J           Mil
                    i


                                 w                                                                                                                      t
                                                                                                                                                                                               #■■•
                                                                                                                                                                                                                                 '   t
                Mi
                 h
            “




                if                                                                      I                                                                           *

                                                                                        '           I                                                                     .,'^l^-Eii.RE.pg.li
                                                                            Ary tss&j^ 44AJ «! ti; L«triw itffuff lifts. $a»m 9                                                                   iMi «f S.ttffsi*'
                                                                      gssjR^ % «&                   imf^tsmx. T&s®                                          feto-             S &«‘fesa «3 §« &*■ mt tf                                        I


            I
                                                                      aaejMs^ .s(ai;sMr,N'pi«,:'s?jm‘sl{*;iite^4; ^                                                             !;«&, ks feftii*® .wj^tns
                                              a
                                                                                        ^ J8»lw-« hoa& fcrj^^4 icw4t« ste                                                        t..5s!t *» a*                    tv
                I                                                    Sir                                    t wa4’’                                    fwefe* mt St »v li& Jtel • jw                         r<»«S
                i                                                    *                      r»mi»«>st, S^*trite 5CK.t*d f/«.«(5rit tiauiss® st»sja&fiitm tfnakis tns Lcm.

                                                  I                  vtm*%.}» ptvhiti JBjfi kB^BM otsi Sgst/»-«                                       mjtijJiii! Ifr mAf •BJfSraa'y
                                                                     Ifwtsd & ixeniiSM                                    tea.aos:*, feiswut fiiB psy tcc ifeasusaui. sctijiSiSl o cthxi’i
            i                                         i
                                                                         _ ,      -&«Si",r!3ll)          » ste fttirtpy tAScm*®
                                                                     s^£*stes ?a £!•« «st» avistijrrT tf »*»
                                                                                                                                           is «€m, at a «« tetoaraSlj
                                                                                                                           Jjwtst? (tK»-5o^> w sPsc, fem #?> Aitti*
                                                                                                                                                                                                                             t
                                                                                 Jftsew!           by UsJifc, if rf*iK»ly <s|wiak5* M«,sije ^matstat tmm&z si m,                                                             }
                                                              j
                                                                     awtsWitJir, Beirasnc!      Bs^wr ss ysy IB ixafsr & xasm ®f el® )Kpa«5y iss^^isal p^-mas tS::
                                                                     wrat (d* (iwsu ?3s> ipwtwi wasjs osasaS fc fe* sis tijctsi tasSs-wll sscea.         ’ ■"" ' ' '■' '''
                I                                                    pj'sto-tt fe" a ttat'JicfcsitfaA £< 1 TTarvt .a tsf of 'i{»»|sgj' fmtWKf SsA fa:                   fc
                I                                                    K?Ewftts4*^. f>ss«>»fcSs:a3B3 tV fetdfflilB icssi a rfiljiss^ p<£kE« &3t irsd tse^O" •siaJS <•« b» '
                                                                                                                                                                                           rw i»tf
                i
                                                                      I«KJV« pi^-jas-j, ir^tsfejp^ {r>S!KK5B« «s!jiitrrsj| |»,-t ift *»»!«•««£ te ^ ^&d ifca Eiitte nsftusiss.
                m
                m.
                                                                      prttxti 6« « !»?..?;<!*■         pf ‘xisfe ^3 kwfOT »»•*&. Bf stejsirf, uti laia- t&jd»                                                            «
                                                                      se?is«;!fi#%t)i^|®!irx?&teics-5SwpTO'vT»'S»Mai’l|«p ta««5t if Imte
            .1
                                                                    • tesjraisf « » msisfa of eiklstg (l>« Cw »>a toeswlsssf'itt^ttd »unite t^sRfeJy iffiSFcad-
                                                                     r#y»w^ t^«»9 ttd                               fe.                feamei^ Oetes»is’.&!£.• B» ife wssfixej smimi »
            I                                                        T**’"*^                      ,0 ^sKi, c? V pw» i EiKHTrjafefcte >»!.$ K»ssB.
                I'
                                                                                  fi-r hmg^!''}«»«««sst*-tn              w^DsasanssaK       tes-tsiamlf
                                                                                                                                                    Batfsaif
            :i           •
                             a

                                                                    S !ISI                                                ^                             II                                 i                  It
                                                                    ;?»y. ■■.mM-%m»mi^dm asr xrpi} »/« Ltvi « t^Er^sj iteKmc- *s EB£ i jmr^ f ^ tjK iiiljjp.
    I       J


                                                                    ^ *s
                                                                                    ss&sot iipssfas ibitf                     fs$i, cn Eti selJi.’ijteEiw -a &a &cm tfa p ftm Std sm
                                                                                                                    mWM sS»!««MJ»|!f.{»';iSt. iTr«Jwt&yA, ?fa:,^sasfa                                                                «
            m-^
                f                                                   TO er- owtos tsRi e.«ssjtr«fts as:« «;»Ss»y ».®s!afa|,<g< iTSft? «?■«! fw!t» asfw fytMKni k*
                ¥                                                           gsatt*®, l^iLgyfcrtttapgsi«y";Mft«jrx/^jr|;>gs^»smAgW
                                                                    W..
        • 'I
                                                                                                  •'Ji'':; ; 'i: ;-x|'X |-•■e;’•J:•■'-|■•^''^>■"■'i. ' -P'Vp '            / ^
                                                                        A%».'%i} ..-J *»r>^ jgirrwyw’., I <!«te,  paiOma of Sa S-rtr^       fewr.  fasww.
                                                                       4’te’«igin « wy alSissa nfa^tsi'&s fei^*          rw^itsi (ftotSy »tuSnSW sssam fa                                                                                      a

                                                                    *tiw fe» (fr urisJa fcf ifasitsffa kj * |»*»f«t gkwiwA^n s {sigie^sb   Ifas® tewia. ir
                                              i
                                                                    5«dai«t fer fafas, «jj&S^>3j. lii* ffmm^ Sflww'i. sWt ee mSteng teas. # mb tpmie::
                                                                    p-mrta us m jfBfet# cf UnAr ala a sfe« »f Ste jtsss'j 14S. In tii^*s» *e is Satf^ ?«
                                                                    |«o!»s»ms Taiti to fe snnaw, te sraj^wfafe &Sa wssrt ’sserl** icssswarat. 'JiBS&r
                                                                        , fi“l     swb »srmwai% *0 ail «0<»i: a*            1^ S«rw«r fa s^rfa 5s jk? fcr
                                                                    SSortpig* fcsOTMt, «!• an#’ *Atf lkw» ttf Cbt imih Sm^             wtti as* fawfa® msstsol
                                                                    Stetfapr SKjSf OMie for fertpsip teitrani^ sM                                        aSI ##£                 ’R^trrtmtp 10 *ay r^fost#.”
i                                                 I                          .h
                                                                                                                                                                                               :i5qS2?3Mi:
                                                      1                                                                                                                 ‘'ff'l-Aswi            ■ffa! i@a: ti»t               f
                                                                                                                                              r                                                                              !
                                                                                                            «


                                                                                                                                                                                                                                           I

                                                                                                                r
                                                                                                                                                  I

                                                                                                                                                                                                                         «
                                                                                                                                                                                                                                                   *




                             a.
                                                                                                        I
                    1
                                                                                                                                                                                                              a

                                                                                              b
                                                                                    P


    i                        9


                                                                                                                                                        t ;■                                                                         t
            «        k                                                                                                                                                        A- imi ain
                                                                                        I                                                                           «
                                                                                                                                                                                                                   Lfi-”'Piifii'
                                                                                                                                                                                                                                     ;/■

                                                                                        '           1                                                                         »iir/Ey                                  c^1
                                                                                                                                                                                                                                               a




                                              <                   Bopk238i3#^e3240, CrMK0ff50793767^                                                                                                  Pagf;10of2&
                                                          «


                                                                                                                                                                                   *



                                                  I                          .»

                                                      I
                                                                                                                                   1
                                                                                                                                                                          1                                                  f
                                                                                                                                              f                                                                              !
                                                                                                            4
                                                                                                                                                                                                                  <
                                                                                                                                           t                                                             I'


                                      USCA11 Case: 24-13671                                   »
                                                                                              Document: 13                           Date Filed: 12/05/2024                          Page: 123 of 723
                                                                                                i.-.       ■




                                                                                    1




                                                      4


                                                                                                                                                                6



                                              I                                    .1

                                                  t
                                                                                                                                                                    -Exb.llllpg.il #
                                                                                                                     HstfflWfiw rwstelfca AS! «f m or soy sfiw tor. ««* risbfc^                      f
                                                                       '.                                      tat'.ry^ tCTtate piS««r«, i»              au *ti6ifa <,o«a»«eij ♦ftbr
                                                                        '                              ^ ^tit ftlHTOSir Imtseo! JenBteKkS aiaiMisfeiUj. jM^r m mow *
                                                                  ‘     ' SSnsS^ worASiS* lasaeanor pawlsro mt «ies» wcetmoi »r ti* sOsV ef osofi «worfa£S«» a
                                                                                                                                                                                me hsad^
                                                                                  a jfe                 ifhss^ii, swi KJsMSiaseia PjcusaSs i&jti i® .pjiS&a.
                                                                            %»s           »f.tt«f                               icajssssnucsS^ iemif'^ mA tsms's Jsssuy b- im imm^^              •
                                                                            Cla^%gS^l^l^rj^g8^15^.5Jfj|5f| imi34                    ^lfe*sl^»s%|a«ls^SBds^ii5£m2S2£ai5i^it^^                                          4

                                                                                  tmhf                                                          tsemisrit il»       im                   Csi^
                                                                                   ^                                                 :^ll hs            pm^y. tdgufef                    iJ^
                                                                                M           m4        ^i:^?i;s5sneDl s% h.z s&Ses pkp-^ pg^ofio^                                             ^
                                                                            €sm^e^ tMm 5^ i^msripJ b maie wiiig ijr Apf^ic^ U^ fe^€$ «^ta^ ^            ^
                                                                                                   sMl REl 1^ f«j^s2sed EE?   S^.8VRar i^y imzs^ m mni^ &n
                                                                            be                                  j&aStf Bb                 ss iJ^e-           lllj SpKsi^
                                                                                                5^1^ 53^2 «2S12^ arj2S^,               $S 9^t@*«tr. Sa^l^t2«^RC825^?OT^3^&i:
                                                                            W^m ^mmkat
                                                                       \                            f              ^Ur^ famsiss;, « fiaakla ie^«2 ^ihs                   ^ ?«tkcllsis0<©                          Q


              l>                                                            asresas,                                       •'
                                                                                                                                       Vilify insrzse^^f^^&isf 4^



                                                                                                                                                                                                              «




                                          «                                                                                                                                         IN'

                                                      4
                                 >
                                                                                             J»fei-'5JK |j»«f«% ismom,» te# «,«tsa « te ika'Sw
                                                                       TO»t **?,*«^ *^«4 t(B»*»s^    k£Sw sk! J3.aWjg5,'tfatocfefk « tessct yzka; &&
                                                                                                                          wassfe a® (rtWSiswm Froisais. A                          S
                                              I
                                                                       W®!awy»%««>f»iarBww«9«esfef w&tiorBwifsjwsa**,                                                    ■/
                                                                                   k aSissfea*^ iy Bsottasev « S’.' aiW ooi'w % Lai<fcf.ai.Sa»«w«r iMt tS®
                                                              .                                                      !!S«»i!«(»!»S£®rsM*jtoaa>'it»adt3!Sg8*:BC5iEsfef *«tea,
              I
              i:
                                                  I
                                                                       Bw®W&»$-»W(SfiBjSiitEai^«»fc»®ife'sa6a3h<S'<J8Wife« odteis Eivta. tmJts a; aj2ter«»i
                                                                       K! ta^a *»j »5t^y {Ije »iKifl.a«(Kia Itesssafi# eiftsjtw ssrfaqfisots'/caifiofteSBKSjssrw tcr «»as
                                                                                                                                                                                                     f
                                                                                                                                                                                                     1
                                                          4            sBJffiKiiittiKSliy tl^Kwari^iaSfszDfo;^ -siteSst wiDSitfeesf&s.’OjisCTiESl'zrry* SBsmfesihirfpsrt^
                                                                       fiW«w SiEnrwrktMiaii»Pf{M!sMs.w !l!op*w«ss«w»laMs^?^wfia;attoBfsifilOfi}!>
                                                                       «sasiwSSa,’B!te!SKsPi«as&, .
        >.1                                                       '       to«»«*rtlfe®tnjfefe(*f iFw^*«ffloo'ffoa!«u!i(^%5<!£aer*»a^(®ft7artj!. fstsrKjffldai i'l
                                                                      1 tmfersit^axiM, »aa« irwS to bMme tda# Fjrsjd^of sfasr mtssiiA 5o^®naei of t«kF»i
                                                                        s^!jw«sfc?kiaj!srtjr    safe         !w*is«Kai. &r«wKcwClass**a(SsfciilraJi If
                                                                      Mtettw to wuerf, m«ifeK pie^Mri iaJSWtoa », »r*»r!%’fe'i*afe«!iiKsak!!ata W
                                                                      ®m^«»#K&ga*t«t«3*8'»|sK^»Wt,^s»fkil^g»&a3BSr8KiPr<ga%e»0!Wt»»S5t«i.                                                        *       \
                                                                      1g^»|»«:wf Uofc-r                              SooK^-feSRaM*!.-                                                                                 4




                   -i
                        »                                                                                      I
                                                                                                                                                                                     «

              5                                                                                        k
              I" '
    J                                                                                                                                      t;

                                                                                               »
                                                                                                t




                                                                                                                                                                                                              0

                                                                                    Q




                                                      k
                                 fi


                                                                                                                                                        A T^II
                                                                                                                                                        oiHTiriCAfiffi Dll' imi mm
i                                             t
                                                  I
                                                                                   .t'
                                                                                                                                                        flAIIVHI gfJ¥IN. CUifli
                                                                                                                                I
                                                                                                                                                                                                     t

                             I
                                                              BoQmmiPMgmm                                              cFMmm7m76i                                             fp4:tl:>ef2C!

                                                                                                                                                                                                 «
                                                                                                                                                                                         I




                                                                                                                                                                *

                            I,
                                                                                                               I
                   I
            *

i               m                                         I                              .1
                m                       USCA11 Case: 24-13671
                                        w                                                           Document: 13                                         Date Filed: 12/05/2024                                                     Page: 124 of 723
                                        m3. I   W             I
                                                                                                                                                 I
                                                                                                                                                                                               i                                                f
                            i

                                        f
                                        ’jp-
                                                                                                                      «           <"■
                                                                                                                                                         r                                                                                      !
                                        t
                                                                                                                                                                                                                                                            I

                                                                                                                          f
                                                                                                                                                             I

                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                                 4




                                                                                               jJjSb fe diasigw                         «#4ts!?>re?!»1|-fci jto rBjsay>iwiW.8i^!*.fe^^ MlSsJ^&sk
        *                                                                       mm   bmy                              te [»s!                                                           '■ '                                        ' •'
                            »



                                                                                                                                                                                  M£| IS mailer.                     ^        lisor r^ir

    i                                                                           m^
                                                                                               er
                                                                                                    m
                                                                                                                          la l^res^ ai
                                                                                                                                            \js^' Ml
                                                                                                                                                                                               t& sdaaa il«c             ^ mrimm
                                                                                                                                                                                                                                                                             «


            •I >                                                                     %ts^r^ m %Timm •s^r                                  m. ^               w -estsisl iii3^ ^                                ^
                                                                          •                                 see-^«3J ^ iB|?                                                                  ^         t?5?^3r ^ m
                                                                                          <m imy                m 14*f;«p ftf                                                              ^ Irjsn^ U ac?d5% si^                    P.

                                                                                &ia!ai« »s Jr^ateJ Of Bs^wsr«is awas fe» tfci !!i» iraaaa ttjw jlas, '^aO ixr fer s wmm- {.f c t
                                                                                p«i«& ite war« tf wg.             cr r<w«%i
                                                                                       IS.       *8if SBHtrd yi|>i!S:j,' ea.-i^w»; jso-esptw *sJ   ^mA gruasssr asimx^                                                                                                   $


                                                                               #*2«s«wtef @*tii*wr's?!.«|p»in?»t»rf w!?7 te83«Ja&«                ij®tt<w,       te3«!f 'j.Ss
                                                     «                         isa.5is}w» Bstt $!»»!% twnawas Mi 4>k set sseexi c< JS« {i, ”«s9.%e^J, |4 ^                 te>                                                                          1
                                                                               fiseasiij' tettrj!^ t»lsi s® raefg« gscrJ w4 .®wr* ^«®>*8nB”J, <»«*? &I ft»                                                                   atKisa fc
                                                                  4            Ktfca-^ tiS Stoitji JwijsCTwS; ft> w m» iwswEl)' cidfpi*^*: r;;g<' #4 st-m *«»< fef te
                                                                               lawiWisK; w* Cell iW«'.*» *>'S usj&r i»i ss-^ BS&sr Bwieoksb’ va sgje? «> «j«a4      Siafssr ce
                                                                                                                    «5tfe                it» *Si» te«rt sf Stef as®M% tusswes# «i th* Mctt« wgwftf Wsi
                                                                               »«&»'■> esimwf.                  :                                    ,                                                 »
i                                                         I                    «                        j»B«2ia '«/.Sj«.*s5 I?:,, s;^ Saesew « r;*;o4 «f »»»»« wte «KiM<i
                                                                                                            *« tefc                                  Sw^ »i^(t.                                       smm te f4«»!ssd ft«m                      ^
            li. •       '
                        I                                             j        ESjSS’-^isKjjigsa'"’”                                                                                                ‘«««»«p~.-« 1.                              )
            4'-
                                                                                                                                                                                                                                                            I

                                                                               te fe&sjKwa^riM fesp:fen«®«t^{&fciusiw};fe^8i'8»;g«rffidj fc'tefc »bkcx»

                                                                                                ST^ sS^ ia»
                                                                                                         ® *?**                                 fsa^fe*              Bst ttetw^^MjrfassjpissiSsa*                                          **
                                        1

                                                                                                                                                 w se beoJIissri is tmm}kfm,<aim, tfw te«t«a*J tte                                                                               4




                                                                              mh ^ U n^M ^ Wmmw, Im^                                                                                tti               If              tl^e
                                                                                                      Cl             iim^ % tMm            m          Jl 2                                                           si:^!m|i3l.
                                                                                         9*31 fee firsM                       paspi^mt v.ts&eirt gr:^                                                                     ^      ^
            !' *                                                                           c^jgjE. h                   tm is^p.        teims^s sss^fiax^f ^                                                        n^sM' Me. Iff

                                                                                   11                                               ^ Itosrw a                         ^                               4*^ ^w%r
                                                                              mmir lie          _                     ^                     ^                      ^               ^lejs^-ksSMsiMJ                                ta
            .       ‘                                                         fci«e feiwt pros So ^TOsW saim. ial%3 Sy l!t>i ska                                              «r wiiB'gtte^ «S!|}e®T« t» Biw*****
                                                                              r/3mi}4&mifmaigix^msaa KctEsacesjtj ftfle Etesr)jv«T<&5!!
                                                                                                    ■( I                                  :«i76IO506tm                                                             mmnfm:
                                                                                                                                                WtDfWmm
                                                                                                                                                                                     mm        iMiS            f^Mm::tm%

                                                                                          I


                                                    ' «

                                                                  k
                                    4



                                                                                                                                                                                                       s



                                                          I                              .ft

                                                              I
                                                                                                                                                 I
                                                                                                                                                                                               1                                                f
                                                                                                                                                         1. ,                                                                                   \
                '?                                                    j                                                                                  ■<..5:.
                                                                                                                          «


                                                                                                                                                                                                                                                            I

                                                                                                                              I
                                                                                                                                                             1

                                                                                                                                                                                                   4 muk Ltm
                                                                                                                                                                              r
                                                                                                                                                                                                   mmmchum ci^Lnrf i>‘< p                                                        4


                            I
                                                                                                                                                                                           . imfm FMiK. apj:..
                                                                                                                                                                                                                                                                i'i. .


                I
                                »
                                                                          Bo0!523S2M»a»324?                                             CFM#2Q0507937S7'                                                             ■f?ag©-t£,of2§
                                                                                                            »



    I                               #

                                                                                                                                                                       1'^'                                                                         $
            4       V



                                                                                                    I                                                                               t
                                                                                                        >




                                                                                                                                                                                                                                                                         t

                                                                                          t


                                                      A
                    Ki
                                                 J
                                                 USCA11 Case: 24-13671                                 Document: 13                                  Date Filed: 12/05/2024    »
                                                                                                                                                                                                                   Page: 125 of 723
                                                                                                                                                                                                                                                              T




                                                                                                                                                                                                                                               V).
                                                                                                                                                                                                                   «


                                                                                                             h
                                                                                                  f


    I                                                                                                                                                           \ \
                                                                                                                                                                                                  :W '


              I                                                                                         I


                                                                                   "f*^                          ««?j;^{i!*fidfc»jt,’Iftwir tjssssjfe p Biwsdafc fer msw'a BawK
                                                      i

                                                                  «
                                             >




                                                                                                       l^w r»ip*»ew,'« ««%_»» (>!OTwpw>t«fe*’S'*5s
                                                                                                                                             j^jjsiwwj? «»*r **» &»»«>
                                                          I
                   !:■: ■                                                                         _ to;Sa.mmtyi Sate*                              C«*«wt(SMfe ll.te SfemS/                             »WI ts
                                                              t           .               «¥ tea. to     m                 hr vScS te
                                                                                                   m m Smtlii l-iffyrnm'mt Mmm m
                                                                                                                                          fe'tsso^. AM i-#&
                                                                                                                                      manrm&t od fasaate ef
                                                                                                                                                                                                                           t
                                                                  • j -'^g^%iw.^ff.tofet.»{''t#!iW>rt%«i8ife^li3S?»f65;»f!«»««te«re!aSM!!                                                                                  t
                                                                               m                                                      ^            If^silsnsw                                   w^i Api^y
                                                                               im.^CSJSto iM ti0 ?8|fe                                         sjrtln^                     itvmrTmf       m Ito          tsm he '                          I
                     I':

                                                                               As laaJ l3 arii!te^ mmmm: {#? wit ar,(% w4®p>;m! raste &U mm mi arfad*                                                                          1                                  I
                       t:                                                 ., mw^as^ w*           w TSDiiis tt *i fiaswiw^.*!;    «*!«     i.'^ b*® tf>l

                                                                                   n,@«m«'t!'iCiw B®wci*«stei|%pTw«*efCT .rfte?fa*^#rft,,s«un%'l«iiS!\a»
                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                            I         .




                                                                               ...,^            Rr«^l w * iteBi«(^*r l8Rr« fa Simwis. A:               it
            . .*                                                                                                                                                                                                                   1

                  t'-"                                                                                                                                                                                                                                     1

                  :“f                                                                                                                                                                                                                                       i
        1 -t;     -f                         •
                                                                      ’ tefesis!*!.^^^* *^* ?***                                        ^                                   ir&a ««w£a b jfJrtirtSKa i^-                               p
                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                               I

                  *.
                       /                                                      .... Vtmifi jMSiSj?"ibis                            tojilf &»!! E(w ®®rTe»s!r rai'»                  ssafcnen' 'Vi»» i'i.i*m                                                l
                                                                                                                                                                                                                                                          :i


                                                                              ■■fc, Sam pm
                                                                                        ..A* t» & »ip»*te.
                                                                                                  J*                                         isAmfc
                                                                                                           «!■ tii? iSSfteJ. 3Af*Ji’ nsjg *E«»«4t sw If aumw  6fc£^» kte
                                                                                                                                                          wcicetl    m                                                                                    il
                                ■Y                                            Smtiiyir^rmem %>i!tmi fesfci-tBrkaacWtfiieftBsctmi^.                                                                     i.^ .!*»                                             I.
                    ■;.f '                                                    Ri                             ts, tewKt A&ts- Andfrrt&s^ If tetawfl.
                                                                                                                                           tei»*w,aB!*i «»r^ ««rKS!»r4
                                                                                                                                                                B»’ te
                                                                                                                                                                                                                                                     9     M


                  .Yi' ■                              <
                                                                                    ^ aw wJWf M p St*                     bsftM MSf *1 er P>^r«iy siwswii» mjt mtm ©fa* (asuissas i.3                                                                      1
                   j-r.
                    1^.                                                                    to«r«; lid s»* ate |*nV «                                          I*/* tn#i                  &r'tk wratote ef                                                 s!m


                                                                  s       '               «Ste tojsstBisto !T Ctj «i»jf of * fJsmxtt wrfcfsftB m S«8>te Immams, ten                                                                                         I
                                                                                                                                                                                                                                                          iip
                                                                                      ant to-Rmaw*;
                                                                              lissawMrmi                 fjij ^
                                                                                          J2* l*t»»i{'e»«ss£Aif^s®         ai! is»» vtefe
                                                                                                                     lad<wcsw®i*;         tea
                                                                                                                                    a'>wi»«s*«tf          sndB-iSt S!te?l»
                                                                                                                                                       iwfoA»<»k8s»®    «
                    ;•"■ ' ■ ■
                                                                                                                                                                                                                                                            I
                    i.s. ;                                                    «SMimea« te »                      hs. ii!r.fyKka ^Saas.'^' &*»»«»«!. iv^aSm. bm hai taafesiS                                                                                 I
                                                                              »,                        Ite ;ref»^                            aed tyiatte &a, »*                                       g, £*
                                                          I
                                                                                                                                     lf®E.lMi«33
.

                           •f            .
                                                              I                                                                                                     ,S««»’Ate£:                                            f
                                                                                                                                                      f                                                                -   »
                                                                      j

                                                                                                                          t


            :.VU                                                                                                                                                    ;■ •                                                                   I
                  !.:'■ ■
                  ■I:-;-                                                                                                      r
                                                                                                                                                          1                                                                                                f
                                                                                                                                                                                                                                                           I
                   : -.i                                                                                                                                                                                                                                              4

                                     I
    .
                                                                                                                                                                                                                                                           il
                                                                                                                                                                                                                                                            1,
            . i:    ':
              ••^:f '
                                                                                                                                                                    i-,


                                                                                                                                                                                                                                                            "$
                                                                                                                      a
                           r                                                                                                                                                                                       I
                                                                                                                                                                    ;'i .
                                                                                                   #
                                                                                                             b                                                      >.                                                                                      i-

        I                                    •                                                                                                                  t                                                                      I
                                                                                                                                                                                                                                                            It-



                  Y>                                                                                                                                                         A mis m?r                                                                   V*
                                                                                                                                                                                                                                                         ■' .M

                                                                                                        »f                                                                   fmmFXxrm                             lm;t p/.m                              .1
                                                                                                                                                                                                                                                           '1
                  ^i :-,                 .                                                                        I                                                          mmEY Mimjx. ciimx                                                              I
                                                                                                                                                                                                                                                vS
                                                                                                                                                                                                                                                 '   •


                  .-I
                  Y.                                  «
                                                                  'Bmiam2m^^eS2’4$ cFm2Qomm3707                                                                                                   Pa0«.13of2O
                                                                                                                                                                                                                                                           'S
                                                                                                                                                                                                                                                          ■M
                                                                                                                                                                                                                                                           'M
                                                                  »
                                 .4-^
                                                          I                                 .1

                                                              I
                                                                                                                                               I
                                                                                                                                                                                    i                                      t
                                                                      4
                                                                                                                                                      r                                                                    »
                                                                                                                                                         !




                                                     / Case: 24-13671
                                                    USCA11                                                       Document:
                                                                                                                 »         13                            Date Filed: 12/05/2024                                            Page: 126 of 723

                                                                                                   <


                                                       i


                                                                   k
                                                                                                                                                                                                      m-
                                                                                                                                                                                             c


                                                           I                                    .1

                 t                                             I
                                                                                                 ^ psiantog                    *. wtesa in -fe                       00s.            ®» fcaEijy tegtemcstt:^(#
                                                                       j
                                                                                              «(«!» Mlto «* Lciiiw ss^                        lawSsie fc «,|:* &s Lntto'i iaismt fet &»                                 irf        !
                                                                                               tisfe^Ssa^<!_j< lft»oi5a!3, mi^rjtrowa*» cfeJig«S» »                                  fe wasascarf %* Ihs*&air%
             ;ri
                                                                                                 sbi?J! -sanSinMeiMiSfeOTJSL l«BiS*rBj|j»i*^sii;eSi>Sl5fewT’»iei'Kf wsSssisaasaea'KfsiiteiKaagjJ                                                         I
                                                                                        **^!W5 IB «a « fcM? «f fef»«n^ femiv «». »sti*d i;,'                     ^?asfc.ftt wcjs^            4«)
                                                                                                      feMfe.                         OS’                          ssjs*          k         «|^
                                                                                       « aa^«K*s>* '»^m/e ipusJts ww,««wti •a'fei'jfJ «4r                                  SwwsiwnWiiJ:^ er «BtK*                OKia^&t;»-
                                                                                       ’Fissd Trartsfer,     mMt&m&H fey B»je«<«»,■«<»»» SiBia-Sy fa»!»?3Wn( «Rd «i!i.(!i«f«i!iS ««*»>«!$
                                                                                       jWS rsmsfe fuJIjK *fci>« v-Wm wsfenMw tfrf                           jhi>,,»%M» mJmmk sfcffi «                                                                            4

                                                                                                         B? wds^Bntafsr&Kfen 58.
                                                                                              SR & St «# Sfett;                 «ft«iia $w^«r; Kgnar                                  TV >{»! V t- jsaajf ««»!«sr,
                                                                                       iJa                      iiwss )S iks^’ JBJ&'effiattJ} «sb I«o#(5 ««■« d)» iItw wI)5i!«# pfe      sa
                                               •,
                                                                                                          'A lA.t^x nsesit at m, tha^as'it^ ®nr^ iJk»}tsi sa'tia *Lsmi»Smfe:^| tfea rfitts-
                       I                   »                                                       Rjjjwktis tm orMe <ki                      tfe S»»n(> tejjsaasa aM f»fSre» e6sr swings
                     I I
                                                                                                                                           ^scwlf^                         ac^
                                                                                       (SiKs: »:.r«||:,#^s» jg^rab? I^ajf?i                             ms

        J                                      »                                       Sfisfvte^
                                                                                       I3SW ts^a^-»
                                                                                                                 ^il! bK
                                                                                                                       asitois o
                                                                                                                                                  cr^
                                                                                                                                                                            ssXe mtS ©rq?
                                                                                                                                                                                            ik        od sss^»
                                                                                                                                                                                                   iufefmRJit HESM
                                                                                                                                                                                                                        tH
                                                                                                                                                                                                                                                             1

                                                                                       f«m m t22iwsEfe                     ^ fm>^ ^                    ^rvkiri^ ^ 1^ &                       ^                     C-w si                «
    I
            t‘l                                                                *       wrwd bf t tsaai Ssivitt.' ssAt? fe» ite f«*ss»# «f m ««5<v                                     ^ k» »rwit>l« *3«SJBss»                                I

                                                                                       ■Ksim&Mf the Hm ^isA^ w!« HMtwm frmMi^ if ji» KM*
                                                                                             Mk4» fta.-sM iKS'.lrfe BE»
                                                                                                                    RE?f (aMaa«»., W«. sSi-
                                                                                                                         emam^., jrtfs,     te >j«ei
                                                                                                                                        er Se  iiorf ts
                                                                                                                                                     m a-   fc
                                                                                                                                                        $5-ja£(=i teto                                           «^r»
                                                                                       =5f».ttKl fc^tKfrftsswtesf
                                                                                       ....-■;B.;,.»;.-.:.V          ft ^
                                                                                                                        «Sas<itei
                 1         I                                                                                » to ,/ ' fc    ,     <»=5
                                                                                                                          i»>Nrj!K^.      ifg sii
                                                                                                                                     m te*.^  CSiS*fwtiises
                                                                                                                                                     pTlf^ ««»
                                                                                                                                                            « « gHRSM J3 ll®
                                                       «


                                                                   «                   i^r ^%‘ tens 4<                            is^isi .aluEf                          a^i' fi^iiss? t&                       m*OT sr
                                                                                   .           l,sw         ’§                                                                         ed^       |»s
                                                                                       pifW «^i fee itemrf w br sr«!»»a* fet jsst^ysa wf tifii,                                       ttse ftgiss »Kjsimi{f« «-4“
            ;i                                                                         e^Ssftjsiij'K *«»a ^ssjB to S®BM«^s.ajentl»-Sfsfcj 15«#,fe«StB’«f«wteT5sfc i^e* »«■
                                                           I                           tew^tf'j^rwssR*fe»!W r»i*3!>fe*-«£«!«»                      iascwt^       ttrawafe*
                                                                                                              cfiKs.&cfisart:&

                               I
                                                               I

                                                                          ,:
                                                                                           tt. 'lidmesm SabittaaeC As »?« fe .iKj •SsTti{» 2as fej 'Ifcaffcs Seteisss* «f t!5s»
                                                                                       fc1»%3«i3&®wfB»dserSi»iai8&w«siajMiavp^               k* «>*jJks. l^* 5a»»wfl6*y UwwlsSi*
                                                                                                                                                                                                                                   f
                                                                                                                                                                                                                                   »
                                                                       ■> ’            ftSsBwij intosass: jssolkai. laasssw, iKfcir                                  ai «s?e p4»@l^ {»4»(SS. Jg4a
                                                                                   .■ wate^stjte, (^fesSe**&35WJ
                                                                               ^ #3 '•&wr<}imiiajJ imr mtm 'k»* k^S-Kitsm «fsfejwjs4«» «»&:«• hxpm *t            sfee                                                                                    I
                                                                                 , sefeiB Iw5fe                  ps«wmt {e} ’‘BwirsssieiijJ Ctesap* in&sfe ^ f«{W3ar
                     ;             I
                                                                                       »to,                   s«}(5S*i, o (fi5JWf#iB4n.                   ini^awiswwaiS liw; bbS gfsn ''Bwjsatneail
                                                                                   ^fesKsB" _Bw»‘a «aSfliS3 ite ^.tmmt.:.^mhis',s>my-^»eJS’ffw                                                      ^
                                                                                   Sefewpi' ■ ' ”:rv'' '''"' :-'^'''?^:'''“-' '-                      -“■'-■■'■'•V' .' ™,v»                      ». . .-.. ■          . . ..                                     4



            i-
                                                                                                                                                                                                         ;S«4lpwf'
                                       1

                                           »
                                                                                                                           i
                     I


                                                                                                                       k



        i                                      0

                                                                                                                                                                     t
                                                                                                                                                                                                                               m


                                                                                                                                                                                                                                                             t


            •         V


                                                                                                                  »t                                                             »




                                                                                                      t


                                                       i

                                                                                                                                                                                                                                                 1
                                                                   k                                                                                                     :■) *
                                                *


                                                                                                                                                                                     A TWP& com'
                                                                                                                                                                                     CRtflFICM im fc :i                                PIfii
/                                                          I
                                                               I
                                                                                                   .»
                                                                                                                                                                                                           KliVIfv Cu|i.. I
                                                                                                                                                  I
                                                                                                                                                             f                                                                     \
                                                                       j


                                                                               B00}a3S23IF^p3244                                     CFI«p.507i3?i7                                                            Page t4. of 20

                                                                                                                                                                 T

                                                                                                                                                                                                                               #
                                                                                                                                                                                                                                                                 4




                                                                                                                           I                                                                                                                         1
                     1
    1 ■                   -




                                               USCA11
                                                   I  Case: 24-13671
                                                                  .1
                                                                        •y:                             Document: 13                         Date Filed: 12/05/2024                                           Page: 127 of 723
                                                                                                                                                                     1


                                                                   J                                                        i'
                                                                                                                     0

        I




                                                                                                                                                                                         ■




                                                                                                                                                  J


                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                      4




                                                                                    ■gis^ctr^ Of ItoWac «> r!«» shij- fesfca- Sitt!»s«>w, m a b iSa                                  isifwwf            w 9,\
                                                                                                       dsete sfe                 iSssi:*® Shs f^^terf jaJ-te i, m tfe&fes efsstt gflt’wwurrai                                    )

            '         I
                                                                                                     “®* “ wmrnim
                                                                                                            a jna.ttttft i-mtnm,      x WBife«j
                                                                                                                          a.« jtfjtfyrs*   <«*>«>.^^ » eip«^
                                                                                                                                                   wJus ikfn*- «. fh*.
                                                                                    W                     m                 &« lawafis^,                             *t !W*»
I                                                                                   HspKtit..^ob^j»
                                                                                   lESEWW ff *
                                                                                                                     « gim«F iw:^!»« «Ir ^^ise* i!> wsl
                                                                                                                     f.tit &*'Wg, to ass iWiUsit w, fessrAi® ssite*» fa «Ks»an»!
                                                                                                                                                                                                        S»
                                                                                                                                                                                                        j»j                          I
                                                                                                                                                                                                                                                                  «


            ft          V                                                                awe»<>^ *»!!                  i;-®*- 3 <^j«o w-je«i (»»<> sf           sj^ uis4S^«*. -oSimi, <smme, ijnst®
                                                                                   «r       fxfy, iy ^ |^Ktm»tir tr »«ss sasj* i5^3i^ «                                      frm^tism ft* ftBSefi « m>>
                                                                                   5<(!^s» Sii»# « FBv}?i»ifj»fto! ,l3w «# ««& Be**™ S» wari tew*W» 0) lyj
                                                                                   mmss »r m' IMm4<m Sassk.*#, i*4 Soj m e!«i«ii«,«issE8t ^          ^»w«, me w ni6» ef a'
                                                                                                                                                                                                                                                              9
                                                                                   Kwtea StoEtt                 ii{5«* ite mJj* rf as Rt^ssssf!, If asfwtwf    «- »dfea
                  1                                                                S3f m gmr7m:lit r? ««g«iai?v tteity.«- ast piwte {•*%, ite *18* roatml ra ikSst r«i!*&&«
                                                   «                               ef              agsam gSassg ife p!ra^i%> isnKKay &{«?«!» ^sg           ♦:;&« ssesMafs.
                                                                                   »a»setSi^ *««! is jetflfiasi &>fer»t}jaaJ Uj*.       teste iJsttt oaae s® sWi^to trs
                                                               4
                                           4

                                                                                         UQH-ifHS'&H OTVEKAKiS. te«a«a itM S^teist fw^terfO‘■■CT32^■JQS^^s^Jl^S^S9^i^5^
                                                                                                                    U^s^sSs^rss^wieifefmerNw&twfcilfoafalto&e
                                                                                                         cs *n^ swfwBi or agrtswar In » &?»» termaeai ftwt »«'iKafr«»
                                                       I
                                                           I                                                                                                                                                                 f
                                                                                                                                                                                                                             !           .
             ■)                                                    j


                 ..5,


                                                                        ,                        pivm^itg the *wi«»}iJ«ia5rf')|: ifejjMpft or«BW«fc«ra»«».o» arSorrs^ »» *»!eit««ter                                                             I
    V




                                                                                                                           ***         Ww «,* imt mam k* »to- «,&«. UMm^i a,
                                                                              '                                            »«**»! b fcS of «    «S8|« »jf Bfe        fsaiwwBi
                                                                                  ms te tatKtaS» »^ts Ji!f                       kmamS te gi!«w»% cStr «»»rfi« iw»tS fa tl* S««3** tt,                                  <»
                                                                                                                                                                                                                                                                      4




                                                                                  Sosftjjff J'3Rws« SMif.,-wK: jte'3              «y misK^Usrt emsL tiaJer wj. <3^gr fysfroMS a &■ fcf
                                                                                         ih'ss S&v^ fpstsmy^. to «# Sf ik- &e b jaSI »5 a *M poiy fta fsflms                                            fc
                                                                                  otes<s|'<rfttstefeg«’dK#a'’d*f ■«t'p?1tefttS>*-.         -                                                         •'
                      I,
                                                                                      ». Attoewjj? F<»            <Sa 5s^Jei bsaaraw «»rfim        Eitswysr                                  jJwJJ hrJjM '
                                                                                        W itef                       tlsj ®iiW*Kj» Rwfii’ W4wes imj                  jo g         iy _;bij ia tsy aai.'at,
1                                                                                                                          wtek? (ay*-«zi;if««^ato>arj» ttagr* taiw'MlI'w                                     !
            ft            w


                                                                                                         »                       :i|»itfia®if^:K-*                       %


                                                                                                                                                                                        rWlOij 'mi
                                                                                                                                                                                                                                                              6

                              1                                                              t
                                                                                                                                                                                                                                             I


                                                   «

                                                               4
                                                                                                                                                          <•
                                           4



                                                                                                                                                                                 4
                                                                                                                                                          ?•.


                                                       I                                    .e

                                                           I
                                                                                                                                       I
                                                                                                                                                                     t                                                       t
                                                                                                                                              f                                                                              !
                                                                   ji

                                                                                                                      «


                                                                                                                                                                                                                                                 I

                                                                                                                     ' I                                                                            j
                                                                                                                                                  I
                                                                                                                                                                         & rmm cmv                                                                        0


                                                                                                                                                                         GMimthtimi m; um ? t 8                                      ■r*-
                                                                                                                                                                                                                                                                      4


                                                                                                                                                                      tfili¥E¥ Mil? RE                                fiJ’E-
                                                                                                                                                                                                                                                     i-
    »

                                       <
                                                               . ' Baok2^23/Pag«32# ‘CFHISOOSOJiSTSy                                                                                         P®Se15of2ll
                                                                                                             k



I                                                                                                                                                     Y                                                                              t
             ft

                                  i.

                                                                                                         »
                                  I
                                                                                                         '       1
            ;
                                                                                                                                                                                                        I

                                                         ,?
            :           J
                                                      USCA11 Case: 24-13671                         Document: 13                  Date Filed: 12/05/2024                                               Page: 128 of 723

                                                 -■■:$
                    r
                                                                                                                                                                                 ••


                        s                                                                                    I
                                                                                                                                                                                                   «


                                                                                                         6



    I                                                                                                                                             t
                                                                                                                                                                                                                                         I



            «




                            n:                                                                      »                                                        «



                                                                                      » $J0^fW3 W-Jw Sormr #ss|S( *»! igras w Ss tew x(3 ’Omm&ii ajBtfciwf iis iw
                                                                                   &!W*sr iMf-mrtarf bse^Rk^ ssasxiSjjftor.'eBBssrwf »ej»aed »itek                                                                                   I


                                                                                         aWrf *?># dfcJ.TWrJ % 9a jrniiiw «fi
                                                              4
                                                                                                                       i


                                                                          k                                       mMiy             ._ __                                                         1^1} ■
                                                  »
                                                                                                                                   i»s?                                  ■                       -


t                                                                 I
                      !•■ I
                        >

                                                                                                                                                                 I                                                   f
                                                                                                                                                                                              - {S*tl',      ■       !
                    1                                                                                             i '■
                                 I
                I                                                                                                                                                                                                                I
        ;; .1

                                                                                                                   f
                                                                                                                                         I


                                                                                                                                                                                                W;,.             •                           4


                                     1




                                                                                                                           U^m:
                                                                                                             ft
                                             *
                         *               (

                                                                                                f


    J                                                                                                                                             t ? ■;                                                                                 «



            «                W


                                                                                                    »t                                                 ;:.   »


                                                                                                                                  ■'■y       ':^v. •
                                                                                                                                                                                                SM)

                                                                                         I


                                                              I


                                                                          k                                                                                                                   tmm
                                                  »



                                                                                                                                                                             %



i                                                                 I                      .t
                                                                                                                                                                                      «6|?S3}8.
                    ■y
                                                                      I                                                                                          i
                                                                                                                                                                                                 SKTI
                                                                                                                                                                                                                     f
                i.;
                                                                                                                                   •r                                                                                t
                                                                              J
                !
                                                                                                                  «


                                                                                                                                                                                                                             I
        y.


                                                                                                                      »
                                                                                                                                         I

                                                                                                                                                                                          I                      «


                                                                                                                                                       >'




        *

                                                 •,
                                                                                                             ft
                            1                                                                                                                                                                       t


                                                                                                P
                                                                                                         k


    I                                                                                                                                              t •:              4   mm rr.r^v                                       I

                •            ^
                V _.                                                                                                                                                 €FJTI51C//?I«I 6fi IlF-T P^flg
                                                                                                    »                                                        #
                                                                                                                                                                     ■pjR?E¥''''ill¥W.                      FI llptf
                                                                                                                                                                                                            vLiulm
                                                                                                     »
                                                                                                             I
                                                                                                                                                                                                                                     t




                                                              t
                                                                                  Brnmm^ps^mzm' cmmemmsdim
                                                                          «


                                                                                                                                                                             :%




                                                                  I                      .1

                                                                      I
                                                                                                                             fi
                                                                                                                                                                 i                                                   f
                                                                                                                                    r'                                                                               !
                                                                              j
                                                                                                                             t                                                                       f




                             USCA11 Case: 24-13671                                  Document: 13                    Date Filed: 12/05/2024
                                                                                                                                         0                                 Page: 129 of 723

                          'y                                                                              :»■                                               m                                                 i




                     4           6


                                             k
                                                                                                                                                            v^'^.
                                                                                                                                                                                                              n
                                     I                                  .6
    I                                                        STAtK OF FmmSA^

                                                             tlKT
                                                                                                                                                                                                 !
                                                     J




                                                                                                                                                                                                          I

                                                                                                      r
                                                                                                                    ■ '■              ■ ■ : ; ■: - ■ ■/''           « ■
                                                                                                                         IfcisU |D/4^ “
                                                                                                                                                                                   )r

                                                         . :,?<|®                   ;tow« !@:«iS»'^a

        1
        i'                                                                                                               I                                                              /.



                     «



                                                                                                                                                                           4

                                                                                         t)
                                                                                P



    i, ^                                                                    0


                                                                                                                             t                                                                       fi
                                                                                                                                                                                                                  fl



    %>
                                                                                                                                         d

    J                                                                                »




                                                                                                                                                                                                              »




                                 A


        i-                                   A
                         0




    ]•
    9:-
                                     I                                  .ft
    I-
    k'"                                  »
                                                                                                                I
                                                                                                                                              i                                                  f
                                                     j
                                                                                                                     r                                                                           5
                                                                                                  6


                                                                                                                                                                                                          I

                                                                                                      I
                                                                                                                         i


                                                                                                                                                                               «
                                                          •I-.'   . ^                                                                                                                                                  s
                                                                                                                                                             •oiiiiJisae
                                                                                                                                                                          tm

                     I,
                 »
                                                                                              &
             t


                                                                                         b
                                                                                #


i                    6»


                                                 9
                                                                            e

                                                                                                                             t
                                                                                                                                                                                                                  Q


    *        V


                                                                                     »                                                   d
                                                                                     »




                                                                                                                                                                                                              0

                                                                        9


                                 &


                                             H

                                                                                                                                                   mm-c&x
                                                                                                                                              ■imnncmm du us^ iw:r'
                                     I                                  A                                                        f.
                                                                                                                                                  liir/EY .EllviJi cil|K
                                                                                                                                              i
                                                                                                                I
                                                                                                                                                                                                 !
                                                 ■ •< Bc«m$23/Page3a47                                    CFN#200^079370?                                       .Pag&17sf20
                                                                                                                                                                                                          I

                                                                                                      »




                                                                                                                                                                                             «
                                                                                                                                                                                                                       «*




                     I,
                                                                                              I
                                                                                                   .r.                                                  !

                                              ■ !<
                          USCA11 Case: 24-13671    Document:
                                                       nmixM 13                                    Date Filed: 12/05/2024                   Page: 130 of 723
                                                                                                         I


                                                   . BMO buys Bank ef the W#st                                                                                          i



                                                                                                                      I




                 e
                                              ; ■ What would you do-witli $163 billloiB.(U.S.)in
        (

                                                     cash? Buj^ islAids in'the Cmribbean? Advance •
i           •                                  . scieEtiiicresearch?Fayofrpij|!i!ysk per cent *
                                                    'Of.Canada's deficit in fiscal 2020?'
                                                     For oianageiilent at BMO,the obvious answer is                                                                 «


                              ,           •          none Of the above.In a Dec,20 news release,
                     *
                                                     BMO announced It would ptircliase California"
                                                     based Bank of fee West for $163 Mlten (U,S.)fi
                                  I
                                                     cash Mim French bank BNP Psrilias.
                                      i
                                                   . '          ■       . .                                           ■ j:
                                                                                               I

                                              ■' The acQuisitloijwil add nearly Umillioii                                                               ?


                                                     customers and 514 branches to BMO's portfolio                                              f


                                          > and puts it head-tofeead \Mth Weils Fargo and '
            City                              ] ^C^owned City Nations!,which iire both                                                                                  4




                                                    domiciled in Califoniia^ Bank of the West has
‘ S Wells P.
        1
            0

                                                    more than 20tfbranches in California alone.
                                                                                                                                                    »



                                                                                                             '                                              t
    4   ^


                                                                                                                                  w
                                                                                                   mMi.
                                                                                                                             m
                                                                                                                             w   IM
                                                                         I
                                                                                                                                                                    *




                              i

                                                          -■ /#!■                          i
                                          4
                     fi
                                                                                   *7'*'                         WM



                                  I
                                                                         ■                 -       -«
                                      I                             %
                                                                                                                  ■
                                               j




                                                                              *


                                                                              y:
                                                                                                         I


                                                                                                                                                                        •«




                 t.
            fr
        1
                                                                                                                                            4                   I
                                                                                                                                      kk:
                                                                              The Housemaid: An afesoliitdy..,
I                •                                                                                                                                          $
    •   4




                                                                                                                                                                    «

                                                           I


                              «



                     *
                                                        ✓
                               USCA11 Case: 24-13671                 Document: 13            Date Filed: 12/05/2024
                                                                                                                m                                            Page: 131 of 723

                                   *
                                                     ^ t3 WtKH'E&xA
                                               k;
                          »


                                                     s U,S,Bancorp

                                       I                      .h -

                                           I
                                                     iBrnn^MpoMz,                                               i                                                    f
                                                                                                                                                                     I
                                                        VS Bsnk’’rsdlmct$h0s^M§f'.^fwr mes,see 3mk ofth4
                                                       VaitQdStm&i::

                                                     tl,S,Bmcmp(stylized as us baneer|j|i!s
                                                     an American bank holding mmpmy                                 MS,!aaesrfi                                                           4




                                                                                                                                                                 I
                                                     based Ip Mfnnaapotfs, yifinesote^ and
                         I,

                                                     Incorporated W Defewam.W (|fe the '                            .<"-i 7/s£j2.»; m
                                                                                                                                                     m%
                                                                                                                               li

    J                                               _ parent complny of U.S. Bmk Matlonaf
                                                     Assoclalton,and is the fifth largest t                          I                                                   P
                                                                                                                                                                                      «




                                                                                                                        ="

                                                     banking IftsHtyfon in the United                       *




                                                     SlstesJ^^ The company profides                                 *        r* -h.
                                                                                                                                           c.-"
                                                                                                                                                                                  e




                                   «
                                                ■    banklpgJiifegtRient mortgage,trust
                          fi
                                               «     and payment services products to ' •
                                                     intJIvfduals, businesses,govemmental                           y A' .«,>
                                       I             entities, al^d other financial irtsiftotlons. '
                                           I

                                                     As of 2019,-lt half3,106::6fati|iie^8ii''                                                                       t
                                                                                                                                                                     ?
                                                     4,842 automateci teller macftfhis,,"
                                                                                                                                                                             I
                                                     pHfiiarfly InthfiFlegternand Midwestern
                                                                                                                ■P^f.                 ^u

                                                     Unfed SmmM-in 2023 It ranked i49th                                               l^issra!,^8^


                                                     on the Fortune sooj^i and it Is                                    • •.    . .

                                                                                                                        r^;_                             ^TTI:
        *                                            considered a systtmrcally important
                         0,
                     »
                                                     bank by the flnaac^l Stability 3ocrd,The
    J                    9
                                                    . company elso owes Eisycri, a processor
                                                                                                 t
                                                                                                                                                                                      Q


            ft   V                             . of,credit,C3rd.iif3hsactlons for
                                                     merchants,                 Ffriencia! Services, *
                                                     a ci^it cato issuer that festief:;precJit/‘                                                                                  «




                                   I                card products on behalf of small credit
                                                                                                                                                 ' ■   '   ''




                          4                          unions and haute across the U.S.W               :■ •
                                                    irs Bancorp operateo undor'the second- .
                                                                                                                                    t-a       i 4Zm-?i
i                                      I
                                                    ofdest cominifous national cterten
                                           i                                                                    I                                                    ?
                                               . _ originally Charter #24,jianted In is§3                                           £:tw
                                                                                                                                                                     !

                                                                                                                                                                             I


                                                                                                                                                                                 A.


                                                                                                                                                                                          4




                                                                            i
                                                                                                                                                             »

    «                                                                   b
                I



                                                                                                                                                                                                                    I
                                                                                                                                                          WATCH-MOW
                I                                 USCA11 Case: 24-13671                                   Document: 13                            Date Filed: 12/05/2024                Page: 132 of 723
                                                                                                                                                                  1                                                         rk     4

                                                                                                                                                                                                                            <'0^
        •           I

                                                                                                                                                  »->




    r •                                                                                          ■»
                                                                                                                                                                                                  Uh
            *               fc




                        I
                                                                                 Tw^                                               ^1,4
                                                                                                                                          <t'x
                                                                                                                                                                  Coip. owiietl
                                                                                 skwesb&Gtv. t,hc Civil;\A.'/af. {h.t', mi ion's tpiirlJTt'irgeT
                                                      «



                                              *
                                                                                    inks          Vv*T‘d»e»dt4y OS ic-made im ami                                              bl&tS.
                                                                                 AitmicmiS.
                            !
                                                          I
                            I
                                                                                                                                              I                       i                               f
                                                                                                                                                   r                                                  r
                                                                                                                       «




                                 I
                                                                                 mkHt                     --
                                                                                                               ■ f Xm m                                                                           4
                                                                                                                                                                                                                                   4




                                                                                         J

                                         a,
                                     »                                                                             t
                        I
                                                                                Jot® S, 2C®5^ 6t2l PM EDT / Soyi^ee; TIi® Aissocisted ■ *

    I                                    •                                      ■Fr'#s£" '            '        ^           ■                            ' 1
                                                                                                                                                         t                                                # '
                                                                                                                                                                                                                             I


            4               V


                                                                                                           •                   .          ■                   »
                                                                                Two predecfe^r ban^ of Wachovia Corp. owned
                                                                      ,.        sla¥e$.feelbr€ the CM War, tfie nation's fourth-                                                                                        a




                                                                  ^             I®rg^.t.teik.said ,Wedne8dajxasit.inade an apology
                                                                                tdhiacfe-AifierliSRs.'                                                                    s.




*                                                         I
                                                              t                                                                                                                                       f         1


                                                                                                                                                                                                      !
                                                                      • - WatlioviacfiafrinaiiEea Thompson said in £L
                                                                                statement; The Charloite-based company said it                                                              ■ .                     I


                                                                                contmcted earlier -iMs year vl?itb The Hfstoiy
                                                                                Factory, a'Mstorical research firm, to Investigate                                                                                                 4




                                                                           ■ the predecessor insiitiiilops that over the years
                                         t


                        I

                                                                                flIIIHIH                                                                                                »



                                                                           'X
    I                                    •                                                            and todays top stories,^
                                                                                                                                                         .Raws
                                                                                                                                                                                                          #
                                                                                                                                                                                                                             I


            4




                                                                                                                                                              * a
                                                                                             ' II!                                        /M;
                                                                                             I


                                                      I


                                                                  «
                                             t




                                                          I
                                                                          If
                                                                                        I
                                                                                                                                                                                                    4

                                                                I



                        f



                                  *
                                                                                                                                                                                                    \

                                                                                                                                                                                                             /




                                               I                .1

                                                   t



                                                       J
    Page: 133 of 723




                                                                          toi «l &»*. m^^rns,» fee kM« totes -
                                                                          W*toK»#!

                                                                          IS*. CssJfe «*.»4s».fca** <■<*«,                                            * |4'rfi««; .*•»,
                                                                                                                                 •srf#l»-*r4»*f!Sii«.« LIS »»»*:
                                                                          l-ris*                                   np| .»S**-     1^-                               .*■'#.
I
                                                           •i


                                        t/:;                              & !,:i:r* #*'* f«* n.pe JWssippi Omx mmi%im *?
    Date Filed: 12/05/2024




                                                                                              i'‘->m$im-K, 'mi!-. "W*?-1
                  »          V



                                                                                                                                                               *


                                                                                        i
                                                                                                                                                                                                        «

                                                                1         fe«w?xTf«rtA I® W«ef( te 202I.i
                                           A

                                                                                                                    A: iV:*.cff"-..‘S-S-''^'#^. <•
                                    »                                                                                                                               %0si

                                                                                       y.M




                                               I                .1

                                                   I
                                                                                                                                   I
                                                                                                                                                                        k                       f
                                                                                                                                             f                                                  !
    Document: 13




                                                                          Cmvmcem. ret *»**«* • ft^sAtwcsn
                                                                          4                                                 I?   -m:
                                                                                                                                 'm- Si           J sv,4.,         '4 ^:5
                                                                                                                                                                                            #




                                                                          '*4-^
    USCA11 Case: 24-13671




                                                                                         I
                                                                          8^*« ^fW»®?*;S»«fci»*f%«l , _.                                                                     ,._       ft




                                                                      ' li, WJ fi fe», fog«fts. Frsf Ais#<sit#*-
i                                                                         n,em^:Fi.                                                                   f
                             V


                                                                                                      ’-.?■■          -A VK’                                         T- -A
                                                                                             '•         -      ■     '                 ..    .




                                                                                                                                                                                                        ft

                                                                ft



                                           I



                                   *




                                               I                . I

                                                   i
                                                                                                                                   I
                                                                                                                                                                        I                       f
                                                                                                                                             ("                                                 !
                                                       j

                                                                                                  «




                                                                                                                                                  I




                                                                                                                                                                                   «

                                 ft .
                                                                                            A
                                                                                                                                                                                       ft


I                                                                     t
                                                                                   k
                                                                                                                                                                                                  I

                                      USCA11 Case: 24-13671                     Document: 13                    Date Filed: 12/05/2024                                     Page: 134 of 723
                                                                                                                                                                                                              4




        * I



    i


              I




              I
              I




            (i                                                                                                                                S~ i
                                                          Bpmh mm of &?4Am pmMupx
            is                                                  1
                                                                     G.iOAK-m»7Me?jS.                           ,;A$.t,C.-

            cpmm                                          AGENTS,. Do:vt                ns -a,* f'>fan,?3?VoC; 3d:ii

                                                                                                                                                                                                              4




                                                                    I'ittfis;//r,eiVSTOom»bankoJ'ffniei‘fcax.orr!'3r contc’ol > r
                              a

                          »
                  t




                          9
                                                          Ivtorgan Stanley llS Hoaneiais
                                                                                                                                                                                         fi
            * >                                                                      Sank ctArrmrfee s'                                                    L-on.
                  I
                                                          n                                               ’f
                                                                                                                               7t.^          i
                                                                                                          >1^                              4','.v



                                                          Stanley US ''                                                                                        ICp Oft-.
                                                                                                                                                                                                          a




                                          A


                                                                                                                       % *
                                  0
                                                                    htijnsSAvwAiiiorgorTgtsbley.corrf -rsboift-us-ir > sec-,
                                                                                        a

f                                             a
                                                              fc U. f        inq's
                                                                               -y
                                                                                   I ’
                                                                                         '   X
                                                                                                 urgan Stanley'-" * ,y •' ‘:- •                                                  I
                                                                                                                                                                                              1



                                                  a                                   ■|i|yrsari._Sts»tfe^. P                 '■4> v->:.                 u.s -                       t
                                                                                                                                                                                     )
                                                                              tllK   i Ekchiir-cji                                  «?»■                  s'scr'^t'fefe
                                                          60'        r,r'<   606 QHcionijK'S. SECy^’                             l?l•‘.cfe'■ Seciios^                                             I


                                                                                                                                                                                                      a
                                                                                                                 1“                 1 ^
                                                                                                                                                                                                              i


                                                                                                   av-> fsevysr.ac-in*> prjjss'feiess^s >
        t

                                                          bbC.O          .DVi-Sec .Cbarg tfla                         IGf
                                                                                                                                                     A


                  t

                                                          VV’Hji Cvotomor Protection Riilc ,7
    1                 I
                                                                .' r>>4-0:., ritf^s Biii,          t,e   'S£*. CtiT,r/:A&tt.H i i'.
                                                                                                                                                                                         #

                                                                                       t^'ergA.n                      4'                             US ar-"-        &
                                                                                                                                   liV-'



                                                                                                                                                           I
                                                                                                                             “- "'’rC;'.",
                                                                                                                                  V '••►
                                                                                                                                                                           V *



                                          i


                                                      a
                                  »




i                                             I                        .a
                                                                                                                                                                                     #
                                                                       ma                                pi;B0:53)*M:
                             USCA11 Case: 24-13671                               Document: 13                      Date Filed: 12/05/2024
                                                                                                                                        :-*'
                                                                                                                                                               Page: 135 of 723
                                                                   ’ii.iiEisicQTcomt0¥TMEcimMm.fmimLcsostm AM>Fcm
                                                          k
                         *
                             ■
                                                                            SSMS HADE amKTYfWmA CIVIL ACBOM

                                              I                        .1                                  1




                                                                                                               I
                                                                                                                                    i                                    t
                                                                                                                   f '
                                                                                                                        I
                                                                                                                                                                           t
                                                                                             4


                                                                                                                                                                                            I
                                                                                             «•: •■

                                                                                                 t
                                                                                                                    1
                                                                                                                            .       m, 2%immMiAm
                                                              ¥-

                                                           U. S. SAME' >1^. AS TRUSTS?fOR
                                                                                                                                                                                                •"   ■


                                                                                                                                                                                                         n.J.'

                                                          • mscmmMm
                                                                                                                                                                        -•■1,
                                                                                                                                                                        ..Vi
                                 f"5--
                                                                                                                                                                        tS'i          HTI

                                                                                         a
                                                                                                                                                               0
                                                                                                                                                                                      s
                                                                                     b
                                                                             #
                                                                                                                                                                           I3                              t-'
1                    •                                                                                                                                                          --t
                                                                                                                                                                                                           I.
                                                                                                                                                                                                           1
                                                                                                                                                                                                                     .
                                                                                                                                                                                                                     ■ ••
    •       ^                                                                                                                                                                                              ' :t
                                                                                                                                                                                                                         . 1



                                                                                                                                                          vacahom og

                                                                                                                                                                                                                 8
                                                                        I                            •




                         »
                                                                             H2.IS1,I5oii&SaI«2J«CH)fffiiF^«Rite0f C3wlfe>«fi*^Rslfi6CI,
                                                                                  te t& mmn fe                                  l«arf                              Isfamfiadwjs
                                   .*:
                                         vS
                                              ^ *feC®5.J^2ai?A%sJolffi&|||g$iijggrKwwcfi!jc«wiriasd&ili%sffi«€fe-to3xS
                                                                                                                                               feasMot^tEssfesB?!'
                                                                                                                                                   si,5                         Qsia
                                                      ID                Bmk WA, SpgsM Sfn^«i'ft»«af Fiai.^
                                                      SEC ES^ilS ^ Fl^ Ssfelfisk^ Ji^ ^

                                                                                                                                                     ^:. ’ *
                     8

                 »




I                    "
    *       »»


                                                                                 I                                              *


                                   ■i-                         Sd&ay^ awt l^assSM»If fc'® cpat                                      GmEct of latest taae Ii^'s
                                              l«ssi» wMi US 5!^                  l{£||!ifjg.is®m 5o xsik soay m -ilai te ca*                              ns&firj 1^                                         8




                                         : M^ M fer to                      M®           te asw M^y. Ite’s p<»i PS BA'K b PS BAMCOIP,'
                                              %1jw^ amps SASC-ORP isM«^                                                             talB^ «i%1mm SSals^”is Moi^.;'
                                                                       E^IIM a                           JOM saasiBgar S 4^                         Ki* US Ss* fleija '
                                                  .   I


                                                                                                                                                                          i                                              «•:


                                                                                             4




                                                                                                                    I




                     #,
                 »
                                                                                         a
        ■
                                                                                                                                                               4

                                                                                     b

1                    »
                                                                                                                                                                                                            ■Qf .
                                                                                                                           I
            §
                                                USCA11 Case: 24-13671                    Document: 13                 Date Filed: 12/05/2024
                                                                                                                                   IF:                            Page: 136 of 723
                                                                                                                                                                       «
        I
        s|:;
                                                               •ommm op HNwciAL Ms,ii c wbI
                                       a    .




                                                   ■ W
                                                     VKs ixbl^
                                                         tollN. -                                      P*ffe «„d *«&«<!«..
                                                                                                                 MW, F. ,^1.S*te^„
                                                                                                                            i, a. Enayi«to i,                                               witf?

    I                                 #




                                                                     -Ite -a s n^ Coofija of i*to ». I "•m Wp sateunti efn«
                                                                                                                         «» bwig totag
                                                                                                                                  .f JbJ
                                                                                                                                       m
                                                       '                                 «- »d B. Who tt ^ s* „ 3J.
                                                                                                                                                                               kufls^ss

                                                               »m              mp            SKI              Olore. I Jaire                 te«ir«se
                    I                                          mi wi» si &> bwinffis w&is m BsEkmBs »i ©&»                                         r
                                                                                                                                                        ^ifemaltolHia rnthk-
i

                                                                I
                                                                                                                  I                           ‘                            f
                                                                         .i
                                                                                                          '            f           ’                                       t            ,
                                                                                                   . FACHMJllACKCitou^
                                                                                                                                                                                               I

                                                                                                                           I



                                                                    ^Moch W* fc o«« «i                                             ^ =.«                ^                      op-«.                '
                                                                         ffl Alim 1^ ommcmi                                                  uj.       cobh
                                                                                                                                                              csver pKHijicc tli*'
                                       a.
                                                   .                .l?«^ Nc^-d«^fcy    fcy
                                                                                                                                                        mr<&0M bmg It fe4.
    1                                 •                                                                                                                                         ^


                                                                                                                                                                                                        a




                                                                «te-=,«*« feoOo:« «««!«,« 0W„= 0>0* %y fc
                                                               Ct^o^&as m as»®aSfta. ESiMfeito.
                                                                                                                                                         US, S^
                        i                                  I

                                                                t
                                                                                                                  I                           &                            f
                                                                                                                                                                           )
                            I
                                                                         J '

                                                                                                   «
                                                                                                       ^MOlAMBtef 0FLW^
                                                                                                                                                                                               I




                                                                         <H)mdF^Rac60Rdier»a«<«saK««teoi%te!atafss.i %it|j
                                                                                                                      '
                                                               i^Mfeo la owDctefcw &W wilt re^urej* 9r«»
                                                               =»gM^gmaiM«ia}Baiofii,ijjKai,Bt.aK.;i3.?li.mi'0'
                                •vJ:




                                                                rnMZmm^I^CP
    I                                 •                                                                                        t                                                t
        -       ‘


                                                                                         I                                               t
                                                                                         I




                                                       A
                                                                     «
                                           *




                                                           I                        .«
                                  I
                                                                i
                                                                                                                 I
                                                                                                                                              I                            f
                                                                                                                       V                                                   !        ■
                    USCA11 Case: 24-13671                                   Document: 13                      Date Filed: 12/05/2024                        Page: 137 of 723
                                                                   t



                        »S

                                                                                                                 ■ IBiaExh.C
                                         FOlMi                               FULL AHB rUBLIC PtSCLOSitE                                                                          20ii
                                              p5*S<^                                 OF riNWOAL BfTlEESTS                                               F08ClfWK                 0»».
                            I                           fsm,»fiSifc*»»«
                                         Ui-S! mvt.— F
                                                                                                            CHAfJLES
                                                                                                                                     1                     fl^»f
                                                                            3CW               .                                                      mmm
                                         mimmxis
                                                                                                                                                          a.63 21?
                                    75WESTFUGlgp-SUgST
                                                                                          I
                                    RCO« 12MS                                                                       I

                                     cut;                                        ss'-                  COSftT; ■                                                        «
                                                                                                                                                                                    i -


                                                                                FL                     ^53iSJ

                                    STAI^ OF mmiBA ~ 1XTH GnZU'~
                                     KW CP Cf^XS.«                          rtSS«                 •                                                PROCiSSEB
                                    cmcWTJljgCSS                                                                                                            »



                                         w«strrrf--s©Ams^aBr4c>fiS^m- O
1                                                                                                     PAiff A-Htr^mau
    «   V

                                    f'fesca finert^a vales cf'^mr.                                                                                    tfiss- HstwasSsaotss*
                                    eaa®d sy istSTCsair^ ys&r rsp j-arf,                                                             'jf'p,e^.so a»(K rAm^MS-ae page 3:,|
                                                 h^/f»t%-osf! mt^ ♦Joan26,                                  .S017            »a $'f:aJ3Cg|.g ■                                                  0

                                                                   a


                        I




                                    '■                  gaasSR iwsj       r%«-i> >JS^;^WSSsSS!4to«Js»4S»»»ifaMsr«^jgSSMSCaj8«WiXSiS1,W3.‘fei»-«3»S<Sy «Wf*»S- ^ j^sfts
                                                       ^ c?} *1^ e?            #«»»-          «%5lito s» ;^§aa .^t8k snS messKC am *! ccjkcsk te-jiasJ s&eanrt #4
                            I             s              c^wwj. ffi3g%-j»wfB!iv te»T    i»:Srt» Sy 3«wbIw«,         swjusst <ri}i»s«!j
                                          T»"e                  al ':^r wse®^             « bows «fess {fe                        te tjJ^jMSsSS.
                                                                                                                r                                                            )
                                                           ggggKFTg^tiy Aggl |»e2.a. ttagrljte^ ta ^g^aSiass *■&» teiii»«a»^ ;^1                                    vatuj-
                                              Affsass Asarre, CtoraJ 0s!S». Fi                                                                                  k "oc*.coof»            I
                                    tiS1 to Ifer Bsm, Qmp Gap. R.                         '
                                                                                          i                         +
                                    ^t5j8jK.5Shfis$C#«s fstemsFCSsI rt *                                                                                                                    a




                                    CONTW:.-® ©i« P«5E TW?
                                                                                                                                  i^jjff'ijninri



                                    wsmEfi* ©«w
        %




s           m
                                                                       o

                                                                                                                        4-
    «   h
                                                                                                                                                            ? '


                                                                            ?                                                #,


                                    jsST’SS'SwSS’mmwS'Sw^^S^«»»'
                                                          «M»j««siE® w awrnw
                                                                                                                                                                                                0

                                                                   4
                                                                                                                                                                  «0.
                        «


                                         T
                >

                                                   rJawwww S»to»w^ f':®*'                                   "^SS^^SST                                                             Wf

                            I                                     .»

                                I
                                                                                                        I
                                                                                                                                      1                                      f
                                                                                                                r                                                            !
                                                                                          «


                                                                                                                                                                                        T

                                                                                              I




                                                                                                                                                                        <»
                                                                                                                                                                                                    4




            0
                                                                                     fi
                                                                                                                                                            «

                                                                                h



I                                                                                                                       I
                                                                                                                Ti-
                                                                                                           m-
                                                                                                         iik-
                                                                                                                                                                                                           sr •
                    <
                                                                                    &
                                              “^"V <“!ww®i» D-m^tsm                                                                                                          ft


                                                                                                                                                                                  t»«W»i8!-o«agte ■
    I                                         O                                                                                                                                                            (




                                                                                                  1^ 1
                                                                                                                                                                            ™         /«SM
                                                                                                                                                                            SWpUM)                    ft



                                                                                                                                                Aw
                                 «

                                              aW0«Ws«M»»SCWpA^i^«S C3<»i^tfZI^IZZrZIZ                                                                                        —
                                             jggnicg'                   ii>.^
                                     I
                                                                     Rwre-
                                                                            at&igstKrtiVa^                               -r                     »fsirrr<»       ^‘
                                             ««te-                                                                                                                    a>v^'»Ea-


                                             smmsEL^                  2li S3iaTS»S''’t'ml                             So.SS^SifsAS"'f35
                                             *CBWTV
                                                                                                                                                                 ^^p^'sS5l"’"~'
                                                                      wise'                                           f'sroitT '                                                     "jy
                                                                                                                                                                 ftsttsw
                                                                     Ye?,                                             y»                                         I»
                                                                     p;<f                                             "SjMk
                                                                                                                                                   A



                    a.
                                                                                    ft
                                                         F»_^ss« «i|»«S}                                                                        prfm«R3 to ««&» t12.'=‘» t^^ 6




                    9
                                                            □ ^J.gggHiyTl' mvi C»UE?g| Tig                                                                     HiA»^,”^'
        .   k                                                oAm ■                                              5a»»gfcr
                                             i »iKw»          Bwa»a{ gm
                                                  «^!»%»!:, <83 *;je^ SJ3 c®^                                                                                              _!_„.«»• s'

                                             ««S^»;(a(j»fr3:^Bai:^*jca e«ffc                                                                       .3fl
                                                                                                                                                                                                      ft

                                                                 4
                                                                                                                                                                                     fewiJS’
                                 4
                                                                                                                                                                mI
                        »




                                                              »CTOa».'wS^wm“                                           «3r:*gt^..,
                                     I   Uftow^i         swsm^jl
                                                                                                                                  >»

                                                                                                                                                       I


                                         iSS'^»w=ss»3s™s=&“gfeg5S1i'^^                   ft




                                                                                              (
                                                                                                                              i
                                         .g^saraafea «ra5t fem                                                                                                    1^

                                              3g«rrogft^,^Air^SSE
                                                                                                                                                                                      m        .

                    ft ,
                b
                                                                                    a
                                                                                                                                                                             ft

                                                                                b

                    9

                                                                                                                                       t
        *   V



                                                                                                                                           ■Y
                                                                            »



                                                                                                                                                                                                      ft

                                                                 I


                                 4




f                                    I
                            Page: 138 of 723               Date Filed: 12/05/2024                                       Document: 13                           USCA11 Case: 24-13671
                                         I                                                                                                             1

                                                                                                                         r                                                            .    »
                                                     j
                                                                                            I


                                                 USCA11 Case: 24-13671                                Document: 13                    Date Filed: 12/05/2024                                Page: 139 of 723
                                                                                                                                                                                                                     n ‘
                            i               4

                                                                                                                                PMIECm^ma^
                                                                                                                                     ■ mm$
                                                         I                                .i
                                                                                                                                                                                        me
                                                             I                                                                                                             i ,
                                                                                                                                 I
                                                                            W3SiE                                                     r                               ■ ^iiilSii
                                                                        j



                                                                         miMmCMFEEVlOm^AOE •                                                                                     S#^C»,0»,09 .
            I
                                                                                   Md^s^fett Oww;#aAf^amti
                                                                        i&Salftp-'- -                              i v--'’' -              I

                                                                        24CW®^aE«lc,|4|

                                                                        Ta®'               iXC.Parr 0*iWi'sa Aganffisai                                                t



                                                                      'SBlMfeig'
                                                                       ■ J50ftosp«i Avffii®,                                Ni
                                                                                                                                                                                             »


                                                                        Fere Items,Pan Owsser fe ai«ec«w»wgU
    J                                                                   Piefs«^ 265g &.51i OM                               m B5£
                                                                                          A^me.SAwy/Ni;M Ri 17,
                                                                 ' Hs^tewAHa^s,!^                                                                                 6                                                                r




                                                                        SitoJwLLC                     ' I
                                                                                                                                                                                                                               e




                        I
                                                                   ■ fasiCSsmi&iafe
                                                     «


                        I                                                                                                                              f' ■'
                        !
                                            fi
                                                                 <««^MeE£a'S{®fey ^|tKrap£A««iaj
                                                                        SG»flfFtefeTfefer©^ 0;miwjsa!t35
                                                         I                                .»                                                           r ;

                                                             ^          rftkal TfettSaving A«»o«ffi                                                    1:
                                                                                                                                                                           1                             f
                                                                                                                                 I
                                                                                                                                                                                                 .       f
                                                                   ■ fTOBfay«sjdKA^SiftA«^|os(^
                                                                                                                                      I-


                                                                                                                                                       j
                                                                                                                                                                                                                       I
                                                                              fwma®'
                                                                   ..       -•.'     ,•                            f                                                                                         I
                                                                                                                                           I
                                                                      2'i>!4PmdK m I Tsslw’Cancia'                                                                                  mmM.             •
                                                                                                                                                                                                             I

                                                                                                                                                       i:                                                                              4


                                                                 • 'ao                      &1S0L5M

                                        a                             2011 Eon&O^sseyV® ^
                                    »
                                I




    1                                                                 ims^maWMa                        ■                                                                                                         I
                «               k                                                                                                                                                   -mmM
                                                                                                                                                                  *
                                                                                                                                                                                    m^£9
                                                                                                               I                                       :

                    !                                                                                                                                         ■




                                                                                                                                                                                     ‘^jmm                                     a




                                                     «
                    1
                                                                      201TJ^s»te|SOSt                                                          •       ii .                          m®».»
                                                                  4
                                            t
                                                                      TOTALA^EK;                                                                       i-



4                                                        I                                 • ft
                                                                                                                                                       •r



                                                                                                                                 I
                                                                                                                                                                           1                             f
                                                                                                                                      I'                                                         .       t
                                                                        g




                I                                                                                                  r
                                                                                                                                           I
                I                                                                                                                                                                                                          #
                I
                                                                                                                                                                                                                                       4


                                                                                                                        I




        *




                                    »
                                                                                                               e
                                                                                                                                                                                             I

                                                                                                           b
                                                                                                  f


    i                                                                                                                                              \                                                             #
                «               V
                                                                                        r
                                                                                                    1



                         USCA11 Case: 24-13671                     Document: 13                 Date Filed: 12/05/2024                  Page: 140 of 723

                                                                                a
        I



                                                               9


i                                                                                                       \                                                t

                                                  9
                                                                                                                         S3B.Om0O
                                             2015 Bmlm Wliai^                                                   *


                                                                            I                                            $7Q,i}qaio
                                                                                                                                                                 «




                             <               ■ TtimLAss£r&
                                         u
                    »




                                 I                    .t

                                     I                                                                               i                               f
                                              j
                                                                                                r                                                    !
                                                                                    4


                                                                                                                                                             I

                                                                                        I
                                                                                                    I


                                                                                                                                            «
                                                                                                                                                4




                                                                                                                               *
                s,
                                                                            a                               I
        >
                                                                                                                                        I


                                                               9        b


I                                                          e

                                                                                                        t                                                9
    *   ^



                                                                   »                                            9
                                                                   t

                                                                            I
                                                       I


                             i


                                         k
                    9                                                                                                              4-




                                 I                    .ft

                                                                                            I
                                                                                                                     i                               f
                                              4
                                                                                                r                                                    !
                                                                                    «


                                                                                                                                                             I

                                                                                                    I

                                                                                                                                                99




                9

            »                                                               ft
                                                                                                                                        «

                                                                        b
                                                               9


i                                                                                                       t
    «   V



                                                                   A»                                           A.



                                                                            I
                                                       I


                             i


                                         4
                    A'



                                                                                                                         •f-



                                 I                    .ft

                                     I
                                                                                            I
                                                                                                                     1                               t
                                                                                                f                                                    !
                                                                               i



     I                          USCA11 Case: 24-13671                                       Document: 13                                  Date Filed: 12/05/2024                                       Page: 141 of 723
     I                                                k



                                                                                                                                 ?AKr&-&C«'ME
«f                                      «                       »« tewfecar# tet•sac^                                 #w&,ssiSssssAs,a,-^ kUKim^m,Psiem vSmi                             smutimm cf

                                                 3. MJfa» m 3msy^Esy »?s%s«w                                              w msw wa <aWa.Tsitpp^ w staawswts.                                                       }
                                                           •tStfi0V'S4!tiyEM,isia4Mj.*ij«^j»«s55'<^?!!«^3i3«itoE®&i« ^i«6!!«iai«iprarjc»S!3-!TO!«Jor«^»8*Tlf(,
                                                 «*Wf m»«(» W MSSSa.»«i-tess««wa «a(pag» 5.J:
                                                                             gaeg.)^ g^.rg&as s» as r                                                                 saag. ;            - ^                        ifmxw
                                                CtojtC*«3a^                                           .'•                                                                                                      SK5.,£<»»
                                                SmvOst                                                                          ^S-Z^$$SVIM^ Atmrsji, Cs«3Scistesf.?i                                           7ZWG-C8

                                                 SioSWWfJ3SS5JS W wc®3!<?«iaw'artirwT*.«&»«.,                                                                nEsrisij s^iiisj®(j
                                                                MisarEisf                         iwajg ey mua^ a».t»rcs                                              jejskxi?                         fWiC*P.>« S.a;»SJS
                                                                                       !                                                                                                       !
                        I,
                                                                                                                                                                      y iciaag                         ^frwfTf y
                   »                            Citt^lte^ag                            f gw Salteg/teniag                                         PO Bn 220                        ,VJ
                                                                                                                                SiS               P O,te m ?,l£:iAfc»..'^:i
     I                                                                             “PAKTE-ISI^ISIS JN'$?ICWa»t|WX»Sitessm«fa» ft»psi^<Si                                                                                fi
                                                                                                 mso*i%'iu^nrei %                                   ojSP&tR-mrYifi
                                                                                    £eS^.U.C                                                                                                   Q®1 Hks^
                                                           fsasr
                                                 rt-       £'g<aCTnv                                                      EswsasiWs.PS.   Ro:goxsso ycAfa?. miF.Q.sm 855 y&‘Em ty
                                                .*CTWyr                                                                                   PwpsjrtyRssSij                                                                                         d



                                                 ®a?nxs' ■. ■-          ■“           PuTts
                                                                                                                                                                                           f
                                    t            vgrHi!xt-ri'      -                                                                      Psater                                           ^ P!55»
                                                 rqws«s5Ts^«y%
                                                 ifiteSSTMIW gUgE^g,                 res.    •                                            rs»                                                  Y<»
                                                 suites Mr
                                                jSCTsaaafi* .ai^sssr                                                                                                                           »33r»       .


i                                       4                                     .4                                      '         R4Kry.mA»JSC
                                                                       fa- eSsaffi ■jsMJod te ssss^ete                                a*te «i3r,»f pwssaiB to ssww nSJ !■«£ F S.                                   V


                                                                              OAJm '                      ‘                                                                                                                             I
                                                 f. If* pss^sf *;5ss^ <»» »• ‘STSajfB-                                              SmC® »les tStvmi} meg **»»«»* 6«fEj»* tm SUi fr ^ .•»»
                                                 fe«**YtF s'** fc--I»> Sfc fetNsC# sn -JlBt! CT ^!8St»
                                                 M 8ly t3!5        -?nyTS3Ft «B(raSa» * SSr. tew                                                                                                                LMMi__. ; : ■
                                                                                                                                              »             1% #»?
                                                 ir»»«««ms«5                                                                                                > ■.> »--•»
                                                                                                                                    1^'
                                                 Snsw^te-              V                                                                                                                             (IK.
                                                                                                                                    i«-
                                                                                                                                                                     '-- -'■ . ^
                                                                                                                                                                                   *a«s*i3s>3^Y!S*j.
                        e

                   0'                                                                                                                                                         «» P»»ws:S««'f?Sa:*K«„„^
                                                                                                                                                                                                       e


                                                 s&mm :-w..

     J                                          rr#
                                                3»5g'                  •nffctSwsssaSjMjasfa                                                         t                                                                   '           ■
         «.   ^




                                                ^^&®«*”**'**'^*^******                                                                                  «w*#niack.>a»te5^#>!!^V*?f. ’Msferasa**»«•««!*as*
                                                                                                                                                                                                                                                 s




                                    »                                   S^fiKK?

                            *

                                                          i^',>im-‘Q^m%m^jj^Ttut&wg£AMx.c<t»»rvmmt»0M^AUA'msmrr,piK«,9zrmcMfgi:aw Q
                                                                                   :?*«9.:RAS                     ^   ^     '




J                                       I                                     .4

                                            I                                                                                                           :             t                                            t
                                                                                                                                          r                                                                         t
                                                                                                          «


                                                                                                                                                                                                                             . .■ - I. :.   ..
                                                                                                              f
                                                                                                                                              I




                   0
                                                                                                      t
                                                                                                                                                                                                       I

                                                                                                  k


     I                                                                                                                                              t                                                                   f
         e,   *>
                                                                                                                                                                           *
                                                                                                                                                                                                         4
                                                                                                                     A




                          USCA11 Case: 24-13671
                           •V-
                                     >                                            Document: 13                           Date Filed: 12/05/2024                       Page: 142 of 723
                     •,
                 »                                                                          a



    i                                                                                                                                                                      . m &i m

        K   V




                                                                                   •r


                                                                         «•


                                 I                   'ftfi-Ttfe
                                                                                                                                                       tT~
                                                   « t.
                      4

                                                     aaSiSfeSS^'SS^*me^£ij^ffia'&»fer|.-sr.»*Kp5^ fey£fea^5-A'.
                                     I                                 .»
                                                                  a4TE
                                         I




                                                                                                                                                                                            I


                                                    aCfai         jjrs!5CT»ftrf-<® sa^feic 5i>j^                                                                           •»
                                                                                                                                                                                                         A




                     «,

                                                                                        /           t^xnm                        —^
                                                                                                                                                             ■ ' sovtcT^
                                                                                -«                              «cia^
    i
        4   V


                                                                                                                                               b




                                                                                                                                                                                                «




                                 «                 otJartiw® r<f3«a^ir«i

                      4
                                              ?te«-
                                              SS2i»<rff«’4
                                              ttaifeirf.. P|l.»Hl t —


                                         «
                                                                                                ~'“'»»'i«=»=iS£S35,tSrs““‘-■- ^1
                                                                                                                               »
                                                                  s^Osa£L!,^
                                              ..      , r _^'/ ^^.r-*—, /                                 ..'
                                                                                                                             i   '
                                             %C«s»tt»Wrrii'te, ii^ift^i'^.                            i
                                                                                                                                                                           4»
                                                                                                                                                                                                         A




                                                                  ^cf. . O ti l iw£                 JS-
                                             «fw w® sassKflai#^ «*,„
                                                                                            e

                                                                                        k



    J                9
                                                                                                                                      ■}

                                                                                                                                     t >                                            $
        4   fc

                                                                                                                                                                                        I
                                                                                   I»                                                          *




                                                                                                                                                                                                I
                                                                         %


                                 4


                                                                                                                                      i    •
                 - ■ 0~


                                                                                                                                                                                                    ■m




i                                    «                                   .8

                                         I
                                                                                                                 1
                                                                                                                                                   t                            f
                                                                                                                         r
                                                      j>

                                                                                                «

                                                                                                                                                                                            j
             USCA11 Case: 24-13671          «
                                                        Document: 13                       Date Filed: 12/05/2024   9
                                                                                                                        Page: 143 of 723
                                                        %




    •J
                         4jjWV’■
             t.
                                     ,..).^           5v.
                                                      ir-                                                                    £                      ■ J
                                                                                                                                                   s4
                      «3W©r BU3SS« tn#:                          Rai^ 3: is&TSSnpfJVienl Rcf«i
                  ^A^A«5s                                        Inspect Av» Ii«5te5ttw^, MJ                                                            I
                                                                                                                                                        I
                  I
                      Ps|j1C<p4Pw;«f* .*s                        f%rv.S9i¥f«»W
                                                                                                                                                        ;l
                  f V’ :'                       'A.
                  }»
                  3
                             w |bdJii5T»i.'Wi«s 4                !>»«                                                                                   ■f


                  Ihi”               [<■ »-1                    4 t«i«a RofctJ 1$ «                  .
                                                                  *43^ N-aaj* 3 I          mr-'i
                                                            ,                         -   - ■   •*




                                                                                                                                                             h
                                                                                                                                                             s

«                                                                                «                                                         *




         «                                                                                                                                     %
                                                                                                                                                                                                   A




                     USCA11 Case: 24-13671                           Document: 13                         Date Filed: 12/05/2024                                        Page: 144 of 723
                                                                             t
                                                                                                                                                                    8.
                                                                         k
                                                                 f


    I                                                                                                                                                                       M'mm
        *




                                                                     )                                                                                                      msm
                                                        'J
                                            MlWidd^mr$aust&wliftfttte#Cc^isstooeaBteoa,lisstfa0gifsnalfsi                                                                                  t

                                         , to'ig&gpai8d^c^e5i*rf6ffftfai?:ilwtd®«afefSiflaiS»swOTde^ feCsesSSfSf
                         J
                                           asi CSroafBflJ 8f£l»                           lartTztsI
                                            Naaiggftefe:                 x^incmMi&mmmbm

                             I
                                            AidTm&l¥^>f^ r^isR STREET'xxm nd.Kxmr.n.
                                 I         R8» w««l%r^gas ym rweSed dKjn^igfe wetefef diss&rjmr«r@ wJji# Itt
                                         . S/©ai€',»j*5drei feyCaf}« SDP3sb#Cws*ffipi af£&« f!e4» ofJaEdImJ Casfect
                                                                                      «


                                                                                                                                                                                    I
                                                                                                                                        ^8la«
                                             sOfC-*.                                  »




                                                                                                                                                                            4




                                                                                                                             ■■ *




            0
                                                                             t




    J           9


                                                                                                               T


                                                                     »                                    mt            .
                                                                     I




                                                                                                                                                                                           6




                         «                ■i—isiiij*
                                          Sm45l|rsw«
                                                                                               fe® pKtSce^sM ai^ftfeiSs*«F« «saaefei;Mag
                                                             mesp^s^                                                                      io «»                    ^teeni:ss
                 >
                                         ® trsift

                                                                                                                                        {SOfAWSEAl,}
                             I             CSigasKr®                 fSSdsI}
                                 I   ■
                                                                                                      I
                                                                                                                                    I                                           f
                                                                                                          r
                                                                 Au&>8*ri K A^tjljswa* <tefc)
                                                                                                                                                                            teite   I
                                          Hy&ams^ agilres:                            jIm             i0|i»
                                          S'm&m ts an#                                    mt      'iM -dav »f.                                           n ■
                                                                                                                                                28. iii iij- 1 1    .       «
                                                                                                                        v'



                                                    » m$ SRM ?3S             TT
                                                                                                                                           «
                #,
            »
                                                                                 ft
                                                                                                                                                                        «
                                                                                                                   ;?
                                                                         b
                                                                 9


    I                                                        e

                                                                                                                   Ti
                                                                                                                                                                                               «




                                                                     »                                                   #


                                                                     ’       I
                                                         I



                         «



                 4




)                            t
                                 I                                                                                                  A                                           f
                                                                                                          ■f                                                                    J
                                             J

                                                                                      «
                                                                 A


                                                                              k
                                                     *
                                                             USCA11 Case: 24-13671                 Document: 13                  Date Filed: 12/05/2024                             Page: 145 of 723

                                                                     I
                                                                                                                                  A              rj:
                                                                                                                                                           S'-'
                                                                                                                                                                                          E^.
                                                                         I
                                                                                                                            ■n    I       v^ ^
                                                                                                                        ?
                                                                                                                                          ; S.. ■*                IfT^'                           »i
                                                                                   a




                                                                                                                                                                                                                I
            I

                                                                                         ttsbank                                                                                              #
                                                                                                                                                                                          I




                                           »
                                                     I,
                                                                                         ^Utll^^A:
                                                                                                                                                                                     i




                                                                                                                                 eje^ienl (x^my^m,
    i                                                                                                                                                                                                  t
                •,           k
                                                                                                                     toftWe«ifei^^rj«isfitf as. Saswp
                                                                                        '^fi^aupp, 4^. If» c»jjipmj*        «w®                                           3^
        •            I
                                                                                               ®tex| ®»4^o^y         j\rm, wf                                             a

                                                                 A
                                                                                                                                                                     to CSIWJIBW,
                                                                               $




                         I

/                                                                    I

                                                                         I
                                                                                                                                                                                    ■i.
                                                                                                                                                                                                  f
                                                                                                                                                                                                  !    ,
                                                                                                                                                                                    I'

                                                                                                                                                                                    s ,
                                                                                                                                                                                                                I

                                                                                       ftrC»a^                 .;'                    1




                                                                                       ftsssefe»»,3rgf3g^^ai8f®s^:

                                                     0


                             t




                                                                                                                                           \                                                           ll
                a            «•




                                                                                       &fis!%^aiSto^|l^ &rtsi                                                                                                       0




                                      I                          A

                                                                             ^ k
                                                         M




                                                                     I
                                                                         I



                                                                                   J




                                                                                                                                                                                                            1




                                                                                                                                                                                              m




                                          ■'.D
                 '           I
                                                                                                                                                                                    0

                                                                                                       k
                                                                                               #


    J                                                                                                                                                                                                  I
                «                t>



                                                 I
                                                                                                   »                                                   A
                                                                                                   »
                                                                                                           i
    I                                                                  5
                                                                                                            a
                             USCA11 Case: 24-13671                    Document: 13      Date Filed: 12/05/2024        Page: 146 of 723
            1
                »                                                                  n&m         '5^ I   »


                                                                                                                               Pxh-Bt
    i           •
                                                                   Qias6&Co.rsfeedtiiair price objective                  I            $




                                                                   Ofi$|arppfys,'B3«cprprfpii:isSlip.': '|
                                 i
                                                              1$58J@aip pvethecofnparif:a.p€iifBf -I                                            t




                        fi
                                             <k                rattiigjis3research iKsp.cmMbfflsi'.                       'I
                                     I
                                                          ■ -Hoveiiiter 4th.Chagrouplower^'-^ar^ ■
                                         I                                         ^oRia"p^teaFf^Sigli''^ f!i
                                                              3*self r^ngand decreasel                                    I
                                                                                                                                           I

                                                              fergetf©j:iw$t)ock%c»n $54iDto                         ’M
                                                             »9illIn a r^^rdi rei^rt                                                                    4




                    $
                                                              pctobgiitMoFsaii^aiif^tesfetj^a _ 1%
            I
                                                                                                                      A
                                                                                                                                   I



    I               '                                        target Cwji prevfewsly pjin$6^p|ah                                        t
        *   *




                                                             shares c|f US.iancorpIn a res®irch
                                                             ppdit art Mcrnsfe^tpvfmbef                                                         «




                                 I



                        *
                                                           -CreditSyfese^roypret^a^l^?;
                                     I
                                                          'mtff^andis^eiJa.ISSSOii'fcetergeton
                                                           •a';ft-.- ■.•-• •/. ,•.• • ,:;.'.s.^.':v.r .. r, " . ' '
                                                                                                                    ..
                                         I                   sliar^ of IIS» Bsipocp m a research                                ff ’
                                                  J


                                                            r^rt ORJIjiirsday, Septeb^-iatfc
                                                                           ilgSGroypIl^d Pe|f price
                                                          ^tai^efcon stores ©f US. S®«©ni fioin                                                         i




                                                       I $56.^to$58.0§aiidgavete$pi^a
                    8,


                                                      '■ *rieiJrSral'*^i^^ogi©are^archre|5©H'©ri
    I               '                             • :.l MOTicla%0cfefe2jlst^|fMstfr^: j                                                $
                                                                                                                                                    «




                                                      I                    havWWBd'OWAlMi^' ws^fhaseJl               :j
                                                                           I
                                                                                                                                               .«
                                                          ■ ^v'r


                                 I


                                             ei
                        j




>                                    I
                                         I
                                                                                    I
                                                                                                 i                             f
                                                                                        r
                                                  j

                                                                               8


                                                                                                                                           I
             4

                 USCA11 Case: 24-13671ms Document: 13                 Date Filed: 12/05/2024                Page: 147 of 723
                         I



                                      prinafsl asspfilof                mw notes cfei© 2029.

                                      la                        coiipf^^ @«»aajimit teiMfer
                                      ofertea’ifaifaicrfe«Wf^i5.S?5%»il0f _ ,
                                      r»t» d«« asa.C37S%ss^srfwtm s&g             ^
                                            seafor aaias«lue 2)2S, which- we« psitffcr
                                     ^iw pr€«»Jsitomf» wate"ael» efeflr^.
J
    «   i                            ci^ioyp'SloWIteitefeiteJj.R                                        ).                         sS;



                                     IXC*                   Csp'« tea,lloigsft Sfenfey & Co.
                                     ILC,MUfd SeesISte AnwnW tea,^C C^fef                               1

                                                                                                                               <


                                     l&itets,LiC,SilKJ Hicte S^oi^tte Aimmsa^ loc.«
                     4
                                     ID Seatftte ium)LLC,Dmf^e Stats &siirlfes
             »
                                     im^’MB FmmM Maite® IXC» ©IP Paifess
                         i
                                                     Csirp.^HSK.Seai^fUmiifw„ Mlatto
                                     S«wfc^l^Li0;W^f=^gB!^pji|ies,LiC,                                      I-   f
                                 j
                                     pm:&|fe|feiigfelie,mm Gtpial(US^Ifife, /                           i
                                     m4 US,Bmmip te¥*steienls, im,                 eli»
                                     siflidaisQt^s Ii|wlvs4 In &m                     "
                                                                                                   J-

                                     £i|ylr»^ m AwmImo sioiaKtjoMl esa^m^
                                     liia^i»fcrasl,lr?      (%,-        mmm^
                                     mm tan S^8S& awspanles €mK^jto-tt^
                                     smtomem.s^ psitwsii»klef» wefftfsiiri«l
i            m
                                     tefercoRaacted dalf e«teis. To«fef,
                                     fetefSi© i»                 stsrwm^te pteform ift62                             t




                                     stai                     gmm t®              ite4=fe:rc.
                                                              iEs^arsd/^tro.
                     A               Ifc© ftwls Poit                 tesfs aifiiirfed p3rta«^
                                     i^n F.                    tFMw®}ani&i%R^er& sikJ
                                     assesj^^^                                       €«pan©.
                         I           Psft««r »«fiM O.                  poi^©^ »iai¥i«s eii
                             t
                                     »o^J. Tajlof                     ^o«a«S^Actad¥lm                            f
                                                                                                                 f

                                                    fe»gamer;                      Cfevis ^ic&              .
                                                                                           5^§jl^«sv.
                                                                       I




                                                        A
        TP

                                            9
                                                    k



J                                                                          t
    «    b


                                                I
                                                »

                                                        I
                                                                                                                                                     (


                                                                                                                             ■6. '
                                                                                               ,.6:45 „                                                                                          ««3l
                                     USCA11 Case: 24-13671                                                     Document: 13                         Date Filed: 12/05/2024                               Page: 148 of 723
                                                                                                                              »
                                                                                                                                                         I



                                                                                               What's the relationship between JP                                                                                                                    4




                                                                                               Morgan'afid yopgan                                                                                                                I



                            I
                                                                                               httpK//ww^.cpoii^.som/Whabrihe-ml8ta^|^s.                                                                 I




        1               •                                                                      Apr yz, 2tl1S',-    Stafi!ey.¥i^as;form®d't5^'jp
                                                                                               yorgan's femily due to s rei^ylstido.^i^ r^blred                                                                                      t



                                                                                               Cor|> aid fevestmeot ban^cs to fee.separated, JP
                                                                                               ycrgan stfel owns part of Morgan Stan!#y, though                                                                            i




                                                                                               feoy are not major share holders: Sopus answer
                                                                                                                                                                                                                                                 «




                                                   «


                                                               ft
                                 *
                                                                                               Citigroi^ » JP Morgan, whos bfggerand belt,.
                                                                                               JeoM, 2019
                                                       I                                       • ^
                                                                                                                                                                                     •I-'-- V


                                                           I
                                                                                              Are JF Morgan and                                              the sards?                                          . 1
                                                                                                                                                                                                                               tf .
                                                                    J


                                                                                              ^yay2S;'20tt                                                                                                            ■f



                                                                                    :.,                 • '= '                    -   :,   -va' : X:t.            V          ... ,              .'   .

                                                                                    j Are Ihe roots Qf Morgan Stanly and jPMorga,.,                                                                          ■
                                                                                                                                                                                                             ■
                                                                                                                                                                                                                 . \
                                                                                                                                                                                                                     ■!
                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                             0



                                                                                    f Jel.0^2015                                                                  !

                                                                                                                                                                                                                                                     4




                            a,
                                                                                              Are JP Morgan, Morgan Stanley and Ctese Sank
                    0                                                                                                    a
                I
                                                                                                                                                                                                         f
                                                                                                                                                                      *• TT' 2.'*
                                                                                                                     r


        J               •                                                   ■ 'y&rgari Stanley                                                                \
            •   ^


                                                                                ■             wiiw.n|pfgair»tafiley.c®«i                                              .                                          t




                                                                              Espte Morgid Stanlers SmmmbiB Investlr^                                                                                                                            a




                                                   4                        ' Somitiit, vrfwdi gathered^industry leaders to share
                                 *
                                                                                              idim end Insights aboat IrmiwadsK^ In sustslrafele ■
                        1
                                                                            ; 'feance. fn^'tote for Sustsinable Invest*^
                                                       I                    i                 Sblropfeneyrs end the-flace fer Flas& Waste
                                                           I



                                                                    J
                                                                            V
                                                                            !

                                                                                                                                                                                                                                         I


                                                                                                                                                                                                                                             0


                                                                        f
                                                                                                                                                                                                                                                     4
                                                                        J




                                                                                          i



                            a,

                I

                                        ■‘-If...
                                                                                                                     k
                                                                                                          JL

        I                                                                                                                                                                                                                            t
            .   k


                                                                                                                                                                      *
                                                                                                                 I



                                                                                                                     >mm>m

                                                                                                I


                                                   4



                                0




i   «                                                  A                                            4
I                   *
                                                                      ,Document:
                                                                       <                                             Jpfacrqaii                                          f
    «       k
                            USCA11 Case: 24-13671                                13                         Date Filed: 12/05/2024                 Page: 149 of 723              .^5
                                                                           i'




                                                                .Stewing mm&forcfm&mMmtlm Is Jp                                                                Eifi.D pgJ
                                                                                                                                                                                 *




                                     I
                                                                 tmi^                                                ..
                                                 4
                                                               < &ai^^^feriteeMar#i$lani#jprooigao
                                         I                      .»

                                             «                                                                                 i                               ; f
                                                                                                                                                                 ?
                                                      J
                              '•i.                                                  d


                                                                                                                                                                             I

                                                                                    f




                                                                                                                                                                4»
                                                                                                                                                                                       ii




                                                                 ite                        co?r«|ariy «»                          teii£«6ffj as
                    a,
                »




                                                                 ranfe                                                     Ift2^^1^
    • ^                                                                                                 Ckjfpwtito^                    wife JJI                          I




                                                                                                                           t


                                                                       -'■4
                                                                                                                                                                                 a




                                     A
                                                               ‘ ilPPor^ Gi»e - WMp^fe-
                        0


                                                                                            -v.',   V                -Ov




                                         I                     ’ -^PMeifan.Cfi^t^mipedla
                                             I



                                                      j

                                                                                    6



                                                           '; Thsaiii»r>t^iii^^w®ai^raiFtow»                                                               t
                                                                                                                                                                             I

                                                             ^       strife                                                                                i
                                                           I SRii asswisd that asuips^s i^n©. ijie pf»^
        I

                                                           f           .
t

                    a


                                                           '    Co.
                »

                                                                                                                                                   a   V




                                                                 «

                                                                                                                     t
    4       V


                                                                >fe^SfPl«fs.* ife«r v«sic C%                                   Yo*. tfeited
                                                                           '    I
                                                           , yj^,teUSS2.76S«on(ai1ffl                                                                                            a




                                     i


                                                 4'
                        4




                                         I                      .ft

                                             I                                                                                 1

                                                                                                             r
                                                                                                                                                                     ♦
                                                      ji

                                                                                    a


                                                                                                                                                                             i
                                                                                        f
                                                                                                                 I

                                                                                                                                                                *
                                                                                                                                                       I
                                                     J

                                                                                                      t




                                 USCA11 Case: 24-13671                           Document: 13                          Date Filed:IS
                                                                                                                                  12/05/2024 Page: 150 of 723
                                                                                                                                         liMSKiiB
                                                            ■fewsfc                                         f
                                                                                                                        I


                                                                                                                                                                                         4



                                                                                                                                               tmmm
                                                                                                                                                                                     (




                                                                                                  t
                                                                                                                                                                «


                                                                                          t
                                                                             ?


    1                                                                                                                                                                        t
        6        ^


                                                                                                                                   #
                                                                                    ?




                                                                                                  ■■;■’ ■                        a0Hl«A«,                                        I




                                     i


                                                 s                                                                                                                  #i
                             »                                       ¥m                 m,         mmj$:m
                                                                                                                                                   Mi
                                                           \'^M:
                                                           iSmmit
                                         I
                                                                                                                                                                     I
                                             I

                                                                                                                                  »:S*iSii»"          Syte'
                                                                                                                                                              !»«i* I    f
                                                     j                                                                            m.mmmmim$.




                                                         i AfSSli,




                                                                                                                             t
        .        k
                                                                                                                            »:
                                                                                 I
                                                                                    t


                                                          ««:«!?««»■ .
                                                          ;SS»W«:il!«!^:
                                     i
                                                                                          .«wfe»»ift

                             *
                                                                                                                m



4                                        I
                                             I                                                                                                                           f
                                                                                                                                                                         ♦




                                                                                                                                                                                         4




                                                                                                                                               *
                         9

                     »
             I

                                                                                                                    CFmmmmmm.                         P^#f «sf I
                                                         ,' ,S; ,        i:; i. .                           .i              i-         ;
    i                    t9T

                                                                                                                                                                             t
        ft       t



                                                                                 »                                                 «
                                                                                    t '

                                                                                              I

                                     i



                             »




I                                                                    %
                                                                                                                                    6




                                  USCA11 Case: 24-13671                                                           Document: 13                                                      Date Filed: 12/05/2024
                                                                                                                                                                                           i      iiiitiiii                                            Page: 151 of 723           j4),2§
                                                                                                                  ■




                                                                                                                                                                                                                                              CFw    ats 1 sRoisasss-                  4
                                                                                                                                                                                                                                              » ih     H um iin'i
                                                                                                                                                                                                                                               mmmrn. 53/15/2012 i&mm
                                                                                                                                                                                                                                                           ccitR w ia*t
                                                                                                                                                                                                                                               H3iias»8*e ;@iarf» rtwiRi
                      s
                                                                                                                                  8;:
        '21                                                                                                                                                                                                                                           6


                                                                                                                              k
                                                                                                          9


    I                 9

                                              ■COIEHJTIVE MSI0K%rENT OF MOIJGACjE
                                              ^ssKKiwiitssilistw                                                      '
                                                   11              'itct”>«. ts«                                              »<8«ic«;fc EiiCTtef^sc wr.fsm*wK                                                                                                                s

                                          rsGW^O^Tm Ai si«a|«x roa amom hsasciai. lam-Es,                                                                                                                              »»w *si#sv it
                                          PA K* lais, F«. »i    S, »r£7« -TW-rs*^                                                                                                                                            HATfiJfSAl.
                                      * ■ ^iiseoACTv «? xmsmz toe k.i>c »a»w f a. sp-" ® ^                                                                                                                      »* ! i»e >i '^•.'^»      ■
            ;• :«                             .«r»Wan-'JAPA twm.’M                                                                twp».rfiartsS^/I.m                                                 ^2*
         '2'                                  aj<53, * ?*is p:.**.               w*- !»•'.' •>«. iasvtf! s-f.^'iASKJABC                                                         r»? j»                                               : »wf-

i                                         I                  tm m, mscArm                                                 sarwj?. r»RT,8. *ccpj»Kg wrai
                                                                           , A.1                                          W                   s«>«                    »« «■* 02 TO ■
                                               I                       m Mttsii»s«c fTOT^n', fwaa*                                                                    ^                                                      I                                   f
                                                                                                                                                                                       f
                                              M             asm JS£^ few                             SS«^

                                              rUt mamsn si en < f»i-as*!»sr A*!r~~«a Wsriyr « lumf                                                                              Aa.p«w m'                                        ®                                        I
                                               n'p^,zm « i«4US m3m7M’t                                                        ihr sfer s! SSSS"'- -f “J-n'-ajM PsiJ#). «a«fc bf feiA-tf
                                              *»iS!fS«tSi;S!B*:S: ■    '                                                              //'.        '/' , /        /
                                                             ‘■' osssp# !9 »KT«'ACt gsaxexx kx*isiMT»xH .lYiTfela.
                                                             *S »«3«9d r*» AS'/M r^^A^;CU^,              «I?.T13A5F
                                                                                                                   BgQggy^^fS ,
                                                                                                                                                   ^ »«fcwa; ro* -tSAftcc'iSMs
                                                        ■    rw«itr.4itLc«w***;eBB5tj-                                                                                                           '       ;: :

                                                             »/oxTSAe»i8j .iE»? ‘AiiiA.’vs                                              ...       . .                                                       ’ . .^
                                                                       -A’l/'''.';'-..: •kr/2 /' . ^ /.'■ .;V.V       2 /•. .       r 2. 5 :'■■/^:^•■2■ ■r;■■■ '. .       ' ,   ’’ ■■■■■■• 22"/;.;-i;,;.;.;..;:./' -.:'-\.             4 ,
                      f,




                      &

                                                                                                                                                                                                                                                                      $
        4         >




                                                                                                                                                                                                                                                                              e




                           fi -
                                                                 tcairsris^^si        •.« '>1                      J»
                                          'CCllSlir'SJ^ e€ r^Tfe y .jj® SitssE Sf !.««fi^ACK a.ECTSs.iAJ?;,fen4KTmno>
                                          I2CT6*
        f ■

                                                                                                                                                                      8
                                                                                                                                                                                                                             I                                   f
        2
             5;                                                                                                                                                                                                                        »
                                               "tim (k!S»»
                                               i'ti-;'* tkSl;-''; Urn- iurmst. V 1,:
                                               r 0 SfiSK&lI.                                                                            I
                                               t*3a,f«. ST^n-»-8
                                              tmamtssitci                              m
                                                                                                                                   twtp-t


        /
                                                                                                                                                                                                                                                          p
                      8,
                                                                                                                                                                                                                                               ■|'
                                                                                                                                                                                                                                      ?C
    s
        .■: p                                                                                              9
                                                                                                                              *

                                                                                                                                                                                                                                             A iaSilf.o
                                               S«bK2a033/Page1|S5                                                                              CFN#2012018^035                                                                                                ■Page 1 of 4
                                                                                                                      t


                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                                                              8




                                                                                                                                                                                                                                                                 I-
                                      «

                                                                                                                                                                                                                                                                 1

                           *




/                                         I                                                .1
*                                 I                    .6

                        USCA11 Case: 24-13671
                                      «                         Document: 13                                 Date Filed: 12/05/2024                       Page: 152 of 723
                                                                                                      1
                                                                                                            fpni|]iiagansjiB
                                                                                  6

                                                                                                                      ■«jfe 2«|                 ftwr, ■
                                                                                                                        ■                       ®««it
                                                                                      r
                                                                                                                  I




                »
                                  ASSI^MMEMTOFM*
                                                                      ■       i           '
            I
                                                                                                                      ■■ »fi«iW*»»i«,’ri!ls,»i»M'

                                                     829S 1^

    1           m

                                  ^                                                           «»»»►         W«TO*PG« nwciM*                                                                «




                               S^fiSSiSJS2Sa2S“‘
                                                                                                                                                                                       «

                                                                  ssTTOff F sm-r t,                                         w
                              A




                                          xmi%mm.«*. (M.m’mm,m
                                             n n                'to swa^ *gs^ ^^t;S54 ®*fcu^<r^ l£»
                                           £-mj
                                                                                                                                    i
                                                                                                                                                              .
                                                                                                                                                                  f^
                                                                              M8KIC«»                                       Rttrowmv


                                                                              *                                                                                               I
                                                                              <.J
                                                                                                /
                                            mM,                                                                                                                                    #




                                                                          •tte:
                                                                              a
                                                                                                                                                          «




    I                                 —j^SsE&slsa.                                                                          V
        4   ^                                                                                             r-;.--'t

                         "m

                                      ^SSSggia5^,gS?^””«5y                                                                                                        I

                                                                                                                                                                                       «




                    4




                                      i                                                                                             1                             ?
                                                                                                              r

                                                                                  «


                                                                                                                                                                              I,

                              *F07012148*                             . ^ ' ^Mooi lor
                                                                                                                                                    x:



                                                                                                                                                                       :l
                                                                              I                                                                                        i»71


                                                               CFi^®i«gfi;
    I                                                                                                                                   Page 1 of i
                                                                                                                                                                       t
        4"^'

                                                                  I                                                             *


                                                                  '       I
                                                         <


                              I
                                                                          f


                I
                                  USCA11 Case: 24-136711:33
                                                          Document: 13
                                                               I
                                                                                                  Date Filed: 12/05/2024          Page: 153 of 723

                                                                                                                                                ExkH.
                             fi
                                                   4

                                                              i Wimbing,cofiiiseaPcfi?c|=mor... Q                          : m»m            r


                                           I                  '.'6'

            I                                  I                                                                                                    r
                                                       j
                                                               morgan Stanley brokerage acK^nt is m                                                 !
                                                                                      «

            I

                                                             m                                             VIDE« ' SHOPKM5




        i
                        »
                    k




    I                   •                                                                                                                                $
                                                                                                                                                                     I


        k           ^



    -   !




                                       «
                                                             M^aa            f$ both a reg'fetered
                                                             teater^dealer and investiii^ ach^str.Ifewr                                 i
                                                             Mf^aanStsRtey Accessfrivestingri^SAn
                                           I
                                                             a|C0u»tis a discretiofiiary fru^steeni
                                               I             «l¥isory:aeaiMit                                  ^ley is                              f
                                                       j
                                                                         for rnmhwimm^tm model                                    {
                                                             P«rtfoios:ih yom MSM ae«wi^:3s,m^ias                                 -                          I

                                                             any reapnabie r^lc^s ymi may irap^e. ■
                                                                                                                                    »:



                                                             Access Investing
                                                                           |                                    ^rtey'
                            e,
                                                       ;     ww^^--*^«»^nstsnleyconi^vhat-¥«-do/wealft-^^
                        »
                                                                                  I
                I
                                                                                                                                  4 ^
                                                                              k
                                                                      P


    I                       *                                                                              t
                                                                                                                      feedoacfe
                                                                                                                                                         f
        «           ^


                                                                          »
                                                                                                                                                    I


                                                           ■ PEOPLE AiSO ASIC
                                                                                                                                                                 e




                                      I


                                                                                                                                   ■?
                             fi




*                                          I                   .%
                                                                                                  Q              nr


                                                                                              f
                                                                                                                                                    t♦
                                                                                                  t-
                                                                                      4




                                                                                          I
                                                                                                       1

                                                                                                                                                #




                            e,
                        »
                                                                                  1

                                                                              k
                                                                      p


    J                       •
                                                                          b
                                                                  9


1                  USCA11 Case: 24-13671                              Document: 13                Date Filed: 12/05/2024
                                                                                                             t
                                                                                                                                             Page: 154 of 723
    ft   t



                                                                      »                                             *


                                                                      '■ i                                                                             Pspi^i

                        «


                                    ■it
               »




                                                                                                                                                   nmMmm
                            I                               .h

                                i                                                                                       1                              f
                                                       es.                                                        lKlWC!W5ifaSf»'
                                                       msc^mms                        •■-     ■              .    OTWWJ|»Km€S«ii‘
                                                                                                                                                               I

                                                                                                         1
                                                                                                                                                                   a


                                                                                                                                                   «
                                                                                                                  '.: casciir^cimiWM..                                 4




              »,
                                                                                      rnm^^,
                                                                                                                                         r




                                                       l«W«5€fes»«'l«wws%«Ksr-
                                                                                                                                       ‘M
I                                                                                                                                    m s 2
    ft   <>
                                                       ft^M«%wa8te2&W5te^^                                   t:                              f g           $
                                                                                                                                             TT:

                                                                                                                    *

                                                                                                  m.
                                                                                        «*i
                                                                                                   mi
                        4


                                    pli

                                                                                                             /

                            I                               . I

                                t



                                                  J
                                                       ftaU^iPAil^eftlMOipiAjiSB
                                                      - strnf-iM^mmSKmL

                                                                                                                                              •fe.
                                                       asa^CasS’E's*



                                                       t
                                                                              a
                                                                                            kmm
                                                                              mmi
i             9


                                                                                                             t
                                                                                                                                    mn                     t
    ft   ^                                S-:


                                                                                                                    *
                                                      - Omm                                       ■t-l

                                          ■^.r.               t


                        4




                            I
                                «                                                                                       t                              f
                                                                                                    f.
                    m

                                                                                  «




                                                                                                         I
                       USCA11 Case: 24-13671                                          Document: 13                           Date Filed: 12/05/2024                   Page: 155 of 723

                                                                                                     &                                                                    J PiJ
                                                                                                 b



    I                                                                                                                                t
        ft   t-


                                                          1to«3 I                                                                             »


                                                          1te*» '* \
                                                          teais
                                                           T«»29Si
                           <

                                        s                 S%rtl«SSIBSK:»B
                                                                                                 asi

                                                                                                                                                               rnmm
                                I                          m^^rnrnm*                                                 "                                         ■:mmm
                                                           mmmiamms                                                                                            mmm-            f
                                    4
                                                           B^^mtmrnrn                                                    I
                                                                                                                                                  I
                                                                                                                                                                               I
                                                                                                 »I7                         r


                                                                                                             9


                                                             Aa^».

                                                                                                                                 I


                                                                                                                                                                fi4e&.
                                                         Ssd»<^l!tewf                                                                                          S1«M



                                                                                                     i                                   :•
                                                                                                                                                               ii,5W«.
                                                                                                 b
                                                                                                                                                              "mm»"
    S             9
                                                       .:' ■ ■   ?'V'' •■ ' -i.   "   ■ ';   '
                                                                                                                                     f                                             *
        .    k
                                                                                                                                                      fiWs«fejw*ifflsa&

                                                                                         '           J
                                                  ,i*|i
                           fi



                  fi
                                                         m s^-gg g«Ma «!» «y gMr t. i^»¥ag^ »»i ^


f


                                                • 'M                                                                                                                           i
                                                                                                                                                                          m    ^
                                                                                                                                                             to Ctefe«C

                                                 ,SS^«?SSStSS
                                                                                                                                 i
                                                  ommmp4imemi                                                    '
                                    i




                                                                                                         i
                                                                                                                                                                      A

                                                                                                 b


    I                                                                                                                                                                         msmt9
        ft   4.


                                                                                       I



                           A




                                I                                  ft S

                                                                                                                         i
                                                                                                                                                  i                            f
                                            J
                                                                                                                                    4

                      9,

                               USCA11 Case: 24-13671                     Document: 13
                                                                                 a
                                                                                                 Date Filed: 12/05/2024                         Page: 156 of 723
                                                                                                                                                a

                                                                             b
                                                                     9


    I                                                                                                     t
                                                                                                                                        .EiliJ,pgJ °
        «   t-



                                                                         »                                        *




                                                                                                                    .fe: ;,:|^'-,li            «*S         .
                                    i



                       9




i                                       4                 i^';
                                                                                             I
                                                                                                                          I                                f
                                                     j
                                                          .C'.




                                                                                                                                                       «




    I                                                                                                                                                                      t


        A   ^


                                                                                                          i?'/- *■'' •/.' ■. f;
                                                k

                                                I
                                                                                                                                                                       9




                                    &



                           »



                                                          Sa’ffc«M#'fcda
k                                       I


                                                                                                                                                           t
                                                    • J




                                                          SMgMSSSSSSS                                                                                              I


                                                                                                                                  ftSiiiSfeS, %W»*S^

                                                                                                 :»
                      8,
                 fr
                                                                                 a
            1
                                                                                                                                                9


                                                                     #       b




                                                                                                          t : .                                                f
        A   a



                                                                         »                                         »




                                                                                                                                                                       9

                                                                 «


                                 -w-**jr-—


                           M




                                                                                                              »»«**

                                            I                                                                             ft
                                                                                             1
                                                                                                                                                           ♦
                                                     J

                                                                                     «




                                                                                         f
                                                                                                      I
i
                         USCA11
                             I" '
                                 Case: 24-13671
                                             .1
                                                                      Document: 13               Date Filed: 12/05/2024              Page: 157 of 723

                                                                                                                                md           t
                                                                                                                                             f
                                                                                                 r
                                                j




                                                                                      r
                                                                                                     1

                                                                                                     WWK ^smmi, mm m¥ m

                                                       fsmssawr.
                    I,
                »




        «   ^


                                                                                                             ,<>

                                                                              I
                                                                                                                                                        I

                                                             e


                              «
                                                                                  i


                     t




                                  I
                                                                                                                   il
                                                     .«w!^ari^te ■ ■ .
                                                     aaA*:&«,SttC-                                                                           ♦
                                              ", j
                                                                                          lUMSai-™.,         J2             i


                                                                                                                   »»»*#«%*

                                                      tllK*Is&«i
                                                      fiiwifisiia
                                                     l^3ii*^Ss&i«Wtep^
                                                                                                                        «




                                                                                                                                     I




                                                     mmim^ ‘                          ■
                                                     ,ife9fei^te,H,aftt
                                                                                                         t
        4   ^


                                                                      I                                      *
                                                                      t



                                                     'ia*:f^s«i&;             mm                                                                        »




                              «

                                          «
                    4




                                  I                         .ft

                                      t                                                                            t                         f
                                                                                                                                             ♦
                                                ■t

                                                                                  «


                                                                                                                                                 I

                                                                                            Hi


                                                                                                                                         «




                                                                                                                                     «


                                                                  #       k



    I                                                                                                    t
        4   k


                                                                      »                                       *


                                                                              I
                                                                                                               I
                           USCA11 Case: 24-13671
                                           ■s''.
                                                                                                    Document: 13
                                                                                                         6
                                                                                                                                                  Date Filed: 12/05/2024                        Page: 158 of 723
                                                                                                                                                                                                »


                                                                                              f


1                m
                                                                                                                                                                                Eilt J pg.S ■

                                                                                                    »
                                                                                                     '         I

                               i

                                                                            tMSaakmxmcai^ '
                      *




                                   I
                                       4
                                                                                                                                          I
                                                                                                                                                                           1                                f
                                                                                                                                                                                                            ♦
                                                            .4              i«ai^C4«W                                                                  I


                                                                                                                       6




                                                                            ms^'                         ' '               '
                                                                                                                                                           I
                                                                           mmi,nnm.




                 0


            I
                                                                                                                                                                                                a




1                #
                                                                          ■mmP^Mm '                                '
                                                                                                                                                               t il                                             #
    «       ^

                                                                     ’    smumism .„,
                                                                          .cfe#l|i»®^jA,.                                                                              »




                                                                                                                                                                                                                        i

                                                                                   i.
                                                                                                                                                                  i.
                               «


                                                   a
                      fi
                                                                                                                                                                                                    i




                                   I
                                       4
                                                                 ■       -fesgr'                                                                                           ft                               f
                                                                                                                                                                                                            ♦
                                                       ■:'• «*


                                                                         . S»*«3%as«2                                  ‘             '

                                                                                                                                                           I
                                                                         l»Ss<*Kw|^ ■                                          • '
                                                                                                                                                                                                        m
                                                                                                                                                                                                                            d




                                                                                                                                                                  ;■




                 0,                                                                                                                             ^S.'
                                                                                                               t                                                                      :mMm
                                                                                                                                                                                                4

                                                                                                         k
                                                                                             9


i                                                                                                                                                              \;
    A       •»



                                                                                                    ft                                                                 *




                                                                                        .,: ;■ ■■
                                                                                                                                                                                                        msmif           I

                                                                                   I




                                                                                                                                                                  :




                                   I                                               .1

                                       4'                                                                                                .j'.                              TT                               f
                                                                                                                                                       I
                                                           d

                                                                                                                       «
        i
                                                                                                                                                                                                                    I

                                                                                                                                                           i
                         USCA11
                             I*-Case: 24-13671                        Document: 13             Date Filed: 12/05/2024        Page: 159 of 723
                                     (
                                                                                          I                            'S”
                                                                                                                                      4
                                                J

                                                                                      4


                                                                                                                                               I

                                                                                      f
                                                                                                       I



                                                          WiISWSa*^jiw»«


                I,


                                                          tMAmmmmmrnms                                                       ft




i               m                                                                                                                 9



                                                                                                                                           f
    * *•
                                                      ’   y&i»te
                                                          mrn^mmm t
                                                                                  I
                                                                                                                                                   a




                             i
                                                          smAAma          ^
                                         4.
                    fi




                                                          iraija»a^»«rwm:
                                 I
                                     t
                                                                                          I
                                                                                                                   i                  t
                                                                                                                                      ♦
                                                                                                   I
                                              .:• J

                                                                                      4




                                                                                      ?
                                                                                                       I

                                                                                                                                  «




                0,
                                                                                  I
                                                                                                                             A


                                                                              k
                                                                  #
                9                                                                                                                 e



                                                                                                           t                               t
    4




                                                                      »                                        «
                                                                      t




                                                                                                                                                   a

                                                              I


                             i


                                         A
                    *

                                                                                              j:

                                 I                           .»

                                                                                          I
                                                                                                                   I                  f
                                                                                                                                      If
                                                                                                   I
                                                 J

                                                                                      4




                                                                                                                                  tmmip-




                8

            »
                                                                                  &
                                                                                                                             ft

                                                                              b
                                                                  t




                                                                                                           t                               $
    4   ^



                                                                      )                                        *
                                                                      4



                                                                                                                                                   a
                                                              I
                    USCA11 Case: 24-13671                  Document: 13           Date Filed: 12/05/2024                Page: 160 of 723
                                  W              Ituli&/                              ♦
                                                       ,     . -     ■            . ■ ysm^ssmWjMJ p§S ‘
    I           •            ■ f^^rmmdsJ&rmifJfm^fimiJu^mg,(Irden ^rFwairi.tJnmutimmr4^. lCf«i
        • t.                    /& ami as^< mhe^^eap^t/pr iuk^!repmmmfwfrrm apm!
                                                                                                                     fm/fK or
                                                                                              «



                               (// wiasfe,kmhgri^tste^



                                                                                                                                    I



i

                                                                              I
                                                                                                  i                             %
                                                                                                                                ♦

                               fcj TimmgmdFJf^s}iffih^Muiim.




                                                                 t

                                Ja%e is csi»ci«l i© r^iw tea«H>sraMt to28 m.C f 455 Uaifff m(u mmlIs
    i           •         ■ mss^mory in “my            m wSicft Ms EsparasBtj- »i|^t wawaM/ be q-jssImsiF Wfe
        *   b
                            I *155#), a judg* is «^ed »                MsmM             say ®f i3,c'%« stewe^y/
                         . pt«m’b^ miow iaa feeshow^ » exlstia fe«;wat if?» eiafcss «afB4sv||seeMsgsacIi »«'
                            .... » te» ited, sg^ itatrCcss af wbcilier a l«®tiffiaMs.p«rK3?3 wdd fKSfea'tie pM^^s
                        *■    Iffipaitialicy.


i
                            * kirn^km.^^^«jomK?rr^mfrcumMrMf^€fAm»rmemgrm-er.^i^muparip
                                              «rf*Mi!<»-<H<t/)Ac»j,.vimq,m!^mmmrdiUriAli,^mM!
                                                                                        m the *
                                                                                                                                ♦




                              m(4) '‘^m^iim^m-r
                                                           ttmmsfmmMp#ff<^#1fr                                   Btmswr mpF

                             S"?,fif«’f,f? «**«««■ J-- «'«S f/. /^c. J. »7* «a« ,«B,. ;.
                             2 /P%. /m,Smi 4667; Pm.
                             iF.                 f■^■,*                              W11-70J,
                                                     L !m ^54 #l/e///. §321. iJ^c. L m§.      »fe«/«7, .fc
                                                                                          ims&i 5//7.i
                                                                 ‘ C0NCLUSI0MS

                                  Ife? M«S« & RdM«£                      ij           «^|»% KvH-                      wj&fe ;jo7^:
                                                             k


    I           •                                                                                                                          «


        «   t                               mSM isliatofts^ fes^ mKwmdws, m4 4l5wv«aE e^icsK* irte^Ti m tiw- :iae
                             af tiKJ CTi^std CeeftpMiTt                  crmM fig^i       looMife-lj’ S.TOW 5l.» SsajKial dwijiBgs mS$


                        A


                                  ii




4                           r-^                  7&r

                                                                                                  1                             f
            i'i                         USCA11 Case: 24-13671                                   Document: 13                             Date Filed: 12/05/2024                                                 Page: 161 of 723
i

                      i■
                                        r^¥*          i
                                                                                        I

                                                                                                                                                                       i
                                                                                                                                 I
                                                    ■ 't                                                                                 t                                                                                         Eih.K
                                                                                                                 i                                                                                                                                                     .■I
                                                                                                                                                      iXTHECatCL'JTCOURT OFTMT'
                                                                                                                                                               iS'   JCDICL^L CfRCOIT ffi kN5P
                                                                                                                     »                                                                                                                                                  1
                                                                                                                                             '        H}K DADH €Ot^iT\'. F!X)MD.\
                                                                                                                                                                                                                                                           "IT
                                                                                                                                             GcNfe'i4L Jl'KlSBICTlON DIVISIO-
        .

                                                                                                                                                                                                                                                'xjmrx ;:'i:
                                                                                                            I
                                                                                                                                                                                                                «

                                                            UK Bmk .KA.                     f
                                                                                                    k
                                                                                                                                                       Apil U20I.*I
    I                                                                                                                                                                                                                                                          ■:y ;


            *         V



                  4                                                                             »
                                                            Lsrej Wflii8oi5                     '       I
                                                               ’■       FsjJkasfapsI



                                                           k
                                                                          IJRDEl pFOa&SlSaM-. WITH FSBI!©Ip                                                                                                                   ('
                                 fi .


                                                                    Thfess5i0nmiheaTsiTOihe«HeE5la6SaiCitio2'»&misifor'feelf«fproKC«toR | :
                                                I
                                                                          cp April 112tKJf. 'IM oosrt finds ito 111 mits pscrlW If pie 1,40 |e)
                                                            W» aee^ei or, Xonl ^            «Z) tbdr was e» naoscd scrivl^' im the j&r frocedijig #
                                                      <
                                                            Seroiiid of ite mjszmns. nferfce: bo stty Ms Mta ts»EM er S2|jprm*c£i by tW. &m ^
                                                            AM {4J m pps’ 35B«fE gifcd cans&t «►% tins action sl»^i wmitiit pemUng.
                                                               Asa^sgly; : ; ■ ■ •:                              *.      ;   :       '            •                                                ,       ;
                                                               IT IS ORISeRHJ Tiz£ feii,                                 k DisHtlssol f<^ iscic of Pittseutkat                                                 Frojali cri
                                                               OONE ANI> ORDIJRBD ip fchsrote, atMIdaL’dsde'ecmf#'. Fiorlds riiis Jltri dm of
                                                                                                                                                                               i'                                        A)



                                                                                                                                                                                    fx                 n


                 f'v;
                                                                              IPS Hi ir                                  « f« nt
            y-             ”
                                                                                                            ft
                                                                                                                                                                            .MME±
                                                                                                                                                                           cmlfflT COURT jupqs
                                                                                                    b



    8                          9


                                                                                                                                                      r
                                                                                                                                                                                                                 MASioscHiW-
                                                                                                                                                                                                                 ^eoyitfJu^S
            «         V



                                                                                                »
                                                                                                r       I
                                                                                                                                                 »r
                               ]*■ '                                                                                                                       ■
                                                                                                                                                                                                                                                     I

                                                                                 .«J>

                                         (IT *-rib                        u: <:

i                                               i                                 .ft

                                                      t
                                                                                                                                 I                    Pli
                                                                                                                                                      'I
                                                                                                                                                                      ?%
                                                                                                                                                                                                                          .1
                                                                                                                                         I            :1
                                                                    J                                                                                                               M          ■ '■ ■ ;f P:«                                i
                                                                                                                 «                                                                                                   i   .aiiJ
                                                                                                                                                                                                                                        'ii
                                                                                                                                             I
                                                                                                                                                                     vr.o      I
                                                                                                                                                                                                                                                 #


                                                                                                                                                                                                                                       11


                 ■ Bfc 2T244 Pg 41S3 QfM 2at0023n59 04iOS/2O10 12:47:17 Pg I of 1 Mla^arie Cty. Fi                                                                                                                                                        tn'K.'

                  .                       , .              . '                                              ft '                                           :■ -                 *       „s:.                    ft
                                                                                                                                                                                                                                                          |i-i
                                                                                                    A
    I                          »


                                                                                                                                                                                                                                   f
                                                                                                                                                                                                                                                                   «


            t.        k



                                                                                                »
                                                                                                I




                                                                                                                                                                                                                                                     ft
                  »




                                                                                                                                                                                         6<kQs
                                                                                  6



    i                         USCA11 Case: 24-13671                           Document: 13                    Date Filed: 12/05/2024                                   Page: 162 of 723
        • »-
                                                                                                                                                 m
                                                                              »
                                                                              ’       I                                                               ■mrfm:
                                                                                                                                                                                              »
                                                                   I
                                                                                                                                                        I.L.
                                  «


                                              «




                                      I                           .ft

                                          «
                                                                                                          I
                                                                                                                                      1                                          f   ♦
                                                                                                              (




                                                                                                                                                                                          ♦




                      t

                  »

                                                                                                                                                                       I




    i                 9



        ft   <»


                                                            ■^^:-M3slfcS^'''|


                                                                                                                                                                                              «


                                                   ftwsfftwfe ‘
                                  «

                                                   fe
                                              it
                          *




                                                   l3«K&TOa«»S«I,C»0«(Tm
i                                     I
                                          t
                                                                                                          1
                                                                                                                                      4,                                         f
                                                      ,   "25^
                                                    ^«s^egfe8»i&B                             *                                            ,.,. 'r'            ' ^''

                                                                                                                                                                                          #




                                                                                                                                                                                                   4




                                                   l31M2lim                                           jaaissiasiB'
                      0
                                                                                          I
                                                                                                                                                                       ft


                                                                          »       b



    I                 9


                                                                                                                      \
        «    b


                                                                              I                                                   *


                                                                              ’       I                                   i"
                                                                                                                          ^;..-
                                                                                                                                                                                              ft

                                                                  ft
                                                                                                                          >'

                                  «                                                                                                                                                  I

                                              «
                                                        e               I4,f>sp2?si                   CFftS                                                Pm^ 1 rf 1                .


                                      I                           .ft

                                          I
                                                                                                          I
                                                                                                                                      i                                          t   ♦
                                                                                                              I




                                                                                                  »                                                                              I
                                                                                                                  I

                                                                                                                                                                            <b
                                                                                                                                                                                                   0
                                              Q O



                                   I

                                                ■
                                          S:4SDocument:                      I
                                                                                                        i
                                                                                                            . ♦163 of 723
                                                                                                                             f
                      USCA11 Case: 24-13671             13                       Date Filed: 12/05/2024
                                                                                 f                m-m f Page:


                                           Qnora                                                            m
                                                                                                                        «»




                                            Are JP M0r§ait afid Clias# the ExhJS eam
        I
             »
                 #
                                            same?»                                           ..             *   '            '
                                                                                                                    »


                                                    f


I            •                                                                           t
    i, ^




                                           , p^tectmfprwacirortlne?
                                                                                                                                 I


                                            P/iBnf p,mple b#lfeve that ih«y cant do soything to
                                            protect th&r privacy online, but ihat% noi
                                            There actually are simpte,..
                               I
                                   I
                                                                             1
                                                                                                        1                    f
                                       j                                 Contmup                  r%.

                                                                    •«


                                                                                                                                             I

                                                                     t
                                                                                     1

                                                                                             i:
                                            1 Answer:


                 9,
                                                     Dap pahoney,EKecaJtwe Director at
                                                                                                                    t

                                                    ^JPporgan Chssej ■"pfesentl
i                "                                                                       \
    *   »»


                                            Th& feasl^ afis‘^er is yes. JPMorgan Chase is oe©
                                            bjg companl'. Different names are used far bfandfng
                                                                                                                                                 9

                                                            The-JP               name Is ased for higher
                           £
                                           end LOS end products like Investmeri hanking, the
                                           largest comorete relationships and'private banking
                                           for the vfeaHhv. Chase Is used for lower snd
                               I
                                   I
                                           products retsii brarich baol'ing, busipess bankifig-                              f
                                       j
                                           Hess tiTan $20M In sates) and corpmercial banking
                                           tersnuaf sates                than $500^4).                                                   !


                                                                     f
                                                                                     I




                                                                                                            *




                                                            k


I                '                                                                       t ■                                         t
    •   k


                                                        f                                         r

                                                        '       I
                                                                                                                                                 9

                                               (


                           £
                                                   I
                             I                                    4:47Document: 13
                                               USCA11 Case: 24-13671                                                                                         Date Filed: 12/05/2024                         Page: 164 of 723                          c
                                                           I

                                                                                                                                                             T
                                                                                                                                                                                         k
                                                                                                                                                                                                                pS-Z
                                                                                    ’?■                       Qaofa
                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                          I
                                                                                                                                                K»tefil liei^ni Stantef^
                                                                                                              -' 4irf Jl^eiSjiEs Ctese ^ s»i»
                                                                                                                  |ie.4»Of^s
                         I
                                                                                                                  Ifeeirlifeiiwlw?
                         I

                                         •.
                                                               >                                              I
                                 I
                                                                                                                  MSif Ci0ri(S‘M:\^


     I                                                                                                            mm^>                                      ssfei^                       I
                                                                                                                                                                                                                                      $
                         4


                                                                                                                  Wwf {Sl#l? W«»                                                        CWIJ*| *        »
                                                                                                                  pp»® tfK* pflm^                                         w, li* liapi
         « I                                                                                              I there <«to% m sfcifte.,.                                                                                          :

                                                                                                                                                                                                                                              A




                                                   *



                                          »

                                                                                                                                                                                                                                                  I




<#                                                     «
                                                           I

                                                                                                                  '-iP Sch«»fiff^s»«to'swfP«filwr
                                                                                                                                                                                                                 f
                                                                                                                                                                                                                 »
                                                                                a

                                                                                                                  4
                                                                                                                                    %»h»


                                                                                                              aw^ffagu Oi^ a                                            ^ Sjs pares®
                                                                                                                                                CI«^eCCBJtwfe8l’8»*| srrt
                                                                                                                                                                       Saf«.


                                                                                                                                                                                                                          I
                                                                                                                                     & Cfc, ««*» ti«-pwS«6)WM8is»'
                     I
                                 I
                                                                                                        S5»a^«jdj»topdCl»m ,
                                                                                                      r A®®»m*0f«s#c&ss-S!;^toj^»33^iJR,
     I                                                                                                        ate^&C^. wwtwiMi^                                                                    as
                 .«              ^

                 I
                                                                                                                                                                                    *
                                                                                                                                                                                                                      i
     '           I



                                                                                                          . ^irmmM^.'mm0,m^tmrsrtsmM                                                                                                          «

                                                                                                              »                            fa                                           cfws&m. IH'
                                                   I                                                                                            fl?;
             I
                                                                   ii
                                          fi




                                                       I                                                                                                               rn^rn


                                                                                                                                                                                                                 fI
                                                                                                                           :• '■'■■ -••V               ..        ■-■    .!' -C-‘,            I
                                                                                                              *|i® »i» RstoTf cff 4F wofgBn ai®» as:
                                                                                                                                                                                                                  I




                                                                                                                                                                                                                  1
                                                                                                          msvnjm'                                                           I
                                                                                                                      r.
                                                                                                                                                                 I


                                                                                                                                                                                                                                                          4




         I


                                     >                                  ...,;                                 t

                                                                                                      k
                                                                                              t


     I                                                                                                                                                        -4.

                                                                                                  I                                                                                 *
                                                                                                  f

                                                                                                          I
                                                                                                                                                                                                                                              I

                                                                                          t


                                                   «
                  ■

                                                                          a


                          USCA11 Case: 24-13671                   Document: 13                       Date Filed: 12/05/2024                     Page: 165 of 723
                                                                                                                                                  •t ,r^

    1                                                                                                      t
        *    »>
                                                         ziiia^a®.fe>«g
                                                                                                                  :   fi




                                                             «


                               A


                                           <<
                      *




                                   I
                                                                                                                               Exi4i-€xh.ii »
                                       I                                                                                         »3o«rom»gMw               I
                                                                                                                                                           ♦
                                                j
                                                                                                                               te. ta* cpwwtf »!)»«*
                                                        «C»BS.
                                                          ““                      5 1 ■■■■       ■    ■ ■ ■ '■.
                                                                                                                                                                    I



                                                                                                                                                       «




                  I.




                  9                                                                                                                                    a




        ft   V




                               A




                                                                                                          M
                                   I                        .1

                                       I

                                                        oawrrwwww^
                                                                                             I
                                                                                                                           J                               f♦
                                                J




                                                                                                                                                                    I
                                                                                                                                                                I




                                                                                                                                                                        #




                                                    I
                  9                                                                                                                                    a




        ft   V


                                                                   »
                                                                    '     I
                                                                                                                                                                            «




                               t                                                                 rnmi-mx-
                          r-




J                                  I                        .ft

                                       i                                                                                   1                               ?
                                                                                                                                                           J
                                                J

                                                                              a




                                                                                                      I

                                                                                                                                                       #
                                                                                                                           \                                                                     «




                                         USCA11 Case: 24-13671                 Document: 13 Date Filed: 12/05/2024 Page: 166 of 723
        I
                                                      t              W’lHE QiCillT.COllETOFIIIE tLE¥0itlf‘jy&iaAl aRCUHlN ANffOR;
                                                                                      MMAII DADE COUWW FLORIDA Ci¥ii AaiOW
                                                                                                                                                            L.           V-


                                                                                                   f
                                                                                                                       1



            I
                                                      flS.BAN^MATiaNAf, ASSOTIAXIOM.
                                                      ASTRU5IBEF0HBASC                                      ' "'
            I                                         2O05MIIl;l
                                                                                           i
                1
                                                          FfeMtiir                                                                                 »

                                                                                       k
                                                                              9


1                                   •                                                                                      ♦'      CSSS»:mi04192gMC'V>l i,                                           « ,

                                                          K
                I                                                                 »
                                                      'MAC^ f/ELLS'               t

                                                                                           I
                I
                                                                          1




                                     9




                                                                                                                                                                :|
                                                  I
                                                      I
                                                                                                          ga»agilgi^
                                                                                                                   r
                                                                                                                                             ^            f'
                    I                                                                          4


                                                                                                                                                                                     I

                                              Bmmrn FtoiMia Stot. 111I3I.                               Rufe ZifiO(M            Fgi«lfeiis ofCM Pr«ali:rf                 6(1.
                                              FfsfsilffMA<^ l^LLS hmbv liesM% Mafaa-fer 1811# & Se»»l                                                  Mfmorssdaig
                                                                                                                                                                                                           4




                                              miming                          Sag^to Rilz,Cote Ffe                              of il8J«ai
                1
                                    e.
                                             .EsiilbiE.1 b«d ofi m fcllowfflg 6«te, BC.V »ferogi!oii,Jas!tkmsjiidkial rofewsduei,&gBdiiter4W«m&
                                              ajiidlKov^M c®IIei ol>.8^jtpl iwesiaeiat Interej-te « VmxiM Dkjlowes of«fa ais^ ofuc«-s of*s .
J                               •
    «               k
                                                                        Atediefi- y.S. BANK SpaM SituAEa gpa'&em'-l omls.Acsoaai Para;42.11*RS 20tX
                                                      &EC Filtag^ O.S.BMiK riorida SwteiiSries,Mge Ate Pinefiasnckf Intexcst^ & Peopertv
                                             mmrn^cs}.                  ‘
                                                                         I

                                                                                                                                                                     1
                                              i



                        i ,              .   m&MAAmmM&d                                                                                                                                  K

                        I




                                                              Ji

                                                                                               «



                                             JtMjgeSmnisrete RnU cobeA must                            k^jstU forsn opsftaU^ioysCofiiradfintertst tecsus#                            I

                            I
                                             «uf bminess wtsh'ys ianft #njf Mpim thmm te
                                                                                      t msfee- money ® tfewt           I
                                                                                                                                             «»«       m^rtey                    .
                            I




                                »                                                          a
                                I


                                                                                      b
                                                                              f


I                               •                                                                                                                                        I



    4               k
                                                                                                                                                                         1


                                                                                  »
                                I
                                                                                           1                                                                                 I

                                                                                                                                                                                             «
                                                                         <

                                                                                                                                                                             1
                                              I
                         USCA11 Case: 24-13671                  Document:
                                                                   %      13          Date Filed: 12/05/2024                   Page: 167 of 723
                              foreduifng ai>i tskirg                   ^ropertf wWle actlfig as ^^e judg« on tm cam in mr prspcrty,
     I           9

                              n* m case's Mtflts bit for to :r»afe
                                                                                              ..       .   - ■■ ■■".                 &

                                                                           s^e tiism moaf?/ lliggaly. Here's proof: In k^erX&JiHl- /oam
                            - Tallahasee            fyiL mnfmUC DISCLOSURE OF RPteMCtftL form 6 far ?0?1, SafE or, knt 3.
                                                                                                                                                      W -
                              $162,130.00, 4, $52,gi*3.g4. L $155316.56. Ar^d ert rhe form § of 2032 linf 4, $337306 3$. 5.
                              $153,555.01, 6. $54,510.00, 7. $6.2flS.7'0,12 $874335.74 t%                        l%>Sls Fargo witli !ho&i: A%»h
                              A

                              VV% WEliS ¥A9m $mK mi WitPMk owns ?i£ll5 FAlpO wftioft 5 U.l BAlfC, m 0/ And on
                 »


                              t¥& form 6 for 7023 for VfofO Re^^^,vmafI^ os l&t Z, $221,155.67. Anr^ Vop Retiremeflt                     2022 Srtt;
                              8|$251,,S€3,0S, aftd ¥o^ telijejnenl i$ ClStertk: Exft, £2. Aod 2021 form 6 on Imvh.                       hman&l .
                              s $10,152.00, and 202? on line i3 h S^,bl2.mmi 5WW finahdal Is m EmK Tm F 3 A-J^dcini; ^
                               up W $2^154,727,01, fo^ge Sainsri^ha Ryli Ctthsn is Soing iasiness IIJ. BANK, US BAfvCOR*.
                             ■ WACHOVIA, wiu$ fmm, mm ¥mm%,\^mx> smw FfWAiciAi wric« is ml u’s. bahi:, who
                              Isas rtjfecf fa fmm ofU$ iAN^ Tm a » Hofrfefei Cocftit of Interast ggsinsi; ns               Ibere’s m^rc, f Hsve
                              foyrrd .fostouf ase »as Greeted              Jatfgas l»t tte sesr, Pcof Hi rHli-* th&idms Conflict cl fntar«t
                                      ludge Vaierfo msoso Mtutt a iy^tt we Iwsf mv& uisi                       into our ease after iad-e zofcef
                             . drsmissed 11.$ iaois Uir^e-wlt          me *irlt PrejiKiKe feecsos#' they' rraror had or sywred the Note
                              m4 thm mo wmr later lodge Vilerig Mgnoo Scniirr p€$»5,CW iwfe U,$. Bank acccriiiTig to her
     I                        form i fimxM Bisdosyre A»avrt,. Bh.F. Awl mm mmrnk toted terself Inla ewr case
                              «8f meetfef usaod dlimlsseil^he care vaiih Prt^wdlce lite Judge Zabei did, ,lkb,G, So as to                     mm
                              Itaw tvittclisays anofoer Jird^ aotlot thangi. snotfter Judges order ifS thestntd Circuit Coart: sisfie
                              made                Ortterso slie conki Aange her oy/n Qxmr to dismiss wUhent Pmledfce snd got
                             *nctlier $4 milion defer pftis $4®,aH3 doBsr raonsy afse|from SMAC mmth i$ US Bcnl, and thtn
                             sha ebssged Mr »m Order to Ofeatod widhowt l^reioite? ?AK AM Ihert roctis^ed s $2.4 msrion
4
                             iin|ncy as»6 from VM^&mfmchrni a ptu& a $«,« defer moo«^- Assst from QMAC 'r±l efr is
                             V-S, Bank. Exb.l, Aecwdtaf lo her form i flnmoM\ AlfIdsinE lo cketirtvent Jiii%e Silsei'y Oismis'^'              vvids
                             PrtJuilJci-l SxbJ, AM then tlies& wrtkpi feK.'’|fer$ foreclose without no da to vs and we v/ORi lamw
                             5 *a yeor %ht see tli« Oockgt fer the ZOlScase wiileft ted m notice no assignments, no Noie and ro
                             Mor^ge Correctly to VS. Sank frod A^tom iank sel Bch.!. Ibsfi MsEirke SymoneRe did a Quite
                             T»tle S«lt and at«* l§ yeairs Judge Veterie t#3iif{0 SektaT slw/s up &gstn and i shw/irf hcf ihu Syil
                             which ste,hsd done M taking raoncy (.ypSS^OI^) fmm OM.AC/0,S. Sank to Stcs-I Osirpnspertf swcR
                             though wwem mafeinf the psyme^te. ’thic Es Home Trtle Fraud in -ts iramstznd when she sow sfc
                                                                                                                                i

                                      csi^ht from her own Fofm SAWMmit and ufS Judgmen® sac feciwd herKlf especkr.^ jner
     J           9
                             wt pSid fa-rSei^w piper            and Rs#© W Ctomraerclab^Sich^T TEfllng on fter and knewing ths?
         *   V
                            - tiawturftedMfrwertojheFii^asSsmafttte « Cfo-ten must do keoijse sh« has ttesarrs confiici
                                                                 \




                              «

                                          A
                     »




.f                                I
                                      1                                                            I
                                                                                  I
                                                                                                                                          \
                                              a

                                                                       4




                                                                                        I
                                                         I                          .ft

                                                                                                                                               i                                  t
                                                                         J
                 I

                 !                                                                                                                                                                        - •.•.qr?
                                                        jOZi                                                                                                   HM
                                                                                                                                   1
                                                                                                                                                                                                  |:
                                                                                                                                                                                                      ■i


                                                    i€»aa( Wieses;
                                                     I

                                      0
                                                                                                          I                                    liill;:^** f,
                 I        .       “                                                                                                                                     0




     i                                                                        fiJijBsa 0»Sc
                     ft   V

                                                                                                                                                                            -.Pfe-
                                                             ASEfsks ISFOSMi^'P®®               »r                                         5' ,.-
                                                         ^                                                                                                                   CSs’^ftlCsaSrJ*^-'
                                                                                                                                                                                                           0




                                                    I



                                          »


                                                                                                                                                               C,,w‘<“r5<Til;-V-4
                                                                   fi»:f'0®                                                                                                     SrsBP^'S
                                                                                                                                                               ,C»r*S;«tffe***- ’
                                                                                                                                                                                                               I
                                                                                                                                                                                                               g
                                                                                                                      ««
                                                                                    .ft
.f
                                                         *         CrtjUSi^
             I
                                                              ft


                                                                                                                               \
                                                                                                                                                                                                                   !:   •
                                                                                                                  t
                                                                                                                                                                                                               I


                                                                                                                                   i

                                                                                              ..^22

             I



                                      0

                                  0

                                                                                                                                                                        0

                                                                                                      k



     I                                9

                                                                                                                                                                                           I
                     ft       w



                                                                                                »t                                         *


                                                                                                                                                                   >;

                                                                                                                                                                                                           0

                                                                                     0


                                                    «



                                          fi




i                                                        I                          .» ,

                                                                                                                           I
                                                                                                                                                i                                 f   ♦
                                                                                                                               I


                                                                                                                  0




                                                                                                                  sip-'            I


         I                                                                                                                                                                    «      '




                                      0
                                                                                                              I
                          I
                                                                                                                                                                        0




     1
     I                                                                                                                                 t                                          I        •
                                                                                                                                                                                                                            I


                     ft       k
     I
                                               Page: 168 of 723                Date Filed: 12/05/2024                          Document: 13               USCA11 Case: 24-13671
                                                                                                »
                                                                                                 f

                                                                                                          I
                                                                                                                                                                                                           0
              1



                                                                                                                                                                                                                        1
                                          t.

                                                   USCA11 Case: 24-13671                                      Document:
                                                                                                                 t
                                                                                                                        13                         Date Filed: 12/05/2024                               Page: 169 of 723
                                                                                                                                                                                                        I


                                                                                                          9       k



     I                                                       2022 Forra i- MlinB PuBpe^jfesisr' of F;-4f4sl Inmmms                                                                                      ;Es£h.C‘ pg.i2                                               ■h-
         ■   4                                                                                                                                                                                                                                                  “■    %


                                                                                                              »                                                                                                     .             :j.pZ'27
              !




                                           *

                                                        I
                                                                 T * «S*: huvl#^'                                                     cWh.r<g. «hsrT                      <’.«’?«»,• <»«i «■"'»»« erp?'r<'W„ usF
                                                        I S,-i
                                                        i "JSffSW »f fs'-swsl
                  \                   .
<?                                                               I                                                                                                                                                                                                         >
                                                        . TKr                     vwp tit'rrr ^"'saafiolH gswss'^ -ird sjs^j KrnjT f nV? tUMSLsS.
                                                                                                                                             tr
                                                                                                                                                                                                                   f♦ I
                                                                                                                                                    I

                                                                         ^a>t'iri >±(                             i' c.*.
                                                                                                                                                                 fr
                                                                                                                                                                                                                                     ::|
                                                                                                                                                  te'oettfte

                                                                                                                             I
                                                                                                                                                  «t,#5C.S{W.»

                                                                         r, JSsi »a'.l M'tjr t r.sff'ftiK r.'isr .; 1                             isamcm
                                                                                                                                                                                                                                                   I
                                                        4                  a63S6>wS?«»s                  Wmoii11                                  5 375,53l>.CS ^
                                                                 wfiJj        wwirtg:?                                                            gs^pfif:
                                                                                                                                                                                    Jt.

                                                       ,'i                                                               I

                                                                                                                  b
                                                                 mfH                                                                              SUAIQM
     I                I
                      I                                                                                                                           fr £..7C^7t                                                               jL
             4                        V
                                                        t| V‘viv'vrvtffOT0fi4                                                                     .S'2S1AS3,0S
                                                                                                              ♦                                                       f                                                                            &
                                                        4 ln^4<.>%i{rew:rtiir
                                                                                                                         i
                                                        'I                /fjftSffRt i«njTTP                                                      S 1623^1^1
                                                                                                                                                                                                                                                   i



                                                        I                                                                                         553i.:;s8>»                                                                                      r




                          I
                                           *

                          !

                                                                                                                                                                                                                                                   'i


                                                       Immmi&s'                                .1
                                                        f
                                                                                                                                             I
                                                                                                                                                                            1                                      f
                                                             %tsmimi$ ifi; excess or

                                                                                                         %l«l55lnfcV'^                                                                                                  i'lESLj.
             ■ I

                              i                                  iVe^sy^r^'J warsgiy                                                                                                                                                               }
                                                     y||;ii^i!^s^l'^p®                                                                                                                                $4,S3?.k:                                    ,    «




                                                             iJMMf                       ««fiEl5s5 fiOT f?f.«STa> AlOVE:.                                                                                                                          i
                                          a.
                                                                                                                         t -         ..                                                               AfrwKri; at' ;w Sr^
                                                                                                                                                                                                        it
                                                                                                '    %            'fe'
                                                                                                          f



     I                                                  \
                                                        \    ,   *                                                                                                                                                          .f.                    j




                                                             ?«««frwntte                    C'f3r/i Sfywic:                                                           #                                                                    fif-s


                                                                                                                                                                                                                                                            a

                                                                                                I                                                                                              /

                                  I
                                                            TT



                                               4
                                                                                                                                                            k
                                                                                                                                                            i'




                                                                 I                             .ft

                                                                     I
                                                                                                                                             I
                                                                                                                                                                            I                                      r♦
                                                                              j

                                                                                                                             4

                                                                                                                                                                                                                                       I

                                                                                                                                 f
                                                                                                                                                        I
                                                                            i



                  USCA11 Case: 24-13671                                    Document: 13                    Date Filed: 12/05/2024                          Page: 170 of 723                           «



                             Fomt 6                                         FL’LLAXii nmuc Dfscxosim                                                                                    It2i
             *
                                                                                ■ OF FLWCIAL INTERESTS f                                                    wadfFii;iiJsiM.Y:,

                                                                                                                                       Tx

                        I
                                                                                                         a»iiA
                             I

                                   dgri
                                                      50.’         .
                                                                                                                                                                            f
                                   cifci'sTcooBTjtros:
                                                                                                  '013 21 Ml                            JO CGD^
                                   KisitM Ceaaiwic-wi O^ftcsr
                                   msrwOJ’HM"’                   vv,            "r 1 n*
                                                                                                                                .<3 m NO.
                                                                                                                                *
                                                                                             f
                                   7i     riAf^_ER£T                                                            I
                                   .«!/<£! Ft                                                                                           C0i«F CQ3£                                                a


                                                                                                                                                                       4

                                                                                                                                               Syr*2^’.r«3 R?«e



            «,
                         gfcgfC if rmir^tiFijsc BV A,Ci?cE!A7» 'Q
                                                                                                                                       o
                                                                                 6

            9
                                                                                                 i*,\PTA-.\OW#rf«
                                                     •*- t,s •Xj'ns’                     .,; y1 ’^rr.cnt&T 31.i>te t?~ s               s^rrerl is a                 N.'/.           «


                                     Mf nst wQfirs s$.of ■                  X'th, A                                                                                         'O.
                                                                                                                                                                                                  «




             fi
                        MO«Se!©t0«00CS4!«3Pi;»®?Ai.5FF£rCt5s
                          Hmmil'M ;«Bas ew$i;aj«y«i.fScas iTc>^.i» 4%^®*®; w s tisv        n {{!it-                                            mew. Tsj*.
                          ^Vse^S                4P ,>.> , *-
                          fWA <*J5 fccz-.,^ f. 9f..      >nz"  rc<*”*'
                                                                    -i'iV.'*^’-I pst.-il
                                                                                 '* '-f' j» .,c.*rr'»
                                                                                                   Jfei!fw-./
                                                                                                         .(/‘tB.-s™#.*
                                                                                                                azv^i                                  i'iS'l.'S                "         swg-

                      (
                            Jfc®                             I -'.isess ^vL3 i$TOs>s:grsas {ife-'fjKe                          £;> s
                             e


                       A-sijsfSiWBRsgati.TWiujrjsArm’S’lisar                                                1



                     .—                                          oyAggn’^S”,?3yr<■ ^*>rx>’is>r.                            •’-royit.ro ^4-,                                 W..-4Z » «W
                     jjjme:....f.rin$f-4
                       ‘'/wo                                 -                                                                                            ill . 4'co" e?&T^
                                                                                                                                                         jj. a». 1, ^^^o.sg
                      ^SJklmp SAtim:. -                                                                                                                                •; fc XiiS.ej                      4



                                                                                                                                                                             ' 3*5.
        »
            I,        ^®£»l*rFK&srj:ts-
                      t*A»SilTK3 B» »£.» W j-teja .,, ^                                            ^y-
                                                                                                                                        «




                                                                                                                                                      - J.
                                                                                                                                                                            1-i.ti 151:44
                                                                                                                                                                        SSL/f^fiSS
                                              »»e 4i»o /.goRsss er gsy^rrcR

                       fesik-5g£J!i«is.Me ^racx'fefcoiTg’ Ddi^TX ^ssS
«   b
                                            ^ t. <■« 3ta^ir';o-,    ..                                                                                                      \o\ JS^.C^
                                                                            I                                              #


                                                                                     T
                      JECSIT as© .ISiigSJt idXt^tJftLZ SOT .^pSStEO ASo5e                                                                                      JL

                                                                           c» cK?m On
                                                                                                                                                                    Aiioiisf £»<■ tjs0»jtr
                                                li
                                                                                                                     -Sp


                                                                                                                                                               «




                      . .4%, *,f«.                                                                  'fWifXfii M Mr: A-S: '                                                                -   :


                             t
                                                                                                     t
                                                                                                                                 I                                          t
                                          J

                                                                                         4




                                                                                                                I

                                                                                                                                                                      4
                                                                                                                                                                                                          >9




                                                                                     I
                                                                                                                                                           »


                                                                       f
                                                                                 k
                            USCA11 Case: 24-13671
                                                       >.■
                                                                         - 'U.S. Bancsrpr
                                                                    Document: 13
                                                                                          WiW«.
                                                                                       Date Filed: 12/05/2024                               Page: 171 of 723
                                                                         ■   en,vvik;p«J®.0rg                                        «: .0: :
                                                                                                                     .   ,v:
                                                                                                     • .»*■ ■'



                                                  . =1 American bank holding company
                                                                                                                                     SPbancorp
                                                                                                                                                    ms
                                                                                                                                       *                       m
                >


                                                    based In f4^nneaf®^^s,■^^i^l^lesDla, and                             >                   w
                                                                                                                                                            wM
                                                                                                                                                                        i

    I                                              . ihcorp'orat^d In Delaware              Istfie
                                                                                                        t :
                                                                                                                         : ; '                       I'fSili

        *   k
                                            ” pgrrent company ofy*s*BaakWattoiial.                                       ;
                                                    AsscMilation, and isjthe fifth largest                               :




                                                    banking Ipstitirtlon in the Unileil                                                                                                      «




                                i
                                                    StstesJ®^ The company prDvid^'; .
                        >
                                                    banking, investmept,. mortgagf,'trttsi . ’ ^
                                                                                                                                                                                •r



                                                    arid payment services prodwct5:5|ci'
                                    I
                                        I
                                                    individuals, businesses, govemmentel ■                                                                                           f
                                                                                   ■    I                                i’;‘
                                                                                                                                                                                     ♦
                                                 • , entitles, and other inanielai Institutions.                                                                        V''’S


                                                                                                                                           UA
                                                    As of 2019, It had 3,106 brandies andf
                                                                                                                             r


                                                    4,842 automated teller macWnss, I                                                      'K-' (




                                                    primarily in the Western and Midwestern
                                                    Unfied States.® in 2023 It ranted 149tb
                    0,                            ■ on the Fortune           and it is
                                                    considered a,syslemlcaliy importanl
    i               9
                                                   • bank by live Rnanciat Stability Boarcl.^Tlie                                                        SsET/IM? S^-?p5;k?s
                                                                                                                                                                                                 «




                                            • company also c^wns Elavon, a processor                                                         £zr> ’4««a^8 mzs-z:spr
                                                                                                                                                                         :{r




                                                    ■of credit card t^n:^ctions for
                                                                                                                                           ,g'

                                                    merchanl^, end Bsn financial Services, .                                                                                                 e




                                i
                                                    a credit card Issuer that issues credit
                        0
                                                    card products on behalf of small credit                              .

i                                   I
                                                    unions an^ banks across the y.S.®
                                        I
                                                    il,S, Bancorp operates under the second-                                     i                                                   f
                                                                                                                                                                                     ♦

                                                   ' oldest continuoys egtional charter,
                                                    originally Charter #24, granted in 1863                                                ii^h-AA


                                                                                                                                                         S^AJAA kXjT,

                                                    following the passage -of the MatloViat.
                                                    Bank Act^rl for charters have expired
                                                   /aslaiilmvare dosed or scquired, raising IJ.S. Bank% charter                        *
                    »

                                                    nymber from #24tfe #2. The oldest national' charter, originally
    I               jjS                             granttd to tte F^irbt National Sank of Philadelphia, is held by .
                                                   * Weils Fargo, which was obtained upon                                merger.w|h;                                                     t



                                                   \^cho^                                                        #




                                            ->
                        >




                                                              .1

                                        I
                                                                                       I
                                                                                                                                 i                                                   f
                                                                                                                                                                                     «
                        USCA11 Case: 24-13671               Document: 13    Date Filed: 12/05/2024
                                                                                I                           Page: 172 of 723
                                                                                                                                          4




    .                      ¥oya VARIABLE PyWS luff
    i ’. PMC Financial Serwices Gt-- -                                                                                                4


        v"»>




         InCtMcOdnaW’s C©rp,Bax                                                                                 m.mm


                                                                                                                                 «
                                                                                                                     I
                                                   I


                            «


                  ,.       insider
                                        f
                                I                  f
                                    I                                                          I                 f
                                                                            I



                           !iitleis'artid&                              4




                                                                        t
                                                                                \




                                             T-V                iCL                                mCMK     A                 TWO .
                                                                            n'             ‘
                  a.            X:m%                            -p.S4%                             -G.43%                     €3«
                                                                                                            I


                                                                b
                                                        f


    i             •                                                                 [ ••

        A    t>


                           Investment company Vova VARJABLE f UV:                                                 ■|




                          (CMrcerr. Portfciio) buys PNC-Financial Services ’
                   ■ • Group Snc, McDonaid’s Corp, Baxter
                          Internationa! Inc. VbcpmCBS jnc, Bank of f
                          America Corp, seiis Fiserv inc, Citigroup.Inc,
                           Activision
                               ■.
                                      Blizzard Inc,t^sflancorpTG^C'
                                                    ^     —.1^^'    ,v-.
                                                                         G4''                                                             £




                          Constellation Brands'Inc-during the S-montiis-#^ j
                  ^       -ended 2021Q3, according to the most recent
    I                                                                               4                                    4>
        ft




                                                            »
                                                            '       I
                                                                                                                                 I

                                                   I




                                        re
                   fi




i                               I                  .1
                                                                                                                 f
                                                                                            »




                    USCA11 Case: 24-13671              Document: 13          Date Filed: 12/05/2024    Page: 173 of 723
                                                             I

                                                         6
                                                                                                          :;E3
     I
                      U.S. Bdr|k Enters Co-
                      l^ranct Agreement With                                                                              6




                      BMW to Issue New Cards
                      With Enhanced Digital <
                      Experiences,Greater
                      Value to Customers
                0


           I.



                                                   9     b



     J               July 22,2019;11:00 AM EDT
         • V


                                                                                        *


                                                       ' 1
                                                                                                                          c




                        M.S\ Bank Enters Co-ferand hgreemBnt                                                       8ii
                . ■ to Is'sue New. Cards With                                     ’ •
«r
                        |fihaficed Oigftal .Experiences^ Sreater Value
                      to tustofners                                      1
                                                                                                i              f
                                    A

                                                                 4



                      Business Wire
                                                             .' .             I


                     ilHNEIPOLIS                        Jiil^ 22,- 2019                                   99




      . /•           U.S, -Bank, the fifth-largest hank in the
     j «             United States; has entered into a
         4 ^         co-br^artcl agresiient 11th 811 FinarielaT Ser^tc^s                                                      ‘
                                 LLO to issiJ'e credit cards
                                  w-i 1 1- _flAl                     ^.nh^.nn^d digital             i»xr)P>n ences
                                                                                                                      4.
                                             a


                        «




                         f                    r
                             I
                                                                         1
                                                                                                1              f
                                                                                                               I
                                    J

                                                                 4
                         I

                                     9USCA11 Case: 24-13671                             Document: 13                    Date Filed: 12/05/2024                              Page: 174 of 723
i                                                                        US Bank owns bmw financial servic|; X
                                                                                                                1
                                                                                                                                                                                          ♦
                                                                     i




                                                , All                               lyap's,                     images                                 Videos                         d‘hoppinc
                                                                                                                                                                                                                                 4
                                                                            (




                     I                                                                                                                                                                             I

                                                                                                                                                                                                                       4'-
                                                    ^. iitlp://mww.ctvai.'ay.org' d
                                                                                            k
                 I
     1
                 «           V
                                                                         FfnSnqia! Services, NA Enters I                     ■       >:. .-..tfXnn-'   .h-x’   — ■ •■ • . • •••w-'W


                                         ■' Po-Brand Agteement with US Banx to
                                               :i        A                                                                                                                                ' ;

                                         * ■; ,h8MW''Ffnanciai Semms NA. LL€ announced toGS,v a co-
                                           / br^nd agreement m^tth If3,-Barik to offer nev/ crem:
                                           I
                                           I
                                                                                                                                                                                                               .
                                           I cafdS’featuring ao enhariced difllaf experisnca and
                                           I


                                                                                                        «


                                                                                                                                                                                                           I

                                                                                                            (
                                                                                                                         1


                                                    Boothe Memorial Park                                                                                                              #
                                                                                                                                                                                                                                 4




                                                    Sun, f-Xav 15
                                     0
             I                                                                                      I
                                 »




                                                                                    9


     i                               '               -                                                                                                                                         I

                 •           ^




                                                                                        8^k                                               *                                                                        %




                                                                                I


                                                         I



                                         ' ' Who is BF'i^W finance \                                    ■2s,
                                                                                                                d b'/?'
                                                                                                                m
j'       '                                                   «              .ft

                                                                 I
                                                                                                                    I
                                                                                                                                                 I                                        t
                                               Which bank is BMW Financial' Servl&eg?                                                                                                                      O'
                                                                                                                                                                                                               m-




                                                                                                            f
                                                                                                                         I


                                                                                                                                                                                                                                 4




                                                                                                                                     t.
                                                                                                                                                                                           I



                                 »
                                                                                                    I

                                                                                    9       k


     I                               m


                                                                                                                                 t                                                                     9
                                                                                                                                                                                                                             «


                 4           V



                                                                                        »                                                 »


                                                                                        '       I
                                     as

                                  USCA11 Case: 24-13671                           Document: 13                   Date Filed: 12/05/2024                         Page: 175 of 723
             • ■■'A-                                                                           a



     I                                                                        9
                                                                                      b




         •    ^                                                                                                      #'THE CPvCLTTT COUBT OFTIrSE
                                                                                  »                                  I 4 JUTJIC'L’tL €tRf:UIT-^IM AN0                                                           ;n;};
                                                                                  '        1                          FOR DAOE COUN^TY. F'LORJDA
                                                                          I                                      gevERABH^RlSDlCTiOM DIVISION ^                                                         ■ ' -

                                                                                                                                                                                                                ;n
                                      A

                                                                                                                         ■ N        CASENO-jMlt-iSW-Kai
         FV




j                                         I
                                                  I'S Bank .N. Al ^
                                              I
                                                                                                             I
                                                                                                                                       i                                         t
                                                                                                                                                                                 ♦
                                                                                                                 \



                                                                                                   4
                                                                                                                                                                                                                  ■.4-


                                                  Ijsm WEIIsms                                                                                                                                I
                                                   '■ ■ .. DsgfeBitofeV                                                                                                                                              ■ i



                                                                                                                     I



                                                            d!#£Ri>PsIBSMISSAL WITH PREiODICTE
                                                    Tnm aclfcc beard on the                 matim m                 » of f«ciMw . .
                         t
                                                  Setved on Aprs! II30S. 'ftf ccssirt 6ni» to (B xxo^oe |w»wib*ib>' mk 1.40 \t}
                                                  %Vas s»'ed m April i 1,2i»8:0j tferir \v&3 co icconl afitktty fc *€ jw pwcetJiog ^
                                                  Sorvkcofaefcrcio&g«OTCKa)»savteteBl5Si«i6rtW?ro^-edbv^e«jM
     I                m


                                                  And (4) Off      I»5 skj’sfn ^nad came vhy diis 2|:Eioa sfaoyJd ntmam pmdmg.                                                         f
              b




                                                                              -«*W» « «                                        W of                                        rf .
                                                   DONE ANDORDEBEt) ib dismbej^, aiMJaroi.dsdc coosly, Flonds*                                          3.w «-#
                                                   March,2010-            «
                                                                                                       .                   ■                   ■ K ^
                                      6



                                                                 0U0                                       m$6m ■
                                                                                                                                       c»c'firr COURT

                                                                                                                           ;
                                          «
                                              t                                                                                        I                    i
                                                                                                                                                                                     jum£
                                                                                                                 I
                                                                                                                                                                                 ♦
                                                     ;

                                                                                                   4




                  r^-y

                      -F :                                                                                           I



                                   CY'
                                                                                                                                                                           (
                                                                                                                                                 «
                         t

                  e
                                                                                           t ■
                                                                                                                                                                a

                                                                                                                                                                                     S I .M
                                                                                      b
                                                                                                                          'mmm                                  «**
     J                m
                                                                                          : f

                                                                                                                         ,rs
                                                                                                                                                                    .&
                                                                                                                                                                    k                         tl
                                                                                                                                                                                                    i
         4    b
                                                                                                                                                                           i.;                    if*

                                                                                  »
                                                                                  r                                       r 3*1A/ 'J s >’ ?«     A      ^
                                                                                                                                                                         ;r-         7^01                  4

                                                                          I


                                      «

                  8k 27244 Pg 419y CFN 20100Z3715&CM/0«01012:47:17 Pg.1 Qf 1 MfeilaaeOty, FL
                             *■



         s'

-f

                                              I                                                                                        i                                         f
                                                                                                                                                                                 ♦ .

                                                                                                   «
                          e>


                               USCA11 Case: 24-13671                                           Document: 13                      Date Filed: 12/05/2024                          Page: 176 of 723
                                                                                    .1

                                                                                                                                                     I


                                /.rK ■ ISTMECI^'Clt.CO'irKTftFTaEFXEVTSIK
                                                                                                                             I



                                                                                                                                                                  *
                                                                                                            QVILACn&y
                                                                                                             t
                                                                                                                                   I
                                                                                                                                                     f:
                                                  15* IfASK, VU
                                                          feisfia

                                                                                         :i*SE^K>.- .. Wf9m0€»:
                                                  isii                                    mvmoH                    32
                      0

                 Cr
                                                                                                        1
                                                                                                                                                                                 «

                                                                                                    b



i                     0

                                                                                                                                        t
                                                                                                                                                                                          *
                                                                                                                                                                                                  1


                                                                                                                                                                                                      f
        a   V

                                                  lium                                 ma^mweuls: ww^&uun                                        $
                                                                                                                         crr^
                                                   m ^omnmmn;
                                                                                                                                                                                               j**-

                                      A
                                                                                                                                                                                     n.
                                                                                                                                                                                              im
                          fi




i                                         6
                                              t                       .ilvlfe ',4'-&l.=.-»!n5.^f « l»I-w e-KfCsaraj^-* ?-a k,!-«»<«« S. Vfcs-sfft pA-f il-*’?U.                           #   ♦
                                                   *f                     "i ii‘~'F:v.Si Sirf.®;'                i»i&e       l^ sj‘M^-r-^we 4% siT-tarf « fe p?»s'«n * i- .
                                                                      iS&SSfhtJ          fJ3P.’^CZ2>                                        J-

                                                                      #         ThsaiS» »«.             »ak tefcv                       v:!>^ js^oSjM w tS*Ssw« oshi^ «S ># P'-' iilsif'
                                                                                                                                                                                          «
                                                   arnsja& K.Ib^ "x> fc«s»»? t»« TWSga^ ^'Ss^s»JS#                                m/’»■ ■: ’>>&..’■a’lt;'   >*■                      •
                                                              .                 AS.Cw*/■*'3*6                       a»>■?>                  illOt ^5lIAa’45.'I ‘A13*•'■»-.’ E--'*-
                      I,                           ra^SkwlACL-tET'.TV                      ’Ar*:                   2S? r.'.Ti"*'.; rn'TU.l'SC.S'i'*^ ■’'II.M:                        .tfSr'A
                                                                                                                                                                                 «


                                                                                                    b
                                                                                           f



    J                 9


                                                                                                                                        t
                                                                                                                                                                                          a



                                                                                                                                                                                                      f
        0   t>


                                                                                               »                                                                          »■ ]
                                                                                               I
                                                                                                                                                                                                  I


                                                                                                                                             s«ml. T3681ia::>;                                            0



                                                    ^■.E,nmw-S,K ?pm2%^5-                                                                    mzjn- %mLzzi
                                      a


                                                        I'f                                                                                      ^■i        p




                                              I                                                                                                      &
                                                                                                                             I

                                                                  }                                                                                                                               I
                                                                                                             «
                                                                                                                                                                                                  I



                               '81? 27343 ?5 949 CfM 2CM0C4S167i 073M/2C19 15:32:32 l*»g 1 Of 3Mta-Uafe i;?i. I-L




                      a

                 »
                                                                                                         i

                                                                                                    b
                                                                                           #


    J
            b



                                                                                               I                                                 $


                                                                                                '       I
                                                                                                                                                            .   >




                          a.
                                    USCA11 Case: 24-13671     .■/f                                    Document: 13                          Date Filed: 12/05/2024                                 Page: 177 of 723
                                                                                                                  t
     u
         I
              ‘ ' rJ                            W::       ^                                       »
                                                                                                          b


     i                    ^                                                                                                                                                                                EAlIpgJ
         «
                                                                     ’M        rfe«.Nsi8»« U%                             ffletS if Kakrfssslits^to ^lAspiSfcsttsracfMWMI-iJADL . !- ,                                                 (




                                                                                                                                                            »


                                                                               ?tOf    tK.BlSCAV^U UAM©hSi                                  I tUN r PAA7 L ACCOMffNC T-?
                                                                                TIEPLAI THiR£S7 AS                                           M ?i.AT »OK «. FAGl                    C» :                                           «


                                                                                TiS fmiK m^Q^m or felMS-SADE CQIW. il.0ijs?.4.
                                            <



                               fi                       ta e!Js5 itat Mr*| is ■msiJrf. vtsi^ oktegd sbs s&si? b* erw fiite f*«=^:*pia;-^*Ci«iIi,'                                                                  I




                                                        iitestssi te.wwwi jisKfirfafito-aiteiswiE-.
                                                S

                                                                                                                                                                                                           “f
                                     ■ 'H

                                                    I                                                                                                               I
                                                        iLiii} ssi oMl fcc csfTOi iSwSte &3j5 « eITtw                                                 i,
                                                                     >


                                                                               fW* ?UnrM £e<M««i ;iiV 'fi«                              AowwaJ                      te wsiTiis! ;om Rsfcf<f xr.S
                                                                                                                                                                                                                               I
                                                                                          iK                      ,'t! &rs pJ***?
                                                                                                                                              I

                                                                         ■;>Q\g .O® O9.:m0 sn Ctofer* i?! y&^fl’RAPI Cso^. fteas,



                          a,
                                                                                                                                    ;                                                                                  1
                                                                                                                  I
                                                                            JUStSIKB
                      »
                                                                                                                                                                                                   6

                                                                                                          b
                                                                                                                                    Csp^k
     I ' "
                                                                                                  f




                                                        tj"ep>9& feCT-fetrt Isr                                                                   i
         .    w
                                                        FI«S& &*22J1S L-^w Qwk^, F-7
                                                        fAteZsOlS
                                                                                                      »                                                     e

                                                        TM^a.FloKiia 32'&2;i.59',S                    '       i
                                                        WffiSSlsiiir^'> ■             ' ■ ■'   '■ ■                                                                                                                                a
                                                                                      I


                                            «

                                                                                                                                                      ■^n
                              fi



                                                                                                                                                      y

■t                                              a                                   .»

                                                                                                                                        I
                                                                                                                                                                    I                                          f♦ ’
                                                                                                                      4

                                                                                                                                                                                       (.•»■   ,                               I

                                                                                                                                              1

                                                                                                                                                                                                           «




                                                                                                                                                                                                       8


                                                                                                                                                                           ■ A'm.
                          a

                      0
                                                                                                                  a

                                                                                                          b
                                                                                                 9


     1                    m


                                                                                                                                                  t                                                                        I           I


         ft   h


                                                                                                      I                                                     *
                                Bk 2?§*i@ rg 0gs cm £oi®>«ri am                                                                13131.32 Fg 2 of 3 mm^ms ci^. Ft
                                                                                      1/


                                            «



                              9




4'                                              *                                  Ttr

                                                    a
                                                                                                                                        I
                                                                                                                                                                    i                                          t
                                                                                                                                                                                                               ♦
                                                                     j
                  I                                                                                                   a
     USCA11 Case:
 I ’f6rm:«:       24-13671 AM
               • ’Ira*      Document: 13 Date Filed: 12/05/2024 of
                                filBiac                          Page:
                                                                    • 178 of h
                                                                             723                                                                                                                    in.
                                                                                                                                                                                                       mm



         «   V

                                       ■ "'' ■ • •                                        i Fyi^ANClALiNTj^RESTS' 2L-.
                                                                                                                                                            Foaomcs,



                                           i

                                 ll:
                                                                                                                                                                      IDCrt
                    fi
                              ■ ■lloftVatefleR.lfeftrioSchyrr
                                  GlroiS Judge
                                                                                                                        PROCESSEi)                                            - 1 . S

                                  JudlcfefCtrcuKClITh)                                    •»
                                  Sectad Constaiiaoral OSceT
                                                      I                                                                                                 1
                                                                                                                                                                                      fumd.
                                                                                                                                                                                      ♦
                                  1105                                                                                                                                <w.c».
                                  MIAMI, FL 33130

                                                                                                                                            i
                                                                                                                                                                     SfannoSci»ff,
                  '.CHECK IP TK® ISA RUM® BY A<»a>lDAinE                                            □

                                                                                                                      PART A -              WIJaTH*
                 , Ptes® ffms- ilKs 'mm ^ yoJir wii wrm m of Pwwrssr St, Zfm. or a nwe corant itelB                                                         Hot wwSj is m       fjy syfeteiair*     mpmmi
                 „ l^ffltitei Sqiri jSDUf rapEKforf                           so pii^m sw ?Ise                            on psgo 3,j
                                                                                                         '•' u.                 Zi .            r,q ..». i.^Sl.PgL JX
     I           " .*                                                                                                                                                             o




                                                                                                     »                                              »

                  KC«SEKOIJ3«KW^»PflW»l«,iIWC:TSi                                                            j             .            •       ■
                                   gw*fe 3r»!l pemoffsl  imf l» report®# fe a tap sotj *f ggyegste ifs!» @»3@5fe SI ,600. Tfe cs^rj,-                                                           ofa® Wmm.
                         K fwl      inw!Rliw«t piiipaw|@w#y, aslteucos ofsttmpe. ww. sikI nMismofc siwis; sS          tows## swniEsnt mi
                         ttertew8#!aastaTO’.«n# wfejteferptesof* {jss         ‘                 ■     ‘
                                           4      '



                    >>
                         Ttw assbpstB wfw «f mv* hiws#»W sooils six! mtami «#sct»                                                                   $           yCCP.
                  ASSSTS BaSMaMAtl.Y w»i6 At OVgS it^»;                                                  ■
                                                BESKSWTO5H OP                                  (spiicalo *g«lpttw 19 iw^ptfrad - «»fiisSract^s pAJ                                         WM.HECPASM-'
                                                                                                                                                                      A


                         giMiSilLl:
                                               r:
                                                                   m   ^                                             j^rae 6f/,,^, , , ■ ■
                    I
                        I/*
                                                                                  ,Llk.YlIl(4lli..]..yiQq                                                                              ♦




                                               I A» Ki'i-     p P.i fer                                                                     T
                                                                                                                                                                                                pm.m


                                                                                                                     'PART C - LIABILITIES •
                  mmrnes in eccess of
                 ,*•                            MM6A»AK»»®.OK,                                                   t                                                                    a«£5i» *Ms«»yrv

                 S mr£" CtedtfL^                                                                                 KH<oJa cvg-fefk: T A
     i             ^          J- —                        .■.-ui-^i-^.vnTnTT-i—T.T1TT--

                                                                                                                           ~f2£fLjMSr^ It                                             g* oVj   CcD. C-O ' -
                                 .Sfe- H f'y^~>\CtfjQ

                 JCWAMOSSWERAL UAKymtiS «r»C3«ra0 ABOW:
                                                HAiagftNOWMWBESS 09 CMSItOflt                                                                                                         AiaOUMT ©F UASgyw
                                       '   J-
                  Nixti

                                           —j
«r                                                                                        7F
                 cEFOftMfl-er t^eia                                                                                   CCoiaosetf laajwEifse siils)                                                  m06-i
                                                                                                                                                        I
                                                                                                                                 I




                                                                                                                                            I

                                                                                                                                                                                 <»
                             I                                 .6              ■

                     USCA11 Case: 24-13671                                             Document: 13 I                       Date Filed: 12/05/2024  i                        Page:f179 of 723
                                                                                                                                                                                        «


                                                  ilftil-BMiCOWWCMQnHE
                                                  COURTS                                                f
                                                                                                                                    I                                               EmJ mA



                       CIVIL.FAW8LV A'                                                      »on«&TE COURTS OKyMES^!^
i
    4   b



                                                                                       »                                                        *
                                                                                       I
                                                  VI   ‘ -              -
                                                                                                                                                             2S»7


                                                                                                                                                          'fX®?
                         d                                                  ‘,38RnD’4’C*i«Jr5&a>i^

                                                             «*■;


                                                   gaas'Swti^"
                              I                                 o       •



                                    I                                                                                                               I

                                                                                                                                I
                                                                                                                                                                                        ♦
                                                                                                                                           H
                                                                                                        «                                                                                                  -#■


                                                                                                            t
                                                                                                                                    1                                                mmmssssi^^W
                                                                                                                                                                                    «
                                   SSSpftSi


                                                                                                                                        fpfi:                 «'
                «,
                                                                                                    I                                   Tf»-.           eWB^SP:
                                                                                                                0«:P»£<*y                                                    «


                                                                                   9
                                                                                            b                                                                                           ac8i«i#«s
J               9

                                             4'
                                                                                                                                                        i, 3^^^.3^^8«T-5£Kt,ra3 5
                                                                                                                                                                                            ■ i^S'SSS-W^* ■
                                                                                                                                                                                            S. ,iftl*l«.
    4   V


                                                                                       »
                                                                                        ’       I
                                                                                                                                                                                                            9

                                                                .1^
                                                                                                                WSW-
                         «
                                        1
                                                                                                                 ■ft#
                                                             «I-;" ■-*
                                        »;
                              ft
                                    I                                                                                 ^1^
                                                                                                                 ■fe«Si'                            &                                   f
                                             ;

                                                                                                        «
                                                                                                                        m




                                                                                                                                    \

                                                                                                                                                                                    ♦




                9,
            »
                                                                                                    I
                                                                                                                                                                             »

                                                                                            6


I                                                                                                                           .            T.:                                                 JL



                                                                                       »                                                        #
                                                                                        I

                                                                                                I
                                                                                                                                                                                                            9

                                                                    I



                          «
                                                                                                                                  6
                                                                                                                          f


    I                                                            »

                                                                                                                                      ^-•31 T-
                A                    k
        I
                                                                                                                                                                 turn
                                                                                            iiiisii;
                                                                                                                              ' pvra»
                                                                                                                                      %snxhi!>i
                                                                                                                  I                                                                   «T^9S3fea4^a.K&T^«®»SKWJ«.
            !                                                                                                                                                    ■imi
                                                                             «


                                                                                             mmm0.
                                                                                                                                                                              ■ §;2r5£S5*:»«¥*SAnsS.{>»W5K»'^.'^*®

                I
                                                                                                                                                                                                                                fewoMiW
                I
                                                                                                                                                                 -»%«■                *TY.0W»/B7« i»»»5M»JS eA!J£,?SfJ
                                                                                 I                            .»

                                                                                     I
                                                                                                                                                             I
                                                                                                                                                                                                                                 f
                                                                                                                                                                                                                                 ♦
                                                                                         • ,' ''^BfEStf                                   fesSSife##!,           ifSff?
                    i




                                                                                              O^otSM                                      C^-SlC'^Jr :                                Bf 2T?« »■• ali53 oy <lS»iSli,L ■
                                                                             V                                                                                            I


                                                                                                                                          tm$                                                       im« cfim^^usmpn vmh

                                                                      '&ti                                                                                        iliwf'
                                                                                                                                                                                      TO »»npt ws?aww>rw ?&                     cs,,'.€ic
                                                                                              Sigiaii*

                                                                                                                                      I                                               0mT. p&ji^ BAS               TO K fo»-o-‘-V-^”^

                                                                                                                          »       ^        (.rttrrE^
    I                    1
                                                                                                                                                                                                                                     I




                4                    ^
                                                                                                                                                                  Hi?:*'                            wn.iS: w s«s.s» fm i*c«
                                                                                              'Jilllssit;                                  S ,-i'3

                                                                                                                              »            •tsf^T^x-flarae                              #
                                                                                                                              »
                                                                                                                                      I                                               a 2SM« ft Bmc«4cari«««€tssytt s»J:
                                                                                               flTTJSjS?              .-'ISAl-SlS^                   lycir
                                                                                                                  I
                                                                                                                      ■'" ■               .'ifessS^W
                             I
                                                                             «
                                                                                                                                          #ri#M                     ,‘m       .

                                 !                                «




                                                                                                                                           <?-W t*'
j                                                                                I                            .1

                                                                                                                                                             I
                                                                                                                                                                  ■gmM:                w«(.*tca WMCWBUJE s^tr                    t
                                                                                                                                                                                                                                 «
                                                                                                                                                                                       jsre»«s»a                      act i??;7;6«i*8Sf«’

                                     !
                                                                                                                                                                                      ■s»«f«iiSPTi<s»i«'              ' ■            ■'
                                                                                                                                                                                                                                          I
                                                                                                                                             I
                                                                                                                                                                          I




                                                                                                                                           ■»                                          #EiTtw


                                                                                               J",-'Sii/il!}57:
                                                                 <.
                                                             6
                                                                                                                                          I i/^!-aiar«9i
                                     ;




                                                                                                                          9
                                                                                                                                  k


    I                                    i
                                                                                                                                                                                  t
                                                                                                                                                                                       ^r/iZJ ^1T              1^ ^ W W' ”^€4
                                                                                                                                                                                                                                         t,       ■
                    ft               «>
                                                                                                                                                                   f frrj.
                                             1

                                                                                                                              »                                                         *
                                                                                                                              f
                                                                                                                                      I 7»5
                                                                                                                                                                                                                                              I



                                                                             t



                                                                                                                                                                                                                                                      ■'■ ■: ■■■^ ■■’ ■ -




                                                                                 I                            .1

                                                                                     I
                                                                                                                                                             1
                                                                                                                                                                                            1                                    f
                                                                                                                                                                     4.                                                          !
                                                 I                                                                                          «




                                                     I                 Page: 180 of 723                Date Filed: 12/05/2024                   I
                                                                                                                                                                     Document: 13                       USCA11 Case: 24-13671
                                                                                                                                                                          1

                                                                                                                                                                                                                            «
                                                         I
                                     ■



                                                                I                                              .1

                                          USCA11 Case: 24-13671     I
                                                                                                                               Document: 13                                 I    Date Filed: 12/05/2024       I                   Page: 181 of 723
                                                                                     J
    I

    I                                                                                                                                                                                                                                                 I

    r
                                                                                                                                                                                              fv’
                                                                                                                                               ■■■.,■. t
                                                                                                                                                                                   I

                .r
                                                                                                       V---:
                                             ':r
                                                                                                                                                                                       .. mEOitc^rrcm^ow
                                                                                                                                                                                       i - •'     csRL-urr »
                                                                                                       ii:                     I
                                                                                                                                                                                   -s
                                                                                                                                                                                       RiltaADE'C0pTi-.K.ORsU^-
                                 $
                                                                                                                                               I
                                                                                                                                                                                                               0T053!CIIO^^ DWBiC5
                                                                                                                                       k
                                                                                                                          f


I                                •                                                                                                                                                        t
                                                                                                                                                                                                              .„^S£ >c-                  •                1
                                                                                                                                                                                                                                                                       t
                                                                                                                                                                                                                                                                                                    t   ■:■

        *               *>                                                                                                                                  ¥■   ■

        I
                                                                                                                                                                                         f
                                                                                             Barii                                 »
                                                                                              fniwai:                              '       I
                                                                                                                                                                                                                                                                                            «

                                                                                 .       r                         I


                                                     ...




            I
                                                                                               Willems
                                                                         '                     RSaxito*#*

                                                                                                                                                                                                                                                              1'

                                                                t                                    ■JEDEE. op^S&SESli- WritlPi£333I^
                                                                                                                                                                                                                                                 t
                                                                                                               I



                                                                                                                                                                                                                                  MC*2
                                                                                         Tills ™s ^^-2.- k3£s c-n                                                               WQM t* >Ssdii^ fer Ik’c er^tOK* ^
                                                                    I

                                                                                                                                                                                                                                                  ♦
                                                                             ■                        wli^ik rr4»t£^i"fJiS5l3M>llJiwi«^acafe53yffilt I.'.'9Te’
                                                                                 \fzs                        «5t ^.?r5                                      Ct'd-.^ir'xzsmjss&xdvctmt^ fcrfc :«f
                                                                                                                                                                     > &*       hsM Iws l««5|0?i£f^v2«J by ibc ci'-asi:                      .
                                                                                                                                                                                                                                                                                                ■




                                                                                                                                                                                                                                                                                        ■           ■         ■




            i3-                                                                  AMx-^)                                 6s5 5l!iT’*5                                                      iSsSaaifeiisS jssssiek i»:'4ir^
                                                                        ■ tTS'^SEEEO’ 1>«a2                                                                           is Olsassi forlo^k■orF^mmi^ -                                              ,-                1




                                                                                                                                                                                                             /,At! 'i
                                 I,
                                                                                                                                               t
                                                                                                                                                                                                                   y)
                                                                                                                                                                                                                                                                   1

                                                   ■ ,y.-                                                                                                                                                                         i

                                                                                                                                       b
                                                                                                                          fi
                                                                                                                                                                                                         3'M
I                                                                                                                                                                                                              RR/-
                                                                                                                                                                                                               'J^-
            >, <•

                                                                                                                                   »
                                                                                                                                   '       I
                                                                                                                                                                                                                                                                                            9
                1
                                                                                                                   I




                                     a.

                                                                                                                                                                                                                           ‘ vx


                                                                                                                                                                                                                                                                       I
                                                                I                                                  .1
                                                                                                                                                                                              f


                    i
                                                                    I
                                                                                                                                                                            I
                                                                                                                                                                                                   :.;
                                                                                                                                                                                                               1                                 t
                                                                                                                                                                                                                                                 «
                                                                                     ;

                                                                                                                                                    4



                                                                                                                                                                                                                                                                           I


                                                                                                                                                        (
                                                                                                                                                                                   I

                                                                                                                                                                                                                                         #
                                                                                                                                                                                                                                                                               1




                                           ■;;v
                                                                                                                                                                                                                           '■ i
                                                                                                                                                                                              i: .
                                                                                                                                                                                              [•                                                                                   •>
                             »
                                                                                                                                               a

                                                                                                                          9            k


I                                                                                                                                                                                                                                        m



                                                                                                                                                                                                                                                                       ^1
            ft ' V


                                                                                                                                   »                                                                      #


                                                                                                                                   '       I
                                                                                                                   «


                                                            «
                                                :




                               USCA11 Case: 24-13671                       Document: 13                             Date Filed: 12/05/2024   Page: 182 of 723
                                                                                                       t
                                                                                                                     I
                                                                                                                                                     ExhTpgJ ,
                                           •:," sawfe-       ' I?*• '5'                ■•%..
                                               Ht        W                 •
                                                                                               «
                                                             *«

                                                                                        k
                                                                                                           ■ v#»«-S^sfeK(€tf'ia'F&fl43       «


                                                                                                                                                                  i.
    I                                                                                                                                                    •|

        •   ^



                                                                                                                             I
                                                                                                               m

                                                                               »
                                                                                   »
                                                                                                                   ’fimism

                                                                       f
                                                             -Xt
                                   i



                           *
                                                                                                           B00m                                                   PM

                                       I                           .1                                      ■rHMf                                              U




                                                                                                   «




                    0




    I
        •   ^




                                                                                                                                                                       «




                                   A



                           4




                                                                                                   «




                                                                                                                     I

                                                                                                                                                     *
                                                                                                                                                 t
                                                                                                                                                                           4




                    fl ,
                »                                                                              i

                                                                                       k


    I
        4   k



                                                                           »
                                                                               t




                                                                   I


                                   A




4                                                                  .1
                                                         t

                      USCA11 Case: 24-13671     Document: 13     Date Filed: 12/05/2024                    Page: 183 of 723
                      w
                                                             t

                      w




        fr




             m




                                                                                                    1.‘):^ei.&        vrjvrii^
                              -




                              M                                                                                                                       *
                              i
                              "m
                              -


                          &
                                                                                                                       ••ss;
                                                                          ORSEMTAt
                                                                                                                                   %      1
                                                                                                                      m
                 fi
                                                                                                    ■I
                                                                      '-‘^   3   f■ f   _.. .» ■»
                                        *                                                           I                                            I
                                                                                                                                       mm
                                                                                                    1
                               t
                                                                                                    %
                                                                                                                 ’;.^,^,^‘s4, 2 ««4
                                                                                                                                                 I
                                                                                                                                                 I-
                                                                                                     '-




                                                                                                                                       . ’ .L'




4   V




                                                                                                                                                      t




                 *




                                                                                                                     ^ '
                                   ■f

                                                         «




                                                                                                                           i
                                                                  I


                                                                                                                                                          i


                                                                                                                               I




             a

        »
                                                    ft
                                                                                                           a




             m


                                                                      t                                                            t
4   ^


                                                »                            *
                                                t




                                                                                                                                                      6

                                            1


                          «



                 *
                                                                                                                              T
        *   b



                                                                                    »
                                 USCA11 Case: 24-13671                             Document: 13                    Date Filed: 12/05/2024            Page: 184 of 723
                                                                                   ' I
                                                                             (


                                            i



                         *




                                                                             .ft            ■           Affidavii
                                                    ft

                                                                                   i
                                                                                                              I
                                                                                                                                            1                    t
                                                                                                                                                                 ft
                                                               J

                                                                                                                                                                          :,*.




                                                                    . imaWELiSS%5ASTHATTWSISA-^1??r,0.^iAf^DMfQ3Arif                                     _
                                                                    POK RSLitP. BEG^»L,VACATIONS0? ®R8E8S
                                                                                  AMAWmM2SST«m£‘<Nmi7ISATH«?ay8A26.A.li •
                                                                    OF LAW AMD I

                                                                        mtwm COPES OF mnmm mf> topb kotCos ?ce rlcosa- cf
                    8

                *

                                                                    iUOGS SAMASTh'A 60HES^-.
                                                                                        b



    i
        «   b
                                                          i*
                                                                                   I                                                            11
                                                                                                            SSiiB

                                                                                                                             MlOCWgllS                       I
                                                                              0


                                            «                                                                                                                1
                                                                                                                            ipiis. ftr^/gs OB.
                                                                                   •f       •                               KmmiJiA,531S?
                                       •:




4                                               I                            .ft

                                                    ft
                                                                                                                                            it                   ♦
                                                                                                                    I

                                                               i:ii                                     KOmRIIfSTSBlfTTEBSK iJgHAiF OFMACxWLlp >?-
                                                                   jp
                                                         ViiHO %im gs?c«E «£ m iwa                         3Fi OF Ji/ar,2025 WMlCi^ PP.O&lJt£3 FXfiCV-
                                                                                                                        1
                                                                                                                                                             I
                                                         0KI¥iH UCSfiSE TO SHIW lOLOTiF^CATtCK OlHlCH SKPIEfS g/2ii^ 202S,                                   I




                    8,

                                                                                                                                                     8




I                                                                                                                                                            e




                                                                                                           ■
                                                                                                                                                                      t
        «   b




                             ®


                                      ■ ■W                                                                        £»*•»':5/53/2eiS
                                                                                                                                                                                 8
                                                                              I

                                 ■K
                                            i


                                                                                                                                  ■ : '■•
                         A
                                                                                                                                  a; -




                                                I
                                                    t                                                                                       1
                                                                                                              1
                                                                                                                    I
                                                                                                                                                                 ft
                                                               ;

                                                                                                    «




                                                                                                                        4


                                                                                                                                                             T



                    8,                                                                                                                                       I
                                                                                                I
                                                                                                                                                                              31
                                                                                   «



                           USCA11 Case: 24-13671                     Document: 13                    Date Filed: 12/05/2024                     Page: 185 of 723
                                                                                                                                                                 !



                                                                                                                                                         «
                                                                                                                                                                                              i




      .!
          1           I,
                                                                              I
                                                                                                                  i




                                                                 9
                                                                         k


  i                   »

                                                                                                                                                                                          «


          a       k
          I                                                                                               Cii» So.smsif^s-cisi ■
                                         m'
                                                                     »                                                  *
                                                                     t


                                         U.S.BANK RA,AS                  m
                                         IIASC25t§AHt3.                                                                                                                               »




                               «
          I                              QefSfttbMs,
          i


v/'                                                     .»

                                         »                                                                                  i                                f
                                                                                                                                                                                1

                                                                                    I
                                                                                                          I

                               fu^'akmnsMz^ imsL mmm& zt&^iitK.i2ir«^»^*R8f«?#fefc«                                                                          m^m.                     "
                               risKKjff.Vl^k                                        Mpw /or ftclcf S                                          .^fesMKEr^urr,

                      i.
                               lltTte Pitn'lK^eVrwiJwsOmwI^’df fetr«#4aii#F^AK^t^<)r4rr,fsAr9»i ,1
                               ■ Mkm8^_                istesi«»,|4si                                                        Bm^im             jrf                             cMikt
      I       I
                      m
                                                        ®Jf»a4i ts FiMinji*!                                          Jui^ «5il flilecr? ii-f~Amt'cTia
                                                                                                                                                                 \t
                                                                                                                                                                               *.gl
          *       V
                               Attsfe^-UJ,B®?i RA.%wslSiffflttra
                                                      |
                               Wfefi'i^S S»l,Pteia.*S^KAaii^;j8if^ i«iw:a tteE#iaase^|JS2j?3*&
                                                                                                                                                                                      e
              I
                                                         I


          .I
                                                                                                                        fer                                      if, gs»fr F,




                                         ■ . ■                                                   ‘    ,                     ‘                                »
                               Mm WcfwtoiMitimstfeffia teMfte a                                       rfwsm                     iif lEtm&i tosu^             t dprig
                                                 iStoll aftij»l^5t                           irrql:^ wpspy                  #» ea        momv far«^^Jng
                               MS »IS                                                            i5‘^it.J^t ill tte « GO s&Msm^P «*#:
                               c^^sMststelora                                                                         tef^ptsst ■                                    I
                                                                                                                                                                         \

                      I,
                                                                               t
                  I- '                                                                                                                           *


                                                                         '*
                                                                 m            mm.

      I                                                                                                       f                                                      l'
                                                                                                                                                                                          «


          «       V


                                                                     »
                                                                     ' j                                                                                                 !■


                                                                                                                                                                                      »

                                                         I                              .•



                                «
                                                                                                                                                                         I




                       »




                                    S«                       &
                                                                   I


                       USCA11 Case: 24-13671                      Document: 13                        Date Filed: 12/05/2024              Page: 186 of 723
                                                         I


                           i

                            Mgft imwiu m km                                                                 ^     fop 5         mi# pM#^St                                    ft
                   0


                            fSngBcsi &stw»te « Ssf* siw's eiciiig feames taeawss siw'i                                           fcyK?»e55 w.'& <|j.,                     »
««r                        -$fe^               iJie»               mmsf w tisft ffe* c?s Wi® «»w ferj* f8ad»£^ 3^ ■tsteg w                                                         .
                                            sikSe       s$     Jii^g IS &p£-file                             a«if n§im A«          #il» es®> t-^. kf m ■
                           _rw^|j«,9i^                 te'RiE'te                             tlirf'i            to ter fem & fnwn f^lihassfeg alW
                            mi.l»waiC©i^W^O?ft»wmi*f®rw«^g>fe4.Si|steI«S:                                                                                 I
                           1*^ Vwwca'l^ fe 4»i!3                                     wMj Wi^ Fas*o as »a A»e 0I
                           iApbiAMKfe4«S««C.»J,fS.aTtSe^                                                          ,               -           '               1
                  •,
                           t mr,mA mM m m dmt «f                                               toiIw Ism «M is.W®IFs FaJ2.«, Is*Jtt H3,1^;
                                                                               I
                          • Si^wi©.                                                                                                       «




      I           #
                           iHr                                ar Ki.te $<I^Ji'M ffeisa fe»t &                                                         fsiis «■
                                                                                                                                                                          t
                                                                                                                                                                                               I


          *   w
                            Wsrijwl*, j^leh i$ »% I aTOSsli^ffij»i?sg,                         trw^ £s^Hy ^ ani ¥3* Washarfs » J
                            aB^.W«^sw» is W^s Fajga Afc,'|t, 11,1J p2                                       fei^*^ IIS        i*Ji..^pia S-                       i




                            S, mr Hmilmt Smdmt kim h                                      and                         Pf ftwl^ Exfe-^ e»d             Kaii»*e«l'is
                                       IP           ^AZt- mi # SCes^«i &                                        Eilsitt. Bsi OCL mm:f^igm Shnlm » ■
                   0
                          ^ ifS8»4£sfli,ttS.ai^ia.                                                                                                                    1




                                            h ti» afm Ba^k 8»|                                       l^pri ca a^pir^st« te's fcres^sjis^'/hsrii. ^
                            i$               osiiia of tete?»{ i^jpst «$., ».83,83.3«sf P.- to i                                                  i
                           iMn^ tlial Q»' cast was dlrtctffi ts pw !^n6 feur ofimr JiKf^'lllse Jii^'6 Schies^s^tr *
                           -' Bit'MX''                   ts, ©■                           jtfi%g SeWJ 5h«wi l*i Lhair Fufelfe Disclosure «f
                           r5n»r«l                     %m? & ¥im »ll fe# lJi« sms tmlM ©I in^mt h lim pooi.ef latfpi 0s
                           J«ip ¥®r««s &AI m fen
                           SSCPWJFIf,                   irWIMf                     W&CfelE                  QSifaS l» ffilt WIPfMT »2i S. K«IS •
      I           m
                           BR; mW fL B1S71HiC»l #                                  » B*. M, R ^                   »                                                       $
          ♦   w



                                                                   »
                                                                   ’       I
                                                                                                                                                                                           0



                           |.O0 lliSS®CteSsi&iil^ii%,!>¥»fila Ka                                                                         FlsinfM mck
                   0
                           W*fls 40 safe fee fm«»e i» stiTK nwrlgage itel «w d^imisse^ wftf^ ?i«iL'dfti.* e^i
                           fc«»1@r em msr. 0M24S-7C^1 all®#:                                                          tm^nr            lfe>r«ii»rf:
                               I                         .1

                                   I
                                                                                               I
                                                                                                                      I                                   f
                                                                                    "■'= ’■>’!
                                                                                               1!^



                                                                                                        I
                                                                                                                                                                                       #

                                                                                                                                                      *
                                                                                                                                              m




                                                                           a

                                                                       k


      i
                              I                                                                                                                                                eA3i
                  USCA11 Case: 24-13671                                  Document: 13                         Date Filed: 12/05/2024                       Page: 187 of 723
                        FOMM'i.                             FULL ATro^'fimiC DIBGtpSUSE                                                                              mm
                                                                                                                                                         FOR0FPie£USEOflL¥;
                                  I                       1 ClffPAlCmMTlRiSTS ’
                                      I
                                                                                                         I
                                                                                                                                        T
                                                                                                                                                                  fFL
                                                                                                                                                                COiM«Ci{EII«
                                                                                           «


                               “•"-*lM>*'viLF0aMWS3IK                                                                                                                                  r


                                                                                                             PROCaSEC
                               CiRwiSJacige                               ,        •'•                           I

                               Jydtoal ejraitt(1;1Th)'.
                           ■' Eh^sdConsliW&jpsi of^f'                                                                                       ID'Ccx^e
                                  Ste MKl'          ?■ ^^telrt Juste' Blcig
                                  1351 Mi«:12feStFta209
            I,                    Miemi. FL.33125‘1€3i                                                                                      •!D No.       258440

                                                                     f
                                                                              k
                                                                                                                                            Conf. CcM|e ‘
S                                                                                                                    X                      Oik, .Veronica
    «   V

                   CHH^K riHSS tl.AFStjfeSYACMISIDAI                          Q

                                                                                   ’           rAKrA-MP’WQKIlI
                   Ptease- ®ftt®r tw- vsliis.sf^mirrtet.wrth @5 of PejM^r 31/201S or fi                                                               ' pote: NeJ y*irti i® noi c*-

             *


                             :My net wort! BS;;of                                                      ..:20 J:^.was $'                          .K£^       T




                                  I


                                      I                                                          fAirr|8-,r4SSETS                       »                         ?»
                  ■ HOU'^OtBOOOeSA«DPS?SCSmL EFFECTS;:.                                                . . .          , „                                        .
                      ■rekifiac^-jsOKJs end’ pdi^o^'eSMa iMy:!»                         affisir Bagrejptn iralus wcate! SXmM. Tn®                weiiwes an^ cf iw
                     ."53R>v4irt3.    hold te iTO£»ina!rf pii(txm&: i&W'eSr^-cdtes8o« ttaw, »iw,          noiiramaiie itsBis; art otfsfts; f»!j«ha(tf          and
                 ■ te!sftlrt5S;cteClir^; other hBu'sfi}rfd1t6jT«Srtvi*Ktefef!«afta!US6,>#9tfer(y«icd cr lead&dl.
                        -the hsgresate.'^te.af                                    .jiBBcsa^n'eqJa CC65a»4. hhs*®) is 5.                                                          JU




                 : AS^TS.INDIVTOiAIl.YVALCE&WOWK.II.eaS.:' :
                 ■' .                      OS^'RtFnON'OF ASSET jaiwt^-                                 CT Ttii^ulfatf r 8W lB&lHwtteo» p4}                         VAtliEQF ASSET


                                              EL
                                                                                   t:^

                                                                     f
                                                                              T
                                                                                                                                                                 iM^
1           9
                 .feifcL..^...:....
                                                                                                                     t :
    4   s



                                                                         t                                                 '■■».■ . •

                                                                                               .METC - MAIMUTIKS.
                                                                         '         I
                 ■ yMSUngS IK EXCESS .W $1,006 Poe imitutMmm 619' p«S»:43:
                                          \.H<Uffi;ANoAo«^eSiSor'««EMroH ■                                                                                       Aiscu.w OF msEuVr

                                                                                                                                                                 m, H5^* ^
                                                                                                                                                                       *
             *




                                  f                          f

                                                                                                                                        T
                  J«®r mo .SEVERAL tlAKUIffiS' »«»t ftiPORtto'ABW&
                             ' l^t$S'ANDiaH)RES®.OP.:Cf?g)CrOR'                                                                                                  AfloyMfOFUASlWY


                                                                                                                X


                                                                                                                                                            T
                    «K!RM6-ESsdjKJsn'tsrr1.2J»2' '                                                ..           «« W50 82^9} .                                                   mSEI
                  .liiaO!s.6!«»0 ficfeciTO m asie,3«.(K8|'<^ rAC^.


                                                                                       a

                                                                              b
                                                                     f



i                                                                                                                    t                                                     t
    4   b


                                                                         I
                                                                                                                                                                                                        m.6 i ■
                       USCA11 Case: 24-13671                                     Document: 13                   Date Filed: 12/05/2024                                Page: 188 of 723
                                                                                          ''>AMT»w|P4C0«                         ‘       . .
                     ^cteniify esstfcJi sa^^fafe soism.w' £..an»yrt-cX'mam-is#ifcA*aiidM.Sl;!XiO tfurtr® Eh# yaw,',fedwifosssaKa&sysk«»cS^ot>® Or sstaiSi sca«pto
                 ■ CI^of your 20t8f«!M lftcc(ffls.% mm,                                     isidssdi&ii,and a!!a*m«r®.Plm$& WESad;ai^ swa5sgcu%« acoaid r«t*irt Is*!®
I                                                                                                                                                                                     t


                             P you to Se atfta texofand
                                                     «i^ $fedjjraJ iisswKf la* t®l«fo kks dl WTs.scbc<JiieE, ard attosftrrtsnts.
                     O
    . >■
                                                        .aitocfta cosy «fi|» Sliltla* retom.you tsM Wtoompicito aic raraareier Of Past OJ
                     PftaiARysOlH?CES Gf :jMCO.t^&!ad»teim,«clte*5«*!^pa^.5}J
                               QF SOURCe Of INjQOfg^'EKCEEEjtMG &1.W                                       ADDRESS or aoiiRCe op income                                                       amount


                                                                    Ai-.
                                                                                                                                               :                           L
                     SECONDAST sources GP !aiCOME|^jw custattew, ifcfttf,- r^s.. ol !ajssi.T»ss cr^ed &>r                                                   fewtruc&ns on mm S
                             NAME or.            ■ fJ»i»«dFt*a^<»i;SQURCeS'                        ■  ADLESS'                                                              PfiJNCIPAtESU SlKESS
                             BUStteSS BfniY ■ • -                     i i oFmisiHESs’dfuJcasi '           - ’                OP'SQUIKS         -                           ACTS VI1Y OF SOURCE ■

                                      i                                                                                              i                                            f
                                                                                                                                                                                  ♦



                                                            PAlTl- IMTllESTS IN Sl-£Clf1El>:il                                       IlnstrurtiftK^afagefii •                                     I

                                                                     BISIWSSEfntwVl                             IySINESSEtcnTT#;?              ■                    WSSNESS ENUrTil-
                     immmi
                     ■ BUSINESS EMTIW:                                Itffi
                 ■ ADOSSESSW
                         (       e«TITT
                     PRIf«!F»LMlSNESS:
                     ACTWITy. . .    :          :
                 ■ p«miaNHajj    -
                    wmemry                                                                                                                                            i

                                                                                     b
                                                                           P
                 V. (aVN MOI?ET>WA,5%'
I                    fNTEf^ST INWBUSIJIE;^
                     NATUREOFfifY ■ . ' - ■■
     .   k
                     C!ViNERSI«? INTEREST^
                                                                                 r
                                                                                 ,
                                                                             FArr F-TSU.lKING '
                                          For'officws requ&psl io caMipfet© smiM «lh!® frsinfiis puf’suaiit 10 section 112,3142, F.S,
                                            • O' i .CEfrriFf■THAT' I HAVE'COSIPLEIED: rag.REQmEEDTRAI.MI«&
                                                                                              ■     STATE OFFLCIRIUA ,
                                                    \0A¥M' ' ' ■                                   : CC-USTY Or ■ ■ ' • '
                      1, ,lf»|)SfBQ0>’4iDSfl nams.apps^^ 8t ite                                    ' S%«m.ln. !«■ aS&iwd J           .^sAsniW bafora a» ttiis             ir
                      feo^rJr^ c!f|hs fomst <fa «!®|k» m os^or isfliinDUon
                      or4      fi)?** StQ irfermaSm diSfiJO^ <« Shfe %ra
                      s^daiyateditoanis (Wtfi'&'Bwe,                       ' '                                                                                        —A.m^
                                                                                                                                                       •-                 »rfCCimttS»Ofl»FWt4a
                                                                                                                                                                i-'       EmilESte»iw&«,ti.2itt


                                                                                                                                                   Pr.£jdiL^                              ‘

                         ll
                      aSNATORe QF pPORTti^ pgFi&ALPK cjuTOAPTS..                                    Typs.rt W(»ltifw»to» F'ctXtoOOd

                     Ha osrtied                                                Chaste 473,. ®TMfem^;#3arA                            v,atfi0                .pref^rsa ms. foan fwm te ar
                     sJto m(«t OMlipItolhe fetoTOg'statoflwifc                                                          '                                      ,.                 .           '
                 ' t..                    r ■        ■ ■■                            _■           papaB'dthe.(S'Fdifn.® ingosefsSnos.vAhArt. II, Ssc. 8, Ftedda Cmaitufcn,
                     Sctiw 112,3144, Ftorids S^Rgsa. md; tic                              to Ins lom' Upon roy:'r®9®wlito fotoirfedge .and btUef, f?4 *dosture lnsreln is tw®
s                i and ofxrect.
                                                                                                                    »
                                                                                                                                                                              ^
                                                                                                                                                                                      I
     .   k


                                                Sigmture-                        »                                           «                                 tote

                                                               •a                                                                                       y to sipi tte forai tui.fajsatlt.
                         .■ lF'A^VOF,FARM:ATTI.kOlJi&*E AME'CONTWW                                                SEMr^ITE SHEET; FtSASR CHECK HESE □
             ■       crFcaMS-iE£E»®Js'»!r/i,aei§                .                                                                                                                                     FAGS 2
                                te *iust«9>*          344je02fi;(. FAC.
                 *




                                      «                                                                                              I                                            f
                                                                                                                                                                                                  i
                USCA11 Case: 24-13671                            Document: 13           Date Filed: 12/05/2024                    Page: 189 of 723
                                                                                           1                               fmm
                                                                                                                          w mum
                          Forjp/6A,                                       lx|seiise;Rc4,inbwrseiiieiit* orFaym^ an^ Waiyerj^^ 01,la
                                                                           flf'Pees-aai Gfeiri^s.'
                                                                                                                          JCaVED
                                                                                                                   bfi, on Ethics a list of
                         reportable gilts:accepted       «imbMisemcntsw directjpprisrtitso^cxpenscs^.and m'aivcrs
I                        :dffcdi'rtr charges accepted,froiin spwees other ihsHi'lhe state or ajodtcial branch eittity^
    A   ^
                         defined; io:. Florida. Rufe -of        'Admioistradon .'2.420{b|C2)j.,d«riiig the preceding
                          cjdefldar,ycar as.pp.iyidc^.'invGaBoifi[S 5D(5j(a)/OTd.:.^(5)tb),Canon 4A(3),, and Canon
                         ,6B(2)-dG the■:Code ofJuit'diliCpodwcc hy- date/receded,.tiescrtpiiOo finctadiag dates,
                          Idcadoa,' ."iipd purE»f.e:''df■ e\fent: or. aciwity Tor, u-Meb expenses, Tecs,: Of' chaiges were
                    , reirdbiMBcdi, paid., or wa(ved|,:SQiirce’5;hi«BC».» arodimt for gifts onty.
            *
                         -.'Nahid:       iim'h'Stcik .                                            Work Telephone:

                         I ;#Qrk::'Mte: X'hm    ^ ML &I-
                             ; 1. Please idJtttfy aU rcportafl^ifts,’
                                                                                                            &

                                                                                         aesis,;fe-preTpr loans- yow recereeci       diuCg
                                     'ihe preceding calendar year* as reqsnred by CaaoBs;-5D(5){aK,5P(SXh):, ajid 6B{.2|
                                                                                                                                                   j
                                   , of thc.CcKic ©rjudldaJ C^ondiict'
                                                                                          .,1-.

                              DAre--;               ' DE5CRJPTI0M::T                              - ■ ' ■'SOURCE                  AMDJINT
                                                                                                                              s

                                                                                                                              I
                                                                                                                             .s

                                                                     k
                                                                                                                              $
                                                             f


i                                                                                                                                     o




    A   k                                                ■           'Check heTC,'ifCt>ndnuM-®'n'Scpatate sheet'                               t




                                                                 i ' '                            . " . .
                              21'CPiease iden.«fy.all.fepi|iStabfc.reiinbarseinciitsordirccl payoieEils. of expenses, etiid
                                   ; ;w-aiveris of fees or d:^cs you rcsdvda'dttriag;tlid precediog citenddr year, as
                    A



            *                 miE                                        DEscRiEnoN                                     " ■ 'SOUiCE
                                                  (Inclade daiei, location, and pinposcofcycnrof.
                                              ■ sMgivaty for which cxsmscs, fees, tsr charfes
                                              :      ,       were reimbaEs.eA paid or >vsdvc'd|
                                                                                    I
                                                                                                         t
                                                                                                                                          ,f
                              j.




                                                                                             I




                                                                     . Qtecfe here' if coniwped'^ Separate sfes^''

                                                                 CO?|I1MUr.Tiy -pact, i FOR tJATO-'
                                                                     b
                                                             f


i           9
                                                                                  Page.. I, of 2                                      m



                                                                                                                                               $
    A   W


                                                                 I



                     A



            *




                                                         &
                                                                                                             0


                          USCA11 Case: 24-13671                         Document: 13             Date Filed: 12/05/2024      Page: 190 of 723
                                                                                                                                                9

                                                            1


                              I



                      *




«>                                I                        .ft
                                      Slate of;FlQft£fei
                                                                                                                 i                 f♦
                                                                                                 I


                                      CoyRty of
                                                                                                                                            i
                                      I,                             “Tyi QsAr ,tlic public oJlsciEl lilbtg Ihk dtsdosure sialsrosni,
                                      bemgfmt4aly sworn, do depose m oath tad sly tiat the facm set forth In the ahovc
                                                 I3r€           correet, and coapicte to tbc bsst*of my knowledge and belief. *
                                                                i
                                                                 f


                                      (Si;           ofReponig^pMcM)                                                     MSAmm-NZAiM
                                                                                                                      m cofWteiOM »f«?m3
                                                                    2                                                i£     rnemmp^t: m,26®'
     J                                                              4
                                      (Sigeatore ofOSk& Authorized to Admiuisicr 0|t{is)                                                            9


          4   V
                                             •   •




                                                                                // tj;ie/ ‘i                                            I

                                      ■S\yom:tp;aiill:’sflfe{:ribcd before njo-ibk                                                              e




                              A


                                                 m               iidgBf . hi \I fJ ^                 M


                                                           .ft

                                      4
                                                                                             I
                                                                                                                 1                  ?
                                                                                                                                    ♦

                                                                                     «


                                                                                                                                            I

                                                                                         I




                  «
                                                                                ft
                                                                                                                             I

                                                                            6



     i                                                                                                   t
          4   V



                                                                        »
                                                                        I




                                                                                                                                                9
                                                            I


                              A



                      A




                                  I                        .ft

                                                                                                                 1                  ?
                                                                                                                                    «
                                                                                                 I




                                                                                                                                            f



                                                                                                     I


                                                                                                                                                        4




              I
                  «
                                                                                t
                                                                                                                             ft

     ff
                              USCA11 Case: 24-13671                       Document: 13                     Date Filed: 12/05/2024               Page: 191 of 723

                                                                                                                                                                                 4




                                                                     •y m££>'A                               m mrajfrm
                      a.                                  r,‘-

                                                                     C!i«f(& m                        ^stfatericj-C-^'2T6%- ttf^r
                                                                     r^« « m2,                                      s»® 2KI% sue              .1*12
       i              m
                                                                     5JS}% K2^W »»                                                ‘
                                                                                                                                                                     t
           ft    fc                                                  ?,ii^i ttjs piw#ws?tw «« mr^rcJ« efe^g
                                                                     -sllffiyi $st?.%S Co. u.€,E0?*%*^xrte t~e
                                                                      yjs^j^ sretai
                                                                 , iXC,i«so syn fepfisi to^T
                                     «                                LLC. KCf5 S5€»tJ» A?ee«5Se'rs.®'GCi--?iSf^
                                                                     ll«ils.        XCr 'S®'C K'^0 CC'KT’i''*'' Af''S'**S8»           »
                                                                      TO                CU^'.}ItC,Ov«fes&«>
                                                                     i7«., «<3FfetSt»5ittes%^ 5.LC,St'f’ W®®-
                                         a                       • ® S^rasc C8JP.H3B‘-S«3-.f*S CJiSAI'f^-
                                             I
                                                                      >7rTfM»3St*iC,^’/s5'5r-i'&»Sts«^
                                                 •■« ■'
                                                                                                                                                        1*
                                                                     f>>iS       ?»« ’3»t«                 ?U^A
                                                                                                                   ^*ilS;^.ts.r;
                                                                      m
                                                                                                                                                                         i


                                                                                                                                                        I

                                                                                        ® Aff arf«®
                                                                                        V'Jfsd :-^                   CA/2TTI£.                      a




                                                                       ra-a iMt      w^pgaes         / '•«, c.s -•■
                                                                       Ofst^^ 354iW^»«>A© iA-5                  fi«?i
                      B          r
                                                                       ifmnsj      i3':s        Teiiaji b«x-?»»e&
                                                                         ..^js tf»       cyj'Ofif.s*^ js r ■*-<cr7> r x
       S                                                                  Esjsps, !to
                                                                                                     ec’SS 39 ^Tsn-s», AjxFs^'’s
                                                                                                      £»? snd
           ft    ^



                                                                          ifij 0.3'is Pofe mpoam »»r«
                                                                          aU tenenlJs^ [Pfcly»5£fie£®5:^»»-
                                                                          ^ <-B«^ A5 Os-Ss^                      C8fog> M«/f- *                                              a




                                     A



                          4
                                                                          a«f3«f«i» J.                           rit/33rf IS^C' Astssci:®.
                                                                          WOT tm                                                  ^       ^
><#'                                                             A

                                             I
                                                                                                       I
                                                                                                                           I                                f    ♦
                                                                                                                                                            !■
                                                                                        «


                                                                                                                    v'                                                   i


                                                                                            »
                                                                                                             I




                                                                                    I
                                                                                                                                                a


                                                                      >        T“


       I
            ft    ^


                                                                           »
                                                                           I




                                                                                                                                                                             a




                                     A



                          4
                                                               !


                          USCA11 Case: 24-13671
                              I
                                             i

                                                      Document: 13              Date Filed: 12/05/2024                           Page: 192 of 723       E4i,3
                     *

                                                                                                                               Exh.B1
                                            .1    I &dUii54fe5,rUSEai»p:if»|S5^^^
                                                  I $'^BX€a»gm« fl'y- cm*p?4’                                                           f
                                                                                                                                        ♦


                                                                                                                                            I
                                                                                                                                                        j



                                                  w|^glis.:te»g§«a t'^wifSPn^ilF                                                                                 4


                                                                                                                                                I



                                                      t Hf^lfert»                                                         ■i
                                                                      ' ■       —          '■ ' ■■■ ' • -      ' ■ -      -I

     J                                                                                                                                              t
         «   V




                                                          ^^KiZiUS. SsJKSfp B |.                                   -, '
                                                          r§;^,jrt» Kbf4^',                                 Sfe, ■
                     fi




•J                                           .»
                                                      ;^iri:iii                 f
                                  I                                                                                                     f
                                                                                                                                        «
                                                                                                             i^, :,■
                                                                    IJ^^S           Uftigd |:Hc!r B^ni                                                   I




                                                                                                                                    «




                 0




                                                                                         t •                                                        t
         o   V



                                                      »                                          *
                                                      I



                                                                                                                                                             «

                                             I


                              d




                                             .1

                                                                            I
                                                                                                        i                               f
                                                                                                                                        ♦



                                                                                                                                                        j


                                                                                     I

                                                                                                                                    «
                                                                                                                                                                 *




                                                               ft

                                                           b
                                                  f


     I               I
                                                                                                                 I
        Filing # 1027
                      USCA11 Case: 24-13671                        Document: 13 4                Date Filed: 12/05/2024                Page: 193 of 723

                                                                                I




                         IN THl'CIRC'illT CdlIR,T OfTHilElVENTi:'JVfilfclAL
                         ClKfciyIT IN ANB'FOR NOAMI-BABl-COUNW,fCttWBA,

                         CASE KO:MfldUmgM.,
                         SECTION:cans;,
                         jifpQE:Bimga_Diig ' ‘                                      ■
i                                                                                                                                                   $
    • i



                                                                   »
                         Plaintifils)                              ' I
                                                       I




                  >      Wiliams,Ijtt&v:
                         'DeffEdart(s)
                                                                               /.
                                      1
                                                                                             I
                                                                                                                 I                         f
                                      mm
                                                                                            mmmi. ■

                                      This matter came.lwfore thia..iris^l^ijlJwdgi:upioivDefoidanifs,' Mack Wells,and Noa-
                         Farty's, Mawnce SyrndafeKfi,                               8,2f40..M«>tiOTTorjudge ScMesinger to have a Wsmng to
                         Recuse snd Vcale his Order ('’Matbo'"). Pursuant ot Fk,R.Jwd, AdJwiii..2-33.0,the Mottoo is
                         PENfEB as legally insufficient                                 '                ’
              0

          »                                                                »

                         DONE and OKDEREp:iii,^iaiifers at Miami-Dadc'Cdwty, Pldri^^ ors tbis 4ii*<lav of
i                        Ecbimry. 2121),
                                                                                                     t                                              f



                                                                                                             #
                                                                   »                                                                            1       5
                                                                                                  . .:m> i


                                                                                                                                                                 «

                                                       I


                             A
                                                                                                             ■Hon.'.Vero>Bica Diaz-
                  0



                                                                                                             CfSClJIT COURT .JUDGE
                                 ft                   . ft                                                   f..lecttwicatly Signed'
                                      «                                                                          i                          f
                                                                                                                                            ♦


                                 No Furlicr Jijdicral .Actitpi Repaired «ti TTlIfi MOTION

                             CLERK TO W£l^m CAm I? POST JUDUmm
                                                                                                                                                                            4




                         ;Cdpia;FBfBlslied,:TD:
                                                                           I
                                                                                                                                       »

                                                                       6
                                                               9


I             ' .■Ossc,No;                                 .
                                                                                                     r                                              9
                                                                                                                                                        Page I 0f 2 *
                                                                                                                                                                        '
    *




                                                                   »                                         *


                                                                           T
                                                       I


                             A



                  0
            »
                                                              &
                                                                                                    »


                                                  9
                                                          b

                    USCA11 Case: 24-13671             Document: 13         Date Filed: 12/05/2024   Page: 194 of 723
I                                                                               \                                  $




                       AliSB^e Pl)i«3ielw§, E-mail: y%ljId«p(§roia«M(!afego¥            *               £k.|i , 12-
                       Daniel Huitcs,Emaii r BRFLEscrvice@Bla11KE0ifle.cnm
                       Dpiel Httftes. Email:DH«rtesiSj.Elar«kRo«i€xom
                       Daniel Buries,Email: EMori@.81ankRonic.com
                4

                       Oa’Ad S Ehrlich t Eiflsil; Davjcl@HfiirfiehLawLLC.com
                       Da|ld,S Efaflicli jEmail^ DHhrlich0lihrHcM.aj.vFL.comi                                  I



                       Grow,ppe Ssivatere Cataudella. EmalJ i CouriXprcss^firnisnlnttens.-Ks .             t
                       Giu.seppeSalvatoreCatsndeJla. Bmoil; Fl..Coiirtl>ocs@brockandscoiLe0m
                       Ginseppe Salvatee CmrnMh ^ Emtiil: FicFilcTcam^brocKaBd^cottcom                                     i
                       Jennifer L Warren,Email:j'wimjn0no!tlimia0iifl,gov
                       Jennifer L Warren, Email: dQratK>nicy@ii«thmfemlllLgov
                       Jessica-J'PsgCT, Email: FLcFileTe3ni@br0GksEdsrott.c0ra
                       Jessica J Fogert, Kmail: CoiinXprcss@fiiiinsoIuliO'ei!,as
                       Jessica J Fagen,Email; FLCXijMl^ccs@brocfcan)iseott.ec«n
                       Jimmy Kceoan Edwards,                  FLComtDocs@brTCkandscatt.com          6




j                      Jimray Keepan Edwards,Email;CouitXpf*s-$@linnsQludons.ns.,
    «   V              Jiimny i^i^nap Edwards * Email t FLcFileTmo^brodcandscottiConi
                       Jonadian S WiMtisky} Ireail ;^!.CoiuttDocs@br0ckandsc0rtxoTn
                       Jorsa&aa S Wilinsk}’- Enmil:C«JrtXpre{s@iHm»lwt1oiis.i«                                                  9

                       Jc»BaAan.S Wlirasky ^ Email: FI.eFifcTc«ti}@brodciaMtesott.com :
                       lloraAslilcj’-Jackson.Email;FLC0artDocs@brockandscofl.cflpi.,
                A
                       Lanra Ashfcy Jackscai.Etpall: C<«irtXpres.s@fifHrisoluti<nis,MS .
                       Ljium Ashley Jackson,Email: FLeFileTeani@br0Ckan#COtt,com
                               Symonecte,Email: BIGBOSSlCI43@y8hooxoni
                       Maance Syifioneitc, Eraai1:BiilOSSg-Clerk.cora
                                                                                            1             f
                       StephenCliristopharWilson,Email.; scwiisonS62007@yahoo.«iii
                                                                                                                           j
                       Tanis Bartoliai,Emui:Infp^banqfiailaw.coni
                       Tank Battollni', Email:tanla.baitolisi@bartoHniblv.com
                       WilaacLaCTok,Ei».sil; FLCoifftl^ocs^brockaiicissottconi                                                       *




                       WiIItiscl.?craix, Email; FLeFitel'eanii@bFockandscott.rora,
                      ;'WdM'ife;L8g;pix;,iEi»||::;^eo«txpf«.ss@FiimSc»!at»BS.as-
                                                                                                    A


                                                          b
                                                  9


I           9


                                                                                t.
    *   V



                                                      %                                 *
                                                      f
                                                                                    K



                                                                                                                                9

                                              I



                        4



                4




                                                                                                                               bf2


                                                                       I
                                                                                            I             \%
                                                                                                                       ■
                                                              - 4




                                                                            I


                                                                                                                                     4
        Filing If 1028614631-FtIcd §2/06/2020 i:2:16:09 PM                                                I

                      USCA11 Case: 24-13671                          Document: 13                     Date Filed: 12/05/2024     Page: 195 of 723
                                                                                                                                     *
                                                                                                                                                                 e4i.31         *




                           m THE CKClfIT COURT OF THE ELKVlICrK JDDlCiAI. •
                          felRCOln’IK AKD FOE f^llAMf-DADE COliKW,FLOUPA:-
I
                                                              r          b

                                                                                                                               &k as pe-i
                          CASE NO:MM&miiCM.                                                                   f .
    «   b
                           SECTION:CAPS
                                                                     »                                                 *                     I
                           JUDCiE:SgiMl£iJil2
                                                                                                                                                                            9

                                                          I




              >


                                                                                                                                                 I



                                6                        .1

                           Williams,IUr»y                                                                                  i             f
                           Ocfaidartt(s5)                                                             I




                                                                                 /                                                                                 i
                                                                                                                                                     I




                                                                                                                                                                                4




                                          THIS CAUSE hmlng come before the Court bn tlie Plaintiffs Motion to Icset
                           PorcclTCure Sale. m4fte Court having beard afguroent ofthe parties, having n^viewc-i tie file':
                                ...                           .f,,       <■ .            ..

i                         •and/beir^ ©fluamisc <la|y advised, k is
                                                                                                              \
                                           «    •




                                          ORDERED AND AlllU|)iife •
                                                                                                                                                                            «




                            *             Tbe Plaintiffa MotioH-lb Reset Foreefoswe Sale is heroby OttifTSD.
                  A


                                          The clerk is diiccsrd to «S€l the fereclopirc sale for April 6,2020kbydccq:bttie sale at;:
                          ;w|w.m»aMclMfc.rcalfoyctese.«0'm,                                   .
                                      I
                                                                                                  I
                                                                                                                           I             t
                                                                                                      1



                                                                                     4


                                                                                                                                                                   I


                                                                                                          I
                                                                                                                                                                        a




                                                                                                                                                                                i


                                                                                                                                                         I




             e,
                                                                                 I
                                                                                                                                 I
                                                                                                                  :-

                                                                         k


I
    4   »»
                                                                                                                                                             I

                                                                                                                       *



                      Case Mm 2010-W1928-CA4)l                               I                                                                                   Paps'1 of3
                                                                                                                                                                            *

                                                          I


                            A



                  »




                                                         .t

                                      I
                                                                                                  I
                                                                                                                           I             ?
                                                                                                                                         6
                                                                                                                                                                        i*
I


                                                        USCA11 Case: 24-13671                 Document: 13             Date Filed: 12/05/2024                      Page: 196 of 723
                                                                                                                                                                        •1


                                            •       ,
                                                                                                  I

                                                           DOI^E''«nS’0!®&EI>;irt'Spii»»Bers'at;Mlra                        G&yrity,-Ftoriia on;.-fei$-6&'‘iav of
     I
                 I                                                                                                           t                                                                  t
                                 i. i


                                                                                              J                                         *

                                                                                                                                                                       d5.'>
                                                                                              ’   1
                                                                                                                                                                                                             t

                                                                                         t
         I

                                                             «

             I
                                                                                                                           ' -•■ - '' . HrittV'VOTonicrDIte
                                                *



                                                                                                                                        f^ClRCUFT COURT JUDGE
                 i


                                                                 I                       .1                                            ; .Electronically. Sife^id
         • !                                                         t
                                                                                                               i
                                                                                                                                                I                              f
                                                                                                                                                    • -'vv   ;•■
                                                                                                                                                                             I «


                     I
                                                             Ni> Fuillxsr JfflJidal Actlcn ReqyJrc^ on T.H.I-5. .MC
                                                             CLERK TO Eia^JE                      IF TOST JCDGMENT
                                                                                                                                                                                                                      i
                         I                                                                                                                                                     I


                         ]                                                                                   '■■■■■.



                             r
                                            I,
                                                                         l^mislicd To:
                                        »

                                                           ■Altainesa pieneiits.yEimil': yvaIdsl@miaiisiMetgi»f^ ;                                                 6




                                                           Daniel Hurtes, Email; BRrt.Eserv'kt^BlankRomc.com
                     J                      9


                                                           Daniel Hurtes, Email: £>Huiics@BlanltRoroe,COTa                   *                                                                                    <


                             '   * ^

                                                           Daniel Hurtes, Enrail: EMonj@BIankRome.com                                   «


                                                           David's Ehrlich»Email: Da\nd@Bjrlichl^wLLC;com' .
                                                           David S Ehrlich»Email: DEl!dlch@EhrlichLa^FL.e?om’                               .                                                                <




                                                           ■GhiseppeBaivaiore €7ataudetla, Email: CottrtXpross@fein1sol11ti0ns.ws
                                                           Giuseppe Salvatore Cataudella, Email: FL.CourtDocs^brockandscotUcom                                                         i


                                                           Giuseppe Salvatore Cataudella, Email: pLeFileTeain^roekandscotLcom
    Si                                                     Jenliiirer OWaxren, EmiHI: jw3Hen,@northmjaTOif}.gov
                                                           lenniferL Warren > Email: dtyattora8y@aottfemwTnill.gov i                                                           I   ♦
                                                           Jessica J           »^Eraatl: FLd^leTe|m@lsroc'kafids'coit.com
                                                           Jessica J F^en, Email: ComtXprcss^finnsolutions.us,
                                                           Jessica J Fag«, Emati: FLCowrtDocs@ferockan<isQOti.coro
                                                           Jimsny'Keasian Edwards, Email t FLCourtDocs^iwtwkaadroQttcom                                                                    ■I




                                 i                         Jiron^'Keenan EdwardsEmail: CowttXprc»5@fiinlssolwtio^«s
                                                           Jimmy Kd:naa Edwards, Einail: FI.eFlleT^ra@ferockandscottco3:ia'
                                            I

                                        »
                                                           Jopathaa S'Wtlinsky, Email: FLCkuKtDoc.sglbroekdndscotf com                                             »


                                                           Jonadian S Wilrasl^.i Email. ^C^UltXprcssl|/firal5i0lutipffi.«s;
                     I                                     Jona^E S Wllrasky»Email; FLcFileTe3m@brockseatlfd0tt.com                                                                             t
                                 « >
                                                           -Kara Fredrickson, Esq, Email: flcottridocsf^brackaiidscoiLCoii;:
                                                                                              I


                                                                                                                                 i'.


                                                    CaseMor'20ld-06P>2g-CA-OI            •                                                                                                          Page 2 Of 3
                                                             «




                                                                                im




                                                                     I
                                                                                                                I
                                                                                                                                                I                              f
                                                                                                                       I



                                                                                                      «
                                             »
                                                                                                 I
                                                                                                     !
                                                                                                                                       ♦

                              USCA11 Case: 24-13671                       Document: 13«              Date Filed: 12/05/2024   Page: 197 of 723

                                                                                          r




                                   KMa-Ixih FrcdridtsOtt'i                                    q3m@bHJci^
                                   ■Kara.:Ix#i>:F3:i^ckson;.,. Email::-C©»aX|5r^^fiOTS0Mti.om. MS ■
                                                                                                                                                             4




                                   K^ra I^ah 'Fredrickson»Ei»aE: FL.Goi^oe^brockandsoott.cC'm
                                   Laura Ashley Jackson,                  : FI JCourtDocs^brockaadscolixoro                   «



                                   Laura Ashley Jackson, Email; GointX|«ess@lrm50latlons.us
     I               9

                                   Laura Ashley Jackson , ETi»il ^■FieFileTeaI»^@hmcka|idsco^t.com                                         t


                                   Mmri£«..Syitt£teet£e ;-Et«ap :.iBlGBOSS-l(l43@yahO0.eam,
                                   Maurice S3n:«oneue';','.lBomit: Big^dSSi^I(#.coiu
                                   Stqjhcp. Chnstopp^Wilson Emaii-: scwilsdn862007@yahQO,cd3t»' ,                                                    I




                                   T^mi.BaiSolM, EinaU: info@i>^lTOtew.cdm.
                         *
                                   Tania; Bajtoiini ,:BmM :4anii.liftoltai^bart»i0ilm¥.coin ■
                                   Wihmtt Laerok, Email; FLCooftDocs^brookau&sjottcoin
>j
                                                 Lacrok, Emaij^ FLeFifcTea«s@broela&dscotLciom
                                   ..'Wil'lopc LacroiX', Iraail :'-oourtKprcss@FirmS0!iai<>ttS.4S;                 I                   t
                                                                                                     I



                                                                                      6


                                                                                                                                               }

                                                                                          r
                                                                                                         I

                                                                                                                                  4»
                                                                                                                                                             4



                                                                                                                              L


                     8

                 »                                                                t
                                                                                                                              8

                                                                              b
                                                                      9


     i                                                                                                       t •                           t
         «   i



                                                                          »
                                                                          I




                                                              I


                                     A



                         *




•j                                       I
                                             I
                                                                                                 1
                                                                                                                   1                   f
                                                                                                                                       ♦
                                                                                                     I



                                                                                      a


                                                                                                                                               I


                                                                                                         1


                                                                                                                                                             4




                     f

                                                                                  i
                                                                                                                              8

                                                                              b



     I                       Case Wo:TinO^r) I ?28-eA,^l -        .
                                                                                                             t
                                                                                                                                   *       ^ FageJoffS * .
         «   i


                                                                          »
                                                                          t




                                                                                                                                                     8

                                                             I



                                     «



                         *
                                                                                                                                             «
                                                                                                                                                                   A
                                                                                 b



i                    USCA11 Case: 24-13671                  9                Document: 13                 Date Filed: 12/05/2024
                                                                                                                                                 'B

                                                                                                                                             Page: 198 of 723      $




                                                                                                                        6

                        m      TIIECIRaHT COURT AflllE ELETOlfH
                         JUDICIM-^'CIRCUIT m AND FOR MIAMf-DADl                                                                                                                    6


                         COUNIT,FLORIDA'                                                                                         ':pxi^
                          i
                                                                                                                                                 x“ ■                   s
                         CASE T<10.: 201 CJ-CA-6l92S^'                                                                                                         I

                                                                                                                                                                               m
                                                                                                                                                                               o
                         UJ.BAKK KIATI0N4i;ASSdCLAlI0E:Ai:                                                                                                r'




                         TRUSTEE FOR RAS’C 2005AHL5,                                                                                                  ^I w
                                   »                                                                                        A
                                                                                                    I .
                                                                                                                                                      ♦ .
                                                                                                                                                                        5-     -
                                                                                                                                                                        ?S,
                        "V.                                                                                                                                             Z, i
                                                                                                                                                 >s
                                                                                     f
                                                                                                              \
                        : tmOY WILLIAMS,€i a!.. .                                                                                                                              a




                                                                                                                                                                   I
                                       OeffejiciaHls-

                a.


                                           orber on duendant^s AMEmm motion to oimm.
i               9                                  ' Foreclosure comfuaint
                                                            9

                                                                                                                                                                   t'
    «   V
                                       'KIIS -CAUSE                              come-       ■te&fej>the ;G©ti]d:.‘iipors D6fc(sJtot:*s';MQ<iQn to
                                                                                                                        *
                                                                             t



                                                                                                                                                                                   6

                                                        «


                        ■oi3«>^,$e'duiy Mvised ia the prcmi5(3al is b«ett|M>n.:
                 »

                                       ORDIMED AND ASJUDOEP that Defesdanfs MeiioB to Dismiss Forectosiik;

                        Cofeplalni is hereby O^ANTID
                                                                                                                            1                         %
                                                                                                                                                      s
                                                                                                          I
                                                                .   ..




                                                                                     «




                                                                                         t
                                                                                                              1




                a,
            »                          DONE and OlDERED'In Cbs®nte iti Miami, Miami'Dadc County,
                        . ..  '            '                             f
                                                                                 b                                                       ■   ‘
i                       .Niwe^fe . 4X.>2019,
                                                                                                                                                                   f
    A   b


                                                                             »
                                                                             I
                                                                                                                  Cfecwit Court Judge
                                                                                                                                        W.                                         a




                                              VWv-V-t> - T'SK) .6^ 10 4
                                                                                                                    "




                               I                        . I--

                                                        (jJa-                                        I
                                                                                                          lO €                                        f


                                                                                                              1
                                                                                                                                      4



                                                     USCA11 Case: 24-13671
                                                                      ¥:      i
                                                                                  y:Y
                                                                                                                    Document: 13                           Date Filed: 12/05/2024              tiiniliiKr!'  -ii of 723
                                                                                                                                                                                                      Page: 199
                                                                                                                                      I

 1                                                                                                                                                                                               ifsiTK-sja© AaRo 2.saesrv
                                                                                                                                                                                                     m ii 2§fm P9^?5l Uni
 I                                                                                                                                                                                                   ■ mmm m/iMma. mmm
                                ¥■                                                                                                                                                                   ■’ Miipsif■«¥»» €ijst m tmi
                                                                                                                                                                                                                                       t wmam
                             .f-.



                                                                                                                                                                                                                   I
                                                                                                                                 I
                                                                                                                                                                                                                                           B)eh,C
                                                                   .C^lRECTOT ASSiOKMINT OF MORTGAGE
          I                                  m




                                                                                                                    >
      I                   4                                       m vmm MCGVCS. S» antes
                                                                   .,
                                                                                                                       ,lfe
                                                                                                                             'mMXm, «Rweft.                                          *-ms     Ii;                      1



          !
                                                                  RO. tot 2M..               W                  laaw^tsri, 6JtaSi«d tBs   w                                        f^K NATICSAL;                                                    «

                                                           'iMCWIKJK XmpXa K3K liftC »£(,RJ,                                                            wkw «l«» h S!»                         »w.
                                                         I te WTOta<i!««. M l-mK m RBJxstes ifK»r »»» ml to
                                                                  381^ .(,* fsst J2it. 8* ft#              muni* »f W^fi&C.'iSS Ciist?:’/, Ksstdi Izrm^te ^ Wtewisf.,
                                             *




                                                                         iw i». aisCASw ■&&»» sEcnos f fart i. a<x«»kvs to wboat                                                                                           I

                                                                                   '#:'»s^mia> & »tT ffiEW«4       «. ffif ?IIE toemc.
                                                              I          :m&mm^

                                                                                                                                                    I
                                                                                                                                                                                       I                                       t   »
                                                                  JM   na*s» «f Sm ftmrfw                                                 & « ««»                         "rS'^SS
                             !• ■
                                                                  iifflass* K               fef wsamisis,«                        i?fe*2 r=.«^      steo®* r«!s%, ri6n*i. stf itwwj
                             !•„:
                                                                  »s^^#s»a ■ ’
                                                                         'Cjn;.V-- .wtcaok
                                                                                    .      oxcnsjxic ffxcsmAWJf-f wsTsm
                                                                         aSlieaeiBi, mt «B« wasoAe mMx m ws?fA-C2 aKmwK-
                                                                         *raTO«,T0» srsiw. ummAA-rm *s saeai K« wa^^p»
                                                                         :»MCIAt JJLC IS Bss* »iil£a esaisr                                                                                                       «            I


              I



                  I                                                    m                                              to mMsi W                     ila                   m
                                                                         j&tts                              aaiti..
                                                                                                                                  I

                      I                                                                                                   k


              I       I
                                                                                                                                  B?.
                                                                                                                                  ffesS
                                                                                                                                  iMi:                              ^ T   '
                                                                                                                                                                                                                                                        I




                                                                                                                    »                                                              »

                          i :
                                                                                                                              I
                                                                              y^yr?iCTt¥gl^'                                                                                                                                                        4



                                                         j ojwTV’er^T«f4.Vs\4^ 51388^-
                                                                                                                                                          ■: .-•:
                          I ;                                                                                                                                                 SSE*E8iv?i
                                             A-.. -*     Jjgjg                                   fS aai sstigBiJ-cfK«areAC
                                                                                                          «t.^U«E Km ASKJM r.                                                  »te»gst*2!liy


5/'

                           i"fev. ,

                             &
                            l iii

                                                                                                                                      «

                            i:           .

                                                                  ts^n^
                                                                                                                                                                                       Prttiiii
                                                                                                                                                                                       iBlilil
                                                                                                                                                                                           m
                                                                                                                                                                                                                                       I
                                                              psifcwc'wswjw^rK®?' wwi                                     ' -*
                                I                                                       '                   '   "                                                                          m


                                                                             ,1 . . ^                           ' FtCIItC6BIS»£#iiaIl211M
              I                              #



                             4                                     Bopi^P33/l»agel'6S5                                                    CFN#2012dl 32S35                                                      Paoe' 1’ :^ef'l
                                                                                                                    »
                                                                                                                      ’       I
                                                                                                                                                                              •?                                                                    «

                                                                                                 'i

                                                          I



                                                 »




                                     I


                                                                                                      4
-J                                               .8


                                           I


                               USCA11 Case: 24-13671       Document: 13
                                                           SSiS" «
                                                                                                I
                                                                                                          Date Filed: 12/05/2024
                                                                                                                                  i
                                                                                                                                                                ?&t3(
                                                                                                                                                    Page: 200 of 723


                                                                                         ?y*/Scr.sfH*j:- hni r^-en /'
                                                                                                                                                ech.D1 •
                                                           ¥f.^


                      »,                                                     I'll
                                                       s@
                                                                                                                                                    I
                                                       Ite -*5 fer.}/ ^i.* ?ja af^!l!.'ft                                                 mu                I

     I                9


                                                                                             ^it0                              'gSfit^.irsifi
                                                                                                                                                            'm



         *   t-


                                                            »                                                                 »


                                                                      I
                                                  (
                                                                                                    ■■■         ■           ' '"• '
                                   t
                                                                                                                                                                I ■

                                                       i^p-                                                    'iftf;'Sfi*f|:
                       *
                                                       M          ;il.,:Sil§‘

s;                                     a         .h                                        Ut             ^' is eSf M -                jj .
                                           »                                                                                      i                                  f
                                                                                                                                                                 i


                                                                                                                                                                                 I



                                                                             t
                                                                                                           I
                                                       'wSfgan                                      ■•                                                  o




                                                       ’              j rsT                v:::^ fn.t s»i4 r^te«> a,/ : ^
                                                                                                                                                        •            I
                  e
                      0,                               iurr.-r',*^                     '?»pt.C'Sjro '.t"H
                                                       SiTi zx%1 &-r^,';if..                              ir.-v-s                                   t




                                                                                                                               ^Hlf
     I                                                 Jm:i>'C-’' r a:-v 'r-i‘ -Pi '>x> f;4f l»‘;*x /:-v/. ?
         *   i




                                                                                                                                                                         I
                                                                                                                                                                                     e

                                                  1


                                   A




                                                 .a
                                                                                                                     ■■:■


                                                                                                                                  i                                  f   ♦
                                                                                                                      5;
                                                                           «


                                                                                                                                                                                 f



                                                                                                           I




                                                                                                                                                                             1




                                                                          !?<«!»!!!%
                      **■ •’
                  »
                                                                      «

                                                                  b
                                                       f


     J                                                                                                              \ ■

                                                            f
                                                             f

                                                                      i
                                                                                                                                                                                     4

                                                  I



                                   A



                        j
                      USCA11 Case: 24-13671                        Document: 13       Date Filed: 12/05/2024
                                                                                                                                       .4^
                                                                                                                                        Page: 201 of 723
                                                                                                                                                                         &U31
                                   X                                                              <1 P
     »
         •    4
                                                                                                        m                   ■l‘r:
                                             yuoni                                                              m
                                                                                                                m
                                                                                                                                        mmj
                                                                                                                          mm                 I



                                               «:
                          I
                                                                                                                 :
                                                                                                                                       ® .&K • pz.’
                                                                                                                •:>. ■•   v.:-   •:.




                                                    ;S'il "tsifcfi:;                                                                    X
                              I            O Upiratea-%                                                                                              1




                                  ‘ _ #imec! Whsfetierelaticiislifp&etw^n JPiflsilan                                                             f
                                          ' and Morgan Stenief?- Is the Morian In each csf ttieir
                                                                                                                                                                         i

                                            names flie same person? Were they ©pss.onfe irro? ’
                                                th@f connscted at ail nmh
                                            JPMorgao- Chase & Co. is the parent hojdirtg compsny of
                                            ChaseCCommerica! Bank) and JPMorgan(lwestmerrt                                                               I

                                                            I
                                           i-fiaBk).
                                                               f     ^

     J            9

                                          ■ John Pierpont kl0f§m (J.R-Morgan) foynded J.R yorgan;                                                            t
         ft   V

                                      "    & Co*, vAich j|the predecessor to Morgan Stanley and
                                           JRMorfSti Ctilse]:
                                           As a fesyft of the G!ass*Stegall Act of 1.S33, J,R Morgan &
                          4
                                           Co. ’#as broken up, It spun off Its IpYestment banking
                                           activities Into Morgan Stanley:                      J                                                                I
                                                                                                                                         «




                                           J:R Morgbn & Ca. conllnued'to operate as a commercial
                                           toanlc* However, In the 1990's It jitartedtd refauild its                                             f                   1



                                           investment banking operations. In 2000, it merged witli the
                                           Chase Manhattan i.ank, and JPMorgaii Chase was'form€fd.-
                                           Irt 2004, it acquired Bank One, Jdmie Dlman (cuirent CEO
                                           of JPMorgan Chase) was one of the executives who came
                                          . from Bank One. During the financial crMIs, JPMIorgan
                                            Chase also acquirfd Washington Mutual and' Bear Sterns.
                                            Today, JPyo/gan Chase Is the largest Bank In th@:Worid ‘
     j            9
                                          • with over JUS$2.6 trillion in assets.
                                                                                            t                                                                t
         ft   4
                                      •    Morgan Stanley contfnyes to operate as an Investment
                                           bank.                   < ,                              '       '
                                                           Vv-v          .jv-cstp’'        'h-              |, of l.tSfisWsrs
                          «

                                             ^ ypvotc • 1?7                      O 9 01 .


•J                            a                            I
                                                         11                                             s.
                                  «

                                                                                                                                                 I
                                                                                                                                                                         I
                  I

                                                                                       1
          p
                                                                                                                                                                                                                                $
                                  «   i

                                                  USCA11 Case: 24-13671
                                                                                                   U.S. Bancorp"Wid-          q;
                                                                                              Document: 13 Date Filed: 12/05/2024                                                                  Page: 202 of 723
                                                                                                                                                                                                   -«
                                                                                                  »           en.yflkipodf&o<^,                 *
                                                                                                  f




  I
                                                                         ::H
                                                                                 i
                                                                            I American bank holding compoft^-                                                 :iisti                                                                        t


                                                                  *    ^ -i.
                                                      6

                                                                          Paced io Minneapolis, yinnesota,and _                                                   HB
                                              4


                                                                           Inpofpdrateyio DelgwGfe.W_ it is the
                                                                                                                                                              M
                                                                                                                                                                m
                                                                                                                                                                  i
                                                                                                                                                                                          mm
                                                                                                                                                                                             : :
                                                                                                                                                              'i$.
      I

                                                          I                parent cQifipany of O.S;:Bank National                                   ■^,                                     -.r'
                                                                           ■Msodatioa and Is the fiih .largeii                                      i
                                                                                                                                                    :i I

                                                                                                                                                                                  ms
                                                                               banking institution ip the United                                                                           IB!
                                                                                                                                                                                                                                        I
                                                                               Statec.'f^^ The connpi.ny provides
                                                                                                                                                              S
                                                                               banking, Inveatinent'mortgage^^ptlst                                                               «««




                                                                               and payment services products to                                           ' 1                                                                                       i




                                                                       • Individuals, businesses, governmental                                                M
                                            9,
                                                                                                                                                                                                                    I
                                                                               entities, and other inancIalPfistitutlons.-                                                    rstin



                                                                           As of 2019, ft'had 3,10§ branches and
          I                                 9


                                                                               4,S42 automated teller mschines,                         t                                                                                                       «




              1
                                                                               pnmariiy fnthe^estern and Midwesterr^                                                                                                    1



                                                                               United StatesJ2j inbo23 rt.ranted 149th                                                 isra
                                                                                                                                                                      ^4^ txrm m
                                                                                                                                                                              Ce^fSf.-

                                                      t
                                                                  ■ ’on the Fortune 500/®l’snd it is.
                  I
                                                                  ,        considered a sysiemlcaliy (mportartt .                                                                             J


                                                                                                                                                                      ill-aiTTAr,             snd CT-^
                                                                           bank by the Financial Stability Boardl The                                                 Sssxsistst lasiJr^ Oarpj"'i^

■j'
                      I
                                                          I                eompsny feiso owns.ElaVon, a processor                                                     ^                      ^ I iU
                                                                                                                                                                                                        ‘   T




                          1
                                                              I
                                                                           of credit card
                                                                                      I
                                                                                          trarrsactfons fos                   I
                                                                                                                                                          i
                                                                                                                                                                       ua^
                                                                                                                                                                                                                    f
                                                                        ' ’merchants; and Ban’.Financial ‘Services,                                 '
                                                                                                                                                                      ?^jBr^sa^

                              I
                                                                           a credit card issuer that Issues credit'                                                   iriJdS»^<e^M%an<23Z3;^



                                                                           card products on behalf of small credit                                                    . A WSSSaufeSd MJaKs-pl2$|.

                                                                                                                                                                                                                                                    i

                                                                           unions and banks across tiie U.S.I^                              ■

                                                                      U.S. Bancorp operates under the ^cond*..
                                                                      oldest cofttl0i4ous,natJoriel charter,
          I                                                         . orfgmally-^harter .#24 .granted to 1863.                                                        nshA^aii^'Si^tsj
                                                                                                                                                                              A«< rnsjrr^^
                                                                                                                                                                      rrsarja^.# i2:^jiise ri2£<
                                  *1 b
                                                                  . fotlbwing the passage of the National      ,                                                                                                            I



                                                                      Sank Ae^arli^^i|0rt®rs have expired"
                                                                  ^''""as'Bart^were closed or acquired, raising U.S. Banlds chafiS^
                                                                           number from #24 to #2. The oldest natlorialchartedorlglrialiy
                                                    %h%o'                  granted to tfie First NatiansI Bank of PHUadelphla, is held b^y
                                                                           Wells Fargo, which was obtained .upon its merger with
                                                          t
                                      r
                                                                      ''\wachOVia5^^
                                                                                                                                                        t                                                           f   »
                                      I
                                                                                                      t

                                                                                           Ilf'
                                                                                                          I                 :• . |-';

                                                                                                                                                                                                                *
                                                                                                                                                                                                                                                    4




                                                                                                                                                                                                                                    I
                                          •(•I,
                                                                                                                              rx

                           v¥,
                          USCA11 Case: 24-13671                         Document: 13                 Date Filed: 12/05/2024                Page: 203 of 723
                            if                                                                1
                                                                                                                      i



                                                                                     4


                                                                                                                                                                    I
                                                                                                                                            •   ' E%bM
                                                                                     f
                                                                                                          I s^TmcmcmTosiMi &Ttm
                                                                                                               MmioAicmcurmAm •
                                                                                                            rOa,l>APE€OIJ«TT,PLOSDA
                                                                                                          0H?5ERaI.JirR|^|CTICl‘#:PRTB®}f
                                                                                 t
                                                                                                                      CA5S m;»07-l24f,f«i.

                                                  VSBss^^.A. ' ”
     I                                                                                                                                              &




         *   w
                                              •




                                                                        I

                                                  Lfiia^ WtlftSin?               5
                                                       DsfeRjiCsstljy                                                                               I



                               A

                                                          OKDEK                           WUHfSlllBieE

                                                                                                   O5i?ijon tjr rnxmr.for Ik*
«?                                 I
                                          . £sS“*ri;irssss.““£ 'f
                                              .HS3SE3r^fsfe=;sis-                                                                                           «



                                                            iLa;ia«

                                                  ssssjsisrsssisszrss                                                                               <»1
                                                                                                                          I
                                                                                                                                         f1'
                                                            jFS8«te;-
                 4
                                                                                 t
                                                                                                                              GMIUfJUBQt" .
                                                                             6



     i                                                                                                        t
                                                                                                                                                        «




         * ^


                                                                        »
                                                                        ' I
                               . ' '■,■
                                          f\(          cIl F 5,
                               A



                     fi




                                   4
                                          i
                                                                                               t
                                                                                                                      i                                     t
                                                                                                                                                            ♦
                                                                                                      I



                                                                                     *                                ?*^ir

                                                                                                                  *                ^tn    r.i’jCu
                                                                                                          I
                                                                                                                                                                I

                                              OFN mimmnm mmmm                                                                                       4»

                                                                                         i2;4?m pg *4 ^ -f m».Qadu.


                                                                                 t

                                                                             k



     I                                                                                                        T
                                                                                                                                                                        T

         4   k


                                                                        »                                         *
                                                                         f




                                                                  I


                               A
                                                        i='   .y   :n''V ■
                                                                                           b
                                                                                  9


    I                USCA11 Case: 24-13671                                            Document: 13                  Date Filed: 12/05/2024        Page: 204 of 723
        *   V




                                                                                      uklTlD STATESBiSTRICfrCOUM-
                                                                                  SOUimm BISTEICT OF FLOIIDA •
                                                                             I


                             «
                                                                                                               n-€v^u-a§mM
                     .   CARLmCKSON

                                                  PiaintiC
                                 ■«           ■                              .1
                         m
                                          I                                                                                        I                       i
                         RALPH W. COKFREDA; JR.^ ct 2l«^
                                                  l>cfcEdm&.
                                                                                                           f
                                                                                                                        i
                                                                                                                    i



                                                                                                   I
                                      : ‘ ■FOEMJAifT^to'^2i:KS.CjV|;4S5j.'::tie                                                            the al»Ve-sfyl«i eatsse h
    I                                 a

                         assigned timiljv nxiisisss
                                                                                                                                                       e

                                                                                           wid refers the case ip Ihe CIcifc of tlie Court Tot reashignTtietjl.
        «   V




                                                  POME ANO OEOIRIIp Ip Clamfeem ai Mlawil, Florida this 28th day of June. 2019.
                                                                             I


                             I



                fi

                                                                                                                        DARRIN E OAYI.KS
                                                                                                                        UNITED'STAlfeSDE           JUDGE
                                 I                                           .1

                                          i                                                                                        i                       f
                                                        J

                                                                                                       «



                                                                                                                              i:

                                                                                                                        1




                                                                                                                                       «


                                                                                                   I

                                                                                           b
                                                                                  9


    I           9


                                                                                                                            t ^                                 9




                                                                                       ’       I
                                                                                                                                                                       «

                                                                             %


                             I



                *

                                                                                                                              1



4                                4                                           .1

                                          I
                                                                                                                I
                                                                                                                                   1                       f♦
                                                                                                                    I
                                                    m

                                                                                                       *




                                                                                                                        \
                                                                                                                                        I-

                                 USCA11 Case: 24-13671
                                              t
                                                                                 Document: 13                             Date Filed: 12/05/2024
                                                                                                                                              ;
                                                                                                                                                                               Page: 205 of 723


                                                                                                                               I
                    s


I

I


    I
                                                  '■.
                                                                                                                                                                    . P^aig8,icf;8
                        •,
                                                                                           t
                                                                                                                                                                               »


                                                                             f        b



        J               9
                                                                                          :■ yNfra>StA7i8;&iSTR^C0PST


                                                              c^l                                                                       Cn» N&'l&oo^ilS-GAYi^

                                                              •',W -.
                                                                                      mks:
                                                                        0



                                     I                        RMW-w: COMTO-a, JiL,
                                                              o-&BAi«teTramL                                                                 "nmo                         ^G
                             »                                               CH^EBANK'
                                                              CA«tllA.«»eiSKV                                                                > , m'um
                                                              ALMfWAffisSTBIM
                                          I
                                                              Kawms®: riser
                                                                             w. AmmmM a
                                                                                                        •                                         mim
                                                                                                                   1
                                                                                                                                        I                                              f
                                                                                                                                                                                       ♦
                                                                                                            /!■
                                              ;




                                                                            fe S^sr*s«s3^                                                                                          ^
                                                             'TO

                                                             totoS c8dli«::bf pmm^ k’rnimn:                                                   Ofeeto^ ofjto a«|
                        I,



                                                        .                        m;ms W«                                                     FMA'SateidMR
        I               .9

                                                                                                                                                                                           t
            *   ^                                                     '    ■ •; , ■      il'ACTOA^JACKckHMB
                                                                   8, .Cfei^8§f^»]4«afef'G4&fe9!ia©©d a«aei^Cfe^P5,*^;fE|..
                                                                  Vim saas’of s|fc» Sr vfcJi&» of P«fe«f ttn la^ 'baftl:^ reaf«-» a»wS^
                                                                                                                                                                                       I
                                                            »gte(igg3i^3:%a?totfoa^8i$diKtetCTgMHt.^5^                                                                                             s




                                     4

                                                             . ^...  .^ .
                                                                 *,«bfeiws^                               ;# « s!is»s«fsnitb,f^:4iaterat
                                                                                          a sfi« «f piSB, gasEwtt                                                         to 5^
                                                            «stai2^ »Sifep, 8b£ pj a 4
                                                                                                                                                  fc s.:                                               I


                                          a

                                                                                                                  *1
                                                                                                                                        1                                              f
                                                                                                                                                                                       I
                                              ;
                                                                                                                       .l»-.
                                                                                                    «


                                                                                                                                                                                               I

                                                                                                                               1

                                                                                                                                                                                   «




                                                                                               ft                                  i.

                                                                                      b
                                                                             f



        I
                                                                                                                                   ■




                                                                                                                                                           •S-. -   ■•.
                V • ■


                                                                                 f
                                                                                  '        I
                                                                        I


                                      i



                             *
p

    *   b

                USCA11 Case: 24-13671                                 Document:
                                                                      I
                                                                                13                                               Date Filed: 12/05/2024        »
                                                                                                                                                                                                               Page: 206 of 723
                                                                            i

                                                                                  1
                                                           I



                    4



            *




                         a                                .a

                             I
                                                                                                                       I
                                                                                                                                                                            1                                                   f
                                                                                                                                                                                                                                ♦
                                 ;•                       Oi C ^u&s-l^ksi^ BlfOTtigy tir                                           fea&KJgra awj I;®                                                                            j
                                            tKSytJin^i U S Bi3tt ..-i-i f f 7.9f                               if&-
                                                  i        tHp-'sni                     "fi'i                    tl ,isjf'' ajj.4v * > f ui' V4f                                                      ^ Air.     r
                                           feiffO- ft'SfXJn iJ.K^vlIe Tj-tv?!, ijiiscxvw'tg}                                                                                i-ifarraisia k.*) t’ef^            snv'iij
                                                               fcLttt'rtS^ fff?r.;!h0:i> s>r                                $ wpsfBl fesattet fe^feasTi-i’disa nsz»                                                  Ks-*
                                            Z>rissisv ff4 UhW                                       Mt e<n.4.i*(!a
                                                                                                      . yaiofciXDsjMCirf iav
                                                                                                                                                         .     .       ..               ^



                                                 ,IM t'’iaiBlj?r i.nas4kis tmeif V.ifmtbzim-M Bifi*-pr3c<A ji'/tl                                                                             Rt'^•te S) fed!*f 'f>
                                           rj^rin 1 ”"                          43f t.«K,                      <*rs.'> 't0 r'i4^*»i f tTci™,” r*                                                      ) _c         lir

I                                                                «s4 *{y«;lKdrcfiwfe si»!Ml                                                        w «y^s;,mf tfewwi trawlw,a •,
    •   V
                                           fS(T A '’'s’ /')- hp}£f,fr!im n. i..                                             syMv

                                                                                                                                   i                                                 (!’tzi!t‘i, ,<:i 4t .at, w.’t
                                                      %r u’siT.j , I, iu. L.4rsr..,s^...«'rfiiW.'/'fc t»».r J                                                                               zJSi « /t-f .»
                                            •i<f<iC«fa4;_‘--7i At’"stW|,H »<r)»>.'
                                                  .. ;.    8           ..                   , *         .,,,    . ..   ... - .    . ....       .

                                           .'s‘s tB«3Efife i-Maii!i)-n47ir4‘ '•D!>^i!X,i,<>                                            rjf^Ui’S;
                    4

                                                                                   ,r:F'V.fi illI'i                                                                         r.¥4m               f-
            *
                                                                                « iiiJ 4,t‘.ki

                                           ^.s} i'.yM 4,ajA..                      A.E...i u|(Arfs«flK.fc.,t4rtT'»OTf'. »'                                                        ’»»■«          ’ ”»''Bi”£,Br fr”’

                             6
                                           'b                                   iss'^s*/•&/)?»«?«.’                    ,1
                                                                                                                                                                            &                                                   f
                                                                                                                                                                                                                                ♦

                                           •sj                   ' ?■«> f'Vj f     |» a                  I* ssr^vsfai '«**'»'’< W Jt*'7*..<.’uB» fef*                                                J sr ' 7W>
                                      .,        <3'|,o.E?/?/i'iOfBf,<nr^a<»o»£r!aiVr{|is'4Jte^E,/?ij/.84s,Tj',if7lwyv,-/sTi'¥"<’><‘                                                                                                 I
                                           'pnicmkftf-
                                                                                       , '                                             ' ..                  , .
                                           HIAOkP ’i T/i                                            Atf <v ^l4r!•<5r.^ «v,‘««n *■>(»■.<■ sM* ?> •>'Th ,» a %,•»' s a/.                                                      ^




                                                               immi

                                                                    S«<^!tv,A ‘f !...-iV <V                                                                                                 5-*''               ’''<”■
I                                          •-««;•( Bfe            4,'tt •'         '                                             « sfcSyi'ft H»)                                             st>4                .- t;->?
    «   i                             ,     -JlKrfSBstf “win «                                                  NK-r                                                         i fca tV                r's       ‘ 1. i ~
                                                                            »                                                                                      *

                                                                                                                                 :,aa
                                                                            '      I
                                                           8



                     <



            4




                                                                                                                                                     ;
                         I                                .6

                             8
                                                                                                                        I
                                                                                                                                                                            i ;                                                 t
                                                                                                                                                                                                                                ♦

                                                                                            4




                                                                                                t
                                                                                                                                           1




                                                                                       (8
                            USCA11 Case: 24-13671                    Document: 13                               Date Filed: 12/05/2024                                 Page: 207 of 723
                                                                                   f
                                                                                                                     I


                                                                                                                                                                                                                      4




                                                 •-r ,
                                                                           k
                                                                 f


     i
         . V
                                             •   si5Jijtw% pfofiittVzrf c?i«rr!- »«!>*^rnm » m'-ss in         ICtk? TBSto ffi'ofttcfewtsaftssss
                                                 Msd! seSfC 5>s«        Siei usd rc;»;4feu «f wiseiJsa ;fraass^fi                           its,
                                                 jatp’s         '
                                                     &;&« *f«(% /fe                          it yj-ae.-p’a?^’*»«?»■!
                                «
                                                 fVI N: ham'-. I&m! k\ ;M<mfii3ii^                                                                                                    I
                                                         m->¥h~.                                                                f> *• -^b -i'«.>’#      ? ?»
                                                 jwwBw^V-                                              <.»'A/                                                          ■
                                                 finxvafitffi}                                                                                '    ?'
of                                   I
                                                                          wrf.•'< ” ^f. .^’i. .axtu-hhiff vt A'prfrfr ffl(wa#riiSJf#w*'.ii'»«ii*i' -wJi<1
                                         I

                                                               4*;#« ^4*. r^iw. =J»8;ite.L ^
                                                                                                                                                                                          f   ♦
                                                                                                                                                                           ,\s i
                                                 '/,$ 4s»^,«',?//.f Jif-iia.’.\h                   4            /i
                                                 is, m?, mistiu 4^>'t rsk l mt 6Sfi tiA0i,, .vi ikx-
                                                                                                                                        i
                                                                                                                                            ■ smtfViSt^rsinj
                                                                                                                                                                                                              I
                                                                                                   omtiisKiKS
                                                                                       t
                                                                                                                     >

                                                       uxiii Mw4rta'<?i P.^w'fCar0 S<»®rf't terf on
                                                  tybre-w-ns". njME            ?. ftSsfl Cie,2slS&.y dtJ                                                                   4:ro« .
                                                 iflir «^)ml Cdfr^Wr; C!5a5 PawS’csajM zo                                                                                   »ait ;
                  t,                              BcIwiaRU nS" V fti i|t i'* «'^*»giw<J' feJgs 'fee&« Jfes Oispisi                                   fili^, ,*4 g-ffctoaily
                                                               bs feis »a .9?wsy               ftds; &e w ?i:@l ws|:r««i;1SB«i^. omiTtSs sihs<rmK ^
                                                                       tffap'Afe Et? frc-ti-ki sfECJjsaaiir a:^ \(Mtojs:»tsjnts»imilR'«-$.e-?^a!lf ly
     I                                           lirf-jf             i3!4!tt/4d jsstl-KiJl iJidlea raijsjirrt rp                 {x-ooss^sssk*                 ,
                                                         ■ Wg«' iia-Jes
                                                                . ,. ,, Stfs-i «su«ia? Eaaa ItKEray
                                                                                               . . --.i* 0«|w4a»t _?F . ifen^aw Clf« s&t *.rj;:in                                                 1


                                                  :pa'fere'>I-^l cpy                       WrsRslJt % J>>s.              jj-w^JT !r>rijR^Si(M dismal a-J^                      ■^‘•
                                                 A-.                                             SttiasiuE tntcnssS m £i AJtifft”                 5, («v'n'.-.-!TO;- a^^ V4;^                                     t




                                «                           «. S S4(Eik ssd -s 1'                        ’’.iB sc s4«f csseIj                               Jy                            •
                                                 '■gs (w^aas Ci ili» fnx.'z.kt;^ a;’!tflritfcrWar2l*J‘'|jJ|5s»w«Jy p 'cvf.ds "
                       fi




                                                          .h

                                                                                                        i
                                                                                                                                    k                                                         t
                                                                                                                                                                                              I
                                                                                                                                                                   *
                                                                                                                 I



                                                                                   4




                                                                                                                         m. •
                                                                                                                     I


                                                                                                                                                                       I




                  a,
                                                                               i

                                                                           k                                                                                                                          I


     J
          •   V


                                                                     »                                                          »
                                                                      »




                                 k
                                                                                                                                                                                                          I


                       >




                                     &                    .1
                                                                                                                                                                                             I
         1
                                                              »                                                             *
                                                              f



                           USCA11 Case: 24-13671              Document: 13                          Date Filed: 12/05/2024                                             Page: 208 of 723
                                                    s


                               «



                  >




                                           C3£^:r^|
                                       I

                                                                                                                                                                                        «

                                                                           «




                                                 l^^rmm i.* I-e-4s«,*„& „f G.i!                                                        |^,^.£-        -      .» »cl •> ^ ‘ .
                                            «i» 3"*, .5>K ShiOisr^ im,                                   "''
                                             _    ,      , .         ^                                 tesf op.'a ttt eats n--*                                                   fi
                                                Mrf ’.     ‘- .                                Clasrtfwj
         i
                                                                  j                                                              lfl% C<y 'e -
                                                                                                                                                 'f.-1     W'.^l-it         ,,,
                                           '•ftfsi I'?, m#' ••: i                          .    .     . ,.
                 I,
             »
                                                                                                                                                          • ■>it -'SSrs,”


                                           K'.'a*             Clrfk                 .»•
I                                          KxfSiPi:j Ar.vyfsi ft« Ck»;p:
                                                                                    «*. ..4!<'4 gerw
                                                                                                          «p.M thv r"y>.?i,--;i* tm r,: .,•

    *   t»



                                                              »

                                                                                                    /''iii£                                      :
                                                              »

                                           PI#           'J
                                                                                                                                                                                                      9

                                                    I
                                                                                                                           r:kljim-t\;v.?,‘: iT
                               «
                                                                                                              PO li*-i 17t,ig4 :^jXi.i^;,            , ,5 j ; i
         !
                      fi




                                                 5 ffern*f a ■:nr‘ fh^tmrA,f.d!r.f.i >jst ir,i4;
                                       I
                                                                      ^„.'' ’3| 4 ■^,tri'n '.^fcj'^Ji ' f |;j.^ >/';!u:?t= IT. r*.?          Hft" y. -■' f.:;, ,n
                                                                                                                                                                                        f !
                                                                                                                                                                                        «
                                                                                                      I



                                                                           4                                                                                                                  I

                                                                                                                                                                                                  I
                                                                                                                                                                                              1
         1
                                                                                                                                                                                              \
                                                                                                          \

                                                                                                                                                                                              I


                                                                                                f<^J                                        ^'rc
                                                                                                                                                                                             ■I

                 9,
             »                                                         i
                                                                                                                                                                       9

                                                                                                                                                                                              I
                                                                  k



i                                                                                                               t                                                                           'I
    •   V



                                                              I                                                              »
                                                              t




                                                                                                                                                                                                      9
                                                                                                                                                                                              I
                                                    I


                               «


                                                                                                                                                                                              I




         1
                                   a                .1

                                       «                                                                                           k                                                    ?;
                                                                                                                                                                                        ♦

                                                                           4
                                                                                                                    t: .




                                                                                                          I

                                                                                                                                                                                  Jt,
                                                                                                                                                                                                          9
                                                                                                                                                                                              I




                 9,
                                                                       I
                                                                                                                                                                       9

                                                                  k

I        : .                                                                                                                                                                                  \
                                                                                                                                           IV':■ f.
                                     USCA11 Case: 24-13671                                                   Document: 13                  Date Filed: 12/05/2024   Page: 209 of 723


                                                                                                                          I
                                                                                                                                                                    I

                                                                                                                  b



      i                                                                                                                                            >
          *   w



                                                                                                             »
                                                                                                              '       I
                                                                                                                                                                                              I



                                                                                                                                  of       -
                                               4




                                                                                                                                                                             I




><*                                                4
                                                                                          )
                                                                                                        ®8TBJ|mTO:«p0r'cs0yKr_.., SIS 4 fc.gw fw
                                                       I
                                                                                          n'm                                                                            f
                                                                                                                                                                         ♦ '
                                                                                                                              4


                                                                                                                                                                                     I




                                                                                                                          t
                                                                                                                                                                    *
                  /■r
                                                                                                                  k
                                                                                                         f
                    »


                                                                                                                                                   t                             4
          «   V
                    -i.

                                                                                                             »r

                                                                                                                                                                                              «

                                                                                                    I


                                               I

                                                                                          •y^
                         fi




                                                                                   er" .-6v
                                                       i                                  i
                                                                                                                                       1                   I             t
                                                                                                                                                                         ♦
                                                                                   -iv.

                                                                                                                              *




                                                           ; 5^    ■;                                                                          1
                                                                                                                                                                                         •»




                                                                             ;•




                                                                              .•                                                                               ft
                    I,
                                                             • -y-''                                                      I
                                                              p',’-                           ••V


                                                                       -••    •
                                                                                          ■;-y-.                  b
                                                                                                         9


      I             •             »"■:   •^;                                                                                                                                     f




                                                                  , .yyy*. : .                               »
                                                                                                             t
                                                                                                                                                       *


                                                                                                                      1
                                                                                                                                                                                              »

                                                                                                    1



                                               4,

                        4




•«i




                              ;
                                                       I
                                                                                                                                       I
                                                                                                                                                           t             f
                                                                                                                                                                         4
                                                        4


                       USCA11 Case: 24-13671
                           «                                        Document: 13                                     Date Filed: 12/05/2024                                      Page: 210 of 723
                   »




                               I                      .I

                                                                                                                                             I
                                                                                                              I
                                                                                                                                                                                                           ♦
                                                                                        '3 rtpwwjri e'«lfe&ilw3Ri2rDj{:>-|0S*J^-2Ci3


                                             Usaai                                                                                                                                            JWt.l                I
                                                                                                                                                                                              -rw


                                              Stiles-                                        '
                                                                                                                                                                                              !>
                                                                                                                                                                                              '}


                                                                                                                                                         *



                                              RiWi^^SI                             t                                                                                                               'Y*'-
                                                                                                                                                                                                   I'VV
                                                                                                                                                                                 ft


                                                                »           b                                                                                      i.c I . J?;,
I           9



        h
                                                                                                                              ■ I                                                                                  i »


                                                                                                                                    'd
                                                                                                                                             -pRQC^SScU
                                                                                 I
                                                                                                              fij»r;i.;si;rAi«;N                                                                                                        ft




                           A
                                                                                                                                                                                                           • I             ,.
                                                                    ^<1 "S' ^ t w -/_^ r »_y’3

                   »

                                                                                                                  K^Ki a-.t.'trn's
                                             ‘nittDetl.ir «t*t!:,5 j.jgj                k*; j|.f5CT;,.                              /

                                                                                                                                                                                                               s
                                                                                                                                                               C47>r^-s^ rv-          ’■> ,   1       •
                               a                                                                                                                                               ~^s///'*•'


                                   I           ’IttVWM, ■>r‘,i- vi,wJ*                           < r,lY^^'.fifAt i                      »,,t j-Hnh ST,                                                     f
                                            - ,«E78                  s-^i Stst? »•-(«, Jj^-                           1                                                                                        i


                                                                                                                                                                   j_ »*.                                      I
                                                                                                                                                                   '5-ZiZ.l
                                                                                                                                                                   Slivr-ic.                      ■
                                                                                  s»<T.                                   I
                                       1^ I^*t5 *KT5iat(! .*s±!5 jfTi*

                                           MCTWttaaggEas^Ma                                        m
                                                                                                          W-^lC-liARtt^s^s^ '
                                            iS3{ai?»o i«eessB»              w? »*
            ft ,                       ■                     ww itb^-Kpcntu g»                                                                                         J,!!(!fSfhJCtf ./-itir^ i
                                           &g;W8«5i^g»i'ngj»SjS^y-,                                                                                                %
                                           &!?% titAnty;^ ,;ly| 'siziSjUiK^.uiii.
I           9
                                                                                                                                                             -:4
                                                                                                                                                               g'c' a«.»
                                       ,' j lKTff53Si&is,,'.#^^'^Esr,s^ J5^X
        w

                                                                      ^ :                    Vrf „-»i                                                                                                      i '                  I


                                                                                                                                                                                                           %
                                                                                                                                                               ?
                                                                                                   •%'rsww.

                                                                                                                                                                                                      '' i                              ft



                                                                                of,'-
                           A



                   *




                                                        .»

                                   t
                                                                                                              I
                                                                                                                                             1                                                             f
                                                                                                                                                                                                           *

                                                                                        «




                                                                                         I
                                                                                                                          I

                                                                                                                                                                                                      «




            I,                                                                                                                                                                                                                      I
                                                                                   I
                                                                                                                                                                                 ft

                                                                            k



I                                                                                                                              t                                                                                       f
    .   V
                                USCA11 Case: 24-13671                                     Document: 13                                         Date Filed: 12/05/2024                                                              Page: 211 of 723



       I
               V




                                                                                                                                                                                                                                                                               I
                                    «
                                                                                     g9;^,2g
                                                                                                                  te®.«3         #.-.          *'*=»"*»"’ «%V>'?<5/'/-■>»*?                                    '-’5'-                          '


                            »                           ij-


                                                        iWs??? ^.5153^ f>J                                        ^
■rf'                                     4
                                                         agg^£f££^gggrr.;a^:.^j-
                                              I     BMti;»!»»;                                      . ,                              Jm f»f.                                                                                5-A2ia^{.
                                                                                                                                                                                                                                               i... fi
                                                                                                                                                 r
                                                                                                                                                                                                                                                             » ;
                                                                                                                                                                                                                                                                           i
                                                        srmtOi'MfnMsi'WinHxm^^, s.vxi„ MR*                                                                                               «»•.< .J>i!<,.w« w, Jr.." J J & J. J- ’
                                                                      8>-i#'?.',3 85-*»


                                                                         •xv»»
                                                                                                                                                                                                                            .i.v-'- .i»
                                                                                                                                                                                                                                        a!?
                                                                                                                                                     u.

                                                                                                                                                          f



                                                                                                       r- >',tj*,,*iJ..».fH,}-;i-i• >.ri'»tl^^ur»nri7^^3fr
                                                                                               -                           »*^t4yiP t                               v^-g^- |,v,* r


                   »
                       e_                                                    • ;."                                                                                                            zqr::                                                                    I
                                                                           -■S?
                                                                                                                                                  t


       i                                          nss3?iii^
                                                                                                                                                 1
                                                                                                                                                 rz                                                                                                                 I              f
           «   V
                                                    %



                                                                                                                          ww * »<Tmgyii» »rwK ji j *10. t,                                                •A'*. iaKcJi «:,•■&


                                                                                                                                              OT-lC?                                           r                        "                  • 1 . '
                                                                                                                                                                                                                                           > •'! . '               i
                                                                                                                                                                                                                                                                   ?

                                                                                                                                              >r^> /' ,'j                            ^4/                                                  .{ ^;'
                                     &
                                                                                                                                                                                                                            cW, «£f,:. "
                                                                                                                                                                                                                                          .!            '. I
                                                                                                                                          ,•                                rP
                                                                                          a'" a""                                         *.«css
                                                                                                                                                                                                                                           tl-*-'
                                         4
                                                                                     -7-                                                                                                                                                   -r-

                                                                                                       ''fr
                                              i


                                                  ^ P r,mM$                   ^/2v.si^> S
                                                              CW-SSif ^4

                                                  ^       ■„;,m;^u,...,„.                      w,                                                                                                          ^            ^                          *v          fi
                                                  ««:2S;Kr.?5-j**?4^                                      4:^v^ r-iis*4iw:3:4tr?3?2^’r‘                                                                                                                                                I
                                                  <2sr5’tJ                                                    ■       •          -    ■   ■                   ' '                '                    •                                            .           3

                                                                                                                  I
                                                                                                                                                      I                                                                                                        f’
                                                                                                                                                                                                                                                                                           a




                                                  mygfgito-feiri:^^ to? l^y.sCFt^
                                                                                                                                                                                                                                                         i




                       0
                                                                                                            ft
                                                                                                                                                                                                                                    4


                                                                                                   b


       1               9




                                                                                           »                                                                          *
                                                                                           I
                                                                                                                                                                       " '^ ■.
                                                                                                        I
                                                                                                                                                                                                                                                                                               4

                                                                  (


                                     A



                            *




                                         v;                      .ft

                                              I                                                                                                                                      1                                                                       f
                                                                                                                                                                                                                                                             ♦


                                                                                                                                                                                                                                                                                       I
                 0
                                                                                                                                                                                                                                             ■h
                      USCA11 Case: 24-13671                                         Document: 13                 Date Filed: 12/05/2024                                Page: 212 of 723
                              4                                       .6



                              m mm pm                                                    couwrf, Florida
                              ciRoiiT avit nwmmi
                                                                                                                      I


                              GABEm,                                                                                                                                                                                                               4


                              ^€jmm-€A2§

             a             j^msmcmm
                                                                                                                          REASsss^fP av.Kjf® a A £)1                                                                                          I


                                                                                             I                                                                                         • I
                              :,                  • RfemSfilsK
                           w.
                                                       ...   . ....             ^        ^
                                                                                                                          PES                       OF A3M iu» V
I                          LAmmimmommBE m                                                                                                                                             - ■ .
                                                                                                                                                                                                                             :■■       . 1
    •    W


                                                                                    iI                         -U:.                     #




                                                                      I
                                                                                                         ssssa                          ML
                          A            •• ;. -'
                                                   TWS C^S^:«mei teftsm the Court sua sipije, arri the Court                                                                      ftj% adwoct 'ki:
                                                                                                                                                                                             i                                           •I



                 fi


                          , thg'premfe^^tjs hep^yi:                                                                                                                                                              rn- '                       .1-

                                                                                                                                                                                           ■zik
                                                                                                                                                                                                                                         'i
                                                                                                                                                                                                                  r?_
                              ‘k
                                                   ORDEREO AllDAejyDOgD'                                                                                          5.        xc\
                                   t
                                                                                         •                 1                   ■,           ‘        ■                                 p                       g                        A

                                                   1.. That Ifte urKler^^ned circuit Cmk Judge liiereby                                                                                'tori tohee-
                                                       consideratf6r>ofth^<^.                                                                                                                                ' S- .
                                                          ■•               '•                                                  ,    j                              ■ ..*      ^                                C», .
                                                                                                                                                                                                              •O         .
                                                                                                                                                                                                                         V
                                                                                                                                                                                                                                         ■y



                                                   1 This €» shall tm re'assigoea n ah^er secfen of the Cftoi CrJ?Di^^i I#                                                                                                              i
                                                       a«ardan«\^ esiibilshed pmc«lum                                                                                                                                                              i

                                                                                                                                                                                                                                         i

                          mm mB order® in chamters, at yiami, Dade County, FtoiMa, this 17lh ^'cfiy: .tf;
             a,
                                                                                             t                                                                                                                                           t
                         ■ October, 201S.                                                                                                                              a:
                                                                                                                                                                                                                                   '    J
                                                                                         b



I                                                                                                                                                                                                                                       ;.f.



                                                                                                                                                             / - 5
                                                                                                                                                                                                                                        J'-
                                                                                                                                                                                                 '       ^
                                                                                                                                                                                                                                        ■f'
                                                                                                                                                                                                                                        f
                                                                                                                                                                                                                                        ■%
                                                                                                                                                                                                                         i
                                                                                    »
                                                                                    f
                                                                                                                  WiMmJhmm®                              ■    :                                                                         f
                                                                                                                      CMCyiT COURT JUOSE                                          f
                                                                                                                                                                                       •r-

                                                                                                                                                                                       i
                                                                                                                                                                                                                                         i

                                                                                                                                                                                                                                        1

                          Maaing.Servlce List: ■                                                     ■     ,                                                                                                                             t


                          JAMES BlJCttTOI, 1977 WE 1 «T« .RO. MIAMI, FL33lg1
                 A
                          MAURICE SYMONETTE, 4711 L J PARKWAY, UMIT 4208, SU8.«^LAWD. TX 77479
                          LANCASTER MORTOAGE CO
                          ONE¥«ST8AMK
                          E^C MORTGAGE BWKERS LiC
                          MORTGAGE ElEOTRONIC REGISTRATfOW SYSTEM ‘                                                                                                                    f♦
                          DEUTSCHE     ^TL TR CO                                                                  1




                          MERS   ‘
                          SmvrCIHG AGREEMENT BERIES RAST 2CW8 A 8
                          RESIOEWTIAL ASSET S5CURniZATIO«TR2W At +                                                                              .                                                                                       ?.

                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                   4

                                                                                                                                                                                                                                        J;




                                                                                                 A

                                                                                         b



I            0


                                                                                                                           t
    ft   V


                                                                                    >                                                   *



                                                                                     ’       I
                                                                                                                                                        ’«
                                                                                                                                                                  r
                                                                                         I

                            USCA11 Case: 24-13671                                Document: 13
                                                                                     b
                                                                                                                 Date Filed: 12/05/2024                           i:         Page: 213 of 723
       I           •
           . k
                                                                                                                          f                                       i-
                                                                                                                                                                                 We-
                                                                                                                                                                                                        I ••
                                                                             . i
                                                                               ,         JKTIlECmaJlTCWRTOPJHMia&'bKTIl                                                 ..
                                                                        )U:^lC«l,bBai1T m AND FOR MSAMfMffiCOyNT^,MRIDA'
                                                                       '■                                  ' C3V11,ACTiDti                                                                               I
                                                                  a



                                ■*'


                        *




•J'                                   I                           .1
                                                                                                                                     Ai

                                                                                                                                                                                     t
                                                                                                                                   • '1
                                                                                                                                    ' %
                                           I                                                                                                  i
                                                                                                             I                       4

                                                                                                                                                                                         t
                                                                                                 «                                                                                           •?;.   •




                                                                                                                      I


                                                              »T16S.E^                                                                                                 Wi™® •
                                                              '         ■'       CASE^tSl?lM»RB1SCfffiFPCr«£JffiS^PT'

                                                                                                                                                         «




                                                      4:«raes mvt MACK* W»il^ actiae Prft-fe'liere SMtas fudfluliCfSAI i«JSWAMS,
                                                      saTO Um BO&T i ANtO>6n ?• is *«»'"6 M aa4 Pt.Wf*'                                            *«r ^ ^ f Iwaaai
       I                                       '■ . kLE33ikhi*’''sdlftisgB.i'.iBi«sv/fth,t>e<atssefi<?‘sd&i«gtel««2jV«ttiUSlSa»fe^i
                                                      hduwgtlieas ttsakc «toiiw» dwf. he can rasSi^ «inBC>*b>’ lajeclfesteg anU uksnj
           «   V
                                                      •our propertv yfejlc                       as tbs;      to take «fee p»pcr^^ ar.tJ mtm the ^ri» af
                                                      rheease bat Sjr» toe Ufei ^(latteas m#ney                                                      .-ja^e-y udgplHpfftW
                                                      l WilJJA:M,Es'<l»n8 bt^io^fe mth BM-TBANKj« !.eeB la liis' yOEtM 6- Fnsm
                                                      Tfe!fetesi-B uilto RKJ.ANB HltWR DimOSIfRE # PI?.ANW^\L-fcnti,
                                                      WaiSFARnoaANlCfclEli.B.aiKissMORCLIBW^KiWKIiCwd^toSAN          A,                                                                                  e




                                 «                    STANLEY is OS BAI.OfmP, SH- 0,3arl I5S BAMCORB B m BASK PH. E,ttio«.voP JS                                                     •
                                                  '   B.ffifctet'sf0f8Clasi«.Which isat5MiorCsa81cibllB»reffl'«i-^»Wtii^*5“»«re5
                    fi                                       EX!L J. I falio fla« ^<n^a4 tiwt our »f v'as tStecItrf te j-tta IH tb)S. l’i3«..so.
                                                      Ju<S|je RERMBEKI’CI y« i05>strB«cstso YOUK SKI.!-.
<»/'                                  *4                          ol

                                           I
                                                                                                             I
                                                                                                                  I




                                                                                                                                              4fffiaSS.R!VElDK,;
                                                                                                                                              m.   WA\ FLXJttY.

                                                                                                                      I

                                                                                                                                                                                 *
                                                                                                                                                                                                                 i




                   I,
                                                                                             i
                                                                                                                                                             t'
                                                                                                                                                                             A

                                                                                     6
                                                                             t


       I                                                                                                                  i ^                                                                                I


           A   V



                                                                                 »                                                        #


                                                                                 ’       I
                                                                                                                                                                                                         i

                                                                  «


                                4

                                                                                                                              ■i

                        *




                                      4                           .1

                                                                                                             T                                                                       f♦
                                                                                                 «




                                                                                                                      I
                     USCA11 Case: 24-13671
                                    I
                                                                                  FULLASB13
                                                                                 Document: rilBLrC DlSeLpSUME
                                                                                                Date Filed: 12/05/2024                                                                  Page:
                                                                                                                                                                                          mi
                                                                                                                                                                                              214 of 723
                                                hj^rnttortm^tmTOma, mmtm ,
                                                ^^s’Wt.^wsyswuMSitSiKSsKtiw                    OF                                  hhtemsts
                                                                                                                                                                   J
                                                                                                                                                                                                                                     j.

                                                ?3 WEST Fyi.^1^ STREET . '                                                                                                        ftCWBft
                                                                                                                               I

                                                StMTE-tSO?                                                                                                                     ^ H teg •
                                                m»M
                                                                                   3313g .                     . jMlWMM                                                      tegfVED
                                                SmiE-OPfLOROA                                                                                                    P80CES.SSD
                                            figgTgp eot«TrroTiafjM.crFtcsfeciRfli.itT ajuftt jii»
    I           9
                                                                                                       Q                                ?”*”*


                                                      i!:ftJa?*ii5 v!s<it« 5?sssu nli'a
                                                ’"nsM fey                  yxir uskaw                      %ff!i lya^jf        «5«{j! »                       ssfe I’tn ►c?jefes '®ft    33
                                                     My nel'»am fj j#^                                                              «s$mgo&
                         *


                                                                                                                PAfrr@-».(iSsyf»          ‘
                4
                                            - •*WSWUkttK054),j>,5®|}(as^jyj.^^
                                                                                                                                                                                              ./>?
                                                                                                                                                                                                     V,

                              ■si

                                                                                                                                     ‘, $mjim
                                    * *«»i»ffi«W*ilTVt%TOAr»ZRStji»                                                       I
                                                                                                                              • i«f5«l
                                                                                                                                                          1                                          f♦
                                                                                                                                                                                 wuatmAms.;

                                           Bm%Msmt                                                                                                                           $mm
                                           RwimjiPtepI                                                                                                                       mtjm
                                                                                                                               i
                                                                                                                                                                             si4§;ock}
                                                                                                                                                                                              ■»-                                           >•
                                                                                                                                                                                                                                       ■ i.

                                                                                                           esii»-< -i,fA@»iT#sif              '       .
                                                                                                                                                                                                              I                                  t
                                                        ■   >WCJWO^S»ca»BlPaiiB:isiTak                     '
                                                                                                                                                                              mmwmumti. rr
                                                                                               Alena'. Gmm^
                                                                                                                                                                            »l6,»
                                       Iff ganft feesta^ iViortg^g]                                    a/lifn^r^f^                                                                                                1

                                                                                                                                                                            mm^
    I                               Tc^G4f?iiVRg^i}f,ea4flit                           ■           ^                                i
                                                                                                                                                                            mcMiS
                                           Mm am                UAciTOikar tp>mxss (£^                                                                                      sacciio
                                                                                                                                                  #
                                                                                                                                                                             mamt




                                                                                                                                                                                                                            i:

                                                                                                                                                                                                                      '!■

                         *                 -srserB.
                                           It
                                                                                                                                                                                         •MjCI’                        '(            ■y/:
                fi




                                                                     ■ n

                              4 . ■■            ‘                     . t                                                                                                                                                              :j

                                       I
                                                                                                                          I
                                                                                                                                                          1                                          f♦




                                                                                                                               I




                                                                                                A

                                                                                           k



    I           9


                                                                                                                                    X                                                                     X

        A   k


                                                                                  »                                                               *


                                                                                   '           I

                          «
\                                                                                                                                                                                                                                1
                                                                                                                                                                                                 *


                                                                                                           4                                                                                                                    &i,3)
     i                    USCA11 Case: 24-13671                                                     Document: 13                           Date Filed: 12/05/2024                                Page: 215 of 723
         «   ^


                                                                                                                                                              #




                                                            i»is«M5;#awaj:*^           Kc^Rjf gi^                             ^^
                                                                                                                                           ^aa££gMti.sg.g ?--y.T
                                        i                 S{®s 0f piORfe
                                                                                                                               ■ Tgiiafiaae^^ Ffosja                                         te9,ec©




>;
                                                          'f'
                                                                       »A«'«

                                                                                                :.mA
                                                                                                          :^‘sLrMSf^__
                                                                                                          '’                                                                     I ^ ;ggg:: ^
                                                 I
                                                          mk      ■                             fl4/A •,                             )    pirn            ■                        ■JIA                    '   «
                                                                                           wr L «1WSIS3S sw rttJwBssBfiSAispM^^;^^^
                                                                                                      E£l2ii»i.»yy’*” i» -                      &s,3^&i iinri f /                     aj^HisJTOiva ■>
                                                                                           NONE
                                                           I4es5g:^,f¥        .                                        (


                                                          A2i£ajES&™
                                                                      3/;'>wKj



                                                          a
                                                          ■m  raiSic
                 I,
                                                                                                                  A
                                                                                                ^           J                   feKTF-.tSAm'fG ;
                                                                              F»^f,/^r« rK^j! e-i ts crOTp.»o sa- tiu t, -f«taw,>g p,                                 j,           IK,* F g,
     i           m

                                                                                  g.‘ l^^smtFv Tmrffme eomggs^ me nemmo tr«img.
         »   V

                                                                                    OATH                                           csyuws? „
                                                          C ^-n        '*.‘¥^e                        I
                                                                                                £p: ^*4
                                                                                                                                                                                           ■ /
                                                          U'p>'»'g i' tuns f-?" ({> fte-i®;,-             f)^‘9   4»
                                                          J!• J   If-»PTF ?feTr>r W1 -. <5»f K Tit’»•>.                                                                                                                     i
                                                                                                                                     A
                                                          ** W»rJ^‘5'/B^ „"«{:?* ^,<1               -^-^-
                                   •   ' h
                                                                              Wiffiam                                                                                      rfc

                      4

                                                                  L-:                      J.;                                     F»W-'rfrF”:'.»


0


                                                                                                                                                                  1
                                                      r                                                                              I
                                                                                                                                                                                                               ♦

                                                                                                                      «


                                                                                                                                                                                                                       I,


                            I...                                       :... , .:.mim>Ms                                                         I
                                                                                                                                                                            '-   Xs7tt»i

                                                     JSSZSM^fm imm                                                                 Kii.-tV arttef „? to rB--'.»M.y;Kr r.^^n» r»^                       .^»,

                                                     -p                            Sv               —                                 -                                                              'ds

                                                                                                                  a

                                                                                                f -         t*

     I                                                                                                                                              t ^
         •   w



                                                                                                      >                                                       *
                                                                                                      I




                                                                                                                                                                                                                            i

                                                                                       I


                                        I



                      *

                                                                                                                                                                                                                   !




                                             4

                                                 »
                                                                                                                                      1
                                                                                                                                                                  1                                            f
                                                                                                                                                                                                               ♦
                                                                                                                                            I



                                                                                                                  '   •'

                                                                                                                                                                                                                       )

                                                                                                                          r
                                                                                                                                                I

                                                                                                                                                                                                           «
                                               t




                      USCA11 Case: 24-13671                               Document: 13                     Date Filed: 12/05/2024                                 Page: 216 of 723




     I                                                  «fJandy BeFillp-^.iTOiisgip.Q,dlrs2:or asicl                                                   o
         *   ^


                                                             rr^ fti|ri^«.rii3nt for ^ixed incamft^^Qiriig'fiey and
                                                            •comroddlil^s at Uot^m Stanley,opened lire .
                                                    u
                                                    i       (
                                                             anneal iCMA coiifererfce os itm f»w cltair of ite
                                                                                                  •

                                «                            te-osrd on Ttiersday.
                                                             She has rcplaf^ed Martin Enaw,yfce-chii*rtr,*fft -J
                                                                                                                               I

                                                        \ glebBi markets ofeanl hoard «it SKP Piaribai, Jesn-
                                                         \j^arTcMmmr ..:                                                            T.




                                               I

                                                                                                            f:             ••                                          ♦       ,

                                                             L                       latea tcWiitsiibpy#ep.i,.y..'                                                                     i


                                                             i ^sss-iifeiCpitest,.:                                                              ■" ■
                                                             L '■ ■           , ■                                                                 ■'
                                                             ; -OcifKaS ouf subfXflplieps Wsm to di®cw«>'-                                                 ■> i



                 •,

                                                                                                                                                                  I




     I                                                                                                                                                       4
                                                                                                                                                                           f
         *




                                                                                                                                         .   ’




                                                          %#, «#. V           ‘ wafc*                     ■‘ ;                                                                             I




                         ■ '■   A                         ,V^ wa ♦                 -ft'                          a-. K.Z           toi I'Gtr ■ ■
                  0

                                    i   ■■>                ve     '       1
                                                                 a*                               em.   fiSlo^rh til:
•J                                                                                                        ^ or Sne out m«f.*
                                                                  pi
                                              'M'                                                                                                                      f
                                                                                          «


                                                                                                                                                                                       I

                                                                                              f
                                                                                                             I




                                                                                                                                                                                   I




                                                                                     I

                                                                               k
                                                                      f


     I                                                                                                              t      -
         «   i



                                                                          4^
                                                                                                                                                                                           I

                                                             I


                                I



                  4
     w


         «    V


                               USCA11 Case: 24-13671                             Document: 13                 Date Filed: 12/05/2024              Page: 217 of 723

                                                                      -pMipMmomXotZMQftswrtetei du'fe 2i«.
                                     A
                                                                      lr« asJdfflpn,                 Ki/ftptated B.cgnoifrcntiewJcf
                          fi
                                                                      cferforan^ Sflcl sH offe Siit5,tasKJir4i 5.375% sofiior
                                                                                 due 2922,5.375% senior                        cf«s 2f^3t and
vj
                                                                      ^iid% »m 6r fite& due 2025, v^’niob wem $»aid for
                                               «

                                                                      %th lisffoceeds                   Iht
                                                                  /   Golf/'TOn S^&i% & Co ItC,BcfA Sf/r.;rihQS, te-
                                                                                                                                                                   I
                                                          " I         ciiigmup mmi hUfms Jnc.. J.R felofigon Snmmoi,
                                                                      LLC,es/cf3fs Gapttal lec.. Mifgafi ^i&nhiy ^ Oo.                                                 *




                                                                      LLC. MUFS Secur:ifc.5 A«!S^:.‘;r5s Ific.. SSC Capital
                                                                      l&:fk.cts, LLC,SMBC                      Sc»jrtfb$ p.n^nm,Ine..
                                                                      TO Sgcurilfea (U&ft)LtC,Deirf«c7.e Bafi?; Scqifitlsf
                  »

                                                              f
                                                                      tpc,, ma nhan&Bl Msrkeis LLC. mf Ps:fea$                                    »

                                                              1
                                                                      ScctfriHes^ C^rp.. HSBCSmstto«5 fUSA’- fnc-t fetoita
     I                                                                S»url!}^ USA LLC,Weilss* FafT,|jSafiafiSeSs LLC.                                         f
         ft   ^
                                                          •       I ?NC CapW Msffete LLC,Seot^© CJapIsi jUSA}- Ino,
                                                                  \ sRd Lt.l.fecorp iRve^irnems, lr«c.&« &li m-o
                                 h                                  ;-;ft£erxi1ters invoiv^jft gie ofeing.                                                             e

                                                                      I


                                     I                                 E^wiilr,,©^ Arr.ep»"t imuifljviiioftd! scnipam/
                                                                       imsdqWrtereP In Rfid'Miod Ctl fe'itOTnLL oonref^s
                                                                          more then- g.8C» cotipnios eL»ell? to #fel*
                                         <
                                                                          pstgmfifs sue pstii»sjnsWe^iwttd’e mssi
                                               t
                                                                       interconr^sted del© cenisis Todsy,S«s oc5-2«s                                       t
                                                                       Iswrojs tre E^ufoix jn^ofco,'irtewe« platfe'T'.i ir: 52
                                                   •; .
                                                                       sliyfegio majkei® semsa 1*10 ^.onoos,Mia-Peoife:,
                                                                                                                                                                   i
                                                                          Si^rep,the Middle East ond hw-^.
                                                                          [ftB Dr»v{8 PolH                    tem ist^Uded partnerc
                                                                          «sn F.0«i«*or9 pidwe)and Emiiy RePerts 85id
                                                                          s&mrMm Alt OeGofe and Caiftn M^yfQS Cunnsti®.
                  »
                                                                          Partner R^he;D.Jilsinbor^ protffced is*ecJw« and
                                                                          associate J. Taylor Arablsn                 ^
     i                                                                                                             %«,P,   y              C> >•
         «    V                                                                      U
                                                                          \Uy-

                                                                                 I                                         *


                                                                                 ' I
                                                                                                                                                                       e

                                                                      I


                                     6



                          »




                                         ■X.                          .1

                                               I
                                                                                                         I
                                                                                                                                 1                         f
                                                                                                                                                           I



                                                                                             <


                                                                                                                                                                   I

                                                                                                 I




                                                                                                                                                      4»




                      0
                                                                                         &
                                                                                             «


                                                                                                                                                       ifttgi'                                                      r\
                   USCA11 Case: 24-13671                         Document: 13                                           Date Filed: 12/05/2024                                Page: 218 of 723
                                                         fil4
                                                                                                                             1

                                                                                                                                                                                  #
                                                                                                                                                                                                                64.3
                                                                                                                                                                                                                         i




                                                         fCl4fi<. ineiliters efeci                                               Chairman mo mw
                                    ■ ^             - kftaicJ i'nt?mbbra ~ bateguWc,«)m                                                                 *




     I                     T'^T           ^5 rboS'mOTbfcr&.    „. London:Mas^dy CteftHppo,
                                              ^4&r0a!i SUnteV (ntemsttORal Pic,Lcmim,                                                                                                      »




                                                                 »
                                                                 I



                                                     .pEO,i>i;SAl»;«iCM^POfi
                                                     I


                       4



              *
                                                           O. • tcma rwmbfrs regissr •

                                                                                                                                                                                           1.

■J                         <4                                              kmsk «p!te!                             ■
                                I
                                                                                                               I
                                                                                                                                                   I                                  t♦
                                             .li.
                                                           Qf,             icmq. events:
                                                                                                                                                                                                            j


                                                           €|J                                                               1




                                                                                                                                                             I
         fl



                                                                                                                                                                              I
                                                                                                                                                                      i



     I                                               s«p                                             • !niief«atlo«3l Capita! f4i»f5Bt
                                                     Aj&sosatici^ {ICMA|—»                                             LLGC^atfistl^ely, “ydffM "
                                                     Steffi"), ^fetnher® SIPC", mcosnmafid.                                                                 •(        4


                                                                                    I

                       1
                                                     s
              fi
                                                     Pan<Jy D&FMpmMorgan Sisntey «l.ir>;ked!p "
                                                     RepresgfS MoTqm Stanley m&t inc}.ysify                                                                          V : '-

                           <
                                                     •Aganiat-ons. inching Ine IGMA, ivltaiB sue is                                                                                             1


                                »
                                                     Chair of tho Boa^d,./.                                                      of tlio                    .                         f
                                                                                                                                                                                      I
                                                                                                                         I
                                                     Qoarai.
                                                                                             «
                                                                      ..   '•:. ,
                                                                      ■6 ,
                                                                                                                                         •i.
                                                                                                                                                                 K
                                                                                                                                                                                                            j
                                                                                                                                                                                                    1


                                                                                                 t
                                                                                                                             I                                                                      1


                                                                                                                                                                                  «




                                                                                                                                                                                                        I



         0
                                                                                        ft

                                                                            k



     I                                                                                                                            t :•
                                                                                                                                     i



                                                                 »                                                                       •     p


                                                                  '                 \
                                                                                                                                                                                                                t




                       I



              *




<4                         4
                            USCA11 Case: 24-13671                            Document: 13                    Date Filed: 12/05/2024     Page: 219 of 723
                                                                                                                                                               6k -it
                                                            i


                                  A



                       >




                                                          .I
<j
                     ■&m . ■          -                                      ■•» m
                                                                                                                                    k
                                                                                                         I
                                                                                                             !




                                                                                                                                                           i
         ■           Clpe^^lt. ■                .                    .       ■                   .




     I
             «   w


                                              Of-l»^Fwa

                                                                                                                                                                t




                                               flPli^:#; PG ''^
                       fi

                                                                                                                           i-




                                                           . I
                     ^Qiiktoi;S5f|t^^"^i«l^;                                                                                        1        f
                                                                                                         I
                                                                                                                                             «
                                                                                                             I




                     wmaips^'SCT^ iCS/fA B«fe»i Cr*sarrt«
                                                                                                                                                           I

                                                                                                     r




             ■ ‘Ip-mi^nfn^ m m PK» WE WM
                                                                                             I                            •;
                                                                                                                                        4


                     M m.mn - m# rjtes^ssrt^i^teii»                                  *
     I               I^JItlSStf f1^1 a#W^                                IWF»
                                                                                                                     -t . ^                      # I
             ./V            fe!^ fSAKl s*as5«Rdmsik              _
                                                                             "I                                                 #
                                                                                 I

                                                                                         I
                 ./.sQl                                                                                                                                         »

                                                          6. •




■J                                                         . I

                                          «
                                                                                                         i
                                                                                                                                    I        f
                                                                                                                                             ♦
                                                                                                                                                       1

                                                                                                 4

                                                                                                                                                           I


                                                                                                                 I




                      a.
                                                                                             I

                                                                                     h
                                                                         »



     I                                                           *
                                                                                                                      \                          i
                                                                                                                                                                                                                                         4

                             USCA11 Case: 24-13671                                       Document: 13                          Date Filed: 12/05/2024                     Page: 220 of 723

                                                                                                       t
                                                                                                                                                                          «

                                                                                                   b



     I   1
                                                                            O



                                                                                                                                                                                                                             s



                                                                                           »                                                             i                     1
                                          mr                                                                       rfsir                                                                                                     \S

                                                                                           ’           I
                                                                                                                                                                               i £^ck ,.5^ 5
                                                                                                                                                                                   *•                                        -4'


                                 ^ B fe*i^ ^y                         «
                                                                                                                                                                                   I                                          i



                         »

                                      -           f&^S«^sI bnll5#?1                                                                                              tutI/S                                                      /£
j'
                                      ,,^^fir^$w^««^t;ito», wme
                                                                                                                                                                                                                             i

                                          rwK»9»f«fe.TO.«te^»ffa»., fi                                                                                       I
                                                                                                                                                                                   I    \
                                                                                                                                   I
                                                                                                                                                                                   ■?

                                                                                                           4

                                                                                     .fxV ,*                                                                                                I
                                                                                                                                                                              . ^



                                                  »wi^ - f«;>                                                                          \                                        p
                                                                                                                                                                                                                             a

                                          totesfefA l^ilfsi T;rr#r/. lO/A
                                          '^m mm$mmvm^ r»^ Pif,*2»                                                   mm
                                                                                                                                                                                4

                                                            io                      f*rs
                                                                                                                                                                  *
                                                                                                                                                                                   t
                                                                                                                                                                                                I
                     “«■
                 »



                                          G «*(*»y %A.*'i. t,s/,                     p             »
                                                                                                                                                                          •'




                     *

                                                    RMr»Tw» f^mt %^rS~m S^m                                                    '           t                                   i                    P
                                                                                                                                                                                                                              i-


         4   b

                                                                                                                                                                                I
                                                                                                                                                         «                                                                    'f
                                                                                                                                                                                                    \

                                  .               *«♦                                                           '                                                               i

                                                        ^                                                      .:, wfeti                                                        f



                                ' t                              ‘              ‘                                                                                                                   i
                                                                                                                                                                                i


                         »                                                                                                                                                      i                       1


                                          m                      «if-# -.,.T'.f,>,                                                                                             #
                                                                                                                                                                                                            i

-/                                                                                                                                                                             •?


                                                                                                                                                             I
                                                                                                                           I
                                                                                                                                                                               r        ♦
                                                                                                                                   I


                                                                                                                                                                               I-
                                                        »».■#, fwir^^cawfef ar,                                                                                                                                          I
                                          mkwm&m                                                                  i»
                                                                                                                                                                                                                             ■1
                                                                                                                                       I
                                                                                                                                                                                                                1


                                                                                                                                                                               t


                                                                                                                                                                               t
                                                                                                                                                                               t

                                                                                                                                                                                5


                                                                     <j>»                                                                                                      I
                     f                                                                                                                                                         ?
                                                                                                       «                                                                                                                     V.

                                                                                                                                                                          < #

                                                                                                   6
                                                                                     t


     I               9



         4   b



                                                                                           »                                                         ■   4                                                                         . ^

                                                                                               f


                                                                                                                                                                                                                    I



                                                                      I
                                                                                                                                               I ■

                                                                                                                                                                                                                    ■1
                                  «



                                              m




                                                                     .1

                                          I                                                                                                                  I                          f
                                                                                                                                                                                        \
                                                                         I




                                                                                                                     I



                         >
                             USCA11 Case: 24-13671                                       Document: 13                          Date Filed: 12/05/2024    Page: 221 of 723
                                                                                                                                                                                 3'
                                           I                                                                                                &
                                                                                                                                                                 ♦

                                                                                                         4
                                                                                                                                                                     I
                                                                                                                                                                             1
                                                                                                                                                                         '   ■
                                                                                                                                                    <•


                                                                                                                                1
                                      'ms                                                                    0

                                                                                                                                                    4




                     «;
                                                   ft«ri                                     10» Sar *,
                                                                                                     «


                                                           (jji”' T-m-t                                          ^
                     m
                                      •»;U.a^ir.Tm^wt                                                                                               >

                                                                                                                                    t


                                                                                             »                                          *


                                      Q 'V^'Ss^. A             ,                                     I

                                      S?4^^fiC Sen* €1j                        - Psw,'-,Qi-'i tif-s                                                 4




                                      ■"                         f<^
                                      K^m-r-ijrS^ « Ui:
                                      Urtu-'isxf^       ^ » > J'5 *«
                                                                        • ft

                                                                                                                         < I
                                                                                                                                            1                    f
                                                                                                                                                                 »

                                      4^3         t ^'-^v . f t'-v'C                             ,       «                                          /

                                                                                                                                                                             i
                                     ^'xu<^0^                          ry      i -                                                                  ■;




                                                                                                                                                    <
                                                                                                                                I

                                                                                                                                                             «
                                      s^-.                           ^yy-yy^i'S'A-^', y-r -



                     0
                                                                                                     %
                                      T-                         -              £• ’ '<•                                                                 «


                                                                                 9


     I                               t'x, y H'i'st'l . * ’’•Y’ V' ^ ^
                                     >> ••
                                                                                     '
                                                                       YiY.^ •Sl?>,>*'
                                                                                         /




         •-v
                                     is-i,

                                                                                                     I

                                               taafjY»Ti*s>^   -•»     A *
                                 I
                                     ">1^*. f /f i^y                   yyyyj.
                     ■i.




•J                                                                      .«

                                           I                                                                                                t                    ?
                                                                                                                                                                 ♦



                                                                                                                                                                             I




                                                                                                                                I




                 »




                                                                                                 k
                                                                                  9



     I               #



         «   V


                                                                                             »                                          *
                                                                     f


                I,       USCA11 Case: 24-13671                               Document: 13                  Date Filed: 12/05/2024        Page: 222 of 723

i
    • ^




                                         i
                                                                                 r.‘                                                             1




                                                                                                                                                 I


                                                              . -^tl&clievfa Saul:Is.a wholly owneci
                                               I
                                                                ■ sutetdiary-of Weils ferg^ St         Tte                                       t
                                                                    purchase of WfeehsVia Ccrpoptfon'by I'felts                                  I

                                                                    Fargo ¥ffiST;ompfeiecl qr Otcimber 31, -'                                                        )
                                                        •■>
                                                                    ^008..Wachovia was th© faurth-lafgt^t
                                                                    bank hoWflig corstpany lA the US based on
                                                                                                                                             «
                                                                    totaJ assets.


                I,
                                                                                         i
                                                                                                                                         6

                                                                                 6                                                                                       r-\
                                                                         f


I               9


                                                                                                                t   . ->
                                                                                                                                             .       1

    *   ^


                                                                    PfOPik ALSO ABF.
                                                                             '       1
                                                                                                                      ■^'
                                 V                                                                                                                                             0




                                         i
                                                              ' ?^*at tokfook 0»f W«fioTO?
                                                                                                                                                         I



                                                                Wiwt !s the                          of Wachovia Sfnk?
                                     ■   • 4                   .1

                                               I
                                                   '{           What tiMt rioes Wsch^va hmK Qmnt                                                 f
                                                                                                                                                 ♦ i
                                                                                             4
                                                                                                                                                             I
                                                               Htvm to access s'\VBGh»m checftfng acecynp                           ,'                               r-



                                                                                                            1




                           ■:;
                                                               Wachovia Is Mow W&lfe Fargo - Wefte^
                                                               Farqc-                                   —----.C ■
                I,
            »
                                                                                         I

                                                                                 k



i                                                                                                               t
                                                                                                                                                                                   «


    «   k


                                                                             »                                              *


                                                                             ’       I
                                                                                                                                                                 I
                                                                8


                                         «



                     *




                                                               rr
                                               I                                                                                t                ff :I
                                                                                             «


                                                                                                                                                                     (


                                                                                                 »          t
                                                                                                                                     IfC,

■4
                             USCA11
                                 3
                                    Case: 24-13671
                                                .1                       Document: 13         Date Filed: 12/05/2024                        Page: 223 of 723                                   t




                                                     «
                                                                 Weds Fargo to By|/ ¥i^acho¥la,lrt$i6;i
                                                                Silfbn Deal * The ». '                           ■
                                                                 -'^1 lysi ‘^e0ll»ek.iiftira&»,»o?r.4/Ci54*#wi?                         .
                                                                ,Cr,.:        ioi/g,.     Fargois^w early-Fsca'/ irwi rt
                                                                wculd merge with mtiWm—incluciirtf ii »
                                                                trowM^d CfiertoK® 'mnWs bsnKng <sp^rmmm''‘~-                            m

                                                                s $15J billion aS-stock irjftf§ir. Tnn
                 >
                                                                arwouncofieH comes only mut mys stet *
                                                                                                                                            «


                                                                              k
                                ■-.                                  t


     I
         «   k
                                                                Welcome to p>udi m^ichltb I Aucff Sales S
                                                                Service m Kaosas'                                    t


                                                                tirtastTwTw au^Jivt'ch'fs.tOTi                                                      I

                                                                                                                                                    ■I
                                                            ■ &?.p«if«ns^tfe4l’arul ne enW-sv^mn tliBi
                                       A
                                                                vitn d(A'iri« ai't imp^ccablji' de^Qo^d fi/Mi *<l A jdf
                         »                                      '//idhite, #hcre the s!ee^ Hew models m otii’ ,
                                                                showroom ore c(! decloned v4th tbs utmcst loxurf
4                                                           . fe rofl si, ouf mhm fiaff vifsfj tmlosuideyou to trs...
                                                     I.
                                                                                          I
                                                                                                                         1                               f
                                                                                                                                                         ♦


                                                                Aytfi e^trdn | me first purely electric                                                                      :   )
                                                                SUV from-Aiidi...
                                                                nf t ph r/M'«».ffyfli»5® j©im/roodsfe/iiitflre wfon
                                                                                                                                                #
                                                                                                                                                         1
                                                                                                                                                                                 I f
                                                                A i«w ora «t Electric te te’'e. I^«sf tlie Audi a- ^
                                                                      tho onf^* Jjlsctne SilV       fHh Auril PfeA,
                 »
                     8
                                                                With aroult spac« for erntyrnf         ion§-mn*gc •
                                                                                                                                            *

                                                                pgpobpty ana uxrdf^ra^ip§ p«rfpr!Odm,>e wrj4
     I                                                    ' ^uattro^ olt-^/hos! driv®, ihio sf,'dy mom thg>i ...
                                                                                                    t
         •   V                                                                                                   1




                                      I' I       ;              Bafik'p¥h^€d 'Homes |                            proper' C\
                                                            Wells Fargo.                                                                                     1                             8




                                       i '                  i >,ttpWf r©»-weKsf3rgo,cem
                                                                                                                 5




                                                                                                                                                                 I
                                                                                                                             Uvo-:


                                             4              .1

                                                                                          I             ■;■■ ;
                                                                                                                         1                               t
                                                                                                                                                         ♦

                                                                                      4


                                                                                                                                                                                 i

                                                                                                         ;
                                                                                                1
                                                                                                                                                                                       #


                                                                                                                                                *


                                                                                                                                                                     1
                                                                                                         i=




                     8,
                 »
                                                                                  a

                                                                              k



     I                                                                                                                                                                   I



         4   b


                                                                         »                                           «


                                                                          '       I
                                                            I
                                                                    t
                                                 iwm
                                                             b



I                         USCA11 Case: 24-13671         Document: 13                           Date Filed: 12/05/2024                             Page: 224 of 723
    «   i



                                                        »                                                              #
                                                        t


                                                 wells fari^o O'wns wach
                              «
                                                 Afct       t'4f-GES               ¥'f0Lv’E




                                            .£3oes Wef1$-Fargo own Wachovia?
                                       t                                                                                                                  f
                                                 Wachovia Bank k ?ii wl\o!iy ownsd                                                    ■?                  (

                                                 subsidiaryai Wsik Farno & Company, Iht?
                                                                                                                                                                          i
                                                 pyrchase qI Vfechc¥ia Corporation bv ¥Mls
                                                 Fargo was fcoenploted orfDeccmbcf 31,
                                                                                                                                                      #
                                                 2008.

                                                 V’/3Chovla Bspfc - Banks sreund th^ W,,,.
                                                             ■. .                          -        '   ■:.'       ;           . .•
                 B

             »

                                                                                                                                                  e


                                                             b


i                9
                                                 «




                                                                                                                                                              I

                                                        »                                                              *

                                                        '           1
                                                 fiSRfcfiAyiOMSi

                              A

                                                 iVir-an did W'elk Faffo teko ■owi;r
                     fi




                                             . ^ Wells rsjgo a-acoft OOftk to fcen^ vJth?
                                       I
                                                                                       I
                                                                                                                           I                              f
                                                                                                                                                          I
                                                 Wten bed                       H&./11 Bdnk dbange tholr rtpic                             •, :
                                                 ly ?/clk F^r^c? :                                             ’                                                          i .


                                                                            I
                                                                                                I




                                                 WscUQ'iif Is Novi Wells Fargo - l%o?k
                                             Farpo- ^
i                9


                                                                                                    t
    *   »>


                                                        »                                                              I
                                                        »

                                                                    I                                                                                             I


                                             I


                              A




                                                                                                                                                                      I


                                  ■<



                                       I
                                                                                       I
                                                                                                                           I                              t
                                                                                                                                                          I

                                                                        t


                                                                                                                                                                          I




                                                                                                                                                      H
                                                  10:SS •                                                     ‘   ^'ifi .t::’
                       USCA11 Case: 24-13671               Document: 13                 Date Filed: 12/05/2024
                                                                                        I-
                                                                                                                                      Page: 225 of 723
                                                  Wachovia Daster Services'Reviews.and
                                                  ComplaiRts#'Pisstd                                 i
                                                  hltps;//Mf3aH«ls-dusier-«5j?¥K»^pj5»?«icdnw.,
                                                                                                                                                                                      )«



                                                  yy »Affcand I pyrchassd an Atidi A4.financed ’                                          »><   .1

                                                  ilifoaah WFS irnebmm psaltr ^trvfee® Bqi'"”                                         /■'            ^
                                                  hsm ai¥#ays pjald mr monthly m
                                                                                                                                      t


                                                  m?is«-d6i: napptat. fn Aprli 2012,                          dietdtei tkdr
     I                                       .h p«r Au&l for a VolkiWSfen CC #ci of ccwrse...
         4   ^



                                                           I                                         P

                                                  Audi Fliaoclst Serwees! Audi Austrasla
                                                                                                                                                             I
                                                  l«Tps;/Avf;'A'.»tKlixorTj^p»uM'5b/a^/6rwncfat-55.
                           I
                                                  ¥fe offer Wrvidwiily tailored IfrerM^oltrtians that
                                                  w:t pvr oycisei, your Sfwtyfe ami pitf ntw Audi
                                                  B«^iiS8                       wftdorstands             vefiiote^ ife we
                                             . I do. If ysii sre dn existing AaSl Pln^ntlal Serac^s
                                 I                nt   :ai6mot and have b^on affecfed'te,,.                                                     f                1



                                                                        «


                                                                                                                                                                                      i
                                                  Top 8 R€yle?#s of WadiovM Dealer
                                         '        Services' •                                I


                                                  }inm:/imgth?mc&m9.eQmfrevim-siw&t^.^0^.

                                                  WESTMliySTSe, MARYLAND -»In Ctt*W of ' ;
                                                  2005.1 purchased s 2905 Tfeprcfrl flnancBtftr^lv
                                                  ^'fechovis dsilsf »ef«c»i Ky liu^gnd co'*.0SGT«ed                                                                  i



     I                                            tor me. &i May ®f 2008^ i I6»e- ntylob te
                                                 ^ cof 90fie. I cailea the piJfes' i9 report that ft
                                                                                                                      tny
                                                                                                                                                         ^ I
         •   V
                                                                                                     I

                                                           >                                         «




                                                  Wells Fargo to 8yy Wachovia m $15»l                                                                                                      »




                           ■*:
                                             ‘ BlKofi Deal - the                                     I    *               ^ I




                  fi


                                                  pLi 92, 200& • v/efe Fargo said fc.rdy_Friday                                 it|
                                                                                                                                                                         1
sT
                                             . *ivmiiid mi'll® with Wachov®-™-in diutfingihs <
                                 I
                                                  tmuhfeJJ Chailoitjtt waims. >«i
                                                                                    I
                                                                                                         Miperaftiwifr;
                                                                                                            ft
                                                                                                                            in                   f   «


                                                                                                                                                                         'I
                                                                                                                                                                                      i


                                                                            (
                                                                                             I
                                                                                                                                                                              I
                                                                                                                                          I




                 I,
                                                                    I

                                                                k
                                                       f



     I                                                                                           \                                                       f
         *   ^



                                                            I

                                                                    i
                                             t


                            4



                                                                                                                                                                                  1
     I
         A      k                                                                                                                                                                                                         '■m3.
                                           ,C\ ysbaiccs'p
                            USCA11 Case: 24-13671         sell rating
                                                   Document:      13 maffimied at.. 12/05/2024w Page: 226 of 723
                                                                      Date Filed:                                                                                 r-,



                                                                             t

                                                                                           I
                                                                 1
                                                                                                                                                                                                                  ^i-vr
                                 i
                                                                SeefegAlf^a
                                                    p ■h«^://5seMRfslpto.caroc» a^fe'                                                                                           t
                        *




                                                   U.S. Bancorp                                                                                 ll§^Fi!iaficiate,v
■j

                                                   Payments &CRE.„<
                                          I                                                                                                       i                                          f
                                                                                                                                                                                             ♦


                                                   P^errts & CRE Confine© 4vmM* !26M:t&3S:#<iML6o}TrspaR^^                                                                                                    i
                                                   :SafticipiatS;S
                                                                                                                                I
                                                                                      1.


                                                                                                                                                                                         #




                                                                                                                                                                                «:



                                                                                                                                                          *




                                                   1832 Asset Management L.P. SeOs 39.728 Shares of -                                                                                            1




     1                                        *
                                                   U.Si Bancorp 1    o

         •      V
                                                   fJnaily, Idorgars Staote^ r«5ffrrrne<J sn 'equal weight’ rating arJ set a $45.C0
                                                   target price m efiferei. of U.S. Bsncoip r» d i8port*on Friday, June 21 st.
                                                   Thirteen.,                              I
                                                            ,    •       '   ■-                        ‘     ' '        '   ,           '.‘in'- '•.




                                                            Ilpranks              ^            .
                                                    m                                                                                                                   ■ t
                                                                                                                                                                             K


                                                                                                                                    ;




                                                    U.S. Bartcorp price targefraised to $54 from $47‘at
                                                  • Morgan Stanley'                                                 I
                                                                                                                                                  1




                                                   Jui 30,2024 - Kosgan Stanley rsisedfte fitm^ price taigel on O.S. Ban<»rp''
                                                   to 554 from $4? m& ke^s an Bjual Weight ming on the shares.                                                                                                i


                                                                                                                                I
                                                   Utss.\n^BsSfm^m&i '



                                                   r
                                                   m
                                                           pfiN::
                    »
                                                                                                           stacks'* ©SB J                                               ■ ;.l
     I                                        . USB Stopk Quote Price and Forecast
         «      w
                                                  - 'View U.S Sanosrp US5 stock htjote prices, feartctal informsfon, reaHtms-
                                                  focBCBirt^ emf eo-Jhp®!!/news fem CNM.                                                 #


                                                                                                                                                                                                     1'




                                                                 I


                                 t
                                                           Ifefense World
                        *
                                                   #' htspa:r/^'i«<-/4g;!«jWCTlcfkl.Mt ■> O'-.,                                                                         :
                                                                                                                                                                            «
                                                                                                                                                                            «■ -
                                                                                                                                                                                     .




■j                                   •4                         *9                                                                                            a
                                                                                                                                                                                                          !
                                          I
                                                          Home                                                     Seamfi:
                                                                                                                                                  i                                          t
                                                                                                                                                                                             ♦

                                                                                                   4
                                                                                                                                                      ■




                                                                                                                                                                                                              i
         f'-'

                                                                                                                                I

                                                                                                                                                                                         #
                                                                                                                                                                                                                              4
                                                                                                                                6                                                                                   (


                                                                                                                                                                                                                                           j
                                                    USCA11 Case: 24-13671                                     Document: 13                              Date Filed: 12/05/2024            Page: 227 of 723
                                                                                                                                                             1


                                                                                                                                                                                                                                                                          4



             • i;
            • 1
                                                    -




                                                                                                                                                    mmmit
                                                                                                                           ft
                                                                                                                                                                                          9

                     ■!
                                                            ,        Tm                          ^mh for
       i i                                 »
                                                                                                                           9‘X’V                                 t

                                                                                                                                                                             #



                                                                           5V5-TB   t^mexir^ imUirns^Mm
                                                                     ««»»f «                     $1*14// %*#•» * >1 Siw#i, ^
                              •




                     i.                                 «
                                                                     y4- Wmmm tstof                                                     p%»
                     •:

                                                                     U»jm ©»i^ wXutff fu < m hii %)*.


■•4'                                                        t.
                                                                                    .h
                                                                                                                                                                                                                                      I
                                                                                                                                                                                                        t
                 'i.


                                                                 I                                                                                                                I                                                   I
                                                                                                          ms;EKi»#p ifcai                                                                               ♦

                i:
                                                                     &wt'E3fl^S                                                 «                                                                                                    {
                                                                                                                                                                                                                                     :|-
                                                                                                                                                                                                                                           )
           ■ i; ■                                                                                         cc"*'.
            ;<



                a         ■
                                                                            i*5ll
                                                                                                                                                                                                   4»
                                                                     .Wf rap^ ^                                                                                                                I
                                                                                                                                                                                                        1                                                                 4




                                                                                                                                                                                                                                     I
                                                                     ###«!*•%&?<« Ctt&S'W ^iV                                        SMfi S»mn.tr^
                                            •i
                                      ■* • .
                                                                                                                                                                                          S’
            i

                                                                                                  *       f
                                                                                                                      b


       I    ;             4 :
                                          :X.                                                                                                                                                               \


                                                                                                                                                                                                                I       ^
                           V                                         i|xS 8«»p td                                          at the' l!^pn t
                                                                                                                                                                             *.



                                                                     MmJf^          awT/ssw-^.vt.^ti-iysE, e»*fesw.
                      '           ;
                                      j
                                                                                                                                                                                                                                     I         0            \


                                                        ^            liS’l® 8^»p u-5                                                b s»ci« »j 1^
                                                                              I*II3L iiSS, xrmf'£*'<4                                           ff A AMi                                                                             I
                                                                                                                                                                                               «


                                                                     Or»«. ^t«»t                                                   &f*‘v                                 ■                                                           I                • •   •".



-j'                                                         ;        ®wr#                                                 #5^ Ot««t=xmei^
                                          ■ }                    t
                                                                                                                                                k
                                                                                                                                                        •j
                                                                                                                                                                                  1                     f, f                                                          :
                          --:




                                                                                                  tofe, tm^m                                                                                                                               I




                                                                     W%%m «?.
                                                                       ,    » I     X                 ;       r       *^«<*               » ®       »                                                               1                              J' .


                                                                                                                                                                                      «


                                                                                                                          4-
                                                                                                                                                                                          ’•


                                                                                                          # .         6



       I                                   ■9

                                                                                                                                                                 t ':'
                                                                                                                                                                                                                                                                  4

                                                                                                                                                                                                                        I
            •              ^



                                                                                                                  »                                                          *




                                                                                        I                                                                                                                                   1
                                                        «

                                                                                                                                                                                                                            ■1
                                                »




                                                                                                                                                                                                                                 1
                                                                                            ft
                                                                    ,sj.4o                                          *
                                                                                                                                          ■j




                          USCA11 Case: 24-13671                             ' I
                                                                           Document: 13            Date Filed: 12/05/2024                              Page: 228 of 723                              /'



                                                               • US Sancorp to Buy Wschoi/ia Trust,
                                                                                                                                                                                                 «




                                      A

                                                                    Custody Operations '
                                                                    ^iVp%.'%?        ar rom/us-fegncwp-t.'r ii                                 ■V.:.




                                                           .                         -■f■Awe^nbef 2§, 2QQ%-
                                                                                                                                                           E-f*
                                          •<



                                                                    PlJm?OU%Qn.cm'^ *,t>s &anc0ri^hi5
                                                                    •i-n«ut..|cfcc} Iftar UG M.A. has enr^^r^cf arr
                            ‘V.
                                                                    agreemRnito ©u'chase Watnmis
                                                                    vOrpcratotwisf ami !rvi!tut**B©f                            b.mn^.,
                                                                                                                                                            *




                                                                   How. a            us bmk faundsfed bllffons
                                                                   fi^m Mexico's
                 a



                                                                   k,‘rD^»r/Ar^^At|}eguarcllan.ffi&«i/A-»clCO?i/3s:,
                                                                             6
                                                                                                                                                       «


                                                                       f


     I                                                                       2D !      .''T'’'vl< 20IC,                              ?!
         «   ^                                                     blgge^l action brought uttdwilte l‘/S bank sucmcj?                                                   $■



                                                                   mx ^ffajgh ?hifi US
                                                                   Milivin E«lv;jt*^sny
                                                                                                                                                                                                 a

                                                               I


                                  ^   A


                                                   •1'         y.S-Spneorp ~ WiWpedfa
                                  I




                                                                                                                                                                I



                                                   iS       'CFSi'Wncorp isiylteeo fr» us o®icQrp| ks arr’'^v
                                                       /       AjftericaT Iwftk botdlnf*cpFT|>snf based in                           \                          f                           i-



                                                   I                   ir> „Ui nmmu,       IrcprpWiSteU j' ?    '
                                                   I       ^ Oy^wisift^ it tv pi^r'am cp*ftpdriy_ a! U,S» 8aV:k                                                                         i



                                                       V                                      wbxh If, the fAh fegest lia
                                                                          Us ‘T'rtor?; Uf-ficr,
                                                           , Rrvvnuc' US$22 .GC7 blSi-yr: f2017}                        ■
                                                                                     i'C7tr% t3fA>: 01 '.van i,qp r
                                                                                 I
                                                           fvufriu'xof feO'pUi«>n* ?«5 007|S‘iptt''a!be'' ^
                                                                       •
                                                                       f     6


     I           m


                                                                                                          t                                                             r

         «   ^

                                                           TheL            giO“TeTO^^^for^gs. fargo*                                                                         • .   !•




                                                           rjn^ f            ?^>artr,r,rri.
                                                                                                                                                                                                 a

                                                               I


                                      A



                     fi
                                                                                                              \


                                                                                                                                                                    I

•J                                                         .1
                                                                                                              ii-
                                               4
                                                                                               I
                                                                                                                            I                                   f   ♦


                                                                                                                                                                                        i
                                                                                                              V

                                                                                                     I




                                                                                 t
                                                                                                                                                       a

                                                                             6
     I                                                                 f
                                                                                                                                                                                                                                            I
                   v
                                                                                                             ^                                  FM
                                                                                                                                                      ■y-y-
                                USCA11 Case: 24-13671                                        Document: 13                                           Date Filed: 12/05/2024                                           Page: 229 of 723


                                                                 fflpfe COURT OF ELEVENTH .HUOICJAL CrRCl#-1N:AlVP                                                                                                                          f




                       e.
                                                                                         FOR MIAMI l>A»E COUNT’^', FLORIiJA                                                                                               1


                                                                                                 h
                                                                                         f


    i                  •              »;
                                            JJ^BANKNA.,
                                                                                                                                                                                                                                      f
        •      w                                                                                                                                                                                       CIVIL DIVISION
                                                                                      Piain^'fC                                                                                 #                      CASE NO. cA-oi imimm
                                                                                             '           I
                                           WCICWSlitS                         I



                                                                                                                                                                                                                              1




                                                                                  DcfemiML
                                                                                                                                                       M.


                                                                          l^lmCE0FFE0M^0MF10ffN0NPili?t                                                                                                                           f
j




                                                                                                                                                                                                                                  ♦

                                                      msmim.                                                 4


                                                                                                                                                                                                                                            I



                                            you Af?i PIOTIFIED that, after M                                                 from the ^ate of
                                                                      ^                                                                                                                                 notice, the Merslgneb^wfl apply- '
                                                               f th«s Court for .ss«an« of the attacfed   5ubpo«a directed to who             « party. tl
                                                                                               specffifid te the.subpoena. Obieciiofi> to the .-^^dnce ot
                                                                                                                                                                                                                                                          i




                                           this sohdoeRa must be filed with f be dmk of the cfrctiis court witWnTo^^.
                                           •i^e«rtf#thai«opybft«sdocum«V.ws|  x }marJedCk JfexedandmaSedf x IcWied
    I                  #
                                            cetoered to the
                                                       *   ■          -
                                                                         legal represeRMIm ml/U/lQ.
                                                                                  •                                  ■■ ■•    •   „ •   -       ■
                                                                                                                                                              t
                                                                                                                                                                  • ■:•■'•.•:            ■.-<■ '■ '■
                                                                                                                                                                                                                                  h       roniF



        *     ^
                                       - ^feLEiCli.aLllMMl.illffirffi.y.(if:r#ere5erit€dl
                                                                                             >
                                                                                                                                                         .Sallg^Oh’PartV-VERQWeA OIAZ
                                                                                             I
                                           8fanFRom@,ap                                                  I
                                                                                                                                                       73WfJagf€rStSle3{m
                                           500 E Browed ilwd Sle pm.                                                                                                                ft 3M30-t707
                                                                                                                                                                                                                                                      0



                                           Fjprt lauderdate, 333^-3023
                                  ^      CMiw;954-5X2-3e«i
                                                                                                                                                        Wfit2#judlLff»iitis.org.
                                                                                                                                                       305-M9»?ff/8
                           fi
                                       • tn^33:g|Ml£§fflbia«fcrome,;offii                            .

                                            "-K
                                                                          .1

                                                  6
                                                                                                                                            I
                                                                                                                                                                                                                                  f
                                                                                                             4
                                                                                                                                                        Slpiaiwre of Parly
                                                                                                                                                                                                                                            t

                                                                                                                                                       kimmmskmm
                                                                                                                 f
                                                                                                                                                    lS920S..Piver Drive Miami R 33167
                                                                                                                                                                            786-859-9421
                                                                                                                                                                                                                                                          i

                                                                                                                                                        S(g8DSsl.943#yahoo,som

                                                                                                                                                                                                        *
                       0

                   »                                                                                     t
                                                                                                                                                                                                                     ft


                                                                                        t
                                                                                                 h


    I                                                                                                                                                                ’■ {



            . ft
                                                                                                                                                                   u




                                       >
                                                                                             >                                                                                  »


                                                                                                                                                      Sub^md' f0i FrmJactios^ frd^a N’octpaxiy                                                    i


                                                                                                                                                                                                                                                      I
                                                                          I



                                                                                                             W


                           »




                                             <                            A

                                                  I                                                                                                                                  i                                            I
                                                          I
                                                                                                                                                                            &U.3)
                         USCA11 Case: 24-13671
                                 i
                                                                      Document: 13                    Date Filed: 12/05/2024                        Page: 230 of 723

                                                   m 1mifomr oritiventh jubicialcmcmi m amu
•j


                                                                 FOaMAMI BABECOHIfrr,rt.OE!»A                                                                       y-2.
                                     t


                             i
                                                                                                                                                            «   i

                                                                                      t


                                                                                                                                   CIVIL DIVISION                      i

                                                              mmB                     •                   1
                                                                                                                                   CASE NO.CA-OI 20ltL6,l92i.
                                                                                                                                                                                        4




                 a,
                                                              DefeBcl«ni».,
                                                                                                                                                    »

                                                                                                 .    -       .
                                                                                                                                                                                    1


     I '
                                                          FOR^CHWCIIOS OF POCI|MEMTS FlOMTONFAKTl
                             :THESTAlfB0F;«BSDAtQ:;^iQ§|^TO^'                                                                                                                   a

                                               .          0                               *


                              YOU B4UST gd so {f^acej Elki los|gg*Mittra-5150 SW Z'^ Av^, Miami FL on {f^oie} 3/1S/2O10 at’(tfmel
                     *
                              I2p.(p.Mci tirtfif,with vay «tt!3ttfmfi and ptethe fotlo®»ig;
                                   mpmrnmM md eumt'^tcer specific ‘imumernmimi, evlArniimy carrs^p^nimci^
■j
                              mc^onit      ^^&menis,fiics^t0nimcM ami remris regmdiag                imst
                            - ernmmd mfcrm& m FedcmMf rcgMuied m Fmk,Ikwtefc AG,M Morgmm €k}$c,
                              0f Ammm mi Wells Fmrgo/Wacim^m imtimhg l&mSf real esmie Mtxsmg mti mmtai
                              pmpcFiss fmmlei mithim Ike fttmikkm &f ikh C&un. imcluitd in ike Subpmumi
                             ^iucA&n gfPmumcfils am oM p^micai sedan c&mutiee mmm sad cmimtis Minm '
                             mie Cmafy' emrn^^s, lam Jiims, itk m^sain, rmMors, dmmg agents^ Jmmcml -
                             mmimsrnM imwmors mih&Mmg mmpsmesthat are           c&amm&rs.Ais&mgmreito
                             m^siueeih aM        e&rrespmimce rccsr4$ a/jam.s»ipmrreptesmlsdwc mgetns with.
                             imagessmdmmrfcheers m this actian inmMmgike
                                                                                                                                       «



                                                                                  a
                                                                                                                                                    a

                                         i!'                              b
                                                                 f


     1           "                                                                                                !
                                                                                                                      \
         »   i
                             These ttsms v4ll bt inspected,en^ may te copied ai itet time. Vo« w8i ml Imrnmlmm tfe® orliinai
                             stemsi-;                                 $                           ■                       '   »
                                                                      '       I
                            , Tf                   tWs s«yppena by pnM&in§ resda&fe m»m of                                        items » te produced ts the party or           '
                            ^ hjs/hgr attorney whose mm appears on this subpoena on or before the sebMuied date ofpMductioR.-
                              Ym msf cortdrtloo      prepsratton of the mpJes apofl       in advance of tte reasoBabte coMeif'^
                     ,       preparatiort. if you mail or delwer.ths copies ot toe attorney 'Otiose oartse appears on this subpderta
                             Mtore the dsterndlcatecfabo¥e, you doriQihsve to appear feperson.                                                          '           ■ ' "
si


                            feu fmy be !r» contempt of court i you feil to;
                            of appoaifne ks pmwi« sfewe; «r f3} object to Sife^&po)                                                                         ♦

                                                                                      «


                                                                                                                                                                       I




                            Flortda Supr®<«*-C0«rt Approved F^^mlfy                           3SJ3l{bJ. Sumimfwrm^ummmrnkmnmr^ mm                                           a




                 6
                                                                                  »
                                                                                                                                                    «


                                                                  f
                                                                          b



     I           ^                                                                                                    f
         «   b
                   USCA11 Case: 24-13671                   Document: 13           Date Filed: 12/05/2024                      Page: 231 of 723
                                                                                                                                                                       ak3i‘
                                                                   a

                                                     9
                                                               b
                                                                                                                                                              .#.v
                                                                                                                                                                     V3.
     I '                 'SrinR                                                   «3ma .ippcars o« this $ui>p0s« ^nd,                                           by- '•
         •v>




                                         a pe^oa »ttlj a disability »ho needs any acconnnedation In order to^
                       . ^ippate m this proceeding, you are entitled, at no cost to you, to the
                          promim of certsitt assistance. Please contact:


                          St lea^ 7 dsys before your schedplec; court appearance, or ImmedStely uooo
                                       th^notttetlon If the time'before the scheduled appearanceisiss ^
                         than 7days; if you are hearing or voice impaired,call 711.                                                                       i


                                                                                    I
                                                     ni.




                                                                                               f■pfECIRCUlT COURT CSMil
                                                                       I
                                                                                                                              nt
                                                               b
                                                     K


     i         '                                                                        t
                                                                                                                                         I


                                                                                                                                       » .




                         iSm wtot ntrrnTnnLT'k°'’“7'’'‘'' ”                                                          "■ «"* •                            “P™'»
                         ric£S“feB“=====-
               P
                        Dated: 2/26/2#
                                                                                                                                             I


■J                                            . ft
                                                                                                    ?/Mg£ka>e!ls.Pig»i^tlff
                                                                              I             tSQ2Q S. ftber Dnv€ Miirni n„ 33i
                                                                                                 2a6-85S-M2l
                                                                                                                                   i
                                                                                               BlgSossimsg^ehoo.fioin ,                                   >




                                                                                    I




                                                                       ft

                                                               b
                                                     9


     i         '                                                                        t /,

                                                                                                »


                                                           ’       I
                                                                                                                                                 I



                       i‘to«ids Sup/TOs court Approved                      i 2,52l|&5, Si'b^ar'ftg fer Prodoct^n #osn » Uonpamy |n/iS|
               P




                                               .ft

                                                                              I
                                                                                                      t                            f

                                                                                                                                                     I
                           USCA11 Case: 24-13671                                 Document: 13                                Date Filed: 12/05/2024                                            Page: 232 of 723
<j
                                                   pwatir.1                                                                                                  1
                                                                                                                                                                                     %-■



                                                                                                                      I

                                                                             ^Navlsnt Student LoaiS Trust                                                         '

                                                                             .ia|                                                           '
                                                    liiiW'teKeiw':.
                                                    T!^,’ i '
                                                   ^ ..iVsw^'iS* 1!^.


                                                                                                                                                                               !^:

                                                   »v.n^

                                                                                                                                                                                               t




      I                                                                                                                                 t                                                                             f


                                                                            <: iat*. 111' jV.y BSa                        *; «-*i
                                                                                             »• , 7!r?»»ir r-'i                                      *




                                                                            tass * l^L^I Kt K-^K^, >AMIf iMm                                                                                                                         »



                                                                            CKif>                                                                                )'
                                I                                                                                                                                                                             i




                                                                           ■.'^i^r';
s.”                                                                         H«>.» 1                  i-c

                                          I
                                                                                                                      I
                                                                                                                                                         I
                                                                                                                                                                 i-.   •
                                                                                                                                                                                                              f   ♦



                                                                                                                                                                                                                                 I
                                                                                       @i>'* «V

                                                                                                                                    i

                                                                                                                                                                                                          *
                                                                                                                                                                                                   I




                                               •    ‘S-l. ' r-V
                      #.
                  »            . w(.',.;                                   s,!r-;.is...„„                                                                                                      I

                                                                           0|»f •>;.%,               ■     .
      1                                                                 , raifcse-,,s*®;#,i*
                                                                           ■isakisjfS*                                                  f
                                                                                                                                                i;

                                                                                                                                                 T                                                                    J




                                                           m
                                                                                 4                                                              ./

                                                                                                                                                ■f
                                                                    I

                                                                                                                                                 I
                                t-



                       *                      hspf. '*jt«vi(,j/ju/j4j itlv*« t; •»»!wt*Ji.%»^                         iiml‘s^snwi.!f....,,UsNlc>ii.!fi2U,>. 1^15-1 as^»                            J’J''* "i ^4*

•J                                   ■<
                                                                    .%

                                          I
                                                                                                                      I
                                                                                                                                                         1                                                    t   ♦
                                                                                                                                                                                           \
                                                                                             «


                                                                                                                                                                                                                      I          i

                                                                                                                                                                                                                      ,1
                                                                                                 f
                                                                                                                                    I




                                                                                                                                                                                                                           I

                                                                                                                                                                           «
                                                                                                                                                                                                                           '[■

                      #,
                                                                                         i
                                                                                                                  c

                                                                    ■p
                                                                             f



      I                                                                                                                                                                                                                                  <



          •   V



                                                                                 >t                                                                  0


                                                                                         I
         I       I
                                                                                                                                                                                                 V-


         I                                                                                   I
                          USCA11 Case: 24-13671                                     Document: 13
                                                                                         b
                                                                                                                           Date Filed: 12/05/2024                                   ■V’S. fi,4
                                                                                                                                                                                                                                   Page: 233 of 723
                                                                               f


     I   I
                                                                                                                                  )
             b
                                                                                                                                                                                                                     •r,.



                                                                                    I                                                                     0                                                     - J..
                                                                                     i

                                                                                             I                                                                                                                            «■■■


                                .[
                                                                                                                                                               ;.!                                                    ■i ■■
                                                                   I
                                                                                                                                                          ■




                                     A                                                                                                                        •^i

                                                                                                                                                          j;
                      »                                                                                                                               .   -




                                         <                             »                                                                                    r
                                                                                                                                                          , i-


                                             t
                                                                                                                       1
                                                                                                                                                                           i                                                                   f
                                                                                                                                ;•


                                                                                                     4

                                                                                                                                                          i:                                     ■f
                                                                                                                                                                                                                                                       i
                                                                                                                                                                                                                 %

                                                                                                                                                                                                         ■i
                                                                                                         r
                                                                                                                            I
                                                                                                                                                      ...I-.                                                                                               <9


                                                                                                                                                                                                                           : ...
                                                                                                                                                                                                             -• ••'':■■                                                 4




                                                                                                                                                      vi".                                                    :<t
                 ■

                                                                                                 t                                                                                                            A
                                                                                                                                                                                                                                   »

                                                                                         k                                                                                     -i
                                                                             ■ :f


     i                                                                 «
                                                                                                                                              ■   '                                          A;

                                                                                                                                                                                                         .1-^
                                                                                                                                                                                                              S

                                                                                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                                    0


             b                                                                                                                                                                 1                         ■M


                                                 r                                  »
                                                                                     I

                                                                                             I                                         I                                                                 I
                                                                                                                                                                                                                                                                6
                                                                                                                                       F-’l
                                     i
                                                                                                                                                                                                      ■:m
                                                                                                                 :„.                                                                                   -V: ;
                     4                                                                                                                                                                                  -F;: :
                                                                                                                                                  -i!'
                                                                                                                                       1
                                                                                                                                                                                                         Kj -
                                                                                                                                        •;.


                                                                                                                                                                                                  : "FFi. :
n;




                                             I

                                                                       ■!■
                                                                                                                       I
                                                                                                                                        F.
                                                                                                                                                  •r.
                                                                                                                                                                           i
                                                                                                                                                                                                       •:Fii


                                                                                                                                                                                                       §s:: r
                                                                                                                                                                                                                                               t
                                                                                                                                                                                                             .1 • ■
                                                                                                     4

                                                                                                                                                                                                      .,1                                              I


                                                                                                                            i
                                                                                                                                              :l:
                                                                                                         I
                                                                                                                            I

                                                                                                                                                                                                                                       «
                                                                                                             \


                                                                                                                                          ■. ,1
                                                                                                                                                                                                      ■■5:
                                                                                                                                       F.F                                                        :,-:y
                                                     sti-.lcpi 4.-rt»f.!£W”TOC<3wAji^.:j!s.j >.'av
                 I,
                                                                                                 t                              ■■F'                                 ■;::■••                                                       ■:sp30ie
                                                                                                                                                                                                                                   a

                                                                                         b
                                                                               9



     1                                                                                                                            t ;
             b




                                                                                    »t                                                                    t                                                                                i
                                                                                             I
                                                                                                                                                                                                                                                                4

                                                                   I


                                     i



                      9     \                                                                                                           h' -




                                                                       t

                                             4




                                                                                                     4


                                                                                                                                                                                                                                                       i



                                                                                                                            1
                                                                                                                                                                           tyvtiJ'l
                  USCA11 Case: 24-13671                  Document: 13 Date Filed: 12/05/2024 Page: 234 of 723                                                                   I
                    FORM 6                          FULL AND  PUBLIC DISCLOSURE OF                        2®»
                                                           I financial'intekests I
                                                                                                 I                           WRCjpprcE'
                                                                                                                             useomy:


                                                                                                                                                  J&3 I? 3 ?gli
                                                                                                                                     IBCwls-

                          . Hon vatete R.ttrono stajiiff                   •      '       t
                                                                                                                                                  ■*   Z   1


                                  JtidK»ilC5muii|llTI»)        ^                                                                    mm,':
I                                 Batted ,Oon?riiyteai
                                                                                                          t
                                                                                                                                                 21.^80

                                  ?3Wffegfe?aSlg11G5                                                                                *5aif Cate
                                  ifestlFt, 33130-4763
                                                                   »                                                «


                                                                   ’       I
                CHHtaC IF THIS KAFUka BYACAjgMMTE                      O                                                             mm!> SEhuff,                 1.

                                                                                 FART A - NET W^MTH



                                  -          t%,mvionh@#of TVf’€rnr>'’g.<^ {                             20 ia
                                                                                                                                                           f
                                                                                   PAITP-ASSETS
                HOi^K0ii5i«0l»^0|>SSgOWAlaFI«TB:                                                 '            ''                            '                          '   .

                  oaurbwa^ieiitefw Wd                                               ®     ^ raterw*tSfflS. Sid5*|5«&, tett»koW»twpma«                          fw^in^cfef6®s,
                  Die                  vafete mjr nmM^r,yi gmOs wfsasia! efecis                               cj «              > _ fV          . t' C"
                  lNBMa«AU.y VAUIED AT 0¥Be $1^
             M>,__—g^gfUOW        QP ^ET ^ajtfedBg a|g|is^gn fe                                 - s» r m«ieJ2«ss m.m                                       yA84IB<:yMm:
                        Am.oc ' ft M i of.L ^ a>inr                                                      .,4. ‘
I                                 .Fvn> n ft p.       mM£-~                                                        !‘
    ft   V
             &l/1jC;AC’A^Uxfe'                                                                                          f                              ^       * ^55-a:o:'a7
               |1’ !cy                       ,                                                                                                             30ei:.©f^£/^
                                                                                                                                            Z"

                                                                               FART C - LlABiLffieS
              ■yAifUTiBs IN Ex«ss m fi,«j
                                      »^^Ho«a«ss,egCRBw»'                                                                                         ^Ai»0«T OF

                (Lbll^^. f.irrtfy'ioF- r-c p v5A
                                                    ^^-|^.r
                                                                                    -ji
                                                                                                 iK 0 i://1 IJO                If(                ^^o.oaac^
                                                                                          ■C-
                                                                                                         4.             £tlQ.LV. j^2 ^.5uU        ^J7^.0004T.

             jomr AJNO SEvsmLiiAiain®! ij©f HEF>^?Tra«om
                                                                                                     i
                                      »IIS AND AMatgss OP gHmiYfua
                                                                                                                                                       ^i«3wr oPyAa^rr' ’
               IW r     ,<t   ■ ._




             tSEfiamSCfisto, iw-KsrtaH*
                                                                       ^       |<i«as®HMdc»rew»»toi
I
    ft   b



                                                                   »



                              «
                                                                      6



     I                USCA11 Case: 24-13671                       Document: 13              Date Filed: 12/05/2024                      Page: 235 of 723




                                                                                                                  «         ef     SMStm mm.

                 M     • WWiOr^»^qiya£MiE^C6H>lN5StJiM                             ,
                                                                                                            iSEjilWSgOPlMOOiE                          .m^m
                       «




                                       .l^KC€x.-diS<

                                                                                            iC
                                                                                                                                        V I,
                                                                                                                                                              ^grgs^tfO
                                                                                                 ^owsari l8( r^seefi^                                                  mmmy
                               .   NM«5©r '
                              8UG:NE£SiF*riTfY                 WWffiOPlS^WORWRS®
                                                                                                     —...   mSSe'
                                                                                                            CPSEHffl^.                  ' ii^CTwny.Ki
                                                                                                                                           WWCl^st


                                                                           4
                                                                      .k



     I
         4   W


                                                                 i^iO’K-llflSRlOTS MSPECipa 3Ps|JSPfES»
                                                            1
                             or

                     ,mmmm.
                                   mmx.                  IMmh.
                     »aia»?gfimM
                     -^^aassfliy
                      !>QsnKM}fiaLD
                     ■-iai5iii.afiia    l_

                                                           4

                                                                                                            I


                             £^¥or gAHs Aimoia;H » ^.coffjmmp oy asemi^ shiei^pleA^ osck brme
                                             Oath                                       smTeoFa-OB^, -
                                                                                        eopH#ff= il
                                                                                                                      -       -
                                                                                                                                  i>A.£^£L
                                                     mpm
                                                                                        Stewte<iHrafllGs»^BiiSs«terf«                        /S
                      bag^iSftg 0f W3 a«'<(s?eejK3M ojB^atfi 0r ajarofei
                                                                                                                >..,»UL¥.         te tk                r




     I                                                                                                                                 . mmmmsmmm
         «   V
                                                                                                            .f; i//c
                                                                                                                     iHiC
                                                                                       CPi@4 Tj^, «r mm OwmiaSwri «tewe8                    aiWfc;
                                                                                                                          O/t PioN&EBd[Ws.nis«6aikss

                                                                                              hte^iHtotmn rtod^Wg.


                 '                                                         W» faffla urn leesterf at »i« tap          s.
                     ^««>°i^»ft^emgn,tatorBteare«laSBHlWBaaa«.                                         ^
v;
                     C6ti!m«tSs*^AMa»y1,79« Rie«(rafiw»5*««?«J,rAfc
                                                                                        I
                                                                                                            t                                     ?
                                                                                                                                                  ♦
                                                                                                                                                                       misnsa. -


                                                                           «
                                                                                                                                                           . .i'
                                                                                                                                                                   j


                                                                                                 \
                                                                                                                                                                           m


                                                                                                                                              #
                                                                                                                                                               I
                               I
                                                                                             I
                                                                                                                     k                     T
                                                                                                                                           ♦
                 USCA11 Case: 24-13671                          Document: 13     4
                                                                                                  Date Filed: 12/05/2024              Page: 236 of 723

                                                                                                      I


                                                                                                                                         ■   •
                                                                                                                                                  mtebb®
                                                                                                                                                  iiiMlJUl!
                                                                                           KKS^W:

                              yw liftIlia                                        a teofii                      fatetifai
I                            .^fa 8««*»                         85 prwiies to o»a                             art Ciwa       «fttsftA ofSf^l
                                                                           t 4
                              mm&              leC .it.t mO\\rC' S
                                                                 .hliiL                                                                      ■■ 7t.>3'^
                                                 -feM-I..l.g.^lefc- ^                                                    9.cf^nud€           ^,FL
                         «
                                                 L^j£.(?iu.4' - ^LuQt^
            *
                                                                                                                                                      #


                                                                                                                         ■ ma
                                                                                                                     k                            f
                                                                                                                                                  ♦

                                                                                 •g*

                                                                                                                                                          I




                                                                                                      i
                                                                                                                                                              0




                                                                                                                                     /
                                                                            I

                                                                      6
                                                                                             Lfljfpcxp A>i                            N-
i                                                                                           .|W6i
                                                                                                          t:
    *   ^



                             SfATO0faMSI«                       »
                                                                 I
                             COtIMTIfOl*'    '^“•<.^A.ij»^'t .<. !fi'

                         «far ■^.a.lCtlig.. ,,.tii        A?c*
            ft



                              PWA^SEM.)
                                                                                                 s.             V.
                                                     .1                                «                                   SS55«f)

                             *rJbit ^
                                                                                                                                                  f
                              JMSt £!!RiES;Ma,l014
                                     fc^%als«pi!feM«rlijw»
                                                                                               iPt ✓^,j!L4.cs«.i A.-T'
                                                                                 • P«ia««rifaiwyF^i:^'Sa«'«»r"
                                                                                                                                                          f

                                                                 e« tt^siiasrtItegimte
                                                                                                      I
                         Rtrtitsrt
                                                                                                                                             4»



                     ■                                                     ww m.u                     ®Jf'«infSr           |!i|»j( mfn prrtM^ij,
                         CS4/S1
                                                                             I

                                                                      ft
                                                           ft



J                                                                                                         t                                           ;
                                                                                                                                                                  »   •.




                                                                                                                ft
                                                                 f'




                         A



            ft
                                                                                              »



         •   ^                                                                                                                      :W-            I:                ;■
                                  USCA11 Case: 24-13671                                                    Document:
                                                                                                           »         13              Date Filed: 12/05/2024
                                                                                                                                                       f-                                 Page: 237 of 723
                                                                                                            ' I
                                                                                                                                                                              <■
                                                                                                                                               .        1

                                               A
                                                                                                                                                       4 ■       .            ■^:l
                                                                                                                                                       .1




                                                                                                       JOTfCwi, agcyfr in AMopea MjAPi-BAUKrtoojrtr fi omm •                                           P^-£
■j                                                                                        .1                                        ■cmtAmm
                                                       I                        v^paAiif*;                                      I
                                                                                                                                                             1                                         f
                                                                                                                                                                                                       ♦'
                                                                           ■     StoSirti#                              «
                                                                                                                                                                          C«I«
                                                                                 .m
                                                                                                                                                                                                                                  i
                                                                                ■meKWBis/.
                                                                                ,'»®aviT          "■
                                                                                                                                      I



                                                                                                                                                            tlllJWi«lflM
                                                                                                  assMaSSSsMi^mBf mmm.u, .                                                6


                 »                                                                                                  t

                                                                                Cwiosnew                                                                                             >»   5-1
     I               m

                                                                                                                                                                                                            If
         A   V
                                                                •              ■ ™^®^™”^'“*1^2^8®yrpRip«nyT,'(.1ulff6«ipgsstfeii@faEkec&saaetjfe*»wna;rf#
                                    ■i-
                                                                                BM cw his Wesrstsr ^i>tm mate hte attd th^ni iSodijfE£^|y. ' 1' /
                                                                                eMKistjiMccJKP,|p*imA.todiBBAi<(:os?Js*M^aaX:SfetA
                                                                                                                                                                                                                                            e




                                               A

                                                                               Zl^                                 ^^efegafajgslaggghasiteEelaagiBtagwIrli KIRSas ?iei»
                          4

                                                                               , Weeing »1I& BASK, fsiiihit, C. Wlso l!,i&S» rufe^ |j|                                of Ttes toffetef •
                                                                                                                   ^^^w'W«*sda!jsgbisE^e«wiiifefy^Si5,jy
                                                                               wyctoe Rtafttete Sait¥ tfet|ud|;pSs'iEesfc|a*wa|4»!np>«*Ma3 -«tbLd
                                                                                                                                                                                                                 V




                                                       I                                                                                                                                               f*
                                                                      •                  ^ *on5,fehriHt. E Ji«feefeM@isa«rssii8iegE»(sing&j        with al oftb«.*
                                                                               wadjri^heto 5faown tWs*Poo?,So}i«iiii;^mu«!’bi{rai3f«Bd
                                                                                                      a^<srii»iw5. «ss! ttertfsnwire,, J tovaftajA* tuarwir
                                                                                                                                             wcaiehis   Oraertass-
                                                                                                                                                                                                                                i'.:



                                     i- i...
                                                                ■'<   l\
                                                                                                                                                              %                                                      1
                                                                                                                                                                                                                                        s



                                                                                                                                          MAmwmu                                              I



                                                            s                                                                             mtmtmm^                                                                            :i


                                                                                                                                     JL 33«7 #76«5‘>y 121
                     a,
                                                                                                                    t
                                                                                                                                                                                          «
                                                   -   -i

                                                                                                       f
                                                                                                               6


     I                                                                                        6

                                                                                                                                          t        -                                                        f                •-. ; "i           «


         4   w


                                                                                                           »                                                                                                             1
                                                                                                           I




                                                                                                                                                                                                                                            a

                                                                                          I


                                               A
                                                                                                                                              ::



                          4




                                                                                          .»

                                                       I
                                                                                                                                I
                                                                                                                                                             t                                         f
                                                                                                                        «


                                                                                                                                                                                                                                  I



                                                                                                                        T             \

                              !
                                                                                                                                                                                                  «»




                     a,
                 »
                                                                                                                    I
            USCA11 Case: 24-13671
                 •'I
                                                                   Document: 13                      Date Filed: 12/05/2024                           Page: 238 of 723               £)(h3l
                                                                                                         I




                       F01M§                                       FULL ANO rUBIJC W^CLaSUEE                                                                                :2i|7
                BSwtw I«tit cr fe S* seat»»».. tsaii*®
                               nfjssy MW, iessj           tJ9S<«
                                                                        OF FIMANCIALIHTEEESTS                                               I        »»S OFFISS, USi. omit;
                                                                                                      -■—                    '     »

                saE»5i'rss7"”g'i?m'cs
                                                                   -—
                                                                                                                                                      ,500 / as.
j                                                                                                             t                        PROCESSED
    *
                                 «g«


                                                                    »                                                *
                                                                                                                                                 r
                                                                    I
                                                                                                                                            CC       ^51 WSII-fc
                y^AMI                                               £Fz
                                                                   33125
                                                                                              OCXJUIY'
                                                                                              MIA Mf.DADE                                            «:6l III! ,
                                             iPA IITH JUI>!C5ALai4ajlT

                cifoMK!                                       ^^
                  C«.«IF1>»J$ARUNS.efMWIMJE                                       O   -


                           ‘            ■■    ■                         ■             ,:FAKI'A*-:NSf-,W8>BTM ‘                                                      ♦

                 W»&Ejfafftevg{teors>0urrw!tis<>rC5^ofOsoember3l,:^17<3iraaw«ft8«rt
                 ftilsfwi faf      ymt               tom ya«ir fapomd assets,       d3ts.
                                                                                  see a® |J4at2;    Nsi;w«t»j®nDt:cri-
                                                                                          insti'tiefens or* page.^l i
                                                           July I                                        if                       S29JSL?34Jifl
                                       rwtvwortitasef
                                                                                                 ..2Gj
                                                                                                                                                            *




                                                                                              P^Kril-ASSETS              .
               % H«ISEKOLS‘<K!*S:® ANP PS®mRK. EFFgCl^t
                  Heyghdit          ^ynel ett^ irt,% ixs                                  in a ipp pj a'a^-n                     sabs ■*&«* il.Ka. «Ji» cmm mam.m'
                _        !( rtm tm W         gatxms:                                  mSmms erf 3j5antp5. fang, ass maesraaS^ ItRJBsi, «S efek^ ‘wuseWrf ajiifcswit


J       »              tj» sjStaosiijB v»a cf iq? ftowfetse®            ime jusi^R^ «<?««& tiarjodjisa
                                                                                                              t
                                                                                                                     'm 6
               • AaSSTSESBWWmyWAyjEDATeS^ERigijCOa;                                                                                                                     j


                           oifecwPfteH m AsaB?,#s«>Kifc «                                                     - ggft angre4f»» fe4i
               las AlfoiisR Aw, Coral Gafe'te^T^
               T^i Ben B/liltcF                   jfifcifi gap,
               TS lolipi® ^steles' 15; i$fcmorMa. I'lr'"’'
               TSfairtBistf OTl’ia^swo      ——

                                                                                          PAKTC-MAltJt!,rFIES
               t«i{iJ1^iHgKE®»OrS'«,lJ^(»#«RjtrOTai«ri5ao|»|»4l|i -
                 ''                     eSAMEAMSAOBIW^OFCfmntm                            '
                                                                                                                                                                        OFUAWJUf--
               N«e                                                                                                           T
                                                                                                 I
                                                                                                                                                        .-fr T



                                                                                                         I
               4ow/»«issvg»»g mmmm n&r BgAssmo mcmi
                                                    mm£s& ok crboetoi                                                                                   \AtK»OTOritfMlg:;
               Mom                                                                                                                                      ^       -


                                                                            -Sr




j                                                                                                             t :■                                                      i




                                                                    b                                                P
                                                                    f




                  4




                                                         .1
                                                                                            s'-



                               USCA11 Case: 24-13671                                                                  ' I
                                                                                                                      Document: 13                            Date Filed: 12/05/2024                                           Page: 239 of 723
                                                                                                          1


                                             A




                                                                                                                          .       .&
                                                                                                                ram                                  TIIEBiLB*rWH
s.*
                                     ?•_ ■
                                                                                                              \ IH. JCisAI, r;jia;f| th! AKQ hm MMI4f-E3APErr *-"
                                                         I
                                                                                                                                                            avi\Acrto,*8                     I
                                                                                                                                                                                                                                         ♦

                                                                                                                                           4
                                                                                                                                                                                                                                             ■j y
                                                                                       PUfNUFPS                                                                                                               CA^iffj m-wm

                                                                                                                                                               ,1-
                                                                                                      I




                                                              .       ,                r4Aa;wEitSi

                                                                          •            BEPiUJPANT                                                                                                                                                                     j'.'
                                                                                                                                                                                                              «:


                                                                                                                                      ft                                                                                                                             ;;
                                                                                                                                                                                                                               «

                                                                                                                              6


      I
          «   V                                                                                               • ssss^a^ssar**
                                                                                                          pern Mi CMM

                                                                                                                      '           I                                                                                                                           .. . '5

                                                                                                                                                                                                                                                                             6




                                             i
                                                                                 SSStSTXSSSrsS                                                                                                               '■■‘;f “>'*
                                                                                 Ett=i“^S==Hr
                                                 '■




                          fi




                                                                                 ==S~S.WS3S5.-il-{“i“-                                                                                                                                                              ■ :


                                                 •ii
                                                                                 harnessw|tG%n B4lilK«5iee3a ■« MsfOSM 6 p:»/‘4'foL ji                                                                                  ii*!
                                                       " I
                                                                  -

                                                                                                                                                                                                                                         f
                                                                                                                                                                                                                                         ♦
                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                              i

                                                                                                                                                                          ttet‘0«r                                 ^kfMmnhr.



                                 ~v' ■
                                                                                                                                                                                                                                    '■
                      0                                                                                                                                                          • ises^^-'Kiiteawt:
                                                                                                                                      t
                  »
                                                                                                                                                                                 ; MJA&ir w; ssm?                              '»
                                                             J:-                                                                                                                                                                                                  -‘T-
                                                                                                                  9
                                                                                                                              6


      I                                                                       ":.r •     ■■ '■■ r'-
                                                                                                                                                                                                                                             I)
          «   w                                                                                                                                                             .(
                                                                                                                                                                    ■E.
                                                                                                                                                                                  ?'■
                                                                                                                                                                                                       ^.fc;
                                                                                                                                                                                                         :
                                                                                                                                                                    .■ X,: -a                ,;: ..

                                                                                                                      »                                                             #                                   ■>

                                                                                                                                                                                                      ■ ■r'
                                                                                                                                               •   :■

                                                                                                                                                                                        •'



                                                                                                                      '           I                                                                              ■■',
                                                                                                                                                                                                              . :-:•
                                                                                                                                                                                                                                                              -V

                                                                                                                                                                                                                                                                             0

                                                                                                          «


                                             I



                          »




                                                                                                                                                                                                                                                      1
                                                                                                          .1

                                                         I
                                                                                                                                                        I                   r
                                                                                                                                                                                             t
                                                                                                                                                                                                                                         ? : ■
                                                                                                                                                                                                                                                              i


                                                                                                                                                                1




                                                                                                                                                                                                                                                          I
                      I •                                                                                                             ft

                                                                                                                  9           I
      i
                                                                                                                         1
            USCA11 Case: 24-13671
                  ■ .-1 ;
                                                                               Document: 13                           Date Filed: 12/05/2024 mmSB!
                                                                                                                                              Page: 240 of 723

                 FORM,6                                          FUTX ANS PUBLIC DISCLOSURE
              RWSSiFgBtnt'Sit ^SWTOSiSr am,twES^
                                      MffiS,*iitl (WsnasfS hmmym   OF.FIN'ANCIAL INTERESTS                                                                            FCRomcEi^smy;
             "“LASr wag"-r«sT mmf                                 £H!Cai,5^W>,|g-.^
                                                                                                                                                                    mm
i            SCHLESlt^GEH
               fAMLWOWDICSS;
                                                                   mm                                       CHAI^LES
                                                                                                                                  T                               mmm
    . k

             73 FtfEST FCAGISR street                                                                                                                                     M m III?
                                                                                  i
             HOOfol 1202                                                                                                                                                  msiw
               qi5Y:                                                                                   aXiNrv           ‘■-
             MIA>1il                                                         Wl                        33131}
              UKsie OP AS!:i«¥'~
             STATE OF R.Of?IDA~ I1TH ClRailT
               w<i"cF,QPF!c» OR TOSffm'heS’iS ieswHfr                                                                                                PROCESSED
             CIRCUIT JUDGE                                        .1

               c3i©cKii;in«s®AF(ur® WAGW-E^jArt. O'                                                         I
                                                                                                                                             I




                                                                                               *    mmA-mrmmm. ■
                                              . .   .   ..   ..    ...                                      ^                          ^                                  ^                   1          j
                                                v^ue of foyr set ivonh ss qf                                        31, 201S or s r^oro cyrfsni date piote;: mt w^ril ;ia ru^t'cij* •'
              ciliated fcy si^DDcting ycur                                        llaMlifie® flrom your                           as^s, so pf«so sss :h® inaruiaiosi^ <srt                            3. j :■
                             My.net woritt ss af                        June 20,                                    20-1"                        '28.834,751^8 ' . *

                                                                                           a           PARTB-.iSS.t:i^
              HOtBlIwqwI-GOODS «iDP«SOK«,B=PECTS;                                                                             '                                       .
                Fto^ote                       »Hf psrswfli «lfe!fc rstay fei^fefxatecl fp &                     sum Ifer Bgg(pg#» wlgi® waeetfc gl.OSg, ?Bn «a1«$0P*- i«iud«                                     tW'
I                               # r^fwisi to nrowsso!
                tomliit^s;dW»r^;<rtr®rtii»i!3icfe««!TOC3r^«re^»fsrF«sixsait»c,s*eK$ter«sfi««teB5f^
                                                                                                   crJi^mrs Of 8ta«K.                      srd wimm^K tew ait
                                                                                                                                                                  ‘
                                                                                                                                                                              hs^i^rM #«cw!S
                                                                                                                                                                                          '       '          '
    •   W

                r« ssgmggte mliiff isf rey iwaseaicisg«xi|®a pfifwinsl «fete (tS5ac«t»t «!fOV©i| ^ S 250.000.00
              .»8ETS INOrSfil3«AtS.r ViMED i^T OVW $1,«4
                                            DgSGRiyrP?} OP ASacr                               gaferSlfen k raemag - sm ftffltecdwn                     - .;. :                       moto«s«v                       ' a.


             IZZ&AjfonaoAvanue. Corel                                                                                                                                         sjoo,d§o.od'
             lijl'iDD'iillOT'^ad. Qmp                                        FL ~T                                                                                                scjOLCwaco
             32370?^^ Shorsa Drive, fes^am&tatfa FL.                                                                                                                           zmmmM
             COMTINISD ON PAtSE TWO


                                                                                                   PARTCVUI/lBILISTtEX ‘                                                              ?
                                                                                                                                                                                      ♦
             liABitrriES m mcsss of $1.®m mt tebacsioisa ea                                            4^
                    ■ -,.      ....         HAMSAUBAaBSESSOFCRSBllOR                                                                                                           AMOyriT OF
             WNE-O-                                                                                                                                                            ■•O*
                                                                                                                         1

                                                                                                                                                                                ■sr




                                           tasiuttEs not Msmsmo ab©*^--
                                      : HAra«0 AOBSiSS OF CRSMTtR                                                                                                              AS!08NTOPUA»JTt
                                                                                      *.                                                                                      . .0-

1                                                                                                                                 4.
    «   ^
                                      iS.
             XMfCm e-                       JSsnoTA X                                                                 sowers’««)#-'■                                                                  ■ .■ F«5F •<
                                                                                  I
                                                                                  I




                                                                   ».    .


                  IT




                       •i.                                        .1

                                                                                                                I
                                                                                                                                             I                                        f
                                                                                                                                                                                      k
                USCA11 Case: 24-13671                        Document: 13                       Date Filed: 12/05/2024                   Page: 241 of 723
                                                                                                                                                                   ; &<k3l
                        A


                                                   CONFIDENTIAL                                                                          EA.           p#. I
                   f01M«                           FULL Am POILIC PISCMJSlim                                                                           2117
                 <i*!»TOfc wwy «asaj^   p!*aN»feato»|     OF FIMAmcIAL IMTIMESTS                                                    roRomcE

                                                                                      •V

                    <5e la O'              r-ji9uel.                                                                             ^HL>n(
                     73             Flagler Strett, ROM imi                                                                 PROCESSED
                                                                                                                                     RfiE«
                  fflrv;                                IIP-
                                                                                                                              WiSWI'WBWa
                   aiami                                 1iI30'                    Hiarai-Dsd^ '                                   WS4»
                                                                       t
                  liAKg OF WFKS m posiiw HCLO «                                   —«™—                                           RECE^D
                     Circuit Judge — iiA-Jwalclal Circuit.
I           9


                  OKW^iFTIlJS!S*5*IL»OSV’AC«4ES>ATg -Q                                                                                                 A
    «   w

                                                                                                         m
                                                               $
                                                                               F«fh-KEt WPEFE
                                                             ' I
                 PtesB««erttev«feaof^sirrtei»6fft»^Pa5@n5ter3t,26i?or»fn0»a«ftliate.                                                    l««rthi®«**«!-.
                 wla«f fcf ®u«i«ln9fear rep!W«r tiaUftiiw fem par                                assets. B0-ple«e             if* mOmAim m page 3.|:,
                            iiy R^:worth a® 'of Peceaibor ii                        m 17 waas 3,2;>i,4g3.5S

                                                                                                                       a»                 i
                                                                                mirfB-ASSETS

                                                             te            ^               S'                •siSite tt&afe        Ws          rislii arty rfii«
                   tar^liiap.Wu-%;mm twste^a Rwg;t^-Ht ystSflte » ftaattMum- mtKMwf OMomn^                                                       . «»prFW« met
                   m              Wit*ef _«y tesssKsMsw*«                                                           SIOO.OQO.QO                               I




                                                                                                 1

                                                                                  fe«p3tew}-g«ri<tttoega>w.&4t                                »Ay;8&i»Ai8gr
                 lioiM residence                                                                                                        $2.-300.000.00
                 laieriTrgdie CSiaple IM.)                                                                                                   $500,000.00
                  COBteercial Hoidingg                                                                                                       $231,003.23
                 "^ri’Txade CfcrsSiRf aeecmstl                                                                                               $ 11,Otic..14
1           *

                                                                           PAiTC-UAWyT|ES
    t   V        mBmrm m i^«s» w m.e»^mmtstksm m^
                                                   m crnprm                                              6                              . «owM<jr«AeiUTif
                  Citibank: Ifgme Credit Line lf$30&.00C».OQ secured by re-si                                                           f)                  -0-
                  M/A
                  S/A«

                -®»r         sw««.tjswiwwss mr(mmm&-ABmmi
                                                                                                                                         ja^wi^TOp twmiry
                 K/A .
                 M/A          i                                                                                 I
                                                                                      i
                 W7W                                                                                                                               X
                                                                           r

                                                                                                                                                              t



                                                                                                 I




                                                                       a

                                                                   b
                                                         9


1                                                                                                    I                                                 i*
                USCA11 Case: 24-13671                                                Document: 13             Date Filed: 12/05/2024                  Page: 242 of 723                         6<hZb
                                                                                                                                                           ExkJ                            ft.
                                                                                         &
                                                                                                 vmi-m-mmmt                                           »
                                                                                                                                                                       ■I



I                 mmimsf^mm,os th*i» iKji^as r«at »»fnsnfetei osatim m Ojw^te»v
    •   w
                  ^                    5^L??                                             ter retort tm^«■<;?«. f)&^ua^,«} mMtmiA
                           '“”                ' 2a'!7twiiu^.ysierie«3wtf««3j>fe&jte*BiBsiirt)^<i«Pjat'oi',
                                                                                     t
                  pfmmi mumm m t^^i® {s» k^ec.»m k pm& «;
                  ■JBMg.PlSaJSS PPir«n«EX€REDatS^i,p»                                                       iiif^Mig-SSjeg .OP                                                         .   •


                   State of florida •                                                                                                                      WWfTSWM
                                                                 Uma
                                                                                                                                                            "$TOWTOT
                   C         ie.nai.aJ—Ito..1
            *

                  seceSBArerSOUimsS of IIC?»EptoJ«r«^^om«,                                                               6^
                          . . : J«!iE d(F „■ .                          NAMEOrmtOR
                          gi^jBSSgfgtTY                              ft  opsusaess-i               m     •i
                                                                                                                         ACfiRESS
                                                                                                                         cpsotmcs                    ■ AgrWTV-^4
                                                                                                                                                      pmicmL Btiswisi'
                                                                                                                                                                    mup^ .

                                                                                                        T
                                                                                                                                                                T

                                                                                             !
                                                           wmm m - mfEmsfs in spEeirsD sksiwesses pKA*>«ite « |b®? q                                                               i
                                                           __        sos;*ssa(tTy<('t                         wsiNftejpTrrvsta
                  tmwm<
                  eusKESswrry
                  ADDRESS

                  WNCtPAL
                  Amtvnv
                  msm&Mlia*
                  lf»«NP40RSTmJ'JA                                                       4
                  ItffgiffiWtl IHE
                               - - -                IBSS
                                                                              fcjF
                 Hffiiop
I           9
                 Cfi>^f®»s3»e

    •   k
                                                                                                 PAlTr-T»AfNWG-
                                                For sites r«i«ip« le ^mplete mum\ othies IfEwFrg pufeuaat io s©akw 112.3142* F.S,
                                                   □ ieSRnFlftmTlHAVECOmgE& we REOUI® TRAIWm

                         t
                                            ^       OATH
                  S. flirt j®f,5«» v*n 5c name epR«m M fte                                         gwiwi»(Of afcwsci sTfS istsiwifififl Kfe'rtjo B» ms 3-0     da^rf
                                       Itis Srip. Os-i(l£aK»i«» cj* er                               April-                2B 13    jy     Sara      Kate  , Kas
                  *mf                     W56rw8»» rf«ate!«j             im itefl

                  sndeoffite                    /
                                                                                                       Sara mte Maf ' ^                                                     AiaA

                                                                                                   (PwfrtjPTl^sSiioSiiM^Si^                        MW Wfie r sw^ u ptesfei
                                                                                                                     X                                          #
                                                                                                   PcfWfiaBriTrtww

                 _^Mn{sg p                                     omaSi cw                            ryAoonsswifeatiossftoaiwg
                 If «s eew^oidi w6Je aecmwiafit »«*««te»^ iu«4er CfliBStef472*-«r                      wym               m        Sft« rT»ida8*t     flatten lac¥o«,,t»«r
                 «te imist ssfnjfete tte                        sateaK;
                                                                                                    m«« Fcf» B'm m»mn» wfei aa it s«, 4 fx»«s Cwrnmtm, - '
                         1123544.                               IS, anO 856 lMifu«ftia »(!?«fsfin. UWm my t^swonaK# tea^Mge »«! S«s(, Sie iJiKteicrp f^raia fe |n#r ’ .■
                ■BfKjfifflSC!.


                                                                                         6
                                                                                                                                                       »


                                                                         •• •'. >■

I           9



    *   ^
                        gAP'OFFAmAIHROUeR £                                          |ilE dilfgilllCTi ON A SEPARATE BIErr, Pl.mm CmCK :"r. 1.:^ □
                ^ ^O^g.                             -f. t0i6
                                                                  fAS,                                                                                                      HRHWX'
                                                                                     '   I                                                                                  ! '



                         I




                             ■<^                                    .s

                                   I                                                                                          1                                 f
                                                                                                                                                                ♦
                      §

                                                                                                                                                            £>ck.3(
            *
                 USCA11 Case: 24-13671              Document: 13                                Date Filed: 12/05/2024                      Page:J,243 of 723

                                         .6

                          I
                                                                                      1
                                                                                                                    i                               f
                                                                                                                                                    4
                     PESGRiPTiOM^QE'ASSET                       ■                                                       VALUE OF ASSET i
                     Cdmmerctal:Stock/Hol^lngsr LL€                                                                     $37.50aOO •'
                     Novb-MateftLC                                                                                      $35.005.00
                    Prornlssorv\Note'frorn- Pecfro Romerb.:                                           I
                                                                                                                        ■$35,000.00
                                                                                                                                                #
                                                                                                                        $7,000.00.
                    :. .Fai;inb:LLG .             .. .. . . ,                 . .,                ;                     .$10,00^00
                    : TransAmiBca- Life Jnsyranse’’PbliCT’Gi$h.Value                                                    $9.821.73;
                    ■Amentradist^OIK'rolloverT                                                                           $131v029j3
                    •iRdelily.Balarfeed'MutyaiTOnb.’'' ^ " '                                          r'"               -$33,570.10 ' *
J                   .MBNAMteHca Investment
                    [fctBbanfeghbcIctnq Account ■                              ,
                                                                                                  ^
                                                                                           .. . . "
                                                                                                                        '$5;082.63
                                                                                                                        ■$^.301v17 ■
    «   V

                    BIscover^Bs^ngs Act^unte ,                                       .-. , .; :                          '$72.117.88
                    ^2007^Tb#taif€amrvHvMci> . .                               .;       '. ~ ^                          isaooacMi . ■
                    '"2&l3::Hvijrid#Sbniai5Hiirid                     . V; .                                            :$0».OO         ■                       I

                                          (


                      i



            *




                                          . I

                          i
                                                                                       1
                                                                                                                    I                               f
                                                                                                                                                    ♦

                                                                      4


                                                                                                                                                        I


                                                                                                       I




                                                                                                                           «



                                                                  I
                                                                                                                                            »

                                                          b



i                                             e

                                                                                                            t
    *   w


                                                      »
                                                      1




                                          t


                      A



            fi




                                          .1

                          I
                                                                                       i
                                                                                                                    t                               t
                                                                                                                                                    4

                                                                      4


                                                                                                                                                        i


                                                                          I
                                                                                                       I




                                                                                                                           *




                                                                                                                                            4




I                                                                                                           t
                                                                                                                                                                    «


    «   V



                                                      »                                                         *
                                                      I
                                                              I
                                                                                                                                            ^   ’   I




                             UUNHUENTIAL
            USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024 Page: 244 of 723
                                                       PROCESSED
                                                                                                                                            mmmmBms
                                                                                                                                                    KW04II1I
                                                                                                                                                               £xU3
                 Form 4A,CNmIoskk id G»»,Ex|*«se fkimtwnNsnMiitx <»»•                         »i;4i «V«ivc«x of Fm and ClMirs«
I
                 AII>idiciri0<Wmi«fite rtth tk^rmk                             oo abict•^of ttpor.mt lilb.                             or       RECE IVED
                       ^        OwCfl^AU ). *«> l.l^6B(Z>
                                                   **^11** of lb* Corfc of loili«*l Cma^
                                                                   *>»:p««l<JBrifl4i        by 4molmdar
                                                                                    (hr pmwltag    rmmtd,
                                                                                                        y«s»dncription                ■{nfXrf.t
                                                                                                              « pmvidbdfwii»citMting tea,
                iM an^ym lor gifts Of^.                                  **'***^ feM.<»rteg« wer* ncintewd paid, w waivotf). soofco** riMiK.
                                                                            73 W. Flagler St, Room 140?, Miaisi, FL 3 3130
                i^iom*: Miguel M. de la o                          Work Addre**;

                WornTetepfcone; 305-349-7O7fi                      fwdicialOfficeH«4d: Circuit Judge


                                                                                                    1                                       f
                                                             DI^EJmON                           smjRCT,                       AMOLf*'Jr
                                TC
                  rrd^
                  7-25-2017                          Judicial’ lunclieoa               CABi".                          $105
                      TTJfT-i'd'Pf                   wsrssrr^          ^oT^TcottTTIffiEES r’TfS"^
                       TFrafTT                       TSSSTTfation Gal* W7m

                oCheck here ifoonlted on septee site I

I               duriBt the ptwedwt caleiHto year.« reated bv Crntmt dAfU aid dB(3l af               c«i» pf (rvfeat

    *   V
                                                                                          t                                        4
                                                         .         oesciumoN                                             SOURCE
                             DATE            (bKite te*. ttetiiM, and puipoee of ewBii or Miivity
                                              tor twhich esrpobet, fee*, or rtegH were reimbamed.

                 4/3-7/2017
                 y22-2dj2Q17                [AJS Conference, hteotea FI                                     State^Florida
                                                                                    $57.38                State(rfFlorida .
                 7/21 -24/2017                                                                            State Of Rofida

                o Cheek here ifeoMtMacd on repaitaie xhee!                                          I                                       T
                                                                                                                                            ♦

               OATH


               Ceuri^^*°^dUfni - Dade                                                                                                                   I




               ,Mi0unl n. d« h
                                              puWic (mM «!((«ihis ditckirirre-Eateent, bemf, bexr duly                do depose oo o# and sey te
               die tocB >«( forth uf8«        I ittenent we (n«e. txttmo. md (aomptenr to die beit of my knowledge aod belief.

               (Sigitolure                      1)
                Sara fCe/te Mas                               W-3tr ^                                       *     eh

               (SjgMmnt orOfftecr Anduriaml lo AftminisKr Qnh*)                                          MAAKAnilAS           ►

                                                                                                 WrtiryPuttie-sawolftoiM* ,
I              My CommiHioii expiiw          •                                                     CommlMtoa # ft 203553       ^
               Sworn to end mbecfibni before media                                               My CBBim. Ewte F*h 2S. MIS
                                                                                                 awcMtfwudiihdoWiWwtomJf
                      30            deyof    April »t                                                   -. ») w m m m i»"<
                                                                    20
                                                               T
               Wia (««imMAUe* «• CWHV e).

                  i




                                              ?♦

                                                                                I
                                                                                                    1                                       f
                                                                                                                                            ♦



                                                                                                                                                        I
                                                                                                                                                                                          a



                       USCA11 Case: 24-13671                                            Document: 13                            Date Filed: 12/05/2024                                Page: 245 of 723
                                                                           I

                                         I
                                                                                                                           I
                                                                                                                                                        I                                          f
                                                                                                                                                                                                   ♦

                                                                               •,                                   'ri!fTf!l»;rif|T COWrrpF.THEryf/P.^tii                                                                         T
                                                                                    .Cj&CtteL CfRtUri'IM                         FOS                        C:(WM'if,ROi»f|J’                                      p

                                                                                                                               crvitACTLi^s
                                                                                                                ?
                                                                                                                                  1
                                                              mmmMm                         ■
                                                             fikimim:

                                                             Ifc
                 I,
                                                                                                        a
                                                             r41l.KWBlJ5^                       h
                                                                                                                                                                                  '   •

                                                                                    f


I
                                                                                        »                                                           »
                                                                                                                                                                                                           I
                                                                           mum i4r mpmxifmmMmm tc
    I
                                                                       ms&jjimn.                                           c<jwai€i0P,rnmmsja» wsatk his ^
                               «


                           :



                               .V
                                                            ^ :i!.*n?y r Qv,’ FdACR wp
                                                            A4J p&T|A«Koa        fi Piillastj Pr.jijricUiK}«s«fe.jrFijj5f}Sal Iftlt-rcsts is.’-
                                                            mm U;S dmm                        k%- -i 4n\ng        »w/,'. <;
                                                          . Mping    I(. m&c-mmtf»thu ft#«tj              imnr/^fcr.rbslnftasc tafc*«                                                              f
                                                                                                                                                                                                   ♦


                                                           r a^ag
                                                  ■ ‘ ,K®m fe                                           Wp-.JBd tkiem mwiej BApllCasgten l« fi« F0»
                                                                                                         %Wt* RATJoSSSr.-|R                      ImisB6.WQM^S
                                                                                                                                                         F^-,a                                                     t


                                                                                                                        mNlKffejLaapd,.«4l ?4s>Raf< SlAPlLIFf is                                                           *

                                                        .. ysg«Pt®EF.«.v.fci>,,i«rtrjsBAXLti8rMJsaAK«gmi..E{ht4jnKy5Ea'^lTilsa’.-; •
                                                           torn frtuVf/v V/kich UMm mr Conflict «fIfife.'fsE a.^fe.nst m and thcfr*? rnore.Hm L
                                                            I also     fyTOtlthitoisrCM w« <F>w»rtt*d tr>y8B Is ifc Pool50 FK4^e                                                                                       I
                                                            RlF'MWPIITOftsui wujsri';. «(?<> yoiJ;i^*SU^,                             *                           ■*         ':
                                                                                                        I

                                                                                                k
                                                                                    #


J                9



    «   *>
                                                                                                                                                      mzm.mvmDR.
                                                                                        »                                                           » «Mr4irL:L1i«i’
                                                                                        '           I
                                                                                                                                                                                                                               e

                                                                       «


                               A




                                    •S                                .1                                                                                                                                       1



                                         «                                                                                                              I                                          f
                                                                                                                                                                                                   ♦

                                                                                                            «


                                                                                                                                                                                                                   I
                      •j

                                                                                                                                              '!:
                                                                                                                                                                                                                           0

                                                                                                                                                                       hX-                    4»
                                                                                                                                                                                                                                       A




                 »
                                                  mm;:                                                  1
             »
                                             •   '.S'
                                                                                                                                                                                      I

                                                                                                A

I                                                        • s/S^l
                                                                                                                                          t                                                            t




                                                                                        »                                                           t


                                                                                        '           I
            USCA11 Case: 24-13671                           Document: 13                      Date Filed: 12/05/2024          Page: 246 of 723 BxhSl

i               FORMS
                                                                    .CONFPEWTIAL
                                                       FULl,ANB PUBLIC DISCLOSURE                                                             ‘2017
    A   V
             »tia5«              OSKRff. tSfSlBfflg
             amiim,jawKjt n-tm,aaissma^n basfw;            C{F FINANCIAL INTERESTS                                     »ltOTOS use tIMLt;
            ""Iast K»JE~SfiT'»» w,Miwii'MSte 1
            -BgSyiL..THO»AS JUiJAM                                                                                                  m >if
               73'^Jesi F^agter Street                          .
               Roont 800                                                                                              ft
              CITY;                                      /IP:                 .COWITY..
                                                                                                                                OiOTCS
                                                      '‘ 33130 .               Miami Dadfe^'
              WWEOTAesuCY, ',
                                                                                       1
                                                                                                                     W'iia» f
             Jfeygnth Judicial Ckcoit State of FJofida
              Mft^KCr OPflcECR PQgiHQKHPm'ng                                                                         BiCaVffi
               Cimiit ■lodge
              cmcK IF THism A p^jtm BY fi,Cfim-.zf<rE               Q
                                                                                                                 ilQCESSED
                                                                             ■MKTA.-Ki:T.WOE-ni

                        T ywir/o>|*?#sd Jiatelitesjrsm
             m\m& by »l)rfacliBg                   D^cerpte
                                                       youi 31.2617 cra rmkptea
                                                                            ernmsw4^.
                                                                                   m pote.  lf«j o« fe „d:af.
                                                                                      mstesMofts        3-1
                      My r<gt 'Mam as of              Decemtes 31
                                                                                  ..        —1I.„ W5 5 _55SJCILfil
1
                                                                               rAR? B-Assrrs
             weusffiCLs 6OO0S ma pBosomi cppscfe:                                                    6




                                 ^
                                 c»Br!»«®Ws3 jism ®r^m^, aa‘««fvs   « ws.
                                                          fe sjefsixrol stoiss, sw.cwml
                                                                            ».S.f3Br trd «F«s(7wiio
                                                                                          ®; teased. twss,« cams. «aw*«mu K{up«w
                                                                                                                          tstBipsi «
                                                                                                                                   as#'
               Thr- .i#^r«gd« w!w orisy tmnmm gueds: ^-'td pcsssr^s £?«& rMst^ited spwe),»t 71^*1 ffflA na>
            •*»»®IW5!Wt»f;LY¥ALUiBATOVBR S1,SW; .
                                                  45^EI:.{spa<^c<teg^|rttetis.MwfeSij-.«8ftj^tBi8^»»

                                                                                                                            Mm.
            £larla&.Bclii>yab.fRA                                                      4-
                                                                                                         I   .
                                                                                                                                             i7 7FI-


             cm IRA
            . Northwest- Mutoai-Life Insurartce
                                                                        , RWC-LIABHlmES                                             46,335'JS-^
            WA®IUfi£S SI exPEM O? $f^S^Sw iniJtruelKin* a* paj® 4J:
                           ?{AS5E ANO »BR£SS OF Cf?£SOOR
                                                                                                                               ASOO.WOF msiaiY^
                      ns          ■1                  iMiSM-Qi:.,. . .IgwisMillfc XX                                        MLmM.
                                                                        4-
                                                                                                                           ■.■«■■




J           .iraMT AMD sefflf» iiABaifiBs mr wspsmm^ mOM&                                                                                     T

                           Mmsm9AmRm& of vmcnon                                                                            ?' «^UH-TQr LIAMLCrY-.
                                                                f




                                                                                       I
                                                                                                                                         ♦



                                                                                                                                                       J




                                                                                               I
                     USCA11 Case: 24-13671
                                  &                                                              Document: 13                               Date Filed: 12/05/2024                                      Page: 247 of 723
            >



                                  ''                                                                                  P^ETO-IJ^COME                                                                                                          &(h.3]
                     ,           «ij5                ^etxcit smS zmoatAsftrt-ssntfr pth'iii^^4^0$St,PX}aujrojtte yKr,im&ntnss w»’'fMmst wmwsct rwme.Of                                                                      a        ■
                         «>p^ ofjw 2l!tT <s«!(ira?'iwwW te                                irr^inSitg.si'i'Sa, ssdioiaira. B«! ateitescrte. f5«J5®                                 >5'V        WsSJ®# or.aasur.rffc>ti&®fS.Sttffii* ,^
                         sftBiSaBfr-fSKoreiana;,,®: m&<s!w                          {W« ■tfw.aeBln ft ® fwMio !|!iB C^.itJsssskw’swSlsJpSB                                                                         4
                         O                                             331? %Ji!iFSi hMMt 5s* Este .rj>^ ®i ^a, iitecAi,. tii                                    steftraptej.
                                 P yoy           8*» boss araS attssa a tSSjSr a? J’Sjt                                    fsfun, ycu         nj^                          JSwiWfr S Paft-D,}
                                                                                                                                                                                                                                I
                         We»WS«}RCR$ 0? J«e0fl2|Si!6 bstaeBasson p» Sp.
                            iww er soyRcegF»iC&¥g ec<;eED'.>ii^$i.c» .'                                                                   A0Srs:g? or gDURHCE Of .-Ngw/C                                               Amm^.

                           State of Florida                                                                                                                                                                  ieCi.688.60-                             i




                               UnivafsiP/ of Mlaimi                                                                  Coral Gables, FL                                                                             8,700.00
                         SiCONOftFW SOTRGSSW Iffeowe psJSf »15rn«s, denfc.                                                       of tesa#»«&                    &^«jwto5 ^rK»-wsa*tri!*lteir& m
                                                                                                                                                               - A0WES5                                           sp&^ficss ■
                                     WVS'CF                                              ?»&'£ Op                    SOURCES
                                  eosKascwrrfY                                           ^ 55.B!ySir«»WECM£ .                                                   Pi SODHQg                               ACtiVEIV O? SOURCE



I           m    -


                                                                                                                                                    t
    «   %


                                                                 PAiar £ frfTE|lSTS IJV SPSafilO il'’SKESSgS [fsKni«p:p» fin
                                                                                                                   '«1:=                     8tm^iiS£*jTry#2
                         WWEQF
                         aJSICSSCMTITi                             ,     HiA
                         mnmmo?
                         ajs-’»iefeg«Tiw
                         vamCiMUl'J&^SSS
            *

                         POailEWHBUS
                         MaSI2I
                     ■ \msimmwr»mAm
                                                                               . t
                         ifJtKBSlJ !N 1W6 iUSiHSK
                         ftfiURSorw
                                                                                                                                                                      I
                         CWE^tFIKTFRiST-                                                                                             I


                                                                                '           '■       ^ '       .       PAm*F<-TRAiMK€
                                                For oSicw requsMd to cc^rtsiele mms\ 5th»« trastfrig purscsaBt to ssciion 1i:L3t42, P.S.                                                                                        I

                                                                                                                                                        -THE REQUIRS) TRAINING-
                                                                                                                                                                                                                                         .



                                                                                                                              $TMEQ¥m.mmpt
                                                           OATH                                                               pB&sriYOB,/JY.. \Vv;                                             \



                          l.mppejimn steBsenwi'.# ap#«-« M ifY:                                                                Srt4»» 10 Cor nltoiiwl^ aril 5tiitscf.ia;S Miwtit m« Ma                 zM^         m

                          &(^nr4ri§ erf rfi.$ Ssan. Sa tfe^swe ■!« C4tb ■cm’ uWam^itri
                          «S say ifsaft itat »Jifa8«a{iCE5          cm Ks ftxrx      t
                                                                                                                                            “W_ Cj-3—c—,
                                 »%■
                                                                                                                               ts^aiiiorffcaty PaSi^^^ioTFuw&o
J                                                          »l f-'S^PaSBe-Stattofnadste
                                                                                                                               {;FJine.       Of
                                                                                                                                                                r<x,. NfieArsu
    *   V
                                                      W                                              >«|v^f9F                  Ptesanafiy KfW«i                   ,             UR    R-5cS8c«c »!}!r-i>5o*li»i

                                              oFi®oKtiSs’o?Flc(AL%SSvN&®W                                                      %fa or WereSrafiBrt Pwrfu?.                es%




                          tf S            WSrfO wwBJant 'CBiajsd artme Chapter 4'?3>, ctr ptlcmsf ir. goosJ ssa-lcJ^ WilJ! t!>? ESerKi? 6ar praparKl                                                          Soim lijryrai. I« ®C
                         sha ns!^ camjsCd^Kt^^feirswfr^.sSlsffie!*
                         '€             ■ ■   .     ■                «ie CE Fww 8 in iEoarsartw wife AR », Sss; e, Rwiesa s>.r!sg&iUtxi,
            fi            SgSkjw nzJJwTiSisSciSIWSTSS^fe^fe® fcfcfi Up««si’/sssKlns.^to«S!!igeaftci&4IIS1. discfcyjr® t/itij-o
                          sii^wsd.                     '     ■          '■"■         ■           '    "■' '                                                                     ' ■



                                          *      ■                                                     *                             |                  . ■■          1                            OstB- .         •
                          Pfcpannkm oPlfeh fono hy a CPA erattorney' aptg» urei tto of ^g..3:gigagWt«tyJojga_tfc£fs£rej*^er^»
                              IF AOT m Mists A TJimoeGH E Am €mjimmi on a semraie siieit, wj:ase check hkke Q, .;
                         Seg          ^         tmm 12^*7
                                                                                                                                              J
                                                                                                                                                                                                                                         #




                                                                                                                                                                                                                                             1




                                                                                                           g

                                                                                                       b
                                                                                            9



i                                                                                                                                                   \                                                                   t
                                                                                                                                                                               I

                USCA11 Case: 24-13671                              Document: 13                          Date Filed: 12/05/2024                          Page: 248fLcm
                                                                                                                                                                   of 723
                                                                                                                                                              pm                   mmm-
                     ■.F^m4A.                    afCsfe»;is^««!':fen86»rtesa8n& #r f$.fmmis4 aod Waivtrs at F®m                                     Cter|«                   jiioi lii
                                                                                                                                                                                           >•1-

                      Ali jadfcwl otticos TOst iff Is with dK Horiik ComiBSsfoa aa friiics a l,st or »ll repwobte                             reintburscmwis c--' <5’re«bej?c
                      pymcnts ofexpfsb, ami vrmv^n of fes or^rgss swpied dunngfe fRswdife cafsMijt year                                                      m < s> .
                      afelBlMfel CSfiSiJdilJ.                   ClttaiilMS             *K Cofe of Mieial CorstfHst, hj/ da» re«iwd, 4M,erip%t I iaeLdJiiii dates,;. ”
                      Io<atio»,         p«rpi}5««?fwras orairfj<f}t) |:r ’(Vblchcscperwcs, fee, crcliafga hcw n!tni|itirjs<l,pld, or»w<;d). j?JMrs;e’s- nass,
I                     »«!? r^Twmt forgifis s«^.

                                                                                                                                                                   . 1^^1311 m-
                                                                                                                                                                             .Q ■
                                                                                                              t
                                   Tl^omas J. Rebulj                            _ W8if^ Aiags:':a^g,lfJaaler,.S.t....,.SrgM^^^^
                                                                        »                                           *                                                              T2£'
                      Wftfl Tafcpaa«;                                           ^ fedklal Office Held- Circuit Judge-
                      I.         Please fcsify ail Kppri^ls-Je^fts you rfiossired dariif:tlw'PR<wiifa| eatedaJ'jsif,® s^aky% C»tta                                                 lira:
                                    aid feSfiie*? {Jwroeb of ftidEcfoi CaodMO.
                                   as
                                                                                                                                          BfS
                                                                                                                                                                                   n
                                                                                                                                                                                   m
                                                                    . msemyrmif::                                    SOURCE' '                            AMOtJNT
                                      BATK
                                                                                                                                       J
                           G:           mi                      EMA-ljaslaB^Qn
                               07,25>2&17                                                                                                                        f
                          "IoSmoi?
                          ,^..2^7-2017
                         12-0^2017                    I'nstaltetiort Gate                                                                            mm
                 ;    n CJt«k here ircon-tsmss-rf m ^cprair s4ea ■
                     2.         Pi&aK ifeiiBfy aft n*pa«shb nsirtiSurwrtittHls orditwt pysaiay cf repeases, and N?aivm af fes m thM^as ym ttmmi
                                 the p^4m^ efer-iisr yesr, r® rsgKi                       rut4 fist'} of&eCoJB c-fJudkfal CoofceL


                                                                            '   ■» OESCRJFnON
                                    DATE                 lltisffiiJs daJ^ teeasliszi, at.d pErpo^ of c’/ets orastiwily
                                                          &f ^a&h rapeasts, fesi, or diai^ %-s« ««t»bawf4,
J                                                        2ss;i^
                                                                          paii, arwate
    «   V
                           Qefi3/47         •            Presenter in D.C. NACM & lACA                                          BalsntfeCsoMifcLSlalMMi fa
                                                                                                                    ¥




                     ■n Cbtck l<e« tfva«»^»aci ■an sapw* ^liwi

                     OATH
                     SWiQ®rFiorida
                     Countvor<^><^<-             ^ ^ r? %'
                                                                                                                          1                                      ?
                     I.                           ,,*S|wWfc sffical fi5iii|,<b»4isdoi:w«5feiteTOPt,l»»Jgl>»?&5iyr,«j».doL:sp{»,o(i«:Ei aiai»y: !iil*. :
                     *%oS®t5AJtS' &«)»;!« Ae at^HKS «                               ^ KOCTSt,-T-r>d romjjlsre »the b(»-t rt!y fcfiuwkiijgs aitil fetslteft
                                                                                                                                                                               i


                     pi|»a?Brc ®rRefWfting OITicsalJ


                     pignstiira afOfRw AWEfcoiiaJ M Admktstcrttite}                                 li              If,               ^'281550 II,
                     litly rotaWMSsloitg^sirigs - -■ ■     - -- ■ ■ ■                                                                               wn
                     Swore toapd ssteritad feefere                              u                                                         .   « *



                                                                                             A3
I           #


                                                                                                              t                                                         i>
    *   w



                                                                        I



                           i




                                                          . I
                                                                                     b



     I            m


                                 USCA11 Case: 24-13671
                                                                         o


                                                                                 Document: 13               Date Filed: 12/05/2024            Page: 249 of 723
         *   fc



                                                                                 r
                                                                                 I


                                                                                                  Affidawt
                                                                     a


                                      «




                                                                 I



                                              I                                                                                                    f
                                                                                          A WrimSSS             eXHfSiTiSvA TBBQli€M-26,AtL
                                                            'AMimZ COPIES CF‘EXHfei?S M4D ¥O.DR Mdtid»'f%'i?ECOSAl OF
                                                                JUDGE WRONiCAOIAZ.                              I



                                                                                                                                                                     J




                                                                                          a           SiGMSO;
                                                                                                                                              I


                                                                             f       <■                             MACK Wilts
     I                                                                                                              l$02QS.RJVme^-.                     t




                                                                                 »                                  MIA?^f>LA,33|6?'
                                                                                 ’        I
                                                                                                                                                                 0

                                                                     Q



                                    . ‘

                      fi ■ ■ -
                                                          »iii b.                                 fOl@|feO"WjS.i||lEB mmmf ^           fctACK wells is..
                                                            t

                                                  -WHO SlSM.EEEOEf aiE OH THiS 17^ DAY OF JUIT/IOS WlliCH#E0WCiBFtOEiP#.
                                              '                                                                                                    f♦




                                                    ■=■   cf'L^y^                                               I


                                                                                                                                                                     4




                  0
                                                                                              t




     I            9
                                                                             f
                                                                                     b
                                                                                                  fei
                                                                                                                     t                                  t




                                                                                                                         *




                                                                                                                                                                 0

                                                                     t


                                      A   ’



                      *




s/                                                                   .ft

                                              I
                                                                                                        1
                                                                                                                             i                     ?♦
                                                                                                            I




                                                                                                                                                                     J
                     IN THE CIRCUIT COURT Oh THE ELEVENTH JUDICIAL CIRCUIT
USCA11 Case: 24-13671             Document: 13           Date Filed: 12/05/2024             IN AND
                                                                                          Page: 250FOR
                                                                                                    of 723
                                     MIAMI DADE COUNTY FLORIDA CIVIL AQION                                 - $<13Z
         U.S. RANK. NA nO\Al. ASStXlATION
        AS TRl'STT-F KOR R.a$C
        :005.AAHL3.

         PlainiifT



        V.
                                                                       CASE NO:2010-(>]<>:8-CAOI

        MACK Whl.LS



        Defendant..




   LY*IilA   N ANP ATFIpAyir TgR RftlfF, RKVSAL and reconsider her order and RFVPftT
                            BIvacating Hffl QRPER AND MEMORANDIJM op LAW



   PuTMiant to norida Suu. 112.131, Florida Rule 2.160(Hi and Kedcrai Rules ofCivil Procedure Rule 60.
   PlaintilTM.ACK Wf-LLS beretn Hies this Motion for Relief & Recusal and Supporting Memorandum
   regarding tbe_Vivianne Del Rio 0SO4/2022
                                               review of djc record and Final Judganen Order. Kxh Il9based OR
   the following faav nci. inlormation.just terras,judicial misconduct trauduJem grounds and discovered
   conflict of personal investment interests on Financial Disclosures of Judges and officers of thi s Cinm (Exhibit
   Qi_l Attached- L.S. B.AKK Special Situation Property Funds Account Paee 42
                                                                               ■ IfRS20IS Tables9.IV Sl-Y
   1 Umgs IJ.S. B.ANK Flonda Subsidiaries. Judge Alan Fine Financial Fmcrests4
                                                                                     Property- Disclosures).




                                                                      LI60 tPi /n             ««           Y


  Judge Wvianne Od Rio must Recuse berseP for an open obvious Conflia of Interest because she's doing

  business with US Bank and helping them to make money so that she can make money by foreclosing and
USCA11 Case: 24-13671             Document: 13           Date Filed: 12/05/2024             Page: 251 of 723
                                                                                                             G<1,.S2:
    .aKifig I.^te.-’lingi our property while actin!- ps the Judge on the case on our property, not on cnee's Merits but
    ror to make her and them money IliegallY- Here's proof: In her Form 6 Affidavit Oath from Tailahassee called
    fulimdpublic disclosure of FlMAf>:aAI



    2. Lorm S for 2015 on line 2., Exh. 0.She got $750,215.00 with FRS which fs Financed by the SBA.
    Exh. 1. which is U.S. Sank, Exh. 2.

    3.forni6for20iy Exh.(0). On line 3she got,$15,'?03.00 and on line 4she got $5,601. doing
    business with AIG which is J.P. Morgan, Exh. 6,6A,6B,6C,6D,6E,6F,iP Morgan which is U.S.
    Bancorp, Exh.4,19. And U.S. Bancorp is U.S. Bank Exh. 5 and SB.



   And on her 2020 ^o^m 6 Fuli and Public Disciosurc of Financial Interest In 2020 on line 2.
   E.xh. 0. Line 2. She got $943,141.00 with FRS which is Financed fay the SBA. Exh. 1. which is U.S.
   Bank, Exh. 2.

   3. Exh.(0). On line 3she got, $15,403.00 and on line 4she got $5,691. doing business with A!G
   which is J.P. Ivlorgan, Exh. G, 6A,53, 6C.6D,6E,6F, JP Morgan which is U.S. Bancorp, Exh.4,
   19. And U.S. Bancorp is U.S. Bank Exh. 5 and 5B.

   4. Exh.(0). And on line 4she has $44,000 with E-Trade Which is MorBan Stanley Exh.3,.-^nd
   Morgan Stanley is J.P. Morgan, Exh.87 and Exh. 118,118A, 118B,118C and USD Page l and
  Page 2. which is U.S. Bar>corp,(£xb.4. ig).:And U.S. Ba.ncorp is U.S. Bank Exh. 5 and 5B.
                                                                                                                                    ■           ']     ;                                                                                     32
                                                                                                                                                                                                                                             V




I
    USCA11 Case: 24-13671                                       Document: 13                                            Date Filed: 12/05/2024                               Page: 252 of 723
                                                                                                                                                                                    Exh/bft 0
           FORM 6                                                       KI LL and Pl'BLiC DISCLOSURE                                                                                                        f


           •arrtw. *3C-.C7 r;i3s, tW
                                                           C<. c^
                                                                                Of ^■l^-\^C!AL INTERESTS                                                                      r.CR OFFjCS lESE ONE''-
                   ’             _ f

                d gj                                                                                                                                              •TD
            '.■•■i!;-.C. ACC

                                                                                                                                                                  CXv ;
                                                                                                                                                                  o
                                                                                                                                                                            Jvl ' :
                                                                                                                                                                           ■:■ lO/I
                                                                                                                                                                  m
         n                                                                                                           IV r V
                                                                                                                                                                                                                                         j

                                                                                                                                                                  Crt
                                                                                                                                                                  CO REC-
                                                                                                                                                                        c iVEO
                                                                                                                                                                  m
                       c^' -2,: C.
                                                u
                                              P’Z
                                                                                                    Onjjii
                                                QirOui^                                             i ti^
            ZM.CK -K -n-h; rs A - T INC 5T A rvg:-i:TE                                      □
                                                                                                                                                                        I


                                                                                                      PARV a-NFJ \%oktji
                   4rt.rf !r,e .3'j-S O! vcur -.s: -.v 5:7h 33 D*;eJTir.er o 1 CMC cr a .Tiorc G ■
                                                                                                   •■eci! cjs;-: imoae vc! v.-ch-:.-! r:;- , .
           Gi-aied Di- j;i,-rc-a-::::>5 .-d^- .7.;;-,  Lsr-; :.a'. fra-n ycu-y'C^f.-rc^r  5C pbilic 7va<? t^sirucns^.s PECO J •
                       ;%'y Me: i.vc::C 55 of
                                                              iz€ii££isj(?3g2l3!:.. 2020 . v,'33 s

                                                                                                             tnRi S-ANS£5:a
          HOCSEKClJ CCCCS ARC PEKSOMAL CFi^ECES-                                                                                                                                                                                     I

            H-fji-sAisi 5i:,e-5 jE- :e'!.'_'!.ii elf;                   .? j>v C'j              ' f-; r; J             t'                 c
            ■•Kcw-tsj li <■■« n“i- (;            trr.dsr.T'^'T.' ci;                                                                                                                           •V rc
                                                                                        •r-’A’c'*                   ** C' c-:i-     a         ir'C •-*’^5■•-
                                                                                r
                                                                                                                    •••'-T -.Ci'   ni'JtuT >«:.ncO Cy .rz.'
                                                                                                                                                                                                                                 i
            T’ o                     '.v'v-' ' ■ rr; htrj^:cr.:»i        ■-J.             r.'--.->j v'v

          aSilTTii tN-OAIDUALLY VALDED Af CVER tl.to;-.
                          PEJCF;1R7,SW sr A53ET         .-!i-.<.-;-.rrljn 7; i«a-jirj.n - c»t                                                              p 4'                        I
                                                                                                                                                                                                ■/AlJ- or         i.


               ^                                i-jHMMVHHHHBII
                v"    ^^>a.~hreArne»-f4r P^c<iou<^                                                                                                                                 jjLf
                 A'X^
                                                        —           I               7          1      5-T“
               ■■ P'^’^rad^
                  fi                                                                                                                                   j/tf
                                                                                                    PAKI < - EiAisji rrff>
         UAEii HIES IN r-XOEM or j,,no3 !3cv Rt^evA-.icni o., ^,-.5, fr                                                                                                                                                      ;



                                 KAVr               APDRiSS yp C?30€TOR
                                                                                                                                                                                   ;       Atia^'.ST C" l. i>ih::




         JO-f-T ANU! SF.-HRAE LiAi-OEiriEE Kpr REfORTTO ADOv£
                      . have AND ADO<7r.tr. -OK CRESCleR                                                                                                                                                                 r
                                                                                                                                                                               :           AJ.;C'^'.V7 03    .D




                                                                                                                                                                                                                       - t

                                                                                                              i.(
                                                     .; •• i .-A-
USCA11 Case: 24-13671            Document: 13                      Date Filed: 12/05/2024 r Page:
                                                                                             1
                                                                                                  253 of 723
                                                                                                                 A
                                                                                                                      Exhibit 1
                               frs retire men! is the SBA                                                        X


                         ^ ■                                                                   V j
                Ai!                          . V,              crtignx           Vicc'       . ,!v      D?.' •




                The ;-]ond2'Ret:remenL System.(FRS) Fsns^op;
                Plan, also know;- ijK ine Deffned Bene^f
                                               i                                                                 {C


                one of the largest pubiic retire ■sent plan s' in the,     i I




                U.S. and comprises roughly three-quarters of:
                total assets under State Board of                                        •
                Administration (SBA) management.
                I-                 'w.-'iDonq.Corri   fpo- ■ FRS...
                                                                                                                                      I.



                FRS Pension Piari - Florida State Board of
                Administration- ■                      : ,

                                                      ©•               ■■-n-r
                                                                                             .e




                People also ask

               ■'.Vnat           oJ retire■'nerit ptarf is Fp.S?


               VVTipAwns'FSnriPa Ret'                 rent System?                                               K. ••




               ■' $ F.hS the sarrie a:s nOlk?


               VvTiet dop_3 ras.standircr ;n Sccia; Secunty?                                                                      I




                      aa * Qfrs retirement is ti                                                     . -y'




                                                             •a'
                                                           r'i “1




                                                                                                                           : I'
USCA11 Case: 24-13671      Document: 13         Date Filed: 12/05/2024         Page: 254 of 723
                                                                     Exhibit 2                    .52
                Key benefits; Loan aT.ounts up to $5 million.
                Additional S2 million direct funding by U.S.
                Bank {SBA 7(a) Pari Passu loan) Terms up to
                25 years.
                     4




                9 riRpsv wvyw usbarw-co^ • soa ■ocm
                Small Business Administration (SBA) Loans -
                US Bank

                                                                     a




                People also ask

                y/nere ooes SBA ge: .ts ^>n<ling?                             V




                vVhat bank oc«$ th#                                            V




                */V>)0                for SBA ioans?                          >✓




                Does the SBA work wth canks?


                                                                          •




                How to get a small business loan i U.S. BanA
                Ta be con-t.'iereri for ar> SBA oan. you need to aooiy for a '
                lonvantioni'        uode^ S3A guidwo^s with c^e of t'ys
                jfganaaijor * bawcrg sar-ers The SBA


               IP          'Www.asfeerK.con'.    ■til   ..



                Business Loans - US Sank
               v\*he(her you .•'eec a Quok -ctn. term io^ri SBA exoress ^oari c?r

                         • Qthe sba is financed by us bank
                 O
USCA11 Case: 24-13671   A.Document:
                           morgansT2niey.eom/v/
                                    13 Date Filed: 12/05/2024                Page:
                                                                             Exhfbit255
                                                                                    3  EvX,.l-Z-
                                                                                        of 723


                                        iv]organStan[ey                       Q




                            E*TRADE is now E*TRADE
                         from Morgan Staniey
                            ■ogsti^e', vv<? deavsr an ever r^^c■ e
                                 prehensjve suiio of iriyosdn% . "Ta;
                                I S;   cesn rr             ^rd :r vrs:^-^n
                            3dV!S0'rv ser^'c •3510 a 'A'icer fa   e of
                         cfients.


               SHARE THIS



                ^ in f


               Lots of choices, however you want to
               invest

               a'”RADEO^-^.'ers ?.           :^.rv cf soiL?:!on.£ 'or


                        0         ^                O      ■Q                 -t
                          w-4a

                                        ^iofosllegaichfoniciiecetti .
USCA11 Case: 24-13671              Document: 13          Date Filed: 12/05/2024               Page: 256 of 723
                         onrciDsl art-^c.unt pf3.20C% senior noies due
                         \n adaSon,'“Quirix compietoC a concjrrenl ler oc:
                         offer for any and al! cr' Hs Obtstandins 5.375% terror
                         notes due'2Cf22,6.375% senior rroies dbo 2023. snd
                         5.750% senior no-es due 202; yhicn were pe d far
                         wTOi llriQ pTOoeods ifroiYi the Gcfildf notes

                         Goldman Scohs ^ Co. LLC, BofA Seeuritis^, mo..
                         Ci6grou.o Gtodel '-/arKeta Ire.,, J.9. fd >r3a-n Sa^i^eS
                     >
                         LLC. Sarcisys Copitsi tnef. Kfofgan_S;ranley^Cc
                         LLC. WUFG Securides .A-riericas Inc ,?30 Caoial
                                                                           ;ca. inc-.
                          Mafsets. LLC. SM3C              Secunties An
                 I        TD Securities(USA)LlC. Deutscho Bank Se^-uritier.
                          Ino., iNG Financiai Markets LLC, Bf'F Fenba*..
             I
                          Securrjes Corp.,       SBC Securifes(USA)IrsP. Wizur.o
                          S.->cuitkos US.ALIC. V7eiis Farg* Seourities. LLC.
                          PNC Capitsi M^Kets LLCr Scotia Capitai (UF^A' inc ,
                 V—                    Ssnoorg^InvesLTiartts. inc. ars ai; -ns
                          jjnd6n<riTer5 involvad in tho offarinc
                           SpuTnb;. an .An^orlcan rTcUiSnarlcoal company
                           haadquariersd m RacK’ADC-d City, G?!ii<ornj3, -oneds;
                           mere:  - trtan S.500 compa’nics directiy to tHair
                           CLrstorr.sr5 snd partners inskie the ■-vorid's nrost
                           mtercc.nnecded data ce-nters. Today, dusiaesesi
                           lo'.’errvgs tb^; couinix inicrccnnectian p'stfcr’ri in 52
                           strasagic markets across the Amencas. As.-; Pacific,
                           curopa. the Middle Crsst and Afrfea.
                                                                                snors
                           Tne Do'^s Poik corpCfate teafn indudea ps
                            Aisn    F. DettWiderg (Pfehire) arxJ Fmily Rotens gne
                            ossocietes .Ali DeGoiia and Caitlin Moyies Oundsne.
                            RaiL'ier Rschei D. KteLnberg provided tek sev ee sno
                            associate J,. Tayior Arabian provirisd 1S40 At;. 2CviC3.
                                                                         r-.-      p.ji.H &
                            litVQiVeC l8S5f
                            1 A
                              6'-44
                                                                                      >>i       f       >
USCA11 Case: 24-13671          Document: 13                Date Filed: 12/05/2024               Page: 257 of 723

                                               m lisban                rs

                                                                                                    C               &KS'L

                         usbank                                                     U»     .




                         About U.S. Bank
                -jfrU.S. ^               {NYSE US8)is ibe.pareni compan/of L’.S. gank' •.
                /                             commeiWaJ teaks fn the UnHed States ana its ^
               j.^-nrSeSraei^, inc.. The company epenstte mere than 3,000                                       I
               I
               \
                         banKii^g asfices antf nearfy S.OOO ATWs. and provides a                                1
                ',       comprehensive ime ofter^king, brokerage, insorance. investmenj /
                                                                                                            I
                                                                     prodocte Co constrmar^,
                     ^^Qlg^ffessc-s and ins^tutions


                          fnvestnwnt products and se/vicBs are:

                                          'Not FOIC ensured • May Lose Vatuo •


                      ?=orU.S.S*nk:

                      ^ Equai Housing Lmcer. Credit predueJs are oiterod Uj. o s Bank ffelk./UL'
                      ^.S. B»ok SadoTal A$5ocifll.Qa Member FpiC. La-w^ittor^                       ^
                      U.S. Bank is not reopcojihlo for wd does oct.fiua'ante* the p«duc»
                                                                                           Services
                     CV poHorniante Cf U.s Baniccirp iirv-eumeiys.
                     For U,S. Bancorp invoctmonts:

                     tevoo6T,ont products and *o-.iK,= are av«iia£ie(hrouoS U S 6ar«v-
                                      maiitaiino name for 0,S. Barrcc^ InveaimerS^ £nc.. member
                     SKS6 endgJ2£,an Crtvosiment odvisar ana a brofcofgg,             (jf y_3
                     Qsneorp and ajfrfiaB crfLl.S. Bmv<.

                     Sack

                     E^pstjfe ins-^tirr

                     \
                                         o       u.i. tbartcorp
             X             V
                                                 en.\«TtioecSao(Tg
USCA11 Case: 24-13671              Document: 13               Date Filed: 12/05/2024                                    Page: 258 of 723
            ^            \V’rKlI’EDL'\


            B u.S. Bancorp                                                                               *.X

            ZjW^
                                                                                      Ksa3                     ?-j-.,              vf



            From Wikipedia, the free.encyclop»dia
                ii
                     US Bank'redirects here. For other uses, see B.ank of the
              United Stetes.
            U.S. Bancorp (stylized as us bancorp) is                                        U^Bkstoatp

            an American bank holding company                                ^[^bancorp
            based in yinneapoiiS; Minnesota, and
            incorporated In Delaware.^'^^ ft is the
            parent company of U.S. Bank National                            *




            Association,and is the fifth largest
            banking institution in the United
            StatesJ-’^ The company provides
            banking,investment mortgage,trust
            and payment services products to
           individuals, businesses, governirsental
           entities, and other financial institutions.                                                    a.




           AS of 2019, it had 3,106 branches and                                        U V.

                                                                                        '’--f

           4,842 automated teller machines,                                             *•51
                                                                                       • zty
                                                                                                  -'3:
                                                                                                   rrrrf«>f;



           primarily in the Wesiern and Midwestern
                                             .     ,                    hiitsDT

           United States.^ in 2023 it ranked 149th                                      m-vri


                                                                                        >syi3.t-642.141                 .»>-» • • •

           on the Fortune                    and it is                                  it



           considered a systemicaiiy importa.nt
                                                                                                               !..- l      »-'TJ
           bank by the Financial Stability Board. The
           company also owns Elavon, a processor
           of credit card transactions for
           merchants,and Elan Financial Services,                                      U5’5.C>>2 XZ


           a credit card issuer that issues credit
                                                                       t-7>icd cKca    T'zp'xczi 45: r«x.v»                  .;

           card products on behalf of small.credit                     IiCIrpiJ,.      i.                          i7Z}x
                                                                       Kuzina          77tyjH7WT:
           unions and banks across the U.S.^^’                         lainM^arlei     nrj rrwKuy C^-E x n
                                                                                       ru-.


           U S R^ncnrp operates under the second-
                                                                                                   ; :hv:,

           oldesi continuous national charter,
                                                                                      .yj‘ Ar                      .
           originally Charter #24,granted in 1863                                              As.'itacrifi




                                                          O                            <
          u:durance newsner
                                                        AmiTY NEWS
USCA11 Case: 24-13671       Document:
                   '-^---rkXisL-. vJlV »WC13             Date Filed: 12/05/2024   Page: 259 of 723
                                                        'Hn.P$;/aK§URAWC€>tfW$NFT.iaa^          •A^
         'T'
                           •          II-.*

                                                                                            6a,.3Z
                                                                                            fe4i.Z.
         J.P. Morgan
        Partners With
        AIGOn
        SmartRetirem
        ent Plus
        Income Option
        ByfLtSLSCi^



    J r.                  Mor-KcuKm u«la.
                                          -twmvzitYc:
    rW*.k.                    ..srtw^ Mu*..• UBMIU
    rt“.ir«Bfa: :A.\Mar                   h* arm^mb




   ►»   »W»Tr.»4PW*<-          ,
                                   ' ••   1 -t i«..
                                                                                  ■—■o>.
                                                      ‘■•iVV.
USCA11 Case: 24-13671                   Document: 13                             Date Filed: 12/05/2024               Page: 260 of 723

                                       C.U?v^EN                         > C ; v'O
                                                                              f

                        •:ScOUEr                                             ILEMAM
                                                                           r.f
                                                                                                                         6<h_S^
                                               •S •
                                                                                        f    '.   >•.
                                                                                                  •j- w
                                                                                                           ^
                                                                                                                        •0kVi/7
                                                 ■-a
                                                                                            ::::e-;
                                                                                 r«
                                                                                                  "0: G:



                    •^et thfi snsv;                                  r you’re looking for added, f•o ine
                    ■■.v€



                        rV'      ‘w;                                                    .: i. u'“ . •rsc:

                             :%■ 'OC’             ■•,d
                                                                                  .f        sr^rs'-:

                                   -*'.’              "VAv*




                                                                                                                               I




                                                                                                    ..r,




                  Retatsd searches

                                        i.R Chaos iV'crgeo

                                                                                                                               [

                        'v               ‘=*'ycrg3ii
                                       Xrf'.                          h->3,sc- ^QCk



                ■.Scd                     'V.'vnv.o;-■?>'-

                                                                                                                               i
                AiG-'Gtiiciai Site                                           VO. (
                                                                                  •f

                                                                                       Deal fnsA               n.cs

                                               AiO' morqan owns.aio and frs
                                                                €■




                                                                                                                               I




                                                                                                                               i




                                                                                                                              -1
                                                                                                        is.
                             f5S''j.'ariC^r;cv.*snei.co-“
USCA11 Case: 24-13671         Document: 13                   Date Filed: 12/05/2024                     Page: 261 of 723
                       J-R Mcrgan Partners WitnAi'G Or- ,
                       AniartRenrement Pies Inc'
                                              Correa :Opt(cr                                                  tKk.3^
                                             J.r      'v'C<i?1: AS5S;i. “/snsjpnr.f;* ~zz^, -
                      ^"rrc-uncec G             ;o             5.'r^£na?:.r^r;veri        ■ ;■
                                  r!:rr;i-e-''Ti>ri; •rcc.'^'-* Soi::Ticn ^57    :r.3r

                      W ;«srr<c: ■■Snfs^'




                     Goicman: JFMcrgan C£Cs Perseec
                     Private Raseje for AIG. . .
                    ' - - ■ ■ ■^'     ”     neii'i c? So/Sm^^r ascr                           i";
                            jp?vk.r'5ari Chocc S-Oc.' roW ..
                    'Z'-J'' OWP                      i«;rvci fa Ajp,- Bax-^r ai'c        :

                                  ^ ; Musi irK:.uc2.1.3




                             "'“'‘‘^ntiniy Report orsCredit eno'
                . Uquidity Prograrns and the
                  ■^■rsr:ca.n L'i:i-rT;.£l:onsi Gr-X'p (A.iGj. .. [r;                20C 5,
                ■ r:':e 'PiPBJ't'r SE'e' .JPWo'gdn Chs^O -                      b\ a:g a’i;a
                  3                                  ;Ar--iencxi"



                 People also ask

                 “"-''."-s    -'.’erga- 113:.^ I'RA?
                                                                                              V     ■



                         ^.-.JC   IS l.irtrr,-,- •           ■«nr >■“

                              & Ci jo morgan o’/i.*n$ aig and frs
USCA11 Case: 24-13671    Document: 13      Date Filed: 12/05/2024             Page: 262 of 723




                  htlps;//vvvv'w.ihsi.ii'af'K;tiiouri ial.com

            Goldman,                            ■*v




                                               i..                     ; F’t irsued
                                                                       c
                                                                       O                            lai



            -Vivate Rescue for AIG
                                 The jiends of Goiclrn an iachs Gi'oupdi if
           end JPMorynn Chase &. Co. told ... a t id then formula tiny
           our   own proposa! to jei id to AIG             n

                                                                J fJ              safd . . .

           Missing: Ps Musi include; frs


           mi    h t tp s ://w vw. ted oral fOf-s erve.gov . . . ppf-


           I RS' - Monthly Report on C redit anc
           Liquidity Programs and tfie .                                   •• «




          An ierican Inietriaiional Ga fOUp (AIG). ,
                                                        -• In March 2008,
          ihr^ PraUKIV ;:w ir{ . IPMnrrcH-. r:li; j' .V
                                                                       ' '"ir-'rl tvu AIL-' ruu \
USCA11 Case: 24-13671           lns:ar;r51
                           Document:       .'.R Morg.-;'
                                     13 Date     Filed: 12/05/2024     Page: 263 of 723



                                                                            £yh.)d
                    J.R Morgan                                a
                    ASSET ?i^ANAGEM£^'T




                                        09/09/2Q2:

                       J..R Morgan Helps401k
                     Participants in Retirernsnt
                    with SmartRetirement Plus,
                        incorporating a Protected
                        Lifetime Income Solution
                        from AIG Life & Retirement



                    ■'New sciuu'on to ieverage JJP
                        /i /fN      t    i    ^   rl—   1 [



                    aA           A. am.jpmorgan.com               C/
                                      ‘u.

USCA11 Case: 24-13671                  Document: 13                                 Date Filed: 12/05/2024                           Page: 264 of 723
                                            !
                                                                       ^r
                                                                                     I                          s




                                 ic;            '^'                                      .Ji>



                                                                                                            i




                                            ‘w.



                               :.J r‘r




                                                                                         7
                   !»&


                       •N


                                      ^ * .                                                                         I


                          r
                                                                                    A
                              \‘B IS                                                K:


                                                                   K                                                            Tj

                                 'D'
                                                                           'O.


                                                                                                                    v'^.-



                     '. -^v                                   c;           . • r\




                                     TDSj'’. V                                      'JCV


                                         S      ;•
                       ;-^,C5               v,';v! lU ; !'                                      . n
                                                                                             S-» ‘
                                                                                                                        r
                                                                                                                            1




                   ..QUIO                            V                 a;           a.'              ‘.'i


                              •r*.
                                                                   L-’T:                     •. kj, .
                                                         -'

                                            k .                                                   •:i

                  -■ O'   •
                                     ■n-'




                 Peooie also ask.

                              Art             igi        Qio morgan owns ale
                                                         ■y
                  'y
                   Q -ttsi
USCA11 Case: 24-13671  Document:
                           rxxTty rr13
                                     rtx-. Date Filed: 12/05/2024                Page: 265 of 723
                                                                                         EaIv.S^z
                      Hto. o     ce         death's coo'*,'s doing
                      oeais agatn - CNN Business                                         &<-h, t2
                                       5.* A G -.as c.iAfec ti .VI, iac< v-O'-
                     :~e ccpt^-s c*'''aT a              e-a: yts'...aVcr ja-
                      nras«             *3 -5 3«a'Stear-r :oc

                                    Vus: nc-uc#



                     Cy rWtp ,                   ^

                     aercac -'elana lirpjted ann Joi •"edC't *
                     Vec^Wac Pte Ltc
                     -<-Ca2 .atar c  :*c u ..nOi.'«c9v OAnac * MA-. r*.
                     -'•<^40 A>o.'^ \.V o< * DC oarer-o^          >
                               t-jras‘r*- A,0 Ot-« 'AarCac "-a-sac: O' i


                         'as>»;..y0fsn»0u»c«*)r»fv.b(o0.e0»»*nno0*<.l nr ...

                     -age l of T5 - Nt'
                     HRSNY          Rraasa. Su:*r»rTt or F:nar.c
                    •YTjnger'e-e c" vR\«cr5dfi C-a»« s       Sirac -r 5u—n*.
                    '.''.at -AiO .-s -ror -eneajkng caotai and iia- car,-

                                     COT'




                    Business Analyst .ead (Project
                    Execution;]cc in ^ersey Citv ai...
                               C‘'a4a a-r Cc «              oc^'g ‘o<^
                              Aob            •
                                                       ai-atccv c.
                                 rh*.r sc© ©ar.^r *■ OAT' ,©0    fi#



                              • Q jo moroan owns aig and frs
    USCA11 Case: 24-13671             Document: 13          Date Filed: 12/05/2024            Page:y.
                                                                                                    266 of 723
i
                   IK THE HRCUIT COURT OF THE EIEVEPJTH JUDICIAL CIRCUIT IN AND FOR

                                         MIAMI DAD5 COUNTY FLORIDA CIVIL ACTiO>l               i
                                                                                                         C^h-Sz
              MAI !KIC'!. SV.MONHTTr,
              Aijtl MACK \V 1:1 LS
               rfaiiuilV
                                                                     CASE NO: 20I0-6H)2»-CA0s



              U-.S. liANK. N.AI IONAL ASSOC'lA 3 JON.
I
              AS IRUSTRF FOR RASC
              ;(H.i5 AHLS.MFRS, FRANKLVN
              L KJ-:j)ri' NlANALiEiVUvN [' C(.1RF and
              AXIOM riNANClAL SERVIC ES
              Defendants,


                                                    fwlOTlON TO DISMISS:

          C. omes lu’w MAIvRICE SY'‘MO.\'h''rrii and ;NLACK WELI.S with monon to Rect>n-sjder Asking
          that all of iudi-e Valeria Manao Schurr’s Ordcjs; be VaeaCed from 2()i;)7 until rtC'^v w hich
i
          Mac RK £-. SY VIpNETTli's Qiiicl Title Lawsuh. Because site Rccuscd herself. Rule 1.54011>)
I         says|2) Newly discovered Evidence (31 Fstiud and Misconduct <4)judeiiietii Order is void;(5j
I         Prior Judgment tJudge Zabel's prime Judgment was Dismissal with lYejudice which must Ik
          uphddT On motion and upon such terms as are just,the court may rclivct a party or a partv's
          legal rcpre.seinativc front a Inta! Judgcmcnl.tfecree,order,or proceeding for the following
          reastnt.s:



               2. Newly discovered evidence fwc discovered her Form (> Full and Public Disclosure of
                  Finmuial Imeresl and the Partriership.s and ownerships of the B.ank.s involved to wt^rk
                   The Consptracy by giving Judge Valeric Manno Schurr gifts of Monie.s to take the
                   property from the lldtiwowhers which by diic diligeijce could not have been di.sci-vered
                   in time to umve fora new trial or rehearing; becau.se;we;just got the records from tite
                   -Srate showing ttet in 200S on the !3ockei Mack Wells tlnally'put in a Motion to Dikmi-ss
                   with fVejndice Iwcamse Uvvyers wouldn't loflow the Judges Orders £0 bring in the Note
                   E\h.iCi wcalso saw’tliat Judge Zabel did a Uisntjssal witlt Prejudice in 200;=? and three
                   wiiuesses w'ish .Affidavits have svvofsi to have seen this and it w as on the record with
                   Judge ZubeFs sigtiauire that we lype-d np stying the case is dismis.sed with Prejudice
                   C«.'07:/2009 as indicaied im the Docket of w hich I now- have die Red stamp CertiSied
                   Copy <>f the Docket see E?vh. <C)line number(lO)atsd vve notv found
              -v. Fraud andMiiiconduei using Horrjhje Coiillict ol Interest in; violation of M. Rules 2i lW.J
                   That ii) 200S Judge Valerie Manno .Sclmrr received $W5,(.XKl on.lier fonn 6 Full 1
                  [hsblic Disclosure of Ftnancia! Interest SVI J.JIX? from G.M.AC and 5129.OfX)from Well
                  Fargo That's Partners w irh GMAC and 11X. Rank n.xh.tDD)on her Form 0 Fid! and
                   Public Disdo.sure Of Financial Ihleresi lii;c nu.mber f5,6,and 7} B.
USCA11 Case: 24-13671         Document: 13          Date Filed: 12/05/2024            Page: 267 of 723
         4. Judg'iieHt Order is Void bec^iuse in 20.i0 on the Ducket Judge V.aJerie M;inuo Schtirr
             whom we have ncvcrseei! put                                                                    g* > i   ^
             itliaiigjng Pnpr Jucigineni)sn ?he saute Dtsniissid xvith Prejuilice with our cvptjig but      ~
             wieii her name and stgnatufe and the Judge ?hat Dismissed l2:e Case with Pre’iiuliee B\li.       X U> 1Q
            I F.\) as seen on the Docket liix-(ID this \\ as done because the Diw says that no Judge of           ‘^
            tltc safrie Circuit Court can change the Order of Uie Judge in the same Circuit Cou/x so
            site made her ovvii order That did not Chaase Judse Zabels Order c.xacth one year after
            Judge Zaheis same I>ismiss.nl with Prejudice lioping we \v<»uld no! check thi.s. so that she
            can then therefore only her Oder and get paid to change her own Order so that it
            wouliin'l be Criminal. This was done to Save Judge Zabcl. the Litwyers and l.i
            !3ank,'GMAC BANK from being caught and the Conspiiacy to steal the jiropcny
            cotiL-eniisig Judge Zabcl doing a Judgement again.st Ho-meowners without an actual
            Complaint or Certified Copies of The Note..MIongc..\9orrgage and A.vslgnment or as
            ntiridii Smtucs suite.s: No Judgments should fjc rendered unii! after the Origin.aI Copy of i
            the .Note .•vlionuc.Mortgage and s\ssignment and other D()Cs on ths’ record vet they did
            that while the FJomeowriers where making payments to .Axiom Bank on time Ihi.s isa
            Felony.actd a Conspiracy. Becau.se at the time during Judge Valerie Mmiiio Schurr
            Disuii.ssal with Prejudice Judge Valerie .Schurr received from Wachovia. Bank iM
            .America S650.tX)!} line(Q)as seen on hei form 6 Full and Public Disclosure of Frnancial
            Interest those Bank.s are Partners with D-S. Bank and GMAC sce fobbsiEF.) and she
            received SI2XjXX>fri.im Wdl.s Fargo iind S4l0.0f(0 from G.VJAC the Fake Servicer of
            the Honicowner’s Note.
            1 hen without notice to the Horrtcbwncre knowing that tK'caase wc knew the ca.se was
           Dismi.sscd with Prejudice and dial we would no longer check on Court Records to find
           out that Judge Valerie .Manho Schurr had a privijte sccret Hx Parle Hearing with ICS.
           Bank s Lawyers and changed her( Judge Vderie .\3anno Schttrr’.s) Order which
           illcgaliy and effeciively cJimiged Judge Zaber.s Order frotti Dismissal with Prejudice to
           DismissaJ witliom Prejudice to give sec IX'ckel Case number 07-12407-C.A-03 line(14)
           of the [juckcl and E.\h.fF and F'Z)0S;2.^'20!O U.S. Bank the right to file another .
           Foredosurc i-awsuit against the liomeowriers all wirlumt their knowledge n.s seen on a
           2010 6iy2S-CA4)1 prosecuting the sameca.se that was DismissctI with Prejudicc of
           w hieh we found out by.mistake that there w'as another Foreclosure Suit against the
           property; And after 2010 Judge V.tJerie AJanno Schurr did lliis she suddeiiJv h^
           Si,000.000 from City National Bank. Wachovia.Bank Of AmericM which arc all
           Su-siness Partners of U.S Bank and GMAC Bank see Lx}i.f FF;. line(7)she iiidicau-s
           mioiher S400.000 frtnri G:\5AC the l-;tkc Servicer of the loan .'in<i pan of the Conspiracy
           to steal the prepeuy and get out of trouble from Federal S.h.C Fraud and c.-imes a>^aiti.sl
           the Court and the property owner 1r> hide the .V1I-R$ Fraud of I vina about selling nWs
           on the .Markc! as pmven by the Citsi^Kmc Bxperfs .Affidavit .showing that i:Ji. B.ink
           Natiomd A.ssociation As Trustee never had any ownership of she ixrov Williams '
           -Xlortgage becau.se A.viom Bunk sold the Note to FuDliry .Stralegie Fund which is on the
           Marttei until today. Elxhd A i and when yon do the SEC Edgar .Search under US Banlt
           National Association as Trustee there is no A.xiom Note in iJieir Poo! of tNoies H.xh.(ZC
          and J). Judge Valene Manno Schurr admits to these- crimes by Heeusing herself from
           Maurice Symonetie s case who asketi her to RectLse Iof Crimes misconduct and           '
          Confiicts of Interest see E\h.( ?. .According to Ru|e!J540(b)(c)(d)(e)
USCA11 Case: 24-13671           Document: 13           Date Filed: 12/05/2024               Page: 268 of 723

      1. That thff Judgment,or firdcr has a prior judgment of Dismissal with Prejudice on the Docket          £j<k3'2-
         of Case Number 07-12407-CA-07 line <10 and 11 land that Judgment of Dismi.ssal with
         Prejudice mu^t be rerumed to Dismissal with Prejudice and void and or litrikc- ili« 2(S)7
         i2407-CA-0f and 20i0-6192S-CA OI ca.se Ix-cause Judge Valeirse .Vtanno Schnn jcctLsed
         hesSeff because I brought this to her attention that she did ihi.s Crinte and Scheme. iiii.s title
         must    cleared and also because .she did no( default them whets if took them b months to
         answer my l-ivrsuit tliat rnttsi be Defaulted but wasn't Defaulted Lveanse Judge Valtsne
         Manno Schurr helped them bccau.se Cit\' Naliossa! Bank gave her $400,000 w hich is .
         busines.s partners with U.S. Bank.GM.-\C. Royal Hank of Canada. VVacliovia and Wells
         K-irgo .are .all [Jusiness Paiuicrs and one big iiappy Faniily thisjs .a Horriljic Conspiracy.and
         ConflicT of Interest to steal Property from helpless Black People this is Rtici-sm and
         Dc.scrimjnation in the utmvxst so therefore we (leniaiid th.a! this case be Rectjnsidercil ri oin
         the begitiniug of this c-ose until today this case tnust be Defaulted and Returned to Dismissed
         with Prejudice




                                                                   .\1A‘JP.iCE SVMONrTTE
                                                                     15020 S. Ri'/t.f Or.
                                                                      Mtam) ri. 33167
    FORM 6             FULL
    USCA11 Case: 24-13671   AND PUBLIC
                          Document: 13 DateDISCLOSURE
                                            Filed: 12/05/2024 gxK 32269 of 2020
                                                                Page:      723
                                                        OF FINANCUL INTERESTS                                            FOR OFFICE USE ONLY:




            •"■•AL'm-iii A--* ifiK iJi li     n M ii7                    FLORIDA
         HON SAMANTHA KUIZ CC«EN                                lOyMiS^ONONBHICS
         CIRCUIT COURT JUCGE
         Judical Ciffciit (lUh)
         Elected Ccnsautiongl Ol?ic©r
                                                                                                         ID CODE          IHilliii
         DADE COUNTY COURTHOUSESTE 1001
         73 W FLA.GLER ST
                                                                       RECeWED                      sJ
                                                                                                         ID NO.         47076

         MlAJ/II FL 33130.17?4                                                                           CONF. CODE

                                                                                                         Cohen. Samantha Ruiz




   CKECK IF 1 HIS !S A RLING BY A CANDIDATE                 □


                                                                     P.4RT A - N KT WORTH
  Reaso enter the votee of your net v/arih as of December 31, 2020 or a more current date. [Note: Not v/orlh is not caF
  culated by subtracUng your reponeef Jiatlditios from your reported assets, so ptease see the instructions on page 3.]
            My net worth as of                                   i            20        I      was
                                                                                                                   7~   —




                                                                       PART B-ASSETS
 HOUSEHOLD GOODS AND PERSONAL EFFECTS:
    H^ChOld gtxKs and pcrsar^l «t?0ct8 may be nipofiKl n n U.iT.p sum if Bier aggregnUo value exceeds 51.030. This calcgcfy Indufloa any Of Il«
                                                                       or stamps, guns, and .m.-nism5ic Items: an odjaas: hsusch«d equgmeni aM
    luminings, CoINng. otfier .hcusetiDd rtams; ard vehicles fur psracruil use. ^vDatfier ovm<.s< or IcnscC.

    ■The .Tggrsgate value Of my fiousehnfd geoCS sn8 personal elfcztr. tdnscriteS atwve) is S ns, flee>.B&
 ASSETS INDIVSDUAU.Y VALUED AT OVER SI.BpO:
              DESCRIPTION OF ASSET [apecific description fe required - see toxtrucCone p.4)
                                                                                                                                  VALUE OF ASSET
 H.ptnf. Fflohcify Re,<^lA&Afce                                                                                          1 \,lpQ0.000 .DO
 Vc^Q Refvfetn^Ki:-                                                                                                     1          aai,
                                                                                                                        £          I fe 3, {3Q.0J
                                                                                                                        4
AUsAHcc fl cctAS-icxN Csfi                                S?t>,isc\        c - LiAB]i,me;s                            ri
                                                                                                                      “5
                                                                                                                                    - o j 623.1
                                                                                                                                 1 is / tzo.m
 LlABlLniE3 IN EXCESS OF $1,000                     rO^C/uciians on^ B»4):                                            “ 4        S-afci/TM^.DO
                            ANO ADDRESS OF CREDnw
                                                                                                                                AMOUNT OF LtASILITY
 U^elb hggo                                              P.D. 6ox                                                                      3ib. fe5

JOINT AND SEVERAL UAStLfnES NOT REPORTED ABOVE:
                   NAME AND ADDRESS OF CREDITOR                                                                                 amount of uabiuity
 Hcfj- /VpplicQiofc
ce FORM e. CltecT.c Jaruav 1. Mfl                                       {COiErusd on .-T^rra: :^]
liKorjoiiMj tjr raijraim »i RJa 3iajC<l?i;iX PAC.                                                                                           PAGEI
                                                                    PAKTO-LNCOMli
   USCA11
 •jMUr/           Case:
        wacti aeparatt: scurce24-13671             Document:
                               ar.d snr.oit of iroOTO whtch 0)f06>9CteC13      Date'JieFiled:
                                                                        Si.OM CJuri?t8            12/05/2024
                                                                                        ySSf, ir-duding                 Page:
                                                                                                        BBOORdaiy siyjrcKS         270
                                                                                                                           of inoims.      of 723
                                                                                                                                      Or attach a ccnip etc
                                                                                                                                                         '
 cop-/ Of yCur 2020 federal ireniro igx rKltm_ incJuOsig bJI '.V2s. SCP^CjISS, and aCactinienlS. PlejBfi nadatl any scdtil SL'dinty a- tUXDurrt niimhcrr- bofCTJ
 attactilrg your rOCunis, as ttriS laro’ fasurei IfiESe dacumcv-ibs ae pasted *.a the Catimssjon's v/cOStia

 □           dKd to fie n copy of my 2020 ledersf Uccms tax return and a3 V/2’s. schxKlutes, and ottochnipots,
           [if you checX Ihs bax and aOtcti a copy of >ow 2020 tax retaT. you re«d r»l Ourtplets the reminder cf Part D.j
 PRiSSARY SOURCES Or INCOME (See Hnstrurtiorts on pago S):
       WA1E OF SOURCE QP INCOME PxCSeDiNCj St.OCO                                    ADDRESS or SOUiTCE OF INCCfttE                                     Af.lQUMT

 SitH oTTlori^fl                                                     200 Eto-t' SatUK Street                                         - j||g? , 533 .a*!
                                                                     ullahiasee .TL
 SECONDARY SOURCES OF INCOtME [f/aycr custemers. dents, etc., cf businesses axTicd by reporting person-scc mnlrucbons cn page
              NAME OF                              NAME O.-- MAJOR SOURCES                           AlraRtSS                             .“RINCIFAL BU SxffcSS
           BUSINESS ENIltY                           OF euStMcSS' fN'CCME                           OF SOURCE                             ,Acnv>iTY OP SOURCE




                                  PAKI r.          IMliRKSTS       fSI'FXU'UID BliSfNKSSES llcslroclions, on page 6|
                                             BUi^ESS EN fllYg 1                          &usiNe:-jSfcNrtTYit7                       su siness ENTITY g a
 NAME OF
 SUSINESS BNTITY
 ADDRESS OF
                                            ctV A-pi^lTvcgUc
 BUSINESS ENTITY
 PRlNCIPAl BUSINESS
 ACTTUITY
 POSITION tCED
 WITH ENTITY
 lOV.NMOHETFIANAS^
 INTEREST IN rrtE BUSIPtESS
 JtATURE OF MY
 0'A9tERSUlP INTEREST


                                                                   PART F-TRAINING
     This seci>0!i applies Crtiy to officers rortuired to cnrftc.’e'.e onruia! ethicft L-atning puratair to section 112.3142, F.S. [See insSruclions p. 6]
                           □       I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                         STATE OF FLORIDA                     „              I
                             OATH                                        COUNTY Of ...                            ~ UQ^g.
     I, UtS aerauir Whose name appears al die                                       to (cr affirmed) arvi 5iib5crtind betore mo by mpann rrt
 toijirnlng of this fom. do depose or. oath or s.'I'sniBtjon             j3^yslcal preseroa or Q onllite nodarizaeon. Life                          day ol
 and say that the infcxmaiian disclosed on Ihis form
                                                                            Jc^e.                      .2o3        2y
 and any attschmenfj herato Is trua, accurate,
 and cximplotn.                                                                                                                        "■ '■ilrCsSO JCSrs'tiMCia'jft"
                                                                         fSigrtai           Dtiry Pefafc-state of fTartd
                                                                                                                                          Notary PuKte . 5wte of Fkoda
                                                                                                     /noardch                         '      Ctrrmiishtn s HK 0I$12'<
                                                    H                    prriL r>po. ly Stamp Ccmmisaiandd NmJ ofr^^ trYiigh Niiitoyxyiry assn.
                                                   n
                                                                         Ferconalty Knu/m                         CR    Predlibati Idenfllcfflan
 BICNA'           OFREPOl        ^/^FFICtAL OR CANDIDATE
                                                                         rypp 01 idenUflcatton Producad                P'L OU
11 a certified puhne accountant licensed uncei' Ch.'spter 473, or attorney In goed standing wLh the Florida Bar prepared this form for you, he or
sfie :rru$l complete 1F.e frjllawfng slolcmenl:
t,                                                                   prepared ttie CE Foim 6 in accordance with Art. Ii, Sec. 8, Ftohda Coratihitioia.
Secl’on 112.3144, Florida Statutes, and the irrstruclions to ttve fonti. Upon my reasonaUe knowletJge and belief, the disdoaiire herein is true
and ootrecL



                  Signature                                                                      Date
Freparalion oI tfus form by a CPA or attorney docs not relieve the Sfer or the responsibility l& sign Ihc form uuder oarH.
         lF.\.\YQFPAm S A TH ROL'GH t ARE CONTl.N U ED 0.> A SEPAR.\TE SHEET, PLE.VSE CHECK HERE Q
CS rOSJ.! a - Ellaew Jsniitr/1. Jn?t
hccriw^tO CV rcfererce in RSo 34-B.C<3C;iJ. FAC,
                                                                                                                                                              Pr^Q£2
                                                                                                                                                                         ]
                                                                                             •1       iTc
USCA11 Case: 24-13671           Document: 13                     Date Filed: 12/05/2024                     Page: 271 of 723




                             Wachovia Sank ijj n v.'h.oiiy w.-nc’d
                             subnfrtiarv of We’ir, Fargo & Comnsn'                           nPci

                              pLffchose of Wachovia Ccjrpoia^’on b', vVi^iis.                                     £>rVi.
                             Fargo 'vva55 complereci on DecFmb&r'                                 .
                             2008. Wachovia was the fou.nh-iarg                              t
                             bank iioiding company in ihe US Davr-
                                                             r. - : 'j;i
                             loial aajLiLs.

                                                      - i .-ji




                             • 5 •, 1                    1-




                         Vv'i'is^! orii'di         o./e: VVeichc-v, y


                         Wd.il hi             i irilrrr/ of Wsrhovi.T


                         V    ht        ir>U doGS Wacbovifi Ra-'ik CvOt-n'^


                        Ho'o to                    WnciiovitT cbec.^i ■iCi accci. i .f


                        ‘‘-•Vi.ii.i'iijvi.: i-.r ry           VVc'.'R. rv.iruc;   W'L i i;
                                                                                                            Zc
USCA11 Case: 24-13671             Document: 13      Date Filed: 12/05/2024     Page: 272 of 723
     Voya VARIABLE FUNDSBu"
     PNC Financial Services Group
     inc, McDonald's Corp,Baxter                                                                 9««




     insider



    in this artkie:                                                                                     %



                                                                                                   ■*




         C              .J.
                                        RCL
                      ^•7-                           XV*
                                                           j.
                                                                —-

                                                                Z'
                                                                     GSCHX                   TMO
         * i .047io                    ■^O.S4' /b                    -0.43t4                 -




    investment company. y'Voya VAKiA&Lfc FUNDS
    (:       i        —V--',
                              K'T I
                                          ’) buys PNC Financial Services
                                      i l'J


   Group inc, McDonaid's Corp, Baxter
   International Inc, ViacomCBS Inc, Bank of
   America Corp, sells Fiserv Inc, Citigroup Inc,
   Activision Blizzard lnc,|lS. Bancorp,                                             '




   oonsteiiation Brands inc during the 3-months W^A                                                 i



  ended 202103, according to the most recent
      Busmess
USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 273 of 723


      U.S. Bank Enters Co-
      brand Agreement With
      BMW to Issue New Cards
      With Enhanced Digital
      Experiences,Greater
      Value to Customers

      ju!y 22, 2019,11:00 AM EDT

         U.S. Sank Enters Co-brand Agreeo^ant Wl                          BMW
      to Issue New Cards With
         Enhanced Digital Experiences, Greater Va'; ..
      to Custofr.ers


      Business Wire

      MINNEAPOLIS -- July 22, 2DlS

      J.S..Bshk, the fiftr - larges!. bank ‘ n tre
      J"1ted SIdtes. has      ered Into a
      co-brand agreement witn BMW F                'an c' a 1   Ser V i
      NA, LLC to issue credit cards
      that will deliver enhanced digital expsrie
      USCA11 Case: 24-13671                            Document: 13                   Date Filed: 12/05/2024                  Page: 274 of 723
          2021 form S - fui' wnd’PUwiic Cisr',:



      i
          Assets        i


    ' HousehcJd good! and cersonol effects no’/ oe '•epofted n a i; !'p •ium tf rJ^CT                           valijc- cxfi^&ds Si.COC 'f-'• Cj
                                                                                                                            ri. aa.7:p.y'fTVI'T‘T:.'l •
                    anv of the (ol.ovjir.g, if not held hr invosrnfM nii'nnsps.'jcw^’lrv; co^icfbchf. c':itamrh/, gii-t .           ,
      i      QCjeLis, hou'C-oir: woipment anc furntMnfs. ticTh,r,E,..5:lier- no-seholri te-ns, end rehicia^ fc-r o.-'-.cm -se 'An-v
      i owned Of tsased         .        ,

          Tne aggregstc vaiut oi ny househc o eenris            ;: :ir’ri:.r5   ■deci IS ':>;iD.oo-c.iy.>   ,



.     : ASSETS !NCi.\nDUAi::.vvac            at over Si.t’cc':

      I    Desetijp^on of Asset                                                    VaJue of Asset

           Home PrlfTinry Rc%id«nce                                                S j.ESC.CCCOO .

           Hciive    2PSS south Viatni avenuf, M-anifL 33120                       S 730 000,00

           Ho-uCm’ nt 36256 VA O'th itrcct C.'le-r,; Fi' 23196                     51TS.OOO.CO

           wefit Faego saving >                                                    5 137306 35

           v.'Gih Fgrgo savings =2                                                 S155/.5S;C4

           wells fx'go chpcijng                                                    S3:<i,<::o.co

           wells fsego chscsins fPavfyl .-ro-c-erty Manageme.ntl                   5 6,208.70

           '%a/ctifcn«in:                                                          S Z51 665 C*5

           i.tvesCO Reti.'cncrt jir. fiume of vpd'..'vej                           5 7«.636.20

           Luks reiire.-Ttent [In nan? tti spouse)                                 5160,551.51.

           Ailianc.c-Bentstien hr nans of spoysa)                                  i S32.i3S.G>0




          Liabilities

          i.tA8!UTltS IN LXCiSS O-' 5 i.DQC-

           Namt of Cfcdftor                   AcorsssofCreaiiDr .                                                                A.'r.o'ufit d! Iwhi-it:.-
           V/ePis rargo WcKTgeEc              po P01 &£-72 ;S             Tj 75260,                                            -S57t.5>DG7J
                 Cinandia* Sc                 cci 20X Sc'CS            OH.»,*70jt»*030C                                          ii.'t.i.u.oi:'    .




           JiNT A,N0 SEVERAl i:A3il.rr£l5.NOi .REPORTED A60Vr

           iane of Creditor                  Add-’     ci C-’editor                                                              Ar!’0’.,.-nr n' Li-j

           j;a




          Pfihteo f-on the: Ficridj EFCMS S>':!teiT                                                                                                       Fcil'' 1
                      I Hf: t IRCl 1 j COl R { OK J HK K,I.K\ K.NTli.‘tHK 5\l
USCA11 Case: 24-13671
         CIRCT           Document:
               n IN aNE)KGR          13 Date
                            ^ir.AMt-D\DFA''()l   Filed:
                                               NT\,     12/05/2024
                                                    Kl.ORII)\                                                                  Page: 275 of 723
                                                                                                                                       1


                                       *       I            .5');-

                                           •




                 /rD€r: S.1
                                                         ilZ)


                 I SUank^naj
                 PiiiriLirVi'i,




                 W illi2.ni.v L<rn^} ■




                                 irKlUlB^B£^ll^MOTtoN roRJi du im mMvr                                           im m .on
                      f IjIs r^5.i*
                                                                             ;
                                                                          r-i'c     atvja --he >K> r l(j\ FOR J[ lVl< 1 \t
                                                       iTU-J hv Ji..;ai WeyJo.onAiZ*!.’ I'OZj

                                                          liJ-jfiN biv’Jili'.-icru

                 iX>NK           OKDKRRD                                                           FUvn^ilr I’H !.n ^ !          '■I
                                                                                                                          ■n




                                                                                                                               •)(


                                                                                              f J'.vl. ■^; ri.rjjrVj Riiv fV


                                                                                              ( IRCUTCOiK! JlLK.f




           . V           ... c


                                                                                                                                           1
                         V
                                  • !*; «■■( ; iK’ .
                                                                                     ■•   1




            Eircmisicalh; Sfi-i<rd;
                                      c\




    Tay; \'c.;                        v-ij!
                                                                                                                                       :‘l-
USCA11 Case: 24-13671                                            Document: 13                                  .“>4 -
                                                                                                                              Date Filed: 12/05/2024           Page: 276 of 723
                                                                                              1 •                                      ” » l
                                                 :::.rv I :::.:.
                                                    -.•‘rc- L                         ..!,         .    *,     .. . -.-'.‘w '-


                                                                                       j.. :.■ ■ — \-
                                                                       ,   :



                                                                                               :
               •^nv\                                 \           :vV. ■                     •! I       '' -. ‘.

                                   i             ■Tvn;::v-                       ;;                                       .:’■■■

                                          ■'. i::ij:;, v:;;-                   ■m'j> c:,                                           '
               !



                      .,V.1            I V.'“         :^4V~ <■■ :■■ .-..^.a;;

                   a‘- -:a j -         r.;-                                             1: .li'
                                                                           i ?        ■•.



                             ■                     ; Jv. r.i, i                             •ur ; ;.'v,                 r'7'--. N-iTliI'*-'.*';! . r:*;

                       r.'       k               - '’-Ja'arij'. t a'_:]■'.                                    ^ . i I'.rz'.'^^Cx
                                                  vlf.. '(■«

                                       S ‘‘.'i                   1 !                                                     .v.’^“::sC' v
                                                                   . ■.:r sp-a-.                              'rr,. ..■‘a,;-’.:-, a--
               •. ■a-Ml .ar: S V- :a^^s.;'. j '!                               ■■:!;                     ,/
                         Ar;;a‘;>.a. ' LcI il;;                                                                         .'■Pal;

               '■ :[:C                               Pi I.                             - a or-,\A.:'v;-von.i;ar:i
                                 p;hai:a:-. < tnnlSlpr J- '-tJ :p;::.aa.;':a;-;:.
               Xarc ; crer i •                                         l-l ■.•;■;!-i\-a!n J ^ra,.LL:l^<>EPaaJ-::
               Aipj I.cii':                                            H / nunD'XaV                                                              P^.a;
               a.T3 j cap i-rcirickx-iri. i 'cnciXp-cs--                                                          Urri;:cX:E<,<!C..U'
               -can: ^.Pan. .Xci'--:-n. 1 Lcl lie ; cc.:.:p err                                                                                cc.::

                                 A'-\Xr J.xkrcn. < tccnAPfca-.a prrr.-A'iiPura-.u'.
                                                                   ! ■ L ra-nirax ■■ ,. ii-.'LkaaJx O" AaP
               "'.-p-Px.'. t.'ar’a'arPx'"                                                          a                                            r,*'

               a'craC:;!. ";;,air plid '.‘'rls.-r;. .rcrxi'-arVc-'O''"" cxXoi.
                             Xcr'pirnp larcc a
               r-iTiU bar.r'Ptia ir-ii,-pj,U .jp'Ar'rrr.p I u' -.p:
               »riprpi                              Jnacie'a:
               •i": llxir. iicP:- Sial A'-ra a i, V                                          lacri.-.ijia -J a r::y:'a V ’X’k'Cpi i aP.
               aPljot                              SrPiaarpi ji; , lir-ZJTJrr hii !                                        a- ..' i:n i;k*:-:ba-p-a ■>. '.T.
               P. a'lnsc 1 .•j'T'c.:-                 !-!.c-ri;c:p.i::r                        :■■: ,v;            pcx:pr:.o.‘rpr

              Xlil/uc ; a.-r..X. ;                                                           U i';. '^k-cdpC' ■•. -A:a.
               ‘AiUnja : -1.                          i                               1! i                    sa.jP' r: -V:-



      aC-C Sc. la ' a.;,.r-                               ..>;
                           4f
                                                  t
                                                       .wr\.u:-T
USCA11 Case: 24-13671
               \:j
                                     Document: 13                  Date Filed: 12/05/2024   Page: 277 of 723
                                  "“•-i'. ;r-ji-.Tr,




         P‘uif!C3'ly SiT'.;-il;                                                        , a?
                                                                                                             .




USCA11 Case:
       {
        FORM 24-13671
                6                                                                Document:
                                                                                  ¥l       13Pi'BLIC
                                                                                                 DateDi.SCLOSMr£
                                                                                                      Filed: 12/05/2024                                                                                            Page: 278 of 723
                                                                                                                                                                                                                                 EXIn3l
                                                                                                                                                                                                             crf          4:;!: u-.
       j                             **’ Tfpt -i-’                                I 0.    ^\NCL\L INTERESTS                                                                                     r
                                                                                     i
       )
                             /
                               -j,

                     i*


                                                       irjvSI
                                                                                                                                                                                                                                   o
                                                                                                                                                                                              ■x«issc«mc^^5cs O
                                                                                                                                                                                                             I S 25
           ^     •
                                                                                      '■:      -j - •■*!                                                                                                                              CP
                                                                                                                                                                                                        .^CBv'SD
           I                                                                                                                                                                                                                          ■   •i

                                                                                                                                                                                                             ' ,..-A
                                                                                                                                                                                                   />
                               •                  51    4 i-L.. .           1            v-'                                                                                                            ir-i                •s
           t                                                                                                                                                                                            •H
                                                                                         >'     ■>'


                                                                                                                                                                                                                                               i

                                                                                                                          \9l V - VM
           i
                                                                                                                                             -- r s -• '
                                                                                              /.■•.-• '1                                *,                    4 i.-'-a'.:?           :..’'i. '.'r'
           I

           !

                                                                                Lr:j:rrzz<^r                                                            -.-/••IT S               ‘3 t5i                                                        i
                                             nc'. X-




           t
                                                                                                                               r\«:

       i                                                    £f.r2 <■■*?,                    C--Si'
                          ••■nt;'/                                              C'S.'i *■ /• '■«                 'r-    •• f ; ..-•,'                                   .S-.    ••

                                          ■ •“ -xZ ■■                                                                                   rzit-ji   “iTJ:*.-;     •••ii           T r*" •^*■.“''■1
                                                                   ■ '*v>                             a--;               •,.                                             f ■«         1


                                                                                                                                                                                          -y-

           i

           ;                                                        « ,
                                                                                AT



                          ••Tif! res^^-riS'                                                                                                                                                                         .V
                                                                                                                                                                                                                       rnA' .fN.

               X'nctf-l'SiS^s ;:yfr.;:^ ;RA- ■                                                                                                                                                               ;SJ75COC-                         1



           1                         ‘k   '^iSi                           Li-C                                                                                                                               ;;-c3o0 cor
           1                                   i        Ps;: acc-:>'k^rt',

           ;                                                                                                           r’^V, ! «■       t I ^S^is 1! zi ■'.

           5 ■                                                43                  'T'tf                                t-ifa -*1
           I
                                                                                                                                                                                                               f

           ;C«tiO.-!i-!>. Hc-fn..',' C-j'dtT L'^is i’Sa.'JO KO iX>                                                             c^-i-: *■'/
           f"*
               p,'.; *



           * '\r'A                                                                                                                                                                                             r


                                                                                                                                                                                                             rt


       5 w“C.-«a;r Axc-                                                                   «i^csPTTT. wiCiT?
       j                                           fi4.v£
       b



                      .•S

       I f
               H,‘r\

               -'4- .*“,
USCA11 Case: 24-13671                                                           Document: 13                                                  Date Filed: 12/05/2024                                                                       Page: 279 of 723
                                                                                                                                                                       ,3-i

                                 .•i                                                                      •a -.j .■

       }
                 4.:-r-y .' fs.-
                                                                                                                                                                                                                                                                 Bd^3^
       t        _i                                     .1
                                                                                                                                                                              ■«




       I                               -CE..                : ; «



                                                              ''CCT-'^I. Cyii
                                                                                     »




                                                                                                              :c :^>p 3
                                                                                                                                                                                      •■•f            ■■




                                                                                                                                                                                                                                                                   £>U.ZV
                                                                                                                                                      i,' •■


       ' oislc                          ;


                                               A -•♦ '
                                                                                                                                                                                                                                                   COj Cv
                J'J     srf' W '-C*-
       u,.

       i                                                                                                    •r.*.


                                                                                                                                     i


       fCC-                                 ;’:3’ H'                                             »
                                 •e^                                s               irr.^



       \


                                                                                i            s           Kl <2 > :% V? i u fi- D CJ **rM                                                                          -r-»              *'



                                                                                                                                                                                                                         ' V '
                      •J.
                                                                        iN/.-                                                                   k;a                                                                          1 %.




           !

       I
           I




           1.
           1^
                                                                                                                                                                                                                         1

                                                                                                                                     in i • ni-\rMNC

                                                                                                                                         -J
                                                                        (<                                                    c-



                                                            □            3 CE?      ^ i>             }    AT ^ HAV                        :Qlffi>-£'TcD 1>«£                                                         trash^^l
           ;
                                                                                                                                      ruTv or p^fis^Di

           I
                                                             OATH                                                                                                             .•-’1 ar..

           I
                                                                                                                                                                              »y*,-    i.




                                                                                                                                                                                       r •

                                                                                                                                                                                             r*


                                                                                                                                          •.'T-.#t-            r' *0-. 5».fn.                 s'Xl>   ■*
                                                                                                                                                                                                                                                     UdUjEMe^.
                                                                                                                                                                     V '                'I
                                                                                                                                                                                                                                         U Sk'S'
                                                                                                                                                                                                           Xi                                 ‘CnBETImRr'iii. Xf


                                 5‘Jr* C*' •Te^J^rr^^                                                               aT?
       f
                                                                                         / ■'J            -!.r; o-                                    u'




       i                                                                                                                           •- ei.v-*5              .‘T

                                                                                4                                   ' *4 •:                                rrvi'tiiiD'                                       ♦*                          . 7.- V..
                r-r.
       !




       J
                                                                         ...




                ru?2:7;r.n *.-1 \'s,                                                     ^                                                                     lit* ititi •>/ rii-i                        .w3.


                            IJ                  o>- F-%t* I.-. -N T aiss.ij <’:t; »                        H-J            •V 1 t-»4               IB'S          -.   .» !*\.H          1          m rT « r v'ct ^ u: r u Ui pj

                                                                '4>.'
USCA11 Case: 24-13671              Document: 13                        Date Filed: 12/05/2024                Page: 280 of 723
                                                     PART B -ASSETS
                                                                                                                           32
              DS5C^?T1GN Cr ASSET                                                          VALUE Of ASSET
          _ CorrifT-^ercisi 5:oci<. hC’)6ir^:k ,!;C-                                     . i S375CC.G0
              ■ «cvoMale-'Lie":":'                         '. ■ ;                         ■ SSS.'SK'C! CO
              ProjTiiscry Mote fror.RecVc                          _     . ;.       .:     S35,cfeax. ■
              Pfcop.risc.-v Note frcj-— Ccrn.~-?:f,ja? SlOCH hOM^iOs'                     ' sT.xo.o:
                                                            ■ "r:                         : S'^iKOOb __'
          .                      bt^ ir,£Mfaaog Po^cv Cash Vak!<::                         S‘-0,457 55
              .--T.e.-;riraaft ,-40lK roJ'^i^-k-r}" : *                                    S':2G.iXS. -1&
         .            33bi:x:»tj                 ^                                         S7--?,0 t7 CrV,
              i«3?S(A Arntni;;:^jnvcrs^Tiia: '                _■ ,                        : S£.bp:S3
              Crbtarri^ C^T4;ci^ir«;A;«nvr,r '                  / '             ^         - 520.053 J£
              D:SOp-**r 3av!S55 AOCCUAli :             ■                            ■' " miMkii -
              20^7          Csfr^yK^?^                                      —^             S2.DG0 be,
              :{?t3 H-),vrf53'Sc.-.aa HyAiA' ”               ■_:                          .SS.C^Q.OO




                                                                                                                                ■ ■/■i
USCA11 Case: 24-13671                                  Document: 13 Rc'nibiinc'rK—ts
                                                              LiC-rr^i Date Filed: 12/05/2024
                                                                                     sr Pa;, rter.is. trA Page: 281 of 723
                                                                          i if Fw.r, aad                                                                                      "■ ’

                                                                                                       flvi'-Jo                     rr ".V       •C •     W-.., ;■;: .. ’ I
                                                                                                                                                                                     Exk.3f
                                                                                                           f.
                                                                                                      n: ...:     fuj-ru.--: ..d                               j.:Sg£cr.^Z
            .' i   r
                                   .;.
                           '.* • 1.'                                       ".■ur-’.*-    '.•;;;cT ih:;" ;r;- ■■Z ':c • ■: z /i:y.‘-y^.              j"c:;        j-
                                                                          iv :i i                                                                    ■;r "■.vcJ".:
            ;::c-^iin7 '.c-r                       r.r..:.Zr; r i ■ !
                                                   :
                                                                                     <rj;‘.i5i :'rc 'Dn;■('■•. Cir.x,                                   ;lac (ira-
            ■■’rHZt ■■■■: •:v !\\jc of                       iG
            .. ■..;.}i:'-. ,i:;d "^rrpCr.C T-:' tr.Z'.y                                                                                  ■■if       ;|-ar,v; v.a-7
            •r;—i-ur-.;i ; 7:;;!.;, .C ■\.iA.7d;. -k-z:.-: ■- r..i:::^. ird a—iTjr.:                                      a

                                             !■- cse :35 0                                                'A-.xi Tc>-h:.rj aOb-S-iH-br:-

                                                                                        -r -j *
            *.Virv.             iri,-4N: 'af' f *« * r 1 '7S:              '.far                             fudxia: L::r.-a Ka!d Caai;!i Jaar-r
                                                                                                                                             j:




                        . ?x-                       7p^’raKad'lfj. lxdv:>:v.                  ar ... 3a                                                    darn
                          .;.c ■-,-c.-ciij:;a- va!ar;d=i ;-a.':.'. aa riTraTTd r-.- Csac-r.> fD ' ''.'a';. ‘'I/if V>;                                   -■ ; ! f-:i'-

                                :}yi Civir of Jadicfil C'oa..L;c:


                                                                                           !
             ■a-5-3o                                                                       ■ C-Vi' O-SZi-bS 5sr                                     3:c

              2-9-35                         CA£.A Ca;2                                         Ki            ,. ..                             -




              B-'7- • C                                                                         C!jb?77i^;c^n                                :s
                                                                                                                                             <
              'C-i'-'S                                                                     '                 EiTa-c-rn Ss:y.d".ySfa e::^. ^ .'rC
                           :
                                                                                                  ?;i.aa.i-ta=i^;       rA’di.
                                                       n                  1. -'A-rr .,‘ ii.Maina-Cid on vapaTa'i'O-.i-,:

                       a, !'':u:..a.;A;n::7     'ajv'raible re:::d>u:--arna:il> or d;;*::! 7-1;.man;-, .-favpao-o, .
                          -;;,;an cf        .rr i-Parpas ;,ra T<:z<r.\C- Caring ic n^coaJang asVnd;: yr.;;. a.
                          ^aa;nr^7i bo <'irvjrr5 0.01 a; and                                    .;•          C-:x5; ai'i^rCiaAI Ccndnc:

                       f> V :t                                           i>: 5i'R!?T:c>N                                                St 7 ?«. ■■
                                              Inaiadc da;      .*►■.^•aaroc.. irxi pvrpnw; .j: c-crn o-;
                                                                     .


                                               a..T,‘. :it ,7V V h:--;’-axp-nisa.'. JiV--. v-r yhAbjic.-
                                                        v-TPc par.—j-.T.-yd. rasrd -.'r u.ai'; a-d 1
              y-'.-A                         N A                                                                               ri'A
             rr. A                                                                                                             N’/A
             >. ..'                      !



             ;c .A                           ?CA                                                                              ' 'N A.


                                                             ? fivai. rv.-ra ;i' eurrnasvd on -at                      Ala --rra3


                                                           f CjSTJNI'S to ?\CiK Z fofi O \TJi

                                                                                    »'‘4ir.*V     1 •- J J
USCA11 Case: 24-13671             Document: 13             Date Filed: 12/05/2024                  Page: 282 of 723
                                                         okxu

             t»:jcc     Fioruia

                                                                                                               n-
             Count) of f/idn-Pdia;

             1. M®X *1* 3e_« O                    . Jw        ofjicixl .'Ulus tlu> st.'w.Ur.u’c iU^rrotT/.
             xiaf fjiM J-jIv svkort. d(»          «<» >i3(h and «> rh»! Jw Cue. yd fc<h :n tlv.*        c
             yiaicrrx^ iK                    .'ortoJefr h» tbr hro     ni> kjK«* <t<ipr jnH hriicf


                          « RcjKirirj «>frwT*:i

              ."^T;
             Sicnaf-nv-'-fftffjirr XL^lKKvci >w VJmuu*i<T J loths^

            M)<'orriiru>»i<fC cv“r.‘'

            Swm to anJ xibwr'^cJ betorv nw an-.

           3ro                     ca. -A Juij




          '’■MB *4 In
                                                                                                                                                                                                             1




USCA11 Case: 24-13671         Document: 13                                                                Date Filed: 12/05/2024                                                          Page: 283 of 723




                                                                                                                                                                             ef]


                              i.                                                                                ;
                                                           «>                                      y
                                       I                               ,1
                                                                                     ..'J
                                   .;• ;•                                                                           j                             V;
                                                                                                   ’<•'
                                                           c           i.                                       J       <R.'




                                                                                ■>                                      i.




                                                                                           : '■^'                                                                        \
                                                           C-




                                   r
                                                     ui.




               ••j                          ,r                                       :■
                                                                -j
                                                                       i



                                                                                          ■*.• f            r




                        . i                              >v                                                                    -'i                                       •■yC:

                                                 •i’ ?                      j
                                                                                 ‘i I                                                                                        0 ^•8’'
                                                                ••.V



                         5                                                                                                                                      I                : r ;•




                                                                                                                                                                                          : /-•.
                                                                Lie.                       •:. \                                           ■/ <




                                                                                                                                       \
                                                                                                                                                      V
                                                                                                                                                           V3 rf T ■;
                                                                                                                                           <      L

l£-^3
Tg-MX^

                                                                                                                                     N.'
                                                                                          >*i
                                                                                                                                                          ■':       t*
USCA11 Case: 24-13671
                    WO:Document:
                       '         13                   '.* cv
                                                                                                                    Date Filed: 12/05/2024
                                                                                                                                  :1                                                                                         Page: 284 of 723
             /■‘V
                                          V.




              »       .V


             Morga.n                                                                       liey Weaivh
                      .-r
                                               rr /:■•. Yr                  f-ii ;
             Ji V ,    Lai)                     a
                                                                   • I               s




                                 $' :^niOv v-'05lta n/iafragf;merit                                                                                                                          -•r- r *•.'■ 1

                                                                                                                                               n: '



                                                                                                                                                                      ,             ,          : i '
                                                                                                                                   .?

                                                                                                                                           1
                                                                                     ';avia:':>n o-                                                                                                                  '; )•



                  .VaL;3r> *5 i                      /_' •: >% J !'                                                                                          l.


                                     r;-r-       '       -'. ■*       ‘ ■ •*
                                V.              ^ -                                       a-i; !*: s           ,    r._.- V , ■    :




                  a iTpy             '■         ora 0 :* .'>, ;■                                      ? .
                                                                                                            /*■ r
                                                                                                                                                                                    . ^Stan:
                                                                  i-.. ,•                                                              ;
                  airy ear''                              a;                          ‘. ^ -    a e^rrneriy a a^v.                                                                                            r ' :• ; .


                                                                                               T.ani . •f a,-. ,
                                                                                                                                                                                        •4
                                                            '' ■‘■'■•r- I 'T.-J                                                                       ■;.bK                             a




                                                         : .-■/■• ,■;          ; .
             .-•oacrack                                                                                                ^naric-a' r                                              ,                             r*. , ;:




           ^aaiiacies O'"                                                                                            H': n -r.                          t.        :   •v„
                                                                                                                                                                          .-.
                                                                                                                                                                                    •
                                                                                                                                                                                        • -f r
                                                                                                                                                                                        ; •.
                                                                                                                                                                                                                 ■r~ -

                                                                                                 ■'    i--.'                                                 ; j                                 •
                                                                                                                                                                                                              :: '



                            '■ CSSCva ri'" vVi-i ■                                                                                                                                                   :■   ,


           •‘‘i
                  c anizaTiO'-;                           sr'k                                  ,,,                                    kf,




                            fvloryaan Staiiiev

                                                                                                            O i
                                                        ViO; uai ^                   j-
                                                                                                                                           i   UfaV
USCA11 Case: 24-13671   Document: 13     Date Filed: 12/05/2024   Page: 285 of 723

                    Chas$ 5c Co. r'c-ised their pries cbjective
                    on shares cf U.S. Sar.ccrp from $55.50 to
                   358.00 and gave the company a "neutrai'"
                    rating in a nosoarch note on Monday,
                    November4rn-Xi?!groL5p lowersc snares i
                   Cq^',5. Ban^rp'frci^
                              ^         ''.negtrii’ rating
                                                    r      TO
                   a “seil” rating and decreased their price '■
                   target for the stesek from $54.00 to
                   $49.00 in a research report onTuesc-ay.
                   October 8th- Morgan Stanley restated a
                   “5611“ rating ard issued a SoZQO p.nce
                   targei (up previousiy from $61.00) on
                   snares of UZ. Bancorp i.n a research
                   reb^rt on Morsdayt November 18th.
                   Credit Suisse Group restated a “hold^
                   rating and issueo a S55.C0 price target on
                   shares of U-S. Bancorp in a research
                   report on Thursday, September 12th.
                   Rnaiiy UBS Group lifted their price
                   target on shares of U.S. Bancorp from
                   556.C0 to S5S.C0 a.nd gave the stock a
                           rating in a research report on
                   Monday, Octehor 21st Four investment
                   analysts havFTSWffTftsraWT'^vith s sell
USCA11 Case: 24-13671           Document: 13   Date Filed: 12/05/2024   Page: 286 of 723




                                               i-




                                                                        1
                                                                         {




                 cj'\ 5 •->                         t




            •-




                                               /•




                      ;■




                           ’J
USCA11 Case: 24-13671      Document: 13            Date Filed: 12/05/2024                    Page: 287 of 723
                    o-nr,cipai             3.2G01o seKPr notes doe 2C;22

                    b addition, Squinix        voJeted s cpnicurrar.- rendai'                   £xU.S2
                         ier for 5ny end aQ cf its outstand j5.3“5vo sei urtDr
                                                               t.




                    notes aue 2022. 5.375% sedic-r notes due 2023. dr.o.
                                                                                               -oKk- ^5
                    o.    c0% s«n=or notes dife 2025, i^iticn were pard for
                    wiiT..me orcceecs from tne scHXa r.cscss offerino.

                    Goicr      1 Seons S Cc. L;_C. BcfASeouitt'es, inc.,
                    Oiferoup GfC-d&i Markets ind, J.P. Mc-.-53ri Seceddes
                    ;:^
                       . Sercfa*^^ Copitsi 1^,.V<o^an          Siiin'i^0'Cc~^
                    LLC. MUFG Securities                   iTn. o :C Ca;
                    f^tarxets- LLC. S?vt5C .NI.d<o Secundes Amen'ca. ir^z..
                    "iT? Securities ',vSAJ LLC. Deutsche Sank Secrril-os
                    Lnc^ f'NG ri,nan-33! Markets LLC.5fN? Par«T3S
                    Secure     2 Corp^ HSBC Socu.'ECK ('JS.A;'t;                        nc

                    S-2airtl'es:USA LLC.'A'^es FssvC- Securrgas, 1.LC
                                             LLC. Sct^ Capi'.3i {’JSAj ,:.n:
                    god U.S. osncdrpT^nvestriteuts,'nc. s's aD the
                    ursdeocrtters ?:-voh.'ed bn the cnerir-g.

                    ScuiOK,zn Amedcan..najiti.ngAjcrai ccrnpeit],'
                    iiaac^’artered in Rec*r>ood Cay. Caiiforrsfa. ccnnr;^
                    rncB-e       S.oOO cofT^jstsss dirBctty to mem
                   cistc^neis         partners ir^side the word's mcs*
                   Ettorcc-ninecied data contara. Today, cnjarriesses
                   isviefsje ihs Ecuintx interccnnocijcr. piad'.'trm 52
                   s&ateoic raa-kats amc-ss iTre Am.£no^,.Asia-Pacinc. ■
                   Hwspe. tine KSddJe East arid Asras.

                    ;-ne Davis PoS: corpc-rs^e issJO intruded partrsErs
                   .ntors F. Derjonijcrg (?kdif.'e} er>d Em-By .Roberts and
                   aSSocaies aJ; QeGofe end Caitisf; Ltcytes Cu.nnerre.
                   p^snrrer Reortei O. tOetJiiwr^ pfo-Abed tax aCvtoe s=«e
                   3ssoc!«t8 0. Tsytor AratJiarj peovided '£*Q Aa aence.

                   inveived fee* «3fTi»n Ta vJc-r Arab:      n:»i >   - Da'.TS Pc;;-:
                                               f      r5«K^M„ *»
    USCA11 Case: 24-13671                                              Document: 13                Date Filed: 12/05/2024           Page: 288 of 723




                                                                                                                  *1   •/             t
                                                                       rr'f:
                                                                                                                            aZiL’    'yi
                '•'SV 1                    ;          ..V
                                                                                         I'
                                                                                 >^/ 4.»J-    ;i




                                                                                                   \'




                                 ■>                                  .- ■;




                                      t-




                                               ■.f ■ '
                                                     ! '




                ;                 -.1
                            U’s i ' J ■'-• V                     O




                                      ;G;?0


                         :.iC'                              f.




                                               I c
                     Vi .iU.                                                 J




                    ■|




I
USCA11 !Case: 24-13671
        1
                                                                     Document: 13                     Date Filed: 12/05/2024                                Page: 289 of 723
        I

       !

        ■'I
                                               MnE CaCUT-CULij ur
                                  (
                                               r*7
                                                       vENTri              caa,~ d; ak~'
                                               ro&«iu.ii-DAD£ cci.^'r>'. ruC--s>.
            ■i
                                                                                                                                            3L.
                                                                                                                                                                                B<K.'S7
                                              ■ CaSL so.- :^ic-:o:92t c% c:                                                                •O;
                                                                                                                                                      X
            J                                                                                                                               •%    .

              i                                •J s                       j. .^?s<x-ur;ON a,'?                                                               jC:


                                               ^,i:sn2.              rLASC :iX!faHL.x                                                                 3=;
                                                                                                                                                             i-i



                                                                                                                                                      5v#
                                               ;.*.ve3 L-TlnjKJftN; LESOV -ILUA.'-S.

                  J                                       Scfg^Uag.
                  i



                                                            OStS^O ON DErT.-OANTS* MOTlOiS r OKDSRGO'OT EJ:a£I>'j
                  (
                                                                VA^ATy SA?,f                ^P7VT>.» W V^TIOV T?3 V,tCATT.SALE
                                                          Ti£iS C^l’iE            «csr£ h        r: CK 0:u= sycs’L>:i«di=3’ SEstoe iar

                                                5iaris£ e V«c£3 £i< aoi Deitt^izz r Moaac 3 Vaasc 5*:- eei Oc C«." SffiS s>a!=^'3:
                                      I


                                                ^1 »r^j!d w s M                  TTt;ocefi :-«>i ikte M-.'«                ssd srns.
                      \
                      i
                      J

                      T
                      r
                                                          OKDSJXD             AJX511PCEB

                                                        :. 3rfssic«“Mo6OT&£                      C7 risijr’S i» 2ga^ ESLSUaI.

                                                        2. IfeSsIisSj ■ SiiaLrftfl !«3 Vjmc $3U: il itftby UfiSHKQ.
                          t

                          <
                                                                                                                              (cuLf-dWi,
                                                                                                                     . . ' '?■—                       \ i'V.t
                          1

                                                       ^ . Tw
                                                      •J                          ,>>           r^y.                                   7                                        I




                                          i
                          1

                                                           2CC-<E «ai C«£Sl£D =. .^IjiEj!, Mj                                    :?o =:=> a^Nnecs.
                                                       7311
                                                                                                                                                                                    1
                                                                                                                                  z.                                                I
                              V
                                                                                                         I                JCQl^A’CX'.                                      I.

                              f
                                                                                                             \
                                                                                                             \        ;         j*csTcce?sTjasR                        t            I

                              i
                                                 C~p4r_te!*i3eJto Sb.‘ *;raiK c<t .-->»                fC'rscr'S;^                                                 /                il

                                                                                                                                                                                     !




                                                     :jiEa».<3.-»:




                                                                                            \
                                              ^1? fr.fjsxt-i^-i'ri.C-:             ■V.w '
                                                                                                                   B
           :% .
USCA11 Case: 24-13671          Document: 13              Date Filed: 12/05/2024                 Page: 290 of 723


                                      IN TVlSCiRCorrCGURt-Of rriEHlS’-’cNTII
                         ' ”UDla^Lt;RCU^^:^^V^!>^O^^^IA^'^DAC■£CGU^T^.^.O?.ID.^                         ■
                                                      QvlL ACTION




            ?LAi^TiFr:s; .
                                                                                                        c-.*




           • DHrr?n'r;A.VT




                             MOTiOygQR                     A-O^Q HECUSE HlMSFtmPB

                     :    OR0£MR£SSEjjl!lJH                            VJ^J




            C0--4S fic-iV 'LA.CN VtJJS           ?r^-Se.hsrc         /U'%c *.*ij”C-: M. Pe U 0, sayj
            Ciidt CiU' sank on.nis ferw     S-jR-     P3bii-c D;5fIos«re Of Fin-s       1 n isrtiTi m
            Bink dciss Buct^s Wife an SANK h-isrsuit ht’s ioinf biissnsssv/i* ’JS Scink or.d
            telpL'SliiC'S; 10 nw.'r«''nio.ric:i,- tfcs: h? cin j-akt rassej' fcv forerlofdrg rjklr^g
            ■;ii- prG-tMrt%’ vvtili? sctlp-s f-c   :o ^ixe thcpruperiG: so: er .Jiis ?«krit3 b^:; fox
            tc -akc bm one ^,«n mcvacy 1 liigsily.         proc-t lailgJr ?-5isyeL H. DC La 0 £5 danj
           . rjujl-ptsvrith ern Bank as seer, in iii; FORM 6 ptjK 4    T *. Fro-n TsUohar.ifc
             ‘:s'\'Zi FUIL .iNO BtsOliC DISCUISURK OF PiNANCL^’U, fonr., DIK A Cm BANK is
             CiTV GROJiPtfe, B. a-S cm CFG'JFis MORGAN STANLEi' EXH, C an-rl MORCAJ-:
            ST.Af'ilS^' Is US SANCOR?.         D. and US BlANCCRP is US'3A.'<K PX-T. E. 'ATiIrh -.s a
            inaror ConSiese: Irecrns:- Wlrc He tias ruk'd ra fr.-cr cf, SAIL F Tr.jii in a ConS-et (li
            Intere?: against as and GiereV nsnra. dXK. j, j hsva.faynd that oar cz^i- was d;.--eT.«i
            cn hi-, in this Pciol Snhe -.n-Fi.c .■■ccajc- hisnsai; and vacstf h» OrnVr. Echr&ir.’fTSo Da
            L3 Dv'30 ciiistRacise your self and t>CAT5‘roUK ORDER ofiolns; us. £KH. r.


                                                                          f4ACK\‘.TLlS
                                                                        150211 S-P.r/SR ns.
                                                                         MiAMi rL.33*AT




                                                                                                               I
                                                             FI.'LLAMJ Fl.BLlC r)!>-CLOSl «
        form 6
USCA11 Case: 24-13671                              —1          OF FlNANnALiM:c
                                                             Document: 13 Date Filed: 12/05/2024                                                                                            Page: 291 of 723
                                                             I
                                                                                                                                                                                              ji!t 'I.


                  ^.*1*
                       •    i..    •         *     ■■


                                                                                                        ?mc'm Ls5.J                               =» ? •

                                                                                                                                                                                              RECavED
                                                                                                                                                                                                 i&:
                                                 n'-'
                                                                                                                                                                              :lil!
                   r / rifiS Ccnv.
                   '-' c in; jj K'c-'’i«2 ^
                                                             - -*■
                                                                         Uc';
                                                                                                                                             1: C>35
                                                                                                                                                                                                                    1
                                                                                                                                                                                                                    i .S'J.
                                                                                                                                                                                                                              65^ h
                   'XA srv ':-'.n j;: Rt Z'CC’
                                                                                                                                                                         2i.5^40
                   li i; ![,i..y,|[ui!ii2,,...i.Miq,iiii;ipi!dr-1-.<'!'*" Fr
                                                                                                                                             tv


                                                                                                                                             C :-'n        C'^dc
                                                                                                                                                                                                                              OxJn3^
                                                                                                                                    1


                                                                                                                                                   .1.7    VC-'Ci *^03.

                       '-'3 • vru'-C'^-'                                  □



                                                                                                                                                                  J' i                                   :■ ‘
        c-.i.nTv. .'^’i:i:' "1^ va.jc :?' , jv" ' 'A -►o.'!’. -*                ■ •.3    *rr.r* I' 22”^ Lr
                                                                                                                                                   -. ■>-> *?-c




                  Vv ne; vva^.n s? c?                        Jkc- 5i                              . >■' 1$’                s

                                                                                          f\Kr f) - .vw I'

        HOJSruCiO COC.3S *-iD                                            ■s                      •• iV-i z* r- >,1^ ’ IV'*               r                                                       -'. .'i-r:        ’*l-<
                    ,.'*j                               -•                                                                                                               •-   •-.   *•
                                                                                                                                                                                                                 ,.-• i- •
                                                                                                                                        jr   *•
                                                                                           .- - •? u                  •-     •' -
                   :        '*:/ ' e!*J J/• ' .V. ■ ;•’'
                                                         -^r.-       {
           fi/n-'-rv*..




        iSSE"!":' Ii>3rvi3u*4.cr va:...’£0 AT (7-f.e Jit:®
                          ’ic^r.aiiTtgw O-' *5SE~ li-ssf f-v                                     i« -^syTM - ms 1 il.i--c!ic.-!» .t: <:                                                 .     v-U-U.^ t-Tf aSW-


        trm&                  4,^1.
                                                                                                                                                                                            27^
                                                                                        riKTf - J_!-\a1!,r?!'--
       . E.:4fc iT'i?S'>: i.xcis-i 0^ I‘ '3« r5.*>                                .-vr.ia?: ii                                                                                      ;       i<.K3lfl»T          ‘.'iSlL'T:
                                  k*>«e ASO AO^acsS C*” CHGDTCB

                                                                                                                                                                                    B&SFs:
          fjrJ.-il -gi                                                                                                                                                              1’

        Jfr3KTAKi'5CVt«Ai Li*SHirir!:"NC(3 '‘ItP^IES .'-iiCvE'                                                                                                                              MlC-M-JiT ** GIAB.\ —■
                                  'SAME A>7 ASOnCSS Q^ GRtCnCft ■                                                                                                                   i




                                                                                                       .'-.Ktr* i~^U *•
                                       .'j •-.
                                                                                                                          II        i\cnM5
                                                                                    I


USCA11 Case: 24-13671 rAJ u::••«

                .. :• fry                                       '4 •   Document: 13                                                  Date Filed: 12/05/2024                                                             Page: 292 of 723
       i-tr^-rr^ .. .

                                                                                        •;•     &:>   r               V            . >/ f.
       3              Jvr :                     ’.',Zy     ^ • •' :i-.‘-                                                             , >■■2                    '■
                      ■f' • ••


                                                                                         •f,
                                aO^-CliSCF •VCPUt; fVr^
                                                                                                                                          : t>.i       0- ]•
                Hiui \.-f -0 ^rscr' •:

                                                                                                          L:2rs>
                                                                                                          i                J?L_5<2=2L2fi
                                                                                                                                      -•r.vri                                    •-          .V5-:
        IZ'^tPiOARr 50U3Cr.S •=? irC'CC'-'H ■                                                                                                                                                                                      :X‘5
                                  ‘.i.'.'-= Of
                                r:?s- ./r >;•»
                                                                           .-vc :'■ '-"
                                                                                                                                                                *C. rZA.                                        .xC.“              -♦• ,-fx.^/lr
                                                                                                                                                                                                                                                       ^]n.S2-
                                                                                                                                    t"'




                                                                                                                                                                                           f T psc^ a‘                                               f
                                                            ra.Ks;     - 3N ft Ri.'i' !N H?Kr3;m> at.siNFs».i:s:ir.HiTo;t^
                                                                       'b,= '^.y. \N-

                      6-                                                                                                                                                                      1
                                                                           ViJit                                               I

        /.“n^rnr; ii?'                                                                                                         i
                                                                                                                                                                                              I
                                                                                                                               1                                                             T
        p=i’,          P^.. •-.•£.:nE£S
                                                                                                                                                                                              ?
                                                                                                                                                                                              {
                                      :r-


        ,              t-’l           ‘rAS
                                                                                                                                                                                                                                                   —


        MS.: Jr^f O," V*
                                                                                                                                                                                                                                                     i
                       N'e^Sl'

                                                                                                               r\R;                - TRAtNIM.

                                               r;v;rT~4*??-$                  tr;                             -'ll-                       LV.eTO Zu^iUc;'* tC- .-■

                                                      □. . E CiEKTlFY that I HAVE CQMF^LETEP T-iE REgUificC rRAt.VlNG,
                                                                                                                      rnJLTF OPricRaA
                                                          OATH                                                        ‘CCC^TVO*                            rY\Vi5gi\-i^)adg-                                    -V
                                -i; A*i,v4; '             3;ct:^ :                                                                                                                    .r                      _r‘.

            •    'i "-'■   .-                         Cy 'Tt’                                                                                                                                                                  t
                                                                                                                                                                    .J
                    -a,
                                                                                                                                                                                      >-'S^
            Ir-i iair                 :. -.i     -;?'<■»: ^ «.:t                                                                                                               , r.- -f                       .&iU.at.C&i«2AL£2
                                                                                                                                                l*-sv-V J-viT
            .f.- r ws?-?"                                                                                                                                                                         ilv.   •-''                          6 f7 ar? >3
                                                  .   t
                                                                                                                                                                                            Vf            r                             l« !•.



                V
                                                                                                                                   •. .»t r *, r ...
            CJG'arUHE OF                                  l^'-c CF^fCiAL -??? C.*^

                                                                           n-.^’        ■.:t;         ':•*•                               yyr '. ?v.rv-iv‘               ’In          ’i Fit'                           ?v •            --• r.c    -4
       va- r-^'.; .tK^n--'.:-                         r.TScwi     xviH:- r*

                                                                                                                                          S-,      CTH'                                     A.-! r! ^r" •'■' •-‘--•-IP !-•'.'‘•xl 'tuVj-
       •S£'::c»* ' i;                 •-■ci                                                                                                                                er.; .•                                                 •• " ..\ 'r..
       a*‘a ft=^ro




                                                S'^ -^ri-pp
       Prcciralwa nf.jiih futil! b' i ( f''.-jr.ipr-riKi                                                         p 3 .■'olii-u tbf bltr-•f.fhc rf^p4.C‘-..bi.i!;. lo >i,PJ Ifi-; inrm andit sjill.
                                                                                                                                                                          £
                    IF                                      I rfSaoU-TH F                         <XTVT«^< S'DOV \SciM[,!\ll;>IIFFT r                                                                    EtFCK lIFt!?:                  □
                                 •.   J                                                                                                                                                                                                   r a.„<
                                                                                                                               i1
USCA11 Case: 24-13671                                Document: 13                                                       Date Filed:  12/05/2024
                                                                                                                                 ■ r P-“ •'iv                                                          Page: 293 of 723
                                                                                                                                                                                                          T; tin
             V                       OP..l..^on of CAC.s. tApvr^                                                                r^.fl.c:A^
                                                                                             „f yve^ otiEi ch-^r'^f                                       *»eEr
                                                                                                                                                                                                                   ^'V£D
                                                                                                                                                                      ‘■i:- l-li:.C=- 3 !-oi -M .v
                             All rLdiv.ii viir.v^'
                               -• Ji'C:- DCk-p;-.'--.                                                                                                                                                         Ji
                                                                                                                                                                ., ..lii, -3' :. ■»!- ’ '-"■'■
            ^■ I

                               ’'f                        iiii-ir
                                                                       ■ ’
                                                                                   I                      Aii'T.i.’ii-           ikK’i              •.:« •' • t,.
                                                                                                                                                                1 '. -.'.
                                                                                                                                                                                               fi'^-■■■■■■! ■-
                                                                                                                                                                                 ii,'■; . !. .:r;i-. • •' ’"j' i
                                                                                                                                                                                                                            ■{
                                 .rji              I’i-A. :'.a               tji            ..5>' ■,^                 *1^: OOi'- ‘ ji‘
                                                                                                                                            '.jI. ■Ji:’'.'                          : .:.c'L;i:ij:i.
                                            Co:V                                            f,Vr.iUA:.                  ti^ic

                 .•jrr.t’nir-'-.vi.
                                        :



                                                    • •
                                                                ..-I               :;r.:
                                                                                       % _• \i
                                                                                                   J.i
                                                                                                           iL :,,!U-.
                                                                                                                        .I'l    Ahik .
                                                                                                                        .l;'0 .ilil-.-U-i
                                                                                                                                              c-V''.!’.-.,--
                                                                                                                                                    j


                                                                                                                                                           k'- ' ■        . if
                                                                                                                                                                                     -i .;!■:.! CC-
                                                                                                                                                                                                                     Ef<^3z
              '•■ ;: 1 :•-
                                                                                                                                \v„,; :. .i!. «                                                                       ^o<h<Zj j
                                                                                                                                                                          A.I




                      i,                        :-.W'-:AV .1 :Ppr-!Ahr^!v.l. P=Vi^v^-._ 4                                                                       •                              -ild
                                                                             J..J k.               jk-,                        ?’•       ^r-Oii"*        • •*

                              .-■ ;l;k ['.A.; ■•■: Iau C                                k

                                                                                                                                           M3LRCE                                             .VMOyN'
                       rjAH                                L)l M lUi^T'ASN
                                                                                                                                                                                         V,


                                                                         \^/J<                                                                                                           k




                                                                               S'                             :■                           •’vp^-lk                        k

                                                                                                                                                                           kii.k ..■; . \:\:r.--,C'          ■:
                       Z.                       tt..T’U r, jll                                          rw:s3l'.iki'>CT7:tnU ki                                     > '
                                I..I.       -               \ ..i: . ;.kinn
                                                          ;k.                                              rCkC:' A iui.ii;; I^ie- pricci .'.i k .Av 111::-k rj;                                        I-

                                                   rk s_ J :.          n- !                                             -'! AP C'oi,: .-5 J^id ^ • V.Aodk;;
                                                                                             ifPSi; rumsdn                                                                            cr.'-.'Ri- i
                         DAT:'
                                                   .riLbdk d-V • ^1-.                                         -3d puR                                   -U 0-
                                                                             fi-: ks’;..r. kT-.L'CiACk.                              oi .:ij[ii.-’
                                                                    ■-tik          ■ ■~I.T~''.is-- !u pAliJ ,’: ■■’-rv.ui



                                                   . .m-

                                                                                                               •.'. •.■JP'iriii.-j 0 5 '.ep;! .o-- •


                                                                        ( t>M :\Vt. H) V'AGF 2 fOR UA 5 if


                                                                                                               !'.i
USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 294 of 723
                                   o\n5
                  ♦
USCA11 Case: 24-13671    Gt3S«:S.C 13isai1i:€irprk:£
                        Document:       UJ
                                          Date Filed:  ocfevtv?.
                                                          12/05/2024             Page: 295 of 723
                         or- sharajor' S-sTiCa"? i rcir,SoSiO ^Ci'
                          S5S.CO ^rc         the- corriosT/y s

                        . rating in a refftarch fx:te or MooOev,                         32
                          hic'-'ernbe: 4i'h.Cftignx'O bw'a'ed shares
                            U.5. Bs^icorpfrom 3”r«€iftrar.ni-r-^
                          5*5:e?r rztiTvj ind'dec.*«3S€0 their
                          brjsi fo': the stockfrom $5^-00 :•:•
                          S-i'r.CC fn 3:resa3ri;r, rsOOr:C-r Tuor-o^
                          Oeioher        Mo?t3"'5>yik9"rer.x-:ed ■&
                          eeB   rating ano rsstiffs a SO-ZSjitr.xg
                          urget (up j^aVxKfy frcsm           'X’]
                         ^tiswiJS. Esficoroins resw-rcr
                          reochon ?>to.-da>viVov-®r>>sr ISO*.
                         C'€<?.r Sisisss Group resist^sd o.'^.cid'
                          raring-one sSirsod a $55i3C priia targe-: C'',
                         shares of       Eaocorp in e reseatcr
                          repc-rt cn tiiutsdsy. Septasfiber Ht h
                         P jnaSy. USS Group 5?ft«d          price
                         fergtc OTt snsres.crf US Ssreorp frorn ■
                         S56.X to $iB£0 and gsw thse sox >■ s
                         'riSiicrar rafir® in a rsse^'J rspert an
                         Nlonday. Octob-sr 2,l50 P^,’ iny^^jrerit
                         an^Y5ts:'w><rr3SS!nfCT!wrW^^h.:-.$c4i             i ,
                                                                                                                                             YHi^l

USCA11 Case: 24-13671                           Document: 13                                      mill milPage:
                                                                                Date Filed: 12/05/2024     iitif Hill
                                                                                                                   296Hillofmil
                                                                                                                            723mil1nil
                                                                                                                            CFN           2012R0ia2835
                                                                                                                            DR    28033 Ps 1695? (1p3>
                                                                                                                              RECORDED 03/13/2012 16:05:04
                                                                                                                               HA<?VEY RUVIH. CLERK OF COURT
                                                                                                                               MIVU-DAOE COUHTYf FLORIDA
                                                                                                                               LAST PACE




     CORRECTIVE ASSIGNMENT OF MORTGAGE
                                                                                                                                           6<h.3'^
                                                                                                       SrA£X "OK MCOtfiP« ttA T M|»l Ji


    MERS phone number: I-888-b79-63r'                                                                                                      £\,n.
    MIN: 100176)0506273320:


    FOR VALUE RECEIVED, the imderaigoed, MORTGAGE ELECTRONIC REGISTRATION STrTTEMS.
    INCORPORATED AS NOMINEE FOR AXIOM FINANCIAL SERVICES, CAjsigKjr') whoee *d<h«i a
    P.O. Box 2026, Flial, .MI <8501, usigned, monferred end conreyed m                        L3. BANK NATIONAL
    ASSOCIATION AS TRUSTEE FOR RASC 20«5AHL3,("Auignee') whose KJdress is 1100 Virgim. Dr,«,
    Fon Wishingior PA 19034, lO succejson and/or issigns, all of the right, title, and interest of Assignor n and m
    that certain Mortgage (the -Mortgage’) dated June 30, 2005, and recorded July 29, 2005, in Official Records Book
    23623, at Page 3231, of the puWic records of MJAMI-DADE County, Florida, encumbermg the fbHowing-
    descnbed xaJ property:

            LOT IBS. BISCAYNE GARDENS SECTION F PART 1, ACCORDING TO THE PLAT
            THEREOF , AS RECORDED IN PLAT BOOK 44, PAGE 46, OF THE PUBLIC
            RECORDS OF MlAJMl-DADE COUNTY,FLORIDA

    as the sarne may have been atnendcd from dtne to time

    The pwpoae of this Corrective Assignment of Mortgage is to correct the Assignment of Moitgage recorded 00
    lt/2tV200* at 09-41;n in 2008R0941616. of the official records of Maimi-Dade County, Florida, by Harvey
    Roviii, Clerk of Court,

            • Changed to MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INCORPORATED
            AS NOMINEE FOR AXIOM FINANCIAL SERVICES as MORTGAGE ELECTRONIC
            REGISTRATION SYSTEMS, INCORPORATED lAS NOMINEE FOR HOMECOMINGS
            FINANCIAL LLC Is not s valid entity

            MORTGAGOR(S): LEROY WILUAMS

                         WHEREOF,Assignor has executed and delivered this Instrument on
                                         .2012,




                  Pcnnsylvama
    STATE OF
                        crotQ®^
   COL'NTY OF _:|j rnixistt
 _     Tb»foregpii«>osm[me«^acknowledged before me this / ^ day of  2012 by
 Tnrcnielirig rLCeiffVforandon behalf of mortgage tLE^ONI^/feEGISTRATION
   SYSTEMS INCORPORATED AS NOMINEE FOR AXIOM FINANCIAL SERVICES who is personally
   known to me.


    CL sA
   Notary Public;
   My commission expires; /                                                             COMMONWEALTH OF PgNNgYLVANU
                                                                                                       N0TAR1AI.SEAL
     Recording requested by, prepared under the supervision of and return to;                CHRISTINE MORALES, Ndanr Pufafc
     Ken Porter
     Ftorida Default Law Group, P L.
     P.O. Box 25018                                                                         My Ckimmiseion Expires January 28,2015
     Tampa, Flonda 33622-5018
    F1005I leOdMAC mortgage UjC-

                                                    STATE OF FLORIDA
                                                                                            •’ (CF •v.iAMl-LetDE
                                                                                Tc:         5{
  (INSERTDOC "M900l05.rtr KEEP_FONT]                        ‘led n r.a :*=«
                                                    HAR/EYRUVIN. Clerk
                                                                       -1
                                                                                      'll     fvid Dcunty Courts liv
                                                    Deputy Cleft         /
                                                                                                 ,x'
                                                                          \

                                                                                                               :9iifr
     Book28033/Page1695                                         CFN#20120182835                                                             Page 1 of 1
         Quora
USCA11 Case: 24-13671     Document: 13     Date Filed: Open in App
                                                       12/05/2024       Q 297 of 723
                                                                      Page:

                                         Co?
          <!f                            col      o            ©      ®
         Are the roots of Morgan Stanley and
         JPMorgan Chase the same (i.e.
         JPMorgan & Co.)? What are their
         histories?

                                                     0             ooo


            Answer        Follow      Request        Details       More


           All related (33) v                          Recommended v



         Tell us why you are not interested.                         Undo

         Your input helps us improve this page for everyone.

          Unrelated to this page                                          >

          Downvote answer                                                 >


          Report                                                          >




         You’ve hidden this ad                                       Undo




                SM    Follow                                              X

        o       9y

         JPMorgan Chase & Co. is the parent holding company of
         Chase(Commerical Bank) and JPMorgan(lnvestment
         Bank).

         John Pierpont Morgan (J.P. Morgan)founded J.P. Morgan
         & Co., which is the predecessor to Morgan Stanley and
         JPMorgan Chase.
         As a result of the Glass-Stegall Act of 1933, J.P. Morgan &
         Co. was broken up, it spun off its investment banking
         activities into Morgan Stanley.

          ^ Upvote       ^      D


                                         o                     <
                                                                                                       V—                    T'
                                                                                      X                                       S,   ui :
                                                                                                     ^ !in.v/ikipfrflii-vnfc/
                                                                       USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024 Page: 298 of 723
                                                                                     “I American bank hokiincj company. .     UPbancorp
                                                                                   . based in r/iiiineapoiis, ivlinnesoio, and /
      J                   '

                                                                                     incorporated in Dela'.varcJ‘’Ut is the
                                                                                     parent company of U.$. Bank National                                            ^1^-
                                                                                                                                                                             , -III      ^


                                                                                     Association, and is the fifth largest                  P
■ '       I
                                                                                     banking institulipn in the United                          ■ is
                                                                                                                                                           aNataara--
                                                                                                                                                                                        SSI


                                                                                     StatesJ-’’' The company provides                                        f




  ■           I                                                                      banking, investment, mortgage,trust          I                          ill
                                                                                     and payment services products to
                                                                                                                                                                             r-

                  i.
                                                                                     individuals, businesses, governmental                         iS: 3-''                           .11.-

                                                                                                                                                                                                              £^}i.
                                                                                                                                        1                                                       1, ■ .{./r-
                                                                                     entities, and other financial institutions.
                  I
                                                                                                                                       I.,-', i.                       aiu
                                                                                     As of 2019, it had 3.T06 branches and
                      I

                                                                                     4,842 autonvaled teller machine--
                                                                                                                     o.


                                                                                     primarily in the Western and Midwestern
                                                                                                                                      kvijurjt
                              I
                                                                                     united siales.^Ai j,-, 2023 it ranked 149th                             A^j* * 1.1 yx I'i'^ Y< J»;


                                                                                     on the Fortune 500,l''i and it is
                                                                                                                                      ^CClltlTk
                                                                                     considered a syslemicalfy important
                                                                                                                                                                                                  ’-•I


                                                                                     bonk by the Financial Stability Eoard. The                              [ •         . > '-■>

                                  I                                                  company also o>vns Eiavon, a processor
                                                                                                                                                                     .fK.



                                      I                                              of credit card transactions for

                                      !
                                                                                     merchants, and Elan Financial Services,                                     I'PCt-arOlilvrfci ffiwi


                                                                                                                                                             ▼ ir.V. ’£.• loi.vj i.nvk
                                                                                     a credit card issuer that issues credit          fits S*:rr.*<

                                                                                                                                        •1.1.     ■>.1%

                                                                                                                                                                 ,u;
                                                                                     card products on behalf of small credit          1*1

                                                                                                                                      MSS^ATCr
                                                                                                                                                 v*J*



                                          I
                                                                                     unions and banks across the U.S.l^^
                                              I


                                                                                     U-S. Bancorp operates under the second-                                           •f.




                                                                                                                                                             L^«?|T.rvn                       lv-tl
                                                                                     oidest continuous national charter,                                                               liOTOHl

                                                                                                                                                             . - ; sAitt>t^;T4,
                                                                                     orioinaily Chart^ar #24,granted in 1863                                 i. -i                t’U'VTJlf.;

                                                                                                                                      ‘Arl»«r-
                          • I
                                                                                    following the passage of the Nnlional ,                               r^tsnn / refetnter


                                                                                     Bcnlc ActjEorlier charters have expired i.,
                                                  I                                 fa^Qnksw&tB closed or acquired,raising U.S. Bank's charter \
                                                                                     number from #24 to #2. The oldest natipnal charter, originally
                      ■                               u                             granted to the rifGt ^icltip.nc! Bonk of .>^hilo.dcipf iio, is held by. j
                                                                  j5\\' i t-b V     vveiis Fargo, which was obtained upon its merger with ^
                                                      I



                                                                                                                         I




                                                          I

                                                          1
                                                              I
                                                                  •I "'
                                                                      1
                    10:29                                        »tl  •a



USCA11 Case: 24-13671   Document: 13 Date Filed: 12/05/2024
                             gbballegaicbronfCte.coni                    Page: 299 of 723


                   principal amount of 3.200% senior notes duo 2029.

                   In addition, Equinix compieted a concunBnt tender
                   offer for any and a!l of its outstanding 5.375% senior
                   I'jccsa due 2022. 5.375% senior notes due 2023. end
                   5.750% senior notes due 2025. which v/ere paid for                Q>ch. HI
                   with the proceeds from the senior notes offering.

                   ‘3olSnnan Sachs & Co. LLC, BofA Secufities. inc.,        •%


                   Citigroup Global .Markets inc.. J.R Morgan Securities
                   LLC. Barciays Capital Jnc., Morgan Stanley & Co.
                   LLC, MUrG Securities Americas tnc., RSC CaphaJ
                   Markets. LLC,SMBC Nikko Securities America. Inc.;
                   TD Securities(USA)LLC, Deutsche Bank Securities
                   Jnc., ING Financial Markets LLC, BNP Paribas
              r    Securities Corp., HSBC Securities(USA)Inc.. Mizuho
                                                                                 \
              i

              I    Securities USA LLC. Wells Fargo Securities. LLC,
                   PNC Capital Markets LLC, Scotia Capital(USA):nc.,|
                   and U.S. Banco.rp investments, Inc. are all the           !

                   underxriters involved in the offering. J       ’
                   Equinix, an American mullinational company
                   headquartered in Redv/ood City, California, conrrects
                   more tftan 9,800 companies directly to their
                   customers and partners inside the world’s most
                   interconnected data centers. Today, bussncssses
                   leverage the Equinix interconnection platform in 52
                   strategic markets across the Americas. Asia-Pacific.
                   Europe, the Middle East and Africa.

                   The Davis Polk corporate team included partners
                   Alan F. Dcnenberg (Picture) and Emily Roberts and
                   associates Ali DeGolia and Caitfin Moi^s Cunnane.
                   Partner Raohol D. Kifrinborg pro'rtdcd tax odvico ond
                   associate J. Taytor Arabian provided 1940 Act advice,

                   involved fees                                         ^
    USCA11 Case: 24-13671                   Document: 13                         Date Filed: 12/05/2024                                           Page: 300 of 723




                                                   t Nr5T;i> S rATF.S DlsrRH'X COliRT
                                                   soiTfsKUN rjisTiaCTor i-'lorii:a

                                                                                                        t iic ''>: i -■■C'- ■ ' 1 >' 1 . -ii A v:.b..'i
                 TAU;. [lRK::,50'i.
                                            r’:a:r;i;:
                                                                                                                                       U:

                               w rfl^iKRtD.V Jff .                                                          FlLtC ^•/ >                      :dt,'
                                                                                                                             7
                 Mi; j?ank. M.-Nr;o>;Av
                 jP >.ICfFlfiA\ Cl IaSl EaKa                                                                                     2*^
                 .'ARLA LfBElSs;'.'                                                                                  -t-.
                      V.-ASLXSTL-iN
                                                                                                                        . a'
                  :-a:XNUTH hF.El HO-IM
                   TiRRAMT V;                                  c: ni
                                                       i.iC.XA.ij.’sr-'



                                      MOTIONS FOR RCi,iCFABmiSAJ,.A^jjJo-iiGEAXiiLi:.’

                            PuiSuJin* It! f-CtJc-lii S-'P-i? f3 Civ;! Pro;        I
                                                                                      lire   Rate 6l>. ? .’!T::i;r Ctrf                = ra lurre- \ Ti--
                  :h;s rf!c.u-.if Mt RtXf.' 'c S-rs;t;5l l.n<! StipoL-nijlS N:£ir.<iraii;!;!r. tKgirt-'ai.\: M- Jin;..- lb' . IC-'i
                  .ar.’^C Daniil Gcviti y:x! Ij-a.-kA' rir-fC'.'< '.tl'lJs icSKTd ass Diir-tii-al Orccr rr>;:..--;:-c.it -J-S', iussjit;
                  r.n. rial rcHiirVii -.i; lacis, ;•«•■'•' -nS>rrTiev.'~' hv-a icnrii. jnJMial m.- canc-art jrakC. < ra vri--!U 'CSir'-ti

                                   cc.-.tlic: '■.if p=rA-rji in'.Tiiaicni iaicrCK.;. ert Ufttreial Ditrioa-jrv ■ of                                    nnil
                  0-r.iCCrs oriBJ CoiCT lli.\il--->.ts AliacaeJ./P Morgais CSaic Sps-’il a;Ki--n .-rr. Pn-a.-rn Mjput I'KS
                  ■'t:.-!V:rir Pag?. .If. PRS ’i-Jia TiblcJ r-!.-..     fi^iB^r.-US ruiii F'orn-'a S-jl.-.hJla-'i-'.. Mavlcv
                  ririiicia;                 £. P:tr.:iSy
                                                                      FACrcAi.idAnsGROCM:?

                        ;      t)n i'ara* •'/..       ?S ?i.-.ir.l;n Cai: &;::iC5-on il.'cd = '--ivj: liritu' f. ..-(r.pla-r . 'Fk-A-jir-m: £'.
                  .nrini;    Fiaiid causes !.'f                 kh vlo-tjiiciii i;-r rt-ilcrai tart i.e vs. C*f-iir«c; :c:: fsirfe .-esaritv
                  c'.reu :<puUnio:i '.-mNSiij-t- ixil raeketeCfirtg laanter
                               Tr.c f.iU'i’.piaiai ua? 'irjtej ur.iili. ;>r«e!ltni MSDC, reia-e-l                           icrt:.'!---; fit r»p biaifJ
                  ^e'cfi-.'jtari: tj-Alc Irnl piiiiii.ncf. tv'/ito/.w i I j a shoh wii fU::-! ilBUaiCf' a! ;:•• .'pu tdi \:e li.i
                  ii-sjr; 5                       i'Ji? £          Jrd pfAia i'a'.OTcnr o: tat ersm jaiT.in-ii:                          la: 3?c. '.3c.'
                  =n.-,lec I'-j reixr. uf.-1 (S', s dcreenU ■Tvi i-le relU'-f                 'it trader F-i >. S. <_ v. P >
                        :• •;]•■. jiiaa                     bd-.:-*         iSVjCC nuc.iiisirvsnJ M'.'Ck i<                            • ' ;.■■-.^•v ot i-'tr

                                                                                      IJJ




I
    USCA11 Case: 24-13671                       Document: 13                          Date Filed: 12/05/2024                                           Page: 301 of 723
I




                        It -! P>-.7v-i.~ 7V T1 ■            Doi:\j:iTan: 5                   tv’i            Qcc^.ei                 "''li Pi-gs L' o-' o




                  rrrara ii a .l:liIS-.•!o>^>.^M: ali'.rrjry ^L^, iiiiftrcd
                  ’:r.c!Ti«^E’i'-;: V- ^             .irfd J I' Mcp^v:!
                                                                                                      md las p.'.'.'Ik'iai !a i                 fat ;air-.aafS
                                                                                                                                                                       Exi-,.
                        i       I'iiiKlrT |■.•a:!■.Jl;:l lar. a-.:-* ju;.is«3sp;a:l; pros-^Kl lii; l.'v.-iK-i S-a) a Da'iai avin or
                  Ja-iiics >X'50C.yi sp^srk rKr-.-i:;, J:,sc‘                          -.viiaair-h-'a'fcfr Mforms:i;>--s f.’ai                         Tcccwda
                  rc?.irdia£ te niir-aJ'-. ol’ lalaons ardc;i.iJ5 la wp^a’cat tiuiaii;:; :c-^;:o■^v.lc                                  'iis aisk r; ;^r
                  Ocfijnitaais ill'.; i;;>;.T! citVitirs la lUi

                                                                       >,iLM6RA.:<nL'M nr i aw

                         The                     itaiiiuaini liniclv C'vnslilritacjt li'jf jasaccaa ai'h iiy'.l’'S h :                 ; !tt a ■■ ln-l:ci aj

                  Ttf.ipcr: lim «c;!o(l for .:>yk m;.; ia-.ir::l ihe c.-R'C'laim :r. irc'--;cjr d'.h r- ■-                                      ::.'.er'3:   k c.

                  Ji:rcirTra:itin aral li-qaai; Jad;;t Gdv’f' :<h;u5ii htsCd iWicSWrtC finanri.;! err; I- ..'.-* Oi: : nc fi-'s
                             a.yh- '■(> - AV.'fA7,'> .TCTaJr<--.'jfftrtyrf !>,' O.’d.'r

                   ■•f. i 0>.ji!i;.J'._,ii.v’ .s'.rJiV       -j t Mr} ’u.!^ri,<\K, i >r\icf: la ?r‘ K'‘‘ 's-Vjfi' ■'         /Lv.vr, ^ •■ rr.i i        Arrr.-.
                   rjW e-ttvr /.'ST-.' /e*''s-''v -.*p^^riy •*.' jr.^ Kyci:                              itJ.in^' .'iC'/.-tre/.*'’ * •■ ti-r_ r
                   an-CCi'uy.S If'r Th.t wi!,:-vii;:y rctr.;"';.

                        .-arcTiJia 'rmj'r.wvrcf                         .-.u-irrtu-iaySi;

                   't‘ Htf'hiiv ir-fri'i} fvUit/':              ■Y/rr.'. '-’r.h                              i-ritk) nit smi-.-        .-■/ i.—
                  .vrai' I'jijTi./,,- .'ax inyju fihJ' i'-wr tt'ih r'r'fiX'

                  j''A} rratio I'whciiKi- pjv ifeo''' ralMi aYr/furV or eiTawai: i. Mw-.ysT'erai.ar.'H.-, r -                                                h'
                  a/I iT’pt i-v I rj / >a.-.'t ■ ■

                  I'r, Jr.TOi'/yuiW.'dJ'efr' lY’r.i-'.'./i'if.'aa
                                                                                                                                        ■          f- -.aO'/iJ .
                    j'l r/iTriYZ 1 mfto/ KKkrRttk            .v.vj.v/ U .'•Ak.V                     faiw
                  iJt,. fit- trrn/fM   'ti.aiv ikert ayvttrcf'.' tkt isis.y ajf th:/itJps.'ri or ixyry It                               V.' a n.; o'if»

                  ;.r,s:vv.iir5:

                  .■■r\i lx. Or. '■ .'i 7f i.-inviy •• w.-a'iam .-o ;ActYi. o ■.Luf ' nrny :(y'iiirtx                                       .rar laai' :-i7:r~r.
                  ..XTVp.'i'i/os i/Be. Yi 'T/ii/j'tfr/Ji.'r |•■;I iv.0t7               'i’:'riu\i/>ie i.v!            ”
                   PlaintfiTcxf. ftOlfd                          fautmaoinT'^ Td(niiias                        JUfS.-iTltt              tf ffil;!.itfii/r.fe'iyj.

                               b\             eiglft Matt yw-fm A»torae> <?tai«r t? tjF                      Tltirgif -Sititwol. Aatiai

                          A kit-i:Ji suC-iiC ii e.N.pce:w w i                     nlrcycis pursuac: to IS t. .-i.v ■? dr                    tx 41 ■; J             '
                   ffCJSSl            aa!r..a::;,>rj' in ' ecy pr.aeferting in svTiic'A fw iir,pi!.r:ikit>' aiirtn ixiMasa'.^lY nr
                   CfieEtionc.*. - vralin' p -triCci). > i-diw ii 'sipiCiCJ '•> Ci;iji.iiii:f'/ I'i-n-.si-!; m i-yCK                        O-P.-'      ■•■a. n'.'r

                                                                                       ill
USCA11 Case: 24-13671                     Document: 13                                 Date Filed: 12/05/2024                                                  Page: 302 of 723



                                                                                           ■PVI.'.JG 3 C'l ii
             Case ; t5-c-.'-22215'D?’G Dsiumem 5 Ente.-ed on =LSD Dr,:ktLCv=i'V''.:;;{‘i;i

                                                                                                                                                                                       ,32
                -IjR-r'-:!'.-
               ..-.JL'!. rrirrl
                                                   crr.-;iv .-^a                      i.; «r.; i--' ku'.i ^>c.i :l f-T- Tr.-sj . .:
                                          2CiT. fiiCJ nr>-; cct-::;::;::-?:* cn ■■viir'.iKJ 'l rca-.-t                          ^j^rsun •■' -i
                                                                                                                                                    .■ li •j.KT'ii.'T, ;h-.       £xVi-S«!i^

                ■;;                i                                      „v                                     v-.-o- <■' .rm-i-■ .b > ,%'fvi-;!;

                , •rai.iVi.'iw,   t,'/ I'Uw t.i-.itT ■Jr.V.iV',;’ f.-l:;,’ •b.vi,' K-                            4'' f ‘"J ' V rmr / ./I. .’-n;' •/ r.'J'
                rn-.'.’siV(.v.'

                                                                                                                                            ':<i'   .-'.•Vi' '-'TTi .•/


                ■V.Y-n-                   i-'Y-         i'.',5>.r.', -".I.'.'         .■'. i'.'                 ; V!.          >. •,


                                                                                                                                                          : - io.
                ■/? J-il-v.        /'/.            Oir;.      ■                 rrx                      20M. s->h .- A'-;:*-
                                                                                                                        '    I'Ovi-    HU               w'' .'
                 ,'j'. <vx>>;                     H-fl*.’; -V;^ /- -‘C-i               aiv:;,'                  '>•'
                                                                         roNrivSirifs's


                        TIui Mv.riOi ^ Kflic:                                                            C:; un,Mlv (% vv                u\i. -‘
                                                                                                                            ; evidirrcc               -’a’p ~ 'i ^
                 ;n:r/.-;r.a:ic.P. v.-rnibl i-.r.neib.-.-j. ftsu;;. cibtorvi'.iL-, ud                                            .
                                                                                                                                                                          V- rn
                 ;; iw                    r,:,npbi;a dim? r-:aiv,nfrc.:ruy'.i™                                              m:>« :l,e                   ' ck,3:up
                 ':>e:cnJ.^rj;s oi & <i\                   r.v O;   ..tur-j -uCSf -bcnMC du::                                                            Aa *rL'^lo c. ' V
                 o'ispto cd '>v ‘-'rt .!iid                       Diarn'issal Order, dd-? v- :ilt-d imarci cr rVtiiC'O.'
                                                                                                                                                                    ii ■in’nr
                 .Sdw                       lO-scable -e T.!;iceed                                          wARiMt ,weai;J i£;-in4
                                                                                                                                       in ih;.' C-- ."-
                 lunliM «.nei}C ui:c>ia::rJ kiikeia! Julies rriiuifud :dr liJr poewr

                          .UJi/- Aiavli"-                  '-iVAirn: aar.1 !iis;orf vvi;n De^'.-tisr' ■ !-■
                                                                                                    Mcrura: i' :. ic d:a . ^us^ci
                  "retVcnnai y-vn.' .••J-n''      ^n-aWieW bv hi-'- -'hu' vr.vj:e -i-.i-nv -nd JiS-'Ri'-'-a J Oo'i: hi-lii I a.'-iY--
                  iaii idur.iiVjiii t-beoji-d ii-.eL’:.'.i.n ■luiiiicuj’ ^niircjti io he aA}i\: aisi:c7 ■ :. cor:;:- ~ur..; aiu' nh
                  ncfcDdanti n       ,f. Rir.’;. arni .1 P N-5-"-c3in Ctoiv- ihx        be 5.:!jY:ar--.K:iy ; c-iV.r- v i.'.'teri-.’J l->
                  ^hc               of ;/.e:s iMOcee to v*en rke                 ‘'u.llimwiy ;; evaii -




                                                                                                  f'-l
USCA11 Case: 24-13671              Document: 13                          Date Filed: 12/05/2024                                       Page: 303 of 723




                                                                 5 En:ei!r;; on r-LS:i c-cct<-; Ci.’2-..:.!p..=                             w; of S



                                                     RLOt.TRRt)flciLLIif
                      n;C3U3-l :u Icfoni: Itz, .irCi.,;                                       «, Pl^Kiur," tcqu, Hcf^r          :=,
                      ii-'. -I'i’.'        Ov;!;r I'Uj^T.qn: ^1                                  litv suitd Sac:- ji !' !<;,;n5
                ni;!cr.nft..n. fVu>; Tfi' :;rorr^       -»v.fv                     bani:!i!s :, iJ ii :f ;ravi'; . ,.              '.ilpcsn-
                      Si;d R«;r«i-;! Reii^-f •,..-.ii;..i -yo:!? -J-ie 7«usa; orf jii.■ c'
                                                                                         0:";w-- *1-0.-:: ;:13 laj i.v.' '~u:.trc
                        I     8.1C1: j-d ; P M=;.^n                                 nra! e-'n.::- rjj^>u               n. t!.i;>            rsic-
                                   Kt-hOj’       »■<“<.'?.-CV 'i'-i*. cll :uir ■ -V! L--; rens^. U'oi to :■. ^             r oc-ilii. ; iTi IMi;,
               ;^;io:i :rtKi[n3y i v-i:          ;.v c-r Sun.3:oiii .ipj.! die r>fo           :-„i j,;; ,
                                                                                                          - Pi-- P!:.-j; r-i' a
               -VL^-air,-.,-. i^nyoid lie^fco-ndai-'i! (13 miiw,         ,-.r^ rM»::: in,-e,: !..-rci.


                                                                              /
                                                                                                                   •

               Flic^ 0-Td, |r.

                                                                                  Car! !-ric;v--rt:-f-'l;ii.'^: .•■;

                                                                              ?0 Bill. JA-;              Aiqi-n, F[ > . :?-



                                                    < iiRTJFfr^T.'l )Jh SELRVIff
                      i I-iKRra V rC-RnFV                        4r>v                 ;ok- ;, „ n;- a:;i3 --vi reel ; j'V t'f
              'llfMiM!; tt a? nro-.-k)iil via :h'.-. Co'irlS deoLion-v lliky .^v,i..:n-- oihoau.'-.-■rsitvi -. re:c.qi



              SL'T.ft! t::<■}■■:
                                                                        ■• iirl tTick3i.'n-l’;:i.ni:fi'

                                                                    PH Bw                      Mrniii n ?.;I.!•;
USCA11 Case: 24-13671                                Document: 13                                              Date Filed: 12/05/2024                                                                        Page: 304 of 723




             CiTSC j:i.S-CV-M2ll-DrG Dcouirier!! 5 GumrL-d dn                                                                                      Ddckc. ca;^’ '.C'.?; - ■igr; s" nf




                                                                                                          Mitrn-is^nwi,
                                                                     rx'f 5* >1:^ ::->i ziT t’ ^“0^9 v« -vi.r* . •• r.T-’ : - .'JZ .* .'i*: .•%k
                                                                                                                                                 T^r o     t<        ■j'*/


                        :;i                                                       /   -'i-r.!

                                                                                                                            T.c; ...-^T.•:
                                                                                                                                                                                                                                                I
                   I' ^.^RSiurr                  s- ‘OJAT :!<■ >                         rn : - !*<,» Si
                                                                                                                                                                       'VI:                                                      :
                                                                                                                                                                                                                                                [
                                                                                                                                                                                                                                                !

                   I                    c" ri:s\zi                                                     ;P‘-                                                     im;.>t. }!•.,9 • >:::.'?; t:
                       Pt^My 'rcyv: '.‘.'•rn;
                                                                                                                                                                         r>'                      : - i Z'y.- y.
                   \


                                                                                                                                                                                       ••         *


                                                                            -v-VV, «.»
                                                                                                                                             ‘       : 5
                                                                               -.;              r:r                                                                                           • .'              r-         .     •
                                       \ I                       .




                                                                 !




                                                            ►’iVr'. ••      !v;£AL’'r> 3^                                3?‘VAr’‘^?>'                 k. »..> e«|              -.N


                                                                                                                                            H III ■■                                        is •• I"*- *■ ‘ '
                                                                                        .*ii
                                         rji                i'
                                                                                                                                                                                                                                            i




                   -;l^Sb:rr-
                       , :^^^ vjFT
              ■>       i vcgTV ** t                  -::

                  I r'^VW           p Tr-r-n e; r

                  f            JJ-OiYOJ'1-.Uirr. ATHaol-t.ti t lat C i;!l.3p,(;:;ooy , Jtt.PAKATI .«I) I I.                                                                                             ItU-t
                                                                                                                                                                                                                S3
                                                     OATH                                                     cta:i .V nca-cA . /.                          -            ^                                                 •t           '• '

                                                                                                              cc-iiR <• 3''        , _£?,-£                     _r             ~r                                  ■’ d :                 - i
                            *.*>      »■•'••:? • S :■-* tr.'jTzl A- r ^
                                                                                                                      —.-.fv’ --r-*. ?*.• . In-' .-r- l->t •».
                                                                                                                                                                                              .■^ J*
              ‘1                   C‘ nV^E^r.                    -.'.-.'h -
                                                                                                                                       ... : /y
             j r -.1 %,f r.v >*. *,                                                                            { .^'                                                                                               •       t
             I                               -» •ar^isn *                j.'sra
             t
                              c
                                                                                                                                                                 ■■y.
                                                                                                                                                                >c -
                                                                         V' -*"
                                                                             ..'r'                                     ,c-r. r-‘ $-:«■.• I’-:-*-
                                                                                                                                                                                                                   ':          " "Sr.
                                                                                                              -x.i‘,‘itr. ■« ■
                                                                                                                                                                                                                       i
                                                                                                                                                      .*e       J—-«*:
                                                                                                                                                                                                                       i
                                                 *    .              /      r'                  ~—                  V k-,.. w V%- c         -y.
                       ■3                                                                        C ■


                                                             ..f‘U       v-wi                   «■'       >^r»- <■        »3                s.-r! r i ^.•              »■»•      .'i




             ,I         .     _                                                                                     rw           ?zm - (•                                                     7 . . .- 9                   ;

                                                                                                                                                                                            'i.       . .r         : •■»:•.*':
             Jtv.rrf


                                                                                                                                                                                 ;j

                       i»r>p9r.«lk«              r.»rp- ‘j? .3 o*; »■'•                          ^.><8 mX I>lnrir Hic                 A si 9 :3r>--»4-ib:i~.v tn • r;?. • ?«■ 1 «*
                                                                                                                                                                                                                                •>   ••
                                                          r ..
USCA11 Case: 24-13671                    Document: 13                           Date Filed: 12/05/2024                                 Page: 305 of 723




                                                                                                                                ■-■*■• u::<? $ Lif
            Crtv: ',. ;;'>c\-£:.j2ii-Dk'G           D-^n-TiGni C-        linlSfic!        rLSD Dockc-l                     V?




              Oomplair.: - 0«p3nr,'v2r,: of Jusvoei


              r!.lE</ftVAv',vju:'.-;«.SO'-ten*!'J5'.'<5r-~^'l'JCu'Tr3ntSitC"'Tip!r.!r.l r^til'


              iN TH£ UJilTED STATES D?Srf?fCT COURT                                    5$5.4 Jh. ::t<T>r;r. f.;W
              i Washington, DC -'CsaC, i ) TriE ST.ATE OF Atj^BAAW.. . . V.ORtBomcry AL 3<!13Q
              ) J THE STATS OF ALASKA. :• 1031 W A fh. Avonup. Sic                                      4


              V-O^ilaorter/ Strwt Front Vingima. otifl in® Dlatriet of Cclum&ia dv an'. ,nni:,.gn :;■«,■■
              •jnCsrsignetJ attoTievs-,


                                                      ll ’ /    I
                  ,•
                                  :
                                               /rV
                           f                              ■/                                                       \
                                                                                                                       ;
                       y
USCA11 Case: 24-13671                                                Document: 13                                           Date Filed: 12/05/2024                                     Page: 306 of 723




                    Casi?                                          '2i:-CPG                     nori/Mi!?.-’.! 5 EKsrej; on PLi D D:;:;k-:                                 2C19 Pape 5 oi 7.

                            I


                            )
                                                                                                                                                                                                                              6(13-2
                                     FORM 6                                                 r-'! i.L A:\0 J‘i.-HUC TMSf                                           lai                               :!i'0
                                                                                           I          OF FfNANC lAL INTfvRK.Vr P p
                                              £««L>9r
                                   ;a3- ri^vt —                      :„• -1
                                                                                                                                                                            ■J- - >.!‘i t;6

                                                                                                                                                                       c:^ vn                       1
                                                                                                                                                                                                        ■■ ni I
                                                                                                                                                                                                                              Ei^hi,5^
                                                                                                                                                                                                    I
                                  •■tf-UK. «::r.-!;rKi
                            jyO.Strr-.:/,^r.vAvS-. 11?                                                                                                                                                                    1


                                '^Z-CTT.      L’-r

                                   -■■■'■                                                                                ■ •.■•r                                                     ■■ ,ii':
                        ? ' 'r.fTi'. c;.
                                                                                                                                   -^scr*
                        I
                                                                                                                                                                                                                          I
                        p1*’r ij:
                        I -Viv^ c-' uF '

                                                                                                                                                               -pROCE^’.SEC
                                                                                                                                                                                                                      I
                        1         o«r*> ►                      i               fr
                                                                                                                                                                                                                      I
                                                                                                     >     CJ

                                                                                                                 r^ftc .\-.uc^ wop.i;^
                                                                   ‘i • r m                e\ V l-.s-u“c-y’ s!. , . ; .V e -x"*               > ’.jj-     K^
                                                                                                                                   , >' r-#«« T:

                                                                                                                                                         v:. f



                                                                                                                      p.\sfiu.           Asxrr^,
                    '                                  fttirttrn £.Kr. -PTJD***:,
                                                                                               •• >/ k*.         SI     . rj' i     j*                             -   •

                                                     ? fT:;'I*:; V- •                   ? r^n jvit ,t
                                                      v-*.^ «•».’ ->-:w-c-U ft--., c.r.                     ..   ii-f

                                    ■'f                   -i-x f*             Jcrjrr::;': ;-c':^ f; ■. ^.. c •'-i.jj.                      4JkVr        ; ii
                                ■<S;£Ct                               ci iisa at ei-.-k m,..
                                                         AjMnTi.*E-.Q«o* AssrrnEiif.-:                                                                                                                            :
                                                                                                                                                                                   va:    s         Arsc-
                        ;-vj>i. '.ST M'                              r*.-fTvn’ Mov.
                                                                                                                                                                             Ix-ic. !; ’if..,
                    'JCE'.no. 143 r;r T-q /.•.,.-'..e. VijiT .VCT.'Fri'TuS
                    I'.viTja. ;iy:«. i.-it"o*:vr t;u;                                                                                                                         5-^Di ■:!




                                                                                                                 fATil C- LUniLT.lES
                            >V-a{J7:Cii*ii?ir.i t4.Cr %• WC' l»ep -rt-virfts sr-                                      *•.
                                                        MAV, w;                           c>-p ct-qisr::';

                    •lOi:?*:?:’* Wc

                                            >r?erca                                                                                                                         ;s
            K                                                                                                                                                              I1* • t            c-v

                    V.&                                   ot
                                       A!o ri'a’VA,L;^v-u;'5 %-ji                                          ^ac,*::
                                                                                                                                                                           ,il"
                                                        NAi«S A.*.C .»Ci.•HC±^                  .'jaaes'.C.n


                u
                1




                                T* .• -TV ■
                                                                   Vv, •..-...      «
USCA11 Case: 24-13671              Document: 13                Date Filed: 12/05/2024                       Page: 307 of 723


                                       IN n:.A..Ka"n'
                                 D.UACCWM'.' !\ wn FOK MLVM                          c    vv       v^Rin
                                                           CVM ACTION


             K SANK S ,A
                                                                                           ANT

            rjilsriFFN

            Vs


            M.VLK WEIA-N

            ^rPhNOANT




                         4fiTlOH for lti>CETHOMAS]. WIlUAMS
                                 CASE •.10-<il91? FOR HiS CONF ACT {>!J^TrRENT


                 ncj ni»»' \SACKWn.U.tft.
                                                  ,5i>n                     .CfcIHOHASC HIUIAMS
                                                                                            F n^ncu*! »n!^'^ns
             '.V4    a;a: MBit I HakK        h.. !•« ■n •■ '“ull and 'KioIk lt<«           vir*i'S Bwinicir.o
             IS J   iiisk »»«■ * opjafi Hu* rXK ? u-    hrf v.»sr h»- * doii g Oai.nc •
                                                                         •" -;j»' ■ ■
             cut orvpcm               »«tirf.« rnc uD«r If.          tF.f prt.p,*TT;.. . x. o. t..t
             li'C   C^^..T m' tn -njicc tu,r                 mon«N’ I-      iy               j ^ Frol”
                                            ANDPOniUIDlSCIOS-^RFOFflNA^l ii
             V Ml.; FAHtA) BANK IS FXH A                  «* VORCAnJ STANlrS F' • - ir Mi
             frAStJ^'.'lf^R'Nt‘>KP LXU f .ndt SHANCORF ..* ‘                                              -VJ.’r. '
             X.o    -<, Exil,! t .»>«. Njif »..urK’. .h-it .'u- r-N#
                                              u<: H.*rtAf YOUR NKlX
                                                                                    tr • . .• H’ a J'f J. >..*
             iiosc Rn:vBF«iov.>u




                                                                                     MAi . V ELln
                                                                                   If.'.’ 1 ' FIVI R DR
                                                                                   VIAM =1 X 16''
                rORM 6                                       FILLAVD PURI.K': DlSCl.OSi UF.
                                                                                                                                                      ♦
                                                               OF finax ial INTLI^.ST.S
USCA11 Case: 24-13671
          *4J                                                        Document: 13                                   Date Filed: 12/05/2024                                        Page: 308 of 723
           : i'j->.iUr                 "P.'sTriJU! - >-.2Z r
                                                                                                                                                                   C-O ^     I                              T-
          THO^W.£,'iVlLAAM I
                                                                                                                                                                       \3KCH»
                                                                                                                                                                      iSAl CN ETs'-:^
         75 WES-^ FL-^G.ER STS:'
                               '
                                                                                                                                                                   7A V«; *ry
         s>j;t= 1307
           C r-                                                   r=
         MIAMI
                                                                                                                                                               f^SCSJVED
                                                                 33Ao                     V.iAM:-UADE
         “FTjiiTFTFFFT                         ^
                                                                                                                                                  PROCESSED
         STATE G,- “LGRIDA
           ’»-‘v£              r.-r-r CRV'FSi'vjrsr?
         ELECTED ;CC-NST!TU“IONiAl 0-r:CE^.-C:?^CL;T COURT JUD'
                                                                                                                                                                                                         £>^a. sr
            Cr.EC-S r                   i «•? .ivj i - -.i'.'. LA'i             J


                                                                                      P-ikl ^ - \KI WORTH
                                                                                                   •   7-
                                 :• ;r-. cL'Uja o!         -cr    •* ii’T" 5;              ' i.«- .’               3.    A * f.?'v                ;                    *:•           ■'w'. LJ-
           •C'c i’.d'J r;                                    .'.g::                 - c.' . ■;'        ;o0 T-:: iSSr’i           ::               i            !:;"5 jT pr.C‘-> 3 '

                            r^y ■ ir'     -Ttr] -r: of           *                                                               i'3L CCC



                                                                                          PvRl P- VSNST-S
                               n 5r.aD$ Ah? pek'5‘-4::mal                  ra
                                                                     d •                                “ •*       ' #-rc .»«*
                                                                                                                          o'ti
                                                                                                                                      .*,'.8,v7
                                                                                                                                 -"’O.—A - . ’            I*       “v.ii" ■: «•
                                                                                                                                                                                                     [
                                              -,»• -V-
                                                                                                        .•-    -   ;-fc- n> s.; -.1 ii’c;


                • • f            r«7                                                                                        , I-JO.OC'i

           A^eTS.                             VAlL-SS at CiTJfl S? :i-2
                                                                                          ir^                      Z^»                  <.                             VAU7§U»- A^t£*
         HciTie (.                       Rc>"?^*53j                                                                                                                iSicS GCv
         Sank ,\cQz-6~:
                                                                                                                                                                   '.511.CG0
                                                                                                                                                                   !S1-G.00C



                                                                                      ^•^.'<:l !. - ) lA'ii! inv.‘.
          L »Aa:7jnCC J-*>: f                 C-" i’jt^ T-«<. nrv.tT cr.i ^                *;
                        '                   A»J3 A'c-3W?t5           CAT                                                                                                         C‘- : JkE.’LJT-5-
                                                                                                                                                               I
   •s'   'iVoiin Fargo ViGi^Qagft iM'nn.gs-sc) Aiiam^ C-sc-^ti-                                                                                                !S416.CCC'
         TCF Sank fsacanc M-anyr-gr. ; 'vVavnjtc, r.‘                                                                                                          ISST.OC'O
                                                                                                                                                               *
         A-ncncan E^L'-aiionai Ser.'c&i •.'ii-.-jy:; bsnrs?£r. !:3^^^^2j^iriiy;van:3                                                                           [S.'-s.ri;}c
         •' oyota Canry iV.ia.T:!, rijr-ca                                                                                                                     iS26 D'JC
           jiwi: Axs sr’.nFiTiiiSiirnES' soi ftapasTrS ARr.;F
                                   N4«?4ABiD3^ss                                                                                                                    iWOk'kT £» Li»D’-n.




                                                                                                                                                               I
             - rv.«-- k
                                                         r,^ ■
I                                                                                                jHw;                       bv^f>\Tr                  .
                                           i.              j-            .
I                                                                                                                                                -                       *. -..r,


I
    USCA11 Case: 24-13671                                               Document:             13 Date Filed: 12/05/2024
                                                                        ’ ■' * ' • -^ -v* ^ ••• • -.■* i* . 8>>:-                          •■.       i-*.#**!*

                                                                                                                                                      T t't
                                                                                                                                                                                   • -Vi                          Page: 309 of 723
                J       ic .t
                                                                                             •-. '           ; • ’. ■i! i   il        j?;, ; *•; ^?-f,           ^•K' t

                r*a»iA>o- •.     .:?;nA.5. o? i%Cu«*5,
                                                                                                                                                                                                                                             ^   • ■

                                                                                                                             ''H’   j.i */■ S'!-,                 -v                                   1
           •JVuto u: ?^:oria3
                                                                                                'a!!3:‘is55ea. f^-jridsi
                                                                                                                                                                                                       ;'60,qgc
                srccKDA^-f scs.'SiCssoi- iK..-:r<ir v.
                                                                                                                                                                                         -• -a'.J'.r«a J.-        ;J
                                                                             •C “• »'i *•‘ " 5-v^'C
                       S^;-: >.gM ry -,                                                                                                                          ‘i-
                                                                                                                                                                                                                             •iii ■

                                                           IV.-A                                                    '^i'A
                                                                                                                                                                                         ;?A’A
           iM'A                                           iM-A

                                                      P4RT » ■■.!\7FSi>S7,s i\ ■-(■frif ifn Ri.stvr
                                                                                                                    iN.'A
                                                                                                                                                                                             1N7A                                         £>/., 3Z
                                                                                                                                    ? V>i.^ U28€r^^52’ -10
                                                                             'V r-.' -- •
               vaV2 •;c
                       SSf.-r-,                       ■N’ONr'
                                                                                                                                                                                                    ;r,r:’'? 'vr-f. »    '
                                                                                                                                                                                                                                                  5-7
         I ^^Z<cr
                        '■ s V -, •'
               -'-L'jriM" p. 8
          ’ A-rtMr'^
                                                                                                                                                                                                                                      i
           .n.vv




                              src-iT'j



                                                                                                         f . 7K.\i.vf\r;
                                       -V--             •/■. ■r.i.-c-   L-. fTTcScU. tir;.-,ji'
                                              □      iCSRl ■?v TKA7-! have COfr^P-^ETEa rwa f?Equ.:Rt:i> T,^A!>aKG-

                                                OATH                                                 co>-!var
                                                                                                                                                                                                       f

                              •r .r ■•:—J-;;., J, J - _ ju-      ,                                                                                         r,

           r*.r^.’jrs-r ^-. ■<■.                  .: '•.> 7”.-TV                                                                                                                                       &. '.-C
                                                                                                     ■t-v                            -•.•;• S' Asi--. •: •'       ;'"7.
                                       V«isnut ."35 .                                                               OojC Aik..-                                                                     ViCs^-              ja:*
                  /                                                                                  ► *.“    A:-?* r,.* ^'3*-         - •« r7f £ M f.-.v \f

                                                                                                 - -I.--..!. >.....                                                                                          JV
         aoM-aetE 0= HfPoazMs c
         ffA
                                                     C^rictAi    c-A tMiiiffiirE ■
                                                                                                                                                                           . ?-•    .• • -




                  •^^7: i;:- ; .u'.'-^.'o.,-;:
                                                                         ;          .r •,■     * ^             ;•            zzzrr.r: asvjtv-
         %>           -■•.^t-r.;. T,. fr I* ri-^' ,;r.,- ...                                                                                                           >■. r.^v .^e: s/^cin.j. ^3-
                                                                                                                                                                                                                   -    ■ •: v’



                                                                                                              ...                                                                    ■ ‘ '■■' p •»-r'.-ls- i- «».- 1 .




                                       i-ins:'.-!;
                                                                *-»• ■i ^TWll’Sy r!-i«s
                                                                                                                                    PC' ntv ttag^^v :n; > '•y                                  t2lC ?&3 in ua;kr Cawt?
        ”»^^Tv<Tp^^nTllKsluI^                                                     r CIMIX^ f DO\                                      <■'L'.vill J”1
                                                                                                                                                                                                       HrR?       ^
                                A >* 5.
                                                                                                                                                                                                                   ~
                                          \ i




USCA11 Case: 24-13671                                 Document: 13                     Date Filed: 12/05/2024                      Page: 310 of 723




                                                                    rir-                J
                                                                                 -H-
                                                              •i*                                                        •l.
             f'A^                                                                                          j ur’i
                       I
                                          n KK                             fc"         iri
                                                                                                                                       £xk ^3
             kOah.'    I
                                          cc:''':rf,cdil;e.'i j'.. v:c                                                         I
                                                                                                                               :


             • ;'. /
                           I

                                                     - ""\‘Ac:n o;                 5s iho      KA Gh5 ■ Unh r
                                           rj''.''!;-'S. i'
  1   '^:N
      »’ i
                                                                                                                                   1


                                           DC-a'd o:        nLi-'Scay
                                                                                                                   . r

                               1           She has rc- i-ac'-d Ma.i'vri
                                                            r-.                        AiSi'! vise-C‘"‘'3'' /3- 1
                                                                                                               1
                                   •.      gioba^:fiuissts-ci ^ni oo.-^i'd d;■ DhP Psnb:.
                                   \
                                            b’arc Mcrciof .'




                                                Pk*ai>o taJct'a tml or                                    t«
                                                accessthis cooient
                                                cxaitact OUT subainpiioftS tsanito cfasajSs
                                             ; your aoctoss, ^b>^g^butsat?5aii£^
                                                 Qrsigam^


                                                      rRfcgti^wb


                                        1?^ i»                ate access
                                        L^> '■* -'■*«•■..
                                         jUw*                         StobaKiapitoF access tor your
                                                                           >ipl or oortipariy             OentoCt
                                         UtMKA
                                                                                  ties teato
                                                                                  SofT> or fii«i OUtriro^




                                                                                 •OZ
                                                                                                                                               L'*    /
                                       gtob^^e§alc*^«t>nfc& c»m
USCA11 Case: 24-13671            Document: 13            Date Filed: 12/05/2024                  Page: 311 of 723
                         prir.cipai amcun:cf 3.200^b senior rio?es duo d029.
                         In BQ'd-it.on, Sauinix cornplotec! S coricurreni icr^er .
                         ofer for any 3n-ri ?Ji of ils Du^standirifj S.STS-i senior
                          noies dtie 2D22. 5.3?5-^i scr,;of.notes cue 2023, and ■
                          5,750% senior notes Cue 2025,'.vh;:,h were sn;d to*
                         ■with tte proceeds from the senior nnles offer.-s
                    •     Goldm-sn Sacns -S Co. LLC, BofA Secunles. nic.
                          Citigruop G'oba! fvtarkets !nc.. JP. ?^-lcrgan SiXyntras      ,
                                                                                             £>^A.5’2
                          LLG, Barclays Capital’lrto f^organ Stanley &, On                  .^■ixrlo .5.^
                          LLC. f'/^UPG Securities .Afnencas iric... RBC Cop tal
                          Markets, LLC. SMBC Nikko Ssouridas Ama-ioa. Inc-
                          ID -Securities (USA) LLC.- DeutschG- Sank Se ‘tu'iLes
                          Inc.. ING Pinancia! L'iarkats LLCvSMP Paritas                     j.
                        ■ Securnies Corp., HSBC SscuriSes (USA) :nc MiZuho • ’                    ^
                          Securifes USA LLC. Wells Fargo S-acuhtieo, LLC,
                          PNC Capita’. Lterkets LLC. Scotia Capital {US-A. ;nc-;.
                          anfl U.S. Bancorp Investment.^, inc arp a!i .'■ >5■■
                '         underxriters tnvolved 'iri the oft'Rring
                           Squmix. an Ame-ncan muftinaponsl corrtpar)
                           nssGQuarterad .in Raawood City, Cakromsa. cc!,nr$o!s
                           .more tten 9.§0'‘; cempantes diractl-' to their
                           customers and partners ifSiao the •vc-rid s most
                           interconnected data centers. Tocay. -bosia&ssSs
                           ioverags in« Equi-nix'inssrconnecticn pialfc-rm ir- 52
                           strategic .markets acro-ss the .Arnsritas. ,As!3-P£!Cific,
                           Europe, Ihe'Midtfie Es-st and .Afno.a.
                           Tne Davis Polri corporaie team la uded p-nhiiers
                           Alan P. Denenbprg (Picturo) and Eir,ily Roberts.- and
                           associates .Ali CeGolia and Caitlin Mcyles ■_.i.-mano.
                           Parmer Rachel D. Kternde'g prawcGd tsy advice and
                           associate   j. Tsy!or .Arabian provkferd "rSAQ .Ad adviCO.
                           invnivad fees earner:       - ■
USCA11 Case: 24-13671               Document: 13                             Date Filed: 12/05/2024                Page: 312 of 723




                                                  fc.iCrt                  -or                   c
                           r.
                           \ b caro :"!0r         i6rs          . LC:-’v         ■’‘.'a'^Ci'.' Dr!?’'l [ 7
           rjr\A 'S'   f

                       I
                             Iv'OQSr Stands V In'
     f I



   < 5.f>nLfV
                             PEOP’LE ALSO SEASCH POR
                                                                                                                  B0n.6(3
                                             ■err.,   Ti'^fT’Dw'           resistor



                                             :crna cac;;ai



                                             icma (SvenlG



                                             icma ’ntsrnat'on^'




                                                            r   .»....




                                                            rrern.aT'O'ai •.v '.-

                              Assoc:aLi.OT liC'v'A) - 0.                                ic-ikCliVCiy.

                               Slaniav"! ,                               5:rC. recon-:,-'r-rd


                                      L I




                               RecreSro::, fv^oour;                                            Juslry
                               or5ai.i‘3'j=,!0.’'i'         .-iOtoO      unp, :-"i ;CWA. .vropr S -- 1"
                               Civ 111' oi t.c        p.-                               o'' ',' e E '.-^c.r. 't
                               Oc-a--.-: ,
USCA11 Case: 24-13671                            Document: 13   Date Filed: 12/05/2024   Page: 313 of 723




                                                  *»   iri

     Upan>)«cnBd$                    Iffiancas


2o» LGfgisn- As««ts - Persana: Fhancw •
OpenSeoBts
t>Vo«s &a(<go<lCMA Os3<fod Ccmpensolion. Cash
-■yt»iy MaAat/SavTflQi/CMeWna. £ 10O.M i.
5250.WW., Mc^oa't Stanley Gigtxjl Eguty
AJbcaten. MiAgI f-jxS, Si 5.002. SSS.OW).
                                                                                            fA              ■’>
     Bfok© Asa S.'ct^ •
                                                                                    CW A
RNRA Rnss antJ St'spcncs
Confklartial In'c Of ‘ ,eSQ Pian —
                                  for ^rra^'inq
                                                                             •GxU.SZ
      ^P!*) „ OftS by SaiC,  wis regs^’oC Bwn
flN RA row*ef icT> iC«A-fiC Ser^csa r fiC
a5rvic«s'7»>if*»5nefrptev<eotPC. ,


#    Wufl wan.^:!; ..tirtji-xk npr

(Xiigkifii Vtfm^iows - M«il
MariJ              WIkEPC PI»>A?=»ca tBir^e//
w»n«.',g«Xfeliffc,K»n/... iCMA FfeJnssietd CarbofaSoTi
... Morgan Sanity Wwtkh,


* • StfIw 0‘B • !.«««i-;-l,*'-lh|»-nn.M»

Top Ten Countries m the MSCl EAFE Index
?as if &3an-7) 1 ICMA-RC
.\I> 21. ZGTi • Tlw htergan S'-ardey Capiwi
tiurMticrai CMSCn Europe, Au5a^!a3«a.««) Faf
Easl fejtisx C^VE'J« i o*rs5nuri(...



3 Cw*j y A<ti» ■                 JCtJ* . O
SPY-tng On Yo,i* 401(K): How fJixh To
Comnpute? limilUj.uWlW'
USCA11 Case: 24-13671                                     Document: 13               Date Filed: 12/05/2024                    Page: 314 of 723


                                                                                                                           ■

                                                                                                      W    ■




              lam                                                            IK-X




              Noan Rcoan^j^ KMA-^'i,OOO
             CfOop -
              S-^i? •;■:• ■ r’.'O'ir   eanh«c.     u«!i » !»'«>sdi® ■r-am.
                »w3ri Wfaf«* SUrttar,. j *^4v
            ■ ■ if CSAAi-flC £»o>«i*§
                                                                                                                   J



                                                                                                                   I &<K .3^
              !CK*A-BC
            ■ Mtxf*. tMNBOiwaneAipvn
                                                 LLC - Acvsaara on tJte                                            i ^iK)^
              ^ lecr^siK feiTTiWTr. IB"}           J       c            fS rcrsTO.                                 !
                                                                                                                   *!

             sCWVfiC $^fv<c«i U.C, fXeixa o» Arow-vj •_<<»                                                          I

             Iratrar^ Cs»rf>«rv», -                                                                                5




                                   JK* USK^


                                                                                                                   1
             D-SvsS i Oi'if i Frances AjJ-.'-tor                                                                   ■;
                                                                                                                    (
             ?igiCF*yF»n: CcTOxator': OK                                                                            i
                                                                                                                   i
                                                                                                                   I
                     .cara^ ??%•£«»> Ria                       »’e*m a:
             WaaeisAaii                              CciT«iar,‘ !J«ni
             rnwWOB-s *7^x«s 'Sfi::, Jatogaa Ssafi^ S.*rty-
                                                                                                                    i
                                                                                                                    ii


                                                                                                                   'K




             Ea.i4 5Vr«b. -                       StsKw-,-
                                                                                               BL   b''C            j' y&^cAS            ij
             ■--i ' •- ,. ■-*■*        !^ft*i3rtdS             MaAV.                                           •       1

             A»^ocueI>^ ''jCWAi ~ d               ^»ia!             srxsjy
             dirt»fw» r-. cwwnjejKoci                     .{iwK twkr.



                               SlirtO)




                                                                                            Xdn^jA
                                         I




    r   •
    USCA11 Case: 24-13671                                          Document: 13                     Date Filed: 12/05/2024        Page: 315 of 723




             12:57
                                                                                                                                   V


             a
                      '‘'!..'A •»      '’fy* w>^'=;           r kcy^ tr^zi^inf:          *-•-. •
                                             S-eC'J^ '-■‘^'C- -i                                                                  l^ ' t-l > c.' / .   / s
                                                                                                                                               /' '
                                                                   v»                                                        f              ..y
                                                                                                                             4.
             r -r^rr^-:
                                                     A^^r.y^'--tria>'o Sx>e^'^^ k:v.a
                                                     • F?CC
                                                                                                                                   cy?3A
             ..«• . -...^rl
                                                                                                                    e^v-zi^
                               f           ■I
                                                 r     V<V
                                                       y-r:-V
                                                                        -ti- i'H. C ‘‘‘>'»^>
                                                                                   iCT-'A                           £.^1n .^5
             >!                     AcJ.^^ :L‘                            Fsto^ 5


                  .                 X>'*        ■-



                                       •1’           ry:   -A-If         -Si-*"--* I*! S^'iiXW'r-


                                                                        sv'iJ'i iCvA-rfC
             ’:».Vp i-'.'O!. r-v*-?<J or

             .VO^.’-iOi-t; / by lOJfA w; «7rjrasie«l
             f" *‘i;0'


             J2 ••

             srxtx-ac SlBfV4ie5. LLC - Acviscre c«J rr*
             9/ort.'* - knv'dinvtriSNt'j.t.

             i V'n^ l>-ri:".. }»»wr;ir.                                   f,
             i>itci^<crs6B4. 'S') -i         ?jr30C*J.-»'np S»','csi
                        ■-■it', ‘,V?*s 7; >w Ac, tcv-v S-bCi,



             KLIATED CtAHCMtU




I
USCA11 Case: 24-13671      Document: 13            Date Filed: 12/05/2024            Page: 316 of 723




                                                                                         6cla-52-
                    Wachcyia Bank                 a'V.'hO!!V O’.
                    SLibsidisn.y:cf W€-h3 rSrc^O ii **-
                          '1C of Wachovia Gcrporsttor •
                    Gurcnas
                    Fo-qo v.’as comcteteti on
                                           or Decenic:*sr S'
                    2D08. Wachowa ci'ss3 the'foijrCn-iarGe

                    barsk ncWirg-CO-mpany sn die US bas
                    fotal assets,..

                                                    f    '*     ■ V. 3 ••
                                           ;r>,




                        -EGPLC .ftbSC



                        Wr-t bank cc-ok over WacriO'/s:?


                        ■V/hsi is the hjstor,- o'; Wachovia c-anx ^

                        WfiSi tone boas V/ad ‘O'              'Bank Ooec?



                    ■   HOVV tC 2CCOSS 3 Woe!'.ovia
                                         V          'c:',euk'~g ?cc


                                                                             WvUt-
                         VVaortov'iti'i5                ’/•/cr<S' .' erge-
                         i-ornn
                    USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024 Page: 317 of 723
                                       Welis Fargo to Buy Wachovia in       a

                                       Biiiiori Deai - The ...
                                            ps./,d eal book.nytf mes.com..'.,,,,'0       vei s;: ■    f




                                                          Wells Fargo scid o^^rly Fridai/ riai it
                                       •^oald merge Vi^ith Wacrtovie — inciuding tfie
                                      .1



                                       Troubied Charlotte bank's bankirjo opeiaticns — :n
I
                                       a S'S.t billion aH-stock rnsrg        f.   Tfic
                                       ?.nnouncerner?{ co.uies .only fou'           '/s afior




                                       Welcome to Audi Wichita ! Audi Sales Ui
                                       Service in Kajisas
                                       nttps: I w vv w.a ud jvv £cn!»a.com
                                              r >




                                       Experience firsthand the .exhiisration that ccme:-
                                       vvith,driving an impeccably designed Audi at Alien- .
                                       Wichita, where the sJeek rtew models.in ou'
                                       sho-AToerr! are oH designed v>rith ti'e ui;t;ic>s! iu:<u. v
    I
                                       in,; mirtd. Our expert staff will heip guide you to tn...



    !
                                     : Audi e-tron [ j he first purely elecUi^                  i




                                      SUV from Audi
                                      iitps://yvwvy.audiusa.comi/iT!ddei.5/audi.-e-tron

                                       A new cro cf eiectric »s hers. Meet the Aud: e
                                             the only elect SUV built -with Audi 1^'NA
                                      With ample space scir everyday life, .tong-fanc-c-'
                                      capability and exhilarating performance ..v’ih
        I                             quattro'^ alt-wheel drive, this is vx5y more than ..



                                     - Q
                                           ..ank Owned Homes
                                                           | RFO prqppr                              .n
            I
    • I
                                       Wells Fargo                ' .
            I
                                      i'iupsip-red.vifellsfargo.com

                                      )'.'o.te; employees and ram'itv rneiTihers resitiiii:!
                I

                I
                                USCA11 Case: 24-13671         Document: 13               Date Filed: 12/05/2024            Page: 318 of 723

                         I                              wOliS ’Srcp OVv.: > ^v?;ch-va

                         I. :                           ■ AU                                   \i *'■'
                                                                  "?ry




                                                         Does vVeiis Fargo own Wachovia?
                                                         Wachovia Bank i-s a '.vhol!y ovv.-rec:
                                                         SL&sidiary xVf VVeJ.'s F?.xno a'Cc^npany               ’ * :»?


■■                      I, '                             purchase of WachOvi-:! •: crpCfitio" D/ vVeiij
                        I-

                                                         Fargo vvas corr.pje:ted or, December ;r
                                                         2003.           ■

                                                        ■'Vachov’a Bar'^ - Sacks am’u no
                                                         v‘
                                                                                                                  t'/. _
                    I




    -           I




                                                        VVner. OsC Wslis -srec               av^r V^aenDvio "
            1



                                                        ie.   t
                                                                  .Veii& 'rdrco a ^OOC bar:*- -c 'o^ny


                                                        '.Vhsn Od VVachcv»o >5'5r-F cnarwe tCe;r rror-.V
                                                        12' Weils-Fan



    • I                                                 Vvi*^: c'ic '.Vel'rs Far^n dor


                                                        Vy'PChC vio !C No’.v ’'iVciis Fargo • V.'i.-
                                                    ■ ' Farao




        I




    I




I
               USCA11 Case: 24-13671        Document: 13     Date Filed: 12/05/2024          Page: 319 of 723
                                         Wachovia Dealer Services Reviews anC
                                      Complaints        Pissed-..,"''                                     .3Z
                                     ^'tiDs://ivachovfa-de3Jer-senftce:a.ci5sedc-::n3u
                                     My wife and.i p-urchased an Audi'A4 financed                               ]■

                                     through WFS (V^/achovla D^sfer Services) and
                                  hays siways paid our rndnthly.on time; never
                              . ; missed e pa^-merit in Aprii 20li we decided iradi>
                                                                      r '


                                  in our Audi tor a Vplksv^agen'CC end of:course...


                                     Audr Financial:-Services I Audi Australia
                                     hrtps://ww\v^audi.corn.au/an/w8b;en/fir>3ncjai-St;..
                                 .   ,Ve offer individually,failored fman-ce soluuons that
                                     V
                                     t



                                     ;uit your budget, your (ffestyie ar^d-your new .Audi.
                                     Because no-one understands;.%idi vehicles like Wa;
 •       I                       ;do-:if you are ar^ ekisiirsg Audi Financial-Services
                                 custdfna'anci have h^ehaffected by                 -
        !




                                 'icp 8 Reviews of Wa'chovia Dealer
                                     Services
                                                                                    is-d...

         I -                   - WESTM1MST£R;raRYLAND-In Cclcberof ■                     ‘
                                   2005,-I purchased a 2006 Tiburoh financed trough
                               , , Wachovia dealer services.-My husband co-signed
  -
        •I •
         I
                                 for me. in May of 200S, l leave my job :to find my ^
        ■i
                                 car gone. I called the police to report'that it wa.s...

. . .    ,




                                 Wells fargo to Buy VVuchovia
                                 Billion De#-:The...           ;
                                 https:/yde6li>oQk,ny limes.com/,, . /Q3/wsl is Q. ^
                                 Oct 03. 200S • Vvelis Fargo’said:early Friday that it : ■
                                vvouid; merge with Wachovia         including the
         1-                     troubled Charb iLc ujiir.              vperatioiis — if)
                                                                        >c-
                                                              rl        -H          ^..v -.iV:
                                                                                                  J'
                                                   'fr'CJ:         f,

                                 USCA11 Case: 24-13671                                           Document: 13
                                                                                                         jj
                                                                                                                Date Filed: 12/05/2024   Page: 320 of 723
                                        t


                                                                                             r




 I
'l




                                            r
                                                O^-r-AN STA If                           ii't;', iLV-iiltf:
                                                  S-.v‘
     I




                                                                                c



         I



                                                                                    :i           ;^.in
         I
                                        •iiir.t'T;, •• “n.-v’-C'K5l


             I
                                                          t                                            r




                 I                          Hi-.' Si               rsVpO'^'i             N.Vi'
                                                              ^ ■ ^JinrriiCi-




                     I




                         I




                             I
                            E-Hietl n2/2&‘202{) 04:26:06 PM
USCA11 Case: 24-13671                 Document: 13               Date Filed: 12/05/2024                              Page: 321 of 723

                                   THL' COI RT OF ELEVFMH Jl
                                                  for.Miami                                                      ■' ’ ' ■
             4S BA'XK NA.

                                                                                           CiViL r?:vvf;!0‘2                       £ocK :
             ii-
                                                                                           C'-lSE no: CA-6! 20ie-6f9:s
             \1ACK WELLS


                                            Ofiefld/jj;:



                                     NOnCEW- PRODUCTION PROMNONPARTY
            to.       J5 5«kya:        .■




                                                                                                                                     ■.2>-/i
        ■ ■ .'xaiuc* trw i:5:rM.-{;sf;d 21 ih? crr-t _«««'. -01^ si-ifr-ri                                             *'-• ^ P^rn-. :,s

           : 0!;r:%        a copy of ihis docon^ent mi f V AnsceS.
         : -■•;'^-'e?»^-iSc;.e^>?Cfw<(5?ariycrvh*i- !ep!’                 s ifixaesr^-Dafetf r .t j^,Ti3;sadV                      rusd-
                                                            A’D-eieraiiji=5j oh Z’^7/t'0
           ^l2g:.g253LS±is£Hr-raTIO-fne^^^^
                                                                         :3lIigr2«j2Il;E^j;cVfEROMICft DIAZ
         ; Bf-snk E^me, LIP ■ - ■ ' ■ ■       .
                                                                     ^ 'J’'i.Vv'Fti#e.-S-t&.?208      .' .
           SaDi ?4r.«.-4.-deivi2Stc223-3^                               Viasni, r; 33130-:7C7
           rflr:;i3!jdar4a!e, n.3J3sa.5ci5 '
                                                                       •.■s!ia7^pjdll:Scoum,Qrs              '
             0fu:?;g54-5i24£6D ’                                       30Si-:A<>.-;o78 '
         : ■ C.^j;.!l; iajfta^glyr.fcTOft^p. *om




                                                                     ■ ■ %«Ti::-sc^s*jrr/

                                                                    iS-^-os. R^ver.DOve J.torj Fi J3:-J7
                                                                            ?ftji.353-3A2:'
                                                                     - ■3ija5;s3C!ii1.gy«;Tco.CCa; ' .




         itoRdsA- "a.r,5         ,V3pt*-,rf^;ATfcV A»- fa--. 3i.933-!o}. Sdsw-.a Ov P/edefi,,      tc r; ^.' tor.psrt',*. 'i t,'
USCA11 Case: 24-13671             Sa'ico-’p '0
                                Document:    13re,'Date
                                                   'A'acho/itf
                                                        Filed:'12/05/2024
                                                                r',
                                                               ••U                                                       Page: 322 of 723
                               CuStOPv Coe'a’.P! c
                                                                         i..
                                                                                         t-s fi»rT;&rj •                £xZ,-32
                                                           ■» ■   -- 1
                                                                               - "i ji'
                                                                                                                        5 xV-,,"7^
                                                          * CcS 5«|-k :* Sj
                                                         r.                                    {!,;   r*'”
                                                                                                      ' % b
                                                                                                              t'
                                                                                                              c
             »
                                                 : T"'    ■U C'V.|»                       iC.                 ;< s
                                                 • ,s: a-.r'•v**^*                              'JT.




                                          3 Di§ uS UdJ K !a;."der*c r lijv •;:
                          ^rorr *</.ex>zz s
                                           'Afwi>» I'lepyjif jmi-                         _

             «
                                          v<rUi 201tr .v«. ^ <-s»-' fr.-:• #

             \           ^ 5S«'»‘ K? ar orouyr jno#- r«v* V.3 Orl*
                                                    'h*'
                                                                                                                   -H




                                           La V, ■ e~v




      r 5-
                 V
                 *y
                 /
                         US Bancerp - ,%,i^ipedid
                                -i                  <^<*iP4^»a.or|| b:<t

                                                     -Mrfcwa At ^5 cane, e a a
                        A<'n#r<:*i- b*fU !N>d>r,3 e'-.i.'any
                        v*wi#*»x>.H V.- '#!.. a afKs rfKorucfa:ac
                                                                                              S .B-jrcvjj


                                                                                                      -
                                                                                                                   '\
      iA         i
                 (
                        CiHaAait 't i     .a • 't                ^
                 \
                                4i».-Ciat<v, a»n<h .♦{*!•■ -)?'' a-fi#
                                $   “     j        . jS Sar<:o*D Q*r<W

                                          * uss..


                        \           if-                                              f




                        ’r->
                                        Lony-Tef-n Cas*f fof We^^ Fd'y )
                                        I ic a




                                                                                         4b
                                                ■-   i                 ; i
                                                                                     '   -   <-•' IM



USCA11 Case: 24-13671                           Document: 13                                   Date Filed: 12/05/2024                                                         Page: 323 of 723
                                               IN i Wr (               p ! ...H' L, :•                       IT •
                                                                                                            «• t   :)inM c'Kv ! !■; i                     I'^'D
                                                                     :    MiAMl £3.0? C                                 . "t £;UH> ,
                         •- i'! • •.
                                                                                                                                                                                         ej(K.3^
                                                                                                                                            • . J                                  ■->
                                                                                                                                                                                             .7 (


                                                          \OT:it£ OyPRCDUCTIO^ FROM                                                          STY



                                                              .-r-      .vn -:.•             .*. >   ■*
                                                                                                                                             . -f .*-r                   ..
                ki irn                  ilr'             /j
                                 {V- ,>-<•.                                                                                                          rr -T •        .• v--#’*. T
                 *' ’.                 ■«                                                                                                           ’•7
                                               r-^i.Vr •         « •= (--•
                                                                                                                              ’ IZijrr-.

                                        i •:-:r,- sT T-"-*'rtT-               • ,^1          - i.f;                           y-z ".j /*




                                       4-y:LO-£3:-:y                   J .,
                                                                                                                         r>   S




                                                                                                              ■*• • y-r. - I    *, .* M*
                .'J. ■                                                                                    •.‘J.-.- 2'        ::ij :vr
                                               ^ }IV^ :c::
                                                                                                                                               >




                                                                                                     Z::
                                                                                                                        V^J rw.T-.."
                                                                                                                                               r    :' • ? -


                                                                                                                   'K

                                                                                                           'J ,1              r-iS-. s' o;! ':-*




                                                                         '>   .«•>                                                                             -r. ' '        •:
        USCA11 Case: 24-13671                    Document: 13                     Date Filed: 12/05/2024                    Page: 324 of 723

                                         IN THE COURT OF F.LFVXNtK JUDiCJAL c'jRCl mN AN
                                                        FOR MIAMI BADE COUNTS-.FLORIDA
                                                                                                                                (^Io-32
                      rSBANKNA.
                                                                                                        CIVIL Di VISION
                                                                                                        CASE VO. CA-:* r
                      cc



                      M.\CK WLU^


                                                    Ik^tLTuizTi:.




                                SUBPOEM FOR PRODUCTION Of DOCUMENTS FROM NONPARH'
                     l-jF TT/fTi Or PLOSiDA'~0.-VEnOwCA Olii

                     'rO'J MUST 50.ro ■'          V/ C'.ivi .;.>dt;r-rni’..ir?i-Sli,0 o,*;   Avp. .'.liamj ,-L cr. f;         :/70?0 si-
                                err Sr£,-,        :'0'j 0: that       sTiu          :P-s


                     .-{ffv sn/erraclian rt:»d L-aun vffizer iptcific docyimrniiftion evidcrUiati- rt}rr?:jpQitdiTnct,
                     cL-Lirvjn-c sioiS, «^«*«w<.vrC5y/7/w'i, canira^.end fvct>rdire^ardiij^pct^nal, family, and. trnv
                     centrolled tmeras.;i In Fadt-rslh- r,'§ii!ardd VS Batik, DfsHcki' AC, JP Ma/ifaa Ckaii-. Bank
                    pj Amutica sad li'elh FargtyAi'echark im-ofrihS; Iptms, rfai r^ste hajfing and .rpnial
                    prpperries iociilid 7-,-hmf! th( jursdiahr. af :His Ccun. !sclud)’d ;;T rfta Sutit/oraaed
                    Ftedncnaa &/ [hicamcnts an- dU fvlaiccl aefioa ci,i>nntinfp nama, snd ccfi/cpra of SlkiKi
I                   Det!? Coutity ettomp's. Isk- yirro; suk po/npaiiiti, rpsfiors, cimifig agenn. Jiagn-zip!
                    tnmrjthNa} iav^tars and Jialdkg cam/ionies fhalate snimpsigr, coniribt^on^Alv;! nrqvtec tp
I
                    b^pradticid k all ex-parte conespondmfp records ofyou endyosr repwruxalhe agents hFJi
                    Jadges, end Ct>»ri ojfsccts in rhh lutisin in lafving the Defcitdar.n.



                    Tnfisf iverhi w;|!,tie (jrs»?cxe3 ivg me'i P? cojSsHJ ar mat tijns. yo-j «                r*-: hs's'i   ie^tfe ih? orlgnj;
                    -•t5.Tl£.



                     TV    insv osey tftis j'jbpcsna.by pToviding resdabte coplii of ins kerr.i w b* p-odi
    I
                   w,.ier           whftie riKtic appeet: on        iu-upprcio on 0: before the ;<hccu!2a.’cep
                                                                                                           date10aJpredc^tjc.-..
                                                                                                                  -n? p4Tn:v &-

                   yoj may eor-ajTJon The prcpgrstton of {h? cpp>ei boon Ciynsn! In adwrrce 0; the •'tiSOnib’.p CC5! of
                   preparation. !f vck: mair of drlrisf tlv. f0pi?-5 to the BSemry wDae Tanw apcaari an c.ha vappcitaa
                   ti<?fore the wre I.-i!£r«t6d shave. >«y do rtot have to appear s.“.p«rsc.-5
                   Y=U tn; e !>e in contsrnpt of C04«l :f you faiJ to: {3) jppear as rpeeffied; {3J hirm^ the rccortbirstead
                   or app-ortTi 05 proi-ided aj?ovej or 13) objKt to t.hisswJjpoena,



                 ' F-’orr-TJ           Ccufi Apprf.«: f<rr..!y Laa.- I'cnT, iP 2j Hi) 5uip^-p-.n lio 'r.-vdv-.tcn 'ntm j          {Zl/Xy}
        USCA11 Case: 24-13671              Document: 13                      Date Filed: 12/05/2024                        Page: 325 of 723

                                                                                 ^-^n.. ^^-.rsV               w spopna 3r a, ii.-.lo-5<; evni'fjfj k-,-
                       '.“'r*;■'•'•'                VO--^ y^-a.l r«*spor<2      dJ.'^^aec. Tftlj.psrt;ta he        5yt Lf/ thtf court oj- Klled
                        •i-Jd;.rtforTnsljt,n ebusncd fconr the cijurl;


1
                       So^rr
                       pan«;lpa.f in ths proteeamg, you are entitled, at no cost to yooin order
                                                                                           to theto
                       pr(>V35!on of certain sssfstance. Piaase contact

                                                                                 *’>'                           =^rt triepOonenootOer;
                                       rh2^ r                                                  ‘PPearanto, or it mediately upon
                       S 7 G<sys,
                       *nan d-« jff you sre hearing
                                                '* cr voice
                                                      ''™ impaired,
                                                                 *=caJ!schedoied
                                                                         7il. appearance it less
                       0'£tS&


            { ,



            «
                                                                                €v-£Rr.      tac ciAci-rr. ''.w’-iaT < sem)

                                                                                2v,.
                                                                                  ^efPUtvCk-rfc



                                                                                                                             i SutiJOi.-nri t-pon d




                                                                                                     y>   .

                      Dilcd; </2&/20
                                                                                          -..^Li Mja.-
                                                                                              v'/tTnci; Wct;i r-;8irtiff
                                                                                        ■ :5v20 S. 3ivsr DiT*2 f.^kn;. F: 331r37
                                                                                           ■ 2:i5-3S9-9C2l
                                                                                           5«S?3JlO>;3^h:pc.i;wtr:




                          'djprwtts ctwrt A^ravs>ji fsAyiy, i'A ‘arm.
    i
        I                                                                    551Jc!.>jfc.svt:;-’* fcf Pr»n,^z.:.c.T{ffnm j.VcrttJSi-^yiU/iS’   •   ’
        i         ■
                        USCA11 Case: 24-13671
                             m/lzNT                  Document:
                                           'A-t-.d VA'e Arp      13 Date Filed: 12/05/2024
                                                            .’■.'Svvsrcc-T
                                                                                                Page: 326 of 723
                                                                                        -nir«?nr'i                                                                                               :..2rpi?r5


             . . .      -   .A-


                                                                                     Naviont Student Loan Trust 2015^1
                      <
                                                                                             ri ;■ ;‘y. t ,;;i .=.! j;-.,-'v-r

                                          --U.»
                                                                                           7C^ ’Kv C'Sli ?i                        fcrr«:
         I
                                           ■ fjia
         \
                                                                   r


                                           .7: V ^t^fSTK-S;'.V'. • '••




                                      -   ’ ^.T-rr .

                                                                  :'7:.T
                                                                                   • Calc c-i Ufc,     f<vr^:.'jA-j in;

                                                                                     vJl-j» A           •5! rajclC.-jj



                                                                                                   CSc ei
     I
     I

                                                                                            -DriMy-.tiain ..;ji7V .
                                                                                   CiJSP


                                                                                   C^i.-i ,; .=>7:3-.D.=s:;i'^^=:ii;                   ■.•-is
                                                                                   PJ=c -A-t MarO ;                   - ■>



                                                                                   Clan 3 -ccr-a.; =Kt
                                                                                   sass Cns, !.«^ iig^C!. ; (j:*.
                                                                                   C-.^-O.-!' ■»s:SF.«<.7.=




                                                                                   iV5.->i<                f<>.-



                                                                                           f a^: =»rF, Ji,--.



                                                                                           raTC^irfi. ^.ii.



                                                                                              toui-jp.s t-ic


                                                                                  UrTj!?T5T!l»!3.

 i ■
                     j '}P'l'-: '‘- -A. '.y (           • ■-■                     .;.i7 .'Ja-JT!
                                                                                  ?t=TrC<¥'.jai.r.i3r^cK
                                                                                                                             ,'s,.■'//■.                < ,.
 I
                                                                                             CitvLi.- .!;-                             r.Vy, ;■•,   -
 I                                                .pAW
               I
                                                                                         rt A-r-^-TZa              ! j.-vr
                                                                  /
                   V-                                                            CTJS; 6ii333
                                                                           . .              Dani'Sec;sriM
                                                                                 . 5ai=r^: ?ac.»s£Cc
                                                                                   P5S S.!*xn:«i




                                                                                    • Ki -^* t*                          Tw jr«va.;i    '                                                Jk*tm




1.

                                .’■lips. riA’i iCTif i’iSr;;..')Ixiut. invi!ic!<-j'< ‘:i?-?7:r*..-:c-:. no v:i-!i:-.;;ni.sfr,                                  j   ' ! 5'^0 U--i ..-0!7>.X
                                                                                                                                                                                                 2- ;er'2f>.:f


r
                 USCA11 Case: 24-13671                          Document: 13   Date Filed: 12/05/2024           Page: 327 of 723
                              IN THH CIRCUIT COURT or TIIF. ELEVENTH
                              JUDICIAL CIRCUIT IN AND FOR MiA.Mi-DADE
|. •                          COUNTY.FLORIDA

                              CASEN’O.,:0I0-CA-6L52S                                                                               rri




                              U-S. BANK national ASSOCIATION. AS                                                              O


                              TRUS-ren FOR RASC 20O5AHL3.                                                                     U5



                                                                                                                              rf
 |. ,.
                                                                                                                   "D




                             LHROA-wn.LTAMS,rr

                                            OiMcndaiitft.



                                                ORDER ON DEFENDANT’S AMENDED MOflON TO DlSiMISS
                                                                    FORECLOSURE COMPl AJ\T
 I


                                    ; THIS CAUSE hrn-ing com? before U;e. Court, ojxvn Defc.'idant^s Morioo fo Dismiss

.I
                          Foreclosure Coinp!2:,“.i. Uic Court having,heard oral argumcnl on jaid MoIio.t and the Cour! being
 I -

                          olhcrAisc duly cAhwd in the premises, it is hereupon:
                                      ORDERED A.ND APJi'DGED that Dclimdanrs MotiDn TO Disrrass rorce’esure
                          Compbin; is hereby GRANTEDj’rfENIED
                            5b




                                    DONE and ORDERED in Chambers ir. .MicarJ. Nliami-Dacc CoTinl
                                                                                                                  Fiorida,-   on
                                  ,j■■?L:
                        -November i .1 , 2019.
     I

                                                                                                  ;    .


                                                                                 Circuit Court Judge
                                                     1
                                                                                                           VER0NIC4 A. DLA7
         I


                      C». ^ ^ f i                                    - T'&U b Ti fl l
                        •’'•’Jjss.'W.Sii-       ■:       (V :


                                                         ,         lx     -    »0 <r
             I
USCA11 Case: 24-13671                        Document: 13            Date Filed: 12/05/2024       Page: 328 of 723

                     FJUD

        ■   ■        y.S. Sank, Naiic-nal Association, as Tnstcc for           fN' THE CiRCUrr COURT OF TKH
                     R.\SC 2005AHL3 ^                                          ELE\fE^mi JUD5CLAL CiSCUrT ■
 - .t                                                                          IN AND FOR MIAMI
  !‘                 Plam'ilT,                                                 DADE COUNIT.FLORIO.E
    i
                ‘    vs.

                                                                               CIRCUIT CIVIL DIVISION
                     i.eroy Willia^jjs: Unkx!0v,-a Spouse ofI.e<oy
                                James;LittlejC'hn atli'a Jaracs L. JcJin.  Casc.No.30l()-oi92S-CA-l)i - ■ ■
                     James; UakDoivn Spocsc-ofJames Littlejohn.ASCA
                     James L.' Jolin; Hoke Wiiijams; Ur.knov.T5 Spouse of'
                ■ : Hoke WilItams, Ma£:k'Wei!<jj Unkflowa Spouse of
    i       . : Mack Wells; Cmsis McNeil; Unknown Spottse of
                     Gums.McNeil; Sj-moneac Limited Parmership.: '
                     Dcut^Jse'Bank Nstional Trust;Company,as Trustee;                                            \o

                    for Franklin Credli Trust Series i; Miami-Dade
                    Cc<utS>\-Flo.rida; State ofFlorida. Dcpafrincnt of                             -.n-fri:;
                                                                                                                      r.T

                    Rcven^;:Uni{bnd CCR P.'sftners. G.P.; Sttnuust                                              <-5    ;
                                                                                                          4',
                ■ ■ Bank; City ofNorth .Miami, Florida bikJ Teiiant #1
    1

                    Defendants.

   !


                                                 HNAL JLlHJMFNt OFFORECLQSURE

                            THIS .■\GrJON was fcaard before the Cotm on Plaiiiriffs Final JuGgrien: on November
                    29, 2&I 7 on. On the c^'idence presented. IT IS ORDERED AND ADJUDGED that PiainiilTs
    !               final jjidgmcnt is GRANTED against all Deftnoarits listed by name: Leroy Willsarcs; L'nlmovvrt
  - ;
                    opoti^ of Leroy Williams; James LrttJejohn a'k/a James L. Jolia. Jtimcs; Unknown Spouse of
                    James Litd^oha AKA James L, Jolim Holce :'l.krt31ianis; UnknowTi Spouse of Hoke Wiiiiam.'g
    \
                    .Mad: \\teL’ s;Unkno-ATi Spouse of Mack Wells: Curtis McNc;I; Unkab\vn Spoijss:<.TCiHlis
                    McNeil; SymwJcne Limilixl .Partnership; Dcui^he Bank Katjonal Trost Company, as Imstee for
                    FisrJdin Credit trust ^ries I; Miami-Paric Count}’, Florida;: State of Florida. E^artiueni of
                    Revenue; Uni fund CCK Fannere, G.P.; SunmKt Bank; City of North .ViiamL Fin.-iifa,

                    \.       .Ambunts Dae and Owing, PSaiaiilT is due:
                           Principal due on the ttole sectu:^ by the mortgsge foreciosed;         S448,000,00
                         ; Imctcst px>d thru I          ■                                       ; $307,333.74
                         .tmeCfergcs



                    Case No. 20I0-6I92S-CA.61                         1                            File » t3-P02S4S        ‘
                       USCA11 Case: 24-13671                                  Document: 13         Date Filed: 12/05/2024           Page: 329 of 723

                                                        Prior Servicer Escrow Advance
                                                         Taxes;20n
                                                                                                                                     ,S 160,443-94    £^■^.32
              ■ I                                                                                                                       S6,909.]9
                                                         Texes 2014     '■'                                                             S6;yo 1.0-1
                                                        .Iex«a20i5
                                                                                                                                        S"4S8.:4
                                                        T3>:e5 2016                                                                     S72i34.96
                                                        Flooc Insunxrice 2014                                                          S2,20!.75
                  j:
                                                        Flood Insurance 2015
                                                                                                                                       S6.dS5.6S
                                                        Flood InsiiicUlte 20J6                                                         S6,021.2?
                                                        Rood Fnsur2nce.20I7
                                                                                                                                       SU5CH5.00
                                                        Hei2rd Insurance 2014
                  I'                                                                                                                   S6.252.82
                                                        d iesard insurance 202 5
                                                                                                                                       £6,146-00
                               ■i.
                                                        Kassrd Insurance 20 f 6                                                        S6J62.00.
                                I
                                I    ' '
                                                        Hazard 1 nsuiance 2017
                                                                                                                                       S2.197.36.

                                                         Anomev’s Fees Total
                                                                                                                                       S4.6S9.0Q

                                                        Ceurt Costs. Now Tazed:
                                                        Expert .Affidavit
                                                                                                                                          SN.OO
              I                                     Service of Process
                                                                                                                                      Si,935.rx>
                                                    IVcIicadon. Notice of Ac6on
                                                                                                                                        S250.00
                                                    -Addirion^tl Cosisr
                                                    BPO
                                                                                                                                      SI.302.00
                                                    Propeiry Inspection
                                                                                                                                      St.i72.25 ■
                                                    Mainteaance
                                                                                                                                        $340.00;
                                                    GR.AND total
                                                                                                                                   S99j,297J15
                                            .2,,
  • I                                               r                 p.cv-=,lir.s^
                                                                                  i=sal     ofreferenced in Pam^^ph.*h
                                                                                                                    1 shaii bear intcre-d
                                                                                                                        Sooio.   5^ fmm '
                       ■   !


          I
                                            n t                                           wdjost address is 1661 W’driington Road. Suite J60 uw.
                                                   . dcfepcbnt(s), on me folIo’Aing“ 'r '’‘■J proper^' is Miami Dade CoiJTcS
                                                                                     desenoed                           nty. Florida:
                                           LOT 105. BISCAYNE GAKDE.NS SECTION T” PART 1 ACCORDlNfr TfVT-..iF

      I
                                                   : Propeny oddress: JSOlOSoinh Rtv>>rT>;.-.
                                                                                                       i3BiL£L31l£i
■ I
                                                                         Jr dte grand total amount with interest at .U,c^ rate describirj in
                                                                               J^crued sabsequeat to this judgmcr.i nrc not paid, the Clerk q;' eh*
                                           •-.un shall-sed the subject propenv ai public .sale on
                                           to die highest bidde.'- for cash after having llrsi giss*                     . ..        9;DO A.M.
                                                                                                  sjn iMiice as .TCcrtired bv .Section -15.031

                                           C.sie No. 20I.3r6l92g-CA-01
■ I                                                                                                                                Fite s 3y-r02£4S
                        USCA11 Case: 24-13671              Document: 13           Date Filed: 12/05/2024               Page: 330 of 723
                                                                                                                                            GA\.ir2.
                                   Honda $?,8rui$s.        The subject      prepen;.' shall be sold          by clectrpcic      sale at:
                                   wv-*-.T:ji,Tm!dadc.Tca!forcclofJi.com.

                                   5. . Costs. Plaintiff shall advance all subsequent costs of this acdon artd shall be reimbursed
                                   tor them by the Clerk :f plaiaiiffis cot the purchaser ofthe property f?r sale, provided, ho-^-ever,
                                   tki! the purcfetiser ofifie property for sale shall be responsible for.documraiar:.' stantps nf.^ed lo
                                ; tiie ccrtlScatt of title. If plaintiti is the purchaser,    Cl«k shall credit plasatifFs bid udth the
                                  louii son) -.villi Lntcresi witl costs accruing sunsequeal to this judgmem.,or such,part of iu as is
                                   necesssiy-to pay the hid in full.

                                  0.     Distributioo of Proceeds. On filing tiic Certificate <if Tilk, tlrc Clerk iJiatl distribute ihe
                                  proceeds of die sale, so far as thev arc siiMcient. by p:aying; first, all of the plaintifi's costs;
                                  second- .do-rumentarj- stamps: affixed to the Ccrtincatc:. third, piaintifFs attorneys’ feeu fou-nh, ’
                                   die. tola! Htnh das ic die plainfiff, less the items paid, plus interest at the rate presenbed in
                                  paragraph 2 from this date to the date of the sale; atKi by retaining any rcniBining amoun-
                                  pending the furtheriordcr ofthj.s Conn.
                    I
                                   i.    Right of Possession. Upon;filing ofthe Cerdfioate of Sale. vjcrendant(s):and ail persons
                                  claiming under or ag3jr.s? defcndantls).since the filing of:tile. Notice of Lis Pendens shall be
                                  fonsdosc:: of all estate or claim in the property, except as to clnims or rights under Chapter.71$
                                  or Chapter 720, Fia. Stat., if any. Upon filing ofthe.Ceniticatc ofTitle, drc person named on the
                                  Certificate of Title shali be let into pwscssioa of the property, subject to the provisions of the
                                  Proteetieg lena.^tt; ot Fonrclcsun: Act of 2009, which was extended until ll'jUIh by the Dodd-
                                  Frank Wall Street Refortn and Consumer Protection Act
                \

                                  S.      Jnrisdicrion. The Court reuiins jurisdiction of this action to enter funher orders rha:.ve
                I
                                  proper,Indediag,without litnitstion. writs of possession and deficiency- judgment-^;
                               : ,5,.     Attorney Fees. Tise Court finds, baaed upon the affidavits presented and upon uiquily- of
                                  counsel for the plaintiff, that 19.8 hours and a $2,38!}.00    fee were rccsotiably expended by
                                  the plainiiiT.s counsel and that an hourly raic of SS5.00-$215-00 a.nd a flat fee of S2fv8p.OO is
                                 sppropriatc. PLAINTIFF’S COUNSEL REPRESENTS THAT THE ATTORNEY .FEE
                                  AW.A^ED dobs not exceed its contract FEE WITH THE PLAINTIFF. Tlie Coiut
            I                    -finds that there are no redaotion or enhancement factors for consideration hv the Coun pursuant
                                 to Florida Patient's Co-mpensatioa Fund v. Ro^ve,472 S2d i 145 (Fin.19S5).’
            I .                    Ih. The court linrSs that the legal description contamed in the subjea Moneage recorded in
                                   OlFtcial Rpeonds Book pb23. at Page 3231. of the Ptifclic Records of Miami-Dade County.
                                  I'tC^di. is incorrect. SaiO Mortgage is hereb].’ reJorraed to rcflcc’ the correct legal dcscriotior. as
                                  foUc-As:                                                                           ^          y
                                  [.or 105, BiSCAVNE GARDENS SECTION T* PART i, ACCORDING TO THE
                                  PLAT Thereof,.as recorded in plat book 44. page 46. of the pi>ai.ic
        I
                                  RECO.RDS OF MLANff:DADE COI.1NTV. FLORIDA.
                                   IS. ITc Court Cads that PlaintitT is entitled to an cquiiahle lien .against Defcnciant. Ittmcs
                                  Lirdejohn, .-AKA James L. Jolm. Heke WiUiairj;, Mac’K V/tflU.. Ci^s .Mc-NcsS, Symonciic
                                  Lrnihcd Partnership’s imerest in the KJbjcct property,superior to the Interest'ofthe Defend.vrjs


                                  Case No. 2010•&tV2S-C.A.D J                      3                                   Fik   n-r0286S
    I



1.




I
     I.

USCA11 Case: 24-13671                       Document: 13                Date Filed: 12/05/2024             Page: 331 of 723


                 SiornoNtt'liONS raoM°TL sIle        pa’‘SS
                            ™                 SA'-E erOE-eeds pu^’Swtoto? g>.V.'7^
      1 •




                .-so L.ATER •nU.N «0 days StS taf p
                                                                                                                          A >

                         U.EANDOROERp^Ctonte,nM;^iD,&Co^,y.^^^^^
                                         I 9 2017


                                                    Circuit Judge            J^ImSdile^ngcs .
                                                                             Ciii^Courtledge
               ;?k«ra£riihaJ! S5n'e:3|i p^d« mmed oa^&e rr.-’ce list sad
                                                                                    "■accupent” ai property .-iddress:
                                                              ^:ke IMt
               WEIiitac UCrbix, B&q,
               Attomej- for PEaindtT                       FINAL OHDEHS AS TO ALL PABTIES
               Stuck iL Scotu PLLC                         SRS Disposmos
               F50lNYYM9«'Suw£,Stijtc300                                            £i
 i
            ; 'Fort Latiijcfdalc, ;FL33gM!                "the CQU2T [l??-'fi:SSE3 tH3 EASE AGWHST
                                                           AST PASTY KyT LISTEI? IH TH® FHiK. OROa
                                                         . aapfleicusspjEHCsgTHisaissiscLSss)
              Miaxsi^DfideCouatA-, HorkJa:                 SSTOfitPASTSES.      :      JoImSdflefiEEEr
              do Altaniss? Ptedus. £53                                   JesM'sta&'s •’               jms^
            ■ Hi .Wist Steel         '    ' '
              M:3mi.FL33r2S
             jt-aidesgiaiainidauc.gov

             Chy ofiN'orth Miami (Gitv)
             ronjiifer^L. Warren
                 N-El-2Sth Street • ,
            Ni>nh Miami, FL 33161 .
            i-'iU'.^loritei’iglnorthmsainiS. gOV;    ■


                  .TMniarris
            CTO-A ] 5020 Soutfi River Drr/,e
            Miami, R 3? 3 67:



            Case Nn, 201 (U1 <52S-Ca .0!
                                                                    4
                                                                                                       rrlej? f3.?02S63
                                    USCA11 Case: 24-13671                Document: 13        Date Filed: 12/05/2024           Page: 332 of 723

                                                Unifund CGI Partnci's, G;P.
                                                c-'O CT Coqporarion System. Rcgiste.'ied Agent                  r
                                                320*3 Soutii Pine tslahd Road
                                                Plantation,?L .i?324

\ ■                                      I

                                         I
                                               Deutsche Bank National Trust Co.nipaay, as Trustee for Franklin Credit Trust Scries!
                                               o’o Legal Department
                                               <76:'5, St ?\ndrcvv Place
                                               SiTO .'\na, CA 92705
    I

                                         1
                                               Unkno-wn Spouse of Hoke Wilitams
                                               15020 South:River Drive
    I ■
                                               ?/5:aaii. Ft. .55!67
    I




                                               uniMouTi Spouse ofiu.-i»s Littiejohn AK-^i James L. JolLi
                                               & 152 N W 3 5lh Manor, Apt FC2R
                                               Pianaiiotu FL 33322

        I

                                               Littlejohn a’'k,'a James I.. Ji>lin, James
                                               L'Ki'A 15020 South River Drive
        I                                     .Miami. FL 33167


                                              Suntntst Bank
            1

                                              ck).Ahshs SmrJi. R.A.
                                              40 Technolc^v Parkway Soufij. Suite 500
                                     I        Nbxros.s, GA 30092
            I                        I




                                             . Slate Ql’Florida, Dcpaiteeni of Revenue
                                              C'o &c«:urivc Director,a registered agent or any other pensan antborized to accept service of
                                              procccss

                                I             2450 Shunuud Ctak BouievanJ
                I                             Tallakisscc, FL 32399

                                             Leroy ‘s^'illiam?
■               I
                                             SI53 N\V 15th Manor,Apt. FC2R
                                             Phmtaiioii. FL 33522
                    I


                                             Uriatown Spouse of Mack Wdls                                                                        ■ I ■
                                             s5'D20 South River Drive                                                                             !

                                             M;amLFL33!67 .                                                                                       I
                                                                                                                                                  f




                        I
                                              Case No. 1ci[0-63O2S-CA-01
                                                                                                                             Fifs ^ 13-F%i2S^




                            I
                  USCA11 Case: 24-13671           Document: 13      Date Filed: 12/05/2024   Page: 333 of 723

              I
                            The Unknoun Spouse of Leroy Williams
                            LTy'A 15(?ip South'^ivcr Df.ve
                            Miuini.FL 33167
                                                                                                    3Z
                            Tlie Uhknoiva Spotisc of Cinis McNeil
                            DK'A i5{)20 South River Drive
                                                                                                Q>cK Z’l
                            Mhir.i, rl. 33167
                    !




                            M£i±\k'dls:
                            L'rC/A 1 ?020 Soudi Rjyw Drive
■; I
                            M:ernL FL 33167
          I



                            Curtis McNeil
                                   15020 South River Drive
                            Mianil. FL 33367

                            S)7ncncite LhTiiicd PonncT^iip
                            ’Jk/A i 5030 South River Drive
                            Mionii. rT- 35367
     -I




                        1




     I




     I .




                             C*sc *N*. iVl'N^l^iS-CA-Ol              3                        Fite - SJ-FCESiS .




 I
■I
USCA11 Case: 24-13671                 Document: 13 Date Filed: 12/05/2024                          Page: 334 of 723
     FORM 6                           FULL AND PUBLIC DISC LOSl RF
                                           OF FINANCIAL INTERESTS                                 FOR OFFiCC USt OMLV

         LAS^ VUAC - ror XAUC - tracxk uau,
                                                                                                         aOROA                  I

       gchlesincep                  jWN                        CMAff;.rS
                                                                                             cc             0NE7HCS
                                                                                                                                    ^7
       '3 vVES”'LAGLcF.STREr                                                                       joLoaai?

       RCXJM 1205                                                                                  RECEIVED
        ■* 'V                                           r;f ijsrt

       miajm:                                           33*30
         vywc •'»       y

       ST*Tg OP FLORIDA - 11TH CIRCUIT
        \A«t '>OF»iCf Tm •OMCK-if^CRSifSWVMt                                         PROCESSED
       qR^’j.T
         CMfCn r ^-ts a « F^-HG S> • i»N0e*:t   □


                                                     r\Ki A->»:i HOftiii
                cr»*- Ti* ,akM Cf year ^e^ worn a* af Sacarw 3' ?Cifi ar a rxiik santn data [Note r4«         •! -w :i.-
        :a:at«a ay sueracan^ ycur •mpot^*c Saowiea i»twr yo^-- .’*p<yjwa»»ets »c     »ea     rar'jctxy* «x* saga 3 .

                Mv     worm a at     June 20                    20 17      wasS   28 834.751 2S



                                                       Part D- A«rrs
        ■ouQCHCxa cocos *ao PsasoniAi. errf cts
          -OjmW SMI tm atnanm «aK> -<w a* -aconw m 4 lunc twr # rw aipitgMr ^ ««««« t' >X                           •«. «< *»
                                                                                            •n JCircn ■'tuwau «!et<P'w<^ jna



          WS^TMJK •M'F'^-wuaanoweMattasstwvyiiKa j«Kr«»» jaow ■ % 2S0.00G 00
        Assm woty®cuuj.r uatucc at ovtR svaw
                   osacwRTJOdOFAaagTacaaatawcncciwiRwoaeie-                                                          ASSt^
       1:^ Al»anaoA*«nu* OoratC^abiM PL                                                                  Iss-^oooa
       *991 Ban Mj(ier Read De« G*c FL                                                                     800 000 X
       373 '''digste Shews Onvc isiamorsaa Fl                                                            2 000 30CX
       OQHVHUfD ON PAOfe Tvio

                                                    fiRTe -lUMiiiirs
       UAac'TM m excess of svooe <Sm :anraCMra on       4’.
                     MAMC AMO AaOMSS OF CMaXTOF                                                           AiFOoMT o* uAaajtY
       NONE 0-
                                                                                                          {K




       JOMT AMO srvixAL oAaaj^as mot rcfortic Aaow
                     MAAK AMO AOONCSa OF OtaoTO*                                                          AMOONT OF UAaaUTV
       NONE
                                                                                                          -o

                                                                                                     I


   t             NOIW, JW, • 4*1*
                                                                                                     *


                                                              'NflWA-FFM
                              USCA11 Case: 24-13671                    Document: 13               Date Filed: 12/05/2024                   Page: 335 of 723
                                                                                      PART B Connnued
                                                                                              ASSETS.



                                         OSSCftJPTlON OF ASSET                                             AMOl'NT OF A.SSK[
                      I   ■
                                         TOTAl:i-ROM PRBV!Oi:S ?AGc                                             S6.5'i‘K.l.!iOO.O*l'
                                     ;          HciglUi, Firr <>.T!er in Apartmcr.i
                                         'Buildings
                                                                                                                 2.'XK3.fH'iO,<.H'.'


              ■|                         Trent 3oycr;. :.£ C PcinO.sTisr ir. Apanmcnt
                                         Building
                                         35ft prospeci Avenue. Hti^K'cnMek. NJ                                      .'ftO.l'nXKW
                  I

                                         Pure H«n.s. Pnr.. Ouncr in three commerda:
                                         Prilisenies.; 2650 Rt. 5 lt> Old Bndt-e. NJ: 7.?5
              I
                                         i ;az:e!S'-i.H>d .\\en'jc-. Rtihwu;.. NJ;.22-15 Rt 1",
                                         Hftsbrcii.d-v Hei.eiiC5. NJ                                                 SLHJ.uiXjJift;

                                         Santander LLC


                                         .-irs; Ciiizens Rank                                                        O
                                                                                                                      i 1 *




                                         AldrsLarj Stanley iJTvkernge Acvwrr.                                                     '■'T
                                                                                                                                         ,0! =

          I
                                         State ofRdrida Deferred Cocipcr&anon                                         286.1-JS 68

                                         I-CGcraJ i nrifi Savings Account                                                      .843.Si


      I                                     ensky and Katz Brokefage .Aceot:.n{                                    1 i .0 i •! 286,66

                                         2iXj0 rerrari 360                                                               lOO.'XiO.yo


                                         201J pTO:xhc '•5 51 Turbo Carink:                                               i20.C-nrj.0fj

                                         201 j Mercedes Renz GL6fi}

                                         2U’r ■; Honda Odv'sscv Van                                                           “.SOfj.'fr.i
■ I

                                         20'Xi Honda Odvssev Van                                                              I.Si'X'dW

                                         26-1)8 pAWton Whakr                                                             uO.iyXi.'M

                                         2-:ii.5 Bostit.n \V2nalcr                                                     IcO.OC'O.r.'H)


                                         2615 Aedi SJ                                                                     40XiOu.OO

                                         2017 Meicedes 3f-U St                                                            96d3v'i}.'.)0

                                         TOTAl. ASSRT-S;                                                         S28.S.74                3.2:-




I
 USCA11 Case: 24-13671                                                                      Document: 13                                           Date Filed: 12/05/2024                                                        Page: 336 of 723




                                                                                                                                                                                                                                                .‘z




          C 3{iiii soaiu 3s\md x^sns 'iixti\ss'<'<- \o 03 jsua'O-.) 3mv I no^oaui s.tyvj .jo is."\’3i
          japur; inju; Jij! !>1 •jijiqjsaod-aj aq’.jt.-. jjfc >151 avjijjj jon uop oiufiiic ;c« C Aq en,i«; ?iqi,(n i:o::r'r:ilij,;
                                                                                                                                                                                                             n t.'::?r.rr-rr




                                                                                                                                                                                                                                                -■ai.cj'r-jr

      •i-u;                     •TLtr W.I-^r                ;T»»r>3 w.:*                                                                                                                                                            rr.r
                     • —-■71'            •*    3             ii                 w, a;^cCi.22ZT ij 5                  •“'ii 3 «■
                                                                                                                                o<~ r.s.:?'.-;                                                                                                        /




                                :/;■.          r^•!p•>^.•a It; tpiOy; s-j: yi-'.* tuc..Tjj                                           J.                         r'r                .y>2-jn                     Kzr^Tizzzs :i.i5r^«pj=c. i i\
                                                                                                                                                                                                                                          m
                                                                                                 '-0-T 10’- 'X:                            :i o-U/**             ai^'SCKro aO ivc>^o                                                       ,1 ja;u.w-HS
                                                                                                                                                                                                                                                      /
                                                          V r.r.rvL^..                                                av.o'j-■ •\=tt
                                                                                                                                                •ji'
                                                                                                                                                                                                              !■
                                                                                                                                                                                                                                               /
                                                                                                                                  *:■'■. >'-■
                                                                                                                                                                                                           / /:
                                                                                                                                                                                                          i>'                                 a:h3u>-.-; rus
                                                                                                                              S ■
                                                                                                                                                                                                                       /
gtiK8^)eam3gtfr--ygl:-
                                                                                                   r5^i7. .,.
                                                                                                                                                                                        ;'4r.^I3i:                  i'-iTS:?. r^y-'-yr-Jc -..r i-.r
  »a»07««afi                                                                                                                                                                            Hill 1.;'. .'.i'<-i.--:i:,                       ^vi t«--3 .-'^: ~-l'
                                                       .rci7.:                            ui -                                                                                           rM          U.
                                                                                                        .%■>’ ’.:v*a; J3;i’ /:>

                                                                                                                              iOA^Nnc:'
                                                                                                                  Taiiip-u 30 aj-rj-E                                                             HIVO
                                              SNlNSVdl aS'dJnOTd 3Hi Cr3i3n4W03 2AVH I                                                                                                  /^LLyHO t                      C
                                    ■5 :i '~r;,L ;. v lD.'PSS n; •;y-5TE;''p 5-j!u,ej;                                                            ;.'--!vV!: ojsipL:;*;, t, Eiaj.nbiy                                       j
                                                                                                                  ;>>vist\>ii - 3 njvd

                                                                                                                                                                                                                                    ■iii
                                                              « L                                                             ■'.»rj; ft

                                                                                                                                     T9a                                                                                   I/. Y NT! - .: f 1'A :.v'

                                                                                                                                                                                                                                                             in\
                                                   •i-^j-'x?,-:                                                               jcrJi/s J
                                                                                                                                                                                                               I                                            1.-

                                                                                                                                                                                                                t
                                 {J.llU.TTrt               '•'-U
                                                                                                                                                                                                •xvi!::• 'd i
                                                                                                                                                                                                                                                          -‘V'.rcir

 r\                             09£-                 'O'd                r.\ ■r53rrO;>ii 039X03 C d.-y-^                                                                                        -;, f::

                                                                                                                                                                                                                1

                                    CIo'                                                                                            O.-'                                                                        j                                     1* i/.'vN
                                                                                                                                                                                                             -■»
                                                                                            r ,                                                                . * -.^.^3 S->3N-:V-:i
                                                    (<J                  11,-.- vuAfi;>iusACi[                                    !« CiIJE.>i4S M ;Nl.s'.-iM ,ii,M - "i .l^^^■«i

                                                                                                                                                                                                                                               'iuvo:-:
                                                                              mV                        DS<?>Qc ‘0 n'
                                                                  !
                                                                                   "\ cHrj-'r’O^A' 'xr s                       D.-,
                                         r*>                                                                                                                                                                                       .•*.•.? -V- -•
                                                                                          H-iiaO-Cv                                            ” iVLl*'.';,            '•'V.N «(*-■ C-*17N                                      r ^ JA7N

                                                                                                        ■C_              •'■i;'A_ y-- .r               ;..'   JiJc::                                                  rD                      AavaNOZ'HS


              •-•J              V
                                                                         - . ssaKQ r,-a;; :.-,..-i).-.T                                          i'.c i'-C •

                                                                                                                                   t:o;:;5 jc-                   '                                                               J■ f.         .r-X-.-j Ilf ji '

                                                                                                              :: jirs'                                                   A-   .3                                                            l. ?; :iTr‘.               r
                                                                                                                                                               *^K. ac- ■suPT-it-y.-vj; «rj.' SiOpfli JC SSSSnC'S .-iirrcii                                            !

                                                                      ‘ir,-        >;•: r.rrxtfj I'wi                                      ‘;'^- .j"P. 2^'.                  A-:
                                                                                      ::;;3XXC'L’< taj-            ;%vi;-                  r.- err. :- r                <--. --
                                                                                                                                                                                                                                                                  1—


                                                                                                              •   .Iii-'r:~-j’.                :: cc*.-C'': «»2                    •>

                                                                      SC'*:: ‘‘a*’: a**’;*.^* ‘•■“-iH.-.                                                         j^iv. Ji*                             *'1. r--zx-i; ;cja;           -' .-d.


                           ;.: y;       Sus:':-.          ‘.;*N               v»'!:^—        -          V              •v;i                                                             i: {:               -i.r o. .r?::                       j?';* •'^'ur^r

                                                                                                                  HKO )\l - a
                                    USCA11 Case: 24-13671                  Document: 13             Date Filed: 12/05/2024                  Page: 337 of 723

                                I
                                I
                                                                                                             PROCESSED ^issioNONEncs
                                                                          Judicial QuAuncATiONS Commission Form 6A                                 JSA 03 UJ3

                                                                                        Gt^ DISCLOSURE                                             F£CEIVED

                            I
                                           Al! judicta] affiiers mustflie Wiw the iFIorida Commission on Ediics a Hst of ci! gifs received                      Bi<hS5
                                           during the preceding csier.dar year cf a value in excess of SIGO CI)ss provided in Canon SDfS]
                                           and Canon cB(23 of the Code of fudidal Condacl.

                        I                  Name of Judge:                 JOrN     RL£S SHLESiNGER
                                                                                 ■^1
                                                                                                                   .Tdephorie:            Tl'JIv




                                           Address: _1 V,'5T vlaglER street room I                             rL Petition? CiRCu* 1


                    I                      PJeaso identify all gifK you recer/ed caring the preceding cakndar year of 3 value in excess of
                                           $100.00, as required by Canon 50[5) and Canon 6 3 (2) of the Code of judicial Conduct

                                                       Source of Gift                                                  Value


                                             ?;OME ^•




•               I



            I




                                                                                                   oaiH

                                           Sate^CBorida. C^ounty of
                                                                 k       ! ‘JG^. Lite public official filing Lhis disclosure statement twing
                                           first duly sv,-opi,do depose an bath and say that the acts set forth in ±e above statement are
        I
                                           true, ajrrecdcrja cosr^I^e tu cite best of mv Knowledge and belief.
                                                          i-r'


                                                                                       J’-ih'tK.                       {.NOTARY SEAL3
                                           [SignaimT^L,Report:i|g jCfflcial)           Cl          C'-JUfr
                                                                     i!
                                                                          II
                                                                 I
                                                  iy
                                                                                                                                          'lecvLaccwc
                                                                                                                           •>          , vrCOUOSCRjFrtt^i^
                                           (Signature coOfTicer Autherfsed to Administer Oaths)                                           S»«SfJ<y3CL2n?
                                                                                                                                            aciHW**.iSrvte
    I
                                           i.ly Cosamissioii expires                        I


                                                                                                               j
                                           Stvom to and subscribed b-eiore me this Ari gaV of                                   -20.


                                           (d^’CiffAl Or THIS ,=0iU4 .=rLi-D WITH C'C’Mi«?ISS10N' OH ETHiCSr COPY FILED WITH fUQtqAl. OUALIFiCA-nONS
                                           lEoviy.issiON^

                                           if-n




I ■
USCA11 Case: 24-13671                                Document: 13                   Date Filed: 12/05/2024                         Page: 338 of 723
               FORM 6                                    FI i.L AND PFBIJC DI>"LOSURE                                                                       2017
                                                   *3        OF M.NANC‘IAL i Vl ERESTS '                                          FOR OSTlCE                    0#?LY:
                                                                                                                                                                           B^h 32
            s.«.SfeEFK?fix"ai®r.s                                                                                        ' ^00(<5-3
            15*:; Nu'           S'TSrXT'.-:ir:                                                                      PROCESSED
                                                                                                                           CQJ^IiS'C^'CWETh..
        A5;aV1!

                                ’r;Si!}A H r:-; Jt!>n l-•.i.ClRF^ ! r                                                             RECcfVtD
                                   CH PO'-nrSTT;ic ck ==uchT                ' '
                      i 1 Jv • !.h :I'


             C"£C>:? TH:S          ^ I'U »;-i fv ACX’i'lOi’Ti     Q


                                                                          Part a - M* I >vaRiii
            Pic35-> Ar,;fir -.-e ■rt!u,j cf jou- rtir;           a; or noAerrJrer Si, 2017 cr 3 .Tcre co-^c-m liiie ',r,oLc: \'t: ■--.■ca.- in 03: coi-
            cjia.iii: t-. wblrtcti.-M yai- X'p.^-rco'ii                fr&in, yol' T-po.';!.'.? as-seis r<! piTssc see me                           wi p^ce S:
                                                                                            IS               ■ii-iss! .*?-! iV;
                      My ne: v.cr.h as of                                           ,20          _ VN-3P S



                                                                               tart 3 - ASS-ETS
            upassrotO cacaj aso PiiKsc-wi. rpFf ciS'
                                   .fra l^ry^TOi         !Uty K .e4»-V«
                          l' /i:! stl; Jir rr^frt»ta                      /V        'f-''        =^'■7*5 -‘S'-X!         SI W'J ir^ ,                       7,-rt cr sn;

              ~ri »J3!?3K- VJLX a: ;rp.r>-jj^>-.cc o»i .-.r? 7«ac.--jr ■--‘■-tes!                         soo.oco.rxi

            A5IET2 IMOMOU*LLr-viall'EOAT Sivtf; 5ix-»
                               D£3Cf>iJT».V o? aESET fep«^chA; tiKiryJo,,           rwj»rM .
       IXH A.'foaiM A'.^r. Curai ^iiihlc;-. Ti                                              “                      ii.                              VALUE UF ASSET

                                                                                                                                            S3.7fK:-.«iryjXi
      7‘Vri
                                                                                                                                            5.S<},».iRK‘-.U'i
      TC^ iTru-xii-.- .‘vvr^cs ij7. uisiTuiracCrT
      i; ■onunsva'vji r'^-cz rvLo


                                                                          haki <■ - LiABri.ntt>.
       _iA3iL.Tic:- a, zrzesT. c= sre-oo .>:=
                             'r»AWC .AVP APOBESS Or Cft£p<TT7=l.
                                                                                                                                             .VSKJL'KT OF LlAKirr-'
      \ot>c
                                                                                                                                            -1.1-




      .■Civr Ajyt> Si’/ErtAi liAEa S'i£s war kcs’O’ITED aSCf/j:.
                                         AMg. ASOASrSS Cf C^fOl.'OJ^                                                                    [   aMOuk; i> ixs.str..-rv
      No
                                                                                                                                            4V




      ‘ r    J,»‘V t • ?**T..c uv.jr. r .-rTta
               j-u rv 'm^rnrzt .   ,»■                                                                                                                          ^■v:.r •
USCA11 Case: 24-13671                                                      Document: 13                                           Date Filed: 12/05/2024                                                           Page: 339 of 723
                                                                                                         I*\Kr I>- INCOME
     CC't^Tj              Ceri^hT^m Trx./’-'ja                        C*                  '.^                      J • '.C-O Ju**"                      rrnr!_r.v >ciX^-^rV                            r;J rLj.fn<* L'*' aC2Cr..5 r^—
     rrr^ t: ."><? >“•'.'                                  ^ •.!>          •■v^i.'u-*^ .ti VuVi                          ;-f-J ^r:0<:T--r'^tt. r»Cir^                          JJ“T^             UiC        "•*                   1

     3Sr:C“.V ;iT5».tr .-w'.jm .o T-V JJf**                     r,-*rc>         •»."vrrv,--i*.           ;*5iJ£?2 >1- 'Tif C^'T-r-^<-5-;n t

     ::3        >           (•? **r:’      rrc^*
                 III r-^ ^inK^ "■>v'M'. :rc !:zx.r, a
                                                             -'j    ■ai'fa. rr~-^-
                                                                                siyr-/ .V''
                                                                                                                              1

                                                                                                                       rti' r^-: rc-T -rc'-^rs^tr •'^ :»-ra.-u»- v "i- D (
                                                                                                                                                                                                                                            Ex-u.^n’
                      SOUSCcS c-r S»::CM£ Ijee iiTKfSCljCra =!; P35' 5)
                                                                                                                                                                                                             I
                                                                                                 1                            xr.nt.-;               -f sogt;.::: or                                                       i/.*c:>Nr
                     Of                       Cn ISCCW                            »' V'--'
    (,'iTt-aij CouJi Judge                                                                       I M:;i’j of Florida                                                                                         i-ii60.<;.ss.oii

    saritander.l.lA.' lr<;n[--.!                                                                 ', r 1 o--! S Sar’.’Jiruiar Aa e                                                                            iyi'.,iK?Ji.!i.i
                                                                                                                                                                                                             I ■


     2^'COfOAfrf SCV'«CE$ Of iV^CW:: ^Sn.-vrCizl^tw^,.-): rL/i^s\ ft:                                                   r.- .-.jrzczjtci <r* '*« :v niC-:cr<;                             -ic*                             *<.
                                                                                 O’ V>.JCS»                ji?-:                                         yoos                                                r'V.Ni':i:>:i; nL:z;4*{£3-j
                                        C‘?                                                                                                                      %■*

                 Co i?3wr-**            r ♦v::*                            O’                                                                           •>■ TOUfCE                                           i-TwyOPj^.^-?
    ijLiaiJ i ^s-iCiUS                                          I I'nifieiT;. Kc-nlai                                             P.'.'i 3..'\550 \-i-cArcc. NJ                                  IViip'.'.'ry' Ri'nial
    !-<.'Ui kieaiW                                              ^ i'r-opsiu tenlal                                                PO, ;1,:.\.SA0 \isArc'c'. N.I                                  pTOpojIy Ks-isml

                                                      I*ART F - l.Vl'r-aE5,TS IN SPE< rFtf-D Bl >tNC5Af.S llsslrortiiscjy ua p-»*t 6i
                                                                                                                                     i...            uS fSTiT--r i

    '“rwi^C-                                               Saritander.LLC                                              HAirait HcfehL>-.. l.Ll                                              i^c- Hear:'., i.l.r.
     L*.   siNiff I'.rrri
     i'                                                    d lo J>y:iiandcr A'.c. foral ■                              |R(>. BoxS50 .N'f Arw. NJ                                            RO. lif-wSr’t) MyiAree. NJ
     s.-js-.’-.ir-.-iFi.'MiT
     pyc:M:iP'iifX^-KIfS.S                                 RroT>rrty KstiU:!                                             L*
                                                                                                                              riaKT'.*:i> Kcnal                                             S’ri.>pci-:> Rcnpl
     Aa.vir*
                                                           Thinner                                                       l-^nrinrr                                                          Panricf
           TVS r. ':t> ’V
                                                       ! V-05                                                                                                                              l:u>
     i-i-i ».v:. r        '* f.-Cr }tll>!T,- r         d
       fl.:; '.'kl        sJ*'
           rr<.cr-^€i~' uiTf.cT >'

                                                                                                         KAScr F -

                                        Fcii o^.ocTF rcc;u!i«i •,□ txifiipiEie annual e;t'o:5 ^aircng spa'suc.--^ lo secduri •12 Jl42. r S
                                                 □         1 CESTIFY THAT I HAVE COMPLSTgD THE REQUtRED TRAJWiNG.
                                                                                                               STATS OF n.C»J9©A
                                                  OATH                                                         CCUVTY Of

     • V                                  Turret s^MTars. ml I*-r                                              f-my--. ti                                   it^iirccs                      ^ v«u.          J’ T         C»> c-r

      r-r'7J!»<v            "•*• • -               .'V^vvj* Jifl C3Jh » <ffk'rir:o-
      «l^T Va-/             !'■«?                     azs><diwr«>3 -lii P’il i-yrr.
                                                                                                                                                               :•;        cs- ^LC7i,,A                                   'j^ ^ y
                                                                                                              c A.. ..                                    v.
      i%: scf rc::icr«t*-<sr3                         iz iiufi c;cv•Ji'^                                                                                                 :2                                 ■A
                                                                                                                                    -jd .v:<jc^;                !:r:5»        »'-c
                                                                                                                                                                                                            iV Caran^PW

                                                                                      L
                                                                                                               ifr/iJ lYf^' rj V-vrv                                           '*yd
                                 y
                                                                                                     V                                                                               R'risSzrjjO
                            /                     /
      SlSRATUiSE OF !)£?0?rnK5 OFFlCWiL OR tAjiSiDA—                                                               ryr*<l CiT 'ilS,TrtCJfc:r. r-r-jCi/:^- .

     M a c^ffifpyl                                .r^-1 ;»a»?a«>d u<v;JCf C^UOTft* -ITJ                      annrrw^ m                      --*-•?       j pivih lHo r^>!di                                              ^              V
     '-“-e- -Tirv,*                      i<’np             ri

     I. _                                                                                               Cc<T{:ifC-r T-c-Cr: "Grr.C* n tccc:r-v<y“ .••cai A.-i u. 5/cit                                                  C';fi:ii'lu:»cn,
     t^cj" ■: •                         Fsi^'iia 3ui!je^ arx: i^-c*                              to tf--*:              my ’fe,^$cA3cy£: ^fxMterS?* ai^d to=.-^ :■*'►                                                   nr.iKTfi zi
             cc^-rec:




                                                                                                                                                                                                   Dr.:^

     r^rppun.ln>7i                   ibh                   b\ $ CfiA or anorrp;. dot,-!.                                           tftc Ter of thi^ rc^pf>n‘dail;n to                                              fc-nu aftOfrf oaSfa.
              \v AW Of                                r\ rnuol gh V:                         cowrNA m o% a stt-ARAiE suteT, rs-^A^i?. onf ck «kse .□
                                                                                                                                                                                                                                   rA::^:
: I

        USCA11 Case: 24-13671          Document: 13     Date Filed: 12/05/2024     Page: 340 of 723

                 Part 8 Gontinuecj, Assets

                 total from PR0/iOUS PAGE
                                                                      •37.00{3,OOD.OO        ^32
                Quai! Heights, Part Owoer tn Aparime-nt
                  Bijitciiogs
                  2.40'2S0 Hackensack, NJ
                                                                      $2,060,000.00
                Trent Eoyett,,LLC, Part 0-^cr in
                  Apartmenl Building:350 Prospect Ave, Wj
                                                                      S3Q0,600.00
                  Part Oivner hr Supcap investments, real
                  tistate investment group                            S-i50.UO0.U0

                Fore Hearts, Part Owner in three commercia]
                  Properti^:       .                                 S860,0-OG.OO
                : 2650 R‘l 516 Old Srrdge, NJ
                 735:E. Hazekvood Avenue, Rahwav',^
                 220 Rt 17, Hasbroijck Hepghts, NJ
               Santancer LLC; Owner ot Duplex 216-218
                                                                     $750,000.00
                 Santander Ave, Cora! Gabies. FL
               First Citizens Bank :
                                                                     S279.572.1G
               Morgari Stanley Brokerage Account
                                                                     $179,695.00
               State of Florida Deferred CompensatEpD
                                                                    $458,728.75
               Fedoras Thrift Savings Ran
                                                                    $728,759.25
               Evensky^ artd Kate Srokerage Account
                                                                    $16,459,479.00
              2001 Ferrari 550 Maraneiio
                                                                    Si80.000.00
    I
              2014 Porsche 911 Turbo Cabriolet
                                                                    $110,000.00
              2013 Mercedes Benz GL550
                                                                    $37,000.00
I
              2019 Honda Odyssey Van .
                                                                    S3S.006.0G
i             2000 Honda Odyssoy Van
                                                                   $2,500.00
USCA11 Case: 24-13671         Document: 13   Date Filed: 12/05/2024   Page: 341 of 723


       20Go Bosior-i Whaler


       2015 Boston VVhaior



        TOTkL .ASSBTS-                                     S29.881,734.10
                                                                                                                             aoaw^
USCA11 Case: 24-13671                           Document: 13               Date Filed: 12/05/2024                   COMMISSJONOKETti
                                                                                                                   Page: 342 of 723
      form 64. Unc<o»»r« «( G*HK t \paot RmBtmrMarmts dr r*«w<ois.iM]Wmcn of Ff« ukJ(                                        MIG 01 !»
          S.4 tnbcai ><Tic»n nw flc •ri ac flor^U C >■»*»«.» u« l=H6».$ ( liM            txswat# jrfti. 'TunCurieraeno Of SiftiftECEWED
       ■ajtrcaa M cxocaio ml MXtm eHfrtmr                         dcarptri? «annv iht prccrouit eaimeu «w «         n rwm
       Wa.'tKiM*'!. imp.iiiili fPiLKSP.aQu.-                      fo*of        Coodua in 3mc -kci^. dncrptwo loKHMUtf
          ■>r      ■no ptraoM of r.<n« or »ct.\itv »or »6in .irmun fm. vcftwfci *rtr rrTmhqrjrd. and Or v»»fWi. soon^'l '•mr.
       jM



      Sefix.                                                      Kaetm

       Aon T« Is Sheer                     H Sr-^'l       >udM«'OflW» Hrsc       £lii^          I


                f.mmx •dtn«:fv ai: rc^onabat (jfti von -eoevrO limtuf tOc pncadi.h(saksxUr «m n -snawid lj» ■ «tf •■;><* <
      -»5i5MM. mi frtW :. uf ihc Tjdr af ladle a. r.iwOuct


                                                   Ot.it RjmON-                      sot nr I                     A.MUtNf
                     Odn




       . Occi here ff c^mued oi voijraic ^!nR

      -         •’1e»r 4lmi^ ifl ‘TportM'ic mnshmmmt or lOrar: onacss of openeo. rad »v\-tn of fcei or anira ■woo rBot.'»c<l
      aonaf dM eretie«| ...u         '         n »«sp»fwl b» U«a»JAii •«> taUi «■ Or Code of: J*cnl Coiiduc:

                                                          OESCIUmON                                           Svicnrt
                   DATE.                 tladuordne .acjcnn. ml purpuw oTook or aoiiv ii>
                                           far Nfabk osKMrrv <m.ar (.liNsn »ca ainfcnfw i.
                                                          jndoMtarv*^


                                            UISZ

      • r iirtk hm if OMOoued oo iseamr ahrci

     Oath




                                   .<scttLn,-*6^
                                   .. i6c pahbr oflSefal tifii^ dm OaciMaic . brm* !3>s OuK <Mim. do    oa ond M (•> dm
                                          fUKfncr-MenB.e«rrcc:.«idcae»plr>rioiaraaiarn\ kMHvbdpr md WliW


      !s.fiBaurt       MWf OrAcni.
                        y<rroVi.-t_-
                   af Offie<r Aodhmrrd «i tOnuaixtr OWfa ’         '                  /JV
     Afj Cooinuuiumtton '                     ^ ^ f 2^ vV 2                           v3w                  ninoF
                                                                                                     t»h*aon
     5*ro™ band suincmea Soicrt air tm

                           J» iX     '>J J f ^             .■p.
                    «r<nC«aon4il
      USCA11 Case: 24-13671                                            Document: 13                   Date Filed: 12/05/2024             Page: 343 of 723
                       Santcndar




                                                                                                                                              £jxhPl/




                          Smail Susiness Administration (SBA) 1?^ nding
                                                                                                       1; -.;^: ^ncv; r;’     rr,
                                            •■V.'

                                              • ^ -'rv'.-.




                                                                                                                  I
                                                                                  I




                                    Debt Relief Payments for Your SBA Loan

                                                                                           .r-v >;                    ,-^5.
                        Z’f-:r f.-TI-:-: -• .:.j’.-,;;'n Sjf ;-^r Vr     T-.r 1
                                                                                                                                    .V




    --'O'   >’   t J         L-.-
                                                                                      ■«   •.:-   c




1
                                        D A Document:
                         USCA11 Case: 24-13671 en.m.wikiped
                                                        13 ia.o rg/vv
                                                             Date     ii 12/05/2024
                                                                   Filed:  < ®                         Page:
                                                                                                       : 344 of 723
                     I
                                          Revenue                         USS6.12S billion
                                                                        (2018)

                                          Net Income.                     US$1,721 billion       , .
                                                                        (201S)'-
                                         Total assets                   . USS160.513 billion
                                                                               •'tI
                                                                        (2018)

                                         Total equrt/                     US$20.S17 billion
                !■                                                                 !




                                         Number of employees            ~ 18,1 DO (Decern ber
                                                                        2Dl8}f^’
                                         Website                              cit! zen sbank. c o rn
            I



            I



                                        Betv-zeen^ 1Q88 and its 2014 infiiai nublic offerino.
                                        Citizens was a wholly owned subsidiary of The :Roy3 i
                                        Sank of Scotland Croup The group sold its fast
                                        20:9% stake In the company in October 2G15.^'

                                       Citizens operates more than 1,003 branches-^^ and
        I
                                       over 3,100 ATMs‘^i across 11 states under the
        I
                                       Citizens Bank brand    I /   .




                                       Citizens ranks 22nd on the L        of isrgest banks in the
                                       United States in 2020.



                                          History
                                               &        ^
                                                             rQ                          v:i
                                                                                                       -h
    I




I
                                            ht{p2;//en.0’i.vvik.ii;ed!a c-rg

                            USCA11 Case: 24-13671        Document: 13               Date Filed: 12/05/2024   Page: 345 of 723
                                            Royai BankofCan,i dod "Wikipedia
                                          ' Royal Bank of Canada is a Canadian muilinadonai finsnciai
                                            sen.-icasCompany snci the iaTgesl bank in Canada by marke.,-.         £>^K -^3
                                            Number of employees: Bd,3              :•       *■




                        I                 'Headquarters; Montreal, Quebec, Ca;:-da3, Toronlo, Ohianc.
                                           Cansca         .




                                            People also ask

                                           is Royal Bank of Scotland tile same as Royal Bank or
                                          . Canada"’



                                             ?t is, rebranding Ihe Canadian operations of ABN Amro,
                                             which will soon be known as the Royal Sank of Scoband
                                             NV (Carjada) Branch. Feb                   7   .o
                                                                                                 1




                                             Q hapsy/Vi>w,'.r.heg;obear:(lrrta!i,coni •
                                             Royal Bank of Scotland .rebranding in
                                             Canada - The Globe and Mail

                                                                               More results
                    i



                                           is the Royal Bank of Scotlarrd the same as the Halifax?

                I

                                           Which bank ovjns Royal Bank of Scotland?


                                          vyfiat is Royal Bank of Scolianc now caifed?
            !




                                          Are Rcya) Bank of Scotland and Bank of Scotland the
                                          same?


        I


    I
r:




I
                  ■'     Over.'sGVv'           LoC5t!or.s             raes
    USCA11 Case: 24-13671            Document: 13                Date Filed: 12/05/2024   Page: 346 of 723
                                                  f r   r
                   utu; uaviG i , vic^av •


                       Keadcuarrers: • orcnid. C            ■acs


                       Assets under management: ' ■;
                                                             1
                       Revenue:

                       Subsidiaries; RBC Capi           i Markers, SBC D     ninioa Sec

                       Citv Na'   ;na! Bank                 ft More




                                    More about Royaf Sank of Canada              >




                       People also ask

                       :s Royal Bank a US bank^


                        RSC Bank is 3 U.S. banking subsidiary whicb formerly
                        operated 439 brancbes across six states ic che
                        SouLheastern iJn,)ied States, but new only offers cross
                        border banking serwees to:Canadian traveifers and
                        expats


                        Vr ht?p5'//en.rn.'.“,vkipec!a.orG: ; sviki

                        Royal Sank of Canada - Wikipedia                          pi




                                                        More results



                       Can 1 open an account a t Rovcl Bank Onitne"


                       Dess Rova! Bank or Canada still exiSt?                             V




I
                         10:29

USCA11 Case: 24-13671          yiobalicqatctwonicte
                          Document: 13 Date Filed:  ci-n«12/05/2024            Page: 347 of 723

                        sorwriptl spTOuni of 3.20CS lenwr ftaes dvj® 2T2P.
                        in »dCitior. Ecub^ conp»<*C a cxjocjr-era mcm'
                        rfcr for ary^aB of <s oy:sanai% 5.275% -.•riof
                        ■«« Ajc 2022.5.275% aenior not« Oi,# 2C23. trc
                        5, ■^50% aanwr ro»»     2025. wtiic^ '*«f» pa C
                              T<a ptoc*«c* from         r»c»«» oflenrvj
                        3oidfn»r S«:f>» i Co ac. BofASeorcw nc..
                        ^ifloroup 5<00» Marxatt J.P. Mxpan ^.ajnt^ ^ ^
                        XC. aorday* Capital i.-vjTMor^S^^FOc
                        aC MUFG Soourties A.T)*raB Lie. R3C Cacii.ai
                        Mancats. ILC, SMBC          Sacirtias An»r>ca. inc-.
                        TO Saoaioas ii;SA) UC. OwrtJcf* Bar* Sa^uflhai
                         JJC.. NG F»»naa» Martate UC. BKP ParS»^
                         SacurtoaaCorp.rtSBCSacyrttioa iCSAfkw: Wzutw
                         s«jnt« eSAUC WaM fargo Sao^rfeoj JZ.
                         Pff^ Ca^atai Martga» UC SooBiB Caota in;,
                 -             0~G BarcofjHovacnyBa. inc are *«
                         jnMrxntars *ivc*<aO r» tna offerinp

                         Eqijoix. ar Amaocar muilinaOona. aynparv
                         Te,dqk.»nerwj in R«**ooa CJiy. Ca«iorTea. ^orraca
                         noTB     9.800 cOfODonrte dirwX/ to tf»**r
                         cus xnara »xl D»tn*r» tnawl* »to aoritfs
                         ^Mroomacaad eWa caniar*. Today, ouaioaasai
                          ■evaraga ihe EQ«ar»« mwcoonacaion otadom in 52
                          ■»«gc mwkes across tha Am**c*». A*»-Paafc.
                          ejropa. ttto Wddte East ami Afctea
                          n»* DavisPofc coTporna toammefydacipa
                          Atar F Daoenoarg iPscaaoJ a«3 Emiy Roca«!» and
                                     Ak DaGoSa anfl Ca«n Moyia# Cvmaoe.
                          Pvtner Rachai D. K)a«rbe*5 txovioac » acv>oo arc
                          assooaieJ T«y<<x Arabiar prtwidac 194C* AC 3C«ce.
                                                                 rv^ 0.ja« a
                          invottso T*ta *a;;22IiiiaJ*SiiiSi»
                                6744
                                                                                                                               \
                                c    <

    USCA11 Case: 24-13671                Document: 13                          Date Filed: 12/05/2024                              Page: 348 of 723



                                                                                                   r.lMr.T.             liv




                              .-about ti.S. 33nK_._ .

                         '■' ■■'-■e cl !<ig Irrcftsci kstixta-o3! i?::r.V''. 1-; t.-'.;                      ;.. /■-'S •-'
                                                     l5^- t>.-J               orsrjHrc -z.'d ~c:-n 3 '. V.;
                     :                                  .v.aj r^-'/           Art.'.s, ?r>:                   .

                              TT^r.gc^rt. trisl a;!>3 D3,>rr.ori’.-s«r'/*;ffa. prcOji :■- lo Ccr.-,...-i--i
                          '


                                 tTr.'c^.ljiK?nt firaduct;! ^rfid

                                    KOT 3                  -   Nf! rOIC 5r-->--.iod • May I.as: Vt J« *
                                    lio: Sarrii Cur!:a--tTrf -                 ia:»urad by if.'.-- rzatt-H
                                    G:jvWT..'w:n’ Afe-nc/


                                     U.S. Brr'Jr-




                               :: r. =o.-a                              L!«ai;jr FiSV. isstJiOS

                               u.r.. E«r« tvr. rtKccaifc-.. lo.- .aaS Ks. r.A ;.«isr::., :-*                      a a^.-, ciu.

                               ‘a U.5. frari»o>

                               'jr.«J»KXC<--C'.y.«»':CEar.r»ti5j^ J-oj-SVJ                         VfJ i'iz-'-i r.
                                                                                                                       .•trci!
                                                    -J -sa-iji-wi c>tT.« t>; 'J.              ='   arrcoK


                                         XJJ.S/^ -V.                     k-v-m^ t-x! 3 Sfa'l'-ijf                 •■ .'■' 'J. i.
                                            23.-;           XU.’l SJrX.



                                39iS
                                aaasMausfc^-to'j

                                                                              f »
                                    <                                         L-




                                                                                                                                                      — rs.- •




1
                                                                                                     •I   0L7


                                 I
                                     USCA11 Case: 24-13671         Document: 13     Date Filed: 12/05/2024           Page: 349 of 723
                                I




                                                                   THE PLAN fS IMPROVING
                                I.

                                                                  After a public procurement
                            I


                            I                                       process, the Bureau of
                                                                     Deferred Compensation
                        I
                                                                  - ha-s selected Nationwide/
                        I
                                                                  Voya, and AIG to continue
                        I .
                                                                  as investment Providers in

                    I
                                                                     the Florida Deferred
                I
                                                                  Compensation Plan. New
                I                                                  information about fees,                           1



                                                                     dedicated Account ’ ' ^
            I
                                                              Representative Teams, and _
            I

                                                                   investment products is
                                                                                                           -



                                                                            coming.
        I




        i




                                                                            Leave a message
                                                                                                           Q
    I


    I                                                        aA     d myfloridacfo.com                    &
                                                    •   /*

                                                                                  r!~       f

                                                                                            i-   i
I
                                                                                                           U    :i

I
                                               USCA11 Case: 24-13671                  Document: 13     Date Filed: 12/05/2024      Page: 350 of 723



                                      QO
                                    m cS-
                   1, If
                  h-’l            -s:
                                              ><
 r           y

SBA
                 •is             IlitMn:*',
                                    Kill
                                                   New £«»|tloyef Orlenlaliou
t I



Abo'.i!;.,|:he._S3A

Bc-f.Qre.YQa Rep.yti Lq                    Thrift Savings Plan
                                           With I'ho Thrift Sovings Plan (TSP), you can seif-direct your retironu;nt savings program through
fn-;Pt .Q.Uf‘i:sii.)g                      tmiHipJe investrnent options,
Ricimtaixes
                                           This plan IS very similar loa^Oi(k) plan.
Krigy/ YQpr. BiUiefitti
                                           Tor rmrp informotion about the Thrift Sovings Plan, select the following:
A.1J A aoxi.LI’fly.a iid
i.eaye                                                Thria Sti.vIi igs.i;Icciion.fLoiiit
                                                    y IS.P_C.oicL\rjjp„.Cc>!>Lilb.lstioos
R£i.LQrfiiiaiice
     Ann                      nn                      E.Pr.3..Qesigiiatio.n.oI,iieoit;f)ciaj:yXarD;i
             'V                                              'V
   ftirjrw                 A^dltr
                             n
                                               ,Aii»8tt
                                              lirarmfipi        Hf-iMy
                                                                                                  '\
                                                                                                                         fJa.k .         r«|i(
                                                                         OO     mm



        USCA11 Case: 24-13671    Document: 13       Date Filed: 12/05/2024           Page: 351 of 723
    I




                                                           1^




                        SMALL SUSlWHSS AOMlN'ISTRATfON* fS8A} LOAN'S

                        Trust your business to a
                        Preferred SBA Lender.
                       As part of our couirniiment to Lhe grov.-lh of small
                       businesses natiprmv ide. U.S. Sank is proud to be an
                       SBA Preferred Lender specialE ,g in providing Sm all
                       Business Administration (SBA)loans. V'Anen your small
                       business is looking to grow or expand. SBA loans can
                       nave many benefits such as smaller dovm -payments.
                       fixed and variable rate options a.nd tu?i amorfeation.

                       ’v\^th over 40 years of experience, U.S. Bank wii.'
                       partner with you to find the best possible financing
                       options Tor you.


                                      ’Contact am SBA fcankoi-


                                       Get     commend     ;c.n




                                             usbank.corn




1
          O      i usbank.com/wealth
USCA11 Case: 24-13671Document: 13 Date Filed:
                                           -m
                                              12/05/2024
                                                     <
                                                           Page: 352 of 723



                                 22Wea!th Matragemem
                                   y a.c«a   Sorc«v tf         Log in

                                                            ^K32
                                                E^kjOO
                              METRO_GOMFINAMCIALADVISOR
                              IN DENVER

                              Michael Katz


          Wealth Management Advisor
         U.S. Bancorp investments
         Prlmaiy office
         3480 W SSth Avenue
         Denver, CO 80211


                         Office: 303.394,7072



                             Get DiFectws



                              Contact me
USCA11 Case: 24-13671
                12:15                 Document: 13                      Date Filed: 12/05/2024«         ♦
                                                                                                            Page: 353 of 723



             IP https.o/w'.vwusbanK com                                     . ■!                    «




             Financial Advisor in Denver j Michael
             Katz I U.S. Bancorp Investments                                                                      S^h. ] 6 ■/
             MfChaej Kai2. Is a financiai juivit.c-f m Denver, CO. For
             po/verfij.l financiai strategies and one-cn -ciit*? .advice
                                                                 ;       get
             in toiich todav


             'i-V. v                                             i
                                                                            J
                                                                                          i




             Massing evertgity i Must inbiiide: evensky


             ♦               https:.6 w’w^.v. aoviscrpc^spectives.corr,


             Newsletter - Vol 15> No. 1 - March 2022
             - Advisor Perspectives
             Mar 0 2022                    Dy Harold EvensKy ot EvensKy & Katz
             Foides Financiai Wealth Managen'jent^ 4/6/22 ... Average
             U.S. benefft. $1,623'month ($19.476-Vear'



             (3 bttp3;''/ i.vwA.{irikec!;n com

             Steve Foldes CFP, JD, CMFC - Wealth
             Manager and Founder - Linkedin
             'dian*,:. F or dS. OfT'e                     .<•*
                                                                     .♦.*
                                                                                                  a-‘-d
                         *   der ■ F. ens.K, .'i     CM                            ^-nanc-ai Wes
                 y
             T       c




            For over 35 years. EveriSky & Katz ' Foldes Financial
            vVea.rth Manaoement .das sceciaiidec :n rmanciai piBo.ning
            and goais-based investn-ient rnaiiagernerit services for ...


                             https- /cgtrctf.cor i



                               Q evensky & katz advisor to US Ban
                                                                                                                                                                ■3



    USCA11 Case: 24-13671        Document: 13                                                 Date Filed: 12/05/2024
                                                                                                                <.y^^,
                                                                                                                                                                       ....   -
                                                                                                                                                                                    Page: 354 of 723
                                               ■^:"-
                                                                                          V ■ ' "r. ., .,
                                              ■r   ^ if'V'
                   "h
                                                                                                                                                                     I
                        m)MM
                                                                                                                                                                              f‘.
                                                                       m                                                                                             kii, !iH

                                                                                                                                                                                            SZ-
                                                                                                                                                                                   €^/i. I '6 z
                                                               T
                                                                                                              f,..’
                                                                             • -r.J
                                                                                                              fj      ‘j                  ■-*;
                                                                                                                              ;




                                                                                                                                                       'z .'•
                                                                                                            . '•' -
                                                                                                                                                   '■'r>.
                                                                       ■    . '/'
                                                   'i,. 'i.'                          ;
                                                                                                          W ^ ‘I.*'

                                                                                                       .;                  .'' ■' j    - J-2-' .•?^-
                                              ■ ■;'—,          V!          t';                                                    •'   4^^".
                                                                      :;              ‘C ,‘■•■.-''■1 i'

                                                                                                                                                                 r
                                       ■i .
                                       ' r^'s f-,                                ri? -c.
                                                                                                  I
                                                                                                                                   ■
                                                                                                                                            -'• !-■>
                                                                                                  ;■




                                                                                                                                                                                  J-:*


                        .. ij.    '■




                                                                           'iO viso rn lO tch.con'i
                                                                                                                      -




                                                                    W’jgtmw ca




I



t
                                             USCA11 Case: 24-13671                    Document: 13                        Date Filed: 12/05/2024                              Page: 355 of 723
     I                                                                 12:12                                                                                     «s




                                                                 ,■}                                                                                        /                    \

                                                                              «v
                                                                                                                                   join now                      ■ Sign m
                                                                                                                                                                                     Bcln.3^
                                                             w
                                                                                   W;,«'                                                                              «




. 'I .
                                                         ;        r


                                                                              bvensky Si Katz / Fokies Wealth Manage..                                                               ^t>cU.lO$
         I




             I




                                                                                                                                                                              « »:




                                                                                                                                   tf/             ttf


                 I •




                                                             Financial Services

                 I
                                                             Coral Gabies, Florid                       <::<   '       V.,/, .C,         xvx
                                                                                                                                               <
                                                                                                                                                   ■?
                                                                                                                                                         vvers

                                                             D?        r'.fO./".
                                                                                           ■/tr \NB'\




                     I
                                                         f
                                                                                                               Follow
                                                             \

                         I


                                                             ’V.iV.SS ' g
                                                             ■-.(v.-v-Tfl

                             I                                           y.            View all 42 employees



                                 I
                                 I




 ■                   -I


                                                         M linkedin ?s better on the aipp. Open



                                                                                                                                     V
                                                                                                                                                                          6
                                     I

                                                                                                                       Jf:
                                                                  /' ■
                                                                                                                                                                          i- r'l
                                                                                                                   I




                                         I
     !
                                                                                                                        Omxif toon Svrvlcinftt U.C
                                             USCA11 Case: 24-13671I1FI.PINC
                                                                        Document:            13 WE Date Filed: 12/05/2024
                                                                            llOMCO^'NliRS ]$ WHAT                                                                                                Page: 356 of 723
     I ■                                                                                                     flgWmMOWtiAiaBAilWttLCtlM
■*



                                   GMAC Mortgage
     I
                                             Notice of Scnicing Transfer and Welcome to Oewen Loan Servicing, LLC

         I             ;Fd>mai>'               WIS

                               •.vr/iJi.wi                     ;;roaire.v..iBflir(9»rn   ,

                               •Ill'll'
                               LLROV WLLIAHS
                               W BOX 222692
                           HOLLVWXffl FL          33022-2692

                                                                                                                                                     Your Loan Account Details
                                                                                                                                                          as of 02/04/2013                                   _       r:>r
                                                                                                                                                                                                                            .(2
                                                                                                                                                                                                                              ^ )
                                                                                                                                                                                               Filed                        2011
                                                                                                                                              Account Munibw.
                                                                                                                                                        i:!>37
                                                                                                                                                                                               Case No.          l
              Dear LEROY WILUAMS.                                                                                                             Plopcrty Address;          . .
                                                                                                                                               1.5020 SOUTH RTVF.R URIVT.                                 HARVEY RUVIN
                                                                                                                  a from you, is               MIAMI n, .33167                                            Cierit Circuit Court
                                                      eunenl servicer, GMAC                       (■              to your new servicer.
             ; Ocvi'Cu Loan                                                      oivcl-'l              16.201J.                               TiansfixDale:

              Rest assured (bis Itanslin of servicing dues not all'eul any term or condition oT Ihc monsanie                                  02/16/20i3
              doaunoits, other than clioae directly related to die serviciug of yoiir loan, 'llierewillbeno
               change to ^ir acoMurt riunher nr payment address; only to the name of the company to which                                     Principal Ralance;
             . \uu make your payment All mailuig addresses and ;Aooe numbers you jneyioualy used to                                           S448.000.00
             I ^tact GMACM Mill remain the same but, os of h'ebxuaiy 16,2013. they nill be inaiiitaiued
                by Oewen. You will continue to he served in a knowledgeable and professional manner, just os                                   Escrow Balaiice;
              I you have in the past.
                                                                                                                                              -$148,948.27
             I GMACM will slop accepting poymenta ou I'ebniaiy Id, 2013. Oewun will bt^iu to accept
              payments on l’•ehruaTV 16,2013. Send all payments diie on or after that date to Oewen. A                                        Loon Kate;
              tcnnxtraiy coimon is provided below tor your convenience. Any aecoimt notices piupared                                          6.125%
              to I'ebruarv 16.2013 will reflect GMACM; all notices prepared ou or after h'ebniaiy 16,2013
              will Teflect Oewen. In addition any payments recei ved hy GMACM after Tdiniaty 15,201.1                                          Next Payibein Due;
              will automatically be processed by Oewen.
                                                                                                                                               1/1/2007
                If vou are currently using GMACM's automatic                                  will continue
             i \\ilh no la^ in service. Ifvrou , -             ' .    . .                                                                      Payment Ammuit;
                on or afla I'ebiuuiv 16,2013 you can go to DCW«u.niurlxuKebaiiksi(i!.eam and lue yuur same                                     Please refer to your
              ; login TD and password for account accesa. If you use a third party payment service, please                                     morlgage ucoounl slalcmcnl
             ' tcquisl Ihcy' update llicir rocords to have payments made payuble to
             ; Oewen Loan Servicing, LLC eflective 1‘Vbniaty 16,2013.
              I Because GMACM is lltc subjixt of a bonkniptcy proeuciluig, fedctul law requires dlhcr
                                                                                                                                                 Oevren Loan Servicing, LLC
               . GMACM or Oewen to send you this notice not mme than 30 days after the rftective date of the                                                Ciutomer Care
              I transfei of the aervicing of your loan. In this case, all iiecesa^- inibrmation is combined in                                          Contact information
               this one notice. Please review the luverse side of Ibis letter lor legal diselosurcs, notices and
              ! state icquirements. It's our goal to make ihiatronsicr os seamless as possildc. .                                           >Plioiie;
                                                                                                                                              800-766-4622
              . Enclosed are yuur (1) final GMAC Mortgege annual privacy notice and (2) your
               ' Oewen initial privacy notice that bucumes clVeelivc wilh the start of your new                                               Personal aasisfonoc;
              ' customer retatimiship with Oewen. Please see the Ocyvea initial privacy notice fo                                             6;00 a.m. -10:00 pm. CT M-F
                imirottaiit opt-out electiinu.
                                                                                                                                              and 8:00 a.m.-2flt)p.m. Sat
              'Wc opprcciotc tho opportunity to serve your homc loan needa If you have questioos
              I relating to the transter of servicing please contact our Transfer Hotline at                                                  24-hour automated .service
               1-888-926-3479 uuekdayu from 8:00        to 700 PM, Ceninil Time. If you have
              iquestions about the general serviciug ofyour loon please coll GMACM Customer Care                                            . Email:
               at WK>-7«v4622,6;tKI a.m. - KWX) p in. C l' M-h’ and «tX) a.m. - 2dX) pro. Sat.                                                ocweni^ortgagehanksite.i3oni
              flinceraly.                                                          . Sineetdy,                                                 Web;
                                                                                                                                              flcweo.nicutgagdviPtsiie.oom
               Charles K. Hoecicer                                                     William C.>:rbey
                                                                                                                                              Mail:
               Sr. Vice Pnsidail. CnsUrnKT Caro                                        President and Chief Rxeciuivu OITiccr
                                                                                                                                              PO Box 780
               GMAC Mortgage                                                           Oewen Loon Servicing, UX:                               Wateilop.T/V 5070441780
               'EnclosureCs)                                                                                                                                               os-Kas-rsaoii/isi

               I




                   I
                                                                           Mortgage Payment Coupon
                                                                                                                             '••• e   Oewen Loan Servicing, LLC
                                    Acimunt Number:

                                              13937
                                                                full l^yinerita
                                                                                    rveaseatslitri '
                                                                            inappiv'i>i;)T>urpaytr»n». .
                                                                                                  y.
                                                                                                                      o
                                                                                                                     O C W E N

                                    Due bate:
                                                           I APCIlICNai Wixip,’                   S.
                       i            1/1/2007               £ AOCmOMAI C'iWi.v                     •‘i -
                                                                                                                             OeWEN
                                                           s                                                                 PO BOX 9001719
                                                           d5 I rti' ChaiKe                       5......
                                                                                                                             LOUISVILLE. Kf 40290-1710
                                    Mortgage Payment:
                                                                Dlhe.' rees.tspecjlv)             \
                                    See above
                           I
                                                                Total Amoiurt Enclosed            S..
                           I
                                    LEROY WILLIAMS

                                                                             :     :         DS        DID?                  3^37         DDODODDQ               DDDDO     SESSE          L
USCA11 Case: 24-13671                                                  Document: 13                             Date Filed: 12/05/2024                                                          Page: 357 of 723




                                                                   ¥VLLA^B PliBLJC DISCLOSURE                                                                                                             liii !
                      FORM 6
                                                                       financl\l interests                                                                                              i)yME30.->ir:<2
                                                                                                                                            f >««

                                                                                                                                                                                                          •i’J-

                                   —t ■   *•■»-• ■ « t?




                                                                                                     Pf?n,-‘r
         \
                                                             ■»-


                                                            r*
                                                                                                       •   ku
                                                                                                                          $SEl                                         i^'-=
                                   7! A            y S’
         \,
         )
                                   V;?r- 7l                         ' ''
                                                                                                                                                                               C-a«
             (                     uJ!.„-:.                          .--.jT
                                                                                                                                                              ;        P
                                                                                                                                        \
                                                                                                                                                                                                                         >■

                                                                                                                                                                                5cn.„T
                  c*«cr-                  «I& *                    r»' -A c<i •00*5^      '•S
                                                                                                                i- xrr^otm

                                                        r           V*-irt: * r                 J           v r .'<r»                   .w:tf J« ^<?<T t ^ 'Tssxtsosf *:« r*«T^r^|
                      cauKMv >rs^                                                                                                                            ^                    •“'    *.'7     .
                                                          V-                    m cJ iXiii 7 ‘              ‘              .4
                                                                                                        r«.ST5. liiSETS

                                          »»e*/a« **i«*c«ii. £r>^c^                                                                                                                                   «S. tf WlWr^?
                                                                                                                                                      n>     'Si- ■■=-» V*
                                                                                                                                                                                                           ■<f» «i»^
                              c$4fjf9Bim

                                                                                                                                                      «■

                                                                                IcaSh^T «nr                                    '* "•         f




                      JM-iTS aEMCf^iLiY m’.vrs at                                    (' «o                                                                                                                 C* iMBfr
                                              WUSm^iXA 0»                                                   B           ' i8»a.ootragate»» a
                                                                                                                                                                                           I
                      j
                                                                    l!l        s UU. : /tVyj'P ■                                                                                                          vC
                                                                                                                                "'~ I             ^                                                               L!
                                                                 ii
                                                                                                                                                                                                " -^yr. ri^' g-
                  U2AJ- ' ■
                                                                                       - i: S f: 1. T'h !        7
                                                                                                                                                 h:£r.-:^<<2.                            ■ t'

                                                                           I
                          T   .w
                                                                                                    iT'.l                                                                                  (


                                   yate.«iB
                                                                                                      ?«j6: t - LitsaJTiij
                      LitjMTs; g. cxaai e* f.im-
                                               mjg «wr «caftMS C5g eBBPgy
                                                                                                                                                                  iJ                        lO'
                                     fiV-ifn-v^,                                         hirtJ/.H               -'t.:^ fl'i--.a^                      f.j
                                                                                                                                                              5^4 _                        Ui  : ,r ^ -           .uQ.


                 ;\^r
                  .       s
                               ii'-'cryy > ?%>ry.^-g.,vVY'''‘                                           A''!                                ' f'- ,
                  r-L^.'-nri^s/W'                                                                                                                                                       -.,.i—
                 I rf>»r;                 3lva«w.                              nc^ «i»ok^                               ■.w i I ^*-v.‘:          '■> ^» --
                                                                                     C«lOf^

                                                    s


                 I
                          A                i' ■, • •                                                                 »* ‘r^*«'V 1-^
                                                                              y.S. Bancorp - wiKi.,                                                            ’*

                                                        X      V'             en.wikipcdio.Ofg                <                      P
        I                                   USCA11 Case: 24-13671     Document: 13          Date Filed: 12/05/2024                                            Page: 358 of 723
                                                                                                             usbancorp
        I
                                                      “I American bank hoiding company
                                                       based in Minneapolis, Minnesota,and
-• • I
                                                       incorporated in DelawareJ'^^ It is the
                                                       parem company of U.S. Bank National
            I
                                                       Association,and is the fifth largest                                                                               . \OQ>
                                                       banking institution in the United
                                                       States    The company provides
    •           I
                                                       banking,investment, mortgage,trust,
                                                       and payment serv'ices products to
                                                       individuals, businesses, governmental
                                                       entities, and other financial institutions.
                    I .                                                                                   TLfcl# CATS*       U i;
                                                       As of 2019, ft had 3,106 branches and
                    I
                                                       4,842 automated teller machines;
                                                       primarily in the Western and Midwestern
                                                                                                                                                     ri


                                                       United StatesJ-^l In 2023 it ranked 149th
                    I
                                                                                                                                                                ,u
                                                       on the Fortune          and it is
                        I
                                                       considered a systemically important
                                                                                                                         •                                    3U“#Crr ]


                                                       bank by the Financial Stability Board. The
                                                       company also owns Elavon,a processor                                            tVeT'’"
                                                                                                                                                                  .j;



                                                                                                                             .'•jf :'j I 5.-15.. f

                                                       of credit card transactions for :
                                                                                                                             i,                               irmt

                                                       merchants, and Elan Financial Ser/ices,        -
                                                                                                                             k.\ XiiCCWO
                                                                                                                             90ly
                                                                                                                                                          W'.tf^




                                                       a credit card issuer that issues credit                  «u#lt                                ssacrifiiCJ? '

                                                       card products on behalf of small credit
                                                       unions and banks across the U.sJ^I                                    t:*i                    f>r*V0^ •




                                                       U.S. Bancorp operates under the second-
                                                                                                          ««ino               U«e T«nn               .
                                                       oldest continuous national charter,                                    S.!v.-jr:cJM ITCCt-ltJ
                                                                                                                             'iiz' a*-;    ‘Die:

                            I                          originally Charter #24,grantea in 1803                                  ■pT- tipt^VOlCj

                                                                                                           9ttS^
                                                       following the passage of the National:                            So#!nTiW'                        *

                                I
                                I
                                                        Bank Act..Earlier charters have expired
                                                        as banks were closed or acquired, raising U.S. Bank's charter
                                    I
                                    I
                                                        number from #24 to #2.The oldest national charter, originally
                                                        granted to the First National Bank of Philadelphia.,IS held by .
                                                        Wells Fargo, which was obtained upon Its merger with ;
                                                        Wachovia.



                                                                                           O '                                 V
■                                       I
        USCA11 Case: 24-13671
                    FORM 6                                                          FULLDocument: 13 Date Filed: 12/05/2024 Page: 359 2009
                                                                                         AND PUBLIC    DISCLOSURE OF                  of 723
1
i
                                                                                         FINANCIALINTERESTS                                  en,si
                                                                                                                                                                                      fOS O'
                                                                                                                                                                                      VS? 04 wV
                                                                                                                                                                                                                                                                              Bp<hW
1
^

                               ho.'. v'3?-5-'!e P.
                               c.: Wt5 jL.'COi:
                                                                                                                               PROCESSED                                                                ■!
                                                                                                                                                                                                                               I



                                                                                                                                                                                                                               (



                               Jucfenai                       irru^; i‘■> Tr^;                                                                                                                          I

                               3se-re3 C!?'.^<’-oc-sl O&csr
                                                                                                                                         ^-07^.7
                               7^ 'A-                                             St DADS COLiK-V DO JA
    »
                               "!>S
                                                                     ^ 1 “                                                                                                                                     -■ -:r.- ■;:
                                                      FL

                                                                                                                                                                                                             W-tr-:                       VSK!."^' F.
                                                                                                                    "1
                  i5*.c:<.:’. ;KUi :j> > r                                      irr a                         '
                                                                                                                           ? vRT A -• ’'lT '*■''• pKTH
          ,1                                                                                                                                                                                                                       : . i*_J *•'.                          i
          «                                     .     I                      :-’0‘ ■*..-< ->• -•> X! :i 2>:5’s tc.«s* ; ’ 2'
                                                                    r—-■ ' yAT'^                     •-C 3«ss< w c--^                     .-^:-
          i                '   '• '-“           -■■


              >                                                      V. -c; «c--V' JJ Cl! _2.                                                                    2'j i j_ 'A,3'5 i


                                                                                                                                 PAHT F. - xs.'Cf TA

              1   l-'CCStW-D D0004 A«3 PSRSCiKAl ETaicts
                     ■--i^-a-v.r        >t3      ijSrcs. '“■j'i -* i4.vc:~: ,-i a .- *;i ;-.•'                                                    ■-- -    s

              !                                                                                                                                                                                                .VO- ?                    ~ •*-
                     • •■-,•    "j -T,-y;::r-«ri     yry!*'")               -'

          ,l
           1                                                                                                                                                           '• 5
                                                                             • ; '.Cv^^rr^r 7>-rr-. if*


                  isS-Hi ivcft'iD’jAu.Y VAitxiy i~ iyvin                                                                                                                                                                                       VACWE OPAStf'
                                                                                                                                              ; ,,•«           a4i tot^ijz’Xy^ a A
                                 .XSCR^FiCtfj Of AS5£T                                                                                   ^ -^-
                                                                                                                                                                                                                                                              :       I   »
                                                                                                                                                                                 f    *-                                                       ,:,v. T.
                                                                                                              I I                                                                I
                                                                                            ■!
                                                                                                                                                                              F L.                                                  I                     ,'■ ■ T-
                                                                     I       O'         •

                                                                                                                                                                                                                                                                  ■ 'j-
                                              j- \ ■                                                                           *1'
                                                                                                                                                                                            Ui
                                                                                                 (

                                                                                                                                                                                                                                    I
          ,1
                                                                                                                                                                                                                                    I                                          J


                                                                                                                           PVRI (                 1 t \BlL:Tir'                                                                                                           )

                                                                                                                                                                                                                                                                          I
                  j.iA.’KTir-r.i w                                       o?                                                                                                                                                              A.VCr>V.Vr O" uWALr--^
                                                                                                                                                                                                                        i-.—




                                                                                    ;                                                                                                      ^*                                       i
                                                                         •     ^ u- . f'


                                        ;c*                                                                                                       1
                                 •\
                                                                                  4j.                 L Sx.                                                                                     i ■■^

                                                          .   •■.
                                                                                                                                     *    <
                                                                                                                                                               r- •
                                                                                                                                                                               r‘ -                                X •" '■                 T
                                                                                                                                                                                                                                                          ‘       ■




                                                                                                                                                                                                                                    i                                     1



                                      £»EV5?U4. C'-iftTwSTtJ^S WCT S:t?CftT£I> ^-aSO. c
                       «                       N.o«:*M:A:x3wy.ii(Vcflre:>tTCH^                                                                                                                                                           AAC-Cy-.-y*' Of LlAjP-fLCTN
                                                                                                                                                                                                                                                                          1




         >

         ,1                                                                                                                                                                                                                                                               »
          4                                                                                                                                                                                                                                                               1

                                                                                                                                                          rTTvfrr*-*
I




                                                 USCA11 Case: 24-13671           Document: 13         Date Filed: 12/05/2024              Page: 360 of 723


    I


                                                                                                                                     V


                                                                                                          rx THE CIRCUrr COURT OF THE
                                                                                                          •1     lU DICLAL CIRCUIT IN AMD                I   O^
                                                                                                          VoR DADE COLMH’.FLORIDA CA.Ja.D ^
                                                                                                        GENERAL R'KISDICtlO’''4 Di\aSION £iA-^'I6t
        I




                                                                                                                          CASE NO:200    40T-ca]



                                                       l    Baal;..MA:
: I                                                          Plaintiffts:
            I




                                                           :roy Williams
                                                              Defandanusi
                I

                                                                  ORDER QFJiaSMISSAL WITH PREJUDICE

                                                            This action \=vas hcssd on the defendants motion to dismiss for lack ofproseeation
                                                        Served cin A? ! i ICiOOS. The court finds that {i)notice prescribed by mie 1.40 (e.!
                    I                                  : yVas served on .Aoril 1.1.200S 1 2)their vras no record activity- for the year preceding
                                                        Service ofthe foregoing nonce;!3)no stay has been issued or approved b>- the cour:
                    I
                                                        And (4) no part}’ tss sho-on good cause Wny tiiis action shooid remain ^nding.
                                                           Accordingly,
                                                         IT IS ORDERED Tbat this action is Dismissed for lack ofPrOKCUtion u ith Prejudice
                        I
                                                       ■ DONE AND ORDERED in chambers,at 34!aiiii. dade county. Florida this 3 Uh day oi
                                                           iN'iarch.2GL3

                                                                                                                      4 ! 1 //)
                                                                                                                      '       /
                                                                                                                  /
                                                                                                                 /-
                            I                                                                              SAR/iftt-ttASSt'      r
                                                                                                           Ciitvi’t Courtludgc
                            I


                                I




                                .1



                                    I




                                        I




                                            j-




                                                                                                                                                    1,
                                                                                         I
USCA11 Case: 24-13671                     Document: 13                Date Filed: 12/05/2024                   Page: 361 of 723


                     i> THt ciRcirr coiRT or the rurvtvrH jioict\lorct.tt •
                             IN and for MUMI-DAOC COl NT\. FLORIDA
                                                    cmt AcnoA
                                                                                                        ^\32-
                RANK..NjA..
                        pbiBiirr.

                                         C ase no.
           *v                            mvuiio.N



                                                                                         I




           L£ROV MItl.iAMK..MARK HELL^ FR.aNKUN
           CREDIT MaNaCCME-VT CORPORATION. CITA
            OF NORTH MIAMI;
                               DcfcadasUi).




             final order DlSMWXEKaCASI
                                     avd^jttinc




                    THIS C A'.$c siMng some on vthrt Ox C'Jftn,n ptr*. puraum ip die .vlodoa liM tt <kr PUiruH. punMjn:

            nt Neettofl        )-Uxiib Stacutea irOQ?'. aail ifieCoun demy '^^lerwoc fuO) idviMd m dicpraimet. it iv

                    OROEltU) AND ADJLOCEO « $ofio«s

                     I.        Dk CMC PC tM iht        a»eh> » dnentMd. but widinut prejudice •» dx omse n{lit» ul lltr FUattilf k

            N-aif an anxiR «c> vauciote ■>* nen|ife whKli a ibe ubiact oantr ai da           emit

                               AC Co«« otda Coo^te ac»ai Detentea LEROY Wlli.UMN. MARK ^AEU.S.

            HtA.NIJJN CREDIT MANAGEMFVr CORPORATTON; Cny OF .NORrH.MIAuMI.                               jrclicrelA &imi»ei.




                    J          A«> >ch«idirfcit Mtcklocun tak A cxicdel.




                                                                                Sdtrtf ‘xeeszz
            F'LC,NUMBER F370t2i4«                                               DOC 10 MD'I&baz




BR 27343 Pg 949 CFN 2Q10(H51b/8 07<-D6i20l0 1 5 32 32 Pg 1 of 3 Mia-Dade Cty. FL
    USCA11 Case: 24-13671                     Document: 13              Date Filed: 12/05/2024                      Page: 362 of 723
/


                    4.         rj»N«tc»«fLa(*tndei»<iWdb> PiMfcffjodreccrfcCiaajf puT •--ftcortfs -              Ta s f •D ••D?
                                                                                                         4




           (tMcm Flonte nfirdirj rbc hctoM-descrMd gnparr-                                                                        £Xh-3Z
                                J.OT Itti. fUSCAN'NE GaROCNS SECTIOH F PART I, ACCOXOtNO TO
                                THE PtAT -niEWECf,AS RiCORDCD IN PEAT BOOK x;. P^GE 46. C*
                                                                                                                                             - 110
                                TH£ Pl'BlIC RECOUDS Of MiAMl-DADE COL-NTi'. FLORIDA


            be tna VBDC hcnt> ii antTwj.^amei. UsebartM and iluU be or no Earbcr fora cc effect, and U>r Clef* it )icret>

            .lirctjeii ic recit'd thu Order to reiiact tame

                     <
                               Ttc r nij» Vuntmart Judgmera tiensofp«< citfered on Augutt 0*.JtW" Be and ihe iarse Atitbt i» tc*.

            Aide BTC Viall be of!«]iunher ftsrer te effeti


                     b        TV Ptamtift rctjucvb (hj: 3i« ongatal Soec aed Alocg^ be >eeurTte>i to me PbrinfT and

            praicomoc Opptet ttuli V uihrtiCuiM: » tVir piace

                    30Nt .and <N06RrO -a Osfcnberj m MIaVJ-D.AOE Cj^. Twritfa. Acs                                                djT   of


                                              .lOlO
                                                                          •• I

                                                                        I li*
                                                                    ^ A                    I

                          JUM 2 3 ZOIC                             vSrnCTRMjCoSolCW^
                                                                   CmaC Cjuft Jiidgr

            CupHBt bOTushed m
            Horau Dcfioil Law Cieiitpi P L
            •0 Sox ^11
            ^Jiacia. F«c»«l» :>MZ:.50iS
            AT pvnet OR the joacbec xrvxr bm

            >MCOOA




                                                                                                             %




8R 27343 Pg a&O CFN 20100451678 OT/OeTOlO 15 32.32 Pg 2 of 3 Mia-Daoe Cty, FL
            USCA11 Case: 24-13671                                      Document: 13      Date Filed: 12/05/2024   Page: 363 of 723

                                                                          •ierttet Lta



            -tKU'! VklLLUMi
            ■'’W So«Ji Rivrr Oriir
            ■farni. FL ' jt6"                                                            e-xKn\
            fllANKUN CWEOlT MANiKOFMES"' CORTOR aTK-N
            C 9Cofpcir»joB ScnkeCuo^am
            ;::oi Hitt S(. Suite lo;
            rauahiHce. n. }r>o!.:<:u‘

            CITV' Of \OftTH MlAM;
            c o V L;-tu*                t
            '■bNt'trSihSa-eei
            Nordt Main. H


            MARK WEl.1 S
             SJ?0 Socth River Drive
                           3Ilfc-




                                                     >, A          .
                                            ■y f
                                    -w-ti



                                    nArrl*' ^ - rh          . T-         iCetrrtfiwB \ •



                                                              t




8K 27343 Pg 951 CFN 20100451678 07.'U«/?010 15 32 32 Pg 3 of 3 Mia-Oad^ Cty. FL
I       FORM 6        FULL AND PUBLIC DISCLOSURF OF                        2010
    USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024 Page: 364 of 723
                                                                             FINANCIAL INTERESTS
                                                                                                                                                        POT OPF5CE
                                                                                                                                                            OSLV:
                                                                                                                                                                                     v-OiftSSSJaCflErKiCc

                                                                                                                                                                                                              1:.           Jl

                                                                                                                                                                      0Cc^                     -11

                                Kon V3:sf« R                          Sch-or;                                                                                                                  • ? 4 o j a fj -
                                Circui: Juags
                                JuC-.cial C!.-cuit(?‘Tr!|                                                                                                                                      210380
                                Elected Co.-^stiiy'acinBt Officer
                                73 W Flagler S:Stc iiCS                                                                                                                Cc-'l C-M
                                Wsra: R. 33130-^763

                                                                                                      2toc                                                            P Rro. Cade


                                                                                                                                                                       f,!ani>: Sviu". VgU-ric R
              CKHCKL-TWiSlSAFlLWSEYACANOiOATE                                        □

                                                                                                  PART A-NET WORTH
                      tr.t-,-      «».JC 0-: i.-. nw                  aic»                   i-. crio. , .-rjo^e cu^tct: =i-^
                           'rr<" your n»rs-=7>!'f iJWIl id P»ya»                     ,-v; li
                                                                                                                              ■ Na!T -Nc: RX— s r.ri cj'-;LCc:fc t, 5J.;.7Jcr^ »                                                    r: rrporr-.-c
                                                                                             rsr-^CT.-'r'rs an f-iju* J

                                                    t.fv -lel -A-onh ss of   ! V:^^7
                                                                                   'ri'i'O." fd .'-> i                           2Q i,0.              5 ii. ■         ‘ ' '■          - '■

                                                                                                           PART a - assets
          riOlu-StWLC *O'J05                                PEHSONAL EFFECTS-


               .omo, ho^-dSv:,-* ^0^5                                                                                                               =-t-rKx;.                  c;c5rot-; ^r.c fvrrx^.r^-,,
               TM Ju5r»ys;« ya'vC s- .~vy h<r-d^;>x« JCOC! 0I« px'icr.JI et!                                                                        ''.' C                                               / s
                                                                                                     see <fl£JCrx>ci               nS                                                                    ■u

         ASSETS INOrvaUALLlr valUEOaT oVSR JI.SCO;
         ~                         DESCrePr(CNOFAS3Er[t.pe:^ iaac.op:icni3rprd>.-»a - tec m=suci<« ».■»)                                                                                           I             ,VALU(E Or asset
          K p • •1 \C-                    ••V

                                              \\A DS1LL.JLM6L:                   '■ ■ '-t   1
                                                                                                                  t
                                                                                                                      >
                                                                                                                                                                                                         rr
         /•                                                                                                                                                                                                   I .>•
                                                                                                                                        f
                                     S . , ■■ 4
                                                                                                                                                                                       i
                                                                                                                                                                                                                                 /V'lvr
     ■tXLlbr...                                               if.-,                                                                                                                                                   iTt r                    >   ■


     - ij-J:                              r\
                                                                                        2.                                                                                                                                                 ;

                   /.-i*
              w ?           6 H                     r / 1     lt>CinK                    ‘r't
                                                                                                              I

                                                                                                                          bgrtjC. (K^t^ChOtri                                                                          l/OOO, iJOO.dC.
                                                                                                  part r.. liabilities
         UABIUTJPg Bi EXCESS Of- It .5CCJ
                                  name AND AODRESS OF CftEOITOT
                                     7                                                                                                                                                         [rjrAMOeW OF UASAITY
          Lnjvl n l j                                           \               - r' .^                y                  Lr \
                                                                                                                                    I

                                                                                                                                            A   r
                                                                                                                                                             b   A\                                                        r V. A    ;r>
          f    I
     -    I
                    s2:£l
                                      I

                                       ' c£ir^2jL£:_
                                                >
                                                                                i’

                                                                                                                          i-JJbT'-                                     'S      I..
                                                                                                                                                                                                       f’-
                                                                                                                                                                                                                      ih      nr.n r>-
                                                                                                                                                                                               \
                                                                                                                                                                                           ■




     VOiNT AND SEVERAL UASlLFTIcS NOT REPORT^ aSOI'E;
                                 NA WE ARP ADDRESS OF CPFfltrrw
         r-"                                                                                                                                                                                           AMCfVjMr fj» LlAJOl.-TV
         l\ici\r-



              -<•-• t-ycr.UiiCT       r
                                                    =-y Cl               rr.;
                                                                                                |Coi5:>T!i«fi cn re-rcTSf ild*)
                                                                                                                                                                                                                                    Pace -r
       lean ;.’o:
                                                                                               . ( /3
                                                                                                        I
       Xert^asee: ; LROY will;ai-;s


       -ddre-ss:         :b020 SCCTh FIVES EFI'.'E
                         .•::a.xi, sl :-3:6

       lean A-noavt- .-i 446,D03.C';



                                         ALLONGE TO NOTE




       rrY TO            CFDEr OF-


                  flESJDENTiAL FUNDING COflPORATiON
       W1 rHWT^FECCUrSE



                     - r
                         — a—;


                     Stcretay.
      /)X. err   Fir.^rcii* Seiva*es




                                             Ji.'(
                                                     •       Wcgc




     HIV • iOCa7€105C62‘'33?02
                                                         >cll:aks
                  I \:




Page: 365 of 723           Date Filed: 12/05/2024               Document: 13   USCA11 Case: 24-13671
USCA11FORM
      Case: 24-13671
             6                                                                   Document:
                                                                                 FULL AND  13PUBLIC
                                                                                               Date Filed: 12/05/2024
                                                                                                     DISCLOSURE                                                                          Page: 366 of 723
                                                                                                                                                                                                    2020
                                                                                    OF FINANCIAL INTERESTS                                                                                 FOS OFFICE USF ONLY;



                                                                                                                              PuOP^k
                                                                                                               ';^V.:SS5Ch\0N£'iF^
                             HO^J v-'-le;:          H M„'-.r.7jQ 3Cr-AJiJP;
                             Clt^CUncO0"<T JUDGE
                             JuCicsiur^jii i’;ni                                                                                                          10 COOL

                            CAOE COUMY DOi;H'-H>-jiJSES~r 1                                                                                               ■;D fvi}                         3i0-;5-a
                            73 V/     Si
                                           rx 33i3C-:r5i                                                                                                  CC^■J CCOE
                                                                                             .1
                                                                                                  ii-i'!i«|ii}                                                       iiCTAL*”                        rv




                    CheOi -X ?;-:; ts A F LinG EX a 0*^313;ate                                     ■J


                                                                                                            FAKT A-NK! vVOK H!
                Plc^i on;*.- ;h<L- '.-ol'jo of yv,ji -i-;! L-.'c..-:;!                                oi OoctinLif-r Oi. 2529
                  . ,                                    ■
                cv-u:cd sy                                    ^Tjur repciT!;-.T                          fron vt'iiT r^pc.':ed a&st.t-o '-"'JfT
                                                                                                                                          30 •j:u~ror,:>4;-date.
                                                                                                                                                             dno [Note;     rv?: ■.vcn.'i is nr;< xii--
                                                                                                                                                                 i.n^rr.i-r.-cns ;^o ns-a* 3.;
                                                                          '7-
                                My 005 ^TOrth 25 of                                      1             i'\ ^                                                                           r
                                                                                                                          ■       AO             v/as S                               .'rj-



                                                                                                                   E'AKr B - aSSETo
             HC->^!HfOX0 GOODS A.SD PE;«SO.NtAL EFFECTS:
                                                                                                  ".Ti.r.TJ ir a          ^.e ■! 1!.^.: a::rro53A» .-.JV*             3'              Zr.s.                   r‘.r\rr'''i •i-'r;.       r.>
                                                                                                                          ^ Sls^tpr. p.--. .-.no r,:,:,...j-j&r                 j.t .ro.*,-;.                                           afp.i



                    to-.-                    Vd-.c 3I Tr\y.Vr.:^rj;!i:                  ;,:a;                a.-p. :i .
                                                                                                                                          aiMo-Oj*   5
            ASSESS wnr.'intiALi.T VAi.t«o at ove.^ it .css
                                             DESCtK^iTO-S PF asset                                    O^-^griytiGr, W OjquifW . ;»»ir,;^c!kwi3 p.A'j
           r '                                                                                                                                                                                              VAlUe CF ASSET
                                               L_ If                 t U-/T ;y:/              -
       7
       '    i
                                                                                                                                                                                                          ^ (-Vi i (
           i-IiiUl  iiXL             J-1                                         -•*■



   Sioi±Di      jiliOr'S L hr. Fdij              -1 f
                                                                                                                                                                                                          y, /.'i i I

                                                                          H
   ,Lnv'f<^/v-A,Tr r.;-
                                                                 i
                                                             J'AJiT r - LtABrUTies                                                                                                                  _ LiL;.iJ
       UABR.nTES f,s- EXCHSS O? n.K,;- (So* mvlrvc-Jo.ri on pag. £(:                                                                                                                          iy(yi.^,Cc.c                     ;    .


                                            iiU-SAS AND Acosjgsa
                                                        A1       OP cREDrrori
                                                                                                                                                                                                ;     A,v>oi;s7 CF LJASiS/TT
                                                                                                                                                                                                ^7
                                                                                                                                                                                                t'-' -a
                                                                      V                                                                                                                                     L.0A c'-
                                 -




                                                .0; Tv/              Nqiit; L>-irA 1                    V'-Y'.-cfO. i             I   >
                                                                                                                                          J                                (•      A-.
                                                                                                                                                                                                !

                                                                                                                                                                                                (



   JOi'i'T AAD- S€\^EfiAL UABjUTiES NOT RSPOSTEp ASOVF-
                                           MAV£aNDAOCWSSS 0? CREPJTOA
                                                                                                                                                                                                     AV-dUNT OF UAS.^-fTF
   1




                J           £. • I r*- 0
                            i                 L.. ?;.>       ! c^ST; 1. ? /. *                                      •VS-i’-vt-J               5v^j
                                                                                                                                                                                                                             E'AOi •
       Case:624-13671 FL
    FORM
USCA11                   LL AND13
                       Document: PI BI.IC
                                     Date DISC
                                          Filed: LOSURE
                                                 12/05/2024                                         Page: 367 of2019
                                                                                                                 723
                                           OK FINANCIAL INTERESTS                                  FOR OFFICE US£ ONLY



                                                                                                          aoraw
                                                                                                     COMWSSIONONETHCS
          A<OC>» Cvcurt .1'ThhC)oct«c!CcrUibAon*-Off<«r
                                                                                                                 JW 1^263

                                                                                                                 RECEIVED

          HOM VALIRK R. MANNO SCHURR. ORCur JUDGE                                                    ■IMIill
          rj W rsjfcCLFR ST STE Itf 1
                                                                                    ONO             i’0380
          WM* FL
                                                   PRO CESSED COftf COOfc
    CMRCK ^ nfu r% A FlJNG »r A CAKHWATl       □                                    Ma*¥» Scnor "wORw R



                                                       fARI \->KlvVOKTH
            wnwr PW v«lu« of yowr n*t KBCrth 99       0«CtrrTb««- 31 2Ct9 a A no^ CurrWfK (Mt*. [Nan* N* WOfT" « nol Z*'
    cuJaJRd by suwr*ctir>3 your -epoffed IttMti fro^i your npporJetf «$s«ts. so ptease s«« the mstrucKins op page 31
            My net worn as o» t)fGt^fYiber                    . aj iR was S           ^
                                                          PART B ~ v«Lsrrs
    irOuSCHOlD GOODS AttO l>ERSONAl. l^ncTS.
      *yr»* jeoni tre STgtai t^hsa nwy 9> faoonn: ti i knv afb < »»r agcrai^         moMOs    OOO “n*i n—yry JiouCAfark ii» P*-
      iCSMins r tot ii*«B    ry^mn^FT. pupoM* |M«r>           S KRi^t gunk arc iwwnssc «t>"» *r aOROk 'wju»»tof «ojc»’»rt
     Mnn/vgi acMng tOm fxxMMC «*m. *nd v^h^m ta pwRonR uw                  QMtM 0» kmaml

      Tl«aggr*3RFwAM»nr(*f ^»l^*t«»!ywr:»»napr*9rAi*1^:^tldliMro« *Ov*.«S                           *(22__
    Asaers MOMOUALLV VALUeO AT OVER SIM
                                                                                                           f
                   OgSeWPTSOW Of ASSfT fk^tific dtxyROcn A I»qutf»e stt muoytclMt p 41                           vAuicof Assrr

    ■_:5j;£                                                                           1



                                                      r\RT < - I iabiutifv
   UAMJTVS M excess OF Sr jeo {Sm maVbCMrv aa pag. 4)
                  MAME AND Aoorass grcMOiron                                                                   AilOONT OF UARaTTV


                                                                                                               Sto-eec.oc
                                                                       , Crinai

   JOSfT AMC SevBRAL LJA8»JTItS NOT RCPORTED ABOVE.
                  NAKtANOAOORSSSOFCRfcOrrOR                                                                    AMOUNT OF IJASKJTv

          humL
                                                                                                       I
                                                                                                       j


   a M.                                                    r:'r/\jKm
                            ys •nfth*.
                         iriKZ»
                                          glc4>aieg8i5cJiKa^cte-cora
USCA11 Case: 24-13671         Document: 13                                        Date Filed: 12/05/2024                      Page: 368 of 723
                                                   ,{
                                              }
                                                                      M's SCf:;'rc             fS c:;.    ■. ‘-■i



                        •.-1 r-Mr.Mzr.. ZaM,r,t>. C                   ;D'           J T.vr
                                                                                                  '•r
                                                              i             r>:    t-nc:
                              ■ Tor o"            .i:



                                 CU'J r^:         rj                    tiTu .r rn;             {:,.e                     fiixCh. 3'^
                                     ■Qr*!; ■ v' ‘roir^.O C
                                                                  f                  vvincr     /.vrc.
                                                                                                                                 . 1 [h
                                                                                                            .




                        wU'         afi^'ire
                                                       I,
                                                                            a SC" inr rice s *'> r*fc    .-1




                                         SEch'j.% Ci: LlC- Sc’ASc':^'-•:•?•.                             r.-i.


                        Clirr"*c-v;' G-iotoi W:nV.a'5. i'c... .1 P. .Spiorj^'’       ‘ "•
                        -LC. Bircviy; Ccjvita; ir.c -.               Sy;ri;ai- & G.- . r
                        ,_.,C. MgFG                 /ctV;-c-z> :-^ , 'IBC C.:;
                        ”;iryelu. LLC. SM3C NiLK- Sacuri-s Ar'^enr-:.
                        TC S&tur-es {ii£A,; LLC. CcrJrsrh* B-in-: ^ ■y. :- -J' a
                        ;-r... !i\G Finsnea: .M.vk.L-Li J_C. E>!^ Fari^r-
                        Sscun“!C5 Ccru. K'itiC 5eo.ri' .e;          in-:..
                        ■Sezurfe USAL:j5'..V*^;? -srio Sc^^i^ !-L-.
                         P\C Ca?*si f.!s-k5rsU C SciAfCi^asiai ;USA-' a- .
                   _j^,-nd Ll.S- .'iancco :rv«riF.-Kt!A..                                      aiu a'i me

                         F'^L'irrri'. an .Amor^cL-i-! '.~ui'i“.sLcn3' .ec-tv,:
                         r,>i:x'.Z'J''i'~ir^CC 'T Rc'0'-'-'"*d:* -.■•'•'S LnL-’'-'fri:E. ^Ci.                    -■-lO-
                         rr^-.-:b tnsr      co~rnn,!?a CirueLK L Cdc-L
                         Jui'.CiTicro ?;id pa-'tnors      ^!^e '.vc.'rj''-: nc;-..
                         -’jherraQ.-inecnJci d2.1* cer::?:r::. Tui5>. L-i.'.i.iTiCLSc'-
                         irrvcrrtSC'’te EC'imix ir^f.-.T/ianatLon' ,-rsKLa'T! ■; l:
                                                ac-'OPF ms A.^rwHica;.. Asn-A' ■ (-,
                         r.■exoso. iPa f.;:3d5c: Lasl                              A.iVy:.j,

                         “ie Davia Poir. •c’ercoratc fc-air. :rc!'_c.5i psrf::.' ;
                         AJin ;■ . D:;.-f^riary         CFP rp: v RoL^C; m :
                                       AJ:        a-rf CsLim Moyk:? Cu:';-' r                                       :




                          -LrfPirx Uzznz: C. KiePberp z-rz-f-cm': ;a>: Adv r: ;'-P
                         .es-iocie;-?       . TayC-t .'..•■.'r:-- :-.'f!'.'icc-d ■ b"-i '' r;'
                         Ir-VClvJic: loau v;aafi<?i .                        ■




              "4
USCA11 Case: 24-13671        Document: 13         Date Filed: 12/05/2024                 Page: 369 of 723

                        7:33




                     ■a Bsncofh                      ~a:QCl

                                                                                    i)k)
                       Tha sJfleSi natior^ar uharten. or^g^nsHv
                       granted to iKe P      NaUo^saJ Barfe gp
                       j^^fihadelphSa. f.s aelc by vvei?s f'Ergc, ivb^cb
                       tj&s obJab-ad upo^'^ Pa 'Viopjrt^- ^.v^n
                     ^ Wachovia.


                       U;S, ^ncorp.


                        U:S- Sancorp. Gen^#? ic Minn^^apdliS;,.Minnesota:
                                    headquartet^s of U.S. BancOfp

                       ir^dusm,'                                Saafccg P;:-iaOG}ai
                                                                              5.emcs?.



                      Fcunded                                         Jtbv 13; tS63


                      '"¥= fr:jre       s


                      :W                              i fciK

                                                               a-




                                             Mvte niSp^U


                    Wnc !s u,S. SonOcrp c-oyod c/'^


                   ■ V^"a: tanks haiV: !?v&-pS':J vs;:' va^ih Fafg^


                    P’f 1/.S-. StS^!p          brt •u,. ‘- p-!::e b* :i!:f;


               I
                                Co wells f^rgp owns US Baf^corp
                            -'C?                                                                T                                 r




               USCA11 Case: 24-13671                            Document: 13                &<U32-
                                                                                           Date Filed: 12/05/2024                      Page: 370 of 723
       FF^EE MEMBERSFHIP Includes » ABL Advisor eNsws +[Data Blasts
                                                                 |  JOIN NOW                                                      LOGIN B ABOUT I FAQ I CONTACT


         abl>4dvisor                                                                                                                                      >jaiN NOW
                                                                                                                                                                            I
         SERVING ASSET-BASED LENDING DECISION MAKERS

        ARTICLES    NEWS     BLOGS       PRESS RELEASES     VIDEOS                                                   search the site               p        000010
                                                                                                                                         th*.
        HOME       SECTOR/ECONOMIC DATA       DEAL TABLES       DIRECTORY     EVENTS CALENDAR       ADVERTISE    SUBSCRIBE                >|0VB« PROFESSIONAL NETWORK
                                                                                                                                                Connecting lnckj«iry Profecaionat*

       Home / News / Wells Fargo, BofA, JPMorgan, RBC Provide $125MM ABL Revolver for Oil States


                                     Post      liai Email   ok Print
                                                                                                                             SECTOR/ECONOMIC DATA


         Wells Fargo,BofA,JPMorgan,RBC Provide $125MM                                                                        U.S. Census Bureau - U.S. Department
                                                                                                                             of Commerce
         ABL Revolver for Oil States
                                                                                                                             March 2022 Construction Spending Report

                                                                                                                             U.S. Census Bureau - U.S. Department
          February 11, 2021, 05:00 AM         Related: Bank of Amercia, IPMorgan Chase Bank, Royal Bank of Canada,           of Commerce
          Filed Under; Energy Services        Wells Fargo Bank
                                                                                                                             Full Report on Manufacturers' Shipments,
                                                                                                                             Inventories and Orders - March 2022
       Oil States International entered into a new $125 million asset-based revolving credit agreement
       with Wells Fargo Bank as the administrative agent. In addition to/S^ells F; ^ Lenders uj                 le
                                                                                                                              VIEW ALL SECTOR/ECONOMIC DATA

       Credit Agreement include Bank of America, JPMorgan Chase Bank, andfeoyal Ban^fjCanada.^
       Borrowing availability under the Credit Agreement is based on eligible U.S. receivables and
                                                                                                                             FEATURED ARTICLES
       inventory. The Credit Agreement replaces Oil States' existing $200 million revolving credit facility.
       The maturity date of the Credit Agreement is February 10, 2025.
                                                                                                                            Trinity Capital Expands into the
                                                                                                                             Sponsor Finance Vertical
       The Credit Agreement contains customary representations, warranties, covenants, terms and
                                                                                                                            In May 2024, Trinity Capital announced its
       conditions for a facility of this type, including limitations on the accumulation of U.S. cash in excess             expansion into the...
       of $30 million, incurrence of additional indebtedness and liens, the repayment of other
                                                                                                                             by ABL Advisor Staff Writer
       indebtedness, the making of investments, the payment of dividends, the repurchase of shares of
       common stock and the sale of material amounts of assets.                                                              Next Generation BDO Panel

                                                                                                                            Charlie Perer meets with four next-gen
       Borrowings outstanding under the Credit Agreement will bear interest at UBOR plus a margin of                        BDOs who discuss evolving...
       2.75% to 3.25%, based on the Company's availability under the revolving credit facility. The                          by Charlie Perer
       Company must also pay a quarterly commitment fee of 0.375% to 0.50%, on the unused
       commitments.                                                                                                              MOST POPULAR
                                                                                                                                            | ALL ARTICLES


       Oil States International, Inc. is a global provider of manufactured products and services to
                                                                                                                             SPONSORED CONTENT
       customers in the oil and natural gas, industrial and military sectors. The Company's manufactured
       products include highly engineered capital equipment and consumable products. Oil States is
                                                                                                                            CFG Merchant Solutions Underwriter
       headquartered in Houston, Texas with manufacturing and service facilities strategically located
                                                                                                                             Academy
       across the globe.
                                                                                                                            CFGMS is proud to announce our new
                                                                                                                            program; Underwriter Academy! Fast-track
                                                                                                                            into a position with one of our producing
                                                                                                                            underwriting teams.
                                                                                                                                                sponsored by:
       Today's Other News

       Banc of California Expands Specialty Lending Team                                                                   ^CFG Merchant Solutions
                                                                                                                                  EVERYDAY            WORKING         CAPITAL
       Commercial Bankruptcy Filings Increase 9% Year-over-Year
       Bain Capital Credit Invests $1.8B Through Private Credit Group During Hl/2024
                                                                                                                                            LEARN MORE




       Most Popular

       1 Voltera Secures First-of-its-Kind SIOOMM Debt Facility from ING and Investec
       August 14, 2024, 08:06 AM
       Filed Under: Charging Infrastructure




of 3                                                                                                                                                                      9/5/24,2:59 P^
                                                                                                      £jKk.3^
USCA11 Case: 24-13671       Document: 13         Date Filed: 12/05/2024                    Page: 371 of 723
                     ^;44 ^ P so^^                                -f-; •

                O ^ cluol<dyckgo.com/?q=r                                        K        ®      i
                        https;//v¥Wvv.jpm6rga;': Cprt! ■ i..:              ,o        ?'


                     J.R Morgen Canada i About US .
                     JPMorgan Chase rrfefges wim Bsnk One Corp,in
                     US$58 yjjiion des: to Dro\Jnde inyestn'ienl osnktng,
                   consumer banking and coPVTiercsai banking services
                     as wet! as to increase Treasury & SecLihsies Services
                   sctivjty. ... u.n3se Manhattan Bank, other foreign
                   banks and                  BanF5.C8haii)^orrri the Orion
                   asnking Groups a corrsditiurn for medium-term ...


                   ws? httpsv'/wvvw.v/sj.COrn                es •      /::^w h   W-or-Cv   •d.


                   Royal Sank of Gartada Hiros d.R Morgan to
                   Help Sell Swiss Operation
                   Royal Bank of Canada has hired J.P. Morgan to, run
                 a sale process for RBC Suisse SA,Ts Swiss wealth-
                 management operations, according to people
             'famHiar with the matter



                W htips://en.ydklped!a,org          -Vi' *    f
                                                                  Pcyai,.,Bsnk„oO:Ca.,
                           Bank of Canada - Wikipedia
                RoyBl Sank of Caneda(RBC: French^ Sangue rdyaie
                du Canada)is a Canadian mumnationaf fihanciai
               -services company and t.he largest bank in Canada -
               by market capHajizatian.The bank serves over To
               miiiion clients and has86,000- employees
               wcridwide.. Fourtded in 4864 in HaiiOix, Nova Scotia,
               it n-jainmiris a .corporate headquarters in ’roronto ana
               I

              /K ■
                                     &        ^                                               4-
USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024         Page: 372 of 723




                                                &CK.3Z




         ^ https://Vi/vvw.,finextra.com        ^ b a i L1         .''ia
                                                                •s^




        US Bancorp buys Wachovia corporate
        trust, custody units
        Source: US Bancorp. U.S. Bancorp (NYS£:USB}
        announcea today that,its iead bank. U-S. Bank. N.A.,
        has entered ,;rfto a dstinitlve agfeement to purchase the
        corporate trust and institutional custody ...
USCA11 Case: 24-13671            Document: 13                Date Filed: 12/05/2024                       Page: 373 of 723

                                  ^ our(I -Siy               »rr a* foO*                                       6xh.32-
                                                                                                               SXln J'ZiS
          UR<n UlLLIlMNUCtl IwrbH>5»6r.V*2o; iMlN|»
          r>d*l«o xdxivrrsttairtk RrilRrianFttud
          •‘^TTVi                           r>R ^^■
           ! Ml"                            3iwar^

                                            o *
           ••*     K-n Uirtc
           N.J                                                     jsitl

                                                :   :•»:»
                                                               '•*' .1' c»
                                                : * 2f*'




           \ imic abott rb( Fund;

           F»ariji% Sirjicpic Rc-«! Rciwr ^ jixl            rcii r«um vXniMficiU ’‘•h riv»*-          .
           nseiarnem risk b' m ^.ti^ ii Jv’ocs;*: arJ                    i«j<*rv      a "vt-'j ••          .
           :;rTro\m>a;ct>                                   .:vh >ccum»rs          fV«4r>rj.'.;.• ,        -
                 . Hlir%iiiKJiiiirrr«lou\* rb'. J •.>»N.r.Tjcno



                                            4
USCA11 Case: 24-13671                        Document: 13                                  Date Filed: 12/05/2024                                    Page: 374 of 723

                                                             AFFiDAVIT QF FArT



           STATK; OHIO

           coi \T\': Fairfield



           !>IC Iindcfitl'i-cij,            .Ijrn. K. i ii:.!L-? K.'-r v'i.'HIPi i\i- '] ri.-s,
                                                                                                            hir'coy                  atic a'.'i>t;:Tns Uiii'h-j.     'j!
                 aiC ilVC                 tCi v:iK' :ivU:; asid                                •-rir-iv'n-J-.'i- di;       li'c             vji furh h^fi'ir, f, ciiiv
           nr.:r.! hck-\» srL ir.it. c..-rr<.-^t. ci'nsp.’v;^..in. prOM-Ji;a- '- v                       'li-ri:,                    ilia;-




                               !['c C i.Sli'TL'     L'jfianscSiviJ ;V>r l.-LHL'V ■'.Vil.!JASl'<. i',•T nn
                                                                                                       -                                            isearii iv: iM.'nnv

                                        •Ar.Tl- SlMrCtlTd ch rouiih inrii^jvi^dcnl                                      c-inilriiiiu m, iii- iradj.:^ iJ(.S‘;s, anu
        n;               ir;crc«                        as p<i li^' rcpcits ;sMii'ci and
                                                                                                                      hcti as .1

                    s
                                  Jvr Fund ?,Ja           uf iKlicr                               I'.rtiif -'icanai.-iis o; il>^ jdnd'Nf                , irn'..: aaac.
        :i’ in^arilu:- j-cco’J,                                    V        .         ..
                                                                                                                              j.- !irl<: r..'
        L i'KrA' wvi t;

                                                                                                                                                               t


                              V.-TfC        IT-.- fond .':      ii-ixcai: n-ic.'esi in ih-a aLsj.sards o;'LE;ROY V. :LLiA\:s

       r     R IilCR AfTI WT SAVI-TH sOJ

                                              rd.
      ■ ^|^!U-d :'.r,d scal-ad ikl>            ■'   tby o:              }        r.    '7 *•            . i:i ::k.-               nf .air          lun liiotfvirn!
                 •two rd'Jdd)




                                                                                \\i                Rw-inse-j,
                                                                                S-'-T- V, rSi 1 V                     Is
                                                                                                                                        yr
USCA11 Case: 24-13671               Document: 13          Date Filed: 12/05/2024            Page: 375 of 723
                                                    .11 RAT
    State of            -.                  )

    Subscribed and AfTirmed                 )

    County of T-       *Ci-oy .\            )                                                 ^K.32-
                                                                                                           12-1
                                                                           (
            (.)n   J                    ) .2022 before me.                         CiV V        (notary public)
    pcrs*>nally appeared Wolff-J. Jarvfe[ J pcrv.>rwill> knovsn to me or       proved to me oiTlbe ho-sis of
    satisfactory evidence, to be the person whose name is subscribed to above and acknowledged to me that
    he CNceuted the same in his authorired capacity.
    I now affix my signati^and offieial seal to these affirmations
                               -.A                       (Signature)
    Noiaiy Public .State of         ’                                  Seal:

    V|y Commission Fxpircs:        S (yp/       -




\




                                                    l’asc2of;
USCA11 Case: 24-13671                  Document: 13               Date Filed: 12/05/2024                  Page: 376 of 723

            MAS!ER KEY OF EXPLANATION FOR CLSIP REPORT
          Th-j iciilov.in^- IS n brief '\'X lualiini I'f'iki; ie;X';l sivj is        e-J iV'f si-iLU’ C US I? >c2ivhci
                 'seep in nv.r.-d rtu'n rl ; 055 be N'AN’V d'.ricrc-n; secariii insisi.       'und nsj!;'
          The ■i.aicc itfihe lunii liocs siai iicvt:is,!riiv rcili'a! riit:   of vour individ     seeun!'.




             /riri'tt r.-v r-   /vpt//v

          Vsni; iijn:-e (or name oi'rLX'ipi-.-n:),

          r he riaiT.e ol ’.he iu::5ti in •.\ hic !i the sabieot '-cain:'.      rriuj5i! to n-M«je

          I lie Symbol ss the liekc: Sytnboi of the rime                     vids Rjuim.

         The Cl iSlP is the CL'S'!'’ :uii5ibi.T stl'tlte b.ir.-J.

         The Jnceptiois [?;iie ts the daT-e the FUND was etvalec. it hns nolhiny to CO -airh tlve
         .spteeirio ease or :s5.tie.

         Ns-i Assets artd Ponroito \SsCt> •j-s-mill;. ars- the soh'ie bol cun he differern. ‘I hove etse o:v
         .lir.tsiirti lifs iteta by the FutiJ rrust. This onii'iint e.in untl osuaJiv -Ji c;- Jiaae s’ on a
         Jady basis ;:t coordiruimr ^viJh the markets :n which is trades

         i5escrih!ihr, oi wiizi the iniiii dive-. in the riia.'ket jjihLir, U also shows v'.ijai scehtr? it
         iru-Jes in



         'e. e always eiteoiitivie tha' you du Jeej: siud.es tn sciuritres and the relations ari.>:J.«5j trie
         mdtrsln.’ Hefrre doii(;e titiylhinK with ihciii. Iris a hiithiy-roouiotod itiarke!,
                         T'
                                                              .«   5G 0

USCA11 Case: 24-13671    Document: 13• bing.com
                                         Date Filed: 12/05/2024           Page: 377 of 723


                 EX-10.11 - SEC
                 https:/7www.sec.gov/Arch!ves/etig3r/ciat3/133?8l

                 HOMECOMINGS GMAC MORTGAGE. LLC
                 1992/05/28 Registered 1792907 :1993/09/14.                £>h/23
                 76494788 PREMiER SERVICE GMAC REStOENTiAL
                 HOLDING COMPANY. LLC 2003/03/06 Registered
                 2914178: 2004/12.^28: 78355608 PACIFIC UNION...


                 Timothy King, MBA - Licensed Rea! Estate                                     »;
                                                                              <   ■

                 Salesperson ...
                                                                                             a: "
                 nttps:,//www.linkedin com/'in/tjfT>othy-king-rnbd-b2l.
                ^eb 22. 2018 • Homecomings Financial Jul 2001 -
                Oct 2008 7 /ears 4 months.!n.Tne. CA Sales Leads'
                CitiFinancia!.Mortgage Company. Inc.... Celebrate
                Leadership award and the prestigious GMAC...
                • itie- Mortgage Broker at Hometov/n Financial Grou..
                Connections; 5C0•^
                wocation; Buckeye, Arizona, Uniteo States


                Some results have been removed


                                  <       2       >



                              t    Try the Bmg apD


                    Pnvacy      Legal      Advertise      Adi'
                                                                   Qv
                                      Feedback

                                    2021 Microsoft
      A-
  USCA11 Case: 24-13671
       X
                                     Document: 13   Date Filed: 12/05/2024            Page: 378 of 723



                                                        w THE CIRCUIT COURT OF TJ IE
                                                        51™ ji;dicial cmcLiT in.^\d
                                                         K>R DADE COLNTY.FLORIDA                         3Z-
                                                      generaljurisdiction division
                                                               CAVfc NO 20(r.ll4O7-cal
                 US Bank Jh.A.
                      KlMliflrs)                         April UOlO

                 Vv


                I-oxiy Williams



                        ORDCR OFJJISMISSAL WITH PREAJDICH


                WassenedonApnl ll^OOS f2»thrir                                        <*>
                                   tesl»«.      ^^^^
                                                   or af^xoved bjr Tile coon
                                                   — lenmn pendn^.

                                                                               with Pnejudicc
                                                            «»nty. Fkvida this 3iibdin at’
                                                                    ;

                                                                I        '
                          APfl 06 IV.-                                   in),'
                                                                            I..1
                                                                    i
                                                                    i9



                                                             twfiy^ctxwtjuxit
                                                                           >Ai&IEIMNNOSCHURR
                                                                           OROifr CXXJRT JUDGE


    Cc fXd^xK Lht^



                                                            A TMlf rofr^
                                                           WlFIfATlUh ilh ixsi
                                                           H«VEr Itl.HK. awK
■^'244 rj 4>s« ChN 30)00237159 IMOi,
                                                                               n
     USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 379 of 723

Morgan Stanley Maintains U.S.g^^z
Bancorp(USB.US) With Hold
Rating, Raises Target Price to $54
Moomoo News Oul 30 08:31                    Ratings                          ^          1min



U.S. Bancorp (USB.US)                                      45.540                       -1.13%




Morgan Stanley analyst Betsy Graseck
maintains $U.S. Bancorp (USB.US)$ with a
hold rating, and adjusts the target price from
$47 to $54.


According to TipRanks data,the analyst has a
success rate of 48.0% and a total average
return of 3.3% over the past year.


      moomoo                                                                             ¥
                                                                        /
                                                                   12:0S^                                                >1   5G. ».
                                                  USCA11 Case: 24-13671                   ■ 4 brvg.com
                                                                               Document: 13     Date Filed: 12/05/2024             Page: 380 of 723
    r
                                                                                                                                                         ^K.3'2.
                                                                   OCVVEN LOAiN SERVICING, LLC 1 851
                                                                   N.W.2d 727 (2014:...                                                                      ■■ • ft' f ;
                                                                                                                                                                i
    i                                                                                                                                                                           .   rA



        t
                                                                   'htLps://vvmv.!ea3ie.coiri/dec{SiO'n‘lnsdco20l4G723 .                                 i- i
                                                                                                                                                                     J ■' ^ ■
                                                                                                                                           t-i.
                                                                                                                                                   ■f

                                                                     .P‘:25. 20        {1; 3.j Shortly after t.he Note's
                                                                                                                                              ■L

                                                                   execution. Homecomincs said it to its parent
                                                                                                                                       f



                                                                                                                                                                r'

                                                                   company — R'esidentiai Funding Company, LLC. On                                      Vr



.           I                                                      .V M
                                                                   ivi    arch 7, 2007, Residential sold the Mote to GM.4C.
                                                                   G1V5AC indorsed the Note in bfan'K. GW.AC ...




                I
                                                                   Ocwen Financisl (OCN) Unit Completes
                                                                   ResCap Asset Acquisitions
                                                                   https;//'.vv.'yv.streetin5'der.com/Corpcraie-T-Ney.'S/Oc...

                    I
                                                                   Feb 19, 2013 - On February 15, 2013, Ocwen Loan
                                                                   Ser.'icing, LLC. a Deiav^-are iimited Habiljty cornpany
                                                                   and a wholly owned subsidiary of Ocwen Ffnancial
                                                                   Corporation' (NYSE; OCN), completed ...
                                                                                                ■! ^viust include-   ■
                                                                   Homecomjngs
                        I




                                                                   A List of Recent Mortgage Mergers,
                                                                   Closures, and Layoffs
                                                                   hups;//wv/w.thetruthafeoutmortgage.cdm/a-rESi-.
                            I

                                                                   Nov 0,3. 7021 - Residentiai Capital LLC - cutting
                                                                   ro-jghfy 1,C0G jobs (GWAC company) Rcsicentiel
                                                                   Finance of Columbus Ohio - reporlediy "hacked 19 :
                                                                   b.'-anches yesterday and. a regional manager." per
                                                                   reader tip ResMae Mortgage Corp. - cut 182 jobs ...
                                I




                                    I
                                                                                                                              Q\
                                                                   SEE RESULTS FOR
                                        !




                                                                   Homecorrungs Financial LLC (Crganizbtion)
                                                                   Minneapdiis. ?'4r«—



                                            i



                                            I ,
USCA11 Case: 24-13671             Document: 13         Date Filed: 12/05/2024          Page: 381 of 723

         FJUD


         L'.S. BanL National Association, as Trustee for        IN THE CIRCITT COURT OF THJ-.
         RaSC 2005AHIj                                           ELEV'ENTII JI.;DICIAL CIRa.TT
                                                                IN AND FOR MIAMI
         PlaimilT.                                              DADE COUNTW FLORIDA
         V$.

                                                                CIRCUIT CIVIL DIVISION
         Lcrov >^'i!hains: Unksoun Spouse of Lacoj
           illiams; James LitUejohn arVa James L JoJin.  Case No. 20]0-6l92$-CA-0I
         Jamot. Lokoown Spouse of James Litikjohn .AKA
         James L Jolin; Hoke Williams; Uckaw-n Spouse of
         Hoke Ullliams:.Mack Weils; I Inknown Spouse of
         viack Wells; Cunis McNeil; Unkno^MJ Spouse of
                                                                                                          rn
  }      Curu McNeil; Sv-moncse Luotted Ptnnerdup.                                               <—       C3
  I
  1      Deutsche Bank Nationaj Trust Coaqwt),as Trustee                                         VC
                                                                                                          n

         fer Franklir Crwfai Trust Series L Miami-Dadc
                                                                                                cr
         Counn,Rorida; State ofFknda. Departmeni of
                                                                                                       r-.
         Rev-enue; Uniftind CCR Partnen, GJ*4 Suntmsi                                 V.
                                                                                                       ;
         Bank; Cit% of North Miami, Florida and Tenant #1

         Defendants



 (



                 mis action          heard before the Court on PlaintifT$ Final Judgment on November
  I
        29. 2017 on On the evidence pnsentei IT LS ORDFRED AND.ADJl0<;£0 that Plaintift's
  i
        Final Judgment b GRA-NTED against all Defendana lated by name; Leroy Williams; Unknowi
  }     Spouw ofLeroy WUliatns; James l^ittkyohn aVi James L. JoJin. James: Ltiknown Spouse of
  1
        James IJnkjohn AKA James L. Jolm; Hoke WilltaiM; Unknown Spouse ot Hoke Willwnv.
  f     Mack Wells. L nkoown Spouse of Mack W’ells: Curtis McNetk Unknown Spouse ofCunis
        McNal; Symonctle Luniicd Partnership; Deutsche Bank Nauooal Trust Company,as Trustee for
  \
  \
        Fianidin Credit Trust Scries I; Mtami-Dadc County , Florida; Stale(^Flurida. DqiBfttnent of
  j     Revenue: i:aiAtnd CCR Partners. G.P.:Somrust Bank; Coy of North Miami. Florida.

        1,       .Amoujiti Dae and Owiag. PEamtinris due:

               Principal due on the note secured by the mongage foreclosed           S448.00000
               interest good thru 1 I'M/!7                                           $307.J1? 74
               Late Charges                                                                S137.20




         Case No 2010^1928^7A-01                                                       File * t5-F02te*
USCA11 Case: 24-13671                Document: 13             Date Filed: mammaa'
                                                                          12/05/2024 Page: 382 of 723

         «   AxtM '•.»*«t»l Smrt'iM
                                                                     •JL25?^ J2n -tiuim
                                                                      mu vmnm      mw
                        CHs'i                                         ntetm iaa,m
                                                                                          *
                    tMt t«fir     I Br |1«« 1
             S» y.to*. ZA m       -IMfZ




             **22           s«Ti5»
             vm ScmlMa i1i4 S»tu 3»
             AMXtt. Ti




                                          •MORTGAGE
                                                              mi!30i7*i»»B7aa*«




                                      rntm
                                                                                      h
                    ti a IX a.a                                •T'       ta ai
                             14

                                                                w. nw
             (m          ■ txer rnuKR. tm misB a**




             «                  •i
                                                                          kite
                                                                     w
                                  ^JO.           NaMraMUtKaidw
                      ■ *z1«a HmkKI W*1i

                                             ;CClT»10iOC|7»                 9«o«mis




                                                                                              -P
«

         Book23S23^F»ge3231               CFN«00S07«3767                         ?ag»1 0^20
         USCA11 Case: 24-13671                          Document: 13   Date Filed: 12/05/2024   Page: 383 of 723   t*'




                                   S«>k23S23/Pgg33233
              CJ-'5ft20GSO793?57
PB/je3crf20
USCA11 Case: 24-13671                      Document: 13                              Date Filed: 12/05/2024             Page: 384 of 723
    cr-




                UiAar^t
                                             %uu af Ciiifenrii
                «*«rejdastu [03ca stjiUju, s)„
                              ■‘oitin. Ti T«Ja-s*E7
                                                                                                5M5
                H/IK                                                            ^artj-f.Bhi tJKirKMt cn«
            * p>4. Si^S.OW.M
            V      »!«.«£
                                ^
                                               Jaksi:        n,                                             fic2jn
                                                                                                                     £?^K.
                            ■=*,!» pcwi^ii«i**=s»i!we.
                                                                                         filjTiwfc-cfiqiJaimtw


                aV-a^swkt


                                                                                  pSKaafMseeliacr
                                                                                  ^fJ^FssiVBfcr

                                rf»i*t»i^ jD       I ji'»I — - —   -- ■   - •




                                                                                   as     fn.            amiosm




              ctodn.

             £M)                         ^              *=*>W!^ is Sfflia* J.




                                                    :K':re’5tos53j3
             ^-**011                                                                              0256773323
                                                                                                  •^W'S IfM




          &>oK23S23/Pa5c3235              CFMtf20G507S3737                                            Page 2 cf 20
                                    USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024                                                                                                 Page: 385 of 723
                                                     inserssi Only ADJUS7ABl,E RATE NOTi
I
                                                                             I lIBCR                     inJcx i A>                   lu
                                                                               T=i WbI! 5:rc-! fK.Tr.lj> - ftoi?
                                                   TrilS SGJS;CON!AJSS FP.OVIS'.OSS ALLQ'i^lNr,jOK .ACK-\NC5f !S' %JV FIXcD
                                                 '. l\TERESr RATH TO AN AKOSTABC ? rKTcXf.Sl KA'i =.AND FO?. CKA.NGlW
                                                    MV NsosTHLY p.*v str.NT. Tr US. soTT[ismii ’nrc: amounj MV ad:ijsta3! ;;:
                                                                                                                                                                    ^XK i 3^:
                                                    tNTEJCESr R.ATE C an CHASC-r AT ASV osr TTSrt ANO mi.A-AfDMUM BA— !
    I
                                                   MUST PAY"                               ■   ■
                                                                                                                                                                    6xK (2>S
                                                                                                    ‘‘-.A*:
                                                                                                      1‘Vr,]                                        'v=«;
                                                                                      ;';5;C,5v-T“..'!yrs D=i'.?
                                                                                          . «!*>'.!; rl 2jl47
                                                                                                           ■A3‘_-rv3; _




                                           1. SORSba.T.R-S PROMISE TO ?AV
                                                                                                                                                                                                                 i-
        I

                                                                      A      =^te!':^LrIlSel Irt-icri; V'             T                               ; »iii r-joi'!                                             /
                                                              -j!<5 N«    thf fooc f)! hW. c?<7i

                                                 I ssima** =lic Ci;                                 Lcitsi.'c-'           “■-'1 ii'tj li-i No!'’e> tftitJs »■%) .Nj .s
                                           escffl^ n fSCiNi pi} P£sa iccp-, »!3 N£'? it £ A’teJ iit "Njrc                  "
            I
                                                  i.MKKtsi
                                                              ir;rT,v-!: oa osati prj5<’pj,'.i,?:n; 'ja tJ5 irt:’!!: f'JTJiTi' fen im si— ! i*'!! pi}       ■rra
                I
                                           i:»>riS;, .-s^ cT s            T><             : -'lis                    l?' KrartoCT wci SretOT l of «.•» N!:x

                                                 T?» zitTKa     rnjso.’T’; b} CT:J SliL’Sr T o=i 5t-.;a-j 1 e-; 1>,.1 Nc« !-. V< m ! -hi          Ixai Scio-t ts; itScr
                                           rri          torrw c Sctcjm t;S; cf *» .N<f*

                                          .V PaYMENI^S'

                                             . M ! oat tftS Pi*£i t-f rt) KTun

                                                 i—"rsiat SK>s ~ K :i.-; i: i»} s.'I'O*}                        t-.joo Auf-tt 1, ^WS Ecfo« .’bo ! .n;
                                                     t.-si Jiitacu .?a}-=5<« C-ir Ciii: a irtstibcil»» Sevi->r-1 *0 s*i -Nctt. =} pijJMv' ««!« ool, cl r-c
                                           -iirrs ter in tt» c«^ yrncip*: Soiini                   Nr-’r TfcsrciYr'. i -iB yi}                           Sj- niVn-j ,
                                          ;i}=e^ iNCv'^tss* ifi pBai Aa Sc^
                    I




                                                                                                     i-U'.D”!                                     Ina t

                                          IMirCi.i-J-                                              ij^jc ; .* !            • i'.- ■’".-jif-.rt rt=in»“4f ttii .’S’,!;: '
                                                                            X w>



                        1




                                                                                                                                       F 0*7-r;;!

                                                                                                                                                             •• i

                                                                                                                                                                           /




                                                                                                                                                         "i Vr- i ;            T-i;
                                                                                                                                                                                  . . I   5   •.
                                                                                                                                                                                                     i •




                            I




                                I
                                                                                                                                                                                                                   t'




 1
                                                   USCA11 Case: 24-13671                                 Document: 13                              Date Filed: 12/05/2024                                      Page: 386 of 723
                                                                                                                                                                                                Cl-!

                                                                                                                                                                                                :<
                                                                                                                                                                                        N




. I


                                                             ■' I* 1 ■' JISM .T!v p.-;«i>
     I                                                                                      ■■s’'T<'=;3i!-f’'C. ?-J» i'.’-tf-; '          ■^c-je. Cl,       T'.'I VS 'ItS^ ti jtirrrrc;
                                                             risti 1.'rmoii ?,-,vV Si» Ki’Jtr
                                                                                                                                                                                                                        0
                                                                     lS)Aaoca! s,r Vj icBjiMtojhj,

         1




                                                                        4t;                 - T                                                  ^w-.«=) =*r

                                                         , , ■V3FJ;rs'^«f.-pjE!sti^C^!rjc£in«jrr3:Lft.:.Prf.'.-j .!>,.- ItcrjTi: Opr? ^rpr;3 3»-in K< nrfwt
                                                           :^< pr»v-}flll k^Mi i^iJsn Vvf                          ■4r.^ f3.»i V             - j-;:ojiic;r v-Lfia Srst-oti S tJ !h.» Vmi '
                                                              ?C,              ?*?«:*=« ClU^xn

                                                               0|T»T4fccU<T:««a3>;a?-^rtj-,^                                       _         . -
                                                           E«17«> A.rjr tsc r^jc-o- <1=H 5mc< ChcM^ Z -, 2j^~‘'~ ’"”                                            ^ **                    ‘■- '
                                                                                                                                                                        ?r» ts-^eii ra;c
                                                           N?<c
 .           .I


                                                           - ADJWaSLE rsTEREST rate A.VD MONTJa
                                                                                              rW PAY.VfTNl CHANGE
                  I -
                                                              ‘A\ Ciun'tt Djlri



                                                          prxB ay a«a; f.xt<                                                           *' ' ‘ ^■''^' ‘■*®                      75ft iisi
                  1
                                                          J fovii HU ej,l: ece^:, .5 s                                                  ■'“• “4-'>               1=?^ «.        =usai,

                      I                                      (Bj JSit.lnSn .

                          r




                                                         'ir, *s .^i, laau^jKi^
                                                                            ^ ;Toc=dr5s
                                                                                ?ux_-!PS ^
                                                                                         _ _- ;_y a,’                                          r.iJib!?
                                                                                                                             tf^ Ctepjt Dut octxm  .1 acfi^finr
                                                                                                                                                        !fa *C«/t«a.WJnm
                                                                                                                                                                     Lxix ■




                                                         ?:* I :w:.''£!;'^:.-i:,-.;,,i        .                                                                    •'' ’5 '»*.1 .
                              I .
                                                         !*'»E*r?,ir<                                                                                             *.S« /
                                                                                                                  *••;? .’ sr T            «.w     T^rirf.-; P,rV»*Me               :i:/C:-r
                              I




                                  I




                          •           I



                                                                                                                                                                                                                            1

                                                                                                                                                                                                       '   ^
                                                                                                                                                                                     > L I
                                          I




                                              I.
            USCA11 .Case:
                    ^ s; Jc kiii24-13671
                                3K                                 i-Document:
                                                                      Sy, c •• ;i 13t Fci. nir
                                                                                           Date Filed: 12/05/2024                                                                                   Page: 387 of 723
                                                                                               I :rr rl hjiji                                  u?2:ic=.^'3>4t
                                                                                                        »>
                                       Tbf %cc? Ky4cy » *• |r.C JTa' UV.CS f.! f?.u            V.

                         fCl Ca!nd»ri-J3 ^r^fe»«^rl

                         3^Vr C5C^ Oisgfi Da.’f fst S-.f                       lij u;;jlsrc r?rj nr^ Ksu-rru r;-.*                         t ~-jr A.nc
                                          ; r^cr42:c p:>^ ( X.6            I   «
                                                                                 ■►'-v   Ccrer/:         tv Kiiitf                        w K'     rccr^ rr?
                                                                                                                                         w!^‘.rsia             tn
                               ■•iU;         . C'.ti rj.?j«v eve^jt: > .:i ^              ir. ;;s ri-i di'-. !ht wC Cbiwt at'i
I
                                  Ik, !^,•,«^, O-.H p,riw5          bcfai, ci«b c hi,tt                                                ta^id at etc-.*! jf fi,
I
                     r3C!ni\ pi>3ei                                              C/ ^^ft *P?*^*.*^J 'jf ».?3f             ::ir*rs      u PTf               .*«•
                                                                                                                                                                                                         ,3 z
                     pi.'n5^ -ir iucr-^ iv4r> ?st^, rjy rrv-j:                   i,4rs^*>:r. Vk cl           rr**                   nSn> r:?:75i>                 '
                        - ri- tir l^crri, C- I               arv; J^Tyt                            *.                                                      ^                           €^K,y32.
                     c5rAV.ja.==jiib«ic,.k:t: r-.T^ics:-.r,Kfij                                                                          ti aw? si :r^ f, 'f-KiZ
                     ->«r:f c .T..i tc      nisr^**> £tcf j: .er> rs:^ i.-fjftr. 'jfc t s ri5«.-3R*wL>                                  A*v r f !»<c.*->: (Vi'r
                    - r^iTjOd. :I*k? frry> r/ thr-. cslr,:* rt-V    >: Otc        •-3i»-r.:


                        1D -1 H: iU <# !^^r«4 Rate Ck»?



                        !^r a«, nni *; -                                                                        ‘-^                    ^ «> >=*if c^s? P»--f
                     r»revw<^i,i}3r.iKSn. V. w;:ir-.i.-i,r,.,ii„.e fc :^airrt.»jn .J..;;i, ‘.Df Soiftii i .U: *♦:
                       rt\ Stlr»',%t OiU =f Ck»EjM
                       M> sr» niM^: ale •»£:




                       rf) S»:i»«/Oi«Bcn



                                 i-KrT-k. ^.iseer of , pcioa oko                                                      j         jj,.             J
                      tc, (hltairm fnoci^ tni Hlrrwi Nj=«t
    I




                              '-rr                                                                                                             n
                                                                                      } r     .*                                *■: »e-?’|j*ae 35S! CI/Z^Vj
                                                           W»S>




                                                                                                                                                       !

                                                                                                                                                                      ;•   <1 ■   -
                                                                                                                                                                                  i I ' '.     • 1   ,
                                                                                                                                                                            • r.»    V.      ’■ k
                                                                                                                                                                                                         ‘i




        I
        USCA11 Case: 24-13671     Document: 13    Date Filed: 12/05/2024       Page: 388 of 723
                       Quota
                        JPMo'gan Chase & Co. fs the parent holding
                        company of ChasetCommerical Bank) and
                        JPMorgan(investrnent Bank}.          , _^
                                                            'N. ■



                      'John Pierppnt Morgan (J.P. Morgan)founded J.P.
                    i' Morgan & Co., which is the predecessor to Morgan                &PCM./33
                    I Stanley:and JPMorgan Chase.
I

                        As 3 result c? the Glass-Stegall Act of 1933, J.P.
                        Morgan & Co.hvas broken up, it spun off its
                      ! investment banking activities into Morgan;Stanley.
I



                        J.P. Morgan & Co- continued to operate as a
                        commercial bank. Howei'er, in the 1$90's it started
                        to rebuild its Investment banking operations, in
                        2000, it merged with the Chase Manhattan Bank,
                        and JPMorgan Chase was formed, fn 2004, it
                        acquired Bank One, Jamie Dimon( current CEO of
                        JPMorgan Chase)was one of the executives who
                        came from Sank One. During the financial crisis,
                        JPMorgan Chase also acquired' Washington Mutual
                        and Sear Sterns. Today, JPMorgan Chase is the
                        largest Bank In the world with oyer USS2.6 trillion in
                        assets-
                        Morgsn Stanley continues to operate as an
                        investment bank.




                                                                         »/•

                                            CfpertmApp                  ,X




                            aA           # quora.com                   6

    I                   <                         }   i                        •i; ,




    I
         USCA11 Case: 24-13671                                        Document: 13                    Date Filed: 12/05/2024                                             Page: 389 of 723

                                                                       •rU)RU> Vl>f FAVU
    P.
                                                                                ■ ■ ■ 'XT iOKN!              Ai l.AU .                                   ',1



                                                                              U 1'.I I. H             !i I                                ■'

                                                                                      iMf'A I '. AKSUA.

                                                                                                                                                                                               ;,4-k'
              IKc^tcp.}
                                                                                                                                                                       T^:k:■a^ - Si       t
              E/oi Ofili'c tk'.\ ZJt'i 8
              ianiria. i-r                           ^
                                                                                                                                                                                       t



                                                                                                     ?•>             '



              i !--RnV WR.i lA:-.'-'
              i'i.or.soriH K!Vi-;R riRs% r
             ^ThVytPil                               ■

                        ■R'
                                      ■        i: .;a.n Su-ri’-^ .T
                                               ■VP.’incuCc >cfVA?*           '(jNiA'Ii Mi (S'. S AjAUL'. 1.— .
                                                                             i; >'HA^K.'SAH-O'NAi -i'5iS‘’X' lA' iON A S TR5'<r5-j.- luK . ,
I                                              ■J it debt iv I’Afd           RASC ^iit'AHLv
I                                              I’r,'7--.T!v Ad J: t-.S                 MX Ul-RiVS !i amsvi- NUAMLF!                                             ir
                                  ■ ' ■ 'J'krfik'■■'I
I
                     Bor:c-w;7
                                                                                                                                                                                       i' - . ■ ;

                         ciir Iiaxdiir:-v':                           I>c;;.iP': Av". ur^i;:7. f' l        !:,c:cu.Mr.ii iric<JcJ                                         ; 111', r.-cr; r'.'f-!.'ti*-.i-v-,*

             .ispriT?!;?' I’ S. BAXk NAlX'^^Al ASSiACiA MON A> ! Ki '> I!;!■ -lA iX 1? A^r d'KO.AHL?-*
              i-ilcrcsti J-:fi» p'.'W'iM'." X-.stc.jiiJ ■«’'i’v-Jii :t''> I KStf.A V-U. i.lA'PS .■..•R .'1?- -A’-f- ' .PciMUnS .f
              r-t-i?ros oliff pf.iri!!,vi^t>X..-ca;i,2                                      ,-,rf d'A - p,;.                          sH ■.crr^.^;I•c and
              e;i; ;::crm!tAprnft;-ii bX-nu                                                         -^rJrk and^r.ih^ tenn- .^rihir                                           \r=ir -.-k.
                          J'l:. r.i'A CU«

                         A.           th- Ai- o; jh:. V:ih, ::i«                                             chen'                             «1 .                    hiac tre                J
              “ineii-iii balarAe: uvcj'ucd ink'U' :!.i                                            .«sr-rv -aJ^d i.-ihc? dcfaiAi • relAWd evA:, rce-Ji r-^r. m                                          • ,i
              ::rni> of ilie p!t-I«ba>V" Nt’-r a-: .-! '.Rtr.iros,,-
                                                                                        A.-,ij:!Ur>Ii.ll iJH-.TCA                  iiCRie .-RiJ ?jlv daJa.ilf ihj. iCCe!

                       . lhi> eiTiTi-jrtErrdendV'A ecirij; se.--k-Ci’.nir-i> .'•ei lii :hs; i'j;.' _
                                                                                                   1>W-K ColiCvIiiffi i'raLrCfS Ac: a'?-! vliould                                                      Th?
             codssd<fed a r-2'.til'!'ki:.':' OutAiVsr-: nP.> msKf adt-,n;-.i-i ii; J :nii;.' loc-! .'-Pd e\ne;:sc-j al.er i..e tiJir «,. ..i.' <.,•
             uhEvh a:r iixowvnMe ;ieidcr tre                                                       S.de.aeid Mtirtjisige                                         d y«!
             i'.gwicj :o reanjuA’ ibiiii .'v'w l'’-«                                't 7:1' erJ >^>11: fv-an          n                               r.^w. j.-»cas? c*,s’i..k|; LH-3                - ir.’
                                                                                                                                                                                      )
              iFSBi 2>h                        urohfF ^errviccti'dtPtndUw:' <^;ir ;

                         ’.'ikisAdi^ a^EiA Eh,:> \.VA Utiit a.nh..r ;hir:;- s-i') d,X;> aiXr.jXif rooi-pCid 'me                                                         shs; Ehc '■a'idd,. £.
             rnoickbi. crai,^^.rTA.;i fere.::, t.di^pix-d, iiui                                  fP- urfi assj^c =^4 rhe defe; vAid ' M.>ai 1.1. iikiIj X.i ^ :
             ii'.s Arm In v..-n.ir.i wi-nit-'rKirV PEin day. .iliei rfCV-p:                            -b- ktlC iJM the dd-E.ov                                 F’'’"'* .i.envd. A


                FJLE NU?d5BER-. F100511SO                                                                                HcLLOLETTER

                              l                     b.5!^
               mm                 s                                                                                           >]
                                                                                                                                                                   lilJ
                11                        t1
                                                                                                                         •^ i
                                                                                                                         •,1 -■
                                                                                                                          ffW *
                                                                                                                                        I ‘ jT i :               T '

                                                                                                                                     ■ KXi!Vi            ,* .    ;j.u-v.             E 1 AI',H
                            USCA11 Case: 24-13671 >“C>5;/.W1.V'A
                                                      Document:     13 Date Filed:
                                                                 iGOkitcki.a:      ■ f: '-T.Z
                                                                               Y 12/05/2024                                                 Page: 390 of 723
                                                       Tpe Biggest Money Launderina Gases:
I
                                                 .     ^.-om Wschcvio Lc Danske/Bank
                                                       '■tivChcviZ ^SS330                '<ovj pan s? V/oVs. "arpc.

    I
                                                       ^-Vacho-vis y/PS' P"? cr■t^Y
                                                      5C'C, P:^' bijhk
                                                                                                 Ssriks^n
                                                                                ■o-jr.t ;a Y^vo CM:;;A'ed
                                                                                                               OS.
                                                                                                                 u^;i
                                                                                                                                  .
                                                                                                                                                      I3J-
                                                                                                                              '• "r   • •


                                                       n MtX’.io tc .j;.Ycp: r.'.yc-'j ” 'JSS33C             r^^-r.r.vgr
                                                      brprcnfs              ZCv--S0Q7 Ti-r; pnjg C3r:p;5 Ytioc; ro ■
                                                                  JS'COi'ari iT’iCvivyd ?ro'n’d'i;g          n :nc Ui
                                                     ' .■."rcio Ike Mexesr; Pa-pp- '


        I
        I
                                                      O n“4>S.;VjL-iliC'--;.-.T.«xit-t'^ drg ■ vY' ■r':d.'         '    - t



                                                      WcGinovio Bank Accused cf Uunderir.g
                                                      Silfions -Ffom, Me/dcen Drug Cartels
                                                      rnk.- .nv-rLi:S2i;cr. :i.-d io cj.—ins; proceed;Pss 4-sj
                                                      tVachevis, wn-cP -^juie s^ritk'O.ooi of ocun o"c$: IP!r -
                                                      fJ.S. Bank Secrecy Ac: in r.p-/c‘-- 207S. WaePovis
                                                      o;::m,s:oiy polo             ouipcpucp $’'O
                                                     ■?5:rei:ore, 2 $sc             Poo -qi icjficg to           cpsy
                                                      -o^v, 2-d S ScPCi cn peci-sc? : r.evpi dppkep tne
            I                                           oper r.nti-rrlocpy icunp~:ipg .



                                                     B PTtpsi.'/SCp-rv-n'.ejosi.ia.co.rn ■ cnesk                 . ji •

                                                     WschD%'i3 Bank, N. A. v. Schmidt:: 546
                                                     U.S. 303 {‘2006]:: Justia US ...
                                                     :-E?rrrn“K tc IP'S or'il^fC          c-y.:- of          tpr fhe -
                                                     'CLTiP CYcup Mo. 0*U’tigS: A'cotd Mcvc-.-Tiber 2S. 2005
                                                     —C'ecidec j£rru«ry. t?. 200s.
                                                     No';o-r.2! AsscciciOoli 1 rivatobyvic'i. Is e -isuonp; ibpnxi-n
                                             •       esscc;?‘;cr witn pc opc:^hk;eP p'sfn cfSc? in Monn
                                                     Carckne artP'b.-socn c-ffioji r- .'"TVA-Sieies. Ync'c C'np
                I
                                             ' ■ ■ .2dPin.C3rp:;pa ■


                                                                         « duckduckgo.com

            ■ I


                    i




                        I
                                                                                           p




USCA11 Case: 24-13671           Document: 13         Date Filed: 12/05/2024
                                                                    ■r=. <fS<!c4        Page: 391 of 723
                                        A ssct? tme-odawpodcsKi     mmiMt-n-KlIf*   1




                      ■'icr:c


                                                                                           ■^pcU. 13/^?
                       1 .lii fvss p-libuihid 13 ycArs sgo


                  Weils Fargo bank says to
                      buy rival Wachovia
                  October 3, 2003 - :0.4'3p



                                                                    1,
                  t       ■Sc-v?           Shore             .'•k




                  US b^nk Wells Fargo sold Friday i*r t-ras ouving           <      V



                  nvai v^fachavia for 15.1 biHion US doilars i n
                  stock, ending a gov0mmeT>t-backed plan ior
                  Citigroup to take over             r

                                                         ..cnovis's banking
                                                     uh: o



                  :;’Pera:‘0':i5.



                  Wells Fargo and Wachoiia ' signed a dcnnitive
                  agreement ibr tiie merger of the nvo
                 companies’ Wthout gove.mmerst assistance,
                 the r.vo n.rms said in a, stateinent.

                 It .su’id the deal covered 'rJl of. vv’seho la 's
                 l^anking eperariuns in u whole company

                                          w s^n^-w0^^.sLi
USCA11 Case: 24-13671        Document: 13         Date Filed: 12/05/2024          Page: 392 of 723
                 Rnsxtra


                  Ai;           loim •■
                                                                 €tss»ast%»
                                                                           I
                   Ersz-.r.-;; n-;- 'i^rtd’s ^Tvost                             ^j>iU 32-
                   iwwn/sSvc cr>-pts programs
                                                                              - ^xhJ37


                  Wachovia corporate
                  trust.                                  units
                  29NovefT]ber2G05. :




                  Source:.US Bancorp

                 U.S, Bancoip (MV^USB) sjinoimced today tftat. ' ■ '
                 its lead tiaiik, U.S.                M.A., has entered .into a

                 tmst.^d sistlteticifiar custody businesses of
                 Wa^-ovla Cor?K»aticn (NySSrWB).

                 As a result of this transactscn, fj-.S. Sank Corporste :

                        aA            a finextra.GGfT)                    6
                  <                                            UU           C'
                                                            FI :^tips:;!".vv;%v^n5s:rH.cc:r;
                                        USCA11 Case: 24-13671    Document: 13 Date-^rev      Filed: 12/05/2024u'. Page: 393 of 723
                                                                US Banccrp b'jys VVochovia corporate,
    I
                                                                trust cuShGcv units
.   i                                                           iS-u.'ce; us E.;rc.:'“.' U.S-                          "i'f :>“:u3S;
                                                                .-'Oun-pctoct/ j;5: £‘5 U'cG isnk. U.S                                 N.A..
                                                                 "€>•:■ cnto-r.-d 1^*0:•?                     c^:c':-T:!‘r-rC' pj-cnc:-''
                                                               . ;-a:por':s iV'i? ^-r. .rp;S:iTUVor;;!                        .

        I




                                                                ■i^:. ■n~psv'i.Vi-Av.c^i"pony-?j;s:dni;i Cor,- ■ ■: -v-,.- -q.

                                                                Wschovio Ccrp'Orsiron " Company
            I
                                                                Histop/
                                                                ‘.e        vVaciaov:^ Lc-;:- s-c '-uPl Cc':'p^;:';>- :cec-cr;';o5
                                                                roirpiOcroTTis's nrs:c;^irlc-r Irus: cc—pc-iy TS'C’
                                                                Vi/achavia NvPpn.::;                    '^•‘?;C5'S ■.viih Wscnovts Lc^r'
                                                                c/ri-'lU;         ixj-cs—p vV?.cho«-ru£'S£nk rrnd pus:
                                                                 C-drnpar.y. 196S: n'-v Wdchcvis Cc^'cra’.i^.i i*, 'ror-i-crd
                                                                .35 a ,-ic-‘d-i"g cc:T-.p;;..5y. 'e3£: .^iripUnici^ l.ct.; o" O'O
                                                               .K-j-'.'j York Stock £x-:hj3p5£>
                I ■


                I




                                                                                              i.'~bdC.C'ip > .;i.d f 'S-r ■           -y-‘C~y
                    I
                                                               United States of Amenca v. Wachovia
                                                               Bank
                                                               Eeivi'e^n 200^ enc 200?, .sjrposr $13 ri;:!=o:vUS0" V.-.?
                                                               tn.'-Cygn ccdrespcriOe.-n bank accoun'tS piVibchov-a
                        I
                                                               niG ptffcr:35c-tc'?a;rcr3*i to bp pspd fn '3cc::=i -arccocs
                                                               trod®.". :n rpcp TiCTa                  r.voniv'rrio'-^ss'ci.kjiocrarrsi .dr
                                                               cocalno v.-G-rCr sf/::«Ki frcm thfi’Se ScfCrari Tbc-
                                                               :nv^'s^rg3dr;g .sgvn:;ieS ri^;i;r;T!';:ed trn: Wscbovie’s
                            I
                                                               nrXT                    tv.1!. n.g!:, i-sit.
                            I




                                                                      r'vTpj:;>’iAr,*rstV          S          ■ T -t
                                                                                                                              W.--■''r:v.A- -


                                                               vVacHQvta pays S16C' mfSilon la settle

                                                                                     , » dackduqk90.com




                                I




                                    I
USCA11 Case: 24-13671                  Document: 13        Date Filed: 12/05/2024                                        Page: 394 of 723




                                                                                                                I


             i

                                                                K^V't.S                .?             •cc.

   7 f «
       i
                        . /
                                                                     i.A*        ■fT-             .•.H-rs           •y   •
       - t


   c                                                                                                                          -i T.*.K
                                                                   ;&» >.       -/l:



                        •1 .*.                                   rs>rv^t>. tvCLiS-                    ..'■A.:                            P7*
                                                           t




                                                                     ::j                              •,'U‘.'




                                                                       >i4 >,      .-   L. '                                             I-    :
                                                 . Zl .•




                                                                 ^v.’S^^TC 03.--




                                                                  - L.V'C4’. ".1S£


                                                                    ••-itmaivsfiT A-;                  f.



                                             r                   t.30 •'IE              -Ji >'^-1




                                                                                               0:iP«^?TVJJ»Ofr’‘'CC                                >


                                                    s




                 . »■                                                      T C4 AVC^'-?i: > LV« ^>**7


                                                                Ci‘’*J2v:AL ^r5AT-iACJ ^>T.                                  «.C'(


                                                                                                 y.



                                 •r*
                    USCA11 Case: 24-13671       Document: 13        Date Filed: 12/05/2024     Page: 395 of 723

              : T
                                         '8:05

                                                                                                •»a^5®ss3
                                                            f




                                       THO.S/1/20M - BY 3gmme;:X¥TMEI0.




          1




          I
                                   •        t\m urvGa Wofckr-Ga&ies ajid her nus&and appfSjed
                                       a lawspit aV< ihs way rd lPa secorid-^Pghest.court in ihe
                                        nspon against Johnson • St JoPuscn ov^i' e maifonctionmg
                                  ■' madidafioo ouMp that had h*3«^o Intplantad m f;«r dot y, the
                                        sOupie had no idsa that -one of the judges who decided
                                     . ,their esse had a financiai stake sn the^larit rnuitinstiGns)
                                       cprnpany.

                                  ■ cieventh     Cheuit Court oi, AppeaiSdusge dairies Hiii .
                                    dwned^s touch as StCQ.OOO in Johnson & Johnsan stock
                                    when he and two other jodgas ruied apsk^t the Gables'
      I

                                                      ; ,       A Qccupy^eom .



. I
  I
USCA11 Case: 24-13671                                Document: 13                    Date Filed: 12/05/2024                     Page: 396 of 723   m




  -.XlOi'vl FINANCIAL SERVICES                                                                                  WESTCtt»
  lOSOO STONE LAKE BLVD SUITE 350                                                                                  UNION
  AUSTIN TX 7S759-SS67                                                                                            PAYMENT SERVICE

    Dec.1 2C06


  LEROY V/ILLIAiVlS;
.15020 SOUTH RIVER DRIVE
                                                                                                                                          I ^/
 MIAMI FL S31S7




  PAYMENT DESCRIPTION


  Bank;                                          WACHOVIA BANK, NA
  Bank Account Number:                            ******0274
  Date of Transaction:                           Nov.BO, 2006

  Payable To;                                    AXIOM FINANCIAL SERVICES
  Amount of Payment:                            S2286.67

  Customer Reference:                           0001920274


  Dear LEROY Vv’iLUAMS:


  Based on your authoriretion during cur leie-pnorie conversation at 9:45 A.M. Nov..RG,2fl0b. we
  have initiated an automated clearing hcuse(ACH)debit to v/ithdraw the amoorii described
  above from your specified bank account to make the payment that you requested. Included in
  the payment 3mou.nt is the SS.OO 'ser/ice fee that you also authcrited.

  If you have questions, or wish to make corrections to Uie information listed above, please
 contact Collection Department,at 185-532-7590.
 Thank you for your busirtess.
                                               AJKIOM FINANCIAL SERVICES
                                               IOSCO STONE LAKE 3LVD.SUITE 3S0
                                               AUSTIN rx 7S755-5367




                                                           t.-hnr.aAriT
rion*': eu-4-ojLvnu.-bo:7i.acc2Lr.T'fn.'cirnst*on o-verttrc       unlPi-. viiu kiiov- Uie (.c-mpurv ons Lr.-CPfVu;r.2   ir^mrr.nior. t*
                                                     Vitis i% ;k!: j! bill Do lic-i mail, pi inerii.
                                                        Reujzn'.his letter tb: vour fccoids.
    USCA11 Case: 24-13671                           Document: 13                           Date Filed: 12/05/2024                             Page: 397 of 723




                                                                                                                          I iztAj
      AJ<[OMFINA.NaAL SERVICES                                                                                                      vitftaii
      lOSOO STONE LAKE 3LVO SUiTE 350                                                                                         PAYMENT SERVICE
      AUSTIN T:< 7875S-5867

       jan. 1. lOOfc


      LsROYWiLLiAMS
t
      15020 SOUTH SIVcS DRiVE
       Miami Fi 33167

                                          'i
                                       nrjiii




      PAYMEJUT DcSCRiFTlON


      Bank:                                      WACHOVIA BANK, NA
      Bank Account Number;                        ““•*‘‘*0274
      Datt of Transaction:                       Dec.31, 2006

      Payable To:                                AXIOM FINANCIAL SERVICES
      Amount of payment:                        S2286.67


      Customer Reference:                       0001920274


      Dear LEROV WILUAI.’IS;


      Based On your authaniarion dunng our leiepnon        riversatiun et3;-tC A.7vi. Dec..3I,2D.']5,v,'e
      have jnftiated an automated clearing hoiise (ACH; debit to wichdra'.v the amount descn'ced
     above from your spectned bank account to make the payment that you requested. Included in
     “he payment amount ts the $3.00'service fee that you aEso aothonted.

    ^ ;f you have questions, or wis.h to make corrections tc hie liforrhar cri listed a                                        ve, y'lease-
      ContscCCoilecdon Dapart-men*..it 1S8 S32-79D0.
      Thank you for yOur business.
                                                AXIOM FINANCIAL SERVICES
                                                10300 STONE LAKE BlVD.SUfTE 350
                                                -AUSTIN TX 7S759-53E7




                                                              •■n=crt2.“Jl     “nzr c .t
           ■c tu: vc'jr r*nfe iczzLni\r.tzrm2y.2n zvsr i*5s           unic:: >,•?'-         r.*:A ri.-^ssn*. an.: u .2Ar;c;      ■T.i inrar-Tito-   ■‘ii.

                                                     This i; not a biii. .Do                ma' .pzyrr;       .1.^


                                                        Retain this isre:                  ■’CuT TCCOryb.
USCA11 Case: 24-13671                            Document: 13                              Date Filed: 12/05/2024            Page: 398 of 723




                                                                                                         i.iiAAiir
       AXIOM FiNANCiAl SERVICES                                                                                      iiiliOii
       lOSOQ STONE LAKE BLVD SU-Tf !55D                                                                    PAYMENT SEHVTCeS
       AUST!?^ 7X 78759-5S67

                                                                                                           £;^l. -31.
    ?eD, i. 20G*7


  LHROY WILLIAMS
                                                                                                           Exh. I‘i3
  15020 SOUTH RIVER DRIVE
  •VllAM! Fl-33167.
 I
 itr




   PAYMENT DESCRIPTION

   Bstrk;                                       WACHOVIA BANK, NA
   Bank Account Number:                         **♦*--0274
   Date of Tra?isaction:                       J3n.31, 2£»7

   Payable To:                                 AXIOM FINANCIAL SERVICES
   Awwiint of Payment                         $2286.S7

   Customer Reference;                         D001920274

   Deer LEROY WILUAMS:

   Based an ybuf eucborizatton during our reiephone conversation at 3:00 AJv'. jan. ^ 1,2C07 we
   have initiated an automatsd clearing house (ACH) debi: to v/ithdraw the amount described
   above from your spedtled bank account to make the payment that you requested. Induded in
   the payment amount is the SS.OO 'service t?e t hat you also authorired.
   if you have o.uesslons. or wish to mate correctioiti to the information lisiuU above, please
   contact Coilection Department, at 1SS-S3 2-7930,
   Thank you for your business.' :
                                             AXiOM FiNANCIAL SERVICES
                                              10900 STONE LAKE SLVD.5UITE 350
                                              AUSTIN TX 78759-5867




                                                            r-c-Ui--,: r-.z--r,.   •i:;.

 OOfi":     «,t ycvr bank 5c;aunl infsrnanon GVir J' '.-e src-.f untrtt V'P:. »      orr.^- j              wf:i ;r.,^ r‘o^.'rrjt?Dn is
                                               J 1^1$ Is IjC< a bill- Do ;itiL TTiiiiL puiyint'j!';
                                                     Retain           k'Hcr tbc *-011" rccoTvii*.
USCA11 Case: 24-13671               Document: 13              Date Filed: 12/05/2024               Page: 399 of 723

                     Axiom “r«na«I S*-.ic«»
                      1^900 Stcn* lake Sivc Suite 35C
                      A^uatfn Tx 78759-586?
                                                                                      payment services
                                                                                                                  D*
                     Acrii   20C7

                    -£RCY      V.-.-'AMS
                    15020 south river URIVE
                     v:uut:. ELiiifc/

                   ^lltll•lllll<




                    RAYMHVT 0«CIUI»TlON

                    Bank:
                                                                 lAiACHCVlAlAMC, HA
                    3ai>kAcc«ifir>«Kjnibtf;                      "•••*0274
                    3»tB 0# Transaction:                         V)an± 3C, 2007

                   ••value Toj                                  Axien niumoai Svrviess
                    Anioum of Payment:                         S22W.S7

                   Cwtomer Refarence:                          300192C27A

                          -£RCY WlL-iAMS:

                   3eiec on you* •atJto.'fianc^^:       ou.- -.eeor-one       wersetisn i;lUi A.V., Marct JCviCCT,.*«

                  sj^fronrynursoacfec sa-xacccuntx -^thiDe.mer:t-atvou -eauewc. ircuoec..-
                  »•3«VTTT«nt anount lx tne S8^ servxe               thr vcu ai&c lui^ctied.
                  Tyou nave auestlen*, ar »■;».- tc ,r-«k« ;orr»cao-» ;a —-e inrof.-nator. .:srec aOo-.e. Sinnt
                   sontact Coilectigr. aeparartent. at ia8-a32-799C.
                  *h«nk you fer your Susinea.
                                                     Axionr. =Tanc*i Str. izts
                                                     159CC Strn# u<e 3ivriiufU 35C
                                                     Aus5r 'X 7875S-S867




                                                              (tfCv rrwte*t
           SarTtaBesuiioBwaatniiKCOuR: Memacsr         ra afte^ ir-«s •Ow                4-,« ^-xjaraa,.-^ ^n.
           Tinu ii^aUun   BnMWry
                                                    A Txt a       3o 20C xii«.
                                                iAealr ±is .taer 5r vourtsccrcj.
          504730AOii673C
USCA11 Case: 24-13671               Document: 13                          Date Filed: 12/05/2024                    Page: 400 of 723


                 Axiom Fin5ndBl Ser\’iccs
                 lOSOO Stcne iske 3!vd Sai:.? 35c
                                                                                                       WESTERN
                 Austin Tx 7S755-58S7
                                                                                                       PAYMENT SERVICES
                      1. 2jC7

                LEROY     '.ViLHAWS
                liQJO SO1.ITH SiVE^ OR v‘■c
                                                                                                        Exk.3^
                         Ft 33167
                Titlliiilimiliiihjli.ilitftifl        !!   ! I   ■!
                                                                      Hi'.i.ain:
                                                                                                                             \HS

                PAYMENT DESCRtPTEON

                Bank:
                                                                           WACHOVIA 3APJK, NA
                Sank Account Number:
                Date of Transaction:                                       April 30,2007

                PayabJe To:                                               Axion Finondoi Services
                Amount of Payment:                                        52256,57

                Customer Reference:                                       0001920274


                Oea.- LEROY tViLUAMS.

               SaseC cn ycur authorizaaort curi,-* our lelepnsn? cc-ve.’iciiu-n a: \Q\r^     4p;ii 30 '’CC7 v.'o
               have in/tiated an autemsrec clearing house (ACri) ceoi: ic v/ithdra’.v me amcan: desc4cc '
               aoove rrom yacr specified bank account to make the paymenc mat you reci'estec. included in
               the payment ameu-t is the-S8.CG'sen. ice feet:jr.at you 3 so juthorized .
               ^you have questions, orv.'isn to make corrections :c :hu< ^^niermaton -iistcd above, olease
                contact Co llesion Department, at 153 S52-7S03.
               Thank you for your business.
                                                           Axiom rnanciai Services
                                                           iC9-00 Stone Lake 3lvd.Suite 350
                                                           Austin Tx 7S759-5867




                                                                           :r?T:jCJsn
                  ^Jtycyr tzrJi.3c\j^^rn tnfvr(      in               sno-.* unl.Hs vru <-a.s a-;,--    zr.z unc.r^^nc w.-ry true
                     li nessifv*

                                                                     Oc no: mcil. . TTTCnt,
                                                  i.llf. :ii do: a "r.?

                                                     Retzin this lettc: for your records.
         C’*4730.A0Ii673Cl
    USCA11 Case: 24-13671                     Document: 13                   Date Filed: 12/05/2024                              Page: 401 of 723

                     A^o'oir, rirancisl Ser.'ices                                                            WESTERN
                      109(X5 S'ono lake 3fvc Suite 350                                                         UNISN
                     Austin Tx 78750-5357
                                                                                                               PAYIVIENT SERVICES
                    ;uns      2007


                    LrnCY        WIlLfAMS
f

I                   15020 SOOTH RiVtR DRIVT
                    MlAMi fL 53i5~

                    IitlllirUrtiiiilHllIl:illuiHilmiH iiiiiiii



                    PAYMENT DESCRIPTION


                    Bank:                                                 WACHOVIA BANK, NA
                    Bank Account Number:
                    Dote of Transaction:                                   fylay 30,2007

                    Payafafe To:                                          Axson Rnanciai Services
                    Amount of Payment:                                   52286,67


                    Customer Reference:                                  0C01S20274

                   DeJ: LESOr WiLllAiViS:


                   Basee on your sutnoncaticn dynng our ielepftctit' uC'iivcrwtiori al 1C:5S .Arvl..- .Vay 30,2037, yv!?
                   hdve initistec an sutomsiep deanrig house ?.CCK) debit -o wrrhor.iw the amount describee
                   above from your speciSed bans account to make the p.^ymoni that vo-u requested,induded in
                   the payment amount is tne SS.OO 'service rce that you also auChoriced.

                      you have pu«tio-s. or wish lo make ccrrecticos io ihe im'orrr.ation iistec aboy*                             ■r*

                    contact Coilectson DefMrt:T,onr, at ISS-S32-799L-.
                   Thg.nk you for you- business.
                                                                Axiom rinancjcl Seiviccy
                                                                icgoo Stone Like Sivd.Suite 350
                                                                Austin Tx 7a7S'=-5SG7




            Oan': gi*-* am y.sa: henk erco'jnt inrafn'.iiliyi         jS-Dne iinlc    VC*j Vr-Crk*. 'hi- crj-rC"   n2 Lr.'icntanii why i>
            :nrcrrn«i;on   Is nassi-r.
                                                          n'>   an: a b:li- Do no: i:;       i:   pavmi-n:.
                                                          Retail'; :;ii3 Irtlcr ,Ci      ■ur rcci.'ids.
           OG.    oAoiie'io




E
                                 USCA11 Case: 24-13671                                               Document: 13                                 Date Filed: 12/05/2024                          1^—
                                                                                                                                                                                                              Page: 402 of 723
I ■
                                                                                                                                                           r>J‘
                                                                                                                              ;-
                                                                                                                                   r ^
                                                                                                                                                   / > 0/7'. /           s                                                                     £xK.32

                                                                                                                                                                                                                                      •   i’


                                                                                                                        y-// /l'.V..r-.,^-'                S //'ii'st / L'-
    I
                                        ■   i
                                                                                                                                              >
                                                                                      ,'1                                \
                                                                            ' c                                           \
                                                                                                                                                                                                                -'1 ,‘

                                                                                                         ‘J-                                       //v'                                     >1    niin                        ■//i-
                                                                                                                                                                                                                                      !

                                   ;
                                   !!                                                                                                i'
                                                                                        r            %■
        I
                                                                                                9                                                      N)^        O.<-^f                                /

                                                                     /.: ■
                                                                                            -e                  i                                                            f.


                                                .'*1                                                                                          <y..^ //'i.                             -   // -*   Av/^              //n                         i


                                                                                     f v;.- -        .
            I                                                                                                   '/■■/.                    J
                                                                                                            f                                      /?if.                                          //■ )/-f          .S'                         J   *



                                                  C'/o                                                                               !
                                                                                                    <<y/                           !:■.       /
                                                                                                                ✓
                                                                                                                                     .1 >
                                                                                                                                              -/' tr     Zf-fhtl
                                                              /
                                                                                            /
                                                                                                            1




,               ,1                                                                                                  t
                                                                    L                       %



                 I
                                                                                 &
                                                                                                /         xy'S/v.
                                                                  - ;».*'
                                                                                                          ■S:                                                     U
                                                   />7,i T i K ;                                                                                          X       ' «»
                                                                                                                                                                     ^ tT^--v-.-;
                                                                             f                                                                           / -                                                        a       i«-S -



                                                                                                                                                                                                    I                    ?■ ?"■

                                                                                                                                                                                                            A^v■-



                                                                                                                                                                                                                    «wi &C-; n

                                                                                                                                                                                  <




                     I




                         I




                             I
                            USCA11 Case: 24-13671                      Document:. 13
                                                                                   *
                                                                                          I
                                                                                                 Date Filed: 12/05/2024
                                                                                                      y                                                                      Page: 403 of 723
                             !


                        1
                                                                                                                                                                                      lJi?-J=:
                                                                                                                                    //-. Th\ Ph;.p^
                        I
                                                                   JP p7/fcA' Upp , i,:AS
                                                                                                                                                     .-f 7
                                                                                                                                                     ^ >/fPP i' /t/IA
                                                   /
                                                                   vVv^
                                                                        ■p^hf. 'jfiPii' /rj ])iz- p~yA
                                                                                                                                                                                 IMU Pi ^                     i f
                                                                                                                                                                                                                    Pin
                                   J.           ClifTlASJ
                                                                                         r.
                                                                                                      r/k                       /                                /i


                                                                                                          i :                                                                                  ..*»' A   A i; /
                                   /
                                                  di'-e 6r^-                        “/
                                                                                              /V'-.             f' '.   ■v/' /■-"•-                                                    v -i-



                    I                                                                                                                                                                     /
                    I                  ua^Aj^&A-cWc'j /i/\j./ A.f'‘'                                                        /y'                                              /     f/v/ .


                                           if, c,..-A^, ri
                                                                                                                                     •j
                                        r

                                                                            '•-/i
                                                                                                                                                 t

                                                                                                                                                     K. ..       jLuht'M
                                                   1-7                                            /
                                                                       ':

                                        ,   V     //
                                                  //
                                                       ’J: • Z
                                                                            /




                                                       '   .   /
                                            /              V
                                            /
                                                                    :U't-//r
                                        iSolcS i2 /u'C ■r'da.
                                                                                                                           Zi
                                        UiftMi riv;
                                                                                                                                          ' •r-i*       «
                                                                                                                                                             J   1   . .•-




                                                                                                                                                                                  ’■■'•■flJ
                    r


                                                                                                                                           i *'i                                 -• v-;!
                                                                                                                                          lb
                                                                                                                                                                                     • ;. J
                                                                                                                                               .tjJ-C*- »'   -.f'



                I




            I

            I




        I




    I

    I




    I




I
USCA11 Case: 24-13671                     Document: 13                     Date Filed: 12/05/2024                                                        Page: 404 of 723

  !

                                                                                    ■■'/V
                                                                                                                                                                                  BxiK.
                                                 •-   r        i
                             /                                                                         .<                 fi
                                               / '•L cUll/h-A/ i'- VfJ'    ' fK   :€C' //‘V’ //'t /'
                                                                                                                                                                   /

  •|
   I
              M-yy^ 0,-j                                                   ...                 A   V . V''!.-
                                                                                                                            r< "j
                                                                                                                           .' * i.'/V;
                                                                                                                                            .   ..
                                                                                                                                                          nuf          /      .^.'-:/£-ij

                 f
  ■I
             /        /.                                                                                                                                               ■ !'<r fj ."/Vi c;
           (_yi
                                          L-          i ■v         ■/■A:                                                                                                     y
                                                                                                                                                                             u/

            ■i-iXT’
   I
   5                                                  VTA/ i'V '.■,                            .   /■
                                                                                                        . I'.-
                                                                                                             *                   S.W



                           y f-;/   /•/;: J.              c^ :.A-..ri                                                                  ifir a'sr.<r;
                                                                                                                                                                                  \

                                                                        7/>y /                                          ,■ /-•


            4/ V (i' /'i? f"
               y                      2//;./
                             •/ ‘




                      :5!iaE     .\b              S                .



               'VA-J-S! rO
                                                                                                       .»



                /_! , -7             /"
                                                                                                                                                                       ' 1   ii"!
                                                                                         J v                C3                                           A' '-'
              Aiofr;-,//. 3T/i^                                                      /


                                                                                                   I
                                                                                                                 V 'p      • 1 i                     J
                                                                                                                                  /




                                                                                                                                       ••;’ -- ♦.s            »** B-rj


                                                                                                                                                                  .« ;:!:
USCA11 Case: 24-13671                 Document: 13      Date Filed: 12/05/2024               Page: 405 of 723
          ...
          IN THf.CIRCLir COl RI OF THF ElX'F.MH il DK lU
          ORO IT IN AND      MLVMl-D VDE COl NTN.n.IHUD \
          i ajX Nt>
                                                                                      &XK.?2
          shCIRTN Liii
          J( IT*.F- V. liery R                                                        Bxh. I B>0
          M4l Kit ». M \U)\t:TIK




          I A B\NK NAIION^I VS.S<KlVfIONtTRirt »•
          IVfcndKW'-



                                                ORPLKOF aLCLltAL


                 I MIS t Al>t..-vac tco»< a*: Cown *•4 ■•pome. .mhJ the v own beiir.; fuih     tv.-C la '-x
           ;ri-cu«si. II t> hcrrti>


                ORDERED AND \DJI DCED

               I. Ih»i UK U.'idcr^cxju«. »W<»I t .JWt lu.^ iK!«h> i«cwo. hcr*d; Iron •uriKTvi't^Mwr.i’.icw
                 of Ihl* V»»i:

              : Th«c»K'Jttiit<rc*s>jf5XC«0 3»<l»cfwtJ00<>l Uv(
                 ^ rji cttjbitifaoi mKtiOurrv


           OOM. Mii ORDERED le t'twnahcr^ m                              rWhla •* th^^


                                                                                                t   I •
                                                                        •iR^r «   ^
                                                                                      Ah*
                                                               a'i'ii                 on i ^
                                                                >aen»i»3frAA.oi m :>                >: :4.AM
                                                                     IIm VaterK R \imm- V-tran

                                                                     C'IRCt n CCM RT jl 0*.t
                                                                     LkenrenKaO^ SijpcU




                                                                                                          .'trt t .1;
    USCA11 Case: 24-13671        Document: 13                  Date Filed: 12/05/2024   Page: 406 of 723




                  .{




                                   }




                                                                   '■.I




                  A77-




I
                                                    i
                                 also




                                       /
                                                                          ^Ji 5 I eC'
                                                        -*-s
                                           1   ri
                         AM
                            *1         t
                                                               OV'J?ns
                                                                                                                                ■c;''
                                                                                                                           t
                 J -Ji £.

USCA11 Case: 24-13671                         Document: 13                             Date Filed: 12/05/2024                                Page:
                                                                                                                                             c: ^ 407 of
                                                                                                                                                      L 723



                                        i r         A* ■’•’                                                                     *•

                                                                                                                                                       32-
                                        .•L ’.        ■ \.
                                                                               }
                                                                                                                                                      /5Z
                                                                                                                 j    i.
                                                 r.r-*;r':                             i.




                             r-

                    ''   .                                                ■I       I
                                                                                                     1-.- .• '


                                                                                                                           .V        [ : I
                         i        'necc                      '   <
                                                                                            ]




                /




                             A
                                   c.
                                                        n amac owns nomec-
                                                                     «.




                                                                                                >OTriT>MwfcgJir^y>»
                                   n'=<r'“5-«
                                                                                                                          iiiiKtCKJ rjajiCii                    ■ ■                                                                 jso r-?-.

                                   fjzzz:
                                                                                                                        ^rxn.                         tuTin                                                                                     ?XH:
                                USCA11 Case: 24-13671                                                     Document: 13                                  Date Filed: 12/05/2024                                               Page: 408 of 723
                                                                                                                                                                                                           4.;:$              JESLUi                                           ExvwSZ
                                                                                &-.■« <;:            ra£i» J.'ssn; a-*-' ^ ■■R"                                                    aa-issi '■
                                                                                                                                                                                                 zat:
                                                                                                                                                                                                                • JE          tS£X>i                              -r-:

                                   veil;                   «viiUs«.                              rtic;           £5iB«s5=;«                n»rts a £5rT.3«icr.*~«-‘’                                            .2           ,r=.*tT                   zz.zr: :i
                                                                                                                                      C4C£il           !v:
                                                                                                                                                                                                                .C3           TwT.??^
                                  . -t:?*’;
                                   ■ rcj-.                 tTiis li.TT irtTT
                                                                                  ,   .    . .
                                                                                                 X>£ll   « Ss                    _                            rs-vrm iiaiJ         5X7•ff■£^                    .<SZ-
                                                                                                                                                                                                                .2                                          i.iit.i;
                                                                                                                                                                                   s:3-<7£
                                                                         r:      vj’.i-                                               r-                                                                                         ac K-      -■ :                     iV
                                                                                                                                                                                                                .2
                                                                                                                                                 ■    3IT. :r3 T5


                                                                                                              jisr -AKEJ nunjAiAsas.                                                                            03at jaFTSS-'o cttjtt:'
                                                                                                          .    :£i        AisarAA                                              urtaJAi. mztiis
                                                                                                                                                                                                                          ..rt          .05
                                       zz si.'iT/ci tm siw                                                    ::-•«       inccc-zt                    .X       «GCC£.CC-^      jiJEC.K-
                                                               i.'r             Mj«
                                                                                                                                                      .:i      <rt«e.i0        luois-ri
                                       .01 ic.;:;ieci 2ij> ei o»f> »*i/£r3iii;
                                                                                                                               irr s-<!'             0I5J .
                                                               £.Tn              »«?»                                                                                                                                     .=r.
                                                                                                              zzJZi       4.i5C-:c.«                  .{£      i.!ia:rc-       4f5;>:o.cc-
                                                  :.-'a-'>:£ nn.MT* s>v r-irtiiJiu
                                                               i/r 3>            SST!                                                                                                                                                                       iii-i-     ::
                                                                                                                                                      .2          :a,31                ■ so
                                                                                                              ;i/a
                                                               VT                                                                                                                                                         -•a                           ■ Zi^-Zz-Z-
                                                                                                                                                                  lU-ll-                            -51
                                        ;; ; -..':£/:5 itw «35 aa rC iiT                                      11,^        j-5jco:.K                  ' ..s

                                                               J.T tc . oSf»                                                                                                                                              .■33     a35.4‘ =S
    I                                   01                      Toa iT«r-K2; as?
                                                               i -y a            SK»                                                                                                    OC          .0?           ■       .It      tn*.iT-iT
                                        ;;                      ."Cl »ss;                                     ii.-':i         •ffljii-K
                                                               i7 a ' »r?»                                                                                                             .:c     rrrito                                   . ,rr               ill." -
                                                                                                                                              .3C                i:o».sT
                                        :•        laiP-:: ii
                                                                                                                                ei so iiiif-'ota                             la^-as;: ^2^
                                                               VT 3C lETS                                                                                                                                                   rs           -C^                  l.n r
                                                  ir/cj/ci      :w*                                           ;i*Ci           (a^iC.Cv                 ^5             E.3?
                                                               T’T
                                                                                                                                                       .cs       SMl-17
                                        :i                      c   jArjcsr.
                                                                                                                  a     - •     t=2
                                                                                                                                                                             ixiiT^a
                                        i»‘.l          tLsii   ;4>'.
                                              .    .           ■t>T ap.                                                                                                                                                                                       t   *i      rr
                                                                                                                                                                                       .cc          .C5
                                        X :r-:€r-c:                                                             1/ri
                                                               ij-j      t                                                                                                                                                 -‘•r;         -x: ■                %,i> •-
                                                                                                                                                                      cts                           .;c
                                        ::                                                :tn^T r.*            vci
        I
        I                                                      =v->                                                                                                                                                   .    ,:z                                            i:
                                                                                                                                                       .rc       :rs5.i;               ,7i      ZZU-^i
                                        r                           ::                                                                                                                                     X/TZ/Zt
                                                               Ijlj*                      *u                    •x              &Jf 2= ci/2y^f
                                                       ;/p s rtrf                                                                                                                                                                        .ri            •      8.W r
                                       ■ V         invm j^rr sawa rrr:t                                         trzi          Hset?.??                 .z:

                                                               i» r ;            Mcn                                                                                                                                                                          7.27 f*
                                                                                                                                                       ,£i            5.55             .C^           .££
                                        Zi         7.;:2.^5                    s*«r<             f-*
                                                               A/r'        .                                                                                                                                                               cr
                                                                                                                                                                                                                           .^5
                                        2s         i/;2,»5t tr                                                                                         .X        MMt
                                                                                                                                ^s et:                                       CXAACcJ          XT? C^;- Z,'-ZZjti
                                                                               7»y=2 CS                          a
                                                                J        OS       »Er5                                                                                                                                                    .• -;    •           r.Ji r
                                                                                                                                                      • .a            e.»              .CC
                                        .%         I/U’Ci ur 5?t»J ?ncr r+rf ;                                 a,*c4
                                                               aT;*r
                                                               i? c               vi7i                                                                                                                                                    .a:                  i. j j:’
                                        £!                          ic43                  'Zz^tl t                                                     .X             4.53




                                                                                                                                                                                                            0t.( / A
                                                                                                                                                                          m                   ■rr:^o.2D^
                                                                                                                                                                                                            i         i±.
                                                                                                                                                                                                                                 'JIH

            I




•               I




                    I




                        I




                            I
                                                                                        uu.-ciKt:i n CCK HTOrUif.
                                                                                                                                                                                           jar
1
                                                                           1 !Tri iiTJicj.u oaa it ln ano /s>k
                                                                USCA11 Case: 24-13671 Document:  Finai&A 13                                                Date Filed: 12/05/2024                        Page: 409 of 723
                                                                                                                                                                                                             r'




I
                                                                               , 'dsr-vrraviL&ivisio.v                             ,       ■       •                                                         >
                                                                                                                                                                                                                          x£l

                                                                                  ^.AS£NO:
                                                                                                       iO-                                             i
                                                                                                                                                                                                                           I ■
                                                                                                                                                                                                                          •A         i e^h,22
                                                                                      I !C
                                                                                                         mnic , hi/\                                                                                                                  £kI->^153
    I
                                                                                                                        PeSlfeOl^-Sl.
                                                                                                                                                                                                                          • £-
                                                                                                                                                                                                                          .-•N



                                                                                               riw

                                                                                                                                                                                     OR&Oi . .
        I


        I
                                                                                     ■uS-v't:'       y W/                                                                    ga.■jtilirsNO.-O'F.viivt'.-.
                                                                                                                                                                                                             ■n>
                                                                                                                                                                              obv
            I • •                                                                                                     . . DrrraJarJv’^J,


                                                                                                                                                                                     >
    • I

                                                                                                               TiiJSCU'SKbx.:!:                        i bt hcir-J oi ., „
                                                                                Oi' n=ii;jIVOtfc3-iif-i‘i NJaao:                                                                 7
                I
                                                                                                       0^]ccfjbn                               ro          SiCiLb'
                                                                                ^rj-d ^!5r C*?^! kiv.:>'r Sii-':'«J'.*.';p2r3crL't-4>:'' ;rnrcr<'-9. c-tu -r
                                                                                                                                                                                         .t; thf prcrJicf.        v. ■s         :f
                    I


                        I                                                                                                      AND. AlAi3Vl/Ci!l*)              Nl-^Xwz                  -.^rnr zx h
                                                                                     DQALid_ as                                        moCT-                              s^U.              W/g J pr^y^C'jS ;\y
                                                                                                                                                                                                                                      t




                                                                                 \
                                                                                   .ia.CMkd                               Qy^i                 !

                                                                                   o‘ an]c.rtjLato^' \s                                    s-HlJ            acfi’i^C.
                    . I




                            I




                                I


                                                                                                         IK>N>, aNT) Orlp£5Lrii tt Ci^siisbcTi is Ntft5i2i;-L1ade<'                       rk?r^^ ch:
                                                                                                                                                                                                                      O
                                                                                                                                                                                                                           r



            .                       I



                                                                                                                  ^OauCLiSj
                                                                                                                  J




                                        I
                                        ]




                                                                             C. r*jTa£-. ^ life I SZjcJ ii •             (>s
                                                                                                                                                                      ClTir COCTRT JUDGE
                                                                                                                                                                irr
                                            I


                                                I


                                                1




                                                    I



    : .•                                            I




                                                        I




                                                            i
                   USCA11 Case:  24-13671 Document: 13 Date Filed: 12/05/2024
                           IN TIill t IR<1 IT COl-RT OK TiiE EUAT.STH .U DfCiAl.
                                                                                                                                                    Page: 410 of 723
                                      C IRf'lTT IN AND K'ORMUMl-DADF.COl NTN'. FLORIDA
                                                                                                                                                             exK
                                     ! \Sr A;>•
                                      -I'CI IOV: Lilli           ■ ■ ■



                                      '(.' S liank iDa'i

             I
             I

             I •




                                     %S                Lci'ov




                                          imnTM o\ mo tion to rAA( v.i. FORF,rLOs< rf,sall sC iiEDT T,F.n for jam:
                                                                                                  ILJ2S2J A ■ ; ■


                                                 THIS CAirSc              ' isy t'iisTjc b-oiVi.v- :h'.‘
                                                                           'f.                                    on xh-- Fbitsiii]*:!                  to iAtL^cl
         I

                                                                                                                                                                  S,.-. !
                                           'fCC^'L'-
                                                                     -I
                                                                     i    CV-irr.[a’i iri£   :a;d arxiaxjx^n,'. of nr.-.CT^. ii5'' :n-,! :v’'!C'''-od lb: r’

                                          I'.- Oun hcL>                   July su-.;:>cd. ;l i>


                                                 ORDERED AN;0 ADJUOGSD;


                                                 'Tv-i ?iiia,LLri Mrfion to C’:irn;d'                      ixlic 2^           GRANTED.

                                                  i%
                                                       0 sU’tJ. iy.diwc.icd U>          dio,force            fiiL- ut-H)£i .fijn!'*v.CK->:.- 5n Tix' i’i.iintsir i.'5-i
                                            :t    Ci'A' w*Tur,




    I




                       .■> "r»Nfc* !V/»                    CA :lVj                                                                                               P^Sr

    I'




I
I
                        USCA11 Case: 24-13671                             Document: 13                            Date Filed: 12/05/2024                                     Page: 411 of 723
                                ^ IK.>N£ 2nd ORDERKD                                               :i! Mbrii-Dsdc l i-iirAv. Fic-riiij r'" ih.js Fnd                           r>t'Jyc^\

                    I
                                                                                                                                                                                           6x^3^
                                                                                                                             .'• 1» t
                                                                                                                                                        jgiK
                                                                                                                                                                                 .f
                                                                                                                                                                                             Qxh.iSS
                                                                                                                                          ■VvNjx.r                              ‘ ^J:^ AX'
                                                                                                                                          L
                                                                                                                                              I;i?i,v\'L-T*ir4tiVi i>i.v

                                                                                                                                        < IRf l I T < 01 RT .n iXif .
                    I

                                                                                                                                        ,I;k-t!:iii;-t:.;:l> Siyr.v-;; ; ;



                                                                                        i.                ' UX3.LirT.!.VS'
                                                                                                                    v




                                         r'J.^.'iracic’iiJJv Seri ed:
                                                                                   rriirijTvs-bJ^.giu'
            1 •

                                     D.;:i;vi iii.r:c5. 02 i              ij
                                     3.:r.;v:i ikci^v. iii<J LLsrr.keurliLmkRiitn’c.cu-’i
                                     1               <:i]^jij.reC';:::;i>ik!i;i.                       r^rr:      briWi.sriv>s‘.si Xsn

                I                    •                                                       r: .A'ouniX'C'.t; fii^sRaiKliAalUvnl
                i                ■! :     ..'.•K'rrp? =k;k.3t.ir,- Ak:3.'ddla.'t'k;:r;Arv3i;.                    l[rrr-.w-;:;j;>r,'- r,-;
                                          Ti-.'fi-T !. Vv 'jircn.
                                ■ --;nu;:cr j Vi'aeca i7:'3al:i-frk-% «
                                                  " f 3i;e:L r:..i;FiljrMr5i7^!V>;5.-i-i>C;.’tI C-n::


            !                    X‘S:;.:cn i ] :i;:i'77'<d;rj7’Apre,?.4.tj'l;rin->C!fiSiEtw U-.
            I
                                                 Kisnit:                    y:.crdr i"ciT" i; hr!Kki~i'VC’:>l!.i;i.<r:i .
                                                 Rccnsn i                   7 ;XF5vnZ>ix.i4; Frr%RA7>is7i}:. vVd"
                                 .'jn'iTA kgsiia;; ixK-.jjviA. CC'UitdipST'A’. .<                                             s-
                                     •■< i':j‘!S32 S U'diS'-X’:. rLiFFVIcism !Fbrcviajii->;;'..'i:'3a$r.
                                 iViriCrTin S 'A '.;-rt>.tv, CViUTLXriTCS;;.-.' !Tr;r!‘.si;u'.li' :A.V3.
        I
        |.

        I
                                 Riir-i L«J: F r^i'-icRa.'r^ Fi.vFil-jTejin J br;Sivi-His.ci:T c-.w-i
                                                     f :vdi:cks7>r. P!                                                              Ki:

                                              1 c.iW i'rH*ii'nri.ri.>5. t \r5.is:XfSvs<..j ;3rr»x-T*ti:i{i<»"n j t’ ^
                                 i                        3-irV-cair-.. T'! ..•! ^'u*            / ;■ - v; v/I     j-. ,tt




                                                                                                                                                                                      P.;r^l\u \




■ ‘ i
    I
    I
    USCA11 Case: 24-13671                            Document: 13                'f-*       Date Filed: 12/05/2024   Page: 412 of 723
                                :l^v :;x            ; 1 -   v-"r    1 k.-.- ..
                                                                                                  I
                                                                                             • .-It.*-'-A O':-
                                                                                              .-U
                N. • .•
                          ‘v.;- V                         .C:\

                                              • % ^ '••
                7an;.';                                            Vt •'


                                                                                                                                  IS'6
            -                  : I-:' :.''.



                 A u;:^u.j: ^



                                                                                 ,':i-' t;-:; -




                Physicsii;. S^rr-cc:




I
USCA11 Case: 24-13671                Document: 13                Date Filed: 12/05/2024               Page: 413 of 723

              rjto
                                                                                                                        5x)^.32-
              U-S. Baoi. NSMBkt A.SWcisDoe. <i           for        N THC aRLXU COL'RT Ot T1If
              RASC nXW.VH!J                                         FLfcVTNTH JL-OKTAL ORn TT                        fiXvK - /5^7
                                                                    OADE COlVn-.FLORIDA

                                                                    ciRCLTravu Dm$ii>s                                       I
                                                                                                                            )
                  «rjn;«w. L        $pm4c of Lepij                                                                          t

              Vi2uak Ijao Ljelcjoke xLa JioKt L io^                 CiCK No.
                      t. aluwwB $pe>uac ot ;tfKs ijcicjcte Al^
                                                                                                                             I
              jaaec L.        Kohe ft'dlaea; l-Qiao«ii Spcucr of
              hokc«'iUi      r. .MolX Wflb.;; ■i.acm.'a SpooK ot                                          5^        ^
              ’A»ci TA elh. Cans MeNfu. Uakaowa SpouK o(
              Curtr McN«i«, Srwtuocat Uiaioi Famenhir                                                  r~       o

              TfOBonr Rani. Njcioaai Ifutt Conapnr.. •• Tna(«<                                         >a       />
              for FnnUn CreA Inst aenet 1; MuorlMe
              JoKOj. r^jndt Sac of r.oriA DepsAcaf o/                                                 —        'H
                                                                                                               <»

                         Itafiaad CfJl J»»n»civ O.R.; 'HMns                                 4.

                                                                                                 V.
              3«Bic Cs> of Nortb .Mihm, Honda and T<           il


              'j«;«sdao:i




                                         M>Ai. JlWHENT or fOItgCLOSntF,

                     THIS aCTIOK waa mm before dit C«wn «aflaiacifr> f i >»Hgrvin» OB Novoobo'
                   J)l7on ODitKo>denccprescaKd.rrtSO{U>«ta>.A>D AlUCDCEl>ihar.«aBfrs
          5ai<I«ipB(3xaCRA.VTXDaKa.2HitfDeftadMiDhaadbK             !: LflPOjr «'Aho&. Unkioymt
          Sp<Me of I«»y »!»«; JoMa Lrtikjotai »1t*a J«»e» I_ Jol*.;
          lanm lisinate AkA .‘ancf L ioiao: Hoke Wifl«iK UdaoM SpoBM of Holcc VtilMBc
          NteA ».Ua. UAw«.a SpooK of Mock U.db: Carta MeK«U Lotoowa Spoiae of Coma
          MeSnL Srooarat Linoert ftmeaHap. Draortc BmA Vm                      Treat Coeopaa*. a» Truaaee &r
          }m*lm Cnlji Trw Seria t Mats-Dode C«K> FloriA. Suieof Hwido. Depwtme* of
          Revwir VoifiMdOCR ^rarrv G?: Ssomat BmA. Cm* of Norti Uanci FVrirt.*
          f                    Omt nwt Owioe PUabtria dur

                   Pnociooi dac or dtc     aecureoby itM mof^i                             S4«»,OTO.OO
                   bnem good dn 1                                                          SJOTJjyTd
                   uu Oatftt                                                                     lurjo




              V'
                                                           «                                K)ta ;3-K301
USCA11 Case: 24-13671             Document: 13         Date Filed: 12/05/2024             Page: 414 of 723

              ?ncr5cr»-i«r Exiw \4vrKT
                                                                                    S6.W.19
              rix«20i3
              Ixta »Ti                                                              Sft.WI W
              I<xa20i3                                                              s'.mH


              Flood i::$onDCt 20U                                                   V2J01.75
              F’jOC^ '.taanac< 201S                                                 «.i»5 6S
              F>Mjd IflCTTAt 2CT0                                                   st.ccir
              Fiood IraaniDcr 20n                                                   SIJOOW

              :UaM .ssonocr 2014
              Hkorti lasimc 2015                                                    SA.!i«a5            1
              Huxi IzsuxKc 2010                                                     $6^00
              Haad iBWCmg lOP

               Asuoe^'t Ttcs Totai                                                  S4.6«»».oy




              Fipvt                                                                    SUJJC

              Srrvicf c>FProc«s
              ^^^bUcatioft. Nocioc oF ACbOd                                          $230.00
                        ir Pin:

              BPO                                                                   SlJdOf-
              frapgti' Inpccaoa                                                     $:.irL2<
                                                                                     $340.00
              CIUM> total                                                        S*fl.2*?J5


          Z      toarrm. Tketnodioat             iieiefrKct]« pM^npb I      hearKamc StMB Oist
  1
          dac forward m tb* prrksdiac iaiBl tar of       aacaoadawr      SaoMc 55.03, Herliia
          Sonea.

          3            Ptwpwtj nMbff. wboac tddst» «        Wocdawioc Rowl. Simc lOG. Wcs
          Pals BcKk Florida 334t«. botds a Bes forfe(wl Mri    wyerior te iB rlaiffi cr etacw
  t       of dw(fcfodM'toa tba foBowMg dexffoed prapst; a Maaa Didt Cocoty.FMd»;
          iOT l«. BISCAYSfc OARDENS SETTWN *r PART 1. ACCORI»*G TO THE
          plat rKERCOF. AS RECORDO)IN PLAT BOOK 44. PACE 4«, OF THE fL,W.K-
          RECORDS OP VlAMI-O.AOe COOTT.PLOMDA

              .>rapcr:> aptfeca lSQ2D5flMfcftrt»r rw \4^ m

          4                           ft A* graad tocx wnm wafe           X lh> ram Jatentmd c
          Pngacii 2 aad aB oon aocntrd wAarqum k> fots jai^otas m* om paid, ifac CM «f te
          Com Ml <cfl ifar mtbfta prapany « pMc tak oa ,.>• a « lam            $tt\m •>-’00 A>t
         fo Sk iKgbre biddrr for catf: aOer ha^wo Sra fix-drSaace » pepoarwi Oy bccaoD «5.03t.

          CwN* 20.4«142»OtXi                                                       n.* ',>raaa*»
USCA11 Case: 24-13671             Document: 13               Date Filed: 12/05/2024                   Page: 415 of 723

          nocxii     S(«aes.      TSr Uiiyrc        prr^»tt\ (saH     be   sold   K   oiecgtiRK       iac at


          5        Com*. P’jaaifT stati ac^.xxc li; jubncqacot co$» of sss vsor ud liuu; be mzaMnai               txh
          for ±€Bi b; ex Cksi if pbuttff u ax SK porcbxxr of:hc propeny far sak. pcmrideil bo«oe:.
          ;iis 6c pa-ziastr o!tbe proprt? ibr rMt MI be rwpnnofak ix doCTaoeaar- nnpt afSswei to
          ihc oBffi?!cie< of tilde. If rtsMtlf a 6r pundtaKr. ix Clerk tiall credi; p4jttiMifrs bid         dr
          9t3i ass with uctsm ead coi&f aoensse tuheeiymti to dta Jodcacs. or Mch per: of(L s i<
          accesnr- w par tiie bid io fUl
          A.                   of rrocccUs. Us f^nic Uic Cenrx       of Tstk, die Cicri Uail kirnbur tir
          jroocoai of ihr   ir. to £■- M tir^ trr tatSam. by              fast. jA of Ur ”iaict>ir> aox*.
          tMOBti. deoaewar:. tamp*              ID 6e Cenificalc. dord. piaiaafr* aaoeao-»' fed. &onh.
          tir tiital sn dm in Ur pdiiaetff. Jett Ac oast pod. piut iaunea. x tiie nOr pteorribcd i*
          ponpipii ; fron tills         10 tiw dttr at Uk Mie: aati by retainbe my tnaxjmfi xxs^cT-
          7eo£a( i:>e fsther orOer of this Coon
                 Rifb* «f Ptomie*. Lim nliqK °f Ac Certfkstie of Sale. Jefcsdonut) and alt person'
                   ■Oder or tfMXSi tie&ndanasi sbor the £»■ of tir Noboc of Lia ftnoew itiail be
          ureckticd of all     ur dus m 6e ptoforr. eujq;n a» u riaam or n{txs jale Caper 7IS
               Caper "TO, Fla bOti-.rfai*. Upon fi!iac<if6rfoliScaic of Tide, (he person Mocdootiie
          Cen&mccf Tide tbel! ba let me posteabsn of Dbc px^miy, nJ^cet K the pio^-aaew of the
          P^mocuaf Teoancs a Poeocloaicre Aa of 3W. mihidh «a cacaded oau3 12^1/14 be the Dodd-
          han» WaLbnerRe&namdCoesqaerPnmciioe Act

          I       JoradkOM. The Coast reisiiB panstiadM of Oa acttoc lo ester rjrtiier oeden Uw ar
          /•napa. •actadug. «»ieiaeat( kmii mtsof I     MsaaddedciaRcy ;adifaaeo<s
          «        .aaoracr Foaa. The Cooff Gada.        opoo da affidavts pnacacoi: jod upoc ia^iaK^ o(
          ^cmml be At plmeiff. dm !9.S hcvn aad a SlTdOJld Urn fcr weir remaabN etpeadod ba
          tacphmtricuaaaeiaDdthaashoart; taicof »500>42i;.OC«id i Cat 6e^SZ3<0.0C h
          varopi        *VMNT1FF'S COC.XSEL RETltESENTS TKaT THE ArrOR.NFV FFF
          A» ARDE0 DOES ?«>T EXCEED m CONTTWCT FEE U7TK THE PLAW7TFF The Gw.
          f-adb that dasr art oo rodoctioc or                Vetoes {gr           ioe by 6e Coart pmaaot
          » Florida Psjeae** Coapeoiaooo Ftiod ». Roaot 472 S ai 1145 fFli !9|t5k
          10. Tbe cots: Cadi tiaai the k{sl detcnpiMr coacamd ia the sai^ Moe^i^ lococded ic
          Uffleia; Record* Book 23dC3. at Flip 3231, of she Ptibhe Recsvdt of Vttma-Dadc Comey.
          FVsida. a ffleroeci ^-Mongaip ia teeb> n^braod »reflect the twms legal ttaenpioc.»
          KMkMPS*

          LOT lOS, atticAYNF ViAKOIINS SBLTltXS ~K PA*T I, ACLORDCkO TO THf.
          plat TKERBOb. A5 RECORDCD ffi PLAT BOOK 44. PAGE <4. OF THE PUBUC
          RECOW3S OF MLAMLOAOt COllVTY. FLORIDA.
          11. The Coasi fiaOs shat HaiatifT h muoec to as oqaBaDte ijca arwnp Dcfeadmc. i—
                  "TO aka Joaea U Mia. IMc ttlCdma. Vbsk Utflt. Ciao* •KcNeiL Sj
                    PaverAqi'i cttcRX ia 6r Adject ptopeirv. aaaw v> da               ofSbelVj



                    it-;o-*4TaK:.A-at                    i                                tOmf ti tin lot
USCA11 Case: 24-13671                    Document: 13                     Date Filed: 12/05/2024                   Page: 416 of 723

           I? 'Iliis PKOPEKTi ■ Ih SQlS} AT PL'SLIC AUCTION. 'niE-RE                                            yV<Y    BZ            (
          .ADDl'nONAL MONS'S' rRO.’‘S THE SALE .tETER PaYMEM OF PERSONS T>1-:o
           ARE ENTH'EED TO BE P.AJD FROM THE SALT, PROCEEDS FSiRSl'ANT TO THE                                                         ,/66
           Fi-N^AL .rc!x;>rE.vr.

          IF VO?: ARE A -VUeORDINATF LIEM'OLDER O-AIMINO A SIGHT TO Fl’M)S
          RJDtAjMNG .aITER THE SaIE, >‘0U .MINT I-lLK A O.AEM wmi THE CLERK
          NO LATER VfcLAV     OaVS .iJTSLR THE RALE. I? VOL FaI*. TO FllJE X
          CLA5NL YO<J WILL YOT BK F-VrilLED TO ANT REM-VIMNC FT.rs-DS.
               ■ DONE A.ND ORJ>CHSB iri CvKCScr; Ir, Sljicr.i Dad: Ccc:".-. Fcici<ia, ihr. , . _ ^s_i c>'
                             ."O!/.
                                   3 5                                 /
                                                                     ,A       /
                                                                 i
                                                                           /
                                                                          I
                                              Crrr::;; Jijdgc             ./ jcCT SdiiMiaee
                                                                                  CtaiSt CasiK


           ■■'Hi !j;: iT >bJl srri': oL' p-tics ::anjc on ic
                                                                : ./        Ucz aad "ootupani' ii feo^jirt;. nddrsni.

                                                               Service IM

                    LrCroTA hio.
          .Ulomc? rr-Thrnn^'                           fi.’tAL OHGtHS AS IB ALL PABi i£S j
                                                       SRS CISrBSmOK
          Eo>sc & S.-.n. FLLC
           IF!;         strre;. &ij:c 2-X!
                                                       HUriuEH                 —      £i
                                                       r.<i.
          'cTi Lnndsriiic, .TTvK'?                         r;.jT.; ,gj7 IJEIHJ J* n«
                                                      <«rr
                                                        3»PFe=/Y!‘:5;s^KSiS). -CiScSOSSS
                          C'jnnij-, Flnnd::
          :■ 0 -Aiian^Jc ?icr^r;\2i. Ess.
          :: : N'i' L;n X:rca
          M;T:vi.rT3;;2S



          CTr^.- .-;’.\<irt; Miami ‘X;iTj\
          Icnsi&r '. - T 33Tsm
         -SKi- 1T5t S:;«i
         Nr.rth Minn-i. FI 55361
         cr;>r..T:<rT>ry.c nor        ilS-SOv


         f like Vi'Jii-nit
                  : 5*22:d Soaiii River Dih«
         Mjaai. FL >.*36“




          e>«Nv
                                                                                                         »3r . :>-rrg5M
        USCA11 Case: 24-13671                       Document: 13                      Date Filed: 12/05/2024          Page: 417 of 723
                         uiSi-sJ CC?>.-artaer., G*
                        .c-’oCTCrairsLica S^Srru                           Ai:<:r.i
                         : r>2           ?rtx Jsiatii K«3d
                         r^ission. FI .•33:4                                                                       ^■\bl
                        Dtaiidic isnx Nib’-joai Trdj;.Ci:c\r!t!v. =s 7r^ta: for rrsaikn CwJ:; ’[nisi Senes E                             J


                                                                                                                                   ■ ]■
                        c'& Lcs^j Depe'j^OTi .
                        : ~ti Zl. Sl Aijivsi Kice                                                                                        ‘



                        Ssna.vii. Ca 92703
    I

                        L-ai.c«^Q sr.-'ULc ci feiis
                        '.f-C20 Sc^iZh Rhc: Ct:-.-
                                   R-'H.7

                                                                                                                                     r
                        UrJ5>?T.-73 S.M=:i        Jkki Linlq-iea AJU Jkks 1_ Jobs
                        c; 5- \-T4' I ii           Ape FOR                                                                           1

                       ?!a>nnk;3. ?!, 32722

                       Lo-isni/br z.yjz Jir:?“. L. JoJic. Jan^rs
                 ■■               15a?G Sc«nS Rne: Drive                                                                             1
                       > r‘
                                   FL3jE67


                       S-rar^jsi Sink'
                       C‘C. A.Jt5^
                              rec^^uEtjr;.- Fii-itv*y Sesi'ij. Seke .*00
                       Nosen:-*.':. Cr.A jCC-pZ

                      Stxr «;'■ Flewij. Di:?3in.iQe:s cf Rc-.rcuc
                      C- c- Ex*«itS-.u              = f^$2K=n:d eg=o: o-r .^-r- «i!er ps$&: aasbafhwi 53 accep? icr-Tcc. of
                      ;~ws;csr.

                      24;.n Sia-sisM Ck& Sc-iilevs.-^
                      TxlE%s*s±, FL 225«? ' ■

                      Lerep u jijsEs;)
                      tliZ N'-i' j<:h j.5oa£sr,.ADi. FC2a
                      Fin-aEkeo.f^L 32222

                  L'skaoTEz SpotiSe cf .V^fick Wills
I                     ’.5020 S:-j£! River'I?ri\c
                  ' Rnai. FI J7Io7




                                                                                                             >   * L-?^ S:4


I
I




    USCA11 Case: 24-13671                                   Document: 13          Date Filed: 12/05/2024     Page: 418 of 723
                                                            I .■
      !

                                                                                              e^-3z
                                                                                                                           ;
                   :v,A;59:g5ou:hS:v;rI>nv
                                                                                                                           I*
      i
              »   r          "•T


     }                                                                                                                      \




              ;         1   -J.-3V,L Sp«;:»:« (                    .5    -:^Vwi
      !.
              i - fv>       iiOZti Sc;.'’h                   Drr^ir
                                       • .c? .•




              ;-K'’a i; v:                        1- v;..
                                                               ,-r.v-;

              Niiuai. r:. “r^-


                            ' IcVrr
              ltca iroxsouc 1-.                              L^r.c
              t              L*r
                  .a:                 J:fc7


                                   £..:::r:


                   K'A j                            Kh-cr Drt-
                            f u .*




                             -i-DLO <.:92>pa-o:
                                                                                                           •rvC2c4
USCA11 Case: 24-13671
               iPriTsnTVL Document:
                          m.h.r     13                                                      Date Filed: 12/05/2024            Page: 419 of 723


                                                                  ‘T; I'.1^
                                                                                                                                    lo.

                                                                      1''.   Ii-'5 ir !-f.,--N,v:;U.'--i-ii;            1

                                                                                                                               5XW./0
                                                        'ip


                            jvr>:       .PPA,;, A>si.; Si !. i-



                                 S.\S-; SLkii'S :!K:: i.!';, ,:                rl- >y
                                            iSSi TP.


                                k:.S;iM .N :LVI. !■ I 'NDiM!_. OjRikjk \
                                      >KSn-.K s: kViCPk

                 iSKvlr H.K i;': SKiXiUAOJ- VS^l                                               P \SS-i liROiXAl             A U ^
                                R]y^ :'K;5.,\!;iA

    'kr:SR::;;Cl

               ,i:                           p'nriir::;- o:'S ph'l -.k ,'r.„'- Cl' k'cr-Liiniii iS.iA
               ;n-.; i—             :j!V. iBjn                                     .!l;c sna: ":1I ais-iic Ultcv
    . .ai'VJ . ii. >a               .ti!       :>j.- i'ias' A                           .-j'iJ al-ir itj.-.--.-. •,>:
    ■l;^\'':J;;u!l;                          cS;;                                  iSa lire                      ih:s
         ■■^rx-a; :       :upp;e:s';.'rr;


         MSA'i SNiiAACrAfr':;

          '. rjc:! .^nS;;::vamjni K‘; ;Sj                       -.-crjfiLii'.'re               :i:.

         t '     ■rsv^rwi c:^sh ki-vi               y; v;rrc^l':uic7M;2/n,non:

         o           -.icia rirrAicnj^cc^prccri-tcn::

                 iuIvrCirjku'i: i^o’-Mica iv ifi? v Si-x A Vcniacaic* 1?;, lAi.- i L:n. M
                'Cc.—ki-^Lc^x 2ni} sai>,TJ:n^::i2n fKi;.. kVo :■> iSc k L;-.> 'O C c;'l]
                r\ I^ach cb.v5          C'ii'.i Ni <.A-n:r>ca!x^‘, -xaA a !.--i'.-.-i



    ■AH, hHA! L[>a>AS:DhRC'ARi2rl Li .V HaH RiSK r AAIDRS aHu!AMNiA >N J-Aiir S-!' :X AiiS
    pRiNs: rr-^ssrppiSMLNr



                    nu SHrrRAi-S AXDhXrAxXAr                  AOR        s:i-S^:C'L'R; i AS
         tM\f!SS;(!S Has APPROVrn OR Ui^ A^*PH(>V^ AOj niLSHi l.KHA crRni ICA ! SS OR fH- il KsHS;
   1 2

                     l iHSBRASPhri iXs; PPi.LMINi ^JR ! Ar. PRoSRhC ' ', s iS A<. Al RL\: ■ . OA                                     A:.
  , "X-'ikipediA
USCA11 Case: 24-13671                                    Document: 13                 Date Filed: 12/05/2024                 Page: 420 of 723
                                                                                                                        '9
   Morgan Stanley
   Mp'p^iu: Sliu'dcy h'-n                                  i^rica           suiUnauiJ'iai m
           iiaxc        cent and cinanc                    ces cnnipany nesdqnsric'-ec a!                           Morgan Stanley
                  rjrrjscvva_                   n]d;ov.n Maxihatun.       Vr^rl: CiiypW’iix;
                      ijl      mori'            an ai anin^ric-i i>;d nioji' ?hnfi "'SAXKj
   -mpioVCPi., -rK- nrlids -c'i^nT;: ’i^cicdvr wnx> 2c:;iS.
                                                                                                              Morgan Stanley
   'aciVf-r?.mcr.'p;..uiii‘ia;.!or!>. :5r;d dnci-ddual-j.'-* A!c.n>‘ui Sl;:nl:n'
   "tV-'A’'-:''. \r-. 6; 'in ?!':'■.• 202! PoTtHr.''.- :=<.S0 'rs'! o* th.*- L-v;''2,i.*:;r
           t-c S;arp;a'-r{>;iradon4:bv

   Tae oriCLinai Morgan Siaiiiay. forrsico by J.F. Morgan br Co.
   panji^r> Hvnr.' S^urgiy Slorjpin [gninCson of J.P. ’Morgan).
   iiiiroid ST;':nk->\ and o-Jv.-riV, LTltTir- into oJ-Si-.-no;- Si'-ptc.TirK-r
   ■‘0^ icgy, in ri-'-'virsc re'rho Giass-Ssengi:] Art ihii repniri-d
                                   <■-          •r-.sniaion-is!     nii-d     i-nvcsinirs-t   Itarskinj;
    t:j5:nr7;':vr> •’•i-1:: Itj,-firM xvar. the a>:i!pai;y •ppi-’rorcd a'iih a.
    —
           mrcAet .■?n:iri' {CSS;.i biiJior:' ir. pubbc cnldnrtgs and
   n:      va:e
                                                                                                              t,fe;g:an Staeiey's onice o:' r--5
                                                                                                             '5roaC‘way-S!-' "cter Sowar:- 'v^iv
        nr*..
                Mirrers:         Mepgan Siaitlei.'                the resuh of rrio-yer of ihc                               Yor-' Ctv
   nnainai Mnrga:; Stanley .pUh I>ea3- tViUor'Ksenver k Co. in                                             Type                   Pv£>'iC
   ;oa-.'M ytn.-j;; ulprer’s Chairawn and CEO. PfcO:p. .1 Piircdl.
                                                                                                           Traded dS'             ^JYS£, !/S Anp'- ^
                      tne Cfisjnnan ar.d CEO ci the .nc‘.vjy ri;ein'«i ’’Mojrasis
   Srnnlcy Dean WUtcr Idf-ccAor is: CoC^^'-Cl Tho ViCfX f'—tj
                                                                                                                                  ^.AXVsyiS}
   rhrYj;cd iiv i-pme b:;ci co “McrRaa Sunli-y'm
   I'no noiin ;irc:>!; ot bn.sine.';:^ Jor'the nrrn touAv arc Hnsfitutiorai                                                       S&? 2PC'

                            'A'ca'lrh £n3n.oyfr."ricnl and :nvestr.js?o: zna'iiageOfent,                                          cernporipra

   "no b.i:iK isco-n:,iderc-d syj;'e:n;cii]y iinpertan? in- the rlnaneisl                                                         Sii? eow
   Slahiiify r-oards                                                                                                              erm-pT-ten:


                                                                                                           !r«u5try           ■               oyrvio?:-


                                                                                                           F-oondfes'             3S3S;Avr c-.r-
    Contents                                                                                                                      yorcar; S;>n>y     i




   Overcisw                                                                                                                              {DtJSr VJrZti '
                                                                                                                                  b Ca :■ ■
   KiSvOry'
                                                                                                                                  1S3-- fSey-ncJrs
                "he crtginal Mcffan StSAlsy fl5S5™tSS7}
                                                                                                                                  Soc-stj.?-s;
                ?.'r,r3-anSlartley sftpr the mirrc-a.- (-.-saT-Qcssen:]
                                                                                                                                  Hoo:y Siw/pa
   Grcsrilxsiior!                                                                                                                 it&orcar


                •-*cvi’.e r-
                                       ^ ';■>                     .-,.f
                                                                                              I 1




     I                                               USCA11 Case: 24-13671                            Document: 13             Date Filed: 12/05/2024              Page: 421 of 723
                                                                                                                                                      Sign in
    ;l
                                                                                      Quora
    Aa aV f h {.!.                                                                    Hbvv is Worgan Stanley related to JP Morgan?
    :' ■ llJ^b/4 /V-                                               ■: /

                                                             -f^/ ■
                                                       /


                                                                             : John Pierpcnt Morgan was the head of.a bank whsrh he
S'iiiH' tl"'
■        I
                                                                                                              nand
                                                                                  ■ rehamed to be J' P. Morgs;, .  Go. in 1895. in the 1P3Q fi
                                                                                                                                                                                                   \
                                                                                                                                                                                                       i




                                                               i
                                             .          ..                            V3S¥€awWoh5          ^ fi
5                                            3- ■< -
                                                 I
                                                                                      tommerdaXbarWng ncrtV?e«&pef»teei Vy                   s«*ne.                                            I


                                                                             ■ CrtVS>3ry 'jh                           o^^e^s^TitresecuiA^crfj P*
                                                                                  ^ fHier6ArA__       _
                                                                                          Upgrade td'Ouofa+ld acce^ thJs-aqsvvrer- - ~
             I

                                                                                                    v' Acce$s millions mere answe.-H like this .
                                                                                                    y/ Bro’A'se ad-free
                 I

                                                                                                    •y Support the writers you like to hear from

                     I
                                                                                                                  r
                                                                                                                      start free trial
                                                                                                                  L
                                                                                                                                         \
                                                                                                                       Learn-more



                         I
                         I




                                                                                                                                                               \
                                                                             r'

                                                                                               Russell Newton, Co-Founder at CoinShares
                             I .                                                               {1999-present)                                                          • I,
                             I
                                                                         k

                                                                         1
                                                                                                                                                                              'f
                                                                                                                                                                                   \
                                                                                                                                                                                       s


                                                                                          Related   What’S the relationship between JP                                                     1

                                                                     »
                                                                                      Morgan and Morgan Stanley? Is the Morgan in each
                                                                                      of their names the same person? Were they once
                                                                                      one firm? Are they connected at all now?

                                                                                  f
                                 I
                                                                                  -k, '
                                                                                      I have a funny story about this

                                     I                                                l used to work for JP Morgan and on one business
                                                                                                                                                   .rxt-   ^




                                                                                                                      Open in App                                  X




                                         I
                                                                                                                  n quora.com
  USCA11 Case: 24-13671         Document: 13                                    Date Filed: 12/05/2024                               Page: 422 of 723




                                                    Liioo'sjonb




                                         ^




                                         ',':v^ .-X         •-            !zzr^        .rjT ,*: :x^T
                                          .:•.' t                                •vjcwJ'^ aoj.



                                                                                                                   V




                                                                                                              >.- r
                                            •i^v. isjusr';                   ■- ■:-«*; -fl'-^rr-ir v-^ -. i
                                            .-. -                                            ■K’.’ !C                  Ij;      j
                                                               ^i.:.rj w; .».•.' r; .'.in.or j
                                      j«viO-c ;*■'. 3" ’j.'J’.       -'"■ '■ i';'-r>". ;0 L-oi ;»'.i j
                          .v.r r^-i , »./^„-/.si.« Mi-3' ,.■• •-!.'. i                                                          j
                            p         i vu'-j ju;.              ', J              T c-.t; ...                     'oJ. i! j
                                                                                                   ;r, i-3 rJi;;



                                                                                                    VC                          -j
                                            ‘US4M^3^: y                       „;T-f'-;«vCr


                           jv, -i: »*,.v               r-c ^-.'                        ;i;


                                                »-?*■'« uri2."'v-'^; o<^rC’
                                •T;^r,i ..n                                    -^-i.                                       i



                                                                                                      11-- — ;;>v

                              •.•'W-tfw 4>r. >••: ^,v_. >;.>                     -VJ,*.              L.-




                                                                  v-r;        UCC.             v              -•       ••-;


                                 ;; ^'-Vvi;                      /■    - -iv^' -V !‘* '■



                                                        X,'. :Z . —                   -"-.>Jti_, -.

                                .1^. '-•.                                     t'-V ;1




                                                                                       r,L>.-. S':
                          iZ’u* -o ‘:.Zr^.^: ^              ^ ■>^1“. 1. .j    C-“=_' ' *.".*          *3           ^

                                  ;ci_”j-.                                .;.i V-.S. ;^^'. t:

‘fj!                                    7U7:-rs^                                                           ^-j-
                                                                        ..r.;rj.. sev. frzrzt-:


 Z^'^y!     '•J
                                   ^ .•'r.-*' '‘•■'T'*'^:             5^-L 3’-£.^--
                                                                           • ~r-: -tr >-• :•^
                                                                                                             . '1^^*
                                                                                                                       "'^' 4


                                                                                                   -.-- -.J            ‘ ■'•1



       T-
                                  P5i3 /3ri.T;s »’£-■;■.•; 'i.'se.'CVJ er 0-7
                                                                                                                                                                    pt

USCA11 Case: 24-13671                          Document: 13                                              Date Filed: 12/05/2024                                       M       Page: 423 of 723
                                                                                                        f.                                                          i.



                                                                                                                                                                                      ,7
                                                                                  •■.’ !
                                                                                        '.-5     Ci.. ‘‘ :SC>P                  C




                                                                                                                                                                                  .>cu>, 32-
                                                                                                                                                                                                 if-i
                 ^he ■-•McTgTin"                                     X.: I    f'/fOrga                      11 •>:;        taniay is               1
                                                                                                                                                 \J!
                                                                                                                                                       O
                                                                                                                                                       .                                          A



                 ?.^cra."n-3 grandson-                                                           . I i                         r.psr/v' ’.VOS              ;U!'C9C

                                                                                                                 ■ l•■•I
                                    tr; :: y
                                                          \/
                                                          :'<• :                                                                                 aao ot'i
                                 ■i •-.
                                          n.
                                                ^
                                                    'uCrP                                               V
                                                                                                                           C    uroated as '

                     . V              .iyic^rd                                                 li           s disc CO


                                                                                                                               r *■




                                                                                                                                                       ^   4

                     ■O >■ .
                             ' *. I       y.
                                                                             c.    i;£rv         ^ (MS) N4 c^'CS its '. iCnsv
                                  /estOD&d;a




                 People also ask

                 ■   s • .                                V .      P ■••’rcrv"''-                           i.y; 1‘J, ar Sia-n^c-: '



                         :A^rc                       .CtV:-2-rn                                                       :-d f/-'

                      ' j    ■




                                                                              ^4*
                                                                                                                                      A''
                      Siar>« y n-3S a iarger wsjR^tn r                                                                         igcrrser^' portToUo. .-d
                                                •y-«-
                      y,:                                                    2_r

                                                                                         ‘ ..:
                      rrinr’.r: r*r.                * '-■■<?“ Td.                                                                     1 'r'os/




                                                          Ci Morgan Stanley c                                                                                  i'




                                                                                                    i                                       i'                       Ir   !
                     X                                                                                       1
                 USCA11 Case: 24-13671                       Document: 13          Date Filed: 12/05/2024      Page: 424 of 723




»S BANCORP Stock Ownership - Who owns US
Bancorp?
                 I




                                                                                                      t
                                                ->■




                                 ■>1

                                                            Pro Traders Love This Asp
                                                            r




 Insider buying vs selling




 C




                                                                                                              -•‘SCCr

     'v-iS'T'i                         -C -f



                                                                                    r:-2i          : c-;,.:
                                       Scnir:* C       c'
          V Pi

                                                                                                       ii

     Ai-'jf’C-.*; CcCT'r


                                                                                                    ::t;0         Zp
     >-.i;TC^ L


                                                                                                   ., IZI
                                               C-2.r6C’C}
            ir :c s •r‘‘'*-’*i

                                                                                                     V nn
                                                                                                              Mil’
          -.I.T -.rtf*                         Cna r
                  USCA11 Case: 24-13671                                     Document: 13   Date Filed: 12/05/2024        Page: 425 of 723




                                                                                                                                .?N          0          .;LS



                                                                                                      li                              ' j.             •J’
                                                                                                                                                                         !3i- }


                                                                                                 Vi          ■K   ! .--Dpir-i           jsr.-sji




                                                                                                                                  sy\oo%$ >|ue3 SA as




                                                                                                                                                                                  I




                                   •   v.^ ■»
                                                                                                                                                                          •’S



           •I'i          c:
                              l:                                                                                                                         vu ;“$ •-❖ jf j;




                                                          Cv t iC                                                                                              p




i."       ;{;S           =ir s                  .V. -a;




                         :.vr—r                 •:                                                                                                                 ‘V
                               i. f



                                                                                                           ,^'v
                         cr                                                                                                                        .I;':-'              e'.tii



L-:                                                      a'a .-                     <>:‘



tj"                      C.V il 5i                   VC               Iff
                                                                                                                                                        CO -JC
                                                c-a 1.




 ■ l*::   u:             vl' ■j vv                                J                ■ a                                                       ui'               !.-; w
                                          USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024 Page: 426 of 723
                                                             !hrtps:7Vscr$ener.fidelfty.corTi ^ : S'^aci''•j.
                                                                   COMB 1 Ownership - Fidelity ■
• I-
, I
                                                                     •: ; ■   - ■   0'.v;ii!(ij;;C'iur::n;t!jy. ,P.5;;-u:iC.!T!3i.& rriut'jCi fun
                                                                   cv/rofSfiJp cJetei!?, Top 10 rr,i;tuaJ fund hcidicgs. and mere-
                                                                   ine GHAMTESKAS5S 210Or/SERG CGMMQD^r-r 2RGAD'                                            '
                                                                                                                                                                  :
                                                                   STR.NO K-1 =TF JCOW3;-... Axiom Fino.ncinl .Rtmte'Sic-?., llC'
                                                                   0S..'31/2022: t2S.6:<: $d.5?v^:              MutL!.?! Fond O-.v.ne.'Ship                     /‘70
                                                                   Odioii^. •n-iilL.'tmnal MulLfai Fund & WutiiS'' Fond (No 13?
                                                                   Fqpt:;. Owno.-jms:054'-;r . .



                                                                   # ht*.psj'.\'.-%vvj:&ec.'go'.''Aro.iives ■ eciaor ■ C5la ‘ S255l,b':.
      I
                                                                   Transamerica Axiom il NY - sec.gpv
                                                                   Real             Flnencini Fianning S$r/ic#5. ihc.                   of
                                                                   ■C.nliimbir. . iC'OTii CC'-monweriiTti Gc-nerai -Cc-poraiion ;
          I                                                        Wenagemeni sd-r»nccS' Firv., FGF LiC D'l'toy-.'are ; Sotfi
                                                                   ■Mern.ne:; FGH USA LLC I'Real esiole; FouAh FG-^ LIC . , .
              I
                                                                   Deiav.-are ; SOiS N*‘C;nn!>i?.r FGH USA LLC ; R<.-ai netste: FSEA :
                                                                   AAM Strategic Fund), LP'; Defaware: 5c;e Meinour Acgc-
                  i ■                                              AM P.nvet,e Equity ..



                                                                   p nttpsirVsrnaftmot.co.Lik
                  I
                                              ^ M iV Jt-'tC'
                                                         ■i
                                                                   Smart MOT - FundExpert
                                                               i
                                          '    ; ,n.y     • I      Axio.m Axiom turop'ejn Fir.ancidS Debt Fund L^milsd. Axiom _ ■
                                                                   ;Ccncenif5tedGlobalGrC'.'.'t.n Eaurty. BNY Woiicn ' -1“.'
                                                                   SustOinabia Res') Return 3NY Weficn .Suhiidn-sbia Sterring ’
                                                                   Son.a. ... Fidelity G.tobai Finandai Serviced. Fidelity Global                       \
                                                                   Focus. Rdciily Global HC'o'tn Care. ^—^„ . . . . .
                      I

                                                                   fl nttpsiA'w.vj.fideiily.co.uk • p'-c:nn..nr;.gi::.ba..-ce > invtrStm. . .
                                                                   Investment Finder i Compare over 2500
                                                                   investment Funds I Fidelity
                                                                   invastmunt Fmo'er Ou.'' invesL'Tianl.finc'ii'i lets y-eu -sori, filter
                                                                   and compa.'-s a wide lange of funds -arid i-cmdual snarer,                       •
                                                                   riO!"!) Ftci«!iity .tmo i.-ro'.j^rir-.-A l.mrxnrT.'vm. tr.tormt'iTitvn -
                                                                   piOBCC' 'kcop ir. mire: tf-.si ‘.hc-viiluo of i-nvc-sn.m--nt^          gr,
                                                                   down 05 weSi a? up, so yci; ray os: back less then you mvest.
                          I
                                                                                         » duckduckgo.com
                              I




                                  I



                                      I
    USCA11 Case: 24-13671
                        34.73 Document:
                        £
                              f O.CD [C.OOV,;. 13                                                             Date Filed: 12/05/2024                                                                        Page: 427 of 723
                                                                        Vwo!'.-; L-*?’.           '*>• - i *                :';:cr C'                   ■’cc-ruj                               '*

                                          r.z.'j>     rv/:p            .>y -

                                          Cwr,i** v^                   <J

                                                                                                                f.* v ••




                                          9
                                                                                  «>.r^ »•»»< /Ww^«

                       I r    •




                                                             s C^>>*
                                                                                                                                                                                                                         &<)-,. SI-
                                          Inititutionat Cwn«rs^!p D-etaib

                                                                                                                                                                                                    .•4«s
                                                                                                                                                                                                                                /7 /
                       -    •.'



                                                                                                                                                       s<

                                                                                                                                                   F-V**




I                                         Tss « ir^ituflcnal                                           Sr.ar» Scid
                                                                                                                      *«.-■      r.




                                                          '• wv*^‘** <'.1 r cf’                                                                                                       XT' t»

                                                                                                                                                                                      li ?.v

                                                                                                                                                                                      >-> ‘1

                                                                                                                                                                                      t ,<M
                                          '*rt^                         F*..
                                                                                  .•
                                                                                                                                                                                                             ler*.
                                                                                                                                                                                      t::-v


                                                                llC                                                                                         -r-?*                      »5^
                                                                                                                                                                                       2/ W

                                                                                                                                                            “L« t'                     1-^

                                                                                                                                                                                       P4.                   • *•*%




                                          ■Mu-iua! Fufltf O-^nsrsbip Oaai!:

                                                                                                                                                                                                               •{>--•:
                                                                             »Vr ^ •)■*•'.




                                                                                                                                               fwm*S^^a rvcV*i^                                                 *




                                          Tc-s •«(? Muti^                         riali^gs by Shafts l-icW
                                                                                                                                                                                                         K^rr-c''^



                                                                                                                               cijiar:                              «.•> %-             ts                   iiU-S
                                                                                                   f




                                                    t'r* •.>-:'v4.


                                          :-rc* :i”7n-'i5^3r c-‘-V                                  '.y ►'■•' '••■«                        s-fi’-sc: ETFj. -n j • ■Cf'-.'.- -'^>'as.'S24
                                          Jir=-Ci4r.v:. Tht 2.2'> 1.'                        .1                " ?- ^r.'v.rf              r.                    c        fe-> .'iVc-T’          C1 tc S’- ~
                                          icr         y^Ci       ivT*E£.'rar’

                                             Ti a.*-i                       it*                               's“ jr;j3 t.-           '.tVt 2' .T.^;-               Frc^r-/ -o
                                          £*rs                              *ci                         f'j'Ci J-?':: c:.'^' * t.scrri^-s
                                          ;-^c^cs src t-SL-*?-.*. j-tf t-o^o y. ■f-ytv:                                         .••Tcn r'.jy do                               * o? ■«oswjF' if',” '
                                          !\MV            Ju*c *»!                                •■c-.Vyrr •*■ J T, -j-;, r-i^                j




                                          aA                                   reener.fidelity.com 6
                                                                                                               t'Ts
                                      j                                                                                                                                                              Z1
                                  X
                                  V
                                                                                                          I
                                                                                                                t
                                                                                                                ‘       i                          I        f        i
                                                                                                                        I                                                                           'k
                                                                      I                          X
r   USCA11 Case: 24-13671            Document: 13         Date Filed: 12/05/2024
                                                                                                 ♦

                                                                                         Page: 428 of 723
                     JN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR                          ^
                                     MIAMI DADE COUNTY FLORIDA CIVIL ACTION •


             MAURICr- SYMONEITK           I



I
                                                                  , CASKNO:202I-IOS26-C:a01
             V.



             ujs. bank,national association
         *AS TRUSTEE FOR RASC
          2005AAHL3,

             «                .1

          Defendants,                                 I
                                                                     I                          f«




                       mqhqn and affidavitfor relief, recusal VACA-mn^QBB£R5,AND
                                                 MEMORANDUM OF UW



                                          I

      Purist to Fkjiida St^ 112.131,Florida Rule 2.160(H)and Federal lutes ofCivil Iroccxluic Rale 60,
I
      Plaintiff MA0R1CBSYMONETTE l^neby files this Motion fi>f Rufef & Rocusal and Sii|^rttng
      Memorandum regarding the.Jalp'20ii Jose M.Rodriguez Fine review of the record and I            Ju%nirt
      Order,F-xhibitA. based on the follouLig facts, new infrmnatbn,just tomis,judkki misconduct liwkulcrt
      grounds and discovered conflict ofpersonal investment interests o« Financial Discloarrcs ofJiMges mtl
      officers of ids Court(EitlMbibyUlyi Attached- U.S,,BANK Special Sinratloa Pron<atv FuikIs Accoant
      42L..iFES^Q||,Tgbks,9-11,SEC Filings- U.S. BANK Florida Stibsidlaiies, Judge Alan'Fmc Financial
      Interlsts& Prr^perty Disclosures).
                                                                     i                          f



      kbmeffwhist                                                         m mi m smmdsio'dkamm b Dtm



                                          I

     Judge Jose M. Rodriguez must,Recuse bis self for an open obvious Conflict of imerest botayse Iw's
I    doing business wRh US Bank and helping them to makp money so that bo can make money by

                                     i
                                         T

         4
                 USCA11 Case: 24-13671             Document:
                                                      I
                                                             13          Date Filed: 12/05/2024           Page: 429 of 723 S/^,33
                    foreclosing and taking {steafiilg} our properly while acting m the Judge on the’rase on our property
I-           •      not on        Merits but for to make his and them mon^y Illegally. Hiss's proof; In m mrnilrm
     •   w




                    Taltehassee called   B&L«^^piSClOSIIflE OF HWtfOALforw Sfor 2021                           on

                   3,             BA.D1,for And on the form S of 2&U One S.$321,miifKlii.D2for Voya- And:on
                   thesForm $for 2i20for ¥oyt Retirement m fine 2.$3ffi,2gS.05     And ¥oys Retirement m
                   2ms iins's. $27S^m.m ixlim and Vep Retlmnt®«i Is m ten^ &*. E.2.i Judge lose-fi.
                   Rodffeues Is Doing teln^ss'y.s. BANK, US SATORP,WACHOVIA,WELIS FARGO,VOVA FINA^aAt
                    AUD B^W FlKAfiCIAL WHICH 15.ALL U.S. BAf|IC. yAo has ruled in f@wr of US 8Af*JK.^js ■is.e;.
                   Horrible conflict of irseerest against os and Itere's more. I haw found that our ca.se      dirertrf ia';
                   other Judges in this cesspool all with the same Conffict of interest like Judge Valeri® 'Wsnno Schuff*'
                   Judge wa had neyer'met Jumpini info our case affe'ar Judge Zabel dismissed U-S Banks Lawsuit'
                   against me with Prefudfce because they never had or owned the Kote and feorj one year later Judge:: ’
                   Valerie Manno^hyrr got §9S5,0iM from U5. Bank-accordiiigto'his Form 6 Flrtartctal Piseteure-
                                                                                           •...




                   'AfffdaviV-&h.F.';And-then!'Sttddtni^i»erled- heraeif- foto'oyr 'tase'WfthCMJt''' ew ineettng us and
                    dismi^ed the case vrith Prejdclic* like Judge      did, Exh.S. So as to avoid the Law which says,
S                  another Judge cannot change enother Judges order in tile same Ciroiit Court so she made the samft
                   Owfer so she cowld change her ^ Order to dismiss withoift Prejudice and got another $4 miiHop
                   dollar plus S4Wi,tM50 dollar money assist from 6MAC which «    Sank and then she changed h’er-
                   owr| Order to Dismissed Without Prejudice Exfi;H. And then received a $2.4 roilifon 'money awee-
                 , from Wslfe Fargo/Wachovfa .plus a $400,000 dollar money Asset from GMAC which is US. Bank.:.
                   ExhJ, According to her form 6 Financial Afficfavl to circumvent Judge abel's bfernissai with -
                   Preji&lcet-gxhd, Andthefi'these wl^d lawyer Foreclose without notice ito.tis and'we wi|^ threw.;'
                   a 10 year fight see the Docket for the 2010 case which had rto notice, no assignments, no l}ote:ah'd ■
                   no Mortgage'Correctly t» US. Esnk from AKiom Bank see ExhX then Maurice Syraonette did i
                   Cfeite T»tfe Suit and after 10 years Judge Valerie Maitnqi Schurr up apln and t showed hprlhe
                   Evi! which she ted done by taking money |$995,000) From SMAglU.S. Bank to sieal o* pro;pe!W
                   even though      were malung the payments, nib is Home liti© Fraud in. itS'UtrnoRt and when 'Sfe
                   mm she was caugiit.from .her,owi|.SjpTj. g AtidaVa and evil Judgments she Reused hernm
                  ,especfaliy.after,.wt..p.»id. for.N,ews^per.,ads and.Radio.:TV Commerpals &h,T Tajlirig on her m4
                   knowing that w have turned her over to the FBI a$ Jose^M. Rodrigu® must do betsuse he has tte
                  •same  oofifllcc of'Interest So fi| must recuse him^if and v^rate his Order, Exhibit, G. So lose 'Mi
                   Rodrigut? you;must:RfeCijse'YO.UE"SEifjami not QRPER sgainst; |%:hXH. k

                                                                               i




                                                                                                                 f
                                                                                                                 *
                                              t




            USCA11 Case: 24-13671
                    i
                                                      Document: 13         Date Filed: 12/05/2024          Page: 430 of 723
        4




               .O»D»iI^20l7,t>*nd« Ju4se JoluiSdiksin8«isM>i "WJudgitiMaibBsliiktSagaiilpCnS
              IU.Mmllo Floricto SMI. 112.131, Klorida Rate 2.160 MI)and Ftjiaai RuksofCivil Proc«lj|Rule 60
               Ptoin<iffMAURICESVMONUTTCI.6nal,> fil«Ma Motion for R.1W* RncuMl «.d SupIk,™.*
               Memoiandnn, regaMtog llKjlL22ia«8eJoscM.RodrigKarevfcwofthcreciRdandlMJo#                                mot
                                                                                                                                \


              OixJcr, Exhibit. A. based on die lollowing facts, fffiW Information,just terms,judicial misoonduct,fiaudulent
              grounds and discovered conflict ofpersonal investment inieccsts on Financial !>isctasurcs ofJudges and                    4




              officers ofthis Court ffixhibils#Bj Attached- Ui5. BANK Special SMon Pmoertv I htmI               H


              42JFM2filiJiblgs 9-1?,SECf«%s- IJ.S. BANK Florida Subsidiaries, Jodge Aim Fine Financial
I   •         Intoc^& ProiKf^DisckmresX
                                                                                       t                            a




                                                                     Fi
              Jwi6€JohmA.R^ FL                        ^ /xo        m FI Cad^Ju^            Guum WJHA /i

    4




              Judge Jose M. Rodriguez'must Recuse his self for an open obvi^ Conflict of Interest be^tse be"s
                        i



              doing business with US Bank and helping them' to make mon^ so that he can make money by
             foreclosing and taking (stealing) our property while acting as the Judge on the case on our property,
             not on case's Merits but for to make Ws and them mortey Illegally. Here's proof.


                                                              I
                                                                                                       *

                                                          a
                                                  4


I   •
                                                                                   t


                                                      >
                                                      t
                                                                  FACTUAL BACKGROUND

                                                                                                                          »



                $


    4




                    I       reasonable per»ri would question die Jodie’s inqjartiality,                        «
                        ‘ Fta. C*^ Jtid. conduct C«iw'ai(«. m.              m (HF m*%tmm tl3lia #> and sectsm assfAJ he shall
                                df^ual^ himse^m th0folhwsng csreumi:tci/^c0$>

                                                                           \

                                                                                                                                        j
                                                                                                                                    4




                                                              I
                                                                                                      *

                                                  4


I   •
                                                                               t
                                                                                                                                        i
                                                                               i
                                                                1



          USCA11 Case: 24-13671                Document: 13         Date Filed: 12/05/2024           Page: 431 of 723
                         He AfMm'x ^kafMe, miimsimdfy fir as afaimctrr. »r kisspem&c ur mmar       mkm
                     MaiimhoM, hm afhmteia!mw# m ike mbiici hatter m mmoreny ar m a|«ir/r m (he
                     pnKmdk^,armty(^Mer huerm that omtM he stibsiamiaMyt^elffd hy tiw maemm af the
                     pmceedaigs                                                    ’’                -   '

             .              "‘fltmwiai mteresf" meum o'wmKddp »ifu k^^t!or eqmmMe mieresf, krmvwr sm&it
j .                                                 6




                                                            COWEiSI®!'*
                                                ’       I
                    'lliis Motion for Relief by yacating oM» Ju«3grn«nt Florida Rate 2.f« P) aid Hecusal,w
                 'hi^       nw'fectSj,, related,to « whistle blower^s information* wWfiil folindnet^, ftaud^ ■
                           im



                 misconduct ad discovciaf evidence unicnow at Ac dine of Ibe origuml Gptmplalnt fillftg;:
                 ^lamtifr could not ri|8sonably “know the tmaneiti dealings with IJefendani'? of a yet lo^rte'.
                     assigned Jpd^ before-tie tm'ginal Corap!al|it fiafig As praviewsfy displayed by his *
                 (>nior,'dw to cited improper ffjauclai coaflicte of in^srest. Judge Jose M. Rodrigecz was
                  moapabfc of impariiaiiy and without aoimus a^nst Pro^S© Plaiptiff or to exweisc aeblascl;'
                 jifdicml dalles roqulro!for d«o processjustfe l|i tilis case*

                         Judge Jose M. Rodriguez has creditor loan history aM business %viih Plakriff IJ*S BAIMK
                 MCRS and JPMorgan that causc^ prcfoCTtiaJ Quid Pro Qm tiToatmctrt by his .suasporite review
                 3nd HsMJjyjgiMl               Jui^^e Jose -M. Rodrigusr has signiJitarai esposod liivostor financial
I                tenets in the subpoct maaer In mntroversy m<| with Piaintiil* U*S. BiOK:lhst wjlf.te
                 substefilialiy lic^rvely af^fed by the outcome of j|wi pioccodings when the Dercndaiil
                 '■‘aitimatoly prevails and promotfe in paid for adds In ihe media* Because people cm \ v/m wben
                 the Judge is on die jskfc? ortho Banisters to steal pnopeity and nsoney off their Prcyl
                 &



     fi                  eiaimjjte ofJudges who'already reused tiemsclves fern s U.S. BANK
           I. JUDGE DARRIN P. GAYLES Exhibit, F*
           2. Tl lOMAS WILLIAMS Bxhim 0.
                                                                                                             f
           3. JUDGE YAI*RRJE MANNO SCHlJRrs REduSAL Exhibit R
                                                                                                                    !

                                                    pQUlRED^ELl^: ■
                                                                     I




                         PuKUattt to Fla. Code J«d Conduct Canon 3b{1), Fla* Rule 2.I6C^ (A) (H). Fla* Siateto:
                 112.312 (E) and Federal Rates of|^ivii Prcfccdurc Rule dO, PlaiiUilfrequites Kelief from toe .ire.
                    2010 Final jisiBliCTtt.Q.Mg irahiMt.J.*.,hased ufiorj the sWod fiicts, jtM terms, cited:
I   e?


                 rascondudl. Rule # ptiuods and newly discovmrf baking real esijifc feud           courtofflcei^.
                                              ■ I
                                                        T

                 &
                    USCA11 Case: 24-13671                                     Document:
                                                                                 t      13         Date Filed: 12/05/2024                      Page: 432 of 723
                                                                                                                                                               ^.3?
                                     Said Ripening Reltef                            Jtetjuire the'wacttiitg of Ms o-ider aixd RecitssI ofJudge
I                        Valeric Schurr from ,{his md any fiiture njlalcd U.S.fiANE tenkiug real estate (;«{«;$ is fliis
                         SDIstficL llte|]femissai Otdiff Reliefalso requires that alhpaiti?^ be reinstated to their prior
                         positions In tills acticM(Dismissa! with Frejudicc) regairtng Cterk muance ofSummons upon&^
                        ^Defendants and allcyw the lllmg ofa Motion K> tilsjniis the FlntJ Jiidgmcni for          gi’outids
            fi
                         and reasons statev'


                        (
                                I
                                                                                              I
                                                                                                                  i                                t
                                                                                                                                                   *




                                    MAURICE SYMONETTE
                                      I5CS0 S. River Dr,                                            I

                                         Miami,1151,33167 ‘                                                                                                           4




                                                                           CERTIHp\1'E OF SERVICE
                                     1 illSEEy CERTIFY ttp;on this 2nil day,ofFeb.,2024 a true and rarrertoopy ofdie
            m
                        fonsgoing. was provide via Oils Ccnirfs efectroftlc filing ^stem to tiie attorneys ofrecord
    A   W
                                     o     • ■ •.■■♦   •• ■;■■   ■   •



                            ■for,;amQoritS'dy©.anci owmi'on same.mort^ge that was^dismisse'd with Prejudleeln former
                        casQ no; 07-12407CA01 Where ds. BANK could p«yer prodwolheppomissorY Moto, ihoygh they"
                        f^ere;asl<ed fay the Judge several times bvt never did bring it forth. Exhibit. L A judge eapfiot
            4
                        £liM!M^ing|,tef.Jgdgt's...QE5Ei^j Atid also ori to i S 20 m Judge Valerie Schurr is$y@tf «Judgraertt ■
                        order acting as a quasEdefense attorney for iJJS, SANK his persona', investmerit Partner to mate:
                        r^oney together. Drfeirfsm IMlJRfCE SYMONETTE has now siibsequentlv provided fte
                                                                                              I
                        States Department of Justice fOOJ) on specific newly dka                                      ‘   ‘' '.te liteweflinfj          .and
                        feifords regarding millions of dollars in exposed fraudulent foreclosure'dsifins made by the
                        ':Defendints,IJ.5:JAfliC, Clerks 3ri{|.ai,urtofficers inithis action. Exhibit, O, GMAC Also

                        ■doeg-npfdsrt

                                                                         €ERTfFI<i\TE OF SERVICE
                                                                                                                                           »


                                     11 llf?EBY CER.1TFV Ubdi on 12th day of Fefa.^ 2§2# a tree and cof*ac| wpy of the
                                                                           vta;i&'€p«rt’selcc^idjfjii%^ste^ to the attorn^i’of tcoord '
                                                                                                              6




                                    MAUKlili SYMONEFTB                                                   i;

                                         15020 S, Rivd'Dr.
                        A
                                         Miami, l!C331'67 ’
                »




                                                                     . I
                            I       ■■


                                1
                                                                                              I
                                                                                                                  t                                f♦



                                                                                                                                                           I




                                                                                                    I
                                                                            I


                                                           t

    I                           USCA11 Case: 24-13671
                                    A
                                                                    Document: 13            Date Filed: 12/05/2024          Page: 433 of 723
                                                               CERTWrCATnOF SERVICE.
                            a



                                              i HERE BY 0‘'R’l|jnf that m tJiis 20d day FdJ.,2024etrue mi coa^ copy oftit
                                        foregoing wa5_pr0vktlcl vialUs Corf» cisxtoJiic liliug'sjstcm 10 tlie a!toTOcysofKtaKj|^
                                            I                                                                   t
                                                                                        I
                                                                    ( ‘                                                         t

                                                                                    c




                                                                                            1




                                                                                                                    »


                                                                            I
                                                                                                                        «


                                                                f


J                                                                                                                                   t
                        V




                                                                    »
                                                                    f




                                                                                                                                            0

                                                           e


                                    i




        i                               I                 .1

                                            I
                                                                                        I
                                                                                                                I               t
                                                                                                                                ♦

                                                                                    «




                                                                                                     V'

                                                                                            I



                                                                                                     i. -
                                                                                                     [




                                                                            I
                                                                                                                        »


                                                                f
                                                                        k
            I

I                           9


                                                                                                 tt'

                                                                    »                                       *


                                                                    ' I
                                                           a


                                    A
                                                                                                     r


                I




                                        t                 .t

                                            »
                                                                                        8
                                                                                                                &               f
                                                                                    «


                                                                                                                                        )

                                                                                             I


                    i




                                                                                A
                                                                                                                        a


                                                                        k



I                           9


                                                                                                 t
                                                                                                 i                  I
            Filing# 190765395 E-FMed 01/29S024 04:06^35 PJvl                                                         ♦
                 USCA11 Case: 24-13671                 Document: 13 6
                                                                                Date Filed: 12/05/2024                       t^k?S
                                                                                                                Page: 434 of 723
                                                                                                           "J
                                                                                 1
                             m rm circuit cqurt of the ■
                             ELEVENTH JUDICIAL CIRCUIT IN AND
                             FOR MIA&4I-DADE COUNTY,FIjORIDA
                        . CASENO.: 2»2I:f<S^C|i^^ »
                                                           b


i           •            MAURICE SYMOW,TTE.
                                                                                     t                                   f
    •   V



                                                       »                                     *

                         Wr
                                                       ' 1
                         U.S, BANK NA'JIONAL ASSCJCIAHON
                         ms TRUSTEE.HM RASC 2CM)5AHL3, et
            fi
                         al.,     .


                             I
                                   D«fcndstk(s), ^
                                                                            /
                                                                            I
                                                                                                 1                  ft
                                          NOTICE orSERVWC ORDER'ORAKTlMODEJmDANTS-
                                            MQUMJM rnlM,m:maiMm                                      mMihmi ■
                                   Dffendattls, U.S. BANK NATIONAL ASSOCIATION AS TRUSTEE FOR R4SC
                         2005AHL3 fTJ.S: Bank"*) and MORTOAGE ELECTRONIC REOISTRATiON SYSTEMS,
                         INC. fMERS**)(w>ltejlivdj?, “Oefiadants"*), bf and ihroa|li ite Vndcrsigaed ccwascl, Mm%.
                        give$ Koiicc 0f SerYiag *e mrnm Order Granting Defend^is' Motion to Distniss Third
                        Amended Com|darnL                                            l;
                                                       »                                     #


                                                       ' MOSSMmSMim
                        .^         1 HEREBY CERTIFY that a ime wd correct c«py'ofthe foregoing was efectrortlcally
                        filed OttJanuary 29.-2024,.widr'the Clerk of the Ciictilt Court using the Fiorida Coam e-tltfig::
                        ei^ortai and served       automatic email genaated by the Florida Couils c^iing pwtai to :
                        Jtssica F. Watts,Esq., Q«inn Legal, P.A., imi US Highway 19 N., Sto. 512, CleanJtor, Ft'
                    .




                                 ,e.>«rvioc#qaifi«ltigal.<»m md kmil!en§<|utofile^,com I zlmt certify that, Irtacarcdas#;
                        With Fiorida Rate ofGcncm! Praclicc and JiriicW ^dminlsnsilwt2.5!& tf« foregoing dcreiimeat.
                        is being served «iii rsU pm se parties ideniSIted below by U.S. Maiil: Mr. Made Weils, 15020-S.,
                                                                                         )
                                                               ft

                                                           b




                                                                                     \ V-                                J




                                                                        <
                                                                                             #




                         I



            *
                    a


                            USCA11 Case: 24-13671                 Document:
                                                                     t      13        Date Filed: 12/05/2024                 Page: 435 of 723
                                                                                                                             t

                                                                      b
                                                              9


I                   9




                                     RivwJJrive, Mi,^!!L.33167 ani Mr.Maurice sjiponetie, 15020 S.liver PrJvCs Miwit,Ft
                                                                  »
                                                                  }
                                     33167.
                                                                                                                                                           a
                                                      I


                                ft

                                                                                           ILMlClOMKIUtP


                                     I                A                                        too S. Ashiey Drive, Spite
                                         I
                                                                                           Tampa,Florida 33602                                  f
                                                                                           l■ampa,FL3M®                                         ♦

                                                                              a            1'elephttRg; S13^255-2324
                                                                                           Fa&siiMlc: tl3-433-5352               •
                                                                                       I
                                                                                           Ml&’hmlR, Es^sita
                                                                                           MlCHAEi;R.ESFOSm)                         •    ’
    I                                                                                      Florida Bar Na-37457
                                                                                           MfcliscsiHsposIto^BlatifcRtwrsexam
                    a
                                                                          a                NICOLE R.TdPFHR
                                                                      b
                                                                                           Florida Bar No. 558591
                                                              9


j                   9
                                                          e
                                                                                           Nkote.T0ppGr@B!siikE,ciiiie.corti.
                                                                                                            f&r DefeMunis,               iLS.       BAM.
        «   w
                                                                                           mTlONAL A^OCMnON AS TRUSTEE
                                                                  I                        F(M*RASC 2$05AM13 ami MimTGAm
                                                                  }


                                                                                           ElECTmmC MmiSTEATJON SYSTFMS,
                                                      I
                                                                                           me.                                                             »




                                ft



                        0




                                     I                A

                                         t
                                                                                  I
                                                                                                        i                                       f
                                                                              4




                                                                                       1

                                                                                                                                          «




                    ■                                                                                        . . r;
                »
                                                                          a
                                                                                                                             6


                                                                      b
                                                              9


I                                                                                                                                                   t
                                                                                                                                                               I


        A   W



                                                                  I                             r   *
                                                                  t




                                                                                                                                                           a

                                                      I



                                                                                           ^    i
                                :mmwi5^i2W2a(.ivj
                        *




                                                          t
                                                     *

                                         I
                                                                                  I
                                                                                                        1                                       f
                                                                                                                                                ♦

                                                                              «




                                                                                       t
    Filing # 190I3S295 l-HIcd 01/19/21)24 03:2^:3S FM
        USCA11 Case: 24-13671                       Document: 13                   Date Filed: 12/05/2024     Page: 436 of 723 -&K.35
                                                                                                                              fcKj.-/} pg)'5
              IN THE CffiCUIT COURT OF THE ELlTijiiTII JUBiaAL
              CIRCUIT IN ANP FOR MlAMI-BADE COUNTY,FLORIBA
                  1                      «■ '*      "            ^          v...

              CASB NO*-202.r4lll>S26-C"A-l>f                            I
                                                                                                     a               t
                                                                                                                     t
              SECTfOM.-CAr^
              JUDGE: Jose RMriyycg
                                                                                    1
              MAUMfCE SYMOMETTE ..                           •
                                                                                                                 »


              Plalftlicris)
              vs.

                                                             >

              ms. BANK MATION^IL fSSOCT ATIOW CTR) et al
i                                                                                                                        $



                                                                                                 «


                              USIASIP[£j usiai                                                           IMI AMlailll,
                                          a
                                                                     iCa.MPiia.im:
              &

                         THIS CAUSE is before the Court on (1) Defendant’s WoCioii to 'Dismiss Third
    a
             Atnended Complaint With Prejudice f'Oefeii<Janl$’'''Moiiort”).' life Otart having
             coftsidersd Dcfadanf s^Mottou uad bcinf fully, advised on the piemises, hereby 'fimis as fiiltows:
                      T. OfejnlsKsalwItli Prejndfeu                     I
                                                                                                     i               f
                         Dismissal witli pri^udlfce is a severe sOTctien. See Okemcham-v, WiMimix 750 So.
                         2d 771, 772 tfla, ist OCA 2W0). The trial coiutshotiM gmiisuch relief only when
                         the pleader has felled to stale b cause of actliors and it conclusively appeare iha! ihc
                        ^ pleader cannot pa®5lWy atwnd fee pleading to mm n «isc of artion. id at 77^-73,
                         A dismissal with pr^irfica can coBsritsite'an abuse of disewtion where a party may
                         be'able to plead addiiionaLfects m siipfK>ft fe rause of acriott or support another
                               of sefioa nndej* a dil|crent legal the«y. M m 773 (cltmg          w ihrcMrs.
                             So-2d J217, J21S          2d DCA W8)), TiiSvfe.iml£»art .showid ftositaiefe
                         dismiss wifeout gk'lfag ihc pleading party mi opportunity to amend. See Kapkj*,-J 14
I                        So. 2d'at f 218. *                                             t

                                                     »
             f' krida tJep7                      sx rk aL v, S.B.^ 124 So. 3d 377.378 (Fta. 2d OCA 2013).
                                          I




    A

                     IBis CotM ha.^ provided Ibe Plainti# with'three opportunWes to file an anwaied cooiplainl, ;
             10 |af«goanf FiafalS*s |«)ocd«ral and sabsantjvc ri#ts. P!al«ilfl''s Third Amarided Compismii%

             dfemlssed for failiro to comply with the Court’s Order,,entered on June 17, leif, whfci’
                                                                        1                                            ♦


        Case No: 2D2l-0iO82§-CA-Ol                                                          S.
                                                                                                                             p*g« I of2
                                                                                    i


                                                                                                                                               4




                                                             I

                                                         k


J   •
                              1
                                                                            1
                                                                                                I                       f
                                                                                                                         ♦
                    USCA11 Case: 24-13671              Document: 13             Date Filed: 12/05/2024              Page: 437 of 723
                                                                        i
                                                                                                         gi><K.3‘5>

                          spscWeally sm&d %t PkMiff Ui twoty (20} days to m ef Third Arn&rnm CompMnL                                       4


                          Wamtifffiled Ws Third Amended Complalnl m July 19,2§23,pm tie tmmty(20)days allowed by
            e.
                         the Coiui Ihereibre,this is soffieient to dismiss FlalwUffs;Third Articnded ComplainL
                                                                a

                                 Mowover, the Dsfendswl has pmfferd prTOf that jadgmcpt has been efUered in few of
1                         U.S. Bank-in tbe-apderlyrng forecEoguio case.            because the Pluintilf coreinues to
    4   V
                         ^Isge conrfdsoiy feels, this pjiiit-rcasonably atnetodss feat fee Pfemtiff cannot allege ndiiltonaf
                         feels to Ktato a eau^ ofactiorf.       i

                                                0




                                  'TOIREFOEE,ft n OEPEEEP anil AWUMIED feal PKFllNl>Al?iT»S MOTTON
                         Is GRANTED with prejaiicg.':

                         DONE «mi OMPERIP ■i        in Ctarabere at Mfefei-D?dc
                                                                        I
                                                                                Couni^j Florida on this 1Widav<i^aiwara.
                                                                                                             .   ,
                                                                                                                         '
                         2Q?A.
                                                                        6




                                                                                 I




                                                                                            Urntr Jc« R6di'i|Be7,
            a
                                                                                          , . .CIRCUITcmiwt JlIBCIE
                                                                    a
                                                                                          . Ei^^:mmical)y Signed .
                                                            b


i               ’        Electronlj^lly Served;.
                         Erin Mho Eo:^ Quinn, k'inillcrt@qulijnlegaLe<wi             ti:                                     4



                         firm MucRok Qtiinri, es-cmi|>;p)quinnl^La>m                        *

                         Jessica F. Watts, csOTice@s}ufniilpgai,coiT!
                         Jessica F.' Walts. ioaillJep^qutnntefal.com ’
                         Michael ‘ Esposito, MB^posito@B!ankRonac,coni
                         Michel F$|M>sito, BRFLesei*Vfcef^BlankK,onie.c»itj ’ . '
                ^ .      Michaef^R Bi^ita, MkltE«l,]^-po5ito#8laiikl?om6.coiTi'
                         Mikael RE^osIto, BRFLcscrv ice@bJankr0fns3.com
                         Michael Rls|»sito,ad^cruzj@b!ankromcctwn .
                        Nffiqle ‘('opper, NToppcr@BlankRomeXOTtt
                        Mjeoie Te^iter, BRFr;»cservlce@blarslsroixic.coiii                      1                        f
                                                                                                                         ♦
                        NicoJc Topper,- salxrtiz@blankrotne.miri
                         masirke symonette, BigBOSSi043@yahOiQ.csfm

                                                                                 1



                        PhysMsilly Sferedlt                                           (
                                                                                                                                           4




                                                                                                     «
            8
                                                                    %
                                                                                                                    I

                    C«a Nw ;Mt2l-010ie&<!A*01               k
                                                                                                                                 P&^20f2
J                                                                                    t V.                                    t




                                                        '       I
                                                                                                                                       8

                                                I


                          &



                4
                                                                                                                              £xh??             S6(v0.i PS-I
                                             USCA11 Case: 24-13671                   Document: 13
                                                                                         I                  Date Filed: 12/05/2024                 Page: 438 of 723
I

                                        9
                                                 FOKMi                           FULLAITO PBBUIC DlSkXQSUKE                                                              2A21
I 4 W                                                                       ^ OFHN^CiALpqiaESTS
                                                                                     I                                *
                                                                                     I
                                                                                                                                                     m2im
                                                 HC^JtJSElWIUELfKSDRfSUS:'                   ^
                                                 CImiJl Court              •                                                                        mB^
    i
                                                 AadydG&ait^ItTfjJ                             'p.
                                                 EMedC^a^onslOfficw                  ■              0.
                                                 DADiCOIMTfCOURTWltSE .                             a
                                                 73 VK^       SfmSEF m 4«                                                          ID C02C
                                                 MMfillFL 33130           .1                             \A.
                                                                                                          m               I
                                                                                                                                 ■ mm..              2454
                                                                                                     I
                                                                                                                                                               ♦

                                                                                                            %                     .OTmCODE

        i                                                                                                                                     JosB Rtewl
                                                                                                              1




                                                                                             mmA--nmwmm

                                             Bsas®ai^gi®v^u5e©f^rMii«Hfe^ofOeee«tKsr3t,2B21srsm»cur»tt«m pjcte N«w3rttlst»tc|i-
                                             aii3»i W       ymy;     foMi|® tom3^js;Ha»fe?lassets,'m pb^see i® srsfejcfabits on p^eaf
            I                                      W pat WOfts m of                                  .2®              w»
1
            '* W


                                                                                  )
                                                                                                                                   «g36e£&ft48S.TM8 «9fle«3f »ciMste^ararc^tt6
                                             '                              J®"^**®*         MtoEBw af            awts»       Bontet^fe teMj lait ia^±K hwwte»               4i5r!l


                I
                                            ’4®SroJIN»!Blim¥VAy»'4TO«                                ’ '          '               ”                , :'
                                                                                                                                                                   VAUBOF'^tl^'
                                            Baii:A<;^wnt(ClsBe)     ,t
                                                                                                                                                          s M,mm
                                            CifyNstIwiM Bwik-ofSioofe                                I
                                                                                                                          I
                                                                                                                                                          $ J5smM'

                                            '^♦(Ctafemei ga'a gegaraie Sto)

                                                                                             FAKXC-OAraMniS                                               «


                                                           EPCCE^Oft $4,«5 0m feK*
                                                       ■   <mmMm                                                                                              AiiowT'<er8JwaajiiY
                                                              A

                                            Ijam Fingcoar Ssrcf        P.O. Borl7l$7^                    SfflD 2't297-CSl I                               I 7^425.00
                                            MIegsafes B^’Pkmcisi Semc^ jP.O. jSoxSS®, Cmal Steauw, UMlW                                                   s        moo
                                        9   UitiedWliol&ggfeMoi^^-EO. Boi?74»f^EwmMJ^2g                                                               ■ IIS0j454JO
                                                                                      T                                                                             T
                6 ' ^                       **(Gp«totiedMaSi|gwate Sbm)
                    I
                                            ,ieHyoriwo@ewaiB.kra[urES                           '                     »
                                                           ■nmmf^          ' '
                        I


                                                   X
                            i
                                        « -csfiW(e-gfcBS«»jte»x«?
                                1
                                                                          VJkO.


                                                    A—                     .»

                                                                                                     I
                                                                                                                          i                                    f
                                                                                                                                                               ♦

                                    I


                                                                                                              I
                                                                       !



            USCA11 Case: 24-13671
                    ■
                                                               Document: 13               Date Filed: 12/05/2024                           Page: 439 of 723
                                                                               mRTH'-MCCim

             atWdw »«U-«te».35 Jte te-#r«.tAes.8iree «f«u®,ra i» pt*,^ to'ite<£SS5                                                           '* ®

                                                                                                                                                  f ♦
             mWAR’rSQiJraorjKC^{fe»fr,ar«<#8® on p«S65K
                 !wm,gaq^cg OF i?»mg FA-j-CTMr.sifts                                      MiORfeSS OF SCtIRg nn r>»y»tc


                                                                                           ■s-



             3CCOKa«V SCWR<» OF ®ICCf^E                        w«!fS8«, c5£nt5» g&r„ of&fi/tKj®               bf reitwlis^ i3e»en-^»9,^@j|n^^es gj,            ^-' ■
                          ■ '.fttMg:
                                                          fW^EOFMWORSSUSCes                 .            «OI«Sa                               PPHSirraif mL«R«.-««
                        euSiNE^ emry
                                                          -^SSWKgiiNe^                                   o7g^                       1:1.
                                                                       I
                                                                                                                                      j.
                                                                   b



1                                            PART        I^TER£SrS IK SPSCIflH) BIB^ISSS Wmrnmrns m page fi!
                                                     - 8«S H|Ss smtTfM 1
                                                                                       €mn # a           mmm^ Brorr i-a ■. ■
            mmsf
                                                               I
            umm^szinm
            mam&s or"'"'
            BJJsargssBiTrrfy                                                                                                                                                 0


            PRI»«|?«,BUSfN5a9
            POSBi^HEiB’"”””""
            wi^eroiY              '
            i <st?.ia f.50K -mm a s%
            «fEttSfWTKE WM
            s^iWv}sa~rtiff                          A
            OH'HSiSHP ttfTEKEgT
                             I
                                                                           PAwr-m4*iWC
                                                                                                                                                  I
             msecHon appUes                to o@ros r§qy>red ta oat^o iotjeI 6&$                     py»«»l tese?^ imi42, F.8. [See feisWfcjpisp 6|-
                                                               TOATI HAVE COMPLETED TUg SEQyiRES mAiilWS,
                                                                                 STATE €»?ax^J£» ,
                                        OATH                                   . oouwrrc^     iA.*^*ysf -                                     “
            f. th5 worsen wtew fSTOo, gjpaois aj                                        te Cet at fpu@d| s«rf ipAwiteiJ fcafere rrv b/ nwartt fit ^
            b«S(!Miitg af ife tom,       stejwso »i osfe 0- sfisnrssaw          ^^iTVste pfrtsaw Cf O wlfiS iRjSgafesfe'i, «& .1                    ^ tfSf #
            &«f ^5r '5h3l ll» 5afaras?#« ^selesai o« Pisi Kna
                   m^:m          fc& teate fa ftw, aminte.
                                                                       t         JJi^                agZi-Bitf                Ql
                                                                   k
            eni5                                           f


i   m



                           'Z . pi^^                                                             t
                                                                                     T^e, ^ femp Ca«iiafcs!W8bl*                                                       ti
                                                                                                     *

            St               OF ireWPHTlMiSFEwi,' OR                       ^   Pswjtsb/ }fec/«n                      OS'

                                                                               Type d fcoflCScatfurt Pwdwed
        II3 eam'&srf pubut a^smfeat ticerssfid aider, teapter 473,
                                                                                                                                                    fera fef                isr



        sgl^i44,
        i.™
                                                          ite tei«is« te tlSSS w 5S?SSdJ^SikSc£d5r^ 55!?S :
                                                    . I


                             * # ^Viptoa                                          T*"                     t
                                                                                                          1
                                                                                                                                                    ♦
                                                                                                                                    Siii-
        P                                                 wattoM
                                                                       a^g^g^gicwfe^igmre^iW^yg^los^ifeefoTOMiders^
        -                         parts a YHROirgH E Am C'OKTmiEO OK A SEPARATE mEEZ PLEASE CHECK H JCRE B
        cswiTgriiSSigl^^Sa^^^                   "                                       —                                  ■
        t(Kffi««3S&yri«38W»>l fca 3««?,'1t ^AC.                                         i




                                                                       t

                                                           #
                                                                   b



I                                                                                                t
                                                              I                                                                                  &
                                                                                                                I



                                             USCA11 Case: 24-13671                          Document: 13    4
                                                                                                                       Date Filed: 12/05/2024                  Page: 440 of 723
                                              2022form                        andfufollcOisdosyrecrfPiiiaftciaf.Interests
                                                                                                                                                          rlie^ d'lth COE:0i/2g/2§2l                4




                                              Assets
                                                                         i;                                                                          «



    I
                                                                                                    t
    I

                                                                  ^^foil^ni,rf mi h*fer}nvesae«tpuw^  ^        »their
                                                                                                           jewelry;   BMr«gatei?aiue
                                                                                                                   «jle<ai<ms        ©scBeifeSi,«O.Thfe
                                                                                                                              dfsamps,                 c*i
                                                                                                                                            and nufB!s«;Mi® fterm; art'
I   I
                                                                                                                                                                                       «


    ' «                          ^
                                                                     ^e^f^wentana fomfeWnpR cteHtieg;dthcr              and vehia» Fqr         S2», wheter amid
        I
                                             The aggnegaa vafueofmy hsusaltaWjpj^'gfd pw«l
                                             ASSESS iKDlVSDIfALLV VAUJED ATQVfeR.$3,OTr' ‘
                                                      A
                                                                                                i
                                              DefrcriptJQOtrfA^iet                                                                                       ^m.
                                         4


                                              a^5W'128atCourt, Misiii,Ft 3«i6                                       $?S0^JW
                                              capec^iifeitsi’Karj^g m mm4'im$42 mb'                                 ■$4S,CmOO
                                              Am#wraft.R«seHrtH,ydrht aafe.»nderalrwum -fImetere.
                                                                                                  S2,tca.oo
                                                                                                                                                                        f
                                              tcrgOOCwse^ Higlrow. ICsy mm FL'33037 . •                                                                                 ♦


            ]                                :eanfcAcEe>Mwt:|eftia$ejs                                      4

                                                                                                                    S.7CJP.53.0Q
            '

                                              City Wonal Bank of Florida                                            mmmm                                                                   ■   ■■



                                                                                                                         A
                                              Vcsyg
                                                                                                                                                               .1
                                                                                                                                                                                                    4
                                              litA
                                                                                                                    $17,S3S.«J '
                                              florida EntiernaBotel Uniifgr^tv 4(HJ£                                $47,4m8a:
                                     4
                                                                                                        I

                I
                                                                                                b
                                                                                        9


I
                I
                                     9                                                                                                                              »



                                                                                                                             t
                    :♦           *


                                                                                            »                                                0


                                                                                            '       1
                                                                                                                                                                                  $
                                                                                   t


                                                      «



                                         4




                                                          I                       .1

                                                              «
                                                                                                                I
                                                                                                                                                 1                      f
                                                                                                                                                                        ♦

                                                                                                            4




                                                                                                                         I


                                                                                                                                                               (
                                                                                                                                                                                                    4

                         I


                                     ._ PdfiteifeorotheBsridaiWMSS^Bi
                                                                                                        I

                                                                                                k
                                                                                        9


I                                    9


                                                                                                                             t
                                                                                                                                 ■u
                                                                                                                                                                            t
                                                                                                                                      ;■ •
                    •I ^


                                                                                            »

                                                                                                                                                                                  «
                             1
                                                                                   I
                             I
                                                      I



                                         4
                  USCA11 Case: 24-13671
                                                                            ft

                                                                  Document: 13                      Date Filed: 12/05/2024
                                                                                                                                        .g?ch         f.a • ^
                                                                                                                                         Page: 441 of 723
i
    4   ft               FOEM i'                            _FIILL                         PUBOdlMSCl.€ISlME                                          ' lii©
                           |kW orfetf* ytar raws*,ota3fe§
                               30»»aig ftMas, m>4,pamasi
                                                                  pw FINABCiALIMmmSTS                                                 iFOSOFRCeUSEOte;             '■
                       iMI fttiw--.Basr 5«M» MiaDLtmBE.                                                                         J
                    fSodngwaz              ■JQ»'                                           tenuel
                   ' Ma8SaSADraES&
                    Daie County Coyrtt»iis&                                                                                            FLdlffi
                    73We^FlagtefSireet                                                                                          US»
                      cm:i                                 7T    SP;                      CCnWTY:
                   Mramt                                        3313a            '
                      mmCtFAOemCY;                   —                 ———
                   1.1.^h4«d^cia|■Clraitt^
                   ”lSi60P'G^Fice"0R WTi» HEto'OTWew:
                   Ciroitt Jodgt
                                                                                                    X
                      oraarTutssAFiL^GmyACAirtK^Te                      O '

                                                                                         PABT^wKET«»ORF«
                     P^^rthet^»Off«r»twrtftS|i^D6i»^er3t.202ior8TOf»eur45r,t£late
                     oted by        yc» fefio!isdmim& from ymr wpmm »s6js,» pSfepao mB mi |l%te fM we*
                                                                                          rnslrmms      i$ r«i344 Ml-' '
                                                                                                   m -page
i            9
                               m mt worth as af Pecdntef 31                                     ■"28^0   ^sg737»5M.0Q
    0   V



                                                                  r*
                                                                   »    ,                 r«JB-ASSlCls‘’
                     iHayai«0iS®KKDS:«iaPa®«ffi:Eff:"i!5:tP                       ■                      '■
                                                      8#KpMfes iftaIWR? wnif B»i?                                    wi»gt«mfe Si.eas tt»                w®f


                       Ttm a^mm mm «f r(y hoiWsM jfM#& i«d pwarof «Mest»                                      is s 30,000,00
                    A^SfS IJgJiVHJUmXT WWEB AT oyes $1,0852
                                                                                                                                                 Ymm.m
                  Bar&ATOunt(Ctegg)- ~                                                                                                                 ,00
                                                                                                                 X
                  CIt NatioesI PanR # Fteda'
                                                                                                                                                2^832,00
                  Vdya
                                                                                                                                            . t$332,2S9,0C!
                    •CCdnfemetf <m a                        Sheet)

                                                                                     PAirr c --'1,1AiiLifte
                   WwMtWra Hi EWKS » *1.(!M C8a« bmmtstiam m                              4f,
                                      »«»lgA^©A{»Bra50FCI»M8                         '
                                                                                                                                              Ammrm'mmm:
                  jigguf..g'^angW $eivte^,.p,0. Box 17.787. Biliniom, W.212S7-0511*                                                          $13,365,^1...
                             8^02 Fln^elal Senfetsf, RQ. i&>x S20&,.Ca«5l Sti^im, il §0107                                              * m $,4os.w;.:
I                 Barife of iiimeifca, Rof^sic 150%. Mnctofs. BE imso                                                  '    "     “          $ $mm
                  ^1^ttnugd'in'-a$epai^&Stoti
                  jQwiKiiSSiu«SiiiS^Ti^                                                                                         ——.
                                      WMm Am Atwsssop ewanrT|s                                                                                AMOWOFittStlW;



                           A


             fi
                  ■ CT", «WS    EStefa*       «. 30»
                               »ty »ssm»i»i»FMa »«0«jLPAc.                                                                                                     1



                               I                           .t

                                                                                                                 i                                t


                                                                                                     I
                                &



            B
                USCA11 Case: 24-13671                                      Document: 13                      Date Filed: 12/05/2024                                 Page: 442 of 723
                                                                                                                                                                      &h-D3f3'^
                                                                                               RAWrP-II^COMIH

                      <tfm ^V!»»saafmm                          &« mftm,                 #» ms,totelate, mi*twj«iX <>taa5»isaatm                               SSatS'«
                      851^B9'mximrrn. ®a,ii»few »eqiiw itmn        fce pasJaiSilg tft*                                               ts&sJJg,                                       !J|jrtiiHiW6Be&sia
                                                                                                                                                                                «
                      B rsNWtIu’gleacapyESirv SKSfgAsrSlittcawtexreSumg*!
                                                                                             ts» taswift. mifi«Ki «3                        w«®its£S«flr R»rj0|
                       mmm «ysK» of komib^s**           p3se%
                      -   or gmucEffiMcofe mitBmiit.ooe •                                                    ^BFJSS Of SQyPSEgUKSQgli:



                 .SSCOflOARfswmogs m ISKWaS jl*pr a»»iw«.difeia eic,di^n»»s CWWWJ isss ttit&flaK S«saft»s!Dc-tiaw«»® «if»(Hge'S- "■ '■
                                       NAWiOP                          ■N^^%*fei3€l®yW:5OTFSi:S:i- .,                            •                            •■        r^S'®IPAlBys»lgs&
                                    jyS&gSSBNTmf
                                                                         .or-^imm^m>m...... j                                ^                               r V
I                                                                                                                   fr
                                                                                                                                                                            a



                                                                                                                                                                                     $
    •   V




                                                                                                                                         {toresifcm «a ipafe 61
                                                                 ,    &JSttgsSfm<iy«t                              SMSlK5-iSSF?ITnY#S
                                                                                                                                                                                                            « ' -:
                  .Biisirgsspv-nirr
                   APC»^SS OF
                   KJ       Bitm
            B
                      i.gTiVfft
                  “wrSiTfto”'”’”*'"'
                      WTi-i BtrffY

                  IfgEHggT m WE- BUSifiSSS
                  ■immnmm. ,. - „
                      0WEww!«6iir
                                                                                                     1
                                                                                                                                                                                I
                                                                                                                                                                                ♦

                                                                                         «

                                                                                              f.«Tr-TMimCr                                                          ,                        '"j' " '
                      ttsis ®§e&a ej^s cs% 60 effiow rsgi^ to wrnpim gntuMf t^rnf pursygaj ta ssam mSW, F.a |S« wi&m&am p. e|
                                       B ^ggRnPTTmTIHlAVECOilPifeTCSBIEgEQUillEaTRAiyiMcg,                              , .
                                                                                                                                                                                                                     4
                                                                                                  ssaj^OPn^Mm
                                                      OATH                                        ttSfflwy.or-
                      1                                 wf^am atlSft                              ^It to ^^ «teo« wa.                             isg»»«» &? CTwns of
                                        Qr8as.fi!Msi. dn'stepsjwiSR'oaiji of aSiiaK^n.            SpftjBas* piwiw® Sf Q                         (»*!S(liafcs, !>&
                      sm^ipm P» mmm^ cfeRfei'^d CO fei$ tciTO
                      wsS Of^aatOynwite iw«t» ^                   stjotafe,-     ^                                                       , aoSL w'^&.y<h                a
I           &




                           -
                               it' . ' .
                               .f.: *
                                                                                                  eilfrtiwSS H'Siy PiMo-feteS                                                       >




                                                                            »r
                               /■                                                                        Type, sr Sasa^- Cssnannii
                                                                                                                                                              P^w^S«®9a««
                                OTR£0?R|                                ORSWStf&A're
                      •V                                                                                                                                                    *>*>
                                                                                                  f W»       KfflSaafiow WateM

                 Ha                                                   w»rCf»^ter«>’3.                                                      m mmm B»pi53K»«s this feim«3f vmi, !»<»
            B
                 slifiiauslc»^?crt3?h9W®5itng»toteiK«al'                                                 •     ’         ,                                                               .         ■■   "
                 (.
                                  -M ^ o«           a "•' aatosga.^i^
                                                             —        B» mm^m wsm few.                        ^        ® ^ «e«&!its »ttt!
                                                                                                              bj^- ^fewrrtrfeitimtei^     An 11, Sm. ®. FlorMa befein ® ta®
                                                                                                                                      awteMt,                                                                :
                                        I
                                                                                                                                     1
                                                                                                     I
                                                                                                                                                                                1
                                                                                                                                                               M0


                               ^■■■■■■■“■■"■SwfiSSS^SBSiS^SiSSiiii^^SSSii&SiisSSSBSw
                               ]PAI»jVWmST^ATHftQtrCil EARS COMTiSHEP ONi^4 SE-|»Afc«ra:^aiEET. W.SAgK CHECK «gRg Q
                          W,* 8 * !«*»*<« jKKiaifr

                                                                                                                                                                                                                     4




                                                                                     i

                                                                                 k



J                                                                                                                  1

                                                                            I                                                4
                                                                                                                                                                            £>rh.'?5 34n.mip().l
                      USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024                                                                                                Page: 443 of 723
                      FORMS              FULL AND PUBl iC! DISCLOSURE                                                                                                                   m9
                                                                                                      OF FINANCIAL INTERESTS '                                               nmomcEummvf: "

                     LAST NAME-rjftST^IAWE—acmel«4D
                 R-odrigtite'                       Jos8                                                                a
                ' Wll.tJOACORS&r^'"
i           6   Dade                               Cmirftoase                                                                                                             PROCESSED
                                                                                                                                                                                          t
    «   ^                                                                                                                                                                   njMCft
                 BWestFlagletpSte,
                .>Pi.....   -■   ■




                : -.errif::                                                                     ZIP: ,                             COUNTY;
                 Miami                                                                       331 ao                                yisini-Oad©                             mt^m
                     KANtftOFASOJCY:
                 liUiJidfclalCtoM                                                                                                                                          mmmBB
                    Hms -OF OFFics^ijn, posiiton Hajs m sc«»rr -.
                'Circiiit-JMtIggi
                                              B—                   i|,.li.lHHWi>i|i» I   ,j, 'IWIWfflUiJi twiwiwwaeacteBWWMi

                     Ckkok if mis IS A Pa.iN0«Y a ON^pATe g

                                               ■              •                                                    •           lWrA-JiSE?W01¥M               1                       X
                   Ptease «lsr Ete-Valwa of ymr net wortii as of pKe®!r*ef $l, 2<irtf or o rftom'airfenf date. |Note; Met Y«rtb h wf oM-.
                   oyisled by_ subkaefey 3*10' mpgsi^ MaMWes from your mpenied Kssefe, so p{e8« se@ the tetnjcfloos m page 3lf
                                     My net worth a$ of                                     DsMlfer'Ii .,                                i 20         w» $_ ,.5592,413.00


                                                                                                                                  mirris-ASSETS
                   !®USHt»t4S 6O0B® Afiffli pe^OMAL. EF^OTS;
                                         gnd |M«^a ateiit     fe erjiwtel R »flCTp »m p»sir           «£*>» ww*         Tf* GSttaai! tKfMtel.::«« «f i»
                        tea»sii_^. £ M r,m tor wvestewi pwp;to»         colettisfo ct daises. g«iA ««jw,;^fe,tes5r gff ol^s; h3s»steJ<!             ^m.
I           6


                        Tha                        ■asius ^       ho:is«»&a goo* ang pcs wns? eftes,                                                     5 30,(W04H)                      t
    «   V


                                     iraWmLLr VMUro AT O^R $t4pcj
                                                                        OPASSgf                                        ^fows’lpHois ra wtaBred » scB tosiiwitigws- d.4I              VAUISORA!»lgr:       ;:
                Baak Aceouat (Chase)                                                                                                                                             $ 50.I.48.M          «    .




                aty INadgaal Bank of Florida                                                                                                                                     $ 24,793.«     ;. . ?
                ¥oya                                                                                                                                                             $279314.ro.-     .
                **(C«it!0i»a on a Sqpwate Stef)
                                          I                                              .h
                                                                                                                               PAKTC-OAttlLITfES
                 UAfi5U«& m ka^ of $ijtm                                                     sssiwcite                         ps^ Af.     1
                                                                                                                                                             i                       f♦
                                                   HmsMmmmms.fsPiimimm •                                                                                                         mourn or umnjtf

                Lcxbs Ftnawy ■Ser¥icgs,-R.D. Box 171^7, Baltimore, MD 21297-OSI1                                                                                                 ■$ i$,S3aooi
                M^oed» Beoz Financial- Services, P.O. Box '5209, Carol                                                                                IL 60197                   S Mli,672-C»
                Bank ofAipcrica, P.d. Boa I5<^4 WHirwo^oa, PS 19850                                                                                                              :S«6,5S7.«
                                                      $ S^^iate Sheet)
                ,NSW¥ AW ^Vtfw. mSfalTIES S30T «gf*C«TEB ABOWit
                                               tmm. mp aqbrbss of oaEPnoR^                                                                                                      ■ AM©u«r»|A«trriF.

                                                                                                      T


J                                                                                                                                                 T                                       r
    •   ^


                 tj«S!Sm»s»«                         1^ iRvte'M.S'KaiSi l-A C                               I
                                                                                                             I




                                      t




                                          I                                               .i
                                                                                 I

                                                                            b

             USCA11 Case: 24-13671                                $■
                                                                       Document: 13                             Date Filed: 12/05/2024                        Page: 444 of 723
i
             l(tef.i%e^i                       {W8WKflT}Q«ii!HKm^v-i{chs«B&&S6dSt.€aodOT^®ep». M£iS>§&a«»«f^*we»fesf i«w». Of
             mt Oit mr 2W$                wfrT# tax taium.           ^             Md              PteBs'ratetf smm w wcoiri rwnliM- fesla®
             sitsetW’H^’Simtfrd!un’is, 5K ite.{»s9q«csit^$&<fe3uw^ti»als®(5es%ii»iht-Co«wi!sjo!!*swcfa*5 .         ' '                ' '■
             ^      I    to Ifis a Cl? f»y 20 W tefefal insinna Csn; r.^!iim_CCTt aS s«ls®gijJs5, 9<^ 25fSef1»«a5^
                    in ^ m:<» tm-imixa »*i«*('»espy oi 2w«iw reiiTO, fw rnmm empm m tmmmroiPm o.|
             P®SWfW SOlflSCSS OF {X€tX (Set ItasCwct^ns on p«a» S>!
               M&Mfc OF SOUKCfc OF iNCCf4r EXRFBDOjG S1 .COO                                                   jftoos^ss OF soiiRGe or ncome


                            T                           TT


                                                                                                       eibmnm^ emxit s^y■t                    ^tgw-soj »ctlr;«S»t?g. fjftt{>5^© Si
                                I

            ■,seCtt4aARY swffttsi op tsiCOMe fieipf                                      cfesi^s,
                            W«£CIF'          .                tm^ m- fe*w« sx»CPS-                                                 mmss                             retiicimttusfNESs
                   iryjSiraviSS mmr                           1 ■ ■sp:,.ai4»ffi&' ticxiSE, s;                                     tyscHj»:F                         ACtMTY of aOotecK


                                                                                                                   I




                                                 PAftr K - l«iTK«ESTS IN SPKTIFiEB BySfNE$SE$ Itostwttsw«s5                                                  6|
                                                         BysiMg8$?»niY#i                                           BtlS«BS,BgHy#2                            Bi tgticcss'Bfreyiia V,
             mmvi-
             Biisipessshotw’                                                     I
             AEQSgSS«:
                                                                            b
                                                                  f


I            P8»CClFAl»4StCSS .
             ACWffY
                                                                                                                       l                                                      X
             i5S®’Hi'iir“~
             wnxENTffy
             t CWBC MORE WN A 55i. ’                                   #                                                    !®.
                                                                        f
             iWeiEStttl'THEm^tKESS
             WATUREOFW
             CRfA«RSHS» (NTERiST

                        4
                                                                                         -   PARJF-TR4«NIM«
                                        Par orjcers re^jjsedl is> cf«ipfets anouat @tl«g teirdns purwanl to ^sefejo 112-3142, F,S.
                                           a 1 CgRTIFY THAT i HAVE COiaPLETiO TOE RgOyfREO TRAtMlMG.
                            T                                                                       SWISOrfUORiBA
                                            OATH
                                I

             I, 0!9 pmCK A"j!«Se,BSll»&aj»fAWatrt5&
                                                                                                    eSMOTOF JlMgdLJi^                                                 „i
                                                                                                             to ftfcfcKs#’;»KlsJDKc&^tef<TO TO byrnaam of!
             tasgiMngolfefe                                                                                        »w>»»Q‘s^mrnmmrn,»is IMk                                   «fty«sf

                                                                                WUSt          -
             and                    /
                                                                                                    ■CS«^8tir3'af                        of RStfSsiS)


                                                                                                    fPmx type,         CitBfTp WrwitawBstf «s«w cjl               PtMc}
                                                                                                    PwnKmiXf¥smm^             ,          ® P»«*s«S                        i£l
                                                                                                            of JitenfA^ssfen P^rexstea   Fv > Dt'*            *

r                                                s iwnsea cmae# CSaplBr«?g, or 3!«sune*/ Wi^octswin-f wtb tte Raf»a Bw pngj^asS {r.s|. fe?*ni twwu, I® w
    •   *



            *'—:        —                                              t                     ,pn5p<iifpi|tt«CEFe«»®foa»sdsi!C®w#!AitltSBEk.8.rt»aa CarmSMmn.
                    112.3144, Flor^f Sl@teC$§, mi                i0St%clitp {» m hm Upo» piy fm»SB6i|fe                                        fflrf bt&i. the erafesaft hei* is tose
                                                                                                                                                                                           «   . .




                        S
                                                                                                                                                           0*9-
            Preparaiian of fids fom by a CPA or alfemey <facs mi rril^vg <h» iler of Ibe reggK^^.liily to gjga the fe nr HBier
               ,• IF AK¥ OP parti; A TltROtXCH E APE CO«TlTOEJ> ON ASfeTAifcVrE SHEET, PLEASE CHECK HERE ^
            eg FCfWe- Oistiw iarwF ISfiU                  &                                                                                                                             m6E2
                               f Bito 3«Jmi K

                                                                                                        I
                                                                                                                                   1                                      f
                                                                                     c




                                                                                                                   I
                                        i



                 0
                      USCA11 Case: 24-13671                                                Document: 13                  Date Filed: 12/05/2024                      Page: 445 of 723

                                             I                                        .1

                                              %                                                                          X
                                                                 i.?!:
                                                                                                                 rs’ll


                                                                                               '"WpmwM\l/inr-^ssts,ssi                                         ^ . exh.3S
                                                                                                    DetesP'- • • it              PII^SU                    ^     -.
                                                                                                                                                                          ^sxh-El "                              4



                                                                              ■■:i»
                           ■f




                                                                                                                                                                 »




1               9



         . V
                                                                                                    ggKigfngBBiitaa Closes,
                                                                                           I
                                                  ivf
                                                            a-
                                                                         ;i
                                                                                           f


                                                                                                    lAtoM.8tel1i»^S®W                                                                              »

                                                                                      0



                                        *r


                                                                                                                      TtertfiW i» w«^                                 .
                                 ■:v.        1.                                       .6             i;   P5C»k^ ffiit an triiwfeiis^ US.
                                                  -;•

                                                        t
                                                                                                ■ &!t»p SPPSK «1*r SMldh^^tS                                                   f
                                                                                                                                                                               ♦

                                                                                                  etHfWiii iH#^ i»Fte;‘»ipiSr Qwttr

                                                                                               ■ ti» U^tm\&                      fei.’^grtt^^s
                                                                                                     tspl-fed is'taffa iws €te«l y ss^rc^                                                                        4




J
    *     ^


                                                                                           ».                                                      »£te-via.^

                     L-f)                                                             «




                 >
                                                                                                               us-»                           *«   i
                                                                                                                                                       j
                                                                                                                                                           pr'-.,                  i.




                                             I                                        .1
                     :^-

                                        '/
                                                        I
                                                                                                                 I
                                                                                                                                          &                                    t
                                                                                                                                                                               ♦
                                                                                                                                                                                        •f'

    I.

                                                                                                          4




                            r:
                                                                                                                             I

                                                                                                                                                                          49
                                                                                                                                                                                                                 4




                                                                                                                                                                                              '■




                                                                                                     »
                                                                                                                                                                                                   V-:-     •«

                                                                                                                                                                                                       ■t   t
                                                                                                b



1^             -■f
                                                                                                                                 r
                                                                                                                                                                           9




                      International Ina. ViacomrR«i inr Rant nf
                                                                                         t




                            USCA11 Case: 24-13671
                             K    —           ... .   d                 Document: 13                 Date Filed: 12/05/2024        Page: 446 of 723
                                                                                                         I




                             Voya VARIABLE
    I                        PNC.financial Sai^lces Groijp ■,
                             Inc, McPotiaid's Corp, Baxter      4
                                                                                                                                                          a




                                      «



                        a
                            -insider
                             DRcamber 2S, 2Gi!                                       %
                                                                                             ffT' >rt:
                                                                                                                                       -M
                                                                                                I
                                                                                                                     I                      t
                                                                                                                                            ♦


                            In tliis article;
                                                                                         *




                                                                                                         \



                                                                                                                 t                                            i




                                 €                                          RCL                                          GSCHX                      TMO
                    8



                                 :.t1:i04S
                                          : ✩                                                       ✩                      «   '




                                                                    f
                                                                            ^■d“.84%
                                                                            :: bR.r; ;- ■                                -0.43%    6

                                                                                                                                                    -134%
                    9


                                                                                                             \                                  t
        «       ^




                            Investment company V-oya VARIABLE FUL^ ' S
                        ^ (Current Portfolio) buys PNC Financial Services
                            Gropp Inc, McDonald's Corp, Baxter                                                                         ' ^
                            Interhatipnal Inc, ViacomCBS Inc, BanR of *
        !

                            America Corp, sells Fiserv'tnc, Citigroup Inc,
                            Activision Blizzard liic,^nincoi^r^-jj '2
          Constellation Brands Inc during the 3-months                                                                                                    j
    J
      ‘ • enclec!.-2021Q3, according td the- most recent                                                                                              A




        r ' :
                                                      * #               '        I
                                                            4


                                  A




V                                         I                 .1
                                                                                               I




                          USCA11 Case: 24-13671       Document: 13    Date Filed: 12/05/2024       Page: 447 of 723

                          Busii^ssi                   »
                                                                        t

                                                                            «
                                                                                                     33 5^.£3
     II                                               »




                     fi
                          US.

    •1 •
          V ;■            BMW to Issue New Cards                                         m,


                                                                                                                                s

          ■■■




     •1
                 »        Experiences, Greater
J
     .:;v



     •:l •
                          Value to Customers          I
                                                                                                           I




                                                      I




                                             I
     i



         i Julf22, 201% 11:00 AM EOT.
                                                                          - ....                       f       ' ..
                            U*^. .pink Sfiters^ Co«‘bra,n'ci 'Aireement ifth Bii
    .^ 1  I
                          to' issue 'New Cards iltti- ' ' '                     '
                            Enhance# M-gt tat-E^cpeHences r :Sreater VaJliii.
                          to Custoiiers                                                                                         4 .




     : !

                          iusihes.s "lire                     I
                                                                                               »


                                                  f
                                                          k



j.
     - ilNNEAPklS: -- July 22, 26l9                                                                        f




                                                      ' I ;       ,
     3}                   U.g. Bank,_ tfae,.-fifth-large,st bank, fe the                                                    $




                          United^States, has entered’;Into a
                     'co-bfartd agreement with'Bii Flhanclal.Servidii
                          WA., iiLLC' tO‘ tasye ..credit cards                                                        : ^




     i . 'l

     I
                          that •wil-l delwer enhanced ■digital expertiariddi

                                                                      I


                                                                                                                                4
                       w

                                                                  ;


                      USCA11 Case: 24-13671                               Document: 13                  Date Filed: 12/05/2024        Page: 448 of 723

        :}
                           X
                               I
                                   t
                                                  US Bslnk owns b'mw fin,ancla! serviop X
                                                     .:H;-
                                                                                          6




                       All              News:                     ?/sspr>                             Images                 Vidsps      ,j-(Oppir<
                                                                                                                                                                  4)




             ■   •




                               lTtlp://www.ct¥pll§y.org • bmw-fme...                                                                                         »

                                                                                                                                                             s
I
                      glW Financial Services, NA Enters int^
                               "Brarid Agreeinent with US Bank to .k
                      ^ BMW Financial,Services NA, LLC announced ioday a co-
                  / brand agreement wRh U.S.'Bank to offer new creSi't
                      cards featuring an enhanced digital experience and                                                                              /'
                                                                                                                                         49
                                                                                                                                                                  a




                      Boothe Memorial Park                                                    9 9 9
                                                                                                                             4
                                                                                                                                                      I •:

                 0

                                                                                                                                                      >
                 ■ ‘ Sun, May 15
                                                                                  I

                                                                              6


I                                                            0,
                                                                                                                                                  $
         V
                                       ■ ■ *>



                                                                          I                                    )■    *
                                                                          ’       I
                      PeppJ^afso ask                                                                           I ■

                                                                                                                             'r
                                                                                                                                                             I*




                      Who'ip BMW firiance^^^^^ by? ■                                                                     i
                                                                                                                                              f
                                                                                          «




                      Which banlT^BMW Financfal Bervfc^?                                                                                 4
                                                                                                                                                      w
                                                                                                               H;'

                                          --•'V



                 0.
                                                                                      I

                                                                              k
                                                                      f


i                '                                                                                         t                                      t
    -




                                                                          »
                                                                          ’       I
                USCA11 Case: 24-13671                                            Document: 13                               Date Filed: 12/05/2024                                    Page: 449 of 723
                                                                                                                                                                                         <»
                                                                                                                                                                                                                   •9




        e,
                                                                                                •I-
                                                                                         •{>'
        9




                                    WBM i                               FBiL A?IO feSLIt PiSCLQSUBE OF
                                                 ^                               1 ya'ANClALIWl'aEStS i
                                                                0                                                                               t.SB©>f»V
                                                                                                                                                                                 I ’,f   '*"S.



                                            Sr-«is^                                                                                                           >!9C3«B^
            J                                                                                                                                            ■«
                                                                "W-                                                                                                  i

                                            '*irW * -iW.i-'              ft ■**
                                                                                                                                                                     I                        Cd,
                                                                                                                                                         ?

                                            0®S» v»P»j £*.,i!?ss^ Om »»*?, ^                                                                                  tax:               2tc«a
                        I
                                            t'3B»                                                                                                        !

                            I
                                                                                                                                                         ^    Z’iM
                                                                                                                                                                                               f♦
                                                                                                                                                         f f »at SKs#"
                                                                                                                                        %
                                                                                                 .    6

                                                                                                                                                                                                    I

                                                         - ■■       ■    ■       •                    ■   ,   -VtiVX’-’VWV^fK'
                                                                                                              iBK vr^-^nen^rm tw


                                                                        wsy*»J» ,»

                                                                                                                               9^B»
                                                                                                '£
                                                                                                                  PARf 0-^«W.
                                                                                                                                                                                 i

                                                        arid^.t;.^.-fegfea^fe?#g                agr?egsaJS3^j&&a.g^ 3^ *»


                                     ^rnmrnmm

\
                                                                                                                     miimm

                                                                                                mm,
                                    ■j— I:-^^S^SM.'=aj|c=„z=.igp^.sgs=,.i=j=saa^
                                                   MW                                                                                           »m


                                                                                                                                                                             I
                                                                                                                                                                             iMMm£M&m
                                                                                                                        wmmm.                        1
                    A
                                    I        f
                                                                                                                                                              ^


                                                                                                                                                                             1



                        I                                       .1

                            I           t            :#ftsRis».ai&^j.: 1. ■■;•■;■■ ■ ■ '                                                    i
                                                                                                                                                                             lm:^Jm
                                IkkE
                                RTOW
                                                                                                :j&ii
                                                                                                      I

                                                                                                                                                                         aai^M
                                                                                                                                                                         M



                                                                 .-■,,           -,v                      Ll^d:
                                                     s» .!i».wgs:g;^<gcsgr^                                                                                                      a«»;*gm»gy                         4
                                r




                                                       c
        0
                                             V-          ^                                      *>
                                                                                                                                                                                  »
                                                                                                               i^sss^im^ ss* grnsam. ^mes
                                                                             #
        9


                                                                                                                                t
‘v


                                                                                     I                                                 *
                                                                                     t

                                                                                                                                                                                                            -■.X

                                                                                                                                                                                                        »
j
                                                                0


t                   A




                                                                .1
    I
                            I
                                                                                                                    I
                                                                                                                                            I                                                  t
9
    «   '*

                      USCA11 Case: 24-13671                                               Document: 13                            Date Filed: 12/05/2024                                               Page: 450 of 723
                                                                                          I                                                      6




                                                                                                                                                                                                                                                                    •«

                                                                        4


                               d




                                                            FULL AND PUBLIC 31SCL0SURI OF                                                                                                                                                     2ffi»
                       FORM6
                               (
                                   I
                                                                                                                                                     11
                                                                                                                                                                                                           .;vfi
                                                                                                                                                                                                                               ♦

                                                                                                      «




                              ll
                               KSf> V^Jsiife R. ?*3r»»
                                                                        . ■:• ■

                                                                                                                 prscpsse:
                                                                                                                                                                                            SCsSi
                                                                                                                                                                                                       »r'f
                                                                                                                                                                                                        fls
                                             Cr@3ii (IITBI                                                                                                                                                                                                                       <$


                                C5«?KSC«^^ti^’S«»’‘OSssi
                                                                                                                             CSwcKW        :
                               73 IS FLASIEP ST                                       COUNTY COURT*-                                                                                        OfW iaw

                                1ia                                                               I                                                                                         P a-K CV^
                              ■• mm..fL 2J153                                                                                                                                                         A
                                                                                              6

                                                                                                                                                                                        U^mn Saiiii. Nfi*'-
    *   ^              ^mm # wu %*f                            AcaraSays O                                                                                                                                                                                                   4




             k
                                                                                          I                 rAEf% •NET^.'Wlp

             5
                                                                                                                                                                                                                                                                    I




                               &                          «T                          al J^k:x:U~ xLJ^-‘ -----                                 Lj^L^ S ,
                  i




                                                                                                                                                                                                                                            t^.srz.1

                                                                                                                              I
                                                                                                                                                     «
                                                                                                                                                          ’     '
                                                                                                                                                                                                                              f
                                                                                                                                   )                                /               i
                                                                                                                                                              y< »•

                        T-g t;_;;^'i5»              c* n-y "• ■»•               ‘- -
                                                                                                                                                                                                             B                VA. yEW              ^21
                        A-*VS iSIJWMNf VAtl® *T 8W» ^N«f3
                                                                                                                                                                                                             UiSisaUs*.
                                                                                                                  » !®.
                                                                                                                                       t


                                   fr >c ^
                                                                            't i\iC\hL^                                                                                                                    . I       ^
                                                                                                                                                                                                                          A
                                                                                                                                                                                                                                     <
                                                                                                                                                                                                                                         MSUiS
                                   1
                                                                            '     i                                                                                                          A
                                                                                                  ■       y - T ^ t t_i
                                                                                                                             l£^.J4Za.rl2i&                                                                                   cuSli
                                                                                                          .V:      . -^*>;
                                                                    1       f
                                                                                                                                                                                        h
                                                                                                  »                                                                                                              -




                          »                    « *                                                                                                                                                    ‘4

                                                                                              b




                                                                                                                ;''%K» ii.                                                                                                               f


                                                                                                                                                                                                                 r   ftSgJf-tt ^ iA85^
                       ttcp.w^rjs isi wc£» 0? «'* .S-TJ-                                      !3!t^                                              #
                                                      iwgt                         &?,.                                                                                                                                              i. ’

                                                                L^i-^y /IXZXcliuu                                                                                                                                             • !'
                                                                                                                                                                                                                                                             ft •
                                                                                                                                                                                                                                                           ^ '
                                                                                                                                                                                •;1
                                                                                                                                                                                I
                                                                                                                                                                                                                          J


                                                                                                                                                                                                                         '^ri
    I                                                                                                                                                                           $
    I                  ,Jr\A’-k.. <‘"iiiY' »!Uyu4. i'^'' .7rAi"i/l                                                - .1^*1 > ^a£4.i,.I... Jillla                             1


                  »


    I
                        .uwr ^x- ssTPio. y«sy^^ w f nzpmffm asc'x
                             I      (rtig «o*SOKS&c? cafyr» •                                                                                                                                                    ' '♦■'^T'..i£C2y^'j?Y

                        l^i,l T-l
                                                                                                                                                                                                                          I
    I                                                                                                                             .)


                                                                                                      d


                                                                                                                                                                                                                                                       I
                                                                                                                 iiar%^A-^9 art ««ww                                                                                                                                     I
                        ef Fc      ’   r-’*" "’vT
                                                                                                                                       I



                                                                                                                                                                                                                                                                                 d
    I


                                                                                                                                                                        *
                 8.
                                    0




                                          USCA11
                                              I  Case: 24-13671
                                                             .1                                                    Document: 13                      Date Filed: 12/05/2024                                                    Page: 451 of 723
             •a
                                                                                                                                                                                       1                                               f
                                                                                                                                                                                                                                       ♦
    I
                                              1
                                          «■*
                                                                                                                                                     ■ i\ - rHK
                                                                                                                                                                    * Jl DFilL^I-CMCLJ i CN,A^1)
                                                                                                                                                             ?>»>
                                                                                                                                                                    sMECOI-^-TY.FLORJP^ ^                                                                                                 «




                               •,
                                                                                                                                                    iiENESALP. ^iSMCrOXiJMO^’                                                                   r

                                                                                                                                                                                                                                                                      #i
                         • 0                                                                                                        I
                                                                                                                                                                                     C*=iSE              vV
                                                                                                                                                                                                                           »
                                                                                                                                                                                                                                                                      sS
                                                                                                               9
                                                                                                                            b


J                 ■J'3                                                                                                                                          4p«3; l^tp                                                         «



                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                                                  :■ .r'^
                                                                                                                                                                                                                                                                      :: -
                                                                                                                                                                                                                                                                       ■.




                                                                                                                                                                             )
                                                                                                                   »                                                             #
                                                                                                                                                                                                                                                                                    ?:
    • L
                                                                         V«./-                                     ’            \                                                                                                                                     ■■ -:4:
                                                                                                                                                                                                                                                                  »
                                                                                                                                                                                                                                                                                   J' <
                                                                         Lemr
                                                    I                                                                                                                                                                                                                              ■'a




                                                                                ' .OtU3«OPJeMBS4l-'»-m>’KKVDlrt
                                    fi




        •t
                                                        I


                                                                                                                                                                                                                                                                             ' •    ?.




            f                                                            Si W » W fci                                                       ««»!.!■!» «.to. =l»"’-4                                                            ,                    I




                                                            ■ •                 |j0^£A!®OBSER£I5s:ii.j»f&twS.a»^3s».msJ3*c' .•                                                                                                 ^                                                          4



                                                                                                                                                                                                                        >41
                                                                                                                                                                                                     /       ■'

            'i;               . a    ••
                                                                                                                                                                                                 u       1           4?M
                          »
                                                                                                                                                     r::

I                                                                                                                                                                   t
                  V
                                                                                                                       ■;                                                                                          2*3P
                                                                                                                                                                                                                   yiHSR
                                                                  1..;             ■'i   .•>                       »                                                             «
                                                                                               I   v:
        ■I.                                                  4-:' 4: ;
                                                                           ••



                                                                                                   a';
                                                                                                               ;   '            1
                                                                                                                                                                                                                                                                  a

                                                                                                     i


                                                    i
                                                                                                                                                                        4:



              (
                                                fV'
             I                                                                                      .1
                                                        «
                                                                                                         r-'

                                                                                                                                                                                     a                                  s              f
                                                                                                                                                     1



                                                                                                                                        4                                                  :’{
                                                                                                                                                                                                                                       SI                   ■@'

                                                                                                                                                                                                                                                    I   .

                                                                                                                                                         I


                                                                                                                                                                                                                  m c,;.; Wi>«)?7S'':i
                                                                                                                                                         i

                                                                                                                                                                                                                                                                                          4




                         ■ .. 8&27244 Pt41S3GFN2CllQS237iSS«A».^QlO: 12 #7*’TPg"i‘of'f l.&Dade C«y, FL
                          #


                               f
                                          ■     .             : ♦


                                                                                                               9
                                                                                                                            b
                                                                                                                                    ■
                                                                                                                                                                                                                                                                      I
I
        •         V

                                                                                                                   »
                                                                                                                   '            I
                                                                                                                                                                                                                                                                  a

                                                                                                     a
                           ■••4




                                         USCA11 Case: 24-13671                                    Document: 13                           Date Filed: 12/05/2024                                 Page: 452 of 723                        :y
                                                                                                                                                                                                                                                      4




                                  0

                                                                                                              t
                                         "B                                                                                                   e^H-33                                            .
                                                                                                      t


     I
                     *
                                  • /*K                                                                                                                 *
                                                                                                                                                                                                                       f                     :S




                                                                                                  f       n                                                 „rrL




         I
                                                          Lvi^*nk,                                                                                                                                                                  0


                                                          " ' -■ ;;:pif.j^P«:        0


         I                                    «
                                                                                          ca.se                            .

                                                                                                                                                                                  r
                                                                                          X
                                                                                                                                                                 \
                                                                                                                                                                                                         {

                                                                                                                                                                 S;'-'

                                                  I                                 .1                                                                             Jlii « *a«               W


■:
                                                          I


                                                                                                                                          1
                                                                                                                                                              i
                                                                                                                                                                                                        11
                                                                                                                                                                                                        ■'
                                                                                                                                                                                                                                                  r




                                                                                                                                                                                                        : -:U»

                                                              Qr»RT«M|AMIi
                                                                               Bf&steWS.                                                      I
                                                                                                                                                                                               ^ s.
                                                                                                                                                                                            .4. 51 ^                                                  <fi

             1
                                                                                                                                                                                       (4
                                                              MsiaiaB

                                                                                                                               1   is   SH                                  *
                                  e,




                                                                                                                                                                                                                                        I
                                                                                                              0



1                i
                                  &'


                                                                                                                                                                                                                       t
                         -.v




                                                                                                                                                        »
                                                                    Qmmm am>
                                                                                                          I                                                               ;f?5

                                                                   ■ i.         ~’., t-l!- ■- ■ - ' ' '■'
                                                                                                                                                                                                                                    0

                                                                                                                          ■^3:« k te 5Kfc^«
                                              1               'twig w          ® Sami'S* *ne«^8 *                                                                    in ilX^B. MARK. ^'Et.l.S'-
                                                                        2
                                                                                AGC«S5a&>»f®eC«?^’S5'S^,**^-*' i; tacA
                                  ■fi.
                                                                                                                                                                                      s^hwS'* J*'- ••-'-*■
                                                                   jMKCNCRCTTSitAFAfi&fEVT CmPORATWK Cint -C*t^ V€*i.t> "^tlAMt.
                                                               f'TJ.
                                                  «                               ';i

                                                                                                                                                              1                                                   f♦
                                                                        S. .     .W>

                                                                                                                  «



                                                                                                                      I
                                                                                                                                                                                                                              1

                                                                                                                                              i         Sef'te! ^SS«Si5« ^
                                                                                        ?c?crs2t«®
                                                                                                                                                        B0C4?’«^                                    I
                                                                                                                                                                                                             -0
                                                                                                                                                                                                                                                      a




                                                                                                                                                                           iff-
                                                                                                                                                                                                             • rA.
                                                                                                                                                                                                                 mm.\m
                                                                                                                                                                                                                       .!
                                  0_
                                                                                                          1                                                                                                                !'^vi
                                                                                                                                                                                            0

                                                                                              f       k


     I                            9


                                                                                                                                                  t f                                                                                        I


                     4




                                                                                                  »


                                                                          CPI^ 2OTG0451IBtI OTWffiOlO tS-32:32 Pf 1 d 3 fc&DaJt G%f. fi
                                                                                                                                                                                                                                   '>

                                          Sk 27343 Pg                               I
                                                                                                                                                                                                                                    0




                                              A




                                                  I                                .0

                                                      I                                                                                                      I                                                    f♦
    *   V                                                                                                                          t


                    USCA11 Case: 24-13671                                      Document: 13
                                                                                   t                               Date Filed: 12/05/2024  *
                                                                                                                                                                            Page: 453 of 723

                                                                     «


                            4
                                                                                                                                                        .33 £xl,.H ^0-'2-
        k.                           4.          H* Naiis* «fLi» r«»3« fiW b?                      jjmflr SPd MWKiW a                      ikMk               4,ft!: 4\JS




                                                                                                                                                                                f   t


                                                 SK.iIi?KS5» M,«0-IW« C».NT,-,RCK®*

                            iar«t*ijK f«B»«I «*»« ONw W »■«*«*
                                                                                                         -essswl >*■                           .2®®’* *•
                                      f     ■    Tberwiri

                                          Mi fee af «» Hamm: fcrof er
                                                  Tf» Pi»myf T«p«» «rt »«                                                              t* TeaamHwtte M Ptetarff »d ‘
I                                     «


                                                   <|«|1 fee iafc«fea*«i m ihtir ptow                                          t                                                        «


                                                                                                   « yijw-n-DADfe c«>. PSfs**^ a» _                                          ^ «<
                                      oovf ajnd miX9xt> i|
                                                                                                                                                        e*.

                                                                         , :5«io                   «




                        4
                                                                 I



                                                                                                       "v h
                                                                                                           |l.i -' i-,- '.'■'l^'
                »
                                                JUII23S*                                                    ^nr^^iSosoSlS
                                                                                                       vAijte
                                                                                                       Cirai(tC«

                             CcftaiB tfemalwl i».      .
                             FfeHKfe 0*SiioiliL**Ofvup.V L
                                m. s@* mm
                                Ti        jpteiid* ]Sfe£:>$o!t
                                                                                                                                                    1                           t«
                                4J        ia«RiM
                                                                                               «
                                Rpma*-!
                                aWAC-CWV                                                                                                                                                    I

                                                                                                                       I



                                                                                                                                                                                                    4




            t

                                                                                           I

                                                                                       k


I
                                                                           *




                                                                                                                           \


                                                                               »                                                       #
                                                                               I




                                                                                                                                                                                                «
                                                             I


                        4




                            I                               . I

                                ••
                                                                                                           i                                    I                               f
                                                                                                                                                                                4
            9k 27343 Pg »5o'CFN 20l0046t678 07/06^10 15 32 ^ Pg 2 0f 3 Mi8-0ade Cly. FL

                                                                                                                   ii


                                                                                                                                                                                                    4




                                                                                           »
                   I                       .1

    0C5   USCA11 Case: 24-13671                      Document: 13                  I     Date Filed: 12/05/2024
                                                                                                         1                     Page:f454 of 723


                               miMUl-DADl COUNTY CLERK OF THE                                                                  Usi
                                                                                                                                                 '1?
                               COURTS                                                                                 4



                               HARVCT8UVIH                                                         —
                                                                                                               ONLINE SYSTEM
I 'CIVIL;,family and probate courts                                                            t

                                                     »                                               *
                                                     f




               t
                                     : ?eCI7.®tt40I.W-01
     A
                                                                                                               □k|7
                       St««C«l»
                                     , ,320OfCAOt2««XK>(Wi
                                                                                                                                          F-a-taBSure
                                                                                                   amnv*'


                       I
                                          €40SM>                                   I
                                                                                                         i                            f
                                                                                                                                      ♦




             UPartiB*
                                                                                           I
                                                                                                                                     ■satMm             a, ■»•



             S^OoOtaKS
                                                                 I

                                                         b
                                                 A


I
                                                                                Efilry     TyiN                                            t




                                                     I
                                                     t

                           t




               «



     A


                                                                                                             OfGmJlRO»0«S»«»»^‘ _
                                   Olrt-K^CW
                                           . I

                       (                                                 T*Kt
                                                                                  I
                                                                                                         1
                                                                                                             mmi j!uo«*«t»*T m nmsi-m^^
                                   oirnFf^                                                                                            ♦

                                                                     *



                                    0«»7/3Sn
                                                                                           I



                                                                          hrf*ic««A»<or.



                                                                                                                                                                 P»9»



                                                 A



I                                                                                              t


                                                     »                                               A


                                                     '       I

              «
                                                                       I
        0C$      USCA11
                    •   Case: 24-13671                              Document: 13                       Date Filed: 12/05/2024                   »
                                                                                                                                                    Page: 455 of 723
                                                                        k
                                                                *


I                                                                                              fi£mt              to           %jm OiWR 4 mt^m


                                  • 0SWS!«ito                           Wwnmto
                                                                                                              t                                 Exhibit 75 6Xk.??
                                                                    I V!K*«-
                                                                        3,^™b4|I
                                                                                                                                                ExhJpg.2 e.AV\j9^''
                                                           «            rm           ■
                                                                                                                  RfTO 08*6«NM.HOTt m> M0BT6AG*.                             *


                                      ornttem^o
                     4


                                      0(^r^2m            273*3®»*9- 0*310«*r
                                                                                                              . »;2maP-.W»*VA»T»i0.OI*M»Sl»;c>il
        '1
                                                                                                                  S(kyE.RElEASC US Ppi}ENS,fTC~
                                                                                                                  iifvs!iosn«7»fO         C/«,CA«CCi W«SClO*UI»
                         I
                                      wiseKOia           .%                                                       SAJJi,fTC.

                             i

                                                                            Rrs»i 0«»w«*0« '£««*»,
                                                                                                                           I                              t
                                                                                                                                                          ♦
                                    . •oe/Jt.'joK!
                                                                            t>SK*jm«rif
                                                                                 t




                                                                                                   I'wwl
                                          WW^ai©         5S7244:*I»I        C«wKOPShfr


                             jjj^ ^maoot                                    fast                   £»«»           smam mm twai m wtosKamoN with «tJiiracf
             ?
        C>|                                                                                        K'««M           TO WMrriw Bawo«By.MTW to str»e o«,..fto
                                     'cmmcm                                 i36j«c1in»i:
        Hr
                                                                                                   tverti          TM»t IHtTIf M**             TO B®»et«8AN:T,..fTO
        fik                               C«MC»r?iX»
                                                                        k
                                                                                                                   i>»0M tmcm imts « mswss ts t*cx » i«o^cwt«>n
I                                         mmMxm                             itSt*FOf

                                                                                                              \                                               $                  «

    b


                                                                                                                   fl6»(tW»5»«U.*TO                 mm mcK c# i»rosecot>o«
                                          W5^^»C!6                          S:«r«of
                                                                    »                                                  »
                                                                    I




                                          owit/aoo?       jf«44-0542         Oauffmm                               Btt 25»««    o»w owwaawo r»eclowhc mt                     $




                     «


                                          oar»«aoo?                          mmta
                                                                             Pa(!s*aiie«w


                         I                               .I                                        ■ fww           PWHSftti:

                             (
                                                                                               I
                                                                                                                           1                             f
                                          •owiar^^eo?                                                              TO omMt
                                                                                 «



                                           mnmooy                            mem-.                                  Arr^8Hi#*«i« s«T A»«            M*m wcowsbsebi8t*'r

                                                                             f*«* •                 fefWti

                                                                             »(N»c»#5»»


                                           omsmmr                                                   C«i«            mm j«N iwswcsT,wiBi^T vrsMorr-r <sr               UM*f
         $

                                                                             I
                                           i)«^4pioCfr                        C»rwft6*t»0»                                                      »


                                                                »       ‘ MMr^ fiwi
I        m


                                                                                                              t                                               «


                                           ommvof                             (MirtttpfWiBS-         PwBfft         iMWwwrr Of*»io«wts bu*f►«> w»f*c
                                                                    »                                                  *

                                                                                                                       ORMWWL Mmmmx mo otmmAL note
                                           C«jfl3a007
                                                                                                                                                                             *
                                                                                                                                       TOi»»
                                            oe/is«ffl7    I
                                                                              turn
                     I



                                 ■<$*»>



                         I                                .t

                                                                                                                           i                             f♦

                                                                                 «
                  I




                                                    USCA11 Case: 24-13671                                     a
                                                                                                                           Document: 13                               Date Filed: 12/05/2024                       Page: 456 of 723
                                                                     '■fl.       ■'                                                                                                                                                         • i'."



    f                                                                                                                                                                                                                                                                         f
    «;■                        >f'
                              /" - . •
                                                                                                                                                                                                                                       0CH .3>'3
■ fe
                                                                                                          ..I
                                                                                                                                       •3:'..

                                                                                                                                                               I                            I                              f
              '       r                                                                                               ¥■
                                                                                                                                                                                                       ¥
                                                                                                                                       d                  '■_ .■■ \                         ClRClBll^^eOPRT'm THE
                                                                                                                                                                          - 1 •-.       .ffibiemi^:^gpx:£Tr IN A>iD
                                                                                                                                           :X   -S.



                                                                                                                                                                                                                                                                                  ,t




                                                                                                                                                                                        ■ . £ASE'\0:'2»65"'G4a“-cal
                                  I.
                              »

                                                              ■ ■;■ ■• . '3^                                                                                                                                   A

                                                                                      KSl B&ftc                        t
                                                                                                                               b

                                                                                           tsistiffis:?
                                                                   yf
                                                                                                                                                                                                                                                          »■ .
                                                                                                                                                                            t'                                                     4
                          V




                                                                                                                           I                                                            *
                                                    ■ ¥''r'
                                          ,• .:i.

                                                                                                                           '       I
                                                                                            'SefendaMfSi
                                                                                                                                                                                                                                            »   .
                                                                                                          X.


                                                                    '^4
                                                                                                  ORDER OFJlSMISm WITH PREJUDKB
                                       fi.:
                                                                                                                                                                                                                                                                                  ■N
                                                                                         This Eciioo '■xss heard nn the defeEdauts tmuon ta dismiss for lade of prosemaon                                                                                                              1

                                                                             I        Ssn-ed m Apri:.ilflyf4. The coon fkds-dia (llnotice prgscnted.by rule L# |e,l
                                                                                      Was served on April \ I ™0<}S; c2) their was m record activity for die year preceding^                                                                    .... ,..;,y:, ..■....^■

                                                                                       Sifrvjce of tlie foregoing notice: |3) no sfey k-s been issued or approved faj' .ihe coortj
                                                                                       .And i4) QO par!}" has ,5ho"vfn sipc-i cause why this action should remak pending.                                                                                              9-

                                                                                       Accordingly,               .                                                                                                                     I
                                                                                        IT IS ORDERED That diis aciion is Distoissed ibr lack of Prosecmion wim Prejiinice^
                                                                                                                                                                                                                                                              ■1   •




                                                                                        DOTE aTD ordered ta cb^Ur.. si Mfen,. daJe cwb *h-tnda ‘his 5TT *r ^ -
                                                                                 • ; !via*stlv 2i5k3                                                                                                                                                                                       a




                                  0,
                                                                                                                                                                                            A
                                                                                                                                                                           catsltTrsit !aSg@
  J                                                                                                                                                                       -t.
                                                                                                                                                                                                                                                     ■#   p-

                                                                                                                                                                                                                                                          *




                                                                                                                                                                                        «


                                                                                                                           '       1
                                                                                                                                                                                                                                            «
                                                                                                          I


   :■'                                                              u,- ■




                                                                          I
                                                                                  »
                                                                                                                                                              I
                                                                                                                                                                                    •       i-                             ?
                                                                                                                                                                                                                   ■   .   !   ■
  i'                                                                                                                                   4
                                                                                                                                                                                                                                                                               ■ i



                                                                                                                                                                      I




  ;;;


   •I •
                                                                                                                                   t                                                                                                                 f-                     .?■ >-

                                                                                                                                                                                                                                                                            •¥:
                                                                                                                                                                                                              «,

                                                                                                                      f                                                                                                                                                        ir-


          I                       »
                                                                                                                                                      i
                                                                                                                                                                           t                                                   t
                                                                                                                                                                                                                                                     .
                                                                                                                                                                                    I
                                                                                                                                                I
                                                                                                                                                                                                                                       ♦
                                                                         i


                                                         USCA11 Case: 24-13671                               Document: 13                              Date Filed: 12/05/2024                                                Page: 457 of 723

                                                                                                                                                            1

•   I
    I




                                                                                                                                                                                                                                   ' &cVx.-^
                                          »                                                                              I

                                                                             Case l;ig<!i-2^ll*DS’f5 Dsot^ftwS |3'»B0enRSDfte«slP3t'^C'>iS                                                                                         ^ 6>ch.?
I                                                                                                                                                                    \                                                                                       «




        I
                                                                                                             »
        I                                                                                            I
                                                                                                             I i»riTes?.TAfES6Jmij€:TcolBr'
                                                                                                                     shtTagRN T.mm.cforfi^»r?A
                                                                                                                                                                                                                                                     I
                                                                                                 I


                                                             t



                                               y^\                             ■T.



                                                                               ap»im?eoniiiiwy»ifeo                                                                                                             ffl .5
                                                                               m B^’KNAltD'iAl                                    .       .-;
                                                                 I
                                                                               jp^'fOBaK mm wmi                                                                                    I ,Kiiif»i
                                                                               cm. A ixiomic
                                                                               .tL«CWASSS,TJ't‘r»                                               «                                            I'sSSEl&s!
                                                                                                                                                                                                            M
                                                                                                                                                                                                                                       f
                                                                         }     KENN'FfKKJC r^iiK-f
                                                                                                                                                                                                                                       !
                                                                                   resiRAKf; w:                                  1V r.j ,,


                                                                                                                                                                                        m
                                                                                                                                                                                                            r.T,>AE                             4^




                                                                               '         fwsaas PjOsirf ftite »f C',-:*-                                        fei? m, P-rbmS C«f Ef.r- m te* ^ rfw                                                             «




                                                                                                     f0i             t R«»1'»ia‘Saps«l-^ ^rnmOjiit                                                          As-’ ie', Jlfft
                                              a.
                                                                                                                                                                                                                    »-0l teed
                                          *
             I                                                                     ftfi ttetfilfPo'Sg wsa, iw laaffB-j;!*. IheiJ                             &o4;’«.u
                                                                                   >4!®sfliwBi4 sss^ir: w' 'pc‘'S!»3l !'fc*#sfaws tfijssitf @} Fftoi etai DuslEwra;* ^ 3is^                                                  MM-
i                                                                                            s^ftiJSS rjisal I »»E .4W»A«iWP ‘4SS¥K ?^*SEa %« &Vr« -W                                                           fteS^ t-W
                                                                                                                                                                                                                                   0



                                                                                                                                                                                                                                            f
            A,                    ^
                                                                               '^WJSE# ga^ 4i «S,»« »te •®-l3,_$EC                                                                                   EaKxi.aa»«A %>te.
                                                                                   flwwai iwr.<sa^                               ^Klwawji                                fi


                 I
                                                                                                                     I                    p«,n; Ai B*.fKCftooN»
                                                                                                                                                                                                                                                     a



                                                             «                             feji ffl» 4>f                         4v toIbiict ef W«33J tM                                    tefe® »*5 »» £&«?'
                                                                                                                                                                 ^            ^     _                                ,         _
                                                   «

                                                                                        : Ifc CmtrJ^                                      is$m insi.« t'&K^ ?*■&»?                              fc»i?}«4 b?
                     I ,
                                                                 I
                                                                                   pfsftsjft>|3l Jwfitetiar twoa.?!fsJ riT&afisj i {)'a atos mi ffci ?sa*K«i»                                               swAds te- 0m
                     !                                                             awt ts 'sBj.-'iaiSiiE. Q} & jt'ifWi wW                           MMsajr eS tt » ««»« »54s^ sJSg                           tht*             k
                                                                     i
                                                                                   «S!>I'JUafite !«!«!»,                                                                          Tits S.          P-, 4*                              f♦
                     ■i

                                                                                                                             a




                                                                                                                                                       Hi
                         1'.                                                                                                                             I
                          I

                                                                                                                                                                                                                                   ♦




                     :|

                                                                                                                                                                                               *
                                              a.
                                          »                                                                           I
                                                                                                                                                                                                                         a
                                                   ;■!
                                                                                                                 h
                              I                                                                          9


1                • I

             •‘;-'
                                              9

                                                                                                                                      S

                                                                                                                                                                 tv                                                                                      «




                                                                                                             »                                                           #




                                  I                                                                                                                                                                                                              a
                                                                                             a


                                                             A



                                               0


                                      I
                                                                                                                                                                                                                                 ft

                                                                                                                           6


I                                                 USCA11 Case: 24-13671                                            Document: 13                               Date Filed: 12/05/2024                                             Page: 458 of 723
                                                                                                                                                                                                                                                         $




                                                                                                                       »                                                           *


                                                                                                                       ’       I
                                                                                                                                                                                                                                                                 I

                                                                                                  I



                                                                                                                                                                                                                                                     1


                                             a
                                                                                  Ca» ta#«v-282a4-i&re “ESacsimesaS Ss»^«»Pf^&«3«iW2*Xitt SSEt^zeU.
                                                                             Vi




                                                          I                                      .ft

                                                              I
                                                                                         rew'd » «                                 mnwy fe?                   fisVwJsm w4 Wss jimtssJ i^'Y-si’irl '♦ijstn.’r..                                   f
                                                                                                                                                                                                                                                 !
                                                                         ;               mda&i%V5                                                                                                               , ^
    I
                                                                                               »- rtewiff Ensl»®» fess -p^ jrfs!se^i«rti|^ fi»i#wS lio 1J®il«!.SKrtii                                                         .raft ^iS'-
    f
                                                                                         4sr.» ifSMKJJj                                         &«!«««{ tviusUi^dimcr i«fejiaate>» »tf                                        rasr^k
                                                                                                           EittS{Ji<S:s        a!kiii»i& <a'il0ltes B                    iejMsts                                      s        sv iH
                                                                                                                                                                                                                                             «
                                                                                         Se/KiSssJWita Ct)i»!t(iffcws- E                                                                                                              <




                                                                                                                                                MiHWAXBWt OF I Al->
                                                                                               Hje                     E^jSsiar ijwriv C-wj^swAmssA d#.# fiwss AH riy'^s IN' ftitte SI'S I'eJIitf »
        !
                                        a,
                                    p
                                                                                         ’«4'» 7165 s«J<Kt fcsffimi fisit E3r,«st ikr           fe> fcAsd*- 41*. w-y snsaeryJ fct
                                                                                         Si%jwa«a srS re.-abK Jjiifej 6jvJe> rewssi IfW# s® fKparf Biai« esRlii» «? Iw«ffe

I                               '       9
                                                                                          ■            ®           '       *           '^-’j             • " ' ",         '    „                     .      *
            '»
            I
                          ft>
                                                                                                                                                 ite^WiSi?, ikdJ. (rikw'a^.^                                      SiJ                                    t
                                                                                                                                                                                                                                                                      Q




                                                                                  i ,!                                                                                             '
                                                                                                  ' ' .                        I ^
            I
                                                                                                                                                                                                                                                                 ft




                                                      A
                                                                                         h) m*^(k0(<mr^f(‘v(^s,i9(k0. wiiMmusde^ft^^iH’i,                                                                to¥#>wsV^»(zmJ'N
                t,


                                             fi




                                                          I
                                                              ft
                                                                                         iii                d jwsAw# {E.«i? &A-                           A« Wfek                  a^-wwM/ foW- .-»ss(,'N Wiwa',,                                *
                                                                   »:■                                                                                                                                                                           !
                                                                                                                                   «


                                                                                                                                                                                                                                                             I

                ,!                                                                                                     *w'AisM/as/isaur                                                    .&£■.!"              ’ .

                                                                                                                                                                                                                                                                          4

                                                                                                                                                                                           jaa^22lM,22ltfifs


                                        a.                                                     A fesS»s3A4E!i^ sa                              » n*me Sm^pwa» «» ?81’ S.C\i **5                                  iw® g PHai,
                                                                                                     fe.JswBiiisjiwej!.'; in.' “isa)f yr5<»3ir^                                                                       fej:2S.A<3f !>«f
                                                                                         ipaAaei V                                       »j?»i^B eiWissi »                             !«Ef3f t>-i«K%.rr m                            i'An
i ;             ■T ■
                                                                                                                                                                        ♦ ft                                                                                          I




                                                                                                                       »
                     1
                                                                                                                       '       I
                                                                                                                                                                                                                                                                 ft
                     !•                                                                           ft

                     I
                                                      A




                                                          I                                      • ft
                 - I
                                                              I
                                                                                                                                                     I
                                                                                                                                                                                       1                                                         f
                                                                                                                                                                                                                                                 !
                     V


                                                                                                                                                                    I

                                                                                                                                                                                                                                             «
                                                                                                                                                                                                                                                                          4



                          i
                                   USCA11 Case: 24-13671                   Document: 13                               Date Filed: 12/05/2024                                Page: 459 of 723
                                           I                     .i
                                                                                                                                            i                                              f
                                                                                                                                                                                           !■
                                                                                            «



                                                                                                                                                                                                6xiK,^
                                                                                                                                                                                m




         \

                          •,                           CTitoifF T»i:tm «®»                                                  f, &«: «»o«( z^vie^n-'
                                                       mm:       ffi&f     t«!j.                 ns^ fs^45» igf wte/Jw a «»©•'*¥ J«S£^*                                         to
                                                       piiS^ 3 iS5pasBd%‘'                       • ' ■ ■ ' ■ .■   .                       f|^         js:
     i                                                                                                                     I
                 ,• V




                                                       ""■   '        '                         if**


                                                                                                                                                                                                    «




                                       i



                               »
                                                       V? .m              «■ -/3* '> •■"‘»"-                                                    - •J‘'-                         *'’■
                                                        w-m                     .4c**.-/rr3^ /.                   mmitum.                                                 ' .
■J                                         I                     .»                                 •      awcLpiiaw^
                                               I
                                                                 'tas Mi« at «« »3                                              *3®                         ^•'^***                        f
                                                   ;




                                                        efte'iS%MalO^-ir3 fl«J«                                                  rm1fe% |,»,^« te <1;*f^ £st- It
                                                        vkrn&m «*?£.?#                             tvagraljaife?'Wtfi-Sx mi^d                                            pr-^^st^iy
                                                        {S^j>«dWk»J5^             «k&*Bfe«4«fe?ferirT fe««5
                                                                    jK£p» «« paw^                        4i.JsS >.>eF^^s».4.fT                                                     m


                                                        feit]Mf»3^Br^«fc^teas^a^sssfcrw^ Sr&eiawr#*/si3k«
                          e.                                     Ji^S« (Jssii litt' osMJfr k!(» i4«»»S ifckb Wfswksd I ? %f«VB 1                                        CTS '»»<?
                                                                                ^«£-V.^ fr^*»l iuMWS fc -fc «&;« »»»i..Wm-A«Ff «a» v,Ui^
     I                                                                      «

                                                       - ikr*#sn& t; $, Bali s»3 d l» Mi'rjpa Ch««.                                       fe« »K«?iEMy                3'^ 5>itod b*             t
                   >
                                                         jte «»»» et'ite fri-^odi^ •«!»                                                          fi         1
                                                         (0::Pnr^ ■'If ■■•■                     ; t          '                  r ',
                  4
                                                                            '       I
                                                                                                                                                                                                    «

                                                                  t


                                       i



                               »


                  ■■I'
                                                                                                                           M.
                                           I                     .1
                  /

                  *                            I                                                                                            i                                              f
                                                   f
                                                                                                                                                                                           !
                                                                                            «
                  f


                                                                                                                                                                                                         .-,
                                                                                                                       I

                                                                                                                                                                                       «
                                                                                                                                                                                                               4




                          <.
                                                                                        I

                                                                                A

     I                I
                      I
                          9


                                                                                                                            \
                                                                                                                                                                                       m




             *      ^

                                                                           »                                                          «


                                                                            '       I
                                                                                                                      !


                                        USCA11 Case: 24-13671                        Document: 13                   Date Filed: 12/05/2024                              Page: 460 of 723                    4



    1



                                                                                                                                                «
                                ■

                                                                                                  I
                                                                                                                                                                    I




I'                             9
                                                                                          k
                                                                                                                                                                                    I           3-3
    > *
                                                                        i-j,8-».a»a^opc 2><iB<TOes5
                                                                                      »
                                                                                     ' I
                                                                           I                   • iaajinifiSE£Lii>,',
                                            «                                        irt HAtfA WtWi ,.fo.il        Rote ■m
                                                                    te          »» Bw»a5,teIM«!i«® Mlto                                       isrf
                                    4




                                                                          S&U                 tel!€f      maiiyifaj-sKKSEi                       icffi •l:i^^^ a|
                                                I
                                                                    r?lil«i'r>^. B«« a«0                  CtolaBiaitf mlwtak                                 Utajsa is f
                                                        I
                                                                    Tk'.mb^ Oder tW&r=.lTO                 ,k» ,a                   m^Aed w:b^ »jrw ,»„ 8*4, ‘
                                                                                                                                                                                !
                                                                          tsvM’* OA iTO«e «f 5uji*9»_'bp«                                      «. a>: v 5}^
                                                                    '     ^AissMite Caajpl^re fer                          ^s^.j                                                            I




                                                                                                                          » a»»?,m»Ml!fll>*ft Jr ! ?7-
                                                                                                  I
            I

                                                                                 f
                                                                                          k


I                                                                         £ OSPSY crns^-dmm Mh i&j ®rW.»» a.T» «4 iurm* M^r/efite                                                       f
        4             *>




                                                                                      '       1
                                                                                                                                                                                                »



                                                                    3m^
                                            1
                                                                                                                          i^?k»8»PIij;ir£r ,

                                                                                                                 fOB» »ia# Mrttl B, 1i< j'V;


                                                I                         .1

                                                    «
                                                                                                             I
                                                                                                                                        I                                       f
                                                                ;
                                                                                                                                                                                !
                                                                                                      «



                                                                                                                                                           3^^


                                                                                                                      I


                                                                                                                                                                        t
                                                                                                                                                                                                            4
                                                                                                                  M


                               0,
                           »                                                                      I
                                                                                                                                                                    4

                                                                                 4
                                                                                          k


1 : •           ,1-
                                                                                                                            t Isi
                                                                                                                                        ?
                                                                                                                                        i




                                                                                                                                                                                        4
                                                                                                                                                                                                    «




                                                                                     »t                                             *
                                                                                                                                        r't

                                                                                              I
                                                                                                                                                                                                I



                                            i


                                                            v                                                                                                                                           f
                                4




                                                I                         .1

                                                    I
                                                                                                             I
                                                                                                                                        I                                       f
                                                                ;
                                                                                                                                                                            -   !
                                                                                                                                                                                                                                               «
          1                                                                                                                                                                                                                  t

          I
                                              USCA11 Case: 24-13671                  Document:
                                                                                     I         13                              Date Filed: 12/05/2024
                                                                                                                                               *
                                                                                                                                                                                         Page: 461 of 723
                                                                                     f



                                                                                                                                                                                                                                         «
          I                                                                I
          I
                                                  i-
                                                                                                                                                                                                                         I


                                          *
                                                                                                                                                           6(K.33
                                                                  Cm<                                     dmmxnl BiIwbJ m R'jp egsteirn’ClKiS F3q« 5iM f-
                                                      I
                                                          I                                                                                        1     f
                                                                                                                                                           6cU.pf(j.5
                                                                                                                                                                                                   ».Ji
                                                                                                         ruLLA»,wiijepi«cL«isuiw. .                                                       i«:3                       I
                                                                                                              Or«r#AMlAL»TgtEST
                                                                  f

                                                                                                                                A
                                                                      imm‘‘'^^M“~~y~
                                                                   ■skSwt mmm^rn.
                                                                                                                                                                                                                                                          4


                                                                                                                                                                                                                     I
                                                                   'WT’'                                           Esstiiia                                               «J        5a,                              I
                                                                                                                                                                                                                     I
                                                                                                          •-■ ;-
                                                                                                                                                                          nioEw^
                                      f.
                                  »



                                                                   ©sS:                  k
                                                                                2l
     1        I                       9
                                                                      gHg^r      a                                 y.                              HpROC?SScC
                                                                                                                                                                                                                                               «


              •               V
                                                                      B^.mmw^
                                                                      m       IW

         . i
                  I
                                                                                  a^*»»w|r                 tya;^
                                                                                                                                                                                                                                         0

                                                                          .9:                                            , R4ai{t~AffilST«; .
                                                  I                                                      es^g-           ^^ ^                      ^                                      ^
                                                                                                         ??W                                                 5r f.,., .                       *:            a
                                                                                                                                                                                                            I
                  I
                                                                                                                                                                                                            I
              .L                                                                                                                                                                                                1.
                                                                                                                                                                                                                3



«•                                                    t                              timtX V ^r.,                  Ti.                             '^”
                                                                                                                                                                          I     &^.-;J|€^4#
                                                                                                                                                                                                   IE,J
                                                          I
                                                                          mi^                SSSTTiS^                                                                         gs^a*.                        f
                                                              ;
                                                                                                                                                                              i: IK -5
                                                                                                                                                                                                        «a
                                                                                                                                                                                                            I
                                                                                                                                                                              l^mS                      v-i
                                                                                                                                                                                                            I

                                                                                                                                                                                                            I                    I
                                                                                                                         ■*l»;e»*«iiafMi*                                                                   I
                      1                                           ' iJii&snsEsi^amaisrsnsiifcj                             i4'i>
                                                                                                                                 ' I                                                                        I


                                                                  Sr i tow's Cte: tta,<» K«^, IS j
                                                                                                                                                         x?«W3»SS>»(
                                                                                                                                                                          s-iasistt
                                                                                                                                                                                                   q                                                      *




                                      «.
                                                                                                                                                                          mm'mm

                                                                                                                                                                       y #8iBipa;i^pi^aH
                                                                  W^y-                   k


     i .i                             9

                                                                                                                                     p                                 'I,
          *                   V
                                                                                                                                                                                              ■ mi'M


                                                                                     f       k

                                                                                             I
                                                                          0


                                                  «



                                          0




                                                                                                                                         ^•5
                                                                                                                                                   ?,
s?                                                    I                   .«

                                                          t
                                                                                                                         l'-

                                                                                                                         I
                                                                                                                                                   i                                                        f   ♦
                                                              ;

                                                                                                     4


                          1
         ■ 1.                                                                                                                                                                                                                                WWWWWj^Wpt


                                                                                                                                 1
                                                                                                                                                                                                                                     a


                                                                                                                                                                                                       •0
                                                                                                                                                                                                                                                          4




                                      0
                                                                                                 I
                           USCA11
                               I Case: 24-13671
                                             .1                        Document: 13                                                Date Filed: 12/05/2024                                                            Page: 462 of 723
                                                                                                                I
                                                                                                                                                         I                                                                            t
                                                                                                                                                                                                                                      !



                                                                                                                                       1



                                                                                                                                                                                                                                                             4

                                                                                                   f}<wiBw»S Enterswrxs^DiwkMeffiv.-^jg f^z.Qf».
                                                                                                                                                                                                                                                   BjXh.35
                 i.
             »                                                                             I                              m? e-sBCiwi;
                                                                                                                                                        0?                     nfttr                         * 4^® jrfi ^ j.      ?


I
                                                                                                                                                                                '-   ■■■■   ■■   ■•


                 »
                                                    iS:
                                                             3r5ilL“'/ ' ■'■ *’*■’”     «»**!«««f«.%(i«a*i** ;n»
                                                               ^«'^«»'»"tS»>'.'»>»«S«P'W«*5-SI!!«s.»^Jj|«t»»liK^r«s»T!.*f^i{ jr»> .'                                                                                                               t
    ••; W


                                                      gsa.                                                                                                                                                                                 I
                                                                                                                             igar£s--:ag.'.i..B...;«.
                                                    Ssur^.aissfFii!^                                                g\5a?8:rfi8«>aii&<... iyr-^..%sj,3;ia i-s2 57'i,-                                                                      I
                                                                                       +
                                                                  » iwsasj'                                                                                 f i MateSii#    :^IS'
                                                                                                                                                                                                                                 d
                                I
                                                     ";d--                                             -v                 .. ...   .           <v-—.  ,..>^,..-v-. .,..... , . .... .
                                                                                                                                                 "^^^ss;
                                                                                                                                               m
                      »




                                    I                        w                                 I - s-^isasR m'srwJIS6 »«t‘«!>»
                                                                                                                                           I                    ww* <« »*»«:
                                        (
                                                                                                                1




                                                                        Pi
                                                          ■v:.y.-fX.,C2aw
                                                                                                                                   1
                                                                                                                                                                                                                                      !■

                                                          ^^^^^S5iSI!StSHSSSSS5SS                                                                      «                                                                                                     4



                                                                            CMTIi-                                                                                                                                          i- ::
                                                                                                                                                                                                                           rs-j
                 e

             »




                                                                                                                                                                                                                       I'.X                    j

I
                                                                                                                                                                                                                     '^W
                                                                                                                             I
    t;                                                                                              m
                                                                                                   *                                                                              »p-J' ■•
       .b
                                                                                                                                                                                                                           r:d-f*
                                                    ?«wi«'w

                                                    fSWUMbW W^WWfW* nX^                                             O'*«!;»*»■ «';»K7sf» «.t|.'. -oi » f                   *» *”■ iM> «.•.!« t» s»y so »
                                                                                                                r'rt'’,                                                                               . ..       ...,, . .
                                                                                                                                                                                                                                                         t

                                                                            . _    ,-,-,-rT,T-              <'---                                                                                                            ^

    ; i^                      ' A               f
                                                                                                                                                                                                                                      i

                      fi

                                                                       -.         --




                                    I                                                                                                                                                                 '■        ■■     ■




    ;l
                                        I
                                                                                                                                                        1                                                                             f
                                            ;
                                                                                                                                                                                                                                      !
                                                          :l^
                                                                                               «




                                                                                                                                    I



                                                                                                                                                                                                                                                             4




                 I,
             »                                                                             I

                                                                   #


I        i


                                                                                                                                           t
                                                                                                                                                                                                                                 So




                                                                       >I                                                                          #


                                                                                       I
                                                                                                                                                                                                                                                        4
                                                             I
USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 463 of 723




     I

         I
                                               1                    f
                                                                    ♦

                            4
                                            *



                                                                                       t
                                                                                                                                                                                                      I

                                                USCA11 Case: 24-13671                Document: 13                             Date Filed: 12/05/2024                                 Page: 464 of 723
                                                                                                                                                                                                                  t




                                                    i

              1
              I
                                       4




                                                                                                       IX VIL               i;r.’X tm of rm lit -'
                                                        I                     .» 11 □iciAtcacftrwA®
                                                                                                                           CSFit ACTiDK
                                                                                                                                                                                                     ^'>1,33
                                                                    JlSBARIIA.
                                                                                                       C
                                                                                                                       I
                                                                                                                               1
                                                                                                                                                              I
                                                                                                                                                                                                 fSxh.Qp^,
             ■I                                                     tLAlNtlfF*,
                                                                                                                                   I

                                                                                                                                                                                             «
                                                                                                                                                                                                                      4

                                                                    met. \mis


                                                                                                                                                                         «



                  1                                                                                I


                                                                                                                                                                         S.H5M5£iFFW.        ^
     I                                                                                                                                                                                                    $




                                                                                      »                                                                   t




                                                                     -             \mat %4il£4.v.AZ                          tiwest/.feslye^jQNl'iiMi WIMIA^S                                                     e
                      I

                      i                             A

                                                                     ifimn rHf *.j                              x thA h<f t--
                                       fi

                                                                     th*^Le b.«t0rm                            irJ elmi««^;UfJW Ijv«.«. ^ Jw|

                                                            I
                                                                                                                                                                                                 f♦

         ■                1                                              iwugf KtExseRTa                   rtiuK Prc»!'« yoi^k sfetr.
                                                                                                                                   I
                                                                                                                                          •r?                                                                 a



                                                                                                                                                                                         I
                                                                                                                                                                                                                      4
                                                                                                                                          r           .
                                                                                                                                                                    UM ..WEIX-S-
                                                                                                                                                  1
                                                                                                                                          1
                                                                                                                                              1
                                                                                                                                                                  lEO,'; ‘    ROH,
                                                                                                                                          I
                                  I.
                                                                                                   I
                                                                                                                                                                                     6

                                                                                           k


     I                                                                                                                                 t i: ^                                                         #
             *1




                                                                                      »                                                                   »


                                                                                      '        I
                                                                                                                                          n
                                                                                                                                                                                                                  6
                                                                                                                                          t
                                                                              <


                                                    A



                                       a




                                                                                                                                          ff
V?                                                      I                     .1
                              I


                                                                                                                       I
                                                                                                                                          I-
                                                                                                                                                              i                                  f
                                                                ;
                                                                                                                                                                                                 !
                                                                                                       4




                                                                                                                                   I

                                                                                                                                                                                             W
                                                                                                                                                                                                                      4




                                  •.
                                                                                               I
                                                                                                                                                                                     «

                                                                                           k
     i
                                                                                                                                                                                                               f
                          USCA11 Case: 24-13671                                    Document: 13                                Date Filed: 12/05/2024
                                                                                                                                v
                                                                                                                                                                                                 Page:?465 of 723
                                               m-mu                               FtXLA%p PUSLIC DBCivOSl’RE .
                                                                                        OF i;i>iA>TIALITOSe^T.S
                                             .A*5’ var                                                                              r
                                                                                                                                                            r
                                           THc»«s:*.vtti;»ttt.
                                           “rZJSsi^S'jrs ^
                                           7^ V«ST FtAGLfift SWEET
                                           ajrrt 12&T ■
                     0.                      e*?v
                                           K«Mi                                   ®135*                          ;v^ttfcft43A5g                                                                  a

                                                                                        ■* V


1                                          STATE CFftORJ^A                                                                                                  PROCISSED .
                                             wrsCF
                                                                                                                                        t
    •            ^                         Ei.lcnc.EQi-jswu7*i-GcaaL oFricgH-c^roiiT court ju&


                                                                                                            .-KlSf           ■»<?»?«

                                                                                                                                                                                         ^       .S,


                               i


    I
                                                             fJ! WSTO S5 qI        ^'                                  .7^:?


                                   I        »£«s**»aoo««4«S wW^y.-ectr
    V                                         'siStM'i-x .’     N:,; ^ «,?SW.'; ftr.- m.
                                                                                                      7*
                                                                                                        .   -r <^: w                                        a" v^’«-v£s8t                    c-'^      < A?        f
                                                                                                                                                                                                                   »
                                                                                        -5^ '- ~fS?                                    r mMO
                                                                                                                               V <«• i>%

                                                                              ^r^VSr4 g'-JM                                                                                 f
                                                ,.^—-    -

        ;;
                                           HOT0 ( Kf:^r»x
                                                                                                                                    I                                               ^CNJ
                                                                                                                                                                            ?

                                           Mmmnf;                                                                                                                                                                          4

                                                                                                                                                                            3ua7«5
    T'




                     »,                                                                                     I’ist f'-1 f4s«s *iie^
                                                                                '  I
                                           is^.«iaa A ««14 ®ir *I 5,;-, ,a„ „tn^m>< ^                            *|                                                                           »

                                                                                                                                                                        1 4tej*»t'g? i.'*B,V^»'
                              “tS; fAsSB ygfS&fttorlg8S» lirfgftjggel AilanrFGri^gi;"-■
I       •i A'
                     9

                                       rc^ §3^ fItcgiB       WSiati. *'4 r« ^J^         t
    'i'                                                                                                                                                                         J3.0«'
    =.;                                       tZ4tS&cm\ Sm't&3 femgg^jST; Asfm&ur<?A. Pcn;^Sm
                                                                                                                                                   T
        z

                                                                                                    ^2C?'/b
                                                                                                                                                                                         ^ a^airs                      «
                                                                         %

         I
                                                                                                                                                                                                              I.
                              A




                                           7'*^ wSj.
        I

                                   I                                    A

                                       I
                                                                                                                         I
                                                                                                                                                        I                                                      t
                                                                                                                                                                                                                   !
        '::■
                                                                                                    0


         I.

                                                                                                                                            1/-
                                                                                                                                    l

             r
                                                                                                                                                                                                          «
                                                                                                                                                                                                                           4
                                                                                                                                            :•




         4

                     s,
                                                                                               ft
        ■4                                                                                                                                   ,':
                                                                                                                                                                                             I

         :F                                                                             k


I                                                                                                                                       t

                                                                                   #r
                                                                                                                                                   Tf

             I

             I
                                                                         <


                              i



                      *
                                    ... ■:




                                                                                                                                          It
                                                                                                                                                                                                                                         6




    I                          *
                                                                             «aW‘’»«5Ey
                                                                                                                                                                                                     0am


                                                                                                                                                                                                                                                                        .35 ■
                                                                                                                                                                          •X ^          I            ;
                                                                                                                                                                                                         m


                                                                            SlSItofFfeft;^
                                                                                                                                                   I-
                                                                                                                                                                                                                                        ..jtawr
                                                                                                                                                                                                                                                            EWi
                                                                                                                                                                                                                               Jiftii:
                                                  t
                                                                                                                                                                                                                           I

                                                                                                                                                                                     Sf'sw^.isj .i «.*■».#
                                                                                                                                                                   t
                                                                                                                                                                                       SaBSI—                 . .. :" ... »f            «.(gra
                                                                        m                                            ■ii.‘A                                                                      ,            T—«—
                                                      I                                                    .1 ;»A.:
                                                                                                                                                   —




                                                                                                                                                                                                                    RW;

                                                                                                                                                                                                                                                        f
                                                                                                                                                                   MM
                                                                                                               P^W l' ~ injysi                           15            61SE%SSS,K5
                                                                                                                                                                                                 «ic»tafsgit*j
                                                                                                                                                                        .K <* 0' • itv-rv                                  •    ■   -
                                                                        5.         / _._
                                                                                                                                               <



        • M
                                                                                                                                                                                                                                                                    I

                                                                       iST *i' ■ '' ••
                                                                        #-      -


          (i
                                                                       IS I                                                                                                                                                                   J.
                                                                                                                                                                                                                                                                                   4

                                                                                                                                                          J:


                                                                                                                                                                                                               ft
                               i


                                                                                                                                                                                                          rasw? f 3                      ft
         •I;:

    j    I
          r-
         .I'.,
                               9


                                                                        *                       jmsf
                                                                                                     OATH                                               swsntiy
                                                                                                                                                                                                                                                                               I




          1-                                                            v« Wj *w t-B                                     jA
                                                                        1W»J( tar»»-« Br®!i i                            ^            I                                                                                    sfeXA^*-
                           1                                            ifcwmsai
                                                                                                                                                                                                         m.          1
                                                                                                                                                                                                                          :sss-                                           ft



                                                  i                                                                                                                                                                       ip
                                                                                                                                                                                                                               >Cj&:               II
          (.                                                                                               -' '•'-. ■:                . -. ■
                                     fi                                                                                                                  '' -J.* iauStwR.^W?'^^*''                                  *4 ?*V^& £,                     i




                                                                   J

                                                      I            Sb-sc.                      7i^
                                                                   *«■ .-#'■»                          ,         i
                                                                                                                                                               I
                                                                                                                                                                                             i                                                          f
                                                                                                                                                                                                                                                        !
           If

                                                                                                               0<:*r*»r:jfgt^ {!.« few tt^t
                                                                                                                                                                                                          ‘E3!»                                                 I
                                                                                                                                                                                 £*8 5WI
                                                                                                                                                                                            iSSMW                    Ife te; a,         ..^jfc.
                                                                                         *»"           i lKSf%
            !'i'
                                                                                                                                                                   %$0>fcit|,&;sigT.wS'sg^^<s™ 3*"''^
                                                                                                                ::r#E
                     f.:




        ■ I'i
            it:
                               ft

                                                                                                                                          a
             1^
                                                                                                                                                                                                                                        ft

                                                                                                                                  k


    I                                                                                                                                                                            t                                                                          t                  «




/                                                                                                                             »                                                         $
                                                                                                                              r
                                                          ;:• ..
                                                                                                                                      I
                                                                                                                                                                                                                                                                          ft
                                                                                                           I


                                                  «



                                    4
           ;i;




                                                      I                                                    .1

                                                            :'r
                                                                                                                                                                                             i                                                          f
                                                                                  ;
                                                                                                                                                                                                                                                        !
                 I
                                                                                                                                              ft
                                             Page: 466 of 723                                    Date Filed: 12/05/2024                                                   Document: 13                                   USCA11 Case: 24-13671                  I

                                                                                                                                                                           I
                                                                                           5



                                                                           «

                               USCA11 Case: 24-13671                               Document: 13                    Date Filed: 12/05/2024                                        Page: 467 of 723
                             Filing# 142403620 E-Fileil 01/21/2022 11:32:41 AKi


                                         IN 'fni/cisiciirr i/oi’ici of tbe ei-iventr juuicial                                                                                                 f
                                         tittCirit IX J%^I> FOK WtA&II-BAOE                                                                                                                   !
                                                                                                   «


                                         CASE!^0:
                                         SECIIQM:'£42S                                                                     I
                                             nmafi: VArfe R-                                           •
                                                                                                                                                                                      4»
                                                                                                                                                                                                              4




                                             MAURICE S¥!^I0NI:TTK
                                             Pisisiliftl’sl
                                                                                           I

                                                                                       b
                                                                               9


1                    m                                                                                                                                                                    «




                                             L’ii.'BAKIc’XAtlOKAI. ASSOCI ATiOX iTlI« W                                                                                                           9




                                             ©silfeadlwrtsj/                       I                                                             *


                                                                                   ' I
                                                                                                                                                                                                          »
                                                                       0


                                     i



                          »

                                                raiS CAUSE,«aimr Ixforcfc Cohh sua'sportte, aud llit; CuUfl biiifig IkOv advised is: he
                                         j prer«i«!f. it islK-reb^g
                                                                                                                                                          ', H::--


                                              I
                                                                                                           I
                                                                                                                                                      i                                       f
                                                    ORBERE& ANB APJOTlGEO                                          I                                                                          !
                                                                                               «




                                                   !’■ Tterihc sr.df?siiin«l Clreisit Cmd Jii%e heivby kci^s hemtit fyim fuclheT cossidcraitoS- .1.
                                                                                                                       1
        E                                           .sflfeissises: ,                                           .                       .                             ,,
                                                  . i. Tim case gtt»» be Tiass5i»i«i.to aisotlser !»ciiea'0f the Circw'i Cml Pivista bi aocordapcf                                                            4



                                                     VTJth i-^JlsSlished procedures.,
                     a,

                                              BONE aiMi ■t>RPEIIEI> in CHiiljeRi ai M»nii-D'Hie Cdunly. Florida oa thi>
                                                                                       b
                                             ■'iMSSdllt*                       t


i                                                                          »


                                                                                                                                   t
                                                                                                                                                                                      9



                                                                                                                                                                                                  9
                 k
        1-



                                                                                   »
                                                                                   t


                                                                                                                                                                      A-<t| tjJLlii2iO/ Ji            m
                                                                       I
                                                                                                                                                     ■I Urn. Valeric R. Masmn Sd^srr
                                     A
            I'
                                                                                                                               •             .       cmcwTCpuiurdiiscjE
                         0

                                                                                                                                       r;’           Eleciwflk«iy Sigsai
                                         I                             .1                                                              f
                                              I
                                                                                                                                                      1                                       f
                                                                                                                                                                                              !
                                                                                               4



            J                                No: 2«t.OMEr>.,CA4fI:
                                                                                                                       I
                                :■


                                                                                                                                                                                     44
                                                                                                                                                                                                              4




                     «

                                                                                           a

                 I                                                             9
                                                                                       b



j                    9


                                                                                                                               t                                                                  9
    «       v;
                                                                                                                          I
                                                                                                                                                                     . ?

                                      USCA11 Case: 24-13671                                  Document: 13   4
                                                                                                                                Date Filed: 12/05/2024           Page: 468 of 723

                                                                                                                                 I




                              a




                                                                                                    b
                                                                                                        ‘Affidavit                                               •£xh33
I '                                                                                                                                                                          t               I

                                                                                        w.



                                                                       I   p^ACK WgitS                          THATTHiS IS A MOTIOM AND AFr'lDA\flT
                                                                                                                                                                                         a




                                             'A
                                                                     FOR ftfOfa RECUSAL.VACATION Of ORDERS »m M6ft.10KA«i>U«
                                  B
                                                                     OF LAW      I AM A WfTl^lESS T^ESE BXHIBTOS A THROUGH 2S, Alt
                                                                     AS£ TRUE COPIES OF EXHIBITS AND ¥OUR MOTlOi^ FOP. RECUSAL Of .
                                                       I
                                                                     JUDGE SAiiAMTHA COHEN.
                                                           ■T»
                                                                                                                          I
                                                                                                                                                             i           f
                                                                 ;
                                                                                                                                                                         ?
                                                                                                            6




                                      •




                                                                                                                                     P^ACiCAVEllS                                                a




                                                                                                                                 15020S.MyaDB.i
                          6,
                                                                                                        I
                                                                                         ■'«-                                     MIAMI, FLA 331i7               a


                                                                                        9
                                                                                                    b


1                         •                                                                                                          t
    (,           b
                 (I

                                          ■■■*:.
                                                                                                »                                                        9



                                                                                                        ^ MOTARIZgP THIS UTTER 0» BEHALF OF MACK WELIS li.                           a




                                                   a WHO'SieM i£fOBE Pf OM THIS 17^ OAY Of JULY/ iOS’WHICH PROPUCLD FLOEiBA
                              B
                                                       DRIVER yCillSE TO SHOW IDENTIFICATfOW WHICH EXFitES S/25/20?S.


                                                                                                                                                             1           f
         i                                                                                                                                                               !



                                                                                                                              Jiwps JOSSAH
                                                                                                                      \ Pfewyfa*                                                 a




                                                                                                                      I                                              H
                                                                                                                                                                                                 *


                      *




                          a
                                                                                                        I                                        ■   -



                                                                                                                                                                 a

                                                                                                    b
                                                                                        9


I                         •                                                         0


                                                                                                                                     I”
                                                                                                                                         i;,;;
                                                                                                                                                                             t
    • ^


                                                                                                >                                                        *




             I                                                                                                                                                                       a
                                                                                I


                                                   A



                              B
            e

                                                                                                     t
                                                                                                                                                                                                                      «




            9
                    USCA11 Case: 24-13671                                               f   Document: 13
                                                                                                 6
                                                                                                                            Date Filed: 12/05/2024                                                                    Page: 469 of 723
                                                                                                                                        t       •                                                                                              $



                                                                                                                                                    *




                                                                                                                                                                                                                                                      r'



                                                                                                                                                                                                   ,10?                                               L
                                                                                                                                                                                                                                                          s  £




                ■
                                                                                                                  ._'.-. Hsjtesfi BiAptv-sh ec^yjrod l»t:§ge,“‘K. ag'«^¥
                I                                                                                                  ‘        1?^                                                                        f                                            n" n'^rrrsi?''
                          iiS
                I «
                .
                                                                 m
                                                                                                                                                        First horizon                                                 orizsnisSun
                                                                                                                       '■
                83
                                                                                                                                                                                                                                                                       J’-     • ■■■
                             1                                                                                                                                                                             ^




                          wMm
                                                                                                                   %ant'r«st BanN                             s US Bancor                                                      assceip IS m
                                                                                                                                                                                                                                                                                           <9



                                                                                                                   i)^ !»,1iMy .S5«IB« ^ 8S telE«EJiS B i M /.!«»•■»„’: '
                                                                                                                            b.Lr^. w::’|5i.l£f4.fe’i.:..jj;^i,.                                                                            IIS iis^-
                                                                                                                            mn^f'JW‘‘mP\f rf **l t\'.’'f        .<»!
                                                                                                                   ei u&,^JSU£-fe8dL'.yeli&x r-siiik                                                                                                      l^^#J |J
                                                                                                                   Wl« }r^1tes'iYlr^--&!ttei'&5i{«j^'Tf>? mm
            0   .         iCIlfiW/iJSiJE^iiri^WElSsiF^in^^^                                                                                                                                                                     s .z           i;t»!.s«ii«i»W'*S'fev •

«   b                     HfMIOMFSr&TMEiQC V^ &lJ’Oima«WflO                                                            WhM*B                        r>«

                          Diiioiwinomiiiftiiiiic                                                                   Sg                                                 %>m>'                                                            ,   ,




                • lmH                                It'Ll WlEiciSCi&lfiE                                                                                    4F=^^
                                                                                                                                                                                          isi-
                                                                                        BIEKSIS-                                                             isjisasj

                     I                               .L«5                                                                                                                                                                       •A-!




            »
                ^14

                4
                                                                                                      pRorfSSEO.                            i
                                                                                                                                                                                                                                               k- imm^                 m;i^.

                            jpi ijamwaff                         ft»r,                  »»...(, f- (X*"            J'.XWO

                il'l                                      , am. *.?B-|., H iff                  (*b!ia>-rf .

                                                                                                                   i
                                                                                                                                b 4 I
                            MmSsFl^W^                tW5 <*/-v                                                     i#HW                     g                   T: w*-ii*fewi36«»6«fA««{Ea irr M,*i'
                     f                                                                                                                          Jtliif«»W«»88*oett®f$«««m#»fww«$0arA •
                                                                                                      «            SX-kSjiKl
                            « W 5«%.:»i3, fO Um 2%.1/ZlJ (&»                        '
                                                                                                                                                $iimmmmmmmmn'mm«m.iMMi^m&^,
                ^i'                                                                                                                                                                                                                                ««A4 w
                            m«p»X W«W!ws>tK. I«j*-f(*i«?»,<»*»                                                    ipli^                                         ”■*
                                                                                                                                                            -l-.-'S*.-,                                                                        »fl
                fe.3        ■xv'm *-3, »«.i»m(, (1 s^l-«« c.<«>R?j
                i:i         :|;»n #Bari riaw cWfeiMfWIK i®B«&                                                     :S*|S^;'
                                                                                                                                                                                                                                 O HAS80
                                                                                                                                                                                                                                 ;w«««S
                                                                                                                                                                                                                                                                       m
                                                                                                                                                                                                                                                                                       4
                                                                                                                                                                                                                                 W: :1«W«
                      I
                                                                                                                                            SI1^l^iSS#ISS&
                                                                                                                                            SEE.Goas2.cona vip.eo«j.,
                     I
                           aaa&aa.-*?.
        »



                |1:
                     'f
                            BOSS: AMBEI.Cafl^ALA AWARDS,
            • I! ?MOifflRWPSiTSAiOCWrtB^                                                                                                                                                                                                                             WMmz

*, b
                !;■ A«A!iniW€0i!LI6£fflJOI4G%IT«TI«'                                                                                                                                                                                                                 pisi:.
                     i mx>mmEMTmmocRms&mmBf,                                                                                                                                                                                                       ‘ b*              mmB
                     .1                                                                     >                  f* ,,        W
                                                                                                                                ta<-*

                                                iMUseiaM;                                   I
                                                                                                                                    %)b4^W I,
                                                                                                                                                         '* - M«’H? 'i'i. -•'   .   S-.                        .           I
                                                                                                                                                                                                                                       I


                                                A? nocsjs^i-rr
                                               bf'   ‘^   «:>^«i-nft       t >40.       “tt A\                                                                                                   I »           £*.«       , • •fbJCJCAS-             £.0 .       <
                m-
                                                                                                                                                                                                                                                                        •.
                                                                       I


                                A



            »




                                    I

                                        I
                                                                                                                                                        i                                                                         f
                                                                                                                                                                                                                               “*7
                                                                                                     *




                                                                                                                                I



                                                                                                                                                                                                                                                                                       4
        USCA11 Case: 24-13671                                                    Document: 13                Date Filed: 12/05/2024                      Page: 470 of 723
                          t



                                               ««niDSrA1iSDISmiCTG3URT FORTH SOurHEftN DETlia Of FtOlfOA MIAMI BWISIM'

                  MA«Wgtl5A«&MAURICfS¥M0WEni “

                 ■AlWiits,                                                                             I
                                                                                                                            1                                     t
                                                                                                                                                                  t

                 M^:2$-df-m40~3m
                 0.:
                                                                                                               I

                  isXm’^K mmNMMsocmTimM si,:



                                                                                               I




I
                  pEsuam I® porida Slat f 12.13 J, Floiiia Ruf^ 2JW (IQ                                            Fsxkcal Rulas af OrS Ptotsstee Eds 6S. Pusiniff »iCK
                  ^V&riS                          fil<» tlik            for ^Uef & |lsnjy^(>! snd§8ppir|i»^                                Ei^ggiJia^ fee An.^tiir. JV 2023 J3$e E.
                 t4atmv?’ 51‘vfsw «f d» rcasri sEd Find Jaf%!cscg Cfete, E?ii!!>:tl. ksscJ « flte fekiWBig fags, new aibrrsajnH, Jtu icimssr
                jadlaal mia»sdua, feadoka gr^imas ad disMvcfeii                 cf pesensJ imismints Mams m FsmscM DlxcMsut^ &f '
                 $ui^ aM c-irmm 4f tfe Cotstz f&feibtts: ^ Wf Asadtoi- 04. B&'NK Specat                                                         B2ISSLfS2iai£l

                                                                                                           im& L                 must Serti^e Um%&for art cpsi? ofev^eps
                 Corjflitt of foteresi because hs'’s & irig ausmess                                        U5 M’A and bfIpmg them fo mafci inQri«»>jf ^ thatht-QB.:
                 fnate merte^                            fowcfewng and feteng J^allpgl osir pmpknf while mMg as the Judge m the esse on o«r
                 pf#pg%. not OB esK's Mefits bm for them to mafe l^lra and &«« »ney Olggaify. HereVtfOSf: it his form i,
                                                                                                              ,i
                 from Tallahassee mtlM fijmCIS MaffiJliB                                                      *    fotlill ^ on p$|;o4 flMS 3 and 4, feat f« nsde-
                 Sm^rn'mih fcris isisfe, m, a wmt u sot                                                       swk.              m^u sai* » $mmst mrtk whiEfeis m.
                 iancsoi^/ ||S,"&irJ^                           E                Jcso E Marfia®^ Comf iysww m.                             «S BAMWBP, WACHOVIA, WlltS
                 FA«60. ¥WSCH IS ALL 0.5. iAWIf. Who kss ra ted fo fe¥er nf IfS BAM1C. This k a Henifete Onrlkt of latcEcst
    r           agatm m                         tb&^$ oiuw sxordmg, 10 FI Rato Zia |H) ynd fJ) afJ cly^u^ {Mm mm W Re v;'e;J b^'k »fli«
I              -A             '‘i;:-'. ,.-.L    ' ..iv    .A.   •   »   ■- . -    ■■ • ■ . .       ■                    ■           . ..   ■.

                rhifiaal Jo^ (Msa, once o Ja4ge R«tei« as£»fi^h«s. iotlg^ «3ii>ks rec«s«3‘ Wnawlf                                                            & Msscia Cottlx's
          Onlw’’s mm iw fe ertei I»ci» m O^ipieJ                 Ordo-i 6eEa*Ese?<rfCk®llka Of Isjfores. Xone of !he..e Jy%&; or
        ■ Atem«y*» CBS do anjiiir.g wall dtg SbmCmm bewx                  si dolsf teiBsss %1fe! U,S. Bsftooip wio’s Pgratf
          Compsiaj; of,iJ4. B»li ExkCf %vhkli Is          hj-china (CIO, Ti?e Rjtste Pefite» Liw «S(W« he tiyfj             o«r
          jaa£:*v«ii swv«r Fta&feed. AJ| *« Slate C««; Jmte ftoa /ai«l #s*w» to Carf«» 1        tit              I                                                CVS?       m; a


    , ■ «ilsMwtopT»vfeti»tfoif Ati®ns5<foww®W4istfo0dlIorfeettaeEjar H.-B5>Ja5,fc5ii'WB%visr®ror%’«"gVv”Jito.iteppsi«t«Rh> .mrl
          lad^Li^jaE           10 aito*# MosjI     »!*(> « iw time was sldt to g« a Lswy^r fo deOcM           The Attosacy’s fer
               W.S, Ijaik \«f« eWafid to hAftg m ■erv-Eden©*: Ikst                                     owiwdtii® Mole fett; never «!«j- { have fbujtd                 ir

                                                                                                                            I                                  ■"r
        •■ A'iCv--;--.:




                                                                                                              I




                                                                                               I




I
        USCA11 Case: 24-13671                     Document: 13              Date Filed: 12/05/2024                       Page: 471 of 723

           iiswittf 10 other           m thk       feel 2I!%m fe «ic CoVjkiofktee^t lie Jodfe                              mznm            3 Ji^'
           we ha^ocwr rael jumpma snte o«r eass afliar l«d?s«r 7&hsl ijlisxilxwl                     lkm\A                     ihv '.vitb P^gudfcc
                     ihey urw toarf yr o’.m«{ Ibir ’Hotc sid th«J! f»iK ywtetsjf Jijd|K %’alerfe                 S^shusf p.A S9'^*,f-0rt fe>m llS!.
           Bsttisccoirfm^Kibo-Fonn ef-lBjmeml ftiy.iiWe Afildmit, kxkl. Ajid tte jadtofy m^nsA bcst^lf mt&                                     case

           vMm TOf                 a,and disrok-ajd *c «w wi*                   llli« Jurffe           did. ExhJ. J>0 a$to «ci(J tlw i^w i^S
I          sajg eiortier ItidlO eaiaiSt etaege tiseiligf' ItMipiift oniar in the             Cireait rratrf m ^ha nssde III2 •y-'in-.c Ikier W .slfc
           ccRiia cbmpi Jicr dwa Order ifi dis>a|& wftlieai Prejudics aid pii aswthcr $,1 m'Mmn d-^lkz pk& S4e.’>,er»ri,kf'.lijf
           w>ei teiti CJMAC -wliica is U„S.BnAk mti tfejs she. clajig^tl iiw owfl Cfe-dwfo          vidbmti PTeia.ilcr hAb-K,. A«4
           *0a recaivid a Si « mllltwi awtiw m&d Mm. l-'eiy                            fi» a $4fl0.i0§ do-lte num-iy A^sct tkw« ,
           QM^M' wJilcJi Is i;.S. BesnS:           Awirfjifig » hsr fc m ^ Pmaiciaj AfS&ivii to ckcrnivaA Jwiittc ddh-el's OKitisal
           nTtli Prc|iid'«i! Etl'AI Arid tien ili>isc wklod ta%>m l-cretflow                     i»&2» u* arid ti’c wsiadircv, a Ifjyeari^t
           see the Dock**fer tlw 20» case w!;rct hai m nclice no assi^iiuetils^ osiTvote s#d,B© Mcattga^e     co U-S- l^fc.
           fto?K AYms.BanI se« Es&.l% to Mwrjce %TBmcm da a                   Hfc Si* tica efiex 1& jmsteJye A.duw Mmm '
           Sekmf fj»ws tit a^i aid 1 %tio«wl her the Fvil «ak|5 M W riony aKhg ma toy                                          PaC OMAC/ljiS.
           Batik m «wf '<>•.!? ps&pvTly «v«jf          ive were iraftfeg tfee fiayitieiifc. TKs t$ Mmiu Title Ftmid «i ii;. transit atsd wiert
          site raw she wss           font ter own Fotto 6 Affidas-if and e’^ il Ja<%ae'ti5she Rceoscdhlftisclf%->pxb'                         piM'
           !■*• f>«ews ,Kds     R^dki TV ('tmrn^^fcmb Ejdi.T Teijiag m ft|M'aaJ knowing ite we to e tamed kwis                          tlw FBI as
          Jet%s K.             J2tt^ «l»4 &Ss'sose he Ms the same cajifliel of liiKaest Sie she nwKf fccose^ fe-mlf and <.ac.ae Iks Order,'”
           iixh, O. So Jose E Mtirtroe^          must fetow YOl/k SHLf aal set ORDER apin*®^ Esh.. L

                                                         I                              ;:           _ “
          ! . Oil tec. If, 2017, Dsfottfeoi^ Siiigs           ScSspir l«a«l a iinal Jeisrsiad.m’fef KxhihttJ^ sfplmi P5«fniuTPtirss®iii
I   •
          10 FJoriiJa Stit 112.151, ¥k>m felt? IMl) (If) mS Fafgre! teles of CIril I>ft>yedti»Risfc m. PbimifTMACK
          W feLLS &er2|.y filial Ilik ftfeiioH fcr Relief & RccaSisI datlSjppfctiirigMejsuraiidwn ssgariSng ife Ateast. -23*
          MM.           M4H6n«,rc\-iw of tbc ta&rd aad hina} JttdftenieMOptei IxjbihiiJ, baseJ oa ifte fblkr-t fghts. new
                       JUS KriKS, Jedfcial mlsaoact«s:i, fimadiileat grossifs. anfi IkeoveriK! wpfh’ct of      lnTcsimeiii.
          iOlcrcsS Of! PamtsM I>i2«tes«fKof ji«%csssJolla-f!* Ak            ffvHJ.it p Aachri- U.S. BfeXK hreci^ SisuEtm
          .trt!ggnrrj^>,.nyAriig.feg».,.&Jiilt.2fc!g,^             %l 1. SEC FUU:p VS. BANE Flo-:&                                   .R>d« Alar.
          Pint FksasciaJ lnm.rsm&- ¥nmmmDiMmtass\M^rMa -Uah ?, .r&f /m .ym^ A
                                                                                                                IMfJ mi. (ll .f.             Jml

                                                   kx t. mm XMtu B'mi tietW himeif for m apen sKeoj tflmjni or unereji fctestm „
          she $ dj?is|,tes&iffis wdit ys Bmk       helping slie» » mete mcRtff sa rh^t she «n wk? raoney isy ihrec‘a>'f«g and oHne
          lataHngl ear propat'# tvhiJe mUf$. as !l»e Judge os ifee cssh on oisr pxotsr% itsl m ase’s tamin Ijw fo r ro                   him autf



I                                                                                  «   '.:




                                                   »
                                                                        USCA11 Case: 24-13671
                                                                         fWAMOAL              Document: 13
                                                                                           1E«KW                                                                     Date Filed: 12/05/2024                                                        Page: 472 of 723
    I                                                                                                                                                                                                                                \

                                                                                                                                                                                                                                                            %mmk

    I
                                                                                                                                                                                                    *


    I •
                                                                        Via»W?KIM®?iS:aEa4
                                                                                                                                                                                                                                                                        J




                                                                                                                                 I
                                                                                                                                                                                                                                                                   t'
                                                                    *
                                                                                              A                                           ft                         €                                                                         0

        I
                                                                                                                                                       I                                      i                                                                    1

;                                                                                                                . I                                                 -            tif ■                                          '"&) T'm ~""
                                                                                                                             m                               RJ.                                         ■m                  m
                                                                                      ttowj
                                                                                                                           ?C!»»S
                                                                                                                                          :^m. i
                                                                                                                                                            rdb*-.
                                                                                                                                                                                                    ^ncSrg.'Bs»
                                                                                                                                                                                                    , **wJ*»!9,..
                                                                                                                                                                                                                                  ■»«» f tmea '
                                                                                                                                                                                                                                         ceifcsI&aifJ       f
                                                                                                                                                                                                                                                            t
                                                                                                                                                            Sf»              'Cc*5            i -                   *                          ? f*-fn
                                                                                                                                              4   ‘ ;  r,
                                                                                                                                                                         , ®1S!0              ■'
                                                                                                                                                                                                                    t                          I
                                                                                                                                                                                                                                                       Ay

                                                                          i.     cpmM.m&                                                                                                                                                       k
            i                                                                                                                A                               m                    T

                                                                                                                                                                              4-
                                                                                                                             A                               K                    T
                                                                                 nmK
                                                                                                                                                                                                                                                                                       4
                I
                                                                         i       liisiiAfem-cHSCKWw                          A                               t           ■        T
                    i

                                                                         ,4|.    es»A9AS*<-atKKE!«»                          A                fetow*         M                    T
                                                                                                                                          t
                                                                                                                                     i-
                                                                          1 ^wraisBsoo                                       A 6                             M-                   r

    I;                                                              »

                                                                         «       A»mwifcs^c                           ■4

                                                                                                                                                                             ' 't * '                                                                                              «
                                                                                                                             A            »»»Sl9             ,1

                                                                         •<f,
                                                                                                                            ?                                M                    r                 t



                                                                                                                                     li
                                                                         a       MOMSjfTOirAKjr                              *            MU                                  'T

                            I
                                                                         9.      greasy K                                    A            Mfal              ’x.          ’ T.
                                                                          tt-                                                A                               %■                r
                                I


                                                                         It ssrif^?®?«E5f ra»iKJMiaty                        A                               3 ■                  t       .
                                                                                 ra«j
                                                                         n.      iE!«wH4»3S9ro>®B^srnvrKJ?fAt                A            MM
                                                                                                                                                                 I
                                                                                                                                                                                               '        m
                                                                                                                                                                                                          t
                                                                                                                                                                                                                    mwm                   $        A
                                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                                            «
                                    I
                                                                         IS.                                                                                                                            m           t$xait3               J        A
                                .!
                                                                                                                                                                                                        SWft
                                                                                                                             c            ID6*iM,           Aj                ir                                    JK»Sf                 3                                 •'-i

                                                                                                                                                                                                        &b«T|
                                        I
                                                                         ift.                                                »            Ki^M               «                T                         to          ■r                    K-       A
                                                                                                                                                                                                                                                                                       4



                                                                                                                                                                                                        IM
                                                                         »,                                                                                                                             &*•         t22ft2l              J
                        ■                   I                                                                                                                                                           <1^             ■9




                                                                         S’                 n-wrr-’ov-j                      A                         '    K                 T                                     fmm                   j
                                                                                                                                                                                                        i»S»

    I                                           i                                                                                                                                                                                                                           <i.
                                                                        ? 'f

                                                                                                                                                                              Hi
                                                    I.
                                                                           *»*                    iS»5J5^5@<®i<iSfe          I ■ »«»;»».«®»                                                                                                                        f

                                                                                                                                      >

                                                                                                  «                                                                           S.                                             #a»»)
                                                                                                                                                                                                                                                                        I




                                                                                  «
                                                    I
                                                                    4

                                                        I


                                                                                                                 .1
                                                            I

                                                                                                                                                                 1
                                                                                                                                                                                                          I                                                 f
                                                                                                                                              4
                                                                I
                                                                             (




                                                                                                                                                                              I
                             4
         USCA11 Case: 24-13671
                                                / •
                                                                                         '#



                                                                                                Document: 13                             Date Filed: 12/05/2024
                                                                                                                                                                                                                     ^'V

                                                                                                                                                                                                                           ^3^
                                                                                                                                                                                                            Page: 473 of 723

                                                                                         IBERiA BANK iS FIRST HORIZON
                                                                             *                                                                               PI         -iC       1#^                 W'         ;
                                                                              w.                        "4H
                                                                                                                                                                  9p^             .1^41
                                                            m
                             «                                          I                               "r.           m

             I'-^•14                       'Si,

              M                  M'
                     M
              ■:t’
                                                                'i'?:
                                                                                                                                               I

                                                                                                                                                                                                                                                         \
                                                                SUNTRUST !S FIRST HORIZON ■                                                                                                                                                              I



             •i”
                                                        ' t'^p^^Wwv^&^'C^rxiisIslpCjiWy ^ sf-fews * 2020^> ,i I
              I’T^'-
              I                  S*'
                                      IV;         002^0$;, ptf0.OT'^;ip^fe:f|^^t‘‘&rapcfi.e,#:|;O.e:c:of&^i ?                                                                                                              a*.



                                                  part of Flr^'’'Horlz4p*fe^'0l<                                                                                              -
                                            u                                                                                                                                                                                            "i.
        u-   if                       m%

i                                                                                                                                                                                                                                r
                                                                                                                                                                                                                                               i


                                                  s^emp^is. TcnKesiee-t^^sed #^|i%l:H0rizdn..N«iriosi3i 'Garpr ,; •                                                                                                                            ’1

                                                  C^lySS;;14sN5^5^d,ll^e i|Tinsac|!Ort'wpiil^. a"cf<a S44Q‘m5iucn,if7, :
             ft                        i
                                                                                                                                                         I

              I
                                                  llTi>s-V-SS.t>^C'e.lc-^n<5P,; *'                                            ' "                        * ’'                             ’                                                    1
                   ^f'                                                                                                                                                                                                                         I
                                                                                                            i-
                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                8

                                                                p Syi^TRUSTIS'US'BANCORP                                                                                                                                                       i
                                                                                                                                                                                                                                               ■4:




                                                                                                                                                                                                                                               i '

                                                                                                                                                                                                                                 Sfeti               4



             ■If
                                                                                        .....                 .   .       .                                                                                                  m "*■
                                                                                                                                                                                                                             m.      h

                                                                                                                      r-                 .4:
                                                                                                                                               I'                                                                          Si«i
             1                                                                                                                •T.
                                                                                                                                                                                                   .1.
                                                                                                                                                                                              *‘ys.' .«'<
                                                                                                                              ¥                              *•»    m

                                                                                                                       ■M.
                                                                                                                                                    ’i             Ji»»
                                                                                                                                           f'- f                   t^Patls
                                                                                                                                                                    2X2s£-- Pi

    a
               5 ■• Sti;                              .'.‘w'K                           us BANCORP IS US8ANK -,.
                                                                        w                                                                                                                                   »




I                                                                                                                                                        b


                                           CJ -S^ -Ka^corp
                         ,             l>3,                                   InjIl/ji'iJ 4?^ isis                                  fc mi AWM-fk-MJ-J\
                         i             »«'S.,l“*;'!>tr.3 4>^WS1..>«>;.* EiS^seJ ir? ’AiicwfK.to;                 I
                                       .!t»d l4Kr<®r{si»?.<i«J «>*l»lAW3nrH> f»'            ftari.»««. A»»pjjv>, T
                                                                                                                                                                    as   Sl9aiiie©rp'

                                                                                ='.’ . I

                                                                            r:-k^'’'-                                                                               I                                            f
                                                                                                              «




                                                                                                                                               i




                                                                                                        I
                                                                                                                                                                                                            «


                                                                                                    b


I                                                                                                                                                        i                                                                                                   «




                                                                                                k
                    USCA11 Case: 24-13671       Document: 13          Date Filed: 12/05/2024              Page: 474 of 723
                                                                                                                           1^.3^
                     i#.
                                                                                                A;




                                                                                                          6




I                                                                                                                              if
                                                                                                                               I'




                           i



                A




                                                                                                                   f
                                                                                                                   «




                                                                                                                                    4




    I



                                                             a                                                S:


                                                                                                          »

                                                    6



I                                                                          ft
                                                                                                                       »




                                                )                                       *
                                                t

                                                        ft




                                       I


                           I



                4




                                      .I

                                                                                            I                      f
                                                                                                                   »
                                                                                                     #
                                                                 ft




                                                                       I



                                                                                                                                    4




            I                                                                   T ...
                                                         a
                                                                                                         ft


                                            >       k


I                                                                          ft




                                                I                                       4
                                                f

                                                        ft




                                       I


                           A



                4




        !                              I
                                                                                                                                                           ft


                                                                                         f,■#" • '.s^ii^ifpJiwt.                                                                          «<

I            USCA11 Case: 24-13671                             Document: 13                           Date Filed: 12/05/2024                               Page: 475 of 723
                                                                 >
                                                                  f

                                                                           e
                                                                                                                       *

                                                                                                                                                                                               I%.37
                   4
                                                                                                                                                                                                               .,6 f



                                                                                                                                                                                                                   >
        fi




                                                 .»

               U^^feHOTlI                                                                       I
                                                                                                                            1
                                                                                                                                                                % ^ny’mss -r
                                                                                                                                                                        ♦
               mm„ •m -:     '   .                                                                                                                   flta£ E? V>% Kr*' .-j- '«»w

               ?a^ W5!wa. 5^ 6w ws¥««»a>

                                                                                                        I

               feS. Bwasp CSite!^     *is tecsssrp.)          A»>#ja»a fewH ftsJ^ »«'##% *s!»«J Jn «:r4:83x%
                                                                                                                                                         ttS,J3»»£®^
               »w««.^im5!p!!aite8aCs5»tKs.^Effe8^lswS(a«3£W?J#«t®*-»*M5M<te««:!%ss»                                                         t                                                      i
               l»tr»ft!}sfevsS®3^*^^*S»!>^S^te'te^Si!afe^Tfl#«tei»!S’tWssfWfe»%sifes«»sw.                                                   j ■usma»€Mp:|
               «is^^,        eW CTrewa sasvSOT jraaats S3 fcisSssa£fe,|mste«av^tt«3CT(a3 fflSsSsv 5rt tS»r
                                                                                                                                                                                                   i
    I


               Ks;SSfct«Baifctei@»oJ52&taE5w?5tX8!C!! A-to-teisSW^^swsifboss^testaisjsswo^
               t-'Wfaxi isrl^ Sgi-g;!? K»«.2i) a*®? "'»?. thyesKs^anr fiS» swas Bsssa^a sswwsw                             *«« cirfs                                                           iM         ' :.i
                                                                                                                                            I '                                                I I',           4


I   9                                  wfeis i^tesld
               ® »6i{«5 *«otSkSs*®^ e^te S»£Slrta l?sH
                                                                                   aosSi csisiteswBziteEsssrsa ms gmSisSs
                                                                                                                                            i>   ^
                                                                                                                                                                              £

                                                                                                                                                                                               :
                                                                                                                                                                                                          ■ .£.




                                                                                                                                            i lk                                                               t




               «3l8iS^^8«lr3a5asass%3eie»»£toSfe^Ajl.2:sSsr^»Ea5lMK!s;^«K'WS^Wi!»e53»»: |                                                                                                      ;.;• i
                                                                                                                                                                                                               i!




                                                                                                                                                                             1^
               te^<21^ fe&stf atft 6i 'PKjste^s, fs tef fef *ir^ Tap?, ssafiss leasaidaSsisBii^iiiss ta=^                               ‘                                             \
                                                                                                                                                                                                   1
                                                  I
                                                                                                                                            I"
                   A                                                                                                                                            ■   ■




               Blstcay t«.ai          ____                   . • .; ■ .                                      ' .;■ . ,, . . ;. . •. -                                             ,
                                                                                                                                                                                                   I
                                                                                                                                                                                                        :• ■

               l1wyAa!^fSK»f3!38»!£««tfa3 tl*a«3£Slte teJIn«BS:35>J«%J»^,««MSmi»is?CSSm
               0-’r»7K\ n tmtfim 1»,i    w* A^sw* f»)«J to* # fa-^vA tei#54^ fte UA Kmm
                                                                                                                                                                                                               i
                                                                                                                                                                                                        • -t-
               &a »f*i ^ Bifiw tessw fS:;^ fs»                        «■» Sw- Ewaai sf           p          Baritfi;

               Mj5!srm!«-Jte»ts»w»saffcaEzsfeg5B«««fep?ssay«,‘wite«?3^:sfepw«e( |!Sstf-sr '

                                                                                                                                                                                                           i
               ^«^«2%a«»ri«gjiafe^i-5fBtoassKSja3jS'^r«:a3SiBS-fe|_S'i««,'?^,5®1SSJ5^ ,                                                                                                                  U
                                                                                                                                                                                                          T


               aa^OwsakSi'. £ai»aai»««8«8#i#*f                                                                                  i8»                             U:S^2vr:^tis^
                                                                                                                                                                                                          S

                                                                                                                                                                                                        '■ ;•

               MteMSSlW^ OlOsS® ,Sg*—                  te tlSi, ESS«aS(J> tSC SS»«SS9                             »»■«€ 8f.S!
               ititfvafssa!M;as!:^«a‘»fe»ifefc4aa»!9*roi:®Date®'§<ffi&S'aj^aitea^ . ;
               4®s«^»5ffcte’rj!SsJi^W!'W4%&r,Sfel®a»jS£2»af‘4Sa?&!(j!5«TOt«si»«s&»3a^<feassteJ8>, !■%*“
               #IW»S*8«S.                      ’ ''      ’                     »                                                                 TMsto

                                                                       6



I                                                                                                            ft                                                                                                        (




                                                                 »                                                     *
                                                                  t

                                                                           i




                   A




                                                 . I

                                                                                                I
                                                                                                                            I                                           f
                                                                                                                                                                        <i
                  f.                  fm-ii                                                                   1^       wm^.-
                                                         9
                                                               b
                                                                                                                                                 m
I                  USCA11 Case: 24-13671                     Document: 13              Date Filed: 12/05/2024             Page: 476 of 723
                                                                                             i>




                                  am
                                                  I*
                                                   »? f» iiTi miGA                                 wm.    i
                                                                                                                                                           S




                                  ai» SB MX iJiSE^ e^wn usam                                             I
                                                                                                         I
                                  mmm m.7m mvmim
                            t                                             ass M-.      18“ 6.1§2®-€i«91J                  ^X/V>v
                                                                                                          i
             'I-                   II $ msz(»)                            Ssctim B&*        @5 .         t
                                                                                                         1

                                                                                                               B^mmm

                                         ■ ^«is»«it of llaatssJij*
                                ' S^tog“ #                                                               f                            f
                                                                                                                                      «
                       W-
                                                                                                         II
                                                                                                                                                       ,1.

                                                               '®*''‘ a ..«i

                                      THIS ass Iiiivis®




I                                tfe-aat w& »
                                                                                                                                                       >* .




                                                  I

                            ,                 IT ZS-                   th«t i*fa            Sij iii«ai«ssM f« 3««S; «,<                                I




    !
        >


             I                   1^          If
                                 ^^«fei«i. »»Hs^         ,©3^® -QjKfc- tfes Itofcite to fa«tts fer
                                                 to fl«KMa «» rf C«1 ?s»«e*a» 1.«SC»^ i»
                                                                                                                               fttassijisfft
                                                                                                                                          of

                                                 ,I
             .I-
                                ■s^ m& mzm^ m iSwKtew at ISasi^lJoio Sspirtyi as«r«a                                                      rf'
             ■i                                                                                                                                    I
             ■I
                                  4--W                                                                                                             I ■



                                                                                                                          p
                                                                                                                                                  ■i
                                                                                                                                                  ,f
                                 M-jm W 3:                    wifi 2 J^Bity *^0                     my                                           ,|
                                 ekte-
                                  . , & pafi           , ^ ¥ ttk prooeiteg^ yrnMzmm^ m m^ U                                                     'f
                                               ■p«.7»a rfJer^                               !%»iwwte» ffe E2»®aft                               :f
                                         C4R»t C^at^s JJS4 €^»#a»«* laiw» E. UtiisB Co*tte«»
i       •                       . P^.34».7t75j fI>B43^ 3#-7!f4f; F« |3«| ^^73^ at lew                                             '
                                                               wwt                                             tipm.
                                 «» *wfeS«l«i, m tSe i» »«fit rnm^M ^                                                                           ■ f.
                                 f Ifaf^ y» w©        «r -Sf^«     if                                                                           '¥■

                                                                   i



                                                  I
                                                         m
                   m        p     ^             m

        fi




                                                 .1

                                                                                   I
                                                                                                    I                                 f
    Y




                                                                                        I



                                                                                                                                                               4
                                                                                                                                                           t



                                                                            »                                               #
                                                                             I

                                                                                         »



                                                             «




                                                                                                                                                                              *,i
                                                                                                                                     £kW,'SW -fTxh.T
                                                                                                                                                                                                    I
                                      PORM.6'               WmiJ«»:?BBUC BISCLOSUKl.OF                                                                                                              I'


                                                                                     mmNCML m^mm -                                                             f
                                                                                                                                                                                                I
                                                                                             'a
                                                                                                                                    TO'CfPs:®.                                              j
                                                                                                                                                        ;.WSS®''




                                                                                                                                                                                                         USCA11 Case: 24-13671
                                                                                                                                                                                  ;
                                                                                                                                    rl^SMS
                                           ”~~*’f(#»*'5!««;«')5 sa     *
                                                                                                                                                        Mt^im
                                                        fe»»4«taK                                               I
                                           a«*4feip

                                                                                                                                                               li
                                          niOa Ccrnns&ni^gsa^iim
                                          7S%VH^~^3                                                                                        mA           timSQ
                                          i^smn. m»mf                                                                                                                             .1



                                          • t«if»jUi4i.jyi,»«,jirt4jiwiAjJtJi»i ,'                                                                  i


                                                                                     b


I                                                                                                                                                                                     i'r
                                 am;^fmiSAP%mwAm&>mz O
                                                                                                                    %
                                                                                                                                          Ms»»^ij?r., va-sfyr-S*          j       ;•? S' «


                                                                                                                                         NMiiiH5IPnlMEE.‘'X -'llMHp
                                                                         f  ■t
                                                                                                                                                                                      '£•
                                                                                                                                                                                      V



                                     £,2»!«irwvAa                *»«?•.i4'i»?58»rt»ii^**sW89,«#'4!m*»wsf!{«5if«» pkx




                                                                                                                                                                                                         Document: 13
                                                                                                                                                                                  I-
                                                                                                                                                                              1




                      r
                                'A                                                                                                                                                      ■   '
                                                                                                                                                                                                I
                  i
                                                                      SfSBiiwIwSSI
        /e
                      #•




                                     ■sssas^^^3sss"““'»s                         i                                                                                                          I
                                     15® <^^;s«s-A'rfB!^«ws!ts»g3ete‘                                                           iSfikShm




                                                                                                                                                                                                         Date Filed: 12/05/2024
                                                                                                                                                                                            I
                           1.                                                                                                                                   >mmsf!-




                                                                                                                                                                                  li
                                                                                                                                                                                  55.
                                                                                                                                                    .. .




                                                                                                                                                                                            I
                                                                                                                        I                                                         i


                                      Q^
             :|;
    f
                  I
              ti


                                                                                                  P&5S‘,C •>»
                                mtaj^sassfegss^si^fc
I

                                                                                                                                                                                                         Page: 477 of 723
                                                                        R?>:::
                                                                                                                                                                              •i
                            Wi^^Adsa                                             I                                                                                            if-'




             i:
                                      1                                                                                                                                       ?: •"



                                p-rr^                                                                                                                                         T
             •f
                                          i


                                                                                                                                                                              r


                                                            rJ

                                                                                                                                1
                                                                                                          1


                                                                                             «




                                                                                         A
                                                                                                                                                    «
    1

                                                                           X>                             i^^’in whi. r a                                                                                        ■r        "-■ .



                                                     wmi                    m
                                                      USCA11
                                                        Wm. Case: 24-13671                                Document: 13                                           Date Filed: 12/05/2024                      Page: 478 of 723                                          4




                                                                                                                                                                                    &h.-^: e-xM-j
                                                      '     “k                                                                i;

        I
                                            m< -
                                                                                                                  b                                               !S.TK5P«ClflTC»^J>5J2 .
                                                                           -k
I
                                                                                                                                                                 ' wm-'C4QEt.m>T^*.aoiin>*                                                                %■
                                                ■r                                                        »                                                                                            K¥ISI05
                                                                                                              t                                                                                                                              ^,.f-
                                                                                                                          I


                                                                                                                                                                               cask ■^>' ;>3""--3^^'’'"^**
                                                                                                      1


            i                                                          «                                                                                                                                                                                      £'
                                                                                                                                                                                                                                                              i'


                                            *                                                                                                                                                                                                                 I

                I
                                                                                                                                                                                                                                                          I
                                                                                  v^
                                                                                                  .1

                                                                                 'i^-«plar»
                                                                                      '    |>E^63»!iS.>
                                                                                                                                                             I
                                                                                                                                                                                i                                     f♦
                I
                                                                                                                               «



                                                                                A"'             OEP®                                                                                                                                                 /■




                                                                                                                                                                                                                                                     ■y%: ■
                                                                                                                                                                                                                                                                       4




                                                                                                                                                                                                                                                      I

I                                           m                                                             mmt
                                                                                 ■ - Mmh-.rnt^.                       '            '                     '          ‘               - '^
                                                                                                                                             -                          M-^,

                    I
                                                                                                  III If t^'
                                                                ■'i'                              I
                                                     -}>
                                                                       «                                                                                                                               WtlA«JCSCH|^
                                            *




                                                                                                 .1
                        !
                        !
                                                                                                                                                 ■:>f.                          i   • ^■■^■                           f
                                                                                                                                       '>i

                                                                                                                               *




                                                                                                                                                                                                                                   -    •'   .
                                                                                                                                                                                                 mm


                                                                                                                                                                                              m- ,5, /»<                                h
                            I                                                                                                                                                                                     m.                   Kf%                i
                                                                                                                                                                                                      mm     m                                            i




                                                                                                                          I
                                                                                                                                                                        p.
                                                                                                                                                                                                ■f
                                                                                                                  b


I
                                '                          ^ g?E44 Pg                     CFS                             Wl^wp                                              «f 1 J.%%iM3f 1%. FL                                                                  i




                                                                                                          i
                                                                                                          f




                                                                                                  t


                                                                       i


                                                           »i

                                    I



                                                                                                 .1

                                                                                                                                                                                t                                     f
                                                                                                                                                                                                                      k
                                        1
                                                                                                                ^                                                                                  vaipsr s.%£-.uf:
                                                                 .1
                       USCA11 Case: 24-13671                                  Document: 13                                Date Filed: 12/05/2024                                        Page: 479 of 723
                                                                                                                                                      t                                                  f
                                                                                                <                                                   gpcx-BH e><w. '
                                                                                                                                                                  fe                                                                |.   1



                                   iiiC
                  i




                                                  \f &\f*K-\.h~-
                                                      ■' FtAi;#?-'                          I

                       4:,                                                   .CAsi.m                         ;2iip3*isics;                                                              *




(       9
                                                  W'
                                                                         «
                                                                                                                                      b
                                                                                                                                                          ■S.
                                                                                                                                                          't
                                                                                             ■ •■V


                  : ■■■■■ .3
                                    .         :
                                                                              :>>
                                                                               t
                                                                                                                                                                          ‘       ••V
                                                                                         i




                                          «
                                                   S1S1««'SKSJTS                                                                                                                            . f<5
                                                                                                                                                                                                                          i •




                                                   0Tym'msrnA%iii
                                                                                                                                                                                 ^:i^
                       4                                                                                                                                                                                 - c*                        i
                                                                                                                                                                                                   t^:                      ■ \
                                                                                                                                                                                                           IS
                        |:;        ■SJ.
                                                                                                                                                                                                        %m:.
                       ^ :C                                                                                                                                                   mM
                                                    WMf: ■' ’-vi::"           -                                          asstaissKf-                                   isii
                       t-




                                                                                                                                                                                                                                    I
    I                  ■r;




                                                         •HMS-CaLSS                £«s?ai«i«t5teC4>««.« prA ?«"««»•

                         4;.


                                                                                                                                                                                                                               -r

                                                         I.                                                                                                                                                                  i
                                                                                                                                                                                                                            :p     1;.
        e




                                                          X      AH ee«fi€l2s4riii9fe?«®«e^^^                                                                   ‘'^WAV.5. '.SAiiK v.¥^cs,
                                                                                    k
                                                                                                                                                •^f\.m.Tn\%&l. is^nsthi
                                                                                                                                                                                                                           •       -




I ^     '
                                                                                                                                                                                                                           . 4
                                                   E&ANSif;.' a-EQW ?.jAn;\c-£wi7«t
                                                                                                                                      b

                       '•••I

                                                                                                                                                #
                                                                 .•%3J.                 fercK«»«
                                                                                        »


                               :

                                                                     I
                           :t
                                          4
                                                                                                                                      . :       sefsJ'tsiaefS'            .
            fi                                      ^s^w!rsJe» FQ-gts-s-w                                                                                                                                                      4
                 ; 4

                                                                                                     .a •■
                                                                                                                                                                                                           a 'aa
                                                                                                                                                                                                               :».
                                                                                                                                                                                                                           1: '
                                                                                                                          '.r;'                                                               Is        414,.

                                                                                                                                                                                                                m
                                                                                                                                                      I
                                                                                                                    13


                                                                                                4




                                                                                                                                  I


                                   Bk 2.?343 pg §4P'I5P« 251C«Si|78 07S«I2S10                                                                       101 s                     ci|. rt_              .                 i
                                                                                                                                                                                                                                             4




                                                                                            I
                                                                                                                                                                                        I

                                                                                    b                                                     : .




I
                                                                              »                                                                 #
                                                                               t

                                                                                        i



                                                                     I


                                          4
                                                                                      \
                                                                                                        * ^             U- .«! i                                ^ ™r £2



                      !'/
                                                                                              jii
                                                                                                                                            exkuk?<^-'^
                                                                  »

                            «       Thu NadsT s^f Lit 5*®s^b*:'Ssfef.PtsisaS'ti^ arjriia ji:ie^sSfc sswafe^gF^fei's-it'DABS;
I                ■   CiasBy,l%r:%              fcs                                        k


                                     »7'?}.&SCAVSS SAMiKS SfOTOfJ r PAE? L ACWSm'^ w
                                     fm RATTfe^.AS mimim                     ?ASs*«t or
                                     rrt£ Riaiicfe^aa«W-MjA«i.»ASE cockw^rosj&A'-
                                                                                                                                                                              i '^ ■'


                     ■'i«:mgs^^s^k^sm. i-Kartass^                                                                               a^nwi.;? ta=i? .                                                  t
                                                                                                                                                                                               ii

                     &{<r»j ^ i««# ^ &€«■» m%i» i»s?A:                                                                                                                                         I'
                                                                                                                                                                                              :J
                            f,      Ha FIsial >s«W!^                  bififK,P9X      cm A&$!» 6®. 3XP’-» WSttonaw                              «                                              I
                                                                                                                                                                                               I

                                                                                                                                                                                              I
                        ■   %.      (t*                                        l5.a« ia<Sifea^!p'5»»nrwsj«5te»«P|afc.!ff*ci^                               f
                                                                                                                                                           t
                     pbim^j;efm *teif
                            DOVS-axs. OftaaKO- ® CS^^iJsfn. «J .'J>A7,?»-a?iSil €<?«!%..                                    sfa:i   .nm^-           !<#&■' .«

                                                     ^Sii
                                                                                                                                                                                                      4


                                                                                                                                                                                          I

                                 Jffi 23 311:                                                                                                                                             $

                                                                                                                                                                                          i,



                     C^Wi' ^K**sa«»,
                     aSJ^            fi|«a. PX           k:                                                               ■’'1 ’'’■
                     F.O,2Ir»{|'.
I                    Tw^FIMfc 33$22.Mlt'                                                  k

                     iflpsa^wfc^^sS'ss^^rl**.
                                                                                                    *




                                                                                                                                                                                      T



                                                                                                                                                                                     •I

                                                                                                                                                                                     I
                                                                                                              i                                           f
                                                                                                                                                         ' ^
                                                                                                                                                                                     I




                                                                                                                                                                                     I’



                                                                                                                  ■'v

                                                                                                                                                                                 |-
                                                                                                                                                                                                      4




                                                                                                                                                                              : -4

                                                                                                                                                                          •    •«




                                                                                                                                            »




                                                                                                                               r,Fl

                                                     I                                              *
                                                     1

                                                              »




                                          I


             4



    4




        Page: 480 of 723            Date Filed: 12/05/2024
                                          .1
                                                                                    Document: 13                             USCA11 Case: 24-13671
                                                                                                              1                                           f
                                                                                                                                                                                     rt::';c ill or 22'
              r*
             USCA11 Case: 24-13671                                        Document: 13                       Date Filed: 12/05/2024                                     Page: 481 of 723
                                                                                                                                                                                                                                   4




                                 10KW6                              raLLANS PUBLIC HISCLOSCRE OF                                                                                               2009
                                 ‘" . . ^                                 i KHANCIALIKTEHESTS                                                                                                                                  i


                                                                               ■b' - ' : ■


I                                                                                                                      i



                                              r
                                                                                                                                                           iSQm
                                              frfesi SiSfci^ftiifeaSO rS^Wf
                                                                                     i
                                                                                                                                                                                                    m .
                     ;
                                                                                                                                                            iDtsa
                                                      Osfe^JtafeS.OIlcsr,                                                                                                             ijcaae-
                             «
                                              # WFm§CgRST0« CCUrMT¥C<ruRTHaStl£ SSI
                                                                                                                                                            Cs-»isai!»
                                              5a-|»
        fi
                                              itwa S3tM


                         CKsm^'T««jfe5g^*syj^£;Ara?g«rE O                                                                                                6?e??r<0                   . V^iit a.

             i
                                                                                               'Vaktv oxT^'OJais                                                                       «

                                                                                                “liSt                               jSW S5rS sv-ritB, •*■?«■&'-. ,»Sir-«i .I,*             >/©-^
                                                      srlo^fi «»«, X &!tnsf sw !K-» wJrssfe'B.

                                                                                                            4-
                                                                                                                 T
                                                                                                                                                  ilUjd
                                                                                      i
                                                                                                                                                                                                                                   4
                                                                                                    ?AWB-J5S.«“S


    a

                                                                                                                                                                                                               -           3


                                 ~‘Kt                    8?                    i>!? zi^i^jl t€lKS>> «»,                     <5. S
                                                                                                                                         iSLm /..a,., ,„,                                                                  %



I                    AS®fls«®?if»S«.LT¥.'4&m4tO¥MK.KC.                                                                ^
                         ■                        -JESSSySteji# AS3gf                                   k            tpiS!' fenSrei^tes?^ Jfc^}                                      «Mij.i;»«ir
                                                                                                                                                                                r
                                          M
                                              StLlll:                                                                                                      .J

                   ■:i
                         •*1 ‘t*                                                                                                                                v-          I              ixri.&f?
        »                                                                                                                                                                                                              (
                                                                                                                                                                                                                   I
                                                                                               fxmc^umcmr^
                 , MmefeftfBrcssswsi^fl                                                                                                                                                                            I

                 /               ;■ . .           MS-JSSAfOASSKSMOf^
                                                                                                                                                                                                                   I


                                                                                                                                                                                    i.J C^72*' i!
                                                          *-   <«                                                                                                                      f rT'       i-r-
                         j:uog^ f\«v.                     i   Wi&L- /.
                                                                                                                                                                         il-‘:                                     J



                                                                                                                 I


                                                                                                                                                                                                               t
                   —-:—.— ■ Wgi»S.^:?sg^tt»orrsnp»                                                                                                                      »       i),asmmm%mm,wf
                                                                                                                                                                                                                                   4



                     Nlctr.
    0
                                                                                      t

                   CP Pora «■•?© •                                             'k-
                                                                                             , lC«BSjai«S»«.'t«w«3»s,‘iJ5{a
I                                                                                                                                                                                                         ■f




                                                                           »                                                  *
                                                                           I




                         4n



        fi




                                                                    .1

                                                                                                                                     1                                                f&
        l!=                                                                                                                                         k -
                                                      USCA11 Case: 24-13671                           Document: 13                         Date Filed: 12/05/2024                              Page: 482 of 723
                                                                                                                                                                                                             1


                                                                                                      »                                                       *
                                                                                                      I

                                                                                                                   4




                                                                                         t

                                                                                               p.!-
                                                                *.
                                                       ■ .:h‘                                                                                                                     m'


                                                                                                                                                    Kr fHEcmcmtCOPS!.ca*
                                    !                                                                                                               ii'‘ji-Dicui.cmcyiT is^3®                            ,       £xh‘]f\/l
                                                                                                                                                    FOR oabe coi-xn*.aomA                                i
                                                                                        .%
                                                                                                                                                                      Jl¥jSBlCTIO>l

                                                                                                                           4
                                                                                                                                                                                                                         ■‘<:

                                    1                                    VS'3ani2’-X-4.:




                                                                                'Xli&ss-

                                                                                                                       »
                                                                                                                                                                                               «



                                                                                   .tK3Eg-0&.S5^ami. X’rTH JfSEKJSIClI
        I                                                                                                                                                                                                            «
                                i
                                I       ''                           .   • '7mmyys. -nS:hwi, ca lie cfcfesilsBte s&awi to tfisssss &r fetife ©r pjoaewisi
                                                                         Sen'llm                I                      a« om/iG,ij|?EiJ|'acli^pt2»ffeeibTR'&; !.4§|e’
                                i*                                       W»                    K?^ 1 L-J'/OS f2> ‘iiszvx.'.Ti^ rs»rd !?siwfey                                    :.?cr jasaasi
                                                                         ^rrfcff                                                                                                       %tberciir^ - f
                                                                         ,-^ l-tf fi-S'pfi'If         sk}*<.i.^                isa&J n-pv tilts t»»50 i*!3sti!l ratE&i pea«feg„
                                                                                                                                        "" ""                         "1r*s- .
                                                                           !!' IS #i}S» Ifea                                       Wss^^mih&.of,BM&^m9-'>u “'C/.-;':;
                            I
                            I
                                                                           I?0:s             C:CEK£v i“ Jiao,i5?p» r^t\Ti-it. ifeii                                          Ff.’-'^di:>>■ yl± th'
                                                                           '       .'SC.k. 4
                                                                                        .1

                                                                                                                                    1
                                                                                                                                                                  m
                                                                                                                                                                                                     f
                                                                                                                                                                                                     4

                                                                                                                           «
                                                                                                                                                    ttsCi'^'-A


                                                                                                                                                I



                                                                                                                                                                                                                                4

                        I

                    I




                    I                        I

                                                                                                                       I
                                                                                                                                                                                           %   «

                                                                                                               k



        I
                                                                                                      »                                               4'
                                                                                                      r

                                                                                                                   »
                i
                                                                                         0


                                                                i
                                                                                                          'i
            I
                                                 fi

                                                       4
        I


                                                                                        .1

                                                                                                                                    I
                                                                                                                                                      !   .
                                                                                                                                                                  I                                  f
                                                                                                                           4




    I                                                                                                                                           \




i
                                                                                                                 W ##   £M4LH


        USCA11 Case: 24-13671
                           .I                Document: 13                         Date Filed: 12/05/2024                 Page: 483 of 723
                                                                                                             I
                                                                           I




                                                     I
                                                                                                                         -t
            s?
        »                                                          f«***
I   m




                                             I                                                        *




                                   I

                                       1^;
                                                                                                                                                -I
                     .I


                          Wfffi




                                                                               ,«70IIMiy
                                  .I

                                                                                                             I                  f
                                                                                                                                %

                                                                                        :'*t ■•■•^s-'.-v"
                                                                                                                                            i




                                                                                                                                                I

                                                                                    I
                                                         flf   •


                                                                                                                                                     *




                                                     I
                                                                                                                         «

                                                                                               >* ■ m* ...
                                                 k



I
                                             t                                                        #



                                  CSdilte




                 «



    >




                                  . I

                                                                           I
                                                                                                             t                  f
                                                                                                                                «


                                                         «




                                                                                                                                                     4




                                                     I

                                                 h



I

                                             I                                                        *
                                             t




                                  «
        \

                 USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024                                                                                 Page: 484 of 723
                    Fi&g s^142-l«562#'E-FiW §!■ Jl '3022- IB2>II AM
    I
                                                                             I
                                                                                                                                                           »
                                                                                                                                                                   ^Xk-^S
                                                                        b
                          r

I                  ■i^.
                                         {:s THC: aacijT cm^rm imE s&£\ E\Tii'ii:oici:%t
                                        ciRCiit iv .«a rdR «L%>ii-ii.i9E                         str, Pijmm.x
                                                                                                                                                                   Exh,C)                   I



                                                                                                                 *

                                        cAssmia             imAsm
                                        miioxiea^
                                       -JUDOE: Vatirria a.                  Svhng                        v.r;.

                          A



            *                            MM'mCf, ?xnm iate;
                                         FmmSHi
                                                            . I
                                  .'■- xs.
                                       -V: -



                                       , m, mxKM, x.iTfox« ^ASKJi'i mtA ti                                                   *
                                                                                                                                                                    f
                                                                                                                                                                    i

                                                                                 »

                                                                                                                                                                                       I

                                                                                                                                                                              ■        i.
                                                                                                                                                                                       is


                                                                                                 I                                                                                     I




                                                    THISCAt'SE. «3iis?fete?&C«iim •^m <.pin»f*viw45feCdi»l«kgfei»> StftfecJ'!&■#«?
                                        W'gsAssimmbm^p^t: '                              ■•’                                                   ‘
                                                                             I
                                                                                                                                                           t



                                                    OliaElE& AS^,A^SmG£W
I                                                                                                    »




                              >
                                   •           I. -Tte;                     t'k’^M t«frf ;r4;c             f«L«as ksmhlmisi iunfier-cm mk-^'^mcn
                                                                     ,                                        *                     _
                                               llhka$c sfiall       ftasSs.1^ w                          cif shu Clf^ail 11% ll DF hmx k a^ofco
                                                    wtibss^M»h«jpfj®g4ifsfc;,                            r           ■           ,
                          A



            fi                         |5IJK£aai,CJ^Eil£© in Cfomk^-i <$ J%f                                                                wc-fc- 2 i>t'Ja\‘ a*'
                                       imtmrv. Zi&l.                                 '                                   '                                     .



                                                                                                                                                                    t
                                                1
                                                                                                                                                          1"^
                                                                                                                                                          ^.*1L

                                                                                                                                     Vi&ritf ft , \|0i>f$o Smert

                                                                                                                 rr&ci’if COVET jriBCE                                    "       I
                                                                                                                 SlectroiialJy Sjpsrti                                                          4




                                                                                                                                                                                  I ■■■■.
                                                                                                                                                                                  %
                                                                             I

                                                                        b



I                                                                                                    k




                                                                    »                                            *




                                                             I

                                                                                                         i:
                          A



            A
                 T*:

                                                            . I

                                                                                                                             I                                      f
                                                                                                                                                                    <i

                                                                                 4
            USCA11
                I ^'h'
                      Case: 24-13671                                                                    Document: 13                      Date Filed: 12/05/2024                                                i;
                                                                                                                                                                                                                                        Page: 485 of 723

                                                                                                                  I



I
                                                    ■If i"'                                                  6
                                                                                                                                                                                                                                        B^h -33
    1
                                                                                                                                                                                                                                        Bxh-p
                                                                                                                                                                 »




                                       '^^r-
                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                               • , ;




                                                                     |F^«:              • • ■ ■•

                                                                                                                                                            *
                                                                                                                                                                                                  !?»»■■                                         ' •
                                                                                                                                                                           i
                                                                                        »
                                      ,fe
                                                                                                                                                  :l                                         t-SW
                                                                                                                                                                                                                                                              f
                                                                                                                                                                                                                                                              «

                                                                                    19«S:C4l&i (SSKT^
                                                                                                                                                  «« wcas.                                  b3 C5«                              fcv..
                                                                                                                                                                                                                                                            •:!5                r

                                                                '®*                                         Pcktiy*
                             ■'..v.                                                                                                                                                                                                                    ;■
                                                                                                                                                                                                                                                                    ■

                                                                                                                                              I

                                                                                                                                                                                                                          ■p:



             •4
                                                                                                                                         ’C»1 .“W^^ i^fssy rar.kSKiv



                                                               iBffi MS esseeo ,                                                         » to, a^, a,*,. ,-k;«,v! ri, ,7=..-., «
I
                                                                                                                            '■ ’■•        '            'vs-; '-J                                  vs-

                                                                                                        )
                                                                                                                                                            f    *
                                                                                                                                                                                                                     %
                                                                                                        I                                                                                                            4




                                                                                    a
                                                                                                                                              CSOi}? COlST»>gSGg                                                     ,.
                         i




                             k.=
                                                                                                                                                  vm -W,                                                        •Kt7A7^
                  7:..




                                                         mm
                                                                                                                                                                                                                                                                        ■I ;
                                                                                                                                     f^ms^
                                                    .                                        m'x mti-yn zo
                                                                                                                                     I
                                                                                                                                                                               t                                                                             fi

                                               ■ -.r
                                                   • ■ > mn-mMtu-i. msj smjm'mnm m sm                                                                           -•
                                                                         , . ■;
                                                                                                                              >:•
                                                                                                                                                                     '■i
                                                                                                                                              \
                                                        iW' '                                ,:■>                                                                                            >
                                                                                                                                                                                                                                                                        '•i

                                                                                            A :;
                                                                                                                            I ^•'                                                                                                                                                      4
                                                                                                                                                                                                  :i-

                                                   &■
                                                                                    P                                                                                                                                                                                    ^y-
                                                                     ..f!.                                                                                                         •::».■                                                        ■ r
                                                              ¥■ :                                                                                                                            a         v^'-.


                                                                                                                  I
                                                          '•; •’
                                                         P :-:\y^
                                                                            ;-;i;                                                                                                                                                       »
                                                                     :#
                                                                     /
                                                                                                    «
                                                                                                            k


I                            i-l               I                                                                                                       ft
                                                                                                                        -




                                                                                                                                                                                                                                            j'
                                                                                                        >                                                        *
                                                                                                        ;

                                                                                                                 ■*■'                                                                                                                                              3^


                                                                                    I


                         a



        >




                                                                                    .1

                                                                                                                                                                               I                                                                             f
    I
                                                          yww*vi:::rwR ;|:p:B:                 IREKS;tl;i»:t:ii^,:i:              i^'Iii=y^«.:£ri.ViMyPI
                *

                    USCA11 Case:
                        MACK     24-13671
                             W£|i.S        Document:
                                    AMD MAtlMCE      13 Date Filed: 12/05/2024
                                                SmONETTE                                                                     Page: 486 of 723
                                                 .»
                              l^laialis.
                              CASfc,23-C¥-2m#fc                                                          I                         ft)

                           %
                                                                                                                             EXk.SS
                                                                          «




                              US.BA^iv NATION/U Ai>S5Aii;iATlOXEi d..
                                                                                           I


                                                                                                                                                           J




                                                                     I
                                                                                                                             t




                                             Mmi9A^jFB0MFaHJIL[IL.M£CyMLMA.CAli0»MCRPEil$AS-&
I                                                                               MiWOKAgaSISHAW

                                                          »                                          *


                                                                     9




                          Pfs^wittoFkHidsStsj. 112.131,FfoadsEwfe 2-160(tljCTlPecIsral Mules ©fCivilftoccdure Roleii^
                          ■ t^laoliffMACK ^t^ELLS licrel^.? files ihis Mi^Iyn for Relief& Bjeeusal                  Siipporasg MciBi^nailiEJ.
                >
                          fcprdiBg ag.Jiie. 1T1K3                        L Sanctei w.'lew «f lie ajceril asJ ¥imi            Oi&ir. iAIiMtJ.,
                          teed m tMt toltewiBg 6|is. zm tafefsjjiiea, justieiah, ja4ici3l roisfewiJttcw Iraafekst graafsdt' aad
                      , iMD^'efcd «m8iet af peroral awimeti:tomsls «a ffcamnal Spcfe^rcs of Judges sni. oSIc^ f>f thk
                                           IJ)Attected- IIS.BANK Sp&dal Siaafian Bsi»itv- FpyJs Aceooa Pegs ^2. irit^ 3W8
                      i                      Filmfs- US,BANK.Flwida Sateaiam,Jasi|c Carte lUp« HMwiai t®cj«sis .li ^ropetif’'
                                                                                           1

                                                                                                 i
                                                                                                                                                           4




            »




I
                                                         t                                           *

                          Ju^frfugnl© S3sd!« «aiist IijisJse.himsQlf forsff ©pea ©fevious Cjaafllct of laterest b&csum he's
                          dojAg hmrms wfth U5 Sunk smi telpini thera to mate mmn »flat he srs mate mooey ^■
                          I




                                                  .»

                                                                                                         i                          f
                                                                          4




                                                                                           J

        i
                                                                                                                                                           4




            »
                                                                     ft

                                                          .. .   ^




I
                                                          »                                          «
                                                                                                                                                               1
                                                                                                                                             I
                                                                                                                                                                                               ♦
     1


     I                                                               USCA11 Case: 24-13671                        Document: 13                    Date Filed: 12/05/2024               Page: 487 of 723
     I
                                                                                                                                                    I


                                                                         fomstoslng and taMng Isieallnil m oropetty wWfe acttofasidt« JudgeotWI'S® on out pioptr^,
         I

                                                                         mton case's Merits totfcr to make his and tlieiw reoney lltegaHy, Here's proof:tn Ws,S2ES»
         I

                                                             ■           Taltefep^eaatted FyiL,jWP.gpyci
                                                                         M thsi he^$2S0,mfti witft Wellsfmmi                                                       to?mmm Bank E)ch,l airf
                                                                         first «oirimii to*is Saritn« Sairic Mi.F,which & bs&ttej* Sscfcs.si&j                                       is sxs.sanfc is*.,h
             I .
                                                                         Who has ftrfe<lIn fewr of «S                               is a ilsroye.ConSfeE of tet«resi splo«r w      tfere's ww.I hi?#.
                                                                         I&mtf that Oi;f w$e vbsolrwSei to ptfesr io%es i» tills sew P©fti aO                        the sains CsrtMa of i«t«sllie;
             I
                                                                         ■ Ju<l|8 Valerie aaitao SiAiKr a Jai%5 we                           «•!|w«P&« totooar cas® after Jodfe Zalwi                 SIS.,
                                                                         Ranks iowwit                     with PreJsjdice feecause tl>ay n«ir te fr or «MWte# Che flOS*aftd then one wear l*ftr

                                                                 *       Jn^ge Wttrfe'.Maw $chMn got.$»,OSJQ from 115, fsnk ac»fdh^ to her Fcrni & finaRWl Oi$cte«fe
                 I
                                                                                     e*.I. m4 then                     lBS8iTeii,hE«®ff           our«!» withow «wBje«iinf ssanjd!snf«es|;tf]e :.
•■               I                                                       ».» wife P'r?5«dl:g llce.jyg® Zsbd did, B*.1L So » to awS^ tite ijw whi*' arsOiSiser Ji.Kt§^s;iiROf .
                                                                         efesKsg® 3noft»JwJ0e!E erdef w %^-mvm Or€«t Coiit »<'she mala fts satna Ofidcr » sN coaB r'Xge ter
                     I                                                   mm Orte'to iflmlss wMhoat Pf&jwSce.aft^ sot                               SA ®3^n ds^r plus $<SC»,tXI0 <3«iar aiciRev .i»et
                                                                         from '5MAC which i: US. Basfc                              ihtchained her ftvm Older » Dtemi^d witftW Pi^iiidice Exh.W.'

                         I
                                                                         Mill then               a $2-4 mtlllcu okjiw^ es$M tam W«fe Fas^s^sritoife 5*us 8 ^OOJfSM? dol&r Hisney
                                                                         ^»sS:from              whiA B. UX ter* &h. L,"fe^saaieCBfiiffijasrf Intersthatita%e l«jw* few, wwicb -swfey

                             I
                                                                         she iecu^ herseSf B*.fl as dii Vwaiwe Pel isft'&IsS »tf they atef with    Sfehtesii^ar vfolah^J FI
                                                             $
                                                                         E«ls Um fHI-lJlsM <dM mtmsmtiMIr Motfea to iteoM &!s,U^ ¥ &W wftWn 20ds^isihi* mejn'. Ifel
                             I

                                                                         oar'Maaon tofew fe »t©matija%            wd ai of'feafe* OffersIm      rOTs?we!l f©rertg.?l feict
                                 I
                                                                         the-tWgtesf Jod^ 2a&»rs^0fir ©f'Bkmssal wilt Pr^adtee. Accoriag s& htr fer» § Fmaoeaj!                                        to
                                                                         0>a«w8f«4i^ge Miefs OBanfml                                         ix&. M,fatid tora otfie? Witite»es saw Jadg^ Zsbeii's^p^
                                     I
                                                                         fee l?KS5«t«I ss^lii               ^ilX,V and,?swifesZW-lZCOZ-CAIIi <isaiw dfemissed EidiZl «d 22 ih
                         •i                                              2f» the         of €mmr9mmei&t Jifd^ {fteiifasal with P/fifsafee off the Eteetet S»»«se thi? 0'<‘fk of
                                         I                               C5«rtstew'tte »me $,&Rfite iiitt«e^ m lissige Vaigirle Mswa Setarr ®««rsl}ng jfe Form 6 Futt sai '
                                                                         Pafefe f3S1scJ««r® of Rmmclal Irtefst te hasa wiSRuy tonfifet of interest wife Weift Fargo whieh % US ftaA;'.-
                                                                 4

                                             I
                                                                         ,&h.2$ m'                  of                     wMA k why tho Cbrfe of e«rt»                    tfe» mid&am off tte
                                                                         And ,fee«i.thesB  Is^vyers Foreclose ^K&io«t noSfw to as and w® want ferew® 10i’Wr %r*.f as® *@
                                                                         P«fe« fef*e aOlG &m which hod'no co&e w ®sslsm»»nS3i.»ItoS« 9f%4 no Mortgage Osn-etiil^o U5
                                                                         SaBk.frani                 « B*.0.th® Mmrlm Symoame did a                                  Title Safe snfil after 10 ycefe Jod^
                                                                         ¥3tene‘M8ni» S^arr                   m Si3ln‘®ftd                       ftgrthe £«li vihkh sh® ted dong W takins mom^
                                                                         ISSSS^OWI ferm                     Sate to sJwl owr prop®ity svifi tiwwgh w*-we« rmWas- tte                               this »£
                                                 I
                                                                         Hpafe ISt FiSui fh fe                    mi when'she saw she wascsoght fe«p ter awn Worm § AfSd»it sea wS
                                                     I                   'issidps®® 5he-lle^«4 teimtfesiMclillysftwwepaMferfewspspar^adsawl'RadioWCemm'efete.'a la*.                                          4




                                                                         TTdfikgoa hersnifeioiMRgtf»t«» haw immi her over to                                FS! w Cartes        mast do luecause be tes
                                                         I                                                                      I
                                                                                                                                                                                       .*.

                                                                                                              «        k



         I                                                                                                                                              k



                                                                                                                  »
                                                                                                                   »

                                                                                                                            *




                                                                                                      <


                                                                         4



                                                                 4
                                                                         k



I   m
        USCA11 Case: 24-13671                             Document: 13                                                Date Filed: 12/05/2024                            Page: 488 of 723

                                                              »                                                                  *
                                                               f


                                                                                                                       L»L



                nNAr«!OA1.0iS€XOSIiM.II£PORT ^
                          iiaCP                                                                   (                                                             I         «;&3!a
                                                                                                                                                                                         «
                                                                                                  1
    A


            VU ISV1STME>TS mS TWJSTS                                                                                  tmtmufi                             •sw             ■<<1*7 fmlum

                                                                                                                                             itm


            '™j iwilllto                                                mm                                    I
                                                                                                                                     i                                          f
                                                                                       i                          €
                                  i«r' :



                                                                                                                      m                                   »ll
                                                              rnmm.                        ^ymm-
                                                              mrnt
                                                                                               mmt*




                                                                                                                                                                    T""
                                                                   A              I                      $            f


            r
                                                                   A              i.                     t            t                                             I
                                                                                  %
            -s                    ecsi».i«*«*j                                                           I            »
                                                                                                                                         I




I               M:   'i                                            A
                                                                                  i
                                                                                                         1            T
                                                                                                                                                                    i

                                                                                  I
                                                                                                                                                    <!<
            j» UMllP                                               M                                     I            r                  i           i
                                                              I
                                                              -I   .. ......->.                                                                    4...^
                                                                                                                                         f



                                                                                                                                         I
                     c                          <                                                        I            r                  s


            UlL
                                                                                                         m;           f      •           1           I
    >

                u    rn^kmmm'                                                                            I            f


                                                .1                                                                                           tmm.         f
           f


           i
                     I                                                                                   if I         r
                                                                                                                                     T
                                                                                                                                             mfrs         J
                                                                                                                                                                                f«


                                                                                           «;            I            T

                                                                                                                                                    4-                                   i
                                                                   A                                     i            1                             I
                                                                                                                       I

           j                                                       A              ?                      #            T                                   I
                                                                                                                                                                                             4



                                                                   Us 1 SMrhI                            1            t

                                                                                                                                         I-
                                                                   A                                                  T'                                            I
                                                                                  J.
                                                          >        A              !■       Aarnm.        n            t
           i                                          4                  •        J
                                                                                  I
I
                                                                                       m              mmam            m^rnfm- wmm
                                                              )                                                       imm mmrn
                                                              t                    Ammm-mmm.



                                           %■
                                                4


                4



    >




                                                . I

                                                                                                              I
                                                                                                                                     1                                          ff


                                                                                           «




                                                                                                                                                                                             4
           •




    A
        USCA11 Case: 24-13671              Document: 13               Date Filed: 12/05/2024                           Page: 489 of 723
                    -.'i WikipebiA
                     W IhePaelDi^clKaSa'
                                                                                         I                                   f
           U.S.'Bancorp'                                                                                                      4




           IJiS. BaMop                      las;                   ,tfi
           fank Mdifig coiBpasj based ia                             MuMKefe^
           nnd jwwrporated hi                        It is tlie parcat a^mp^BV
           of U-S, B^k Nationftl AitsomiJoa,iuid Is the fifth laiie^f
           feriHsi'fe^tuifen 'lii &e/TO                               ' ^ j||
           pn^p# Ij^fciis.                 »iarlgi|e*' 'ts^.- '®d :,■;
           piym<»»r senic^ produQs to infl’miuMs, biisittes$rs»                              m

I          ^o-vdfmiierftM urititksi-. aind: ether firmer to! isstSaitloBg. A« of             ^
                                                                                             m
                     it-- had •5.10& btaaclies and 4rS42 mtmmMd tfBer
           jaacbiBes,, primarily in &2 l^»tero w«i Midwestern Uoitei ,                                             w^m
                                                                                                                   i'M®
           Stetei.l»l la 2023 t mrki%^ 14$* ^ the Fpramo.soo.W |
           aai it is cansidered a, srstBmfply .im|»rtoit hmk hy Ae                                    *
                                                                                                                   1 #■-
                                                                                                                                                    <1



           ftiiajicJal StafeiKtj’ Board. Tbo company^ owns Efaww, 3                                   P®                                             i

           procesor of c^it carf craftsadioBS for mmsksmis^.BMd'
                                          > eteift--ard‘                                         '?
           er<»dis card prodiK^ 011 fedliif'4f• spal ■ -osife .pwpiJS anJ.
           tenl® a«-o$?         lf»S                                                              ■:^
                                                                                                  ' t?                        ^
                                                                                                      di-
                                                                                         I
                                                               I

           IJJ3. Barimrp operates oKier tits sotsoai'OM?^ miMmom                             Ws^m
           EMfoual eharter, ori^nally Citarter #24 jpusaed m 1863
               fylimving the passage of file NaiiMa| fepk,i*ct Earlier
           ohiiftefs-lmiw         as baafes wigire closed or 3K|tjJre4
           rakiiif y^- Bimk's 'cteiter BWialwr Eom #24 to ■/5;2. Tbe '                                                                                       4




           okfel rational rfesrtar. oripaally gsnted to ttia Fin^t
           Mafioaal Baalc of FMlMelffbijj,, is held by Wells Fargo,
           .w   tiicb wa«.obtsMcd »poB its mei^er with Waciovk-^^f
                                                b



I                                                                                                                                 .«*   H," -   '
                                                                              ■; ■

           Histgry-                                                                          Osrp«raieh«cJquart'if'j. U.S BanceTp
                                            t
                                                                                                            Cente, i« IVtinr^e’^pySy
           The U.S. Baak name first apjmred as Umttei. SlsniK j Trade iwne
               Natsooal B»ik of Portloiiid, e^bfebed la PoinisMi*                                                   PaSjr®
                                                                                             Company                                                     ;


               Qstfgoa, iti iSpaJ'^) la             it merged with Amwortii J
                                                                                             tfm
               K;^oml Bank ef Poirtlajid, l>»l. kept ilie Uis. Katlcaal 9aak ?
               eame.M It cJtanpjd its tsame to tbe Umted S»«. KaiksBal -J Wed»                                      WSfi: USB (kap^mv
                                                                                                                    tMMfm
                   of Oregon in iQ64i^)                                                                              ms’.mn)

           Tlie oestral.part of thr, fgtutii&sc dsacs fcoitt|i864» wi’f* tfeej ■                                    SSP lO0^nip»MS
           ifoOTStionof Rfst NatioTiai B&nk of Mlaneapofisd^l in 1929*                                              s^seo
                                                      *




                                                                          4




                                                b



i
                                            »                                        *
                                            I
                                                                                                      i

        USCA11 Case: 24-13671                             Document: 13                         Date Filed: 12/05/2024                                                                <5^ 55
                                                                                                                                                                       Page: 490 of 723       4




                                                                                                                                                                                     axh- X
                                                                    I




I
                 msm 6                         F«LL AS© ?1»I1C B^LOSUBE OF                                                                                                           2088

                 ■                                       If HNAWCTALINimiSTS I                                                                                     '                 im
                                                                                                                                  ffiSWWS                              ittscisi
                                                                                                                                                                            ?■
                                                                                                                                                                        I
            i

                                                                                                                                                       OCjSSf
                        ^J!flSaC^v't<6£5*?ls?                                                                                                                  1

                        fe!steC::»a%                        1 «5             P ^O'CESSSB                                                               5S««1
                                                                                                                                                               I


                                                                                                                                                                        2TC3S0
                        ai«,Ft 2313f>mJ

                            l!ti!lJ*wfl<»»«H«flf>ll>»«*4lls«l#>P'!»w8WsJ»?*»^»>>$     I
                                                                                                                            I                          Cart                      f
                                                                                                                                                     C p»asi s«

                                                                                                                                                     Mamo SAitrr. 'wa^af'':; R            ■
                «:«3>>fi«®A»«avAW«%TE                               CJ
                                                                                 •. I f -.-           ■. .• • • - •
                                                                                                                          f», itesOTcsretstelse^^'S^-wW*!!




                                                                            V-            i ■' : ..                             :-v. ^ i i .v,;: -




                A«Wft»WS*U?mWid-«»«.?»:                                                        , ,         ; : ■;

                                                                                                                                                                       lm..m%m
                                                                                                t


    *

                            ‘ ^‘^h.ZAJ4lA%vr2r:&LM!^^
                     ii            w I 1
                                                Ki


                                                                                                                                                                       HSSm

                ■tMmMi
                                          liSISS£s*effiai?«S^*BiA»7i
                                                                         ^-^falfeteagSi,
                                                                          1^'
                                                                                    u/iic-f
                                                                                              ,j e.^as:g-
                                                                                            "s?iii
                                   «ii.<sw «*»i*a«wae»s •mcmm^We.                                                                                                       ^w^gar gr&^aafetfy
                            I
                                                                    f?

                     fTT^                                       b
                     f -J
                                     S£J
I                                     i

                                                                                                                    :plii
                                                           >                                                          »
                                                            »




            i



    >




                                                . I

                                                                                      I
                                                                                                                            i                                                    f
        USCA11 Case: 24-13671                  Document: 13        Date Filed: 12/05/2024                            Page: 491 of 723
           r'?                     .1

           ’• I
                                                              I
                                                                                                                          f
                                                                                                                          <r
                                                                      X fi.fc c%r.IT I

                                                                      fiifo^oi*-.
                                                                                                             tW**


                                                                                      1%*^


                                                                       %pnH.^i-* .
                                                    t
                       * S »^-A'
                            •***»»»«

I                  •   V*



                                          *    \
                                                I




             i
                                         ^N»c* ■«»-»«»"“f>»                                                  ‘iji^r
                                              Vi-' •':™«
                        s#vw                        iwa«r, t.l W’ vm * ®*"
                        And I ij               ^

                         it &i#is«*i.o
                                                                  ^%iww                             rmm^ *» «•
                         DJjWE *>!> CI*0€ltE'5* #                                                                    ^1
                                                                                                                    A'
                                                                                               -




                                         tfS I* tt-                                           gpgvff'SSr- A tX k

                                                    I




I   #




                   ri
                            I

             4

                                                                                                   ' *-f,.




                                                                             : S. •       i

                                   . I

                                                                                      i
                                                              1




          m.mm p^mna^n Witminm mmmw 12 «n ? i^f t«1                                                             sip, ft
                                                                                                                                        1
                                                    4


I

                                                I
                                                                                                                                                                                                   @0
    USCA11 Case: 24-13671
    r                                                                                 Document: 13                                                        Date Filed: 12/05/2024                                          Page: 492 of 723
    I
    i                                                                                                                                                                                                                                                             A



    I
    I
                                                                   Si:LLr.S?l PI BSiC BiSCLOSlSE 01-
                                                                                                                                                                                                           i
    1                                                                           |: f           .                       ;CIAi.!\“i£l«-3TS                                                                  I
                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                          t
                                                                                                                                                                                           r              »;
                                                                                           k
                                                                                                                                                                                           I                                                             I
    I
    I.                                                                                                                                                                                     f                                                             I
    !■                                                                                                                                                                                                                                                   I
          •i-                i
                             If

    I     i:
                                                                                                                                                                                                                                                         I

    :|                                                                                                                                                                                                     P.l^:
    I           A                                                                                              iy«^
    I                        JS W                               f ? t'i^
    |i:                      • i.s«                                                    •
          i
                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                         I
     I:
     I:
                ZSVmn’f%>„ C#.> :»•« i                                           X,A't: s
                                                                                                                                                                                      i
                                                                                                                                                                                                                               i.
                                                                                                                                                                         '153^ !^'
                                                                                ’.1.                               r

                                                                                           i             ■■s                 s
                                                                                                                            fc*




                                      «» «»»r»«<fe,«'£rf                                                       :                                                        ,,      . .. ,,            .                                 >*." ’>$■ ’-mmm^.
                           '•i.'Wf A *■-?#««»»»                                                                f                      »)»»*■                                                        ’
                       -                                                                                               •'                             .   , '                        7'%
I
                    » y                          -'ll 1          4-A^.V 'Iff f                                     '        ■ ' ’■'
                                                                                                                                                                                                                   .f«;
                                                                                                                                                                                                                          A
                                                                                                                                                                             ;##                                                                         I
                    '■•',3                i:»-{:>'*!'■«                                                                                                                                                                                                  I
           I'




                                          ' ■ '. "                          I     i                                                                            *-                          i   c    ^ >                               MiM                w


                                                                                  m                                                                       '§                                                                                       m
                                                                                       t
                                                                                                                                                                                                                                                  ^m.
                                                                                           ’$M           ^LA*iaJ4.                                                                                                                                           "i


                                  m       . . ... : 7                  <                                                                                                                                                                          m
                                                                  >5^^

                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                             ;i
                isa -gihem A ssasscp                                                                                                                                                                                                 .',3?-i»5:              I
                                                                                                                                                                             :i:'l
                                                                                                                                                                                                                                                      I
          f
                                                     M
                                                          ii':IK:«i::4;l:**
                                                                                %
                                                                                       WM
                                                                                           m
                                                                                                     *
                                                                                                                   HM IP* i ‘T '                                                il
                                                                                                                                                                                                                               tr:                   “f
          n                                                                                                                  ^ >^X
                                                                                                                                       M-^                      I                                                                                        1
                                                                                                                                                                                                                                                             I-

                                                                                                                                                                               I
                                                                                                                                                                                      w
                                      f          '} ''      #rii£rX|                                                             rv            fe :       ^Mi:&                       ft
          §
                                                                                                                                                                                                               m
                                                                                                                                                                                                                                                         I
          i
          I                                          ’..im.piziimSi ■&^'m <^'.z\':.
                                                                                                                                                                                                                                7.i7ai:iiiMat«.                   J

          r-.
                                                                                                                                                                                                                                                         I
          i
          I                                              ^jfjisjsisaas!^


          I                                                                                      I                                                                                                                        «
                                                                                                                                                                                                                                                    1
                                                                                           k

9

                                                                                                                                                                    k




                                                                                       »                                                                                        »
                                                                                       I




                                                                      . I

                                                                                                                                                                                      i                                        f
I
        USCA11 Case: 24-13671              Document: 13               Date Filed: 12/05/2024                           Page: 493 of 723
                                                                                    »
                                           f




                                 I


            A




                                 .1                                               ix rwECiRUwcusurr ©►
                                                                                  11"-Jt:DICi-y:^Cma/1iTl«J«sl> #
                                                            #■    I
                                                                             PORD.^t'^L'N'n.FLOiiro^- ,
                                                                            UENEKAL A*R:*BtCTt£P« l5IVi$rov.
                                                                                                                                              £xh ."^5
                                                                       t
                                                                                             :.'%SE V?! zS3F*i--*'‘‘"*2s '


                    rs Bank


                                                    I




I                                     i?




                                ORDER                            'S5.Wi®£JW2f^
                       This Mwa wJttJsessS ® a»!!rfteteiis saosion a) *»*totjrlacfe«>rpmsBBai»c^
                    ScT->-wiMi^j5r! iiJI'fiCt-.I'm:coattSsisissir(l;»ti<5ti(»pesi»il>edl^                           L-tSRJ
            «        •5l-s5«S«'ec[ cm AOT 11 jg«S.                           niias(rfa^^                       year pnK*diag
                    Sa^k<:Ofi*»e'feBn»:HE&7KSlkc_4jiaasSEyJ««lid»j3Saoi<3ri|]p<^                                                        •<•
                     AiiJ            pam- fa sfaA* ijjix; ijsus#           iliis idioa sfevcrld jgiaair. *:«n!(fe^,
                     •Vp^winfeygt^y--                                                                                     " .   .
                      ?Y|<y r>ip:^frgr> Th<r ;iw{ii jcBt-wn i« Dktetaiaiaet ferlagfe                                  grgyxtee^
                      DOlift /CVD OSS^ERID itctesrJbSjS^® J,€amL4aiii4C»nn{:.’. pLxlQiih’s^ith {te|p
                    ’ A'iardl.JtvI.             ■                 .
                                                                  I                      1                                          *
                                                                                                                                    «
                                                                                                           i


                                                        4




                                                                                                                                                         4




    »
                                                    I
                                                                                                                      «

                                                h



I                                                                            ft




                                           »                                         »
                                            f




                                 I


            «




                            4


                                 .1

                                                                  I
                                                                                         i                                          f
                                                                                                                                    »



                                                        4




                                                                                                                                                         4
                                                                .1
                                        USCA11 Case: 24-13671            Document: 13                              Date Filed: 12/05/2024                                       Page: 494 of 723
                                                                                                                                          I                                               f
                                                                                                                                                                                 0ch.s5
                                                                                                                                                                                  ExK. H
                            i             /A-'-                                                 4 iX' T                                       CfKCI^
                            I




                                                                                                                               r


                                I
                                                                                        I
                                                                                                         j8g>,i;Sj»r4r%                                                     «



                            I
                                                                                                         m
I                                                ^W:
                                                                                                                          k




                                                                                                                                                                   ».«!■« «»**
                                                                         »                                                          *
                                                                          r


                                                                                                                                                                                 ^j;
                                                                                                                                                                                  H4
                                                                                                                                                                                   <?*

                                            I
                                                  of                                  • '       ■'   ■       ^


                                                                                                                                                                     ■i'
                                                                                                                                                                                      I



                                                                                                                                                                                          f
                                                                                                                                                                                                   I
                                                                                                                                                                                          «

                        I                                                                                                                     ► ?«tT
                                                                                            fy i?«',np rvf f'«;>^{ * l^**- l'X'»' * ■
                                                                                                                                   iMiiW       4** ,ij^.«<l*j?5=r”<' ''i ’■*•<


                                                                                                                                                                                                            J

                                                                                                                 mB
                    I




                    I                                                                                                              ;JS < ■*« '* r s.* ^                    *t     S
                                                                                                                                                                  *f'W@fa        Ssmsem^
                                                                                                                                   wM


                                                                                                                          6




                                                                        4 —                                                         *
                                                         I;

                                                                 I


                                            «
                                                                                                                              ;■        Ic’#'-15^^^
                1
                                                    <^i^._f<ijwi^g, ?&,*»"!I: ws
                                                                                                                          • . mcj^wm]
                                    4




                                                                                                                                          I                                               f
                                                                                                                                                                                          9

                                                                                            «




                                                                                                         >• 12 S2 32                     1 ^ 5 fikS^CssSe C^/
                                           m irm^ ^ms c?«                                       wc»-5ii«>-1
            I
                                                                                                                                                                                                   r   c-




                                                                                        t

                                                                                  k

        I



                                                                         »                                                          *
                                                                          f   .




                                                                 I
    1
                                            i
                                           USCA11 Case: 24-13671          Document: 13                            Date Filed: 12/05/2024                              Page: 495 of 723

    I
                                «
                                                                                      I
                                                                                                                                                                                £xh:35
                                                                                 b



i                                                                                                                       6
                                                                                                                                                                                £xK..O
                                                                             »                                                           >N. .... -' ll ....-.-
                                                                             I




    !                                                                1

                                                     4




                                'i' »

                                                                                               i'aa,:
                                                                                                           I
                                                                                                                                     t                                    f»
                                                         «Wii
                                                                                           «


                                                                                     St:




                                                         03?;J£-4
                                        m                                                                      • - '.
                                                                                                                    '       «*   .   ■


                                I
                                                                                      i         ■-*    ■
                                                                                                                                                                  «

                                                                                 b



I :                                                                                                                     h




                                        »■
                                        ■ ,-;.;n
                                                 -

                                                                     fai**
        I                               'is
                                                     * c:i^|iS^;                                fc*                                                                             s ifi!;*ii*^j(A.'Stti:
            !
                                    »
            I

                                                         'WWP
                                        »
                                                                    . I
                                                                                                krr?
                I
                                        :i:
                                                                                                           i
                                                                                                                                     1                                     f
                                                                                                                                                                           <#



                                        l!                                                 «




                                                                                                                   i




                    I
                    I
                                                                                      I
                    1-                                                                                                                                            «

                                                                                 b
                        ;



I                       i
                                                                                                                        %




                                                                             »                                                   *
                                                                             I




                                                                    I


                                                     A



                                    *

                            I



                            I
                                                                    .1

                                                                                                           I
                                                                                                                                     1                                    f(f

                                                                                           »
                                                                                                  *
                                                           t


        USCA11 Case: 24-13671                              Document: 13                  Date Filed: 12/05/2024                ,'35'
                                                                                                                  Page: 496 of 723
                                                «


             4                                                                                                                         rz
    >
                           •»            ffc        •fi*            *«•»


                 Cl        ^MSK.

                                                                                                                      f
                                          52
                 nmd.                      m



                                                                                                                                        4



                            «.           TUiwm

                                                           et



                                          Pm
                                                                b


                                           aWm
I
                                PWjNfe         OiWIifO w                     »                   c.'«ii»i n«A m

                                                           f
                                                                                                          : I'
                                                                                 fi ■*       I
                                                                                                      ;>v
             4                       J«t»»                                   v<{5ii£i MibUirAn
                                                                             CinaiiiCi

    *

                      z-
                                          LmQmmp^WL
                                  »|il
                      f
                                           JJ*S;.4'I
                      4i                                   km
                                                                                 t
                                                                                                      i                t
                                                                                                                       *
                      iMm:4Xm'
                                                                         4




                                                                                                                                        4




                                                                    i
                                                                                                                  *


                                                                b

    #
I

                                                           »
                                                           »




                                                I


             4



    A




        ab 27341 Ff iSC O'N 20100^1 ft?8 07^350010 l5MXIlf>ui«i3mhDml9€^ Fi
                                                                                 X
                                                                                                      i               i«



                                                                         «




                                                                                                                                        4




                                                                    ft

                                                                b
        USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 497 of 723




I



             A



                  ■ri.




             A




         I




                                        I

                                    k

    m


                                                 ft




                                »


                           I


             A
I
                         ■
                                 USCA11 Case: 24-13671                Document:
                                                                         I      13                            Date Filed: 12/05/2024             Page: 498 of 723
r.

                         m
                                                                                b


                                                                                                                                                        6xVv35.
I                                                                         »
                                                                                                                                       p-
                                                  W«F5a«mfi

                                     i




                                                                                                                 ::^l'


                                                  tw»««Ka«:«;eTOWS €e ^
                                                                                                                 3l^j£S ft*                             t   V




     I



                                                       *■                                         t               6i ^ ««*» <
                                                                                              S'd s»/'
                                                                  •           ^ b•

                                                             '?.'« ijrta sn25 M                               V m-Jtfm .»77:
                                                                                                                                                                    «




                                                                                                                                                     :m ^
                                                                  y   ■   I   ■ ■
         1

                                                                                                                     1
                                                         I


                                     «


                                                                                                                e8;»ts&|i^.« K«

                                                  Smr^m^M                                                                                   :0

                                                                                nw*m                     ««

                                                                  9Cii^«£r c>-                                                ■■ ■ ■
                                                                                                         1
                                                                                                                                 I                      f
             i
                                                  »m                                          4.                ^.rs%v
             I                                .                                               -^;-5
                                              'VIM            .                           .              , - . ..^..1,
                                                  fjaevx^aiv A«P1£<»'^T -r/’’.r» ^-^’j.'                           /* n




                                                                                     ft
                                                                                                                                                 «

                                                                               b



i                                                                                                                   k



                 I

                                                                          »                                               *
                                                                          f




                                                         I


                                     T.


                             »




                     I
                                                        .1

                                                                                                                                 1                      T   *>

                                                                                          «
        USCA11 Case: 24-13671
            4
                                                Document: 13          Date Filed: 12/05/2024                 Page: 499 of 723
    ' l-tl^

                                           .I

                                                                                                                   f


                  5eciio^s
                  H'ocCe



                  .Ihanfcfl^-*                       I


                   11%

I
                   t•X»%%l^'V%T1*»^%» \SMIltlTW>"^n»e«?>
                   tVf«nj»«K*i
                                                »                               *




                                                             <rtiOElt <# miJLML
            4

                                                                          .«ii          i*n»i teisf tt.i*>          ^••
                           riil?irii,l sc..£30^ befm-<i^i                  .
                    ftftWHlMf*. « m


                           tmmnrj^ 4'^ AJwriHao                                     1                              f
                                                                  I

                                                                                        .ks^rriwi i«*rji«T »•»»»*&«•*■»•«
                          ,,rm m ««ter»»«a t •!•«* < •’«<i                 ®

                          2,
                               » Kh rti»Wi»4ni p»'CRfe«<-'

                         mfy£ Mn4 mtmmJSf m                                    .<
                                     « %


                                                     »


                                                                                             «   "S

I                                                                        .a'l                                       ,;±j^

                                                »                               . ikm                 \l«»«»SA«r
                                                                                    r i«fiTf roi «f Ji w.c:

            <




                                           .1                                                                             i jf* f «■;
                .C j^w- 'W !»’J.«W%2li4. Vt»l                                       I                               f




                                                     I



    V
I
                172928$%E-Fited051111302^ llMzQim
        USCA11 Case: 24-13671                    Document: 13                     Date Filed: 12/05/2024     Page: 500 of 723

                iK THECIECUIT COURT OF THEILEmHTttJUDICIAL
                CIRCIJP'-PIAI^DIOE MMBii-DADl €0111^1^^ R-OMPA
                CASEMO:                                           I
                SBCTIOX:^!                                b



I

                                                  »                                            *
                                                      t


                Pfemfillsl




                Cfcfandasstts.)
                                   .1                              m'
                                                              ■            2BMBOL8SgS4il                         f
                iKW&t
                €k
                Efifeg Kwiisen „                . , , _ IMc^                   C5/1i^2»23


                      TKJIS.CAUSE,c«BeIxfow Ac C«art wa.^8fe,mi Ae Ccffirt                             Mtj       m As
                pjsAiws*)t h lierel^’i
                                                                  fe




I                        *         '    •    ■■ . ■                    .
                                                                                          ft




                     r.Tbsfl'Aetatesl^sdpiKuit CowtJudgeiise^ rmiKshiffiSfilftlhrawlffe® Iteilssf
                       mxi£ismtlon rfiMs ffca.

                     2.Tli&£« sImII be ittsfigasd »a3i6tBri«iS«® ofihsCwisi Cwll Divisioa in axftrcbnce
            i
                       ■withe^bisfeedpmcedBfcs.                                       _
    *




                                       A

                                                                                                   I              f




                                                                  ft

                                                          b


                                                                                                                                ir
                                        T




                                                 »                                             *
                                                  I




            d




                                       . I
                                                                                                                 6



i                                                           USCA11 Case: 24-13671                           Document: 13             Date Filed: 12/05/2024
                                                                                                                                             k '■                                      Page: 501Exk
                                                                                                                                                                                                of 723.3^

                                                                                                             I
                                                                                                                                                         *
                                                                                                                                                                              1
                                                                                                                                                             , Ptoji&''S>Rihjs,l nrp
                                                                ' DOIfl md ow&wm in Orattes at l&aw-lDfaie Comny
                                                    I
                                                                pgKHi . '               '         •
                                                                &



                                                        4

                                                I




                                                                                                 .1
                                                                                                                                                        HuR.ViwjmsBclRio                   J'
                                                                                                                                                        CWCWT COQUET JinK?&                “
                                                                                                                                                        Ei«4s«ii^^r sigoM

                                            I



                                            I                                                                                                                                                               4

                                            I

                                                                     .'vr? f sSliie’.-'».><isC,.a '*••■>'•' ‘'''’'IJ-"’-'A’>i.
                                                                                                           AHf. w mm lUixi^Evr
                                        \
i                                                                                                                                            k
                                                                    E}e€«rswji®I^3«!S!V8& ,
                                    I
                                                                    Alfa««g PnfiMios»y¥ii^lg^ffii3ai&4&fw                                               *

                                                                    Cados CMi(.% »isfi«l^wdBlt»iisg:gmaIccf®
                                I                                   C»l^ CaaH5*smi;^r«4aeio»g^imiimro
                                                                    C»teOiie,ffl0text9m>dacM&i^.«ra^                                 ,
                                                                * C«s««e&a¥M*eO?i^m^ela,aeFiteT^#»i«;kiaidstf«i<»Q.
                                                                    Oiiij^SsrivatoreCamKtelfa,
                                                        *
                                                                    ®iBep^-Sa!v#©a
                                                                    llm^e Hteiw* C«art4#fest£»Ii^“?i
                                                                    Ji^©i WE$TU5Y,                                                               i;
                            I
                                                                    toiifer L Wmfm, |»aim#a^ttsEiw^^                                             }s            1                           t
                                                                    teSTttfaife W«a&, jwate@^xiaBte^.««»
                            I

                                                                    Jese-Balii 1^,
                                                                               Je, W'mm, kwlliiwFLf^^rasScigmeMXt-a                      i       ■:.•

                        I
                                                                    ift«i«JoFB^e3iuateBe«iw?2lK*»J.eo®
                                                                    jE«»tK«ffisJiBdi^4s. W^FtteTcsmi^l3!RKiJan^St®0m
                    I
                                                                               Kotbu. Kw2Kds, riXamtine^Mv^^mn.:«»
                    I'                                              Jistftoj KMsau F^*iM5»Ccaid%w»Pa»3Suluii0RS.w
                                                                    Joks                    Kfc. WOBJijWf'P»3H.«J!P
                                                                    domtto S Wms^'. FfxFHeTeOTi^3rtKl3H«lswa.5»m
                                                                     JofiaJ^S WIMF;C©>ai«|w«spis^lw3«ws.-us.
                                                                     j0?»s|aisS Wilwsif. FLC««I30e^>«Njterf»<ms»sis,
                                                                                                                                                        *

                                                                     Jessie                                                      -
                                                                     Jtise AttiseifflS. F|rfag'r«m#b»ek^s«si.com
                I


                                                               risft »w
            I

                                                        *




        !
                                                                                                 . I

                                                                                                                                                               1                           f
                                                                                                                                                                                           ‘f




    j
                                                                                                                                                                                                            4




I
    USCA11 Case: 24-13671              Document: 13          Date Filed: 12/05/2024   Page: 502 of 723
                                        »
                                                                                           Byh3S
           Julie AsAmsls.Fir0UitOKst;fa«kandKoa.a>m
           Jafw Aottatisis.Ca®t5{p«ss#;f£ro^M'<t5s!ioss.a^
          ‘jostis ,fera«iK*Lcy.fijirmlmnrghmimivon^mm
           Smin toss Kc^cv.FIX'waK»<K:vfebr<*ka3y&:a^^   .
           J«w JasMS Ivslky.rou«Xp??ss#tinm»liitl©®i.t!s
           |?to L»h t*w4rf«lA-aa,FieFacTs3iifi'®bKK:k^«^»o«-'COiri
           Ksaieih Pfedmk5o^iH^&l^^I)rt
      '    Kas                     C0wnJC|!!f«sgiina»lvS6‘ai.85                           f
           Law8 MMev Jae&HL 1* Lern^TcaiBsgbrMrfasfectooiffl
           Lau» Awltiy J«k$cKL.C©OTiX|>«sgSftfinw1iJ»0O5 *»
           LauK Asit^4‘ Jir«k»a.FLCouriDwsCifeockaiifiswtfccw^,
           Matfesw £«8^„FixHk*TcMi;§br«wk»J^s»«''««™,
           MstBiesv Marks’ gLC0ffllDws@l»x:fe®d^o1t«rm
            fvfaBbKW                                  ■
            MidadR
            r^ktei R fepjwto, Bl.FI.e®rvics^M»il>xtme.c<wi
            Ivlisbael H Bispa#©,
            K88W4 Safe »sMsils%¥,®5«ss1l.aiffl
            Nkeic R Iap|«r Esq;.
            Sij»l> Y Rios,FI^FIteTeM§brot:kiateoti.a)OT
            Shaib Y R|©^FtCoiM0CKSgbRkk3l«^««J.c©W
            SMb Y MoslirCM<-FI^f:)^ovam£om
           ,StsftoCWMs^'ter Wilseri,'sc\*jiwTsS€2»l-%sfc&o.«Hs
            Stcpfeoi ains»?h«r Wilsaa,
            Sfe#«iCftnst&pfecr’&^*»ti,’N‘afesli^l?plaifflryxi«
          ‘ WiBkaa Hetiiy StaSbid IIL
            Willkm l&Biiy St^oad III,c'03'jplrfffipli«»M»'W^ —-®—           .C0SE


            waito Ussy Siafiferd II,d5s&a,T0bltsoffi@®r!!^oaJd         mm

             WillKw l,ac»lx.FUFileTe5m^l««efc»fe»tti»a            ^
            WillieLacTO&.H-AiirlIte^%Ti«limti-^di.com             :.
            WlilMsc Lac«)a,c©ti3«;piw^^««S0lylkw.u,<i             ;.                      f
             maiirkT syiuoMlJe,B%1505S#Clcri?,was                 -
             mo»risc%m«Bsill«i.M€30SSlCHagtFatap.«TO              _
             maiirtK iivsimn&tc,tesl^gclcifc-wOBi




                                            t



I
                                        »




       Ciw NV,a'eno-»J«8-CA-«i,




                                                                                          f
                                                       6



I
            USCA11 Case: 24-13671                 Document: 13                   Date Filed: 12/05/2024                        Page: 503 of 723'3'i>
                                                                                                                                       igxVi
                                                                                                 »
        I                                          I

                                                                                                                                                ExVi.T fa •'>
                                        I


                 A
                                              M


    >

                                              J,n ~^4*, .


                                                           .It                           *•'%-            ^Ji3»                            f
                                                                                                                                           »:

                                                               «
                                                                       ir




                                                                                                                                       I
                                                                   T«i                                                               1
                                                                                                                                     »
                                                                                                                                                                4




                                                                                                                                    n
                                                                                                                                     w
                            wM                             I

                                                                                                                                  f-
                                                       b


                     S*||pi                                                                                                    I
                     ii«i5»Si                                                                                                  l-S


                                                                                                                              .'i
                                                   »                                                                          B
                          iliiB                    »




                                  ■zm
                                         I

                                                                                                                              »R
                 A       mm                                                                                                   m
                         HSim'.




                                                                                                                          I
                     MfM
    *




                          1             . I


                             'm
                                                                                                                                           f
                     lii                                                                                                  i
                                                                                                                          ■       i

                                                                                     \
                                                                                                                          m
                                                                                                                          m
                                                                                                                                                                4




                                                                                                                     fs®
                     I
                     m                            m

                     S                                                 »l       mk

                                                                                                     ..-.,,r^TTTT”
                                                                                                                     ii®
                                                  .V--0*>-                                                            »

                                                                   *

             f


                                                                                           »




                                                  »                                              *
                                                   f




                 A



    4




                                        . I

                                                                            I
                                                                                                      I                                    f
                                                               4




                                                                                     1
                                                                                    I




    USCA11 Case: 24-13671              Document: 13
                                               4
                                                              Date Filed: 12/05/2024
                                                                               I        Page: 504 of 723
                                                                               i

                                                          »




                                                                           n



                                                                       %                                         I




                                                     i;




                                                   ■ i'




                                           I

             i                                                                     r


                                                                                                             r




                                                                                                  f




                            r
              m



                                 f
                                 I
                                 |.‘




                                                                                                      ‘ I-
                                                                                                                         f
                             *




                                                                                                                     I




                                                                                                             t




                                                                                                  ?




                                                                                                       I
                                                                                                        ?
                                                                                                       i


                                                                                                       i

                                                                                                       •I    «




                                                                                                        4
                                  1                                                                     I
                                                                                                        i
                                                                                                       I
»
           SSEm:«;3K?-;^«^S^^»'W“:
                          V. S'^
                                                                                                        I
                                                                                                        4

                                                                                                       3'




                                                                                                       I

                                                                                   I■
                                                                                                        I'
                                                                                          ‘4
                                                                                                        i
                                                                                                             4
I
    •!"#*$%' ()(*<'*■*»■
       USCA11 Case:IN24-13671
                              CC2(!^'3+**' 3,43145*1361 Date Filed: 12/05/2024 Page: 505 ^xVi.3^
                         THE ORCUFTDocument:
                                      COURT OF THE ELEVENTTH JUDICIAL CIRCUmN AND FOR of 723
                                         MIAWl 0A0£ COUNTY FLORfOA CIVIL ACTION
                                                                                                                  Exh.'S/pg-
                                                                                                          mm
            4

                U5..liANK, nation At ASSOCIATION,,
                AS TRUSTEE FOR RASC
                2005AAHU,
                                   . %

                PWntiff                                       I
                                                                             i                             t
                                                                            CASE NCh 2010-Al^A'^AOl
                w.



                MACK WELLS



                0«fendaim.
                                                t




I          msmiftNQAmDAWFORRiyeF.
                                                                                      mm ANDREVIgl

                                   m3




           ^urwaw'.toFkryaSttC. 111.13i,FtewlBRate2.160(m_aKiFetel:R**»<»fO'raProcedure RtdeM,
           MaintifirMACK WELIS bat*^ files titis Motion for RdkT & Riasisa! »sd Sw|!poftiitg Memcandtwti
           rejtaidiag {he_ViviaBit» Djl Rio 05J04^22 review of the record tad FWJodfeiBertt Order. Exh. I If teed ««
           the foltowing tos, wpit iaforaiaiicsu Jast terms, jiidky rmctm6^ frtiiduknt ffmeds md 0^‘e«l ■
           conflict of person^ tm*sBneia iWertsts Ott FtohUi Wsetostaes of Jadfcs md officers of this I tgxiil
            M) Attached- UJS. BANK S^sedaJ Siniatinii Pronertv Funds A^yomt Paste 42. IFRS 2SJ11                       SEC
            Filins^ UJS. BANK Fkirida Stdasidtaiies, Itidigc Alaa Fine Fmacscial Inteststs & Pre^serty I>iscIo«incsL
                                                                                                    I                    K
                                                        ii
                                                    /P>(U£JL£i                            Mm

                                                             M.
i                                                                                 MMmml

                                           I                        ■oiadodtetrflnWeEtltciiJes e’s «!*
            Jtt(%eVlMann« OM Rio ® <uit Me tare

            business with US 8*#; and heliw* Itert to midte n^tHty so ttet !i» csw* mak* wmef hy forectosif^ ami
            4




                                   . I

                                                              I
                                                                                                          f
                                                         I                                         *
                                                          I


            USCA11 Case: 24-13671
                                               I
                                                        Document: 13                Date Filed: 12/05/2024                        £/k
                                                                                                                      Page: 506 of 723


        >




               W/^-ng           out psw^ty wfnitc acting »tlt« J«4t® on th«                                on 0 «J
                                                                                                           ItO^thfromTalteh
                                                                                                       MiiEm

                                                                            «




               PmMBSiS                             tMMEl^SaSsp?
                                                                                     i




                                                                                                                                          *


                                                                                                                              f thtSSA.
               2.f2£mil2E2iS®«fee 2., EkIi- 0.She got $750,2lS.I»ivith FIS whicH Is Financed fr
'   •



               Exh.l/wbich is US.Barilo, Exh.t                                                                        4




               S.teS       Bh.tU).on line 3she got,S15.4p3.00nnd on Bne 4she gotSS,S91, doing
               basines w» «S which hb- Morgen,B*.6,6A,6S,6C,».6E,'6f,JP Morgen which is U.5--
                                  ';•■'■   '        “• ■■. ■'       •



                |ancofp. 6xh.4 IS* And US. Sancorp fs U*S* Benk EkIi. 5 and 5S.
                                                                                               1



        *




                And pn her 2025 F«fn & Fyfl and Psbiic Disclosom ofFinnacial Mieresi In 102r^*n are **
                                                                                1                      ‘      ,               *
                Exh.0/Urje2rShegol$mi4l.pOwithFSS'#«clisR«tii€cd bf thcSSA, Ixh.:1. I#hleli« P«S.
                Baak^ gxh..2*                                                        i




                3, EA. {0). On Bne 3 she jot, Sl5,40a.(» end on line 4 she got $5,6M. doing busitieis with A!6                            *




                which is 1-P. Morgan, £xh, 6. % 6B, 6C, SD. 6E, 6F, JP Morgan which Is U.5, Bancoro, Erfi.4,          4




                 19. And ys. SsncQrp Is US. teak Eiii. 5 and 5B.                         Vfi




                4. Exh.' lOI- km on line 4s|e t»s miM)0 E-Trsde Whlcii is Morgan Stsntef iicha^nt
                Morgan Stanley Is J.P. Moigan, Exh, 87 and Exh- US, 118A, USB, iieC and M8D Page
                A



        *
                 fBg6Z.-mbkhis UA Bancorp, (ExhA WS- And «,S. Bancorp is U.S. Bank E*h. S and 5B.

                                           . I

                                                                                1
                                                                                                       I                      t
                                                                            *




                                                                                                                                          4




                                                                        a
                                                                                                                      I


                                                                b
                           .t
        USCA11 Case: 24-13671                 Document: 13              Date Filed: 12/05/2024          Page: 507 of 723
                                                                   I
                                                                                                                 ? -£<^35
                                                                                                                          &h.\I f3 -
           Wtiicferasins U5,1 ,BuTifcIs-JSeSS                          DEL R10iccoriimg to herform S signed bf her .,
           Hfeitof FlBancial interest wliole%m of wealth makioif                               and paitisrs mAn her in
           alfpost @11 assets she owns
    m
I
           ruled             04                                                                       Bch-120. Against;


           the Rule of iswar                          WiS:W5*^tatk m the Zctom'hearlsig 05^2022 see mA7.
                                                                                                fcaasetbe-TfaMcn^


                           #ia'^«li'fear fiiafta.tfie®«s:rfef.«sfa 4idifle#t tecf^on from the.
            j«Jiatta»m:us:ip<h=                                                                       «<4 the|idge ah
                                                                                                                  ■>




            hear him that means     Slig^                                                                        screamtd.
            prjdtoiistsntooul Motion to Bisniiss and Reconsy er mi revert this case back to the

            Ofi|faaI Dismiss# Witt                                                                        «ot»« to rtstt'.
            ■the Sate of ©ur Property^ See Mi. iS|. But Instead Jydge Viylanne P# mo r^erred ws tocher
                                          e       b


I   '       :M5|St3iifand would not hear o«r Motlcm^See ExhS (Video on goEls2.com #2 wdeo of her.
                                              )
                                  as},:

            -«BIEH4S m O.S. 8A!<K. V/hO h85 rtiled &>                   of US       Thfc is s H^crOite Conte of le»«t
            Vket as                                   fownd thst ouf ca» was dteaed?© other Judges falhb sess pW,.
            ail with tM same OjmfiJct ef lateresi Rise Judge Valerie                 Schorr a Judge wc tod etwer raet ^
            Inmifbtf i«0 0ur «.e^er Judfe 2atei diSK^to Bsete fawsaft epinst me iv^ii Preiufe,
            b»iist tfewiwer test or mn^ the r<ote 3itdthm onevear tatsr Judge Mawo Si^fr got
             $3BXUW from y.S, gaifc,                      10 hw f0«n 0 ri£S<ita£:«l m^^^surc           Ss*. P.         tftew
                      fnseiteil herseJf 'mm mr             witheifS «ef meeting m,mi ^snim^ tU om with PreJoi«;
             Pte Judge Sibel did. Es*. C, Se as to awid the             wfiich »ys ^nether Judge esr^not cfianee another
             j«dgK oidsf la the same CW awrt so sfi« mgde the                      Orders she couM          her ov*

                                                      t




                                                                           •   %




                                              »
     Soil;161312379      11/16/2022 07:00:55 AM
      USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024                                                                            Page: 508 of 723  6<h.35'
                              iwmomirr €01^ mimmmmmnm.                                                                             ITP^
                                                       , - . • «■■' ' ; • fc '   ' ••• '■ ■ :


I                                                 ismi                                          mMm

                                                                    »                                            *
                                                                                                                                                               S-
                                                                     t

                  ■■     MACXWSI.^

                          riairf
              A



     *
                                                                                                 M-



                         U. % BAm                       AS mOSTEE f«
                          ESSC»5AHJ-i
                                                                                                                     t

                                                                                                                                               ' •;: S,

                                                                                                                                                   n-S .”
                                                                                                                                                     ^,'3.          '.r




                                                       :
                                                                                  t

                   ftimjffilteFlanfeSW. fJliJl,                                                                                      CS^afNssftiiOTli*«.
I                 'FiefeaffMacfct^lEW^rilesi® IMm &x                                                             S»^                       Ms&sjdm
                   fee&& ^2i!7Jii^3a!|Sd!te«gsr*Rwsw®t'i|»<w^^WJ^M»ftiie,£'^>?iiJ.
                   fM %ibw»ffic                  ugw ^smSsa* |iM ems^Ja&sf                                                            jb5ei& aai
                             _^|waWi3el&S5iwl j*«tsaa RcaismLlfeljBBiS'efJi^tt                                                                 et Ebis
                                                                                                           •v            .   tesja.ftgg
                       ^f! s^llay                      PloAfa S                                       Jute Sdile^lger Rm>£«               P^prsyDMsiiMX
                                                 .»

                                                           fay it                                                    fer.£ssm5




                                                                                                                                                                          4




                             &M.s!s^fftt mtat ltem« MmssM fef aa gp&B. Aticub CsalSia €1 iaata: 'b^>j^ fe'i ^Isg

                                    S   j *14,

JJ

I         ’       -M^s.te fe: t&                           Mjs ^ iiM» Js^BSf                                    Belt’s pasC. US           is      3a!s:cgip,

                              ^Otem Bdj^ a Wfs Ma                                                                1 «fel|| fcwlaw wfii'US S«’i (>^?s

              A




                                                 . I

                                                                                                       1
                                                                                                                     1                              ?
    USCA11 Case: 24-13671                                 Document: 13              Date Filed: 12/05/2024             Page: 509 of 723
                                                                                                                          Pimi:
                           « »« in Ms FORM 6 «e, Us.:M. ?m Talfctefecc {?iEe4 lUri.
        DStW'^USl 0? FtiAMcriM EsSit €. tmh if s sspr Coifel lolasst itKi§« MI&
        m-k^a ts ^wit 5 s Mfa f:ifw«tisa2«# «i* 2»                                           $zmm91« to.iws^fs
I       M^S &WWt.fi.a WQ oa tte psftliE lecfstf BsMsii F.                                     fe ttic Esil^ tot if fe »^"
               far Mwi|3|® »IIS BAW.E^miK Ci Mg^‘5cliIcsiB#f'tes «i»ls fever ofiS ftali
        Ari IM.fe & ®iio^ Mtcitf ii»Jl I sii J«|§ ScMfew^r e ifej isai
        Moffas SSKitey, IsiEfea,I afl B. Wlw b iw ssaae a# JP MJSGsAN hsMblt, R. Who n
                           ajia k       o^e»8 »«faii» Sari.                              Eks'loj^ Sclsi^iopr
        teiHi a-*a gai                               &K*b,E^^Bfcai..i8%:Sdisst^k                   te®«ss
        ite i»”f.ii«i^Bf«a                               iS aj^ Itet'saw*.1 Jw^sfciiBii iltfii cwr «aa w ■teccretl.® feim ia-ilife.
         I nal                 aB &>.          ^«i£lt« US Stek MERS ad-
                                                                                                                            f



                 I, Oa £?eR m 2011, Ikfete .^feeMaffetesic? iwi-&                                 1:14^ cs*r-               £SaJ«i.
             Pld^ tek W4fa fe aa®«s 4»                                            <wflg w mst            ite w»                 »&
             Fi^&c m &K«r €»« mz tf.IM§?tA01 wha?? VS                  tmli mvs pf&Jase "fe
             p»afe?p^ fee iMm0i &«>’ srIisc % Ite iK%g -tewjrri dmsi^ biE mvszr rlul Mng it fen^
I
           ' 2,^ skfim tkc.1% MX                                  life »fe^|cr feswJ to f*M*           J94|«s«8t <1^ »fcs w
            a                                      fo?        Bak hh pcfsoiml Is'^kWM, ^sms »           I8««3f Bge#w-
             1- PI«33a^Mffii                             h«,-.jp* siifeegsj^’ fArnm^M iiafesJ Sw«sTk^i8rteit «if
        , ■ monCT sEcrfie                                              y^MskMtJisjAgi^jai tms&s ^siiagmaliimsrf
            mimsM mpm4 S^Mss&-M&Mm» idakB Bsite W                                               SOefcaiMti 13. tok, Cleela mi             I

            l^km’^WirnB'mMs. sdim. feSMC;- tt =
                                         . I

                                                                                                                            t


                     lire Bifelas» wOTlains irndj CfctetiiswiiiiS du?     ftyfl ri^® fbr FIMsa Rti?
                 ll^Jifi^aadffidomi E,5ilc»R£ik5;tad0i«;tias«»'w«ii::tJbs;ofij^(g|lfe»3aal w^ife
                                 Kg Is 0» PttolMlS                          E?^S3BiSt &f Jud^ g^^sffipfi                ^sad »
                 •-■■.■•-■ .
                                         iXwlfeisrftesisifil&iSiytH^^iSSSs. .
                                           ’   .   - ■               •■■■     j                                    »




I




                                         . %

                                                                                                                           t
                                                                                                               £^35
I I'USCA11 Case: 24-13671                            Document: 13       Date Filed: 12/05/2024 Page: 510 of 723
                                                                                           WKmmm.
                                                                                  t
                                                     t

                        ms


            I
                * fi}jfA-sste                    si^m.
        I               I?;                                  waa&sA/#
                        ttm m mm,f^s           Ifid tidif    JflSj.’
                                                                                      I                   f4




 .' I                                            ■                           '                       ■                  ■

                                                                         \




                             A J»%6 & Kltps^E^,» itew» Mfflsrff pBSiffia 4&- It lf„S,_C. t 455, u®fcr § 455|^J*, .
                         tessfe^ I? MBiaaij' m ’^•m$ frowadtoi fa.        fc» impiti^ ari#t «wb^* ,
                          ^;^l3md,”            45Sil4.af^#                                tl»^f        «Jfttss tw
                        . sMcd^f                                                                   aS&fitsaiHPf;
    I
                    'citA^^fejrte fecrt Ski,»4                         «lwlsp-»              pjSM ^aW          tte...
                                                     »                            »




                                           rnk'rmerfk                                         ^
                         irisOM!*^"

                    ■           fifimd^Mmst'’                                                     immt^


                                                         ■ MMliS™

                          ■ IfeiWka isr lifirf 1^ v»^%o^fer Jtrfgiwi SA 2.160 CM> « »«-tml.s
                         |!«i W l«3. «tei to ^ wMslls btoWs ia&CTtai^ tvUlM             ■fiffl*l.-
                                          &©»W®i              ^stosm i» ^ ifeg'Of                  £topla*Rt
                          fIraalt «m wt fWfflMj- ym. m iwdsl                  wife C^tte ^ a }•« » i»
                        ■ iwgArflaafis; ^ete.&e ttrigjnal 0»islalM-Sttf AS ppswsiy^^^'t^ fe' fe DI«aM^
                          Oi^. *0 » 4wi iKpp^ fesMid ei»l&% ®f isiaemt. J»%r &iifesli^-««. to|»Ws ■of
                                    sssJ !4^4®s aHstw^s. s^Ksst 1W'& Mdb^Sf fl? Is csj^es jsATfefJ ^dicssi liiife
                «
                              .Wy j^fafwwi|^ lug ^ccitiK 1^ ffissoty .1^ fe«£i«s' vH* FJcfimlssf U5. Brnti: I4.A.

                                          .»

                                                                  I
                                                                                      t                    f
                                                                             4;
                            USCA11 Case: 24-13671                 Document: 13                            Date Filed: 12/05/2024                                                         Page: 511 of 723
                                                    .1

                                  f                                                                                                    I                                                          f
                                  i;                                                                                                                                                                   ■*



                                                                                                                        fri, j
                                                                                *
                                  I',



                                                                                                                                                                                          ■\
                                                  7'                      «*:       77,
                                                                                          sP
                                                                                                    l>-        L.                                                                              fi'i'                   ivW'

                                                                                                                                                                                                                              *


                                                                                                                                                                                                                 /■-

                                  I
                                                            »ti
                                                                                                                            Wm.             f
                                                                                                                                            rW:




                »
                                  f:       £v///2rt,V                                          '3
                                                                                                                                                      ■        V ’w’
                                                                                                                                                    ' J,;.; :#;■
                                                                                                                                                                        f'
                                                                                                                                                                       «■:;;
                                                                                                                                                                                     4




                                                                      ‘ 7f « i ir/r r                                                           /
                                                                                                                                                                                     / m                     /^ir
I                                                                                                                  >
                                                                                                                                      a''




                                                                                                                        %         I
                                           til.                                                                              *
                                                                                                                            ^J>


                                                                                                               (




            1
                        I




                                                                                                                                  M
                                                                                                                        :E             •I?*.
                                       i
                                                                                                      I
                                                                                                                                       A                                                  iri          ‘it


                                                                                «
                                                                                                                                                         msM.
                                                                                                                                                         ilii                  5e?^^^s

                                                                                                           i                                                       f' iS- '
                                                                                                                                                                                                             i
                                                                                                                                                                                                                              4




                I
                                                                           i
                                                                                                                                                                                     4

                                                                      6
                9
I                                                                                                                  ft




                                                                  »


        I
                                                        I




        I
                    >




                                                    .1
                                  :t
                                                                                                      1
                                                                                                                                       i                                                           f
    I

                                                                                0

    I


                            ■S'




                4
                                                                           i

                                                                      k



I

                                                                  »                                                          *
                                                                  I
                              I

                                                               ■rm-.




                                                                                                                                                                                                    4




                              I




                                                                                                    I
                                                                                                                                                                          t

                                                                                                b
                                                                 h

I                                 * ;i.                          f



                                               I

                                                   i^:
                                                                 f'
                                                   11
                                                                                r.          Fi'^iM.* ^ffrf //■- i                     v<v : F Ui^t-'n if.'A
                          I                    If!
                                                    ii

                                                                                                             ’^h, c/                         i^fi/\T4                           J'i^ ^AUe
                                      >
                                           :|!
                                                                       C^                           -rimf f-w r. .               # r-S'x' /"iw;
                                                                                                                                                                 *»




                      I                                                                   itfj-,' ',%'■<           'yf-^ ^ Sf.\^
                      I
                                                                        &! Jtti^r 7^>                          I
                                                                                                                                 I                                                f'f

                      I
                      I                                                                                  «




                                                                                                                                                                                            I . J
                                                                                                                                                                                        t,A ■'*'
                                                                                     '*         /ri* <"
                                                                                                                                     if
                                                                                                                                                                    ;'■ s' *
                                                                            ^Lm-'>7T
                                  t

                                                                                                    ft

,}:
                                                                                                b
                                                                                                                                                  , ,j ■                                I
                                                                                                                                                                      <’**>#» »Ti"j. I-
jl                                                                                                                                                         rWfc«W                       I
                                                                                                                        fc
                                                                                                                                          *1
                                                                                                                                                            i <‘^ ,5*, I'.-’ftn.f P


                                                                                            »                                »
                                                                                            f




                                                                                 I


                                                                  6




                                                                                .»

                                                                                                               1
                                                                                                                                 1                                                f'i

                                                                                                         4




                  I                        %
                                               (




                                                           \

                                                                                                    1
                                                                                                                                                                      «
                                               i
                                                                                                b



I                                                                                                                       i




                                                                                            I




                                                                                 t
              I                            I



                                      *'




          I
          I

                                                         Page: 512 of 723       .1
                                                                              Date Filed: 12/05/2024                  Document: 13             USCA11 Case: 24-13671
      I
                                                                                                               1
                                                                                                                                 1                                                f
      I
                                               »                              *
                                               I


                                                                                                                                        Ea.ss
                 A
                                                               ArrPM''
    4




                                                               hm-/ m
                                                                                        #» if#«^ ^
                                                                                                    7 /3//^.^f:
        i


        I



                                                                                                                               -/
                                                                                  jtf
                                                           /r^«/ f'ff*                              -y                                          4



                     , pn^'^r Ca ^ ?¥^                                       ^
                        /Ik-k ^'Ifty       •       A
                                                                                                            »




I
    »   »
        i               • AMa^. |■t''^//;^'
                      • tSi^US e t^r,                                                 ■fV-^viiJL.     *
                                                       p
                                                                            f,-
                        ^1% C}#» j j/|,l'
                                                                                                     mm$-         ^ ^
                                                                                                                 *»•     .,4
                                                                                                                       *sr’jf
                                                                                                                         » I
                                                                                                            ■#                  ■




    >




                                     . t

                                                                  I
                                                                                  1                                                 f
                                                           «




                                                       I
                                                                                                            t


                                                   k

    #
I

                                               »                              *
                                               I




                 A




                               #     .1

                                                                                  T                                             i



                                                                                                                                                «




            Page: 513 of 723       Date Filed: 12/05/2024                Document: 13          USCA11 Case: 24-13671
                                                       I
                                                  .I
                   USCA11 Case: 24-13671                    Document: 13    Date Filed: 12/05/2024
                                                                                               1
                                                                                                                      Page:
                                                                                                                          f514 of 723
                                                                        I




                       (SB
                      i

                      m
                                    i M1IM*-04D£.C0®W ftSSIF ®
                      m
                                    i a®'S
                                                                                                                                  1:

    *


                                                                »SilTECOURTS0WUM6SH
                                                                               k




                                                            »                              *
                                                            I




                                                      I


                       d

                                                                                :iiii:fpi:         '4 '^4’'

    't
     I
             I■f                                   ;i

              I;
                                                                        1            :-L       1                          J..
                                                                                                                        Mmi   I



              1-1                                                                                                                      '■      ■■m».

                                                                                                                              gsaits^.'S*: ■       ■




                                                                             ■liBi
              i


    ^'1                             iSii*«5a;   Bs»
                                                                b
                                                                             t^i-
                                                                                                                  «


                                                                                                     *. r»4.,i >-*:«.-/
    * 1
             1




                                                            I
                                                            >




                                                                                               ::ii|r|ii|^^f@p;
              I                                 i,!aS:S|«
             I                •fe

        fi
                              *
                                                                              :i»!»:
                                                    . &



             I
                                                iwijs*
             1


             Isi




         I
                                                                                                                                                       4




    S
                                                                    a

                                                                b



I
                                                                               rf,


                                                            »                              *
                                                            f




                                                      I



                          i
                                                                                                                                                                                                           4
                                      ••




                                           USCA11 Case: 24-13671                     Document: 13                               Date Filed: 12/05/2024 Page: 515 of 723
                                                                                                                                    m               m^.
                        «                                                                                                                               v-»«i?ra     rzr^A'nnv^i • S;
    I
                                 <•                                                                                                                                            I

                                                                                             b



i                                                                                                                                      Ik



                                 :vl

                                  J;                                                 )
                                                                                                                                                £|fp«>3Wfts.*s3T? S»®««:TO*aw
                                                                                         I

                                                                                                                           ; ^•-                                        , ,^

                                                                    Mi 0M        .'il?
                                                                                                                                                fisLf,Kit«Ky^ ppsm^ ric
                                                        1                   I




                                 ‘1
                                                   6
                                                                                                                                                ATf «»SJSES «**»#s*!                            ««#&'.■
                            A




                                                                           .1
                                                                                                                                                iiiS»i;ifi*tW:*^Pis
                                                                                                                           ii                              1                                f
                                                                                                                           &'n.



        i
                                               %                    siisifi^
                                                                                                                                                    !»ic«t»sa5Wfti»»e'i«S^‘» -■»«           r-7^J2rJTit#

                        I

                                                                    ^ISiiSpf                     a ,:,, ^.:                w§
                                           ;

                                                                                             b



I           I                                                            St?.                                               •s#w
                                                                                                                                       a
                                                                                                                                                    8
            I



                                                                                     »
                                                                                         »




                                                                                                      »• -^ssr*^ 1*

                                                   &
                                      ■i

                            ' "S
                                                                                                      ileSt

                                                                                                      ■ Ui0^L                                       rtTrfswwiWff^siPwr/v^ *w5r<,                >3j<--
                I   '                                                      . %

                                                                                                                       1
                                                                                                                                                           I                              f
                                                                                                                      M$
                                                                                                  4

                                                                                                                            :IW:




                                                                                                                                                                                                           4




                                                                                                                            iSiSi                                     S.UX Jt-iC 3?»ri^!>


                                                                    vs’ij.*:,*                                              ■f«                     ^cc«» ttwru^ H»                  ^•

                                                                                             b


i                                                                                                                                   a

                                                                                                                                                /


                                                                                     »                                                          • *
                                                                                         I




                                                                            I


                                                   fi
                                                            il: .
                                                                                                                                   •        i

                            4.




                                                                           . I

                                                                                                                       I
                                                                                                                                                           i                              f
                                                                                                  4
                                                               i                                                            *

                 USCA11 Case: 24-13671                         Document: 13      % .:                    Datei Filed:
                                                                                                                   .
                                                                                                                      12/05/2024                         Page: 516 of 723
                                             f'■;•                                                                    fe

                     #
                           >/'
                         a#*
                                                                                                         %%
                                                                                                                                                                  ^'Vi,3'5
                                             |■■^f    ,   S’”'-:-                                                                                                 BOn-'ZS
    *                                                                       X..-M
                                                                                                                                     essec^n   “

                                     i        .1                                         ■i                                     inieii^t^: m
                                         ;
                                                                        •                 |isi*i;|afiii,cffllipn|^gf>tJ.S                                    f$


                                                    Sank Nat^ciisl As&aa-stiopj wlifch is ihe 5tf.
                                                                              " '    .lim
                                                                                                              i
                 I


                                                    cGfii»%" pfo^ie’es
                                                    rr.ortg2£«, trasi, af5p p^imtam $emces
                                                    p't?GU&'J|TD in€iiv:cJya>i, rasl^P-ss^,*
                                                ■gm,&:np>mmsi ePli&s, ariP Gif.®* finirc'^’
I                                                   {mtiz%Mm& r.tigs 3*^05 t
                                                                        pflWBnlf m Ifm Midw^sn ' '
                                                                    ' . I gjia H&$$pdf«clmit#F72,5ll§
                                               •sispisyssa;                                   Th8ccT?paft|fgi»®ATC                                 ;,
                                                                                                                                                    I'
                                 «

                                                9 pra-ses^or srf crsdilcard u^isximm^ US.
    4


                                                Bsmorp i^p^tss LwStfths sev9ad«c?icf'2$?
                                     4         ••lopSf^iiPus rbtJoraf cfertpr^ sds7PG.ir/C3^tcr
                                                               grinted !n 1Si3
                                                                                                                                                              f
                                                                                                                                                              4


                                                lf»:                                                     *:&rlier charters
                                                ^jfpre^ss teles w&«                                                             oracQufred*
                                               misirifi US. Bsnk's cr^sffer fimibeT frpfri #2& to .
                                               #2. Tl^e OI0C5: ns-tiwM ctisrt^, ^rig^ra!!?

                                                                        s                 s lijski by
I            I
                                                                                 apcTj fes mt-'g*?/                                                                          «




                                                                    »                                                       *


                                                                    ’        I                   U.S. e«n«rpi
                                                I
                                                                                                                  «
                         . . . 'A                                                              li:                                      s
                                                                                               i
                                                                                                                                       W

    *




                                               .1

                                                                                                     I
                                                                                                                                 T
                                                                                                                                                             f
                                                                                                                                                              i

                                                                                     4



                                                                                                                       j;



                                                                                                              I
    , . ,t



                                                                                                                                                                                 4




                                                                                 t
                                                                                                                                                         t
                                                            t




            I       USCA11 Case:IN24-13671
                                   THE CI^GUrrDocument: 13 ELEVENTH
                                               COURT OF THE Date Filed: 12/05/2024
                                                                     JUDICIAL CIRCUIT Page:
                                                                                      W AND517
                                                                                            FORof 723
                           I                                                                                                                     £x!W.34=
                                                        MIAMI DADE COUNTYfLpWDA CIVIL ACTION
            A



!



                           lls.BANK.NATIONAL ASSOCIATION,                                              I                          t
                           ASTRUSTEE FOR RASC ''                               I


                          :2CH)5AAHL3,


                                                                                   I


                                                                                                       ^CiSlM©rlOIWlf2i<!AftI                               J


                           %


                                                                    I
                                                                                                                              «


                                                        f



I                          DefeBdarits^^i                                              t
                                   «»




                                                            >                                      *
                                                            f




                                                    I,,AN.PAFFIPAVIT FOSMiljP,RECUSAL VACATOM OF ORDERS AMO                                           *




                           «
                                                                            M£MgiMiBM.M.QFtAW




    !
                                  to Flo^'Stat 112.131, Florida iiite2.1«(H)Md Fallal Rnlos ofCml Proc©[tarl|feule
                        WaiaiUTMACK.-WELLS Ecioby Hies this Motioa ibr Rel5ar& Rwosal and Soppoffttg Mensosadura
                    : Kgarfifsg                      C«rks Lopezroview of lie recoM and Final JiKlggaiait &der,EsMbitJ. based on
                          following facti, new, Mbnmtioii, jiistlenns,,Judicial mlsfiftndncl ftajidnloit growads pd dascovcrcd
                        oroffict ofpsmmBi imestment iniernm on FinSncM E&cIqsjks of Jb%k md omcm of thisihm fExlAis:
          ^          'Ugl AtaciiecL US.BANK Spinal Silua&E PtoktE^ Funds' Accouni Pagg 42.IFRS 20f8 Tables 9-13.SEC
                                            ,   ,                                  .       . ...   .       ■ •   ‘   ..   .           .   .. .   ..


        - ,                  US,BANK f*loritfa Sutei&risjil Judge Carlos Lopes? Fiuaiieial &Ptopcity Di^IoOTPes)';.:
                                                                h




                                                mmssJjMdi



                    '                                 Fi Smuc.IiZ.m mji^am'tkam «                                    ££lmm£l'
            A




                     lodge Carlos Lojiez raiist iecose Wmsetffor an open obviows Ccmflt« of interest becaose he^s
                     ttolngIfeusiftess. witfr- US-Bonh ^itd Istripiits lliKiii Lu ntdte iraisno^ so Uidi lie win mate jTK^e^.by
                                                                               \


                                                                        t




                                                                                   \




        I

                                                                    I
                                                                                                                              I


                                                        f       b



I               I
                                                             i
                                                                                                                7
                                                                                                                §
    USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024 Page: 518 of 723
      forecfosing and taking (stealing)our prapiisty while acting as the Judge oh the esse on our property,
       not on case^s Merits biti:for to mate his-and them money illegatlfHere's preraf: In te farm 6,from'
      •Taliate^ ■called Sli..Mi,,.PIIS^C.P!!agyii....g..BiiiOiL.,..fa^^^                                     ^ ornm.:
       M #ia(t he        $2,CI7?,fi4S wm Iberia fenk, BA. i. Which Is. First Horfeen &«k feb-E and Rrst.
       Horfeon lank Is Swirtru^ Bank Beh.% whidh Is BS&T bank Exh. 6. tWT fignlc is                            E^h. H Who-
       has ruted In favor of US B/sNK. ihls Is^a HorribSe COnlBct, of InteresE sgairast ik and there’s, pore, * havafeund;
i
       that 0uf -case-w»'diracted'te:otijer Jociges’in;'ti»is:s^s..Pcrol yi ■wth the same Conflict of iwsresdiik« Jiudfa
       ¥olerlE maono Sdiurr a Judge we ited never mat joniprng ioto oarcsse after Judge Zabel dtsmlssed U.S iarife
       lawsuit agaiflSl me with Prejisiicc faaeJu^ they never had or owned the Note and then one year later Jrjc%S::
      ..W3lE.ri®^fWsrtno:-:Ssj4Brr got .$355,000 from'US..Batik according to her Fomi 6 Financial Bisclosure Affidavl,
       Exti, L And.'Aen..5i}drtenly inerted hewff into owr case without ^er peering tts.and dismis^d the case tvlth ■
       PmjttdioeJike Judge febsi did^ Esiti K; So ss: to^avoidtha’tefwtitt-sap anefterJudge^canhot change another
       Judges order la. tie, same C^cuil Court so sfeematfd ilie'sartse Order so she amid change her own order lo
       ■tei»ESS,witlsoiit •Prejudice and got another Sj.1 imiJUon dollar ptiiE $dpO,SOO dollar rrtonsy asset fr^a 6MAC '
       which is U3. Bank and than she cfiangad her own OrdaF to OlsmissBd without frojudree E*b. ;N. Andi.fteh-
       recehfsti 3^$2,d million money asset imm Wells Far®i/Wechov3a plus a $40ri,08& doliar nsonty Asset ■ftwh: ,
       SMAC which is US. Bank Exh. i. The seme Conflict of literesf,that Judge Lopez has,, which is why she:
       fteoised ber&eff &h. R, as dW'vivtemie c?e! itio hxhS and tk&f ateng wills Judge Schte^nger. violated FI.
       2.16a'|HHJ| and dkl not answer tiieirMotion to Recuse EKfe.lj, V ft-W-withln W diys whfoh meens that our-
       Motion to Recuse is automatfcaliy granted and alf -of their Orders have been removed S reverted bade the
                                                 a                         -    .     .
       Original Judge EabeFs Order of DferrtlsMi with Prejudioe. According to her foft« 5 Ritancial Affidavit to
                                        >    ‘

i      clrotiwent Ju<|ge abefs Otefesdl wtih PreJodicBl Esh. M. I and two other Wtoessss saw Judg# label slgft.;"
       the DtsmkspI with Prejudice &h. X,¥ and ? and the 2(»7'13W-C»l Case W3S dismissed &.h.Zl afid 22 in.
              the Clerk of Courts remove^tfeC|Jutlses dismissal with Prejudics off th@ Docket becauss the Cterk of':
       Cauete       the »me $ Cpreiim of interest as Judge ¥uferie ewamro Sehurr semrefing to fils Form § Fui abi
       Public Disdossiro of Rnandal Interest he has a money Conflict of interest witij Well? Fargo v^hicb Ts US Bank
       Ekh- 23 In the amount of $315,0C» which is why the Cterk of Coarts removed the cvideucG off the PoOkeL
       AJid theft Aftst wicked Lawyers ForcMdose without noflw to US »R<f we went threw 3 10 year fi#t see fte;
       Dodt^i for the 2010 case which had no notice bo assjpsments, rto Note and t» Wlofigage Cort                  toU3.

       f^nk frem Axiom Bank see Bdi. O. riien Maurice Syponfftte' did a Obite Title .Sub and after 11)        I Judif
      Vaterie Mauno Sdiurr shows up spin ^nd r showed her the Lull witidii she had done by- taiteg money’
       ($995,0001 From QMACiUS. Banl. to steal our, property even fooegh we were making the payments. This is
       Home Title teud In IB utejost and whan sl»6 saw she tssk caught from her own Form 6 Affidavit aad evfl ■
      Judgments she Recuaad hemlf especially after          p^W for            f^per, ads and Radio W C&ramereials.,l»t»».:.
       TTuttiiigvH her und           thai: we hw« wrned her over to the n>i ns Cstrlos LopeE must do E»i;au» hefess.
      the same wnfilct ®f iMeresl ^ he mift recuse felmsElf and vacate his Order. So CsrfOS lopei yua mwt
       Recuse TO.UiSLF-anti;i»ol ORDEJR-against us.-
I                                                                      1


                                                                           *!




          A
        USCA11 Case: 24-13671                           Document:
                                                           t
                                                                  13                    Date Filed: 12/05/2024           Page: 519 of 723
                                                    9
                                                            k


I
                                                        »                                      »




          L        Dcc:4 19,2017* Oefendanl Juti^ V»lmc S«liUEr isaed afinal Judgmenttntl!crFjdbn«L A against Oiatotllf
    , , .teiaiilfoftoridaSlit il2J3i; Florida Rate 24#|H)ffiiFe&ii.Riili^tdTmlPi«^darL> foie 6|                                                 •J:'


          PlalEitlfl'MACK WBl^LShctcOjfflcsfliisMotioffifor ltelicf& Rcctisal aiti Supporting iCleinoraMw
          regttTilmg ^uJims,..25' 2010 Cartes Lo|Jcz review ofthe record aad Fi»d Juigemeni Orfeti B^WblpJ. based'■«}
          tie folfowlsgfads, new Myimstios, just tciais, judicial.misccHidtffit,. ftaaiiilentgroffltdsasd-disAtvered cooto:
          of pcxsosal invssteieni initereste oa Fiaaacial Wselnstires of lodges and officars cf tfiis Court fiExhibits f‘BJ
          Atteched- IJ.S. BANK Special Sitaatterj foipg3lJLMpiiiLAKm«L£iigJl,ffESJeigiMgs                                               SEC
          Rlin.^ US. BANK I’Jorida Subsidiaries, Judge Alaa fine HnaseM Interests & ftBfKalyDfelosiires).-                                                 4




                                                                            mrrp Emr&MLemieB: for              Jirfe^ Tfmmime, K

i                                                                                                                 mamm           dkfmmlih k

                                                                                                   have a         i%f tnfm'est !'

                                                        '       I
          Ji{tf|e'Carlcss lopaz'must Recuse himself for gn                              obviows Conflict of Interest because he's doing-
          business wJtit US iarilc and helping them to mafce money so that he can make money by foredosing^
          m& taking fstealingl our property while artin® as the Judge'on the esse on our proprty, ooi ori-’
          case^ Merits but for to flribice his and them money Wtegally. Her@'*s proof.
                                                                                    I
                                                                                                   1                             f  4




                                                                             tAQlAtBACRSiWMe-
                                                                                         I


                           n^sOTsblcpcmm woald c|uiKtlon Ae judges Impariialiiy.
                           rtst. Ctodss-jfssd. Cosirfuct, Cai4on 3ECU, Rs. tele 2.S60 W fHj, rfe. Statifl* 112312 (Sir isnd feetfon 4SS®               ■
                           dssqu^Bfy htmseffm thefaihwfrig cfiromstBncas.
                                                                    »
                  f4} He hums (km ire, uHihidmih nr m afidmktry, e«r Mssporsx or mirmr ehlid                                            itrM$
i             ' hmmlmkl ims afomm’ftd imvivsi m ike s>»bjeci mmicr in cmfmref:%y or m o /Jirrr fo dm
                prrm^^dmg^wmyidketmkTeia ikm muM im skhfKmimiiy {^ea&d the omcome <4 rf*'
                                                                                               *
                                                        I




                  (d)i4j                   kderesi " MWiKS inwerskip oju ie^ui trr eqmisiMe kkereH. imirmxr mmH
              A



    4




                  ft                          .ft

                       J
                                                                                    1
                                                                                                   t                             t
                                                                        4




                                                                                         I
           USCA11 Case: 24-13671               Document: 13           Date Filed: 12/05/2024              Page: 520 of 723
                                                           -tONCttJSION •

                k ' TKis Matlosi Poj:',Rdier by v£K;atisig carder JiD^gmeat Fforida Rite 2.160     and        m-
                b^cdOBIKWfect^reia^toa‘whisiteblowcff‘s iiifbiTnallonlirrfllfijl bltftdrt«ra,(nmi^n
                and dfscdvcKxl evidence unknowsi'at m tunc ofthe origlaaf C::araplajitiit ftlmg PtoinlilTcouW Ebt-
                n»sa>nal>ly know the finascia] dKdlfigs wjtl Peftildaife ofa yel'to be a&signcd judge before the
                origisial Ctjmpkmi filing As previously dBpkyed by Jus Disiuissa! Order* due to eked ifiipmpei'r "
                fiuaiiclal conflicts of interest* Judge Curios Lofpez   ferapabfe of irapardaliy an.d withoui
                antoas against Pfo-Se PiarotilT or to acieisc unbiaKxl judicial diaies required for due process
                                                       t
                j«s4iw,m iMscasc,

i                       Judjp Carlo's Lopfec has creditor kaa histoiy aad busine.^ wldi Plainlicr lf.S BANK MERS aid'
                JPMorgan that caused pre^eniial Quid Pro Qm> iimtorpni by hk .mia sponto review wd Hid'
                          .Orrfer, Judge Cates lope/ has sigiificiffll exposed rayestor financial Interests in, thb^-
               ^subject matter In eontioversy and wife PbiEliJ[rU.S.BANK thai will tte substantlrfly aegailvely
                affected %,fee ouicome of thai proceoiiags when .the Defendani “ultiniatelj .ptovails'lai-'
                promote Ifi paid for «dds in fee media; Becaase people can’t wfe when the Judge Is'on the
                dfihe JBanfateis'to stetel proper and inoitty offtheir Frey!
                    i        .                     -              I                I                             f«
                        lixajnpte ofJudges who a1ri;ady recusal fecariscives from U.S. BANK,
              HE SECUSJEB HIMSEiF BECA13S!CI iti i 1AI> A MONEY CONFLICT OF INTEREST
              IN 131 FEDERAL JUDGES JUST GO'I'FOUND OIJILTY OF COHFUCTS OF ’
              INTEREST GOOCiUi NEW YCMK TIMES ARTICLE BY ADAM IjrfAC.
             !,JUDGE DARRJN P.GAYLES Exhiblp P.
            2,THOMAS WILLIAMS Exhibit. Q.
            3.JUDGE VALERIE MANNO SChW’S RECUS/U ExhiblL R'
I                                                                          t'

                                               »
                        Ihimiatt to Ha. Ci>de Jui Cotidwcl* Canon 3E(1). Fla. Rule 2.160(A) fll). Fia StatMe^
                112-312(8)and Fedeiaf Rate ofCivil Pn.j«dMreRwlc 60,Pkiotiffrequires Re)leffroim the June.,
               12,2023 FinaljMi8mgflt..QKter .1 EsMbttJ. tmaxl upon'fee siiated fects,just tenns* cited aiiscoaducL
    ^ 1 ■
               Rule60 grounds and newly discovered banldng icalcsiate fraud               couit officK^.'-
                ®       Sdd Reop^ing feelirf wotild requirethe waring ofhis order and Rttew^l ofJud»
                Viferlt;'Sch.uTT -frOTj &3s and any futurc'ircslalcil CLfl. BANK iMtnlt-ing i«al cxiaic o«i» ii» fete
               District.The Dfeuissal Order Relief also requirw thk all paitira be rdrSMcitotheir prior
               ppsillons In this action (Dismissal wife Prejudice)rcquiriiig Clerk issuance ofSxiramons upon die
               Defendants and allow the.flling ofa Mcilion to dismiss the Final Judgment ibr causes grounds


                                                       «




i      I
                                                                           f
             USCA11 Case: 24-13671                       Document: 13              Date Filed: 12/05/2024                      Page: 521 of 723
                                                                                       I




                                MACK WELLS'
                                I'WflS.livW'Dr,
                                                                                                                                    64v.s4
                                                                                                             «
a

                               • ,^sp,i2*33W^                                                                              a

                                                             *

r

                                                 'CEI’ni'ICATfiDFSLrA^LF^
                                                                                                                                  «flte
                                IHBIBBY CEUlIFtfct m latfc.dayofPcb-.
                     farefokg’^vasr     pcvld«i."iM thist’                eicctreaic-,fiiBg ^s!sft t® ite isl#fBQ‘'S e-i mcmi
                                                                                                                                                 a
                                              I
                                                                                                                                  Immm
         I
                ‘ to™uo8dua and o««M ««>= -""tBSSa thK «fcm-Ss-d wSH I>rS«<ilc in
    fi
                     at,no:07-12«t7CA01 w6ok.U-5,SMS «oid nc«r#«*.« tl*e|»oo,lsa.7, Kote tl'=c!T.::l»f
                     ^me as>:ed by flie             saveroi               bot noW dM bring it fortl’i,                                  —
                     ghaft»agatltarJiidM^s QRDERI And 3l» §rt                                              YslerlfSctiurffeuitf a JilgWl•
                     m4$f ssfip m » qiiasWsfense a«orae¥ fcr PS*SAilC ha peROftsfinvest«i* tit f'mnt'-r ty mate
                     •»onef tiifstlier, OifeKfK^,WACI WEllS.lisss»w subsstiuso#/ pcwldtd tt?« Unlieci States                                .■
                         OgpartwentcfJ«st!ct fOOJl                                                                  . .'-.i.L: :■ 13 ill#
                                                                                                                                                     iO

                         recsf* replug miMoRS ef miarn m mposii frsttAileiitforcirfosum dBims                                     by tie
a
                         Dgf«tt*«s US, BASK, derks and &}urt effictrs lntWsectisfi. Eihfttt, O. SfiAC AIsc
                                                                 t
                                                                                                                           a


                         dcs not OtJB               «>
                                                             b




                                                                                               I
                              . “ ■ ■              'CBITIHCATiOESmiCL                              t


                                 lilESEBYCiailTf'Yf.s-iiea lat&dsy ofFekr 2020 s-trac aii »f?«3 ccf?}'c^fdie
                         lKsge3^w8spwKi«4Yeth« Court's electft«eJii,p§0stOT»|4eaSoa3e5i of zccm4
                 i




                     6                       .»
                                                                                           s


                          i
                                                                                                       1
                                                                              *
                                                                                   1
                                                                                                                        2c
                                                                      a                                                 M

                                                                                                                                ®^
                                                                                       1

                                                                                                                         dWir
                                                                                                                                                     4




                                                                 ft

         I                                                   b




                                                         »                                         *
                                                         r




                                             I


                 I



    4 i


         I

         I
         I                                   . I
                                                                                             k
                                                                                     f




                                                                                                                                                                 <




            I
                                                                  /
                                                   «
                      • .'.i ■
                                                                                         /
                                                                                         MM
                                      4
                                                               /
                                                                         MACKWKIJS
                                                       S               15g20S.-AiK'rl3r,




                                                                                                                                                                     USCA11 Case: 24-13671
                                                           1          . Mismi!1a.23I«.                                            i                      f
                                                                                                                                                         «

                                                                                                         4




                                                                                         CERTIFK'Al'E OF SkRYiCI

                                                                      I-1lERFBV TFR'I II'Y ito «q 12* diy‘<4'Feb.. :^fGCi a otc andmmct
                                                                                                                                                                                              4

                                          'I                   eopy yfthe feregmtif %as pm'ided via ibis Cyart'&'electmnic            j-jxEcffl to the
        !
                                                               'aaafiieys.»i«e'ori
                                                                                                 I
                                                                                                                                               0

                                                                                             6
                                                                                     f


i;                               ; 9

                                                                                                                     { '




                                                                                                                                                                     Document: 13
                                                                                         »                                    *
                                                                                         t                            ■?, •
        I
                                                                                                 I
                                                                                                                                                             «

                                                                                «



                                                   &



                                      »




                                                                                                                                                                     Date Filed: 12/05/2024
                                               .       «                       .t                                     1:

                                                           }
                                                                                                             I
                                                                                                                                  1                      f
                                                                                                         4




                                                                                                                 I
    !




                                     eJ
                                                                                                     I




                                                                                                                                                                     Page: 522 of 723
                                                                                                                                               0


                                                                                             k



r                                                                                                                     Hr


                      '•/v' ■


                                                                                         »
                                                                                         f




                                                                                                                                                             «

                                                                                I


                                                   I



                                      4

                                 :    I




                                                                               .1

                    :h.,'                                                                                                         i                      f
                                                                                                                                                         I

                                                                                                         4




i               ■
                                                                                                                 1


                                                                                                                                                                                              4
        USCA11 Case: 24-13671           Document: 13         Date Filed: 12/05/2024   Page: 523 of 723
                 a                 .t

                     t
                                                         I
                                                                            1
                                                                                          ? 6x1/12>J<o
                                                                                                  6x6.^
                                  FULL^ND PyBUC DISCHISURE OF-FINANCtAllNI£iEST "
                                                        P«T&-ASSETS
                                                &

                                            h



i        Carioi Lopei
        ■ Circuit J«^ge                 »
         11^^'ludicfel Circuit-         ' I

             A



    i. ■ As of Janeary 31, 2022

                                   .»

         AS$ET$'li01¥IPIJAlXY¥AtyED OVER $1,000;                            1             f4


         Real Estate'XXXX irictetl Ave, Ui!t XXXI, Miami, F!
         Real Estate 1717 North Bayshore Drive,A4244„Mlfml,FI frental proper^) $S7S,00Q:v
         Real Btate M-00 NW 24ave,#720, Miami,FI (rerttal property)                                       *




         Cash IBIRIABANK fCash ^ CD)
    /                                           »
         1111 Brkkeil Ave, Miami,fl SpSl                            i


i        Msrk^ble'Seojritles UBS(See Summary)                                           $311,383'

         CliVI Group,P.0,Box 21931^ fCole Capital)                      *               $255,000

         Kansas City, MO 64121..

         Bid Realty HoWIrigS LLC- Rental Office at 2333 Bdckeli Ave                     $l,aO%O00:
    *


         Suite A~l, Miarpl'Fi'paJ% owned)
         .Lioajfi*Owed.from Carifce Insurance Agency Corp                                      ,CW0: •
                                                                            I
                                                         I

         720 Jeronimo Drive
                                                    4



         Coral            FI 33146 ,,




                                                I

                                            b



I                                                               f

                                        »
                                        t
                                                                                                     I
                                             USCA11 Case: 24-13671             Document: 13        Date Filed: 12/05/2024         Page: 524 of 723



                               1                                                    I
                               [


                                             Alfregiore »       S&fe search; grocJtretc      At/time ■»'
I                          •                                                                              I
                                             # nttpsi/^VrAlftfaclvartiserxe|i > sloiy j money»^iisine«;|/ 2022,i 02; 28 ^ tcf-issrix-c/Gisp'buyio...
                                             ID Bank Groyp buying fohner IBERliBANK, First »Lafayette. LoyfsL, .
 1

 I
                               , Fet) 2p..2fe2;-' W Bmk 6fou|j, the Cans&e feindirifsiit wiiti i?i0re tisii 2i miifcn U S. cixtomas,
                               ^ 1^11 soon be 2he rn’mer of fomisr         to^sllptis fote^ng fie s^oisltion of Fir£t Horizon on;,

                                                                        .6
     I
     I
                                             H                                    lsal0n„iouge mm > bxsmess»first-bor}2oo>tci-ta''i^
                                                              . _                              '    , _           .         .          ^ *
                                             First-Horizpn ialik, which acquired, iberiiiank; agrees with TD Sank t
                                             May 4.2023 -Bif Hoito Banfc. viKcb osquiff d IteasBenk in 2520, snpairicecIThiirscs*/ morning ft
                                             myftioliy agrte’d #tf W Bank Qtmp to cilf oflhar $13.4 Mliofi futTgar.!© Bank iitfermecl Ft?!,.


                          ^•                 H           wimtfieadi/ocatexora >. b%toii_fougt > news > business ^ fot-tiorizcp-ibeizo&n-zovjnei-...
jj                         j First Horizon* iberle8aiik‘owiier, set to be acquired by TD Bank in, $13                                              mti



         ^                                   Feb 28,2&2| -'B^l Hk&oh ianK wRicli. tcqtited Iberiaiailf in 2020. annouficsti Ifmrsdav momlnf R
                                             mutellyaireedyiilh:T01dpk6r4;ippca«.of theirSBi Mto« mergei STAFF PHOTO syLES.I£„
                                                                                                                                                             I

                                                                         «




                                   1
                                             H blfpsi^bvwxomftierclafiipps^f.coiT! > stop/ > money, ^ biislnessT 2022 > 02 > 28 > td   I-



                                             TDBank-Group to-.icqyire First Horizon: 5- things to kno¥/> •
             I
                                   ; rei? 28*2022 -                          10 iank %oup afirkitinced the $B.4 Mfen al-casb agrson'jr-t to ■
                                            'Otoln Mmphls^!)8$e^’Hrst HoUzonss par! offi^gropp's^ns to i^eterateils'gro‘,fii in tie US,
                 I .



                                                                                                     I



                                                 ftl^sf/w'ww.kadfixGiii > nsws > fsfsi-ho? iron-banli-^itii'h-ocgyred-flierisbank-sg'fees-zMi-M^bs;,             *




                 I
                                            . First Horizon Barik.-which' acquired IberfeSanlc, agrees with TD Sankt
                 I       . ^ ; Mif-4,2023 ■ M£MmiS,Tfm4^l) ™ Fiisi H»t2on,_whldi a£:^ulred,lt^a83nk, ortd TD Bsnfcifi®;
                            , e0li@# off s $13 feiffion'd«$i haw for?tw8 Si?iwicaV »wlh-i«Tg«t fesnk, sdding ic -nc iiirmoll
I
                                         sweeping fe ceupiiyfe regjonal tenders, Tlie BcctiMsilon vhs innoanced stionly alte^                            ■
                                       j First                   is retrain’d of Ibrfjo’F^rk
                     I

                                                                                                              *




                                                                         I

                                       I.

                                   ■f


                               *




                                                    ft                  .1

                                                                                                                      1                     f
                                                                                                                                            *
                                                                                                                                                         t

                                          USCA11 Case: 24-13671                                              Document:
                                                                                                             »
                                                                                                                       13                        Date Filed: 12/05/2024
                                                                                                                                                                   *
                                                                                                                                                                                                             Page: 525 of 723
                                                                                                                 I

                                                                                                                           I
                                                                                              I
                                    I
                                              Mips*"^w«f,fei2joiiffi3ls.cort) ^ luer                                                   > news.» 2019                         > 08 > first torrzon-;»0-;                        e-SO-suntt .

     '                         first Horizon to acquire 30 SyrtTrys^BB&T branches - The Business X,
" i                             Meniphts-ftased Rrst HorfioA Kaaonai Gorp.anodunced Friday,l^ov.8,that ft entered|iito.a deal with
                               SuftTr«$t Sate*iRd. and S8&T Ccrp 'to acquire 3Q bsmmts across Nortii Car-oUns, Vtaitnia, and


     !
                                                                                                                                                   I
      I


                               First HorizmMmk-ATimtm££holce forfinanciat Services                                                                                                                                                                     4




                                                                                                                                                                                       «.




                              firsi hoftzofi bmk Is smtrust ^m%
 I!                                                                                                                                                      t
          j' ■' C^Afl                                @                                                                   ^Msws                                         l2i Shaping
                                                                                                                     ft?

     “I



                                                                                             .1




                                              httpsf%Miw.§ld&efiewswi! e,com > fife'/^s-yereaso ? 2020 > 0 / > 20 > 2084b3f. 0                                                                                                .• Flrst-Horiz...
          1

                               First Horizon Completes Acqyisition of 30 SunTrust now. - GIobeNews...
                               tiSf of braficliss In transaettq*: WmminrS&l^mJiQ^M Banking Market Medlcal.Park, 2006 S. .
                              , Hawthorne Rd.. .piiston-Ssfem! NC Zim Mcck^.lie Yadarwilie                                                                                                    880 Yaclkinyir‘«yc!„ Bocksviile,' '
                               nc...
                                                                                                                               *




                                              htl^Y/wwwJrsthOiSonlcofti .'Better-Togetirer >Fif>d-4"LdC3tiori                                                                                                .       ..
                                                                                                                                                                                                                                                       4



                               Find a Lobstipn'- First Horizon Bank"                                                                                         f'        ■
                                                     Satui’dcfS'FdB;iSep^ce'Bj:v£-|fim' WqtSi;atfdrts Fqqnd See*c;i locatioris 0r.v:-i'*-u hours could:
                              mrf. Pfedse check ¥/ltii the bmMng gentm imm to see f adOitiofiaJ drive-thru hdirr5 r ? r/vaftable.
 1                            Ptw#»r5 Focused. Better Tog^thsr.
                                                                                                                                                         t


              I
                                                                                                                 »                                                 *



                                i hl|p&d/wwwJ3lz|oufnalsxpm ^ chaitolte,j news»2Q2& >^}7 i20> firsi'liori2on-byys*forfi@fesljrfS,„
              I               .v'k:: ;j; ;i: ’   '            •h'f'j/.iv ■"h. s ■ . , -■•'        ,;.2-^V7y' 7       '             ^          " "^'^7:       i'l       ' ’      "■ ■,' ■    •' J ■ ' ,   V       ■               ••   -.y-;,   •, •■

              I
              I
                              Dozeii^‘'of former SCmTrust branches become-part of First Horizon Be
                              Ifpdetecl Jul 2^ ZOSOrSSSiwri £pT Thirty formef* Si^Tnm-tehclies are ndw part of Fimi H«»on
                              iankiTfUlst Financial                                                              tFQ;¥^lilcft owned |he branches, aor'eeti.to divest them last „
                                                      I                                      .1


                  i       •
                                                          1
                                                                                                                                          I
                                                                                                                                                                           I                                              f
                                                                                                                                                                                                                          «
                  I                                                                                                                                          V

                                                                                                                               4

                                          1

              •f
                                                                                                                                                   I



                                                                                                                                                                                                                                                       4
                      I
                      I



                                                                                                                           A
                                    USCA11
                                        I  Case: 24-13671
                                                       .1
                                                                              Document: 13             Date Filed: 12/05/2024   Page: 526 of 723
                                                                                                   I
                                                                                                                         I          f
         i




                                                          Safe search:rnodtra® .               Anytime: ■*
                             1.                                                                                                                               *



                             i@ Mip$://tt»ww.triilstcom > Wm-me-&e > a&out-tryist
                         / About'Trytst ITrulst
         i
                          ^ At Tmist oui pKifaos® Is ta                         iuSd tJe&r lives md oommmMm, That happen,', i ough^reai
     |i                      tare to make tbifigs letter,                mepf dient needs, to em^vrer-teanuna^, end to Wt yp kO-nmuniUes.
                                  Care.sisrts vntti cpltu®^ Our beae| m 'omw !s at tlie tore af everything that we do„ every o ay
         I . ■-




                                                                              '        I
                                            hftp|vPiiioriey,«§r!e’/«.€’om»barikfng»articles * suntrys'.'aita-b&t-niergej-mhst-yn«-.”'''rfD-tC'know!
                          , SyfiTrust sfid- PB&T Merger: Wh^t You tsieed to Know - U.S. Umm-
             I
                              The Suiffnm and SMT merger Is mt expeci^ so close dn'lfl lafer fn 20I9-, and the mo banfe'Will '
                             remsiti dieting ss two sei^iite eomptfiies'th^f say Dpnt Duffip Your Bdck-and-Mof|t^ Baok.:.
                                                     i
                                                                                                   I
                                                                                                           1;:! "                  . ♦

                             B ftttps://ttt&dts,lryisicofit >20sg-12»O9*BB-T-3nii-SonTfyst-cojiipfete'tmerg&r-of-2qyals4dgifesdiiffe
                             8B&T and SunTryst tompUte merger'of equals to''become Truist
                             CHASLOTTEs N,C,. Dec. 9,2019 PRi^ek’sisKflre / - limm. Floagclaf Co/poraticn |NYSE. TTC; loday.
                             annoijnce.dilit,£oftipl,fiipn,pf tfee merger of e<|tiste feeweks BBSr.Goiporation end SwiTwstSsnte,-
                          • {nc, effective Cfec,; 6.2015                               i

                                                                                  ft
                                                                          f                                                                               i
                                                                                                           .•r

                         '

                 i. -        m ' WtpsAmw.tr ufeUccre
                 1           Trufst Bank I Checking, fesjyinfs; Lending, 'and FInaiidsi Services
                 I           The Consufner financial Proletapn Suie3«.(CFP81 offers b@tp.ifi moie.tlisn 18C languscjJi^ c^tii
                            2372 from S a-rs. to S p.m tl, f4bn0Bf tfiroiigb Frtdsiy for assistance’,by phone. CFPB odchionai
                 I        ,fesoufces for homeowness seeking psymeiff assfelonce in f-additional fangysges.: Sp£i ish, Tradlttorral
                 j           Cftfnese.'vietriafBesevtoeeiiffregslog, and Arafric-
                 I
k'                                               I                  »l

                                  V^.,v .                    .                                     I                 . 11            f
                             IP htt|»://iwA«.forfeKxorit > advisor >■ tishicingp suhtriist-bsnk-jtow-troist-review
                             SunTrust Bmk^ Now Truist, Review - Forbes Advisor ,
                             Nov1L 2021 StmTnm                           hso brarteftps In fe SbiJttiSBSt feut-Ss' meme'r wtth BB&T lo ^orm Trtiisi       '
                     I    ' nuiy expand ItsfooSprtiit You esn open m account ©nlfee vflSi Stua’rust ‘even if yoP dont ia^e in 9                               4




                          sslstgip,                                                            ’         ' r         ■

                                                                                           I

                                                                                  ft
                                                                          f


     I                                                                                                                                                m




                                                                              »                                  *
                                                                              t

                                                                                       I
                1
                                                                                                                                                                                       4




                                    USCA11 Case: 24-13671                     Document: 13                       Date Filed: 12/05/2024              Page: 527 of 723
          .1                                                                       I



i           •!
                                                                               »                                           *


                                         W                          > msrket-Jisl-i ^ qoot?s ? USB
                    I
                    t
                                         USB rUS. Bancorp itmkWmIMetis'^ WSJ.
 I
 I
                *                        kv> 12.2Q2S _ Vie#       fetes;US.Bap»rp i.USSj sfc^k price fiews. f’-isterjcsi 0ifi5, anefys; rt<!!.'r';-s
                                     andlr<3iicillflteatBnfMWM                               ''          "                 ''', ’
                                                I                   .I

                                                    I
                                                                                                             I
                                                                                                                               I                          f   «


 '                                   ii hflpsiTfctenfctfyfeicsm j ui r fcbi*
  i■                I               ■■                      ■                               ■: ■■ ■' 2
                        , Tryist-Onfine Bmkm§ login f Tryl^                                                       I



                        '                "Tiiftsi Attelsorsf ow/'bs oficers and/or associated persH’A of tfie                         gfffces of T«B»r Rnan^if                         4




     I                  * Corpor^iirWsi pinlt‘§u.i comsiarab: Dsnk,                                                       iankftf, trust an^ isset menugsmer:!
     ; , . ■■ 1                          service: 7rw^. teesteepi Sm&k Inik, s mjsXtM trcter^eiter, which s ipernter jf RX*!?A c-^d ■
il          •/ SK/«daicfiisetfJosiirar,ce^e!!'&'...                                                                   t

. i                                                                            »                                           «



                            I                ,}ittps.f/wimchlJC.coR!'> 2019; 02 i' Wi > hers*3rf4h?*biggest-us-baiTte-i¥ltl»-&bAsuntrurt-rfier;'e..                      *




                            I Ihme me the lOMggesl'binks In the coptiy now after the IBiT.                                                                        ' !■




                >, ■ BBG and&jriTriisl snrmjnced g I66S r^ger-fee's                                                       fes «p«i5 ssythat mmm fcr the
                                     §ninct§l s«&r IBM *s ^sl^ls Isu*/ SurifestBaffts Is ifeted.te-cra'ete tie s^argai                                 in..
                                                    I
                                                                                                             I
                                                                                                                               i                              f
                                                                          > article > ii‘hspc0rp-lJfear<dt-lclUSBNS54ll§72GCS!-314
                                I MS, Bancorpto buySBil's select Nevada branches l.Reyters
                                  ,&! W fRi^esI - US.-iaiicpp US8M'^_ It slgn^ a deii                                      »T-Cdr|) ppifl to toy afeDji SBOO;                          4




                                I faioo tftdepcMs of arlsin bsocfi locaSons of SB&?s                                       bgitkiig o|»raao0S fcr in...
            ■

                                                                                    I
                                                                                                                                                 «




Il •                                 §-ht^SL^fflFe«!toro.€«i f telii&si > i¥itats-bb-i54«4iiiif > 8r&cieJ70ra«-Sa§2-5f7f’do2&                                                «   , ;




                                                                                                                           t


                                                                                   I
                                ! Tht cointe'rf BBIT'StiriTni^, w® $4^2 oidion Li total ass^ iwdi be m the heels of US fencor^-:                                         *




                                j WaijlioTi 'm -$y$eH f s the tsrgost super’-regtonal Oanic li te asmtoy. It woirW fet tbe .
                4




                                                I                    .1
                                i
                                                    1
                                                                                                             I
                                                                                                                               1                              f
                                                                                                                                                              I

                                                                                        «
                                                                I
                                                                    I




            USCA11 Case: 24-13671                               Document: 13                        Date Filed: 12/05/2024                    Page: 528 of 723
                    A




                                                    .%



                    FORM 6                        FULL AND PUBUC DISCLOSURE OF                                                                    % ■30S
                   “                     ”                 t HWANCmUTOESR }                                                               ^
                                                                                                       I

        I

                             Wsf! Itelftf'# ». «*»» S4*S«                                                                                       mum-                         A




                             Bsrterf
                             fteist CSiKif C#»Stow«
                             I3WR&3S«r« ■
                                                            f
                                                                        b
                                                                            i
                                                                                      ^toe&ssEri.- -                                            :2f«l
                                                                                                                                                          U. l

                             ■»w,a mm^im

                             luiil«iil«sJI.J|,li„>»,,iltM.i,s|jsK,l|ipl«f,l,j1l       w


        f                                                                                                                       ?.fiS!S.Ca««
                                                                »
        i                                                                                                                   Mairo toun, !&!«« R
                                                    ■9

                    A
                                                                                      mwM^mf «^m                    ■                             •         ' ■":




        [               I
                                                                                                               I


                                                                                          !«-i if tW                            -teB sstt^ «a*te s-^ :asa teto*iu^

                   » egyi:^ t**p                                                          ptsateJ          5

        I                                                                                                                                        **SiWW«i?T

                                                                                                                                               7cc K&.m
        I
                                                                                    dt                     »yy—|-       y|«-—
                 . I fe e -r. i:
“’ll
                                                                                                                                                  £:a
                                                                »                    ««.»» C ^ «ABHJ3Jj6B
                 mmjn^B m eksss;^ ««




                                                                                                                                               M .m   f



 ,;:;       !v   Kw#*saR-;afeK2»a,i«i»4«SE*te?«a««««£»'Affi«‘i»>                                ‘   ii
                            :i

                                                                                            I
                                                                                                                                                  '♦                ■' "■■
                        ETT                                                     A


                                                                                     #iw*8W«,(m jstjfW «»J;




                                                                            a

                                                                        *
                                          t                                                                                 &                                                 I
                                                                                                                                                                              S
    %
                           USCA11 Case: 24-13671                                    Document: 13            Date Filed: 12/05/2024                               Page: 529 of 723

                                                                                                             1


                           - >;                                                                                                                                                        A




                                                                                                              !x tvhcmiiVTtcmMi or thi
                                                                                                                 ■ • ■ j: Dfi :-\l
                                                                                            a                    t.
                      I
                                                                                        6




                                                                                                                  t                   y'.;

                      1


                                                                                    »
                                                      t « Bank .Ji.A.
                                                             P'!a”s:s#>E
                                                                            I


                                  A
                                                      m'M.

        .:       A.




                                      4

                                          4                      OSDFH                              WITI< ?:S'* Xf^Cc       1                                                 f
                                                                                                        I




                                              '     Was«f%edw: Apii ^hZ^M::ZrC-m v%gf r,iH«o«l
                                                 ■ <«v« cfte           nn«r.^ ?•' r^:. aa. te4 «ed
                                              .■         14}»|«rt> hi.   g^;4 sr::.? ‘^hy »»»«                                                                   •       '■            A



                                                     AwiiTliilgiy.
                                                   • r j 1$ omr^’.^ Tm            » as5««i foj I*k0t                                         wiflJ*ntiaay .•’'
             •.                                      DOME A\'B 0mt&H}mcmib£TS. si
                                                        Mmth. IttiO.                                                                                         i-’ '
                                                                                f
                                                                                        b                                                             f---
                                                                                                                                                                     I
I   ■        •

                                                                                                    mw                                            *
                                                                                                                                                                 %\: •



                                                                                    I                                   *
                                                                                    t




                                                                            I
                                                                                                                                                              /S-fSSI .
                                  A



                 fi




                                                                      ■t-
                              v. > .              *       4,
                                          t
                                                                                                        I
                                                                                                                            i                                                 t
                                                                                                                                                                              ♦

                                                                                                *




                                                                                                                                m
                                                                                                                                             i.




                                                                                                                                     PiMi? Wilis                              iimmim
             «
                                                                                            I
                                                                                                                                                             «




                      ,iSk 272441>§ 4m CFN KJf052371® mmmw t2 «?'17 Pg < of 1 ?,Sa*0Kl8 CI7, FL
             't:

                                                                                    I                                   *
                      I.                                                            f



                                                                            I


                                  i



                 >
                                                                                                    t
                USCA11 Case: 24-13671                                                            Document: 13                           Date Filed: 12/05/2024                                   t   Page: 530 of 723
                                                                                             f
                                                                                                     k


I
                         mmi•§-                                          FULL AKD PUBLIC 6ISCLOSUEE OF                                                                                                                                 ■         2ii§
                                                                                  1 Vlf'^ANClAL INTERESTS
                                                                                                                                                                                                                                        \U                        »

                                                                                                                                                                                                          1

                          I




                                  K
                                  Hm Vdisrlf B »ei»e fc« j'«"
                              |C?rsK',i4tJEiS^                                    t
                                                                                                                           PROCESSEf                                            C.'ZOi>
                                                                                                                                                                                                     •»
                                                                                                                                                                                                          !ii = ■ ^•
                                                                                                                                                                                                           #
                                                                                                                                                                                                                  •               >
                                                                                                                                                                                                                                  A-


                                  Jirf^CtfeaHlllXW.                                     . ..                                                                                      b;'»
                                  ^gdcer^finitrrsio-^stf                                             ■                                                       I
                                  ?3'WFW.SLgi'SXO^E'COO?JW-COUBTrl6sy^R«                                                                                                                                                      «

                                                                                                           «                                                     I        I
                                  t«
            I
                                  fjSAMI r-l 331311

                                                                                                                                                                           Lfanrs 5it«^.
                                                                                                                                                                                                                                                                         4


                                                                                                                          P^TA-NiT%VOKTH
                                                                                                                                                         ;«■■» *'«■
                     R«sfccff                   ywi            ■j!' ijw*^ Wl» »M- .a Ci                         i'            C’   "»«»
                                                                    XSIB'S. >;.4.^;4ai«iJcS1|ii’iS:?£Ka<*V                                                                    VK~   ,
                                                                                                                                                                                    r
                                                                Wjf r,c.tH>3rf*^ ^                                   " »■ '«.? k    V                                 %       ^         f




I
                                                    .«
                                                                                                                            ?.*4^ra-A.4ETs
                     iws«iB                          a?f-« re-                                                                                                                                                                    5 ,,"T^»Ssto«r>i}i
                      Kx;5S« 9«5*.cr>s r«5»*3 eteSsray^ ’*• tw»ss, 0 ^ >iPi^                                                                                              X>J               ..                        '5



                      n r« fi,? fcr^,**spn             , a.X'?'"'.:
                    ', <1^ fwCTJ'jB                               "jH                 te- p5tm."«t *.,«
                                                                              a



                         »T*-i595^? v*wef                               r«-*^»£*a£                                                                »> I                                           <*%>




                    ' ’ AiS£w »m^mmiymiM& at o«? $s sis-
        »
                                                             BtSO^WM » *»,T                                OsswpCcn                               bmmrn^^wM^
                                                                                                                                                                                                                      y"^ i
                                                                                                                                                                                                                                        GSkC i
                                                                                                                                                                                                                                      I ^    .

                    ' " »-                               ^              ia   ^£il£.iJl   <
                                                                                                                                                                                                                                  .;^..;-oa--i^..
                                                                                                          -/ /
                                                                                                                                                                                                                                                           -     /.•T'

                     V H I. K. f                               ¥ '>.         b. ;3n n                                                                                                                                                                «r^       ^A-%
                                                                                                                                                                     / ^’nA*£A'
                     T   W                               \'                  U.. £t-i:                                                                                                  -5
                                                                                                                                                                                                                                                 A




                                                                                                                                          I
                                                                                                                 ■        micr€-E*imfjfi&
                                                                                                                                                                                                                                                                         «
                     tMAFIE^W
                                                                                                                                                                                                                       *M»*fi^lgggg
                                                             k^»mw^nms!^i£^nm                                                                          „.,
                     7
                                                !
                                                                                                                                                                                                                                                           , r.

    i
                                                                                                         t.^l
                                                                                                                                                  :M|^ :              ,4 ,                                                             ill. =laK
                                  *»v
                                                     riu’                                        »i /f                ?
                                                                                                                                                                       ’HZSSZTlIK^
i                                                                                                                                             A
                     jmif mp ^ms^L'msMms mr                                                                    msq'.x
                                            .            , s»««3A»sr»«*#«»»                                                                        0
                                                                                                                                                                                                     ■ y.4
                                                                                                                                                                                                              f        Aucmto^mm^
                                                                                                 r



                                                                                                                                                                                                                                                                  I

                                                                              I


                          A



    i
        ,       .   ctrosMe a? *                                                                                                     m            aaij                                                                                                9AiSE'»



        i
                              I                                              . t

                                        1                                                                                                                    1                                                             f  t

                                                                                                           «




                                                                                                                                          I
                                        I
                                                                                                                                                                                                   *
                                                                                      I



                                              USCA11 Case: 24-13671
                                                        i
                                                                                                  Document: 13                       Date Filed: 12/05/2024                         Page: 531 of 723
                                    *




                                                            I                       .I

                                                                1
                                                                                                                                 I
                                                                                                                                                         1                              f%




    I
                                                                                                                                                IV rWE CIRCiW COURT Oi’Tfffi
                                                                                                                                      I
                                                                                                                                                 t
                                                                                                                                                    ru:DICLUCiRa/1iT:»!3«SI>
                                                                                                                     *■
                                                                                                                          ■ »'                   FOR MstOLlOT?,
                                                                                                                                          ':%a  ^EKAL A‘RI5&*.CU£P* 0l™ce<
                                I

                                                                                                                 I                                           ;j:ASEVPv2Sr.li«i^!:
                                                                                                                                                                                »

                                                                                                        fc



I                               9
                                                                    V.'


                                                                              KlsssrfBlS                                                    t

                                                                      ’-‘2.                       I                                                  #


                                                                                                  '          I
        I                                                           : .,$KJJ.'WipBDDQS

                                                        «




                                                  -O'
                                                                          This iHctiota w»'besp| W'^eierfiato
                                                            I                                                        coart5s^a«U>ntjfi«pRS^^                                   LnO^ei
            I
            I                                                   I
                                                                      ^■w*?ri'ed: cm Asrnr 1 ^ J5KS. 42>xhsir’!^'sr xw rB(S6iirdatf*%'*rfe                                              J
                                                                    ■ Sci^i®^ ofx^w'-SEi^i^iieiSdc.^Si isA:s^^^                                    iJts tajisn •
                                                                      Aad Ai fiO pasn- fcs she^A»    «uss v^v ifcfe #ctioiP sasftiEd nfraair. jjenciae.
                                                                     ■-,-vbsisRlsosKr-■'
                                                                          <T1S                         Ttije ^ aedoRSi I>«ota«si fbrSndb: ofPiMsapiBawTiJr iPrejfetSce
                                                                          jboK^ A^fD OaDESID kiCteffiiibSjSk® .\HaaL<ai!ie««in(:’- f jwiGi-h?s-"' thdis-K
                I

                                                                                                                                                             AA
                                                                                                                 %
                                                                                                                                                 ■^a
                                                                                                                                                         f

                                                                                                                                                                     A
                                                                                                                                                                     /
                                                                                                                                                                         i.‘


                                                                                                        k




                                                                                                                                                                                                       I




                                                                                                  »                                                  *


                                                                                                  '•         I
                                                                                                                                                                                                   <
                                                                                      1
                                                                                                                                                                                K
                                                        «



                                    ^       ! ■




                                                            I                             »
                    I
                    I                                           I
                                                                                                                                 I
                                                                                                                                                         i                              f
                                                                                *


                                                                                                                                     I
                    I
                        I
                        I



                        I



                                                                                                                                                                 «


                                                                                                             a

                                                                                              9         k


I                               m



                j .
                            I
      I
       r                    USCA11 Case: 24-13671                                  Document: 13                 Date Filed: 12/05/2024                              Page: 532 of 723


                            •-




                                                                    '          »       "       a^!i ^CTIO'^
J                                                                                                                         t,..
    i‘'i .
                                                          Kssislt.
                                                                                   »

                                                                               UiVjAIO'*           ■#"

                                 «                                                                                                         I




                                                                                                                                                                       'v”-^

                                     I       IXBOY
                                         I
                                             mmzwmimb                                                    8
                                                                                                                                       &

                                             "    "   '■■ —     ■




                                                 -1"':   At- «»ftg.R sis«life#y*rjSigL£&S££I^S^




                                             ■ w to!«s
                                                          stissilP'iftSSiSWf'iB

                                                                     mrAim
                                                                                                                                                                                       I
J            »
                                                                                                                                                   »«£ ,** IXii'‘l*^ imbM:f'm0i^M
                                                          :fe        & eois W                     »«>
                                                                                                             a-i#sss was vv
                                                 !*.#5ig!» afdw«»
                                                                                                                           55,.                s.r„i»^a.MAS.K '?%ii,'!.ss-
                                                                     Ai; iViicfc *
                                                                                                                      ,' . i:n . V xoKThuiA'^it                                    ^
                                 A               FEA^fXifS. C^^mh- r4AK \6£M«-^'T iXWCMBtW
             fi



                                                           i:         '•
                                                                            gctrtaW »f*rr*!cr« sal« ^                 '
                                     I                                 .1

                                         I
                                                                                                         I
                                                                                                                                       I                                       f
                                                  P!£E„P4WB5S
                                                                                                                                   SXJ.0 l<v't4Si
                  '‘' L ■


                                                  IS                                                              I


                                                  i
                                                                           m
                                                                                                                                                     ■
                                                                                                                                                                                           «




                                                                                           I

                                                                                       k



I            #



                             Bk 27343 p| i4i ctu zmhuAznw                                                                         Pg'* ^ ^ Mi^-osde ci^. fi
                                                                                   »                                               *
                                                                                   f




                                 «
                                                                                                                                                                                      I


                                                                                        9
                                                                                                t




n -i USCA11 Case: 24-13671                                                          e
                                                                                            Document: 13                 Date Filed: 12/05/2024                                           Page: 533 of 723

                 t;-
                                    ?■                                                      »                                                *


                                                                                            '       I
                             s

                                             «
                                                               ite N»a« «f risiikas. mei ^ Pla%te« amt iKm^ * ifcfytfebs w«4s of                                                                       som
                                                 CB«8«v»=Ba^s:           6eJ«-ste^^
                                    4



                                                                      tOT,«5. ^ISCA'^-E O.Ai<BM
                                                                           ik^wifficsr, AS
                                                                       WEPtA/WfeSIOr.AS                                  KAl BOOli                                          Of
    I
                                                 I                    ■flEgPi •Bfit RiCOtDtUF KilAMI-P-AK COL’NTV- Pl.cmM>Ar
                                                      1                                                                                                                                            f
                                                                                                                      » :,iito tjnbo’ f«« if e&rti *5^ *f                             ***^*^*'' ♦
    i
                                                                        iScweaW, v«*i
                                                                                                         4




                                                           s          ffaS{a*5 S«fflar>

        I . ::;.
        I
                                                                                                                                                                                                                      4




                                                                                                                                                 fe* *««^*#*«’i*** fkf^ta'sRS

                               *.                                       siaB 5w «b>3ia5rf fe ^-?r |>1«
                  'r.                                                                                                                                         .♦

                                                                                                                                                                                            •issf m
                 ■ ■■A

                                                           »« AKP‘OSPeaep g|»£^A«i ta %{fAMI*0*PE c«»«5 Fte«.                                                                         !
i                            :T
                                                                                                                               t                                   m                                              t




                                                                                            »                 ■   !* - ^ ' :             .   A         V. . '...   Ji ...



                                                                                                                      C^Tm%e'
                                                                                I




                                                     Ftondij Odtali       Gmi^s. ?!.,       .
                                    >                P.© »x3^|g
                                                     f«p,Ptefi& 3*e:43!S
                                                     %I1 ssareaw                «ni£« mt
                                                                                .»

                                                      I                                                                                            1                                               f
                                                                                                                                                                                                   «

                                                                                                         4




            I ;                                                                                                            I       1
                         :V- ■;.
                                                                                                                                                                                             J--
                                                                                                                                                                                                                      4

                 %
                         .. .:■;.



                             r-
                             ■i>
                                                                                                                                   0 ■•
                   ;                                                                                ft
                                                                                                                                                                                      «


                                                                                        9
                                                                                                h


1
                                   "




                                                                                                                                   f:"
                 <■■■■
                                                                                                                                                                                                                  «
            I.    .f                                                                                                           t
            1-ff
                                                                                            »                                                *



                                                                                                                                   «
                                                                                                                                   fi

                                                                                I


            I                                «



                                    *
                                                                                                                                                                                                        1,    ■
            I

                               8k2fM8.Pp &m CFN‘201OCM516T8 0?«#f29101 § 32 ^ Ps 2 of 3                                                                                          FL                      |-



                                                      1
                                                                                                                  I
                                                                                                                                                   &                                               t
                                                                                                                                                                                                   t

                                                                                                         4'




                                                                                                                           I




                                         I
                     »


                             USCA11 Case: 24-13671              Document: 13                            Date Filed: 12/05/2024                                     Page: 534 of 723
                                     I               .I

                                         »
                                                                                                  i
                                                                                                                                  i                                    f*



                                                                                                                                                                               5.><!k. 3X=
                                                                                    «




                                                                                                            I
                                                                                                                                                                               £>5^.0
                                     mfM’mi
              m
                                                                                a
                                                                                                                                                               A



              ,ft
J                                                                                                                t
                                 mgmw               SWajtefiiiife
                                                    SsfiSro
                                                                                                                              *


              ft                                    Ssawmisafe*!®*                        B^M;
                                                    fiBfcaSi           '
                                                                                                                                                                                         0


                                                                                          M^k             VVilbms Izfir/
                                 A



                                                    SMiaK!aas;tes„!*!-■                  'iiWS:   fert*! S*ifeS?jss.,>m«r5




                                                                                                  Ptsiv. %iKsi£»%eweS^
                                         1
                                                                                                  ft
                                                                                                                                  ft                                   f
                                                                                         ■g«.
                                                                                    0
                                                                                                                                       ■r:'-' ^   '! :

                                                                                         ■mm-
         :m
                                                                                                       :■ - I'


                                                    sgr.isTr^                                                                                                                                A




                                                                           : ■ :! --
                                 mmM:-              'SslWaWSlSKifS;,,'                  :- -mm                                                           H«5. S%uSrehs Sb* « itl; ^Wssfaga
                                                                       b



J                9

                                 yfMmM:             WP«F£«ftymiS^S»                      gwsr                    f
        ^ ■ 3:


                                                                 »                                                            *
                                                                 I                       ■JSTOt
          'W'
        ■3;


                                                                                                                                                                                         I

                                                    '. m^mrn
         .*■
                                 &

                                                                                                                     i' ,




                                     I                .1

                                         I
                                                                                                  ft
                                                                                                                                  ft                                   f«

                                                                                    «




                                                                                                            1


                                                                                                                                                                                             4

                         1                                                                                           :?   ■




                 a
                                                                                I
                                              »»W

                                                                       b


J   I
                 »


                                                                                                                 t

                                                                 )                                                            0
                                                                 f .

                                                                            I
                                                                                                I

                                I
                                    USCA11 Case: 24-13671       Document: 13                   Date Filed: 12/05/2024            Page: 535 of 723

                                i

        f

                                                                             I

                                                                         h


i                                                                                                   t
                            I
                                                                 r




                                                        I
                                                                                     - W«^^WWpK«f«ip^;
                                        A

                            1
            t




                                                    I
                                                                                           1
                                                                                                                        1            f
                                                                                                                                     t

                                                                                 *




                                                                                               I



                                                             P^:,,^(^pa^iiS&s^S!*»»»> Jitotifc.                                                     «




                                                                             I
                                                                                                                             «

                                                                         k



I
                                                                                                    t i:

                        1
                                                                 »                                               »
                                                                 f   ■




                                                        I


                                        A




                                            I           .»
                    I
                                            ?>•
                                                V   1
                                                                                          I
                                                                                                                     :k..i           f
                                                                                 4




                                                                                                                             •-^:'
    i




        I

                                                                             a
                                                                                                                             t

                                                                         k



I               I
                                                                                                    t? ■
                                                                                                        ;   ■•




                                                                 »                                               *
                                                                 f




                                                        1


                                        A



            A




                                            I           .1
            i
                                                    i
                                                                                          I
                                                                                                                        1            f
                                                                                                                                     «
                                                                                                                   t


                        USCA11 Case: 24-13671                   Document:
                                                                »         13                             Date Filed: 12/05/2024                                         Page: 536 of 723
                                                                ' I

                                                                                                                                                                                 ■ gxVi,. "3^
                                                    I



                            A



                4



                                                                                                                                             i ■!



                                 I
                                      1             r CiHi WiS-iO?!                           I
                                                                                                                                        i                                         f
                                                                                                                                                                                  «
                                ■s;


                                            iSCHCW. C*2i

                                                                                                          I
                                                  PteSfci.
                                                                                                                                  ^   'Cl
                                                                                                                                                                                                4
                                                                                                                   f&i
                                                                                                                                                     W^'
                                                                                                              f:                            \ j^TA
            8

                                                                        I
                                                                                         »:7r^                                                                      »




                                                 IHS tttif*.W-#                               Cs^ 1
I ;         »
                                                                                                                                             ^SWi ba-fvg                24v53<£,' '*!
                                                         ,t 4
       -




                    I                            CF^'^ri^s© fco riajycGwc                                                         «




                                                 ’ T»|il .'rz if5s-e;r..y#‘?                          C^n »
                    [                                                            r^.5(

                            d

    ' -iC


                                          we « «DS^£C -                                               « as-, r,v„> ok^SfCj.,                    i!^'C^^ •-'I                     jjf
                                I         Gciste:                                                 ■                    [ '
                                      t
                                                                                              t
                                                                                                                   fe
                                                                                                                                        I                                        f«
                                                                                                                                                       :■!■
                                                                            8




                                                                                                                                      zsmv ac'S?
                                                                                                          I
                                                         BK
                                "i.
                                          ,A«Sa4fCKI^a| 1577*35 SW7H »            n.Zire% .. •. :,
                                          Wim~>S£ swioagtfe     i •, j -AHm^-AY^-js-n 4.2^ ^i:CAj.j^%z
                                          j^CAsrm tiom-QAXiS m                       . ^               x, #7;,
                                          OWAfrST»/l<.K                                                  " ' "         :'■'
                                          •&m MORTQ^^ i3>AK                     I^C
                                          MC^ITGaOS 6L?CmO»5
                                          5Si/?Si:HS 8AM \kri--'                          ' ' ' "                      r;                                           8


                                          m»iS            '         ‘                         ,. ,                     ?
I           ©                                                                                                                                                  >-

                                          mS;A%itALim!.-^g.fr^„Wy./A'’U* TP                                        m-i-

                                                                »                                                                 *
                                                                I

                                                                                         T-                            ;T

                                                                                                                                                                                            8

                                                    t


                            d



                4




                                I                   .1

                                      i
                                                                                              I
                                                                                                                              i
                                                                                                                                        I                                        f♦     i



                                                                            8




                                                                                                          I




            8

                                                                        I
                                                  }f



                                                                                 USCA11
                                                                                     I  Case: 24-13671
                                                                                                    .t                                              Document: 13                                      Date Filed: 12/05/2024                                      Page: 537 of 723
                                                                                 Hling* I«40«i20 E-Rlal Oi,21'-nO:: I!:32;4I AM                                                                                               1                                             f
                                                                                                                                                                                                                                                                            ♦
                                              ,1 ^...


                                                                                                                           /                                              «




                                              !
                                                                                                                                                                                                                                                   •X ' ■'•
                                                                                                      |> 1 mCWCi IT COi’KT OF IHE mX\                                                                             II OiCtAL
                                              I                                                       0«CilT                          ANPf                                                                 .FtOllBA                                               .   ..




                                                                                                      CASE-M|:iaJJ»SMMl
                                                        I


                                              I - ■-                                              ,mmE:.Vabrie R. Martrw..&A!!Il
                                                                                                                                                             k


I                                         i
                                                                                                        mi'EiC’i:svMcnt:TTE                                                                                   t
                                                                             i
                                      t


.                                     I                                                                                                             »                                                                   «

                                                                         I
                                                                                                                                                    '             I
                                                                                                                                                                                                                                                                                 ■   •




                                                                                     I
                                                                                                        vs, mJiSK ?«ATtoXAl- ASSOil iTilJ.\ «l m « si^
                                  i
                                                                                                        D(fe5dansf>l                                    ■                                               _ ■ ^
                                  i
                                                                                                                                                    .




                                                                                         I                                               .1
                              I
                                                                                                  I                                                                                                                           1                                             f
                                                                                                               ■ THIS CAt'SE-Cfuiw fecfors »*« C"«sf»                                                                  sstl tIk-          hrinsf fklH iJt. <’*■12 J i*< t*!*”
                                                                                                                                                                          *                                                                                                              ^

                                                                                                                               it     tew|j>;

                                                                                                                                                                                                       I

                         .1
                                                                                                                     OEBEIE© 24NB ABJrOCitB
                                                                                                                                                                                                                                                                                             4




                         I
                                                                                                                I.              lie                         C*ri‘f,M2rrtwr JitJp lierdij                                           ll^^elf Irmii                  cmsxikmtim.

                                                                                                                2. niis eajkr slsall hi                                               ?«.»aattiKcr s.misstt                 Cireuti        tl Pw wra fsi actor
i                    I                                                                                           ' «rtfe «toW?.lwd pm'ftlure^                                                                     !? ' '
                                                                     I                                        . ■ -        '                                                      .     -                     ^
                 I
                                      ■■:
                                                                                                        IW5E stwl OMBEREB si ChJHtfev ai \f                                                                                       1 rk5riife wb «iii> IMJaiiii'
                                                                                                        jagam.3S.                                   r
                                                                                                                                                                              ‘                                    '
                                                                                                                                                                                                                                                                                     *




                                                                                     «                                                                                                                                                          *z9                   i i


                                                            4                                                         ■;
                                                                                                                                                                                                           m:                                   h
             I
                                                                                                                                                                                                                            ikni, Witenc R. ’^teisw- Schuir
                                                                ■1
                                                                                         I                                               . I
         I
                                                                                                  I
                                                                                                                                                                                                I
                                                                                                                                                                                                                  '_ 'r|irriT«iriTji*K;E f
                                                                                                                                                                                                                            £kvtiwssaij Sip^ei                              *
         I                                                                                                                                                                *




                                                                                                                                                                                                       I

                                                                                                                                                                                                                                                                      •J2
     I                                                                                                                                                                                                                                                                                       4




     I

                                                                                                                                                                      I
                                                                                                                                                                                                                                                              I

                                                                                                                                                            kx’
                                                                                                                                                f


1“                                                                                           •-       .' .x


                                                                                                                                                                                                              t


                                                                                                                                                    »                                                                   t


                                                                                                                                                    '             I
                                                                                                                                                                                                                                                                                     «
!'                                                                                                                                       1
r
            ■:
                 ■rmgff 17292S9%'E-Fiied0S/l 1/2023 11:02:Ce-AM-
                                                     USCA11 Case: 24-13671                             Document: 13                   Date Filed: 12/05/2024       Page: 538 of 723
                                                 1

                                                           m TOE dECWT COURT OK THE EUEWPiTII JUDICIAL “
                                                           CIRCPri’ IK AMD FOR MJAMI-DADE COUNTY, FLORIDA'                                                     «


                                                                                               -   f       ‘

i           m

                                             1             CASE NO:
                                                                                                                                          t
                                                                                                                                                                                      «




                                             )
                                                           SECl‘iON:CAM
                                                           JUDGE: MHiMt..tel Rio \

                                         1                .US,Baitkfiia)                   I


                                                           «

                                                           FlamfifEts)
                 »                   '




                                                                                          .t
                                                           #illlaros,Ler«^
                                                                    I
                                                                                                                                  I
                                                                                                                                                        1              f
                                 I                         DtffcndantCs)                                                                                                «


                                                                                                                       i
                                                                                                                               Wi&MlE
                                                          Docket Index Number.                                                                                                            s



                                                          Or
                                                          'EflJlftg,NwmlK:iv                                       DpJeFaed:0S/Il«»23
                                                          FmJI Kame ofMotioa: OMor of lieeasal
                                                                                                                                                               »




I                                                                  . tills CAUSE, came befcre liie Coait sua s|}o«iie, 'm4 the Court Iselng fttlly ad’t'fwd k the::-
                                                                                                                                          t
    *   w                                                 premisra, k is herdsy;
                                                                                                       »
                             I
                                                                        ORDEllD AND A».IUDciED                                                                                    t

                                                                                           I                               •



                                                           * 1. Thatfe undersipicd Cireult Couirt Judge hcrcly recuse htmselOlierself irom. flirthef
                 *                                                      ci;>ti§ideratioB of this case.
                         i




                                                               I
                                                                   2. thfs case simil b^rea-ssigned to ant^f s.«:ti«tt of the Circuit Civil DivisiOT'M awrdaoce
                                                                        widj estabifehedprocedur^,                                                      k              f
                                                                                                                                  i
                                                                                                                                                                        ♦

                                                                                                                       a




                                                                                                                                      I



                     I




                                                                                                                                              y .

                                                                                                                   I
                                                                                                                                                               a
                                                                                                                                              !;
                                                                                                           k
                                                                                                   f



J                                                                                                                                         t


                                                                                                       »                                            *

                                                     Case No:
                                                                                                       '       I                              r;
                                                                                                                                              ;



                                                                                           I



                                                           A
                 !                                                                                                                            J:



                 >




                                                               I                          .»

                                                                                                                                  I
                                                                                                                                                        1              f
p
                                                                   t

    USCA11 Case: 24-13671                Document: 13           Date Filed: 12/05/2024           Page: 539 of 723


         WWE and OROEREB in Chambers at Miami-Dadc County, Fk>rWa on this 11th d«v nf fwtyi>,                  6)^ Sio

           I                    .»


                                                                                                      ♦
                                                                       2flIfeMiaa8.CA-Ql 05-11-2023 10:49 AM
                                                                          Hon, Vivianne Del Rio

                                                                         CntCCIT €;OllRT judgk
                                                                         Electronically Signed



                                              k

           No Further Judicial Astic^ Respired on THIS
I          a.ERK toRECIjC^E case if KKT JUIXiMENT


         EJectroaically Served;
         Altanese Phcnclus, yvalde<^tiiiamk}ack?.gov
         &arios Callc, mrstreet5productlons(£^inaii.com
         Carlos(!aTie, nirs{rcetsprodiicfion!j;t^^grnaii.ooni
         Cartos Callc, mrstreetsprcHlutdions^gniaU.com
         Gtusef!^ SalvalcHTC Cateudelfa, FIa:FilcTa«n@brockand!icoiLcom
         Gniseppe Saivaiore Cataudelia, FI,.CourtDocs@brockandscotuc<Mii
         Giuseppe Salvatan: Cataudella,i:f>urtXprcss^finDsoltitions.Eiij                             f♦
         Harve Humpsy,Courts(iyo«roalist.com
         JOHN WF:STCBY,TlieWoinb@US'A.com
         Jennifer L Warrcp|wanen@nc»thiiiiTO
        Jennifer L Warran,chyrat!ome)'@fiorthiniainif1.g0v •
        Je&s^ Faith Watts,jwaii;^5quinnlcgaJ.a»m
        Jessica FaMh Watts, eservicc^uinntegal-aKn
        Jessica Faith Watts, abiissf^quioniegaJ.cofn
        Jessica Jo Fagen,lawlinnFL@r3USchsturni.awn
        Jessica Jo Fagen,jfageni^auschstftrm.com
        Jessica Jo Fagen,abcfleservic«i^bclcj^.cofn
I       Jimmy Ka^nan Edward^, FljeFilcT6am@lmxdtanA<!ooll.©u(w
        Jimmy Keenan Edwards, FLC<>urtDocs@l>K>cl£andscotl,c^
        Jimmy ivcaaaa Edwards,Cooi[pCprcs^llnn.solutions,us ,
        John Wcsltey Mir., WombTV@gni|ail.cot
        Jonathan S Wiling,FLeFilcteam@l)fockandscatt.€!om
        Jonathan S Wilmsky’, Ct»rtXpitscs@finiisotutlons.us
        Jdnathan S Wllinshy,ELCouiTDoc^Jbrockandscottcoim
        Jossie Zuniga,jmniga^iod 11.floourts.aig
        Julie AnUKHisIs, FLcFiieream@l&rockaiidscott.cofn
           I
    C®tcNo:2910-061928-CA-01                                                                              Pi»fe2af3
                                         I

                                             USCA11
                                                 I Case: 24-13671
                                                               .1                Document: 13          Date Filed: 12/05/2024   Page: 540 of 723
                                         I
                                                        I                                                               i
                                                                                                   I


                                                   Julie           J’J'<^^'>urtD{K!5i@br9cl?43ndsc»tLcoro
                                                   Julie Anthoiisk,C(turlXprcss@flirrasolirtions,i!s
                                                   ji«m JanMS            Pi^ilcTeam@irodkandsi»U,w!n.
                                                   Justiu Jarocs KsHey.TLCourtDocs^fa'ociaudsc-ottawrf
                                                   Justin JamK Kelley,CopitXprsss@firiT(j»|«tIois.as                                               4




                                     !
                                                   Kara L^ah FrecMcfcsort,i'i«RfcT«ij@’broclc2ndsc«tLwfi
                                                   Kara Leah-FredRcfc^Hs FLXourtDocs@b!rMclcaTuiscoit,com
                                                   Kara Leah Ffedridkson.^ CoiJirtX|ntssi@fiiirji»|iili«ins.us
                                     [
                                                   Laura Ashley Jackson.Fieffiefesml^brockandsccaLmm                            I




»               m                                  Laiira AsWey JaeksoUj Coi3irtX|>re*i,^jliins0iiiiioijs.is
                                                   Laum Ashley Jackson* i'LCoiMl>«;s@i»Tocfcandsco!t.toim
                                                   Maittew Maa'ks, FI^FilcT)«am0biockandsa;>ii4»in
                                                   Matfihew Marks,FLCoitrtD<K5j@teBckandscotLctm                    #


                                 I                 Matthew M»ks,ECCM-FL@piioV««.coai
                                                  Michael R Rsjx»^o,S4kliaelJispasites^BfealRoine.C£wn
                                 I
                                                  Michael R B5|K>$fto, BRFLescrvicef^WaniciWiie.com
                                                  Micltael 11 lispostto,salxroz@blankf0ine.s;;omi   ’ .
                 * I                         •
                                                  Nashld Sabir, nashidJaw@^ii8il.ccjni
                                                  Nicote R Topfier Escf, nloppcr@blankrome.c<nn
                                                  SIfelb Y Rios,FLdPaiL>R:in@br€iK:i«widscotl.OTm
                                                  Sbalb Y        FLQ)urtI]ktcs@brodca3dsooticpm                         I           f
                                                  Shafb V jRit^ ECCM*-FI.@provnna.ccwft
                                                  Stephen^ Christtjpher Wilson.scwlls«iiS62007@yahoa.C'Oin
                                                  Sfcphai Chrikpplier Wilson,Slcphcn@l:f>in|ur>'.cfim
                                                  Stephen Ch rlstopher Wilson,Nata^a^i^mjtify.cosp ’
                             I
                                                  WilUant i lenry Stafford UL wHllani.siatlfoFdi^jnyf1(m<laiegiJ,oow
                                                  William llmty^ StofTord IH,compiexlMgation.cscri«cc@inyf!on<iaJegai.cwit                         4



                                                  William llertty Staffopd Bl,a!i.^a.mlTOson@fnyflorlcWegaf.co!tn
                                                  Wlllni^ Lacroix,FLcFiteTiam^broclaiiKiscotLcorn                           «


                                                  Wlllnae i         iCCourflDocs^^l^ifKslan&xsttxom
                                                  Wlltoafi i-acnilx,courtxisfe^p^FJrmSolutwikus
J   I
                                                  raatirlce symor^te.'B%BOSS@Ckrlc.a>iii
                                                  inaurice,8ymoncttsv BIGBOSsT043@yahoo.coin                t
        *   ^

                                                 - mauries'^rncfiieitc,l»ssI@c!|rkxom                               *


                                                                                 ' I
                         1

                                                                          I




                 a




                     i
                                                    I
                                                        i
                                                                                                   I
                                                                                                                        A           f♦

                                                                                              4




                     I
                                                                                                        I




                                                                                                                t
                                             Casel^o:?510-(fel«I»-CA-OI

                •1
                                                                                          I

                                                                                      k



i               ■[

                                                                                                            t
        «   k



                                                                                 »                                  #


                                                                                  '       I
                                                                                                                                               «
                            I
                                                                                                                      I


                            USCA11 Case: 24-13671                                           Document: 13             Date Filed: 12/05/2024        Page: 541 of 723    4




            ■




                       '!



i
    «   V              1

                                                     -




                                              MS

                                                                                                                    5i»iste^afaTf?m'^                   Bi
                                          W
                                I
                                        liUM                                        <                                                                       •Bil

                                                              1^
                                    I
                                        s                     w
                                                                      ili'
                                                              • ..4
                                          I                                                                                       t                          f
                                                                      m


                                                                                                     m
                                                                                                              rm                                        m
                                                                                                                                                             «




                                                                 m
                                                                                                              B0OMS                                     m.


                                         *                                                                                            *                 I
                                         *»
                                        vfi^                                                                  WBY , 1                                                  4




                                        liB
                                                                           I
                                                                                                              BANNB^                               *
                                                                                                                                                   i

                                                                                                     a
                                                                     ii;                                                                       t


                                                                                        #        b                                                      w


J           i


                                                                                                                                               mSi
                                                                ■I
                                                                                                                                               «l
                                                                                            »                                 *
                                                                                                                                               ii

                                                                                                                                          Kfc
                                                                                             »

                                                                                                     I
                                                                                                                                                                   «

                                                                               I

                                                                                                                                                   #1
                                4
                                                                                                                                              «it

                                                 *
                                                                                                                                          »
                                                                                                                                          i.


                                    I                                          .1                                                             ^«jP
                                          1                                                                                                                  ?
                                               m'
                                               WA.
                                                                                                                                                    liliia
                                    i
                                    if                         »
                                    'Iiaii»
                3                                                                           -:r>-.r- .—
                                        ii                                                                                                                             4
                                                         **
                i- ■
                                        ii
                                                          w


            i-                                                                                           ft
                                                                                                                                               »

                                                                                                 b



i                                                                                                                         \


                                                                                            >                                 *
                                                                                             I

                                                                                                     I
                                                                               I



                                <



                *




                                    I                                          .1

                                          t
                                                                                                                I
                                                                                                                                  I                          f
                                                                                                                                                             «
' $
      *' ^
                      USCA11 Case: 24-13671         Document: 13   Date Filed: 12/05/2024      Page: 542 of 723




          I
                  *




                                                                                       ';%3
                                                                                              |wJ,^.asttteiiiit       A


                                                                                              :PW»C0iWI




                                                                         ??I.Wfl ,’
  I   I
                                                                                               Mststa
                                                                                               ^^Sm^sm




                                                                                                  ■mi..--
                                                                                              rrmmr^iMummr
                  >




              I




  i           9




                                                                         r




                                                                                                                  <
                                                1


                         ' &


                  »




                               I         i- . ft

                                   t   :V<- ■
                                                               I
                                                                             I                       f
                                                                                                     ♦




                                                                   I



                                                                                                                      4
                    USCA11 Case: 24-13671                                            Document: 13                               Date Filed: 12/05/2024                                 £:Xk.S?
                                                                                                                                                                        Page: 543 of 723
                         2023 Fghti 6 - FuH and Vsjblfc Sisclbsufs of Flnandaf Interests,                                                        k
                                                                                                                                                                                              P^. I
                                                                                                                            T


                                                                                                         $
                                                                                                                                                                m^d vfith cci-.• 05/jtf/m4 ■

                         CieRSKri felbfiTjatlcji;
                                                                                                                                 I




            I
                        ■Adciresst           75 ¥/a*f fls^SSrect'Siite 242,MK»iR33i3S                                                                                             » mmi,:-
            I
                                             Warrrf'Dsde                                            I
                                                                                                                                                                    *
            1
                                                                                             b



I               •       ASE^CT IKKJ^PATIOM
                                                                                                                                     k



                         CKganifeSnp*
                                                                                                                                                                   ;3lii#.
                                                                                        »                                                'f,;'
                                                                                        I
                         Wtesni-Osda OwftSy                                                                       Sssted CoresStedwiil Oftef'                       Serk ©f she
            M
                                                                                                                                                                    :&«rl/Cfes'r!8tr<rftef'         »

                                                                         t


                                i
                                                                                                                                                                    Sert of                    ;
                                                                                                                                                                    Csipjpfeii'ssf-
                                                                                                                                                                    B»fi Mtaibif
                    I
                                                 >



                    taKOAIl..W»                                     .k
                    I

                         P«Wo/>' '           ■        *.                                                                                         I                            f
                                                                                                                                                           P^'dtton »BgM ©r ftsfd
                         0«*E^ of the €mm            Qmpn-sli^r                                  f/iamhOsde Cs;;ji!jy Oetfc ef liig G&it ssd               (i^sf.tiiafceen m4 Cwirrolte
                                                                                                 Compa-QJIgr     '            ■'
                                                                                                                                 I




                        r,'ct            ■
        |,


                                     .
                                                                    SI ■ 7023^
                                                     .■. .nir-.,.-.:'.
                                                                                       v^s I te
                                                                         :■■ ■ ■ ■,; - . ^ fe , ■ - ^ ■,,,..:.^,:._..>: v

14
                                                                                        I                                                *



                    ASSftS                                                                       ■■#i'
    I
                                                                                                                                                                                                   '(
                                                                     a



                    RzussMojI SQ&ds aj»d pfiwisaf effects msf be fCgSTOS Jn a fa'^jj am if tlwBi'                                                     vsJwe ©aseofe St,000, Th>j atsenf^
                    fnctosan^of »efe^»»wng. Wart held fort-nfastewl                                                             JrA«:m               of»»», gum. ©m3 n«rrr©=.iifr feems;
                ' ' art ®b.-eew; f»a»hc'W            'M^rnmt ®nd furnUifegs; dotftto© ctftSf kau-^sM teams, erj?f vghJdftS teroereorts. usi", ‘.if^ether
                    own^droi-feasesJ.                      • ■                    ■ ■                                                                                    .

                                                                    . t
        i

    • V                                                                                                                     1
                                                                                                                                                 I                            f
                                                                                                         A




                                                                                                             :\'' v:-
                                                                                                                                 1




                                                                                                  X
                                                                                                                                                                    t

                                                                                            b



I                                                                                                                                    i




                                                                                        »                                                *




                                                                                                                                                                                                   «
                USCA11 Case: 24-13671                           Document: 13                  Date Filed: 12/05/2024      Page: 544 of 7236<h 39 ■
                 __2023 ?orrri $■> ?yii 4nc Pulxic Disgfesurg of Flnaadsl                                                                   ?j) .'Z
                                                                    k                                                  Piled wizh CQtx ^5/13/2024
J !'                                 'y3l«« cd wy floiJsghoJd                 persaret tlfecs i$

                 fSSnSJm^XJMu.XJX<iLusn^rm.ff^i^^                                                       *


                  pm»i0m^Mm           ,           .     .                                     Vate®?4,teet ■ ■
                  1/3 o;¥fmih® efJlPi      uc 4?aa 6fi»ds
                   ii%4 CSoral #8&te, ¥l3$m. -rhm« &f fenial mifm «
                   4421W, n^,i^St.rmK Mirml.fLSSZX
                   Vm Rnan^ai - PO te S»»75 |»ot isfl-iSfettad)
                   Wflrtferdr, CT 0SS» -^V^nguajd T}I0T RsSx&n&nt ^OSOJ-acd                  SS32S-81
                   imfmwmt:                         .*
                  lyterrilf Lp* Mrerotn? Awx-u^t jffJw s«:lf-direcS«3J PO                                                       f
                  to 25g| Pgfainstm, W 08534                                            I
                                                                                             S'.UTiW^/ *                        «

                  iWerrIH lynch PcilTEjrofa: Atcpyat !w@5SfR&w|*QverSl4OT-
                  f»n*«r c<f Awegica, m p.asp'                                               $ IMSM
                  MtrfiM            Butiror^ft Aecp>iifpt                   <»er$-Lft£J0^
                  g:arpg?K^ HM Urm CAP
                  Kemll 4>nei RetifKmmf Acowti^; SswtjsimeK
                  Eilgei&ootl                  O.
                  Mem'lf IfBch feiJrem-SBS'A«®«nt tew«m«eitev£f $i,csj.
                  ^■<360 Pansier^                                       k                    $2,lSi.W
                  IVfe^B lyndj Eg&*ms»tt to>usc Jnves&nssE tfvnr SiC®-
I                 HSTtfortl Scbrtidfts tnmfg                                                 S%7S7m
                  Meffffl lystclr              As€0mt kw/x^nitti sver
                  W>amaEds?»tSQ '                                                           S73iaa3
                                                                A
                  ftorttt iftKii Setffmt&m Amuat triveshn^ ovW Si m~
                                                                                            Sa4,«3.4®
                          iyitih ReiirefMrA AsxWoi lsw^mmt’ms:r
                 faftgpfe mTrsrnrn'fBisM
    • ■I
                 Merrtii ipeJs fletfrtjjjereAment JwKtfnmtow $l 000-
                 ishar® T8 £c!f@: «sci EW                                                   $4,47j-«5
                 McrrIB lyrtc'n He&mmttM                  l«v$jsmeBT'ir,*5r$l,CKS'
                 isljft M^ucocfe DfecjpBnaf                                                 S5,W.®
                           iinich igSroroatf Mtcvrfilm/ti^tmwtk ewer StJ}p§.                                                    f
                                                                                                                                f
                    Morgan Small C&P                                                        $4,7§8.47
                                Itetlrsn^iSiat Acwb* Jnvcsctwwtcu'ar fj^CTO-
      ;!'
                 JP felwg^'^daewd Mngrs                                                     14,42833
                                                                                               0.
      :l
                 Kcrtli tifWfi P,e;&gfsi®«7 Aftcsjnr                    wer Si COO-
                 OafensJt l«t F0 a'                                                         $il3l7S«5




                                                                        k




I i         '
                       ff     tfea SibeWo crjSMS $^«es ii
                                                                »                                       *




                       i




                                                    . I

                                                                                                            1                   f
                                                                                                   »                                                                 #
                                                                                                    t

                                                                                                                *
                                                      USCA11 Case: 24-13671                        Document: 13                                  Date Filed: 12/05/2024         Page: 545 of 723
                                                          2823- Fofrft6 ■» fait and Public Pifdos«r© ©f finandaf latfrests
                                          %
                                                                 «                                                                                                                               3-^
                                                  *
                                                                                                                                                                             rto^ With €r:2; QS/l^/MM
                                                                                                                                                'Va!ia!EofAss«'

                                      -|
                                                           V4Wfd»sr®iie-S«fc4                                                           I
                                                                                                                                                $rja4.?s-.               I            f♦ .
         !
                                                           Vanguard VsiW’OF;
                                                                                                                        t
                                                                                                                                                ■uimiM
                                                           K^tnU timcb fcaBrateMf               Iwsstment fe«f S5*I»Q-;
                                      1^                   VlSftgMard SflEWrts CTF;                                 • ' •          '        ^
             1                                             MarrSl tytJssSs^Mr^merft Asxoiffit lm«fomnlr ov^
                                      I
                                                           Mwii tiimels fl^5*^«-teOTm:!nvg?»ii«iit<&wr$l,TO-
                 I
                                                                Morgan large W».' ■                                                             S'CSS9-?,«
                                      ;f

                                      i'
                                                          RffSs letwe«e« %«fm |!fes 5eir*slir«c|^ po pliffJal                                                                   6



                                                          aditel miT ww.mfiis.ojm fw inhmw&m          mm                                        smAmsB.
     I I'                                                 teSnafnsrtfaisarfwn^OCEOl •
                                                          Wells      tnfm          PO Sex 6S3S tettod; OR
                     I -f                             I                                                                                         $5s,mio.
                                                                                                    t
             •                        I
                                                                                                                                                S m?5i45.
                                      #
                                      %                   ftridst SIffiZI'SllS ftstente^Pfesjjfenfeng
                     I
                                      I                   8enas,?#Ameto ||ol»l|!«iwel«tee^ngJ» tetSm
                                      I
                                                          tm^, Iteritfs ^ia.~SlMM'm$^ fites
                                     w            A

                                      1:                                       uifieft ff           f»0                                         '$SQJW,C®
                                                          MsHwine^ ft SZ»l>«Kil
w*                                    :f

                                      t
                                                          5p3« C*5«t%dSi«iiltiell2 almh OS TO te
                         I

                                                          “•?
                                                                      gj BlMhmi
                                                                               i
                                                                                              ' ' ■’
                                                                                               —                                                                         i            f
                                                                                                                                                                                     T’
                                                          CfeJetes® 17M f^orfttJraj^ Strait Wtefltw, Dl JWi;
                                                                                                                        ■*


                                     $
                                                          QS. fr»£!j«^{S30Rpi Sewisl. 1S09
                                      1                         iw#, w^gtofl, DC mm ^ - ' ■
                                                          Rj»fe»^K«fat£lC»W«cwi8ad,»JeRfei%iic-« ’                                                                                                        *
                                      i                   f«]K5-Csre0ldaw!Wa5tr-‘Co,iy.-                '                    '   ' '   ■■
                                     ■'f



                                      f.
                                                                                                                    I
                                                                                                                                                                                »

                                                                                                            6



     I                                                                                                                                                i




                                                                                                   »                                                                 #


                                                                                                                a

                             I
                                                                                                                                                                                                      «

                                                                                            0

                                                                                                                                                           ^n'
                                                                                                                                                          ■■:■   ■




                                                      FrWM' umrj ahs? FSort®
                                                                                                                                        I
                                                                                                                                                                         i            f
                                                                                                                        «




                                                                                                                                                  T
                                                                                                                                                                                                 O'




                                                                                                                                                                                                          4




                                 I



                                              f
                                                                                                                    I
                                     I-
                                                                                                            k

     I
                                                                                                                        i                                         I
                USCA11 Case: 24-13671                             Document: 13                        Date Filed: 12/05/2024
                                                                                                                                                                   ♦
                                                                                                                                                              Page: 546 of 723
                                                                                                                                                                                                                 £k}7-37
                     2023 ¥mm g - Full Lnd ?yfe!fc Dlado:5yfS of rinantfai J-ntefesi-i                                                                                                                           p^-y
                                                                                                                                                fifad                       CSE:«|19|:2:02«
                 I
                 |lJ^iri8» ;
        I
                     UMmms aa'cmssoF                                           a



                                                                        »F Cj-udlss?
I                                                                                                                                                                     A»»Uflt of Usteti^
                      Tcjffp® S»tflC3« RB2K<|i          PaBoxf»®?,Msyte,AiS5»l ‘                                                                                     $11,1SJ IS
    ’I
                                                                  »

                     iOPITAI® SEVEWA.llAPjyTJCS W KrOSTO mmi'
    I
                     R9lSl«ofteSl«' ’                   Aidres3ofCrfslftsr:                                                                                   T^wwollWWttv
    I       A
                 I   WA

                 L


                                                                                                 I
                                                                                                                                                                           tV
                     inmmf ..
                      • .,                                                                                                                  »ii ini»..nin..iiiiv'vi'n '          ■■■.n,.-....,.......;,..;,.,^

                     rtenof^ fi’scft ssp3f3t« sosKg aid sffsoifat 6f inconiB wfeids                             $i,CW islurtftg iha ysof, ificlucSftg                                                   21
                     Income. Or msA » arnutee cni?r of war                                Wsfrat i«wj« m. mmm, mtw&m all W*. schedoJcs, 3«.5 sixj.cfiusents.
                     I»}ejssa teda<^ !SK^,j»ciat scwrity &r acwwn; TOimbe» before                                      reBjms,»ttw law rsquEres thi^yi dcxummta
                     l^estetfteaaCsmrr^OTf'jfti’bsrre.                      ■ ■ ■■■ ■ ■               ■ ■ .■- -p: ^                                  ■ ^.
                     Oi          to file 8 cspi? of mf 2G23 tedensf inmmt tax raceffs aaxJ all W2\ scfedulasi. sa-d snaEhjBertU
                                                                               a
                     mi«A8Y S0«BCrs          «£OM£

                     teme ^&iarTjBa.f ij;^e
I                                                                                     AddrasE. of Sfcar<* «f                                                              iAftwdite
                     teas femsnfe.’-fiifiSisS'f!, PA,                                 %SS» r/A S1h SlTBBl'SuStj ia?,                Fiertda J3iiS
                     teteofJlwda,:                                I                   I9fl E£5t GBlfies Sl»et;                     Ftsm^ 32»                              $Xl,5aj|,.
                                                                  21.

                                                                                      ill WW 1st            Suttc 2520,             Ft 33118                              S USMim

    I
                             I


                 Bimnomf gjoacs O? iscewi, {me^r Cdilomm. fim&, ate of busju^sws «wd l^r rejwfin^ ptseBl:
                                                        I fta-'sfeoJ K3|or'^ni”Bf                      i-- _ f-'.’. "-I’ Jni-'n-
                                                                                                                                                  A'.-jf-j-'f&ssfews,
                                                            :.j   -     .
                                                                                                                                                 Acsolts^of Ss5«f<r<? ’
                                                        1                                        T
                                                                                                                                                                           t
                                                                                                        I




                                                                               a




J                                                                                                           a




                                                                  4


                             A
    ■%
                  USCA11 Case: 24-13671
                                                                                         t
                                                                              Document: 13                Date Filed: 12/05/2024                        Page: 547 of 723
                                                                                                                                                       ft
                                                                                                                                                                          €x\^ 37
I         '             2025 fprm S “                         PMb^ic disciosure of Ffognaai ir.t-zT^:                                                                           i^'5
                                                                                                                 ft

                                                                                                                                            SWwIlfc
     I
                                                                              »                                        *


                                                                                        0




                        Interests fa Specified Sys»n»e$ '■
                                                                    —




    ■l
              »



     I
     t
                                                            .ft

                                                                                                                           I
                                                                                                                                                                  T
    j                   \^lh
                                                                                                                                            xmsssssmiaef.m^^^’^
                                                                                             "*•




                                                                                                            I



    I
    ■I
                        TrafntBg.
    %

                        Thfe sesJm allies mlv to s CcnrtfenfWiS) cr mea&cS mmklpu'i oiBm,                                  of vrfJOFF sre            m cmuatate        «f^cs'
                        t!^t«ftgi;>pr5i(WStoScajOFttl2:,3M2,F.S. i

                        01 certify that t l*«we                     Sib iratlrei                   m4vi Section 3123142, ES.
t :k ’                  •--•■ .       ■'■   *     ..■:■ ■,■ ■ ■ ^    ,                                    ' ' ' 'i '

     1
                        □ ROftOted iratoi#^ y^r :^ceoci 13Z,314i, F,$.. aot sppflcaMc » Hw for ths^for® year.
     I
                                                                              »
                                                                                        ft



                  'i:
                                                             0


                                  I

     ?
     5




                        Signature of Rspartliigpfflgisi or CaadMatei


                                                                                             4
     ■i




                        Juan Fernandez BarquM                                                               I


                                                                                                                                                                                       4

                        Oiplallv

                        lilcd wm miz
          4
                                                                                         I
                                                                                                                                                       ft .

                                                                                  “gr
                                                                         'e



I                                                                                                               ft




                                                                              >
                                                                              r
                                                                                                                       *




                        Rented frmt U'm RwfsJs CFefe-lSSyvwn                                                                                                          Page & 0^5
                                                             I


                                  i



              *




                                                                                                                                                                  I
                                                                                                                                                                  «

                                                                                             d




                                                                                                            I
         USCA11 Case: 24-13671               Document: 13      Date Filed: 12/05/2024        Page: 548 of 723


                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA




            MACK WELLS AND
            MAURICE SYMONETTE


            P^intiff
I
I
                                                                         CASE NO: 24-CV-23015-KMW
            V.'

            DEUTSCHE BANK N.A. TRUST CO.
            Defendants,




                             MOTION AND AFFIDAVIT FOR RKLIEF. RECUSAL. VACATION OF
                                             ORDERS AND MEMORANDUM OF LAW



        Pursuant to Florida Stat. 112.131, Florida Rule 2.160(H)and Federal Rules of Civil Procedure Rule 60,
        Plaintiff MACK WELLS hereby files this Motion for Relief & Recusal and Supporting Memorandum
    I

        regarding the AiEustl4fti,2Q24 Judge Rodolfo A. Ruiz review of the record and Final Judgement Order,Exhibit.J.
        based^n the following facts, new infonnation,just terms,judicial misconduct, fraudulent grounds and
        discoyjred conflict ofpersonal investment interests on Financial Disclosures of Judges and officers ofthis
        Court ^Exhibits # BJ Attached-DEUTSCHE BANK Special Situation Property Funds Account Page 42.IFRS
        2018 lables 9-13. SEC Filings- DEUTSCHE BANK Florida Subsidiaries, Judge Rodolfo A. Ruiz.Financial
        Interests & Property Disclosures).


        Florida Rule 2.160(H)Savs A Judse may Vacate his orders for Conflict ofInterest Theodore R. Bundy V.

        Judse John A. Rudd FL Rule 2.160(D)(1) FI. Code Jud. Conduct, Canon 3E(1)A Judse shall disqualify

        himself where impartiality misht reasonably be questioned Rule 2.160(D)(1)srounds to disqualify is

        party fears Judse is Biased FL Statue 112.312 f8) Judse can H have a conflict ofInterest!



         Judge Rodolfo A. Ruiz must Recuse himself for an open obvious Conflict of Interest because he's
        doing business with DEUTSCHE BANK and helping them to make money so that he can make
        money by foreclosing and taking (stealing) our property while acting as the Judge on the case on
        our property, not on case's Merits but for to make him and them money Illegally. Here's proof.

              .   s
                USCA11 Case: 24-13671             Document: 13        Date Filed: 12/05/2024         Page: 549 of 723

.   I




               Comei r;ow MACK WELLS acting Pro-Se here states Judge Rodolfo A. Ruiz,says that Bank Of America
               on his form 6 Full and Public Disclosure Of Financial Interests is a Bank doing Business with US Bank
               because he's doing business with US BANK and helping them to make money so that he can make
               money by foreclosing and taking our property while acting as the Judge to take the property not on his
               Merits but for to make him and them money Illegally. Here's proof that, Judge Rodolfo A. Ruiz is doing
               business with Bank of America as seen in his FORM 6 page 4 lines 1-2, From Tallahassee called FULL
              AND PUBLIC DISCLOSURE OF FINANCIAL form 6,EXH.A, The listed Checking and Savings Accounts are
              Partnered with DEUTSCHE BANK Exh.B WHICH IS MORGAN STANLEY EXH. C AND MORGAN STANLEY

            ; IS US BANK EXH.Dl AND D2,. Which is a major Conflict of Interest. Who he has ruled in favor of, EXH. F.
            .That is a Conflict of Interest against us and there's more. I have found that our case was directed to him
              in this Pool,So he must recuse himself and vacate his Order, Exhibit, G. So Judge Rodolfo A. Ruiz you
               must Recuse YOUR SELF and VACATE YOUR ORDER against us, EXH. 1.




                                                       FACTUAL BACKGROUND




                   I - On Augustl‘#i2024. Defendant Judge Rodolfo A. Ruiz issued a final Judgment order Exh. a against
                  Plaintiff JAMES BUCKMAN for amounts due and owing on same mortgage that was
                  dismissed with Prejudice in former case no: 07-12407CA01 where DEUTSCHE BANK could
        I

                  never produce the promissory Note though they were asked by the Judge several times but
        I
                  never did bring it forth. Exhibit. I. A judge cannot change another judge's ORDER! And also
                  on AL^!ustl4h.2024. Judge Rodolfo A Ruiz issued a Judgment order acting as a quasi-defense
                  attorney for DEUTSCHE BANK his personal investment Partner to make money together.
                  Plaintiff JAMES BUCKMAN has now subsequently provided the United States Department of
                  Justice (DOJ] on specific newly discovered whistle blower information and records
                  r^^arding millions of dollars in exposed fraudulent foreclosure claims made by the
                  D-:ifendants DEUTSCHE BANK,Clerks and Court officers in this action. Exhibit, 0.




                                                      MEMORANDITM OF LAW
        USCA11 Case: 24-13671              Document: 13         Date Filed: 12/05/2024           Page: 550 of 723

                 The Defendants maintains timely Constitutional due process civil rights for Florida Rule
         2.160(H)and Federal Rule 60 Relief to close this case with the original Dismissal with
         Prejudice in our Defendants favor with requirement of Rodolfo A. Ruiz Recusal based on
         exposed financial conflicts of interests Fla. Stat.112.312(8)(9).

          Rule 2.160(H)and FRCP Rule 60; relieffrom .Judgment Or Order, and to vacate Order .

          Their is to be no conflict ofinterest with the Judge arid the Plaintiffagainst DEFENDANTS.
         LIKE



                 mistake, inadvertence,.surprise, or excusable neglect;

         (2)newly discovered evidence that, withreasonable diligence, could not have been discovered in
         ti.i. ]e to movefor a new trial under Rule 59(b):



         3. Fraud whether previously called intrinsic or extrinsic, misrepresentation or misconduct by an
            Opposing party



                  A Judge is expected to Recuse himself according to Fla. Code Jud. Conduct, Canon 3E(1),
         Fla. Rule 2.160(A)(H),Fla. Statute 112.312(8)and pursuant to 28 U.S, C. § 455 Under § 455(a),
         Recusal is mandatory in “any proceeding in which Judge’s impartiality might reasonably be
         questioned.” Under Fla. Code Jud. Conduct, Canon 3E(1) and § 455(b), a judge is expected to
         disqualify himself whenever any of the five statutorily prescribed criteria can be shown to exist in
         fact; even if no motion or affidavit seeking such relief has been filed, and regardless of whether a
           h*.
         rer sonable person would question the judge’s impartiality.
                Fla. Code Jud. Conduct, Canon 3E(1), Fla. Rule 2.160(A)(H), Fla. Statute 112.312(8)and Section 455(b) he shall
             ■- also disqualify himself in the following circumstancess.

          (4) He knows that he, iiHividually dr as afiduciary, dr his spouse or minor child residing in his
         household, has afinancial interest in the subject matter in controversy or in a jxirty to the
         proceeding, or any other interest that could he substantiaUy affected by the outcome of the
         proceedings

          (d)(4) “financial intere.sf ” means ownership of a legal or equitable interest, hcfwever small




                                                 CONCLUSION


                 This Motion for Relief by vacating order Judgment Florida Rule 2.160 (FI) and Recusal is
         based on new facts, related to a whistle blower’s information, willful blindness, fraud, misconduct.
'   I
 USCA11 Case: 24-13671             Document: 13         Date Filed: 12/05/2024          Page: 551 of 723

   and discovered evidence unknown at the time of the original Complaint filing Plaintiff could not
   reasonably know the financial dealings with Defendants of a yet to be assigned judge before the
   original Complaint filing As previously displayed by his Dismissal Order, due to cited improper
   financial conflicts of interest, Judge Rodolfo A. Ruiz was incapable of impartially and without
   aniimus against Pro-Se Plaintiff or to exercise unbiased judicial duties required for due process ,
   justice in this case.

        Judge Rodolfo A. Ruiz has creditor loan history and business with Defendant DEUTSCHE
   BANK MERS and JPMorgan that caused preferential Quid Pro Quo treatment by her .sua sponte
   review and Final Judgment Order. Judge Rodolfo A. Ruiz has significant exposed investor
   financial interests in the subject matter in controversy and with Defendants DEUTSCHE BANK
   that will be substantially negatively affected by the outcome ofthat proceedings when the Plaintiff
   “ultimately prevails and promotes in paid for adds in the media. Because people can’t win when
   the Judge is on the side ofthe Banksters to steal property and money off their Prey!

        Example of Judges who already recused themselves from DEUTSCHE BANK

1. JUDGE DARRIN P. GAYLES Exhibit, P.
2. THCMAS WILLIAMS Exhibit, Q.



                                    REQUIRED RELIEF



         Pursuant to Fla. Code Jud. Conduct, Canon 3E(1), Fla. Rule 2.160 (A)(H), Fla. Statute
   112.312(8)and Federal Rules of Civil Procedure Rule 60,Plaintiffrequires Relieffrom the Anpusf
   14fli,2]24Final judgment Order Exhibit.J. based upon the stated facts,just terms, cited misconduct.
   Rule 60 grounds and newly discovered banking real estate fraud by court officers.
         Said Reopening Relief would require the vacating of his order and Recusal of Judge
   Rodolfo A. Ruiz from this and any future related DEUTSCHE BANK banking real estate cases
   in this District. The Dismissal Order Relief also requires that all parties be reinstated to their
   prvor positions in this action (Dismissal with Prejudice) requiring Clerk issuance of Summons
   upf)n the Defendants and allow the filing of a Motion to dismiss the Final Judgment for cause,
   gr ounds and reasons stated herein filed
        USCA11 Case: 24-13671        Document: 13           Date Filed: 12/05/2024       Page: 552 of 723




                         MACK WELLS-
                        15020 S. River Dr.
                         Miami, fla. 33167

I
                                         CERTIFICATE OF SERVICE

                        I HEREBY CERTIFY that on 20th day of Aug.,2024 a true and
                 correct copy ofthe foregoing was provided via this Court’s electronic
                 filing system to the attorneys of record




                    MAURICE SYMONETTE
                     15020 S.RIVERDR.
                      MIAMI,FL. 33167




          fell




    I
             USCA11 Case: 24-13671                                                      Document: 13                          Date Filed: 12/05/2024                                   Page: 553 ofExh.A
                                                                                                                                                                                                    723
                                                                                                            Name of Person Reporting                                                                      Date of Report
 FINANCIAL DISCLOSURE REPORT
 Page 4 of 6                                                                                                Ruiz n,Rodolfo A.                                                                                 05/11/2023




VII.INvl‘STMENTS and TRUSTS -income, value,transactions(Includes those ofspouse and dependent children; see Guide to Judiciary Policy, Volume
2D,Ch.3,§310.Reporting Thresholdsfor Assets;§312 Types ofReportable Property;§ 315 Interest in Property;§320 Income;§325 Purchases,Sales, and Exchanges;§360 Spouses
and Dependent CyJldren;§ 365 Trusts,Estates,and Investment Funds.)

                              (No reportable income, assets, or transactions.)
                                           A                                                 B                                C                                                         D

                    , Description:of Assets :                                          "Income during:             G’rc«s v^'je afend:                       •i '::: ; Transactions during report ng period
                      (including trust assets) ;                                       repprtingpenod:            of reporting period
                                                                                                   (2)              fl|                               w):              XT)        (3) .       (4)
                   Place "(X)" Mtef each asset:                               Amdurit         Type(e g ,■         :://alue;       Value           Type (eg,::         Date       Value        Gain
                  exempt from prior disclosure                                    Code         div, relit; i      Goddi           Method           buy; sell,:/    miti/dd/yy:   C6de2      Code 1
                                                                                  (A-H):         •or int)                         Codes          redemption)                                 (A-H)
                                                                                                                   (J-P)                                                          (J-P)


 1.        Bank of America Checking Account                                            A         Interest            K              T


 2..       Bank of America Savings Account                                             A         Interest           M               T


3. ^ Goldman Sachs Bank Deposit (BDA)                                                  A         Interest            J              T



4.        Vanguard Short-Term Bond ETF (BSV)                                           A      Dividend               K              T                Buy           08/15/22        K


5.        Vanguard Total Bond Market ETF (BND)                                         A      Dividend               K              T                Buy           08/15/22        K


6.        GS Dyi’--nic Municipal Income Fund Class                                     A      Dividend              K               T               Sold           08/15/22         L
          P (GAJPX)                                                                                                                                 (part)
7.        GS High Vield Municipal Fund Class P                                         A      Dividend              K               T
          (GGLPX)

8.        IShares Russ. 11 1000 Value ETF (IWD)                                        B      Dividend              K               T


9,        IShares Russell 1000 Growth ETF (IWF)                                        A      Dividend              K               T


 10.      IShares Russell 2000 ETF (IWM)                                               A      Dividend               J              T



 11.      Vanguard S&P 500 ETF (VOO)                                                   A      Dividend               J              T                Buy           08/15/22         J


 li.      IShares MSCI EAFE ETF (EFA)                                                  A      Dividend               J              T



 13.      IShares Trust-IShares Currency Hedged                                        A      Dividend               J              T
          MSCI EAFE ETF BATS (HEFA)

14.* GS Tactical Tilt Overlay Fund Class P                                             A      Dividend                                               Sold          11/10/22        J
          (GSLPX)

15.       Vanguard Total Bond Market ETF (BND)                                         A      Dividend              K               T               Buy            11/10/22        J
                                                                                                                                                   (add’l)
16.       Vangua'^ Short-Term Bond ETF (BSV)                                           A      Dividend              K               T               Buy            11/10/22        J
                                                                                                                                                   (add'l)
17.       SPDRStiP 500 ETF Trust (SPY)                                                 A      Dividend               J              T



                          '




     ] Income Gain Codes; ' ;            : :i   ;Air$i',000or:less/: : .^                  ,B^T.O0Lr: $2.5(X); : : ; ;             C =$2.501-$5,000                    p-$5,001-$15,000                 . ■E=$15,pOrK$50,000
       (ScciGolumns B1             D4)      1                  $100,000 ■ ; - ^            'G =$100,001- $1,000,600’               HI .=$1.000.(X0I ;-$5.000,000       H2=MorctHan $5.000,0(k ;'
  2 Value Codes       '                         J:^15.000brless                            ;K;:i4l5,TOI:,-.fe0.6Q0; :i;            L =$50,001 -$100,000 ■              'M'i4l00'o6r-$'250.0(H) ■
      . (See Columns Cl and b!3)                .N:==$2S0.001r-$500.000;          'c       ;o =$500,001 - $1,066,600               pl:=$1.000.001-$5,000,000           P2y5.000,001 -$25.(K)l),(.iO()
                                                ■ra;=$25,000,001 - $5o.o(k).qoo                                                    B4-;=M6re' thM'$56Jo6'0.000':
  3 Value Method Codes                          QssAppraisal./                              R =Qjst (Real Estate Only)             :SsAssessmem                        T:=Cash Market,
       (See Column .C2)        .                :U:=BSpk;VjUue:                            :V=Olher:' .T--      cLv,:-^
USCA11 Case: 24-13671          Document: 13           Date Filed: 12/05/2024       Page: 554 of 723
            10:58                                                      ,*■) LTE GEi'


                                                                                       Exh.B
                    Sign Up For Email Alerts     ^ RSS Feeds


              Bank of America to
              Participate in the
  lb
              Deutsche Bank Global
              Financial Services
              Conference on May 29
              Tuesday, May 22, 2018 9:00 am EOT

              CATEGORIES Corporate a.nd Financial News




              Bank of America Head of Global Commercial Banking Alastair
              Borthwick wit! participate in the Deutsche Bank Global
              Financial Services Conference on Tuesday. May 29 at 9:30
              a.m. Eastern Time. A live audio webcast will be accessibie
          ■   through the Bank of America investor Refations website at
              http;//investor.bankofamerica.com. A replay will also be
              available.




              We use cookies on this site to enhance your user
              experience By cllckj             y link on this page yi         re

              OiV       your      :se          a to       cookies,, ivir n




  lb
USCA11 Case: 24-13671       Document: 13       Date Filed: 12/05/2024 Page: 555 of 723
              11:33                                                 m ®D-


                                                                           Exh.C
             '•#-   Casetex-i: ^ brief > deutsche-bank-nat...


             Deutsche Bank National Trust Company,
             as Trustee For Morgan Stanley Capital I
             Inc...

             Deutsche Bank National Taist Company, as Trustee
             For Morgan Stanley Capital I Inc. Trust 2006>He2
             Mortgage Pass-Through Certificates, ...
             Missing: BfcAGKStOfw Sfeup POOfclNG S£BVI€fNe
             AGFieeMeiT PAST AS{GSF%


             Q US Courts(.gov) < ca5 < pub pdf

             IN THE UNITED STATES COURT OF
  w
             APPEALS FOR THE FIFTH CIRCUIT
             Dec 29, 2014'Deutsche Bank
             National Trust Company....                             •V.*




             (“Section 50"), challenging the
             adequacy of a loan that they
             obtained in 2006.

             16 pages • 155 KB




             % SEC Report»Document

             Litman Gregory Funds Trust 2019
  Ik
             Portfolio of Investments NPORT-EX -
             SEC Report
             Form NPORT-EX filed by Utman Gregory Funds
             Trust with the security and exchange ... Biackstone
             Group L.R (The)... State Street Bank and Trust
             Company... National Bank Holdings Corp.
  '1.
USCA11 Case: 24-13671   Document: 13        Date Filed: 12/05/2024        Page: 556 of 723
                10:22                                           ,.! LTE   • 4•



                            i mitciheilnifp^^'senu jr.car                         Exh. D1

                                 raisisd th^r pteobjecte
               an rnms#U.S,Bitiiaprpfpw MSM to
                                            company a''noptraf
               raiJng in a research note on Mond^
               fsloveml^r 4th.Otagroiip lovy^red shares
                        ^               ^       —



                  y^Baneaiffrom a
               a*seir rating and deweasi^ tt®lr prt^^
               targetforthe stodtfrom|54i6Qft)
                        In a rSBs^rch reporton Hiesds^
               firti^erffli NOfga^anlii                   itateda
              'w'tiingandi^ed a Id                          . .*■




               target(up prewfouslyfrom IdlOO)on
               shares ofO S. Bancorpina research
               report on Monday htoMemheristh.
               CreditSujsse Group restated a"hold”
               lating and issued a 151^00 price targeton
              shares ofOS.Bancorp In a research
               report on Thursday.September 12th.
              Finally UiSGrouplifted their price
              targeton sharesof U.S.Bancorpfrom
              $56.00to$S8>C^;and gave the stocka
              “neuttai”fatihg ina research report on
              Monday October 21st; Fourinvestment
              analvstehiPjeidUjU UiliUJavdthaseii
USCA11
   12 Case: 24-13671    Document: 13          Date Filed: 12/05/2024              Page: 557 of 723
               10:29                                                        I 1




                          c>io b a!i ec 1 a!c h IT)11 jc!e.co i n                       Exh. D2
             principal amount of 3,200% senior notes due 2029,
             In additicMi, Equinix compieted a conarrrent tender
             offer for any and all of Its outstanding 5.375% senior
             mtes due 2022.5,375% senior notes due 2023,and
             5.760% senior notes due 2025* which were paid for
             with the proceeds from the senior notes(Bering,
                       Sachs & Co, LLC^BofA Securities, lnc.,^X
             Citigroup Global Markets Inc., J.P. Morgan Securities
             LLC, Barclays Capital Inc., Morgan Stanley & Go.
             LLC, MUFG Secunties Americas Inc,, RftC Coital
             Markets. LLC,SMBC Nikko Securities America. Inc.,
             TD Securities(USA)LLC,Oeutsehe Bank Securities
             Inc., ING Financial Markets LLC, BNP Paribas
             Securities Corp., HSBC Securities(USA)Inc., Mizuho
             Securities USA LLC. Wells Fargo Securities. LLC,
             PNC Capftal Markets LLC, Scotia Capital(USA)Inc.,
            .and U.S. Bancorp Investments, Inc. are all the
             underxriters Involved in the offering, y               ^
             Equinix, an Americanmuitinational company
             headquartered In Redwood City, Califbmia, connects
             more than 9,800 companies directly to ttieir
            customers and partners inside the workfs most
            interconnected data centers. Today, businesses
            leverage the Equinix mterconnection platform in 52
            strategic markets across the Americas, Asia-Pacifie,
            Europe,the Middle East and Africa.

            The Davis Polk corporate team Included partneis
            Alan F. Denonberg (Picture)and Emily Roberts and
  <lk       assooates AN DeGoNa and Caitlln Moytes Cunnane.
            Partner Rachel D. Kleinberg provided tax advice and
            associate J. Taylor Arabian provided 1940 Act advice.

            Involved fees earner; Tavlof Arabian ^ Davis PQlk &
                                       r\«»                             a
                                                                                                                                                                                                                    .3^
         USCA11 Case: 24-13671 Document: 13 Date Filed: 12/05/2024                                                                                                                Page: 558 of 723
                                     Name ofPerson Seporting
     FLNANCIAL DISCWSBRE REPORT                                                                                                                                                                         DateofKeport

     Page 4 of8                                                                                           WiHiaii«,KatWeen M;                                                                              07/19/2022



„ VIL TOTSTMMTS^and TRUSTS ~
                           ~ mdame,tvliie,thiiia<;llciiis:(Inctu^h'iiw^^f^ui^a>iii.^jiendeiit children;see GiitdeioJuflciaty Peiicy-. Vdlmie'
    2D, Ch. Si                                                                                                                                                    ;§S2SPurchases,Saks, and Exchsiiges^i'Sl^Spdiis^-
■ wtdDepenieutO- t!ren;gMsTrusts, Estsies,andini!estntenlFmds,’/

                  NONF jWo repoiMNe imonw, assets, dr tramadrons.):
                                           k.                                          B-                              c                                                                D
                            DescrptipitofSsset^                                 -Income.tliitmg               (yd^Salueiat^j ■ ; I,/ ^                              Transactions during repoiling period
                           (mduditig:.trijstSsssts)                            'ropoffiig period              ofieppftingp^od ; j
                                                                             (1)           (2)                 0?                              M                     (2)          (3)
                                                                                                                                            f
                         PIace."PO" afa eadtiasseti'                    Anioarit        Type(e g ,           :/Vglije. f 'iSahjs ■■: -j ; , -Type-^igi,              Date        Vaioe       Gain
I                       exempt from prior.disclosure.                   &del             dir, rent,          Gpde 2 6.|:. ''S^letlid t              ■buj’.seB,    ami/dd^'      Code 2      Code 1
                                                                         (A-H)              orint')' :        (J-P)                 3       I       redemption)                  (J-P) 1 (A-H)
                                                                                                                                            i

                                                                                                                                            1


     1.         Carrier (CAER)                                                 C:       Dividend                N:            T



    ■2. ' ;^ytheon (RTX)                                                      -d;       Divideiid                             T'


     3,         Otis Worldwide pits)                                           G        ::E>ividMld            m              ?

    4,.        Kim (T)                                                         e,-      Dividend:               IC            .T'


     5.,       .Edisoa(BIX)                                                    B ■■     Dmdend                  k:            T-        -


     6.        locMiee^daitin (LMT)                                           ■G        :Dividend              M:             T



    :7.        IBM'^                                                          A         Dividend                              r


     8.        Princ Prefcgred Securities fPEFCX)                              e        Int./Div.              M              T



    9.         Nationwide Fixed Annuity.                                                    None                O             X-


     10,       WeUs Fargo Money Sbw}}                                         A,         Interest:              K             T'


    11:1.      WELLS FARGO MANAGED ASSET
               ACCOUNT HOLDINGS BELOW

    j'l2., FTIXX-(3Sachs Tre^tiry.IristrtnB&its                              -A          Interest'              ■i            T''                      Bw ■       08/11/21         3



    0. ; .AEPFX-ArnericaiiEufd-PagifidiGrth/                                  A:       .Dividend.              m              r



    14. ,IV.1F.S Emerging                                                    r.A'.     Dividerid                                                ■     Eold:       08/11/21         J          A



     IS. DiamoridHill Lar^iGap plffiEX)'.                                     A         Dividend               h-             f                       IBu?        fe/02/21         K



     16.                                                                                                                                              ;saa        08/11/21         k:         D
                                                                                                                                                      (part)
     17.       Cohen &■'Sie-ire Rsal^pSRg^                                    A         Dividend                                                      ;Scad'      03/02(21         J           A



                                ?



     , 1 In«>ineGamP3,des:           •          A=SL000cfle55                         B =SI,(m'                v'; ;         C=S2.501 - S5,0&0                        D“.S5,0DI - $13,000               ■i =$15,00^-$50,000
            '(See CoIianna'Bl       Iji)        F«S50,0Q1-$100,000                    G=$10O,C^L-.SIl0O0^S0Q:                'hi .=^1,000.001 - ’s5,(K)D.(^0
      •2 V^usCodes         -                         5,000                                                                   1=^50,001-$100,000                       M=SmG01-- 5250,000.
                                                N *$250,001.             ■            o'*s5;oo,oo'i-i::s(^09o,^i             PI =5!,000.001 - $5,000,000              P2 *S5..o6o,OO.i - S25;,00j.000
                                                P3=S24oeO.CQl - $50,000,000
     (j.3 'Value Method .Codei                  Q*=Appni55a!                           *Cost (Real/'Estate/CMi'):            S =As&«52me£tf
      I {S2V.C0-lu1m.C25                        U.-^Bchsk'Yah^. ^ ■                               '';V'                      W “Estuaatssd

      i
                                 USCA11 Case: 24-13671            Document:
                                                                 UNITED     13 DISTRICT
                                                                        STATES  Date Filed: 12/05/2024
                                                                                         COURT                     Page: 559 of 723

I
                                                           SOUTHERN DISTRICT COURT OF FLORIDA

I


    I                           U.S. BANK,NATIONAL ASSOCIATION,
                                 AS TRUSTEE FOR RASC

    •I
                                2005AAHL3,

                                 Plaintiff


                                      %                                                         CASE :24-cv-230I5-RAR
                                 V,
         I

         I
                                 MAf;K WELLS




                                 Defendants,




                                              MOTION AND AFFIDAVIT FOR RELIEF. RECUSAL VACATION OF ORDERS AND
                                                                          MEMORANDUM OF LAW




                             Pursuant to Florida Stat. 112.131, Florida Rule 2.160(H)and Federal Rules of Civil Procedure Rule 60,
                             Plaintiff MACK WELLS hereby files this Motion for Relief&Recusal and Supporting Memorandum
             I               regarding the June. 17*2023 Darrin P. Gayles review of the record and Final Judgement Order, Exhibit.!, based on
                             the folio:vLig facts, new information, just terms, judicial misconduct, fraudulent grounds and discovered
                 I conflict r/f personal investment interests on Financial Disclosures of Judges and officers of this Court(Exhibits
                 I                     '
                 I #JB)Attached- U.S. BANK Special Situation Property Funds Account Page 42.IFRS 2018 Tables 9-13. SEC
                 I

                             Filings- U.S. BANK Florida Subsidiaries, Judge Darrin P. Gayles Financial Interests & Property Disclosures).


                             FlorMfLRule 2,160(Hi SavsA Judge Wtf,v Vacate his.QiMi:&JojLQo.uilkLaUnt&mt Tlieedttt^JLBmiv K
                             Judge John A. Rudd FL Rule 2.160(D) H)FL Code Jud. Conduct. Canon SEfl) A Judge shall disqualify

                             himself where imnartialitv might reasonahlv he questioned Rule 2.160 fP) H)grounds to disqualify is

                             hartv fears Judge Is Biased FL Statue 112.312(8) Judge can H have a conflict ofInterest!



                     I Judge Darrin P. Gayles must Recuse himself for an open obvious Conflict of Interest because he's
                     1
        . ! doing business with US Bank and helping them to make money so that he can make money by
                                      %


                                      . c.




                         I
                                 USCA11 Case: 24-13671              Document: 13        Date Filed: 12/05/2024          Page: 560 of 723
                             foreclorFig and taking (stealing) our property while acting as the Judge,on the case on our property,
                             not on ccse's Merits but for to make his and them money Illegally. Here's proof: In his Form 6. from

     I
                             his Finat/cial Disclosure Report, form 6 for 2021 it Says on line 1, page 3 that he got $250,000
                             with Chase Bank Exh. A. U.S. Bank is Chase bank here’s proof. US BANK is US BANCORP, Er i. B. And US
                             BANCORP is Morgan Stanley, Exhibit B1 and B2, Judge Darrin Gayles is doing business with US BANK (Chase
                             Bank) as seen in his form 6 line 2 page 3. He also got $15,000 from Chase Bank Exh A. This is a Horrible
                             Conflict of Interest against us and there's more. I havefound that our case was directed to other Judges in this
                             sess Pool all with the same Conflict of interest like Judge Valerie manno Schurr a Judge we had never met
                             jumping into our case after Judge Zabel dismissed U.S Banks Lawsuit against me with Prejudice because they
                             never had or owned the Note and then or.e year later Judge Valerie Manno Schurr got $995,000 from U.S.
                             Sank according to her Form 6 Financial Disclosure Affidavit, Exh. I. And then suddenly inserted herself into our
         I
                             case without ever meeting us and dismissed the case with Prejudice like Judge Zabel did, Exh. K. So as to
         I
                             avoid the Law which says another Judge cannot change another Judges order in the same Circuit Court so she
                             made tN|same Order so she could change her own Order to dismiss without Prejudice and got another $,1
                             million c’ illar plus $400,000 dollar money asset from GMAC which is U.S. Bank and then she changed her own
                             Order to .Dismissed without Prejudice Exh. N. And then received a $2.4 million money asset from Wells
                             Fargo/Wachovia plus a $400,000 dollar money Asset from GMAC which is U.S. Bank Exh. L. The same
             I               Conflict of Interest that Judge Lopez has, which is why she Recused herself Exh. R, as did Viv.jnne Del Rio
                             Exh.S and they along with Judge Schlesinger violated FI. Rule 2.160(H)-(J) and did not answer their Motion to

                 I           Recuse Exh.U, V & W within 20 days which means that our Motion to Recuse is automatically granted and all
                             of their Orders have been removed & reverted back the Original Judge Zabel's Order of Dismissal with
                             Prejudice. According to her form 6 Financial Affidavit to circumvent Judge Zabel's Dismissal with Prejudice!
                             Exh. M. I and two other Witnesses saw Judge Zabel sign the Dismissal with Prejudice Exh. X,Y and Z and the
                             2007-12407-CA01 Case was dismissed Exh.Zl and Z2 in 2009 the Clerk of Courts removed the Judges
                     I
                             dismissal with Prejudice off the Docket because the Clerk of Courts have the same $ Conflicts of Interest as
■"                   I
                             Judge Valerie Manno Schurr according to his Form 6 Full and Public Disclosure of Financial Interest he has a
                             money Conflict of Interest with Wells Fargo which is US Bank Exh. Z3 in the amount of $315,000 which is why
                             the Cleriisof Courts removed the evidence off the Docket. And then these wicked Lawyers Foreclose without
                             notice t;. us and we went threw a 10 year fight see the Docket for the 2010 case which had no notice no
                             assignmfi^ts, no Note and no Mortgage Correctly to U.S. Bank from Axiom Bank see Exh. 0. then Maurice
                         I   Symonette did a Quite Title Suit and after 10 years Judge Valerie Manno Schurr shows up again and I showed
                             her the Evil which she had done by taking money ($995,000) From- GMAC/U.S. Bank to steal our property
                             even though we were making the payments. This is Home Title Fraud in its utmost and when she saw she
                             was caught from her own Form 6 Affidavit and evil Judgments she Recused herself especially after we paid
                             for News paper, ads and Radio TV Commercials Exh. T Telling on her and knowing that we have turned her
                             over to the FBI as Darrin P. Gayles must do because he has the same conflict of Interest So he must recuse

                             himself and vacate his Order. So Darrin P. Gayles you must Recuse YOUR SELF and not ORDER against us.
    USCA11 Case: 24-13671              Document: 13          Date Filed: 12/05/2024           Page: 561 of 723



                                                         FACTS




1. On Dec. 19,2017,Defendant Judge Valerie Schurr issued a final Judgment order Exhibit. A against Plaintiff
Pursuant to Florida Stat. 112.131, Florida Rule 2.160(H)and Federal Rules of Civil Procedure Rule 60,
Plaintiff^dACK WELLS hereby files this Motion for Relief & Recusal and Supporting Memorandum
regarding the June. 25'2010 Darrin P. Gayles review ofthe record and Final Judgement Order, Exhibit.J. based
on the fcifiowing facts, new information,just terms, judicial misconduct, fi-audulent grounds and discovered
conflict ofpersonal investment interests on Financial Disclosures of Judges and officers of this Court (Exhibits
# B) Attached- U.S. BANK Special Situation Property Funds Account Page 42, IFRS 2018'i ables 9-13, SEC
Filings- U.S. BANK Florida Subsidiaries, Judge Alan Fine Financial Interests & PropertyDisclosures).


Florida Rule 2.160 fH)Savs A Judge mav Vacate hh orders for Conflict ofInterest Theodore R. Bundv V.

Judge John A, Rudd FU Rule 2,16Q(D)(1) FU C<?deJud, Conduct, CamMJEWAJuds£JlMilUismalify
himsjdLwhise impartiality might reasonably he questioned Rule 2.160(D)(1) grounds to disqualify is
party fears Judge is Biased FI. Statue 111312(H) Judge can’t have a conflict ofInterest!




Judge Darrin P. Gayles must Recuse himself for an open obvious Conflict of Interest because he's doing
       %
business, with US Bank and helping them to make money so that he can make money by foreclosing
and taking (stealing) our property while acting as the Judge on the case on our property, not on
case's Merits but for to make his and them money Illegally. Here's proof.



                                              FACTUAL BACKGROUND



         reasonable person would question the judge’s impartiality.
          Fla. Code Jud. Conduct, Canon 3E(1), Fla. Rule 2.160(A)(H), Fla. Statute 112.312(8) and Section 455(b) he shall also
         disqualify himselfin thefollowing circumstances.

    (■4) He knows that he, inclividuaHy or as a fiduciary, or his spouse or minor child residing in his
    household, has a financial interest in the subject ntaiter in controversy or in a party to the
    proceeding, or any other interest that could he substantially affected by the outcome of the
    proceedings

     (d)U) “financial interest ” means ownership of a legal or equitable interest, however small
     USCA11 Case: 24-13671             Document: 13       Date Filed: 12/05/2024        Page: 562 of 723
                                           CONCLUSION


          This Motion for Relief by vacating order Judgment Florida Rule 2.160 (H) and Recusal is
     based on new facts, related to a whistle blower’s information, willful blindness, fraud, misconduct,
     and discovered evidence unknown at the time of the original Complaint filing Plaint'ff could not
     reasonably know the financial dealings with Defendants of a yet to be assigned judge before the
     original Complaint filing As previously displayed by his Dismissal Order, due to cited improper
     financial conflicts of interest. Judge Darrin P. Gayles was incapable of impartially and without
     animus against Pro-Se Plaintiff or to exercise unbiased judicial duties required for due process
     justice in this case.

              Judge Darrin P. Gayles has creditor loan history and business with Plaintiff U.S BANK MERS
     and JPMorgan that caused preferential Quid Pro Quo treatment by his .sua sponte review and
     Final Judgment Order. Judge Darrin P. Gayles has significant exposed investor financial interests in
     the!^>ubject matter in controversy and with Plaintiff U.S. BANK that will be substantially
     nega tively affected by the outcome of that proceedings when the Defendant “ultimately prevails
     and promotes in paid for adds in the media. Because people can’t win when the Judge is on the
     side ofthe Banksters to steal property and money off their Prey!

              Example of Judges who already recused themselves from U.S. BANK
    HE RECUSED HIMSELF BECAUSE HE HAD A MONEY CONFLICT OF INTEREST
    IN 131 FEDERAL JUDGES JUST GOT FOUND GUILTY OF CONFLICTS OF
    INTEREST GOOGLE NEW YORK TIMES ARTICLE BY ADAM LIPTAC.


1. JUDGE DARRIN P. GAYLES Exhibit, P.
2. THOMAS WILLIAMS Exhibit, Q.
3. JUDGE VALERIE MANNO SCHURR’S RECUSAL Exhibit, R


                                       REQUIRED RELIEF


              Pursuant to Fla. Code Jud. Conduct, Canon 3E(1), Fla. Rule 2.160 (A)(H), Fla. Statute
     112.312(8)and Federal Rules of Civil Procedure Rule 60, Plaintiff requires Relief from the June,
          f


     17,2023 Final judgment Order rExhibit.J. based upon the stated facts,just terms, cited misconduct,
     Rule 60 grounds and newly discovered banking real estate fraud by court officers.
              Said Reopening Relief would require the vacating of his order and Recusal of Judge
     Valerie Schurr ifom this and any future related U.S. BANK banking real estate cases in this
     District. The Dismissal Order Relief also requires that all parties be reinstated to their prior
1    positions in this action(Dismissal with Prejudice) requiring Clerk issuance ofSummons upon the
     Defendants and allow the filing of a Motion to dismiss the Final Judgment for cause, grounds
        USCA11 Case: 24-13671   Document: 13   Date Filed: 12/05/2024   Page: 563 of 723
        and reasons state,




    f




           %


            i




I




            V




            {
USCA11 Case: 24-13671          Document: 13        Date Filed: 12/05/2024       Page: 564 of 723


    : MACS WELLS
    ^ T5Q20S.River Dr.
       Miami,fla..33l67

                       CERTIFICATE OF SERVICE
      IK      BY-CERTlfY that od 124 day ofFeh.„ 202Q aliue and cowetcopy ofthe
foregoing wasprovided viaftis CporCs fleohomc filmg syatem to to attorpeya of record
                                                          ; dismissed with Preludice in formier
 for amounts due aad owing on same mortgage'thaf was
                                                  producethe promlssQrv Mote though they
case nO’07-1.2407CA01 where U.S.'BAMK could never
were -ashed by the Judge
                           «„erallimes hot never did bringttforth.Bshibiyjt^^
change another Judaeus ORDERi And also on km'&WM                Valerie Schurr Issued a Judgment
oro^r acting as a quasi-defense attorney for U.S. BAMK his personal inves.tm--nt Partner to make
m^iTwV together,i^fendant MACK WELiS has now subsequently provided the United States
-0€i:;i8rtment ofJustice (DOJ).on specific newly discoyglBdwhlsaeMo^mdafeffl^^
 records regarding-millions of ddilars in-exposed.fraudulentforeclosure claims made by the-
 Defendants U3v BANK,Clerks and Court officers in this action. Exhibit,0.GMAC Ako
 does notown



                        CERTIFICATE OF-SERVICE
        I HEREBY.CERTIFY that on i2th day of Feb., 2020 a ttufe.and correct copy of Ae
 foregoing was-'provided via this Court’seieotroflic:filing system,to the attorneys ol record


                                                    X
                                                                          3j '2.0
                                                                           ^^      ^
                                                              .

                                                                                             m
                                                                              FMWfw'raat
                                                                          smm nisHi:- swe cf rWW-
                                                                           tJnWlKisr sesiioia’ :
                                                                          *»           >.f»,3iO




                                                                                                    ■f
           USCA11 Case: 24-13671          Document: 13      Date Filed: 12/05/2024       Page: 565 of 723




                                                                                  #■
     f ’




                                                                        i


                       MACK WELLS
                     15020 S. River Dr.
                     Miami, lla. 33167


;■
                                     CERTIFICATE OF SERVICE

                     I HEREBY CERTIFY that on 12lh day of Feb.         2020 a ime and correct

              copy of the foregoing was provided via this Court's electronic filing system to llw
                                                                                                .-.V



L

              attorneys of record




              ’{




                                                                                          •r.




i.
                  USCA11 Case: 24-13671                           Document: 13              Date Filed: 12/05/2024                       Page: 566 of 723
                                                                                                                                                . »




I
           FORM 6                                   FULLAND PUBLIC DISCLOSURE OF                                                                              2009
                                                  ^    I financial INTERESTS
                                                                                                                     pcwofwce
                                                                                                                     USEC^lVr                   5i



                                                                                                                                  m&m . .
                     11 ^
                      Ho!'. Vaterte R'. Wartho Schurr
                      CfiCibt Jwdg©,
                                                                               PR0GESSEI>                                                     T
                                                                                                                                             :ff€l


                      Ju^cia! Circuit(11Th)                                                                                       fD«0                  210^
                      Ebt^edConattulfenaiOfRcer
                      m VV F^eiER ST DADH COWTY COURTHOSUE RW                                                                     CcRi cma
                      1105
                      MIAfill Ft 331^:"                                                                                           ft Rw ewe


                                                                                                                                 Maouo Schurr. Vafeffe R.
         CHECK If THiS IS A FILING BY A CANEKOATE □
                                                                             PARTA" NET, WORTH
                                                                            SC03                                       »««n « n,, «Wale. ..             ■ac»g ^mtrhipsfM
         ^tf*»»fraTiyix»ii5^w«f«s»i!s, i»pte3«!«TOtntf/w»E«s «vpas9 j.                                                  _           ^     ^ „
                                              My not vvorft as of \}->C!i^J 'XX lsL.^I_. 20 £l3.                     ® 2/„.r^XL-i£l'c^
                                                                                l^%RTB-ASSETS                •
         l«te«§«»»SIW0.P«Of»L EFFECTS:
               NoMtf^Sd «e«fe snd-p^rsMWl averts n-ay to repciis-d fti s '^mp txm Ttnr<-aggresata
               (lf«li«f.w^sswt'p«frw<«-,je«»V.rcS!ecsonsaf«»mps,g-jRs.sf4TOfRsma‘ic               i«.ei«©»«:«>« $i W Tte
                                                                                                         2>i{^ls.  npwwfwtJ eq«:?•«€. ■<■ ' *{aTnBlw*ics,<i<«W8.
               csser to<;5«f’sW flaws,            isclitdos icf     “S®"
                                                                                                                 I
               rrm                     v«ffl oJ   tous«i^ gams zm                  jtosffited a{»«^);w'iS,
         Assets PStfVfBUALLY VAUffiO AT OVER I1.0W:                                                                                                     mWEWA^T
                                 '
                            ■■K-'f’
                                       02®C»T5OR OF ASSST              dwctfpteftn f» ratpitmt - m* Inuttust^ p4|
                                                                                                                                                      i 'iCC,0ih.^:
                                                  m



         VitkiC rVa                                    ihV^'-v , l.^.l faiiSZL- ftcXv'tTi,/^ J^ls(AWdKi.-*- '                                          42Sii,Mc^
           .         1\ ’                               Pv» Vti"                        LhM^                                                            Lff ocr).c0



                                                                             rARTC'-lJABILrriES

         MAmirws m excemm $i,m:                                                                                                                       AiWilNTOFCIAmiTY
                    HAm Awo ADDRESS c»,^«sorr<»

    •                                  C\C£UPLi'ric      t T.!*!                                                                                      ' io,car:.iC-
                                          „ C Q -'e-/Ld K. la' .f                                                           ii                       ‘JKUl.Ll:
                                      Hi'f ■*-'jc£. C-riTLi^n i- . rV.y rSQ' ?.
         j&mrmR sweral LtAsiuries not reporisd above;
                                       NAIK Atm «»Wf SS OF CREWTOS                                                                                    AMOUNT or UABiUrrY

               4WX-' ""



        ■ CE rORMa-Eff T?r.i0                                                (C®nttew*it on r«y«»ii» »W@J                                                        PAGE t j .
            USCA11 Case: 24-13671                                   Document: 13         Date Filed: 12/05/2024         Page: 567 of 723


                   I.                                                                                                        ‘^v




                                                                                                    Ci
                                                                                         ■U'         ti
                  'mi3-                              a!jtUHs?* t
                             i
                             L        I
                                     Wi
                                              -          Ml AWi         fj


                                          ;          m




                        fj
                                              \f-i                   and ^dist Miami booksellers have to sa/about it.

■. J                                          m




                                                                                                                                                   [

                                                                                                                                                   i




                                                                     ^THE
       •;




                             ■
                                               £


                                               I
                                                                             iBaom                                                            M

                                                                                                                                                   i
                                                                                                          m-
                                                                             thby
                                                                                                                                              m



                                                                                                                                            i'P-



                                                                         banned                                                    l


              p
                  lij^w                                                                                                       m
                                                                                                                               I
                                                                                                                               I




                                 m
                                                                                                                         J
                                                                                                                         J
             J




                             f




                                                                                                                        I
             ii                                                                                                         W:


             IP I
             iiP                                                   ^^MBiOgLUCM
             m
                                                                                                                  m:

             I
                                                                                                                                       ■h
             Ii

                                                                                                                                              m-
                                                                              r




                                                                                                                                                       !




                                                                                                          ;
                       t


           USCA11
             f-   Case: 24-13671
                  3.
                                                        Document: 13             Date Filed: 12/05/2024                  Page: 568 of 723
            m'’        ;




                                                                                 5
  f-                                                                             I
■:■!                                                                                         NEWORlSmAL
                                                                         on. : msSAGg'
'.1                                            miamtnewtimes.com                                            %                li5S>4^^iC>MA A^IIOME
                                                                                                                                                                   ‘fefo
                                                                                                                          I csU                 7U Orvs^ f»r'.wckUe
                                                                                                                          J wvm..li}>lomaatfeo£n«.C0Ri

                                                                                                                             m.Am                      ',MJ5


                                                                                                   ^39:tiiff-                             Hersiinsfa
                                                                                                                                              >fianj^3b5|hiaEsari
                                                                                                       $10 Oft   ■©f                                   Ktwi.

                                                                                       HI
       »
                                                                                       .                         wpii - tj
                                                                                                                           Wants to purchase Bfesr^a and
                                                                                       ■■          ■                   ‘"i other oil Mid gas iaterests,
                                                                                       ;.:*^lfl«Silll^€ SsntliletiiHsRMoxlSSSf,! ,
                                                                                       »fwclptt«iilffisop87ifo ‘i Denver CO 80201
                            -


                            ?•                                                             ©iiiimt
                                                                                            K A. tV.S. 'A: .S' E
                                                                                                                                                                           ■
                  .    £
                            L.-
                                                                                                                               mu?’' ifet                                   5*
                                                                                                                               feriKJSesK&m
                                                                                                                               •Citlfcfesnte#:
                                                                                             OFF                               .»55« »''•>( »8»lW«Bl#tflS.SS.I®
                            <
                                                                                             OPEN 7 DAYS
                                                                                               lAWEEK
                           U
                                                                                            Wo«9»<^^ 8Jt»i
                                                                                            Mgra.oiit!t4i.fi(a
                                                                                            asssssMA&twi
                                                                                                                                                               1

                            <

                           r/
                                                                                                                               TMiRStY? HUHSRVf
                                                                                                                                    ■^i

                                                                                                                                  ‘d»
                           Z
                                                                                                   ^iiiisi@j8s?^
                           c                                                               liiiiii^i                                      a«.:«
                                                                                                                                          yikisSi-
                           a

                           t..
                                  f                     : ‘
                                       ■“edtendar                                      |KiaP;{ffq^ AB®SHfTSfIS5.W FR« SS T?f«LK,lli»I,y

                                            rrvsip
                                                                                                                                                                            ?v.^.



                                                te§,|                                                                                                              -■Sa




                                               arts
             h             m
                           ■1         ;;;cfdssifii

                       ;
                           :|
                           's
                                      ’ifomdfel                                                                                                                           m&MSk
                                                                                                                                                                                    i



                                         u-J iiidox



                           zp
                                                . I           S ■. .»8




                                                                         I            lasE«0Q|..AimYY«a»mceM. av
                                                                                                                                                     I
                                                                                                                                          th. o».o« mah m.f,^




                                                                             i




                                                                                               :
                                                                   USCA11 Case: 24-13671                                      Document: 13                Date Filed: 12/05/2024                                       Page: 569 of 723                                                            %




                                                                                                                                                                                                                                            i'
                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                              ##


JODGE^USESIJITIJME. ADMITS GETTING $9957JOO                         jwrro FORECLOSE ILLEGALLY
                    ON CRIPPLE BLACK MAN'S HOUSE AFTER DISCOVERY! WE'RE HELPLESS IN COURT
                                                                           WITH THESE EVIL CONFLICTS OF INTEREST!!!
                                                                                                                                                                                                                                      £^
                                                                                                                                                ipxyi^          '•Vili.                 S
                                                                                                                                                                                                                                      "'U*
                          FcTr‘^5?^'»»* hi m W«4 %av*4i as*
                                *-3gs,^^.-TtjM.Y-r>i-s3K<aae:ss-s. -T" .                                                                        "sg Cfs BANK COULD COhOrWyg ygnPORECLOStt --                                                                                           I
                                                           •Sr.                                                                                                                                                                   I

                                            FJWCCSSSt               '^IWiMli
                                                                                                                                                                                                                     ’’f:             a.
                                                                                                                                                                                                                                           .rl
                                                                  <iK€?


                                                                                                        ■?’
                                                                                                                                                                                                                                            1
                                                                                                        I                                                                                                                                  '%>
                                                                            <s.
                                                                                                                                                                                                                                             i



             a          '2^                                                                             s                                                                                                                                    ;



                                                                                                                                                                                SmAC                                                        :i':
                                                                                          USI^SAC <31^S
                                                                            S' ,
                                                     \e
                                                                                          1
                                                                                                                                                              M^n                                                                            •rss.-.
                                                                                                                                                                                                                                                                                                       !
&                                                                          ASSKSHNMfc.N'l tO »SO&SKOMSNaS                               "l'rv:"’",'”'?'*'
                                                                                                                                                                                                                                                         -I



                          f                 - >-s   ■'iU: Cy-'jwv {        ASSiGHNMtNT TO US BANK CGfcM'CJ                            -v.*.^!- ■— -                                                                                                ■          .,   -.,-,v....,,   ,.

                                                                                                                                                                                                                                                   W.VI »V
                                                                                                                                                         ii
                                                                                                   J 4 4!»' ?S<« J-M
                                                                                                                                                          .■i                   ^            t **«»«,* ♦sa w» i?-*                                                                         JUDGE
                                                                                                                                        ;xr.                                                                                                           4 W NS-ViU • »




  A---?':-                                                   4-j,^          *-S.          ~~f~    '
                                                                                                                                                                          -sr
                                                                                                                                                                                    ?* s«.     * o                                                                                     RECUSAL
                                                            ‘1
                                                                                   ir:                                                                                                                la
                 -.yi    -r       i"'." ^

                          PK%s«:.al ttC - K\-                                irrrsm
   -Ti^ss smp                      “
                                                                           |>*§v  ^              s4‘i                  ,52S"^            srs'
                                                                                                                       ■jAT
                                                                                                                                                                                                       «                      r
                                                                                                                                                                                «4r''                                 "t




                                                                                                                                                                                                           .




                                                                                          >„5:5^:r:.                              C   ■'-* T.
                                                                                                                                                                                                       4


                                                                                   7".'

                                                                                                               •




                                                                                                                                                                                                                            '"‘'Ui^

 SEE PROOF AT SyvyVESSS.COM - BV MICHAEL. THE BLA^^K MAN S8.7FM 5PM



'. -i-
                                                                                                                                                                                                                                                                                               3

                                                                                                                                                                                                                                                                                               r\
      USCA11 Case: 24-13671              Document: 13             Date Filed: 12/05/2024            Page: 570 of 723




{ FORM6                        FULL AND PUBLIC DffiCLOSURE OF                                                   2008
                                       FINANCIAL INTERESTS|
                                                                                                      CONKMOIIEniOS
                                                                              mumm.                     PTfraiB
                                                                              Kiim'ift

                                                                                                        hn&m
            H» Vmm R, mmn
           ■ cif«Myw3p                                                                   rn cms*
             Jirfd^CteutiUTfil
           . Elected C«sltoteniaJ'©i«r
           ^4sCwirty:Owriwsgio Rra t1«
           ■ tSWFiii^«r§t
                                                 P^OCESSEfl                              K>.^            mm
           ■Ati»i,Fi. mm-fm

                                                                                                                             ! '

                                                                                         RRK!|,Coai


    ef«t$KPWi»Anyi4ai¥Afiwc«iMTC          O
                                                                                      fttotno Sdiyrr, Valcfw R.

                                                 m»r.A.-*'WET'W«ni
    mnnw         Ma Mw ^ pur iMt
                                                            3.|
                                                              ,




                                                                                  4             t
                                                                                                                             i !




j


    immfotD Do0{» ma-
     i4eu»^ ijacKte M#                 b»         «tunp «jiiiV iM»   wakw ««st^
           8)rim!iilnMtpiir{)miep»Miy,ffi!««(dtteMW«Mwi^iQw.ti«^W!*RMM£0^                               wi teMiepi’etsM^p^

     fh* «isamim          ^            «i»9     «MdK                   >• s

    AMyp».i«m!OUALiy muicD at mm. nm.it
                                                                              m                           rnummmmr

    ti onff'JngQt).? lA l^^ifinii.-!)a-lt>
      1                     H                                                                          4M09bOflb.flP         ' ^




           ■ft
             T   CufacgJQ                                                                              " 300,000. flp.
                                                                                                          ^ .pro CO
                                   !

                                   g                                                                               I

    ijimfiiii wiie» mmmm
                     f*mmm w ou^rqii                                                                    AI»UNT€VIIMUIIIT'

                                fMti‘S(gwiy,)f,Qia:aoDnt‘i7L^                      ku. -               qi. ^Sf. oo
hmM                                                                S                                    qqSjOilD.^
                                                                                  Mkxje.                1^, nap. CP
                                                                                                                                 j

      m                                                                       f
                           £
                     itmmmm mt-mmmmjmm
                                                                                  1R                      aSES               i ^




                   »mii AND.ASOfUfs: m                                                                  *iMoy»«yyAiiyry      i




                                                                                                                             h
    ag|i0«li>s.Efl mm                           tSt     i                                                          llWdE^T
'        USCA11 Case: 24-13671                Document: 13    Date Filed: 12/05/2024                           Page: 571 of 723
                                                                                                                                  . Lf6
    &■
     X
                                                               rx THI; CIRa.1T COy^T OF TltH
                                                               , . ',!-
                                                                          jrDlCL^l. CmCUiT CN AM)
                                                                FOR DADE COi-VrY. FLORIDA
                                                             OENIR-'^ JURISDICTION Dl VlSIfF :
                                                                             C-ASEV"* 2t»'’.!:4r-o3i

                                                                  April 1.2010
                L.S Bank .N’.A.
                      Piaiatifis)

                Vs.

                l.eroy Williams
                       E>«feftd3rtt5»



                          ORDER ogjas; Jissai- with prejudice
                   TEis                  totd on   aefendnnls mtion <o dismiss foHack of P™""
                Servedon April I L200«. The. court finds that U) i»tsce prescnbed
                                                                              -   by rule i .40 |el
                Was' served on April U .2008; c2) their was no record actmty' tor Ae ye^ prpcedmF
            ‘   Service of *e foregoing noiice; t31 no say to been issued or approved h> *e coim
            ^   And (45 no part) to shown good cause why this action should remam pending.
                 ^1)M)ER FD Iha. *is action U Diamia^d fot lack of Prosccmion “■*
                  DwS oSiliD ip chambots. a, Miami, dade countv., florida tips J1 th day•' '=o,
                  Marcb. 2010.
                                                                                 ^    J        .              > A   I


                                JfR 0® to*.          APB 05 m-                          VAJi            a *
                                                                               ClteiTIT COURT JtEXiE




                               t' -c '




                                                                                     A r If*   f   ■«


                                                                                                                                  %




                                                                                                                        r3




Bk */7244 Pg 4193 CFN 20100237159 04/09/2010 12;47.i 7 Pg 1 of 1 Mia-Dade Cty, FL
                                                                                                                                      I
     USCA11 Case: 24-13671                         Document: 13               Date Filed: 12/05/2024                  Page: 572 of 723


3




                       Pt3,m<j^.
                                           CASE m
                                                                   2W'?‘12407-CA
                                           DIVISION                n
             vs.
                                                                                               I




                                                                                                                                0.
             LEROV WILLIAMS; MARK
             aSrrMANAGEMtNTCORFORATlON; CITV                                                                                    cr>

             OF MIRTH MIAMI?
                               DefciidaB^ts).
                                                                                                                                        0
                                                                                                                                        O



               E!SMi     ORDER Dis»iM6.assi                                   f
       «>


                       nils Cat'Si hmm                  befoK the Cbun,es P®5«.^mm w
                                                                                                tSc Mction filed fa> the PtowiA. pmsmni

                                                    ,and the C«rt bemg oihenvise foil) ^v.srf ts ite ptemtscs.
                   Seofion m.(ff Fterida Staiwes(30®}
                                                                                                                        n ?5.
                                                                                                                                                      I
              TO


                        ORDERED AND ADIUDGED as follows;
                                                                                                           .-:hcmtwet%hKMi : .cPtateiffw
                        1.         Tte «= b. »d.h.»..!.«=!? is                     to »■>».
                                                                                                        cause
                                                          which is the'Subject matter     fte jstsiwt
               brim an JKsien <a tw«etes«                 ’• - ■
                                                                                        iERO'V WILLIAMS.-MARK ’S-'lLLS,
                         ^         Afl Counts of the Campla'iBt gainst Defendsnis:
                                                                                   ; CITY OF NORTH M1A.ML ,»e h«ct)> dsss»i».«d.
               FRANKiDl CREDIT MANAGEMENT CORKJRATlOK

                         3.        Any   scheduled foreclmre sale is.,eweted.
 f




                                                                                         Sertai 136^522
                                                                                         'DOCJD'MOIOSDI
                   Bte.NUMBER' F0701214a                                                                                              ,.r

       *»>


                                                                                                                                      t4    M
                                                                                                                                                . i




Bk 27343 Pq 9,49 CFN 20100461678 07/06/2010 15:32:32 Pg 1 of 3 Mia-Dade Cty. FL
             USCA11 Case: 24-13671                          Document: 13          Date Filed: 12/05/2024                     Page: 573 of 723
r                                                                                                             HO

                     41^        The Hotte ofLis Pendens fifed by pyntiffand rwrotded mArpuWk fwords of?fli AMI-DA DE
             ■Cmm\ Fterida, wgarding-the felow-tewbed property*

                                   THE PilBliC RECORDS'OF !vllAM!-DADE COLl'^TY- Flpp>A.
                                                                                                    1>T effect, shd the Herk is fteieby
              ■fee and same hereby is casceted. vacated diseterge'd and stall ta of'»

              directed to record this fjrder to roilecti sttme.
                                                                                        AiigttS    2W?, }>e ma the isme hereby b
                                 The FjMl SnttiTnary Wgmeni teretofore entered on
                 A*
              asld’i and stall be of no ftifther force or effect        .
                                 The Plainliff requests to the origitfal Note      Mortpge b« rctunsed to the PJamtiff and
              pboiostafic copses shall,bo subsitotei! in tor place.
                                                                                                                                     day q|
                       DONE AND ORDERED )R ClatnbeK is. MIAMI-DADE Coiiniy, Ftonda- dtS —
                                                  , 20! 0

                                                                      f'           . 1 r' iii «       I     Ly
                             m 2 3 Zfl'B                                                          0 SCHU^
                                                                      Ctost Coart Judge

               Copied fttraished
               Florida Default Law Group, P.L.          ,
               P,O.Box250lg
               Tampa. Florida 33622-5018
               All pwties on to ®meh«d service list
               Fronts-,\50105«




    Bk 27343 Pg 950 CFN 20100451678 07/16/2010 15:32:32 Pg 2 of 3 Mia-Dsde Cty. FL
                                                                                                                                                s/4/22, S:41 AM
■   OCS Search   USCA11 Case: 24-13671                    Document: 13                     Date Filed: 12/05/2024           Page: 574 of 723

                             1,0/14/2010                          MOtlOfii             Event      TO VACATE LAST.ORDER & RETAIN ORIG.OBDER


                             09/28/2010                       , Motion to              Event
                                                                  Vacate

                     «k,                                          Dismissal


                             08/08/2010                           Text                 Event-     retd original note and mortgage.

                             0.6/25/2010    27343:0949            Court Order          Event      B:27343P:0S49 VACATING, DISMISSING,CXL
          1                                                       fRecord,ab!e)                   SALE,release US PENDENS,ETC..

                              06/20/2010                          yotion;              Event      ATY;00071675 TO DISMISS CASE.C NCEL FORECLOSURE
                                                                                                  SALE,ETC.


                              06/18/2010                          Final Disposition    Event
                                                                  Document


                              04/07/2010    27244:4193            Court Order          Event      B:27244'P;4192 OF DISMISSAL
           ■I                                                     IRecordaUe)


                              04/07/2009                          Text                 Event      DISMISS POR LACK OF PROSECUTION WITH PREJUDICE

                              09/09/2008                          Objection:           Event      TO WRITTEN DISCOVERY,MTN TO STRIKE OR,..ETC


                              09/09/2008                          NDttcer              Eveht      THAT PLTFF HAS RESPONDED TO DEFENDANT,..ETC

                              08/1:6/2008                     '   Letter of            Event      rROM MACK WELLS TO DISMISS FR LACK OF PROSECUTION
                                                                  Carrespondenee


                              08/15/2008                          Letter of            Event      FROM MACK WELLS TO DISMISS FOR LACK OF PROSECUTION
                                                                  Correspondence

                              09/17/260?     26944:0542           Court Order          Event      B;-25944 P: 0542 CANCELING FORECLOSURE SALE
            1                                                     (RecordaWej


                              09/14/2007                          Proof of             Event      PUB DATE :0S/31/2007
                                                                  Publication


                              09/1:4/2607                          Proof of            Event      PUB DATE?
                                                                   Publication


                              09/12/2007                           Motiom              Event      TO CANCEL FORECLOSURE SALE


                              09/10/2007                          Motion:              Event      ATYrasaasaas set aside fjud and reconsider stay


                              09/10/2007                          Text                 Event:     $50 FEE PD/BCPT 145184


                               08/30/2607                          Notice of Sate       Event


                               08/24/2607                 .       'Text                 Event     WRITTEN REQUEST, DISPUT VALIDITY OF ALLEGED LOAN

                     IK        08/M/2007                           Certificate,Of-      Evsnt
                                                                   Mailing Final
                                                                   Judgment


                              '08/13/2007                          Notice of Filing:    Evsilt.    AFFIOAV1T-OF AMOUNTS DUB AND OWING

                               08/13/2007                          Notice of Filing:    Event      ORIGINAL MORTGAGE AND ORIGINAL NOTE


                               08/13/2007                          Text                 Event-     FINAL DISPOSITION FORM



     t»ttps;//www2.mfami-dadeclerk.com/Qcs/Sbarch.3spx                                                                                               Page. 2 of
              USCA11 Case: 24-13671                    Document: 13               Date Filed: 12/05/2024              Page: 575 of 723


                                                                                                                                                       s.-st m I

OCS Search
                                                                                                                                   I
                        MIAMI-DADE COUNTY CLERK OFTHE                                                            SsjoSasUia    toJCCSUOI.
                                                                                                                                              IS
                        COURTS
                        HARVEY RUVIN


   CIVIL,!=AMILY AND probate courts online system

     svi. .




       yS BANK {Nfi) VS VVILUAMS, LEROV
                                          2007'012407-CA-01
                                                                                      Filing Date: .04/26/2007
                  Local Case dumber?

                                          132007CA012407000001
                                                                                 jutiicia) SscEton;,- CA32
                  Stats Case Number:
                                                                                      Case T:ype!-   2 DO NOT USE
                                                                                                               '  Legacy Kicrtgage Foreclosure
              ConsoHdated Case No.:

                         Case Status;      CLOSED



                                                                                                                                 Tata) Of Part!es;,6
              Parties
                                                                                                                                                        4e
                                                                                                                               Total Of Hearings; 0 ^
        ^Hearing Details
                                                                                                                               TotalOfDbcketsi52 ““
                                                                                                                                                               \
         Si Docants

                          ■-:r




                                                                                  E«ent
                                                                                                Conimems
                    Number       Date            Book/Page    Docket Entry        Type
                                                                                   Event
                                                                                                RiCE(PT#:24l0006 AMT PA1D;SS.00
                                                              Receipt;
                    1
                                 02/04/2022                                                     allocation code OUANTtTY UNIT AMOUNT 3120-COPY 4
                                                                                                $%m $4.00 3121-CERTlFlED 1 $2.00     TENDER    ^
                                                                                                TYPEICASH tender AMT:$10,00 TENDER TYPE:CHANGE
                                                                                                tender AMT:{$4.00) RECEIPT OATE:02/O4/2O22
                                                                                                R1GISTER#;241 CASHlER:DlNGU!B

                                                              .Copy pft            •Event       OF ORDER OF DISMISSAL
                                 01/23/2016


                                                                                    Event
                                                                                                final judgment of foreclosure
                                  04/04/2014                   Text

              M
                                                                                    Event
                                                                                                 FROM MACK L WELLS
                                 . .04/07/2011                 Letter of
                                                               Correspondence


                                                               No Further           Evenl   '    ■ORDER FILED JN CASE # 00- 8186 CA01 AND IN SHARE DRIVE
                                  n/0.4/2010
                                                               Judicial Action
           USCA11 Case: 24-13671                      Document: 13          Date Filed: 12/05/2024                Page: 576 of 723


-'S




                                                                                                                                                                  'V


                                                                                                                                           ■




                                         *

                                                                                                                                               ■■   ■■■■■

                                                                                                                                                              site
                                                                                                                                                                  .    ,:■: K ■



                                                                                           mv ctiic»«.coy^
                                                                                 ii *
                                                                                                       __ piviS^N
                                                                                                   sdct^                                                              '"'




                                                                     S'J-
                                                                                                           s ,:4a--@it
                                                                                              ik^ % A
                                                 *.


                                                                                      Acrii f: 290? ‘

                                                                            >•




                                                                                                                                                            te-



                           IJBfff
                                                                                  !.:' '

                                                                                                   : .^.

      i-te’^



               %.
                                                                                                                 t»

                               S«s%isl0B April II3W.
                               lftiiii5:ffcl?' Aw**
               -   i.
                                              ii iTf ir**H           5«j teas
                               Ajii          « taf

                                rr                                                                            *mut^ -:*■ 3* '
                                OOHEi




                                                                                                                                %sSi'


                                             ^ItSlvwWiU
                        WJ..


                                                                                                                                                    ~rf


                                                                                                                      8S




                                                                                                                                    ^S„

               •   i



                                       im^'
                                                                                                                                    : S#


                                                                                                                           i.
               USCA11 Case: 24-13671                      Document: 13             Date Filed: 12/05/2024                     Page: 577 of 723



                                      5>-


                                i".




                                                                             IN THE aRcurr court of the eleventh ■
                                                                ’■ ,         JUDICIAL aRCUn IN AND for MIAMI- ■
                                                                J            DADE COUNTY, FlORIDA
                                                                             general-JURISDICTION

                                                                                                                                                                          ■■.y




                           ■r                                                EASE NO,: |6-'^)K 2-8 £#-0 (
    I




                                                                                                                                                 cr        cS-
                                                                                                                                                 3C
                                                                                                                                .   ■» v-,             .   Os
                  ■gffendantCs),                                                                                                    SC                     ?q -
                                                                                                                              T5:—           •   '"O        :x>:
                                                                                                                                          X.
                                                                                                                                                 -&         r^.
                                                                                                              -'.1
                                                                                                                                                            o
                                                                                                                                    J**
                                                                                                                                          r>
                                                                                                                                          o       > r-       o
                                                                                                                                          c       O
                                                     Transfer Order on Recusal
                                                                                                      •y •




                  This matter came before the undersigned Administrative Judge upon the rKusai pf
          Orvision^^ The case has been blind-fited b/ the Clerk of Court to Qivisiqn iLand all further.
          pfoceedlngs shall be heard before that judge. •
                                                                                                A




                  For further Information, please visit the fbllowinQ'WebshE.htto3 ://www.iudll.flcourts.orQ
          dick on Judicial Directory, then the new division judge

                                                  Chambers at Miami, Miami-Dade County, Honda, on
                    'dayof__Z1202_.                                                      ^      \         '              t



                                                  origjMi-
                                                                                       ly.-i          f
                                                                                                                         X
                                                   'i-.NNlFER          .EY       Jennifer p. Bailey                  '                                       »




                                                                                Administrative Judge, • •                    ’V - ■ ■-
                                                                                 Circuit CJvij Division

                                                                K



        ' Copies furnished to :
;        .Counsel of record ■

                                            y-:




                                                                                                                                                                   '^1



                                                                                                                                                                     -m
            USCA11 Case: 24-13671                Document: 13            Date Filed: 12/05/2024           Page: 578 of 723
i                                                                                                                      W'   M
     2022 Form 6 - Fu!! and Public Disclosure of Financial Interests

                                                                                                      Filed with COE:02/27/2023

     Assets


     Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1,000. This category
     includes any of the following, if not held for investment purposes:jewelry; collections of stamps, guns, and numismatic items; art
     objects; household equipment and furnishings; clothing; other household items; and vehicles for personal use, whether owned
     or leased. %              .

     The aggregate value of my household goods and personal effect is$ 70,000.00.


     ASSETS INDIVIDUALLY VALUED AT OVER $1,000:

      Description of Asset                                          Value of Asset

      Fidelity Accounts                                             $ 28,621.00
      State of Florida Retirement Account                           $ 614,708.00
      Bank of America Accounts                                      $ 44,071.00
      Morgan Stanley IRA                                            $ 478,186.00
      Irrvestment Apartment                                         $ 296,600.00




     Lisrbilities


     LIABILITIES IN EXCESS OF $1,000:

      Name of Cvditor                Address of Creditor                                                     Amount of Liabiiity
      PNC Bank •'                    300 Fifth Avenue, Pittsburg, PA 15222                                   $ 108,528.00
      University of; Florida         University of Florida, Gainesville, FL 32611                            $ 72,093.00




     JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:


      Name of Creditor               Address of Creditor                                                     Amount of Liability
      N/A




    , Printed frorh.ihe Florida EFDMS System                                                                                 Page 2 of 4
       I
                    USCA11 Case: 24-13671                                        Document: 13 Date Filed: 12/05/2024                                                                    Page: 579 of 723    E:jkU M-?.
                                                                                       Jiame ofiPmoB Heportiiig                                                                                                   Date of Report

„ Page 4 of 13                                                                                        Gonditiait,J^u^tban                                                                                            07a9/2022




 VIL INVESTMENTS anil imrSTS ~- Ut€ome,yabie,»atMc^m^cMtd^&mof-^dase mMdep^eiU cliUdren;se£pp.34-60 ofJilingimtntctiOfis.)
                              ■. C


                   NONT- .(A^o reportable tficpm^ assets, or fiamaptiojis.)
   1                                                                                                                   M                                                                      D

  I
                             iJesciiptic^'of AsseS;:                            H Income duntil;'             Gross val-je at ead                                        TrajjsactioGS during               period
                             (mcluaing^ftiaSsi^J                                :reporjirig;penpd;         •;6rt^&mg:pfeH<S'
                                                                           CD           m                                      iis               m                 t;      m.           (3)         W)
                     .     Place ■■'(X)" after each assM”                Anidraitii ITj^'Ce g-.            Value              Value i        Type (eg.             ;      Date        Value         Gain              Ideant3'ot'
                                                                                   \
                         ■ exempt ftom ptior disclosure                  eotei I :                         Code 2          , Meftiod ,        buj'.'sell.               nan dd'y}-   ■Code 2       Code I            -l^S&lleir;'
                                                                          mill I          or int)             <J-P|          Code 3 ,       redeagitioii)'                             a-p).       (A-H)              (ifpriy^;,-.
                                                                                                           sSMsMSM.                                                                                           !      ,ft?b^tibn)“

  1. ' Iridhidual Assets .(H)


 1.              Bank of America: (cgsh)                                        A        Interest.;            K                T'

            ■r

 *3r             Rental Property #1, Lauderhill, FL                         B'.            'Rent-
                                                                                                                                               II''                     lO/MQl          L



  .4.            Account #1 (H)


 ■5..            Neubergt^eiujan'iargeieap;Value                                        ;Pividena:.            h                r-
              Investor^tPRIJ^'
 i-6i         Aeeoitnt


  ?.             Vanguard Windsor 11 Fimd Adm (\'WN'AX)                     s:         ©ivideiid               L'             'T'


  8.             Vanguard.SOO Index Fund Adm.. (VFIAJQ                      A:         iipitidand              Pi              'T-


  9.             Aoebiint #3 (H).

  10.            Raymond Janies'SweepApCpunttcaa)                          :.A..         Interest.             0:               T'-                                     07/t2,'21       O



  11. invesco InfI Bond Fim(l'^EB’EX|                                      ■S          'pividffid                               f               Buy                     03/11/21         J     '
                                                                                                                                              (add'l)
  12,                                                                                                                                          Sold                     04/14/21        L
                                                                                                                                               (part)
 ■B. ,                                                                                                                                         Buy                      08/26/21.       .3’
                                                                                                                                              (aad’I)
 14.          invesco ©evelopi'ngiMarieetS                                 '.^Bi       iDiwctend                               ■f              Sold                     03/11/21
                                                                                                               S       r                                                                J           B

                                                                                                                                      ' i
                                                                                                                                               (part);
  15:                                                                                                                                          Sold                     04/I4/2i        K            D
                                                                                                                       i
                                                                                                                                               feart).
 16.                                                                                                                                            Buv                     08/26/21        J
                                                                                                                                              (add'l)
  17. GolumbniiielectLa^iS^idSoWlfiiMnd                                     ■Ei         :E>rvidend             li:             4i              Sold                     (B/ip/21        J
                 (UMLGX);                                                                                                                      ^lart);



 j 1 IiKoineG^'Codei: •                         A=$E<K^orleas;                                                                 C=S2,S01 - 55,000                        ;y:;v;D=S5,ceil-$15,000
 j- -It ■(^eCoJii^.Bl.^d.D4>;                                                         G-S1O0,OO1-$!.OCSO,OOQ                   Hl=*b000.&5i-S5000i«0                        H2 “Mere than S5 O0O,OQQ
                                                                                      K=S15,(H)1 -’$50,000'                    l;»=550,»t-$100,000                             =5100.001 - S23<f/X<i
                                                N “=5250.001                          o=-S50o,ooi-Si.ooao(>o                   Pi »st,oqo;oai - $5,000 <»»                ■ ■ ^E^=S5,OqO,COi-■323;OGQ,COO
                                                   »S25,O0O,COI - $50 000,000                                                  P4-itore Bbe $50,000,000
      ■3 Vdue&i^od.'^^&                                                              .-R'^NSost {RsalfB^te:Oo^^rin;:          rS-            il-ii [•; i-Fiji vf
           (S^;Cfelijmn.C23                     V-rnoQkVslm
                              USCA11 Case: 24-13671               Document:
                                                                    , a
                                                                            13                 Date Filed: 12/05/2024    Page: 580 of 723
                                                                                                                         a


                                                              .UMTED STATES DISTRICT COURT
                                                                                                                                                «

                                                          *       SOUTHERN DISTRICT OF FLORIDA

                                                                  »                 MIAMI DIVISION
                                                                   I

                              MACK WELLS                                   1
                                                                                                                                            4
                                                      I


                                   I


        I                 , Plaintiff


/' -                                                 .1                                                       CASE NO:24-cv-23015

                              V.
                                        t
                                                                                           I
                                                                                                         i'

                                                                                                          i                  .f
                                                                                                                              t

                                                                               4




                              U.S. BANK,NATIONAL ASSOCIATION,                                   4

            I                 AS TRUSTEE FOR RASC
                              2005AAHL3,                                                                                                            A




            I
            I

                          I

                                                                           I

                              Defendants,                     9        k
                                                                                                                         t




                          9
                                                          a                                                                                     a




                                                                  »                                  *




                                            MOTION AND AFFIDAVIT FOR RELIEF. RECUSAL. VACATION OF ORDERS AND                            t
                                                      I
                                                                                   • MEMORANDUM OF LAW
                                   A




                          Pursuant to Florida Stat. 112.131, Florida Rule 2.16O (h) and Federal Rules of Civil
            Procedure. Rule 60, Plaintiff MACK WELLS hereb’^ files this Motion fbr Relief &
                I

            Recusal and Supporting Memorandum regarding the Oct. 4th 2024 Judge Sheri
        ^ j Chappell review of the record and Final Judgement Order, Exhibit.], based on the
                                                                           . ‘ .       '        •

                    I
                         following facts, new information, just terms, judicial misconduct, fraudulent
                    t




                    I
                         grounds and .discovered conflict of personal investment interests on Financial
                         .Disclosures of Judges and officers of this Court (Exhibits # B) Attached- u.s. bank
       I I Special Situation Property'Funds Account PaRe 42, IFRS 2018 Tables 9-13, SEC.                                                        4


        . I.
                          Filings- u.s. bank Florida Subsidiaries, these 5 Federal judges who have the same
                                                                  i                                  *
       . I conflicts of Interest must Recdsathemselves for the same reason that this Judge must
                        j Recuse herself Sheri Chappell Financial Interests & Property Disclosures). Exh. Z4

                         Florida Rule 2.160(H)Savs^ Judse may Vacate his orders for Conflict of Interest Theodore R.
                         BjmdvJF.Ju^ee John A. Rudd FI. Rule 2.160 fP)(1) FI Code%fud. Conduct. Canon Sifri)A Judge
                                                                                       '                                      ♦
                                                                               4
                                                                                         I

                                USCA11 Case: 24-13671                Document: 13        Date Filed: 12/05/2024          Page: 581 of 723

    I
                                 Shull disamWv benelf.whereJmDartialit}uni2biJiiemanablvbe questioned Rule 2.160(D)(1) grounds
•I

                                 io.MsauuUfv is mm fears Judsk is BJaseAJELJStMmJl12,312 (8) Judse .can’t have a conflict of
                                                                         k
                                                                 t
I                                MergSlL
                                                                                             t                                     f
        u

                                 Judge Sheri Chappell must Recuse l4rsejf for an open obvious Conflict of Interest because She's doing business with
                                 US Bank and helping tfiem to make, money so that She. can make money by foreclosing and taking
        I

                                 (stealing) ^ur property while acting as the Judge on the case on our property, not on case's Merits but
                            *


                                 for to make her and them money Illegally. Here's proof: In her form 6. from Tallahassee called FULL
                                 AND ^PUBLIC DISCLOSUt^E OF FINANCIAL, form 6 for 2022 it Says on Page 4 li^e 4 that she got
                                 $250,000 witji Morgan Stanley, Exh. F. Which is U.S. Bancorp Exh.G and U.S. Bancorp is U.S. Bank Exh.
                                                                                 i



    I                            H Who has ruled,in favor of US BANK. This is a Horrible Conflict of Interest against us and there's tViore. I have
                                 found that our case was directed tP Other-Judges in this’sess Pool all with the same Conflict of interest lika Judge
                                 Valerie manno Schurr a Judge we had never met jumping into our case after Judge Zabel dismissed U.S Banks
                                 Lawsuit agairist me with Prejudice because they never had or owned the Note and then one year later Judge
• [
                                 Valerie Ma'nno Schurr got $995,000 fi^om U.S. Bank according to herForm 6 Financial Disclosure Affidavit, Exh. I.
                                                              f     *    ■
                            m    And then suddenly inserted herself into our case without ever meeting us and dismissed the case with Prejudice
                                                                                             f                                     f

            I
                                 like Judge Zabel did, Exh. K. So as to avoid the Law which says another Judge cannot change another Judges order
                                 in the same Circuit Court so she^majJe the same Order so she could change her own Order to dismiss without
                                 Prejudice and got another^$l million doljar plus $400,000 dollar money asset from GMAC which is U.S. Bank and
                                 then*she changed her own Order to Dismissed without Prejudice Exh. N. And then received a $2.4 million money
                            *
                                            i
                                 asset from Wells Fargo/Wachovia plus a $400,000 dollar money Asset from GMAC which is U.S. Bank Exh. L. The
                                 samefonflict of Interest thjt Judge Chappell has, which is why she Recused herself Exh. R, as did Vivianne Del Rio
                                 Exh. S and they, along with Judge Schlesinger violated FI. Rule 2^160 (H)-(J) and did not an^er their Motion to
                                 Recuse Exh. U' V & W within 20 days wjiich means that our Motion to Recuse is automatically granted and all of
                                 their Orders have been removed & reverted back the Original Judge Zabel's Order of Dismissal with Prejudice.
                I                                                                '       1
                                 According to her form 6 Financial Affidavit to circumvent Judge Zabel's Dismissal with Prejudice! Exh. M. I afid two
                                 other Witnesses saw Judge Zabel sign the Dismissal with Prejudice Exh. X,Y and Z and the 2007-12407-CA01 Case
                                 was dismissed Exh.Zl and Z2 in 2009 the Clerk of Courts removed the Judges dismissal with Prejudice off the
                    I
                    I   »                                                    I
                                 Docket because the Clerk of Courts have the same $ Conflicts of Interest as Judge Valerie Manno Schurr
                                                                f        ‘           ■
I i•                             according to Ns Form 6 Fuji and Public Disclosure of Financial Interest he has a money Conflict of Interest with
                                                                                             t                                     »
                                                                                                                                                        .
                                 Wells Fargo which is US Bank Exh. Z3 in the amount of $315,000 which is why the Clerk of Courts removed the
                                                                     t                           *
                                 evidence off the Docket. And then th^se wicked Lawyers Foreclose without notice to us and we went threw a 10
                                 year fight see the Docket.for the 2010-case which had no notice no assignments, no Note and no Mortgage
                                     t
                                 Correctly to^ U.S. Bank from Axiom Bank see Exh. 0. then- Maurice Symonette did a Quite Title Suit and after 10
                                 years Judge Valerie Manno Schurr shows up again and I showed her the Evil which she had done by taking money
                                 ($995)C00) From GMAC/U.*. Bank to steal our property even though we were making the parents.This is Home
                                                                                                     i
                                                                                                                               ♦
•;   P                                                                                                                                                                        «

                                                                                                                          t                                     $

     I

                                                         USCA11 Case: 24-13671
                                                           «

                                                                                            Document: 13              Date Filed: 12/05/2024
                                                                                                                              *
                                                                                                                                               Page: 582 of 723
                                                                                            ' I
                                                          Title Fraud in its utmost and when she saw she was caught from her own Form 6 Affidavit and evil Judgments she
                                                          Reclined herself especially after we paid for News paper, ^ds and Radio TV Commercials Exh. T Telling on her and
         I
                                                          knowing that we have turned her over to the FBI as Sheri Chappell must do because she has the same conflict of

                                                          Interejt So she must recuse|herself and vacate her Order. So Sheri Chappell you must Recuse YOUR SELF and not
                                                          ORDER dgainst us.                                       I
                                                                                                                                  1                        f
                                                                           J
                                                                                                                                                           t.

                                                                                                                                                                    I
             !«
                                                                                                        I
                                                                                                                      \

                                                                                                                  FACTS                        I




             I



                                                  • '■    1. On Dec. 19, 2017, Defendant Judge Valerie Schurr issued a final Judgment order E^ibit. A against Plaintiff
     |1                                             •     Pursuant to Florida Stat. 112.^131, Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
                                                                           *        •                                                                                         4


                 L                                        Plaintiff MACK. WELLS hereby files this Motion for kelief & Recusal and Supporting Wmorandum
     ■ I
                                                          regarding the Oct.. 4th. 2024 ^heri| Chappell review of the record and Final Judgement Order, Exhibit.J.
                                                          based on the following facts, new information, just terms, judicial misconduct, fraudulent grounds fed
                                                          discovered |:onflict of personal investment interests on Financial Disclosures of Judges and officers of this
                  1                                       Court CExhibits # Bf Attached- U'.S. BANK Special Situation Property Funds Account Page 42. IFRS
                                                          2018 tables 9-13. SEC Flings- U.S. BANK Florida Subsidiaries, Judge Alan Fine FinaJKiial Interests &
                                                                 I                                                                1
                      1
                                                          PropertyDisclosures).                                                                    .       i
                                                                                                        4


                                                                                                                                                                    I

                                                          Florida Rule 2.160JH) Savs A Judse may Vacate his orders for Conflict of Interest Theodore R.

                          I
                                                          Bmdi!JF. JMdee JohiLAJRMdd.Fl Rule 2,160 (D) <1) FI. Code Jud. Conduct '. Canon 3E(1) A Judse                           I




                                                          shall disauaiifv herself whise impartiality misht reasonably be questioned Rule 2.160 (D) (1) grounds
                                                                       ^                                                              «

                                                          to disauaiifv is party fears Juds» is Biased FI. Statue 112.312 rS) Judse can’t have a conflict of
                                                                                                k

                                                    m     lutere^i                      f
     I
                              I

                                                                                                                                                                              I
                                                                                                                                                                          <
                              I                                                                                           t                                     4



                                  I                                                         4                                 *
             *                        I
                                                          Judge Sheri Chappell mulst pecuse herself for an open obvious Conflict of Interest
                                                          because she's doing business with US Bank and helping them to make money so

                                          I
                                                     ' ■ that she^can make money by foreclosing and taking (stealing) our property while
                                                          actirtg as the Judge bn the case on our property, not on case's Mejjj ts but for to
                                                          make his and them money Illegally. Here's proof.                                                 X
                                              !
                                                                                                        4


                                                                                                                                                                    I
              »
                                                                                                            I
                                                                                                                      i

                                                                                                                                                       «
                                                                                                            FACTUAL BACKGROUND


                                                                                                                                      *

                                                    I.
                                                                                                    A
                                                          .   I




i               USCA11
                    I  Case: 24-13671                 Document: 13               Date Filed: 12/05/2024        Page: 583 of 723
                                                                                            I                        f
                                                                                                                      i
                                                              '4

                                                                                                                               I
        »                reasonable-person would question the judge’s impartiality.
                         Fla. Code Jud. Conduct, Canon 3E(1), Fla; Rule 2.160.(A)tH), Fla. Statute 112.312(8)and Section 455(b) he shell also
                         disqualify herselfin thefollowing circumstances.

                 14/ He knnws iluil ht\ iiidividmlh or as a lkhiciar\. or Ins spouscjn minor child residing in his
                 honsi'hold. has u financial inicrcsi^ii the snbjccl inaitcr iii c.onnowrsv or in a pprly to the
                 proceeding, or any oilier interestIhaf tonld he snhsianiiaUy affected by the outcome 0' ''them
I                proceedings'                                                      m
                                                                                                                                                k




                 (d)(4) “fnmicial inferesf” m^ns ownership ofa legal of ecjuiiahle UUerest, however small
                                                          I

                     4



            *




                         I                      .ft       CONCLUSION
                             I
                                                                        I
                                                                            ■\              1                         t
                                                                                                                      t
                     This Motion for Relief by vacating order Judgment Florida Rule 2.160 (H) and Recusal is
        I
                 based on new facts, related to a whistle blower’s information, willful blindness, fraud, misconduct,
                 and discovered evidence unknoAvn at the time of the original Complaint filing Plain|iff could not '
                 reasonably know the financial dealings with Defendants of a yet to be assigned judge before the
                 original Complaint filing As previously displayed by his Dismissal Order, due to cited improper
                 financial conflicts of interest, Jqdge Sheri Chappell was incapable of impartially and without
    I            animus against Pro-Se Plaintiff or to exercise unbiased judicial duties required for due^ process                              ft




                 justice in this case.
                                                      f




                         Judge Sheri Chappell has creditor loan history and business with Defendant U.S BANK MERS •
                 and*JPMorgan that caused preferential Quid Pro Quo treatment by her .sua sponte review and
                                 Si

            '    Final Judgment Order. Judge Sheri Chappell has significant exposed investor financial interests in
                 the siibject matter in cpiitroversy and-with Defendant U.S. BANK that will be si^stantially

                                                                                                  I
                 negativtely affected by the outcome of that proceedings whfen the Plaintiff “ultimat prevails
                 and promotes in paid for adds in the media. Because people can’t win when the Judge is on the
                                                                                                                               I
        »
                 side of the Banksters to steal property and money off their Prey!

                         Example of Judges who already recused themselves from U.S. BANK
                  HE RECUSED^HERSELF BECAUSE HE HAD A MONEY CONFLICT OF INTEREST
                  IN 131 FEDERAL JUDGES JU^T GOT FOUND GUILTY OF CONFLICTS OF
                  INTEREST GOOGLE N^W YORK TIMES ARTICLE BYADAM LIPTAC.
    i                                                                               t
                                                                                                                                                ft


                1. JUDGE DARI^ P. GAYLES Exhibit, P.
                2. THOMAS             WILLIAMS Exhibit, (^.                             #
                                                                                                                                                *




                            USCA11 Case: 24-13671              Document: 13         Date Filed: 12/05/2024           Page: 584 of 723

            ' 3. JUDGE VALERIE MANNO SCjAiRR’S RECUSAL Exhibit, R
                                                                    k
                                                           f
    I               0


                                                                                        r
                                                                   REQUIRED RELIEF
                                                               »                            «




                                     Pursuant to Fla. Code Jud. tonduct, Canon 3E(1), Fla. Rule 2.160(A)(H), Fla. Statute ^ .
                                                       4


                             112*312(8)and Federal Rules of Civil Procedure Rule 60,Plaintiff requires Relief from the June.
                             17, 2023 final judgment Order rExhibit.J. based upon the stated facts,just terms, cited misconduct.
                             Rule 60 grounds and newly discovered banking real estate fraud by court officers.
f   ,
                                     Said Reopening Relief would require the vacating of hip order and Recusal of J u|^e
                             Valerie Schutr from this and any future related U.S. BANK banking real estate cases in^his
    ♦                        District. The Dismissal Order Relief plso requires that all parties be reinstated to their prior   *
                                                                            '       I
                             positions in this action (Dismissal with Prejudice) requiring Clerk issuance ofSummons upon the'
                                                                                                                                                4

                             Defendants and allow the filing ofa Motion to dismiss the Final Judgment for cause, grounds
                             and reasons state.
                    8,
                0                                                       a
                                                                                                                 «

                                                                   6
                                                           f
                                                                                                                        e
                                                                                                                                            6

                                                                                        t


                                                               I
                                                               ’        I
                                                       I


                                 A




i                                    I

                                                                                                                            f
                                                                                                i.

                                         I
                                                                                                 1
                                                                                I


                                                                            8




                                                                            I
                                                                                    1




                    8
                                                                        I
                                                                                                                 8

                                                                    b
                                                           f
                                                                                                                                            I
                                                                                                                                        I
                                                                                        r



                                                               t

                                                                        I
                                                                                                                                    8
                                                       I



                                4



                        4




i                                    I

                                                                                I
                                                                                                 1                          f
                                                                                                                            r
                                                                            8
            1
        a
                                                                                    I

                                              USCA11 Case: 24-13671                 ' 1
                                                                                    Document: 13             Date Filed: 12/05/2024                      Page: 585 of 723
I
             1




             ■'i.
                                                            MACK WELLS                                                            r.

               r
                                                                                                                     «




     i                                                  I 15020 S, River 15%
                                                            •Miami,fla. 33167                                            1                                        f
                                                                                                                                                                  1
                 [
                                                                                                 4


                                                                                                                                                                      I
I
              I
               ■ 1'                                                                                  r
                                                                                                             I

                                                                                                                                                              *
                                                                                                                                                                                     4


                     I
                                                                                CERTIFICATE OF SERVICE                                                                                   1




                     i



                 ill
                                          I HEREBY CERTIFY that on 22nd day of Oct.,2024 a true and correct
                                        , copy of the foregoing fwas provided via this Court’s electronic filing
I
         I           1



                                          system to the attorney’s of record for amounts due and owing on »the
                                                                                                                                                                                 ♦




                                          same Mortgage that wa^ dismissed with Prejudice in former case no:
I
             • 1
                                             07-12407CA01 where U.'S. BANK could never produce the Promissory
                                             Note though they were asked by the Judge several times but never did
                                             brin^ forth, Exhibit 1. A Judge cannot change another Judge’s ORDER!
                         1
                                            ' And also on June 25, 2010, Judge Valerie Schurr Issued a Judgment
                         1

                                             order ^acting as a q^si-defense attorney for U.S. BANK his personal
                                             investment Partner’ to m^e money together. Defendant IV^CK ‘
                                             WELLS has now subsequently provided the United States Depai^ment
                                             of Justice (pOJ) on specific newly discovered whistle bloweri
a.
                                             information and records regarding millions of dollars in exposed
                             !
                                             fraudulent foreclosure claims made by the Defendants U.S. BANK,
                                             Clerks and Court officers in this action. Exhibit, O. GMAC also does
                                             not own
                                        t
                                                                                            ft

                                                                                        %
                                                                                f
         I                              •                                                                        4
                                                                                                                                                                                 »




                                                t



                                                                                    %
                                                                                    I




                                                                           I.


                                                    «

                                                                *                                                                      SJSJ!
I

                                 X
                                                                                                                                               t4«wJisi8rB66M}!2t
                                 i'l:                   I                  .i

                                                            t
                                                                                                         I

                                   t                                4
                                                                                                                                                          .       r
                                   !■
                                                                                                 4


                                                                                                                                                                      I
             m
                                                                                                     I
                                                                                                             I


                                                                                                                                                                                     J
                                                                                                                                                                                         I




                                                                                                                                                                            ft
                                                                                                                             'v
                                        4,
    I                                                                                       ft
                                                                                                                                                    '4



                                                                                f
                                     %


                                                                                                              i                              f
                           USCA11 Case: 24-13671  j
                                                                      Document: 13                Date Filed: 12/05/2024            Page:!: 586 of 723
                                                                                      4


                                                                                                                                                     I
        I

                                                                                                  1




                                                                                                                       «




    I                                           MACK WEILS .                                          t
                             4               • 15020 S. River Dr.
                                                  Miami,fla. 33167^                                       *


                                                                              I
                                                           (


I                                <
                                                                 CERTIFICATE OF SERVICE

                                              I HEREBY CERTIFY that on I2th day of Feb                            2020 a true and correct

                                 qppy of the forcgoujg was providedA ia this Court's electronic filing system to the
                                                                                                                                             t
                                                                                                              L



                                 attbmeys ofRecord                                                            i

                                                                                                                                             1

                                                                                                                                                     I
        t
                                                                                      r
                                                                                                  1
I
                                                                                                                                     I

                                                                                                                                                                      I




                      #.
                                                                              i

                                                                          k
                                                                 f
                                                                                                                                                              4

                                                                                                      t                                          $


                             4


                                                                      »                                   $


                                                                      ' I
            .1                                                                                                                                           4.
i
                                                            I


                                 4
I
                                             ■i
                       »




                                     I                      .4

                                         I
                                                                                              1
                                                                                                                  i                          f
                                                                                                                                             X
                                                                                      4


                                                                                                                                                     I
        I
                                                                                          r
                                                                                                  I

                                                                                                                                         4
                                                                                                                                                                  j




                                                                                  I

                                                                          k
                                                                  f
    i                                                                                                 t
                                                                                                                                                              4




                             «



                                                                      »                                   #




                                                                                                                                                         4

                                                            I


                                 4

                                             4'
                 i'    4
                    USCA11 Case: 24-13671                                  Document:
                                                                              t
                                                                                     13                  Date Filed: 12/05/2024                    «
                                                                                                                                                       Page: 587 of 723
                                                                            6
                                                                       f
I                                                DecwwnlPNpMBy:                                                                                                                  I


                                           . SttwP.Otfano                                                                        CFN
                                                 f^NwiTiiiit Company                                                             «»?-?«« p* 2906» (lpi>
                                                 Knvt.amostfSM.                                                     «
                                                        CHDW-04e '
                                                                                                                                    RlMt-IW8E eottmr, fujwm
                                                                                                                                                               op'cam
                                                 aiandlw.AZKZ2*                 I
                                                 ^)6«M88«
                                                                                                                                    UST MS                               Exh.A
                                                                                                                                                                             »

                                                                I


                          «

                                      %
                >




    !
                              I
                                                immLYN MUMN,JOHN SCHl«mS6R
    I
                                  I             .1228MmiHeAw
                                                cwt)deUM,assi<fe
                                                                                                   I
                                                                                                                         I                                      f
    I                                      J
                                                                                                                                                                 I
    I
    I
                                                                                    «
                                                                                                                                     ^o^SSSSMSagum
                                                                                tATIftPACTION OP II0RT9A0E                                                               I
♦
                                                KNOW ALL MEN 8V       PRESpUm                            iftoRMii       bn Syiieim. me.the mMNrano MMMr of
                                                atnRtNnii»nEaoadMNl«MsinMlby -
                                                NWELYN MOiAN.40HN SCHLSS^R
                                                                                                                                                                                         4




                                                                                            - <NMiMiae«e8Wrs5lSl^dliJSS«r^
        »
            t                                   CouRtoi        ittBiamiofm^
                                                                       f    * mwmsssyiMBfEQFKwMMCinpeiMbn taft
i                                                                               m                 duly
                                                                                                                                                  eIs 1)0

                                                                                                                                                                     t
                                                                                                                                                                                     i




                      «




•I
                                                               SEALiJi I                                            #



    I
                                                                                                                                                                             0


    I
    I
                          «


    I                                 fk
                A
    I
                                                ATTEsrr*
                                                                                                                                        (System,Inc. ^

                              I

                                                       i«n4.         mawi           cf-.           I
                                                                                                                          1                                      f
    !                                                                                                                                                            t

                                                                                                                                                                         I
    »                                           ombwvnoiMitMtt                                                marUpiK
                                                                                        I
                                                                                                         )               SoorelMy
    I


                                               STATE OP MNZONA                                                                                         I
                                                                                                                                                                                         *

                                               OWmOFlilWOOPA
                                               On07f1«Sffioi. blfmnw.ImT.

            I.
                                               to m*
                                                                                                »»Ks«ssis.'«r
                                                                                                    tM mmw In Millier«M)Bili!(d
                                                                                                                                                  Kaomo
                                                                                                                                               to m
                                                                                                                                              vandawby
                                                       fiSf                                                         ofnhiolitM                     <ii»
                                               MilnaniM.


J                                                                                                                   nutiaaneXOacMowi.
                                                                                                                                                                     I
                                                                                                                                                                                     «




                                                                                                                              mmf
                                                                                                                iimam


                                                                                                                                                                             «
    i

                          t


                                      i
                4




                              I                                 .1

                                  t
                                                                                                   I
                                                                                                                          I                                      f
                                                                                                                                                                 i
                                           Ji




    ♦                                      Book26512/Page2906                                CRKSHi80642394                                   Page 1 of 1
                                                                                                                                                                         I
                                                                                                                                                           ’


                                                                                        I
                                                                                                          1
                                         A



                        0
                                             t         •i




                                             I                                    •            i^r  I
                                                  e                                                 I                             1
            j
            !                                               j

                                                                                               t
                                                                                                                                                                CBMny*
        I                                                                                                                                            im
                                                                                               I
                                                                                                                   l                                                              Exh.B   #



            ■

                                                                                      oianOFiiioKraACffi                                                          *

                                                                                                                                                                                                       i




                    I,
                »




                                                                                                                                                *
i                                                                                                                 trails
                                                                                                                     te nM
                                                                                                                                                                              »
                                                                                                                                               IhH                                                ft

                                                                                                                             tf            kiHlft      i



                                                                                                                                  *»


                                                                                                                                  iWUSt                                                   9
                                                                                                                                                                                  0




                                         A                      ft
                                             »ftM^
                                         %R^iSSiSSSsSmi                                                                                    %
                1                            t                        .«
                                                                                                                    !>i»0Qe«a«»
                                                  I
                                                                                                                ICmaMlMCTIMC
                                                       SS%tal%«%                                                  m

                5
        I                                                                                                                                                                                     4




                i
                i
                                             IT

                    f
                    j-                                                                     t

                                                                                      ft
                                                                              f
I                                                                                                                      r
                                                                                                                                                                                                  ft




                                                                                  t

                    ]                                                       MiMift

                        i

                        \
                                         A       J0.  1 «<»«, fhfUfT
                        i


                        ‘p •
                        I                                                                          ,4taii
                            t                                                                                                                    1
i                                            I
                        \
                            \                                        ,WL*
                            \                                                                               I
                            >                                                                                                                                         }               $
                            <1
                                                                                               4



        I
                                                                                               I
                                                                                                                   1



                                                                                                                                                                                      - '■.
                         5
                        «C
                                 (
                    •            i
                . • ?
                                                  B
                                     Page: 588 of 723            933^^1^ CI?N^1:K)1
                                                                     Date Filed: 12/05/2024
                                                                              ’
                                                                                                                   Document: 13
                                                                                                                       ft*
                                                                                                                                      ft   5               ■■     Page 1 of 1
                                                                                                                                                     USCA11 Case: 24-13671
    I                                                                                                                  t                                                  t
                                                                                                                                                                                                  ft
                                                                                                                   t



        I                                                                                                                                                                                  I
                                          USCA11 Case: 24-13671                                       Document: 13 f
                                                                                                                                         Date Filed: 12/05/2024               Page: 589 of 723
                                                                                                                                          1

                                                                                                                                                                                 4ft




                                                                                                                                                                                Exh.C

                                                                                                          ft
                                                                                                 f
    J :                                                                                                                                       t
                                                                                                                                                                                                   ft




                                              «



                                                                                                      »
                                                        AS      ^KaaiENT OFMOJitoA^SE                                                      mfotmm               K.VKMM



                                                                                                                   *!?i5L<g*!ly4.W9^^                     ftacmotiH;
                                                    tuc.


                                                    of«»
/

                                                            I
                                                                                                                                    I
                                                                                                                                                            1                          f
                                                                                                                               I.AOCnttM«;-|Ol;                                        }
                                                                sasfos^^”"""
                                                                » gCOMWtorMMiiiB WUMtCOWTV                                      **0*    Of THE
                                                                                                                                                          RAT


        k                                          •faim tMgrtewkMK                       fiMfiWt»(iM ;
                    f                                                                                                   * h^vktt.
                                                                                                                   I
                                                                                                                                          1
                                                                                    fMOrmiMSM
                    I                                                                                                                                                            #
                                                                                                                                                                                                        *




            i


                                                                                    Vaa^—                                                                                *




I                       f
                                                                                                               noK.                                                                                ft


                                                  IVjwI
                                                                  !

                                                                  i                                                       'i
                                                                                                                       Nmbc

                                                                                                                                                                                               «

                                                                                          I
                                                  ttl(W*«fJ                                                                         (MfttCtaVmhftiO
                *




                                                  •«l
                                                                                                 aftlSEpeii^:
                        (
                         i
                                                  MIpeMMF. o^lawmiBiwKBljBa*
                                                                                                                                                            l«ai
                                                                                 ■ite
                                                                                                                                              •*«K
                                                                                                                                        mb Ai
                                                            k                                                                       I
                                                                                                                                                            A                          f
                                                                                              SBBBSBmii                                                                                )
                                                            mbs       J



                             i
                                                                                                                                                                                           I
        \                                          lU                     tfw.                                                  %
                                                                                                                   I
                                                                                                                          «MMa
                                                   lMitIMifilU»(ke«^PX.                                                                   I
                             I                     PJX
                             I                                                                                                                                                                          4

                                                                                 .uc>»«if(Mir
                             !   2

                                 t

                        I.
                                                                                                               I
                                                                      ‘motzm                                           oocji iumm                                        ft

                                                                                                          ft
                                                                                                - r
    J                                             *F07012148*-                                                         *M001100*
                                                                                                                                                                                                   ft




                                     i
                                     t                                                                »                                              ft


                                     k
                                                                                                      '        I
                                                                                                                                                                                               «

                                                                                          1

                                     s
                                                   «
                                     I    .

                             4-
                                BooN2e8S7^a8®3525 CFNJII200S0941( 16
                                     t.



                                                                                                                                                            Pagelofi

                                                        I                                .ft
                                                                                                 6
                                                                                     f
I                      USCA11 Case: 24-13671                                                 Document: 13                            Date Filed: 12/05/2024
                                                                                                                                       +
                                                                                                                                                                                                      Page: 590 ofExh.f
                                                                                                                                                                                                                   723
                                                                                                                    Name of Person Reporting                                                                               Date of Report
         FINANCIAL DISCLOSURE REPORT
         Page 4 of6                                                                          I                       Chappell,Sheri P.                                                                                      04/13/2023
                                                                                                      I

        VII.INVESTMENTS and TRUSTS “income, value,transactions(Includes those ofspouse and dependent children; see Guide to Judiciary Policy, Volume
        2D,Ch.3,§310 Reporting Thresholdsfor Assets; § 312 Types ofReportable Property;§315 Interests in Property;§320 Income;§325 Purchases,Sales, and Exchanges;§360 Spouses
        and Dependent Children;§365 Trusts,Estates,and Investment Funds.)

                       NONE(1^0 reportable income, resets, or transactions.)
                                    • '-.A         ■ . ;
                                    Description:of;Assets::
                                                                                                 .B
                                                                                          Tncbirie during:
                                                                                                                                     C

                                                                                                                          Grossival'ie at:endi
                                                                                                                                                            I
                                                                                                                                                                                                          D
                                                                                                                                                                                                                  t
                                                                                                                                                                                Transactions during repor|hg peri^i '-
                                   (including trust assets):                              reporting[^Hpd                  of reporting period

                                                                                                                                              '(2)1             W):               m             M              (4)            I
    \                        Place "(X)" after each asset
                                                             ■1

                                                                                    Amount                                Value          Sya!*):            Type (eg,            Date         Value            Gain

                            exempt from prior disclosure ;:t                       i Code: I           div', rent,       iCSridcai       tMethod-            buy, sell,        mm/di^yy: Cddei?^              Code 1
                                                                                     (A-H)-                orint)                            Code3         'rraethptiort):                     (J-P)
                                                                                                                                                                                                      1
                                                                                                                                             tQW)                                                                                                             j

                                                                                                                            *




         1.          Bank of America (Cash Checking) (Money                            A                  Interest          K                  T
                     Market Savings)

         2r          Vanguard Institutiofial Index Fund                                  A             Rit./Div.            K                  T                                                 ft



                                                                                     1
I        3.          Bank ofAmerita-(IRAKI)                                              A                Interest          K
                                                                                                                                               1
                                                                                                                                                                                                              T


                                                                                                                                                                                                                       $

                                                             J.
                               7

         4.          Morgan Stanley Institutional Fund Growth                            A|            Int./Div.            M                  T
                     Portfolio                                                               I

                                                                                                      1
         5.          Florida Prepaid College Fund                                                          None             J                  T                                                                                          a




                                     t
         6.          Bank of America (IRA) (2)                                           A                Interest          J                  •T



         7.          Cypress 401(K) Plan - Vanguard Wellington                           A             IntyDiv.             J                  T
                     Adm
                                                                              J.
         8.
                                              I
                                                                                                                             I
                                                                                                                                                            i                                                     f
                                                                                                                                                                                                                  1
                                                      J
         9.

                                                                                                                                                                                                                              I
    I
         10.
                                                                                                               r
                                                                                                                                         I


         11.



         12.
              a,
                                                                                                          ft
                                                                                                                                                                                                  a
         13.
                                                                                      f
1        14.
              9


                                                                                                                                                f
                                                                                                                                                                                  !
                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                      \
                                                                                                                                                                                                                                                          «




                                                                                            t
         15.                                                                                 I

                                                                                                      I
                                                                                                                                                                                                                                           I

         16.                                                                  I


                                      I


         17.




                                          1                                  A
              1 Income Gain Codes:                    ' A =$1,000 or less                            B =$r.001 $2,500                          C =$2,501-$.5,000                  D =$5.001-$15,000 V                      :E.i=$l5.()Ol:2;$50.bOp'
                (SceGolumns B1 and                     FS=$50'.OOI-$100,000                      G =$100,001 - Sl.OOO.OOf                      HI =$i.ooo.o(h-$5,000,000:       ^ H2 =Mofe than $5,000.00#
              2: :y^ue:Cc^es                          ^1^15,000 or less                          K =$15,001-$50,000                            L=$50.00i - $100,000 ^           ^i:^Mii=$iop.doi)^:$250.oon T
              ■ : (See;doIuir^ Cl and p3):                N =$250,001-$500,000                   :0:=$^0,001:4 $1,000,000                      PI =$1.000.001i-:$5.006,000 f            =$5,000',opl - $25,(X)0,000
                                                          P3 =$25,000,001 - $50,000,000 i                                                      P4=More than $50,000,000                                                       I
    1         3 iValue Method Codes:                      Q =Appraisa!                           R=Cost(Real              Onlv)                                                       f=Gash; Market
                   (See Column C2)                        U=Book Value                               YxOtijer                            JL
                                                                                                                                               W=EsUmated:
                                        Si
             *




                      USCA11 Case: 24-13671                       Document: 13       Date Filed: 12/05/2024              Page: 591 of 723
                                I                        10:1'?                                                      •.f
                                                                                                             .«!
                                    I

                                                                                          O'CZ
                                                                                                 0

                                                                                                                             f
                                                                  m                                  r.com                   t       Exh.G
    I
                                                        Cliase iSi Go;raised Ihelr price objective                                         #




                                                        on sharesof               Bancorpfrom $55.50to
        »
                                                        $58.00and gavethe company a ^neutraf                         4




I           •                                           latingln a research note on Moncl^,                                                        4

                                                                                            f
                        *


                                                        Novem(?er4th.Citigrouplowered shares
                                                                      J                                        ■^,
                                                        Of y^. Baneorp from a "mitrar rating 10                                                *




             *
                                                    a“sell" rating and tlecraa$ecltfteir pri0a
                                                  k targetforthestockfiroin $54,00 to
                                t                 1 \       •^
                                    I
                                                        W9.00 in a raseatch report bn Taes(                                  t
                                                                                                                             T




                                                 |'w^atingandl^ueda$5;
                                             j




    ♦
                                                  ; prtoberlStEJMir                  rStanl^rtestated a                                I




                                                                                                                                                       4
                                                                                                                                                           I



                                                        target (op previousfy froiri $bl0()) on
            I,
        »
                                                        shares of US. Bancorp in a research                          4




I           •                                           report oJi Monday, hioyetnber 18th.                                                        4




                                                        CreditSUfepe Qnouprestafted a "hoW"
                            I
                                                        rating and issued a $SS,0p price target on                                             *




                 fi
                                        k
                                                        shares of US‘ Bancorp in a research
                                I                       report on Tluirsday, September 12th.
                                    I                                                                                        ?
                                                        Ftnaiiy, UBS Group'lift@j their price                                \

                                                                                                                                       I
                                                        target on shares of UJ. Bancorpfrom
                                                                          '   .       1
                                                                                                                                           #




                                                    $56.QQ to           add gave the stock a                                                               I




            a.
                                                    ‘neutral’* rating in a research report on
                                                    Mondi^y, O^ber 21st Fmir invest ment '
I           •                                                                                                                                      4



                                                    analv^ts havUSUBtf U»f 111411. With a sell                                   f




                                                                  »
                                                                  I
    I                                                                                                            !      I
                                                                                                                                     1



                                                                        USCA11 Case: 24-13671                  Document: 13         Date Filed: 12/05/2024         Page: 592 of 723
                                                                                                                                                                                            I
                                                                                                                                                                            Exh.G pg.2
                                                                                                                                                                                                      I
                                                                                                                                                                                        «




                                                                                          •       • prirtciNiHn9Mm<Jf34P0^«^nl6rnot^d^
                                                                                                              )                           *
        I

                                                                                                   In addition, Ecf^nix oxn^leied a cencurmnt lender                                I




                                                                              a
                                                                                                   oflier fdr any and       ofits oatefending §.375% senkjr
            I
                                                                    »
                                                                                                                                                     3,and
                                                                                                   5.750% sanior notes due 2(^5^ which vsrem paid for ’
                                                                                  I
                                                                                                   with this proceeds from the senior notes offeHrip,
                                                                                                                                                                       f
                I


                i
                                                                                              /''■'GS^nieGhs.&bo.LLC.S^                                                )

                                                                                                  * Ci^roupOlobalMari^feirH;., J Mongan Securities                      >
                                                                                                                                                                                                V*!



                                                                                                    llGi Ban^ays eiSpital lnc,.,M6rgan Stanley
                    I

                                                                                                   LLC, Ml^G^curides Amerfeas
                    I
                                                                                                   MaH^S^ LLC, ^SC N9d(0; Seciffities America, me.,
                        I
                                                            »
                                                                ■

                                                                                                  113 Securffies («SA) llC, iSfeuisime Sehk:;^eouftties .
    1                                                           •                         ^        Jnc;,iNGfji#ida!ltfraffc^                                                                          4

                            I                                                             . ; .SecMd§es C5orp., H$BCSeairi«Bs (^^                                           ,




                                                                                                  Secuddes UlSALLO, Wells FeigaS^iifies, ILc,
                                1                                                                 pm Capttal Marfeete LLC, Scofia Capital (USA) Inc.,                               I




                                                                                                  arid y^. Bahtxjjrp Inyestmehte, fno. are aa the
                                                                    »                              dnrfentfiters involved to the off^ng.
                                                                                  t               Equira^ an Aroedcanmulfinattonal cotopany
                                                                                      I
                                                                                                  headiiujartered 111 l?edwto(M C%, Cs^^
                                                                                                                                                              >1

                                                                                                                                                                       f
                                                                                                                                                                       1
                                                                                              -   more than 0,800jt»mpanles di^
                                                                                                                                                                                I
            I
                                    I
                                                                                                  'Customers wid paitners inside the wofteTs most
                                        I
                                                                                                  Irtfercerinected          contehl, Ibiday, husinesses            I



                                                                                                  tevemg© the Equtoto frrteHjpnnedion ptettbrm in 62
                                                                                                                                                                                                          4
                                                                                                                                                                                                              i




                                            \
                                                                                                  strategto m^els acrossJie Americas, Mia-I?sc?»ie,
                                                            »
                                                                                                  Europe, the Mitjftire Esst and AMca.
    1                                                           •                                 The Cavte Poik cof|»3i«tefeam                                             $
                                                                                                                                                                                                      «




                                                                                                  ■ Alan F; Cenfntw^ (Picture) and Erpily Roheito and
                                                                          *



                                                1




                                                                                                  Paiiner^itoel D, Ktejftbero provided tax atMce
                                                    I
                                                                                          ,       8SSoc«a^j.TayforArabiani^^
                                                                    *
                                                    I


f                                                                                 I
                                                                                                  tovotv^ ieeseajjgrjg^jr^^a^
                                                        I                             I



                                                                                              J
                                                                                                                                                                       !
                                                                                                                          r
                               4



            I                USCA11 Case: 24-13671                                 Document: 13
                                                                                   I
                                                                                    t
                                                                                                                  Date Filed: 12/05/2024
                                                                                                                                    t
                                                                                                                                                                       Page: 593 of 723

                                                                      6-44                                                                           .r1   1 (




                         A

                                                          I
                                                                                                                                                                                      Exh.H

                                           I
                                                                                                   ■-.f.   /w   i >                     jn:-                     .r,
                                                                                                                  9

                                                                                                                  i
                                                                                                                                        9

                                                                                                                                                                              f
                                                                                                                                                                              )

        I                                                                                                                                                                               I

                                                                                              I
                                                                                                                      i

                                                                                                                                                                          #




                »
                    #,

                                                       -T^OSrSn^ (mm USB) Is ffte.^H^t com^rany of U*S. Banfe^
                                                       / one of the laiigsst eomrtieiteia \mm fe the Unit^ States; artd its
    I               '                                  r. atb^gg^^S-BankWealft Mart^emant anaas, Batiisorp                                                                                          I



                                                       ^>.^^tments, Ino.. the company opamies moi® than 3.000
                                                                                                                                                                                                «




                                                           feanktng Gfflcs|ard neariy 5.000 Atllte. aM
                                                       k conjpfshdnsiwe    Bob of feariWr^, fcaoJeen^; Inauranee. Inv^siient.
                                                        \ ^I^agfe, frust and paym^^ivices pm<bots to consBinars,
                                       4                 Maj8&<essa$ andJnstiyions..                                       ^
                                                   a                                                                          -x-
                     A




i                                          I                                       iw»di«te and
                                               1
                                                                   NetaDepostt • HUAmC fnaum * MaWLose Vali^ •                                                                f
                                                                                                                                                                              )

        «
                                                                                              Y-

                                                                                                                                                                                            0

                                                              Fvy».«iiiiR

                                                                   E«juaJ Hoosii?0tenser. Cteckpfwluaef^ijaBfatj t^y o;& Baaii Blaitonat
                                                                             antt fioi#,?! to                                       pejjpsftfii                   by
                »
                                                              as:
                                                                     ^Na8ontoAsetedBlfcn.Matob®rr01C; LeamMafw                                                     »



                                                              Its.                                                n«                          toef»octocto»»9rt^          •
    I               •                                     wpa*lt»tni(h<»ofaiSBmx^tovw^                                    l                                                       P
                                                                                                                                                                                                    A




                                                                   U4; eitoeoiDMiitve                                               *


                                                                                    '   I
                                                          towwtment pfoducte awtaeMces ere avraits^ trough U.S..8ancoto
                                                                   to® martwBfeto natoe for US. Bancorp tovOstotofiteJne -
                                       I
                                                          PSSAanS S®* an feweetmerit advtsar enSa btolsera®o satetoiary of 0 S
                                                   s      fiancerp ana afs^to<j^u>s,.Bank,

                                   ,       »              mi            .t

                                               t
                                                                                                            I
                                                                                                                                        t '                                   t
                                                                                                                                                                              }

                                                              /■                                                                                                                        I
        «
                                                               \



                                                                                                                                                                         to
                                                                                                                                                                                                        j
                                                                                                                                                                                                            I




                    I,
                                                                                         ft
i                        I                    .1
                    USCA11 Case: 24-13671               Document: 13            Date Filed: 12/05/2024       Page: 594 of 723
                             i
                                                                            t
                                                                                            f
                                                                                            4



                      Case l:24'fcv-230i5"SC Document 26 Entered on FLSD Ddcfet 10/04/2024 Rage>;l\of'8:i
                                                                                                                         T




        J


                                                                                                   ExhJ pg.1 ■
                                                                        r
                                                                                I



                                                                                                                                      i

                                                   UNITED STATESDISTRICT COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
            0
                                                                , MIAMIDraSION
                                                                                                         »




    I                  MACK WILLS and '
                                                                                    t                                $
                                                                                                                                  «



                       MAURICE SYMONETTB,
                                                        I                               #


                                 Plaintifi.             ' I
                                              I



                       ■m                                                       Case No.: l:24-cv-23015-SC
                                 4


                       U.aBANKN.A.ET'AL.                        '
i                        I
                             I
                                       ©iiiiliffiiis.                                       I                    f
                                                                            I                                    t

        1                                                       mmimmmmm:                                                I



                                 Before t-he Court-are twoMotions'td Dismiss. One is filed by .Judges-
                                                                                                                                      1



                       Spencer Eig and Vivianiie Del Rio (“State Defendants’'). (Doc. 4). A .second is

                       •filed by Judges Jose.E. Maltinex and Eduardo Sanchez as well as Mary Ann
    I       m

                       Casale,. ‘and AUSA Jonathan Bailyn (“federal Defendants”).                              -(Doc^ -flv.       «




                       Defendant U.S, Bank. ^.Aj (Doc. 10) and Defendant Juan Femandoz-Barquin
                                                                                                                              i


                       ^Doc. 19) join both Motions. Plaintiffs, proceeding pro se, have failed to I’espond
                *
                       to eitlier Motion timely,

                         » Plaintiffs’- Gchuplaint consists of mostly jumbled ramblings, so-it.^ hart
                        to pinpoint exactly what they are alleging oecuiTed. But from what till Court
        I
                       can gather, this action is just another in a string of frivolous eases broughlJiy ;

                       Plaintiffs, la short,’Plaintiffs wi8h,fo void a foreclosure sale of real propetty-

                        that took place almost a year ago. Plaintiffs first tried and failed at the stati,:
                                                            b
                                                    f
    I                                                                               t
                                                                                                                                  I




                                                        f

                                                                    I
                                              I
                                                                                                                                                    I




                           USCA11 Case: 24-13671                  Document: 13       Date Filed: 12/05/2024    Page: 595 of 723
    • I                                                                                             «

                                      1
                  »



                             Case a:24-cv-23015-SC              IJocupent 26 Entered on FLSD Cfocfcei IQKkiiOM ^.l^age 2 of8
1                 •                                                                                                                         «

                                                                                           t
                                                                                                           Exh.J'pg.2
                              court to accomplish this gdal. When that failed, they concocted a narrative

                              ahoht how the state courtjudiciary and various other parties are in the pockdti
                                           k
                      *

                              of U,S Bank,and that all those involved conspired to take Plaintiffs' proi>er|y,

                              Given this purported conspiracy. Plaintiffs brought an action in federai|Court '
                              against U.S. Bank and its “iJO'Conspirators'' in another attempt to void the
    I                                               ,                                                         .                 I

                              foreclosure. See Weils et al u.'. KS.Bank,HI.A. eLaL, 1:2S-cv<22640-JEM, Th#;
                                                                                                                                                4

                              have been pnsuccessful to date.^ However, Plaintiffs are not ones to give np>

                  »
                              In their'view, the adverse |uMngs by U.S. District Judge Jose Mart!nez^al^i

I !                   »       U.S. Ma^trate JudgI Eduardo Sanchez meant only one thing: theso Judgde;
                             ‘ must also fee part-of th^ consphacy. So they ryaw bring this case^ seeking to
                                               ^ ri,,.,-          ' I
                              void the fbrecltwure alleginf fraud and conspiracy involving, among otherli;                          i




                                                                                                                    '
                              U.S.!^nk,two federal judges, two state judges,-a court reporter, the Miamj-
                      *




                              Dade County Clerk of Court, and an Assistant United States Attorney.
          I
                                      I
                                          'This is'hbt a unique'case for Plaintififois Tblffii!contra]^j?ii#>are'                       I
                                               a

                                                                        4



    I I                       filers of frivolous lawsuits, and their modus operandt appears to be actions •
                                                                        I

                                                                                     .1:
                                                                   4                                              U,Amm


                              i
                      t.
                                Ihis ease fe sfall open, but it i*? stayed. Before the stay, the court denied PlaintiftV
                              •Emergency Motion to Void Forecrostire 8afe in Violation forSanctions Against,U.S. Bank-for
                              Violating Federal Stay an^ Willful Contempt in Violation of2S U.S. Code 8S 144(>(d) and,to
I                             Void Sale Because of Fprgery and Fraiud, Emergency Motion for to Void Sale for Violation of
                              Notice erf Removal Stay Using Forgery and Fraud,aild Emergency Motion for to Void Sale for
                             ‘ Violation of^tipe of Remov|il Stay Using Forgery and,|Vaiad. See Wells et al. v. U.S. Bailli,
                              N.A. et al.. l;2a-cv.22640-IEM,               55.65,

                              - Plaintiffs originallyfiled in state court, but the Federal Defendants removed it here tinder,
                              28 U.S.C.it 144|Ca)Cl)aitd <S>,
                       4



              I


4                                 I                        .1

                                      I
                                                                                 I
                                                                                               t-


                                                                                                I                   f
                                                                                                                     }
                                               .1

                                                                        4


                                                                                                                                I
     I
                                                         w                                        9
                                                         t




                USCA11 Case: 24-13671                    Document: 13                Date Filed: 12/05/2024                      Page: 596 of 723      i




                Case*l:24-CA/-23015-SC Document26 Entered on.FLSD Docket 10/04/2024 Page 3 of8
            »




                        I                       .1
                                                                                                                                Exh.J pg.3
                 Loan ‘Services, LLC, l;12-ov*21980.iVIjGC, Doc. 39 (S.D. Fla. Awg. 1,^012)
                 (dismissing case involving foreclosure proceeding for repeated failure to compl;^
                                                                         I
                                                                                     I
                 with court orders); Syimmetteef al v. Boss Grp. Mmistries, l:13-cv-i                                                •• 99
                                                                                                                                                                   4
                                                                                                                                                                       I




                 Doc. 4(S.D. ila. Aug. 26, 2013)(dismissing plaintiffs' shotgun pleading that

                 ‘‘seems to entail the same transaction (foreclosure) at issue in an eaiiier-filed
1 .                                     .        ^ ^ “ •                         ^
                 suit dismissed by this Court”): Wells et al v. Am,Horn Mortg. Services, Iim, ek
                                                                                                                        '            .
                                    •       •                                        . . .. ..   .. .         . -


                                                         I
                 al l:13-cv-23240-WJZ (S.D.jFla. Nov. 20. 2013)(recommending dismissal of

                 plaintiffs’ attempt to irrevent foreclosure of property on FoHrr^cr'rabMentloii

                 grounds): Symonettc ef al v. JF Morgan 'Chase Bank, 0:13-cv-6155.4-JlC, Doc.
                                                                                                                                                           I
                 47 (fe.D. 51a. Jan. ife, 2014) (dismissing '.case;: involving *‘a lengthy au^ off- ■
                            »
                                                                             I
                                                                                                          ‘         „       ,                !,
                 delayed foreclosure preceedin^ on shotgun pleading grounds); Symonette et
    »
                 V. JP Morgan ChcmcBank,0:13-cv-60834-BNS, Docs. 5.8(S.D. Fla. February
                                                                                                                                 I     «

                 21,2014)(dismissing complaint seeking to halt an ongoing foreclosure process

                 in state.court imder the Youugcr abstention and Booker-Feldman doctrines);
                                                .„   f                                   . .            ...             ..
i       •        Symonette.et al v. ^4,W'ora Loan Services, LLC, l:13-cv-24142-PCH, Doc. 25'
                                                             ■                             f                                                  t'
                                                                                                                                                               «




                 (^,D,.FIa. July,1,,2Q14)(d^inissing case soeMiig to attack foreclosure Judgment
                .and observing “Plaintiffs’ history of abusive litigation tactics'” and “appareiit                                                     a




                    *           ■

            , . lack of validity to any of Plaintiffs’ claims”); Symonette et al v. Littlejohn, 1:13-.

                 cv-2g220-MGC,Doc.|g2 CS.D. Fla. Sept. 30, 2014)(dismissing claims “r^ateid
                 to a state pouit foreclosure judgment’^ under the Rooker-Feldman docMne);
                                                                         4


                                                                                                                                                   I
    I
                 Symonette et al v. IndyMac Bank ct ah, l:18-ev*23615-CMA. Doc.0(S.D. Fla.
                                                                                     I


                                                                                                                                 <

                                                                                                                                                                   I




        »
                                                                     I

                                                                 k
                                                     f
1
                                             i
                                                                                       I
                                                                                                     i                             I
                                                                                                                                   !
                              USCA11 Case: 24-13671                    Document: 13        Date Filed: 12/05/2024              Page: 597 of 723
                                                                                                                                           I
        in
                                                                                                                                                     I
                                    Case 1:24-'CV'23015-'SC Dc^um^nt26 Enterei on FLSD Docket 10/04/2024 Page4:G|i; ,                                I




                                                                                                                                                                  *




                                                                                                                         Exh.J pg.4
                                                                                                                                                     ¥

                  »
                      <
                                 . Sept. 28,2018)(dismissingfqiiiBtessential sbotgnii pleading'* that was “replete:
                                                                                                                           t
                                                                                                                                                      I
                                         ^                        f        ‘                                                                          i



    i                                with conclusoiy and vague facts’* and “a rambling incoherent groiftiing of
                                                                                                r
                                                                                                                                                     I        «


                                                                                                                                                     'i\
                                                                                                                                                     II

                                     claims against a state cpurtjudge,state com-t clerk of court, and several haiiks;
                                                                       ' ^
                                     and financial institutions, regarding the foreclosure of Plaintiffs’ property”);;                         *




                                     i

                                                                                                                                                     I*I
                          *
                                                                                                                                                     i
                                                                                                                                                     2




i
                                     July 2. 2024)(reje^Ping plaintiffs’ attempts to void the foreclosure sale); WelM                                 .




                                                                                                                                                      1
            I

                                     ef, bl a U.S, Bank, KA.;1:24-cv42532-RAR, Bdc.6(S.D. Fla. July 8,^024);
                                                                                                                                                     I
        i                            idllmissing complaint that allbges conspiracy involving the Governor and tke:i
            i
                                     Miami-Dade County Clerk'pf ’Court on shotgun pleading grounds an^ lack,:0|:                                          1


                                                                                                                                                     ,1 - '
            S|                       jurisdiction).-^ Given Plaintiffs’ extensive litigation history, one would expect'
                                                                                                            «

                      I,


                                     they are now weU-ver.sad in the pleading standard.?.‘ Not so.                         I



                                                                   f       ‘
i:                                                 Although thfe Alotions to Dismiss raiqe multiple bases for dismissal,/'tlip
                                                                                                                                  a


                                                                                                                                                     Vi
                                                                                                                                                              4




                                     Court focuses on one: s           fiotpm pleading. Togotlier, Rules 8 and IfJ lay out the
                                                                                                                                                     i

                                     rainimum pleading requirements. A complaint must have -a shdi!t and plaih                                       I
                                                                                                                                                     11



                          *          stateftient of the claim showing tliat the pleader is entitled to relief.*' Fed,..R,;
            i
            m
                                     div. P. 8(a)(2). AiM each’“party must-state its claims or defenses in n
                                                                                                                                                     i
                                                                                                                                                     i
                                     paragraphs,each limited as far as practicable to a single set ofcircumst^neesv’
                                                                                   t


                                                                                                                                           I
                                     Fed. R. Civ. P, lOib). Violations of these rules sometimisfUfdat
                                                                                                   o eonfusiiig
                                                                                            I



                                                                                                                                                                  4




                                                                                                                                                     I


            ill                                                                i
                                                                                                                                                      ¥
                                     ^ To/State'A0-^iDb\'iotis,.^.fcMs list does not delve into the various sttit-e*coiirt ckses Flaintffla;          Pi
                                     have tiled over the years/                                                                   •                . f
    i                                                                                           t                                                        y
                                                                                                                                                              4




                                t



                                                                       »
                                                                       ’       i
                                                 mmi                                                                                                  I
                                     i



                          *
                                                                                         I
                                                                                                                                                  *


                          USCA11 Case: 24-13671 r Document: 13                    b
                                                                                                                         Date Filed: 12/05/2024       Page: 598 of 723
     i                                                                                                                       t
                                                                                                                                                                                    t




                            pase l:24’-'cv-23015-SC Document 26 Entered on ELS,Ofloclce|;::|O|04/2Q24 Page-5 of8
                                                                             »f                                                      *




                                                               t
                                                                                                                                                  Exh.J pg.8                   i




                             ttomplaints, known as “shotgun pleadings.                                                       :??-•
                                                                                                                                             m    BMjch Cnt^i


■i                                I
                                          Tlie Eleventb'Circuit hasidentMed four categories ofshotgun pleafinfsi                                                               r
                                      I
                                                                                                                                                                               I5
                                           /               ,             "'7',..                            r                                             ' » .'               I
                             (l) a complaint ‘'containing* multiple counts where each count adopts rile
                                                                                                                                                                       I
         I

                             allegations of all preceding'coimts’'; (2)'a complaint that is ‘'replPte with                                                                     I

                                                                                                                                                                                        4
                                                                                                                                                                                            I


                             ■ conclhsory, vague, and immaterial' facts not obviously- connected to ahy

                             ^ipariioular cause of action”: <3) a complaint that doe^ not separate each cause                                     4



                                                 ... ...           ...   f    . . .t ,               . -■       ......
     I                       of action, or claim for relief into a different count: and (4) a pleadinl wM#
                                                                                                                             t                                     >
                                                                                                                                                                                    4




                                                                                      1                                                                                        I
                                                                                                                                                                               II
                             of the defendants ftre responsible for which aets.or omissions, or which of the-                                                              4




                              A                                                                                                                                                I
                             defoncknte the claim is- brought against/'' M at 1321-23; Ultimately, the:;-
                                                                                                                                                      «




                             co^nmon theme of ^11 shotgun .pleadings is that “they fail in one degree or '
                             smibther, and in dnily^;di^'in®mr/# pwthe^difeilanMi^e^at^
                                                                                             4



         1                   the claims against them and the grounds upon which each claim rests/' Id. ah'
                                                                                                                         I

                              1323. Such is the case here.
                                                                                                                                                                                        4




                                          The Complaint is made up of incoherent, ambiguous, andipnprgankef ,
                 I,
             »


                             ramblings about how vai*\ous state and federal officials are being paid-.off-by
     I                       U,S. Bank (and several other banks that ai»e not party to the case) simply tbc
                                                                                                                                                           a
                                                                                                                                                                                    *




                                                   ,1       ^              *              ,
                             depri-ve Plaintiffs of thefr pjwperly. At other points. Plaintiffs go on unliingel,,
                                                                                                                                                                           *



                             tpiigents about unrelated matters, such as that Plaintiff Symonette is' a prince

                      '      because his grandfather was the first Black Prime Minister of,the Bahamas;
f                                 I                            .1

                                      I
                                                                                                                   4                     i                     t
                                                                                                                                                               !
                                            4

                                                                                             4


                                                                                                                                                                       I

                                                                                                 r
                                                                                                                         I


                                                                                                                                                      I
                         I



                 >
                     USCA11 Case:
                             k    24-13671             Document: 13          Date Filed: 12/05/2024              Page: 599 of 723

                       Ca^e l:24-cv-23015-S9 Document 26 Entered on FDSD;DQcke|;JtQ|u4/2024^^^ Page 6'<5i#i                                     I

                             I                                                       t                                  f
                                       j

                                                                    t
                                                                                                        Exh.J pg.6 i
        I               that they- have conducted fundraisers for Republican politicians on their fours'                                        >1



                                                                                                                                                i
                                                                                                                                                I;

                        story, eighty4oot yacht;'that some Defendants are plotting to kill th«m; and
                                                                                                                                                li


                         that Wachovia Bank is a “slave master of black people” (Doc. l-o at 30, 31,                                            I
                I.



                         34), The Complaint^ is jiot broken into separate paragraphs hiid largely;                                              I
                                                                                                                                                I
i                                                                                                                                                ■J

                        consists.of run*on sentences. And while thefe are buzzwords throughout, slicte
                                                 »                       *
                         as “conspiracy'’ and “frahdjthere is no actual cause of action or claim assertell                                      I
                                                                                                                                        «




                         tgainst any Defeiiilant. But simply,there is no way that the Defendants could,                                         j;

                 >
                        he expected to fbrniulate a response to such miimbo jumbo. See B^kwUh v,.                                               11



                         AlisQuth':TekcmAh.UHicatim»                    146'F. App'x 368, 371 (11th Cir.^CI.OS)' •                                  I




                                                                                                       the.^‘defendaitt'
                                                                                                                                    I
        I
                        to frame a responsive pleading constitute^ a ‘shotgun pleading."’),
                                 ...                                                            .. .     -          ^
                                                                                                                                                            *

                                 -..No.doubt Plaintiffs’ Complaint.is.a,shotgun pleading. But the question

                I,      remains, whether Ihd iimirt should grant.them leavef’IdtihiOiid.. .Dn the obO'
            t
                                                                                                             «




                         hand, courts bold thd pleadings of pro se litigants, like Plaintiffs; ta a lessi
    J           m

                                                                               t                                            t
                                                                                                                                                II      «




                       • stiingent Standard th£^ pleadings drafted by attorneys. Tannenbaum u.                                                  I

                                              ...'...,..,...,1,...
                        (Jmted,Staie8f 148F.3d 1262,1268(11th Cir. 1998), And.courte normally grant;
                                              0



                                                                                                                                                il
                        feave to amend when there is a chance the pro se litigant can allege a plausible-                                       B


                                                                                                                                                y

                         claim for relief. -See Bell v. Fla. Highway Patrol, 325 F. App’x 768; 760 (11th                        ;




i
                                                                                                                                                 I
                         Cir» 2009). But this leniency has its limits. For imstance,“where a liligafit has
                                       ,1
                                                                                                                                            ■   I
                         a history of bringing vexatious, or unmeritorious litigation, a, court may
                                                                                                  |
        I
                                                                                                                                                ¥
                         consider that history in.assessing whether a claim,should be disajissed and;
                                                                                                                                                            4

                                                                                                                                                i



                                                                         i                «

                I.
                                                                I
                                                                                                             I



                                                  -a,-.. - -‘
    I                                                                           t                                           t
                                                                                                                                                        4




                                                        »
         »


             USCA11 Case: 24-13671                Document: 13                    Date Filed: 12/05/2024        Page: 600 of 723
                     I                   .1
               Case l:24-cv-23015-SC          Document 26 Entereff on PLSD Docket 10/04/2024                                7 of B
                                                                                                                                              y

                                                                                                                        t

    I
                                                                                                           Exh.J P9.7                        I


                                                                                                                                             >1
                leave to amend sliotilcl be giranted/’ Clervram v. Lee, No. 6:21-MC-108-W\TO-
                                                                                                                •   ^
                                                                                                                                              i
                LRH;- 2022 WL 2306847- at ^*^3 (M.D. Fla, Jan. 19, 2022), report and

        I,
                recommendation adopted sttk nom. 2022 WL 23067^5 *(Mar. 29. 2022} (citing
                                                                                                            t




»       m
                Miller u. Donald,541 F.Bd 1091, 1101 (lltli Cir, 2008)). Such is the case hefhi                                          «
                                                                                                                                                      4




                             As discussed earner, plaintiffs are no strangers to federal court dr

                litigation. In fact, they file practically the same case repeatecUy—^to void a                                       «




                 4
                                                                                                                                              i
                state f(^reclosure action based on fraud and conspiracy. Tlieir cases ftaye been

                frequently dismissed on shotgun pleading grounds. Tliis one is no different.
               'Given Plaintiffs’ borderliiie vexatioite-litigatioii history and their ■rec^ring                                               1
                                                                      «                                                                           I

    \           inability ta craft a coherent pleading. Plaintiffs* claims are dismissed with'
                                                                  .               1                                                           H
                prejudice.         Cy. Smith Ik DeSmitis, No. 4:22-CV'176*-AW-MAF,. 2022 Wa
                                                                                                                                                          4




                2806549, at *4 (N.D. Fla. June 9. 2022). report and recommendation a                                                          j:
        i,


                as modified, 2022 WL 2803654 (July 18, 2022); Emrii v. Universal'Music Grp:.;^
        9
                                                                                                                                                      4


                No. 8:19-CY-2562~T'-33SPF, 2020 WL 4751446. at *7 (M.D. Fla. Aug. 17,2a20),:
                affd, 833 F. App’x 333 (11% Cir. 2021).
                                                                                                                                     4

                                                                                                                                             .11
                 4
                                   lingly.’itis now
                                                                                                                                              d
         A
                             ORDERED:                     •                   •       '
                                                                                                                                              I
                     (
                         I
                             1. Defendants Jiulge Spencer Eig and Judge Viviahne Del^t                                                        %

                                                                                                                        !
                               -   Motion to Dismiss (Doc. 4) is GRANTED.
    «
                                                                          I
                                                                                  1
                                                                                                                                              n

                                                                                                                                              i               I




                                                                                                                                               1


        4.                                                                                                                                    f
                                                                  I
                                                                                                            4                                 I
                                                      k
                                              f                                                                                               I
I
                                                  f

                                                              I
                                                                                I
                                                                                            I


                         USCA11 Case: 24-13671                      Document: 13            Date Filed: 12/05/2024         Page: 601 of 723
                                                                                                                              4




                 I

             »


                            Case l:24-cv-23015"SC Document 26 Entered on FLSD Ejocket 10/04/2024 Page^%#;|;-
I                                                                                                t
                                                                                                                      Exh.J pg.9
                                              it     Defemitoilg fipigi! Itai                                Iftdge   cio Saiiehez,

                             A
                                                     Maiy'Aeh Casale* arid AUSA Jonathan Bailyn’s Motion to Dismis'®--

                                                     .(Doc,I)isGBANTED.                 ■
                                 I
                                     I
                                              it Plainrtffe’                                             1
                                                                                                                      |
                                                                                                                              .   }
                                              it     The Ctel-is: DIRECTID to 'deny all pending tootiohs m modi;^
                                                                                                                                          I
    «
                                                     itoifiSihile,la|'ddadlihd8i.,aMa[^ildii::fcheya^^
                                             ■, DONE and OBDERED in Miami, Florida on October 4, 20i4«                                                    *




             »
                                                                            I

                                                                        *
                                                                f
l i: •                                                                                           ^^ItgOSTAtSSDISfRICTaUOei            ,           I
                                                                                                                                                      «




                             Copies: All Paj'ties of,Record                                          *




                                                                                                                                              4

                                                           I


                             A




                                 I                         .1

                                     I
                                                                                    i
                                                                                                         I                        f
                                                                                                                                  )
         ;                                      ,1




                                                                                                                                          I
    to:
                                                                                I
                                                                                             I


                                                                                                                                                          4




                                                                                                               *



             t
                                                                                                                       «


                                                                        k
                                                                f
J                9


                                                                                                 t                                    $
                                                                                                                                                  «
                                                                                                                                                      I




                                                                    I
                                                                    I



                                                                                                                                              *

        |:                                                 1


                             A



                     *




                                 I                         .1

                                         I                                                               (                        f
                                                                                                                                  \
p
                                                                                                                                                                             <
                                                                                                    t

                  USCA11 Case: 24-13671                         Document:
                                                                »
                                                                          13                    Date Filed: 12/05/2024
                                                                                                           *
                                                                                                                                            Page: 602 of 723
                                                                I




    ■ Av                                               I
                                                                                        I




                      4
                                                                                                                                                                         <

              >



                                                                                                miHE CIRCUIT COURT CFTHE
                          I                           .1                                        11“ JUmOAL^Orn’IN/iND
                              I
                                                                                            I
                                                                                                K}RDA]>jSCCHJNTY,FLOiim f
                                                                                                                                                         1
                                                                            4
                                                                                                        AL JORIgD!CIl(»r DI/BSOH
    j                                                                                                                      CA                                    I
                                                                                                           CA^N0;2Qe7-l2407<i
                                                                                f
                                                                                                I

                          USBflDR^                                                              Airill^lO

                          Vs.
         »                                                              I
                          Imf                                                                                                           *

                                                                    6
                                                            f
I            9
                                                            /
                                                                                                    r'..                                                     f
                                                                                                                                                                             «
                                                                                                                                                                                 I




                                       MM           L1BD®SM|SAL WnHFREnilMCB s ^
                                                                f       .




                                                                GtedEfiadaiitsBictetodisinksfiH-ladtofpra^tiiHi '                                                    «




                      iW»aen^mApr3tW S;a>*eir«asi»iecoidiKtiv^&rfliey8tri«m^^fc^
              4




                                             •' -
                                                                                                                          ^. «




                          ppy^C«JBRBDtlcl-rtl«^tfMamld.fe««l».Radfcafe3ia,,h.rf f'                                                                      !
                                                                            4
                                                                                                                                   1
    ♦                                                                                                                                                            I

                                            /irettfiiiR                 ante PUS;
                                                                                                                   aJURTilfflGE


             8.
                                                                        I
                                                                                                                                        *       ^



                                                            f
i” "                                                                                                t                                                        f
                                                                                                                                                                             <
                                                                                                                                                                                 «




        OC-filipadi^)i
                                                            ' iSflSff^’^'ooMWYOFCwei:
                      I
                                                       I                ip«T.Srfe|lT.!K.“
                                                                        mm’mm.mn,
                                                                                          ■;,                      snd           C I;!rt8           ,T


                                  4i                                                                                               Ti
              A




                          I                            .1

                              «
                                                                                            I
                                                                                                               i                                         t
                                       ji
                                                                                                                                                         !
                                                                            «



    I


!»«'ni4i93cPNa)ioaiOTit»o«»a)ioij347:ir>B lofi                                                  I


                                                                                                                         \fL                I
                                                                                                                                                    4


                                                                                    Nv
                                                                                    V




             #.
                                                                                                                                         I

                *


                        1. jo I,24-13671
                USCA11 Case:     seed                            Document: 13 Date Filed:l(6Zp6Bd/^tS225|ooa
                                                                     6989290«)0a?NdO       12/05/2024 Page: 603 of 723
                                                                                                                           I
                           i                                                               ;
        »




                                            •f
                                                                                                                               ;
                                                                                                                                                                                                                         (
                                                                                                                                                                                                         «

                                                                                                                      «
                                                                 *                                                                                                                                           I




    »
                                     *
                                                                                                                                                                                                             I

                                                                                                I                 1




                                                                                                                                                         <>
                                                                                                                                                                                                                             I

                                                                                                                                                                  I*                                             I

                                 i   ■                                                                I
                                                                            I                                                                                                   I


                               l                                                                              usMM^w/oaiaMmw
                                                                                                                          riTd                                            m         »                                                    f
                                                                                                                                                                                                                 I

                                               !*<*•»
                                                                                  m                                            80Sl-CO»«!fligu8!tii«iiioa^                                      »

                                                                                ■.V
                                                   iiKStMoiiNaAais                                                                                                                      f
                                                                                                                                              c
                $                                                                                             'tt0lLVU0<li»3 39V9i^N NtfilVHNVDl 3StfH3
                                                                                      ^(V^poeiasn^ntKiKiDpniii
                                                                                           |auoj|fl|(Haiie);i»ntinil
                                                                                       «                       ‘NOII IVlffldHIV 3SV!UliON WiiVHSim 38«H3

            I

                                                                                                                                                    “JWSMZOao
                                                                                                                                                                                                                                     I
                                                                                                                                                    tflMIMM <A AltaMM
                                                                                                                                 ;
                                                                                                                                                                  »9«B|S
                                               *
                                                                                                                                                                                                         «

                                                                                                                                                                                                    '$




    r

                                     *
                                           I


                                                                           UoWVCQXJJp
                                                                                                      (IOUVHO(»Od                    lVtiN3(II83ll IVmfiHa V/V3
                                                                                                              N0liyil0da0339tf9ii«m NWVHNm 3$«iO                                                                     ^ I
                                                                                                                                                  unasiizo^va
                                                           •iMffl»lWW»KB*|9Wqis|n«#j«aqi«ftM«l|UM9Bli)iiB8yi)aj«{»rtllW
                                                        o}(Hn
                                                                            I                         '                                                                                                              I
                                I                                                                            MtWHIWPt
                                                                                                                                      KlftG/^OiltRliiaVjniWMUWI
                                                                                                                                                                       {•«II0
                                                                                                                                                                                    ^
                                                                                                                                                                                    »                                                    f
                                                                                                                                                  OilS»MSUK»:ai»l
                                                                                m •fcd MZ9691 iSMi » ESZKMS#                         ©-iwiiy'*a»9
                                                                                                                               1I33II831H3S NK<r                                                t




                                                                                                                                                                                        f


                f                                                    P« P!«l Zjim Ii8#q SCI) Man            x!r<                                                                                                         I



                                                                                                                           I                                                                «




            I              t                                                                i                                                                                                                            I
        »




                                               «
                                                                                                                                 J
                                                                                                                                                                                                                                     t
                                                                                                                                 £2881)089 Mi 'my >UKie ugird                                            «
                                                                                                                      «
                                                                                                                                                   tog                                              ’•

                                                                                                                           :iuiiijnai(jui(ais3iKiaii                                                                         I •

I
    »
                    /^7
                                     *


                               8flUaid <£ll(ltS}                                                I                 I
                                         Mims 'Hl/tftB A3ASVH
                              ettr mc/9t/i» oimssi
                     I   ■    <MUST«5*d«fiCE                                                                                                                                                                                     I
                           Ass^s^oa-yooe NdlO                                                                     *




                               i|iiiiiiiiiiiiiiiiiiiiiijiiii{iini ,                                   I
                                                                                                                                                              I
                                                                                                                                                                  r




                                                                                                                                                                                I



                                                                                                                                        f “                                         I                                                    t
                                                                                                                                                                                                                             I
                                    USCA11 Case: 24-13671                              Document: 13             Date Filed: 12/05/2024           Page: 604 of 723
                            »                                         6:46                     t
                                                                                                                                •I
                                                                                           6



I                           •                                                                                                                                            I




                                      4
                                                                 Quora                                                                                   I
                                                                                                                                                                     I




                                                                                       ' I
        I                                                            Are JP Morgan and Chase the
                                          *


                                                      «              same?

i                                             I                           .1

                                                                                                                                                     f
                                                                                                                          L-

                                                  I                                                                        i
                                                                                                            I
                                                                                                                                                     )
                                                                     What are some simple steps I can take to                                                I
    «                                                            »                                                                           *



            I
                                                                     protect my privacy onlinp?
                                                                     Many people believe that they can't do anything to'                                                     *




    , i
                                                                     protect their privacy online, but that's not true.
                                                                     There actually ere simple...                                            4


                                                                                   f       k



    J! •                                                                       a
                                                                                                                                                                         «


                                                                                                       Continue Relding                  V
                                                                                                                                                         t




                                                                                       >                             *


                                                                                       ' I
                                                                                                                                                                 i

                                                                           I


                                          «
                                                                 1 Answer
                                »




*
                I
                I                             I                           .Can Mahoney, Executive Director at
                                                                               JPMorgan Chase {IMI-prfesent)                                         f
                                                           j
                                                                                                                                                     !
                                                                                                   a

                I
                                                                                                                                                             I
    \ \

                                                                 The basic ariswer is yes. JPMorgan Chase is one                                                 #




                                                                 big company. Different names are used for branding
                                                                 purposes. The JP Morgan name is used for higher
                    I
                            »                                    end LOB and products like investment banking, the.
i                           *                                    largest corporate relationships and private banking                                                     «



        •           I
                                                           . for the wealthy. Chase is used ’for lower end                                               $




                                                                 products re^il branch banking, business banking
                                                                 (less than $20M in sales) and commercial banking                                                4




                                          I                      (annual sales less than $500M).
                                                      Si
                                A




                                              I                           .1

                        I
                                                  I                                                                      .i:                         f
                        I                                                                                                                          : f
                                                           j'.



    I
                                                                t




                          USCA11 Case: 24-13671    a
                                                           :■   Document: 13                            Date Filed: 12/05/2024                                               Page: 605 of 723
                                                                                                                                                                                            t



                                                                                                    :                                                                    "
                                                                                                                                                       ;
                              I                                                          :
                                                                                                                                         •   •-
                                              ;•

                                                                                ■:
                                                                                                                 ■;
                      *
                                                                                                                         •■ :




                                                                    Quora                                                       Pt’! 1   ■A-HP        Slsn In
i                                 I
                                      t



                                                                                                                                                                                  t



                                                                                                                         :
                                                                                                                                                                V,
                                                                                                                                                                         r


                                                                                                                  ■ :.




                                                                         Ad by DuckDucWSc
                                                                     What are some sknpte st^s I eant^eto
                                                                     pritept my privacy onitoa?
    I                                                                    ^ny people believe that they can't do anything to                                                                          «
                                                                    .protect their privacy onlipe, but that's not true.                                                                 t
                                                                                                                                                                                                t




                                                                     There actually are simple...
                                                                I
                                                                t    .



                                                                                                  Continue Reading                                          >                               e
                                                                                                                                                                     i


                              A


                                          k
                  fi
                                                                     3Aii0V!)ers

                                  I                                 • Shreyans Mafani, studied at London
                                                                                 School o|f Economics and Political                                                              i
                                                                                 Science                                                                                          I ■
                                                                            *   .^ngworad Jui 7, 2aiS
        I
                                                                    JPMdrgan Chase & Co. is the parent holding
                                                                    • company of ChaseiCommericel eank) and
                                                                      JPMorganOnvestment Sank).

                                                                    John Pierpont Morgan (J.P. Morgan) founded J,P.
              »                                                     Mo^n a Co., which is the predecessor to Moigan
                                                                    Stanley and JPMorgan Chase.
    J             •                                                 As a result of die Glass-Stegall Act of 1933, J.P.                                                                              4


                                                                    Morgan & Co. was bntton’up, it spun off its
                                                                                                                                                                                                I
                                                                                                                                                                                        A



                                                                I hvestment banking activities into Morgan Stanley.
                                                                 ' I
                                                                  J.P. Morgen & Co. cortthiued to operate as s                                                                              *



                                                                  commercial bank. Howevw, in the 1990's it started
                                                                , to rebuild its investment banking operations. In
                                          k
                  fi
                                                                    3CKJO. iT                     v»SM-i tte o.tHM-                               p;n'ik,

                                  I                                                  •       A^ti^l^adlng-.;
                                      i
                                                                                              I
                                                                                                                                I                                                t
                                                                                                                                                                                  !
                                                                    RELAfeD QUESTIONS (MORE ANSWERS BELOW)
        « ;
                                                                    What Is the history of UP Morgan Chase as
                                                                    a merchant bank?
                                                                                                                                                                                                        4


                                                                    533 Views




    i             •
                                                       f
                                                                                                   0©e
                                                                                                         I   n .3.0 D



                                                                                                                                                                                                    «
                                                                         I                                                                                1                                    z
        I
                                                                                                                                                                                               !
                                                             USCA11 Case: 24-13671                         Document: 13                  Date Filed: 12/05/2024                       Page: 606 of 723
        I
                                                                                                                        I
                                                                                  EtocunmtRnptretf^
                                                                                                                                                                 CI^ gpo8go*+a35»4.
                                                                                  RMonTiuitCampwy
                                                                                  ^w.ctundhrfitvd.                                                                  KCO^ 0g/0&^^*14tni40
                                                                                  MsaStBiKCWUI^
                                                                                  OMndsr.AZ89224
                                                                                  (MW)6«MN4                                                                         LA3TPME
                                                    #.
            I                                                                                                      I

                                                                                                               b
                                                                                                       f
    I                                                                                                                                          t                                                   t
                                                                                                                                                                                                               I
                                                                                                                                                                                                                       t




                                                                                  WhM nconM lebm Ik                                                   $

                I                                                                 »«UULVNMUMM.JOM«
                                                                                  immmlm
                                                                                  CoralaMH,R 33148
                                                                                              t


                                                                 i                                                                                                    ynrtnwwwaBiwmflcaw
                                                                                                                       8ATI«PAeriON OP.MORTOAOC
                                                                                                                                                                                                                   \

                                                     *
                                                                                                                             Mortooo* HMraoiB R9ii«1^
                    I
                                                                                  MMIIYN MUM4,JOHN SCmS^^
i                                                                    I
                                                                         t
                                                                                                                                                        <MfiKlon* Mlrarai In SM Iim^
                                                                                                                                              V MtaiOoMlM U(MymMrt Md tsBihd^
                                                                                                                               MM tt M4MM,M« hof^dkwra fiw Cteik of Iw nM Cinvi
                        I

        »                                                                                                                                                                                              I
                                                                                                                                                                       8MMpmMnl»iaM
                                                                                                                                                                      181
                                                                                                                                                    orara«Nltoirah«rauiM ■RixoAIvteimiMT
                                                                                                                            MrauraodUy              iiwtPAqrofjui^aeee.



                            I


                                                                                                                                                                                  I




                                                                                                                                                                                           «
                                                                                                                                                                                                                       4

                                                                                                                                                                                                   t
                                                                                                                                             MiWra* OocMnio Ro0iliMm S^ntein*. hie.
                                                                                                                                                      #




                                                                 I


                                                                             k                                                                     NttrUptt
                                                     A                           WHIM
                                                                                                                                                   AiateamSrartMV

                                I                                                STATE C3FAIiiZqMA
                                                                     I

                                    I
                                    I
                                                                         I                                                                                                                     f
                                                                                                                                                                                               )
                                                                                 asgsgrcia«s!^;yxgiaa!iBa                                                                                              I
        I                                                                          <»




                                                                                                                                         I

                                                                                                                                                     tiit'.’OI            i.
                                                                                                                                                                                                                           4
                                                                                                                                                                                                                               I
                                                                                                                                          B)8ilraKl1OQfifi08

                                        I
                                                    a,
                                                »




    I                                               •                                             •w
                                                                                                                                              T                                                                I
                                                                                                                                                                                                                       4




                                                                                                           I
                                                                                                           ’       I
                                            I                                                                                                                                                              a
                                            I                                                 I


                                                                 «


                                                                             k
                                                                                 Book26512/Page2906                         CFN#20080642394                                    Page 1 of 1
                                                         *
                                                                                                                                                           t

                                                                                                 b
                                                                                         r
I                        • USCA11 Case: 24-13671                                             Document: 13                 Date Filed: 12/05/2024
                                                                                                                              t
                                                                                                                                                               Page: 607 of 723   k




'I                                                                                           t
                                                                                                                                                                      e«.o
                                             «
    K

                                 *




                                                 I                Case l:iB-cv-^211-DPG bocuitiertS Entered on FLSD Docket06/24/2019 Pages
                                                     I                                                                                i
                                                                                                                      I
                                                                                                                                                                      t
                                                                                                         e


                                                                                                                                                                          I
    I                                                                  Complafnt«Dspartgient of JusHo©
                                                                                                         I
                                                                                                                          I




                                                                 1,
        |-

                                                                  !                              8TATK DISTRICT COURT...5W 4 Hi stnei NW
                             •
                             .
                         »




i
        I
                                                                      SSSSS??!!*"                                         ‘'’®“•«'*<rfCo*«^b!a by and throLgb thejr               «


        J
                                                                                                                              t
                                         t




                                                                                                                                                                              t

                                                                                 t


                                             A

             I
             I                   A



                 t




                                                 I                            .6

                                                                                                                                                                      f
                                                                                                                                    r..

                                                     I**                                                                              I
                                                                                                                      I

                                                           ,1
                                                                                                                                                                      !
                                                                                                         «



    I'i
                                                                      • '• 4:fw..
                                                                                                         I
                                                                                                                          I




                                                                                                                 •T




                             I.
                                                                                                     i
                                                                                                                                                           t

                                                                                                 k
                                                                                         f
I                            9

                                                                                                                              t
                                                                                                                                                                                  «




                                                                                             »
                                                                                             ' I
                                                                             •   I
                 I
                 I
                                             A



                                 A

                 .1



i                                                I                                   I
                     I
                     I
                                                     I
                                                                                                                      I
                                                                                                                                      1                               f
                             I
                                     i
                                                           •j:
                                                                                                                                                                      !
                                                                                                         4



    <
                                                                                                             »
                                                                                                                          i

                                                                                                                                                                  #
                                                                                                                                                                                      j
                                          > .

                                                USCA11 Case: 24-13671                      Document: 13                 Date Filed: 12/05/2024                  Page: 608 of 723
i                                                         I                   .1
     I
                                                              I
                                                                                                                    I
                                                                                                                                       1                                        T
                                                                                                       4


    I

                                                                                                                         I
         I
                                                                                                                                                                                            4


                                                                   Case l:18-cv-22211-UU Document 8 Entered on FLSD Docket 07/01/2019 Page 1 of 1
         I

                                     »                                                             I
             I
                                                                                               ^ united STATES DKTMCT COURT                                 I



                                                                                     '             SOUTHERN DISTRICT OF FLORIDA
1                                                                                                                                                                                       4


                                                                                                           Case No.18-CV>Z221lU5AHLES                                   *

                                                                  CARL ERICKSON
                                                                                           »

                                                                  V.
                                                                                           ' I
                                                                                                                                                                                    <




                                                      t
                                                                  RALPH W.CONFREDA,JR,,et al.,
                 I
                                                                         Defendants.


                 I
                                                          I                   .1                             ORDER OFRBCUSAl.
                                                              I
                                                                                                        I                                                           t
                                                                         PURSUANT to 28 U.S.C.§ 455,the undeisigned Judge to‘whom the abovenstyled cause 1$ !
                                                                  asagned hereby recuses himserfand refers the case otthe Clerk ofthe Courtfor Teassigmtient..              I

                                                                         DONE AND ORDEREj)in CStambets at Mkfd,Florida Ais 28th day ofJune,2019.
                     I           ■
                                                                                                                                                                                                1




                     I
    • i                                                                                                                 DARRIN P.OAYLES
                                         t,
                                                                                                   I
                                                                                                                        UNITED STATES DI!        JUDGE
                                     »



                                                                                               k
                                                                                       f


                                                                                                                             f
                     [                            «



                                                                                           »
                                                                                           r

                                                                                                   I
                         I
                                                                                I


                                                      I


                         I
                                          4




                                                          I                   .1

                                                                                                                                                                    t
                                                                                                                                     I.-


                                                                                                                                       i
                                                                                                                    I
                                                                                                                                                                    }
                                                                                                       4


                                                                                                                                                                            I
    i
                                                                                                                                           S

                                                                                                       r
                                                                                                                         1



                                                                                                                                                                                                I




                                     »
                                                                                                   1

                                                                                               k



I ;•                                                                                                                         r
                                                                                                                                                                                        »




                                                  t
                             I
                                                                                           »                                     *
                                                                                           I

                                                                                                   1
        I                                                                                                            I
                                                                                                                                       I

                                              USCA11 Case: 24-13671
                                               *
                                                                                                        Document: 13     ;v
                                                                                                                                       Date Filed: 12/05/2024                              Page: 609 of 723
                                                                                                                                                                                                          ■ •V-i
                                                                                                                                                                                                                               4
                                                                                                                                                                                                                                   I




                                                                                                                                                                                               mu                  #


                                                                                                                 i
                                                                                                                                                                                      «


                                                                                                            k
                                                                                                    f
I                                        •                                                                                                  t
                                                                                                                                                                                                                       «




                                                                       Ca» 1:18-CV-2221^0PG Documents Entered on ftSD Docket0634/2019 Pagelof8
            I
            I
                                                                                       I


                                                   4


                                                               4                                                UNWED STATES DISTRtCT.CtHJKr
                                          *
                                                                                                                SOUTHERN DISTRICT OF FLORIDA

                                                                        caj^ewksoh                                                                      Case No. 18^-2221 J^AYLES
                                                       I
                I                                                                                       PlmntifF;
            r-
                                                           I            V.                                                                              I                                      f
                                                                        RALPH W,CONFREDA JR..
                                                                      US BANK NATIONAL                                                                       piled
                                                                                                                                                                                                      I
        «                                                            'JP MORGAN CHASE BANK
                                                                        CARLA.LUBETS1CY                              I
                                                                                                                                       I
                    I                                                   ALANWASERSTEIN
                                                                        KENNETH ERtC TRENT                                                                                                                                     4

                                                                        TERRANCE W.ANDERSOH « al.,
                                                                                                                DeRsndaiit^
                                         i.


                                                                                                                                            iLMRMENfflRAKPtiMOPi Aw ■

I                       I
                                                                              POfsuaitt to''Federal Rules
                                                                   ; ibfe Motion &r Reliefs Recusal and Supporting Mlmoraiii™ wgarting the Arne 26* 2or6                                                                   «




                                                                       on
                                                                                                                .'"*™***<“L jus* wnns.judliaa! misconduct,fraidulem grounds and
                                                                       dtscoverod conflict of pefronal investraem inteiests on Fin^al Dlsdosures of Judges and                                                 «




                                                   4
                                                                       Account Page 42. BBS 2018 Tables 9-13. SEC Riirigs-ys Bank Florida
                                                               a                                                                                                       Subsidiaries, Gayies
                                         0
                                                                       Einant^ Interests& Property Disdosuros)
                            I.                                                *' •. .<««
                                                                                                                         factualbackoround
i                                                      I                     I- OnJined*.2018,PhuntifCarl Erickson filed civil action Complaint {Dooument #1J                                  ^
                                                           I       .;^Fraid causes of action for ^Irtio* of Fsd«al ■“ iatis, banking real &tate security
                                                                                                                                                tort                                            f
                                                                   ^ usetoiegubtion violations and rackete^                     statutes.
                                                                        2. The Complaint was based upon                                USDC                 flUttgs accqaed iqr Don.hi®ed             I
        I
                                                                                                                                   a

                                                                      «m‘s jurisdicttoo: (2) a steit «d plain statement of the claim
                                                                                                                                 Aim showing that the pleader, is •
                                                                                                                                                                                                                               4
                                                                                               >b
                                                                                                                                                            R. Civ. P. 8,
                                                                            3. On Sme 26* 2018, Judge Gaylet issued and Dismissal
                                                                                                                                                       Order a j»rt.9»Har review of the
                                                                                                                 I
                                 I                                                                                                 W                                                   I



                                                                                                    r
    I                            I
                                                                                                                                                                                                                           8




                                                                                                                                                   4


                                                                                                        '        I
                                                                                                                                                                                                               e

                                                                                           I



                                                   4
                                     I
                                     I




                                                                                                                                                                                   ..■•f s4/

                                                           I                                                                                            I
                                                                                                                               I
                                                                                                                                                                                                I
p                                                                                                                                                                                               «
                                                                                                                                                                                    I
                                                                                                         r                                           I


                                     USCA11 Case: 24-13671
                                       «
                                                                             Document: 13            Date Filed: 12/05/2024      Page: 610 of 723
                                                                             ' I                                                                                                            f


                                                                    t

                                                                                                                                                                               1
                                            I                                                                                                                                  ;•




                                ,          •NTHE'CIRCUIT COURT OF THE ELEVENTH judicial CIRCUIT
                                           IN AND FOR MIAMi-DADE COUNTY,FLORIDA

        I                                  ciftcurr CIVIL division
                                                  »       .                                                       i                              f
                                                                                                 I
                                                                                                                                                !
                                           CASE NO. 201»*S30415-CA4)1
    i                                      SECTION: CA20
        I
                                                                                         r


                                       JAMES BUCKMAN                                                 ‘ REASSIGNED BV 0UNO
                                                                                                                             M£k
                                                                                                                                                                      m



                                                                                                       nL\HQ TO SECTION.—
                                                      PlaintKKs),                                                                                                                           K




                                           VS.                                                           {»ER ORDER 05,ADM.JUSS3E 1\
                                        LANCASTER MORTGAGE CO                                            tl                                                                    I




                            »                         Dejfendant(s)«-                I
                                                                                                                                                                                            i




                                                                                 k
                                                                        f-
1                                                                                                                                                                                   I
                                                                                                                                                                                                A


                                                                                             ORDER OF Recusal
            I
                                                                      I
                                                      THIS CAUSE,came'before the Court sua spent©, and the Court beiri^ fully advised in
                                       the premises, it is hereby:                                                                                             •n

            I                                                                                                                           ..5


                                                                                                                                                               v!'?
                                 A                    ORDERED AND ADJUDGED                                                             c "i Ci
                                                                                                                                                              -1|                       i
                                                                                                                                         >
                                                                                                                                           n-                o

                                                4 1. That the undersigned Circuit Court Judge hereby reouses                                                 «-C<
                                                                                                                                                         fii^her
                                                         consideration ofthis case.                                               ••   >                     r.->
                                                                                                                                                                                        \
                                                                                                                                                             O
                                                                                                                                ..               I           O
                                                                                                                                                             “ •          •!
                                                      2, This case shall be reassigned to another section of the Clrc^t Civ^Divis^n in^
    ♦                                                   accordance with established procedures.
                                                                                                                                                                          >.



                I                      DONE AND OFUDERED in-chambers, at Miami, Dade County, Florida, tWs 17th day of
                                                                                                                                                                                                    4




                                       October, 2019.
                                                                                                                                       r                                                V


                            »
                                                                                     I

                                                                                 h
                                                                        r
                                                                                                                                                                                        T
                                                                                                     William Thomas                                                                             A
                                                                                                                                                     f
                                                                                                     CI^ICUIT COURT JUDGE kumn ThQru-^^
                                                                             »                                0
                                                                                                                            ■ ^Circ«^itCou5t
                                       Mailing Service List:                 ' I
                                       JAMES BUCKMAN, 1977 NE li9TH RD, MIAMI, FL 33181
                                       MAURICE SYMONETTE,4711 L J PARKWAY, UNIT 4208, SUGARLAND. TX 77479                                                                               I


                                       LANCASTER MORTGAGE CO
                                ,      ONEW^TBANK
                                       EMC MORTGAGE BANKERS LLC
                                       MORTGAGE ELECTRpNIC REGISTRATION SYSTEM
                                       DEUTSCHE BANK NATL TR CO
                    I

                    I
                                       MER^                             I
                                                                                                                  i                             t
                                                                                                                                                !
                                       SERVICING AGREEMENT SERIES RAST 2006 A 8
    I                                  RESIDENTIAL ASSET SECURITIZATION TR 2008 A8 +                                                                     I

                                                                                                     I




                        I
                        I




                                t,
                       USCA11
                           I  Case: 24-13671                Document: 13           Date Filed: 12/05/2024              Page: 611 of 723
                                                                                                1                            f
                                                                                                                            !
                                                                                                                           Exh.l
         I                                                                                                                            I

                                                                                    1
                                                                                                                                             a




                                      ¥

                        FORM 6               FULL AF® PUBUC DISCLOSURE OF                                                            2MS
                                                                                                                                                  I1
                                                       I H?4^NCIALINTERESTS
                                                                          |^CfflPW.OMEWS
     J                                                                                  r
                                                                                                     FORe?f»t'
                                                                                                                           mmimm
                                                                                                                                                        «


                                                                                                     0$EDflOft
                          ‘                      SI'   »
                                                            »                                                                  i fe 111,
                                                            ' I
                              MkmcbrnA^im} ■                                                                                                      lii
                              ifeste# C0Mta»R»!Ofter                                                                          if                  ii
                              ip^sr Caw^CeyrftWMj® Rsb 1im                                                                                        I
                              73wr!aj!erst '                                                                mm
                                                                                                                            mmm-.                 1:
                              Mwt,a •mtwm
                                                                                                                                                  I
                                                                                                            CmVCm-

                               4                   .1                                                       9,    CdsJs
             I
                                                                                                xk
                                                                                                          Msnno Schurr                ft
                       C»a;R}p.tW5Sf3-AFJU>©B¥A<»MMWrS Q
                                                                                                                                     T



                                                                t


             I
             I                                                          f^ErAiSBTO
             i                                                                                                                                    I
                                                                                                                                                  h
                                                                    Stately85»i-ftelf«w»efi»v*i««s»«»*LmD»«spf|fftrt«8»^rft»W^
                                          S»^«!a»i#i«y:-;^^ws;ii:#-sa»p8,^;'aniSl «n*3«fe8elfea»:                ape^mi mm tei^s»iss;cJiataiBg
 \                                                                                      V                                        t
                                                                                                                                                        i

             I


                                                                                                                                                  H



             I                                                                                                                               t

             i
                                                                               llWAUnt               m                     StOQJX^M,
                                                                                                                           mmmm                   U

                   >
                                                                                                                                                  I


j'
                           1                                                                                              Ijfepis
                                                                                                                                                  fi
                                                                                                                                                 |:|
                                                                      Mip-.C^LIABlMirifiS
                                                                                                                                                  I
         \                                                 ^mmm
             I
             I.
                                                                                                                           auHas'.i.Qa-.
                                                                                                                  t.
                                                                                                                   I   a                          i|




                                                                                                                             %^o^oo
                  •;

                                   EMtt^oiymts wr repmioKmmi
                                   wAtiE AHgABimess
                                                                                 ssai?                                     :Ai«u«r<yfeWitiiry'
                                                                                                                                                  I
                              I
 1                IT

                                                                                                                                 T
                                                                                                                                                  II    •



                                                                                            «

             f.
                       csFam.f#;Bt i«w                                fCwKwwi ■»« fmmi «rt»)                                              pmui
                                                                                                                                                 it
 T                               T—                             -T~

                         USCA11 Case: 24-13671
                                     4                                     Document: 13     8 •
                                                                                                  Date Filed: 12/05/2024
                                                                                                                 i
                                                                                                                                                        Page:t612 of 723
     If;                                                                                                                                                        )

                                                                                                                                                                        I
                                                                                                                                                            Exh.K
                                                                                       !
                                                                                                  I




                                                                                                                                                                                                          i:.
                                                                                                  !> rHfc CmCl'lT CO^RT OF T}&
                                                                                                  »1 - JUDICIAL OKCllT IN                                                   IJV'iiwi:
                                                                                                   FOR DADE COfNTY.FLORIDA                                                       .C';Al;


                                                                                   I                                                                                                        ;;■




                                                                               b                                                                                                                    >',A

         i       0
                                                                       f

                                                                                                       r                                                            t
                                                                                                                                                                                            -A

                                                                                                                                                                                                  r,;                 «




                                                                           »
                                                                           t                          April.V2010'                                                                                              !■;

                                     IS Bank                                       1                                                                                                                    '■ ;?A-.

                                                PIsiM'tffs)                                                                                                                 $■
                                                                 «
                                                                                                                                                                                                         l!
                             $                                                                                                                                                                             ■ 'A
                                                                                                                                                                                                            1:
                                         :i9^                                                                                                                                                              A:

                  *■
                                                                                                                                                                                                          •a';'

                                         IxrQV'Williams .
                                                * DetodanWsI,
                                                                * .8


                                     i


                                                   • ORDER OFO^^SMlSS^ WITH PRE'-UDICE
                                                                                                                 i                                              f
                                                                                                                                                                f   .

             ♦                              This action was heard on the Mesdants motion lo dismiss .for lack of prosecuiwn
                                         Servedo'ri April 11.2008. Theeoortfwdsthat(I)no&eprescribedbv role 1.40|e)
                                         Was served on April 11 .LOOf; <2? their was no Record activifv' lor the yem p^cedmg
                                         Service of the foregomg notice; (3) no stay has been issued or approved by the court.
i-                                       And (41 no party has shnvm good cause why this action should remam pendmg.
                                          Accordingly.
                                     • IT IS ORDERED That this laion is Dismis-sed for lack of Pro^tcution wifh Prejudi ce ^
                                           done and ORDEIlED.m chambers, at Miami, dade cdaiity. Florida this 3|tb day of
         i                                 March. 2010.                                                          Al.                                                                                                  «

                                                                                                      f                                         »   /               t
                                                                                                                                                                                        «



                                                                                                                       * f! I^v/ ' ' 'TJ'
h
                                                                                           mmm              ^          i                l-i-.           —
                                                                                   I                                 aReiirrcouitT JUDiiE
                                                                                                                                                                            4




                             «

                                           it
                  fi .




     i                           I
                                     I
                                                                                            I
                                                                                                                 I                                              f
                                                         h t                                                                                                    !
                                                                                       4


                                                                                                                                                                        I
             i

                                                                                                  1

                                 At:
                                                                                                                                                            «
                                                                                                                                                        «

                                                                                                                               f‘ f :
                                                                                                           mim                            ■-Iff                                                                           I




                                                                                                                                                            ■- : ^
                 4;
                                                                                   t
                                                                                                                                                    t

                                                                               b
                                                                       f
         J                                                                                            t
                                                                                                                                                                                                                      «




                                                                           *
                                                                                                                                                                                    r
             • BR 27244 F^g 4103'CFN/aOl00237159 0409/2010 12.47:17 Pg 1 of 1 Mia-Dade Gty, FL
                                                                 I



                             «
                                               I                                 .1
                            USCA11 Case: 24-13671  t
                                                                                                      Document: 13                             Date Filed: 12/05/2024
                                                                                                                                                                1
                                                                                                                                                                                         Page:f613 of 723
                                                                                                                                                                                                 ?
                                                                                                                                                                                                Exh.L

r
                                                   ii                                                                                                                                                           2i®§
                                                                                                flSAMCMLWTEEESTS
                                                                                                                                                                    for Of«cs                           3 ;»l
                                                                                                                                                                    us^ mix-
                                                                                                                  I

                                                                                                              6
                                                                                                f
     1                                11
                                      Hon Valerie R. Msnno Schtifr
                                                                                                                                                                                 ^Co4e

                                                                                                                                                                                                iimii                                        «




I
                                      Csrcui Judge" •
                                      JwJfclai Circuit(1lTh)                                          »                                                «                         iD'm                   210380"
                                      Elected ConstltutloMl Officer '
                                                                    |                                 f
                                                                                                                                      ,r-rata
                                      ?3 W FLAGLER ST DADE COWMTf eOURTHOSUERM
                                      1105
                                      MlkUl FL 3313©-
L
                   *
                                                                                                                                                                                Msrtno'Schyrr. Vaiefls R-.
                    C«CK«P iws!S h fpjm-m A cawh»i£Q

                                                                                                                       ■    «»T"A -■ SET-SVQtf Ht
                                                   I
                                                                                                                                                                                                                fmsf
                         o»3a» w;sf                           of j-c.; f«4 \wrt-i a. si Dew’vtf®* 31 2«». O'"
                                                                                                                                  p iAo»                    |i»,8 rtei «•?•«* a «-,i«aiwWed fe y
:            ■'          tete>»*fe 6<5«> yjisj mpof&a sssels,. w Sfeass ss£»s» mstrwJbm an fwge 3
                                                                                                                                           1
                                                                                                                                                . 20                                                            I
                                                               My mtv^arm                 of


                                                                                                                              ■mfiTB"r-.ASSEIS




i-
                          6f«feaidf^«e6tn8n«|wi|»sas ^'.'V.cs>S'w:^ors'/ys{t<5>fe                                                                                           ‘       m1 kisj.?                       nps.       sf.
                  . *■ • »*jp'fecjswKW                               ‘(eftictes *c«                   S« t
                   ^ Tfs aqgi-gijasa V3-:U8 ol my fiOuWJwid §«»;, frnd ol>'sw>^ :«»«as                                                         ate^fj s S
;    1               ASSSTS»MIMIAU.VVAlWEOATOViBI1.C1».                                                                                           t                                                      Value OF ASSET
                                                                                                                                                                                                                                         •   I




                                       .            PESSWTONI py WSgT,fep«;We ifetcgiptfea Hi rtijiiilrwf
                                                                                                                                                                                                   ^MuSh^
                    fcL: xiilLi—»
                    at    --■ ^   •
                                                                     liA
                                                                                ■'    f
i
                     \.(.A i •.
                                               !          f      CtrAo          L L>. <i±dUJhMJJ~hi..
                                                                                      v-
                                                                                           •i   V
                                                                                                                  i-
                                                                                                                       I   Ji k('rc(^:j^                                                           . y^.,Qfc.c.
                                                                                                          T
                                                                                                                  I
                                                                                                                                                                     / HgUS&n                           ocf.-.ce
                            /. a ..                a . f.<




■i                                             1
                                                                           mmf                                                                              m
i.
                                                                                                                            fARTr«-II4WJTI£S
i.

=,
                     tJABItmES m KCESS Of
                                                                                                                                                                1                                  f
                                                                                                                                                                                                       l«.QUMr Of UA»iTY,
                                                               hm minms oysEcrrog
         «                                                          Li r-^: / (,. :.£■i '>c'-\L')?i ^ l{riiLlu..T..                                                                                f
                                                                                                                                                                                                       ''■a-.cxT:-LC
                                                                                                                                                                                                        'I V
                    U£iiSSllL£!iL                                i"'L-fetyj t L iy V                                                                                    t
                                                                                                                                                                            k   ^                  I           M. It
                                                                                                                                                                                                                  ^
                    fT"'
                            rxjxi'. Hit'                            ■jc£ .avu.-5/! ■- . ay-TSa. L

                                      Alio WERAL ilAPlITtgS NOT REPC«Tp6"AiCW;
                                                       NAIg 'mu ACOiESS Oy-CBfOiTO^

                                                                                                              b
                                                                                                •f-
     1                                                                                                                                            T                                                       T




!                    CE,fd^'S,-S: 1*010'                                                                                    ICoRinysi m fftvswfe sEJ»j                                                                     RAISE 1
                                                                                                                                                                                                                                     I
i                                                                                                     ’           I

                                           *
                      USCA11 Case: 24-13671                         Document: 13           Date Filed: 12/05/2024                          Page: 614 of 723
4                             I                          .1

                                  I
                                                                                      I
                                                                                                                  I                                t
                                      /
                                                                                                                                                    >

w        I                                                                                                                                                      I
                                                                                                                                                                                            ‘1

                                                                                f
                                                                                               I                                                                           r


                                                                                                                                                   Cxh.M


                 a




                                                                        k
                                                                f
i                *
                                                                                                     ■
                                                                                                   ft*-’.
                                                                                                     r
                                                                                                             t/bACE
                                                                                                                      rptiSN'T^^-
                                                                                                                                                                                        »




                                                                                                         V
                                                                                                                  ,it;W5®
                                                                    »
                                                                    »




                                                                                                                                                                      a

                                                          I
                                                                                                                                                                                             I
                          6
                                      r
                                                                                                    . At-:!!.. ?00§


j'                            I                          .6

                                  I
                                                                                                                  i                                f
                                                                                                                                                    >
                                                                                «



         J                                                                                                                                                      I


                                               :,    OH,15i3C.v,?       1



                                                                                                                                                                                                 4


                                           . ■'^Isoettoiwwtei                                                                   ^'           ■ '
                                                                                                            ti
                                                     CP Ape! 112m, Ci«                     '
             »
                 §.
                                                          ••                        -^r.              ,.                Ilgs^'SS.t   ''S^s




     1           ■9

                                                                                                                                                        $
                                                                                                                                                                               ■'.If"   •>>|



                                                                                                                            I

                                               TO«                                                            *

                                                                                                                                                                      a




                          «

                                      A




                                          .,/■ ■'   " -p-.% ■
                                  '                 Caagga &                          I
                                                                                                                  1                                 f
                                      WJ S»»J*                                                                                                      t

         I                            2S£^SS^'^
                                      SSSSS««^;"
                                                                                                                                                                1
                                                                                                                                                                                            I




                                                                                               I



                                                                                                                                                                    ip^-

                                                                                                                       .«


                                                                            I
                                                                                                                                       a


                                                                f ■-    ‘
     I                                                                                               t
                                                                                                                                                            d

                                                                                                                                                                           <




                                                                    »
                                                                    f
                                                                                                              *




                                                                                                                                                                      a
                                  *
                                                                                                                                               ■:;




                       ■<<■■
                                          USCA11 Case: 24-13671                                     Document: 13                         Date Filed: 12/05/2024        4 '
                                                                                                                                                                                                       Page: 615 of 723
J                                                    I
                                                          «
                                                                                                                                   I
                                                                                                                                                             i
                                                                                                                                                                                                         Ex^.N
                                                                                                                     «
                                            i'



k         < ':.
fc V           -. .


                               I*/p:
                                                                                                                                                                                                                                             #




           ^
               !
               r
                                                                    " ™' “^“'dro«M^^4TS^ETo^NTV
                                                                           ' ■       CPIL^CTIOS^
                                                                                                                                                                                                                                                               s




                               •.
                                                 iS84>K,XA.- .                              ;
                                                                                                                ft
                                                                                                                                                                                                  »




     i                         »                                                            Ci&'s4
                                                                                            liimsicp                      ‘M
                                                                                                                                               t                                                                         t
                                                                                                                                                                                                                                                           «




                                                                                                    »                                                6
                                                                                                    t

                                                                                                            I
                                                                                                                                                                                   ■'• • '   ■   ■ V'                                        ■t-




                                                     LEEOr WILLIAMS;
                                                     SedVt managementmark WEI-LS:_^NKL^
                                                                        corporation; cita
                                      *                                                                                                                                                                       O'*
                                                     OENORTH MIAMI;                                                                                                                                            -o-
                                                                                 nefe&'#nt{s)i                                                                                                                 ^ %
•}                                                   I                                 . t                                                                                                                                   a        .
                                                                                                                                                                                                                             'p


                                                                                                                                                                                                                    Si
                                                                                                                                                                                                                                  I
          i'l
                                                                                                                      r


                                                                                                                                                                 s:a»,Mdt«a ilM,%;!thWA!SW!ff. ptt«a»
                                                                                                                                           I


                                                                    nosCAL'SE hi;..n.4                  an «for« ik>Cputi- ps«-                              ;;                                           «
                                                                                                                                                                                                                                                               4

                                                                                                                                                                  ■,         .r. thapteKnwfc iViS--
                                                         10 5?rtfcn 102# Ftoo<ia Siat«tej
                               t.
                                                         ;; . ORDERED and AOJyPOSB^:ia«o«'                                                                                    ;%:#&« ti'lte « Ae PfatalW»■
                                                                                  Th@|5fete;^d tbtsamc                         is dismissed, but without irrejusJioe .16
                                                                    m
     i                                                   bnttg an mim to fote8io& th« rooitg^e which is the subject m atter of *«
                                                                                                                                                             £ttsi4Bi;'«is«
                                                                                                                                                                                                                     f
                                                                                                                                                                                                                                                           «




                                                                       *)
                                                                                         Defendant LEROY \^HL1AM5. MARK WELLS;
                                                                                  At! Counts            Coiaplawt against
                                                         FRANKLW CREDIT MANAGEmInT CORFORATfOK'.; CITY OF NORTH %!1AV1L awtefev dispLscA                                                                                                         «

                                                                                        <


                                                 «


                                  4
                                                                                  ;Ahy.s«Aidduid'it«*W                                         ’ •

                                                     «                                 .ft

                                                          I
                                                                                                                                                         L


                                                                                                                                                     Sete!- 13e6e522                                          f
               i
                                                              Flte_toM8ER FQ10t2l48                              =^
                                                                                                                                                     DOCJO'-»10S02                                             !

          r ;                                                                                                                                                                                                                     I


                                                              tTi
                                                                   1
                                                                            Jt
                                                                                                                      »
                                                                                                                                           I             iiiiii                                           99 VS^
                                                                                                                                                                                                                             m
                                                                                                                                                                                                                             m i.     ./‘
                                                                                                                                                                                                                                            111
                                                                                                                                                                                                                                             i


                                                                                                                                                                                                                                                               4

                                                               I




                               ft ,
                                                                                                            I
                                                                                                                                                                                                  ft

                                                                                                        b
                                                                                                f
     i             -       •   9.                                                                                                                                                                                                                    ■i.
                                                                                                                                                                                                                                                       *



                                                                                                                                                                                                                                                      f.   ■
                                      Bk 27343 Pg 949Cf;N 2010*61678 07«W2010 15:32:K Pg 1 of SMia-Dade Cty. FL                                                                                                      t




                                                                                                    »                                                $

     l;            f«::                                                                             I

     -e
                                             USCA11 Case: 24-13671                                                      Document: 13                              Date Filed: 12/05/2024                                   Page: 616 of 723
                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                *

                                                                                                                                                                                                                                                                                        -I
}' I
                                                                                                                                                                                                                                                    Exh.N pg.2
            I:
k R*
                                                                                                                                I
I                                                                                                                                                                                                                      i

                                                                                                                            h
                                                                                                                    f
                                    m
|-                                                                                                                                                                                                                                                                                  i
f
                                                                      4.^         The.Notice ofL Pendot^Tikd by'PWtttiffar^'                                                   in *e poWk records of AMI-DADE                                           t
                                                                                                                                                                                                                                                                                «




I
                                              Couni^,Fforids. regaK)m|'*e betewnfesifibeii property*                                                                                   *




                                                                                                                                                                                                                                                                      «



r
                                                                                   THE PUBLIC                     records of MtAMl-DADE COVNTY.FEORIDA-
i
                                        *
                                                                                                                                                                                                    IgiclSlid®^Clerk 15 herefcv
                     !
                                                                                   ,(s canceteii, vacaied. dkehSfied wd stoi^ be “O to*er force or
r'xif
                                               iirectls to record this O'rdee'to reflect                                                                                                                                              is set^
I

                                                                           i:     The Ftasl Satwr.ai> Jiidgwrai ter«ofore wwred m                                                                                                                   !
                                                   aside and sMi be ofno fottfier force or effect
                                                                                    '"it                  .                                                             . :. . _ ^ ■. ; . .            . .                 *                                  I

                                                                           .te    The Plamtiffreciuests dial the briginal Kote and Mortage be retttnted to thcRlaiRtifTaad
i;
        I
                                                   photoswic copses steJf be spbstiritedjn their pkee.
(■                                                                                                                                                                                                                                              day, of
                                                                           DONE. AND ORDERED jn Ctembers t» ’tOAMi-DADE Ct»nJ>'. Florida, -this
                               ;»
                                    «
                                                   ■-                                      "a.., .                                  t                                                                fl
                                                                                                                                                                                                                       *
                                                                                                                                            ■'•1


            I                       ’
                                                                                                                    f
                                                                                                                            b
                                                                                                                                                             il
                                                                                                                                                              V . i.k
                                                                                                                                                                                i '■              VV'
                                                                                 .JUN2 3*'                                                  ' v^mIkie rTma^o schvfS                                                                                     t
                                                                                                                                                                                                                                                                                    «




                                                                                                                                                   Chrcttst Coart'Jodge
ft
                                                                                                                        »                                                              *



I-
                                                    Copies fijnsislied to;                                              ■       1                                                                                                                       ’Am
                                                    Florida Default Law Group. PX
                                                        P.O. Box 25018                                        a



                                                    Taftpa, Florida 33$22-5018
                                                    All parties tl^dtpckd semce ]'m. •
                                        J.
                                                        r<rtOt2H«-MOj65e3‘ ■ '                       :   ■ ■ ■
                                                    omc<*ONV~.s!}»!»i
I
                                                                                                           .1

                                                                            I
                                                                                                                                                         I
                                                                                                                                                                                              i                                                     f
1:
                         f.                                                                                                             4


                                                                                                                                                                                                                                                              1
                 i
    :

f

                                                                                                                                                                        1




t:
                                                                                                                                                                                                       '•


                                                                                                                                    I

                                                                                                                            b
                                                                                                                    f
            I                       •                                                                                                                                                                         ■F.                                                                   t




                                                            ■ ■ ■ ■ :: ■
                                                                                                                                                                                                             -;-'p                              I
                                                                                                                                                                                                                                                        f




                                                                                                                        t                                                              #


                                                                                                                        '       I                                                                      i'    i®::'                 .... .^^,.


                         Id:                                                                                                                                                                                                                                          4
                                              ;;                                                              I



                                                        •    i '■ :■

                                        4


                                                                                                                                                                                                                                                                  • ' •   .f-
^                BK'27343 Pqa 950
                                , GFN 20100451678
                                            -A'-a 07/06/2010
                                                  ■      '  • 15:32-32 Pg 2 of 3,Mia-Dade Cty. FL
                                                                            I
                                                                                                                                                         I                                    » f                                                   f
                                                                                                                                                                                                                                                    a
                                                                                                                                                                             ■;-


                                                       I                            ,1
                                                                I
                                                                                                                            I
                                                                                                                                                                I                                      t
I
                                                                                                               «



             \
I                                                                                                                  r
                                                                                                                                                                                    euKif*:
                                                                                                                                                                                                  m
                                                                                                                                                                                                                                                 «




                                                                                                                                                                                          »


                                                                                                   b
                                                                                           r
         I       f-
                                                                                                               mmtm 0ifw^ witopm                                    “
                                                                                                                                                                                                                                             «




                                    •«:

                                                                              CAW,P«!rK»|
                                                                                                       1
                               ■K                                                                                                                                                                                   »
                                                                                    I


                                                   I                                     COf#1Clsl>A, m-, «| «t                           1
                                             •1‘

K-                                           ■i
                          >'


                                                                     r:




                                                       i                           .1
                                                   ?:•
                                                                                                                                                                                                       f
                                                                                                                                                                                                       >
                                                                              wSS»»d few!% «M« ftwwlf tiiiS re»ra#e tt» »t* i*sit4i rf** L‘«w
:•


             i
                                                                                    ‘Mm% 4’® ei®E»Ke a Chmtsm « teww, tteniitfe;* «* 4ttf                                                                       I
                                                                          :




                                                                                                                                                                                                  4»
                                      i.                                                                                                                                                                                                         *
                                                                                                                                yA3iaiNP,rtAn«H
                                                                                                                                                                            fumt
i^:

                                                                                                                                                                            tt


                                                                                                           I
                                                                                                                                                                                     >■
                                                                                                   k                                          ^•5




         I                                                                                -f


                                                                                                                                      t                                                                     f
                                                                                                                                                                                                                                             »



                                                               ;,:




                                                                                               »                                                    *
                                                                                               f




                                                                                                                                                                                                                    *

                                                                                    I


                                                   I
■ ;



                          *


r.
                                                                                                                                                                        £

s.,. .
                                                                                                                                                        I 'T^
                                                       I                           .1


,r:
                                                           '   t
                                                                                                                            1
                                                                                                                                                                t                                      f)
I

                                                                                                               «



             «
                                                                                                                       if
                                                                                                                   I
                                                                                                                                  I


                                                                                                                                                                                              .




                      I
                                                                                                           I
                                                                                                                                                                                          «

                                                                                                   k
                                                                                           f
         I                            -ft.
                                                                                                                                      r
                                                                                                                                                                                                                        '*.
                                                                                                                                                                                                                                             I




                                                                                                                                                                                                                        >        .

                                                                                               »                                                    «
                                                                                                                                                                                                                            I'
                                                                                               t

                                    Page: 617 of 723                            Date Filed: 12/05/2024 I                          Document: 13                                     USCA11 Case: 24-13671
                                      ;
                                                                                    «                                                                                                                                                .   :


                                                   «
                                                                                                                                                                                                f
                    .!                                                                                                                                                                                                          t
                                                                                                                                                                                                    ;v?s 'jXO.-M-.iir          :.,           n
                                                                                                                                                                                                                                                                                                        «

                                                                      USCA11 Case: 24-13671                                                                                       Document: 13                                 Date Filed: 12/05/2024                                               Page: 618 of 723
 •I -




                                                           I,
                   ■ I                     •• ■ .                                                                                                                                          I
                                                                                                                                                                                                                                                                                                «

                                                                                                                                                                                      k
                                                                                                                                                                              f
             I           I                                                                                                                                                                                                             t                                                            hi 1*4' >^4,                                  «
                                                                                                                                                                                                                                                                                                                                                      4



                                                                                         t

                         I'




       ;' *1
                                                                                                                                                                                                                                             1                                                                                            I

                                                                                                                                     CfRCOfr€fWLOWIS»^| "■
                                                                                                    I
                                                                       .' ;H:

                                                                                                                                     lECTIQ^; CA2i                                        _ ’
                             I
                                                                                                                                     4mmmszmm                                                                                       «AS?l'i>ieO Wf «W9
 a                                                                                                         I                                                     PlalRStn),                                                         ■t-ij
                                                                                  ;■; •
                                                                                                                                     m^.

                                                                                                                                     tfMteASTEH mortgage CO                                                         I
                                                                                                                                                                                                                                     ^r.’ '-»■ J. v-
                                                                                                                                                                                                                                                       ®f£l
                                                                                                                                                                                                                                                                                    <
                                                                                                                                                                                                                                                                                                            f
                                 I.                                                                                                                              0®i»Rd3nt|s|,
                                                                                                                                                                                                4
                                                                                                                                                                                                                                     m                  ’ ^ f; ^,                                           !

                                                                                                                                                                                                                                                                                                                      I




                                                                                                                                                                 IHIS c«lii, csmft tof&TQ th® C«y«                                    wnt'^. 3«*d tm cci^i teifjg fcgy Sid^ed «
 ■;
                     ■J:
                                                                                                                                    .the prrnms, 4 (« terebr _
                   •- I
                                                                                                                                                                                                                                                                       «

                                                      •.a';*-
                                                       »
                                                                                                                                                           'ORDSRSO                   AD#lOGtD
                                      I

                                                                                                    :';                                               ;i im Iht                                       Ctes Couri mm -mmb^                                                         tiiteseif
                                                                                                                                                                                                                                                                                               •Si


     ■;]•
                                                                                                                                                       ‘           cort^nttionofftu^^                           '                                                                                                     ■;                          4
                                                                                                                                                                                                                                                                                                                                                      4

                                                                                                                                                                                                                                       t                                                       W:
                                                                                                                                                                                                                                                                                                                 t


                                                                                                                                                 ■          2      Ths cm&
                                                                                                                                                                                  >ISpS'S<£S'“'                                                                                         <=*<>■.«„ i
                                                                                          *.

            ■i'.                                                                                                                                                                                                                                                                                                m-
            i'^                                                                                                                                                    SKSErfiSfK#

                                                                                                                                    OOSE AMD OROmED m o^Tbro                                                        m                                   Coant>, ^lor da,,                                                            :v^«

                                                                                                                                                                        I(


                                                                                                    I                               ,Octeto‘. 20fg.
                                                                                                                                A                                                                                                                                                               1
                                                            *
                                                                                                               a
                                                                                                                                      ■:•
h-


                                                                                                           I                                                            .1
                                                                                                                                                                                                                               WfefT> Ttem^s'
                                                                                                                                                                                                                               CfRCOIT COyRT aUDGf:

                                                                                  '•t'-
                                                                                               -A
                                                                                                    .: ;
                                                                                                                   I




                                                                                                                                    4.^rj'b 3LC<\^^-1 1ST?NE.t1tTK'RO.:MIAMin:531g1
                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                            i


                                                                                                                                                                                                                                                                           :f
                                                                                                                                                                                                                                                                                                            f
                                                                                                                                    mURiCE .SYMD^KTTE 47t1 i J PA«ra^i&¥, URtT 4238, SUGAr^t^J^D M 77479                                                                                                             ■h
                                                                                                                                                                                                                                                                                                                      I
                    I                                                                                                               UPOAST6R MORTGAGE CO                                                            = ■ ■■..                                    .v,-^.,.                        ... ■
                                                                                                                                    ONE WEST SANK,                                                                              1
                                                                                                                                    EMC WORTGAGS       iLt
                                                                                                                                    yoRf«G&ELge'moMic registration sysTSfj-
                                                                                                                                                                                                                                                                                                                           t :
                                                                                                                       '-           OgyrSCHE^MKMATlTRCO         •     " """
                                                                                                                                    mm                              '                                                   ..                   ...                                                                                 •    I




                                                                                                                                    mmtam agreement,seres rast am a 8                                                                                                  «                                                         ;

                                          I./-                                                                              .       ReSIOfcW lAL ASSET SgCiRlTSATiOfsi -TR » A8 4
                                                                                                                                                                                      k
                                                                                                                                                                              f
              J' I *                                                                                                                        IT                                                                                                                              •::

                                                                                                                                                                                                                                                                                                                                                      4
                                                                                                                                                                                                                                                                                                                                                  t
                                                                                                                                                                                                                                       r                                                                         4
                                 .          I.                  ;■.
                                                                                                                                                                                                                                                                            !            i .



                                                                                                                                                                                  I                                                                #                        i
                                                                                                                                             }7                                   r
                                                                            T.l



                                          :.::                                      ,4
                                                                                                                                                                        1
                                             i
                                                                                                    i
                                                                                                                                                           j:'


                                  L
                                                 k          ' ■                                                                                      5;i


                                                 l;
                                                                                                                                                                                                                                                                                                                                     "        #
                                                                                                           I                                                            .1

                                                                                                                                                                                                                                                                                                            f♦
                                                                      !'■                                                                                                                                                                               t

                                                                                                                   I                                                                                                                                        I   ,
                                                                                                                                                                                                                    I
                                                                                                                                                           t
                                                        ■i -.       ■ ■: ■                                                                    \x--r




                                         USCA11 Case: 24-13671                                                  »
                                                                                                                Document: 13                   Date Filed: 12/05/2024                           Page: 619 of 723
                                                                                                                ' I

                            Filing# 142403620E-FiledOf 21G022 11 :32:41 AM
                                   A.




                                                        L\*THE CIRCl IT C<lt'RT OF 'fHE' ELE% EXTM
                                                        CllCtlT l^ ANP.FQR ^IIAMI-DADF. r<M ^ 1 .TLOE^IOA
                                                :




         ^ 1. -                                         CASE NO: 2n2UHi}B26-C,Vl)l                                                                                                                                   )

                                                        SECl ION: CAJ5
                                                                                                                                                  1
                                                        T1 'POF-                              R Manno Schiitr ' .

                                                         MACRICK'S’VMONETTE
                                                         Plaimtff(sr
                                                                                                                            t
                                                                                                                                                                                           ft

                                                                                                                    6
                                                    ■ ■'. 'VS-;-                                        ^   f
         J                                                                                                                                                                                         m
                                                                                                                                                                                                                                   i


                                                          U.S, BAN'k NATIONAL ASSCK'IATIOV fl R) rt 4                                                                                                      $




                                                           DffendanU.s)                                         »
                                                                                                                I
                                                                                                                                                               *


                                                                                                                        1
                                        i;- ■                                                                                                                                                                            ft
                                                                                                    I


                                                        «                                                                             ORDER OK RECUSAL
                                                                                    A
                                   A



                                                                                  THIS €ATSE> came before ihe Cinm mu >[>otite. aad rhc Corm beitig fulH %h Led in ibc
                                                            llremises, h is hereby; I
                                                                             I
                                                                                                                                                                    i                                  f
                                                                                  ORDERED AND ADJlTKiED;                         A



             I        : ■                                                                                                                                                                                        I

                                                                                 I, That.the undersigned CirciidjC'ours .Uidge hereby rcLtijvCs herself Irom lurvher consideratibsi
                 I
                                                                                   of ibis case.                                                                                                   *



                                                                                 2. This case shall be reassigned to another section of the Circuit C3s i! Di\ iskui hnaccorduace
                                                                                   '.vith established proceduie.s.                                                          *
                              ft
                                                                                                                            ft                         .                .

                                                                DONE andORDERED in Chusnibers at Miauti-Dade C'oitnts. Florida on this 21st dav of
                                                                                                                                                                                                                                   ft

                                                                                                                                                      ■ r                                                  $




                                                                                                                »                                              *
                                                                                                                t

                                                                                                                        I
                                                                                                    <
                                                                                                                                                           V(JLiu^^p oh rV                                               ft


                                                                                                                                                           2»2M)!0K26-CA-0I UI-2i-2U22 ll:24aA?el'
                                                        A

                                                                                                                                                                   Hon, Valerie R. \!ai$iio Schiirr
                                   A



                                                                                                                                                                   CWriTT fOrRT JlfDGE
    «/                                                          I                                  .1                                                              Ek’clionically Signed
                                                                             I                                                                                      1                                  f
                                                                                                                                                                                                       «

                                                                                                                                 ft



-         A                                                                                                                                                                                                      I

                     1“
                                                                                                                                                  I
                                            Case No- 20N-0UtH26»CA-{>l
                                                                                                                                                                                                               Page 1 oi’l
                                                                                                                                                                                                   *
                                                                                                                                                                                                                                        A
                                                                                                                                                                                                                              i-            j




                              •_
                          »
                                                          I                  .ft
             1                                USCA11 Case: 24-13671                    Document: 13                        Date Filed: 12/05/2024
                                                                                                                                       i
                                                                                                                                                         Page:
                                                                                                                                                             f620 of 723
         Filing # 172928096 E-Filed 05/11/2023 11:02:02'AJV[
                                                                                                                                                             Exks
                                                                                                                                                                     I
         »
             i
                                               IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
                                               CIRCUIT IN AND FOR MIAINH-DADE COUNTY,FLORIDA                                                                                           *




                                               CASE NO: 2010-061928-CA-01
                                               SECTION: CA05                                       1

                                               JUE>GE: Vivianne Del Rio                    k
                 I                                                                 f
     I                                                                                                                         r
                                                                                                                                                                                   4


                                               U S Bank(na) ,
                                                                                                                                   *

                                               Plaintiff(s)                            ' 1
                                               vs.                            t


                                                      I


                                              . Williams, Leroy

                                               Defendant(s)
■i                                                        I                  .ft
                                                                                               /           ,
                                                              I                                                                        i                      ft '
                                                                                                       ORDER OF RECUSAL
                                                                                                           4



         1                                                                                                                                                           I
                                               Docket Index Number:
                                                                                                               I
                                               Or                                                                          I


                                               Efiling Number:                Date Filed: 05/11/2023                                                     I




                                               Full Name of Motion: Order of Recusal

                                                      THIS.CAUSE, came before th* Court sua sponte, and the Court being fully advised in the
                                                                                                                                                    ft


                                               premises, it is hereby:             f
                                                                                           k



     1                                                                                                                         t
                                                                                                                                                                                   I




                                                    ‘ ORDERED AND ADJUI^GED
                                                                                 ' I
                                                     1. That the undersigned Circuit Court Judge hereby recuses himself/herself from further                               ft
                                                                              I                                    •


                                                      * consideration of this case.

                                          ‘          2. This case shall be reassigned to another section of the Circuit Civil Division in accordance
                                                          Y^ith established procedures.
                     I                                        «
                                                                                                                       I
                                                                                                                                       i                      f
                                                                                                           4



         1
                         1


                                                                                                                           I


                                                                                                                                                                                       4




                                      I

                                 ft
                                                                                                       I
                                                                                                                                                    ft

                                                                                           k
                                                                                   f
     1                       I

                                                                                                                               f
                                                                                                                                                                                   t




                             I                                                         »
                                  Case No: 2010-061928-CA-Ol
                                                                                       ’           I                                                                 Page 1 of 3
                                                                                                                                                                           ft

                                                                              I
                    USCA11 Case: 24-13671             Document: 13      Date Filed: 12/05/2024              Page: 621 of 723
        »
                                                           ft
                                                                                                        I

                                                       b
                                                  9


I                                                                           !
                                                                                                                                        C




                    DONE and ORDERED in Chatibers at Miami-Dade County, Florida on this 11th dav of Mav.
                    2023.                             ' I
                                                                                                                                *

                                             I


                         4


                                     K




                                                                            2010-0619^-8-CA-Ol 05-11-2023 10:49 AM
                             I               .h
                                                                                Hop. Vivianne Del Rio
                                 i                                                                                 f
                                                                                CIRCUIT COURT JUDGE?
                                                                «
                                                                                Electronically Signed
                                                                                                                           I
    I
                                                                r
                                                                        \


                                                                                                                                            4




                      No Further .ludicial Action Required on THIS MOTION
            e




                      CLERK to RECT.OSE CASE IF TOST.lUDGMENT
                                                       b
                                                  f
J                                                                           t                                          t
                                                                                                                                        I




                    Electronically Served:                                      $

                    Altanese Phenelus, yvaldes@mi&mijiade.gov
                     Carlos Calle, mrstreetsproductions@gmail.com                                                                t



                     Carlo^ Calle, mrstreetsprdductions@gmail.com
                      Carlos Calle, mrstreetsproductions@gmall.com
                *
                    ■ Giuseppe Salvatore Cataudella, FLeFileTeam@brockandscott.com
                      Giuseppe Salvatore Cataudella, FL.C0urtD0cs@br0ckandsc0tt.c0m4
                      Giusej^je Salvatore Cataudella, CourtXpress@firmsolutions.us
                    Harve Humpsy,.Courts@Joumalist.com              I
                                                                                    1                              t
                    JOHN WESTLEY,TheWomb@USA.com
                    Jennifer L Warren,jwarren@northmidmifl.gov
                                                                                                                           I
    «               Jennifer L Warrefi, cityattomey@northmiamifl.gov
                    Jessica Faith Watts,jwatts@quinnlega'l.com       I


                    Jessica Faith Watts, eservice@quinnlegal.com                                               ♦
                                                                                                                                            4


                    Jessica Faith Watts, abliss@quinnlegal.com
                    Jessica Jo Fagen, lawfirmFL@rauschsturm.com
                    Jessica Jo Fagen,jfagen@rauschsturjn.com
                    Jessica Jo Fagen, abcfleservice@a[)clegal.com                                       «




I                   Jimmy Keenan Edwards, FLeFileTearh@brockandscott.com                                                                I

                     Jimmy Keenan Edwards,I^LCourtDocs@brockandscott.com
                     Jimmy Keenan E'dwards, Court;^press@firmsolutions.us ^
                     John Westley Mr., WombTV@gmajl.com
                     Jonathan S Wilinsky, FLeFileTeam@brockandscott.com                                                          t


                     Jonathan S Wilinsky, CouM;Xpress@firimsolutions.us
                     Jonatfian S Wilinsky, FLCourtD9cs@brockandscott.com
                4   • Jossie Zuniga,jzuniga@judl 1.flcourts.org
                      Julie Anthousis, FLeFileTeam@brockandscott.com                    b



                             I               .1


        Case No: 2010-‘061928-CA-01                                 1
                                                                                    1                              f
                                                                                                                   ♦       Page 2 of3
                                                                t



    «
                        USCA11 Case: 24-13671    0
                                                         Document: 13            Date Filed: 12/05/2024       Page: 622 of 723
                             6




                                                                                               4



Vi                      Julie i^thousis, FLCourtQocs@brockandscott.com
                        Julie An^housis, CourtXpress@firmsdlutions.us                      I                      t
                        Justin James Kelley, FLeFileTeam@brockandscott.com                                        ♦

                        Justin James Kelley, FLCourtDocs@brockandscott.com
          I             Justin James Keltey, CourtXpress@firmsolutions.us
                        Kara Leah Fredrickson, FLeFileTeam@brockandscott.com
                        Kara Leah Fredrickson, FL.CourtDocs@brockandscott.com
                        Kara Leah Fredrickson, CourtXpress@firmsolutions.us
                        Laura Ashley Jackson, FLeFileTeam@brockandscott.com
                    I   Laura Ashley Jackson, CourtXpress(^firmsolutions.us                          »




                        Laura Ashley Jackson, FLCourtDocs@brockandscott.com                               «




                        Matthew Marks, FLeFileTearn@brockandscott.com
      I                  Matthew Marks, FLCourtDocs@brockandscott.com              t
                                                                                                                                          I




                         Matthew Marks,ECCM-FL@prDvana.com
                         Michael R Esposito, Michael.Esposito@BlankRome.com *
                         Michael R Esposito, BRFLeservice@blankrome.com
                         Michael R Esposito, sol.cruz@blankrome.com
                        Nashfd Sabir, nashidlaw@gmail.com
                        • Nicole R Topper Esq, ntopper@blankrome.com .
                        Shaib Y Rios, FLeFileTeam@brockandscott.com
'4
                        Shaib Y Rios, FLCourtDofs@brockandscott.com
                        Shaib Y Rios, ECCM-FL”@provana.com                                 1                      f
                        Stephen Christopher Wilson, scwilson862007@yahoo.com
                        Stephen Christopher Wilson, Stephen@bpinjury.com
          I             Stephen Christopher Wilson, Natasha@bpinjury.com
                         William Henry Stafford III, william.stafford@myfloiiidalegal.com
                         William Henry Stafford III, complexlitigation.esefvice@myfloridalegal.com
                                                                                                                                              *

                         William Henry Stafford III, alisha.robinson@m.yfloridalegal.com
                         Willnae Lacroix, FLeFileTeam@brockandscott.com
                         Willnae Lacroix, FLCourtDocs@brockandscott.com
                »

                         Willnae Lacroix, courtxpress@FirmSolutions.us
                         maurice symonette, BigBOSS@Cferk.com
      I                  maurice symonette, BIGBOSS1043@yahoo.com                  r
                                                                                                                                      «




                         maurice symonette, bossl@clerk.com
                                                                                       *
                                                         t       I




                                                 «


                        Physically Served:


                                                                                               ■r.




■«>                              I
                                     «
                                                                             I
                                                                                           I                      f

          \ \
                                                                         r




                                                                                                                                              4




                                                                                                     «

                Case No: 2010-061928-CA-Ol                           t
                                                                                                                        Page 3 of 3
                »




                                                             k
                                                     f



      I             9
                                                                                                                                          «
                                                                                                                                       t

                                                                                   b
                                                                           r
I                                   USCA11 Case: 24-13671                      Document: 13            Date Filed: 12/05/2024
                                                                                                           ?
                                                                                                                                           Page: 623 of 723

                                                                                                               *




                                                                      I
                                                                               ' I                                                         i:
                                                                                                                                                Xk-T ,
                                                                                                                                                     pg.1
                                                                                                                                i mmkmmii.ium • «e ‘



                                          t
                                                                     MIA Ml .                                          '




                                                                                                                   i



                                              A
                                                                                                                                                     I
    I
                                                                                               I


                                              ■
                                                                                                                                                                                   4



                                                               il"



                           #.
                                                                                     the
                                                                                   ■ books
                                                                                                                                       i


                                                                           f
I                          m


                                                                                                                                                          *
                                                                                                                                                                               «


                                                                                                                       0

                                                      II                   ,.;l:
                                                                              t
                                                                                     THEY .                                                     ■l
                                                                                       i
                                                                                                                                                                           0
                                                                      I




                                                           .




                   ;
                                »




                                                                                                                           S'


                                          »                           .*


                                                                                                                                                     ?
                                                  »
                                                                                                                   *




                                                                                                                                                                       I
    I



                                                                                                                                                              <5




                                                                                                                                   ■




                           «,
                                                                                       a
              i
                                                                                                                                  ■
I           ■’-,                                                                                                                 I                                             I




                                      I



                                                                                                                                                              :l           a


                       ■
                                      f
                                                                                                                                                              §
            i<-


                               »


            y
                                                                                                                           «


                                          I                           .%

        ;


        i
                                                  I
                                                                                                   1
                                                                                                                   I                                 f>
        l:- -                                                                              «



    «x: .:                 ■
                                                                                               I
                                                                                                       I


                                                                                                                                                                   I
                                                                                                                                                                                   -i
                                                                                              »

                                                                                          b
                                                                            f
I               USCA11 Case: 24-13671                                            Document: 13                 Date Filed: 12/05/2024                              Page: 624 of 723                                «

                                                                                                                   t

                 #
                                                                                    »                                   *
                                                                                      t

                                                                                              I
                                                                                                                                                                         pg-2
                r
            F
            r
                                                                                                          >
                                                                                                                             grand Onsniag
                                                                                                                             N; WOlllS-N !aL 4 mmm
            >
                     (


                             I;
                                       (
                                            get.mlaminewtiraes.nr'pn
                                                turned on.                                                              ■' MAS.S/vi'.I                       ..   mi&sn-n«i,opmsa .


                             ■*E':


                         I >                                                                                                                                            Jipl

                                                                                                                                                                               t

    I                                                                                                                   iit!' fe«vss«»»* i*i ii«si!j0'*tv?biBy»                        I   ■
                                                                                                                             o,„.. J            I-J.UW    1.--1
                                                                                                                         .              .         • • ’      ‘    WfgntsteparcHaK mncralsajssl^
                                                                                                                                                                  otlter•^il and gas interests,
                                                                                                                                                                         itAR6.Bo»;m                                  *


                                                                                                                                                                  Oett'terCOSam




        »
                             •-J;-

                                 6'                                                                                     -ORIENTAL                                        <4!


                                 '■h

I                                Ui

                                                                                                                        :;IS'                                       Kill to ®, ■ ,
                                                                                                                                                                       feWSlWj^ga-:
                                                                                                                                                                                                                  d




                                                                                                                             OFF                                       ■iiifcaBfte#
                                                                                                                                                                       BM W »Itsw&li tttWSIUBSJIS
                                                                                                                                                                                                         I
                                 c                                                                                           OPSN/na-.S
                                 ii.
                                                                                                                              A W'.-* K
                                                                                                                                                                  t/                            .1
                                 t~
                                 <
                                 t*.
                     A       ■-«!>                                                                                                                                                             »>




                                 <
            >
                                                                                                                                                                   rmRSTY?HUMGRf?
                                                                                                                            2S®»teHiw,R»                                   tSyjj r-
                         I t                                                                                                                                                   ^110
                             ■^3:
                                                                                                                       t .liiitlQlii»E
                                            •■ res fa                                                                          f

                                                                                Wi                                      iK|W8W:8«APIS:5WIWpMeil«TOWlO$|iMm
                             i                                                                                                               mi isiisif cisf
    I                        I
                              h                             rf'-usic
                                                    ,■ iHirVi-sa                                                                                                          4»
                                              . .           •   .                                                                                                                                                     4
                                                                                                                                                                                                    1
                                                                    o                                                                                                                                I


                             I                      GlCSSs
                                                                                                                                   %
                                                                                                                                   f#



                                             ^;Dtolriprip , ^
I                            ■|                     C»l.t                   •
                                                                                                                   ?
                                                                                                                                                                                                                  I




                                                                                r



                                                                                •<?
                                                                                              I



                                                                    t


                     A


                                       A’
            4



                                                                                                                                            6


                         I                                              i

                             t                                                                                                 1                                               f♦
                                                                                                  '   «


                                                                                                                                                                                       (
    »                                                                                                                                                                                                        .1

                                                                                                               I

                                                                                                                                                                          4»
                                                                                                                                                                                                                      4
B- ,5




                                                                 USCA11 Case: 24-13671                                    Document: 13                         Date Filed: 12/05/2024                           Page: 625 of 723
                                                                                                                              *



                                                                                                                                                                                     %



                                                                                                                                                                                                                                                                                      %
                                                                                     m

                                                                                                                                                                                           U                                                                                    ♦


        jODGrimisEfCJFRasirro^                                                                                                                                      iIU                             AWTO FORECLOSE ILLEGALLY
                       ON CRIPPLE BLACK MAN'S HOUSE AFTER DISCOVERY! WE'RE HELPLESS IN COURT
                                     WITH THESE EVIL CONFLICTS OF INTEREST!!!
                                                                                                                                                                                                                            #«
                                                                                                                                         fiOH
                                                                                                                                                                    U   S                                               *
                                            msm'
                                                                        •vi'^   "■                                                       'so tJs BANK COULD CONTfiWUfe TWKdREeLOSfi                                                •5
                                                   -jiu.ii-.ic-VTTCti       »

                                                           I                                                  3;
                                                                                                                                                                                                                                 , 4
                                                                                ^-wmmrn f
                                                                        5
                                                                                                                                                                                                        <a>
          I
                                                                                                                                                                                                                                   I-?
                                                                                                                                                                                                                                  ' ?

                                                                                                                                                                                                                                                                  -f”
                                                                                                                                                                                                              li;B'                xr—--
                                                                                                                                                                                                                                                                            '   ^'
                                                                                                                                                                                                                                 , -f.                                                          i


                                                                        .iSSS' ■ ^                                                                                                                                                  i'
                                                                                                                                                                                                                                    T

              iSi               ♦f   a
                        &
                                                                                                                                                                                                                                   *3r ■-■
                                                                                                                                                                            ■eSMAC   w.iA- '*■■^00 0                                <!
                                                                 ...

                                                                                                                                                                                                                                                                                       %

          I
                                                                                                                                                                                                                                    S'v-'
                                                                                                                                                                                                                                                                                      il
          i                                                                                            1
                                                                                           AS$IG«;<NMtNI .TO MO'.&.«ECO!«iN<aSi                     Si’S<i
        ^2««#CSS#5*4, ft             at- a S*,!#                                         ASflUHNMBMT TO U*! BANK (•SMCi                                                                                                                  rtsx
                                                                                                                                           S-            ?.•
        Miim-Susgms,
                                                                                                                                                                                         :s.«c3 %»v o
               :'W^

                                                                                                 W0-
                                                                                                                                                                                                                                                                        RECUSAL

                                                                                                                                                                                                                                                  MM     -   y>

                                           ty                                                               .4'

                                                                                         I:
                                                                                           %\k                           ■53i^^5|4g;f                                                                                 ■■■
                                                                                                                                                                                                                                             .j*******




                      !%!«*» klB&MrilCSSi.AS^tigf «te
                      MWIr8Af>fc»»6 MS"                                                                             ■/
                                       t
                                                                                         -»■■■



                                                                                                                                  WirM
                                                                                     »
                                                                                                       •,

                                      ;d.                                                                                            ■          >               t
              ft .
                                                                                                             ...G                    ;k ‘ I ^%1’gG ^
                                                                                                                                                                                                                                                         «


                                                                                                                                                                I                                                 ■ ^m

        SEE PROOF AT SAyVBSSS.COM - BV MICHAEL THE BLACK MANQ8.7FM SPM


                                                                                                                                                    «                                                                                                                            •B        ni
                                                                                                                                                                                                                                                                                 s ^
                                                                                                                                                                                                                                                                                     U H
                                                                                                                                                             I


                                      USCA11 Case: 24-13671                      Document: 13r
                                                                                                           Date Filed: 12/05/2024
                                                                                                           I                                 Page: 626 of 723


                                                         • IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                                  a
                                                                                         I
                                                                                                     IN AND FOR                          4




                                                                      MIAki DADE COUNTY FLORIDA CIVIL ACTION                                                 Exh.U
i,                            0


                                                                                                               t
                                                                                                                                                                     »




■ I                                                                              t
                                                          MAURICE SYMOI^tItE
                                                                       I


                                          i               Plaintiff


                                                                                                                                CASE NO: 2021-
                                                                                                        10826-CA01          A



                                              I           V.          .1

                                                  I                                                                     I                            f
      I                                                   U.S. BANK,NATIONAL ASSOcfATION,
                                                          As TRUSTEE FOR RASC
                                                                                                                                                             I
                                                         2005AAHL3, MERS,FRANKLYN
                                                         CREDIT MANAGEMENT CORE and                        I
                                                                                                                                                                 0

                                                          AXIOM FINANCIAL SERVICES                     ’                                        *




          I
                                                         •Defendants,
                                  a
                                                                                         I
          I                                                                                                                              4
          I
                                                                                     k
                                                                             t
i                                                                       MOTION AND AFFIDAVIT FOR RFLIFF. RECUSAL.
                                                                                                                                                 m



                                                                                                                                                         $
                                                                                                                                                                     I



                                                                           VACATION OF ORDERS AND MEMORANDUM OF
                                                                                 »                     LAW         $

.I                                                                               ' I
                                                                                                                                                                 4

                                                                       I


                                          t           Pursuant to Florida Stat. 112.131, Florida Rule 2.160(H)and Federal Rules of Civil
                                                      Procedure Rule 60, Plaintiff MAURICE SYMONETTE hereby files this Motion for
                                                      ReUef & Recusal^ and Supporting Memorandum regarding fee June 25 2010 Valerie
                                                      Manno SchUrr Preview of the record and Fma> JudgementOrder,Exhibit.! because it ^
                                                  '                                         I              *                          f
              I
                                                      injured us. based on the following facts, new information,just terms,judicial
                                                                                             a



    ♦                                                 misconduct, fraudulent grounds and discovered conflict of personal investment                          I
              I
                                                      interests on Financial Disclosures of Judges aAd officers of this Court (Exhibits # B~)
                  I
                                                                                                                                                                         4
                  I
                                                      Attached- U.S. BANK Special Situation Property Funds Account Page 42. IFRS 2018
                                                      Tables 9-13. SEC Filings- U.S. BANK Florida Subsidiaries, Judge Valerie Manno
                                  8

                              »
                                                      Shurr Financial Interests & Property Disclosures).                                 4


                                                                             f       k
                      I
I                                                     Florida -Rule 2.160(H)Says A Judse .
 'I


                                                                                 >                                 *

                                                      must Vacate'her orders for Conflict of                                                                     4
                                                                       •                         •




                                                      Interest like the orders.rupoE valerie
                                              I                       .1
                          I                                                                                            C'
                                                                                                                                                     f
                                                                                k
                                                                        r
     I   I                           • USCA11 Case: 24-13671                Document: 13     Date
                                                                                               f  Filed: 12/05/2024           Page: 627 of 723
                                                                                                                                      *
                                                                                                                                                 «




                                                                                                    *
                                                                            t




                                                                                                                                             4


                                                    MANNO SHURR DID IN THE ILLEGAL EXPARTE

                                                    HEARING 06/25/2010 WHERE SHE CHANGED
             I


a'                                          I       THE ORDER OF DISMISSAL WITHPREJUDICE^
                                                                                                                                  ♦
                                                    TO DISMISSAL WITHOUT PREJUDICE AND
                 I

                                                    RETURN THAT BACK TO DISMISSED WITH
                                                                                              T



                                                    PREUDICE AND ALL HER OTHER ORDERS SHE
                     I


                                     4
                                                    DID IN THE NEW CASE 2022. Theodore R. Bundv V.

                                                    Jud2e John A. Rudd,FL Rule 2.160(D)(1), FI. Code lud.
 I                                   •
                                                    Conduct Canon 3E(DA Jud2e shkll disqualify herself where *
                                                    impartiality mi2ht reasonably be questioned Rule 2.160(D)

                                           , (1)and 2roiinds to disqualify is a party fears that the Jud2e is
                                                    Biased, FL Statue 112.312(8)and Jud2e can’t have a conflict
                                                                                                            r-

                         I

                                            I       ofInterest!.4
                                                I
                                                                                         I
                                                                                                        I                         f
                                                    Judge Valerie Schurr must Recuse herself for an open obvious Conflict of
         I
                                                    Interest because she's and was doing business with US Bank, GMAC and
                                                    OCWEN and helping them to make money so that she can make money •
                                                                                                                                                     4



                                                    by foreclosing and taking (stealing]'our property while acting as the
     •                       I                      Judge on the case on our jgroperty, not on case’s Merits but for to make
                                                                                                                          »
                                                    her and them money Illegally. Here's proof.
                                                                       f
 I                                   •                                                                                                           I




                                           NOW I'M REPORTING lUDGE SHURR TO THE
                                           ADMINISTRATIVE iJlDGR WHO APPOINTS llinr.F.S TO CASKS                                             ±
                                                                                                                                             4



                                           qOVERNOR DE SANTIS. THE IOC. THE BAR.THE US DPI. THE
                                     *
                                           EBI. THE FLORIDA STATE ATTONEY AND MEDIA FOR
                                           OBVIOUS RACIST MISCONDUCT. RYTOTAI.I.Y lONORINr.
                                 r
                                           FEORIDA STATUTES-RnLES AND FOR CRAZY OBVIOUS
                                           CONFI.ICTS of INTEREST '     '
                                                                                    4



         I
                                 I                                                  f




                                                                                                                                                     i
                                                                                               £



si
                         USCA11
                            (
                                Case: 24-13671
                                            .1
                                                     Document: 13                Date Filed: 12/05/2024       Page: 628 of 723
                                 I
                                                                             I
                                                                                          k                       f
                                                                 6


                            Because sojmething strange has Happened out of nowhere! Judge Valerie i
                                                                 r
                                                                                 I

                            Manno Schurr’s SIGNATURE and NAMEshows up on the DISMISSALWITH
                                                                                                                                      j




                            PREJUDICE that was done by Judge ZABEL’s Order ofDismissal With
                                     ,                                                         «
                 I,
             »                                               t

                            PREJUDICE 04/07/20^0 JHE YEAR AFTER Judge Valerie Manno Shurr
     I
                            BECOMES J.UDGE RIGHT BEFORE SHE mistereouly dose another Dismissal with
                                                     *       I
                            Prejudice 04/07/2010 exactly one year after Judge Zabe/'s / /                             Order
                                                                                                                              9

                                             0                           *




                            of Dismissal With Prejudice to take over our case to save U.S. BANK FROM US
                     /




                            and save JUDGE ZABEL,THEIR LAWYERS FROM THE WRATH OF THEIR BOSS

                            GJiffAC /US BANK)WHO HAD ALREADY PAID THEM TO SAVE U.f. BANK
                                                                 6




                            FROM US. JUDGE VALERIE MANNO SHURR is who we'rejust now Jinding out

                            that THE BANKS PAID HER TO TRICK US INTO BELIEVING THAT WE WERE SAFE

                            FROM US BANK WITH THE DISMISSAL WITH PREJUDfCE AND THEN THREE
                                                                                                          4




     1                      MOJMTHS LATER JUDCfE VALERIE MANNO SHURR CHANGES IT TO DISMISSAL                                      »

                                                                                     t


                           ■ WITHOUT PREJUDICE I|J AN ILLEGAL EXPARTE HEARING WITHOUT US
                                                ' I
                            KNOWING SO THAT US BANK COULD AND START THE SAME CASE OVER                                        9




                             4



                     - •    WITHOUT NOTICE TO US! WHY DID CliffAC(US BANK)PAY JUDGE

                            vAaRIE manno shurr to AKE ovp OUR CASE WAS BECAUSE JUDlf ZABEL
                            DISMISSED WITH PREJUDICE US BANK'S CASE / /2009 AS SEEN ON THE
         I

                            DOCKET CASE NUMBER 2007-12407-CA-'01 LINE 10, Exh. C. And FORD MOTOR ,

                            CO. V. CALLOWAYSAYSA JUDGE CAN'T CHANGE ANOTHER JUDGE'S ORDER SO,
                 0



                            JUDGE VALARIE MANNO SifURR FILED HER DUPLICATE DISMISSAL WITH
                                                 f       ‘           ■
     I                      PREJUDICESAMPLEZABEL'S ORDER FILED                           / /       ANDSHURR'S ,
                                                                                                                                  4




                                                     »
                                                     I

                                                             I
                                                                                                   I




    I/;                                                                                                                                                            4

                                         USCA11 Case: 24-13671                    Document: 13     Date Filed: 12/05/2024       Page: 629 of 723
                                                                                                                *


                                                                                       i
                                                                                                                            *




                                            DUPLICATE ORDER FITED 04/07/2010 AS SEEN ON THE DOCKET CASE NUMBER
I                                                -«               *       •        '
                                                                                                       t                                   »

                                           ‘ 2007-124a7-CA-01 LINf 10 AND 11, Exh. C. ALL DONE SO THAT SHE COULD IN
    1                                                          ' I
                                            AN ILLEGAL EXPARTE HEARING IN VIOLATION OF FLORIDA STAT. 702.07 WITH .
                                                                          a


                                             t
     I
                                            THE PLAINTIFF US BANK CHANGE HER OWN.ORDER TO DISMISSAL WITHOUT
                                     *
     1




                                            PREJUDICE, Exh. E.iTO HELP GMAC(US BANK). STEAL SO TH^CAN      L-
                                                                                                                &




                                                      I                                                     t
                                                                                               I



                                 \
                                            ALL MAKE MONEY OFF OF. HELPLESS BLACKS. USING BIG BAD JUDGES
    I                                                                                                                                          I


         I                                  AND LAWYERSUhe Proof that JUDGE VALARIE MANNO SHURR made MONEY

                                            to help them is on her Form 6 FULL AND PUBLIC DISCLOSURE OF FINANCIAL
                                                              ,                                                 o



                                            INTEREST SWORN AFFIDAVIT OATH of 2008 that shows on Part; C. Liabilities
                                                                              f
                                                                                   6


J                                           section that alShe'has $995,000.00 and $91,498.00 from GMAC which is the                                           I



                                                          •           •




                                            Servicer and owner RESIDENTIAL FUNDING cbRPORATION in their notice of
                                                                                                                                                   0




             I
                                            transfer said they'were controlling our paymehts as Servicer from at least
             I
                                     »



             I
                                            1/1/2007 on the Mortgage Payment Coupon at the bottom of the Transfer
             I



             1
                                                                                                  i US BANK N^IONAL
                                            Letter, Exh.S. and’$129,000,00 from Wells Fargo which IS
                                                                                               I
                                                                                                                                       ♦

                                            ASSOCIATION AS TRUSTEE FOR RASC 2005 AHL3, Exh.CDDJ. And Judge Shurr
    i

                                            has $129,000,00 from Wells'Fargo which is US BANK NATIONAL ASSOCIATION
                                                                                                                                                                   4



                                            AS TRUSTEE FOR RASC 2005 AHL3, Exh.(DD)then in 2009 form 6 it shows
                                 8.
                 I           *              GMACMORTGAGE of $410,600.00 and Credit line with GMAC,and $128,000
                                                                              f    ‘
                                                                                                                                   •                   ^

                                            Wachovia which is'Wells Fargo which is U$ BANK, Exh.(EE) and then she allows                                   -   *
                                                          •           •




                     I
                                            an Illegal Ex parte Hearing with US Bank National Attorneys to change her
                     I
                                            order which is reallyJudge ZabeVs Orderfrom DISMISSED WITHPREJUDICE in
                         I
                         I
                                            April 6*, 2010 Exh.(F3)to change the'Dismissed with Prejudice 3 months later
                                                 t

                                                      I
                                                                                               I
                                                                                                            1                       f
                                                                                                                                    ♦

                                                                                           4
          1
                                                                   »
                                                                   t

         •I                    USCA11 Case: 24-13671               Document: 13        Date Filed: 12/05/2024   Page: 630 of 723
                                                                                                                               I




                                   A


          I                0

                                  in June 27th 2010 into DISMISSED WITHOUT PREJUDICE In this Ex Parte
■4                                     I                  .1                       ■                                   _   .
                                  hearing Exh.(F). which is only supposed to be done with only the Def^dants

                                  that are about to lose their home to the Foreclosure Sale and this must be done

                                  before the sale of the House according td FI. Statute 107.07,[during the interim,

                                  GMAC also had a Florida Default Letter as the Servicer) and after that
              I

                                  wonderful gift Judgement to US Bank National Association and helping Judge
                                                               f       ‘       ■
     1                            Zabel out of the mess for doing a Judgment without a Docketed Complaint, Note,
          J

                                                                   I                         ^
                                  Allonge, Mortgage or ah Assignment from the Records which was literally

                                  Criminal, Thievery of our house. Then suddenly In her 2010 Form 6 Disclosure

                                  of Financial Interest, Exh.(FF), it shovvs a $400,000.00 gift from GMAC and
4


                                  shows $1,000,000.00 from Wells Fargo which is^US Bank, Exh.(EEE).^ll of this
                                  is pay to Play RICO Conspiracy to Steal Black Peoples Houses which they're also
         I !
                                  doing to White European.Gent'iles! US BANKS only lawful Remedy was to Appeal the.
                                                                                                                                       4


                  I
                                  Dismissal with Prejudice within 30 da}^ according to Florida Appelate Rule 4

                                  (a)(1)(A). But now a case that was Dismissed with Prejudice was given life again by
                                                               f       ‘
     1                            Judge Valerie Mannb Schurr’s illegal Ex part&hearing and changing the Dismissal
                                                                                                                   9


                                                                                                                                   4



                                               •   •




                                                                   I
                                  with Prejudice to Dismissal ^|vithout Prejudice which allowed US BANK to secretly file

                                  ajiother Foreclosure Case against the House at 15020 South River Drive Miami
                           *

                                  Florida 33167 and US Bank did file another case which was a continuance of the
4                                      I
                                  same
                                           »
                                               Ca.se from 2007 which is called Case Number-2007-12407-CA01 tha^as
                                  Dismissed with Prejudice and Secretly changed to Dismissed without Prejudice and

                      I
                                  without any notice to us in 2010 called Casfe number 2010-61928-CA01 this 2010
                                                                                                                                       j




                          I,
                                                                           t

                                                                       k
     1                                                         f
•J                               I             .1

                                     1
                                                                         I
                                                                                       I                  f
                         USCA11 Case: 24-13671          Document: 13         Date Filed: 12/05/2024   Page:♦ 631 of 723
                                                                                                                 I


                                                                             1

                            was also done without the Original Mortgage, Assignment and Docs. Original of the

                            Note, Allonge to the Note, and the second Allonge from Fannie Mae or
                 »

             »




                            indemnification info th^t indemnifies Fannie Mae and there must be the Loan
     i
                            Number,Date and the printed name ofthe Signer as required by Federal Fannie Mae
                                                        l|                         »
                            Rules B8-3-04 for Fannie Ms!e of which none of this is on the copy ofthe Allonge
                                                                                                                        «

                                                I                ■   *



                            r&corded on the Docket, Exh. LL. And JUDGE VALERIE MANNO SHURR has taken my
                     *



                            new Case again to finish what she started by Ruling in favor of US BANK and GMAC

                            with worst Conflicts ofInterests thatshe's trying to^hide so thatshe can R^e in the
         «                  Bank's Favor to illegally. Because in her FORM 6 - 2019 and 2020 Financial           I



                            Disclosure Affidavit she has over 11,192,000.00 million, plus on line 5 shg states that
                                                                                                                  '

                            she has a $400,000.00 Mortgage with City National Bank that is Royal Bank of
                                                                                           4



             »                                               I

                            Canada which is Wells fargo, Exh. SS. and Wells Fargo is US Bank the Bank Judge
                 9                                                                                       •                  ^
                                                                                                                                ft



                            Valerie. Manno Shurr is helping to illegally Foreclose on us, Exh. TT. The other conflict
                                                        ^                          »
                            is Shurr's $400,000.00 Mortgage Holder City National Bank that is Royal Bank of
                                                a                    •




                            Chnada Which is Morgan Stanly/ JP MORGAN,Exh. VW,which is US BANCORP/ US

                            BANK, Exh. W.and Exli. X. all this is CITY NATIONAL BANK Exh. SS, Who Merged with
•j                                             .ft

                            Wachovia Bank who admitted the were SLAVE MASTERS OF BLACK PEOP'^E,Exh.UU.
                            tojust take PRIPLE HELPLESS BLACK PEOPLE'S HOMES.1 will investigat how this

                            ]udge accumulated 11 million dollars on a JUDGE'S SALLARY,1 Demancfto see where'

                            all that money This is the BANK that was served my law suite by an official Servicer
                                                                                           4
                 a
                                                             I

                            acknowledge by US BA^K \vhich by Florida Statute they hod only 20 days to answer
                 9
                                         *          «                                                                           ft



                            but they never answered for six months while'we trying to Default them the whole
                                                        »
                                                        I

                                                             I
                                                «


                             i
                                           USCA11 Case: 24-13671        Document:
                                                                           I
                                                                                  13         Date Filed: 12/05/2024   I
                                                                                                                          Page: 632 of 723
                                                                         6
                                                                    f
       I                                                                                         t                                t
                                                                                                                                                  «




                                              time, yet JUDGE VALERIB MANNO SHURR with her millions of dollars of Conflicts of
           I
                                              interest helped US Bank by not ever Defaulting them no matter what the laws and
                                               i
           1


                                       A      rules say 1 Really don'tstand a chance in.thisfl^ht because the referee(JUDGE
                                                                                                                          «




•-j’                                          SHURR)is being paid by my Opponents to Rule only in their(US BANK'S-GQLIATHIS)
                                                                         •               1           ‘                        ^
               I                              favor 1 AM Detroyed and CRUCIFIED by these Wicked Animals who break all the
                                                                                 c


                                                                                                                                      I


               I
                                              Laws and kill BLACK PEOPLE and hold theijaselves not GUILTY by these CROOKED
               I

                                              EVIL JUDGES like JUDGE VALERIE MANNO SHURR and I know they are Plotting to
                   I


                               »
                                   I
                                              KILL me right now, KJ.V. BI^E= ZECHARIAH 11:5!!!!! Axiom Financial
                                                                                                                      t



                                                                    f    "
       I                                      Services now refered to as fAFS^ is the Bank the Note was done with atid fAFS)
                                                                                                 T                                $
                                                                                                                                                  «




                                              sold the Note with the MIN. Account number 1Q0176105062733203{M at the

                                              bottom of each page of the adjustable rate Note Exh.fNN) with the Cusip Number
                                               *



                                       *      315912873 to Fidelity Strategic Real Return Flind according to the CUSIP search
                       I

                                              b\4CUSIPONE EXPERT CUSIP search service as stated by The Expert Witj^ess
                                              Affidavit of Fact Wesley larvis. Trustee for CUSIPONE Trust. Exh.(00). T^e(AFS)
                                                                                                                                      I

                                              Note was sold by fAFS]9/7/2005 three rr^onths after Leroy Williams signed the
                                                                                                                                                      4

                                              £AFS} Note and is with Fidelity Strategic Real Return Fund until this day according

                           I
                           I .•
                                              to The CUSIPOne Expert Witness Exh. fPP^ So the fAFST Note never went to US
                                                                                                                      I




       I                           m
                                              BANK NATIONAL ASSPCIATION AS TRUSTEE FOR RASC 2005 AHL3 trow referred
                                                                                                 t
                                                                                                                                              -

                                              to as fUSB). So rUSB^ caAnot Foreclose on this(AFS) Note nor anyone of the above
                                                                             I
                                                                                                                                          I

                                              stated Defendants because they don't own the Note and even Fidelity Strategic
                                               I



                                              Real Return Fund cannot Foreclose because[USB]in 2007 did a Publigation to

                                              Fcireclose.on the.[AfS] Note and Fidelity Strategic Real Return Fund didjjiot Obj.ect
                                                                                         I           *                        ^


                                                                                     »
                                                                                             I
                                                                                                                                                       I

                                                                      0



                                     USCA11 Case: 24-13671
                                         A                                    Document: 13       Date Filed: 12/05/2024        Page: 633 of 723
    I
    I




                                        .or*Intervene withih.30 days of the publication ofthe.Foreclosure.p.f 200fof
                                                                                            1              *            -                  ^
                                        Fidelity Strategic Real Return Fund standingJ:oJFpxeclpse aca^^                                    Fl.Stat Q
                                                                                                                                                   I


                                        Exh.,fppl or any Interest in the.Note and therefore they have no standing And
        I
        I                                                                                                                                                      4



                                        according to the SEC - FASB GAAP Rules once a Note is sold on the Market it must
                                I,
                            »
                                        be burned and Destroyed because a Note cannot exist at the same time that a stock

i                                       bond or fund existbecause.that is Double Dipping using the Fund and the ^ote                                       4




                                        ILLEGALLY. b.Plaintiff h^s l|ad exclusive, complete, actual, open, notorious, hostile,
                                                                                                                                                       9


                                        and continuous possession of the Property adverse to defendants for more than 17

                            '           years. Plaintiff has made and paid for all repais and upkeep,on the property for the

                                        pa^t 17 years..
            I
                                                  I
                                                                                            I              ‘                               f
                                                                                                                                           ♦
                                                      Judge Valerie Manno Schurr.says that GMAC BANK on her form 6 full and public
                                                                                                                                                   I
    1
                                                      disclosure of Financial interests is a Bank she's doing business with, because
            I                                                                          '.         1
                                                      she's doing business with GMAC/ U.S. BANK and helping them to make moijey
                                                                                                                                                               4


                                                      so that she can make money by foreclbsing and taking our property proof: In her

                                $
                                                      Form 6. from Tallahassee called FULL AND PUBLIC DISCLOSURE OF
                                                                                   i

                                                      FINANCIAL,form 6,^Exl;. A. Says on line 5 and 6: Judge Valerie Schu^r is
I               I
                                                      Doing Business*with GMAC with a Mortgage from GMAC for $91,438.00 and ^                              »




                                                      $995,000.00, And G]\^C BANK is U.S. BANK,Exji. El. and E2. Because in her
                I
                                                      FORM 6 - 2019 and 2oio Financial Disclosure Affidavit she has             over
                                                                                                                                                       «




                    I
                                         »            11,192,000.00 million, plus on line 5 she states that she has a
                    I


                                                      $400,000.00 Mortgage with City National Bank that is Royal Bank of
                                                                                                                                a




                                             4 Canada which^s Wells Fargo, Exh. SS. and Wells Fargo is US Bank the
                                                  ‘ Bank Judge Valerie Manno Shurrds helping tolllegally Foreclose on
                        I
                        I                             Exh. TT. The other confl/tt is Shurr's $400,000.00 Mortgage Holder
                                                      City National Bank that is Royal Bank of Canada Which is Morgan
                                                      Stanly/ JP MORGAN,Exh. VW,which is US BANCORP/ US BANK,E^.                                               4.




                                                      W.and Exh. X. all this is CITY NATIONAL BANK Exh. SS, Who Merged
                                9.


                                                      with Wachovia Bank wJio admitted the were SLAVE MASTERS OF
                                                                               b
                                                                          f
I                               9


                                                                                                      r
                                                                                                                                       9



                                                                                                                                               $
                                                                                                                                                           4



                                              /
                                                                              6



    I
    I                            USCA11 Case: 24-13671                  Document: 13         Date Filed: 12/05/2024           Page: 634 of 723
                                                                                  t
                                                                                              I


                                                                                                                                                     4
                                                                                                                                                         I
    I
    I


                                                 BLACK PEOPLE,Exh.UU. to All of this is a major Conflict of Interest. She and
                                                 other Judges who hqve the same conflict of interest has ruled in favor o‘f, U.S.
I                                                Bank, EXH. C F. ofthese Conflict of Interest agjainst us and there’s more. I have ,
                                                 found that our case w|s directed to her and other Judges in this Pool,So she
                                                 must recuse herself and vkcate her Order, Exh. F, So Valerie Schurr you must
                                                                                                                                             I


                                                 Recuse YOUR SELF VACTE ALL YOUR ORDERS NOW! AND 1 PRAY THAT YOU.
                                     «

                                                 DON’T SPACE FOR ANNOTHER JUDGE TO ORDER THA T YOUR ORDER TO
                         *


                                                 DISMISS WITHOUT PREJUDICE IS ILLEGALLY BE UPHELQ!
                                         I

                                                                                        I
                                                                                                         1                           f
                                                                                                                                     I

        1                                                                   FACTUAL BACKGROUND
                                                                                                                                         )

                                                                                  I
                                                                                              I


                                                     1. Judge Zabel got very angry with U.S. Bank and decided to                 *




                                                    .dismiss the case with Prejudice between 2007 and 2008 but
                        0,                          ■Judge Valerie Manno^hurr some how ended up bemg the Judge
                                                     who signed the,0rder OnAPRIL6,2010 Judge Valerie Schurr issued a
I I                     •
                                                     final judgment hrder Exhibit.A IN FAVOR of I^eroy Williams to dismiss
                                                     the Foreclosure c^e against him with Prejudice whose property is
                                                     now   Quitclaimed to Plaintiff Maurice Symonette in the former case
                                                                                                                                             0


                                                     no: 07-12407CA01 where U.S. BANK could never produce the
                                     i

                                                     promissory Note though they were asked by the Judge several tirries
                                                     but never did bring if forth, Exhibit. I. and then after three months .
                                         t           and GMAC dfeing business PPayoffl Judge Valerie Manno Shurr 1 on
                                             I
                                                                              •                         t-



                                                     lum 25 2010. issued A Issued another Order that changed Zabel and               f
                                                                                                                                     ♦

                                                     Valerie Manno Schurr’s Order from dismissed with Prejudice to
                                                                                                                                         I
                                                     suddenly dismissed without Prejudice in an illegal Ex Parte hearing with

            I
                                                     her and her Business Partner’s U.S. Bahk/GMAC and Judge Valerier
                                                                                                                                                     4



                                                     Manno Schurr is now the same Judge with the same Conflicts of Interest

                        0,
                                                    .rulling on the same case^and property with the same business partners
                    »



                                                     against Maurice S^mojiette concerning the same property this is wide ‘
i                                                    open Crazy! And Sad! That this Court is Strong Arming,. Bullying and just                   »




                                                  ' taking our house li^e gangsters with the Full strength of the Police
                                                     against the helpless thebe gangster ways has her now gone and went
                                                                                                                                             0

                                                     from a few Million Dollars to now over $20 million Dollars with the same
                                     I
                                                     business Partners as a quasi-defense attorney for U.S. BANK her
                             >



                I
                I
                I
                                         I                       A
                                                                                                                  t

                                                                   e>
                                                           f
I           9
                     USCA11 Case: 24-13671                     Document: 13          Date Filed: 12/05/2024
                                                                                                                         a

                                                                                                                      Page: 635 of 723       I




                                                               »
                                                               f

                                                                        1

                         «



                                         personal investment,Partner to make money together. Plaintiff
                                        MAURICE SYMONETTE has now subsequently provided the
                             I                       « *



                                 t
                                         United States Department of Justice (DOJ) on spr^cific newly                        f
                                         discovered whistle blower information and records regarding
    1                                    millions of dollars in exposed fraudulent foreclosure claims made by                        I


                                        the Defendants U.S. BANK,Clerks and Court officers in this action.

                                         Exhibit, 0. GMAC does not own the Note.                                                                     4




            fi

        »                                                               »


                                                                   ^MEMORANDUM OF LAW
\                                                                                         r
                                                                                                                         a


                                                                                                                                             <
                                                                                                                                                 4




                                             The Defendant! m|intains timely Constitutional due process civil
                                        rights for Florida Rule 2.160(H)and Federal Rule 60 Relief to close                              «

                                                      «                         •


                                        this case with the original Dismissal with Prejudice in our Defendants
                 »                      favor with requirement of Valerie Schurr Recusal based on exposed
                                        financial conflicts of interests Fla. Stat.112.312 ('8')('9).
                             I                       .1

                                 I       Rule 2.160(H)and FRCP Rule 60^ relieffiom .Judgment Or Order                        f
                                                                                                                             ♦
                                     and to Vacate Order .                  4


                                                                                                                                     I
    1
                                         There is to be no conflict'pfinterest with the Judge and the Plaintiff
                                        against DEFENDANTS. LIKE
                                                                                                                                                     j




                         (I) mistake, imtivcrfence, surprise, or excn.sable neglect;
            4.
                                                                        *
                         (2) newly discovered evidenceJhat. with reasonable diligence, could not have hlmi discovered in
                         time to movefor anew trial under Rule 59(h):                                                                            4

                                                                                          r                                      4




                                        3. Fraud whether previbusly called intrinsic or extrinsic, misrepresentation
                                          or misconduct by an Opposing party
                         $



                 *


                                              A Judge is expected to Recuse herself according to Ha. Code Jud,
                             I          Conduct, Ca*on 3E (1), Ha”. Rule 2.160 (A)(H), Ha. Statute 112.312
                                 t
                                        (8) and pursuant to '28 U.S, C. § 455 Under § 455(a), Recusal is                     f
                                         mandatory in “any proeeeding in which Judge’s impartiality might
                                                                                                                                     I
                                        reasonably be questionedi” Under Fla. Code Jud. Conduct, Canon 3E(1)
                                                                            '.        1
                                                                                                                        *
                     USCA11 Case: 24-13671                               Document: 13         Date Filed: 12/05/2024            Page: 636 of 723
                               ft                          .ft

                                    I
                                                                                          1
                                                                                                            1                            f
                                                                                                                                         ♦
                                                     and § 455(b), a judge is expected to disqualify herself whenever
         «                                     any of the five statutorily prescribed criteria can be shown to exist in
                                               fact; even if no motion or affidavit seeliing such relief has been filed,
                                               and regardless of whether a reasonable person would question the
                                              judge’s impartiality.
                                                                                                                   »

             0



                         Fla. Code Jud. Conduct, tanon 3E[1], Fla. Rule 2.160 [A)[H}, Fla.
     1                  Statute 1.12.312 [8]'and Section 455[b] he shall also disqualify himself                                                       ft



                       in the following circumstancess.
                                                                         >                              *
                       (4) He knows that he, indivitlually or as afiduciary, or hisspouse or minor child residing;in his
                       household, has afmandal interest in the subject matter in controversy or in a parly to the
                 *
                     • proceeding, or any other interest that could he. substantially affected by the outcome ofthe
                      proceedings
                                                           A

                                    ft

                                                                 M
                                                                                                            I
                                                                                                                        <
                                                                                                                                         t
                                                ■>
                                                                                                                                     mi (I* 11]


                                                                                               l

                                                                                       CONCLUSION                                                           4




                                                     This Motion for Relief by Vacating Order Judgments Honda Rule
             ft .
                                         •     2.160 (H)    and RecusM is based on new facts, related to a whistle
                                               blower’s    infomnatioii,         willful blindness,     fraud,   misconduct,   and   «
     1                                                                                                                                                 ft



                                               discovered evidence unknown at the tim^ of the original Complaint
                                               filing Plaintiff coi^d not reasonably know thef financial dealings with
                                               Defendants of a yet to be assigned judge before the original Complaint                             ft




                           I                   filing As previously displayed by his Dismissal Order, due to cited
                                             - improper financial conflicts of interest. Judge Valerie Schurr was
                                               incapable of impartially and without animus against Pro-Se Plaintiff or
•J                             ft
                                               to exercise unbiased judicial duties required for due process justice in
                                    ft
                                                                                          I                 ‘                            f♦
                                               this case knowingly because nobody forgets how and why they get
                                               $995,000.00 at the time that we asked THE ACTUAL JUDGE, JUDGE
                                               ZABEL to Dismiss our case With Preju(Iice. So that JUDGE VALERIE
                                               MANNO SHURR was paid to and would change the Order to                                 •                      4




                                              .DISMISSAL WITHOUT PREJUDICE!!!

             ft ,

                                                     Judge Valerie Schurr has creditor loan history and business with
                                                                     f       ‘
     I                                         Defendant U^S BANK MERS and GMAC that caused THIS
                                                                                                   ft
                                                                                                                                     &



                                                                                                                                              f
                                                                                                                                                       ft




                                                                         t
                                                                                      1


                       USCA11 Case: 24-13671                      Document: 13      Date Filed: 12/05/2024               Page: 637 of 723


                                                   preferential Quid ^ro Quo treatment by her .sua'sponte review and
                                                              f
      I                                   Final Judgment'Order. Judge Valerie Shurr has significant exposed
                                                                                          f
                                                                                                                                            I



                                        • investor financial interests in the subject matter in controversy and with
                                          Defendants U.S. BAN^ that will be substantially negatively affected by
                                          the outcome of that proceedings when the Plaintiff “ultimately prevails                       t




                           A
                                           and promotes in paid for adds in the medja. Because people can’t win
                   *
                                           when the Judge is on the side of the Banksters to steal property and
                                           money off th^ir Prey!
                                   I

                                                   Example of Judges who already recused themselves from U.S.
                                                                                                                                f
                                                                                                                                ♦

                                          BANK
          I,                                                                                                                        I

                                       1. JUDGE DARRIN P. GAYLES Exhibit, P.i
                                       2. THOMAS WILLIAMS Exhibit, Q.                                                                           A




                                       3. JUDGE BARBARA ARECES Exhibit R.

               i

                                                                          I

                                                                      b
                                                                              REQUIRED RELIEF                        »




      I                                                                                   t
                                                                                                                            a
                                                                                                                                            «




                                                   Pursuant to I|a. Code Jud. Conduct, Canqn 3E(1), Fla. Rule 2.160
                                          (A)(H), Fla. Statute l![2.312 (8) and Federal Rules of Civil Procedure
                           I
                                          Rule 60, Plaintiff requires Rehef from the Juts; 25. 2010 Final judgment
                                        - Order rExhibit.J. based upon the stated - facts, just terms, cited
                                          misconduct. Rule 60 grounds and newly discovered banking real estate
                               I
•J
                                          fraud by cotiA officers.
                                                   Said Reopening Relief would require the vacating of his order and
                                                                                                                                f
                                                                                                                                ♦


                                          Recusal of Judge Valerie‘Schurr from this and any future related U.S.
                                          BANK banking real estate cases in this E\istrict. The Dismissal Order
                                          ReUef also requires that all parties be reinstated to their prior positions ■     4
                                                                                                                                                4




                                         .in this action (Dismissal with Prejudice) requiring Clerk issuance of
                                          ■Summons upon the Defendants and allow the filing of a Motion to
                                          dismiss the Finayudgmerit for cause, grounds and reasons stated herein
      1                                   filed.
                                                                                          t
                                                                                                                                            I




                                                                                              *


                                                                  '       I
                                                                                                                                        t
                                                         I


                           4



                   4




Sit                            I                         .1

                                   I
                                                                                I
                                                                                                  1                             f
                                                                                                                                ♦
p
                                                                                        *

              USCA11 Case: 24-13671                       Document:
                                                          ' I       13            Date Filed: 12/05/2024       Page: 638 of 723
                                                                                                                              «

                                              a




                                                                  CERl lFICA FE OF S.ERVICE
                *


                                       I HEREBY CERTIFY tliat on 5th day ofJan. 2020 a true and .
                        I
                                correct copytffthe foregoing vvas provided via this Couit's efectronic
                            I                                                                I                     f
                                filing.system to the attorneys of redord                                           ♦

                                                                      4




                                                                          I


                                                                                                                              0




         I,                 MAURICE SYMONETTE
                            15020 S'. RIVER DR.                                                            «

                                                              b
                            MIAMI FLi-35i67           f
     1                                            «                                                                               «




                                                          I




                                                                                                                              4

                                              9


                    i




                        I                     .1

                            «
                                                                              1
                                                                                            £.


                                                                                             &                     f
                                                                                                                   \

                                                                      4


                                                                                                                          I


                                                                                  I


                                                                                                                                      4




                                                                  i
                                                                                                           »

                                                              b
                                                      f
1                                                                                 , r
                                                                                                                                  «




                                                          I
                                                          I




                                              t


                    t




v-                      I
                            i                                                                                      f
                                                                                                                   ♦

                                                                      4


                                                                                                                          I

                                                                      »
                                                                                  I


                                                                                                                                      4




                                                                                                 *


                                                                  I
                                                                                                           «
                                   «         .6

                           USCA11 Case: 24-13671
                                       t
                                                         Document: 13                              Date Filed: 12/05/20241                                  f639 of 723
                                                                                                                                                         Page:
           Filing # 143079243 E-Filed OmiHQll 03:42:IS'PM
                                                                         *



       !                                                                                                                                                                          t-
                                                                                                                                                                                       /
                                                                                                                                                                    / I                /
                                                                                                    I

                                                                                                                                                           *




                                                                 I
                                                                                                                                                     i



                                                   r
       t                                                                                                                                                    s



                                                                                                                                                                                       (
                                                                                                                                                                                           «




                                                                                                                         .: ■9:


                                                                 I

                                                       Nt‘,'i-S€C5W*ICft«
                                                             t g*» A O'/ TmmA                      , »«»**% w.v»" ^                     V

                                                                                                                                                ■I
                                                         ^ ^                 ^   ^             n «-T                           i
                                                                                                                                                i
                                                                                 . ^     ,    ->    ;
                                                                                                                     •■- ■?■' ■-                                f
                                                                                                                                                                ♦


                                                       B >" '.S'    ' /y.3e«&esn • -                                     :nk            lisi:
           I                                                                                                                                                              I
                                                       l.iS'/ef S^ &f                                                   i1®g;
                                                       vi^m r’Qjtx,                                 i
                                                                                                                      WMf is##*




                   •.
                                                                     t
               I




       1                                           U-&ui^n
                                                   A>/6c;3*
                                                                                 <f/fSE.'WS,' S/*'^.'f;s Sa^4 by
                                                                                     ,                  r
                                                                                                                                                            e




                                                   * J>4, S'.;**.                tmm.i!». >.
                                                   '"7                                                  W-i



                                                                                                                                                                              «

                                              I


                               A



                       M
                                                   CafWiJsV. R9C. Jll?f» b?ri3'3 :il L' S.                                         '■f>%>€'^^

i;.V                               «         .1

                                       i
                                                        %>/$
                                                                                             f ^        &y "y- f iS^/ , /
                                                                                                                                                                f
                                                                                                                                                                ♦

                                                                         «




                                                                                                            !.....

                                                                                                                                                                                               ^




                   t
                                                                     I
                                                                                                                                                     »


                                                   f
                                                             b


       I           9


                                                                                                        ?
                                                                                                                                                                                           «




                                                        »
                                                         I

                                                                 1
                                             I


                               A
St''
                                                                                                                    . .. .




                                    m
                                        a
                                                 USCA11 Case: 24-13671                                              Document: 13                             Date Filed: 12/05/2024                                               Page: 640 of 723

                                                                                                                f
                                                                                                                             6
                                                                                                                                 I
                                                                                                                                                                                                                              4               ..'n      ft
                                                                                      .;
                                                                                                                                                                                                                                          S


              »                                                                                                                                                     ?                                                                              t
                                                                                                                                                                                                                                                                                   «




r                                                                                                                   »                                                           *


                                                         is                rHeNetiw oftis Pendens                                        by Plaintiff and recorded in the public reessrds of MtAMI-DADt:
                                                  Cooiity,Florida, regarding the beiw-descritad property:                                                                           .

                                                         *                ■ . LCyrI05» BiSCAYMB.GARDENS SECTOR F PART h ACCOmim TO
                                        '*
                                                                          ' THE-PLAT THEREOF, AS RECORDED !H PLAT BOOK 44.PAGE 4$,OF
                                                                            'THE-PUBLieRECORDS'OFMfAMi-DADE COUNTY,FLORIDA.                                                                                  ^        ^           ,
        i
  '■i/


                                                  be and'same hereby is canceled, vacated,discharged and shall be of r,o fwdier                                                             or effect, and the Clerk is herel^
<'7'
                                                                                           ; '                                                                                                                                            . ♦
                                                  directed to record,this Order to reflect stwne.
                                                                                                                                                                                                                                                                                                    ^




         :              'i
                                                             m               The Final Summary fadgment he/etofore entered on August OP.2007, be »d the same hereby is set                                                                                                         :            ^
                                                                                                                                         r
                                                                                                                                                               I
                                                                                                                                                                                                                                                                               :                ^
                                                  aside and shall be-ofno futthe’rfee'or effect.
                                                                                                                                                                                                                                                                                                        4


                                                             il              The Pfaitrtiff requests that the original Note and Mortgage be reaitned to tke Plaintiff and
L-,
       ■5'i:
                                                  photostatic copies shall be substituted in their^place.-
                V
                                                                                                                                                                                                                              4

                                                             DONE and'ORDERED in Cfcfmbars' in-MIAMl-DADE County, Plorfda, this                                                                                                               day tof
                                        9
                                                                                                                                                   \
                                                                                                                                                                                                                                                                                       »

                    :::>
                                                                                                          ,2O!0,                                                    t                                                                              f
                                                                                                                                                                                                                                                                 <


                                                                                                                                                            V".*«

■I'i-T
                                                                                                                                              I                         '   ■

                                                                                                                     »
                                                                                                                       ?

                                                                                                                                 I
 il'-'                                                                    uUN 2 3 zrnQ                                                                     EE. MANNO SCHURR:
                                                                                                           4
                                                                                                                                              Circuit Court Judge
             Sx                                          c
             ix-a"i ■
                                                  Copies ftintishud to:
                                            />   • Florida Default Law Group, P.L.
                                                  P.O.Box 25018
         X ■                                      T^pa,.florida 33622-5018                                                                                                                                                                                                s,- :y
                                                   \il parses (;i th.- .nterited
      ■ "■if
                                                  FaiOl2l48-,MOlOS0S
                                                  GMAC-CONV-abiv®’                                                                                     I
                                                                                                                                                                                        1                                                     ft
                                                                                                                                                                                                                                                                          I.
                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                                                           f;

                                                                            '=        X'ul-fxx’Sr., , :                                                                                                                                                 I
                                                                                                                                                                                                                                                                                   xT
                                                                                      ,.xx;ixx*x                                                               1
iSi:'-                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                       x;
                                                                                                                                                                                                                                                                                           i.

                                                                                                                                                                                                                                                                                                        4

        :s;.:, ■                                                                                                                                                                                                                                                          X


             :L                                                                                                                                                                                                                                                                            i
                                                                                           I'

              i:;                                                                                                                                                                                «

,ifs                                    a.
                                                                                                                                     1                                                                                                                                                     I
        '•.T
                       !
                                                                                                                             h
                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                          f:
       x:
                                                                      =
                                                                                                                9
                                                                                                                                                                                                                                                                          i :
                                                                                            ;i        -                                                                                                                                                          4
                                                                                                                                                                                                                                                                           IL
                                                                                                                                                                                                                                                   t



                                                                                 ix
                                                                                                                     »

                                                                                                                                                                                                                                                            'a

                                                                                                           I                                                                                                     f.




                             :■.:
                                                         I
                                                                                                                                                                                                                      "'ft 1
                                                                                                                                                                                                                          m
                                                                                                                                                                                                                              m       A
                      '■ \
             ....::                                                                                                                                                                                                               mwM
                                             4


 i'f;'
                                                                                                 F,

ft;                                                          I                                            . I
H-'-
                        I
                                                                  I                                                                                                                     1                                                     f
                                                                                                                                                                                                                                              ♦

      BR27343 Pg 960 CFN 20100451678-07/06/2010.15:32:32'Pg 2 of 3 Mia-Dade Cty, FL;
                                                                                                                                                                                                                                                        I
                        .1
                                                                                                                                                                                                                                                                         ■ ■' .’'T-
                                                                I




            USCA11 Case: 24-13671                          Document: 13                  Date Filed: 12/05/2024                             Page: 641 of 723
                                                                                                                                                         Xjrl . PM'

            form 6                      FlJtLAND PUBLIC DISCLOSURE OF
                                        —I CTNANCIAL tNTERESTS .                                                                                 CoJlSSOfimmm
                                                                                                                    fobofbce                       DAlfeRECBfD
                                                                                                                    USEOMiV;
    J

                                                                                         1

                   HonValsTO R, Manno ScSStif^                                                                                    iO^Code
                   Circuit Judg^
                   jodtdal,CS’Cuit(11Tii.):
                   Elected CoftststutORs! Officer
                                                                                         1*0
                                                                                         fW
                                                                                                                                            ilflllll
                                                                                                                                   to'Mo.           2103®
                    Oacfe County Cdurttosue R m 1105
                   73WPI®0®tSt :                               ‘
                                                                                                                                   Conf.

I                                                                                                                             r    KReO-tede”
                                                                                                                              Manno’Schurr, Valarie R.,
                                                          i
                         WJS wfem..lNG8VACWPIOATE             □I'
                                                                                                                                                                   »

                                                                     ■ ' faRTA-NET WORTH                                                            sa»waHfty!wr'»#drW.^ . ' ■
                     A
                                                                                  more cormnt date. I
            pS8e$«enter                                                                        ‘ . ^
        i
                                                                                                                M#as$
                                                                                                                         ?
                                                                                                                                                3S!Z.£®.               ,
                                                                                                                             •r             t


                                                                           mfor i - ASSETS                  i                                      f
                                                                                                                                                            I
               ctifi«fhousatewaems:»fKt«WcJesferf»»w8(M»>                                          ,
               ri^9<a^regate'va!ti8 oftfny
                                             teus«hold;good8Arm>perewe! alf«ts fdc             sboi'e) $
                                                                                                                                                         S?AlAf8DPAS#eT
            ASSETS
                                                                                                                                                        imMM

             tk
\       '

                                                                          F^T C >- L'.                                                                             4


                                                                                                                                                        aMOlflffggt^SJtV.

              “^'“”SES&»EHS22^                                                                                               3                          114^^
               Ai<y,i (VifirWi^iMitm
            >p»'                                                                                                                                ktifi
                                                                                                                                                        Mm .
                                                                      "       ‘      ’                 ’'       '                           —r
                                                                                                                    sToftSrHprai^' ,flBByMr-»LM>i8towt:.
               JOIMTAMI        hERAt LIABRITIES, NOT R^ORTiO ABOVE;
    I                           HAMS AMO ADDRESS Of CREPffOR .
                                                                                         I




                          mTfdf                                                                                                                                        PAGt'l
                                                                            (Cw9nM»d Pn - wpm 'MS^                   .
               C6 FORMS - Sft ■ir2(»9
                                                                 I




I                                                                                              t
                                                                                       J




!■
                            USCA11 Case: 24-13671
                                       «
                                                                              Document: 13                       Date Filed: 12/05/2024                     Page: 642 of 723
                                                                                                                                                                        /I /


                       FORM 6                          FULL AND PUBLIC DISCLOSURE OF                                                                                               2i§9
L
                                                                  .1

                                           I
                                                                        FINANCIAL INTERESTS                                   i

                                                                                                                                  • FOR OPFIOE
                                                                                                                                                                         ■4 111
                                                                                            A                                                                  ii;a ^ ^
                                                                                                                                                                               I




                                                                                                         PROGfesSE®
                                                                                                                                             ® Code
                                Hon Vaterfe R. ^anno Schorr                                                                                                   iii
                                Circuit-Judge
                                Judicial Circuit (llTn)
                                                                                                                                              10 No.,
                                ■Efscted Constitutlonaf Officer                                                                                                           21:0380-
                                73 W FLAGIER ST DADE COUNTY ClOURTHOSUE RM,
                                                                                                                                             Conr.
                                1105                                      f
                                                                                   b



         I                      MIAMI;, FL -3,3.1;3C): ■ ■
                                                                                                                      I
                                                                                                                                             KReti.Gette “

                                                                                                                                            Panno'Sdhurr, Valerie'R.
                  :0^CS,:tF -W® © A..FMHG:BY a CANDS0A1 £                     S’
                                                                          '                     "tARTA-METWORTli:::
                  Pieas®. enfefithtvaltm r/ jreur ml worth             December 31,2009. or a more current date .[Note " NeJ worth te'twt caJeafetea by subira^s
                  teS>‘%53:irom:ywf repo/rsd assets, so jfease, see th& sfstructlons-on psge 3.j
                                               My net wortti-ss of                         0 lit;' f: ?? I                        §     63s\.L^
                                                                                                                                         #
                                                                                                                                                ,a:
                                                                                                                                                  I



                                           I                                                             PAITI - ASSETS       I                                     !
                                                                                                                                                                    ♦
     t
                  HOU^fdO GOODS «<0 PERSOMAL EFFECTSb
                  . IkmeiiM  Bn^ psmmBf&Sek& msy i»rspmis& wss lump sum if.lbejf aggregate value eJcoeeas'S-i.TO.TUfS fatr^^srymdEidesafyyotttte'-fcscsang,
             I
                      tf r»t nsa for (nvestewnl purposes; JewoSiy, colfeciions-of stamps, guns, ana.hwmlsmotlo items: art objects:; WusehbW sqoipmenS ami f«fros^i6ss::fitoft-ing:
                      otter teasehoW items, and vehWss for pcreottal use                    .        '    '
r;
                  ■                                 ibussboW gc^s Sfilrpwsbfel^effefe (deswibed-afevelis-S
                                                                                                                  1
                                                                                                                                  /g;,n<T) .rg)                 _




                  ASSETS {NBfWDUALLV VALUED AT OVER $1 ,CH»:
                                                                                                                                                                         VALUE OF AWET
                                       DESCWPTIOW OF ASSET fegacife d<m:rfpth>n te rwpfrwii - 9m                                  p4)

                                                    ■I t v     y\Mm. 3kiMiki4l
                                                               Luxk^mMIuJ
                                                                                                                                                        «

                                                                                                                                                                                   OOP-00
         I       F/i-nkl,                                    \trf>byA t                                                                                                 42mjmLB
                                   - -Ku.r       |0: • 1^1 .va;               t                                           »
                                                                                                                                      f ndatkp
                                                                               t




                                                                                            PAR'I

                 LJABSirrtgS m kcess of $1 ,eip;
                       ,   '.          NAME Ai® ADDRESS ©FXREDITOR.                                                                                                 AMOUNT OF .EJAaWIT

                 Ami^' Ctofi.>Lir^ .L.fe’KHL45 i.va'to:,iic.,X A
                 iA^te,irL^ji. r L .fel.K/V-C. fa /■ fcSXTbV Tvi(i7s I t                                                                                            /wKcfs.m
                                                                                                '-             7g0b TTTKrpi I
                                                                                                                                                                               t
                 JOSNT-AN©;SEV6RAL yABIUTtES MOT RiPORTED ABOW.;
                                       :MAMe:WP.-APPffiSS. OF CREDITOR                      i                                                                       AMmtMTiOFL^firry
                 Hoi't?.

                                                                                                                                      ■«>

                 Oe.EqRM 6, - Sff l/ffffflr                                            * ICofitiBwsd ort mmmQ side)                                                                  PAGBi
                                                                                   b




4
                                                               USCA11 Case: 24-13671                                Document: 13        Date Filed: 12/05/2024                            Page: 643 of 723
1.
 S




I
 t
                                                                           «
                                                                                                                                                           I


                                                                                                                                                                                              t
                                                                                                                                                                                              ♦
                                                                                                                                                                                                                                                                                      I ■
S.                                                                                                   8:02                                                                      t'
J
                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                         I

!                                                                                                                            m     n                                                                                                                                                  !

                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                                                         i




                                                                                                American                                               'V' - Pased in ."
                                                                                                    •-S

                                                                                                                            r'           I
                                                                                                                                             and incorporated in
                                                                                                                        • It is the parent company of U.S* •
                                                                                                                f


          i                                          0
                                                                                                Bank National Association, which is the 5th
                                                                                                I
                                                                                                                    I                                                   .The
                                                                                                                                                       $
                                                                                                                    I


                                                                                                company provides banking,investment,
                                                                                                                                                                                                                                   4




                                                                   I                            mortgage, trust, and payment services
                                                          fi                                    products to individuais, businesses,

                                                                       I
                                                                                                governmental entities, and other financial
                                                                           (
                                                                                                institutions. It has 3„106   . » and 4,842                                                    f
                                                                                                                                                                                              ♦

                                                                                                          , ,primarily in the Midwestern :, *' •
                                                                                                                                                                                                                      I

                      i                                                                                     , and has appro^cimately 72,400
                       I
                                                                                            .employees.                      The company also owns                                    ,                                                                                                      4




                                                                                                a processor of credit card transactions. U.S.
                                                                               !            >
                                                                                                                                                                                                                                                                                 ■ ■■-

                                                                                                Bancorp operates under the second-oldest
               ii ■ .                                                                       continuous national charter, originally Charter                                                                                                         V:


                                                                                                                                             r.
                                                                                   " ■ •.   #24, granted in 1863 following the passage of                                                                                                                                    'H' ;;
                                                                                                                                                       #


                                                                                            the             ■       ’   I              . Earlier charters have                                                                                ir


                                                                                                                                                                                                                                   9          : .y;.’

                                                                   i
                                                                                            expired as banks ‘were closed or acguired,
                                                          0
                                                                                            raising U.S, Bank's charter number from #24 to
                         I-,,.          ,
9m                            :
                                                                                            #2. The oldest national charter, originally
     'J                                                                I

11                                                                         »                granted to .the "                                '    t.
                                                                                                                                                           t

                                                                                                                                                               I
                                                                                                                                                                   ••


                                                                                                                                                                                          .   f♦

                   Si:                                                                                      ..              JsheldPy                                     , which it
                                                                                                                                                                                                                                                                   : •
                                                                                                                                                                                                                                                                         ■




                                                                                                                                                                                                                      I        • ■

                         ;u
                                                                                            obtained upon its merger with                                                                                                                                 'r




,                  tF                                                                                                                                                                                                          0



H... /?7’
!'
                                       :»-si                                                                                                                                                                                                                                                 4




                                                                                                                                 U.S. Bancorp                                                                                                  ■=:t
                                                                                                                                                                                                                                                               7



                                                     e.
                                                                                                                                                                                                                                        3.-
               ;
                   kU-- '
                                            is
                                               a                                                                    US                   ¥4
                                                                                                                                                                                      9


                                                                                                                                                                                                                4

i                                 4^

                                  4''
                                               =‘'
                                                                                                                                                                                                           y
                                                                                                                                                                                                               7-' ‘7:,:
                                                                                                                                                                                                                                       •4
                                                                                                                                                                                                                                                                                «

          i
               i                                      :i7                                                                                 I I C
                                                                                                                                                                                                   $
                                                                                                                                                                                                       ¥         7:       ■7


y.             ■
                                                                                                                                                       #
                                                                                                                                                                                                           7:7                                                                        "
                                                                                                                                                                                                                                                   .s .   • :
                         •!¥
          ••




I -                                                                                                                                                                                                                                9
F
                                 USCA11 Case: 24-13671                                              Document: 13                                Date Filed: 12/05/2024                       Page: 644 of 723
f*                                                                                                                                                                                                                                 ;
h'^                                                I                                   .1
                                                                                                                                                                                       rXH
                                                                                                                                                                                                                 ■f
                                                                                                                                                                                                                                 • •!



                                                                                                                                                                    t                                                                                   ■■?:■.




t
                         3        *? .«■
                                                                                                                  «
                                                                                                                                                                                                                                                        •        'Ja


                                                                                                                                                                                                                                                                        'A




                                                                                                                                                                                                                      I                 cf'
                                                                                                                  I




                                                          IN THE CIRCCIT COURT 'OF tHE El,EVE?fTBi4U WCIAU ORCUIT                                                                                                                                                  3' .;v3
                     f
                                                                            IN -Also FOR NilAMF-BAOR COUNTY, FUORIHA                                                                             4

                                                                                                         CP/ILACmO^                                                                                                                                                . .-W'U



                                                                                                                                                                                                                                                                        -3^
                     i
                 •;
                                           US BANK. N
                                                           mknm               .                              i
                                                                                                                                                                                         I

                                                                                                                                                                                                                                                                             '3
                                                                                       CASE'NO.‘                          .2607‘12407-CA                                                                                                      ; ^"3.^

L
         1                   0
                                                                                       DIVISION                            32
                                                                                                                                                    ?
                                                                                                                                                                                                  &



                                                                                                                                                                                                             $
                                                                                                                                                                                                                                                                       ■ V


                                                                                                                                                                                                                                                                         ■T-,




                                                                                                     »                                                     #


                                                                                                     ’      I                                                           L                                                               »
                                                                                         I                                                                                                       •CS3


                                           LEROY WILLIAMS; MARK-WELLS; FRANKLIN                                                                                                                   S5
                                           CREDIT MANAGEMENT CORPORATION; CITY                                                                                                                       {S>
                                           OF north JWAl^I;
                                                                       nt*fcnd.m>(»).                                                                                                    ♦              ^ ■€
S
                 I
                                                   I                             .1
                                                                                                                                                                                                        f. o
>                i
                                                                                                                                     I
                                                                                                                                                                    I                                   fe „g.
f
                                               FlNAl ORDKU OiSVlLSM-Nar ,SSr.,,( ANCELUNG RlRECm^L^ S-VM!. CANLIUKC >O\''0
I                                                      ■f TC' i*T!>-iiTi^-T?ikrcr ■ A i«if\^ie‘i?TEVTrtYxri*“ A                          SUM^^AltY                          ■* t«'t\ diT>«;T‘i'V»f'rT^jir*-v
te                                                                                                                                                                                                           &
                                                                                                                                                                                                                      I
                 ,1                                                                                               . PmtQ§l4H£gg^
                                                                 3:33i|fgi;3|’W63J3:                         . ' .            '   ';333-:1;f||#P;tfil’ffill3:'3:;

5
                                                         THIS CAUSE haviag'come on before the Court, ex parte, pursuant to tSie Motion fiJed by the Pl.aintiii; pwsuanC
                                                                                                                                                                                                                                                                  I
                         »
                                                         -ORDERED AND ADJUDGED as |)flows;

                                                                       The case be and the saihe hereby is dismissed, hut without prejudice to the future rights of the -PlainlsfFt«J '
         4                   m
                                                          i.                                                                                                                                      a




                                           bring art action tpfpteefose the mortgage which is (he subject mattertofthe instant cause.
                                                       AH Cdanis of the c|inpi»t against Delendants: LEROY WILLIAMS; MARK WELLS;
                                                          '2.
                                                                             I
                                           'FRANKLIN CREDIT MANAGEMENT CORPORATION; CITY OF NORTH MIAMI; are hereby dismissed,.
                                                                                         0
                                                                                                                                                                                                                                        *


                                                                                                                                                                                                                          ■3i'
             I                                 i



                             0
                                                         i-            Any-scheduled foreclosure safe is caaceled, ■
                                                                                                                                                    ;•




                                                   I                                    .1
Vj |.,
    •;
                                                                                                                                     I
                                                                                                                                                               1-

                                                                                                                                                                    k                                   f♦
                                                                                                                                         ■ ■;            .SeriaL-13666522
                                                                                                                                                         DOCJD; MQ10S02
                                                                                                                  i
                                           FILE^NUMBER; F07Q12148
                     I
                                                                                                                      r
                                                                                                                                                I

         !
                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                  4




                                           •
                                                                                                             I
                                                                                                                                                                                         t




         i                   #                                                                                                                                                                    d.




                 BK 27343 Pg 949 CFN 20100451678 0^/06/2010 15:32:32 Pg 1 pf 3 Mia-Dade Cty, FL
                                                                                                     '      I
                                                                                                                  \
                                                                                                                                                                                                              '■ ■

*l*it*‘                                                                                                                                           r                         ■y
                              USCA11 Case: 24-13671                            Document: 13                       Date Filed: 12/05/2024                                     Page: 645 of 723                           ' ;•   ■
                                                                                                                                                                                                                                                i




k



             ■ #Xv                                                                     I
                                                                                                                                                                 :X              LX}
                    X                                                              b
                                                                                                                                                                       ft




     i                                                                                                                 IN THE CIRCWT COURT OF THE ^                                                                                    I




                                                                                                                       11  Jt®IClAl CIRCUIT IN AND
                                                                               I                                       FOR DADE COUNTY.FLORIDA
                                                                               ’       I
                                                                    ft
                                                                                                                  GENERAL JURISDICTION DIVISION                                                                    ft




                                     I
                                                                                                                                          CASE NO;:SCiNr24()Nc31
                     *


                                                                                                                        April L20i0:
                                            USB^'5.N.A.-:
    U'                                    S   Ptainsi^s)           .ft

                                              I                                                                                           I                                          f
                                              Vs,
              i:                                                                                ft



             ■I;                              Leroy .WiiMaffiS,:                                                                                                                                      I
                                                                                                                                                                                                                                            €
                                                                               /                                   I



                                                          ORDER OFJDJSMISSAE. WITH .PREJUDICE                                                                                             '

                   ft .                             'This acrioo -was heard on the defendants, motion to dismiss i<w lack of prosecution                                                      U
                                 -            Served on April 1U2008. The*co«rt finds &at(I)notice ptescribedtiy rule 1.40 (e)
                                              ' Was,, served do April 1KOOS; (2)' their wMBoTecord' activity for the year preceding
         *                                     'Service of the foregoing notice; (3) no stay has been issued or approved by the co«ti
                                              And (4) no party has shown good cause why'dtis'action.'Sh0uH remain pending,
         :' 'i
                                                    FT^sS^ERED Tlai 4is iction is Dismissed for lack of ProsecMion'Mth Prejudice
                                                    DONE AND ORDERED in ch^^bers, at Miami, dade county, Florida this 31th day oi                                                                                  «




                                     't             March, 2010.                                                                                      I


                                                                                                         m. if'ffffi:
                                                                                                                                                      if 0                   I
                                                                          tQ'-' ■
                                          s                         .ft                                                                       a   i^^OURT JUDGE
                                               «
                                                                                                              I
                                                                                                                                          i                                          f
                                                                                                ft


                                                                                                                                                                                                          i
              I
                                                                                                     t
                                                                                                                   I

                                                                                                                                                                                 «




                          Cc ■ N(                         t-U y                                                                                       4



                                                                                           ft
                                                                                                                                                                        6


                                                                                   b
                                                                          f-

         i         9


                                                                                                                        r-
                                                                                                                                                                                                                                   «
                                                                                                                                                                                                                                       ft




                                                                                                                                                             %   iiifsfiii t                                            w
                                                                                                                                                                  *
                                                                               I                                             ■ittiifeft                           i;    t-                    U:l*
                                                                                                                                                                                                     mi
                                                                               '       I                                                                                                             i|
                                                                                                                                                                                                               I
                                                                                                                                                                       ■i;           'I                       wmm
                                                                     ft



                                      A



                          »




    ^ Bk 2724.4 Pg 41^3 CFN 2010023^159 04/09/2010 12:47:1? Pg 1 of 1 Mia»Dade Cfy, FL
                                               ft
                                                                                                              I
                                                                                                                                          I                                          f
                                                                                                                                                                                                                                       I
                I




                                                                                                            I
                                                                                                            }




                                                                                                                                                                                      :1
                                                                   I.
I.




                                                                       I
                                                                   HHMil
                                                                                             .6

                                                                                                                                     I
                                                                                                                                                                 «           f
                                                                                                                                                                                                            I
                                                                                                                                                                             ♦

                                                                                                                        *
                    Page: 646 of 723




               I:                                                                                                                                                                      )
                                                                                   .5:'^ • ?;• ‘f. iStig-ai^
                                                                                                                                f
                                                                                                .-1     i                                       I


                                                                   :-san.Aaia-i'it.^i 4<f5,.,:-:-:- ,Cf-


                                             «.

                                                                                                                    M.LONGE TO MOTE:                                 «

                                                                                                                6


         \
                    Date Filed: 12/05/2024




                                                                                                    e                                                                                                       «

                                                                                                                                                                                  /

■I'
             .■1'
               I
                                                                                                            »                                       *
                                                                                                            I

                                                                                                                    I
;|;i                                                                           .raOSWlM, RJMO!® COSPORATfOl
                                                                                                e



                                                                  m
Ifi

                                                  »
              :1.'



                                                                                 mm
                                                                                         m


                                                                                                                                                             I               f
                    Document: 13




                                                                                                                                                                             \




                                                                                                                            f
                                                                                                                                            1
                    USCA11 Case: 24-13671




                                             e.



                                                                                                                b



                                                                                                                                                                                                            »
                                                                                                                                                                                                        %




                                                                                                            »
                                                                                                            r

                                                                                                                    I
                                                                                                                                                                                               a
                                                                                                I


                                                                   «

                I                                     •■•,   ,
                                                 »




       . ■                                                             \                     A

                                                                                                                                                                             fI
                                                                                                                                                        L-

                                                                           I
                                                                                                                                                             I
                                                                 K“J’ i ;t58l?£1355$27332-:.S
                                                                                                                                    WlSs^
                                                                 hm
                                                                                                                        «
                                                                                                                                                                                           %
                                                                                                                                                                                       <

                                                                                                                                                                                           m
                                                                                                                            t
                                                                                                                                            I

                                                                                                                                                                         #
                                                                                                                                                                                                   f.




                                             a

                                                                                                                    I
          p                                                                                                                                                                              «

                                                                                                                             f                                    t



                                    USCA11 Case: 24-13671                                          Document: 13           Date Filed: 12/05/2024        Page: 647 of 723
                                                                               10:34^                      I                             *1    5G »:
                                                                                           I


                                                                                                                    i bing.com



                                                  i               "         Homefcomln'gs Flnancraf is owned by GMAC-
                                                       r

                                                                          ■ me,an Internationa'Minanclai services                                           f
                                                                            corporation which.earns major profits each
          I                                                                                                                                                            I
i
                                                                              'year,.such as $2.9 billion in 2004. Register your
                                                                                Homecomings Financial NetworlcComplairtt . ,                                                                    j




                                                                  '/ •' Homecomings Financial Network -.Big
                               $

                                                                               'www.bigclassstjtion.corn/tewsuit/homeconiingsjin...
                                                                                                       6
                                                                                               f


          I                •                                                                                                 t
                                                                                                                                              Feedback                                   V' ;
                                                                                                                                                                                 ■•V:y
                                                                                                   I                             *
                                                                                                   r
              Jli;

                                                                                                                                                                           i
                                                                                           <


                                             'a              ■i
                                                           ! '                  PEOPLE ALSO mK.



                                                  r-                      I     Wherais the homecomings finanefa! mortgage                         'W
                                                       «                  i company located?                          I
                                                                                                                                     &                      f♦
  .i:":

                                                                                                                                                                       1

               i                                                              ' When-dld homecomings financial go out of ^
               !                                                                business? •           ■ '


i-'                        »
                               e                                      ■         !s there a GMhp Bank that accepts mortgages?
                                                                                                                                                    t




ir    t-                       •    l.   :
                                                                                    • i-


                                                                                                                                                                  f

                                                           ' • ■ ” Attestation Report - GMKC Mortgage, LLC
                     ■V.


                                                                                and HonrieQorrtings                                                              ^60
:V.
                                                                                https://www»seQ.f0v/Archives/edgar/data/138332...                                ir   g'itl AC
                                             a

ik
                                                                                We have examined GMAC Mortgage, LLC (th6
                                                                               • “Company’'), for itself'and Its affiliated servicing
                                                                                particfpant Homecomings Financial, LLC (both                                ^
                                                                          ■      subsidiaries of Residential Capital, tLC), pompliafice                     ♦
                                                                                .with the servicing'criteria set forth in Item, 1122(d)
                                                                                                                                                                       i


                                                                                                                r




s-                                                                              HOMECOMIMfflS TOilAMeiAhr'LLC, a
£         -I                   9,
               I                                                                                           ft
                                                f                                       .ft
                                          USCA11 Case: 24-13671                                         Document: 13                                  Date Filed: 12/05/2024                          Page: 648 of 723
                                                         »
                                                                    •       I                                                                                              ft
                                                                                                                                               I
                                                                                                                                                                                                                                        A
                                                                                                                             4
                                                                                                                                                                                        < %:                           h            «




ill
                                                                                                                                                                                                                           II
                                                                                                                                                       I
                                                                                                                                                                                                                           > ./ -
                                                                                                             ■       A'FFWAViT OF FACT                                                  rgf:i                                                    4




                                                                                                                                                                                   a



                                            STATED OHIO                                                              a
                                                                                                                                                                                                  »



                                            COWTYj.PAIHFIELO ^                                                   ‘
         i                                                                                                                                                    ?
                                                                                                                                                                                                                                            I




                                                                                                        ft                                                             #



                                                                           ii« TruJtee
                                            The tntdiersfgiicA Weslev Jarv’iir  ,,,    for CllSIf’fJNE 'rnisl, hcretn staa-s .tiid uoatirni^ iliat hr is:«#                                                                »



                                            fcg||age and contpel'ent id.state on        and prsona! knowlalge that the facts set forth hciviti.t < dii!>^
                                            noted befosv- at^ true,correct. ct>mplete and presented i« good faith, eswhiisit that;

                                                    fi                                  .ft

                                                         •■to       , The CUS1P nimxbctf,attached tor|J-;R0Y WILTT^MS,for an aceownl tering^omber
I                                           ttmi7f,mm2“3$2at %vere searched through iiidepdntienidaSabascs.confirmed tvlth iradtRg tloks. and
                                     «■
                                            3t km one interest ^as conllrtned as per the fc|»rt» issued and attached as a result.
                                                                                    .                                                ■;, ■     _     . . I;                                j; .
                •A:'-
                                                                        Use Fund Manager, or other ctistodiants) of the accounts olTIte fiiiid(s) niaj |avc access
                                                                                                                                                                                                                                                 J


                                            t0illt{trttsl..nec»rds indiaiting detailed data ahont the ptiwentage orinlere!,i as heW for the aeoum ef
                                            LEROY WILLIAMS.
                                9
                                                                                                                     I

                                                                        More .that! one,f«ntim8>- have an interest in theaccownis ol' LEROY WfLLIAMS,
    n                                                                                                                                                         {                                                   t
                                                                                                                                                                                                                                            4



                                            FURTHER AFFIANT SAYFITH NOT.
                                                                «       •       ■




                                                                                                        ft                                                             «


                                                                                                        ’            I
                                           '* Signed and seated this
                                            iv\c|ily-i%o {2022)1
                                                                                        M daj of ■
                                                                                             I
                                                                                                                                                                  ■*            Year of otir fotrd. t^ut ihoitvwd          «




                                    fi




                                                                                                                                             AH Rights Reserved.
                                                    ft                                   .ft
                                                                                                                                             For WESLEY JAR-VTS
                                                         I
                                                                                                                                              I         ■ ’Yv-,:                                              f
                                                                                                                                                                                                              t


                                                                                                                                             V, l.-•le^ .1                 i s .iKC

                                                                                                 >: ■

                                                                                                                                 f
                        ■™. •                                                                                                                           1

                                                                                                                                                                                                         4»




                                                                                        ;l
                                                                                                                                                                                   *

                                e                                                                                                                  I M‘2:
                                                                                                                         I
                                                                                                                                                                                                  I
    :]
                                                                                                                 k



          I                                                                                                                                                   r                                                   ft
                                                                                                                                                                                                                                            ft




    ■I

                                                                                                        ft                                                                                                                      I
                                                                                                                                                                                                                                i.'

         ■itr
                                                                                             1


                                                «
                                                                                                                    I

                                                                                                                                                i

E
                      USCA11 Case: 24-13671                                 Document: 13                        Date Filed: 12/05/2024                                           Page: 649 of 723                   - '1-^
)'



                                                                                      i
                                                                                                                                                                            «


                      »                                                 f
                                                                                 Ir
                                                                                                                                                                                                                    /.
         I        i                                                                                                                                                                           I
                                                                                                                                                                                                                         I


                                                                                                                                                                                                                             \
                                                                                                                                                                 4

                          State of                                                        ,;i
                                                                                      i
                          vSubscrihei.1 atid Atrinned                                     )                                                                                                            •'

                                                            *



I                         CoiAity of _ A,               I                                 I
                  >


|;


                                   S           ™        -Jt »                   . ,,, • 2<I22 Wore me. , 1„„. .^ 2                                          .,       ™,              ti>o!ai\ pobHcl
                          pcrsoltaJH appeared Wcsic^ J,dan|
                                                          is } pcrMWialh kiiinsu lo ok .tr t,4 pfo\c<l to me on iho          of
                          saiisfacton evideace. to be it»e iwrs.>n «lu>.e name k sttbscrifxid to aWc a«d.aefamv-ledged tofiie tjiat
                          he csecuicd (he .same in iu> awtltori/ed atpaciH,
i .           I

                          i iiosv affix tny signauijx* and otficiai     d!e>e aliin))ation>.
                                                        ‘""t T~     fr’'         (Sipiiatuic)                                                                             . ■"   t
                                                                                                                                                                                                                                 s




                          Notary fhiblie Suite of                                                                                                   Seal;


                          M> CommtiiAion f Spires;                          1
                                                                                 b


         J                                                                                                                                                                                                               «




                                                                            I- - ■
                                                                            }
                                                                                                                                            *


                                                                                      i
                                                                                                                                                                                                       •   •-
                                                            <


                              i
                  >

                  t
                                                                                                    i; '   ■'

                                   a                    .1

                                           I
                                                                                                                                                    i'                                   f♦

                                                                                          4


                                                                                                                                                                                                  i
              i
 ■:. ■

                                                                ■   \                                               I




                                                                                      I
h                                                                                                                                                                           »
r:
                                                                                 6


         i                                                                                                                                                                                    $
                                                                                                                                                                                                                         4



4.




                                                                            »                                           ■   ■:• ■           *
                                                                            t

                                                                                      I
                                                                                                                                                                                                       *   .




                              4.
                                                                                                                            ;       •   '


                  *




                                                                                                -
                                                                                                                                                                                                                t
 ■V      -■                 ' ■ i                       .1

                                                                                                                                                                                         f
                                       ;


                                           I                                                                                                        1
                                                                                                      I
                                                                                                                                                                                          ♦
                                                                                                                5
              I
I




                                      USCA11
                                          6, Case: 24-13671
                                                         .1                   Document: 13                         Date Filed: 12/05/2024                                   Page: 650 of 723
                                                 I
                                                                                                               I
                                                                                                                                             L'


                                                                                                                                              I
                                                                                                                                                                                    ff:
                                                                                               a


                                                                                                                                                                                        J
         3

             ■1:                                                         \ ».ir CVSIV RcsHils arr'.as.MW^



I                                        . ■ ■■j_^g^0^’-^|£p^j|3™|5^(jCTlOO1761O50627352O2JMIN|)                                                           .
                      ■

                                              FtdeHt> Advisor Strategic Real Return Fund                                                                                I

                                              S'-iSil'cl:                 /        *           FSIAX
     I                •                                                                                                        f                                                    f
                                                                                                                                                                                                                        ■i::
                                                                                                                                                                                                                                      «




                                              liception Date:                 »                9mZQQ5.                               I'Vi#

                                              -Net Assets': '                 ■'       I S462,624,000.0()as6f
                                                                                                   12/3/2021
                                              Portfili.!.Assets;    <
                                                                                               $462,624,000.00 as, of •
                                          i
                                                                                                   12/3/2021
                                                                                                                              v;».
                                                                                                                                                                                                                               ...V




                                                                                                                                                               ;;
                                                                                                                                                                                            .   : ;:k
                                                                                                                                                                                                  : ■ '
                                                                    .1
t
I

                                              A httle about the Fund:                                          I
                                                                                                                                              i                                 f                                   :




                                                                                               0



         I                                    Fidelity Stmtegic Real Return Fund seeks real return consistent with reasonable
                                              investmenf risk by lovesting in dbmesiic'-and fdijeign issuers using a neutral mix of
                                              approxwnately 30?'o of inflatiori-protected dd>t securities, 25% floating-rate loans^uiil.
t
                                              20% REITs arid other real estate related investments.                                                                                                                                             4


t,



I                     a
                                                                                           I                                                                                                                                               f;
                                                                                                                                                                        »


                                                                          f        k


     I                                                                                                                         r



              T
                                                                                                                                                                    ;


                  I                                                                                                                                                                                       I




                                          J



                          fi




                                                                                                                                                  :

                                                                    .6

                                                 ,1
                                                                                                               I
                                                                                                                                                                                f
                                                                                               d
                                                                                                                                                                                                                                          a-


         1 1t'                 /.■v
                                                                                                                                                                                        i




                                                                                                                   I                                                                                                                  ■'f


                                                                                                                       :-r-
                                                                                                                                                                                                                                                4

                                                                                                                                                      /;




                      6
                                                                                           i
I
                                                                                   k



I I' ' •                                                        l


                                                                                                                                                                                                              V"
                                                                                                                                                                                                                                      i




                                                                                                                                                                                                               :r
                                                                              I                                                         *


                                                                              '        I                   :



<
                                                                    I
                          4




                               USCA11 Case: 24-13671                      Document: 13                     Date Filed: 12/05/2024                       Page: 651 of 723
                                        I          I                                                                   Exh,VVPg.2
                                            t
                                                                                                       I
                                                                                                                            I                                   f             Pi

                                wfifitAllm,       %»«r wrnum rcqmu wiiMa ilisrt> i,3ll! dajs after the reedpr 3»f          '
                 I              proi-Me you with the nsme aiirf jdi’rew ef tht yrislnsl creditor^ ff the oTigteal en-iln^r                                             ""•a#* s«ro

                                theearresteireditPi-,                                 ,   t
                                                                                                             ^\
    ■




                                3»' s ase notjilvfS di.tt b*- ^Cu,:           "'Hi e<              ^              ihat inaj. («.*cuj as a re'>ii!i i A-,                                         4



                                io anc oi more local ara coiu                                     ,j.;erc;e^ by Fraaklin Credit Managcmt-t," V.',

                                Atteptloii Serv'kemt'fti)ers mi !>e|>r!»ki!f!>; Sc’'sxertK‘;ahers-oi) aajvc duty, or a '.I’w. .. ■
                                such a sendcemsoihv",                                p;.wes,tlon^ ander She Senicensem*
             I                 ('“SCRA”) regard’ing ihc servicceVrepber's aycTS®’ rsie asid the risk of forcefosure. SCI
                                laws prmide siiiporlsM pro!e^fPE„. iof                        f.. .,P*, r- «* -bftmg fora.dos«ie under iimsi d,*..... •
                                                                                                                                                        s   -
                                                                                                                                                                               "'i-cA    :   4



    5v
                                are airrcntlyiii ihc'mihsary ser.ke|.K lUva bero ^ oL« ihe bst twelve <12) months. Absi)                                              SS^-1S«
                                the Note and,.Security Instmimra nw^:^ m isfmit, please notify 'Franklin Cretlil Manaps":'-.'. .. uperapjn
                                immediately. When consacitr.g Frankly i rcdil M^m-zement Corpos’aiion as to your miliun. ; r                                                   r'art
                                piovide positive proof* as iono mOi. .• < s ins uyjnembeis and dependents %l:h •           ,                                                v ,/ske
i:
?        •                     ■SCRA*shou]d cohtacT their unifs Judge Advosaie. or ihcij; installation's' Fcgal-Assistance Ofn-;,'-
                          , .counseling & tslso avaiLiMe ai aycrcie, ® ivb as Milihuv OneSource twvvn nr'*                                                            .•«     .* rril;
                                I-^00"342-%4?) and .‘Xm^cf force' 1■- c%i\ Assistance tittfpsklegalassistimcc.tovs.at nJ,                                                     rough
                                HCD-cerlifred boiisroa counselor, (bitp ''•aypsJia'igov/oflicesdisg'sIli/hcc/lKs.cImK Fis, , *                                              conyel
                                David BeWer toll-free at 201*-6ii4-45u3 if; oj to re tsstcslions about your rights under SCR A                                  #
                                            «
                                                 •, ^               ^                                   t                                                       ^
                                For help espliiring your options, the Fetic/ai go\ciir/e?it provides cor.tv-.ci iiifortnaliou for i;r'                              , c.vjifcielors.
                 i
                              , which you can access by contacting the Deparimem of Oonsing and Urban                                                                 .pmont at
                                https'''/apps.hiid.go\''offR'es4)sg snchcc'hcs.cfm oi bv vuiliug l-y00-.^C'--.2k7,

                                                                                                                                                                                                 4
r                               S^ertely., • • ‘

i                               franklin Credit, Xtinageitteut t orporalion                                                        4




                         '■     10) HUDSON STREET. 24TH FLOOTI                                                                                      *


                                •lERSEY Cm\ NJ 07502                  f       k


             i           *      04100-650-7162-                                                                                                                                              I




                                                                          »
                                Wiring InstruetjosH; FNC Bank. N.'A ::|40 Fifth Avc Pittsburgh. PA 15222' -XBA: 03» 2l" 60" lOak-$wip,
                                C«lc: PNCCUS53 -rec)uirtx! for Infcrnatbnal payments- Accoiint number; b02 636 !.355 rrauldsn Credit.
                                Manag'cment Corji - General'Depository lO'l Hutlsun Street 24TH'FLOOR.,^Suiie25t)0 .te-'-ev ('iry, .N'.j 07,702

f*                        *




        ■j                              a             i




                                            i
                                                                                                       J
                                                                                                                            i                                   f
                                                                                      «



                 a


                                                                                                             \


                                                                                                                                                                                                 *




                     »
                                                                                  t
                                                                                                                                                    t


                                                                              k
                                                                      f

             I                                                                                                    ft
                                                                                                                                                                                             4




                                 \\ „ci ?bj5d\y ' 'ie% miim^
                                                                          »                                             *
                                                                          }
                                                                                                                                                                                                  a




■                                     USCA11 Case: 24-13671                   Document: 13                         Date Filed: 12/05/2024                         Page: 652 of 723                                V;|y
              !

                      e.
                                                                                                                                iillfil*!iiilliliMiro*HI
                                                                                       t
                                                                                                                                      e-Vii 2Oai5RX193SO0 . ,
                                                                                   k



      I                                                               e
                                                                                                                        ft -
                                                                                                                                                                                                                         «


                                                                                                                                                     c;44n.„aKi»
                                                  • .   mteireMWPtspatcSBy:
                                                                              »
                                                                                                                               Exh. RR pg.1
                                                                              't ‘
                                                                          KOR’rGAGS aKSJKEHS’
                                                                                                                                                                                                      t




                                          «
                                                            £?^“4«b&rj 158088387


                                                                  .1

                                              I
                                                                                                          MORTiSAGl              1                                     t
                                                                                                                                                                       «

                                                            ogBfjrnc^S'                        «

                               :■■■
                                                                              ,. setttsrs.
                                                                              M«     - oft.<,1        »r» MMd
                                                                                           to BCCWtesi*re      beta*sad «!ltw
                                                                                                          Msea sew««     »« Wf8> Cf mm » i«*e* 1 iS t.
                                                                                                                                          ,Jjjjjia  >•                                J


                                                             13* iS;206Sd2U
                                                                                               f
                                                                                                                w&Wi^iteaHOCTOBER Z&         '':i>
                                                                                                                                                                                                  a




                                                                                                                « V*mtIE0                                                                                                    4

I
f



ii
                      0                                                                                »«8WE BJasms
                                                             (a
                                                                                                                                                       OlflRllrt
                                                             l«d«ba tIHMEp M®IL1W ^PWIY

I
    U:                                                                                 jmHPBr^DKNCS BLVD , SSBRES, t»EK CSRSire S~CSg
                                                                                                                        ?                                                  >
                                                                                                                                                                                                                         «




                                                                                                                                                                                          ■ vv.
                                                             TfceKote.saS^BonowKWBiUtfeeO^
                                                             ID) Nr**’
                                                                                           MllilCW                                                     mi
                                                                                                                                                                   )
                                                              00/100         '    1                                     .      „ -'
i-,                                                     '     BW»i8terest,Bi!tJ»»ofetf«to
                                                              (to)',KCV»®» X, 203^                                                                                                                    0




                                          «
                                                                 ?! Mrte,
                                                                 y   :{sS£saT“^=«=^2S’“-'^“
                                                                          «i»« aB Rto toSwirts I«tmnc!«, rJm&swtol.
                          fi




                                                                   .1

                                                                 wa
                                                                                                                                                              «ca?

                                                                                                                                                                       f
                                                                                                                                                                       «

                                                                                               «



          f   • ■

                  I                                                                                I
                                                                                                                    I




t


                                                                                                                                        :*
                      0
                                                                                           I
                                                                                                                                                              «

                                                                                   b
                                                                          f


      I                                                                                                                 I
                                                                                                                                                                           ?
                                                                                                                                                                                                                         «




                                                             %                 f                                                                                               vp^-
                                                                                       I

                                                              Boo'k23866/Page3465 CFN^OOS1193500                                                        Page i of 18
                                          A


I
                          A




                                                                                                                                                                                                          .i--

                                                                   A                                                                                                                                         f:
                                              I
                                                                                                            I
                                                                                                                                 I                                     t
                                                                                                                                                                       I

                                                                                               4
                                                                                                                       I
                                                                                                                                                    8



                                 USCA11 Case: 24-13671                                   Document: 13                                              Date Filed: 12/05/2024                                                    Page: 653 of 723                 4




                                                                                                               I

                                                                                  f
                                                                                                k                                                                                            Exh. RR pgJ
                                                                                                                                                          r


                                                                                         »
                                                                                         t


                                                           m ’-Kam-fflssnsdt                » te Sesartly CiMusert SMi                                                         ^
                                                           » b*                 %JBotowsw Wi«ek (»»■» swaaMt!:                                                                                                                              4   .
                                                                        I

                                                                  ■•^ Ad^ast^t te» Site                                           □ CbtalemisfcmSt^fjr                                 •i
                                                                  h                                                               Q ftamirfUA'DevfiejBKafiAo-                           ,_
                                                                                                                                                                                       'M     ,
                                                                       M family                                                   □ SiVseUyPaynaffl'Etej
                                                           pc "AssStafeS* Imr siessaaSitTOtnjmeg^pijrAlF                                                  ;»»              iiWi
                                                           :      - . '.-.n-s-; - .,j. Id .» iljiidi. r. i!l.; ..i ■-..•?• .                                                                                     ili^B
                                                       ■                    *

                                                           m ■ ■•’Mbiti^y AiBicSalfcB Bi». S««i.iiittf Ass                                                                         ■
                                                           <te aj« i!8|>Mrf OS Bstewf w ase FstfWSs. % »
                                               I
                                                                                                       *               .
                                                           ”0^ »Efe<«odteFaBdsTirattif»-'i!!MMSoytr»Bsra«frtrf»,ote'^iis»
                                                                                                                                          I                                        I         ■
                                                                                                                                                                                                        i*iB«
                                                                                                                                                                                                                                 f♦
                                                            w'«fflibri»|«rl«dm«»Wcb3steffl«««*t«#osr;«acSo!srj!*^
                                                           swpA is|j« soasss«n3?», iB*lw«voroDtoria® ateetislisesHinSsn a                                                                         • • “'-       'SdCf «

                                                           istiadts, te is KOt fejfrf fa, j»iiS-«r-«So aaasfets. w»a3SKi ieSK                                                          ^“                                               ?
                                                           Uiiqjbsge, »it« cransfcs, sbk! ootsaswij iJ«iariflgl»® sramite.
f                                                          ■K         f.srrvM !if            i:u ir -.             j-.‘ :M .-. So;: ^•:         i11- ■:       :                                     m
ft                                                          :i>                                                                     f- ivr--                      •    -       •
m
lit                                                        ffcird pny         L%irios«traK«           jisia laider fbe cssaajsss ' m
  I
    i                                                      (fegracfira «r, ths Pn^fty: @9 eoK-deoBKiOB or oibsf (
    i                                                      iittt of casSiEMSslifw: or Sh) EteajswsastftoBS at. ot«                                                                                                                                            4


                                                           CM) “Mottg«»lBat»sc«'r«aMtasBr»icfpro»alB8U<ri«)fS3«fi3ii!s»^^
                                                                                                                                                                                                                *

                             5
                                                           {*» M) fBjy atoHiis siiidsr toUoa 3 iMs Swotily
    i                   e.                                 (O) 'HESPA' misa. tbs BSfsi PifitS S»««* ProcsSssS Aa!' r. ^ : «*
                                                   ,       ieg**!»,teSdjBlH(X<24lC.P.iC. ParW«,sslbsyta%ttbeaaa«.i                                                                                                   *
                                                           swxesswte^statenorts^iJaltotliitgovmsthsssBastbjKtffiaM. •                                                                                       -             »:

                                                            ■KESPA’ Oifas f» fHi Ec^oitrscoss ocd rearWiaia tte are tajussoC *
        I                                                   eves tflhs Ime d** oaf          is a "feieraBy roliiKd ssors®
                                                            f*Ry ba itsssasnC Bfiwwisr's ss6ti^«»                                         te Nwe                      Ssaii^i!
                                                                                                                                                                                                                                                        4 .




                 :r                                            Tft.-iN3rrR c;- p^chts sn t.!E psorsKTv                                                                                        ■
I
                                                               Tte   Sesarjjy Is'sKiiseM sj.str* to                                    (S Bid re^sTas! •‘i ■*» '
iii                                                                 Btw&w »f fts Km; tad (iS-tte {wrtosKK isf SOKOw® ; is**
                                                               latrttMM wi iSe Nole. For te paipass. BstBwsw d®s te<%
                                                               Calfewte tetrfeS psjisny l«3itBS in ttr
I
                                     I
                                                                                 rcji*                             jaisteia<M>i

I                        4



I
I                                        i                                                    S;SlS3»S*tS®iS3ffi»sT!S5t»s^'                                                                                          wt
il                                                                                                         •"




m                                              I
                                                                                                                                                                                                                                 f
                                                                                                                   4




I           i:

I
I                                                                                                                                                                                      ■
I
I                                                                                                                                                                                       »
K                                                                                                                                                                                       ■
I
i
                                                                                                   ,       1 "■                                                                        ■
                                                                                                                                                                                                                          ‘fi;
                                                                                               k
                                                                                  f

        1                                                                                                                                                 ‘
                                                                                                                                                                                                                                                        «




                                                                                                                                                                           *


                                                                                         '                 I
                                                           Book23966/Page34e6:                                                      CFNSf200f;-i ':                                                         s-iff 2 of ia                   I
                                                                       I
B
                                     i



                         s




                 ;i':
                                                                                                                                                                                                                                                    i
                                         il;
                                               «
                                                                                                                                          I                                                                                      f
                                                                                                                                                                                                                                 ♦
                                                                        »
                                    USCA11 Case: 24-13671               Document: 13
                                                                        I
                                                                                                                   Date Filed: 12/05/2024                                       Page: 654 of 723
                                                                                                                                                                                                 e




                                                                                                                                                 - E)Ch. flR.pg.3

                                                                                                          I
                                                                                                                                         i                                                   f
                                                                                              ; •• ;•
    r‘            j
    w^. '■ ■. ■•
        m
                                                                                                                    I

W:                                                                                                                                                                                      4»




    i
    I                                                                                         isn he                         mm

                              ».                                                                        vFiofida
                                                                                                                                                                            «


                                                               TO®TKE8^,WITH             fc iKgi»veo« aow ef tewaftsr tmM m fa - »r»r^ «, <i!
         I                                               ajjaTBSiMM. awl Itow* raw or tesafler a prt of fte jKOyej^, Ai Kjtefjw:',«iif,!a»*3s i--c sfc.i .>•
                                                         &v«&¥|iljis>Se«^fssttmra5s!iAll'irf'tfe®:tetepS^fcefe^iK>% &„ ‘vjt •*• J«»                           w '•wr-               *                I




                                                               BOBRD\¥ERCOVB;««T38BlBo»»»erisla»«y'srt»<lBftt«'e»,Sw»-.»*^ iW
                                                         « Biwgsgc, «wf siMi t«tv<y St» Prapeay rad Ihst tte PtojSiilv is ssssmitrTm •*»;£«*                                      ;;
                                                         ir««d, Benj^trs^swaswi will defwtgffiisiayife life                                  i^cm » 'ae3fc&’ ww.-^ «';<■


        M
              f                                              THISSICORITY KSIiiUJJtEfff c»K*:mBi(lfcTO«>smK(» for«te;xBKiES>*i»-,;i^»3>                                         •■ -a            «


                                        :                ti«WyartsitoB5%'|*fs#«te»«sws*w(»«wl&ws«!w«ytas«aaw            ■ ■. - . - -
                                            «
t                     !                                        UWIFOW COtfMAtilTS, ter!w« ax! Leiate eowurnt oS q                                 . •-
                                                               ' la' P^ijat<>t«fWi»l|s3fIo'Seaslf®sorewfc«iii*Pss|»^siiie»i,Q».
                               0                         {ay wtas to tte {siadj®! <4, «Mt Jaiawt os, te (Jela Osjdtsoid                       »’ 4%-i»^'s3«* i   ■A     .


                                                         cl(«^to:«toftoM«lK::BHt®OTt::*dl4lK(|i^yfi<lA.fer:Es<w«fc»>|«t!P«»Tfc.'?<saiK £ JwwSsdit
                                                         ojiiier fte KWs and to Smmj tmtmmm sM bo aade 5# OSKesswar*, ^wshw, -f a.’        » tJ-xc.
                                                         lt»wWM itoivisi by totofs        mkf fc So* «■ to’ S«*ipiasr»sat        a- -sst#-* mtsssje
                                                         t*i*«Kayr«{afe« to ay6t«Usaistqi!«K'pa3m»(stow!*!tte,3S*!i*J»'jtxium, "mmais *r mMi is
                                                         ©M! mmmi^ teCrftemg’toim wsateisaj bytefidfisj^S:®®}!} f«S @3*
            :1                                      i    WasatK'sdKsi caosfete'* cfieci, fwvMs^jjjy sabclad; is liwsas^B issjK»»„-».*iiSifs»»i;,3 =,■?; ■ssirM
                                                         by'*'feto*t:»8nicy.i»s»»ieasit%.«
                                                                                                                                                                                             f
                                                                                                                                                                                             ♦
                                                         i’ :          «!t6-to)!ssd^Mtov«!d&yiaa*jiwta’f«atod»t.te             . .     .
                                                         loa»a a* may i» toip8!(«) by Chafer te »f isonJaats «»<|0;
                                                         »H>' wmttrt «[»nM pyemi (ffia paysaat st paaijl {>^> awiaa s: tsaatiBsa. *»£.»=.,
                  3                                      isiyatt»{d»jy{By«ralorpi«(i»l'{ayia«j!iBSilffi£teiilsbJfflgfct«a .-
                                                         ^«J0wto,<!rp^^a«Wr»,^tt^tigto:,!olA5« tokp8jiare(,«!i»sssij4;^si!5a(K ;» ai fes** is*» '..-Msi a:»
                                                         *»pttd«ap{dyjas*j«5BB«»s»tl»ti«eaicbfiiyp*as«ew<7»€ y»Ka»i^a«9»
I                                                        fisKtedaWtetof.yfcaaliaiWtoS'ieeljssylslMsiestKayo&dfe* tmiicm *m
                                                                                                                                                                                                         4


            I
            i
                                                                            ' > ' •-•■ -. -                                   ■ ■ ., ■
                                                                                                                                                  t



                          »
                                                                                     i
                                                                                                                                                                            a


                                                                             b
                                                                    f

        i                     9

                                                                                                                        ft




                                                                        »                                                     #
                                                                        f

                                                                                 I
                                                                                                                                                                                                 a

                                                           Q


                                            A

i
                               ii




                                                                                                   ;
Br-J                                            4         .»
r

                                                    I                                                                                    i                                                   f
                                                                                                                                                                                             ♦
                                                        Book23966/Page3467                               CFN#200§11^S» :                                              ?a§e 3 of 18




I

                                                                                     »
                                                                                                                                                                            ♦

         fl
              USCA11 Case: 24-13671                                   Document: 13                              i
                                                                                                                       Date Filed: 12/05/2024 i
                                                                                                                                                                                    Page:f655 of 723
                                                                                      *




                                                                                          »
                                                                                                                           I
                                                                                                                                                                               Exh. RR pqA

                                                                                                                                                                     #■


                                                                     psjioiiKiC IG brlag ibs-LMS cantsL ■ tC'Sc-rn^^ef :^oe$GOt 4b ss MfiifeiRAfMSSM&le jfetijd of
                                           ti«f>, l,«<krsJKB i-Bwr »i!S>!y idi fits* or »» te » m gonorfa-- tf »t ajjUeif ?3rf{ef, sidi feko*. wBI fc?
                                           4|t|4W[ iG'Ua'OsWsrtBg'iaiBirtiallateM^sste'&eHott^lainielWstyplortefcwdosiirr. Ko offsri« ^iro «
                                           s«feidi!8«n»wr if^Jit'tev*: eaw «la to few? sgaiBS* t/Kxfer ^fesB tdiev* Bo*K»«-fwna nsSi*^ ipyiafsssrfit*
                                           BWfer^te Hate arfiUs’SKarily hislroiwitl or jMonoiag tl» twmjtii aistt jpiemeass secawB fiy iBi Serwity
                                           ImtSiSfe-, , .                                     ■■ :,                 ■ i” s ,-. '         .’          '         ■■: . ,r, ■ ■                               «

                                                    Aorifealto                                wrifiwtefc,             »>           rfntrifcoj &          Sk*i» J.
                                           wwpwiMd sppied (^^tewfer sM it                    te &* Wtewiag Of&r ofpSertty: « tewwt taafe- fc ftee;
                                           ^(bj jWfdl^st! tfsBjsBflerto K«te, (t) omjUBis «fee aixio' Seosha 3i Sock jayree^ ittsll Ik sgplWlo frrWte
                                           gnjEiea! te lheorfertelkKciiit beomw dae. Aay rejnaiafeg anaaKbs sMiHa' afjsStd first to te th^es, sersod
                                           toai^oftw:"            &4mdt4tbisSe(»i«fl!iaraajw!.»4ttiaitO(Kfa*tlKjsfK4^l>»l3B«oftl».!S’«e;
                                                :■ is.'i.i i.,t.      t.   pyi&Bi foot Borfower for» delitKiKeBt ?h*»Io Hpum isbitlt Salute st stditottil
                                           emitsa lo i»j any tJS« dmp te, tte piyuaat taty et *{)flW is fc d*toi}t«ea (Hymte »S di? lae ckugs. a
                                           Kwe ifcas i«? Pertodtc Paytarai is-owstiiRaiss, Uater sm^ jpjily ssy {aytural received ftojo Eomww to to
                                          ' resafyHWOttoPetSe&PapBeBtsfcaoiteliieoaiKit toi-.«»tli.paj»tei <3U>'t«-^d:taftitt.:!:‘T»fce*test£tfia
                                 1         »y «*«*.? ejsi« afiw tbe psyotw It                         to to W peytseitaf om «• mmt^msOk effimm, !»* eKeasmsy
                                           be iifBstS t« »Ry ti» cfestgBte. Volaniety                                 *tB t» appBrf ta b          pjijstytsw olurgewrf too
          >                                sts'ifekilbed ktbe'Hotei..                                       ,                    "- '
                                           elatt Dol tsstesd or j«^i» tie dao die. sf A»ag* ot Mtaam. affc Petlodit
                                               3, PBMfefi>rEwwItiesw, Ben’owsiiftUfxtytoljBxIa'ssfasiiJsyPwioiifc J'ayiwsBfe^rete'eRfcto
                                 :i        Kte. uagt.1% Nto ir jaSd to fol!. a am (to ’ Faodi’s; la pmvide for pjysRBtit of woBjas te for: (•) tees and
                                           sissessKeias nod titof lam vtMci.ess-ma prlartiy aver (& Sctari^ teinasra as » Bta oreBOTBijmsce m to
                      i
                                 ;
                                           Projtetfy; (M lebseboJd laymejiS or ffaad ma os tt»h>n my. Ifmy (() pijemlam for »t^ «td «II totroarr
                                                    t»y Iruder mate SKaeo i- md (df Msng^titsimnti ptwIStw, it ssy.VBoy M» Ryetoby Botrotw                                              f
                                           »l,4;i!to to iiitB ot to ii^oaMS of-MwtgKje Itisonswe preisaatat lo ecrottecf »(* to ptovia'itti* of fJer t!«s 10
                                           tl>ea(l*!Ktafoc«Sed*E«fawliesm.' Atort^aalaaisrslaayMmedartegtotcaBoftoiL&to.Lesteai^'titfBltti
                                           totCtwaawtitvJfeseciaiaB Discs,Toes, aodtetssaisitts. tfisy.fwess-ewdbyBomRiiw.iiiidtiarhdBie.ftesBd
                                 ,         mmmmia iMl he sa Escrow Ite®. gofrww shsdt pftmjilSy tare&S to teodtr eli sates ef ttwsi.t fs be psfd
                                           m®r »Ms SecoBB. BsMWifcr sSall p»y Leader (l» Ftwds for Esoaw Items tate* iMdt* s«iv» Eowuter's
                                           ,oi0ig3tii»:tapayto'f«&6>r.«By,i(jf:jiB^6sicrs'K;IlBiis.vL*isSet.ii»ys«(iveSerefls*crl»«ilJg»tt«alB^{ayi»t«!«r
                                            FutoisfofanyofiHEtewtieiasjtet^tjme, A»ys«cii»«{veri!aycnSyl)ci9»tliSi^. loto«teofsBc!iw»w.
                                           Borrower shill p.y ism&y. vtoo a«J where {ayile, ot sjtantots dtst for eaj Fstjow lietti! for wtach pymatt of
                                            Ewds te tea wiised by tadtt ttwi. if Lwdef           *h»B teiiis ta lenderiwffW' rvlifoscSog wel p*y»M                                  '                          4

                                           ,sytaito,^KhtSii»|>stod'WtKii(eriE»y«^ei':Be»wa:'st*li|atiat»steejii£li{a:j»mtsaE#tB|8t»d(to«iei|!ts
                                            sWl for all (laniases bedeeiBefltobesctiymiiasBdegrwRteotcimaeJKd to fob SsBit%lnst(«D»i(t. asto.#»w
                                            “coveijaoiitKl agtesascsi* isttsedtoSwaloBS, if EtormtertsoWt^iirf ioiay Emowtemsifoesay, jmssiwt lo
                                      -                 mmmitfoil*»p»y towtwttteforssIsaow lt«, t«*fai»yeswefse^jsirtjjStytBaierS«»foa
                                           9 tod     such amtiiia «d BmW-itr shiB too be oMIg^ laitfer ScaJw 8 » rijMEy to teitor sadnJBffiiai.
                                           lUiKteBa^revote to:miiiefiaftai!^«»:aB:&oBts1iew*l«?y.lime.liy»'j»ttC8gferala«a»*ws»fib Sectjoir.: ,
                                           iS'»jtA t^oB «aJi meeetten, Botratot sbaS psy lo teuSer si* Ftmds. ind ia teds Mtoimts, tot ssa ttar
                                           twdtetoSSMibBSf
      i                                         lesder ra^, at wsy tlaw, toJiect asodtoWFuads to sBamwasi (a) stjfBUssf wiperoitleBdctts ^y to Feeds
                                           atjbe.tteM.s^tilkd tsder RESPAi.asd, # B«;te exn*d.tottajtiiiyis BasaalatoBder'caa robSiaaiiiw'.RBPA.                                            >
                                                                                                                                                                                                           I




                          ■i,'                                        I
                                                           ■   ■■■         - -   ■•                         i»'^4<sniS
                                                                                                                                                                                                   «

                                                      I


                  4



          4




                                                     .1

                      I
                                                                                                                1
                                                                                                                                              1                                         f
                                                                                      t




                                                                                                                           I


                                                                                                                                                                                                               4




                                      Book23966/Page3468                                              CFN#20051193500                                                Page 4 of18
                                                                                                                                                                                »




                                                                                                                                                                                                           »




                                                                     jI                                                              »

                                                                                                                                                                                                       f
ii
f'

!■;                                                   I


r                 4
                                                                                                                                                                           ■'f'l

                          USCA11 Case: 24-13671               Document: 13                          Date Filed: 12/05/2024                      Page: 656 of 723
                                                                                                                      1
                                                                                                i



                                                                              t                                  Exh. RR pg.S                                                  M




                                                                                  I
                                                                                                     I


                                                                                                                               M                                               i   4




                                           3?sssst‘5”HSK'sr~"-ss5xss'i'ss .
                                                                                                                                                                           «   :




i
r
r




                              I
                                           ^^ra<»^ay^>»y»*»^^„, ,,,,,„g^5Maw!ti¥»6»SM<atty
                      4




                                  «
                                           »g^ssrESSS“"snSB??«««
f.
r': '                                  I
                                                                                                                                                       f
                                            wUte &9»
                                                                                         St «th             S^tS^yJ tmSS««.»tote
                                                                                      W mm iitKMiiwftss f*» »          SwiBstif I«ew®«>»-
                                                                                                                                                       t




                                                 l«*r s»¥ Wte 8<*trt'*f                  JJ»:

              I
                                                                                                                                                                                   4
                                             yrtysr^r torts                                                                     W i*»*'




                                              s^Sri"SXts^rrr,5rs»wi»r...^s>
                                                                                                                                                                           «



                                                                  ;.-5SSnSw^ >5?®^^^^®'
                                                                                                            *'
                                                              r

                                                                      1
                                                                                                                                                               i

                                                   t


                              «


                      4




                                  EM               .»

                                                                                                                                                       f
                                                                                                                 c-

                                       I                                                                              1
                                                                                                I
                                                                                                                                                       »

                                                                              t


         .5       "


                                                                                                    I

                                                                                                                                                   «


                                                                                                                                     ;p^-5Qf 18
                                                 Book23966/Page3469 CFN#20051193500
        II
                                                                          I
                                                                                                                                            »

                                                                  6
                                                          t



                                                                                                                                                                           «




                                                              »                                             *                                                      #
                                                              r


         \
                                                                                                                                     'm^M                      4
                                                   I                                                                                                                   m
                                                                       i...
                                                                                                                                                                             $

                    USCA11 Case: 24-13671         I
                                                               Document: 13                       Date Filed: 12/05/2024                                      Page: 657 of 723


                                                                                                                                                              ,Exh. RR pg»6
                                                  .1

                                                                                                                     I                                            f«


                                          r«es tepmfaby tba             |aBytK^_b{»^iwM A#B<y to WJ!<ai<»wiatS«r»*» o*
                                           gE(m»»w»la w«an»j                                                   UaiwrosyisteJBto^^coiWjie.sf
                                                      timXm,stiebnwea^5l»Uawlw^K.tat                          «»%»<a»i<ywa
                                            ...               >.f<k.^.a«!REfttegfoii«1y.ai!aistwyrBb.tewJw fatett y 4i»i»g%tetirBv»ifeg«»f •
                                                                                                                                                                                                  S



                                      (Maed ei^^tSksaaie«aajtto OBlofiasWMiJetksl Bommrn^
                                                                       die tim mtifhtu tfee to of mmms^a «sd sl»n         ^Ufi,                       ■

                                                  t..Hh yalS^nCdafeasxssHtti mUmfitto*.«>d $ten BHatit^«5”yy!.f                                           •
                                                              l,ea!W5W tevBiht ngbi totaW ll«s»lKiiS«adt«»w«««Jfl»»* }fLe^reqmifes.;.
                                                                giv-e10LeadersH iw*»p!s,rfyafel preaiitwa miteawd ibBc«s_ If^yobt^a>|-
                                       fima dI                     »»•Ofcwdwratsailw!^Leader,fssrdBWfr«»,ot deswo® of,                                                                   4

                                       g<*jflaJi Jiwteife s swte#tsstMl^p cfee« «S »te>W »>«>® Ux^*i a«tp|W nai^w « «»8*Wa^ fe®
                                    vif'JW#'                                    ” '
                                        ' InOseereelol tei'BonowersfciU riwptoajii MBcete •!» teaaWJsariersHlLeitte.^ Letste^nabe
                                       6t»f of loss if «»i fflja pK»5i»fy By BonOrwt tWess Leate wi Boaovrer oU^wise Bgi« fe wJlii*,^
                                       StBCoproce**.3storjW to asiWyiBg teirap®*as le^ired Ixate,« be ®»«e« »rwsoaM
                                        w «j»ir oftta Ps^erty. If(WruWatlM «»f*»*                            fv&itsb8l4ste e MoiiHy B wa >“»™*
                                                                                                                                                                             «

                                       tebS as oBwairtw »luspeoi w<B Pn^ty» mw»•!» wwL otfcm.eimptaed »o Leritt % seiJsWsa,
                        i
                                       ^■ided ihM sarfe tesjieclloa ^ be ssteoLes premjsfly.' Iraifef osy dbdKia   <ep»iR »Kd
                                        msjrsllws l» a sWe pmxet or Ja o serws «f pt^rm p^wijs ss tie «o* is raapSrtKl. Uote sa agreestiM
                                        is »ade la WI»» or Awtebls U» tMairea Werwi to 6* jisH aa swB iwiassw jNWssds, l«d« sM sal be
                e                       w}«W th w Bwrwwr my mmt Measbigs £ia«b p«ae<ls^«^fef ^!Sr
                                        (iiBHi by Bcwswet flaB not be jwM «« «i te tasoraste pow* iud sMI ta «S® sate sbbpaa of Smmn. .
                                        ttUB(SKWot!!»«rrej»bteMt«aEWilto%fetoaiteMUi>aer'ss*sari!ywiMMte{eM«a*Alteii»!mcepo£ee*
                            4
                                             [n         <t stodros a» Pwoeity. Laider eay fi!e.‘»rgrti»» eod wide at/ esaanbfe istiamsw daiia eod
        I
                                I       BStieiJBWiets. aBsmwwdaesiwpestwiaJwlitaiSeiiay (oitwteSwCfRdwiW iWawrawessm^
                                        steed to seifle a cteiia, itet Lssfer my B«oti»l4 sod 5«'te fte obd®. tiw »&/ P*i*o<» begia ^ ^                           f
                                        Bolke fo gives, teeitktr rasa, orif Leaderisjaswnbe Prayen/ uadet SedloaS atwtesv.^ BisroMr&««(!>
                                       . asiigrs to tewi» (a) Bmrowrt's rigte to eoj teasssee pocee* to so mioimi eolto wK*« the assmii aopid
                                        'tasdw lie N«e or » Seeimto fmmmi. sad W«ty odwr of awwiWsripr (8«Bf Ito! tie                          toaoy reW
                                         of(»(!itarf(»«iimiijMit/Bt»mwet)BMSeraBi»Kia»(><**««»vefiBgd»                                                   .
                                             spptebte to Ibe mmm of Ibe Preputy.- liXia use/ tae *0 ttsaime )w««»at e«»r to««?» «r wtote toe
                                            toettv Of to pay wtisaBts taspeid aiAr ti» Note or iMs' Swi^/ Iratratoeet, isbfilteeior aet ifes fce.
                                                    Oceaaaaw. pattowersbisll ot<s>^,e«d)8sb,''«!(fttte(beProperty®sjBot«>Hej’sjyfet»p«JresMeBM
                                           sis’Sii'S'steirS^iiiaiMrifadj'SecistelMraristatsiSaBrastiaiwrosSwMPrWwS^Boaowt.s,




                                                                                    fc^'MNISS^
                                                                                                                                                          I


                                                          f        h                                             mms
    1                                                                                                   ft




                                                               »                                                 «




                                                  I



                       #




r
                                                  .1

                                »
                                                                                           I
                                                                                                                     A                                            f
                                                                                                                                                                  ♦

                                                                            6




                                    ' Bpok23966/Page3,476                             CFN#20051193500                                       ::^ag:e 6 of 18
                                                                                I




            t
                                                                                                                                                                                 f
                                                                        I
                                                                                                                                                          »




Li          m
                                                                                                                                                                                     ■ • •4. .-
                                                                                                                                                            «
                                                                          r

                             USCA11 Case: 24-13671                                   Document: 13          Date Filed: 12/05/2024         Page: 658 of 723
                                                      ¥< ■
                                               Pii'
                                                                                                                                     Exh.             pgJ
                                 V




                                           I
                                                                                                       I
                                                                                                                           i                      f
                                                                                                                                                  ♦




                                                                                                                                                                     i
                                                                                                                               w
             m0
                                                                                                                                                                     i
                                                                                                                                             4»
                                                                                                                                pr




                                                                                                                                                                     I
                                                                                                                                                                     1
                                                                                                                                      *                              i
                                                                                                                                                                     I
r

       I          0      ^
                                                                                                                                                                 «




                                                             Sr.S!S^=”^=;Ss”^S£l^“*’S
                                                             »i^ itftmwtee) e» <»?” a« >0 nmmifi 1,^
                                                                                                                                                            6

                                                                 9. I>tate«JoJiori«i«'»J<=‘«F^‘.
                                 I                           Borrower fui!$ to
t                                                                                                                     m

                    »



                                                                                                                                                                     'i


                                     1'.
                                     •<.




                                                                                                                                                  f
                                                             ■ £s“3^S3SSi?^s»
                                           I



i.




     v';;:..i .


                                                                                                                                             <»




                                                                             e                                                                                  «




                                                                                     »                            »
                                                                                     I




                                                                                                                                                            *
                                                                         I




                                                                  ,.    .ft

                                                                                                                                                  ?
                                                                                                                      c-


                                                                                                                          1
                                                                                                       I
                                                                                                                                                  ♦

                                                                                                 d




                                                                                                     CFN#20p51193500           -iigpM 18
                                                                 Book23966/FaQe3471
                                                                                                                                            «




                  "**'
                                                                                             i
                                                                                                                                     *

                                                                                         k
                                                                                 #
                  9
                                                                                                                                                                ft
                                                                                                             »-
                                                                                      &

                         USCA11 Case: 24-13671                          Document: 13
                                                                              4                                Date Filed: 12/05/2024                                       Page: 659 of 723

                                 *

                                                                        »
                                                                         r




                                                            t




                     >                       iiKfflBSc® sadBoaov^o ■*« tajobed l® mOlt                    dfsJgat!^ {i-jjitels losssjd l6s pra^am fef ^crt^e
                                                 (BWiae, &»rowf iwi piy ijfej- piasBiiiam reacted ta ofe® fowrag® sifcHwKjHy «^wto» to &» M®«g»g«
                                              tessHW® j(fwfo»55K li      » * «ost s.tte«i«i% e^htto » ft® tea t® JJMftW e« fte         tew®**
                                              jsevloiisSy te     ft<» w Aeesale ernttp^ inSaer setaed by Uafet. It sutertWly eqiivslHd
                                              II3WPW t8v4t»gelsiW8»^Ie.Bwt(ite'sWltea}ati# ft.jaj » LeateliedSseBa ctft® s«jsme!)-*5jg!attJt
                                            '            (te«e«*ftwlies fk hemata;cwwagswsssdtttteW«&rt. teBfav.i!i *c<»pi. wd wafeiftese
                                 «           ,            us BW-nsfaadEbte loss rpssrve 6t Ste of              f jstiraitto. Sotfe feto josorwiW be eoow&a^te,
                                            'l»»a!!sm4tegibef»ttft«!kLeaoi*ailtiat*lypdiitsMl, mitKidardsaEjiiitempijmlMspyBojKma-aBy                                               f
                                                 UMtm. or           oamhteiwerve. lm&r<ammitim^ resjairelowKwejaymeotsif M»»gVIraarMe
                                              mam (*« Oe fflws»* wid for to pofed ilW teoder re^wei) ptovlsW ay «Sssiarr ssfertrd by leofer sgMs
                                              bfcoawj wailaMt, Is (ftated, nM Leosiet requites sejiitosely desIgafeS psyiMaa miis$ Ife pemam for
                                              M«g»ge ItisawtBoe, If Uodat K^iilred MoHgsge fasarauee as* eostHBoa at miKag ft® tm mi &omKW»*s
                                              njqaM la ib* sepawely destgested paymwstawsd fl» giBAms Kir                              teswKs. itetwerSall piy
                                              a« jir«Jbtat» twjidred'ft            idwigsge .tosaraate ft ctfeti. or m pns^ a Bna-Kfewiibte lojis toow. ansi
                                              loskr’swquittEWiffeMoBgiiietensaiadsftesiwArfwftbsay wSifto^gWBoeMb^^ Ewjffisw erf
                                            '         jprovfflog tbr so* teiiEtailtoa or losil letidiasiSoa Is i«ta6*d by Appiifi>J>&: Lew, Masiteg la ftjs Sectias            4»
                                                 ISiffans Bonwert oWgitfeii lo pey!»«««»> itw tele jWsviiW t» ft* KOte-                                                                            *

                                                                             rearimtsK i«i*r {or       «(ay (to imrdases to            fcr eMtaS losses 8 tsiy |tit«r
                                            ' if Sroower ft»a ool rejay the teat to agreed, 'Botwwter is wt a [wny is to Mortage imarpsee.
                                                   Mo«g»p liwten evaloste fteir toijJ risb eo sB swb teitaa* 1b fate &» JiK » (tot, sod ik^i OBter fete
                                              ♦giseMBis. vdti otte |Kaii*s Sm slasre or Mtdl^ iWt risk, or scdai* lossrs. theso egnssroem are m lomssad
                                                 OS^idOBS tli»t we SJitt&aoty lafte ooKp^.toirtsr sod lb? otor psity fet p»rS») l« lints* ^reHtwtds, "nwe
                                                 sgiwraeots     re^iw to iwi^itge iasirnr at oBkelayiwms osi% MMs* offaiA di»l ll» iKsagd^ fewer
                                                                                                                                                                        t
                                                     law awiiaWo {wlWi mey teolado fetefe'obtiiM fts® MortoS* Iwsant* isreiaistw}.
                                                      As a malt of tee agfeeiEsiis, lAmte. say ^^bs*r of to Nate, w»tor teirw, my lAataw, wy idfcer
                                                                                                                                 in iusto®; toi totogor ewSifySsg                              t


                                     ,           to dwrfpgelssarer’sriai’,orrefctfegfcsse*. lfsacfc!ijpeei«att'floyitel&itsa*M!&teef'L®<l«8S:®s8!aw
                                              ' of to iBBsier’if risb f8 ewiiBg* te a tore «f ot istiffiiams jiald t# to inssrer, to eem^m Is otw iwmsd
                                     i : r-.i: - jKfttWiKditMajiee;*'* '                                  "            '
                                                   , '{a} 'Anyesdiia^          ft ttiR M affect to mwois M Bemmm bas i®re«d to (ay far fUsagm
                                         -r     .:.lssaaot*<:cri:»i^.«(te:     MtotetOisSisch' iq;totoatS:»iSt sto:tosreas* toataamtSsriowier trta ewe
                                        i’!'’    !to>lBn(s»feJBmmiia«,:aad toy.wiB^iKrtiopititb^ltarower to aay: leStsdi
                                                       (b) A8yiaidi3gii»(»»®te««ti»»sB«ltoi%ljfste«»rte,a’«By-»Wi««ft«« «o't!i»ftliw^(q5»
                                                  l8s«a<»il!>dertoaemees«a»ftoteed«>A«t‘«fl9»<ir«gf«terb». •Ttaser^JassBaylodladettortf^f
                             «                   t0'e««ei»«iceittiilii;«BK{l!Wlitai|-.l9 ireqjtMsrtutBd’i^itot'SWKeBsaoa cf-toi;!ifia^a^jl!™»»e*.‘:L««ife»w,-.to;:
                                                 M»rtp9SlBito«»(*»»li«*d(W^                         aadtoteiriKidte^KfesSofM^lklangtolswsrwsfiw^
                                                 (KjawereirarairiMdattoteeofsitiliocMtRetfetearlerittottfes. .
                     >                                It. A«5ga««8i(rfMiic(toB»iita?rwteeds:P«fftIl8re, Atl'Mls^eiteoasPHtoredswetorefyassigBedio
                                                 aid ilisB te jt«jd w Lester,
                                                      K to fbiqwiy Is d3«»*ged. sseb                  ProcwdssteSltw Sjifdftd te «®j»rsdl» cr«!qp«Jf of to toijKfty.
                                                       resloi^ta of twft is eiMMJbaSSy feasible a& Ltada** Mctirity » ooi hssated. DisrtlQ s»c6                  aed
                                                                              s!»a Save to ftghi io bold sari) Mbceltesissss Preies!* mtii liiidef te bed an
                                                                              Psojxtty te ewe to iwft to bm <mpM id t-iiader's satistodos, fwvlded toi
(
                                 I                                            i!fisdtesiS8i»}dly3l*«Sefjiay^|.fwtore|!SsBmdi*sWfflBBBia*sitig!ediste5aiB!l                          f
                                                                                                                                                                                    ♦



    i:




                                                                                                                 I


                                                                                                                                                                                                   *




                                                                                      I
                                                                                                                                                                        t

                                                                              4
                                                                    f



                                                                »
                                                                                                                                                                                               I
                                                                                                                     ft




                                                                                                                             »


                                                                         '        I
                                                            «


                             &
         .■il
             i
                     *
                                            Book23866/Page34?2                                    CFN#20O51193500                                        age 8 df;i8
             !

             ;

                                                            .1

                                 I                                                                                                 i                                                f
                                                                                                                                                                                    «

                                                                                          *



         ■




                                                                                              r
                                                                                                                 I


                 I
                                                            I
                     USCA11 Case:.24-13671
                                  ^                                               Document: 13                            Date Filed: 12/05/2024                                         Page: 660 of 723
                                                                                              &
                                                                                                                                                                                     »

                                                                                      b
                                                                              f


                                                                                                                                                                                                            I
                                                                                                                               %



                      W'
                                                                                  I
                                                                                  t
                                                                                                                                      »
                                                                                                                                                     Exh. RR pg.iO
                                                                                                                                                                                                        t




                         t
                                                          Ik*BwdWM'saMSj^tfctis »wlllsifflsy sMlI feeioW dixlsewss!. Kswsw.jsyteTOMrrwtts wsi^.»*ls S«Mity
                                                          EKssremealtaittesaBteJittsietteNoSefe'ett^per”}' Wi»c«-s.^otagifcS«oMiyfciw»it8Ww!> iooBstgsgf-,
                                                          gmt a»J casv^ <te csosigwt's teetest to ihe                  »«!«ste Ktok ofl& Sfomti)! tisitjaiM W i» sot
                                                          p«ts»illy;afi(^tt<)lo j!^ lte.s<i«s-statHSl% tS&^Se:caj4«y.^li»«foi»<!»i;**4 fc3-agw*             listeerfsiy.oitat-
                                                          Bmtmeft»i»pmts» pn^.cai^i liKiwf«r wS*goyiwossmateteswtfl» wpwlw the t«atsfBus SmtSfy
                                                          iBWKftt*or!J» Note tsiitesi U» ttMipw’s eaawrt.
                                                                SatjeK w if» pwvjBOM of Setflos 1», any Satcessoi ar fel«re»l «f Botroww *feo sasooss Scmma-**.:
                             <                            «i;S%etioBsiA<te'(B*Sawiiyfesmtuw"te wnttog,««l» jjftev^rfliy Uotte.-A^W sWateaU nfBotrevMa'*rS^a
                                                          ltd          amfcr Km 5*ct»ity!wuaieKt BmmetsM mt&s «lt«04fern Beofsstft'soMgsiloiB arJ Its&ltty
                                     »                   .BStecysSemrttylEswmeiitttste'tete^reosiBwckrel^asetetwia®;: Ttif cavKsastsaBBegmsMsS-Oftte-.                                       f
                                                                                                                                                                                             ♦
                                                                 W. Loiio Clwrges. Leader sayoto^Bammof fees &rwnlMS{i«(*amwlJa(a(K!ea!»'mfl!Bor5i>!*»t*
                                                          lisfiiilt for the ftapm of ptow^ Uoffer's tetesi et ife FiojwBy tJglib tiate <Ws Social bntwitim,
                                                          iBeleUBg^ietmttteiM to/ittonio^'feoSi                   isspscttoas^ivsteBisa to;.'jsiogssd            oteftos-tta >
                                                          thmuce U txfttrsh mtkttiif is tKa &atri!yImxmmm(o itei^ a opocjinc ftp co Bmtimr'isS oo: te vumsvsi ‘
                                                          ns ptiSftiBoB 001(» tta^iojsofiwBifw. l«tesmf oot ctej@!frotooa»cijitiHjiSy ptoKbited by djs.So'cati^
                                                          rtonsaiwmfSijsApiiliedtlelgw. 1                     “                ''                                      -
                                                                ff the 1*0 Is. siB^ » a tew wkkb v&ownosasR
                                                          is^mi m ty&m te                             or      cotaed Id                   tEe horn          ^              lii£d&>       ,
                                                         .fe^:./(|8);s®y:3Dd»i«aa«l^»^^Mllbpt:Ed0<*4fcyKb«i:;wi»»s3i:.ne<«sja:^^;if«&M»''^'fe'darg«5-4stfee:pc?ii^fe^rjjeli:'-
                                                          UsderiB^ cfewjse la BesS»                                                                  ^m^Msg s^rea pajDi&si
j
                                                          to Soitowgf. If 3           fe?te3{                tU led^rltoj? ’MU ^ ii&si&d w «                       w-lcte
/ •
                                                          l^^yatem.cbergi^                    n&l 9                            fari^itrtos            .Bmmis'^wc&p&sizst^'-
!: ■
                8.
                                                          m^mh              mddel^                     l« B0Dr<m«rMII txsbUfs^ a            SDjr xi^i ef        Skjrro^fr
i-
                                                                  .
                                                                IS.      ,All:te>if^#yssby.'BorJ»««r,«r‘fceada'te<»iai«eit6aw!tei<tes.1«»risyitesBa«i»l-.TO
                                                          Mitteg. Asy boaof w Boimm ta caitsNwh wiUife Secaiils liistameat.ttea tettewi m tove iws|iv«a is
        1                                                 Bwww-wtei KHiftef 1^ Sat ctos imU sr vstea ssasdly gtSntta w Bwowof's aasiK! srfdiws if «a by esMc
                                                          mmf- N(i!i&,to»iiy» BOTK>w?rsliaJI f«wtate»!»a«8l»!iJI SwewoniwteApptoKfiawBstpjcislyrsqiirw                                                      «


                                                          othmrfso. Uss BWJce sftlresssM to ite ffcpai^ Adilrfa suBw.teower tas *s<gji«e<i a ssteSKte mm*
                                                          rfdresofcyostiiwttUr*!-, B»tr»«ftli4Bp«m|^iBi!#'l«*rofBanow's<teiogsi^»Jdr«s. Iflrate
                                                          sp(!dteap»(rarf!a6»i|R!|»Jtt!igBi»trew«r'»tlimg«rf«<Mto.teiiBan«»ii>t:BiJI’(»tfwp!»s»«;li»i80»(«&(»»
                                                         ,         to spciHOd pjoeotee. Tbwe rasyte    ess aoagwsd mmto&boss uirfeito Sscteits’ Issiraioesj
                                                          M iiff t»» ttm*' A® »tiE» tolLM^tStott te   by aoBwrtt® ti or wsffiss ft%fen ctes tolw i:e«ia«r's
                                                         liditmtteleateretesotessUadtrfa:           MWteroaitassliyttotela SsotW’W, Anysototatsasiiltai
                                                          «fi£f!(Ms Sfoaby(ojtreisOTit »teM           te tkmsit« tevo tees ^■oa to !«}«• wjsil swaaSly reeelwd         Lecdtr.                          8


                                                         ;{f:jiay'ftt»l?«:t!4<{ti£«4!.b)’;(iii SwirityiEsaoaKatife'tUo.ieiptsrol.iaiaer-ABSisMe'tawiifciAj^icSlisSw:’
t
                         i                                ttsjaftomeoi wffl Miafy'tte toBTOpOBdteg rotjclroattiii Bsder to SeeariQt bamawat,
                                                                 I®. <}ti¥i{«Ji(g lew;             8itoofC<wi!HrtKtl«,.'fhfsSt<atftyic5mjii»elstel!lte@>vr-raal(>y
                                                         .fedesBtewasd tfeotew:sf thejartefteftojs te wbkhiteFf^s^^ls locoioa;- Att rrgtesrasaoiar^oi^'lsostateiMlte'
                 *
                                                          Iks Sorority issawiKa are-»ibj«fi la e®y is^airsretw »irf iistiwions a Apiafrolite 1m A|^iic*bte law might
                                                          «jSjk!flyar«)ilie!ilj(,blla« ite ?»«t5 to        te ««»««■ ri «lgk te »«««. tat mS ritema steJ!«« te =
                                                          eoBtmwtiMsprclilWtios* sgatewagtromentbyrootect, biteEWoitowy {BoilriuaortteBscfiliisSeninty
                             «i. ■
;■■■:
                                     I
                                                                                                                    mwmHt
                                                                                                                   fioof ^5
                                                                                                                                                                                             f
                                                     ;

                                                                                                  t



                                         :   ■' ■■



                                                                                                                           I




                                                                                                                                                :



                                                                                                                                                        4


                                                                                              »
                                                                                                                                                                                     *

                                                                                      b
                                                                             f



                                                                        «                                                                                                                                   »




                                                                                  »
                                                                                  ’       I

                                                         Book23966/Page3474                                CFN#20051193500                                         fagt IjO .of18 •


                                                                      . I

                                                                                                                                            1                                                f
                                                                                                                                                                                             ♦

                                                                                                  «




            I
                                                                                                                                                                                    I

                                                                    I



                            USCA11 Case: 24-13671                              Document: 13                           Date Filed: 12/05/2024                         Page: 661 of 723


                                                                    .1
                                                                                                                                      Exh. RR pg.11
                                                                                                                                           i                                f
                                                                                                                                                                            ♦           ^ -i

                                                                                                   4




                                                                                                                                                                                        f,
                                                                                                                                                                        *
                                                                                                                                                                                                  4

                                               '■W^r.                                                            0$


                                                    «.?^«Si£KB5s:^r“^re
                                                                                                                                                                 t




                                                                                                                                                                                         t



I
              ir
                                              • P«!^'»*W*®***“^‘^^^^Lltra<«i. tfBfiW,»«rSalSWg»>'
                                                 6^|s^.-Maacx«a^                t
                                                 ^ Bolter-               »i^- '-
                                                                                                                             SI
                                                                                                                                                                                    «
                                                                                                                                                                                             II
li
              ^f.
                                I
                                                                                                                                                                                             ■I
                                                                                                                                                                                             I
                        4                         ^'4 \U» .f M.fi.K'SU
                                                  b«tt9Cllislt£^to,re4&Q


m'
                                    ■«.



                                                  Y                       ‘(..«-l..in": rr, '■■'‘’"■ ">'f-';‘'7fj;,'“             .             1 »^»«y,
                                                                                                                                                                            f
                                                ■ ,.,i>.,i.r.,s. ‘''■•'-■v'^''’■;:^:'VT.'A."v..'c-u''i r..-.- m
                                                                                                              .
                                          I


%                                                                                                                                                                           ♦
                                                                                                                                      Ho*".-.
I
t                                                  “3;;SSSK!?”*Ss**-““~‘
tef




                                                         t      A
                                                                                           f..-:^.«u^^^^v;. .r-v--.!'                                            4


                                                        ?•>         if              'ft:
                                                                                                                              >*m-i
          1                                                                                                              k
                                                                                                                                                                                         I




                                                                                »                                                      *


                                                                                '          I
                                                                                                                                                                                    I




                                t




                                                                    .»

                                          I
                                                                                                             I
                                                                                                                                           1                                f
                                                                                                                                                                            «

                                                                                                   4




                                                                                                                                                           Page li ofiS
                                                              ,,.; ..■,i,WPag»?'V5 CFf«2n-jqi 193000
     <■


     i
 .1


                                                                                                                                                      *

                    9

     1^                                                                                        I
                                                                                                                                                                 I

                                                                                     ft


                                                                                                                                                                                         I
                                                                                                                         k

                                                                                                                                                                                             J
                  USCA11 Case: 24-13671                     Document: 13                          Date Filed: 12/05/2024                             Page: 662 of 723
                                                            »
                                                            I

                                                                     i
                                                I


                      *              -




                                                                                                                                      Exh. RR pg.1;2
                  ■



                                                                                                                                       #■
             ••



                                               .1
                              to B0WS»«r«a» w«ta «U. Ub,L»toServ!«»« te«iwsfe>«d to a «M«wrt<»»Sf^*rf»r                                                     f
                                                                                                                                                            ♦
    m
                              m!tanTSSror»c^rba»ri».to.i«0',heiWsgr's«««'4|W»«wtoS,’<®<yIarf^^

                              -Sr«fc    «*wrtv«wtoa.-
                                fa..;w. .fa. .iM.n,ri«t «m te feksisafa W                         fer{lajWiBcfmWpmgf^ »»»«
I
                              wdtoattM mi omoimIV » cfc #«» to Bonwwr ^raaa »&«{» asS tfo e«te aTacasteaSa# |tv«a
                              ro   terowet fw^mUi sSfios I a Sail !k %m«d » saiJfr ibs isctice sad oifartaaMy ta «*« comxaw a«iea                                                   j



                                                                    As «ed ta » Stxm hr, b) “«»»»*“
                              wi.aKf sttosfc <ate»nteRs sdiSttsces, jafflutaais, arssawtiy Mwwaaattl law atdjtefcltevAig »*«»**.
                              BwSftw. teawaa, (fftcf fiaowMe »t issif petmltsiin |tsrfs». t»*ff fesWte art teSitJte, veteel*
        0                      imi«fel5 jwtafaija ««teiBs at fonaj^dtl^. awl radwtava iti«(«y«: jji} "l^iemim^ jUw^iaw
                              bwaaadfewsof te##®d!cti<w whiteieWtserty htocataitefal^t® Wlk. aftty to-
                               '{cV'-'*iB%TOii&l4 Cteaia' fatlato say icsptmse a«*», K-it»l!fa! atJiro, or teraowi »MI». 3» deisws m            ft


                               Eavtajaateay taw a®4 (* an 'ftivitosiMBial-Cowilte'-'maas a em^Mait ikt cas caaa. ooaiiaBto to. er
    I   ■m
                               *’*'***“
                                     m
                                                                                                                                                                  :
                                                                                                                                                                           I




                               w ds, aaytttfag a»<a* (fee Rro{«!tr » «>« i» vWaUoa of asy                           to, f
                               ieiciiffifiieiitiCoBiWw. or fc) wftWii, doe lo to pteretKe. rue. or tsfease of a ftaadoas SaasfaRis*, (sales a
                               aisifto (ii*« advenay aile# to vafce of to Prigeiff Ifee jto*g <w>                      « oat apply t« to
                               vmmt* as* or'!iw^«toltosteof'tm»a9i»»dS««ffte!nta8S»teK(»ttessto ^«»itrt«»iP»a
I                              to la        »e mmrn itmSki wos wd t» maamm «f to FwwSotMog. im «_liw(eo«».

                      i        aatot^w e3«itB»«fi(»l orfeg.latoiyagt6£yotp!h«-fmiS tBvolvij| to?roj»r^^ wffee^SstoW
                               Of Bi»to»sMiiW too? wJdehBonrewa-fcisactti^teowWge. {btioyEaeiwriamttlCweditoaitoWissteiad
                               itefed to. MV salBijis. lealiiw.diseliimeiWlewoftowlorK-fentooTwyHwrtoBS'totote.aM irS foy
            *                  Sm (2X to pmJe. >« orfdeossof » H«a«(«.Ssfeto«wlM«H
                               'PfOMito. If Bodower !«ms. or is ktifed hy aay govsmresut #f, regiflwory swtonty, ts«y jmsate party, to,
                               immmtd m ote teaatoiSoa of sftj Haardws Sotsswe affisUag to Itoianx fe mw. Bswwver s!ud(
                               (1*0®^ t*e a« oissisny nsmetol ^'sitt ta^<wS»BES»«l>‘Ej)vireawiii!J Law. lyoJlifeg teiii tollctesleany
                                          Wl«idfeto»'EiwfE»iils«ilaSCJ&a5»;'
                                   MOM-USIFOIWOaVEJJAJSTS. Rmoweraadi,«»tei«d«-«v»oMi«.4®g«,K»
                                   n. Atc^ewUsiK Etowdies. lerder iWl ^te Iwlto f) Bsnsmtr ptlor-'w srt^r*^ fttEMtogi
                                                                                                                                                            f
                               ^BomfWt-sfereaclirfaweovaaaritwiwaeiwattBfhisSeojrfQrliismsaKiJfiKrtoiifprtertoiiMetoatloaaadtr
                                Seal(tolSMf*s»AB|«^totawpi*ito«toi»to). tlieEotoMsped^ (a5i!»WWt:6»)ite»r*toa
                               '»«al«lto«K»   toto&«Jt: M a
                               .«lctetodel«lto»rtlto««re«-.a!rf<#«W(M)wto««»l»« deadlier btfostodto^                                        ^
                                setJee miky mtill Ja                 ef           $ms »asf*d hy    S««a% lnsmastseSd fsjfcdtorc %■
                                                                                                      I
                                                                                                                                                                                P

                                                                                                  m                                                                                 *




        0
                                                                     I
                                                                                                                                                ft

                                                                k
                                                        f



    i                                                                                                                                                                      ft




                                                            i
                                                            J



                                                                                                                                                                      ft
                                                1


                      4                                                                                                                                                         3

                                                                                                                                                                                f

            »                                                                                                                                                                   I


                                               .1

                          I
                              •Boo^3966/Pag63476                                  CFN#2Q051'r 93500;,             i                Page ^2,of 18 ^
                                                                                                                                                            ft

                                                                          0




                                                                              »




                                                                                                                                                        «
                                                                                                                                                                                    4
                                     USCA11 Case: 24-13671                          Document: 13                        Date Filed: 12/05/2024                            Page: 663 of 723
                                                                                                                 I
                                                                                                                                                                                  f

                                                                                                      r
                                                                                                                           1

                                                                                                                                                       Exh. RR pg.13
                                                                                                                                                                                                          *




                                                     I)KKeedisgaaa»3l8art(wFn)psrty, JKeiatoj^teSwybrmBsiTWwoffcri^tlsiPriaaaSBaftef
                                                     acoslnsto'**^ «Ktie»t» aswst Js^e fowttesars ptstsetog «» oisiHa^asM* a <Sj«t« aay asfecr                            4
                                                     ■                  '        ‘
                                                     <->fctii?efHnrr»/..:o..«-:,r->ii       asfarerfeffireiirte^^&w'earrfaawtBfepelfteto^wffled:
                                                     i'. liv ll•.••.' 1^1 MI r..'., It a lay.ai^pswfl       j.»:-..titrilJaS 'I ...I« J.I ..-.I'... t .•>■' rij


I
      I                                                                                                                                                                                               I


                                                    . twiiKrti8attdts.«aa»a»a»*««r»ii!y»' toawlawlsoriiifcevJtec*..
                                                       ■ i$. 8»r(fflM..li{wfl|aym«*«f^samssK(«6aJ>ytt.St£«nt?lawa»M.te6dfrsfe>!!wl»satKs,&t«ril5f                                                ■W

                                                     teraoiest.' Smemt s!»!l WAay f*tatS8a»a«#«s, iMtSts ms (tege Sostmetj, r« ftsr rehatfa® tfeH S«f»ri»)                                       h

                                                     ftftintmeM. btu osly 8 tfe ft* s'pfd«» s ttW faety-f® sefvtei, lassSisfeiJ       cla^glag sf a» *» is|»ea«te^
                                                                               '             I                                                     .          i',', ' ■
                                                              MflrBi(ys’ F«». As used ln«$ Sefsrii^J&WiitKM aiid tba ?5«.                          tws « Mmfe iftow'
                                                     awdad       aa ai^dlasf caw arf »y ifBiwayi' ite hmieS ot a totojUfSt |W!»«itoj,                                                        $


                                                          m. Jw*y T«id WfaSwr. Tte Ba»«»w                 wiv» «Bj'        to » «« %jaiy to my mim, prmf^sis,
                                                     cWm. OJ eotaittttbiffl.-Kteliar to ccatw m Wtt. a U» ct to etjtfty.-^isteg as* of.ot to »y tsay ««&»«) ot tWs.




                                          ■4^


                                                                                                                 I
                                                                                                                                               i                                  f
                                                                                                                                                                                  I

                                                                                                  4                                                                                              I


                                                                                                      t
                                                                                                                           I

                                                                                                                                                                              *




11
                                                                                                                                                         *
                         I
                                                                                              I

                                                                                        b



      I                  9




                                                                                    »                                                                                                            f
                                                                               flS
                                                                                                                                                                                             «

                                                                        I




                                                                                                                                                                                                 i;
                             *




                                                                       . I

                                                I
                                                                                                                                          f.

                                                                                                                                               &                                  f
                                                                                                                                                                                  ♦

                                                                                                  4




                                                                                                      r
                                                                                                                           I


                                                                                                                                                                                                          4




                         9


                                                    :■ :^!^S66/Page347? • CFN#200511035jDO                                                                   Page 13 of 18;
                                                                                9



                                                                                                                                                                                                      4
          -         *t                                                                                                            4
              ■fe



                             V   •                                                                                                    *
    IX.        9 4-

'     4

i                                                                       I
                                                                                                                                                                                         4
                                                                                                    i                 IS                              a
             USCA11 Case: 24-13671                   Document: 13                     Date Filed: 12/05/2024                   Page: 664 of 723
                                                                                                                              6


                                                         h
                                                 f


                                                                                                                                                      »
                                       »
                                                                                                                                                  I




                                                     »                                               »
                                                     I
                                                                                                                                   /

                                                             I
                                  (                                                                                Exh. RR pg-1,4
                 «



                               BY S!C«MG mow.Barowff «»fBitti^ni*s to *c lerras'ajid a»'0-«4atMala# te !tl$ Seauity
                            liateBJW wa to^1S>4w                     fcy 8<ww« «»i(i«os*d w8l» f*.

                                 .t

                           ^         -
                           tEjKJY-WI&IWSS
                                                                                                                                       t
                                                                                                                                       ♦
                            1977 m 119TH ROMS. SORtR
                            MI&Mi, PLORXB& 331*.l



                                                                                        I




                                                             I
                                                                                                                              «

                                                         b



     1                                                                                                                                                t




                                                     I                                               »
                                                     I




                                   I




         A




                     I


i:

                                                                                                                           }je^»




                                                                                        I
I


                                                             I
                                                                                                                              I

                                                         b



     J                                 O'.
                                                                                                                                                  t
                                                                                                                                                      *




I
                                                     »                                           . *



f
                                   t
                                                                                                              •;

                 t                           :




         A

                           Book23866/Page3478                               CFN#2Q05119350Q'                         Page 14 of 18
                                                                                                              ;



#                                .1

                     I


                                                                        !
                                                                                                         £/

                                                                                                          1                            f
                                                                                                                                       «

                                                                 «
                                                                                    > -                                                H
                                     USCA11 Case: 24-13671                                                   Document: 13                  Date Filed: 12/05/2024                               Page: 665 of 723
                                                                                            .1

                                                               •W
                                                                    t u
                                                                                                                                       I
                                                                                                                                                                       i                                 f
                                                     V*                                                                    4




                                                                                                                                ; ..



                                                                                                                                            1
                                                                                                                                                                                     1*    ft#.RR pg.15
                                                                                                                                                                                                   4




           m
                                                                                    SMUOFaORIDA
                                                                                    c' ommar
                                                                                                                      I
                                                                                                                                                'So                        Xyziie:k<su>^

           I                                                                      , KS»js(scis>A!b(tate»ia!0iia8?»l!<»tepiadat«l VZj<\'c\                  ji—.,                                                       «




                                                                                                              »
                                                                                                              *       I
                                                                                                             SUtA^-rsV/.umAi.
                                                                                                     '^t £*^*^5.                                                                                               I

                                                                                                  cr^<
                                                     i

                                                                           ’I;-
                         *




                                                                                            .1

                                                                    I
                                                                                                                                       I
                                                                                                                                                               litail^;                                  f
                                                                                                                                                                                                         ♦

                                                                                                                           4




                                                                                                                                            I

                                                                                                                                                                                                   4t>




                                                                                                                      ft
                                                                                                                                                                                            4


                                                                                                         f
                                                                                                                  b


           i                                                                                  o

                                                                                                                                                     v9i
                                                                                                                                                                                                                       4




                                                               m                                              »                                            *
                                                                                                              1




                                                                                                                                                                                                               4
                                                     Wi
                                                m

                                     ■Ifc
l.>                                                                       Ml



                                                              s
f;.i                                                                                        .6
                        Wlfi^Miiini                                 I
                                                                                                                                                                  c.


                                                                                                                                                                       i                                 f
i.                                                                                                                                     I
                        m                                       aM                                                                                                                                       ♦
                                                              lit
                        SS                                                                                                 4




I                                           ^         "           * pv„,..
r                       'iif
                        "I'V
                             :                                                                                                              I

                                                                                                                                                                                                   4»
                         ■
                                                                                                                                                                                                                           4


f                                        - *r
                                                                        &wMi
               PIB                                                                ’■ ■ ■.^2:J96e/Page3479                      CFN#20051193500^
                                          .<;
                  -V
                               V’i?"* t,'                                                                                                                                     «


                                                                                                                      4

           .
                r*y's
                    \
                        i                                                                                         k
                                                                                                                                                'I
                                                                                                                                                5
                                                                                                                                                                                            4




                                                                                                                                                                                                               •-V V
                                     S
                                                                                                                                                                                                                       «
                                                          *                                                                                           4




                                                               i. .
                                                                                                              >
                                                M■                      cL^
                             -r- '                                                                            t
       1
                 USCA11 Case: 24-13671                                               Document: 13                                                         Date Filed: 12/05/2024                                 Page: 666 of 723
                                                                                                                                                                                                                                                                      J


                                     A



                                 R
                                                                                                   t

                                                                                              b
                                                                                                                                                                                                      Exh. RR pg.tS
                                                                                                       Exhibit A                                                                                                                              1




                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                  i


                  im 103, BLOCK 14,SANS SOUCl ESTSiTM,according to the Plat thR-of as recorded ia Plat Book 50, Page SS
                                                                                                                                                                                                                                                  W

                   the PttWic,Records 0l Maipi'Dade County,Flonda
                                                                                                                                                                                                                                   *
                                                                                                                                                                                                                                                  *
                  Parcel Identiflcolton Number:0552280113400
                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                  W:
            »                                      y:. «■ ■ . .                                                                                                                                                                                   m


                                          .. : ^                                                                                                                                                                                                      i
                           ■c;




                                 i                                                   .■       ’r       ■ ■                                                                                        1                     f
                                                                                                                                                                                                                        %                             »
                                                                                                                                                                                                                                                      IS
                                                                                                       d


                                                                                                                                                                                                                                                      1
                                                                                                           .             V.,--                                     -r^ ■ ■       : :
                                                                            r;
                                                                                                                                      r-    -
                                                     : ' ..v           r-                                                                                      I

                                                                   :
                                                                                                                                                                                                                    #




                                                                                                                                                          r;

                                                                                                                                           • t :
        ■




                                                                                                                                                                                                              i

                                                                                              k
                                                                                 f                                                           ■ .-rr- 'X   .;

    I                                                                                                                                  ''1 ■ ■ ■ .;

                                                                                                                                                                      *
                                                                                                                                                                                            : •

                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                          i

                                                                                                                                                                                                                                                          I
                                                                                     I                                                                                                 ■■
                                                                                      f   ,

                                                                                                   I                             :
                                                                                                                                                                    : ..   ...



                                                                                                                                 iT
                                                               a
                                                                                                               : *'■ ■
                       A



            ■0




                                                          .1
M
                                 I                                                                                                                                                                1                     f
                                                                                                       6
m



                                                                                                           i




                                                                                                                                                                                                                                                              i




        a

                                                                                                   a                                                                                                                              ;k'""
                                                                                                                                                                                                             a

                                                                                              b


    I
                                                                                                                                                                                                                                          A-L:
                                                                                     »                                                                                           »
                                                                                      (



                                     ■i£M3966;Page3480                                                 CFN#20051193500                                                                                    i|?ap?16 Qf 1S       r ■■■



                                                               a


                       A



            *


                                                                                                                                                                                                                               ■ ■ ■"■ ■ ■J

                                                          .1                                                                                                                                                                                                      ?



                                 I
                                                                                                                                            I
                                                                                                                                                                                              i                         f
                                                                                                                                                                                                                        4
                                     USCA11 Case: 24-13671                             Document: 13
                                                                                         t
                                                                                                                              Date Filed: 12/05/2024                     Page: 667 of 723
                                                                                                                                                                                               t

                                                                             I




                                                                                                                                                          Exh. RR pg.17

                                                                           .» pi?EPA¥MEf4T WOES
                                                I

                                                    LoittKWBiK*''                                                    I
                                                                                                                                                      1                               f
                                                           OCTOBER 20, 2055                           «


                                                                        imor

                                                                                                      1




                                                                                                                                                                                 •9
                                                                                                                                                                                                   4




r                                                                  ’‘*rSSS^
                                                     2«jcrste» MOWC-AGS barkers, aA tiKiTEP iiAsaitx coseiww
                                                                                                         »«*“
                          ■

                     »
             ■I':
                                                                                                      A/tjA m& Viimi V,- FumroA 33Mi                                     «


                                                       a?77 NE X19TB’R0A9*
         I
                                                                                                                  .'Ss’’T60»^i'




                                                                    4     . BORBOWER’S raGHT TO                                      lafiKs ttsty ®5 te'                                       t




                                           «



                              *

                                                                I        ariK llw «<*»                                                        ^ ?'”S
1^
                                                                \Q

                                                                                                                                                   yti^aywat
                                                1
                                                                                                            ,   -a       r i-'i ■•        '
                                                                                                                                                          *                           f
                                                                    cr:=',sr’i,'g.3s5SSa'=                                                                                            »


                                                                                                                                                   W«a»3




                                                                                                          Psgel Of 2 ^
                                                                                                                                     •<




                     >                                                                           ft
                                                                                                                                                                         «

                                                                                             b
                                                                                   #


     J
                                                                                         »                                                     *
                                                                                         f
                                                                                                                                                                                          :v




                                                                            «



                                           ft



                              *

 mm
 m
                                                                    X‘


                                                                            .1
M
                                                I                                                                                                    1                                f
                                                                                                                                                                                      ♦
                              :S|®
                                                                                                                                                               Page 1J of 18 •
 n

     Is*p
              i          iiiPi
                                                         8«k23966/Pag.348,1 •CF1^'1M='>°
     i
                    iiiigii
                    m
                                  m
                                  'Wi



                                  iii M.
                                                                                                 I
                             USCA11 Case: 24-13671                          Document: 13                                   Date Filed: 12/05/2024                        Page: 668 of 723
                                                                                                                                                                                       mk


                                         ,*s



                                                               .ft

                                     t
                                                                                                                   I
                                                                                                                                                 I
                                                                                                                                                                         ExhfRR pp.18
                                                                                                                                  rv   ’ ■>■ ■-.       ^ '
                                                                                lf:»iitiii''^i£®                         f S2
                                                                                    h                I #uis? a fifll r«jij®Kst er e» O' aBjenaU^^MOTsm'arf
                                                                      tti« WM of ill salh P«p,jjB«,b to


                                                                                                                                                                            «



                                                                      •S's’5«s;=^s•.:s^s::rs;"S^•',f-

         I                                                            8V SIOSitKG BS LOW, BtotcseraMtptiAid «^«sto «»'(aros asi !»wij5i«5<aBji^ saitijs
                                                                                                                              b
                                                                                                                                                                                             ft




                                                                            »                                                          »
                                                                            r




                                                                                                            ‘Mmm:                                         mm'
                                                                 ft
                                                                                                                                                       •Batniwir.
                                 i

                                                ■ .: •■ ■


                         >



                                                                                                              "W.
■             .                                                .1

                                                                                                                                                 i                               f
                                                                                                                                                                                 «

                                                                                            «




                                                                                                 »




                                                                                                                                                                            4»




                                                                                        I
                                                                                                                                                                    ft
                  ' •k
                                                                                h
                                                                        f


         I
                   i
                         m
                                                                                                                                                                                            I



    I;

                                                                            »                                                          0
                                                                            f




                                                                                                                                                                                       ft
                                                                ft


                                 A




                                                               .ft

                                                                                                                                                                                 f
                                                                                                                                             c

                                     I

                                                                                                                                                                                 t

                                                                                            ft




                                               Book23966/Page3482                                     CFN5@20061193500                                Page 18 one
                                                                                                                                                                            *>
                                                                                                 coBwrr OP* mcs                                                                                   4

                                                            i !LaRgC)V«f|r?V # 5s»{ (-{MS ?r><JS. 41^ & » !r,-s « ,
                                                                                                 ,/?• I p          »   ,



                                                                                                             fy>                                                    ft

                                                                                6



         ^i                                                                                                                   b
                                                                                                                                                                                            ft
                                                                                                                                I
                                                                                                                                                                                                       m
                                                                                                                                                                                                                                                    m         m

 ij                                                          USCA11 Case: 24-13671    4
                                                                                                                                          Document: 13                           Date Filed: 12/05/2024I
                                                                                                                                                                                                                                                  Page:♦ 669 of 723
                                                                                                                                                        *




                                                                                                                                                                                 I
                                                                                                                                                                                                               Exh.W Pg4
ff                                                                                                                                                                                                                                                   «
                                                                                                                                                                                                                                                                                       *



                                                                                                                                                                                                                           ■€
 m
 Si
                                              '•
                                                                                                                           FrankunCredit
                                                                                                                                                                                                                                              4

                                                                                                                                              fe


           I                                  #

                                                                                                                                                                                         k
                                                                                                                                                                                                                                                                                   4




                                                                                                                                    i»gM...Mitfeaitoia OptionsMd Eiig}|»lin:jRcqttimnepts
                                                                                                              :•                                             \U‘ imdt^6tai}j4ktt\ m i»a) l»e expeiiendug imMidd diillruin -.^ iih
                                                                                                       r                     :m           ;• n                and »oH|d like to dlssju^ yhf opiuats ot imite:                    ieia
                                                                                                       anWiaisfc %l                    iLn^rsnifr® if viwj«a!il\ fja&dimyrnr finandal siiuasiwi. Pka>,. set the v > i.
                    ivi
                                                                       1
                                                                                                                                     ISv lenajiaanenly        fur the toanihat Libc sobjeciofilirs Xoiict' ur rtfese
                                                                                      ,    -•         Mg»,                                                                                   !>•           '
                                                                                          , _         ^                                            -Atefiipcirffl>'agrecraeni,\v}iichaf[0>\sfoffepajmaiit5ft{K«n?i(dn IvSH
                                                                           ■I:                                                                                itimga$i:p\mm$. The iwjyldfaii di deb aito htc/.je t ■
                                                                                                      intmaa.                  etfel ereuiSs incBrrdJ liv'ilselcndef.                                  -        ’   •           ■'■       ' ■ :'
                                                                                      I
                                                                                                                                                                       I
                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                         f
                                                                                                                        Efigihlav                   ft-t ihl-, .iptiun'require a ptirtiun of the uttobd fi- d'se .r."e                                    «
                                                                                                                                                                                                                                                              «
                                                                                                                        K- f»-eY. w&Ji i« »^*ifi4kr tff uBpitd.de>i being spreiid,»« over fc pcnod of                                                      \- ■'.-
               ♦
                                                                                                                   K:
                                                                                                                        ■Witt rr,,vx r-e iSbTstsasI pavmcns aicna withjow reguiar                   itv -ig. tv (’'ejr,'
I                                                                                                                       _»qadifv ftiri!;i>tsptb;%- voa esu-j beabk*|,ora;4e the requiredfev0*ent* a.-                                                    ^ I, -

                                                                                                                         Deferaient Ptan -- A                       agremea whfch dfov^k v*w                                    r*- ire                   m^l li.
                                                                                                      futureatee, ar wlndt time tiMse pavaenfe mu^ be repdi                                                                                                                            4



                                                                                                ^ a^ed%ir. period itiwslh'i^manfkvs.
                                              r                                                                         ■Rir^bfldyReqnfcpjgjtsfcrli*option«dmmmedfeeftcal^1!Jty to pj.ib«currem pSwof
j'
                                                                                                                        ihe mate and the hardship sutll'red fhK fsptiuii b {)ts|y availabtc |}»r aorsgage ■IbajK where the
                                                                                                                        poirewy is ifce iv>iti<w-er's pritnav fesitleoai,                                                             '   ’
           r: •                                                                                     ,, ,,,„                    a-invytewu of Uyu bive the tinMcki abfit) w hwg ;.mr i .wn Oifreut. j«or                                                                        «
                                                                                                                                                                                                                                                                                   4




                                                                                            . lerkfef/smicCT hHI accept ftc foai, n^redwdjo !y;.ig the kreo eaieca trittl ttn, ttay >( v -or » •■'», > ta
                          i
                                                                                              , s^c. Iw addition to the ^ritbv nwrigigap3jnreai,iaii:4ira4‘» and other gswerotsdar on                  w
                                                                                                     <iWi|aT»uii v’o» may tre rc^a?{to to }v,>- a3 .f'Ji-iinJfflgsth-.rtfejX ilvt and ujsb ofculk-ctbc.
                                                                                                             laian Modinertlioii . AtoattnaMiUicaftoiiallawskontheuptiontofepac theTv'JU*. rtv-
                                                                       «                        . Pireed upon terms.-whleb inj:. bdeJv lowering t& iijjeest rae.'T>lactiif amoimis msi tbe si ‘he t mi of
                                                                                                     thcftM!i,aiidtorektendi»gs»!i-raiofttek}sn.                                     '         .
                                                   4

                                                                                            . .V-                       WlgiWIil^.Rcquisenierib lor«txa medilkaion are ileteminedJjj-the abiiit.v » p>'iwhic!i may
                                                                                                                        i-equimaAwtipyutorit )oH,Mds tiiv uupad pstdue (Je!« and foraplctlon ofairki pned pi.ml*
                                                                                                                        the currIiM value »rthe home and hardship tuftcred.
                                                                                      t                                                                                                                i                                                 f♦

                                                                                                                                                        ■»


                              I
               tr


                                                                                                                                                         f
                                                                                                                                                                                 I


                                                                                                                   A                                                                                                                                                                   4
                                                                                 'i
                                                                                                                                                                       «   ' !


                                                        ,.    ■:




     • t
                                  I
                                               I,
                                          >
                                                                                                    ilrjf-                                          I

                                                                                                                                      f
                                                                                                                                              k



           I                                                 *»v
                                                                                                                                                                                         k
                                                                                                                                                                                                                                                                                   4



                                                       V*


                                                                                                                                          »                                                        *                                                                  i-r- ’
                                      I                                                                                                   f

                                                                                                                                                    1
                                                                   V. 11 PIT 4SD v'                                 ito*. cr ■(._•!                                                                                 ; ;:
                                                                                                                                                                                                                    eiV

                                                                   PAgC;4                                                      I

                                                                                                                                                                                                                            ;
                                                                       «
                   I

                                                                                                                                         TT:



                                     »
                                         e
                                                 USCA11 Case: 24-13671                                        Document:
                                                                                                                 I      13                                          Date Filed: 12/05/2024                                        Page: 670 of 723
                                                                                                                                                                                                                              *                               m
                                                                                                                  b         '!
                                                                                                                                                                                                                                                        mw-
                                                                                                                                                                                                                                                                          ■1
                                                                                                                                                                                                                                                    m                             m
                                                                                                     •:
                                                                                                                                                                         %                          Exh.VVPageS                                                                   rf


ft! -I                                                                                                                                                                                                                                                               P*|=
                                                                                                                                                                                                                                                                                              i


                                                                                                              »                                                                                                                                                        I
                                                                                                              '         I                                                                                                                                                 pi
                                                                                                                                                                                                                  #
                                                                                                                                                                                                                                                                     Mil
     ■:
                                                       A                                        FrAnkunGredit                                                                                                                                                 m
                                                                                                                                                                                                                                                                             m

                                                                                                                                                                                                                                                                             m
                                                                                                                                                                                                                                                                                  1




 i   1                                                                                                                                     ii                                                                                                             iiiiiiai
                                                                                                                                                                                                                                                                      I*
                                                                                                                                                                                                                                                                                  i
     ■4
                   •'i':
                                                                             ite.hftve e^pjgistfftll 0f                                              abwe-aW aresrtll uwaMt ia°ewttiitae iwakin-. wi.r mrtntKh                                                              « iii
                                                                                                                                                                                                                                                                                          !Si

     I                                                     6         '       Siaagagp pa^fiewt twre ajrsJMfe opiteaftaa^thtvat? ia asmirni forectosurei                                                                                                                           ili
                                                                                                                                                                                                                                                                                          Wi
                                                                                            '             •                      ‘             '             <                        ^                           '



      I
                                                                 I           f             DeM-iit-Ueu - Ar, ty>-M Asi
                                                                             ,miWgaji.'m(,.rJarwa-.oU<••'(.A-HiTf
                                                                                 V               . . .       .
                                                                                                                                                                 j».'c s* 4'*li2T5:arH
                                                                                                                                                                 "
                                                                                                                  iiiiSiiill- *• ^‘'^'•’'‘■‘^^‘■‘’^‘•‘‘PwpenjananagKvdujsn'da
                                                                                                                                                                                                         v<»ur j}ri>p«rt% lo ifc
                                                                                                                                                                                                                                        I.
                                                                             Ica-kSJgtk^pHjiJcrty m ‘ iwwv^apt" c..4iJ3Aj, V«‘e ratfiS 2?|.a» ttc kn^pst:nkeve.cc&,> So insmai ' '
      i
      Iav?
                                                                             yowpropw) .(s« pay ixkik the snimcrc^'Hw                         saeh a request be mask;      ' ■ ■: .
      §
                                                                                    Wjgibiliiy                                  a paj *eda!‘?. Vw }mk<r npv i&k M)i. Sfl
      f
      i:
                                                                                          ^mplefc afinajida{tiK»tbnfeJs<4»h\* siay r«|tjheals.si.WpJe«eH, lH.^dhleii.’ife?te,
     i'                                                                                   be no otlisr Jieae orjoagaKni ugaiuSt tk-                                            kfwite joar mongaie • -.-.Ipatipn that le -                  i'an                                                   j




                                                                                          cwretUlyiR^feulf,- jn-pAer,                                        iluemuijWktemlmkrketibte". in ■ ml'drmmsmccK
                                                                                          your icncfer i»a\ x%mt you Mptxnc tka vvu;                                            (nita-4tK8;.a«f uSSfeare -.uiroti
I#                               »
                                                                                       _ Short $ate~ThV,optf«>n sifo^syoa to aioid foredo^ure by seJlingyour property “Cv less than
                                                                     ^ ,, total aroorat o»cd m ih<*ucasipt {mbjiXt to tf7e.-raem by your sen !cer4c&ferf. While the Short s ■!.
          I                                                    ■ f.         .reitm-s the he^ on ^-property. It fes mi necessanly absolve tlie,|x?m>wer of anv rcmatiiKu k-bi hor                                                                                                          I


                                                                         ^ .by^^semor.-OTd.iwmor Im!^ rranWIs Ctetlit Mpiagemem'Coiporaiitrn ipserves'tto.rijAt lo pursue tlic
fc
                                                                            - fls.fi_cicncy balance on }|;half of its client. svheK state law ailpsys.
                                                                                      In order to te drgibk* ytij ma>i no. h.ngcf k able to rwltitam tk- ittortgage pasments. ar-t! upt muii
p[ii'
                                                                                   dmomme tim the cuncnl pro|»«y value feAcfow yourawenl wdebtekwx ‘Ihc kndoimn .wk                                                                                 «


                                                                                   you A ^mplese a tinancia! qucstwmirm hvHidi may repdre a kraship letterl in orkr to esaliut.
                       i.
                                                       A
                                                                                 .you; jhAtv io,                                                    whSiatc...      aceist Wa ,nua -
                                                                                   afMwme a buycf w Amg t., p^rclv* rte               f.r tWsnineiii kb mmMs               mN
                                                                                                                                                                                                                                                    '.4
                                                                                                                                                                                                                                                                                          A
ri
                                                                                 ' and Lmtm Agswmeauo  J’«?PlwseAg-cemem      (with »IfremM
                                                                                                           the .servicer frr review.    eonyitiencfc,;. .iasmiareti
                                                                                                                                                  you mast   disw Settien-p Stascoten!
                                                                                                                                                                     haKfer sen leu                                                                       '-A,

                        r
                                                                                  access to jappraiseAaJjue jour pr«pv‘riy.                                                                                                                                          ■*
                           I                                     i
                                                                            #•
                                                                                    Settlement - This option allows >li« to avoid forecloswe by settling tl^ dek 'or Ic^s ytaitftt'sc                                                                                             ii
                                                                            rtlrrJ                  f«>»i*«'
                                                                                oi tm M*n k'4?r^iefidler      ^ubject
                                                                                                         n kinm  ymtto aga-eniem by your sen ieerfenders xad a*v> rv^ukin.. in d,e                                                                        y'i*        »
              ii

                                                                                         fchgtbtlity fequiamenntndtide your inability to pay the debt. You mo;, be rv'ajA/&>«5ni                                                                                          ■ ..V
                                                                                        •a financialqucstwnnatefwhieh may ‘require a hardship lettw). pimWcF.*.'>fc»ftr.v-.3ic. s,v,.                                                                                m
                                                                                         0| i our tmancnik a pay < •fllelier from the any oibor mortgages on the propertv, ar.i                                                                                  ■ ;y

                                                                                         [TOVKie other dpeumentv reyiuipd SocstaWish your efigUnlity, All seftleBiem agreerr '                                                                 >•
                                                                                        subject to ciisflfit approval,                                                                                                                                                                        •k

                                                                                                                                                                                                                                                                                  ■'e '




                                                                         ■ '-'n             *'**                                     eomaeltag ns. m 1-Wk650.7i«. HMday thr«i0 Fri^n.
                                                                                                                                                                                                                                                                              ; • A-

                                                                                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                                                                          i
                                                                           ««>»»» ay at *
                                                                                   ’  f / *’'                                         t« «‘V m 191. Besuretoiiicladeyoar
                                                                                                                                                    Hiidson Mreei, Fluor. Jersey Cltv. KJ t)7it«                                                                                              ii
                                                                                                                                                                                                                                      or

          I                                                                Cferrcspondence,*                          ■' ■                         ■■■                   , ■ • ■' '                 ‘
                                                                                                                                                                                                        HiBinoe an<l      fiuFEilier in.voiir'
                                                                                                                                                                                                                                                                 I    .
                                                                                                                                                                                                                                                                                      i-i
                                                                           Please k’ advised ita thi letter docs not wmsittutc iietnimiltpem lo appi oycany workout plan.
                                                                                                              I



                               i 4
                                                                                                 I

                                                                                                                                                                               t-
                                                       A



                                             »




                                                           4
                                                                 t
                                                                                                                                                         I
                                                                                                                                                                                          1                                            f«
                                                                                                                                                                                              tp'
                                                                                                                                 «

                                                  W„CFPB„4SDAY                         K.v .>7’iP-
              ;;
                                                  Pigc.5ot:5                      .
                                                                                                                                                                     I
             USCA11 Case: 24-13671              Document: 13                     Date Filed: 12/05/2024       Page: 671 of 723
                        FR/-.K;ai\0.::.>= !                                                        Exh. W Page 1

                  •;                     I


                Sent Via rir>t-C%i'
                                                                             I
                                                                                           I
                                                                                                     w
                                                                                                                      f
                                                                                                                      ♦



                11/17/2021

                                                                                 1
                LEROY A WILLI '04.'.
                 i.5020S RIVER DR         ■;
                 MIAMI, FL

                Lmn NtimbiT:
                Pfopetly Addrcs,<;; {> .'z                   ^ LJ,
         I                            MjA>4LFi                   ■W;   55'

                 T^rnimOY r\XM^
                                                »                                      *



                Ta the exIeM ynm                        llis brss .■!L*,:hari>c<i iir is &abjecf to the aujoir.iitc       fs 3 b'ArMrfXiy
r                case, Ifib notlct' Is ios            fAiTp*>fi.y f«il> aod does n©t mnsutmi- a d:rt tOf pltf
                 te«mpr to eofiett a debt its your pcrs-fusl ciWIgatloo, ff you are ryprotcim’d In .r.. siroriKj. pkase-
                 provide lis with ill© 4in<»raej%namt,8!dilress,aadieiepiiom;n«iu0er,                         ' ■ Ly ::/■ '7' ■ : l

                 Fills L a legally ro;* 4tJ ; Lice. We arc '•en.rcj. this ncfitc tc< •.©'j'rKn'/i.'C y..o ne ". cc           nnir TOongaec
                 ptc meat Wc waai f^^oiily vnu of port^lLV'v/ays to iVi'vz 'oslr.g yi,aie acne W,.                        a-jigiitto iiiyake'
                 fweetosure based on the terms 08 your mongd||c cufiiraci f lotfoc rtsw Las kaicinarcfaLv X

                 Your p.ument to-Fraiiklin Oedtt Mtinagctacirt Corporaiion. iheScrvicci orihcahtrte-icinctkcd loan acting on
                 behalf of Wilmington 'Savings Fund Society. FSB. not in it*; indindual capacity but solely .a|;;.W1erfifale
                 Trustee dfBmco Credit II Tron Sitic.- 2t40-I, is cJirrciwly uefmuuem. if you are unat>]c to bring. y0ar|ccpmit
                 Mifitiily Ffaiifcliit.Creail.:’MaRaiemcni.iCbE|)0#8t@!'bfftrs' iQss niiiiggtioif programs dssigned t& lidp'■ resplM
                 delmpticneies and avoid foreclo^iirc. 1 hose services arc provided widimn et,>st todiir cdstoirrcrs.

                 Call UK today lo learn nsore tsboui ^'cur options and in^mtetoms for hOw to ,ippK
                 David BddvT                        k



                 101 HUD.SUN SrRLE.T, 2 1111 bLOOR
                 JERSEY CITY, N.1117302
                 201-604-4^0.3                  »                                     *


                 Monday through Friday tS:00 r\Jv!i- 5:00 PM ET
                                                                                                                                     •



                 for mote infoririation. visitvwwv .Irankhncrahi com or email tis at Doxi.ments ti fiaiikliHci'edil.eoai;,

                 If you need hdp. cnciosed arc apnheattou mstruciions tind u list of loss niUigatRjn'prokrtinvs iaf p'liich you nray
                 be eligible (most are subject u> IciKkr apirrovalr.
    Y-           'V
                 Franklin Credit Mnuageineiit Corporation is a debt collector, this Is an attempt to cd||cet % d(a»f'i«wl'.a!fy'
                 ini)iiM|i^i|i|iaingi #11'be»jtis#.fer tltdt-'|dr§fyec                                                «

                                                             «


                 Unless you notify u.s within thirty (3(1) days after rcceivinfi this notlee that yon.dispute the validity of thls^
                 debt or any portion thereof, we wIlEassiHBe this debt is valiri if yo« notify os in writing within thirty (3ft)''
                 days, fl'oiii receiving this notice'fbat you dispute the vafidily of this.debt or any'ixirlion thereof, we will
                 obtain verification of tise debt or obtain a copy of a jadgnient and mail you a'copy of siieh ,j«dgntciri or

                                                                                                                                         I
                 \V_rniB_4.«DAY                          »
                 Page 1 of5                         j                                                                           ■ gits2tAss,s.
         I
                          I                                                                                                                                                                                         t


                                                                             USCA11 Case: 24-13671                Document: 13                                   Date Filed: 12/05/2024                      Page: 672 of 723
                                                                                                                                                                                                                                           %
                  ■

                                                                                                                                                                 I




                                                                                                          s
                                                                                                                                                                                                                    n<

                                                                   l_
iv..-                                                          »
                                                                                                                          t                                                                          W
                                                                                                                                                                                                         I

                                                               ■:::
                                                                                                              9
                                                                                                                      6



II                                                                                                                                                                   «
                                                                                                                                                                                                                                       4




 !            .                                                                                                 i
                                                                                                              • t ■:.;l
                      *1


      ■v.i
                              I                                       A




 !■: ;
                                                                             /■f
     5
                                  I
                                                                                       i                                                                                         A                                  f
                                                                                                                                  4




                                                                                                !3            mjis pfKto feik WTOW«. aw.
!-■                   '■'
                                                                                                                                                                                                                «
                                                                                                              »&tam>m ’ iMmw.                                        Bp          ie*i»                                                         4

       ,S:                                                                                  B
                                                                                                              mm r«»*«4 w»«i &>«:■*                                              w.«w; <4
                                                                                                              »«*¥. A'.v^'inv im p^m ^m»                                              m
                                                                   •,
 55
     ‘‘
                                                                                                              <»ca^te                     -#        is-f «»¥««       assft f              !ii
                                      I                        ’"                                                                              .•*i».#.^»,-c it«r-->.C', s.'
                                                                                                                                                                                                         »




      ;i;-i
              I                                                                                                                                                                                                                        4




                                          I

                                                                                                              *5?^
                                                                                                              W* fiifs                                    &iai. W«t l«fexs5
 ;i
                                                                                                                                      .            ■ ».      ■                                                              «


                                              1                .
                                                                                   «                          »'»           -/Pc< Wte*   iK»a*n 01 fe«c t*5f'
                                                                                                              »%f»9SilH!**»rT te0T/««i«i«wtis EySj»ei^
                                                           ^            > ■ '•                                S^%^«-^*te2r*s^8aA V^vj                                     i‘s^ tscr/. c%4)S
                                                  I                                                           W*l»s»ateS*»51»# »^mfe«*»P8
      :5-:
                              ' i                                                                                             *^4          '/«*»«» €35Jfc'¥*>
                                                                                                     .4

                                                                                       I
                                                                                                                                                      I
                                                                                                                                                                                                                    f
                                                                                                                                                                                                                    «
                                                  I

                                                                                                              Ws^^^-tete^Os^C^-i^is.                                                            I
                      5^ !^
                                                                                                              a»tp5i>> S More •                                                                 I
j;--


•i-
                                                                                                                                                                                                                                               4




                          '•Jsl
                                                                                                                                                          W» ^r"4y, ^                           ti


                                                                                                                              I

                                                                                                                      k



       ■ :i
              I                                           •'       m

                                                                                                                                                                     ft
                                                                                                                                                                                                                                       4




                                                                                                                  »                                                          0
                                                                                                                  }


                      •                               i                                                                   I
                                                                                                                                                                                                                            •   ' A-
                                                                                                     I



                                                                                   t

                                                      r
                                                                        m'
                                                                            T
                      USCA11 Case: 24-13671                             Document: 13                Date Filed: 12/05/2024                Page: 673 of 723
     r            m
                  3 ®a)i4      ■>
                   :■■:*

                                                                                                                                             ifXfflBir
          \
                           feJeifem(8)inBas'tet                         »                                «omg*          iWplMiSis^es^                «s
                                                                                                                                                                                  C
                                                                                                                1
                           NADVEYRUViN
                           anKerii-eiiuiiii                                      i
              '             MHtii'SAffieewn'.RiM .J
                                                              .ft

                                                                                                                    i
                                                                                                                                                 *

                                                         CivH / Probate. Justice System - Docket Information,
              MCKTO i?EARCH BgSULTS
                                                                                        &u.£fiaiigs
                                                         ^ Click
                                                           Cilclc on BOOK/MGE oTs psrifciilar dccketto soe #joiBIOY
                                                                                               WiLUAfiSS,      tmafo »it fo avatebfe *

                                                                   D,H*el8R8Weved:48
                             Csss tobercsmt^ 13-2007-CA4)1g4n74mnn.ni                                                                   ^Piling Dais: m/2&2m7                 I
                                         febWHa'g©                   locket Entry ,                                             Cewweote              ~~         ' """'”15
              04/07/2011                                             LETTER OF
                                                              CORRESPONDENCE                                               FROM mCKL,WELLS •                          •
              11/04/2010                                    NO FUR1TER JUDICIAL                     ORDER ffLED W CASE # 00-8186 CAoT^D IN SHARE
                                                                       ACTION
              10/14/2010                                                                                                          DRIVE                                   i
                                                                      MOTSQNr
                                                                                                   _^__TOVACATE'LAST order &'RETAIN OrIoc^
              09/28/201$                                     MOTION TO VACATE
                                                                     DISMISSAL
          €8/06/2010                                                    TEXT
                                                                                                          •      ORifINAL NOTE AND MORTGAGE.
          06/25/2010 27?«L91R                                                                            BK:27343 PO:0849 VACATING, Dl iissiNG-ei*
                                    ••   'Pages .3            .COURT order
t


                                                                                          I
                                                                                                                SALE,RELEASE
                                                                                                                   ,         LIS PENOE . .STC..
          06/20/^10
                                                                     MOTION:                         ATy:00071675 R:.S058 TO DISMISS"S^SE,CANCEL
                                                                                                                        'FORECLOSURE SALE,ETC,
          06/18/2010                                         final disposition
                                                                    DOCUMENT                         I

          04/07/2010
                                         Pages 1               COURT ORDER                                 Bk:27244 PG.4193 OF DISMISSAL
          04/07/2009 u’;.                   •:                                                      /ulSMI.SS FOR LACK OF PROSECUTION
         09/09/2008                                                                                           ^ ‘ mif-JUDi::',
                                                                    oijicioN:                      TO WRITTON DLSCOVn^SJ'Ty^'■ ,                                      zmi'
         09/09/2008                                                                                         -       ,                                     OR..,ETC
     J   "♦"M I                                                    Notice:                         TW^PLTFF HAS RESPONDED TO
         08/15/2008                                  :          ‘letter OF                    ~      'FROM MACK WELLS TO DISMISS FR UCK OF
                                             : J.          CQWtESI^ONDENCE                                      »           PROSECUTION
         06/15/2008                                                 LETTER pF                 ““    PRCMMAOCwiuiTOWSMISS FORuiToF
                                                         . CORRESPONDENCE
                                                                                                                            PROSECUTION
         09/17/200? ,g§Miia2
         .    -     * Pages 2                                 COURT ORDER                      BK:2§944 PQ:0542 CANCELING FORECLOSURE SALE
         0^/14/2007                                      PROOF OF PUBLICATION
         09/14/2007                                                                            J                             PUB DATE. ;.    ~              ■“““
                                                         PRdbFoFHjiuCAilQN                                              ■ PUB DATE :08/31/200T
         09/12/2007
                                                              -^“lioioN:
                                                                                               _            ^^^Nci~FORiEoiuRE^~ti ^
         09/10/2007
                                                                    MOTION:
                                                                                          I
                                                                                                    ATY:88888888 R: 145184 SET ASIDe'^JUDW ~
                                                                                                                         RECONSIDER STAY
                                                            ®fa£
If                                                                                                   I

a
                   USCA11 Case: 24-13671       Document: 13                   Date Filed: 12/05/2024       Page: 674 of 723
              '3®2014 »
                                              Mj.'Jni-D.^jf. C(Hi!,'.yCl6,
                                      rt-

               » KiaSl ~                           TEXT                                        OoBfetftfeffiaSon ' #          c
                                                                        i.
                                     — notice OF SALE
                 08/24/2007
                                                   text
                                                                               WRfITEN f^EQUEST.
                 08/14/2007
                                       _RNAL JUDGfoiPMr


                                                                    —



             'Kiiioo?"
'i                                             T^xr -                                 ~-~g^Lg«sposmoN form
        I
               Wb9/io7BSZ5ii
               I- -Z I                                                                            date 09.14^?nZ^
                                       RWAL JUDGMENT
                                                                             ^491mi,BfaaraPG..4ie3 DNQt DN02DNP3DN04
              p/26/2007            notice OF DEFAULTNof" —                                 '       ON03~~~~^""
        , OT/iiioo^"                  ■ ' ENTERED'
                                                                                               DN01 DN026
          oz/iiiw ~
                                  J^ONFoiiiF^T^T--                                                          30:00 am:
              07/19/2007
fe:
              OT^iiSoOTr''                                                                                       f
i                                                                                                                ♦

             foiiiioo^         •Jr-~~-§ij^^<GE RETUBMPn
             08/12/2007
        iwSioo?^                                                                                                 SPOUSE OF
                                                                             "——            •wia.-AMR-

      ■ mM2/2m^                             TEXT

            WiioH ^                         text       »                     ——-SSSgPsiiiD^—
                                  SERV^CE^7DR^'t-o
                                       • text
                                                                             —-^^^liwiDTmNT
            08/08/2007
       p^2007r                           tex^
    '04/30/2007 mm
                                      answer I
                                        pendens .                                                         ON04
    ' —
       04/2&^ 7
                                                                                       BK:2SS76.PG:1873
      |oS^07|                  ~-__^pwiNr ^
      m/2^2m               ^
      MSlT£jgFAgr^iRj-^,y,jj^ -,-.^ioNiiiuiD~~                                      gNOI Dfifoa
                                                   .       5:J.PAsr,F^s                                          I
      .. t

      S0142977




                                                       t
                                                      I
                                                                                                                   I
                                                                                                                                            t                                4
                                                                                                                                                                             ♦


            I                             USCA11 Case: 24-13671                              Document: 13               Date Filed: 12/05/2024                        Page: 675 of 723

                                                                                                                             I



i)                                                                                                                                                                                                                  *




        ■J I                                                                                                                                         «


                                                                                                     i
                                                                                                                                                                 t'




        I                            •:                                             -
                                                                                                          »ennit»4pmtk^^
                                                                                                                                                                                 :>    0                        I




                                                                                                                                                                      ■ill
                                     2s .' WmimmA                   Q. ;•> P:       Wi
                                                                                             '   I
                                                                                                                                                                                                .. ,•.
                                                                                I

                I
                                     U.S. Bancorp

                I
                                     ■% t^usfle                                 .1
                                                                                                                                                                             dx .Wiielif tijf'iicit
                                                                                                                                                                             f
                                                                                                                                       L-

                                     . •WS^rjJ^''#»#««{!£ me m mfw men, Me S.iftk                                                       I
                                                                                                                                                                             «




            ■■                                                                  "“■                                              » »» ««''               to*na                   „ un.-ws«,w.i-
                                                              7??5 'r*”"'™' “»*•.'“* •<*“ WW*"* »nteB pfMucK to todWo*. to. ows, ,oww„enIal
                                                                                                                                                                                                                    4
                    I




        j rm^mn^p ommmm^mbmcmd^rnesf ifenfeaoye                                                                                                 ■,
        • I Cfi^»4,fraftted!o1^'feftK»lr!gtf5dw»as6oftW>i,5Tk*'Bs«^4a«,Es!l«r' ^                                                                                                                                »



     _ ^^w^JwexpfreigsbahS^i^cleseds^ac^r^cS. falsifyU.s;8an5c’schaft0f /
^ •! ! ntaatarfpBi!fi#24to#;L_Tf»p|ctesin[afeaiclilfta;'®ig{fta%gr®iteflatltgF-rti
       ^^^f^>^ofmhm0{AlB■^wlmwm$i'^fgimizhm$^kK0umnks /                                                                                                                    amcorp
;!              \-m«g«rwithWcchswM.»t/'—-—- -                                            ■
 j                      '                                     -; ly y                                    ^'              -              /                 i




                                     If OwtSfl»           1                                                ■m
                                                          ;t // /j1
                                                               :W
                                                                          /'        iSSi                        ■ *- '1 A*'/ ^ ’
                                                                           ^•’>1
                            '^Hlstoiy •
                                                      I                                                                                                  ;if


    j                       ' ■^y*^8ankrk^fwte»wwd»si««st«i««fiMfe»»ii«kofpwitei,
                                              h Porflsntf; Omgmjn f8Sl7' 1862, It m&gmJi                           Mnwwrth
                            r
                                e«^ {rf J%»tfaad, but,kept the US. tetesi 8ank fiaW^J It cftaflscd i» name #i6f'
                                Mri« &at« NatiansJ B9'r*» Oregon te 1864 «
                                                                                                                                                                      i34a«'                                        4


|,                              ThM6«rarpartt>f «>8                   cfsi^ from^884, with theformatlw ofPitst mtbPsi                                             ^.nik               S -C '
t:                              Bark of f.f:ni,paorj: s. In 1S2S, ff-ci X. , m-yq, ., v;,'.; [ .. ;.r .M;);i'.-na; Bi c.' ?; »/ ,-
                                                                                                                                                         f'
                                                                                                                                                                                 m
                                                                                                                                                     «



r                                                                      raftslier Upper                   lante to form the Rn^Bank •:

                                                                                                                                                                                 m      ■-’<1
                                                                                                 m                                                                     r




                                                                                             »                                     *
                                                                                             I

                                                                                                 j
                                                                                                                                                                                                  •      :!.'
                                                                                t
                                                                                                                                                                                                            I
                                I-               «



3                                     4
                                         »
                                                                                                           ■
                                                                                                                                                                                   4


                                                                                                   6
                                                                                     9


             I;                                       USCA11 Case: 24-13671               Document: 13                             Date Filed: 12/05/2024                              Page: 676 of 723            I




                                                                                          »
                                                                                           t

I.




i:                                                        4
                                                                              «
                                                                                                                                                                                  A' I                4




                                              *




!•
                                                                          .1

                                                                                                                                                                                           f
                                                                                                                                                    C.-

                                                              I                                                                                       t
                                                                                                                                                                                           t
                         I
                                                                                                                 4



                  \f


                                                                                                                                       I

I
                                                                                                                                                                                                                       4



                                                                                                                     i ltfeC«WS.COfft                                         $




                                             4.
 I
                                                                                                                                                                                   4
                                                                                                                                                                    s
                                                                          A NEWS
             I           !
                             I
                                                                                                                                                                                                                   I




                             1

                             j
                                                                                                                                                                                                      4
                 :•/ ■

                                                          i
                                                                          Wacliovia apQkgkm to Mack
                             I




      ■St'



                                                              1
                                                                                                                                   f

                                                                                                                                   f
                                                                                                                                                                                           f«
                                                                                                       i


                                                                      I                                •■•.•■Ji:-'




                                                                                                                                       1

                                                                              Aiife:fi.                                        rf SjfeWf;
                                 I
     ::                          I


                                                                                                                                 ■M        'ls                !•:        4.
 I-          ■
                                             4


                                                                                                                                                                                   4
                                     !

H                                                                                                                                                                                                                  I




                                                                                                                                                 0*4»^ ,,

                                                                                                       i'“ -'ll-*-- ■’     iiiipi|iiii;
                                                                                                                                                                                                      4




 S’’                                                      «
                                                                              iaAtrMW4r.t?‘ii^*r                                   t»4i I-v lit-? *•» *-
                                                  4



                                                                                  Bre4'|
 H
                                                                                                                                                                        [It-
 f                                                            I                                                                                           i                                f
                                                                                                                           I
 ii                                                                                                                                                                                         «
                                                                          .                ■■■ ■                     4
                                                                                                                                                                                                          :>




                                                                                                                                                                                                               1
                                                                                                                                       I



 I-.                                                                                                                                                                                                                   4
                                            A


                                        USCA11 Case: 24-13671            Document: 13                         Date Filed: 12/05/2024                                      Page: 677 of 723

                                                '■i       .1
                                                                                                                                                                                             0.


                                                                                                                                                                                   ?■/,- i/ V" r
                                                                                                                                          0
                                                                                                                                                                                                  /
                                                      I                                                                                       I
                   i.

                                                                                     «




?


                                                                                                               I

1’ '■
                                                                                                                                                                                                           4




                   I                                                                            # 4ii®^iEkgs.ea«                                                      4




i
         I                          »
                                                                                                                                                                                                       t




                                                                    rtlML" S£C gOi# I MOWE
                                                                     *
                                                                                                                                                                \
                                                                                                                                                                154
                                                               ■■ srik^Jsfs«»;itc -iA_t*i>pa.i«,»i8iT,<w                                                          I
                                                                                     ' S-v V „^-_V
                                                               :| ’•,-6 .f”/-                                      -'i^. f
                                                                                                                                                                                             «




                                                                   O W3» I       ^av'w c» f. r.«,
                        I                                 .1
                        I                                          R%ai 0rf^», r# Ct«.xla »n«?tM:es NVCC
                                                      I                                                                                       I                                    f
                                                                                                                                                                                   t
                                                                                                          srrj<.»>^                               .’''®.-r-»>
                                                                   -V »3(-<-^* J‘                                               ^ !««jv

                                                                   fA Ar *a                     _                                     "■'

                                                                                                                                                                              43


 i      ri.                                                                          X         y~5'w'A«^ /i
r         ■
-

-
                                                                                                     PffSE-HSi Sfmm So'sl Sy
                                                                   Aas®»f«ar5«i.,                                                                       «



                                                                   i"^
                                                                                                                                                                      4



                                                               I                 . :
          I                                                        ;w«i                                                                                                                            I
                                                                                                                                                                                                       I


 !

              .
                       !l                                                                                                         *
                                                                                                           af*,            «.    jw ».            "   a
              :,
                                                                   C4iia«?r5. R8C tww^t^iws                                y,S.
                                                                                                                                                                                             4

                                                           4


                                            «                      -■'r»                            sr^ r>riw«:«p<^«#A.A#- --.tA&t
                                                                                                              »5< / "v_
                                                                                          A,                »!>»'»««'#•■••                              •aft




I.                                                        .1

                                                                                                                                                                                   f
"




                                                                   SllifeS;^

?
                                                      I


                                                                                 iJ  4
                                                                                                      \     T                         i                                            4



I-                          I
                            I



                                                                                                                  I


     •;r-^                                                                                                                                                                I
                                                                                                                                                                                                           4
f' ■                            i




                                    I
                                                                                 a
                                                                                                                                                                      4

A                                                                            k



fl                                                                                                                    fc
                                                                                                                                                                                                       4




                                                                         »                                                        #
                                                                                                                                               I

                                                  USCA11 Case: 24-13671                       Document: 13                                    Date Filed: 12/05/2024                                            Page: 678 of 723
         I:.




5:



                                                      r-
                                                                                                        I
                                                                                                                                                                                                            »
                                                                                                                                                                                                                             L
                                                                                                   k
                                                                                        f


     I                                                                                                                                                                                                                               <
                                                                                                                                                                                                                                         I




                                                                                              »                                                                      *
                                                                                              t

                                                                                                       I
          I
                                                                                                                                                                                                                                 I
          I
                                                                               I


                                                           i



                                            A




                                                                                    I w                 ^       »s, V’tX*                 r             . ,       -0 .            ^

S’                                                                                  I i           oi f? ‘.ts*                                 m,Ufun^a                                    -*    s


              I                                                         &SA;
                                                                                    ■ mkim^                                           I
                                                                                                                                                                              I
                                                                                                                                                                                                I                        f
                                                                                                                                                                                                                         »
                                                                                    i CK,                       ^                                                                     -,

                                        :Tl-"
                                                                                    I
                                                                                    I; ^.'
                                                                                                            ».ts»»,y'»
                                                                                                   •(€■ ,#• W»                  *s
                                                                                                                                                •,» *•- ■’1*^:1:                                    I ;S;
                                                                                                                                                                                                    .'I



         ^Jf                                     e^:>' |7.■)«'/"“   !               f & f j~» fiw'- 'O. "cv                                             ■'-••v
                                                                                    f                           ‘     "I"       •• eit’'>',l*i'^'                  •/,«'>» r-rs-                                   •<»


I
                  !
                  i.


I;                                      I,                                                                                                                                        imm¥^
                                                                                        §commic Jiems. is \vmh ’-tt 2022 -'                                                                                 »



                                                                                                                    Ctv^sp
     I                                                                                                                                                        »                       '   • ■
                                                                                                                                                                                                                                         «



                                                                                                                                  ^>’v S««



                                                                                                            •«        J’O '"■                  >»-»• *»/i 5)>J. , -W*
                                                                                                                                                   J,     •              ^ X, ,
                                                                                                                                                                                                                                 4

                                                                               I



                                                           I



                                             A
                                                                                        ZemmeiZiS "^;isc'i-4yi»ce F«&tw;'f«<aR

                                                                               .»       ?»5^Af.»»r..’»i ■• X              ,f.    i»                ».. >,>•>5'' '',
                                                                                        <-»            » « •«* W »«
                                                                                                                    mmt;.*
                                                                                                                                      *'» «n^4'V *« «#!-»#>.'lj** »C f ■ ."
                                                                                                                             ■' ' 4'S l-r*-; r4 f"           s-
                                                                                                                                                                                                                         f
                                                                                                                                                                                                                         ♦
                                                                                                  itx/v                                 ^». ♦■>»*’* • f»x^ »!>■.
                       I                                                                                    «




                                                                                                                                               1

                           I
                                                                                        ft Wf fl torsk &p0m ~ fmi                                                                  8»fWt ’
                                                                                    1                                 .
                               1

?:                                      ■

                                                                                                                                                                     VX W 4




 ii _ I                                                                                                                                                                                                                              <
                                                                                                                                                                                                                                         I




                                                                                              »                                                                      *
                                                                                              I

                                                                                                        I
                                                                               I


                                                           I




                                   I   :i:-


                                                                               .1

                                                               »
                                                                                                                                      I
                                                                                                                                                                              i                                          f
                                                                                                                                                                                                                         I
                       m
      I                                                                                                                                                                          <
                                                                                                                                                                                       k

          I
                            USCA11 Case: 24-13671                Document: 13                      Date Filed: 12/05/2024               Page: 679 of 723
      . Filing # 161312379 E-Filed 11/16/2P22 07:00:53 AM
                                                                 I

                                                                         I                                                                  €xh.W


           I                    ,          JN the CIRClhT COURT OF THE ELEVENTH JUDICIAL CIRCUITIN AND/OR
                                                    MIAMI DADE COUNTY FLORIDA CIVIL ACTION

                                                        .1

                                 MACK WELLS                                                  I
                                                                                                             I                              f
          'I

                                 PlaintifiF                                   4




                                                                                                 . 'Case No.2010-61928-CA01
                                 V.

                                U. S.BANK NA AS TRUSTEE FOR                                                                                     n
                                                                                                                                                                         i
                                                                                                                                                                                           -?
                                                                                                                                                                                           1



                                RASC2005AHL3                                                                                                                  rn
                                                                                                                        *                           A
                       I,
                                                                         I
                                                                                                                                              co              -n
                                De^idants,                           6
                                                                                                                                    I

                                                                                                                                                              o.
      I                •                                                                             k
                                                                                                                                                .--•3

                                                                                                                                                ro             ^             *s
                                                                                         !


                                                                                                                                                                   <r>       ■
                                                                                                                                                                                 I.1

                                                                                                         «                                              C>)        <3             i
                                                                 ' I                                                                    *               o?
                                                                                                                                                        fO
               1

               I                               MQTOAWD AljaPAyrr PORRBLlEF.RFaiSAI, VACATIONOP                                                                       '
                                 I
                                                    -       ' fiKHBRSANDMEMORAKnriVfnPTAw
                        4




                                                                                                     XRule 60,
                            Pursumt to Florida Stat. 1 J2.131,Florida.Rule 2.160(H)and Federal Rules ofCivil
                            PlaintiffMacfcweUs hereby files tins Motion for ReM & Re^ and Siqjpordng                                                     him regarding
                            the Doa 192017Ju(^ John Schlesinger* review of theiecoid andFinalJudgemaitOrder,Exhibit J. based on
                            the Mowing ftcte, new Information,just termsJudicial misconduct fraudulent grounds and discov^
                            conflict ofpeisonal investm^intets on Financial Disclosures ofJudges and officers^ofthis Court
                                     Attach^-U.S.Bank NA.Special Sh^iation PjMtaii!LEunds AccountPage 42.IFRS 2018
                                                                     *
                                     fil                                                                         I*     H




                                                                     b
                                                             9


      I                •
                            iM4oRf4ell^^(H)^afs4Judgerm y^c^^^MaeiyfyrConmaffflttUirest TheodoreILBu^ P:
                                                                                                                       A
                                                                         I.
                                                                              ■I'MLldi               mMMilh 2.160a» m BTomOs to dfegnafifea
                                                        I


                                 ¥

                   I
                        *

                   I
                             Judge ScMesing^ must I^use himself for an                              obvious Conflict of Int^est because he’s dmng
>;•

                            businesa with US Bank and helping them to make money so                                   he can make money bf foreclosing
                            and taking (steaiing) our property vriiile acting as the Judge on tire case on our property, not on case’s
                            Merits but for to make him and them mon^ Illegally. Here’s proof. US BANK is US BANCORP,
                            Exhibit,A And US BANCORP is.Morgan StanIey,Exhfl)it B1 and B2, and Mmgan Stanley is Moiga^'
                            Stanly Brokerage? Ejdiibit H. Judge John Sdileslng^ is doing business witii US Bank (Morgan                                                                         4
                          USCA11 Case: 24-13671              Document: 13         Date Filed: 12/05/2024         Page: 680 of 723
                                                     .1

                                    »
                                                                             I
                                                                                               ft                      f
                         Stanley) as seen in his FORM 6 pa^, 3.1ine,6. From Tallahassee called FULL AND PUBLIC
                         DISCLOSURE OF FINANCIAL Exhibit, C. Which is a major Conflict of Interest. Judge John
                         Schlesinger is worth 5.8 Million (Investigated) wifli 2ero debt Schlesinger has done business with -
                         MERS Exhibit, N. as seen on the public record Exhibit, F. Who is the Entity that is the entity who
                         assigned our Mortgage to US BANK, Exhibit, G. Judge Schlesinger has ruled in fevor of US Bank
                         And That iS' a major Conflict of Int^st as I said Judge Schlesinger is also doing business with
I   I
                    • Morgan Stanley, Exhibit, L an^ B.‘who is the same as JP MORGAN Exhibit, D. Who is doing
    I
                         business and is apart ofChase Manhattan Bank,Exhibit.M. that Judge Schlesinger was doing business
                         with and got his properties from,ixhi|>it.L. Judge Schlesinger is domg business with all ofthe entities
                         that he’s Judging on against.us and there’s more. I have found that our case was directed to him in this *
                         Pool vAo all do business with US Bank MERS and others.
                     *




                                                                 FACTUAL BACKGROUND
                                   i
                                                                             I
                                                                                               ft                      f   ♦




                             1. On Dec.19,2017,Defendant Jud^ JdmSchleanger issued a final Ju%iKii oKkr EjdubitA aga^t
                            Plaintiff Mack Wells for amounts due and ovdng on same mortgage that was dismissed with'
        I

        I                   Prgudice in former case no: 07-12407CA01 where U.S. Bank could never produce the
                            promissory Note though they were asked by the Judge several times but never did bring it forth,
        I'                  Exhibit.IA iudge.cannot change Mother Judge’s ORDER! •
I                   • 2. And.also on Dec.l9,2017,Judge John Schlesinga* issued the final order Judgement order acting               as

                            a quasi-defense attorney for US Bank his personal investment Partner to make money together.
            I
                            3.PlaintiffMack Wells has now snjbsequently provided the United States Department of Justice
                           CDO-O on          newly discovered whistle blower information and records regarding millions of ‘
                           dollArs in exposed ^udulent foreclosure claims made by the Defendants U.S. Bank, Clerks and
                           Court officers in this actioa Exhibit,O.
                                                     .1

                I                  t
                                                                             I
                                                                                               ft                      f
                                                                 MEMORANDUM OF LAW

                1
                                                                                   I


                                The Defedants maintains timely Constitutional due process civil rights for Flbrida Rule                      *




                            2.160(H)and Federal Rule 60 Reliefto close tins case with the original Dismissal with
                !/          Prejudice.inourDefendantsfavor with rajuircment ofJudge Sdhle^er’s Rectal based                    on

I                   ^       exposed financial conflicts ofinterests Fla. Stat.l 12.312 r«V9v
                                                                                                                                         I
                                                      *                                k
                             Rule 2.160(H).md FRCP Rule60, relieffiom.Judgment Or Order, and to vacate Order .
                                                            »                              #
                                                             t

                                                                 I
                                                                             I



                     USCA11 Case: 24-13671            Document: 13          Date Filed: 12/05/2024            Page: 681 of 723

                       Their isto be no cor^ict ofinterest with the Judge and the Plaintiffagainst DEFEMDANTS.
                                                          k
                       LIKE                                                                          /

I I'




                       3. Fraud whether previously called intrinsic'      or extrinsic, misrepresentation or mis^nduct by       an
                         Opposingparty                                I
                                                                                                                  «




                            A Judge is expected to Recuse himself puijsuant to 28 U.S, C. § 455 Under § 455(a),
    I
    I                  Recusal is mandatory in “any proceeding in which his impartiality might rdksonably be
                       questioned.” Under § 455(b), a judge is expected to disqualify himself whenever any of the five
                       statutorily prescribed criteria can tie shown to exist in feet; even if no motion or affidavit seeking
                      such relief has been filed, and ‘regardless of vriiether a reasonable person would question the
1               •     judge’s imp^ality.
                                •     •




                           Section 455(b) he shall al^ disqualify himselfin thefoHawing drcumstcmcess.


                       hd!KS^^^,-has^fiUpi(d0huerciuitithe^ibjeet                 in.conir&x^rsy brih apariy toihe

                                                I
                       (40)ffy^midthdqre0’.\mmso^mrj^ipp^^^^
                                                         I                                                    '   ♦■




        I
                                                      .       ClONCLUSidN

                          This Motion for Relief by vacating order Judgment Florida Rule 2.160(El) and Recusal is
        I
                •-    based on new fects, related toia whistle blower’s informati'on, willful blindness,
                                                                                                          I


                ^     misconduct, and discovered e\ddence unknown at the time of the original Complaint filing
                      Plaintiff coidd not reasonably know the financial dealings with Defendants of a yet to be
                      assigned judge before the orij^nal Complaint filing As previously displayed by his Dismissal
                      Order, due to cited improper financial conflicts ofinterest. Judge Schlesinger was incapable of .
            I

                      impartially and without animus against Pro-Se Plaintiff or to exercise unbiased judicial duties
                ,     required for due processjustice in this case.
            I
            I
                           Judge Schlesinger.Has creditor loan history and business with Defendant U.S.                NA.
                                                                                      1
                                                                      I
                                                                                                                  «
                                                      I                          0
                                                      t

                 USCA11 Case: 24-13671                Document: 13         Date Filed: 12/05/2024       Page: 682 of 723
                                                                                                                       «

                                            I


                       i

                    IVCERS arid JPMorgan that caused preferential Quid'Pro Quo treatin^t by his .sua sponte review
                    and Final Jud^ent Order. Judge Schlesinger has significant exposed investor financial interests
    i
                    in the subject matter-In controversy and with Defend^ts U S. Bank N.A. tl^ vrill be
                    substantially negatively afiect^ by the butcome of               proceedings when tlte Plaintiff
                    “ultimately prevails and promotes In paid for adds in the media. Because people can’t win when
                    the Judge is on die side ofthe Banksters to steal pr9perty and money offtheir Prey!
                                                                                                                               4

                           Example ofJudges who already recused themselves fiom US Bank
        . 1. JUDGE DARRIN P. GAYLES Exhibit,P.
                 2.THOMAS WILLIAMS Exhibit, Q. *                                                    t




I       •

• I
                                                     ‘required RELIEF
                                                                                                                       6
                                            I


                       I



             4
                           Pursuant to Federal Rules of Civil Procedure Rule 60, Plaintiff requires Relief from the
                    Dec.19, 2017 Final judgment Order fExhibit-J. based upon the stated facts, just terms, cited
                    misconduct.Rule 60 grounds and newly discovered bankir^,Teal estate fraud by court peers.
                           Said Reopening Relief would require 'the vacating of his order and Recusaf of Judge
                    Schlesinger from tihis and any future related U.S. Bank N.A.banking real estate cases in diis
                    District. The Dismissal Order Relief also requires that all parties be reinstated to their prior
                    positions in this action(Dismissal witii Prejudice)requiring Clerk issuance ofSummons upon die             4




                    Defendants and allow the filing of a Motion to dismiss the Final Judgment for cause, grounds
            I,
                    arid reasons stated haein filed           •                      .
                                                 9
                                                          k


i ! •                                                                                                                      I




                                                                                ]V^ACK WELLS
                                                     ' I                     15020 S.RIVER DR.
                                                                               MIAMI,FLA.33167
                                            I


                       «

                                                      CERTIFICATE OF SERVICE
             4


                            I HEREBY CERTIFY that on 12th day ofFeb.,2020 a true and correct copy ofthe
                   foregoing was provided ^Ha this Court’s electrohic filing system to tiie attorneys ofrec<^
                                                                      I
                                                                                                            *

                                                                  4




                                                                              MACK WELL!
                                                                          . 15020 SOUTH RIVER DR.
                                                                              MIAMI,FLA.332167                                 4




        9
                                                              t
                                                                                                    »

                                                          k
A                                                9
                        USCA11 Case: 24-13671
                                 i
                                                                Document: 13         I     Date Filed: 12/05/2024
                                                                                                     I                     f683 of 723
                                                                                                                        Page:


                                                                                           I


                                                                                                                                             4




                                                               AFFroAVlT
                0
                                                                         I

                                                                     k
                                                           9


I               •               IMAGKWELLS SWEAR THAT THIS IS A MOTION AND                                                               «




                                AFFIDAVIT FOR RELIEF,RECUSAL» VACATION OF ORDERS
                                                                ’        1
                                AND MEMORANDUM OF LAW AND I AM A WITINESS THESE                                                      0




                            * EXHIBrrS A,B1,B2,C,D,F,G,H,J,K,L, M,N,O,P,Q,ARE ALL
                 *

                                TRUE COPYS OF EXHIBITS AND YOUR MOTION FOR
                                RECUSAL OF JUDGE JOHN SCHLESINGER
    I                            I
                                                                                     I
                                                                                                     1                     f
    I

                                                                                 «




                                                                 . SIGNED,
    I
    I
                                                                                         MACK WELLS

                0,                                                                   15020 S. RIVER DR.
                                                                                                                    0


                                                           9                             MIAMI,FL.33167
I '                                                                                                                                      «




                                                               ' 1
        I




                    *
                                                  toekoaFo^-                                                   uih©
                                        «Xje_ ©t^H-Kis     ctoj^oP -f^hor^u ■202.0
            I

                                tcV'iO^ ^(>(AocjidL^^4ori'cCa.IDnucjr Uciur^ ^f>
                                 lxfa&(2<5'2.0 .       ■        ■            1
                                                                                 0




                                              ♦

                                     S'
                                                           %•S
                                          «                                                                                                  *


                                 5*:      ¥
                                                       «
                                                           *
                                                               sc
                                          ♦            *




                                      VbSfSSSi^/                             ‘
                0,




1 I •                                                                                                                                    t




                                                                »                                *
                                                                 t

                                                                         I
                                                                                                                                     0
                                                   I


                            A
             USCA11 Case: 24-13671                          Document:
                                                               »
                                                                      13          Date Filed: 12/05/2024                       Page: 684 of 723

     I   •                                        6“44                                                            .11 I        •>
                                                                                                                                    fi
                                                                                                                                                   t




                                                                                                                                         v&A. 4.
                                                                                                                          ■c
                                                                                                                                              I
                                                                                  > -in , '-.
                 4



         *




                                                                                                               \x.-S

                     •-5.




                            t
                                       ijisjfi                                I
                                                                                                       A                                 f
                                                                                                                                         <



                                       Aboix tt;S. Bank

                                                                                                                                                       4



                                       subi         t^^jU S. BaWt Wealft M^rts©en^t ang aS, ^eorp                                   \
                                                    snls,         the ccpipaoy eperajfee mo*» than 3,0^
                                       ,baf^ngoffiese.an4nea,rty5;wAmer«Jp«^                                               .
                                       compiahenejve Bne # feania^^ bm^, tosu^an^, liweeftwnt, /
     I   •                                                                                                                                         »




                                                                                                ■!..
                                                            i
                                                                  t
                                           iiwestnif^ pivchttte
                                                                                                                                              e




                 4



         *
                                           ^aDq>^ . MMFOlClMiirsi » M^loi»Miili» .
■j




                            I

                                      PorUS^Binit:
                                                                              I
                                                                                                       I                                 t
                                                                                                                                         «


                                      ® EQaaJ HoosIngXen^. CreditpifOilu«®afaiilii®d a& eanit ^Send.
                                                                                                           fiwdMca^iateted m
                                      aa Bank                   A^odteSw/MerriJier FblC: loam Mom
                                      as. e®»k:j&nc«                   far        n<tf duat@me» theprodupte.«w!»9s                                     4




                                  .   or pe^>mi6n<»irfO.S Bancorp InwsSi^



     i   ■                          lnvoatfflarit>pr(Kaicfe WaaMees a«» a«!^latite ihrou^ U:s. 8^                                                  »




                                • !                                                      iwdsfefigfits,
                                                         an feweafenerd ad<^a«r aoda brokerase sut^kilary rrf 0 a
                                    fiancfirp ana afl^<^U>S,.Bank,                       •              *        '
                                           .W-l



                                                                                                                                              »

                                      padc
                 4



         4




                                       /
                                       \

                            t




                                                                                   I
                                                                                                     6



             USCA11 Case: 24-13671
                 A                   Document: 13   Date Filed: 12/05/2024         Page: 685 of 723
                             10;22                                     !i;:r   ■4
        *




                                     m     nilchellmeBmKier.com
                     t
                                                                                       f
                            Chase iSi Co.raised their priceobjective



    t
                         I$58;i!K)af>dgave companya"neutraf•
                                           4




                            on ^aresofU,S.BarworpfrotiEi iSS-S)fo

                            rating in a res^rch note on Motvl^
                                                                                                             4




                            November 4th.Citigroup iovt^red shares'
I   •
                         jM^EF.$rBanewffoma*toJtrarratiiyio~
                                                                                                         I




                         I a“seli'ratinf and decreed their price                                  a




                         1 tar^tfprthestockh'om $M.OOto
        4

                         I W9.OOin a researdtraport
                     I
                         I PCth^r^jiJhlor^Stani^TeiSatedaJ t
                         I 'Wl*ralhi®andlmied3$&
                         I target hjpprevioiBiyfrom$dlOp)on                                      4




                         I ^are$of US.Bancorpinaresearch                                                     4




    0                    I reporton f{lOftdav5Nov@nbefl8tii.                   *




i   •                       CreditSuisse Group rotated a’hold'                                           t




                            rating aijd Issued a $55,00price targeton
                            shares of iJs,Bancorp in a research
                                I              ‘
                                                                                                  »




                 A

                            report on Ttarsday,Seitember12th.
        fi




                            Finally,UBSGroup lifted their price
                               •^

                     I
                           target on shures of.UJ.Bancornfronri                        t
                           $56.00to$5B^^nd gave the stock a
                           "neutraf rating in a research report on
                            Monday,October 21$t4 Four iiivestrnent
                           analysts hatTOtiU Uiiilutik ivith a seJi .
                                      fe



I   •                                                 a
                                                                                                         4
                                                                                     I


        USCA11 Case: 24-13671           Document: 13   Date Filed: 12/05/2024    Page: 686 of 723
                                                                                                    I



                        pffrtoijS^I           6f3,^% senfer npt^ diie ^0^.         . 0Kk^t>t
I   •                   In addisn, Si^Jifiik «»m|)leted a
                .       offer tar any and all erf »s Dt^
                        ra?fes dua 2b^,S,37^%sanjorrt0tW te:^23,and
                        S.T60% sanior notes due 202$,which wem paid tor
                        with the processftpm the senfer notes offering,
                                      iaGhs       LLa;%^SedUrlfles,I
                j       Cil^rodp Oiohal Marlcefe fnci, J<P. Mca^an Securities V
                        LLG,Bare^ays Gapifei Ind,,Miorgan S^rtfey & Go.^
                        LLC, MUF6Seciindes Americas Incl^f^G Coital \
                        Msrtets, LLO,S^SC^te^cudhes America,te.

                /T .
                        Inc.. IMG finandai ksmm iJLC,mPVmhm
                        SecMdtfes Cferp., HSBG Secufftles(USA)Inc:, ft^izuho

I '                     pm CapSal Kilarfeets LLC,Sco0a Capital(USA)Inc,,
                        mi U,S;Bsjpcorp Inyestmahts,Ino are aU the
                        Qndet3tritem1ri\0l»etf in the ofl^ng! J~^—' '
                        Equifax, an Aroedcanmdlfinatioml(xmjpany
                       headiiuartered In Hadwmod.Gfty, Califemrav conneefe
                       mom than 9.8iOO companies dime^y to meir
                       customlm and partners ira^ide m© wodefs most                  f
                       interconnected           cfentefe. Today, M                   «


                       teverage the Equinix interconni^on platform In S2 .
                       Strategic markets:across dte Americas, Asfe-Pacifie,
                       Eorope, m© Middfe East and A^
                       The Cjavis PrHk corporatefoam inefoded paitnem
                       AlaftFrCenenNhg (Pieter©])and ErnifyRoherte and .
                                      * w




I '
                .      .F^drierf^cheiD.ig0lnber|fpm^ldedtaxadyicsea^^
                       aeso^ate J.fraijk^Arabimpmyldea 1940 Actadyice:,
                       tevofeedtefs iiayu                        payfePo&f•'i|
                              I
                                                                          I



                                                                  I
            USCA11 Case: 24-13671                               Document: 13                 Date Filed: 12/05/2024                Page: 687 of 723
                                                                      k



I ' 1




                FORM 6                                  FlA.li AND PUBLIC DISCLOSURE                                                               2016
             Ptea** prtnt «r   ywr »Mn*i «<«)l>n9                OF FINANCIAL INTERESTS                                          FOR OFFICE USE ONtY;            °
             wIdWM,          pam*.imi(wdaon ewftnK
               uiSr NAME-FIRST NAME                MIDDLE NAME;
                                                                                                                           J        aORIDA
             SCHLESINGER                            JOHN                               CHARLES •
              MAiUNG ADDRESS:
                                                                                                                               CQMMiSmONETHiCS
             73 WEST FLAGLER STRE^                                                                                                it 03 HI?
             ROOM 1202             .                                                                     I                        RE
                                                                                       1                                                     ♦
              CITY:                                            ZIP:                COUNTY;                                                                 t




             MIAMI                                       FL                        33130
              NAMEOFAOiNCY:
             STA're OF FLORIDA ^ 11TH CIRCUIT ;
              nameof'officeorpositkdnheldorscmjght:
                                                                                             X
                                                                                                                 PROCESSED
             CIRCUIT JUDGE
              CHECK IF THIS.IS AFILINSSYAGANDIDATE                        □

                                                                          t
                                                                                 PART A-NET WORTH
              Please enter the value of your net»worm as of Dec^ber 31.2018 or a more current date. [Note: Net worth is not cal-
I             eulated fay subfaacting your reported lia^ilitjes from your reported assets, so please see Bia instructions bn page 3.]                                I




                       Mv fiet worth as of June^20                                     ..20JI       wasS      28.834.751.25
                                                                 f




                                                                                   PARTS-ASSETS
              HdiSEHOLD GOODS AND PERSONAL EFFECTS;
                Hauseni^a           and personal effects mor be reported In e bmp turn if tHeb aggregsde vahie emeeda $1,000.      c^ory indudes any of the
        A
                ISollowins. if^rtol hea tor Inwastment purposes: jeiwliy: coBertons of ^rape. guns, and numlsmatte tens; art objects; household equipniavt and

                The                    of my househ^ goods and persons!                (rtosaibed above) is $ 260,000.00
              A8SEIS INDfVHtUAlJLY VALINBD AT OVER $1,080:
                      ‘    DEaCRIPTfOW Of asset (epecifle deaerfpaen M reaulied«lea litMrrAaians »,«                                             EOF ASSET
             1228 Alfonso Avenue, Coral Gables, F.L                                                                                  $3,700,000.00
             1991 Ben Miller Road, Deep Gap. FL                                                                                          800,000.00
             323 ToRgade Shores Drive, Isiamorada, FL                                                                                 2,000,000.00
             CONTINUED ON PAGE TWO


                                                                                 PAKTC- LlABtLlTiES
             UAetUTIES IN EXCESS OP $1,800 (See Instrueiione on pegs 4Y.
                                NAME AND ADDRESS OF CREDfSOR                                                                           AMOUNT OF UAEIUTY
             NONE-0>                                                  k                                                                -0-
I                                                                                                                                                                    t




                                                                t                                    T
                                                                 I


             UOfNT AMO SEV^AL UABiLtTteS NOT                                  ABOVE:
                                NAME AND APCRgSS OP CBEDtTOR                                                                           AMOUNT OF UABtUTY*
             NONE                                                                                                                      -0-

        *




              CEFORM6-EBiScSv8.lmutiy1.JW1           .                                                                                                 RAGE1
              IncuiMK.'M Sy nrismiKWIn RU* M>a.l»2(1),T.A.C.

                        I
                                                                                       I
                                                                                                          1                                  f


                                                                                              I
        !
        I           USCA11 Case: 24-13671
                           t                                            Document: 13                  Date Filed: 12/05/2024                          Page: 688 of 723
                A


            1

                                                                                                                                                                                   I




                                   4

                                                                                      PAKT A-INCOME
                                                                                                                     T                                         £♦
                       fa»Bmi»caohwi>a«ic«awcaarKlainixirttrfiniMnia»ii<hB^).»np«irfcrf!e«nm*,^«,-v,^                                                    ^ _
                       cow o»yow 2fl17 federalinooma tax iMum.induding aH'HC^^SideaatSSwnLa.’                                                            Or attach a^oomptete
                       sttacNtiff yotir laturns.^fee taw lequines theaa dowmentt bo^«d»                           Ww^wdactany sotial secuniy or aocoont numheis before
                       Q '                                2017 fedefsttncome tax iBftm and all W2%.8iiiedu(e8 and attschnwaij!
                               Ilf,<« check ddxbox and ««Xta««.ytdyo«r20,7tex return.
                       PWMMrrsomCES OP ifeCOME(See iMtrueuon* M fuse 8):                                                                                                                   4




                                                                                                                                                                amoumt
                                                                                                                                                     3^,68^00
            I
                                       JXTO5SF                                   •   216-218 Santander Ave                                           !|!65,000.00'
            I         SEOONIMm'SOURCES OF INCOME(MslorcusWwKs,dfenfo. ate.. otbustnemeoMiad tv reportfop peraon-eee Instructiona ohpWteSJ;
I                              -       HMKPF                  . NAME OF MtUOR SOURCES
                                                                     OF BUSINESS'INCOME
                                                                                                                 ADDRESS
                                                                                                                OF            :CE
                                                                                                                                                    PRINCIFWL BUSINESS
                                                                                                                                                                                       I




                                                            Proper^ Rental                                                                 K-                 Of SOURCE
                                                                                                   P.6.Box850McAree,NJ                     iTOperty Rental
                     Four Hearts                                                                   RO. 80x830 McAree^NJ                    Property Rental
    '       I
                                                     PART E-INTERESTS IN SPECIFIED BUSINESSES ItotnictieBa on
                                                                  BUSINESS BITITVtl                   aUSIMESSEWmYe?
                                                                                                                                              .BtJBINESS entity « 3
                       Nwifw™*"“                       Santander,LLC                           RfuSrfWeighte, tLt: ”■                    Poie Hearts, LLC
                      BUSINESS EWIITY
                4
                                                       216 Santander Ave» Coral                P.O. Box850 McAnee, NJ                    P.O. Box850 Me Aree, NJ
                      ^JjeWL BUSINESS                  PropeityRental
                      ACTIVITY                                                                 fYoperty Rental                          ^^fty Rental
                      POSITi'ON HELD                            ir
                      WITHEHmY                                                                 Partner                                   Partner
                      iovunmot^inanas^                 Yes
                      INTEREST WTHE BUSINESS                                                   Yes                                       no
                      NATURE OFMY                      SOYo
                      OINNERSHiP INTEREST                                                      X33%                                      3535%

                                                                                     PART F-TRAINING
                                          For officers required to comi^ete annual ethics tiJning puisuant to seetton 112.3142 F S
                                               □ ICeRTinrTHATlHAVECOMPLgTEDTHE REQUIRED TRAINING.'
                                                                                        STATE OF FLORIDA
                                            OATH                                         COUWTVOF
                       l.»»p«ieoRwhoaaitoin9sppetH»Bt<ha                         ^      Swore to (waWnfiwdiardsifescrttied                                   day of
                      tteginnfea of feis ferra, <to depose on oatti orelfeinaiton
                      andsayihidtlw                         donihldform *
                                                                                                                     20   f? by
I                     and anjf aitadwieirte hereto fe tore, aociuate,
                                                                                                     elNoiBfyPulilie-Slateof                      WetoiyPi    fe Ototo'idWaiKi e
                      amfeonipfots.
                                                                                                                                      ZJhrt S“"*PBnH
                                                                                                                                                  SYCNJWireioofXtMaer
                                                                         » I                                                                          WtoOOrt       1
                                                                         I


                                                                                        Personally Known.                     OR Produced MentfficaHoR
                      snaMTuittOP                     OFFICtM. OR CANDKMTE              IVtie of              Produced



                *



                     SoGhon 11?                 niminrT, and
                                         FtotidaSteMos.  nTnrtii.'n
                                                              the instructiorto to ihefonn. Upon wy Form 6 to act^noo with
                                                                                                    reasonableknoiMdse and Art. 11. Sec.
                                                                                                                           belief,       8. Ptodda hereto
                                                                                                                                    thediseksure   Constitution.
                                                                                                                                                          totoie
                                                             .t

                                   I
                                                                                               1
                                                                                                                      I                                         f
                                                                                                                                           Oat©


                          IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE □
                     CeFOBMa-BtostireAxuaiyl.SOta                                         "'                              '                          —
                     lnooti)o«l«ltirr»rw»f*»in»*»3M;002(n FaC.                                                                                                        PAGE'S




                                                                                 I

                                                                             h



I               m
                                                                                                                                                                                       4
        USCA11 Case: 24-13671              Document: 13         Date Filed: 12/05/2024       Page: 689 of 723



                                                      PART B Continued
                                                         ASSETS
                                               I




i                3DLSCRIPTIONOF.ASSET                                    AMOUNT OF ASSET

                 TOTAL FROM PREVIOlp PAGE                                        $6,500,000.00
                 Quail Heights,Part Owner in Apartmatt
                 Buildings
                 240-260 Hackensack, NJ                                           2,000,000.00

                 Trent Boyett,LLC,Part Owner in Apartment .
                 Buildup
                ^ 350 Prospect Avent^,Hackensack,NJ                                300,000.00

                 Fore Hearts,Part Owner in diiee coramerciafl            1                         f
                                                                                                   «
                 Properties; 2650 Rt.516 Old Bridge,NJ;735 E.
                 ifazelwood Avenue, Rahvray, NJ; 220 Rt 17,
                 Hasbrouck Heights,NJ                                               800,000.00
                                                                I


                 Santander LLC                                                      750,000.00

                 First Citizens Bank                                                624,000.00

                 Morgan Stanley Brokerage Account                            ■   $5,236,472.00
I   m

                 State ofFlorida Deferred Compensation                               286,148.68

                 F^eraJ Thrift Savings Account                                       523,843.91
                                          ' I
                 Evensky and Katz Brokerage Account                                11,019,286.66
            «
                      Ferrari 360                                                    100,000.00

                 2014 Prosche 911 Turbo Cariolet                                     120,000.00
                                    .1
                 2013 Mercedes Benz GL5S0
                                                                         1
                                                                                      45,000.00 f
                                                                                                   t
                 2011 Honda Odyssey Van                                                7,500.00

                2000 Honda Odyssey Van                                                 2,500.00
                                                                1


                2008 Boston Whaler                                                    20,000.00

                2015 Boston Whaler                                                   120,000.00
                                               I
                2015 Audi S3                                                           40,000,00
I                2017 Mercedes 350 SL                                                  90,000.00

                 TOTAL ASSETS:                                                    $28,834,751.25
                                                                  A
                                                                                                           *

                                                              k



I                    USCA11 Case: 24-13671                Document: 13        Date Filed: 12/05/2024           Page: 690 of 723   I




                        *
                                                          »
                                                          t




                                                                                                                              »
                                                t




                                2008 Boston Whaler
                                                                                              $38,000.00
                                2015 Boston Whaler
                                  t
                                                                                      c

                                                                                          i
                                                                                              $70,000.00                f
                                                                          1
                                                                                                                        t

                                                                      4


                                TOTAL ASSETS;                                                 $29,881,734.10
                                                                              I

                                                                                                                  ■*>

                                                                                                                                      4




                 e
                                                                  I
                                                                                                           d

                                                              6


I                                                                                                                                 4




                                                          r




                                                                                                                              a
                                                I

    I-




                                  I
                                                                          I
                                                                                                                        f
                                                                                                                        ♦

                                                                      4




                                                                              I




                                                                  I
                                                                                                           A


                                                     .4



                                                                                                                                  4




                                                          »
                                                          f


         I
                                                                                                                              I
                                                I


                            4




                                                .1

                                 I                                                    I                                 f
                                                                                                                        ♦

                                                                      4




                                                                                                                                      4

             I
                                                                     i




                                                        \   USCA11 Case: 24-13671                                   Document: 13                         Date Filed: 12/05/2024                               Page: 691 of 723
u




            r
                                                                     'I ■                                                                                                  1                                           t   ♦

                                                                                                                                     «   PART D~ INCOME
                                                                       each i^aralesource and amount of income wNch Bueaeded Sl.OOO durinj year,Induding *ec«idafy *oun»5ofincome.Ot attach a ocmpteto
                                                               copy irf your aoio fMoralinoome tax return, Induding all W«8.sctieduWs, and attachmer®. Please redactany social secure or account numbers betore
                                                               attaching your return*,as the law requires these documonta be posted to the Oommisston'S websiw.

            I                                                  □          tei«t!iffillieaoDf>yo(iny 2018 federat mcome ta* return and af Wifa, Khedulea, and attachments.
                                                                          (« you check this box and attach a copy of your 2018 tax return, you need not complete the lamalnder of Part O.J
                                                               PRMHARV SOURCES OF INCOME tSoo Inatnuttlima on pag* ^
                                                                  hay^j^jojjg£|£F2d£OMgBSii2!Iffi*p22,                                                   ADDRESS OF SOURCE OF INCOME                                              AMOUNT
                                                              Circuit Courr Judge                 -*                                     State of Florida                                                          $146 ,080.00
                                                                                                                9
                                                                                                                        T
                i                                             Santander
        i                                           m                                                                                    216-218 Santander Avenue, Coral Gables, R.
                                                               SSCONDART SOURCES OF INCOME (M^or customere, clients, etc., Of business owned by reporting parsory-see iiutmctions on page 5|:
                                                                                                                                                                                                                           72.000.00



                    I                                                                                           NAME OF MAJOR SOURCES                                      ADDRESS                             PRINCIPAL BUSINESS
                                                                          BUSINESS ENTITT                           SF BUSINESS’ INCOME                            *       OF SOURCE                           ACTIVITY OF SOURCE
                                                                                                        Quail Property Rentats                           POBox850McAree,NJ                           Property Rentals
                        I                                    Force Hiaaits                            .For© Hearts Property Rentals                      P.O.Box860,McAfse.NJ                        Proper^ Rentals

                                                                                                PART E- INTERESTS IN SPEOFIED BUSINC<»SES llnatructioas oa page 6)
                                                    *                                                      BUSINESS ENTITY                                    BUSINESS ENTITY*2                         BU SINESS ENTITY *3
                                                               NAME OF
                                                               BUSINESS ENTITY                    Santander, LLC                                    Fore Hearts, LLC                              Quail Heights
                            I                                 ADORISSOF                           216-A8 Sanmnder Awe,, Co«W OaMss, FL P.O. Box 850 McAfee, NJ P.O. Box 8i
                                                              miss.eMI7r                                                                                                                                                        McAfee, NJ
                                                              PRtNClPAL BUSINESS
                                                               ACTIVITY                           Pn^riy Rentals                                I   Prfpftfty Rentals*                            Property Renti
                                I                              POSmONHELD .
                                                              VWTH ENTITY                         Partner                            *
                                                                                                                                                    Partrter                                      Partner
                                                              I OWN MORE THAN A S%
                                                              INTEREST IN THE BUSNESS             Yes                                               Yes                                           Yes
                                                              NATURE OP MV
                                                              OWNERSHIP INTEREST                  60%                                               33.38%                                        33.33%
    \

                                                                                                                                         pari; F-training
                                                                                  . For officers required to complete annual ethics training pursuant to section 112.3142. F.S.
                                                                                          □      f CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                    I
                                                                                                                                              STATE OF FLORtoA
                                                                                            OATH ,                       .                    COUNTY OF
        i :                                                    I, the person whose name appears qi the                                        Sworn to <w firmer# and subacribed betore me this 2 ^                            day of           I


                                                               beginniog of this tpmt. do depose on oattt or aIRrmatkm
                                                               and say that tt>» intormatlon disclosed ran thl^torm                                                             O-by—
                                        I                                                                                                            t
                                                               and any attachments             [s mte. accurate.'
                                                                                                                             I                                                    ofFbtdajT
                                                               and eompteie.         >
                                                                                                                                                                       I
                                                                                                                                                         H
                                                                                                                    '^                        (Print, Type,                            rf 1.^ ante of Notaiy Public)   •
                                                                     «
                                                                                                                             Schle^n^r
                                                    A
                                                                                                                        Circuit Cotiiitj(^^“i' Known iZ                           OR      Produced Wentilicailon.
                                                               SIGNATURE                   TnNOOl           i OR CANDIDATE                          ^ IdentiScaHoft Produced
                                                              If a                   aceouniant liceraed under Chapter 423. Of attotney tn good standing with the Florida Bar prepared this tortn for you. be or
                                                              she musl               I the (bllowing atjiement:                                                                                                        ^
                                                              I.                                                          prepared ttvi CE Form 6 irf accordance wllh Art It, Sec. 8, Flor® ConsBfuHon,
                                                              Sei    1123144, Florida Statutes, and the instructions to Ihe form. Upwi my reasonaUe knowledge and belief, the diseiosura herein Is true
                                                              and^bftect.
                                            I



                                                                                                                                                          1
                                                                                         Signature                                                                                                    Date
                                                              rTeg|iMj®B«jfAjbfoj™fcj^CTAorattorneyAogi^^
                                                I                        IF ANY QF parts ATHROUCH E ARE CONTINUED ON A SEPARATE SHEET. PLEASE CHECK HERE □
                                                              ce FORM 0 ■ BttoDre          1. tolT                                                                                                                                      RAGE2
                                                              Inowpootsil by rafewneant Rule 348.002(1). FAC.
                                                                                                                                 I
                                                                                                                                                                                                          t

                                                                                                                         k
                                                                                                                9



        I                                                                                                                                                                                                                                       4




                                                                                                                    >                                              #


                                                                                                                    '        I
                                                                                                        I

                %
                    USCA11 Case: 24-13671                            Document: 13                     Date Filed: 12/05/2024                    Page: 692 of 723

                                                                                                                     ilotias
                                                                             I




i
                                                                 f
                             Foito 6A.I^osare of Giti^ Expense Reimb
                                                                         •

                                                                                               or
                                                                                                            PROCESSCD®*®^™^                                   moi mi
                                                                                                                                                                        *



                             Alljudisial officers must file with the Floritla CommBskm
                                      w«             anu waivi
                                                                          or rh.r^                                   reportaWe gifts, reimbuisements ordire«»PCEIVED
                          and SDfSWhl Canon 6A(jt, and                           ,I ofthe
                                                                                    of Code ofJudicial
                                                                                                tf«nnginduct,
                                                                                                       «,epr«cedlng calendar
                                                                                                               by date       yeardescription
                                                                                                                       received,   as provided{incJu^ng^t®,
                                                                                                                                                in Cano^VaJt
                          and
                                                                                                      I, or charges wens teimbuised. pahl, or waived),soiitce's name.


            *
                          WorkTei
                                                                                                   --1^1 QU.
                                                                          JiH Judicial Office Held; L^tgCot-r~ 1
                         Ik                 **•the
                         SijtSKh),and 6g(2}of   reportable
                                                   Code ofgifts youConduct.
                                                           Judicial received                                               r, as required by
                                1                                                                                     I
                                                                                               I
                                                                                                                                                          t
                                                                         DESCRIPTION                            SOURCE
                                       DATE                                                                                                     AMOUNT


    I                                                                                                  T
                                                                                                                     7^


                         a Check here ifeontinued on separate sheet•
    I                   2.
I           #                                                                                                             waivere offtes or charges you received
                                                                                                                             f       JTW   .V




                                                                     »            DESCRlPncW
                                    DATE               (Include dates,                                                                     SOURCE
                                                                                 lioii, and puipose
                                                        for which exp            s, fees, or charges were reimi»iit»d^
                                                                                 ,£^d,.orjjgjy^)


            *




                        o Ch^k here Ifcontimied on separate sheet                              I
                                                                                                                      1
                                                                                                                                                         ♦

        I              OATH                                                      d
        I
                       Slate ofFi
                       County of
                                                                                                        I




        I
        I
        I
                      (Sl|          ofOfficer Auliiorized to Administer Oaths) '
I                                                                                                              • aA       SSSSSi"*""^
                       My CommissiQtiexpires /^//                            i>f ?                                        Knssss"*
                                                                                                                                                                        «



                       Sworn to and subscribed before iw this'
                                                                                                                 «
                                           day of.                                   20.
                                                                             +
                      a/U^preicribed(a Cwcn 6).

                         «




                                t
                                                                                               I
                                                                                                                      i                                 f «
                                                                                           «


                USCA11 Case: 24-13671            Document: 13         Date Filed: 12/05/2024               Page: 693 of 723
                                                                                                       9                      %
Part E Interests in Specific Businesses

                                                 y         .r*        •M
                                                                                           .r-              ^'-rl
                                     Hlii                        V«          LV '*■•'- \         ',r
                                                     1^
                                                                                                                    {Ui^
Name of Business Entity        Patsy 3 Leasing/Trent ftoyett
Address                        Prospect A«e Hackensack, NJ

Principal Business             Property rental
Position Held                  Partner

I own Tnore than 5% interest   yes

Nature of my interest          Trent Boyett is a partner owning
                               33% of Patsy 3, (own 100% of
                               Trent Boyett




                                                                                                                    -5
                    USCA11 Case: 24-13671              Document: 13             Date Filed: 12/05/2024                 Page: 694 of 723
                                                                           I
                                                                                                 i                         f


                                                                                   I
                                                                                       PROCESSED COM)                            ONEDfCS
                                                   Judicial QuAypiCATibNis Commission Form 6A                              J(ILS3 2S»
                                                                    fill                   m                               RECS>©)
                            Alljadidal ofScers mustfile witfl the Florida 03minissioD on Ethics a list ofall gifts received
                            during the preceding calendar year ofa value in excess of$100.00 as provided in Canon 5D(5)
I                           and(^on 6B{2)ofthe Code ofJudicial Conduct

                            Name ofludye: JUDGE JCfryi CHARLES SHLESiNGER                  4.   .Telephone: 30S-349-7O78
                                         73 WEST FLAGLERtSTAsET, ROOM 1202, MIAMI, FL Position: CIRCUIT JUDGE
                        * Please identify all gifts you received during the preceding ralendar year ofa value in excess of
                            $100.ii)0,as required by Canon 5D(5J and Canon 6B(2)ofthe Code ofJudicial Conduct
                                                                                                       Value

                              NONE-Or
                                                                           .
                                                                           i
                                                                                                 1                         f♦




    I
    I                                                                              I
    I




                                                            »

                                                                               OATH
I               9



                            State ofEterida.County of.                         Q       ‘

                            1—So^^LUv^,.                        the public official Sling this disclosure statement, being
                            Erst duly swopi,^do depose an oath and say ffiatdie &cts set forth in the above smtement are
                            true, CO                    to the best of ni]ftoowiedge and belief.
                        I


                                                                                                       (NOTARY SBALJ
                            (Signatu       ReportiiwOfficiaQ                           judge
                                     1
                                   c/1
                            (Signature c^Officer Authorized to Administer Ouths)                \
                            My Commteion ©qpiires J
        I

                            Sworn to and subscribed before me this!24 day,of                   vii\f           20.   IT.

                         (ORWINAL OP THIS FORM FILED WITH COMMISSION OH EtHICS; OOPyPILED WITH tUDtOAL OUALIFtCATIONS
                         COMMljSIQB)
                                                            t
                            3/17


I           I


                                                        »
                 USCA11 Case: 24-13671                                          Document: 13              Date Filed: 12/05/2024           Page: 695 of 723
                                                                                                     ■■




                                                                            V

                                                                                                                          •III
            •_
        »                                                                                 .t-'
                                                                                                                                       i


    i                                                                       f
                                                                                      b                                                       I

J                                           ■i

                                                         What‘s the relationship.between JP
                                                                                                                                              -!•.•
                                                                                                                                               ?:■                    I



                                        X-

                                            I Morgan ^nd Morgan ... .                                                                          );•




                                        2 https://www.qbora.coni/Whats-the-refationship
                                       •4
                                                                                                                                               r          .




                                                                                                                                               f;-
                     4
                                   i Apr 12,2015 • Morgan Stanley was formed by JP                                                             f'
                                                                                                                                               ■■ ;
                                                                                                                                                • ;


                                            ■’
                                            :V           Morgan's family due to a regulation that required                                     i      :

                                   ■■■■i                                                                                                      ‘k
                                            5            Corp     Investment banks to be separated. JP                                         ¥■
                                        %
                                                         Morgan still owns part of Morgan Stanley, though
                                             ::


                               I
                                                                                                                                               «•'
                                                                                                                                                          f
                                            >            they are not major share holders. Bonus answer                                        r




                                                                                                                                               3.

                                   y-

                                            I Citigroup vs JP Morgan, whos bigger and bett                                       k««
                                                                                                                                               V;.


                                            •>

                                            I Jun14, 2019                                                                                                                 j



                                            ••j
                                                                                                                                               3:



                                        i
                                                         Are JP Morgari and Chase the same?
                                                                                                                                       «       5'--

                                                         May 28, 2019
I                                       t;
                                                                                                                                               t;


                                                                                                                                               f'                     *




                                   •v                    Are the rocjts of Morgan Stanley and JPMorga                                          r-



                                                         Jui06,20l'5 I
                                    i
                                                                                                                                               1:.' ■
                                                                                                                                               V''.

                                                                      I


                                        -5
                     I
                                                         Are JP Morgan, Morgan Stanley and Chase Bank                                  «•«




                                                                                                                                               f..



                                                 '■ -.v 0-...Vr'.''             rt/



                         •i.
                                                                      . I
                                        •Tr                                                                                                    \

                                        v;
                                        3                Morgan Stanley                          I
                                                                                                                  1                                           t
                                            ,            www.morganstanieyxonfi
                                                                                                                                               .■/

                                             I

                                        •V
                                                         Explore Morgan Stanley's Spstainable Investing                                       i-'


                                   4 Summit, which gathered industry leaders to share.                                                        'V:
                                                                                                                                                                          4




                                                         ideas and insights about innovations in sustainable                                          !




            a                                            finance. Institute for Sustainable Investing                                          ■i:


                                        I Entrepreneurs and the Race for Plastic Waste... ‘
                                        V
                                                                                                                                               P;

I                                                                                                                                                                     4




                                   :




                                                                                                                                                                  *




                     I




                               1




                                                                                             4
                                                                  »                                              *
                                                                  t


                     USCA11 Case: 24-13671                        Document: 13                           Date Filed: 12/05/2024       Page: 696 of 723
                                                                                                                                                                    «       «




                         «



                                                                                     s?.:   i>-4’         'J:x


                                        1
                             i
                                         i prnm. •
                                        ■j                                                           I
                                                                                                                     t
                                                                                                                                                            ♦
                                                                                                                                                H:
                                                                                                                                                a



                                        %                                                                                                       k
                                                                                                                                                X-
                                        t                                                                                                       ft
                                        .;V/                                                   I                                                ?
                                                                                                                                               't^
                                                                                                                                                   jV
        %


                                                                                                                                                   v;
                                                                                 I
                                 •      I•-■i                                                                                     »

                                                                        b

                                        !                     »


I           '                          • I
                                                                                                                                                   i;
                                                                                                                                                                                «




                                     . • I
                                        I Tlw ciioa^ ca^ni;^
                                        I Oft^kmt6^whic^aci^ir^4^                                                                               !■■:
                                        I ^^s«^urrted^(^fjijMiny%nar^
                                                                                                                                                                    «

                                                                                                                                                   t

                         »                                                                                                                      li

                fi
                                        I naiti9K0f company Vi^fic^^                                                                           IP.
                                        I ChiaaeiyiMafttaA C^rpo^
    I
                                                                                                                                               X

                                                                                                ■   -1
                                                                                                                                                            f
                                                                                                                                                f'-
                                                                                                                                               V-

                                                                                                                                      ■        t
                                                                                                                                               it

                                                                                                                                              f-   jj
                                                                                                                                                                a




                                        .1                                                                                                     |;:

                                                                                                         ikjp^                                 I..
                                                                                                                                                ii-
            a


                                        ’■(i

                                                                      • ??....

I           •
                                                                                                                                               i'i

                                       .1       ■'                                                                                                                      a
                                                                                                                                                                                «



                                                                                                                         as^                   I
                                        I Ch®ntea(eanl^ whteh-aicjqyl^i^^                                                                     I
                                        ^ sm ^Uffijad matoompiany‘a name, the pres^                                                            i'’.




                         *                                                                                                                    t

                )
                                        I MeRhattanQc^poratlpo;m
                                        :f On.            ■                  ■                                                            ■
                                                                                                                                               i\
                                                                                                                                              Si.
                                                                                                                                              K

                             1
                                        4                                ■                           I               *                        'f
                                                                                                                                              .i;-
                                                                                                                                               f        •




                                                                                                                                              I
                                                                                                                                              it-’

                                        ~!      Ii,'f« imK.vv. A# AM«mrAi<A>w -^ifr Aaa t^tix irtV
                                                                                                                                      .       -I   ' •

                                                                                                                                                                                    *




            a
                                                                                 I
                                                                                                                                  I

                                                                        b
I
                I

        USCA11 Case: 24-13671                Document: 13                 I
                                                                                                1
                                                                               Date Filed: 12/05/2024
                                                                                                                                   f
                                                                                                                          Page:« 697 of 723

                      DocumentPrapmd By:
                      SumP.Bolano
                      {^•oraThieCwniMm                                          i
                      267SW.CIi«)<Stravd
                         Sa(i:CHOUM>aa
                      Climllsr.AZ»Z24
                                                 ■
                                                                                                         BMIJWWK COUHifri
                                                                                                        UST P*6E
                                                                                                                                       m.,        4


                      (wWll O^srSNIp^




                                         f           k


I                                                                                                                                             I


                    . WhtnftMRMnliimiK
                              |>tLE»NGER
                      MM«LVNI«UAN.JOHN:
                      Cai«aOe8)iM^R.33f48 '
                                                         I
                                                                                                          SISSSSSS33SSSSSL
                                                         SATIftPACTION OP HORTOAOE
            «
                      KWOW AU.MEW BY THESE PAE8SOT&                                   BtgigeMton        lne.6ieoiMMraRtfhoMMr«(
    A                ^LYNm^^'s»)uE^ee»
                                                                                               Book|1«».PWM 1361 . taokonM *
                                                                                            County $^an>m.McaiY^ e CBrtalo

                t
                                                                          I
                                                                                                        «lwCls(koriti««sMCtaaj)i
                                                                                                                                   f
                                                                                                                                   ♦

                                                         IM WITNESS WHEREOF Bw           Oo^pOMtion hM eouiMf lOMB:       to be
                                                             iouiadlnfii(MiM,aM>n»'
                                                         OffienMeuflio                  SSJC.'SftSS’""
                                                                                I

                                SEAL         ii

                            ^fw
                                                         k

                                         f           ‘


I                   ATTEST:




                    Slgiwd and(MWonmiin Sw^OMM ek                                          «


                                                         I

                     onwwiyRBbMm
            «
                    WtoMO

    A

                    STATE OF M8Z0NA
                    OOWOVOFMMWOOPA
                    OnOTTISffiOM.


                                                                                                                            IV
                                                                                                                                   f
                                                                                                                                   t
                    {mtmmoflt




                                                                                                                                              I




                                             »                                             #




                    Book26512/Page2906                           CFN#20080642394                                      Page 1 of 1
            I
                                                                  \


           USCA11 Case: 24-13671            Document: 13                Date Filed: 12/05/2024                       Page: 698 of 723
                                                                      rwTTT
                                                                                                                        toog
                           «
                                                                         I
                                                        I
                                                                                                                                                             »




                                                                                                          %•
          'V       a                                                                                                                                     J
                                                                                                                                                         «

                                                                                                                                                •        I.
                                                                                                                                                         0


                                                                                                       BMmiii
                                                                                                                         »
                                                                                                                                            V
                                                                                                          I

          »

               $

                                                                                           \       ,
                               Pir                              *n                                 f                                                         ».

                                    4                           J .                                                               i"l
                                                  ) <
                                                                        w                                 f«iMrai4
    t


                                                                                                                                   4f
                                                                                               9^
                                1




                                                                                                                                                              V
                                                                                       T7

                                            -li                         fiT

                                                                  I

                                                                               9



                                                                                   »



                                                                                                                                                                  *



                                                                                                                                   1                                  i




                                                                                                                                                                      i

                                                                                                                                                                      I
                                                                                                                                                                      \
                                                                                                                                                         t            •!




                                                                                                                                                    *•                    I
                                                                                                                                                                          i




                                                                                                                                                                          i           ,
    t




                                                                                                                                                                          o’i.
                                                                                                                                                             '•




r




                                        $




                                                                                                                                                                                 {
                                                                                                                                                                                 !
                                                                                                                                                                                 !
                                                                                                                                                                                 5

                                                                                                   ms:   svamoaatsbD                                                             1


                                                                                                                                                                                 J.

                                                                                                                                                                                 I


        ^ -f,'9fV>3                                                                                                                         r
                                                                                                                                                                                 i
                       »                                                                                  t
          *.                                                                                                                                                                     )
                                                                                                                                                                                 3


                                                                                                   4
                                                            «
                                                                                                   f
                                                                                                          1




    . '.■■■nmmiinii                                                           O^f ‘                                                                 . ' ^1
                                                                                                                             i»        *i


                                                                                               9

                                t


                                                                                       <                                                                          e
                    USCA11 Case: 24-13671
                         &                                         Document: 13                 Date Filed: 12/05/2024       Page: 699 of 723
         *




                                                            .1                  r
                                I
                                                                            !
                                                                                           I
                                                                                                                                  «



                                                                                                     IWME

                                                                                                 1




                             AS     pO^MENT OF MO]ITGA J                            E

                         SQKVJ



                                                                                                               M(® (u;
I                        P
                         or««                                                       ^^^liiacewoiiwailsrw^*                                          4




                                    sssissasas^ .3S}1                                                teenilt orifflutUMajB
                                                                                                           d
                                    tgr i^MackmowaoBs nci mn r ^aot AOOOSBBW TO m HAT
                                    ggww; <» MBcwBMa w tu¥aooKM;4*•VAfll U> Of Ttst PCBUC
                                    VCBSMOPMlUluusiKCQISmt
    \                   5
                         *2 Mil     4«Hgrtev*kMiainM'i«infive»tiN
                                    49niftoai{^ usortnuuMie
         *

                                                                 rMniiM Mari,
                                    \imdA                                               UNcMutMiiM

                                                            .1
                                                                                        ItfCnBOMKtlllKBsnbUSIN
                                                                                                                                 f*


                                    1^/1
                       Tisedl

                                                                                    i
                                                                           ttmm

                                               -   *-   •

                                        jrasoqmm
                       SM3VW                                                              tMfacCeiwfcfeS^
                       OMnmrt^          i      ■awgwaqr
        \
                       •>t                                                               'S*l
    fl
                                            iSsKM^Stotaide                                       SSSsi__
                                                                                               ssrss^sr
                              A / ^-                                                                       #


                             i'<«llc;
                                        n^ffeiir
                                                                 aKgP       Nmc

                                aiitiiu»(kaa rx.
                        PA9a3Si»)j                                                                                                              1

                                         »«)Mait
                       imSuMMCl         iaimiMKuo.mMQ«»
            l

            I                                               .1

                                                                                                                I                f«
                                            ^B7W21«                        oocji :iiiieiHin


                       ♦F07012148*                                          ♦M 001100*
                                                                                                 I




                $




                ?
                      Booi(2e8a7i           |’ags3525 CFN#26b8094                   1M6                        Pa^l^i
                USCA11 Case: 24-13671                                      Document: 13                             Date Filed: 12/05/2024                                       Page: 700 of 723
                                        ••••
                                                                                                                    'i
                                                                                             •   • ••

                                                                                       •'.W'                                                                                                   *. •




                                      ■t                                                                                                                                                         v;.




        a
                                       I ft www.bing.com/search?q mor
                                      •i
                                                                                                                                                             « «A*    m \ •••                     >■.■:



                                  •    -A                                        a
                                                                       . .   STTfT^rV'^'-'^y^.
                                                                      y.^j-y,--^v, •               .V'-'■'-■ir
I       9


                                  .-■j
                                                                                                                                                  I.. vV .




                                                                                                                                                                                                 B
                                                                                                                                                                                                                4



                                               morgan Stanley brokerage account is m                                                                                                             b.
                                                                                                                                                                                                 I:;
                                                                                                                                                                                                 f-;


                                                                                                                                                       J


                                               ALL               NEWS ' :i!VlAb£S'                                  .VIDEOS
                                                                                                                                        -.•   ;



                                                                                                                                                             SHOPPING                                       «




                    i




                        t




                                                                                                                                                                                                ^v


                                 v?
                                               Morgan Stanley is both a registered                                                                                                          v
                                                                                                                                                                                                E-:;'
                                   i
                               I broker-dealer and investment adviser. Your *                                                                                                               s'-r
                                                                                                                                                                                            f-:.

j       9
                                 Morgan Stanley Access Investing ("MSAI")                                                                                                                                       4




                                I • account ^ a discretionary inyestment
                              ':\v




                               I advisory dcoount. Morgan Stanley is
                                                                                                                                                                                            i..:


                                                                                                                                                                                           ii'

                    a
                                               responsible for Implementing the model                                                                                                                   .
                                                                                                                                                                                                            t




                                               portfolios in your MSAI account, as well as
                                                                                                                                                                                           t:




                              ■fi
                                               any reasonable restrictions you may impose.                                                                                                 U:-
                                                                                                                                                                                          f. ■:
                                                                                                                                                                                          y:':.
                                                                                                                                                                                          V'v, *
                                                          .4                             '
                        I

                               'f
                                               Access Investing | Morgan Stanley                                                                                                          f': ♦
                                                                                                                                                                                          ;= ••
                                                                                                                                                                                                        f
                                                                                                                                                                                          .!• •-
                             •i.-:.
                              •'•4
                                               www.morganstgnley.com/what-we-do/wealth-m                                                                                                 j'.-
                                                                                                                                                                                         r ■



                                                                                                                        \

                                X.

                                                                                                                                                                     Feedback-
                                                                                                                                                                                          i-' •


                                                                                                          :
                                                                                                              -.V




        0

                             'J
    »


                                            PEOPLE ALSd ASK                                                                                                                  4



                             I
i       9

                                                                                                                    •       -•4   • -
                                                                                                                                                                                        I.-
                                                                                                                                                                                 . x- ...?"'
                                                                                                                                                                                                                4




                            • :i                                 •.
                                                                                                                                                                                        r. ■

                                                                                                                                                                                        H'..-




                                                                        'm                                                                        Itt'
                    i
                                                     .•    ■■:


            *
                                                        a


             USCA11 Case: 24-13671              Document: 13                   Date Filed: 12/05/2024                      Page: 701 of 723
                                                    h



I
                                                »
                                                i
                                                                                          *




                 «
                                                                                                                                      Page I of6


                                                                                                                                               1


                                         .1
                                                                                                     SBtnnfaG^IKMK SOM
                          I
                                                                       i                      >   miE:i2sann7 iiiatuMM .
                                                                                                    ■     ,C*«RKOI>««JM!»r,<U»kW*S«TV



                                                                                I   lN1fl£CiRCIfiTO(»m'OPTBe
                                                                                    QfmrmAamALOftcqrr
                                                                                    fii/dmPOUMlAMl
                                                                                    CMsecotimY.PLoiaDA
                                                        a
                                                                                    mcmmjLmmm .
                                                                   m
I                                                                  JL^              OaeHew2»l(Ni]93l*<^i
    I
                                                                 Ual^Al^ '
                                  btkli^ilaln                                             »                            i;;
                                                                  i(i%6we«f                                                  9»
                                              fcifaikbi                                                                      S
                              Oetfall^
                                                                                                           »r<
                                                                                                                      •>
                                                                                                                             5I
        fi


                                                                                                                           f
                                                                                                                           «
                                                                                                                             S
                                                                <M*4                                                       <i4
                     •A

                                                                                                                 «•
                          I
                                                                       1
                                                                                              i                                   f
                                                                                                                                  ♦

                                                            t
                                                                                /



                                  TmACtmwi



                                                                                                   km            SSpQWOf

i                                                                                                                                                  4




                                                                                                                             «r
                                                1



                              I

                                                                                    ill                   smmm
                                      •Miitattii/sstri?
        *

                                                                                                                 W37^
                                        .1

                          t
                              CtoKiii29ie41fi3g€A4^                    I   t                  i                                   f

                                                                               I
                 »



            USCA11 Case: 24-13671                Document: 13             Date Filed: 12/05/2024          Page: 702 of 723
                                                                                                                 Page2 of6

                                                                  I
                                                                                    i                         f
                         *




                                                                           I



                                                                                                 $I4IM43^
                                 trnrnmn                                                          S«mi9
                                           m4
                                 itosaci;                 t                                       stm.i4
                                 "Omm*
                                                m4'
I       m
                                                                                                  smiTs

                                                                                                  $sm^
                                 PiNd                                           *



                                                     14 I                                         mnm
                                                i20t5
                                                                                                  mmff
                                 ill   d&Mi
                                                2&17                                              S3;I97^

                                                                                                  ujmm
                                            %

                     I
                                                                  1
                                                                                    i
                                                                                                    $1490
                                                                                                                 f
                                                                                                                 «

                                                                                                   mm

                                 mo
                                                                                                 sijeejso
                                 PNl9«|y{B9ec^'                                                  thims

                             .   ORAN&IVrAL

                                                                                               taUKHtonfi
                                                                          b                    93^I'M
I
                                                                          kmt                       mwm
                                                                                        «»«a       :Or(
                                                          piaitelMi
                                                                                *’ MSOWOtt® TO m
                 I
                         saffiss^&isssgjssis?^
                         4                       r. tfbe                                mm                   b
                                       2                              b
                         Cowl                                                                   tt*€iafc«rtbr#
                                                              m           u                     VKMmAM.4
                         »                                                                                  ♦
                                                                                                      ^MU

                                                                      2
             r                                                             I




                                                          I

                                                      b



i - ht^/oalineservic€Sjniaiia-^eeIeifccom/Offici8lRficords/CFNDetaaM4L5i^^                                       12/5/2019
    I                                            I                              4


                                                          I
    USCA11 Case: 24-13671            Document: 13                    Date Filed: 12/05/2024                      Page: 703 of 723
                                                                                                                             Page 3 of6
                                                I




I
                                     »                                            *
                                       I


                                       tte I                                      »• aoU liir
                       liBiMiiftmiM^
        4
                 5,

                                                                  I'le
                             utmt.                                           OaitcaM              S^tiT
                                                                             !0                            pitof91^ «s
                                                             I
                                                                                       1                               I
                                                                                   ofm^Oetiiili^



                         2                                               srsi
                 7.          «f]                I4i(«       ofIP
                              or

                                                                                                                     ?!«
                                                                                                                 ioolP
                         offMepilIppPie
I                                                                                            «Mil 12^1^4fey tPOMki.
                8.
                                                                                           to
                                                            ofp                       deS^

                                                                                                               109% «r
                                                it«
                                                »mhos^           efWM42im                       ft fitt fto ofS3;3«(UI6 b
                           PUlNTIPr? wtumt^
                AWMraBpDOiaiw E®ci^
                                                                             iir
                                                    iFaBdv.|teWi^4«&$d t!4SaP.I6l$).
                 IfKItmwm                                                         hm                                  to?
                                                                                                                         f
                                                                                                of
                                                        UimH^            4^i


                                                                                       AmJWHNO TO TOE


                                                        k         ton



                                           fe



i                                                                        »

                                                                 3                                      fpffiMtpn
                                     >                                            4
                                       t




        A




      https://(Miliiteservices.iHianM-^decIeikcom/OfficialRec»rds/CFNDet^                                                    12/5/2019
                                                                                      (                                  f
                                                                                                                         I
            USCA11 Case: 24-13671                Document:
                                                 I         13                Date Filed: 12/05/2024          Page: 704 of 723
                                                 f

                                                         I
                                                                                                                        Page4of6
                                                                                                                                   <
                                         I



                6



        A
                    *

                                                                                           cm'MtTWfwrr«!MK anma PASS aoet



                        t                                                                                           f
                             ”Jg!.»o«wv n «nu> aT yaaic *pcmm. imm mr at
                                                                                                 WKSVANTTOTIIE

                                                                 WfflBlitR CUiMENCf A ItfGKr TO TONBS
                                                    y       » W!FAM. TO flUS A
                             cu^y^^gji.worMiiffmjeaTOAwyiBatAB!^
    a
                                 IXHm AMSOSMS!!^                                                                *r<rf
                             — —                 1 MHt?

                                        w Maw
I                                                                                                                                      <
                                                                                                                                           i




        *




                                   lor roIBBli


                            m}iW4$Asiiie«t,                      wmm              £2
                        i

                            fbAUBl|l!RlilAai3$0»                 m sflow                      mm                    f
                                                                 wyjM’g»»aRgg.SBg                                   «



                                      Oamf^.Eeikki
                                                                              I
                            lumtm
                                                                                                                                               j




    a                       atr«r^^%iatm«%) .
                            JemSirLmmA                                                                      *



                            mH£J2S&»tm °             *
I                                                                                                                                          t




                                                 »                                 «
                                                 J




                            L«/A 15020SoiASivcrDtive
                            mrnk^nm'
        A




                            CrnmsomimeMi                                 4
                                                                                                      mrnHPsmt
                                        .»

                        i                                            I
                                                                                       1                            f
                                                                                                                    ♦

                                                             »




                                                                              I




              httpsy/oaKiies©rvices.attami-dadeclefk.conj/OmdamecoRis/CFNDetail8HTML5.aspx?Qi.. 12^5/2019                                      j




                                                         A
    USCA11 Case: 24-13671
                       .a                   Document: 13               Date Filed: 12/05/2024   Page: 705 of 723
                                                               i
                                                                                 i                    f
                                                                                                      4   Page5of6


                                                                        \
               •4




                                                     kaijMccHtAant
                     1309
I

                     mt&stAodmvnNv
                           !Ailt»CA,ft»eS
        <

                    tM       aS!l>oiM»<trKote
                                ilSmC^


                    Uatraa^of                                                                         t
                                                                                                      «
                    tmNWlS)&»te«;A|itPaR
                               M,3S3£i                .

                    Uai4atea&^
                                                                        I
                    IilUAIS(i90Sos«Kh«rDilw
                    »iial.ai3197


                                    HA.           t



5
                                                 ;afi
                    CA»:
                                                                             A       A«o    mmksoi'
                                                  1
                a«so




                nwMoe^n.^
                uaawmSp                                        I
                                                                                 1                    f
                                                                                                      «


               iM,a33ie7

                                                                       I


                    ON»N9.30}04imCA4t                              i




                                                  6

                                             6


I
      ht^://oiilmesenrkesjiMaini^Ja<^leik.<x»a/OffidaIRecords/CFNDetaflsHT^                               12/5/2019
                                                 1
                     USCA11 Case: 24-13671                       Document: 13            Date Filed: 12/05/2024    Page: 706 of 723
            t
                                                                         I                                                  P(^e 6 of6
                                                                     b
                                                            9


!           m
                                                        »
                                                                                                                                              4




                                 i
                                                                 »
                                                                 ' I
                                     llMltabDiwSlpaweoit^l^^
                                     IMIkVm^aiAnmli&m
                 >




                                     tteUalm%pn»orckAiiiieliaa
                                     i^rAisososdbiiwOkjw
                             I
                                     iM»a^}«7                                                      1                   f*


                                     ItliHfcValli                            4




                                     l4P*At^8o^Slv«efMv«


                                                                                                                                                   *




                                     MC^AISeOSoidlfihttlMw
                                     ft6«lia33»7
        9
                                                                         I
                                                                                                                  ft




                                                                                                                                              ft

                                     ftte.n.331«7*
                                                                 )
                                                                 }




                                                                                                                                         ft
                                                    «




                 *




                             1                                                                     i                   f«

                                                                             4




                                                                                          I




                                                                                                       *
            ft
                                                                         A
                                                                                                                  ft


                                                            ft

        9
                                                        p
                                                                                                                                              1




                                                                                     I         *
                                                                 }

                                                                         I
                                                                                                                                         ft
                                                    «




    I


                                                    .1                           '   '
                      l](t^s://oi)liiiesmto,i!aiaiidHiadb;leij^.coin/0£ScialRec(xrds/CFNDetaiIsRTl^ a^?QS...f12/5/2019
                            ‘          •                             •               .
                                                                                     I             »
                                                                                                                        «

                                                                             4
                                                 .1
                                                                                                     »
                                                                                                     I



                                                          USCA11 Case: 24-13671                      Document: 13         Date Filed: 12/05/2024            Page: 707 of 723
                                                                                            «


                                                                «


                                                     ^ .     mt&esis rRt”PRule6.1 ReliefJtom Judgment,.

                                                                                      Iki
                                                             tmf(mrim(^r0fye op^rtyofit^fegalMpre^n^iiw^ottt^^a
        I



                                                             (ilmistdie^-inc^rteiicei sdtjjme, orexcysabk-fiegieei;

                                                                                                                 :
                                                                                                                     i^mm^fige^e^domnbtha^iie^^                                   '
            I                                                timejitfmm                     tyic^under                                                                                        4




                                                               3)Frat^whetherpreviously called intrinsic or extrinsic),misrepnesentation, or misconduct by
                                                I,
                                            9                                                                »
                                                               An oppossingparty
                                                                                                 f


I               I
                                            •                                                                                  %
                                                                                                                                                                                          »




                                                                                                     t




                                                                    No more than a year         the entry of theJudgernem or order or the di^e ofthepr^eeWn^
                                                                                                                                                          '                       a




                                                                $
                    I
                    I
                                                ,            Fed..ti,.iJy..p,^.Tasdryiveampdontp-d^^^                                ‘■»iiistcoiitainM0eieiit^^^^
                                                             Accepted as true, "to Slate a claim to relief that is plausible on Its fece. ”

                                                                     Judge is. expected 'to* recuse himself pursuant to 28 U.S,‘ C. § 455 Under• § 455(a)Jreeusal
                                                                                                                                                         #        is■
                        I
                                                            mandatory in "any proceeding in which his impartiality might reasonably be questioned.” Under
                                                             § 455(b), a judge is expected to disqualify himself whenever any of the five statutorily
                                                            prescribed criteria can be shown to exist in feet; even if no motion or affidavit seeking such relief '
                                                            has beeai filed, and regardless of whether a reasonable poson would question the judge’s
                                                                                                                                                                                              4




                                                            impartiality.                                                                     *


                                                                                                             I
                                                                    Section 455(b) he shall also disqualify himselfin the following circumstancess, *
                                            0




I                                               •                                                                                                                                     «
                                                                                                                                                                                          t



                                                                                                                                                                         in his
                            I
                                                            hpu^,^idf-^afynpiicipiimefe!5tMlli^:^^^^^                                             pr mapcmfyioihe
                                                            iF^fdifygfy-aifyPther interest                                                        >:■ the puicame oftW
                                                            fypceedmgsf-.Z-'              :rf                                                                                     $




                                                     fi
                                                            (‘^U) Wirni^ itmmr mmtspMmrshippfa^^^                                                       hme m mmll
                                I
                                                                                                         5^                                                  1609;:FuFhr
                                                            9S f98,                                                  Mstai'mifM:L                                   7iim
                                    \


                                        I
                                                                                                             CONCLUSIONS
    ;                                   I


                                                                 This Motion for Relief and Recusal is bas^ 6n wholly new facts, related whistle blower -
                                                            information, willful blindness, fiaud, misconduct, and discovered evidence unknown at the timft
                                                            of the original Conqilaint filing Plaintiff could not reasonably know the financial dealings with
                                                1.
                                            9
                                                                                                             t

                                                                                                         b
i
                                                                                                                                                                                                              f
        I
                                                            USCA11 Case: 24-13671               Document: 13                   Date Filed: 12/05/2024              I
                                                                                                                                                                                   Page: 708 of 723

                                                A
                                                X
                                                                                                                                                        I

                                                                                                                                                        «
                                                                                                                                                                                                                               «
                                                                                                                                                                                                                       »



    t
                                                                                                 f


                                                r
                                                                                 t
                                                                                                                               INtHECERCUITpOURT CFIHB
                                                                                                                               11^ judicialQRCUfriN^iND
                                                                                                                                                                                                                  •                I
                                                                                                                               FORDADC CCXJNTY,ELOi Lfl>A
            I
                                                                                                                           C^iN^AL MEi»S:rno»rDi/i^OM
f
                                                                                                                                               CA
                                                                                                                                           CA^uckzm-iiwhtt

                                                                 US                                                            ^];zoio
                                                                                                                                            *




                                                                  Vs. *                                  1
                                                                                                                               I
                                                                                                                                                                                                          I


                                                                      i                                                                                           «•
                                                                                                                                                                                 .■:
                                                                                                                                                                            •4

                                                                                           /
                                                                                                                                   »




                                                                                                                                       x
                                                                                                                                                                                                              f
                                                                                                                                                                   t
                                                        t
                I
                I                                                         Action
                                                                 SeivedoiiA|i>« ll,:mi1eeoiirt:^
                                                                                                                                                                                                    «



                                                                                                                          0)                                    I# 1.40 8)
                    I
                                                                 WssjtervedoaAprJ 11^3;C2>iiK^m
                                            ■       I           Sflmoe<if«lieibiego‘                                                       aeaa                 dW
    t
                                                                AiidC^tioiieitjrliu             good                                   AmM
                                                                 ^***^*'*“W#*              ..                                                                                                                       •              I
                                                                 ms ORC^tEDIliaE Ibis                        a                                                                                                    * 'o'”




                        I
r
                                                                          <>«




                                                                                jfRoeiBc                 intasii^
                            \
                            I


                                                                                                                                            »
                                                                                                                                                            u
                                                                      *                                                        I
                                                                                                         I

                                                                      J                                                                                                                BTJ
                                I


                                                                                                                                                                                                                   r




                                                                                                                                                                                                              f


                                                                                                         SWffE»HO)aDft.eouMTVOFOAe!;
                                                                                                                               “•‘“'“•IK.T.S.l                                          •   .
                                                                                                                                                                                                         m
                                                                                                                                                                                                              1
                                                                                                                                                                                                :
                                                                                                                                                                                                        «
                                                                                                                                                nuttoomcisti.                                            r-

                                                                                                                                                                       Pi
    t




                                                                                 *
                                                                                                                                                    n
                                                                                                                                                            4
                                                                                                                                                                                                                                   \
                                                                                                                                                «                                                                      0




                                                                                                                                                                                                                           >


r




    'nM«^|4l9aOT«201«Ka7irao«»joioi2:ff:17^ i«1MW3adec^,a
                                    ^                                                                ^           ’ 'S',                     9




                                                                      ♦
                                        1                                                                ?                                                                                                »


                                                                      I
                                    USCA11 Case: 24-13671                          Document:
                                                                                      i      13                    Date Filed: 12/05/2024                     Page: 709 of 723
        I
                                                                               9
                                                                                        k


    I                                                       I
                                                                                                                                          iwiwmiiiiiiiiMiiiMiwiiiiiin            4

                                                                                                                                             CFN 200<<>R0A268Si9
                                                                                                                                             Oil Nt 235U N 27n;
                                                                                                                                               secemsB 07/26/2004
                                                                                                                                t               HARVEY SUtflHr CLERK
                                                                                                                                                                    aORlOA
                                                                                            1
                                                                         I
                                                                                                                                                                \
                                        I                                                                                                                       /
                                                flOOl       RBHESTEDBYfflETUfUITe:.
                                t

                                                RJLBn 3D014,flw.m etSZB-^r
            I

                                                                        .1

                                            I
                                                                                                             I
                                                                                                                                      1                                  f
                                                                                                                                                                         ♦
            i



                                                   Sattt^onOf
                                                                                                       tecribaJ briow has(Man bUty paid ani oitlsflsii,
                                                tWASeMAMHAnANMimTlMEK                                                 1

                                                        Rtf hdto of tht deM,benby ilMlKe» that iba &R irf                    ttfowttf d^tbaipd aad sabtfial
                                                        “        CHtMULRESOEnULMObTUfiE
                                                                      —
                                                                                           GORFOUTIOli
                                                                              ISAflllWIIIQUM
                                                            M ctmtir,         WieiSSKlostf85F42a2S3 on Book IGSSZoa Ptm m
                I
    ,           I                               Tm ID;094118IXM01to
                                                buoftmortaasK nhtOlOB Rroam e<              ^9400000
                                                MTEOrsnBFACnMfcO7l02|94

                                                HWTHfflEWBfc tte imnttr tt ctofc of said cointy it beUsy iottructad to roeonl fliis
    I                                                                                                     Witt tbs Tapb^ans of saM stita Hal ewiwy.
                                                                                                                                                    smi to
                                                                                                                                                                                 4

                                                BATHl:07fl»2004
                                                F/KfA CHEMICAL RESIOENTML                       CORPORATION                     t

                                                                                   f        i
    • I
                                                                                 Ymm
                                                          HeaalUt «Sll«!s                                                 Vsioopson




                                »




                                                Sbstaof
                                                CttntYolWMK             .4
                    I                           Da07/15m
                                            I                                                                                                                            f
                                                     taip-Oi.tsbabViSKror^'^'"*"^
                                                  ^ MANHATTAN MORTGAGE CORPQRATIOFl
                                                CHASE
                                                                                                                                                                         4


                    I


                                                Hs bond of#wten and tbit siicb uatiithH)was LdawottbafrasactiRdibodof
                                                CHASE MANHATTAN HOffGAGE GORPORAGm.
                                                                                                                      I
                                                                                                                                              WEVENR CARSON
                        I                        RoS?!^
                                                 1iyCoRiimsaE)«iiRs:03-15-i»                                                   #           N(n>yPbbae.SM»al         •t
                                                                                                                                                                                     *




                                                                                       iltap»^4690Uo{|irUn,SuMilS,               Wt!9i)2


                                                                               9


    I                                                                                                                                                                            4




                                                                                                                                *
                                                                                   f




                                                                                                                                                                             0

                            I
                                        I



                                9



                            I

7                                                                       .1

                                            t                                                                                         i                                  f
                                                        Book22514/Page2791‘ CFhM20040626859                                                               Page 1 of 1
                                                                                                                     I
                                                                                                                                                                      I
                                                                                    <


                                                                 I

                                                             USCA11 Case: 24-13671         Document: 13              Date Filed: 12/05/2024        Page: 710 of 723
                                                                                6:46                                                      •I



    I                                                                                                                 f
                                                                         I

                                                                             Quora

                                                                              Are JP Morgan and Chase the                                              0lA.
        I                                                                     same?
                                                     a

                                                 0                                                   i
                                                                                                                                               a

                                                                                                 b


I                                                    #
                                                                                                                                                                          i




            I                                                                . What are some simple steps I can take to
                                                                              protect m^ pjrivacy online?
            I
                                                                              Many people believe that they can't do anything to                                  *




                I                                                             protect their privacy online, but.that's not true.
                                                                              There actually are simple...
                                                                                   .1

                                                                     1

                                                                                                             Continue Reading
                                                                                                                                I                      f♦

                                                                                                         «
                    I




                                                                                                                      I


                                                                             1 Answer


                        I                        »
                                                                                        Dan Malhoney, Executive Director at                    »




i ;                                                  9                               JPMorgan Chase {■■-present)                                                          4
                            I




                                                                                            »
                                                                                            f

                                                                             The basic ansvS'er Is yes. JPMorgan Chase Is one
                                                                             big company. Different names are used for branding
                                I
                                                         A
                                                                             purposes. The JP Morgan name .is used for higher
                                                                             end LOB and products like investment banking, the *
                                    I.

                                                                             largest Corporate relationships and private banking
                                ,1
                                                                     I
                                                                             for the wealthy. Chase is used for lower end                              f
                                                                             products retail branch banking, business banking
                                                                             (less than $20M in sales) and commercial banking
                                                                             (annual sales less than $500M).
                                         I


                                                                                                                                    Ji-

                                                                                                     I
                                             I
                                                                                                b-


I                                                                                                                         ft
                                                                                                                                                                          1




                                                                                           k
                                                                i




                 USCA11 Case: 24-13671
                               .■•I
                                         ••
                                              Document: 13
                                              r
                                                                    ;•
                                                                                           Date Filed: 12/05/2024
                                                                                         .•V

                                                                                               I
                                                                                                                                                           Page: 711 of 723
                                                                         t.
                                                                                     I
                                                                                                             ;
                                                                                                                           :         •V

                                                       .V




        e
                                                      Quofa                                                Op tin hi Aj:       sign In
    a



                                                  ^ ^ tfie                                 ^                                         ;
i
                                                                                                                                               :

                                                                                                                                                       V

                                                                                                   .   #
                                                  t
                                                                                                                                 ;       •;•




                     4                                 Ad by Diici(Duc)<Gp

            a
                                                       What are aome stopte stet>s I can take to
                                                       protect my privacy online?
                                                       Many people believe that they caiVt do anything to
                         I
                                                       protect their privacy -jnitne, but t^t’s not true.                                                       f
                                                       There actually are simple...                                                                             »




                                                                                    Continue Reading                                 > !
                                                                                                                                                   I




                                                                                                                                                                                  *


                                                      3 Answers


                                                                         Shreyans Malani, studied at Lontfon
                                                                         School of Economics and Political
I       m
                                                                         Science
                                                                         ■Answered Jut 7, 20tS
                                                                                                                                                                              4




                                                  * dPMorgan Chase & Co. is the parent holding
                                                    company of ChaseiCommerical Bank) arid
                                                      JPMorgan (investment Sank).
                     i

                                                      John Pieipont Morgan (J.P. Morgan) founded J.P.
            fi

                                                      Morgan & Co., wihfch is the predecessor to Morgan
                                                      Stanley and JPMorgan Chase.
                                                      As a result of the Class-Stegalt Act of 1933, J.P,
                         t
                                                      Morgan & Co. wijs broken up, it spun off its                                                              f
                                                                                                                                                                «
                                                      investment banking activities into Morgan Stanley,
                                                                a




                                                      J.P. Morgan & Co. continued to operate as a
                                                      commercial bank. Howfevw, in the 1990's it started
                                                      to rebuild its investment banking operations, (n                                                                            a


                                                       ^^00. it


        «
                                                            I                                                         •j
                                                                                                             .•• *.


                                                       *


I                                                     RELATED QUESTIONS (MORE ANSWERS BELOW)
                                                                                                                                                                              4




                                                  »
                                                  f
                                                      Whpt is the history of JP Morgan Chase as
                                                      a merchant bank?                                                               >
                                                      533 Views
                     i



            A
                                                                                     Ooen          ano


                                   .1
     I                                                                                                                                            *
                                                                                                                                                      I



                 USCA11 Case: 24-13671             Document: 13               Date Filed: 12/05/2024                       Page: 712 of 723
                                                                                           *
                                                     f

                              OMUMntRvpmOE^
                              SswP.eataM
                                                                                                                                              *
                              ^MonTiufiComNny
                              ^W.Ciandhreh^                                                              BECgwee 08/06/2608 14»02IM
                     &                                                                                            OF cmi
                              Mt$lafKO«)Ln<>89
                              aMn(l«r.AZ8S224                                                            SUSKSTi
                                                                                                         imfhss,
                                                                                                                 rmm
             *
                              (NO]640^

         I


                                         .1

                         t
                                                                                                I
                                                                     I
                                                                                                                                       ♦

                              WhiA pkotM rstum to:           4

                              mmyHmjm,xm
                              IS^AOK^Am*
                              Oantl^blH.FL3314a
                                                                               I

                                                                                                            pQttO
                                                         SATBarACTION or MOOTOAOr                                                                         *




                              KNOW AU MEN enr THESE PRESENTS: Ml)f«ig«              ResMaOoii            lno.i»i*oMis)r and homer of
                              a QMtaki        It»ed ommuM t»
                              AMI^YN MIUAN» JOHN
                                                                         *»                    ®»<* ««»• P»B» 1301, hrtwnwif #
                                                                                                       «6 notsiti^ Moat^ q ete^

     I       9
                                                                                                                                                      )




                                                     »
                                                     >                                                              p*®******6®

                                                                                                                                              6




                     «




                                         .1

                         I
                             ATTEST;,                                I
                                                                                                1
                                                                                                     RooMriOm          ).lne.
                                                                                                                                       f
                                                                                                                                       «

                                                             «




                                                                               t




                                                                                   0/
                             inboityRi                                                  P«8rUi|Ms
                             WBWM
                                                                                        AnloiahtSMnlwy

                             STATE OF ARIZONA            I
                             CWWTVOFiMRfCOPA


     I                       mnm
                                                                                                                                                      i




                     I



             *




<■                                       .h

                         I                                                                     f                                       t


                                                                               1



                             Book26512/Page2906                  CFN#20080642394                                      Page 1 of 1
                                                                                                                                                          4
                                       USCA11 Case: 24-13671
                                               •i.
                                                          .I                         Document: 13                      Date Filed: 12/05/2024                      Page: 713 of 723
                                                     I
                                                                                                                   I
                                                                                                                       w.                                                  f
                                                                                                                                                                           ♦

                                                                                                                                                                           mo
                                                                                                                                                                      ■h




                                                               Casel;18^w-22211-ly>s Documents arteredonFLSDDocketoeCM/2019 Page8of8
                                                                                •f        k



I                                                                                                                                                                                         t




                                                                   Comptelrtt. Department of Justtoe
                                                                               ' I
                                                                   W^ftM«iw.justic*.go«fen!hhrefop8MMwiieots?e«»n|)(eht.pdf
        'V .                                                                I
                                                              1,

                                                                   WJ^WITOiTATB D»™2L«W                                                   4 S«»t, MW

                                                                                     attome^T*                                    ®*®*^®* ^ C«t«n We by and throu^ their
          I
          I
                                   >
                                                     I
                                                                                                                                                                           f

                                                                                                                        I

                                                                                                                                                                      J:




                      ,




                              S.
                                                                                                  I
                                                                                                                                                               »


                                                                                .a        k


i                             •                                                                                              ft
                                                                                                                                                                                      i




                                                                                      »                                              *
                                                                                      »

    •         !
                                                                                                                                                                                  «
                                                                        i-
                                                                                                          r
                                           4


                                                                                                              I,

                                                                        .t

                                                                                                                                                                           f
                                                                                                                                         !•«■

                                                     I
                  I                                                                                                                             1
                                                                                                                   I
                                                                                                                                                                           t

                                                                                                      «


                  I.




                                                                                                                        \




                                                         i'




                          »
                                                                                                  I
                                                                                                                                                               *

                                                                                          k



I                             •                                                                                             ft
                                                                                                                                                                                      t




                                                                                                                                     $


                                                                                      '       I
                                                                        I
                            USCA11 Case: 24-13671                 Document: 13                  Date Filed: 12/05/2024        Page: 714 of 723
                                                                          t

                                                                      k

                                                                                                                                             f’
I                                                                                                                                                         »




        I


                                                                  >                                     *
        I                                                         t
    « I

                                                                                                                                                  9
                                                          <


                                I             Case l:18-cv-22211-UU Documents Entered on FLSD Docket 07/01/2019 Page 1 of l
                        *




                                                                          UNITED STATES DISTRICT COURT
                                                                          SOUlliERN DISTRICT OP FLORIDA
                                    I
                                                                                  C*seNo.ISiCV-ZSHl-GAYLE^                             ft
                                              CARL ERICKSON
                                                                              9


    ,I                                              PlaintiC
        I                                     V.

                                                                                                 1
                                             RALPH W.CONFREDA,JR;.et d.,
                                                                                                                                                              4

                                                    Defendants.




                                                                          *         ORDER OFRECUSAt
                                                                      k


I                                                  PURSUIT to 28 U.S,C.§ 455,the undeisigned Judge ot whom the abovenSyled cause is                       I



                                        , • assigned hereby recuses himselfand frfets the case to the Oe*ofthe Courtfor reassigmnent
            I
            I
                                                   DONE AND 0]&DEa|ED in Oiambets at Miami,H«ida this 28th day ofJune.2019.
                                                                                                                                                  I
                                                          I


                                i



                        *
                                                                                                DARRIN R GAYLES
                                                                                              ' united STATES DI£   JUDGE


                                                        .1

                                                                                          I
                                                                                                            i                          f
                                                                              4


    i       I




            I                                                                                    I



                                                                                                                                                              4




                    9
                                                                          I

                                                                      k


I                                                                                                                                                     4
                                                                                                                                                          I




                                                                                                        *       H



                                                                  ' I
                I
                                                         I


                                I



                        0




                                                        .1

                                    I
                                                                                          I
                                                                                                            1                          f '■
                                                                                                                                       't-



i                                                                             9
                                                                                        i


                         USCA11 r;Case: 24-13671                                 Document: 13      ;v
                                                                                                                      Date Filed: 12/05/2024                         Page: 715 of 723               V • ••

                                                                                                                      'x



                                                                                                                                                                                            #




                                                                     .1

         fi
                                 i
                                                                                                           I
                                                                                                                                     i                                           f
                                                                                                                                                                                 ♦

                                                                                             4



                                                Ca«l;lS-cv22ai.OPG Documents Entered on FLSD Docket06a4«019 Pa^elofS
                                                                                                                       I


                                                                                                                                                                                                                 4




                                                                                        UNITED STATES DISTRICT COURT
                                                                                        SOUTHERN DISTRICT OF FLORIDA                          .
                 c.
                                                                                         t

                                                      CARL ERICKSON, ,                                                               CaseNo.18^w-2221 l^ATLES

     I                                                V.
                                                                                 Plaintiff,
                                                                                                                           K                                                                    «
                                                                                                                                                                                                             (




                                               ' RALPH W.CONFREDA JR.
                                                      USBANKNATIO^                                                               *
                                                  IP MORGAN CHASE sitNK
                                                      CARLALUBBTSKY                                                                           JUN 24 2m                                 9

                                                  alanwaserstein
                             I                    KENNETH ERIC TRENT                                                                          0.
                                                                                                                                                   «J      Dt

                                                  TERRANCE W.ANDERSON etal,                                                                             -MIMIP


                     4                                            O^ndants,                                                                                           i




-•
                                                        ,                             & RECUSAL AND ME>ii^,AKDI)MnF1 aw                ^
                                 1                    Pursuant to Fedent Rules qfGvil Piioeedufa Rule 60,      cart Ericksoa tejw «]«$ »
         I                                       IMS Motion fet Rollaf& r^«„ Sopportfeg MemonmduB, «garii,g the &ne
                                                 Judge Darrin Gayles««^review ofthe record arid Dlsmiaal Order[Document«41                                           2016


                                                 onthefolIowingftcta.„ewinformaticn, juritennj.judicialmIacoBduee.fiaodulent8.om.
                                                 disoovered wnfliet of personal imveatment interests on Kinaiiclal OisdoniKs of Jix^ and ,,
                                                                                                  tached-JP Moigan C»ase Spema) Situation Property Funds mS
                                                Accwint Page 42, FRS 2018 Tables 9-13. SEC RKfigs-US Bank
          I                                                . -yfr
                 a                                         * - •- .<«■.
                                                                                         •        FACTUALBACKtaiOUND                      '                      4


                                                           »- O“J^*^?^201«.PW«rtifCariEric!«onflledacivnactionCompNmtfDo^^^
     I                                                                    causes of action fiw violaticms of Federal ton laws, bankii^ real estate security                                                  1



                                                            r^idfftlan violations and raokote^ ' ig Statutes.
                                                                              was teed upon                                    retatea tiluies accepted by non-biased
                                                                         tte corAuned ivrintM (t) a
                                               cotw s                           (2) a            wd plain statement
                                                      .. .                                                                       «•«'»> showing that the nlfjidfY is
                             I
                                               emitlodtotefienand (Jjademsitd&rtMreliefsougfe.^ Fnd. R. CW. P. 8.
             i       s
                                                  3. On Me 26* 2018, Judge Gayles issued.and Dismilraal Order

                                                                     .1
                                                                                                               .11}

                                 t
                                                                                                           I
                                                                                                                                     1                                           f
                                                                                                                                                                                 *

                                                                                             4




                                                                                                                       \

                                                                                                                                                                            ■h

                 P




                 t
                                                                                         I
                                     .i   /i                                                                                                                     4
                                               .v>'

                 m
                                                                                                                                                                                                             4
                                                               *



                     USCA11 Case: 24-13671               Document: 13   Date Filed: 12/05/2024        Page: 716 of 723
                                                                                                                                                       i


            I
                                                                                                                                                       i.
                                                                                                                                                                4




                a
                        IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                        IN AND FOR MIAMI-DADE CCftJNTY, FLORIDA                                       «




I! •                    CIRCUIT CIVIL DIVISION

                        CASE NO. 2019-030415-CA4J1
                        SECTION! CA 20                   ' 1
                                                                                                                                •*



                        Ji^S BUCKMAN ‘                                       HEA5S!G«ED BY OUMO A 4
                                  PlafntHf(8).                               mm TO SECTiOM                                                         «:



                 *      vs.                                                  PER- OROEft QF^ADM,JUW3E 'v,
                                                                                        //l   nnr
                        UNCASTER WORTGAGE CO
                                                                                                                                                       t.

                                  Defenciant(8)<4
                                                                        f
                                                                                    1                            f
                                                               • ORDER OF RECUSAL

                                  THIS CAUSE,came before the Court sue sponte, and the Court being fully advised Jn
                       the premises, it is hereby:                                                                         ri


                                                                                                                                                  •:


                                  ORDERED AND ADJUDGED                                                      r>
                                                                                                                                                  i'


                                  1. That fte undesigned Circuit Court Judge hereby recuses^ftimielf f»m fAier
                                    consideration ofthis case.                                       " > ' ^             :-n                                4




                                  2. This case shall 1^ reassigned to another section of the Clrc^  ^ S ■ inf
                                                                                              ":s CivO^Divi^n                                     V


                                                                                                                                                   »




                                    accordance with established.procedures.                                                                       >
                                                                                                                                         ■.



                       D9NE AND ORDERED In chambers, at Miami, Dade County, Florida, this 17th day of
                '      October, 2019.
                                                                                                                                              7




                              I                                                     I                                                         i.

                                                                                                                                              i-
                                                                        William Thomas
                                                                                                                                              £
                                                               4
                                                                        CIRCUIT COURT JUDGE

                       Mailing Service List:                             ,                       ■ ^ Ciraift Court Jud§e
                       JAMES BUCKMAN. 1977 NE 1i9TH RD, MIAMI, FL 33181                                              i




        I
                       MAURICE SYMONETTE, 4711 L J PARKWAY, UNIT 4208, SUGARLAND TX 77479                                            i        I                 4




        I              LANCASTER MORTGAGE CO
                1.
                       ONE WEST BANK
                       EMC MORTGAGE BANKERS LtC                                                       I


                       MORTGAGE ELECTRONIC REGISTRATION SYSTEM
I                      DEUTSCHE BANK NATL TR CO
                       MERS .     .
    I

                       SERVICING AGREEMENT SERIES RAST 2006 A 8 .
                       RESIDENTIAL ASSET SECORIFIZATION TR 2006 A8 +                                                                          i

                                                 I


                         I



                 *




                                                     *
                                                                             t
                                                                                                                                   t

                                                                        k

                            USCA11 Case: 24-13671               Document: 13                Date Filed: 12/05/2024                  Page: 717 of 723                                              «


    fi'




                                                                    t
                                                                                                     *                           Exh.X



                                &                                                    l-ifffOH}-JT
                        0




    i:

                                               T                                            c.,7S Inei't                                                  CoutrJy
                                                                                 SM^ /M                                y?7/r/A7/                          f
          j:
                                                                                                                                                                                     '■ '-J

               !

    i




           \                                                    A>. oY/cyj^J^ 7^,^,,y^-,Z,Z TTs^c (-/ve-, ■
                                          -/^/l^'7-l■/f^,7^ H,.^,/ r (y/i^ i.^J,csd'rii,f^ T i/Wdi
                   1:




                                                                JuLj, -^,h2                                                        »




    : l
                                     jUm^ :3!                                                    k                                                                               «




                                     mvPJCt:
                                                                                                                                                                        •:




                                                 rh,^ gjy^,y                                     / \<
                                                                                                             ‘ --r^b                     ^4
                                                           .1                                                                 '^NMt «»(rcHEa_             I
                                                                                                                       ‘■Mirs Ott.ts Ssi,e Sf^nas '
                                      t
                                                                                        I
                                                                                                         t                 ».'-r.i„i5f j: oc jsBlS
                                                                                                                       »          i:»9!t,'JJ                  '
                                                                                                                                 K«!!s<'.' ^■,sar> Ai®,
                                                                                 *




                                                                                             I

p;
                                                                                                                                           •J;




                                               H' -
                                                 ;-'




                   e




B                                         ;;                                                     k
                                                                                                                                                                                              ;




                                                                »                                    *
                                                                f




                                                                                                                                                                        *
                                                           I


f                               i’


                       0




                                                 >     ;   .1

                                     t
                                                                                        I
                                                                                                         1                                       f
                                                                                                                                                 «

                                                                             4




                                                                                                                                                                             f
                                                                                            \
                                                                                                                                                                  ■*■




                                                                        >:
           r
■ I
       m                                           USCA11 Case: 24-13671                           Document: 13               Date Filed: 12/05/2024                  Page: 718 of 723
           ,1

           ■c                                                                         .1

                                                         «
                                                                                                                          I
                                                                                                                                         I
                                                                                                                                                                               Efi.Y
                                                                                                                                                                                   *

                                                                                                                     4




                t

                                                                                                                                                                                                                                                             4




                                                             ' /Jo^ie 0,^ Fkjk'i2 Uftei' ,/.j                                                     fiyirn'
                :'l'
                                                              Jix^e 2' ^^l         'Fh                      '/
                                                             c?A                                                                   ■?^‘ t'^/r Aii
                                                      ' ^ ■ f^iuiXrrj hlJJ LKhhv^iS 7^/^/^                                                   //                     c/gc^^ S2'^td‘
                                                                                          7-HhkL
                                             i»;




 ;
                                                         I
                                                                                                                          I
                                                                                                                                         1                                        f«
                                                                                                                                                                                                         X

                                                                                li‘                                                          /
                                                                                                                     «


                                                               /J'ucSy'                   ^t/«v-{//                                                                   ■A xA*
                                                                                                                                     X
                                                              AUmnr/ 330?'^                                                                       q^. 'ic i;z
                                                                                                                                                               -*<->,.? wc-i i.J.             >;
                                                                                                                                                    :   ><S:wni P«,D <i St«t»Kf Piandi,
                       I-'                                                                                                                        ;<?      :sTH'M.3riC.Cl6{”JS
                                           :®4-
                                                                                                                 I                                      *» Csn'T, t<?«s» j, ?o ;o!)
                                                                                                                                                  toPiieiJ (fir5^.5h >»*{ta<i<, »«jirv «J«S
 I’i                                                                                                    k
                                                                                             ,9'


                                                                                                                                                                                                                                                         £
                                                                                                                                                                                                                                (




 I'
                                                                                                   »f
                                                                                                             I
                                                                                      I




 r                                           <«




                                                                                      .»

                         ■■l                             i
                                                                                                                          I
                                                                                                                                         t                                         f
                                                                                                                                                                                   ♦
                                                                                                                                                                                                             ;■::

                                                                                                                     ■4
 ii
                             •|:


                                                                                                                               \
                                                                                                                                                                                                                ^ '



                                                                                                                                                                                                                                          v.
                                                                                                                                                                                                                                          :.




                                                                                                                                                                                                             V.:


                                       »
                                                                                                                 t                                                                                                                             ;■
                                                                                                                                                                                                                                                    ;:



                                                                                                                                                                                                                                    Ll'
                                                                                                        k
                                                                                             9
                                                                                                                                                                                                                      Slf                      ;:■
                                   r                                                                                                                                                                                                                     4

                                                                                                                                                                                                   ':i                  |-
                                                                   ':'j   ;.v
                                                                                                                                                                                                                            x
                                                                                                   »
I                                                                                                                                                                                                                           ■*i:
                                                                                                                                                                                                              ■ 'Ss'' ■->
                                       USCA11 Case: 24-13671                                    Document: 13                  Date Filed: 12/05/2024                           Page: 719 of 723                                                j




          f-

                                                                                                                                                                                         Exh.Z
                                                                                                            I
                                                                                                                                                                               ft

                                                                                                    k



               I               •                                                                                                                                                                                    ; ■■:•



                                                                                                                                                                                                                        fr        ;
                                                                                                                                                                                                                                   i

                                                                                                                                                                                                                                           .

                                                       ■ ■ InMit~.lt hi                                                                                                                in, - --V
                                                                                                                                                                                          :/
                                                                                 -rv-i                                       "Tt” r
                                                                                                                                  JJ. i)iSi>/d6 iddh
                                       . X                  i^. ..
                                                                                Mix ,; ■                                     ’ ■/                                    LrfS^
                                                                                                                                                                                                                        :'V




      t



                      1
                                                                                                                    X/n /r/s.'                                                             .
                                          , SdX‘ 'M
                                                                                . (h                                            I


                                                              2u                                                    1
                                                                                                                                                                                                                                               j




                                                    Z^kA//                             U^e//r
                                               I SoX 0 S.      dR - ‘                                                                                                                                                                  :



                                                                                                                        r;
                                                                                                                                    /
                               m                      Hrf 55/67 ■ ‘                                                                                                 't*
                                                                                           ft                                                                                                                                      *




                                                                                                                                                              :?V     '.r *
                                                                                                »                                        *                            in. '"        -C'&lifiS
                                                                                                »
                                                                                                                                                                          ',v ■•»' . , ■« ?Ui
                                                                                                        I                                              |.3r<AC            -;
               .!■'
                                                                                                                                                                                                  ft
                                                                                       I
                                                                                                                                    r:                                                                                         J; . -;!
                                           &



                                   f




                                                                                   .1

                                                1
                                                                                                                        I
                                                                                                                                             i                                             f
                                                                                                                                                                                           ♦

                                                                                                                *




                                                                                                                                \
     V



                                                                                                                                                 T'                                                                                            4




                               t

                          ft                                                                            I

                                                                                                    b



     lil                                             : ;•
                                                                                                                                                                                                                      0
                                                                                                                                                                                                                                  ft




                                                                                                »                                        «
                                                                                                ?

                                                                                                                                                      : ■;■




                                                                                       I


                                           «

                                                               :v
                                                                         :■■;

                                   *

    ',■
                                                                     :.. ;;;

                                                                                                                                                                                                       ',1:     .
                                                                                           ft

                                                t
                                                     • ■€■?
                                                                                                                                             t                                             f
                                                                                                                                                                                                                ■       -I'.
k
                                                                                   I
                      USCA11 Case: 24-13671                                       Document:
                                                                                  ' I       13                          Date Filed: 12/05/2024                     Page: 720 of rnmsmmm.
                                                                                                                                                                                723
    i'       OCS Se@jch                                                                                                                                               Exh.Zl
                                  «
                                                                                                                                                                                                         ■i;:-
1


                                               MlAMI-OA!|ECOUHTYCmonHE                                                                                       ;;
                                                                                                                                                                                     II
                                               COURTS                                                               I
                                                                                                                                           i                            f
         1
                                               H WEV RUVW

                     CIVIL, FAMILY AND PROBATi CQURTS ONLINE SYSTBg^                                                                                                                                             *




                                                                                           I


               ,      ySBA^iK|NA)«.WimAM?■iWm                                          k




                                                                    20C7-Ot2.iO"-CA-01:                                        ifilteB Bale:    03/36;2007
                                      UcsICaseMttfnbef:
                              J.;: ; ; '            /A,:’it,                                                            judfcialiSectten!, P??
                                      SiattCaseNwmter:              1320CTCASl|40?0CK'Qa1
                                                                                   t

                                                                                                                                 esse Type. 7 DO .wt US=              Tgage Fo«!i:foS«S
                          CwsofSdatwJ Cftse Uct,-.                                                                                                                                         6




                                  A



                *



                                                                                                                                                                          Tots! Ql        S.



                          Hearing Details ■
                                           I
                                                                                                                    I
                                                                                                                                          i                             tT0lsH*<*8fS ■¥
                                                                                                                                                                        «
                                                                                                                                                  4?


                                                                                                                                                                       Toft! :0f Dockets. S2


                                                                                                                          1




                                                                                                                                         .Cofflmenls
                                        Nwmhsr         Os?®                    BooWPsge            Ouctetfetry           T^pe
                                                                                           * Recife:.                    Event           f?6C@PT^-.2«10006 AMT        0 COMMENT:
                                                       mm;2Q2z
                                                                                       b
                                                                                                                                         AitOCATiON CO0E WAW(T!Tt UNIT AMOUNT SIZO-COPY-A
                                                                                                                                          SI 00 S4.00 3121-CeRTIf mo 1 S2.O0^ 92.00TEfiOEB
                                                                                                                                          WfcSsHTEKDmAMT!eiO.OdTfNDERTy»CKANOE                       i


                                                                                                                                          tender AMT:|$A.OO) iS.CBPT PATE:02/04/2021,.
                                                                                                                                          REOlSTSW/a^l CASHSER--01NGU18
                                                                                   I
                                                                                   r


                                                                                                                                          OF ORDER OF DISMISSAL
                                                                                                                          fyopt;.

                          m                                                                                                                                                                      f
                                  I

                                                                                                                              I'ygili.    MiMMOBMENT OF fOREOLOSURE
                                                        c&msQn                                      w&
                fi
                                                                                                                                                                             .f

                                                                                       ;
                                               J!
                                                                                                                                              from MACK i WELLS:
                                                         C4/07/20n »                               ■ ,.#ttprc'

                                        i
                                                                                                                                          1                            f
                                                                                                                                              iiSEpiLEe' ||CASB*Ca-W8®^Aei AND IN SHAM DW¥f
                                                                                                                 I


                                                         11/54,<2010                                 Ho '^urti'or
                                                                                               ‘     J^d’C4 Act,OP
                                                                    ■■■■::■■




                                                                                                                         I
                                                                                                                                                                                               W?'



                          ••V .
                                                               :T
                                                                 .I

                                    I


                            USCA11 Case: 24-13671                         Document: 13                            I
                                                                                                                                              i
                                                                                                                          Date Filed: 12/05/2024
                                                                                                                                                                                f
                                                                                                                                                                    Page:«721 of 723
                                                                                                     «

            mskmm                                                                                                                                                         Exh.Z2

                                                                                                                  Sver.t: 1             TO V?%CATE LAST OR06K & RETAIN ORIG-'ORO^R:

                                            • mfMMM
                                                                                       V0«re


                                                                                                                                                        *



             *■
                                                                                       Tea
                                                                                                »
                                                                                                                  '• Skmi-:
                                                                                                                                        »EfBiOBlBll^AL:NOm#NOttOR»
                                             08/06/2010     .                                                                                     ■■'       '■'



                                                                                       k


     i                                                                                                                               S: 27343 R: 0849 VACATING, DISMISSiSG.CXL
                                                                                                                                   • SALE,RELEASE US reNOeNS.ETC.v
                                                                                                                                                                                                                        i


                                                                                       IRecordabitf

                                             i6/a0goii                     I
                                                                               }
                                                                                       fvtesen:                                         AW:00071678'TO OISMISS CASg,CANCfeL f C.'.ECLOSWHE;
                                                                                            I                                           SALE,Etc,
                                                                                                                                                                                                    «
                                                                   «
                                                                                       -ir.H D-asOi'tt'Or!            Evefl:
                                I



                      >

                                             O4#’O7/2O10        27244”4*,S./           Co„': Om®                                        &• 27244 Pi 4103 Or CISMISSAL
                            m                                                              IRecs;r€l»6l6/

                                                                  .1
                                                                                                                                        DISMISS FOR LACK OF PROSECUTION             PRE J.ODfGt^
                                    *        04»7/2009                                 T#*!;
                                                                                                                                              I


                                                                                                                                        TO WRITTEN blSCOV6S¥,l.1TN tb^STRlKS 08,.,ETC/
                                                                                                     6




f;
            ■%                                                                         ’.Notlete:                                        THAT PtTFF HAS BESPONOED Td:DEFE!NOANT,.,.ETC
1
1                                                                                  •       ,etter ot          i       c-Jart:            E80M MACK WEttS TO DISMISS FR LACK OF PR0SICUT40M
                                                                                                                                                                          •0-

                                                                                           Gorrosponrt'eRC®

i:                                                                                                                                       FROM MACK WELLS TO DISMISS FOR LACK OPPBOSECUTION
                                                                                           e®rssjsssfti«,»
                                                                                                t

                                              09/17/2007        26944.CP42 »Court Oftie*                              9’imi              B: 2S9'44 PrQ542 CANCELINGVORCCiOSURrSiMj'
     i        miM                                                     4                :;tR«SS:Cdao!el
                                                                                                                                                                                                                        4
                                                                                                                                   ft




                                            “ 09/14/2007                                   '8r»of«fe                                    'PUB-EIATE :08/31/2007::
                                                                           »               il/jSIsaliift                                  «
                                                                               f




                                              O0/M/2OC7;                                   f l®i*'                                       P0,6 DATE;
                                                                  t
                                                                                           Pw& xai o'l
                                &

                                              09/13/2007                                                              Wm^ '             . TO CANCEL FORECLOSURE SALE                                                3
                      '*■



                                                                                                                      i0M:               Ajymmmm set aside f4uo ano RecoNsiOERttAT
                                                                  . h
                                                                                           Ml;                        Evisiit           ;150-FEE PD/RCPT145184:
                                    t
                                              .0,10
                                                                                                                                              I                                 t
                                                                                                                                                                                «
                                                                                           Nct:t@.es?;:s,»M           i,«oi
                                                                                                     «



                                              :gi2^/2Bp7-                                  Till                       Iveni.             :wR(tf|W^ib:&iM'Ois^^^                 of alleged loan.
                                                                                                                               I
                                              08n4/2;W7:                           •       C^tsffcatesOl;              e@i5                                                                    a



                                                                                       ' Mai'ng Flr^al                                                               i.
                                                                                                                                                                          V
                                                                                                                                                                                                                            4

                                                                                            Jjcgment


                                              ji8/1iS0®                                                                                  AFFIDAVIT OF AMOONTS DUE Af® OWINO
                  I
                                                                                                ft


                                              SSfiES®                                  k Notice,OlF<lnp                e»«o::            ORIOINAi MORTOAOE AND oftlClNAi MOTE
     I        m

                                              08/13/3007                                                               Strife •          FINAL DISPOSITION FORM
                                                                                                                                                                                                                        I

     ■ t:

      I .

                                                                           »                                                              «
                                                                                                                                                                                                   PSfljB; 4;Vf i
             »m0S,/,V,w«2.T,am>.!38<j®flterL earrfocs/Ssarch 8&8»
                                                                                            I
                                                                                                                                                                                                        If
                                                                                                                                                                                                   ft




                                        ■
                                                                                                                                                         \


                                                                                              i/

                             USCA11 Case: 24-13671              Document:
                                                                   I
                                                                          13                 Date Filed: 12/05/2024
                                                                                               «v
                                                                                                                                Page: 722 of 723
                                                                                                                                i


                                                                    b


m   I                                                                                                                                                 Exh.Z3      i




                                                        9.'02                                                                   ■'m:



                                                                    1
!
                                 «                    American                                                    based in
                                                                                                                                                                      5



                    j                                                       f                • , and incorporated in
                                                           ,1,, It is the -parent company of .U,S.
                                     I
                                                      Bank National Association, whteh is the 5th                                            f
                                                                                                                                             «

                                                                        i   •
                                                                                                                  .The

                                                      company provides banking, investment                               f

                                         t

                                                      mortgage, trust, and payment services,                                                                              i




                                                     products to individuals, businesses,
                                                     governmenfal entities, and other financial
    i                   '                            instifutlons. It has 3,106                           .        and 4,842             *                    «
                                                                                                                                                                  »




                                             ”   ■    . . , primarily In the Midweptem ,
        T
                                                          % ai*}d has approximately 72,400                                                               6




                t
                                 I
                                                     employees.                 The company also owns                           ,
                        A-                           a processor of credit card transactions. U.S,
                                                     Ban<fOrp operates under the second-oldest
                                     I               continuous national charter, originally Charter                                         t
            I                                        #24, granted.in 1863 following the passage of
                                                     the                            ,        Earlier charters have
                                                     expired as banks were closed or acquired,
                                                     raising U.S. Bank's charter number from #24 to
                                                     #2. The oldest national charter, originally                                I
                                                                                                                                                 I




                                                     granted to the                                                                 •»
                                                                                                                                                 'I
                                                                                                                                                                  t
                                                                                                    It



                                                                    • , is held-by                                 , which it
                                                                I
            I
                                                     obtained'upion ifs merger with
                                                                                                                                                         t-
                                                           i
            I
                                 I
            I

                        A
                                                                                  U.S. Bancorp

                                                           .1
                                                                US
                                     I
                                                                                     I
                                                                                                              i                              f
                                                                                                                                             I
                                                                                                    I C




                                                                                         ■
                                                                                               \
      USCA11 Case: 24-13671          •!
                                                            Document: 13                                    Date Filed: 12/05/2024                         Page: 723 of 723
                                 1
                                                                                                                                                                      >




                                     I


                                                                                                                                                                                                                                                         •s

                                                                   T
                                          ;
                                                     r JAMES BUCKMftM                                                               /
                                                      (•,786) 344-0499                                                             i ‘8 LBSi
                                                                                                                        i'                             I'OF 1
                                                      MTQm?                               dr                                   r        SrtP WT:''t^LBS
                                                      MlfiMI         FL .33167 ■                                                        D(?TE: -:03 dec 2024                                          ;

                                                                                           •t;                                                             ■:6
                                                       ■f                                      .   y
                                                                                                                                                           1':
                                                                                                                                                                      tv-                                                                            ;

                                                                                                                                                                                 .,7',.,
                                                                                                                                                 k.'                            £■>■

                                                                                                                   COURT O F APPEALS
                                                                56 FOpYTH ST NW                                                                                                        ^
                                                                                                                                                                                       • J:
                                                                                                                                                                                                  ■   .



                                                                                                                                                                                -1




                                                                                                                             bill                                                                                                                I


                       fj                                                                                          S
                                                                                                                                                                                                                                         •■ .1
] •                                                                                                                                               i              •j
                                                                                                                                                                                F'
                                                                                                                                                                                                  j

                                                                                                                                                                           I i                                                      .1
                                                                                                                                                                           .U ; I
                                                                                                                                                       4

                                                                                                                                                                          'f.
                                                                                                                                                      4
                                                                          t     ■
                                                                                                                                                  ■ v%.                                           J
                                               ^•j                                                                                                         -^5?.


                                                                                                               f
                                                                                                                                            I
                                                                                                                                                                                              }           1




                                                                                                                                            y




                     ^.7.



                                                                                                                                                                                       .1 •
                 {
                                              BlLLINGi P/P                                                                                                                             f
                                              UPS CfiRBON NEUTRAL
                                                                                                              shipment -
                            f.                                                                                                                                                                                                  I
                                                                                                                                                                                                                                I


                                                                                          ill                                                                :'f'

                                                     12: -sifll-l                   ■■f
                                                                                                                                        n                                                                                     •I
                                                                                                                                                                                                                               L

                                                            rF:'^0                                                                                                                                            V
                                                                         'i 7                                 77n6nS.                             li'L?;
                                                                                                       ^                f      5V 11/£024
                                                                                                                                                ;K;                                                                         1


                                                                                                                                                                                                                          I
                                                                                                                                                                                                                      ■ J


                                                                                                       ;■




                                                                                                                                                                                                                      1




                                                                                                                                                                                                                  I




                                                                                                   \
